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 8
                               UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10

11                                  SAN FRANCISCO DIVISION

12   IN RE: CATHODE RAY TUBE (CRT)  )                Master File No. CV-07-5944 SC
     ANTITRUST LITIGATION           )
13                                  )                MDL No. 1917
                                    )
14                                  )                EXPERT REPORT OF JANET S. NETZ,
15                                  )                PH.D
                                    )
16                                  )
     This document relates to:      )
17                                  )
     ALL INDIRECT PURCHASER ACTIONS )                The Honorable Samuel Conti
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I. Qualifications
I, Janet S. Netz, am a founding partner of applEcon, LLC. I have been a tenured Associate
Professor of Economics at Purdue University and a Visiting Associate Professor at the
University of Michigan. I received a B.A. (1986) from the University of California, Berkeley,
cum laude, and an M.A. (1990) and Ph.D. (1992) from the University of Michigan, all in the
field of economics. My doctoral fields were Industrial Organization, which is the study of firms
and markets, the economic field most closely related to the issues in this case specifically and in
antitrust generally, and International Trade, which includes the study of firms and markets in a
global environment.
Among the courses that I have taught, those that are most closely related to the issues of this case
include Industrial Organization at the undergraduate and doctoral level; Antitrust and Regulation
at the undergraduate level; Microeconomic Theory at the undergraduate and master’s level; and
International Trade at the undergraduate and master’s levels. I have guest lectured on the role of
an economic expert in an Alternative Dispute Resolution class at the University of Michigan
Law School. I have spoken on the role of economists and economics in class action antitrust
cases at several American Bar Association conference programs. My research has focused on
competitive interactions of firms and strategies firms can use to increase profits. I have published
in peer-reviewed, scholarly journals and have presented my research at many conferences and
seminars. A detailed account of my academic employment and publication histories is provided
in my curriculum vitae, which is attached as Exhibit A.
I have testified in trial or by affidavit or declaration, especially with regard to the determination
of the impact of anti-competitive conduct on consumers and quantifying the magnitude of the
impact, for over ten years. In addition, I have consulted on numerous antitrust cases. I provide a
list of the cases on which I have testified and consulted in my curriculum vitae, which is attached
as Exhibit A.
I am compensated for my work on this case at the rate of $450 per hour. My compensation is not
dependent on my opinions or the outcome of the case.

II. Summary of Plaintiffs’ claims
       A. Definition of class and sub-classes
The Plaintiffs allege that the price-fixing conspiracy extends from at least 1 March 1995 through
25 November 2007. The State-Wide Classes are defined as:
               All persons and entities in [Indirect-Purchaser State] who, from March 1,
               1995 to November 25, 2007, as residents of [Indirect-Purchaser State],
               purchased Cathode Ray Tubes incorporated in televisions and monitors in
               [Indirect-Purchaser State] indirectly from any defendant or subsidiary
               thereof, or any named affiliate or any named co-conspirator, for their own
               use and not for resale. Specifically excluded from this Class are
               defendants; the officers, directors, or employees of any defendant; the
               parent companies and subsidiaries of any defendant; the legal
               representatives and heirs or assigns of any defendant; and the named
               affiliates and co-conspirators. Also excluded are any federal, state, or local
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                    governmental entities, any judicial officers presiding over this action,
                    members of their immediate families and judicial staffs, and any juror
                    assigned to this action.1
The indirect purchaser states include: Arizona, California, District of Columbia, Florida, Hawaii,
Iowa, Kansas, Maine, Michigan, Minnesota, Mississippi, Nebraska, Nevada, New Mexico, New
York, North Carolina, North Dakota, South Dakota, Tennessee, Vermont, West Virginia, and
Wisconsin. The applicable class period for Hawaii, Nebraska, and Nevada begins from June 25,
2002, July 20, 2002, and February 4, 1999, respectively.2
CRT products are defined as color display tubes (CDTs) which are used in computer monitors
and color picture tubes (CPTs) which are used in TVs. CRT products also include the finished
TVs and computer monitors containing CPTs and CDTs, respectively.3
The economic analysis that I describe below applies to the state classes. Unless expressed
otherwise or the context clearly indicates otherwise, I will refer to the class or class members,
meaning all Indirect Purchaser State Classes.

        B. Membership of the cartel
The CRT cartel was comprised of: fourteen Defendants (BMCC, Chunghwa, Daewoo/Orion,
Hitachi, IRICO, LG Electronics, LPD, Matsushita, MTPD, Philips, Samsung, Samtel, Thai CRT,
and Toshiba; Daewoo/Orion, LPD, and Thai CRT no longer exist) and three companies that
Plaintiffs have named as Co-Conspirators and with whom Plaintiffs have entered into a tolling
agreement (Thomson, Mitsubishi, and Videocon).4

        C. Cartelization of the CRT industry
At least as early as 1995, Defendants began colluding in an effort to raise CRT prices and profits
above the competitive level. The conspiracy encompassed both CPTs and CDTs, and lasted at
least twelve years, including the years during which CRT demand declined due to the advent of
LCD (liquid crystal display) technology.




1
 20 June 2013, Report and Recommendation Regarding Indirect Purchaser Plaintiffs' Motion for Class Certification,
In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division), at 40-47 (listing statewide damages classes); 24 September 2013, Order Adopting Special
Master's Reports and Recommendations on Defendants’ Motion to Exclude Expert Testimony and Indirect-
Purchaser Plaintiffs’ Motion for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United
States District Court Northern District of California San Francisco Division).
2
 01 October 2012, Memorandum of Points and Authorities in Support of Motion of Indirect-Purchaser Plaintiffs for
Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern
District of California San Francisco Division) (Hereinafter “IPPs Memo in Support of Class Cert.”), at 2.
3
 This excludes certain products that are CRT-based but not in the case (i.e., rear projection products). 10 January
2013, Indirect Purchaser Plaintiffs’ Fourth Consolidated Amended Complaint, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco) (Hereinafter
“Complaint”).
4
    Complaint, at , ¶¶ 50-115.
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During the twelve years of the conspiracy,5 a cartel monopolized the manufacture of CRTs. The
cartel’s membership included most of the largest CRT manufacturers. Monopolization of CRTs
was effected by a variety of mechanisms, including: the cartel meeting to fix prices and to
restrict production and capacity, with top management in regular attendance. In addition, the
CRT cartel fixed market shares among cartel members; allocated customers to cartel members;
shared information, such as capacity and output, not ordinarily shared with competitors; and
created opportunities for managers of “competing” companies to build trust through
socialization.6
The cartel set up multilateral meetings of representatives of cartel members it called “Glass
Meetings”, and established three other types of meetings, “Top Meetings” attended by top
executives such as vice presidents and chief operating officers of cartel members; “Management
Meetings”; and “Working-Level Meetings”.7 The latter two types of meetings were generally
held monthly, and at times as frequently as weekly.8 In addition, “Green Meetings” were planned
on golf courses to follow Glass Meetings “in order to make friendly contacts and strengthen
mutual trust”.9
Defendants have produced documents related to Glass Meetings, such as meeting notes taken by
representatives of member firms, and documents that appear to have been used at meetings of the
cartel, such as meeting agendas and slide presentations. To date, I have found documents related
to over 130 meetings at which the cartel members discussed and agreed to prices they would

5
 The CRT cartel’s operations spanned the years 1995 through 2007. The class period begins at least as early as
March 1, 1995 and ends no earlier than November 25, 2007. Complaint, at 1.
6
    Complaint.
7
    Complaint, ¶¶ 147-150. Section VIII.A.3.a).
8
    See, e.g.,
       •     Notes of a meeting between Samsung, Philips, LG Orion and CPT state: “CPT suggested that weekly
             meeting shall be called to review price increase status, all makers agreed and set a Meeting at CPT Yang
             MEI factory on 3/27'97 at 9:30 AM, and setup the following dates for future meetings as follows for the
             time being: 4/2: PH Taipei, 4/9: LG, 4/16: Daewoo 4/23: SDD In order to strengthen communication,
             ensure price increases to succeed smoothly.” Chunghwa Picture Tubes, LTD, 19 March 1997, Customer
             Contact Report, CHU00028752 - CHU00028754, at 8753.01E (emphasis supplied).
       •     “Review of the implementation method of the Working Level weekly meeting: Each maker indicated that
             because of the success of Glass Meeting, everybody has been Enjoying Business this year. Now that the
             Slow Season is coming, everybody should continue to strengthen communications and contacts, so the
             weekly meetings should continue to be held on time.” Chunghwa Picture Tubes, LTD, 09 November 1999,
             Visitation Report, CHU00030916 - CHU00030918, at 0916.02E (emphasis supplied).
9
    See, e.g.,
       •     “[I]norder to make friendly contacts and strengthen mutual trust, the makers agreed that every 3-4 weeks
             they would take turns to host a Green Meeting (only two members from each maker) after the meeting is
             over.” Chunghwa Picture Tubes, LTD, 09 November 1999, Visitation Report, CHU00030916 -
             CHU00030918, at 0916.02E.
       •     A Green Meeting was held at Country Height Golf Resort on 6 March 1999. Report (Submitted),
             CHU00021268 - CHU00021276, at 1268.01E.
       •     A Green Meeting was held at Palm Garden Golf Club on 24 February 2005. Chunghwa Picture Tubes,
             LTD, 24 February 2005, CHU00661917, CHU00661917 - CHU00661928, at 1917.
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charge for CRTs; see Exhibit 1 for a list of cartel documents that evidence cartel meetings at
which prices were fixed or confirmed.
The CRT cartel also colluded to divide the CRT market, by a variety of means. The simplest
division of the market was an agreement regarding shares of the overall CRT market among
cartel members. The cartel also reached agreements by which cartel members were given a share
of a particular customer’s business, or an exclusive right to certain large customers. Some cartel
members were implicitly awarded a larger share of certain large customers. They were
authorized to charge a lower price to that customer than the price allowed to be charged by other
suppliers. I give a fuller accounting of the conduct of the CRT cartel below, in Section VIII.A.3.

III.         Competition agencies investigated and fined cartel members
Chunghwa began cooperating with competition authorities in several countries in early 2007 and
competition authorities raided CRT manufacturers in November 2007.10 Numerous criminal and
civil complaints followed both in the United States and abroad.
In the United States, the Department of Justice (DOJ) has, to date, indicted six former executives
for participation in the CRT cartel.11 In March 2011, Samsung SDI agreed to plead guilty and
pay a $32 million fine to the DOJ for its participation in the CDT cartel.12
The European Commission (EC), Korean Fair Trade Commission (KFTC) and Japanese Fair
Trade Commission (JFTC) all concluded that cartel members colluded to fix prices, restrict
output and allocate customers.13 The EC levied fines totaling €1.47 billion ($1.92 billion), the
KFTC levied fines of ₩26.3 billion ($23 million), and the JFTC fined cartel members ¥3.3
billion ($37 million). The latter was notable in that it represented the first time the JFTC had
fined foreign-based firms for violations of Japanese competition law.14

IV.          My assignment
10
  European Commission, 19 October 2013, Final Report of the Hearing Officer TV and Computer Monitor Tubes,
Official Journal of the European Union.
11
  United States Department of Justice, 09 November 2010, Three Former Executives Indicted in Color Display
Tube Price-Fixing Conspiracy, http://www.justice.gov/atr/public/press_releases/2010/264069.htm, accessed 18
November 2013.
12
  United States Department of Justice, 18 March 2011, Samsung SDI Agrees to Plead Guilty in Color Display Tube
Price-Fixing Conspiracy, http://www.justice.gov/atr/public/press_releases/2011/268592.htm, accessed 18 November
2013.
13
     See, e.g.,
       •     European Commission, 05 December 2012, Antitrust: Commission fines producers of TV and computer
             monitor tubes €1.47 billion for two decade long cartels, Official Journal of the European Union.
       •     Korean Fair Trade Commission, 10 March 2011, Multi-party Meeting, 2010Gukka234, Decision no. 2011-
             019.
       •     McKenzie, Liz, 07 October 2009, JFTC Slams Samsung, MT Picture In CRT Cartel Probe, Law360,
             http://competition.law360.com/print_article/126904, accessed 08 October 2009.
14
     See, e.g.,
       •     McKenzie, Liz, 07 October 2009, JFTC Slams Samsung, MT Picture In CRT Cartel Probe, Law360,
             http://competition.law360.com/print_article/126904, accessed 08 October 2009.
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I was asked by Plaintiffs’ counsel to evaluate the impact of the alleged cartel and to quantify the
magnitude of the harm, if any, to class members. There is no question that Defendants engaged
in many types of prohibited collusive conduct including sharing competitively sensitive
information, setting target prices, and restricting output. The economic questions I addressed in
my economic analysis of the cartel’s impact include:
    1. Were the characteristics of the industry and cartel suitable to allowing a cartel to increase
       price above the competitive level?
    2. Were the actions of the cartel successful at raising prices to direct purchasers?
    3. Would at least some portion of any overcharge to direct purchasers be passed through to
       class members who purchased CRT monitors and TVs for personal use?
    4. What is an economically reasonable estimate of the overcharge imposed by cartel
       members on direct purchasers?
    5. What is an economically reasonable estimate of the pass-through rate of any overcharge
       to class members?
    6. Given economically reasonable estimates of the overcharge and pass-through, what is the
       harm imposed on class members?
To perform these analyses and calculations, my staff, under my guidance, and I reviewed
numerous materials on which I based my conclusions. This material includes documents and data
produced in the discovery process of the case, as well as publicly available documents relating to
the CRT industry. The latter includes, but is not limited to, company SEC filings, Annual
Reports, press releases, CRT and display industry reports, news and journal articles, white papers
and presentations from research firms, and CRT-related websites.
To the best of my ability, I kept track of the materials reviewed. In Exhibits B and C, I provide a
list of all confidential and public documents, respectively, that my staff and I have reviewed to
date. I reserve the right to revise my conclusions and opinions as more information comes to
light.

V. Summary of my conclusions
I investigated the economic characteristics of CRTs, CRT manufacturing, CRT industry
structure, firms that manufacture CRTs, and how CRTs are distributed from CRT manufacturers
to class members (end users). I found that CRTs have a small number of product characteristics
that are economically significant and that manufacturing is subject to barriers to entry. In
addition, I found that the CRT industry was a so-called “sick industry”; that is, there was falling
demand and excess capacity throughout the damages period. While the manufacture of CRTs
was subject to collusion, the manufacture, distribution, and sales of CRT monitors and TVs were
highly competitive. I describe the analyses and facts that support my conclusions in Section VI.
I conclude that the following findings from the economic study of cartels are relevant to the
analysis of whether the CRT cartel was effective in raising price above the competitive level and
quantifying that impact:
    •   A cartel can be effective even if the price charged by the cartel declines over time by
        reducing the magnitude of the price decline and/or by reducing the speed of the price
        decline.
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    •   Cartel success is a matter of degree. So long as the cartel is able to raise price above the
        competitive level, the cartel is successful, even if it is not able to set price equal to the
        monopoly level. Similarly, a cartel can increase price above the competitive level even in
        the presence of some degree of cheating.
    •   A cartel that is made up of vertically integrated and unintegrated firms can successfully
        increase price above the competitive level.
I briefly describe these conclusions in Section VII and I explain why these conclusions hold in
Appendix 1.
I next examined whether the CRT cartel had the market power necessary to raise the price of
CRTs above the competitive level. I find that neither entry from other CRT manufacturers nor
the development of LCD display technology prevented the cartel from exercising market power.
I describe the analyses and factual foundation for my conclusion in Section VIII.A.2. I then
investigated the mechanisms used by the cartel. These included extensive and frequent face-to-
face meetings, phone calls, and electronic communications; plans to reduce production and
capacity; methods to monitor whether cartel members were abiding by agreements; and
allocating customers. I conclude that the result of these actions, described in Section VIII.A.3,
was to increase the price of CRTs above the competitive level. I then looked for direct evidence
that CRT prices were above the competitive level. Documentary evidence, as described in
Section VIII.A.1, showed that the cartel and members themselves proclaimed their success.
Finally, I undertook regression analyses of the prices charged to determine whether they were
determined by the target prices set by the cartel members. The results from the regression
analyses, described in Sections VIII.A.4.a) and VIII.A.4.b), confirm my conclusion that the
cartel was successful in raising price above the competitive level.
I investigated whether price changes in the price of CRTs were passed through to class members
(end users) via the prices of CRT monitors and TVs. The implication of economic theory is
clear: a price increase that is not insignificant, non-transitory, and industry-wide is passed on to
the next level in the chain of distribution. Pass-through is also a matter of degree; class members
are harmed as long as any portion of the overcharge is passed down the distribution chain. An
examination of the documentary and testimonial evidence and the facts of the industry and case
further support my conclusion that class members were harmed as a result of the cartel’s actions.
I describe the analysis of pass-through in Section VIII.B.
I then turn to tools that allow me to quantify the degree of harm Defendants imposed on class
members. I proceed by first estimating the overcharge imposed by cartel members on direct
purchasers; then estimating the portion of the overcharge that was passed through to class
members; and finally using the overcharge and pass-through rates in conjunction with
expenditures by class members on CRTs to calculate the total damage suffered by the class as a
result of the increased price. As described in Section IX, I conclude, on the basis of my
examination of the data, that CDTs (the CRTs used to make monitors) were overcharged at the
rate of 25.0% for 1995Q2-2006Q4 and 12.3% for 2007Q1 to 2007Q4 and CPTs (the CRTs used
to make TVs) were overcharged at the rate of 9.5% and 3.2%. I conclude that at least 100% of
the overcharge was passed through to class members, based on the evidence presented in Section
X. Finally, I calculate that the damages borne by class members who purchased CRT monitors
was $2.296 billion and CRT TVs was $780 million, for a total of $3.076 billion.
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VI.     The CRT industry
In order to perform a proper economic damages analysis, I first consider the relevant economic
nature of CRTs, CRT manufacturing, and the CRT industry. A factual understanding of CRTs
and the CRT industry leads to the conclusion that, absent the cartel, the industry could have been
expected to be quite competitive, possibly ruinously so.
The cathode ray tube (CRT) is a mature display technology widely used in televisions and
computer monitors in the late-1990s and the first decade of the 21st century. CRTs operate by
shining an electron beam onto a phosphor-coated panel, causing the phosphors to glow, emitting
red, green, and blue light to compose a picture. The CRTs relevant to the present case range in
size from 14" to 42".

        A. CRT product description

                 1. The basic components of CRTs
CRTs operate by shining a beam of electrons on a screen that is coated with material that glows
when the electron beam strikes it. The primary components of a CRT are a large glass bulb
containing an electron gun and a pair of devices near the rear of the bulb that focus and aim the
electron beam. The bulb is comprised of two elements. The front of the bulb is called the panel;
this is the screen the viewer observes. It is coated on the inside with phosphors that glow when
the electron beam strikes them, emitting red, green, or blue light. The remainder of the bulb is
called the funnel, because of its funnel shape. The electron gun is housed inside the neck of the
funnel. Around the outside of the neck are the convergence purity magnets (CPM) and the
deflection yoke. The CPM focuses the electron beam. The deflection yoke, sometimes called a
deflection coil, aims the electron beam. It scans the electron beam back and forth and up and
down across the screen.15 The CRT creates a picture by turning the electron gun on and off as the
deflection yoke moves the beam across the screen, thereby exciting (illuminating) the
appropriate color phosphors in the proper locations to create the full color picture. The mask is
an additional component inside the bulb, very close to the inside surface of the panel. Its purpose
is to absorb stray electrons to ensure that electrons strike only the phosphors that are supposed to
be illuminated.

               2. CRTs have a small number of economically significant dimensions of
               product differentiation
CRTs are differentiated products. The primary dimensions of differentiation are the application,
size, shape, and finish. Additional differentiation comes from different resolutions and the use of
various coatings and mask type, but these differences have a much smaller effect on price
differences than do differences across the primary dimensions of differentiation.
CRTs are sold primarily for use in two distinct applications: computer monitors and TVs. CRTs
sold for use in monitors are called “color display tubes”, or CDTs;16 CRTs sold for use in
televisions are called “color picture tubes”, or CPTs. While the basic technologies of the two

15
 For a nice cutaway showing the main components of a CRT, see Engelsen, Daniel den, 15 June 2000,
Manufacturing of CRTs 1, SDCRT-020298, at 4.
16
 Philips, and possibly some other firms, at times also refer to these as CMTs (computer monitor tubes). Philips, 12
April 1999, Strategy Review 1999-2003 Region North America, PHLP-CRT-088450, at 86.
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tubes are similar, there are differences between them.17 The two types of tubes are not functional
or economic substitutes: a TV manufacturer could not and would not use a CDT and a monitor
manufacturer could not and would not use a CPT.18
The second major type of differentiation is the size of the tubes. The size of the tube is typically
measured diagonally across the screen, in either inches or centimeters.19 The most common CDT




17
     See, e.g.,
       •     CPTs are designed for high brightness while high resolution is more important for CDTs. Different mask
             and phosphor structures are used for the two types of tubes. SDI, Undated, Model of SDI CRT Product,
             SDCRT-0021278 - SDCRT-0021294, at 1288-1289.
       •     CPTs generally use striped phosphors and aperture grilles or slotted masks, while CDTs use dot phosphors
             and hexagonal arrangement of openings in the mask. Engelsen, Daniel den, 15 June 2000, Manufacturing
             of CRTs 1, SDCRT-0202981, at 6 and 12.
       •     The dot pitch (resolution) of CDTs and CPTs are “totally different”. 03 July 2012, Deposition of Hitachi
             Electronic Devices (USA) 30(b)(6) Witness Thomas Heiser (Hereinafter “Hitachi 30(b)(6) Deposition of
             Thomas Heiser, 03 July 2012”), at 59:16-24.
       •


18
     See, e.g.,
       •     CPTs lack the resolution to be used in monitors; CDTs cannot handle the power required in a television. 16
             July 2012, Deposition of Panasonic Corporation, Panasonic North America and MTPD 30(b)(6) Witness
             Tatsuo Tobinaga (Hereinafter “Panasonic 30(b)(6) Deposition of Tatsuo Tobinaga,16 July 2012”), at
             142:19-143:23.
       •     CPTs and CDTs have different masks. SDI, Undated, Model of SDI CRT Product, SDCRT-0021278 -
             SDCRT-0021294, at 1288.
       •     From Nobuhiko Kobayashi’s Deposition: “Q. And when you talked about the differences among the
             shadow masks and resolution, did that testimony apply equally to CDTs as CPTs? A CPTs and CDTs are
             entirely different.” 17 July 2012, Deposition of Hitachi Displays, Ltd. 30(b)(6) Witness Nobuhiko
             Kobayashi, Volume I (Hereinafter “Hitachi 30(b)(6) Deposition of Nobuhiko Kobayashi, Vol. I, 17 July
             2012”), at 38:6 - 9.
19
  Generally, the sizes discussed are the size of the CRT itself. However, manufacturers also referenced tubes by
their viewable area, e.g. 25-V or 25V. 31 July 2012, Deposition of Philips Electronics North America Corporation,
Inc. and Koninklijke Philips Electronics N.V. 30(b)(6) Witness Roger De Moor (Hereinafter “Philips 30(b)(6)
Deposition of Roger De Moor, 31 July 2012”), at 46:11-47:9.
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sizes ranged from 14" to 21" during the damages period.20 Most CPTs were between 14" and 34"
during the damages period.21
The aspect ratio, which is the relationship between the width and height of the screen, is another
type of differentiation. For most of the damages period, CRTs used a 4:3 aspect ratio. In the
latter part of the damages period, “widescreen” CRTs started being made. These had an aspect
ratio of 16:9.22 Widescreen CPTs differ from traditional CPTs in more than just the aspect ratio:
widescreen CPTs have both higher resolution and scanning frequencies than traditional CPTs.23
The flatness of the panel, which I refer to as the “shape”, is another dimension of differentiation.
The front panel of a CRT was traditionally a portion of a sphere. Over time, manufacturers
increased the radius of curvature of the screens in order to make the screens flatter.24 Eventually
manufacturers were able to produce truly flat CRTs. These went by various names, including –
pure flat, real flat, and Dynaflat.25

20
  CDTs smaller than 14” are not observed in worldwide data from 1996-2006. CDTs larger than 21” are not
observed in worldwide data from 1996-2000, and observations from 2005 – 2006 show that 21”+ CDTs comprise
small shares of overall CDT production. See, e.g.,
            •     Samsung, 11 December 2003, Worldwide CDT Manufacturer's Status, SDCRT-0201291.
            •     DisplaySearch, 30 September 2005, Q3'05 Quarterly Desktop Monitor Shipment and Forecast Report,
                  CHU00281352 - CHU00281923, at 1644.
            •     DisplaySearch, 30 March 2007, Q1'07 Quarterly Desktop Monitor Shipment and Forecast Report,
                  CHU00154037 - CHU00154420, at 4389.
21
  CPTs smaller than 14” and larger than 34” comprise a small portion of worldwide CPT production from 2000 –
2006. MT Picture Display, November 2006, Untitled Spreadsheet, MTPD-0416090.
22
   Michael Milostan, Senior Manager of Toshiba America’s technical staff in 2000, talking about wide screens
before the International Trade Commission: “the SDTV [standard definition television; digital TV standards that
essentially replicated the old analog standards] format is designed for the four by three aspect ratio. By comparison,
wide-screen CPTs with the 16 by nine aspect ratio which are optimal types of CPT for HDTV [high definition
television] broadcasts…And whether the standard becomes SDTV or HDTV is anything but certain. It would be a
long time before the market sorts out the choices. In the meantime, conventional CPTs with four by three aspect
ratios will remain the workhorse of the industry.” United States International Trade Commission, 17 February 2000,
United States International Trade Commission In the Matter of: Color Picture Tubes from Canada, Japan, Korea,
and Singapore, SDCRT-0068880 - SDCRT-0069081, at 9015.
23
  The scanning frequency of a CRT describes the frequency at which the screen is repainted. “at the consumer
electronics show that was held in Las Vegas just last month every and each Japanese Korean company [sic] heavily
promoted and demonstrated 16-by-9 CRTs as the immediate answer for high-definition, digital TV in the market
today.” United States International Trade Commission, 17 February 2000, United States International Trade
Commission In the Matter of: Color Picture Tubes from Canada, Japan, Korea, and Singapore, SDCRT-0068880 -
SDCRT-0069081, at 8906.
24
  These tubes went by various names. Some specified the “flatness” in terms of a multiplier of ‘R’ – 1.0R, 1.3R,
1.5R, 1.7R, 2.0R – all referencing an increasing radius of curvature, and hence flatter, but still curved, screen. SDI,
Undated, Model of SDI CRT Product, SDCRT-0021278 - SDCRT-0021294, at 1278. These were also described as
“flat square” or “square flat” tubes because the tube corners were closer to square and the panel was closer to flat
than older styles. 2000, The Different Types of CRT Monitors: From ShortNeck to FST [ca. 2000], PC Tech Guide,
http://www.pctechguide.com/crt-monitors/the-different-types-of-crt-monitors-from-shortneck-to-fst, accessed 13
March 2012 at 2. MTPD ascribed “FS” (flat square) to 1.3R and 1.7R tubes. MT Picture Display, 20 January 2005,
MTPDT FY2005-06 Business Plan, MTPD-0401227, at tab ‘Product Lineup’, Rows 45 & 47.
25
     See, e.g.,
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Another type of differentiation across CRTs is the degree to which the CRT assembly is
completed by the tube manufacturer, in particular with regard to whether or not the product
shipped with a deflection yoke. When a CRT is shipped without a deflection yoke, it is called a
“bare” CRT. A CRT with a deflection yoke is called an “integrated tube component” (ITC)
CRT.26
I am aware of other variations among CRTs that the cartel members at times addressed in their
discussions of tube pricing. For example, the shadow mask can be made of different materials,
with Invar and aluminum killed steel (AK) being the two most frequently discussed.27 For CDTs,
resolution, indicated by the “dot pitch” (the distance between dots of the same color), was
another type of differentiation.28 Lastly, there are also different safety and performance standards
for monitors that can affect the price.29 As I demonstrated in my Class Certification Rebuttal
Report, the price differences resulting from these product differences were relatively
insignificant.30
The result of having a limited range of economically meaningful dimensions for product
differentiation is that industry sales were heavily concentrated on a relatively small number of
product families from each vendor.31

                3. CRT manufacturers engage in design-in competition
In addition to the types of product differentiation just described, there are other differentiating
factors among CRTs. While the factors just described generally resulted in differentiation of
monitors and TVs, as valued by consumers, there are other attributes – e.g., subtle differences in
the curvature of the tube where it meets the bezel of the TV or different electrical requirements –
that are important to finished product manufacturers but not to end customers.
Due to the technical product differentiation that is necessary to the incorporation of tubes into
monitors and TVs, competition among CRT vendors is for design-in, not each individual CRT


       •     Pure flat is truly flat. Panasonic, Undated, Panasonic Display Development Plan, MTPD-0570911, at 1.
       •     Dynaflat has a flat screen surface and a curved inner surface. Flatron has a perfectly flat screen surface and
             inner surface. Also, real flat indicates that the screen has flat screen surface. LG, Undated, Why Flatron?,
             LGE00060914, at 4-5.
26
     Hitachi 30(b)(6) Deposition of Thomas Heiser, 03 July 2012, at 44:4-20.
27
  Invar is high-nickel-content steel. AK steel is manufactured using aluminum powder in the foundry process to
remove impurities from the steel. Invar resists deformation from heat (which is generated by electrons striking the
mask) better than AK steel. SDI, Undated, Model of SDI CRT Product, SDCRT-0021278 - SDCRT-0021294, at
1279.
28
 2012, What is the Dot Pitch of a Computer Monitor, PC Tech Guide, http://www.pctechguide.com/crt-
monitors/what-is-the-dot-pitch-of-a-computer-monitor, accessed 13 March 2012.
29
  TCO and MPRII, frequently referenced in meeting note discussions about CDT prices, are safety standards
promulgated by Sweden. PCTechGuide.Com, Undated, TCO Monitor Standards, http://www.pctechguide.com/crt-
monitors/tco-monitor-standards, accessed 03 August 2012, at 0115.
30
  Netz, Janet S., 15 February 2013, Rebuttal Declaration of Janet S. Netz, Ph.D., in Support of Motion of Indirect-
Purchaser Plaintiffs for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States
District Court Northern District of California San Francisco Division) (Hereinafter “Netz Rebuttal”) , at 12.
31
     Netz Rebuttal, at 10-12.
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order. That is, when a TV or monitor manufacturer develops a new model, the CRT vendors
compete to win the design.32 Absent coordination among the bidders, competition for design
wins could be fierce, with price being a major factor. Once a TV or monitor manufacturer has
chosen a specific CRT as the basis for a given model of TV or monitor, it cannot readily
substitute a different vendor’s CRT into the finished product.33 If the product maker wanted to
switch to a different CRT from the same or another tube manufacturer, the TV or monitor
manufacturer would instead design and produce an alternative monitor or TV model using a
different vendor’s tube.34
A CRT manufacturer might compete for a design win with an existing tube design, a variation of
an existing design, or a completely new design. The concentration of each manufacturer’s
production in a very small range of models suggests manufacturers used existing designs for
most design-in competitions.35
Despite the fact that a TV or monitor manufacturer cannot readily change the CRT used in a
given design, they are not “locked-in” to a given CRT manufacturer’s product. The TV or
monitor manufacturer can substitute manufacturer A’s CRT for manufacturer B’s CRT by
reducing production of the product using CRT B and increasing production of the product using
CRT A. Thus, absent the cartel, TV and monitor manufacturers benefit from CRT competition at
both the design stage and the production stage.

        B. The economics of CRT manufacturing
CRT production occurs as a sequential process on a production line. Most CRT production lines
are dedicated to producing a limited range of CRT products. Production lines can generally be
modified to produce new products, with the difficulty of the modifications depending on how
closely related the new product is to the existing capabilities of the line.
CRTs are produced in large factories. While most factories tend to have multiple production
lines, there were several that had only one. CRT factories are typically capable of producing
32
   “Q. Okay. And how would the customer articulate its needs to HED/US? A. There was a whole design process
that went on before a picture tube was ever sold. You’d have probably a six months to one year, depending upon the
customer, that would be a design cycle where we knew they were coming out with a new television set, and our
engineer, our sales engineer would begin to work with them on the specification, what they wanted, what kind of
performance, what kind of pinning specification, for example, how fine did they want it Pinned, what would they
allow for convergence, or for – there were various other specifications you’d use on how the yoke was going to
perform. Trapezoidal. There was many different parts of it, and those would all be called out in that design
specification.” Hitachi 30(b)(6) Deposition of Thomas Heiser, 03 July 2012, at 69:2-17.
33
  This is because of significant differences across CRTs that, unlike the size, shape, and other differences described
earlier in the text, are not manifested in the appearance of the tube. For example, different tubes use different
electron guns and deflection yokes, giving tubes from different vendors unique electrical requirements, and the
shape of the outer edges of the screen are different across different tubes, requiring different faceplate or bezel
shapes to mate with them.
34
  “Generally what would have to happen is customers would either have to do custom design around our specific
tube type because our mechanics were different. So, or if they decided to try to so-called dual source, they needed to
have two separate types of chassis due to the mechanical, some of the electrical differences of our product.” 31 July
2012, Deposition of Toshiba America Electronics Corporation 30(b)(6) Witness Jay Alan Heinecke (Hereinafter
“TAEC 30(b)(6) Deposition of Jay Alan Heinecke, 31 July 2012”), at 38:8-39:2.
35
  For evidence showing the concentration of each manufacturer’s CRT output in a few product families, see Netz
Rebuttal report, at 10-12.
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between 100,000 and 1 million CRTs per month, with the largest factories able to produce over
1.5 million CRTs per month. See Exhibit 2.

                   1. The general CRT production process
CRT manufacturers typically acquire the major components – funnel, panel, electron gun, and
mask – from other facilities.36 Most of the major components have additional processing done to
them at the CRT plant, then are assembled into a CRT. The manufacturing process prepares the
mask and, separately, applies the phosphors and other coatings to the panel. The mask and panel
are then mated. The funnel is also coated, then the funnel and panel are joined in a process called
“frit sealing”. The assembly is now called a “bulb”. The electron gun is inserted into the neck of
the funnel and the funnel is sealed around the gun. The tube is annealed (heated) to remove
residual stress and a vacuum is drawn inside the tube. Lastly, an external band is wrapped around
the front of the tube where the panel and funnel are joined. This band has “lags” on it which are
used to attach the tube to the TV or monitor chassis or frame.37 At this point the product is a
CRT or a bare CRT.
Before the CRT can create pictures, the deflection yoke and related components must be
installed and properly adjusted. Deflection yoke installation is the last step of the CRT
manufacturing process.38 In this step, referred to variously as the ITC (“integrated tube
component”) process,39 “pinning”,40 or “matching”,41 the deflection yoke and focusing magnet
are installed and adjusted to generate the best picture.42 Depending on customer (finished product

36
     See, e.g.,
       •     A Chunghwa analysis of Japanese CRT manufacturers reports the main component suppliers for each CRT
             manufacturer. Chunghwa Picture Tubes, LTD, 1995, CRT Market Reporting Japanese Suppliers,
             CHU00028178 - CHU00028190, at 8179, 8182, 8184, and 8186.
       •     Some CRT manufacturers had “sister” companies that manufactured some of these components. See
             Chunghwa Picture Tubes, LTD, 14 March 2003, Chunghwa Picture Tubes, Ltd. and Subsidiaries
             Consolidated Financial Statements For The Years Ended December 31, 2002 and 2001 with Report of
             Independent Auditors, CHU00000207 - CHU00000259 at 0214 and 28 August 2006, Trustee’s Second
             Report in the bankruptcies of LG.Philips Displays Holding B.V. and LG.Philips Displays Netherlands B.V.
             and LG.Philips Displays Investment B.V., http://deterinklive.com/nl/publicaties/faillissementsverslagen/l/,
             accessed 12 July 2012, at 25.
       •     Samsung made its own deflection yokes for high-end products, but purchased others. They made their own
             electron guns. They purchased glass and masks. 06 June 2012, Deposition of Samsung SDI 30(b)(6)
             Witness Jaein Lee, Volume I (Hereinafter “Samsung SDI 30(b)(6) Deposition of Jaein Lee, Vol. I, 06 June
             2012”), at 101:21-102:20.
37
  See SDI, Undated, Model of SDI CRT Product, SDCRT-0021278 - SDCRT-0021294 at 1290 – 1294 and
Engelsen, Daniel den, 15 June 2000, Manufacturing of CRTs 1, SDCRT-0202981.
38



39
     Hitachi 30(b)(6) Deposition of Nobuhiko Kobayashi, 17 July 2012, at 22:11-23:6.
40
     Hitachi 30(b)(6) Deposition of Thomas Heiser, 03 July 2012, at 71:1-23.
41
     Philips 30(b)(6) Deposition of Roger De Moor, 31 July 2012, at 18:5-19:15.
42
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manufacturer) preferences, the yoke can be installed by the CRT manufacturer, the customer, or
by third parties.43 If the customer or a third party is performing the ITC process, the CRT can be
sold without a deflection yoke, with the deflection yoke packed separately from the tube, or with
the deflection yoke on the tube but not pinned.44 Once the deflection yoke is installed and
pinned, the product is an ITC or ITC CRT.

                    2. Production line flexibility allows for supply side substitution
Although there is almost no demand substitution between CDTs and CPTs, CRT production
facilities have some capability for supply substitution by converting CRT production lines from
producing tubes for one application to producing tubes of the other type. A few lines were
capable of producing either type, with the switch from one type to the other needing relatively
little time.45 The line status reports46 suggest that out of 322 lines that exhibited positive capacity
covered by the reports, only 14 lines regularly or repeatedly produced both tube types; see
Exhibit 3. However, switching production lines between CDTs and CPTs was relatively rare.
Most CRT production lines produced exclusively CDTs or CPTs; see Exhibit 3. Of the 322 lines
reported in the line status reports as having produced CRTs, at most 33 appear to have switched
from producing exclusively CDT to exclusively CPT, or vice versa.
CRT production lines can relatively easily change the size of tubes they are producing. Almost
all CRT production lines produced various size tubes over time and most were able to produce




43
     See, e.g.,
       •     Hitachi sold both bare and ITC CRT. When Hitachi’s “Set Division” (a finished product manufacturer)
             bought bare tubes, it performed the ITC process. Hitachi 30(b)(6) Deposition of Nobuhiko Kobayashi, Vol.
             I, 17 July 2012, at 45:18-46:21.
       •     When Samsung sold bare CRTs, the deflection yoke would be installed by the customer. Samsung SDI
             30(b)(6) Deposition of Jaein Lee, Vol. I, 06 June 2012, at 102:9-103:9.
       •     Hitachi outsourced the ITC process on occasion, over a period of several years. Samsung SDI 30(b)(6)
             Deposition of Jaein Lee, Vol. I, 06 June 2012, at 88:7-89:2.
       •     Philips’s Ottawa plant sold some tube bare, some ITC, and some were shipped to a plant in Juarez, Mexico
             which performed the ITC process for Philips Consumer Electronics plant in Juarez. Philips 30(b)(6)
             Deposition of Roger De Moor, 31 July 2012, at 18:5-9:15.
       •
44
  For example, Samsung distinguished among bare (no deflection yoke or CPM), ITC (all components installed and
adjusted to match finished product), “CKD” (complete knock down; ITC parts supplied but packed separately from
CRT), and “SKD” (semi knock down; ITC parts installed but not adjusted). SDI, Undated, SDI CRT Model Number
Decoder, SDCRT-0021274 - SDCRT-0021277, at 1277.
45
  For example, the #1 line at Samsung’s Suwon plant could switch from making CDT to CPT or vice versa in about
one shift, even though it required changing a lot of the production line. Samsung SDI 30(b)(6) Deposition of Jaein
Lee, Vol. I, 06 June 2012, at 113:8-114:3.
46
  “Line status reports” are documents produced by various cartel members that track worldwide CRT capacity on a
company-by-company, line-by-line basis.
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different sizes at any given time; see Exhibit 2. Some lines were capable of producing multiple
sizes intermixed, rather than running one size for a while then switching to another size.47
There are some costs to switch between two different tube specifications of a given size. For
example, different customers might use different electron guns in the same basic tube, causing
changes in how the guns were inserted. Adjusting lines for such changes might take two shifts.48

                  3. The nature of CRT production creates barriers to entry and sunk costs
CRT manufacturing is a capital-intensive process characterized by economies of scale. At the
beginning of the damages period, viable CPT factories should produce at least 1.0 million tubes
per year.49 CRT manufacturing facilities were built for under $100 million to over $300
million.50 CRT manufacturing facilities that make larger tubes generally cost more.51 Adding
47
  “You could actually have a line going where your one device you’re hanging in the rack may be a 19 and the next
one could be a 20…” TAEC 30(b)(6) Deposition of Jay Alan Heinecke, 31 July 2012, at 84:10-12.
48
     TAEC 30(b)(6) Deposition of Jay Alan Heinecke, 31 July 2012, at 82:10-83:15.
49
     See, e.g.,
       •     Sony and LG each built plants planned to produce 1 million units per year. Telecompaper, 20 July 1994,
             Sony Electronics to Invest in Cathode Ray Tube Plant, http://www.telecompaper.com/news/sony-
             electronics-to-invest-in-cathode-ray-tube-plant, accessed 22 March 2012 at 1 and Telecompaper, 06
             September 1995, LG Electronics to Invest in CRT Plant, http://www.telecompaper.com/news/lg-
             electronics-to-invest-in-crt-plant, accessed 22 March 2012.
       •     One author asserts the minimum efficient scale for a CRT plant was 1.5 million units per year. Kenney,
             Martin, Undated, The Shifting Value Chain: The Television Industry in North America,
             http://hcd.ucdavis.edu/faculty/webpages/kenney/articles_files/The%20Shifting%20Value%20Chain:%20T
             he%20Television%20Industry%20in%20North%20America.pdf, accessed 19 April 2012, at 105. This
             document appears to have been written no later than 1 August 2003.
       •     Note that 1.5 million CRT per year is 125,000 tubes per month. Many individual lines had capacity in
             excess of 125,000 tubes per month. Individual production lines range in capacity from 20,000 to over
             300,000 tubes per month.
50
     See e.g.,
       •     A new CRT facility will cost approximately 10 billion yen or 120-130 million US dollars. Panasonic
             30(b)(6) Deposition of Tatsuo Tobinaga, 16 July 2012, at 146:8-147:8, 151:15-152:11.
       •     An LG plant in Korea, for the production of 24"-32" CPTs beginning in 1996, cost $125 million and was
             expected to produce 1 million CPTs per year. Telecompaper, 06 September 1995, LG Electronics to Invest
             in CRT Plant, http://www.telecompaper.com/news/lg-electronics-to-invest-in-crt-plant, accessed 22 March
             2012.
       •     A Sony plant for 15" and 17" CDT with a capacity of 1 million units per year cost $50 million.
             Telecompaper, 20 July 1994, Sony Electronics to Invest in Cathode Ray Tube Plant,
             http://www.telecompaper.com/news/sony-electronics-to-invest-in-cathode-ray-tube-plant, accessed 22
             March 2012, at 1.
       •     In the late 1980s a large screen (25" or more) CRT manufacturing facility generally cost between $200 and
             $300 million. Kenney, Martin, Undated, The Shifting Value Chain: The Television Industry in North
             America,
             http://hcd.ucdavis.edu/faculty/webpages/kenney/articles_files/The%20Shifting%20Value%20Chain:%20T
             he%20Television%20Industry%20in%20North%20America.pdf, accessed 19 April 2012, at105.
       •     Pat Magrath of Georgetown Economic Services stated before the International Trade Commission on
             February 17, 2000 that CPT factories cost between $70 and $332 million to build. United States
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capacity to an existing plant was also expensive.52 In addition, CRT manufacturing required
substantial ongoing investments in capital.53
Building a plant or adding a line also took a lot of time. Constructing the plant or line can take a
year and require an additional year to get the completed line up to mass production.54 For a line
to reach full efficiency might take a further year or more of mass production.55

             International Trade Commission, 17 February 2000, United States International Trade Commission In the
             Matter of: Color Picture Tubes from Canada, Japan, Korea, and Singapore, SDCRT-0068880 - SDCRT-
             0069081, at 8922.
51
  Kenney, Martin, Undated, The Shifting Value Chain: The Television Industry in North America,
http://hcd.ucdavis.edu/faculty/webpages/kenney/articles_files/The%20Shifting%20Value%20Chain:%20The%20Te
levision%20Industry%20in%20North%20America.pdf, accessed 19 April 2012, at 104-105.
52
     See, e.g.,
       •     LG Philips planned to spend $112 million installing two large/jumbo CPT lines at the Gomez Palacio plant
             in Mexico. ABN AMRO Bank, N.V., Citibank/Salomon Smith Barney Hong Kong Limited, et al., May
             2001, LG.Philips Displays Holding B.V. US$2,000,000,000 Senior Term Loan and Revolving Credit
             Facility, PHLP-CRT-051982 - PHLP-CRT-052085, at 2046 and 2078.
       •     Adding a line could cost as much as $160 million. United States International Trade Commission, 17
             February 2000, United States International Trade Commission In the Matter of: Color Picture Tubes from
             Canada, Japan, Korea, and Singapore, SDCRT-0068880 - SDCRT-0069081, at 8922.
       •     LG’s investment plans for installing additional lines to produce its “Flatron” real flat CRTs ranged from 97
             billion Won to 151 billion Won (at an exchange rate of 1200 Won per dollar, these convert to $80 million
             to $125 million per line). Salomon Smith Barney Inc., 22 May 2001, Project Mercury Confidential
             Information Memorandum, EIN0017699 - EIN0018075, at 7842.
       •     Philips spent $24 million on two small lines (80k/month capacity) producing 17" CDTs. Display Monitor,
             22 May 2000, SGI Uses Quadro In New Workstations, Display Monitor, Vol. 7(20), HEDUS-
             CRT00166844 - HEDUS-CRT00166863, at 6844.
53
     See, e.g.,
       •     LG’s investment plans for updating existing lines to produce its “Flatron” real flat CRTs ranged from 22
             billion to 68 billion Won (at an exchange of 1200 Won per dollar, these convert to $18 million to $56
             million). Salomon Smith Barney Inc., 22 May 2001, Project Mercury Confidential Information
             Memorandum, EIN0017699 - EIN0018075, at 7842.
       •     Toshiba invested over $150 million in its existing Horseheads, NY CRT plant in the five years up to March
             2003. Panasonic, 27 March 2003, Matsushita and Toshiba To Launch North American Operations
             of New CRT Joint Venture, http://www.Panasonic.com/MECA/press_releases/toshiba_032703.pdf,
             accessed 10 July 2012, at 1. That is in addition to $220 million spent in the mid-1980s refurbishing and
             expanding the same facility. Kenney, Martin, Undated, The Shifting Value Chain: The Television Industry
             in North America,
             http://hcd.ucdavis.edu/faculty/webpages/kenney/articles_files/The%20Shifting%20Value%20Chain:%20T
             he%20Television%20Industry%20in%20North%20America.pdf, accessed 19 April 2012, at 105.
54
     See, e.g.,
       •     Building a facility can take a year and another year is required to get the line up to mass production speeds.
             Panasonic 30(b)(6) Deposition of Tatsuo Tobinaga, 16 July 2012, at 146:8-147:8.
       •     It can take two years to complete a plant or add a line. Testimony of Pat Magrath, United States
             International Trade Commission, 17 February 2000, United States International Trade Commission In the
             Matter of: Color Picture Tubes from Canada, Japan, Korea, and Singapore, SDCRT-0068880 - SDCRT-
             0069081, at 8922.
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On top of the time and capital required, there is substantial risk involved in establishing a new
CRT facility or line. Despite CRT manufacturing being a mature technology, manufacturers
sometimes were unable to develop economical production on a given line or of a given product.56
As an example, Philips established a plant in Nanjing, China, with an initial investment of $100
million. The plant installed five production lines in two stages, three lines in the third quarter of
2000 and two more in the third quarter of 2001. However, the factory had problems attaining
either adequate run rates or quality. By July 2002, LG Philips expected it might cost another $15
million to $25 million to revise the equipment, modify product designs, and correct operating
processes.57
Another example is Samtel. In April 2004 it announced a $22 million project to add 1.5 million
units of CPT capacity at its Ghaziabad, India plant with a May 2005 start date.58 Line status
reports from various Defendants indicate the start date was delayed, with mass production finally
commencing after mid-March 2006.59 However, despite the planned capacity of 125 thousand
55
     TAEC 30(b)(6) Deposition of Jay Alan Heinecke, 31 July 2012, at 249:13-17.
56
     See, e.g.,
       •     Toshiba’s U.S. factory in Horseheads, NY, variously tried producing 27" CPTs, 17" CDTs and 19" tubes,
             and was unable to produce any of those products economically. Toshiba 30(b)(6) Deposition 31 July 2012,
             at 59:17-61:16.
       •     IRICO had problems with the varnish it used to hold its deflection yokes in place; the varnish was melting.
             This resulted in many CRT returns and IRICO had difficulties gaining sales thereafter. Chunghwa Picture
             Tubes, LTD, 23 June 2000, Visitation Report, Topic: TV Tube Market, CHU00029110 - CHU00029115, at
             9114E.
       •     “The production lines at Huapu [a Philips plant in Nanjing, China] have not reached their nominal annual
             capacity of 4 m. tubes and are producing low quality tubes. As a result, Huapu’s sales are far behind
             budget, while Huapu has too much B-grade products, too much inventory and is facing high product
             returns. Huapu’s net income for 2002 is expected to end up at - 18.4 m. USD, washing out Huapu’s entire
             equity. [para.] To tackle these issues, an extensive improvement plan is under preparation together with the
             new Plant Director, thereby addressing the inadequate equipment, product designs, operating processes and
             organizational competence. An investment in the range of 15 - 25 m. USD might be needed.” L.G. Philips
             Displays Holding B.V., Undated, Minutes of the Supervisory Board Meeting of LG.Philips Displays
             Holding B.V., PHLP-CRT-002306 - PHLP-CRT-002481, at 2339.
57
 L.G. Philips Displays Holding B.V., Undated, Minutes of the Supervisory Board Meeting of LG.Philips Displays
Holding B.V., PHLP-CRT-002306 - PHLP-CRT-002481, at 2339.
58
     LG Philips Displays, 27 July 2004, 40422+W_W_line--factory line summaries, LPD_00035873.
59
     See, e.g.,
       •     “Plan to start in ’05” appears from Dec. 2004 to April 2005. LG Philips Displays, 20 December 2004, 04
             12 CRT Line Status, LPD_00034786 and LG Philips Displays, 21 April 2005, 04-21-05 Worldwide prod
             lines - All LG Philips Displays, 21 April 2005, 04-21-05 Worldwide prod lines - All manufacturers,
             LPD_00042476.
       •     In June 2005, “Production start is delayed to 1Q2006.” MT Picture Display, 04 July 2005, CRT Line Status
             Jun 05, MTPD-0575968.
       •     On March 15, 2006, “MP is not started yet”. MT Picture Display, 02 April 2006, CRT Line Status Mar 06,
             MTPD-0468631.
       •     June 2006, “29F started in 1Q 06”. MT Picture Display, 19 June 2006, CRT Line Status Jun 06, MTPD-
             0426099.
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units per month (= 1.5 million per year), by August 2007 the line had a reported capacity of only
41.667 thousand units per month.60
As indicated by the technical problems faced by various manufacturers, technical knowledge
about CRT manufacturing was not always available. If such knowledge were readily available,
manufacturers would not have abandoned attempts to introduce new products.61 As an example,
when Irico was having technical problems, it first sought assistance from Toshiba, an investor in
Irico at the time. When “Toshiba was not too enthusiastic in transferring technology”, Irico
sought help from Chunghwa.62
It is unclear how readily CRT plants can be used for purposes other than manufacturing CRTs.
There is some testimony the plants have little other use.63 However, it appears Chunghwa
converted a CRT plant to produce plasma display panels after moving the CRT lines to a
Chunghwa plant in China.64
CRT manufacturing equipment is not useful for anything other than manufacturing CRTs.65
Some manufacturers tried to sell disused lines, without success.66

             C. CRT industry structure

                         1. The cartel controlled most of CRT production and capacity

60




61
  Here I refer specifically to products abandoned expressly due to technical inability to produce the product, as
described earlier.
62
 Chunghwa Picture Tubes, LTD, 23 June 2000, Visitation Report, Topic: TV Tube Market, CHU00029110 -
CHU00029115, at 9114E.
63
     See, e.g.,
       •     “Q. Do you know whether CRT production facilities can be used for manufacturing anything other than
             CRTs? A. Based on my understanding, that's not possible.” Hitachi 30(b)(6) Deposition of Nobuhiko
             Kobayashi, 17 July 2012, at 93:7-11.
       •     MTPD’s Ohio plant is now producing garage “shutters” [doors?]; their Indonesian plant was demolished
             after they shut it down. Panasonic 30(b)(6) Deposition of Tatsuo Tobinaga, 16 July 2012, at 147:9-149:8.
64
  “Since late 2000, in order to take advantage of lower labor costs in the China, the Company began moving two 15
inch CDT production lines and two 17 inch CDT production lines from Taoyuan, Taiwan to Chunghwa Picture
Tubes (Fuzhou) Ltd., and replacing those production lines with PDP (plasma display Panel.)” Chunghwa Picture
Tubes, LTD, 15 August 2002, Chunghwa Picture Tubes, Ltd. Financial Statements For The Three-Month Period
Ended March 31, 2002 and 2001 With Report of Independent Auditors, CHU00000260 - CHU00000304, at 0278.
65
     See, e.g.,
       •     Hitachi 30(b)(6) Deposition of Nobuhiko Kobayashi, 17 July 2012, at 93:21-25.
       •     Prior to 2004, MTPD sometimes overhauled lines that were being shut down at one plant and installed
             them at a different plant. It decided “it wasn’t possible to really create a very good facility doing it that
             way.” Its attempts to sell disused lines were unsuccessful. After 2004 or 2005, it decided to scrap the CRT
             lines when it shut them down. Panasonic 30(b)(6) Deposition of Tatsuo Tobinaga, 16 July 2012, at 149:6-8.
66
  See, e.g., “…did you ever sell any equipment to third parties? A. We tried that, but it wasn’t successful.”
Panasonic 30(b)(6) Deposition of Tatsuo Tobinaga, 16 July 2012, at 147:9-149:8.
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As noted above, customers generally cannot substitute between CDTs and CPTs. Production
shares for CDTs and CPTs show the cartel members controlled a very large share of production
of each type of tube; see Exhibits 4 and 5, respectively.
The Herfindahl-Hirschman Index (HHI) is widely used in scholarly research as well as in
antitrust legal and economic analyses to measure the degree of concentration in an industry.67
The HHI is based on the distribution of market shares across firms. Lower HHI values indicate a
less concentrated market, with many firms each having low market share, and hence, more
competitive conditions for market participants. According to the 2010 Horizontal Merger
Guidelines, the U.S. Department of Justice (DOJ) considers markets with HHIs below 1500 to be
“unconcentrated”, between 1500-2500 “moderately concentrated”, and above 2500 “highly
concentrated”.68 Production of each type of tube was highly concentrated with the cartel in place,
with HHIs in excess of 8,000 for CDT production and 7,000 for CPT production. This is a
dramatic contrast to the degree of concentration that would have existed absent the cartel. See
Exhibits 6 and 7.
As noted above, some degree of supply substitution is possible: some lines were designed to be
able to switch relatively quickly between CDT and CPT production and other lines were
converted from producing one type of tube to the other. Therefore I also examined CRT
manufacturing as a whole. With the cartel in place, CRT manufacturing was highly concentrated,
with the HHI exceeding 7,800. Again, the concentration resulting from the cartel is in dramatic
contrast to the concentration that would have existed absent the cartel. See Exhibit 8.

               2. Falling demand and excess capacity cause sick industry problem
Falling demand and persistent excess capacity often cause the long-run decline of an industry.
Noted antitrust scholars, Areeda, Hovenkamp, and Solow say:
                  When demand for a product declines, competition drives price below full
                  costs, including a competitive return on capital; producers will continue to
                  earn less than a competitive return until the excess capacity is
                  withdrawn… Barriers to mobility prolong and magnify the losses;
                  competition may become “ruinous.”… Until it wears out, plant or
                  equipment will continue in operation so long as price exceeds variable
                  costs, because some return on investment is better than nothing. Thus
                  price can fall and remain well below full costs for an extended period
                  before capacities are reduced enough to restore profitable operations.69


67
  The Herfindahl-Hirschman Index (HHI) is calculated by summing the squares of the market shares of all
participants in the relevant market. In the case of a pure monopoly, the Herfindahl takes the value of 10,000 (100
squared). In the case of perfect competition (in which no single firm has a large market share), the index will tend
toward zero. The U.S. Department of Justice and Federal Trade Commission use Herfindahl indexes as one of the
tools to assess competitive conditions. U.S. Department of Justice and Federal Trade Commission, 19 August 2010,
2010 Horizontal Merger Guidelines.
68
  Department of Justice and Federal Trade Commission, 18 August 2010, 2010 Horizontal Merger Guidelines, at
Section 5.3 Market Concentration.
69
 Areeda, Philip E., Hovenkamp, Herbert, et al., 2007, Antitrust Law: An Analysis of Antitrust Principles and Their
Application, Volume IIB, Third Edition, Aspen Publishers, at ¶413a.
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Scherer and Ross, in a classic Industrial Organization textbook, call the phenomenon described
by Areeda, Hovenkamp, and Solow the “sick industry problem”, and state conditions necessary
for the problem to arise:
                  The cutthroat competition issue has two principal branches. One pertains
                  to industries with chronic excess capacity because superior substitutes
                  have appeared on the scene… the case of the secularly declining or “sick”
                  industry. There are two chief prerequisites: capacity substantially in excess
                  of current and probable future demands and rigidities that retard the
                  reallocation of capital and/or labor toward growing industries. Then unless
                  there is some artificial restraint such as … tightly knit cartel agreements,
                  competition is likely to drive prices down to levels that yield investors
                  much less than a normal return on their capital. …When firms’ cost
                  structures include a high proportion of fixed costs, this profitless existence
                  can continue for years or even (as in railroading and coal mining) for
                  decades, since producers find it preferable to continue operation and cover
                  at least their … variable costs than to shut down.70

                      a) The CRT industry suffered from falling demand
LCD technology is a functional substitute for CRT technology, i.e., it performs a similar function
for the end-user. LCD technology’s primary benefit is to reduce the size and weight of a monitor
or television. LCDs were not practical alternatives to CRTs until the early- to mid-2000s when
LCD manufacturing costs fell significantly. Even then, LCD monitors and TVs were far more
expensive than comparable CRT finished goods and as a result did not constrain the price that
Defendants could charge for CRTs.71
However, the growing popularity of LCD technology, first for monitors and then TVs, did result
in a shrinking market for CRTs. As a result, production capacity significantly exceeded demand
for CRTs beginning by the early 2000s.

                       b) Excess production capacity existed throughout the damages period
Throughout the relevant period, CRT manufacturing capacity exceeded quantity demanded at the
cartelized market prices for both CDTs and CPTs.

                                    (1) There was excess CDT capacity




70
 Scherer, F.M. and David Ross, 1990, Industrial Market Structure and Economic Performance, Third Edition,
Houghton Mifflin Company: Boston, at 294.
71
  If the availability of Product A limits the price at which suppliers can sell Product B, then Product A constrains
the price of Product B. Two products may be functional substitutes – that is, they perform the same function –
without constraining sellers’ pricing decisions. For example, a Ferrari sports car and a Honda Civic are functional
substitutes because they both provide automotive transportation. However, the price and performance characteristics
of the two vehicles are so different that the availability of the Ferrari does not constrain the price that Honda can
charge for a Civic and vice versa. The vehicles are not price constraining substitutes. See Section VIII.A.2.c) for a
more detailed discussion of economic substitutes and market power.
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Toshiba described CDT manufacturing as having “much excess” capacity and the ability to
“easily increase” production in the late 1990s.72 By Toshiba’s calculations, capacity equaled
output in 1995 and thereafter exceeded output by 19% in 1996, 31% in 1997, 37% in 1998, 35%
in 1999, and 27% in 2000.73
In 2000-2001, the dot-com crash depressed computer sales.74 Unit sales of all types of computer
monitors declined 3% from 2000 to 2001.75 To make matters worse for CDT manufacturers,
consumer demand was shifting away from CRT monitors to LCD monitors: LCD monitors rose
from 5% of units in 2000 to 15% in 2001. The shift to LCDs was occurring despite LCD monitor
prices being four to five times the amount of CRT monitors of the same size.76
This double blow had a very significant impact on CDT manufacturing, with most vendors
reporting very low utilization rates in 2001.77 Matsushita and TECO halted production and Orion
was “struggling for survival”.78
CDT production never recovered. When monitor demand began growing again, LCD panels, not
CDTs, benefited from the recovery. LCD monitors went from 15% of the market in 2001 to 28%
in 2002 and captured half the market by 2004, again despite pricing that, by 2004, had LCD
monitors at 2.5 times the price of CRT monitors of the same size.79

                             (2) There was excess CPT capacity
Total output of CPTs rose from the start of the relevant period until it peaked in 2004. However,
from 2000 onward, the increase in CPT output was less than the decline in CDT output, with
total output of CRTs never regaining the 2000 peak. See Exhibit 9.
As noted above, CDT capacity can be converted to produce CPTs. There was excess CDT
capacity in 2000, which would only increase as CDT demand decreased.80 Thus, the amount of
CDT capacity becoming available for conversion to CPT production exceeded any growth in

72
  “But CDT capacity is much excess (135% in 99) vs CDT demand ==>> CDT supply can be easily increased, if
necessary.” Toshiba America Electronic Components, Inc., 21 July 1999, CDT & Monitor Demand Supply
Analysis, TAEC-CRT-00065484, at Tab ‘topics’, K6:K7.
73
 See Toshiba America Electronic Components, Inc., 21 July 1999, CDT & Monitor Demand Supply Analysis,
TAEC-CRT-00065484, Tab ‘MNTR VS CDT (2)’, row 92 and Toshiba Electronics Taiwan, 24 April 2001, CDT &
Monitor Demand Supply Analysis, TET-CRT-00003403, at Tab ‘Deman&Supply graph’, row 37.
74
  PC shipment data show unit sales in the 2nd quarter 2001 had fallen below prior year sales. The data also indicate
full-year 2001 PC shipments were expected to be about 6% lower than 2000. Toshiba America Electronics
Components, 2001, PC Shipments by Quarter, 1994-2002, TAEC-CRT-00018123.
75
     DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000128.
76
     DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000128.
77
  SDI had “the best loading in the industry (~75%)”, Chunghwa was at 60%, Philips at 60%-65%, LG at 55%-60%,
HTC at less than 40%, Toshiba at 60%, Sony at 50%, and Mitsubishi at 58%. Baran, Milan, 08 May 2001, E-mail,
Subject: CDT Price Guideline for May 2001, PHLP-CRT-026590, at 6591-6592.
78
  Baran, Milan, 08 May 2001, E-mail, Subject: CDT Price Guideline for May 2001, PHLP-CRT-026590, at 6591 -
6592.
79
     DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000128.
80
  As noted above, CRT production equipment has no value in other uses and, with CPT production continuing, the
plants themselves needed to be retained. This means idled CDT capacity would grow as demand declined.
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CPT demand from 2000 onward. In 2000, CPT manufacturers’ available capacity, “without
overtime”, was 16% greater than their production and the gap was expected to increase to 19%
for the full year 2001.81 As noted above, CDT manufacturers had 27% excess capacity in 2000.
With excess capacity in both CPT and CDT in 2000, and declining total CRT demand thereafter,
excess capacity among incumbents must have grown after 2000. Because CRT production
facilities and equipment are not readily used for other purposes, the excess capacity problem
looked likely to persist.

                        c) Cartel members recognized their industry was in secular decline and,
                        but for the cartel, would have engaged in “ruinous” competition
The CRT industry satisfied the two conditions – secular decline in demand and excess capacity –
necessary for the “sick industry problem”. Statements from industry participants match
economists’ predictions for firms in a sick industry: they would have been willing to price below
average total costs, ignoring their cost of capital (as reflected in accountant’s depreciation):
       “…current management strategy is to balance actual revenue and expenditure. In other
       words, whether there is a loss on the books would not be the standard. For example,
       depreciation is just a book term and has no impact on actual cash losses or actual revenue and
       expenditure.”82
       “As you know, Thomson has announced write-off of assets for their Mexicali factory a few
       weeks ago. As a result, their cost structure is similar to [LPD’s Gomez Palacio CRT plant in
       Mexico] (no depreciation expense).”83
The industry participants also recognized that the solution to a decline in demand and excess
capacity was cooperation and coordination, absent which ruinous competition would occur:
       “Price erosion is only indirectly driven by LCD penetration but rather by head on
       competition among the remaining CDT producers”84
       “Also, the CRT TV market will not be able to prevent an LCD invasion, so expect CRT
       market demand to continuously decrease. Cooperation within the industry is critical and is a
       survival issue. If there is proper cooperation within the industry during the first half of the
       year, there should not be an inventory issue and we may prevent loss due to a price drop.
       Therefore cooperation is important even during the off-season next year.”85

           D. Some cartel members were vertically integrated86


81
     Chunghwa Picture Tubes, LTD, October 2001, LINE Status by Maker, CHU00125296.
82
  This is the view of Thai-CRT, as reported in notes from a cartel meeting. CPT, February 2003, Comprehensive
Report Regarding Marketing Contacts, CHU00030080 - CHU00030081, at 0080.02E.
83
 Canavan, Pat, 15 November 2004, E-mail, Subject: Re: 29RF global pricing status, PHLP-CRT-023911 - PHLP-
CRT-023915, at 3914.
84
  LG Philips Displays, 02 December 2003, LG.Philips Displays to restructure its European industrial production
infrastructure, PHLP-CRT-001323 - PHLP-CRT-001556, at 1487.
85
     Samsung SDI, August 2005, Competitor China Visit Report, SDCRT-0091524 - SDCRT-0091530, at 1528E.
86
     See Appendix A of my Class Certification report for evidence underlying this section.
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Many CRT manufacturers were vertically integrated into downstream production, manufacturing
finished goods incorporating CRTs as well as CRTs themselves. For example, cartel members
Hitachi, LGE, Panasonic/Matsushita, Philips, Samsung, Thomson, and Toshiba are familiar
brand names for computer monitors and televisions. Outside the cartel, Sony is another CRT
manufacturer that is a familiar brand name, vertically integrated into finished product
manufacturing. When the two big CRT joint ventures, LG Philips and MTPD, were formed,
neither entity included the parent firms’ finished product divisions, but these CRT joint ventures
continued to supply the parent firms’ finished product divisions.

        E. Distribution of CRT monitors and TVs
CRTs travel from Defendants to class members through a distribution chain which generally
includes the following levels:
       •     CRT manufacturers sell tubes to product manufacturers (sometimes via a distributor).
       •     CRT product manufacturers sell CRT monitors and TVs to retailers (sometimes via a
             distributor).87
       •     Retailers sell the CRT products to class members.
The distribution system is largely the same for both CRT monitors and CRT TVs. For a
graphical depiction of the distribution system, see Exhibit 10.

                  1. Direct purchasers
CRT manufacturers sell to two types of direct purchasers: CRT distributors (firms that distribute
CRTs to other firms that incorporate the CRTs into CRT products) and product manufacturers
(firms that incorporate CRTs into CRT products).

                         a) CRT distributors
Distributors buy and sell large quantities of CRTs. Several CRT manufacturers distribute CRTs
via affiliated distributors. For example, TAEC is a Toshiba subsidiary that functions as a
distributor of Toshiba tubes in North America; LG Philips Displays USA distributed tubes for
LPD; and Samsung SDI America distributed tubes for Samsung.88 Other Defendants also have


87
     Some product manufacturers, such as Dell, also sell directly to class members.
88
     See, e.g.,
       •     Toshiba America, Inc. (TAI) is the 100 percent shareholder for Toshiba American Electronic Components
             (TAEC) and Toshiba Corporation in Japan owns 100 percent of TAI. TAEC 30(b)(6) Deposition of Jay
             Alan Heinecke, 31 July 2012, at 158.
       •     TAEC testified that its role was to distribute Toshiba panels to customers in North America: “Q. Okay. If
             the CDT was coming to North America however, you would take title; TAEC would take title? A. If the –
             if their – yes. If it came into North America, TAEC was the sales arm to the monitor assembler.” TAEC
             30(b)(6) Deposition of Jay Alan Heinecke, 31 July 2012, at 143:4-143:8.
       •     LG.Philips Displays USA was LPD’s U.S. distributor. A.A.M. Deterink, 28 August 2006, Trustee’s Second
             Report in the bankruptcies of LG.Philips Displays Holding B.V. and LG.Philips Displays Netherlands B.V.
             and LG.Philips Displays Investment B.V., http://deterinklive.com/nl/publicaties/faillissementsverslagen/l/,
             accessed 12 July 2012, at 28.
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affiliated companies that act as CRT distributors. It appears that there were very limited, if any,
sales of CRTs to third party distributors.

                       b) CRT product manufacturers
Product manufacturers obtain inputs, including CRTs, and assemble them into computer
monitors and TVs. During the manufacturing process, the CRT itself is not modified, but is
combined with other inputs to assemble the monitor or TV. Product manufacturers operate under
a variety of business models; however, these firms perform the same basic function—they
manufacture monitors and TVs using CRTs. Below are descriptions of the various business
models employed by product manufacturers.
       •     Original Equipment Manufacturers (OEMs) sell finished products under their own brand
             name. An OEM may be responsible for all the design and manufacturing of the finished
             CRT product, but also may contract some, or even all, engineering and manufacturing to
             contract manufacturers (CMs).89
       •     Contract Manufacturers (CM) make components or finished CRT products for other
             suppliers of CRT products; these products are sold under the name of the customer
             ordering the product. There are two types of CRT contract manufacturers, Electronics
             Manufacturing Services (EMSs) and Original Design Manufacturers (ODMs).
             •    EMS providers manufacture components and CRT products for their customers, but
                  do not own the IP for the product or its design. EMSs may also provide additional
                  services such as product design or supply chain management.90



       •     Samsung SDI America is Samsung’s U.S. sales corporation for CPTs. Samsung, 2001, Consolidated
             Balance Sheets, SDCRT-0000039 - SDCRT-0000081, at 0050.
89
  Even if assembly of the CRT product is carried out by a CM, the OEM may still negotiate directly with the CRT
manufacturers for the terms and conditions on which CRTs will be delivered to the CMs. See, e.g., “Our component
sourcing and product development staff researches, develops and tests the latest display technologies with our
component suppliers and contract manufacturers, and is charged with designing and developing the highest quality
display products at selected price points. We have established relationships with multiple sources of display
components and multiple display manufacturers, and qualify additional component suppliers and contract
manufacturers when advantageous to us. We currently obtain display components from multiple suppliers, including
Hitachi, Intel, LG-Philips, Samsung, Quanta and Chi-Mei.” Viewsonic Corporation, 29 March 2005, Viewsonic
Corporation 10-K 2004,
http://www.SEC.gov/Archives/edgar/data/1068806/000101540205001539/form10k_123104.htm, accessed 17
March 2014, at 4.
90
     See, e.g.,
       •     Sitronics, a European electronics company, defines Electronics Manufacturing Services (EMS) companies
             as “[a] company that provides design, testing, manufacturing, distribution and return/repair services for
             electronic components and assemblies for original equipment manufacturers.” Sitronics, Undated,
             Glossary, http://www.sitronics.com/investors/glossary/, accessed 17 March 2014, at 3.
       •     “The EMS provider is usually engaged in a number of product verticals and offers diverse operation-
             oriented services ranging from PCB assembly, box assembly, sub-unit assembly to logistics. And the EMS
             provider has multiple facilities in the world serving different purposes and clients.” 10 November 2005, An
             Interview with iSuppli's Jeffrey Wu - ODM vs EMS, what happens next?, EMSNow,
             http://www.emsnow.com/npps/story.cfm?ID=15416, accessed 18 June 2008, at 1.
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           •    ODMs design and manufacture CRT products to be sold under their customers’ brand
                name.91 Unlike an EMS, an ODM generally owns or licenses the IP for the product
                and its design,92 but in some cases, ODMs design products according to customer
                specifications.93 ODMs also may perform all of the design work, offering products
                that are customized only by adding the customer’s brand name prior to sale.94 ODMs
                may manufacture products that are sold under many different brand names.95 In
                addition, some ODMs may also market products under their own brand name.96
                ODMs may ship finished products directly to distributors or retailers, bypassing the
                OEM whose name appears on the product.97
     •     Systems Integrators (SIs) operate very similarly to OEMs, but differ in that they make
           unbranded or “white-box” computer systems, including monitors.98 It does not appear
           that SIs or systems builders make TVs.

                       2. Indirect purchasers

           91
     •       “. . .an ODM is a company that manufactures products of its own designs, which are then sold under an
           OEM’s brand name.” Weber, Austin, 01 February 2003, Outsourcing’s Alphabet Soup, Assembly
           Magazine,
           http://www.assemblymag.com/copyright/9411390b7d5c9010VgnVCM100000f932a8c0____?view=print,
           accessed 18 June 2008, at 1.
           92
     •       “An ODM performs all the functions traditionally associated with EMS firms, in addition to actually
           designing products based on their own intellectual property.” Weber, Austin, 01 February 2003,
           Outsourcing’s Alphabet Soup, Assembly Magazine,
           http://www.assemblymag.com/copyright/9411390b7d5c9010VgnVCM100000f932a8c0____?view=print,
           accessed 18 June 2008, at 1.
           93
     •       “In the ‘Design It’ strategy, the OEM involves the ODM in the product design stage to different degrees,
           depending on the OEM’s resource constraints and long-term R&D planning.” 10 November 2005, An
           Interview with iSuppli’s Jeffery Wu - ODM vs EMS, what happens next?, EMSNow,
           http://www.emsnow.com/npps/story.cfm?ID=15416, accessed 18 June 2008, at 1.
94
  “Now the outsourcing decision is getting complex because of growing demand for original design manufacturers
(ODMs). ODMs not only build a product, but also design it for an OEM. The ODM owns the intellectual property or
they license it.” Carbone, Jim, 16 January 2003, ODMs offer design expertise; quicker time to market,
http://www.purchasing.com/index.ASP?layout=articlePrint&articleID=CA269147&article_prefix=CA&article_id=2
69147, accessed 01 February 2008, at 1.
95
  “In many cases, the ODM will design and build products, such as VCRs or televisions, and sell the products to
multiple OEMs. The OEMs then market the products under their own brand names.” Carbone, Jim, 16 January
2003, ODMs offer design expertise, quicker time to market, Purchasing,
http://www.purchasing.com/index.asp?layout=articlePrint&articleID=CA269147&article_prefix=CA&article_id=26
9147, accessed 01 January 2008, at 1.
96
  BenQ, a CRT finished product manufacturer, employs both the ODM and OEM business model. 10 November
2005, An Interview with iSuppli’s Jeffery Wu - ODM vs EMS, what happens next?, EMSNow,
http://www.emsnow.com/npps/story.cfm?ID=15416, accessed 18 June 2008, at 1.
97
 The distinction between ODMs and EMSs is diminishing as EMS providers acquire design capability. However,
ODMs tend to specialize in only a few products where EMSs are usually engaged in a number of vertical product
markets. 10 November 2005, An Interview with iSuppli’s Jeffery Wu - ODM vs. EMS, what happens next?,
EMSNow, http://www.emsnow.com/npps/story.cfm?ID=15416, accessed 18 June 2008, at 1.
98
  31 March 2014, White box (computer hardware), Wikipedia,
http://en.wikipedia.org/wiki/White_box_(computer_hardware), accessed 31 March 2014.
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Product manufacturers sell CRT products either directly to retailers or to distributors that
subsequently resell the CRT products to retailers. These retailers and distributors are indirect
purchasers of CRT products; that is, they are not purchasing directly from the CRT
manufacturers.

                       a) Product distributors
Finished CRT products can be shipped to retail markets through independent distributors. These
distributors are responsible for maintaining product inventory and preparing it for shipment.
Distributors usually ship products to retailers that, in turn, resell to end customers; however,
distributors sometimes drop-ship products directly to end customers who purchase through a
retailer.99

                         b) Retailers
Retailers sell finished CRT products to end consumers. These retailers include “big box”
electronics retailers, specialty retailers, on-line merchants, and direct sales from OEMs to
consumers. There are two general types of retail stores: brick-and-mortar stores (e.g., Best Buy,
Radio Shack, Staples, Circuit City, Target, and Wal-Mart) and online retailers (e.g.,
Amazon.com, Buy.com, Dell.com, hp.com, Newegg, PC Mall).100

                   3. Final consumers (class members)
End-customers purchase CRT products for their own use and do not resell them. End-customers
are indirect purchasers that typically purchase CRT monitors and TVs from retailers; however, in
some circumstances they purchase CRT products directly from product manufacturers. In the
latter scenario, end-customers are still indirect purchasers of CRTs since the product
manufacturer is the entity that purchases CRTs and resells CRT products to the end-customers.

VII. The economics of cartels
I discussed the basic economics of cartels in my expert report in support of class certification.101
For convenience, I have included that discussion as Appendix 1 of this report. There are four
important points that are relevant to the economic analysis of whether the CRT cartel caused
antitrust injury:
      •   A successful or effective cartel raises prices above the level they would have been but for
          the collusive conduct. I call the price that would have prevailed absent the cartel the




99
  Klein, Karen E., 22 September 2009, How Drop-Shipping Works for Retailers and Manufacturers -
Businessweek, Bloomberg Businessweek,
http://www.businessweek.com/smallbiz/content/sep2009/sb20090922_341780.htm, accessed 28 March 2014.
100
   Generally, brick-and-mortar stores also sell some products online, while online retailers typically sell online
exclusively.
101
   Netz, Janet S., 01 October 2012, Declaration of Janet S. Netz, Ph.D., In Support of Motion of Indirect-Purchaser
Plaintiffs For Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division) (Hereinafter “Netz Class Cert Report”).
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          “competitive price”102 or the “but-for price”. A successful cartel, as I use the term,
          necessarily causes antitrust harm.
      •   Prices can be above the competitive level even if prices are falling over time. That is,
          falling prices do not indicate a lack of antitrust harm. The appropriate comparison for
          examining the success of a cartel is the actual cartel price compared to the but-for price,
          not the actual cartel price in one period compared to the next.103
      •   Cartel success is a matter of degree. A perfect cartel would set the monopoly price, which
          maximizes the joint profits the cartel members can earn as a cartel. However, a cartel can
          be successful even if it fails to raise prices to the monopoly level, as long as cartel prices
          are above the competitive level. Thus, the observation of some degree of cartel members
          “cheating” by charging customers lower prices and producing more than agreed is
          consistent with a successful cartel.104
      •   A cartel can be successful even if some members are vertically integrated downstream
          and others are not. Both vertically integrated and unintegrated cartel members profit from
          an upstream cartel. A vertically integrated cartel member profits from the higher prices
          for intermediate goods sold to unrelated firms and from the higher prices for finished
          goods produced by its downstream subsidiary that result from the higher prices charged
          to unrelated firms. An unintegrated cartel member profits only via the first mechanism.

VIII. The CRT cartel caused class members to pay higher prices
Based on the analyses described below, I conclude that the cartel increased prices to direct
purchasers and that the overcharge was passed through to class members.

         A. The cartel increased prices to direct purchasers
In this section, I describe the economic analysis I undertook to determine whether the cartel
increased prices to direct customers. I start by considering the cartel’s statements and actions;
both support my conclusion that the cartel did increase prices. I then examine the cartel’s market
power and various industry characteristics that might, but don’t, eliminate the cartel’s market
power or its ability to exercise its market power. I then evaluate the cartel’s practices and their
impact on prices. Finally I engage in an econometric analysis that directly shows higher prices
resulting from the cartel’s actions.
All of this evidence and analyses support my conclusion that the cartel caused the prices to direct
purchasers to be above the competitive level.



102
   The “competitive price” is not to be confused with the equilibrium price in a perfectly competitive market. Most
markets are not perfectly competitive even if free of monopolizing conduct such as cartelization; the “competitive
price” is therefore not, in general, equal to the equilibrium price in a perfectly competitive market. Rather, it is the
price that would prevail if cartel members competed freely with each other rather than colluding.
103
  Actual prices in time periods outside the cartel can be used to estimate the but-for price, which can then be
compared to the actual price charged during the cartel.
104
  Bernheim, B. Douglas and Erik Madson, March 2014, Price Cutting and Business Stealing in Imperfect Cartels,
NBER Working Paper Series 19993.
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                      1. The cartel’s success is demonstrated by the statements and conduct of
                      cartel members

                       a) Cartel members reported they could and did raise prices
Cartel members were well-placed to know whether the cartel’s efforts to set prices above the
competitive level were successful. In contemporaneous business documents, including notes
from cartel meetings, cartel members repeatedly declared their ability and intent to raise and
maintain the prices of CPTs105 and CDTs106 above the competitive level.107 Cartel members also
regularly reported their success in raising or maintaining prices108 for CPTs109 and CDTs.110

105
      See, e.g.,
       •     From meeting notes: “Suggestion to Top Management 1. Every CPT maker’s situation is getting improved
             in 14"/20"/21" together. Even with limited information of today, we can forecast the balance situation of
             supply and demand from June and July. And glass bulb price was increased from 2Q. 2. So, we believe that
             price can be increased from 3Q. 3. But, TV & DSP [display or monitor] market are quite different, the
             action must be taken very carefully. So we would like to suggest Guideline of price and timing expected be
             decided on the meeting of Apr. 15. Finally, CPT maker need to have a meeting to discuss detailed action
             plan to increase the price from 3Q in the beginning of May.” Chunghwa Picture Tubes, LTD, 09 April
             1999, Visitation Report, Subject: 14", 20", 21" CPT Respective Makers’ Recent Status and Price Opinion
             Review, CHU00028606 - CHU00028608, at 8608.01E.
       •     From meeting notes: “With makers’ changing lines, a shortage is likely to happen. As long as everybody
             cooperates, a price rise adjustment would definitely be successful.” Du, Ching-Yuan (Michael), Hsieh, et
             al., 01 June 1999, CPT Sales Department Business Meeting Report, CHU00029189 - CHU00029190, at
             9189E.
       •     From meeting notes: “For the price rise this time, although customers have not confirmed acceptance, SDI
             [Samsung] Mr. Park claimed that SDI has discussed the new price with almost all customers, and felt that
             the customers were not as resistant to price increases as last time. Thus, he thinks that the price increase this
             time should be easier than last time. In addition, OEC [Orion] Mr. Lee also claimed that Funai had no
             particular comment on the price increase. So OEC also thinks that the price can be raised smoothly and
             successfully.” Chunghwa Picture Tubes, LTD, 24 March 2000, Visitation Report, Topic: Market
             Information Exchange and Price Review, CHU00029144 - CHU00029146, at 9146.02E.
       •     From meeting notes: “The supply and demand in the market of 20"/21"/21"F tubes next year are more
             heated than this year and the price raise in the European Market should be successful.” Chunghwa Picture
             Tubes, LTD, 25 October 2000, Visit Report, Topic: Exchange of CPT market information and review of
             price, supply and demand, CHU00028975 - CHU00028976, at 8976.02E.
106
      See, e.g.,
       •     From meeting notes: “Directory [sic] Liu again patiently explained about the price raise background/
             current price of various CRT makers/ situation of monitor makers/ HTC [Hitachi] 14" and 15" are no long
             [sic] the main stream and in April, HTC has raised the price slightly by USD 1-2.00 as well as other points
             of suspicion. This was to let him understand that there was already certain degree of success in following of
             price rise. There should not be any pressure from the customers. Furthermore, this was beneficial to his
             company’s operation/ as well as to the overall industry.” CPT, Liu, Chih-Chun (C.C.), et al., 23 April 1997,
             Visitation Report, CHU00028503 - CHU00028504, at 8504E.
       •     Manager Jian-Lung Zhang from Hitachi “indicated that he welcomes the price increase. He personally
             believes that if there can be another increase in October, HTC would follow.” Chunghwa Picture Tubes,
             LTD, 21 August 1998, Sales Department Customer Contact Report, CHU00028385 - CHU00028387, at
             2386E
       •     From meeting notes: “SDI [Samsung] also brought up that there should be a price increase for the 14" CDT
             because its demand exceeds its supply. Employee replied that it must be decided and passed through the
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             headquarter GLASS MEETING. There is optimism for success.” Chunghwa Picture Tubes, LTD, 06 April
             2000, CPTF [Chunghwa Picture Tubes Fuzhou] Sales Department Visitation Report, Meeting Main Topic:
             China CDT Market Exchange, CHU00030992 - CHU00030994, at 0993.01E.
       •     From meeting notes: “Manager Chang claims that regarding China and Korea maker's 14"/15"/17" CDT
             price increase, HTC [Hitachi] itself also intends to increase. Its headquarters’ resolution is that if prices
             have definitely increased, HTC guarantees that it would FLW.” CPT [Chunghwa], Du, Ching-Yuan
             (Michael), et al., 16 June 2000, Contact Report, CHU00028377, at 8378E.
107
      See, e.g.,
       •     Chih Chun-Liu, VP of sales at Chunghwa from 2000 to 2005, testified on the cartel’s success. “Q. Do you
             agree, Mr. Liu, that in times of over-supply these group competitor meetings helped keep prices from
             falling as much as they would have? [objections omitted] THE WITNESS: Agree. BY MS. BERNSTEIN:
             Q. And when there was a shortage of tubes, sir, do you agree that these group competitor meetings
             allowed suppliers to raise prices faster? [objections omitted] THE WITNESS: Agreed.” 20 February 2013,
             Deposition of Chih Chun-Liu, Volume II, at 364:19 - 365:10.
       •     A 1999 review of the working-level cartel meetings stated that “because of the success of the Glass
             Meeting, everybody has been Enjoying Business [sic] this year” and called for continued cooperation.
             “Review of the implementation method of the Working Level weekly meeting: Each maker indicated that
             because of the success of Glass Meeting, everybody has been Enjoying Business this year. Now that the
             Slow Season is coming, everybody should continue to strengthen communications and contacts, so the
             weekly meetings should continue to be held on time.” Chunghwa Picture Tubes, LTD, 09 November 1999,
             Visitation Report, CHU00030916 - CHU00030918, at 0916.02E.
108
   Recall that when prices are generally declining, a cartel may collude in order to maintain constant prices, which
are above competitive prices. See Section VII and Appendix 1.
109
      See, e.g.,
       •     Meeting notes referring to LPD’s 14" CPT price increase: “An increase of $0.5 ($18.5/April - ) was
             obtained.” Nishimura, Tanaha, 22 March 2004, Letter, Discard immediately after reading / Do not save to
             PC / Forwarding prohibited, MTPD-0419572 - MTPD-0419573, at 9572E.
       •     From CPT meeting notes: “SDD [Samsung] said that BMCC [Matsushita] has raised its original Bare Tube
             sales price of USD 29.5 for MTV to USD 30.5 following communications with SDD.” Chunghwa Picture
             Tubes, LTD, 23 August 1999, Visitation Report (Submit), CHU00029179 - CHU00029184, at 9179.02E.
       •     From Chunghwa’s notes from a meeting with Matsushita Electronic Corporation (Malaysia): “He explained
             fully the situation of current price increase. Price of 20" was also successfully raised by $1-$2. Furthermore
             now all 20" supplying makers were all very tight (other than SDEM [Samsung Electron Devices
             (Malaysia)] which was slightly loose), Matsushita should be able to adjust its prices in good time. Mr.
             Tomori indicated that internally there was already a plan and would negotiate with customers shortly. It
             would start raising 20" price in October.” Chunghwa Picture Tubes (Malaysia), Yang, Sheng-Jen (S.J.), 07
             September 1999, CPT Sales & Marketing Division Visiting Report, CHU00028438, at 8438.02E.
       •     “As far as the 14"/20" tube price increases are concerned, other than Thai-CRT not attending the meeting,
             so Thai-CRT's 20" price for July TCE/Funai is yet to be confirmed, all attendees believe that the price
             increase has been a full success. Mr. Chairman expressed gratitude for everyone's cooperation and hard
             work.” Chunghwa Picture Tubes, LTD, 13 July 2000, Visitation Report, Topic: Market Information
             Exchange and Price Review, CHU00029108 - CHU00029109, at 9109E.
       •     From June 2000 meeting notes: “CPT Tube: Director Liu explained that after China and Korea makers
             communicated with and explained the market status to related makers individually, of the China makers
             who were originally exporting the 21" tube with low prices, PH Nanjing has already increased $0.5/pcs in
             May. It plans to adjust another $12/pcs in August. HTC Shenzhen also agreed to increase the current price
             of Bare $48-$49/pcs, to $51/pcs in August. The price increase of 20" tubes in Southeast Asia is also very
             successful. Customers such as Funai/TCE/AIWA/JVC, etc. have all accepted new prices of $49/pcs or
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                      b) Cartel members reported they could and did restrict output and
                      capacity to raise price
A cartel possesses market power if it can raise price by restricting the output of its members
relative to what members would have produced if there were no cartel.111 The cartel meeting


             more. Prices for medium and small-size customers such as Silver are at $50/pcs. [Break] Mr. Matsumoto
             thanked CPT for its explanation and promised to take action to announce the price increase of 20"/21"
             tubes to customers.” CPT, Liu, et al., 21 June 2000, Visitation Report (Submit), CHU00028424, at
             8424.01E - 8424.02E.
110
      See, e.g.,
       •     “CPTM [Chunghwa Malaysia] explained the price increase actions of CPT Group [Chunghwa Group]. The
             price increase for CDT (0.39/0.28) was implemented in the middle of May with a US$7.00 increase;
             moreover, all customers have accepted. The price for CPT will be increased starting on June 1 with a range
             of 14" -US$3.00, 20"/21"-US$4.00. Although it was difficult to raise the price, due to the tube shortage, the
             major customers accepted anyway.” Chunghwa Picture Tubes, LTD, 29 May 1995, CPT Sales &
             Marketing Division Visiting Report, CHU00028933 - CHU00028945, at 8934E.
       •     A “market update” from a 1998 meeting stated that the 15" CDT “price increase is successful, some noises
             from M.N [I believe this refers to “Mainland” (as in Mainland China)] & Korean customers but
             manageable”. Samsung, 01 August 1998, SDCRT-0086256, SDCRT-0086256 - SDCRT-0087004, at 6685.
       •     From Customer Contact Report: “After CPT [Chunghwa] and Korea Maker increased the 15" CDT selling
             price in August, there is no longer any price difference.” CPT, Lui, et al., 20 August 1998, Sales
             Department Customer Contact Report, CHU00028248 - CHU00028249, at 8248E - 8249E.
       •     Meeting notes referring to CDTs: “Visited HTC/MEC/TSB [Hitachi/Matsushita/Toshiba] and other Taipei
             branch office personnel, expressed to them the successful price increase.” Chunghwa Picture Tubes, LTD,
             28 August 1998, Report (submit), CHU00023392 - CHU00023398, at 3394.01E.
       •     From meeting notes: “Chunghwa: Increased the price of “17 [sic]”. Samsung SDI, 04 November 1998,
             SDCRT-0086441, SDCRT-0086441 - SDCRT-0086442, at 6441E.
       •     A meeting note referring to a previously planned price increase for 17" CDT stated, “All of the companies
             successfully increased their prices.” Samsung SDI, 18 January 1999, CDT Industry (January 18, ’99)
             Meeting Result, SDCRT-0086557 - SDCRT-0086560, at 6557E.
       •     Meeting participants reporting on the sales and prices of different sized CDTs: “SDD - Mr. D Y Kim said 1
             [circled] Price of 14" [Underlined by hand] in China Mainland has been successfully raised to $50
             [Underlined by hand]; ensuing customer demands are still strong.” Chunghwa Picture Tubes, LTD, 23 June
             1999, Business Meeting Report, CHU00030787 - CHU00030794, at 0787.02E.
       •     From meeting notes: “[T]he price of [15"] CDT’s increased” and “14" [Bullet] Price increase completed”.
             Samsung Display Device, Philips, 20 August 1999, Top Management Meeting (August 20), SDCRT-
             0086675 - SDCRT-0086681, at 6677E.
       •     Meeting notes from 1999 indicated that cartel members successfully raised prices for 14" and 15" CDTs.
             “In September, the price of 14" was successfully increased … All makers expressed that the current
             production and sales volume [for 15" CDTs] are still good and the prices in August had been successfully
             increased in accordance with the Agreed Price.” Chunghwa Picture Tubes, LTD, 20 September 1999,
             Visitation Report (Submit), CHU00030855 - CHU00030868, at 0855.02E.
       •     “Mr. Lin emphasized that this year the 17" price has been able to be keep at a price no less than $90
             because of the Glass Meeting.” Chunghwa Picture Tubes, LTD, 13 October 1999, Contact Report, Meeting
             Topic: CDT Regular Exchange Meeting, CHU00030888 - CHU00030893, at 0889.
111
  “Market power is the ability to raise price profitably by restricting output.” Areeda, Philip E., Hovenkamp,
Herbert, et al., 2007, Antitrust Law: An Analysis of Antitrust Principles and Their Application, Volume IIB, Third
           Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 37 of 1309
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notes show the cartel was fully aware of the relationship between decreased output and increased
price, with cartel members proclaiming they had successfully increased prices of both CDTs112
and CPTs113 by reducing capacity and cutting production. Cartel members reported their success
in shutting down lines, both temporarily and permanently.114




Edition, Aspen Publishers, at ¶501. “Restricting output” means that the cartel held output below the competitive or
but-for level; it does not necessarily mean that output decreases over time.
112
   For example, on the CDT side, notes from a October 13, 1999 meeting read: “In order to contribute to the
stabilizing of the market price, CPT [Chunghwa] has decreased production of 17" to the utmost degree for quite a
long time…Mr. Lin emphasized that this year the 17" price has been able to be keep [sic] at a price no less than $90
because of the Glass Meeting.” Hsieh, Chun-Mei (Christina), 13 October 1999, Contact Report, Meeting Topic:
CDT Regular Exchange Meeting, CHU00030888 - CHU00030893, at 0888.02E-0889.01E. For context, see,
       •     Notes from a April 14, 1999 meeting: “The price of the 17" CDT which was increased per agreement
             starting in May will be raised again (around July) after observing the situation…The companies agreed to
             stop producing 17" CDT’s for at least 5 days (25 days of operation).” Samsung SDI, 19 April 1999, Report
             on the April 14 Management Meeting Results, SDCRT-0086593 - SDCRT-0086596, at 6593E.
       •     Notes from a May 21, 1999 meeting: “[Bullet] Up to now, the capacity adjustment for 17" CDT's has been
             proceeding smoothly as a result of cooperation among the companies. [Bullet] In June, 17" CDT
             production will stop for 5 days (25 operating days) to adjust the actual production volume in order to
             maintain the price level.” Samsung SDI, May 1999, Report on the CDT management meeting results (May
             of ‘99), SDCRT-0086632 - SDCRT-0086633, at 6632E.
       •     Notes from a July 23, 1999 meeting, “Senior Manager Cheng proposed that the production stoppage period
             for 17" tubes be at least seven days in August in order to effectively ensure price levels.” Chunghwa
             Picture Tubes and LTD, 23 July 1999, Visitation Report, Topic: CDT Market Information Exchange and
             Price/Production Volume Review, CHU00030809 - CHU00030814, at 0810.01E - 0810.02E.
113
  On the CPT side, notes from an October 27, 1999 meeting read: “Price-up trend [of small and medium CPTs] in
European & American market thanks to capacity reduction in Asia.” Chunghwa Picture Tubes and LTD, 27 October
1999, Visitation Report, Topic: Exchange of Market Information and Price Review, CHU00030899 -
CHU00030903, at 0902E. For context, see:
       •     Notes from a 26 September 1998 meeting, “In order to stabilize price for this over-supplied market, a
             simulated adjustment of each maker’s Q4 [1998] production volume plan is as follows.” The notes then
             detail the quantity reductions of 14" and 20"/21" CPTs for each maker. Chunghwa Picture Tubes and LTD,
             26 September 1998, Visitation Report, Topic: 14"/20"/21" CPT Supply/Demand and Price Comment
             Review, CHU00029262 - CHU00029264, at 9264.01E.
       •     Notes from a 20 May 1999 meeting describe the number of production lines reduced by each maker for 14"
             and medium-sized CPTs in Q1 1999. Supply and demand forecasts show overcapacity declining as the year
             progresses. Chunghwa Picture Tubes and LTD, 20 May 1999, Meeting Minutes, Meeting Subject: CPT
             Top Management Meeting, CHU00029191 - CHU00029194, at 9193E.
114
      See, e.g.,
       •     Meeting notes referring to output restriction at LPD said, “Production capacity’s reduction was still
             progressing according to plan; UK and one production line of Huafei were closed down in 1Q and 2Q
             respectively.” Chunghwa Picture Tubes, LTD, Undated, Review of CDT Market, CHU00660200 -
             CHU00660201, at 0200E.
       •     “Up to now, everybody has been quite cooperative regarding the implementation of reducing working
             days.” Chunghwa Picture Tubes, LTD, 24 February 1997, Customer Contact Report, Contents Exchange of
             Opinions Regarding 14" CDT Price, CHU00028763 - CHU00028767, at 8763.01E.
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                          c) Defendants’ conduct makes no sense if the cartel was unable to raise
                          prices above the competitive level
The CRT cartel members engaged in costly conduct for over twelve years, committing
significant time and resources – conducting regular meetings, monitoring other members’ output,
and generating and sharing market intelligence all cost money, employees’ time, and other
corporate resources – to raising prices. In addition to these tangible costs, by participating in an
illegal price-fixing scheme, cartel members bore a great deal of risk in the form of potential
fines, legal liability, and jail-time for executives if the conspiracy were made public.
If, as is reasonable, one believes that the cartel members and their employees acted rationally,
then they would not have engaged in such costly conduct unless the costs were outweighed by
the increased profits cartel members accrued as a result of the cartel.115 Absent the conspiracy to
raise prices, cartel members would have avoided the costs and risks of the conspiracy entirely. If,
despite their best efforts, cartel members had failed to raise prices and therefore profits, then they
should have walked away from the conspiracy. The fact that Defendants, led by experienced

       •     “Up to now, the capacity adjustment [reductions] for 17" CDT’s has been proceeding smoothly as a result
             of cooperation among the companies.” Samsung SDI, May 1999, Report on the CDT management meeting
             results (May of ’99), SDCRT-0086632 - SDCRT-0086633, at 6632E.
       •     “[Heading] 17" Production Control [text] a) Mr. Jerry commented that various makers have coordinated
             very well on 17" Capacity control in the past three months. In view of the market situation, July’s number
             of non-workdays should be higher than the average number over the April-June period, to demonstrate each
             maker’s commitment to safeguarding the price.” Chunghwa Picture Tubes, LTD, 23 June 1999, Business
             Meeting Report, CHU00030787 - CHU00030794, at 0791.02E.
       •     “Price up trend in European & American market thanks to capacity reduction in Asia.” When asked about
             this quote, Chih Chun-Liu, VP of Sales at Chunghwa, testified that this is an example of prices increasing
             due to a reduction in production. Chunghwa Picture Tubes, LTD, 27 October 1999, Visitation Report,
             Topic: Exchange of Market Information and Price Review, CHU00029171 - CHU00029174, at 9174E. 20
             February 2013, Deposition of Chih Chun-Liu, Volume II (Hereinafter “Deposition of Chih Chun-Liu, Vol
             II, 20 February 2013), at 363:12 - 363:22.
       •     In 2000 Chunghwa audited and confirmed that Samsung’s Shenzhen plant had shutdown 17" CDT
             production. Chunghwa Picture Tubes, LTD, 09 April 2000, Visitation Report, CHU00030998, at 998E.
       •     A chart shows that Chunghwa and Samsung each planned and shut down five lines, and LPD planned to
             shut down six lines and actually shut down seven and a half lines. Chunghwa Picture Tubes, LTD, 27
             December 2002, Itinerary, CHU00660487 - CHU00660500, at 0495.
       •     A chart that describes a two-step shutdown plan has a note that states: “2nd step seems to to [sic] be
             implemented in advance than previous agreement.” Samsung, 24 February 2005, Itinerary, SDCRT-
             0091605 - SDCRT-0091615, at 1611.
115
      See, e.g.,
       •     “In deciding whether to violate the antitrust laws, or to engage in conduct that may result in a finding of a
             violation, a rational firm will aggregate the expected punishments and discount (multiply) them by the
             probability of their imposition to determine the expected punishment cost for engaging in that conduct.”
             Posner, Richard, 2001, Antitrust Law, Second Edition, University of Chicago Press: Chicago, at 47.
       •     “Only if a cartel is expected to raise the price above the noncartel price and keep it high do firms join. If the
             noncartel price is close to the cartel price, then firms may not believe that joining the cartel is profitable
             given the legal liability they potentially face from belonging to a cartel.” Carlton, Dennis W. and Jeffrey
             M. Perloff, 2005, Modern Industrial Organization, Fourth Edition, Person Addison Wesley, at 131 and
             accompanying footnote.
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CRT industry executives, continued to actively participate in the cartel for years is strong
evidence that their continued participation elicited a benefit at least as large as the cost of
participation.116
It might be plausible that cartel members were mistaken in their belief that they had market
power, if the cartel had tried to raise prices and failed one or two times or for a short time period,
but it is improbable that the cartel attempted the impossible over and over again for over twelve
years, risking millions in fines and even jail time, without giving up. Cartel members were the
leaders of large companies in a large industry and should be presumed to know, after repeated
attempts, whether they had succeeded in raising price. Given the on-going conduct, they must
have believed they succeeded.
Cartel members thereby demonstrated their belief that the cartel had market power, for without
it, their on-going attempt to raise price would have been irrational: without market power, the
cartel would have no effect on price and the firms would simply earn lower profits. Antitrust
authorities recognize that conduct that would be irrational in the absence of market power is
evidence of the possession of market power.117

                2. Defendants had the market power to raise prices
By definition, a cartel must possess market power in order to raise price above the competitive
level. Defendants’ conduct, testimony, and contemporaneous business documents show that the
cartel members recognized that they had market power. There are two very direct limits to a
cartel’s market power: production by non-cartel firms and new entrants. As the cartel attempts to
restrict output and increase price, the resulting increase in profits encourages either non-cartel
firms or new firms to increase output.
Based on my analysis described below, I conclude that non-cartel firms and new entrants did not
and could not fully offset the cartel’s efforts.

                         a) The cartel’s market power was not eliminated by non-cartel members
If a cartel attempts to increase price and a substantial number of its customers are able to avoid
the higher price by switching to a lower-priced supplier outside the cartel, then the cartel will be
forced to abandon the higher price. For this reason, a cartel must control a substantial share of
the market supply in order to raise prices above the competitive level.118,119

116
   “Particularly in large industries with significant stakes, the firms involved will ordinarily have a better grasp of
industry conditions and of their own ability to succeed in spite of them than will an outsider. Thus, if one sees clear
attempts to coordinate or strong evidence that oligopolistic coordination is successful, the better inference is that the
mistake lies not with the firms’ analysis of conditions but rather with the enforcer’s.” Kaplow, Louis, 2011, An
Economic Approach to Price Fixing, Antitrust Law Journal, 77(2), 343-449.
117
    “Some conduct benefits actors only if it supports supracompetitive prices. Because such conduct would be
irrational for the perfectly competitive firm, its occurrence indicates that the defendant has (or believes it has) some
degree of market power.” Areeda, Philip E., Hovenkamp, Herbert, et al., 2007, Antitrust Law: An Analysis of
Antitrust Principles and Their Application, Volume IIB, Third Edition, Aspen Publishers, at ¶520a.
118
   Salant, Stephen W., Switzer, Sheldon, et al., May 1983, Losses from Horizontal Merger: The Effects of an
Exogenous Change in Industry Structure on Cournot-Nash Equilibrium, The Quarterly Journal of Economics, 98(2)
pp. 185 - 199.
119
  Identifying a relevant antitrust market and computing market shares is an indirect means of assessing market
power. The relevant antitrust market includes all products sufficiently substitutable such that a hypothetical
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The CRT cartel dominated the supply of CRTs as a whole and CPTs and CDTs separately; see
Exhibits 4, 5, and 11 and Section VI.C.1. Cartel members accounted for at least 85% of CPT and
CDT sales for years in which I have found reliable data (from 2000 through 2006 for CPT and
1998 through 2006 for CDT).
Moreover, the CRT cartel possessed 89.0% of the capacity to produce CRTs; see Exhibit 12.
Therefore, when the cartel restricted output of CRTs, that output reduction could not readily be
offset by increased production of CRTs by non-cartel suppliers; non-cartel suppliers had the
capacity to produce only about 10% of the CRTs demanded. Because non-cartel suppliers lacked
sufficient capacity to significantly increase their market share, they had little reason to maintain
low prices in response to cartel members’ supra-competitive pricing. Accordingly, non-cartel
suppliers acting in their own self-interest would be expected to raise prices above the competitive
level along with cartel members.
Sony, the largest non-cartel CRT manufacturer, accounted for a relatively small and declining
share of production. Sony’s share of global CPT production fell steadily from around 7% in 2000
to under 3% in 2006 and its share of CDT production fell from around 8-10% in the mid-1990s
to zero when it exited the market in 2004.120
I therefore conclude that the few competitively-supplied CRTs available as alternatives to cartel-
supplied CRTs were insufficient to prevent the cartel from raising prices.

                         b) The cartel’s market power was not eliminated by entry
If a cartel is successful in raising prices above the competitive level, the prospect of high profits
may induce firms not currently operating in the industry to enter. If these entrants are sufficiently
large or numerous and are not co-opted by the cartel, entrants could potentially undercut the
cartel’s prices and return the industry to a competitive state. Long-term cartel success therefore
depends on the ability to prevent economically significant entry or co-opting entrants. Below, I
show that during the class period, economic conditions in the CRT industry deterred entry and
there was no meaningful entry in the CRT industry.

                                       (1) Barriers to entry deterred entry

monopolist over products in the relevant antitrust market could set prices above the competitive level by a small but
significant amount for a non-transitory period of time. This is according to the Department of Justice’s
“Hypothetical Monopolist Test”, sometimes called the “SSNIP (small but significant and non-transitory increase in
price) Test”. See, e.g.,
       •     Areeda, Philip E., Hovenkamp, Herbert, et al., 2007, Antitrust Law: An Analysis of Antitrust Principles and
             Their Application, Volume IIB, Third Edition, Aspen Publishers, at ¶532a.
       •     “The measurement of market shares and market concentration is not an end in itself, but is useful to the
             extent it illuminates the merger’s likely competitive effects.” 2010 Merger Guidelines U.S. Department of
             Justice and Federal Trade Commission, 19 August 2010, 2010 Horizontal Merger Guidelines, at Section 4.
120
      See, e.g.,
       •     MT Picture Display, November 2006, Untitled Spreadsheet of CPT and CTV data, MTPD-0416090.
       •     Samsung, 11 December 2003, Worldwide CDT Manufacturer's Status, SDCRT-0201291.
       •     DisplaySearch, 07 July 2005, Q2'05 Quarterly Desktop Monitor Shipment and Forecast Report,
             CHWA00088192 - CHWA00088762, at 8484.
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As discussed in Section VI.B.3, barriers to entry deterred entry. Entry into CRT manufacturing
required a large capital investment and could take years. Technical knowledge was also
important; even incumbent CRT manufacturers experienced difficulties when establishing new
production facilities. The cost, time and risk associated with entering the CRT manufacturing
industry would tend to discourage entry.

                                 (2) CRT industry conditions deterred entry
As I showed in Section VI.C.2, the CRT industry was characterized by excess capacity and low
returns to capital for much of the class period. Such conditions deter entry of new firms into an
industry (even if it is cartelized) for multiple reasons. When excess capacity causes producers to
earn less than a competitive return on their investments, potential entrants will not make the large
investments necessary to participate in the CRT industry.121 The low rate of return makes entry
undesirable because potential entrants can earn higher returns in other industries.
Excess capacity in the CRT industry also deters entry. Even if the cartel’s prices are high enough
to make entry attractive, the presence of excess capacity makes known to potential entrants that
incumbents have the ability to respond quickly with a price war if significant entry is attempted.
To a potential entrant, the excess capacity is a credible threat that, even though prices may be
high now, if it were to enter the market the existing firms would increase output, causing prices
to fall significantly, making the decision to enter unprofitable ex post. When there is excess
capacity, then, cartel members can charge prices above the competitive level, sheltered from
competition by entrants.122

                                (3) There was no meaningful entry in the CRT industry
Two new CRT industry participants appeared late in the class period. Videocon acquired all of
the capacity of Thomson, a cartel member, in 2004 and 2005.123 This “entry” did not increase
total industry capacity, it was merely a change in the ownership of existing capacity. If, as
Plaintiffs allege, Videocon took Thomson’s place in the cartel,124 then the acquisition of
121
      See, e.g.,
       •     “Entry is not to be expected when established firms are losing money, anticipating a market decline, or
             carrying large amounts of excess capacity. Nor is entry assured into a market earning only the competitive
             rate of return.” Areeda, Philip E., Hovenkamp, Herbert, et al., 2007, Antitrust Law: An Analysis of
             Antitrust Principles and Their Application, Volume IIB, Third Edition, Aspen Publishers, at 22.
       •     A standard finance textbook explains that firms will generally only make investments that offer rates of
             return in excess of their opportunity costs of capital, also known as above-normal returns. Brealey, Richard
             A., and Stewart C. Myers, 2000, Principles of Corporate Finance, Sixth Edition, McGraw-Hill College, at
             19.
122
      See, e.g.,
       •     Dixit, Avinash, March 1980, The Role of Investment in Entry-Deterrence, The Economic Journal, Vol. 90,
             No. 357, 95 - 106.
       •     Maskin, Eric. S., 1999, Uncertainty and Entry Deterrence, Economic Theory, Vol. 14, 429–437.
123
   Videocon acquired Thomson’s plant in Italy in January 2004, and all of Thomson’s remaining CRT capacity,
located in China, Mexico, and Poland, in July 2005. Thomson Videocon I.F.A. Presentation, PHLP-CRT-005242, at
2-3 and Thomson, 2005, Thomson Exits Tube Business Ahead of Schedule, PHLP-CRT-030355 - PHLP-CRT-
030372.
124
      Complaint, at ¶189.
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Thomson’s production capacity would have had no impact on the cartel’s ability to raise prices.
There is evidence that after the acquisition, in 2005, a senior Videocon executive shared pricing
information and production plans with Samsung in an effort to coordinate output reductions.125
Even if Videocon did not participate in the cartel after the acquisition, the sale would have
resulted in a relatively small shift in production capacity from within the cartel to a non-cartel
member. Thomson’s share of CPT production capacity just prior to the acquisition was 8.6%.126
Baoma began producing 14" CPTs in China in 2007 with a single production line it acquired
from LPD’s Barcelona plant.127 Operations had ceased on the LPD production line prior to its
acquisition by Baoma,128 so moving the line to China and placing it in service might be argued to
have been an increase in industry capacity. Because Baoma’s entry was so small and so late in
the class period it had no significant effect on the power of the cartel to raise prices on products
purchased by U.S. consumers during the class period. Baoma’s capacity was only one million
units per year, which was only 3% of 2006 industry production of almost thirty million 14"
CPTs.129

                        c) The cartel’s market power was not eliminated by LCDs
Prior to the late 1990s, there were no viable alternative technologies to CRTs for either monitors
or televisions. Over the succeeding decade, LCD displays largely displaced CRTs in both
monitor and television usage.130 The change from LCDs to CRTs is illustrated in Exhibits 13 and
14. Worldwide shipments of LCD monitors outstripped CRT monitors during 2004, and LCD
TV shipments outstripped CRT TVs in 2008.
The growing popularity of LCD products led to a shrinking market for CRT products but, as I
explain below, the CRT cartel members maintained supra-competitive prices throughout the
damages period. They were able to do so because few customers’ purchase decisions were
sensitive to changes in the price of CRT products. If the CRT cartel members tried to reduce
their prices to compete with the far more expensive LCD products, they would not have been
able to persuade enough additional consumers to buy CRT products to make up for the money
they would lose by lower prices. The fact that consumers are not very price-sensitive is

125
   “Recently, when the newly appointed TOP (Indian) of the former TH [Thomson] Co. was consulted, he
mentioned that the former TH Co. (current V [Videocon] Co.) 1. Is selling its inventory at low prices until March of
next year and 2. It thinks it would like to reduce its production CAPA by 20% from a current 20 MIL to 16 MIL. S
Co. stated that, if each of the companies, S, L, M and V [Samsung, LG, MTPD, and Videocon, respectively],
reduces its production by 20% (as of this year), supply would become tight and it would be possible to halt the drop
in prices by 7 - 8%. MT Picture Display, 12 December 2005, December 12th Korea Meeting Minutes, MTPD-
0410020 - MTPD-0410021, at 0020E.
126
      MT Picture Display, November 2006, Untitled Spreadsheet of CPT and CTV data, MTPD-0416090.
127
      March 2007, SDI CRT Line Status, LGE00067202, at tab “CHINA LOCAL”.
128
      MT Picture Display, 04 July 2005, CRT Line Status Jun 05, MTPD-0575968.
129
  LG Electronics, 06 March 2007, Global C-CRT Line Status, LGE00091909 and MT Picture Display, November
2006, Untitled Spreadsheet of CPT and CTV data, MTPD-0416090.
130
   Other display technologies were also available in televisions during the class period but were generally not
functional substitutes for CRT displays due to size limitations. Alternative display technologies include plasma, and
rear projection displays using CRT, LCD, digital light processing (DLP), and liquid crystal on silicon (LCOS).
Plasma and rear projection displays are generally larger than the biggest CRT TVs. DisplaySearch, May 2011,
Analysis Group, Inc. Custom Data Project, DISP_LCD_000128.
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illustrated by the growing popularity of LCD monitors and TVs despite their hefty price
premiums over comparably-sized CRT products. While LCD products may have been
functionally superior to CRT monitors and TVs, they did not prevent the CRT cartel from
imposing cartel overcharges on U.S. end-users of CRT monitors and TVs during the damages
period.

                               (1) Defendants maintained supra-competitive prices despite the
                               encroachment of LCD finished goods
There are two related reasons why the growing popularity of LCD monitors and TVs might
cause CRT prices to fall. First, when large numbers of consumers started buying LCD finished
goods, they stopped buying CRT finished goods. This secular decline in demand, coupled with
excess CRT production capacity, caused the “sick industry problem” discussed in Sections
VI.C.2, VI.C.2.a), and VI.C.2.b). Absent collusion, participants in a sick industry are expected to
engage in “cutthroat” or “ruinous” competition, in which prices fall so far that suppliers earn less
than the competitive rate of return. Second, if the declining prices of LCD finished goods
constrained the price that the cartel could charge for CRTs, CRT prices might fall as LCD prices
fall.
In fact, CRT prices exhibited remarkable resiliency in the face of LCD encroachment, indicating
that the cartel successfully avoided cutthroat competition by collusively maintaining cartel prices
and that the prices of CRTs were not constrained by prices of LCD finished goods.
Generally, prices of CDTs and CPTs had been declining since at least 1995, well before the
advent of LCD technology; see Exhibits 15 and 16. When consumers began buying significant
numbers of LCD monitors around 2001, CDT manufacturers did not respond by accelerating the
downward price trend as would be expected if LCDs constrained their prices. Instead, the
downward trend in CDT prices slowed. For example, the average price of a 15" CDT in 1995
was $149, falling to $46 in 2001 and $26 in 2007. From 1995 to 2001, the price of a 15" CDT
declined by about 18% per year; that downward trend slowed to 9% per year from 2001 to 2007,
a period when LCD monitors increased in popularity to dominate monitor sales. See Exhibit 13.
This pattern of CDT pricing is evidence that LCD monitors did not constrain the price
Defendants charged for CDTs.
CPT prices also exhibited a downward trend in the years before consumers began buying
significant numbers of LCD TVs in 2005. For example, the average price of a 20" CPT in 1995
was $69, falling to $38 in 2004 and $32 in 2007. From 1995 to 2004, the price of a 20" CPT
declined by about 6% per year; that downward trend was relatively unchanged from 2004 to
2007, the period during which LCD TVs began to supplant CRT TVs. See Exhibit 14.

                            (2) Defendants recognized the inevitable decline of CRT demand
Defendants’ contemporaneous business documents demonstrate their understanding that CRT
demand would decline due to increasing LCD popularity.131 If the Defendants viewed CRT’s


131
      See, e.g.,
       •     “Also, the CRT TV market will not be able to prevent an LCD invasion, so expect CRT market demand to
             continuously decrease.” Samsung SDI, August 2005, Competitor China Visit Report, SDCRT-0091524 -
             SDCRT-0091530, at 1529E.
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competition with LCD as being driven by price, they would have reduced CRT prices to fight the
LCD encroachment. But the defendants instead colluded to hold prices steady or reduce prices
only slowly, despite the losses to LCD.132 This strategy reveals a business judgment that CRT
manufacturers could not profitably respond to LCDs by reducing prices: that LCDs are not a
price-constraining alternative to CRTs. The defendants also indicated that it was only through
mutual cooperation, through their cartel activities, that they could mitigate the decline in CRT
prices.133

                                        (3) LCDs are not functional substitutes for CRTs though LCD
                                        products are functional substitutes for CRT products



       •     “This fiscal year, affected by the replacement by LCD, the CDT market situation has become low.”
             Chunghwa Picture Tubes, LTD, Undated, [Untitled Document], CHU00624682, at 4682E.
       •     “CDT monitor W/W [worldwide] demand is decreasing …” Chunghwa Picture Tubes, LTD, 27 March
             2003, Trip Report, CHU00031822 - CHU00031824, at 1822.01E
132
      See, e.g.,
       •     “To control the big CDT picture and to avoid accelerated deterioration [in the face of LCD replacement],
             CPT/LPD/SDI [Chunghwa, LPD, and Samsung] settled: together KEEP the price in the short term to
             ensure that the 3 makers can KEEP a definite profit.” Chunghwa Picture Tubes, LTD, Undated, [Untitled
             Document], CHU00624682, at 4682E.
       •     “[A]ll makers have a common hope for CDT prices not to continue to drop in 2003, and to establish a
             regular contact and communication meeting among each other to strengthen market information exchange
             and mutual restraint.” Chunghwa Picture Tubes, LTD, 27 March 2003, Trip Report, CHU00031822 -
             CHU00031824, at 1822.01E.
       •     “Monitor the circumstances of the LCD price, but maintain the current [CDT] price level for the time
             being.” Samsung SDI, 28 July 2004, Report of the CDT MTG Result, SDCRT-0090319 - SDCRT-
             0090321, at 0319E.
       •     “[Heading] Purpose of Visit … (3) CDT price maintenance….” Samsung SDI, Lee, Jae In, 03 March 2003,
             E-mail, Subject: Report on Mitsubishi Meeting Result, SDCRT-0006041, at 6041E.
133
      See, e.g.,
       •     “We are attempting to cooperate closely with CDT. We have prevented a price decline of around the 12%
             level even though LCD has been attacking us this year. There has been cooperation within the CDT
             industry through an an [sic] active adjustment of supply depending on changes in demand based on an
             exchange of information between the actual workers. Also we have held TOP MEETINGs 1 - 2 times a
             year. … With LCD, we expect the monitor area will grow by up to 65% this year from [market share] 50%
             last year. We think that this trend will continue but CDT has been cooperating very closely within the
             industry.” Samsung SDI, August 2005, Competitor China Visit Report, SDCRT-0091524 - SDCRT-
             0091530, at 1525 – 1526, 1528E
       •     “Also, the CRT TV market will not be able to prevent an LCD invasion, so expect CRT market demand to
             continuously decrease. Cooperation within the industry is critical and is a survival issue. If there is proper
             cooperation within the industry during the first half of the year, there should not be an inventory issue and
             we may prevent loss due to a price drop.” Samsung SDI, August 2005, Competitor China Visit Report,
             SDCRT-0091524 - SDCRT-0091530, at 1528E.
       •     “Hope with both sides' sufficient communication and no malicious competition, can hold the market price
             [of 14" CPT] and create a win-win opportunity.” Chunghwa Picture Tubes, LTD, 18 October 2005, Market
             Contact Report, CHU00040992 - CHU00040993, at 0992E.
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Economists describe demand for CRTs as “derived demand”: the final consumer wants the
product (CRT) not for its own, intrinsic properties, but because possessing the good is a
prerequisite for some other consumption the consumer desires. That is, the final consumer wants
to watch television or view the files on her computer. To do either, the consumer needs a display
device – a computer monitor or TV. This demand for CRT finished goods in turn leads to
derived demand for CRTs by the firms that manufacture CRT monitors and TVs. CRT finished
goods manufacturers have no alternative to using CRTs; there is no way to produce a CRT
monitor or CRT TV without a CRT.
Final consumer substitution can occur across alternative products that are functional substitutes –
a computer user may consider alternative monitor technologies that allow her to view her file
contents, or a television viewer may consider alternative TV technologies as long as the set plays
his desired shows. This demand substitution is occurring at the end-consumer level, not at the
direct purchaser level: a company producing CRT TVs and CRT monitors will demand CRTs –
it cannot use alternative display technologies inside its CRT-based products.

                                (4) Functional substitutes are not necessarily economic substitutes
A functional substitute may constrain the price that a seller can charge or it may not. That is,
even if Products A and B perform similar functions, the seller of Product A may be able to
charge a supra-competitive price without losing a sufficient share of its customers to Product B
so as to make the supra-competitive price unprofitable. In this case, Product B does not constrain
the price of Product A to the competitive level. On the other hand, if enough customers respond
to supra-competitive pricing of Product A by buying Product B, then the seller(s) of product A
will find it unprofitable to charge supra-competitive prices. In this case, Product B is a price-
constraining (economic) substitute for Product A.
Consider a more concrete example of functional substitutes that are not price-constraining
substitutes. The owner of the only movie theater in a college town observes that her Saturday
afternoon matinee showings attract far fewer viewers on weekends when there is a home football
game. She notes that tickets to the football game can be purchased online for $200, whereas her
Saturday matinee costs $10. She tries a promotion, setting the price of matinee tickets at $5 the
weekend of the next home game; she finds the lower price attracted essentially no additional
viewers to the matinee. She concludes the football game is not a relevant economic substitute for
her pricing decisions, despite the fact it is a functional substitute that affects the level of demand
for her product: she cannot sufficiently affect relative prices of the two products to induce
prospective consumers of the much more expensive good to instead buy her product.

                               (5) LCDs are not economic substitutes for CRTs
Now consider the impact of LCDs on the demand for CRTs, given that functionally an LCD
monitor or TV substitutes for a CRT monitor or TV. Unless consumers consider LCD finished
products an economic substitute for CRT finished goods, then the CRT cartel could maintain
supra-competitive CRT prices even as LCD products entered the market. That is, the CRT cartel
would eliminate its cartel overcharge in response to growing LCD sales only if the resulting
change in the relative prices of LCD and CRT products would keep enough prospective
consumers buying CRT products to offset the effect of lower CRT prices on cartel profits.
Like the football tickets in the example above, LCD finished goods were much more expensive
than their functional substitutes, CRT finished goods. Broadly, LCD products were at least twice
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(and sometimes as much as four times) as expensive as CRT products until about 2005 and
remained about 50% or more expensive as of 2007. See Exhibits 17-22. Given these price
differences, it is clear that consumers chose to buy LCD monitors and TVs over CRT products
for the benefits of LCD technology, including size and weight, rather than on the basis of price.
Because LCD finished goods were so much more expensive than comparable CRT products, a
small decline in the price of a CRT would change the relative price of a CRT monitor or TV by
an even smaller amount. For example, in 2005, a 20"-21" CRT TV cost about $150 and the CPT
inside the TV cost approximately $40. A 20" inch LCD TV cost almost $550.134 Suppose the
CRT manufacturer reduced the cost of the CPT used in that CRT TV by 5% and that this cost
change was fully passed through to the CRT TV price.135 The CRT TV price would decline by
approximately $2 from its price. Very few consumers who were willing to pay $400 more for the
LCD TV would change their minds and buy the CRT TV if they would have to pay $402 more
for the LCD TV over the CRT TV.
The large price difference between LCD and CRT products meant that the cartel’s overcharge
represented a small part of the relative price of LCD and CRT finished goods. For example, I
estimate that the cartel overcharge on a 17" CRT monitor in 2002 amounted to $13.43 in 2002
and the overcharge on a 20"-21" CRT TV in 2004 was $3.60.136 Eliminating these overcharges
was unlikely to cause a significant number of prospective consumers of the far more expensive
LCD finished goods to buy CRT finished goods. Consumers who had decided to pay a
significant premium for an LCD monitor or TV were not likely to switch to a CRT monitor or
TV even in the absence of the cartel overcharge. Thus, LCD penetration in the display market
gave the CRT manufacturers little incentive to price their products competitively.

                               (6) Falling LCD prices did not prevent a CRT overcharge
Further evidence that prospective LCD product buyers would not have responded to slight
decreases in the price of CRT products can be seen in changing purchase patterns over time. As
LCD technology advanced, the prices of LCDs and LCD products declined. Consumers could
choose between spending less and less for a given size LCD display or could instead “spend”
some of the “savings” from lower prices on a larger display. The data revealed that as the prices
of LCD monitors and TVs fell over the class period, consumer demand shifted to larger and
larger screens. For example, in 2001, the average price of a 17" LCD monitor was more than
$800 and only 14 % of LCD monitors sold were 17" or larger. See Exhibits 18 and 23. By 2005,
the price of a 17" LCD monitor had fallen below $300 and 84 % of LCD monitors sold were 17"
or larger. A similar pattern occurred in the LCD TV market. See Exhibits 20-22 and 24. The fact
that consumers “traded up” in size as prices fell suggests the characteristics of monitors and TVs
are more important to consumers than price and therefore consumers would not respond

134
  The prices for the 20" LCDTV and the 20"-21" CRT TV were $549 and $157, respectively. DisplaySearch, May
2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000128.
135
    Throughout this discussion, I assume a 100% pass-through rate. My conclusions would not be materially affected
if pass-through was slightly more or less than 100%. See Section X for my estimation of the magnitude of pass-
through in this industry.
136
   I multiplied the estimated overcharge (see Section IX) by the average price of a 17" CDT in 2002 and by the
average price of a 20"-21" CPT in 2004 to obtain the dollar overcharge on these two products at these two points in
time.
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sufficiently to changes in CRT prices by substituting LCD finished goods to make a CRT price
decline profitable.

                               (7) Consumers would not have substituted LCD finished goods in
                               sufficient numbers to prevent supra-competitive pricing of CRTs
As described above, CRT manufacturers’ would charge competitive prices only if lowering the
CRT price to competitive levels would have induced a sufficiently large number of consumers to
switch from buying LCD products to CRT products. The lower CRT price would mean lower
profits per unit for Defendants, and the question is whether enough consumers would switch so
that more CRT sales would make up for the lower profits for each sale.
For a given price change, we can estimate the number of consumers that would need to be
enticed to substitute between LCD and CRT finished goods in order for it to be profitable for
Defendants to eliminate their overcharge. Such a calculation is similar to “critical loss analysis”,
which economists routinely use to determine whether a merger is likely to increase prices.137 By
estimating the profit earned on each CRT, I determined the reduction in profit per tube resulting
from a given price reduction and, since I know how many tubes were sold, the total reduction in
profit. I then calculated how many additional CRTs would need to be sold at the new per-tube
profit to compensate for the reduced profits on existing CRT sales.
A key input to the calculation is Defendants’ gross profit margin (price minus marginal cost) on
each CRT sold. I assume a 40% gross profit margin for the purpose of this analysis, which is
higher than the handful of estimates I’ve seen.138 The higher the gross profit margin, the fewer
additional sales are necessary to make a price decrease profitable. Another key input to the



137
      See, e.g.,
       •     Farrell, Joseph and Carl Shapiro, February 2008, Improving Critical Loss Analysis, The Antitrust Source,
             Vol. 7, No. 3.
       •     Coate, Malcolm B. and Jeffrey H. Fischer, October 2006, A Practical Guide to the Hypothetical Monopolist
             Test for Market Definition, Potomac Papers in Law and Economics 06-01, 1 - 48.
138
      See, e.g.,
       •     Hitachi, August 2001, Hitachi Electronic Devices (U.S.A.), Inc., HDP-CRT00057240 - HDP-
             CRT00057284, at 7247.
       •     LG.PHILIPS, 16 September 2003, Supervisory Board Meeting, PHLP-CRT-003818 - PHLP-CRT-004240,
             at 15-16.
       •     28 August 2003, CDT Market Review, CHU00031194 - CHU00031201, at 1196.02E.
       •     Beijing-Matsushita Color CRT Company, 13 February 2006, BMCC-CRT000083813, BMCC-
             CRT000083813.
       •     Lehman Brothers, 14 February 2007, Chunghwa Picture Tubes (2475.TW - TWD 6.39) 2-Equal weight,
             CHU00063266 - CHU00063277, at 3270.
       •     Samsung, 2007, Electronic File of SDCRT-0216503, SDCRT-0216503.
       •     Salomon Smith Barney Inc., 22 May 2001, Project Mercury Confidential Information Memorandum,
             EIN0017699 - EIN0018075.
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analysis is the magnitude of the overcharge. For the purpose of these calculations, I assumed an
overcharge of 5% for CPTs and a 20% overcharge for CDTs.139
Given a 40% gross profit margin and a 5% overcharge, Defendants would need to sell
approximately 14% more CPTs at competitive prices to make eliminating a 5% overcharge
profitable. See Exhibit 25 for the gain in sales needed to make reducing price by 5% profitable.
Given a 40% gross margin and a 20% overcharge, Defendants would need to sell approximately
100% more CDTs in order to profit from eliminating the overcharge. See Exhibit 26.
To provide context for the CRT sales volumes, Exhibits 25 and 26 also include the sales volumes
for LCD finished goods. For most of the damages period, the number of additional CRT sales
necessary to make eliminating the overcharge profitable is greater than the total number of LCD
sold. In other words, even if a 5-20% price cut for CRTs was sufficient to induce all consumers
who purchased LCD TVs and monitors to switch to CRT products, that still would not have been
enough to make the price cuts profitable for CRT makers.
I conclude that it is implausible that sufficient consumers would have purchased CRTs rather
than LCDs to make eliminating the cartel overcharge profitable.

                              (8) Summary: LCDs did not eliminate the CRT cartel’s ability to
                              impose an overcharge
Defendants understood that LCD monitors and TVs would supplant CRT technology. Despite
this, they maintained or slowed the pace at which CRT prices had been falling. They were able to
do so because LCD monitors and TVs are not economic substitutes for CRT finished goods and
did not meaningfully constrain CRT prices.

                3. The cartel implemented a comprehensive plan to exercise its market
                power
Economists have identified a number of practices common to successful cartels. 140 Fixing more
than just price (e.g., product quality or contract terms), fixing market shares, and assigning
customers to suppliers affords cartel members multiple opportunities to detect non-compliance
with the cartel agreement. Fixing capacity is a readily-verifiable means of placing limits on cartel
members’ ability to cheat. Cheating can be discouraged by cartel members by granting their
customers most-favored customer clauses and meeting-competition clauses, which promise
customers they will receive at least as low a price as that charged all other customers. Such terms
reduce the incentive to cheat by requiring that discounts not be given opportunistically to capture
incremental customers while continuing to charge higher prices to other customers, but must be
given to all customers.




139
   As I discuss in Section IX, I estimated a 25.0% overcharge rate for CDTs prior to the investigation of the LCD
cartel becoming public; after the LCD investigation became public that falls to 12.3%. For CPTs I estimated
overcharges of 9.5% and 3.2%. I used the figures 5% and 20% here because smaller overcharges are conservative
for these calculations.
140
  Carlton, Dennis W. and Jeffrey M. Perloff, 2005, Modern Industrial Organization, Fourth Edition, Pearson
Addison Wesley, at 139, 141-144.
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Two prominent cartel scholars found that other practices of successful cartels include developing
a hierarchy that includes both top-level executives and working-level members; building trust;
using multi-pronged strategies; and learning from experience.141
Next, I compare the practices of the CRT cartel to the practices proven to have been successful
for other cartels.

                       a) The cartel established a hierarchy of meetings
Collusion among members of the cartel began at least as early as February 1995, when LG,
Orion, and Samsung met to discuss CPT pricing, production, and sales.142 Approximately three
months later, LG and Chunghwa met “to discuss the background for a CPT CDT price increase,
and the price increase range as well as to exchange market information.”143 Notes from this
meeting also show that communication regarding price increases had occurred or was planned
with “all CPT/CDT Makers in Thailand, Malaysia and Singapore”, including Samsung, Thai-
CRT, and Toshiba. The information exchanged included current prices, plans for future prices,
negotiations with customers, current and planned future capacity, and output.
Over time, such bilateral meetings led to more formal, multilateral meetings of cartel members’
managers called “Glass Meetings”, at which the cartel fixed prices, restricted output and
capacity, allocated customers, and shared sensitive information. The Glass Meetings continued at
least through February of 2007.144 Regular attendees of the Glass Meetings included Chunghwa;
LG, Philips, and LPD; MTPD; Orion (Daewoo); Samsung SDI; Thai CRT; and Thomson.145 I
listed the employer of attendees at all meetings that were explicitly called “Glass Meetings” in
Exhibit 27.
The cartel established a hierarchy of meetings with three levels: Top Management Meetings,
Management Meetings, and Working Level Meetings.146 Top Management Meetings were held

141
   Levenstein, Margaret and Valerie Suslow, March 2006, What Determines Cartel Success?, Journal of Economic
Literature, Vol. 44., at 43-44, 67.
142
  14 February 1995, Mid-Long term investment strategy for overseas strategic regions, SDCRT-0086208 -
SDCRT-0086210.
143
   Chunghwa Picture Tubes, LTD, 29 May 1995, CPT Sales & Marketing Division Visiting Report, CHU00028933
- CHU00028945, at 8933.01E.
144
  Glass Meeting on 8 February 2007 attended by Chunghwa, MTPD, SDI, and LPD. Jimmy, Wu, and Meng Ying,
February 2007, Market Visitation Report (Glass Meeting), CHU00030437 - CHU00030438, at 0437.01E.
145
   CC Liu, Chunghwa’s vice president of sales, testified to the regular meeting participants. “[Q.] At any period of
time, from the period of time 1995 to 2005, when you left Chunghwa, what companies did you meet with at the
group meeting? A. Samsung, LG, Philips, Orion, Thai CRT. In the first stage there was one more company that
joined the venture of Toshiba and Matsushita… I mentioned LG and Philips separately but for the period you
mentioned, from 1995 to 2005, LG and Philips merged in one. The company merged by LG and Philips in 2001
certainly appeared in the later group meetings.” I believe that the “one more company that joined the venture of
Toshiba and Matsushita” refers to the joint venture of Toshiba and Matsushita (i.e., MTPD). 19 February 2013,
Deposition of Chih Chun-Liu, Volume I (Hereinafter “Deposition of Chih Chun-Liu, Vol. I, 19 February 2013), at
50:1 - 50:17.
146
      See, e.g.,
       •     “Q. Thank you. You previously talked about how in 1998 David Chang from Philips came up with a
             method to better structure the glass meetings, and that there was top level CEO meetings and then there
             were management-level meetings. My question is: were there other working-level meetings that were also
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quarterly for much of the class period, trailing off to one to two meetings per year in the later
years, and were attended by high-ranking executives such as Presidents, Vice Presidents, and
Chief Operating Officers.147 Chairmanship of the Top Level Meetings was assigned to
executives from different cartel members on a rotating basis.148 The function of Top Level


             created by Mr. Chang? [objection omitted] THE WITNESS: There were such working-level meetings,
             however not regularly. BY MR. SAVERI: Q. How often would the working-level meetings meet? A. That
             depends on the needs. Normally it will not be too long. Sometimes one meeting a month. Sometimes
             meeting in two months.” Deposition of Chih Chun-Liu, Vol. I, 19 February 2013, at 73:1 - 73:18.
       •     A meeting held on 18 January 1999 planned for a Working Level Meeting on February 10 and a Top
             Meeting on March 5. Samsung SDI, 18 January 1999, CDT Industry (January 18, ’99) Meeting Result,
             SDCRT-0086557 - SDCRT-0086560, at 6559E.
       •     A meeting held on 14 April 1999 planned for a Management Meeting on May 21 and a Top Meeting on
             May 25/26. Samsung SDI, 19 April 1999, Report on the April 14 Management Meeting Results, SDCRT-
             0086593 - SDCRT-0086596, at 6593E-6594E.
147
      See, e.g.,
       •     “Q. You indicated that there were monthly meetings of the group meetings. Were there monthly meetings
             of the CEOs from 1997 onwards? [objection omitted] THE WITNESS: The monthly meeting will be
             attended by people who are heads of the sales for people of sales VP or above. The CEO met about every
             quarter, every three months, if there were emergent meetings, CEOs could be called to have such urgent
             meetings every two months or so.” Deposition of Chih Chun-Liu, Vol. I, 19 February 2013, at 53:17 - 54:2.
       •     “Top meeting: once/quarter.” Samsung SDI, November 1998, CDT Industry (11/28, 29) Meeting Results,
             SDCRT-0086445 - SDCRT-0086448, at 6445E.
       •     “Various makers agreed to change, from now on, to hold Top-Management meeting every 2 months and
             Working Level Meeting every month.” Chunghwa Picture Tubes, LTD, 24 July 2001, Visitation Report
             (submitted), CHU00036384 - CHU00036385, at 6384.03E.
       •     “Q. And the top meetings that you attended with J.S. Kim in 2002 and 2003, approximately how often
             would they occur? [objection omitted] THE WITNESS: I think it occurred – they occurred once every three
             to six months.” 07 June 2012, Deposition of Samsung SDI 30(b)(6) Witness Jaein Lee, Volume II
             (Hereinafter “Samsung SDI 30(b)(6) Deposition of Jaein Lee, Vol. II, 07 June 2012”), at 226:8 - 13.
       •     “[W]e have held TOP MEETINGs 1 - 2 times a year.” Samsung SDI, August 2005, Competitor China Visit
             Report, SDCRT-0091524 - SDCRT-0091530, at 1525E.
       •     “General meeting attended by the presidents of the 5 companies: 2nd meeting to be held end of Sept. to
             continuing [sic] from 1st meeting on July 19.” Samsung SDI, 18 July 1998, 7th CDT Industry Meeting (July
             18) Results, SDCRT-0086416 - SDCRT-0086418, at 6418.
       •     A Top Management Meeting on 28 September 2005 included SDI’s Vice President and Sales Vice
             President, LPD’s Chief Operating Officer and Sales Vice President, and Chunghwa’s Senior Vice
             President. Chunghwa Picture Tubes, LTD, 28 September 2005, GSM Top Management Meeting,
             CHU00014230 - CHU00014231.
148
      See, e.g.,
       •     A Top Management Meeting notes document stated: “A new chairman was selected [Bullet] Mr. Jim Smith
             was selected by Philips.” Samsung Display Device, Philips, 20 August 2000, Top Management Meeting
             (August 20), SDCRT-0086675 - SDCRT-0086681, at 6676E.
       •     A meeting notes document stated: “It was resolved that the next meeting would be held at [Chunghwa] in
             Taoyuan (5/22 PM 13:00), SDI will be the chair.” Chunghwa Picture Tubes, LTD, 18 April 2001, Overseas
             Visitation Report, CHU00024560 - CHU00024568, at 4560E.
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Meetings was to reach agreement about cartel policy, such as prices, capacity, and division of the
market. Meetings of top executives also occurred on golf courses, in conjunction with Top Level
Meetings; these were called Green Meetings.149 Events such as these for top executives are
opportunities for members of the cartel to form personal relationships and build trust between
cartel members.150
Management Meetings were held about once a month, sometimes as frequently as once a week,
sometimes every few months.151 The function of Management Meetings was to reach agreement



       •     A Top Management Meeting notes document stated: “TV GSM’s [Glass Meeting] chairman will be
             [Chunghwa] for one year.” Chunghwa Picture Tubes, LTD, 30 April 2003, CPT market Report (Overseas
             Trip Report), CHU00123742 - CHU00123745, at 3742.02E.
       •     A meeting discussion agenda stated: “The 3 company meeting host (Chairman) has changed [pointing
             finger icon] SDI in ’05 Yr. --> [Chunghwa] in ’06 Yr.” CDT, 13 March 2006, Main Discussion Agenda,
             SDCRT-0091715 - SDCRT-0091718, at 1717E.
149
      See, e.g.,
       •     Itinerary and arrangements for a Glass Meeting on 5 March 1999 and a Green Meeting on 6 March 1999.
             The Glass Meeting is evidently a Top Management Meeting because attendees include presidents and
             executive vice presidents from Orion, Samsung, Philips, LG, and presumably Chunghwa, who made the
             arrangements. 04 March 1999, Report (Submitted), CHU00021268 - CHU00021276, at 1269E.
       •     Itinerary for a Green Meeting held on the morning of 24 February 2005 with a Top Management Meeting
             scheduled for the same afternoon. Chunghwa Picture Tubes, LTD, 24 February 2005, CHU00661917,
             CHU00661917 - CHU00661928, at 1917.
150
      See, e.g.,
       •     “Q. When you say the CEO golfing day, so at the CEO meetings those were preceded with a day of golf
             and then the meeting? A. Which proceeds first is not fixed. Golfing and dinner are for increasing mutual
             trust. So normally meeting during the day followed by dinner in the evening and golfing the second day.
             These were for creating more confidence among participants.” Deposition of Chih Chun-Liu, Vol. I, 19
             February 2013, at 75:16-75:2.
       •     “[I]norder to make friendly contacts and strengthen mutual trust, the makers agreed that every 3-4 weeks
             they would take turns to host a Green Meeting (only two members from each maker) after the meeting is
             over.” Chunghwa Picture Tubes, LTD, 09 November 1999, Visitation Report, CHU00030916 -
             CHU00030918, at 0916.02E.
       •     Itinerary for a Green Meeting held at Country Height Golf Resort on 6 March 1999 included an
             “Arrangement of awards for the Golf competition”. 04 March 1999, Report (Submitted), CHU00021268 -
             CHU00021276, at 1268.01E-1268.02E.
151
      See, e.g.,
       •     “Q. Okay. Did – when those meetings occurred, did they – on the once a month – once a month basis, did
             those levels of meeting all occur on the same day? In other words, would you have a top management
             meeting, a management meeting, and a working level meeting all occurring on the same day, that particular
             day of the month? [objections omitted] THE WITNESS: To my recollection, again it depended on the time
             period, but initially the management meeting was once a month, and working level meeting was so that we
             could prepare for the management meeting. So working level meetings were held on the same day as the
             management meetings or one day before the management meetings. In terms of the top management
             meetings, it would happen once every six months or a year. It was irregular, and it depended on the
             schedules of the top people, and it would be adjusted based on that.” Samsung SDI 30(b)(6) Deposition of
             Jaein Lee, Vol. I, 06 June 2012, at 32:15-33:10.
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about cartel policy such as prices and capacity, exchange market intelligence, and to monitor the
implementation of cartel agreements, such as compliance with cartel prices and capacity
restrictions. Management Meetings were attended by sales directors and managers.152 A third
level of meetings, Working Level Meetings, were held on a more regular basis, often in order to
prepare for Management Meetings.153 Working Level Meetings were attended by sales staff and
sometimes their supervisors.154


       •     “Meeting on the monitoring of the implementation of the agreement reached among the 5 companies
             [Bullet] Quantity: Once/month [Bullet] Price: Once/month.” Samsung SDI, 18 July 1998, 7th CDT
             Industry Meeting (July 18) Results, SDCRT-0086416 - SDCRT-0086418, at 6418E.
       •     “Meeting running plan [finger icon] would be changed from current once a month meeting to quarterly or
             bi-monthly meeting.” CDT, 13 March 2006, Main Discussion Agenda, SDCRT-0091715 - SDCRT-
             0091718, at 9717E.
152
      See, e.g.,
       •     A European TV Glass Meeting on 11 November 1999 was attended by a Director and Section Chief from
             Orion, two Directors from Samsung, and a Department Manager and Representative from LG, among other
             untitled participants from Philips and Chunghwa. Chunghwa Picture Tubes, LTD, 11 November 1999,
             Contact Report, Topic: European TV Glass Meeting, CHU00030917 - CHU00030919, at 0917.01E.
       •     A Glass Meeting on 22 April 2002 was attended by a Manager from SDI, an Assistant Manager from LPD,
             and a Manager and Assistant Manager from Orion, among other untitled participants from Chunghwa.
             Samsung SDI, April 2002, GSM Meeting Log in April of 2002, SDCRT-0087743 - SDCRT-0087744, at
             7743E.
       •     A Glass Meeting on 8 September 2003 was attended by two Senior Managers from SDI, two General
             Managers from LPD, and a General Manager from MTPD, among other untitled participants from
             Chunghwa. CPT, 08 September 2003, CPT Glass Meeting Result Report, SDCRT-0088732 - SDCRT-
             0088733, at 8732.
153
      See, e.g.,
       •     “Q. Okay. Did – when those meetings occurred, did they – on the once a month – once a month basis, did
             those levels of meeting all occur on the same day? In other words, would you have a top management
             meeting, a management meeting, and a working level meeting all occurring on the same day, that particular
             day of the month? [objections omitted] THE WITNESS: To my recollection, again it depended on the time
             period, but initially the management meeting was once a month, and working level meeting was so that we
             could prepare for the management meeting. So working level meetings were held on the same day as the
             management meetings or one day before the management meetings. In terms of the top management
             meetings, it would happen once every six months or a year. It was irregular, and it depended on the
             schedules of the top people, and it would be adjusted based on that.” Samsung SDI 30(b)(6) Deposition of
             Jaein Lee, Vol. I, 06 June 2012, at 32:15-33:10.
       •     “[Chunghwa] suggested that weekly meeting shall be called to review price increase status, all makers
             agreed and set a Meeting at [Chunghwa] Yang Mei factory on 3/27'97 at 9:30 AM, and setup the following
             dates for future meetings as follows for the time being: [break] 4/2: PH [Philips] Taipei, 4/9: LG, 4/16:
             Daewoo 4/23: SDD [Samsung] [break] In order to strengthen communication, ensure price increases to
             succeed smoothly.” Chunghwa Picture Tubes, LTD, 19 March 1997, Customer Contact Report, Main
             Contents 14"/15" CDT Price Opinion Exchange, CHU00028749 - CHU00028751, at 8750E.
       •     “Review of the implementation method of the Working Level weekly meeting: Each maker indicated that
             because of the success of Glass Meeting, everybody has been Enjoying Business this year. Now that the
             Slow Season is coming, everybody should continue to strengthen communications and contacts, so the
             weekly meetings should continue to be held on time. However, in order to make friendly contacts and
             strengthen mutual trust, the makers agreed that every 3-4 weeks they would take turns to host a Green
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Cartel members also met frequently outside of Glass Meetings, in bilateral meetings, on an ad
hoc basis.155 Besides meeting in person, they also communicated regularly by phone and fax.156


             Meeting (only two members from each maker) after the meeting is over.” Chunghwa Picture Tubes, LTD,
             09 November 1999, Visitation Report, CHU00030916 - CHU00030918, at 0916.02E.
       •     “Various makers agreed to change, from now on, to hold Top-Management meeting every 2 months and
             Working Level Meeting every month.” Chunghwa Picture Tubes, LTD, 24 July 2001, Visitation Report
             (submitted), CHU00036384 - CHU00036385, at 6384.03E.
       •     “Future GSM [glass meeting] schedule is temporarily set as: a. working level meetings: once quarterly
             (around the 20th of February, May, August & November) and b. management meeting to be held semi-
             annually (June and December).” Chunghwa Picture Tubes, LTD, 30 April 2003, CPT market Report
             (Overseas Trip Report), CHU00123742 - CHU00123745, at 3742.01E.
154
      See, e.g.,
       •     “Other than to be attended by sales staff for Southeast Asia at the working level meetings, the headquarters
             should also send sales or marketing supervisors to attend”. Chunghwa Picture Tubes, LTD, 30 April 2003,
             CPT market Report (Overseas Trip Report), CHU00123742 - CHU00123745, at 42.01E- 42.02E.
       •     A Glass Working Meeting held on 15 November 2004 was attended by a Branch Manager and Section
             Chief from LPD, a Branch Manager and Section Chief from Samsung, and untitled participants from
             Chunghwa. Samsung SDI, 15 November 2004, Report the results of the Glass working meeting on Nov. 15,
             SDCRT-0090350 - SDCRT-0090353, at 0350E.
155
      See, e.g.,
       •     Chunghwa Picture Tubes, LTD, 17 May 1996, Sales & Marketing Division Visiting Report, CHU00028809
             - CHU00028810.
       •     Chunghwa Picture Tubes, LTD, 24 May 1996, Sales & Marketing Division Visiting Report, CHU00028968
             - CHU00028969.
       •     Dr. Sommerfeldt, 19 September 1996, re: Meeting with EMEC, SDCRT-0086217 - SDCRT-0086229.
       •     Samsung, 09 April 1997, Discussion Report of Meeting with MEC, SDCRT-0086230 - SDCRT-0086255,
             at 6236E.
       •     Chunghwa Picture Tubes, LTD, 09 April 1998, Visitation Report, CHU00028642 - CHU00028644.
       •     Chunghwa Picture Tubes, LTD, 14 April 1998, Visitation Report, CHU00028254 - CHU00028256.
       •     Chunghwa Picture Tubes, LTD, 28 April 1998, Visitation Report, CHU00028647.
       •     Canavan, Pat, Johnson, Jeff, 15 July 1998, Subject: Visit to Hitachi, PHLP-CRT-081748 - PHLP-CRT-
             081750, at 1748E - 1750E.
       •     Kobayashi, Nobuhiko, 05 April 1999, E-mail, Subject: LG Electronics Business trip report ('99.4.2), HDP-
             CRT00025934 - HDP-CRT0002593, at 5934.
       •     Nishiyama, Hirozuka, 09 November 1999, Subject: Hitachi CRT, MTPD-0016566 - MTPD-0016567.
       •     Oh, Kyung Chul, 03 March 2000, Email, Subject: (Resending) Toshiba Flat CPT Offer Situation, SDCRT-
             0005813, at 5813E.
       •     Samsung SDI, 07 June 2000, Meetings, SDCRT-0087324 - SDCRT-0087329, at 7326E.
       •     Watanabe, Genichi, 24 May 2001, E-mail, Subject:HEDUS 32V Price Competiveness - Mexico is Scary,
             Korea is Scary, HDP-CRT00049291, at 9291E.
       •     Chunghwa Picture Tubes, LTD, 06 June 2001, Visitation Report (Submit), CHU00031137.
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                       b) The cartel fixed prices
The cartel agreed to fix prices on numerous occasions.157 A list of documents demonstrating
cartel members’ agreements to fix prices is in Exhibit 1. I and my staff identified approximately

       •     Chunghwa Picture Tubes, LTD, 26 June 2001, Sales & Marketing Division Visiting Report,
             CHU00031141.
       •     Samsung SDI, 25 October 2001, Toshiba (IN) CPT (Telephone), SDCRT-0087685 - SDCRT-0087686, at
             7685E - 7686E.
       •     Although the document is primarily about a Glass Meeting, it also reports a meeting between Hitachi and
             Samsung separate from the Glass Meeting. Samsung SDI, 17 December 2001, GSM Meeting, SDCRT-
             0087437 - SDCRT-0087440, at 7439E.
       •     Phil PJ Lee, 30 May 2002, Information for SDI and Toshiba, PHLP-CRT-014141 - PHLP-CRT-014143.
       •     Samsung SDI, 30 July 2002, SDCRT-00877926, SDCRT-0087926 - SDCRT-0087927, at 7926E.
       •     Iwamoto, Shinichi, 16 August 2002, E-mail, Subject: FW: Information exchange with Thomson, MTPD-
             0223790 - MTPD-0223792, at 3790E.
       •     Park, Sung Deok, 20 November 2002, E-mail, Subject: Europe Business Trip Report, SDCRT-0006632 -
             SDCRT-0006633, at 6633E.
       •     Samsung SDI, Lee, Jae In, 03 March 2003, E-mail, Subject: Report on Mitsubishi Meeting Result, SDCRT-
             0006041, at 6041E.
156
      See, e.g.,
       •     “Director Liu [Chunghwa] made a phone call to [Philips] manager Xiu-Li Lin on the spot and confirmed
             that [Philips’] price [to AOC] in February was the same as [Chunghwa], and that the order volume was
             about thousands of units.” Chunghwa Picture Tubes, LTD, 20 February 1998, Customer Contact Report,
             CHU00028955 - CHU00028957, at 8956E.
       •     From Samsung’s meeting notes: “Received other Philips information by fax”. Samsung SDI, 18 January
             1999, CDT Industry (January 18, ’99) Meeting Result, SDCRT-0086557 - SDCRT-0086560, at 6560E.
       •     “In the event that there are any changes to the line operations plans, such changes should be reported to
             other companies by fax or other means in advance”. Samsung SDI, 19 April 1999, Report on the April 14
             Management Meeting Results, SDCRT-0086593 - SDCRT-0086596, at 6593E.
       •     In an internal e-mail, David Ross of Chunghwa UK states that Leo Mink of Philips called him to confirm
             production shutdowns and ask for Chunghwa’s cooperation. Ross, David, 03 January 2001, E-mail, RE:
             CPTUK Off-Days (Production Reduction) Plan, CHU00022696, at 2696.01E.
       •     From meeting notes: “LPD and TSB [Toshiba] believe that it is not necessary to meet so frequently,
             therefore, it was everyone’s suggestion that the meeting would be held in the second month of each quarter
             in order to discuss current quarter situations as well as the next quarter…[Handwritten:] The regular private
             communications among each other should proceed continuously.” CPT, Yang, Sheng-Jen (S.J.), et al., 21
             February 2003, Market Visitation (Glass Meeting) Report (For Submission), CHU00020660, at 0660.02E.
       •     “No common understanding has been reached whether to reduce prices in the future or not, but it was
             agreed to increase the number of working level meetings. In the future, any price movement must be
             communicated by decision makers for prices through meeting or by telephone.” Yun, Ling-Yuan (Yvonne),
             01 April 2005, General Sales Department Monitor Products Unit, CHU00005997 - CHU00006001, at
             5998E.
157
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240 documents related to over 130 meetings during which cartel members agreed to set target
prices for one or more CRTs. These meetings spanned most of the class period; the earliest
documented meeting that I have found was in May 1995 and the latest in February 2007.158 The
cartel fixed prices for both CPTs and CDTs, including tubes with varying sizes, shapes, finishes,
and other characteristics.159 The cartel fixed prices for tubes made by specific manufacturers,160
for tubes sold to specific customers,161 and for tubes bought or sold by anybody.162




158
      See, e.g.,
       •     In May of 1995, LG visited Chunghwa for the explicit purpose of gaining Chunghwa’s agreement to a price
             increase LG and Samsung had discussed. LG reported it was visiting CRT manufacturers in Thailand,
             Malaysia, and Singapore, having already gotten Toshiba Thailand and Thai CRT to agree (and announce)
             price increases. Chunghwa Picture Tubes, LTD, 29 May 1995, CPT Sales & Marketing Division Visiting
             Report, CHU00028933 - CHU00028945, at 8933.01E.
       •     A Glass Meeting was held on 8 February 2007 with attendees Chunghwa, MTPD, Samsung, and LPD.
             Jimmy, Wu, and Meng Ying, February 2007, Market Visitation Report (Glass Meeting), CHU00030437 -
             CHU00030438, at 0437.01E.
159
      See, e.g.,
       •     Chunghwa Picture Tubes, LTD, 26 September 1998, Visitation Report, Topic: 14"/20"/21" CPT
             Supply/Demand and Price Comment Review, CHU00029262 - CHU00029264.
       •     Chunghwa Picture Tubes, LTD, 29 June 2001, Agenda, CHU00660395 - CHU00660407.
       •     Chunghwa Picture Tubes, LTD, June 2003, CDT Market Report, CHU00660217 - CHU00660220.
       •     MT Picture Display, 06 May 2004, SML Meeting, MTPD-0580751.
160
      See, e.g.,
       •     Chunghwa Picture Tubes, LTD, 20 May 1997, Customer Contact Report, Main Content 14"/15" CDT Price
             Discussion, CHU00028725 - CHU00028727.
       •     Hsieh, Chun-Mei (Christina), 13 October 1999, Contact Report, Meeting Topic: CDT Regular Exchange
             Meeting, CHU00030888 - CHU00030893.
       •     Kim, LJ, 26 January 2001, England0101, SDCRT-0087662 - SDCRT-0087663.
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Target prices can be found in the text of meeting notes documents or in formal tables included in
these documents. Meeting notes reference agreements to increase price,163 to set price
differentials,164 to maintain current prices,165 or to coordinate price reductions.166 The notes also
show cartel members discussing when to send price increase letters to customers.167 Target price
tables included in meeting documents sometimes show past target prices168 or future target
prices.169 Tables are also frequently used to present price differentials, either alone170 or
alongside the base target prices.171 In general, target prices can be classified in one of three ways:




       •     Samsung SDI, 21 November 2003, Schiphol Meeting, SDCRT-0088635 - SDCRT-00886660.
161
      See, e.g.,
       •     Du, Ching-Yuan (Michael), 28 January 1997, Customer Contact Report, CHU00028768 - CHU00028770.
       •     Chunghwa Picture Tubes, LTD, 27 October 1999, Visitation Report, Topic: Exchange of Market
             Information and Price Review, CHU00029171 - CHU00029174.
       •     Chunghwa Picture Tubes, LTD, 04 January 2002, Visitation Report, CHU00031176.
       •     26 September 2005, MTPD-0423645, MTPD-0423645.
162
      See, e.g.
       •     Chunghwa Picture Tubes, LTD, 12 March 1997, Customer Contact Report, CHU00028758 -
             CHU00028759.
       •     Samsung SDI, 06 December 2002, 3 Companies MTG Information (5th) - Result Report, SDCRT-0087934
             - SDCRT-0087937.
       •     Chunghwa Picture Tubes, LTD, April 2004, Time Schedule, CHU00660681 - CHU00660692.
       •     Samsung SDI, 05 August 2005, CPT Meeting Result Report (August), SDCRT-0091382 - SDCRT-
             0091383.
163
      Chunghwa Picture Tubes, LTD, 23 July 2004, Overseas Trip Report, CHU00123393 - CHU00123403, at 3396E.
164
  Samsung SDI, 23 June 1999, Report on the results of the 5 CDT companies’ management meeting (June 23),
SDCRT-0086641 - SDCRT-0086645, at 6644E.
165
  Chunghwa Picture Tubes, LTD, 07 November 2003, Market Visitation Report (Glass Meeting), CHU00030071 -
CHU00030093 at 0073.03E.
166
  Chunghwa Picture Tubes, LTD, 21 December 2001, Visitation Report (Submitted), CHU00036406 -
CHU00036407, at 6407E.
167
  Chunghwa Picture Tubes, LTD, 10 May 1999, Business Meeting Report, CHU00036378 - CHU00036380, at
6378.01E.
168
      Samsung SDI, 25 April 2003, Glass Result Report, SDCRT-0088713 - SDCRT-0088714, at 8714E.
169
  Chunghwa Picture Tubes, LTD, 01 October 1998, VISITATION REPORT, CHU00030670 - CHU00030674, at
0673.02E – 0674.01E.
170
  Chunghwa Picture Tubes, LTD, 25 March 2004, Return-from-Abroad Trip Report, CHU00031240 -
CHU00031247, at 1240.
171
  Chunghwa Picture Tubes, LTD, 29 April 2005, Market Visitation Report (Glass Meeting), CHU00030497 -
CHU00030498 at 0498E.
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a maintenance price (i.e., keep at current $X),172 a bottom price (i.e., do not charge below $X),173
or a guideline price (i.e., charge $X).174
Defendants’ contemporaneous business documents suggest the cartel members did not always
raise prices to the full extent that they had agreed upon.175 As described in Section VII, some
“cheating” on the cartel’s agreed-upon pricing does not in itself indicate that the observed prices
are competitive. In fact, some cheating may be expected and part of the normal functioning of a
successful cartel.176 A cartel member may set its price below the target price but above the
competitive price, thereby harming the direct purchaser.

                       c) The cartel imposed output and capacity restrictions
The cartel agreed to restrict CRT output and capacity on numerous occasions. Exhibit 28 lists
dozens of meetings during which cartel members agreed to reduce output and/or capacity. Many
of these agreements applied to CDT production, although there were at least ten instances in
which cartel members agreed to reduce output or capacity of CPTs. During the early years of the
class period, these agreements were for the temporary shutdown of particular production lines for
a fixed period of time; the effect of temporarily shutting down production lines was to reduce
output during the time lines were not operating, thereby raising price.177

172
  Chunghwa Picture Tubes, LTD, 08 September 2003, CPT Glass Meeting Result Report, SDCRT-0088732 -
SDCRT-0088733, at 3.
173
  Chunghwa Picture Tubes, LTD, 12 March 1997, Customer Contact Report, CHU00028758 - CHU00028759, at
8759E.
174
      Samsung SDI, 25 April 2003, Glass Result Report, SDCRT-0088713 - SDCRT-0088714, at 8714E.
175




176
   “Thus, we demonstrate that deliberate and unpunished price cuts and business stealing (which would appear to
observers as ‘cheating’) can be critical to the healthy functioning of a cartel.” Bernheim, B. Douglas and Madson,
Erik, March 2014, Price Cutting and Business Stealing in Imperfect Cartels, NBER Working Paper Series 19993, at
6.
177
      See, e.g.,
       •     Meeting notes have attached production control tables: “3. Respective makers to reduce production days in
             order to control output quantity. [break] 4. In order to maintain original M/S [market share] as a principle,
             respective makers must not use the opportunity to acquire original delivery volume of other makers due to
             price increase. [break] Remark: SDD [Samsung] provided production control table for all makers is hereby
             copied, revised and attached as an appendix.” Table contains worldwide CDT production volumes.
             Chunghwa Picture Tubes, LTD, 25 February 1997, Customer Contact Report, CHU00028760 -
             CHU00028766, at 8760.02E - 8762E.
       •     “Reached an agreement to reduce the production of 17" CDT [Bullet] Factory operation to be adjusted first
             to stabilize the price [Arrow] 3/4 quarter capacity: 5.5 million units, actual production: agreed to reduce to
             3.9 million units, reached a 25% prod. reduction. [Bullet] Also, companies agreed to reduce production by
             further 4% in order to maintain the price 17" screens at US$ 93.” Samsung SDI, 31 July 1998, 8th CDT
             Industry Meeting (July 31) Results, SDCRT-0086419 - SDCRT-0086420, at 6419E.
       •     “[Bullet] Up to now, the capacity adjustment for 17" CDT’s has been proceeding smoothly as a result of
             cooperation among the companies. [Bullet] In June, 17" CDT production will stop for 5 days (25 operating
             days) to adjust the actual production volume in order to maintain the price level.” Samsung SDI, May 1999,
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Over the period 2001-2005, the cartel agreed to specific reductions in production capacity, going
beyond their earlier practice of agreeing to specified numbers of idle days per month and
agreeing to long-term shutdowns of production lines. The agreed capacity reductions were
substantially implemented; see Exhibit 29.
The effect of long-term and permanent shutdowns of lines was to reduce cartel members’ ability
to produce output, which raised price and reduced cartel members’ ability to cheat on cartel
prices and output. The cartel was explicit that the motivation for the agreed capacity reductions
was to increase price.178

                      d) The cartel shared plans and information
Cartel members shared a wealth of information with each other relevant to the business of price
fixing. They shared projections of demand,179 current capacity,180 projected capacity,181 and


             Report on the CDT management meeting results (May of ’99), SDCRT-0086632 - SDCRT-0086633, at
             6632E.
       •     “(E) Working Day Reduction: Nov ’00 Resolution: [para.] The market demand in November is worse
             compared to October, in order to maintain the stability of pricing, a stricter control of the output volume is
             needed. Thus, the shutdown days for 15"/17" production line should be increased to 9 days from 7 days in
             October.” Chunghwa Picture Tubes, LTD, 25 October 2000, Visit Report, CHU00031075 - CHU00031087,
             at 1076.01E.
       •     “In order to maintain pricing of 13V in Europe, and to smooth out the 20V price increase implemented by
             PH/SDI [Philips/Samsung], PH proposed to have each of the 13 V manufacturers reduce workdays in 1Q in
             order to control inventory. PH (Spain plant) has decided to change the 7 days per week production to be
             closed on every weekend to hold off production. PH is also requesting [Chunghwa] and Orion to decrease
             production simultaneously and inform them of the dates when productions are to be held-off...While the
             pricing of 13V is not out of control yet in Europe, shall we accommodate the PH’s request and provide
             them with the dates of planned production reduction (in principle, we will hold off production for same
             amount of days as PH).” Ross, David, 03 January 2001, E-mail, RE: CPTUK Off-Days (Production
             Reduction) Plan, CHU00022696, at 2696.01E.
       •     “(E) Line Stoppage Days for April Each maker reported on the number of days of downtime planned:
             [Chunghwa] - 14 days, Philips - 14 days, LG - 14 days, and SDI [Samsung] - 12 days. The final resolution
             is to have 14 days of downtime for the month of April. As for Orion, it still needs further confirmation
             before giving a reply.” Chunghwa Picture Tubes, LTD, 19 March 2001, Visitation Report (Submit),
             CHU00031111 - CHU00031112, at 1112.02E.
178
      See, e.g.,
       •     June 2001: “to effectively decrease capacity and control prices”. Chunghwa Picture Tubes, LTD, 27 June
             2001, Visitation Report, CHU00660306 - CHU00660311, at 0309E - 3010E.
       •     July 2001: “The goal is … to prevent price drops caused by oversupply.” Tomoyuki Kawano, 04 July 2001,
             E-mail, Re: Taiwan Competitor Bulletin (Destroy After Reading), TSB-CRT-00035348 - TSB-CRT-
             00035349, at 5349E.
       •     December 2002: “How to Keep the Price [first bullet] 20% capacity shutdown of 3 makers”. Chunghwa
             Picture Tubes, LTD, 27 December 2002, Itinerary, CHU00660487 - CHU00660500, at 0497.
179
      See, e.g.,
       •     A Contact Report between Samsung and Chunghwa includes a global CDT demand projection of 87.2
             million in 1998. Chunghwa Picture Tubes, LTD, 11 November 1997, Customer Contact Report,
             CHU00028685 - CHU00028686, at 8686E.
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       •     From meeting notes: “The demand for small/medium sizes [of CPTs] in Europe and the U.S. is pretty good
             but customers said it will become soft from October and it will drop 20% from November. The demand in
             Asia Pacific Region will remain strong until year end. However those customers who are the large-scale
             OEM orders, demand is expected to drop starting in November. Currently the delivery of 14" tubes is
             tighter than 20"/21" and based on current Q4 overall customer order prediction and output estimates (more
             holidays during year-end for Malaysia’s NewYear/Christmas).” Chunghwa Picture Tubes, LTD, 22 August
             2000, Visitation Report, Topic: Market Information Exchange and Price Review, CHU00029105 -
             CHU00029107, at 9107.01E.
       •     From meeting notes: “There is no unanimity on views of market demand among the makers. The final
             conclusion: according to the latest report in March from IDC, Desktop PC still has 8.7% growth in ’01
             when compared to ’00, therefore, CDT demand is optimistically forecast to reach 118 Mpcs. However, the
             overall demand is in a slump, especially when recession continues in the U.S. market and has yet to see any
             sign of improvement in Q2. So the CDT demand for the entire year is pessimistically forecast at only 114
             Mpcs.” Chunghwa Picture Tubes, LTD, 19 March 2001, Visitation Report (Submit), CHU00031111 -
             CHU00031112, at 1112.02E.
       •     A meeting report shows an LPD and Toshiba global demand forecast of 165 million CPTs in 2002 and a
             Samsung forecast of 156 million CPTs. Samsung SDI, 06 December 2002, 3 Companies MTG Information
             (5th) - Result Report, SDCRT-0087934 - SDCRT-0087937, at 7936E.
       •     A Glass Meeting report shows a forecast of CDT demand in the second half of 2005. Samsung SDI, 04 July
             2005, G/S MTG Result Report, SDCRT-0091656 - SDCRT-0091659, at 1658E.
180
      See, e.g.,
       •     Meeting notes include CDT and CPT capacity information for SDD, LG, and Orion. CPT, 17 March 1995,
             3/17 - 3/18 CRT Manufacturers Meeting, CHU00028565 - CHU00028566, at 8565E - 8566E.
       •     Meeting notes include CPT capacity information for Chunghwa, LG, Orion, Samsung, Thai-CRT, and
             Toshiba in 1st and 2nd Quarter 1999. 07 March 1999, Malay Meeting on Mar 07, CHU00029248 -
             CHU00029258, at 9253.
       •     A Glass Meeting presentation includes CPT capacity information for Samsung, LPD, Chunghwa, and
             Orion in 2nd Quarter and 3rd Quarter 2002. 28 May 2002, Glass Meeting, SDCRT-0007588 - SDCRT-
             0007594, at 7590-7591.
       •     A Glass Meeting report includes CPT capacity information for MTPD, Samsung, LPD, Thai-CRT, and
             Chunghwa in 2nd Quarter and 3rd Quarter 2004. Chunghwa Picture Tubes, LTD, 18 May 2004, Market
             Visitation Report (Glass Meeting), CHU00124024 - CHU00124031, at 4024.01E.
       •     A meeting agenda includes current CDT capacity for Samsung, LPD, and Chunghwa. Samsung SDI, 13
             March 2006, Main Discussion Agenda, SDCRT-0091715 - SDCRT-0091718, at 1716E.
181
      See, e.g.,
       •     Notes from a 1999 meeting include projected small and medium CPT capacity for Chunghwa, LG, Orion,
             Samsung, Thai-CRT, and Toshiba in 1st Quarter 2000. Chunghwa Picture Tubes, LTD, 21 September 1999,
             Visitation Report, CHU00029175 - CHU00029178, at 9177E.
       •     A 1999 Glass Meeting presentation includes projected CDT capacity information for Chunghwa, LG,
             Orion, Philips, and Samsung in the year 2000. Chunghwa Picture Tubes, LTD, 20 September 1999,
             Visitation Report (Submit), CHU00030855 - CHU00030868, at 0863E.
       •     Meeting notes include forecasted capacity changes for Philips, Thomson, Samsung Germany, and Daewoo.
             Kim, Lak Jin, 17 May 2001, Meeting Result Report, SDCRT-0087667 - SDCRT-0087669, at 7668E.
       •     A 2002 Top Meeting presentation includes projected CDT capacity information for 2003, assuming line
             shutdowns at Sony and Toshiba and after a 20% shutdown of lines at Chunghwa, LPD, and Samsung.
             November 2002, Itinerary, CHU00660501 - CHU00660514, at 0506-0508.
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projections of excess supply.182 Identifying situations where excess supply was expected helped
the cartel to anticipate conditions in which price erosion was likely to occur, and to prepare for
those conditions. For example, if the cartel expected excess supply, it could prepare by shutting
down production lines to prevent price from falling. See Sections VIII.A.1.b) and VIII.A.3.c).
Cartel members also shared information with each other regarding their negotiations with
customers, including the names of customers to whom they were selling and with whom they
were in negotiations, the products they were selling, their quantities, and their prices.183


       •     Notes from a 2002 meeting include projected capacity for 14", 20", and 21" CPTs in 1st Quarter 2003 for
             Chunghwa, Thai-CRT, Toshiba, Samsung, and LPD, as well as projected global capacity for each quarter
             of 2003. Chunghwa Picture Tubes, LTD, 17 December 2002, Market Visitation Report, CHU00030559 -
             CHU00030562, at 0559.01E.
182
      See, e.g.,
       •     In a section titled “Opinion Exchange regarding ’95/’96 W/W [Worldwide] CDT Supply/Demand” from a
             Contact Report between Samsung and Chunghwa: “Both sides reached a common understanding with
             regard to supply exceeding demand starting in the second half of 1996 (especially for 17").” Chunghwa
             Picture Tubes, LTD, 18 September 1995, Customer Contact Report, CHU00028865 - CHU00028867, at
             8866E.
       •     A Contact Report between Samsung and Chunghwa includes a global CDT supply and demand forecast
             which predicts a 21% oversupply situation in 1997 and a 13% oversupply situation in 1998. Chunghwa
             Picture Tubes, LTD, 11 November 1997, Customer Contact Report, CHU00028685 - CHU00028686, at
             8686E.
       •     Glass Meeting materials from 1999 contain a supply-demand comparison for 2000 based on Philips’
             demand forecast. Global CDT capacity is 149,428,000 while global CDT demand is 105,300,000, which
             represents an oversupply of 42%. Chunghwa Picture Tubes, LTD, 20 September 1999, Visitation Report
             (Submit), CHU00030855 - CHU00030868, at 8865E.
       •     A presentation from a 2002 Top Meeting has a capacity scenario page which shows a CDT oversupply
             situation of 22% in 2002 and 28% in 2003. November 2002, Itinerary, CHU00660501 - CHU00660514, at
             0506-0507.
       •     “In the long run, the market will still be oversupplied as a result of the shrinking demands for small sizes
             [of CPTs].” Chunghwa Picture Tubes, LTD, 25 May 2006, Visitation Report, CHU00036398 -
             CHU00036401, at 6498.02E.
183
      See, e.g.,
       •     Meeting notes show Chunghwa and Samsung compared current 14" and 15" CDT selling price for specific
             customers (e.g., ACER, ADI, Lite-on). Samsung also shared its October sales volume. Chunghwa Picture
             Tubes, LTD, 30 October 1997, Customer Contact Report, Main Content 14"/15" CDT Price Discussion,
             CHU00028687 - CHU00028688, at 8688E.
       •     Meeting notes from a Europe Glass Meeting include a 14" CPT price comparison (current and planned) of
             Philips, Chunghwa, Orion, and Samsung regarding specific customers (e.g., MIVAR, Matsushita), as well
             as sales information (e.g., Philips supplying 20K to Vestel in 2000). Samsung SDI, 11 November 1999,
             Europe Glass Meeting, SDCRT-0086512 - SDCRT-0086513, at 6512E-6513E.
       •     Meeting notes include a sales forecast for Philips, Thomson, Daewoo, and Samsung Germany in May 2001
             by specific customer, as well as a review of prices by product (e.g., Philips 21" CPT) and specific customer
             (e.g., BEKO, Sanyo, and MIVAR). Kim, Lak Jin, 17 May 2001, Meeting Result Report, SDCRT-0087667 -
             SDCRT-0087669, at 1-2.
       •     Glass Meeting notes include the second quarter 2004 sales of MTPD, Samsung, LPD, Thai-CRT, and
             Chunghwa, as well as a review of their current 14" CPT prices to specific customers (e.g., Funai, JVC,
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Cartel members shared information regarding their plans for the introduction of new products.184
Cartel members found that the exchange of information reduced competition.185


             Sanyo) and their future asking prices. Chunghwa Picture Tubes, LTD, 18 June 2004, Marketing Visitation
             Report (Glass Meeting), CHU00030526 - CHU00030529, at 0526.01E-0528.01E.
       •     A meeting presentation includes CDT sales of Chunghwa, LPD, and Samsung for first quarter 2005, as well
             as price information for specific customers (e.g., Samsung, LGE, AOC) by supplier. Samsung, 26 April
             2005, Agenda, SDCRT-0091634 - SDCRT-0091639, at 1635-1638.
184
      See, e.g.,
       •     From meeting notes between Chunghwa and Philips: “After the meeting, Jim talked to me alone and
             expressed that the expectation for next year’s market is not as good as for this year but the [Chunghwa]
             production, on the contrary, will increase from 3M this year to 4 M, which will cause big impact on the
             market. Accordingly, he hoped [Chunghwa] could have a second thought. I said that [Chunghwa] didn’t
             intend to disturb the market and it is a sincere gesture to limit itself from taking orders from customers
             which have conflicting interests or to inform PH [Philips] first before taking orders. Besides, the growth in
             quantity this year is mostly from [Chunghwa’s] original own customers and [Chunghwa] didn’t fight for
             orders viciously against PH. Next year, [Chunghwa] will introduce 15" flat tube but the impact should not
             be too big. Jim still hopes [Chunghwa] can control the production quantity.” Chunghwa Picture Tubes,
             LTD, 23 June 2000, Visitation Report, Topic: TV Tube Market, CHU00029110 - CHU00029115, at
             9112.01E.
       •     A meeting notes document talks about the schedule for each company’s introduction of 21" PF (pure flat,
             with an iron mask) in 2004 and 2005, which has been led by MTPD. MT Picture Display, 17 September
             2004, CRT Industry Meeting, MTPD-0580795, at 0795.
       •     From meeting notes between LPD and MTPD: “Both the parties have exchanged CRT product roadmaps
             including information of slim tubes of LPD and D-com, D-sup concepts of MTPD.” Engelsen, Daniel den,
             Brouwer, Wim, et al., 06 December 2004, Visit Report to MTPD in Takatsuki, PHLP-CRT-027718 -
             PHLP-CRT-027721, at 7720.
       •     From meeting notes between Chunghwa and Thai-CRT: “Therefore, Thai CRT was aggressively
             developing 15"RF [real flat]. Although the plan is to have mass production after Q3, it was quoting low
             prices everywhere. From what we have heard, it has quoted Usd 28.0 to our main customer Orion
             [Underlined by hand], increasing the pressure on us to drop price with Orion. Therefore, we must accelerate
             speed in bringing out our 15"RF A/K tube so that we can maintain and strive for orders with the support of
             competitiveness in cost.” Chunghwa Picture Tubes, LTD, 27 May 2005, Foreign Business Trip Report,
             CHU00732798 - CHU00732899, at 2899.01E-2899.02E.
       •     From Glass Meeting notes: “Both SDI (C) [Samsung China] and BMCC projected to mass produce 21"
             super slim [Underlined by hand] in October this year; LPD(I) [LPD Indonesia] [Underlined by hand] also
             projected mass production in Q1 next year.” Chen, Hwang-Yun (Henry), Chen, Mu-Lin (Jimmy), 22
             September 2005, Market Visitation Report (Glass Meeting), CHU00030472 - CHU00030473, at 0473.01E.
185
      See, e.g.,
       •     “Q. Based on your background and experience, did you find the one-on-one meetings helpful in avoiding
             vicious competition? [objections omitted] THE WITNESS: Sometimes. BY MR. VARANINI: Q. And with
             respect to the glass meetings themselves, I believe you testified earlier that you exchanged demand and
             supply information; is that correct? [objection omitted] THE WITNESS: Correct. BY MR. VARANINI: Q.
             And was that also helpful in avoiding vicious competition? [objection omitted] THE WITNESS: Correct.”
             26 February 2013, Deposition of Sheng-Jen Yang, Volume III (Hereinafter “Deposition of Sheng-Jen
             Yang, Vol. III, 26 February 2013”), at 391:4 - 391:22.
       •     “Q. Did you use the competitor information in the creation of both the sales and the business plans? A. I
             did use it as – I did refer to it when conducting the supply and demand analysis but I did not use it directly.
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                         e) The cartel established monitoring and enforcement procedures
The cartel monitored compliance with temporary line shutdowns by sending representatives of
the cartel on site visits to verify that production had halted.186 Defendants provided the names of

             Q. And did you use the supply and demand analysis in both the sales plans you created and the business
             plans that you created? A. Yes.” Hitachi 30(b)(6) Deposition of Nobuhiko Kobayashi, Vol. I, 17 July 2012,
             at 96:16 - 96:24.
       •     “Q. In addition to exchanging CRT price information, was production information exchanged? A. Yes, that
             is what I recall. Q. Was capacity information exchanged? A. Yes, that is what I recall. Q. What was the
             purpose of this information exchange with Toshiba? [objection omitted] THE WITNESS: As I said earlier,
             this was done. I used this in order to gain a deeper understanding of the CRT industry, the market... Q.
             Would the combination of all of this information that you would receive, this market information, the type
             that was being exchanged between you and Toshiba and you and Hitachi, would that help you make
             business decisions in terms of CRTs? [objections omitted] THE WITNESS: I think I said this earlier as
             well, but the information from Toshiba was one piece of information. And I gained – I received information
             from a lot of different sources, from suppliers, customers, research companies, et cetera, et cetera, and so
             this was but one of them.” 05 March 2013, Deposition of Hirokazu Nishiyama, Volume I (Hereinafter
             “Deposition of Hirokazu Nishiyama, Vol. I, 05 March 2013”), at 169:19 - 173:2.
       •     “Q. What was the purpose of exchanging North American CRT production information with Thomson in
             this 2002 to ’06 time period we talked about this morning? [objection omitted] THE WITNESS: One of the
             objectives was that I wanted to know what the production capacity for each of the North American CRT
             plants were. BY MR. LAMBRINOS: Q. Why did you want to know that? A. If it’s possible to get a sense
             of the overall capacity since the demand has been – since we were informed of the demand by the
             customers, it would be possible to see the relationship between supply and demand. Q. When you see the
             relationship between supply and demand, how does that help you run your CRT business? [objection
             omitted] THE WITNESS: First, it would be possible to get a sense of what type of demand there is in the
             market when introducing a new product. BY MR. LAMBRINOS: Q. Second? A. Second, it’s also possible
             to make a projection of how the CRT prices would move in general by understanding the relationship
             between the supply and the demand.” 07 February 2013, Deposition of Shinichi Iwamoto, Volume I
             (Hereinafter “Deposition of Shinichi Iwamoto, Vol. I, 07 February 2013”), at 69:13 - 70:15.
       •




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186
      See, e.g.,
       •     Notes from a management meeting detail the monitoring of Samsung’s Busan and Suwon factories by
             Chunghwa and Orion and the monitoring of Chunghwa’s Malaysian factory by Samsung. Samsung’s
             instructions for its inspectors are: “It should be confirmed whether the #5 line is operating. The line should
             be checked twice, in the morning and in the afternoon. Please transmit the monitoring results via Single.”
             The notes also indicate that Chunghwa and Orion monitored LG’s Gumi and Changwon factories for
             nonoperation on April 17 and 18, and LG monitored Orion’s factory for nonoperation on April 18.
             Samsung SDI, 19 April 1999, Report on the April 14 Management Meeting Results, SDCRT-0086593 -
             SDCRT-0086596, at 6596E.
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the auditors they intended to send to other companies at meetings, and designated “principal”
and “supporting” auditors for each company.187 Cartel members also created “audit plans” and
submitted them to the cartel.188



       •     From CDT meeting notes: “Results of the monitoring of Philips’ Dapon factory [list format] 1) Date: June
             24, ’99 […] 2) Item: #5 line in the Dapon factory […] 3) Result: #1, 19", #5 17" lines not operating.”
             Samsung SDI, 23 June 1999, Report on the results of the 5 CDT companies’ management meeting (June
             23), SDCRT-0086641 - SDCRT-0086645, at 6643E.
       •     Report meeting notes document: “1. The purpose of this trip is to AUDIT LINE 2 at SSDD’s [Shenzhen
             Samsung Display Devices] Shenzhen factory to see if it has shut down 17"CDT production according to
             agreement. [...] 3. After obtaining permission from SSDD, I CHECKed [sic] their production line on 4/9
             and 4/10, its original tube, coating, sealing, exhaust gas, lTC, etc. manufacturing process and found that
             LINE#2 only produced 14" CDT.” Chunghwa Picture Tubes, LTD, 09 April 2000, Visitation Report,
             CHU00030998, at 0998E.
       •     From CDT meeting notes: “(A) Follow-up of last meeting: Audit Control: [Chunghwa] reflected the Audit
             of the shutdown situation on 10/8 in LG Wales factory, [Chunghwa] people found that LG had not
             implemented shutdown according to the original plan. Mr. Choi of LG replied that they will investigate and
             respond, but LG has shut down for over 8 days due to the bad order condition this month.” Chunghwa
             Picture Tubes, LTD, 25 October 2000, Visit Report, CHU00031075 - CHU00031102.
187
      See, e.g.,
       •     From a meeting document and handwritten notes: “Auditor names from [Chunghwa], LPD, SDI (Bruce Lu,
             Eddie MEI from [Chunghwa]; JH Oh, JS Kim from LPD; Jay Jeong and JH Choi from SDI).” Samsung, 21
             October 2004, SDCRT-0090233, SDCRT-0090233, at 122.
       •     An e-mail from JK Cesar Jung, Key Account Manager at LG.Philips Displays, discusses a meeting where
             auditors would be selected to check on production line shutdowns: “Dears, [...] As already informed, the
             meeting will be held on [sic] 2 pm ~ tomorrow. The following will be discussed [...] 2. Line shut-down
             [bullet] prepare the name list of the auditor (2 people) [bullet] relevant audit will be arranged as of
             Dec/end.” Song, Inhwan, 28 December 2004, E-mail, Subject: Fwd: RE: [Dec 29th] Working level meeting
             -----> from 15:30, CHU00735283 - CHU00735286, at 5284.
       •     A meeting notes document contains a table of auditor names by company as well as another table indicating
             which cartel members were “principal” and “supporter” inspectors for each manufacturing plant.
             Chunghwa Picture Tubes, LTD, 29 December 2004, Sales Headquarters Display products Sales
             Department CDT Market Report, CHU00126131 - CHU00126136, at 6132E-6133E.
       •     In a capacity control discussion from meeting notes: “They agreed to a Line Audit by 2 people having Free
             Pass, without prior notice at each company.” Samsung SDI, 19 January 2005, G/S MTG Result Report,
             SDCRT-0091599 - SDCRT-0091604, at 1602E.
188
      See, e.g.,
       •     Meeting notes have a production control and auditing plan for the 17" CMT [CDT] in May 1999 for
             Chunghwa, SDD, LG, Orion, and Philips. Chunghwa Picture Tubes, LTD, 12 May 1999, Contact Report,
             CHU00030757 - CHU00030762, at 0762E.
       •     “Ultimately, a resolution was reached by everyone that a minimum of seven days stoppage will be
             implemented in August. In addition, as for LG’s combined line of 15" and 17", meeting attendees all
             expressed objections that as production days of 15" can be converted as 17" stoppage days, LG was asked
             to review and make improvement. Meeting attendees resolved that each company shall report its production
             stoppage and Audit plans on the weekly meeting to be held on 7/28.” Chunghwa Picture Tubes, LTD, 23
             July 1999, Visitation Report, Topic: CDT Market Information Exchange and Price/Production Volume
             Review, CHU00030809 - CHU00030814, at 0810.01E - 0810.02E.
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The cartel monitored its agreements to fix price and restrict quantity.
Cartel members also received feedback from customers about the prices being offered by other
cartel members. When information received from these two sources was in conflict, cartel
members challenged each other in cartel meetings.189 The cartel threatened cheaters with


       •     “C) 17"CDT stoppage days of various makers’ production lines in August: Various makers reported the
             number of stoppage days as shown in the attachment. They needed to verify Audit plans and send them to
             PH for compilation before Friday. Also, makers need to notify visiting/hosting staff and specify time of
             plant visit two days before Audit.” Chunghwa Picture Tubes, LTD, 28 July 1999, Visitation Report,
             CHU00030807 - CHU00030815, at 0808.01E.
       •     “Meeting attendees agreed that, in order to effectively ensure price level, 17" tube production shutdown
             period needs to be at least 5 days in September. Each maker will provide a production stoppage plan before
             8/24, and complete Audit plans for related factory zone before 8/28.” Chunghwa Picture Tubes, LTD, 20
             August 1999, Visitation Report, CHU00030835 - CHU00030843, at 0837E.
       •     Meeting notes have attached line-stoppage and audit plans: “Each make’s reported line-stoppage and Audit
             plan is attached. It was agreed that two days prior to the Audit date, the makers should notify one another
             of the visitors/hosts. The actual time to factory, then, does not need to be verified. Mr. Ha indicated that the
             makers needed to implement an actual Audit. He also made a simple record to facilitate reports from
             Management meeting.” Chunghwa Picture Tubes, LTD, 27 September 2000, Visitation Report (Submit),
             CHU00031067 - CHU00031073, at 1067.02E-1069E.
189
      See, e.g.,
       •     “President Lin [from Chunghwa] indicated that after the Top Level reached a conclusion regarding the price
             issue, the Working Level personnel should actually Review the market price situation at each meeting, and
             if abnormality appears, then they should find out the real price. The saboteur will be questioned thoroughly.
             The matter will then be reviewed at the Top meeting to seek a solution.” Hsieh, Chun-Mei (Christina), 13
             October 1999, Contact Report, Meeting Topic: CDT Regular Exchange Meeting, CHU00030888 -
             CHU00030893, at 0890E.
       •     “As to our question that SDI [Samsung] is Offering Thomson a lower price in order to grab orders (200k
             for the first half of 2001), SDI responded that its price remains at $25.5. Although those on the front line
             window believe that price should be lowered, upper management has yet to authorize such a move. Based
             on the request from Thomson, a price decision should be made within 1 week.” Chunghwa Picture Tubes,
             LTD, 21 December 2001, Visitation Report (Submitted), CHU00036406 - CHU00036407, at 6406.02E.
       •     “SDI [Samsung] flatly denied our suspicion that it has offered Sharp-Spain with prices as low as (ITC
             EU$34=U$23). We explained that considering manufacturing cost in Europe factories, such low prices
             should not have been offered in EU market. However, it admitted that its upper management offered
             Thomson $24.2 in first quarter in order to grab orders with low price, but they later increased its 10" price
             to balance it out after consideration. CPT stressed that such a practice is wrong and CPT’s share at
             Thomson cannot be grabbed by SDI.” 22 February 2002, Visitation Report, CHU00036394 -
             CHU00036395, at 6395.01E.
       •     “First of all, LPD questioned the announced total sales volume of SDI [Samsung] and its somewhat
             concealment on its deliveries made to SEC and Proview, since there are significant differences from the
             data obtained by LPD. It tried to switch focus and complained that the agreed upon market share ratio by
             the three makers are unrealistic; followed by attacking SDI is secretly causing trouble with AOC. Actual
             delivery in June and July is far higher than the data announced.” Yun, Ling-Yuan, 21 July 2003, CDT
             Market Review, CHU00005963, at 5963.01E.
       •     “When it was mentioned that the agreed price of the three companies was violated, there was no notice to
             our company while starting business to Proview, and our company sought the understanding of both
             companies when starting with Philips, Lite-On Biz and so on, they said that they would talk again to the
             head office. However, when our company denies this by saying, ‘Is it not $43.5 that is our company’s price
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punishment in the form of price competition from the cartel.190 The cartel’s monitoring and
punishment efforts induced cheaters to comply with cartel policies on at least several
occasions.191


             of Proview’, they then requested confirmation once again.” Samsung SDI, 15 November 2004, Report the
             results of the Glass working meeting on Nov. 15, SDCRT-0090350 - SDCRT-0090353, at 0351E.
       •     “During the meeting, we objected to LPD’s lowering its prices to AOC secretively, reporting a lower-than-
             actual shipment volume and eroding our market shares, LPD’s only response was to deny.” Chunghwa
             Picture Tubes, LTD, 29 March 2005, CDT Market Report, CHU00014202 - CHU00014206, at 4203E.
190
      See, e.g.,
       •     “14" CDT, under the circumstances such that the market as a whole has not tended toward worsening,
             [Chunghwa] still maintains its original selling price foundation to all its customers. Even Mag/Delta, etc.,
             who are eager to get into exports, also conform to original foundation quotes. Requested that TSB
             [Toshiba] understand, and not be misled by its customers, maintaining 14" selling price together. But if the
             14" price war really begins, TSB should understand that [Chunghwa] has the best capabilities to respond
             accordingly. At that time, TSB 14" CDT operations will be even more difficult.” CPT, Du, Ching-Yuan
             (Michael), 17 June 1996, Customer Contact Report, CHU00028297 - CHU00028298, at 8297E.
       •     “PH [Philips] commented that if SDD [Samsung] continued to disrupt the 14" market, there is no guarantee
             that it will follow rules with the 15"/17". If SDD’s misconduct is not corrected, PH would be forced to take
             drastic actions under the pressure of high inventory.” Chunghwa Picture Tubes, LTD, 13 January 1999,
             Visitation Report, CHU00030698 - CHU00030700, at 0698.03E.
       •     LPD proposal: “Penalty if company cheat prices (1) Person in charge & manager will be dispelled [sic] (2)
             Other 2 company [sic] will attack trouble maker’s major customer.” Samsung SDI, 2002, SDCRT-
             0087953, SDCRT-0087953 - SDCRT-0087962, at 7953E.
       •     “SDI’s M/S [market share] for SEC changed from Q1/85% --> Q2/80%, September only has 70% or so. If
             [Chunghwa] does not cooperate, then SDI has to lower the price for SEC, or to fight for share in AOC or L-
             On.” CPT, 24 August 2005, Letter head: Hongxi Creek Resort Ta Shee Resort, CHU00017115, at 2.
191
      See, e.g.,
       •     “Director Liu said that SDD’s use of bottom price had caused harm to [Chunghwa]. He asked SDD to find
             a way to remedy. For example, at present, regarding Acer, the greatest harm, Director Liu asked him to
             raise the price to USD64.00/pc or restrict its supply volume on the ground that the output was not smooth.
             Mr. Lee claimed that it was Mr. Park at its Malaysia plant who had quoted to Acer USD 60.00/pc for 14".
             Although it does not violate its policy, he would try to find out whether there would be remedial measures,
             and would discuss this matter again at the formal meeting at 5:00 PM on 2/25'97.” Chunghwa Picture
             Tubes, LTD, 24 February 1997, Customer Contact Report, Contents Exchange of Opinions Regarding 14"
             CDT Price, CHU00028763 - CHU00028767, at 8764E.
       •     “Regarding LG’s offer of less than $93 for 17" screens [bullet] LG asserted that the offer below $93 is a
             rumor and agreed not to offer below $93 in the future.” Samsung SDI, 31 July 1998, 8th CDT Industry
             Meeting (July 31) Results, SDCRT-0086419 - SDCRT-0086420, at 6420E.
       •     “Director Liu explained that although LG still has some under the table conduct, but being under the
             supervision by everyone, they are being pushed towards making most offer at the agreed bottom price.”
             CPT, Liu, et al., 25 August 1998, Sales Department Customer Contact Report, CHU00028463 -
             CHU00028464, at 8464E.
       •     “[Chunghwa] complained of efforts by SDI to grab orders for Thomson 14" by lowering prices, growing
             from 3-5K/M to 30K/M. In defense, SDI said its quoted price is $25.5 sold jointly with 10" and that
             although the customer had requested a price reduction, that has not been approved. [Chunghwa] questioned
             that SDI’s increase in orders was already a fact and had a clear impact on [Chunghwa] deliveries. Finally,
             SDI indicated that it plans to reconfirm the sales prices and make a report at the next meeting. If low
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                        f) The cartel allocated customers to suppliers
The cartel divided the market using two schemes. Major customers were allocated to cartel
members, a primary supplier and one or more secondary suppliers.192 Primary suppliers’ prices
were fixed by the cartel at levels slightly below the prices set by the cartel for secondary
suppliers.193 The differential between the primary and secondary suppliers’ prices induced
customers to make a larger share of their purchases from primary suppliers than from secondary
suppliers. For many major customers, such as AOC, Lite-on, LGE, Philips, Proview, and SEC,


             pricing can be proven, it will then readjust the price back to the agreed prices between various parties.”
             Chunghwa Picture Tubes, LTD, 18 January 2002, Visitation Report, CHU00036392 - CHU00036393, at
             6392.01E.
192
      See, e.g.,
       •     “Still strong feeling about: [para.] Vestel is oriented to have TH [Thomson] as 1st supplier and SDI
             [Samsung] as 2nd source while…Beko oriented to LPD as preferred supplier and SDI and [sic] 2nd
             source.” Samsung SDI, 04 December 2003, Paris Meeting, SDCRT-0088661 - SDCRT-0088674, at 8672.
       •     “JVC [:] SDI/T-CRT will be the two suppliers. (The LPD model has been eliminated.) Based on S
             Company’s intention, the G/L [guideline] setting was lowered.” MT Picture Display, 18 June 2004,
             ASEAN MTG (Small and Mid-Sized Units), MTPD-0493552 - MTPD-0493554, at 3553.
       •     “SDI [Samsung] suggests each customer should have a major vendor to control price/QEY [sic] [quantity]
             to gradually to [sic] reach that goal that each customer only have two CDT makers for supply.” CPT, 24
             August 2005, Letter head: Hongxi Creek Resort Ta Shee Resort, CHU00017115, at 1.
       •     “Agreed on the introduction of the 2 Vendor System by each customer for co-survival of 3 companies from
             ’06…M/S details (agenda) from each customer will be discussed in the Working-Level meeting.” Samsung
             SDI, 30 September 2005, G/S MTG Result Report, SDCRT-0091687 - SDCRT-0091691, at 1689E.
193
      See, e.g.,
       •     “PH/OEC asked [Chunghwa] to contact IRICO, and explain to IRICO the group’s unanimous
             acknowledgement of its primary position to VESTEL. The three parties will not contact VESTEL for
             promotions this year and hope that next year, IRICO can increase price to $30 (without tax). PH guarantees
             that its price can be higher than IRICO’s by $1, and the largest supply amount will not be more than 20-25
             k/m, and if possible, he will visit IRICO (Date: October 11, awaiting for confirmation from PH [Underlined
             by hand]).” Chunghwa Picture Tubes, LTD, 02 October 1999, Business Report Summary, Topic: European
             14” CTV Tube Market, CHU00029048 - CHU00029049, at 9048.01E.
       •     “[bullet] In order to have stable price it is necessary to have big difference of share and reasonable price
             gape [sic] between major & minor supplier. [bullet] At least US$0.5 price gap between Major & minor
             supplier.” Chunghwa Picture Tubes, LTD, 17 June 2003, TOP Meeting Arrangement, CHU00660561 -
             CHU00660574, at 0573.
       •     “The top six major customers are AOC, Philips, EMC, L-On, SEC and LGE. The rest are in the ‘other
             customers’ category. To top six customers, 2nd tier suppliers must quote a price $0.5 higher. This is to take
             this opportunity to reinforce price differentials between big and small customers for the purpose of
             stabilizing market shares.” Chunghwa Picture Tubes, LTD, 25 March 2004, Return-from-Abroad Trip
             Report, CHU00031240 - CHU00031247, at 1242E.
       •     “The above is the 17"F baseline prices of TOP 6 Customers. LPD suggested that each major supplier of
             major customers could suggest adjustment to the baseline price of that customer, and the other two CDT
             makers can then adjust their prices according to the new baseline price and maintain the price differential.
             [Chunghwa] and SDI agreed in principle but this arrangement must be carried out under the premise of
             actual true baseline prices.” Chunghwa Picture Tubes, LTD, 29 December 2004, CDT Market Report,
             CHU00071480 - CHU00071482, at 1480E.
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the cartel also established targets for the shares of the customer’s purchases to be supplied by
each of the cartel members to which the customer was allocated.194
The cartel also divided the market as a whole by establishing target shares of all CDT sales for
each cartel member.195

                     g) The cartel used most-favored customer clauses
Cartel members employed most-favored customer clauses in purchase agreements.196 These
terms promised customers they would receive prices no worse than prices charged other
194
  Most instances of this conduct of which I am aware were allocations of shares of CDT customers to cartel
members; I am aware of one instance in which a CPT customer was allocated to cartel members. See, e.g.,
       •     “Mr. Na hoped that they could cooperate closely with [Chunghwa] on delivery quantity/price [to ADI] for
             mutual benefit. He hoped that delivery amount could be maintained at the original 80K/m Base. SDD
             would take 50K/m (60%) and [Chunghwa] 30K/m (40%) of M/S.” Chunghwa Picture Tubes, LTD, 09
             April 1998, Visitation Report, CHU00028642 - CHU00028644, at 8642.03E.
       •     Regarding division of a CPT customer: “With Thai-CRT/TEDI’s promise that they would not grab
             Chunghwa Picture Tube’s M/S [market share] orders (maintained at the original 50%) and that they will
             follow the prices, the Korean makers requested Chunghwa Picture Tube to take the lead in the price up to
             USD 32.00/pcs for Shipment to Orion (Thai) in January (Mr. Moon said he could arrange a meeting for the
             three top decision makers to confirm actual implementation method).” Chunghwa Picture Tubes, LTD, 27
             November 1998, Visitation Report (Submit), CHU00029259 - CHU00029261, at 9261.01E.
       •     “In addition, with regard to each maker’s share with A.O.C., it was reviewed and set as follows:
             [Chunghwa]: 50% PH: 20% SDD/ORION: 30% (SDD and Orion will review as to how to share that 30%)”
             Chunghwa Picture Tubes, LTD, 18 May 1999, CPT Sales Department Customer Contact Report, Topic:
             China/AOC 14" CDT Price, CHU00030763 - CHU00030765, at 0764E-0765E.
       •     Chunghwa, LPD, and SDI review their market share allocations for twelve major CDT customers as
             decided in a CEO meeting. CDT, 29 April 2003, Agenda, CHU00660539 - CHU00660548, at 0545-0546.
       •     Agreement between Chunghwa, LPD, and SDI on market share allocation for six (reduced from twelve)
             major CDT customers. Allocations for LGE, Philips, and Lite-On have already been decided; they are
             working on a consensus for SEC, AOC, and Proview. Chunghwa Picture Tubes, LTD, 24 February 2005,
             Itinerary, CHU00647932 - CHU00647943, at 7941-7942.
       •     Proposal by Chunghwa, LPD, and SDI [Samsung] for market share allocations in 2006 for six major CDT
             customers. CDT, 13 March 2006, Main Discussion Agenda, SDCRT-0091715 - SDCRT-0091718, at
             1718E.
195
      See, e.g.,
       •     Agreed CDT market shares of Chunghwa, LPD, and SDI for 2002 and 2003, with a comparison to actual
             results. Samsung SDI, February 2003, Agenda, SDCRT-0088763 - SDCRT-0088772, at 8767.
       •     Agreed CDT market shares of Chunghwa, LPD, and SDI for 2003 and 2004, with a review of actual market
             shares for January 2004. Samsung SDI, January 2004, Agenda, SDCRT-0088846 - SDCRT-0088851, at
             8848.
       •     Agreed CDT market shares of Chunghwa, LPD, and SDI for 2005, with a review of actual January and
             February 2005 market shares. Chunghwa Picture Tubes, LTD, 24 February 2005, Itinerary, CHU00647932
             - CHU00647943, at 7935.
196
      See, e.g.,
       •     From a JVC purchase order with Hitachi America (the ordered product is a CPT): “Seller represents and
             warrants that the prices are no higher than are currently available from Seller to any other purchaser of
             similar quantities of substantially identical goods. Any taxes with respect to or on account of the goods
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customers, and helped to maintain cartel discipline by raising the cost of cheating: if a cartel
member cheated by offering low prices to one customer, it had to offer the same low prices to all
customers that had been granted most-favored customer status. This reduced the incentive for a
cartel member to cheat on the cartel agreement by lowering prices.197

                     h) Several Defendants participated in the LCD cartel
Several cartel members or their corporate relatives also participated in the LCD cartel, which
lasted from approximately 1999 to 2006,198 including: Chunghwa, Hitachi, LGE, Philips, LPD


             ordered hereunder shall be paid by Seller unless expressly otherwise prescribed by law.” JVC, 30 July
             1998, JVC Purchase Order, HEDUS-CRT00062277 - HEDUS-CRT00062278, at 2277.
       •     From an e-mail from Chunghwa to Dell: “We’ve understood that there’s some rumor about [Chunghwa’s]
             Jan [January] pricing, yet it’s totally untrue. We havn’t [sic] quoted Jan price to any customers at this
             moment. [para.] You may have our words that you have the MFN among our customers.” Wang, Cherry
             H.C., 08 December 2004, MFN, CHU00635116, at 5116.
       •     From a general purchasing agreement between Matsushita Electric Industrial and Philips Consumer
             Electronics: “Supplier shall at all times offer the most favourable prices for the Standard Products only to
             Buyer, meaning that such prices shall be no less favourable than those currently extended to other
             customers of Supplier at substantially the same timing, under substantially the same purchase volumes and
             other conditions.” Matsushita Electric Industrial, Philips Consumer Electronics, 20 January 2006, General
             Purchasing Agreement, MTPD-0436378 - MTPD-0436396, at 6384.
       •




       •     From a purchasing agreement between MTPD Indonesia and Sanyo Electronics Indonesia: “The price of
             the Products shall be decided by the parties hereto upon mutual consultation from time to time; provided,
             however, prices for the Products shall at no time be greater than the most favorable prices extended at that
             time to the Seller’s most favored customers, taking into account the deference of specifications and
             delivery terms.” PT Sanyo Electronics, PT MT Picture Display, 09 October 2006, Basic Agreement
             between PT Sanyo Electronics and PT MT Picture Display, MTPD-0336313 - MTPD-0336331, at 6316.
       •



197
      See, e.g.,
       •     Cooper, T.E., 1986, Most Favored Customer Pricing and Tacit Collusion, Rand Journal of Economics, Vol.
             17, 377-388.
       •     Jacquemin, Alexis and Margaret E. Slade, 1989, Cartels, Collusion, and Horizontal Merger, Handbook of
             Industrial Organization, Vol. 1, at 422.
       •     Salop, Steven C., 1986, Practices That (Credibly) Facilitate Oligopoly Coordination, New Developments in
             the Analysis of Market Structure, MIT Press: Cambridge: Massachusetts, (Joseph Stiglitz and Frank
             Mathewson, eds.).
       •     Tirole, Jean, 1988, The Theory of Industrial Organization, The MIT Press: Cambridge, Massachusetts, at
             330-332.
198
      See, e.g.,
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(the joint venture between LGE and Philips), Mitsubishi, MTPD, Toshiba, and Samsung. The
DOJ prosecuted members of the LCD cartel for violating Section 1 of the Sherman Act, resulting
in numerous guilty pleas and fines totaling hundreds of millions of dollars. Chunghwa, Hitachi,
and LG Display Co. (a LCD joint venture between LGE and Philips) pleaded guilty and paid
criminal fines.199 Toshiba was found guilty by the jury in the direct purchaser case and was
ordered to pay $87 million to class members.200 In addition, competition agencies in China, the
European Union, and South Korea fined Chunghwa, LG Display, and Samsung a total of nearly
$476 million for their participation in the LCD cartel.201
It is well established in the economics literature that such “multi-market contact” can be
conducive to cartel success.202

       •     28 March 2010, Order Granting Indirect Purchaser Plaintiffs’ Motion For Class Certification; Denying
             Defendants' Motion to Strike Modified Class Definitions; Granting Motions to Strike Untimely
             Declarations, In re: TFT-LCD (Flat Panel) Antitrust Litigation (United States District Court Northern
             District of California San Francisco Division).
       •     28 March 2010, Order Granting In Part and Denying In Part Direct Purchaser Plaintiffs’ Motion For Class
             Certification; Granting Defendants’ Motion to Strike Untimely Declarations, In re: TFT-LCD (Flat Panel)
             Antitrust Litigation (United States District Court Northern District of California San Francisco Division).
199
      See, e.g.,
       •     U.S. Department of Justice, 12 November 2008, LG, Sharp, Chunghwa Agree to Plead Guilty, Pay Total of
             $585 Million in Fines for Participating in LCD Price-fixing Conspiracies,
             http://www.justice.gov/opa/pr/2008/November/08-at-1002.html, accessed 31 March 2014.
       •     U.S. Department of Justice, 10 March 2009, Hitachi Displays Agrees to Plead Guilty and Pay $31 Million
             Fine for Participating in LCD Price-Fixing Conspiracy, http://www.justice.gov/opa/pr/2009/March/09-at-
             210.html, accessed 31 March 2014.
200
   James, Ben, 11 September 2012, Toshiba To Pay Direct LCD Buyers $30M In Price-Fixing MDL, Law360,
http://www.law360.com/articles/377122/toshiba-to-pay-direct-lcd-buyers-30m-in-price-fixing-mdl, accessed 08
April 2014.
201
      See, e.g.,
       •     Qi, Liyan, Min-Jeong Lee and Lorraine Luk, 04 January 2013, China Fines Makers of LCD Screens, The
             Wall Street Journal,
             http://online.wsj.com/news/articles/SB10001424127887323374504578220862089391652, accessed 08
             April 2014.
       •     Lee, Jung-Ah, 31 October 2011, Seoul Fines Six LCD Manufacturers in Price-Fixing Case, The Wall Street
             Journal, http://online.wsj.com/news/articles/SB10001424052970204528204577007682854719686,
             accessed 08 April 2014.
       •     White, Aoife, 08 December 2010, LCD-Panel Makers Fined $649 Million by European Union for Price
             Fixing, Bloomberg, http://www.bloomberg.com/news/2010-12-08/six-lcd-panel-makers-fined-649-million-
             by-european-union-for-price-fixing.html, accessed 08 April 2014.
       •     Lipman, Melissa, 27 February 2014, LG, InnoLux LCD Cartel Fines Trimmed By $23M In EU Court,
             Law360, http://www.law360.com/articles/513907/lg-innolux-lcd-cartel-fines-trimmed-by-23m-in-eu-court,
             accessed 08 April 2014.
       •     Kanter, James, 08 December 2010, Europe Fines Five Flat-Panel Screen Makers for Price Fixing, The New
             York Times, http://www.nytimes.com/2010/12/09/business/global/09fine.html?_r=0, accessed 08 April
             2014.
202
      See, e.g.,
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                      4. The evidence confirms the cartel successfully raised prices

                       a) The cartel raised the price of the CRTs for which we observe target
                       prices
As a direct test of whether the cartel affected the prices of CRTs, I implemented a regression
analysis of whether target prices “Granger cause” actual prices. As described in Section
VIII.A.3.b), the CRT cartel members set target prices to which they were to adhere when selling
CRTs. By setting these prices, cartel members sought to cause the prices of CRTs to increase
above their competitive levels. The regression analysis I undertook examined whether the cartel
was successful in its efforts.
I have found documentation of over 130 meetings between cartel members at which target prices
were set. See Exhibit 1. I matched the target prices with the prices direct purchasers paid for the
corresponding tubes.203 I have been able to match target prices to approximately 29.7% of CPT
sales and 39.0% of CDT sales in the data produced by Defendants.204
There are several possible reasons I did not observe more target prices. Cartel members
understood that setting target prices was illegal and indicated attempts to conceal such activity.205

       •     Bernheim, B. Douglas and Michael D. Whinston, 1990, Multimarket Contact and Collusive Behavior,
             RAND Journal of Economics, Vol. 21(1), 1-26.
       •     Bond, Eric, 2004, Antitrust Policy in Open Economies: Price Fixing and International Cartels in Handbook
             of International Trade, Volume II: Economic and Legal Analyses of Trade Policy and Institutions, Choi and
             Hartigan (eds), Blackwell Publishing.
       •     Deltas, George, Serfes, Konstantinos, and Richard Sicotte, 1999, American Shipping Cartels In The Pre-
             World War I Era, Research in Economic History, Vol. 19, 1-38.
203
   I matched target prices to actual observed cartel prices using the following procedure. I defined a product group
to be all CRT models with the same application, size, and finish (bare or ITC). Most of the Defendant sales data are
not sufficiently detailed to match on tube shape (round or flat). For the analysis described in this sub-section, I
ignore shape data when available and treat flat and round tubes the same. For each manufacturer and customer pair, I
calculated the average price of all products within a group sold during each calendar quarter. These are the actual
prices. I then matched these actual prices to target prices that were applicable to each manufacturer, group, and time
period. If the meeting notes did not specify the manufacturers to which a target price applied, or if the same target
price applied to all manufacturers at the meeting, I assumed that it applied to all manufacturers in the cartel. Meeting
notes typically included the month or quarter when a target price was to be effective. If different meetings produced
multiple target prices for the same quarter, I used an average of the available target prices, weighting each target
price according to the length of time it would have been in effect.
204
      See combine_target_defendant.smcl in my backup for calculations.
205
      See, e.g.,
       •     “Large size price trend: 25V $102-103 (major customer, bottom price standard) Based on North America
             antitrust law, CRT companies are not to discuss prices with each other, but in my opinion it appears to be a
             price we heard from Philips [return] Price gap between 25v and 27V: Tube (ITC standard) around $35, set
             retail standard $40-50.” Im, Chul Hong, 12 January 1999, North America CPT companies meeting
             summary, SDCRT-0002526 - SDCRT-0002528, at 2528E.
       •     From meeting notes: “The industry meetings should remain confidential in consideration of international
             antitrust laws”. Shenzhen Samsung Display Device, 05 August 1999, The Chinese Industry Meeting
             (August), SDCRT-0086672 - SDCRT-0086674, at 6672E.
       •     From an internal Toshiba e-mail: “* Below, I ask you to destroy after reading * [paragraph] I am sure you
             are aware, but it is a fact that information exchange is being conducted occasionally among the three
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Target prices may have been set over the phone or not written down. For this reason alone, it is
almost certain that the cartel set target prices that we do not observe.
In addition, the cartel did not need to explicitly set target prices for all products to increase prices
for all products because the prices of various CRT models are closely and predictably related; a
few key tube characteristics such as size and application account for most of the variation in
CRT prices. See Section VIII.A.4.b)(2). By explicitly setting a target price for certain tubes, the
price of other tubes would rise as well.
Also, setting target prices was not the only way to collusively raise prices. For example, the
cartel restricted output (see SectionVIII.A.3.c)), which also raised prices above the competitive
level. The cartel shared sensitive pricing information and allocated customers (see Sections
VIII.A.3.b) and VIII.A.3.f)), which also results in higher prices. It is possible that the cartel
would set target prices for some CRTs while using one or more alternative methods to raise the
price of other CRTs.
Regardless of the reason, I observed target prices that apply to some, but not all, of Defendants’
tube sales. The prices charged by Defendants closely tracked the collusive target prices; see


          companies, Samsung, Orion and TAEC (TDD), regarding NAFTA’s mid-size tubes. It is mainly general
          information, but since there are times that specific matters are discussed such as each’s CPT supply
          proposals for each customer’s (TV) planned production volume, as a result, the actual situation is that each
          Bulb store has considerably accurate understanding of information such as which customer is securing how
          much CPT for the set production volume.” Yoshino, Michihiro, 24 January 2000, E-mail, Subject: Re:
          Destroy After Reading: GM Mizushima's complaint regarding Funai Electric's TDD 19v CPT Inquiry,
          TSB-CRT-00042440 - TSB-CRT-00042443, at 2440.
    •     An internal Toshiba e-mail with a subject line “SDI information - Confidential- please destroy after
          reading” summarized information obtained from Samsung Japan. The e-mail covered SDI organization,
          CDT factory utilization rate, planned monthly production figures, and average prices for various CDTs
          during January - March of 2001. Yamamoto, Yasuki, 15 January 2001, E-mail, Subject: SOI information -
          Confidential- please destroy after reading, TSB-CRT-00041746 - TSB-CRT-00041749, at 1746 - 1747.
    •     An internal MTPD e-mail has the subject, “(Confidential) Thomson Mexicali Factory Information”. The
          body text says, “Since this is in violation of antitrust, please do not leak it to others. Thomson production
          information. Sales figures obtained from the marketing unit at the Paris headquarters. It’s the Marion A59
          25V.” The e-mail was forwarded to other MTPD employees in the U.S. with the warning “Please treat this
          as strictly confidential. It is information about the advancement of business.” Kinoshita, Ayumu, 02 July
          2003, E-mail, Subject: FW: (Confidential) Thomson Mexicali Factory Information, MTPD-0035375 -
          MTPD-0035376, at 5375E.
    •     An internal MTPD e-mail discussed a meeting held with Samsung and LPD on November 28, 2003. The
          subject line says, “*Highly Confidential/Destroy after Reading* South Korean CRT information (quantities
          and lines)”. The e-mail begins with, “I am reporting on the substance of information about SDI and LPD I
          obtained on November 28, 2003, as follows. Please treat this matter as *highly confidential*, and please
          keep the fact that this meeting, meeting minutes, and so on exists as *highly confidential*.” Kinoshita,
          Ayumu, 11 December 2003, E-mail, Subject: FW Highly Confidential/Destroy after Reading South Korea
          CRT information (quantities and lines), MTPD-0038856 - MTPD-0038859, at 8857E.
    •     A Glass Meeting agenda has “The Method to avoid anti trust law” on the Any Other Business (A.O.B.)
          page. Chunghwa Picture Tubes, LTD, 17 August 2004, Itinerary, CHU00660717 - CHU00660727, at 0727.
    •     From an internal MTPD e-mail: “This is the industry meeting memo. Destroy after reading.” Attachment is
          a meeting memo from February 2007. Sanogawaya, Masaki, 09 November 2007, E-mail, Subject: Meeting
          memo, MTPD-0543148 - MTPD-0543150, at 3148E.
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Exhibits 30-36.206 The fact that actual prices closely track target prices indicates that the cartel
succeeded in charging the agreed-upon prices. To confirm the causal relationship between target
and actual prices, I performed a widely-accepted economic test of causation: the Granger
causation test.207 This analysis determines whether one kind of information (here, target price)
can reliably predict a future outcome (here, actual price). If it does, then that source of
information is said to “Granger cause” the outcome.
I used this analysis to determine whether the cartel’s target prices predict the actual prices
Defendants charged direct purchasers. I estimated separate equations for CDTs and CPTs, which
allows the target price to influence the actual price differently for each type of tube. I calculated
the actual weighted-average quarterly selling price for each application, size, finish,
manufacturer, and customer combination. For example, I calculated the average selling price for
all 17" ITC CDTs sold by Samsung to Compal in 1999 Q3.
I estimated a regression in which the logarithm of actual price was a function of the logarithm of
the previous quarter’s actual price, the logarithm of the matched target price, the size of the CRT
multiplied by the logarithm of the cost of glass (an input needed to produce CRTs), and measures
of global economic growth and unemployment (variables to indicate the strength of demand).208
Including the lagged actual price, glass costs, and macroeconomic variables ensures that the
estimated relationship between target and actual prices was not simply the result of general
factors affecting supply and demand for CRTs. I also included application, size, finish,
manufacturer, and customer fixed effects.
The results of the regressions are presented in Exhibits 37 and 38. For both CDT and CPT, the
collusive target prices exhibit a strong, positive, and economically meaningful predictive effect
on the actual prices charged by Defendants; that is, when the target price increased, so did the
actual price. These effects are statistically significant at the 1% level.
For the products included in this analysis, I found that target prices strongly predict the price
Defendants charged direct purchasers. This is clear evidence that the cartel’s activities increased
the price for CRTs for which the cartel set targets.


206
  Exhibits 30-36 include actual and target prices for 15, 17, and 19-inch CDTs, and 14, 20, 21, and 29-inch CPTs.
These sizes account for 84% of tubes represented in the Defendant sales data.
207
      See, e.g.,
       •     Granger, C. W. J., 1969, Investigating Causal Relations by Econometric Models and Cross-spectral
             Methods, Econometrica, Vol. 37, No. 3, 424–438.
       •     Kaufmann, Robert K., Dees, Stephane Dees, Karadeloglou, Pavlos, and Marcelo Sanchez, 2004, Does
             OPEC Matter? An Econometric Analysis of Oil Prices, Energy Journal, Vol. 25, Issue 4, 67-90.
       •     Soytasa, Ugur and Ramazan Sarib, 2003, Energy consumption and GDP: causality relationship in G-7
             countries and emerging markets, Energy Economics, Vol. 25, 33-37.
208
   The (natural) logarithm of a number is the exponent (or power) to which the number e ≈ 2.72 must be raised to
equal that number. For example, the natural logarithm of 5 is approximately 1.609 because e raised to the power of
1.609 is equal to 5. Logarithmic transformations of the sort employed here are commonly used to reduce the
variance of the data used in the model, which can be desirable when working with data that cover a wide range of
values. Another feature of using the logarithmic transformation in multiple regression is that the estimated
coefficients are interpreted as elasticities. For example, a coefficient estimate of 2 for the variable ln(X) would imply
that a 1% change in the value of X is associated with a 2% change in the value of Y.
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                        b) The cartel succeeded in raising the prices of all CRTs
Although we do not observe target prices for all CRTs that were sold, there is strong evidence
the cartel raised the prices of all CRTs.

                                (1) A profit-maximizing cartel seeks to raise the prices of all
                                products
It is uncontroversial that cartels have the incentive to set prices above the competitive price.209 I
have seen no evidence to suggest that any model of CRT was exempt from this general rule. The
reason cartels have this incentive is straightforward: when a cartel controls all or most of the
supply in a market, consumers’ only alternative to buying at the cartel’s price is to substitute to
goods outside the market.
Cartels’ incentive to raise the prices of all of its cartelized products is reinforced when a cartel
sells multiple products that substitute for each other: effectively raising the price of each CRT
requires that the prices of its potential substitute CRTs also be raised, as the following example
illustrates. Suppose the CRT cartel raised the price of 15" CDTs above the competitive level, but
left the price of 17" CDTs at the competitive level. Given the relative price increase of 15"
CRTs, some consumers would substitute away from 15" monitors towards 17" models, thereby
escaping the price increase. Rational cartelization (that is, operating the cartel to maximize the
joint profit of cartel members) requires that the cartel set prices that eliminate opportunities for
buyers to escape overcharges. Thus, in this hypothetical example, rather than raise the price of
the 15" CDT alone, the cartel would earn higher profits by raising the prices of both the 15" and
17" CDTs. In that way, consumers cannot avoid the overcharge on the 15" CDT by substituting
to 17" CDTs. Similarly, a profit-maximizing cartel seeks to raise the prices in all transactions,
regardless of the identity of the purchaser or the location of the end-user.




209
   “In any market, firms have an incentive to coordinate their production and pricing activities to increase their
collective and individual profits by restricting market output and raising the market price. An association of firms
that explicitly coordinates its pricing or output activities is called a cartel.” Carlton, Dennis and Jeffery M. Perloff,
2005, Modern Industrial Organization, Fourth Edition, Addison-Wesley Longman, Inc., at 122.
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                                                   1


                               (2) The cartel did not need to set target prices for every CRT in
                               order to raise all CRT prices
It was not necessary for the cartel members to set target prices for every type of CRT in order to
raise the prices for all CRTs. As discussed in my class certification report and rebuttal,212 the
prices of different types of CRTs are related to each other through a price structure. That is,
standard market forces impose a relationship between CRTs of different types, say between a 15"
flat CDT and a 15" round CDT or between a 21" widescreen CPT and a 25" widescreen CPT.
The cartel took advantage of the relationship between different types of CRTs by setting price
differentials corresponding to common product differentiators.




                          These considerations would lead cartel members to recognize that if the
price of a model without the differentiator were raised, rational pricing requires that the price of
the differentiated product should also be raised, and they “would certainly raise the prices at the
211
   “It is part of the task of maximizing industry profits to employ a price structure that takes account of the larger
differences in the costs of various classes of transactions … A price structure of some complexity will usually be the
goal of collusive oligopolists.” Stigler, George J., February 1964, A Theory of Oligopoly, The Journal of Political
Economy, Vol. 72, No. 1, 44 - 61, at 45.
212
      See,
       •     Netz Class Cert Report, at 68 - 71.
       •     Netz Rebuttal, at 42 - 43.
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same time”. Other cartel participants also recognized the relationship between prices of different
CRTs.214
The hedonic regression analyses that I implemented for class certification proceedings likewise
show that CRT prices are determined primarily by product attributes. This analysis showed that

214
      See, e.g.,
       •     “The 14" CDT price especially directly affects the 15" CDTs market fluctuation.” Chunghwa Picture
             Tubes, LTD, 09 February 1996, Visiting Report, CHU00028302 - CHU00028304, at 8303.01E.
       •     “14"/15"’s current pricing continue to slide, although 15" is a bit more stable, but it will still be squeezing
             17"’s pricing. By 94/E [end of 1994], the price differentials between tube sizes would be: 15"/14": USD
             40.00/pc- 17"/15": USD/10/pc. Based on market condition, current selling price of 14" has reached the
             price of 94/E, price differentials between sizes are being maintained in general, but if the price of 14" does
             not stabilize, then the prices of 15"/17" would again be squeezed to drop; if CDT price does not stabilize, it
             would be not be beneficial to Monitor or picture tube industry. CDT industry should strengthen contacts
             and mutually agree to reduce production in order to stabilize pricing.” CPT, Du, Ching-Yuan (Michael), 23
             September 1996, Customer Contact Report, CHU00028400 - CHU00028401, at 8400.02E - 8401E.
       •     “Mr. Moon emphasized that if we were looking forward to another round of price rise for 17", then the
             market price of 19" absolutely needed to be raised.” Hsieh, Chun-Mei (Christina), 10 February 1999,
             Visitation Report, CHU00030713 - CHU00030716, at 0714.02E.
       •     “Also believes that the current price differential of 15"/17" tube has been narrowed down to around $20.
             17" tube should not drop price further so as to avoid impact on the demand for 15" tube.” Chunghwa
             Picture Tubes, LTD, 09 November 1999, Visitation Report, CHU00030916, at 0916.01E.
       •     “SDI: 14" US market was impacted by the shortened price gap to 20", sales volume dropped 15%, but
             overall sales total for 2Q is similar to that of 1Q.” Chunghwa Picture Tubes, LTD, 18 April 2001, Overseas
             Visitation Report, CHU00024560 - CHU00024562, at 4562.01.
       •     “How to determine price for the 29"? We should stabilize the price even if we have to stop production. If
             that works, the price could recover up to 1,050 from 1,000 [RMB], which will also help 21" & 25" sales.
             Should consider investment and imported tube price before price setting and avoid sales at unreasonable
             prices that may cause a deficit.” May 2001, Report of Color CRT Industry Meeting, SDCRT-0087694 -
             SDCRT-0087698 at 2.
       •     Notes from a November 2003 Glass Meeting indicate widespread agreement that the price of a 21" RF [real
             flat] tube is closely related to the price of other small and medium-sized tubes. “21" RF [real flat] price
             plays a significant role for the medium & small sizes. In an effort to alleviate the pressure on 21"FS [flat
             square – a type of round tube]/20"/14", all attendees feel that the 21"RF price must be maintained.” CPT,
             07 November 2003, Market Visitation Report (Glass Meeting), CHU00030071 - CHU00030093, at
             0073.01E.
       •     “The 21"PF [pure flat] price continues to pressure 21FS [flat square – a type of round tube], especially the
             A/K Type, so, should MTPD lead a 21" PF price increase in order to stretch the 21"FS and 21"PF price
             difference?” Chunghwa Picture Tubes, LTD, 29 April 2004, Overseas Trip Report, CHU00030005 -
             CHU00030007, at 0007.02E.
       •     “Since there is less capacity for price reductions due to the 30 VW [30 viewable inches, widescreen]
             investment depreciation, SDI is continuing with restructuring to prepare for the market downturn. With no
             excess capacity and it being unlikely that demand will increase with a reduction in price, we want to keep
             price cuts limited as much as possible. The concern is that the reduction in overall CRT demand will lead to
             falling prices, and that the collapse of 32 VPF [32 viewable inches, pure flat] prices due to this collapse in
             demand balance will spread to 30 VW and lower. (In other words, apparently there will be no price
             reduction for 32V for MTPDA).” Tsuruta, Shinichiro, 24 August 2005, E-mail, Subject: Re: SDI North
             America Information, MTPD-0303225 - MTPD-0303228, at 3228E.
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the prices Defendants charged to direct purchasers could be closely approximated by a formula
common to all direct purchasers. Based on the results, I conclude that CRT prices of different
types are related to each other via product characteristics, and therefore setting a target price
increase for one type of CRT implies a price increase for other CRTs.
I updated the same hedonic regression of price as a function of product characteristics, a time
trend, and indicator variables for buyer-seller pairs as I did previously.215,216 Mathematically, the
regression I estimated was
                       ln            =        +    ℎ     +         +             +             +      ,
where            is the price charged for CRT model i between seller-buyer pair j at time t; Chari
is a vector of indicator variables for product characteristics, including aspect ratio (wide or not),
size, and finish (bare or ITC) of CRT model i; SBj is an indicator variable for seller-buyer pair
j;217 and the time variables allow for a trending influence on price.218 I fitted the model separately
for CDTs and CPTs. The results of the regressions are presented in Exhibits 40 and 41.
Both regressions are highly significant. The R2 of the CDT regression is 0.91, which means that
91% of the variation in the logarithm of price for CDTs can be explained by product
characteristics, buyer-seller pairs, and a time trend. The R2 of the CPT regression is 0.97, which
means that 97% of the variation in the logarithm of price for CPTs can be explained by product
characteristics, buyer-seller pairs, and a time trend.219
The results of the hedonic regressions demonstrate that the relationship between the prices of
different CRT prices were predictable and determined by a handful of product characteristics.
Defendants’ employees, as experienced businesspeople responsible for setting CRT prices, were
aware of the relationships between prices of CRTs with different characteristics.220 When the

215
   I updated the hedonics analyses to reflect (1) additional Defendant data and additional information on the
interpretation of Defendant data obtained since class certification proceedings; and (2) a change from analyzing
Defendant data at the monthly level to analyzing defendant data at the quarterly level. I made the latter change to
better account for price adjustments occurring within a given quarter. See footnote 294 for further details.
216
      See,
       •     Netz Class Cert Report, at 70.
       •     Netz Rebuttal, at 42.
217
   Seller-buyer pairs were identified by customer names in each defendant dataset. Alternate spellings of a single
customer name within a given defendant dataset resulted in separate seller-buyer pairs for each spelling variation.
218
   For notational ease, in this representation and represented sets of coefficients. The set of coefficients
included coefficients for each product characteristic observed in the data. For example, there was a coefficient for
each size of CRT. Similarly, the set of coefficients included a coefficient for each seller-buyer pair.
219
   I examined the variance in the logarithm of price. The variation in price and the logarithm of price are very close;
see footnote 224 in Netz Class Cert Report.
220
      See, e.g.,
       •     Size:
                   o    “With regard to the price differential for 14"/15", MR. MOON believes that unless it can be
                        reduced to under USD32, it would be difficult to have any sign of improvement for 15" CDT!”
                        Chunghwa Picture Tubes, LTD, 24 May 1996, Sales & Marketing Division Visiting Report,
                        CHU00028968 - CHU00028969, at 8969E.
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cartel agreed to change the price of certain CRTs, cartel members understood the implication
such a change in price would have on the prices of other CRTs with slightly different product
characteristics.221 Thus, even when the cartel only explicitly set target prices for some CRTs, I

               o   “21" RF [real flat] price plays a significant role for the medium & small sizes. In an effort to
                   alleviate the pressure on 21"FS [flat square]/20"/14", all attendees feel that the 21"RF price must
                   be maintained.” CPT, 07 November 2003, Market Visitation Report (Glass Meeting),
                   CHU00030071 - CHU00030093 at 0073.01E.
               o   “In the event that the price range of the ultra-large set is lowered to $220 to $230, decrease in the
                   price of the 27V flat is inevitable.” Samsung SDI, 10 March 2003, LPD, SDCRT-0002588 -
                   SDCRT-0002589, at 2589E.

               o   Notes from Samsung’s discussion with Thomson at the 2004 CES in Las Vegas: “The burden of
                   operating a jumbo size line is serious. They are desperately reducing prices, etc., to escape the
                   crisis, and this is affecting the prices of even our large models.” Samsung SDI, 07 January 2004,
                   2004 International CES Business Trip Report (Jan. 7 - 14), SDCRT-0005180 - SDCRT-0005189,
                   at 5183E.
               o   “



               o   “SLIM Price GAP needs to be reduced compared to NORMAL, but if the SLIM price is lowered
                   then the 32" NORMAL price will need to go down and 29" price will need to go down, too. This
                   is the industry’s agony.” Samsung SDI, 15 November 2005, Thomson, SDCRT-0091537 -
                   SDCRT-0091545, at 1542E
               o   “According to them they cannot get 29"SF [square flat] CTV orders from customers since 28"
                   CTV price is approx. $35 cheaper than 29"SF and consumers buy 28".” MT Picture Display, 19
                   January 2006, MTPD-0410475, MTPD-0410475.
    •     Other attributes:
               o   “… the price difference between invar and AK products is known in the industry to be US$1.5-
                   US$2.00.” MT Picture Display, 17 September 2004, CRT Industry Meeting, MTPD-0580795, at
                   0795.
               o   “SLIM Price GAP needs to be reduced compared to NORMAL, but if the SLIM price is lowered
                   then the 32" NORMAL price will need to go down and 29" price will need to go down, too. This
                   is the industry's agony.” Samsung SDI, 15 November 2005, Thomson, SDCRT-0091537 -
                   SDCRT-0091545, at 1542E.
               o   “Since the price differential has narrowed down, the demand for 21"FS [flat square] has clearly
                   shifted to 21"RF [real flat].” Jimmy, Wu, Meng Ying, 07 February 2007, Market Visitation Report
                   (Glass Meeting), CHU00030437 - CHU00030438, at 0437.02E.
               o
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expect that prices for other CRTs would be affected as well. In the next section, I test this
hypothesis.

                                (3) Observed target prices predict actual prices of CRTs for which
                                we do not observe target prices
As described above, I did not find documentary evidence that the cartel set target prices for all
types of CRTs but the cartel had the incentive and the ability to affect CRT prices more
generally. The prices of CDTs and CPTs for which I did not observe target prices closely track
the target prices that I did observe. Exhibits 42 and 43 illustrate this relationship by plotting an
index of target prices and an index composed of the prices of tubes for which I did not observe
target prices.222 The correlation is 0.89 for CDTs and 0.92 for CPTs, and both are statistically
significant.223
In addition to examining the correlation between the prices of CRTs with explicit target prices
and those without, I used regression analysis to confirm that the data are consistent with the
cartel affecting the prices of CRTs without explicit target prices by running a similar regression
analysis that I used for CRTs that had explicit target prices, as described in Section VIII.A.4.a).
The analysis is slightly different because it is unclear how one would match actual CRT prices
that did not have a target price to target prices. Therefore I calculated an index of CPT or CDT
target prices to use in the regression analysis. If the target price index predicts the actual prices of
CRTs for which I did not observe target prices, I can conclude that the cartel’s target prices had
the effect of raising the prices of all CRTs.
I estimated separate regressions for CPTs and CDTs in which the logarithm of the actual price is
a function of the logarithm of the previous quarter’s price, the logarithm of the target price index,
the size of the CRT multiplied by the logarithm of the cost of glass, and measures of global




222
   The Fisher price index for a given month is a weighted average of the changes in target prices from the previous
period. It uses as weights both the current and previous months’ sales volumes from Defendants’ sales data. These
monthly index values are then “chained” together to produce a measure of the change in target prices over longer
periods of time. This approach allowed me to measure average changes in target prices over time despite changing
composition of target prices from period to period.
Most of the Defendant sales data do not include detail on tube shape. For the purpose of calculating the price indices
used in this sub-section, I assumed the tube was round if shape wasn’t specified and excluded sales of tubes which
were identified as flat screens.
223
      See actual_price_index.smcl in my backup for calculations.
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economic growth and unemployment. This is identical to the model used in Section VIII.A.4.a)
with the matched target price replaced by the index of target prices.
The results of the regressions are presented in Exhibits 44 and 45. I found that for both CDT and
CPT, the collusive target price indices exhibit a strong, positive, and economically meaningful
predictive effect on the actual prices charged by Defendants. These effects are statistically
significant at the 1% level.
There are at least two reasons why higher target prices strongly predict higher prices for CRTs
that did not have explicit target prices. The most straightforward reason is that cartel almost
certainly set some target prices that I did not observe. These unobserved target prices would be
positively correlated with the observed target prices given a profit-maximizing cartel. The target
price index in the regression thus acts as a proxy for the unobserved target prices.
Another explanation for the relationship between the target price indices and the prices of CRTs
that did not have explicit target prices is that the cartel used methods in addition to target prices
in its effort to maintain supra-competitive prices, e.g., output restrictions and information
sharing. These methods are generally unobservable and/or difficult to quantify but they are likely
correlated with the observed target prices. For example, the cartel’s efforts to restrict output
would be expected to bear a relationship to the target prices it set, with greater reductions in
output associated with higher target and actual prices. For this reason, the target price index in
our regression also acts as a proxy for these other methods of raising prices.

               5. The cartel’s price-fixing impacted the U.S.
During the class period, the U.S. was a major market for CRT finished goods; see Exhibits 46
and 47 and Footnote 225. The cartel sought to raise the price of tubes used in virtually all of
these products sold in the U.S. and other regions. Because the cartel accounted for approximately
85% of CPT sales and 90% of CDT sales during the class period, it was well-situated to do so.
See Exhibits 4, 5, and 11.
There are at least four routes by which tubes produced by Defendants could end up in the hands
of U.S. class members:
    1. Defendants manufactured CRTs in the U.S. that were then sold to U.S. producers of
       finished goods and consumed as TVs or monitors by American end-purchasers.
    2. Defendants produced CRTs outside the U.S. that were then sold to U.S. producers of
       finished goods and consumed as TVs or monitors by American end-purchasers.
    3. Defendants produced CRTs outside the U.S. that were then sold to foreign producers of
       finished goods, imported into the U.S. as TVs or monitors, and then consumed by
       American end-purchasers.
    4. Defendants produced CRTs in the U.S. that were exported, then integrated into finished
       goods, and then shipped back to the U.S. for consumption.
During the class period, the geographic source of CDT and CPT finished goods that were sold in
the U.S. differed. Almost all CDT and monitor production destined for the U.S. market took
place in Asia while a significant portion of CPT and TV production destined for U.S. consumers
took place closer to the U.S. final consumers. Regardless of the geographic path through which a
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particular CRT traveled from manufacturer to end-user, the cartel caused prices paid by U.S.
class members to be higher.

                       a) CDT
Between 1995 and 2007, Asia dominated the production of both CDTs (see Exhibits 48 and 49)
and monitors (see Exhibit 50). Asia served as the main source of these products for North
America,224 the world’s largest monitor market for most of the class period; see Exhibit 46.225
North American tube manufacturers, limited participants in the CDT market from the start, were
completely out of that business by 2003; see Exhibit 2.
As I discussed in Section VI.C.1, the cartel dominated the CDT market with a combined 88.5%
market share in 1998 – a figure that grew to 100% by 2004; see Exhibit 4. Given the size and
importance of the U.S. monitor market, Defendants’ collusive conduct affected the prices U.S.
end-users paid for CRT monitors. In fact, Defendants and other industry participants
acknowledge that changes in the prices of CRTs are passed-through to U.S. end-users. See
Section VIII.B.3.
Defendants exchanged information relevant to North America, including pricing and demand
conditions.226

224
      See, e.g.
       •     “THE WITNESS: Yes, as you know, CDTs are the ones that are used for computer monitors and unlike the
             ones used for TVs most of the global production is done in China, Korea and Taiwan, these South East
             Asian countries. They are produced there and exported in the form of sets. Because they were hardly
             produced in any other regions, I do not recall much about CDTs produced or supplied in North American
             region. Also because, in the case of computer monitors, globally no import duties are charged. For TV sets
             there’s an import duty of 15 per cent. However because computer monitors are regarded as industrial
             products there’s no duty. So instead of doing local production they were produced in countries with cost
             competitiveness, such as China and South East Asia for supply.” 22 March 2013, Deposition of Sang-Kyu
             Park, Volume III (Hereinafter “Deposition of Sang-Kyu Park, Vol. III, 22 March 2013”), at 340:2 - 17.
       •     “A. There wasn’t much of a color display tube market in the United States. From the time I joined Hitachi
             in 1986 until the end there was never a market here because most of the monitor makers were in Asia.”
             Hitachi 30(b)(6) Deposition of Thomas Heiser, 03 July 2012, at 60:11 - 17.
       •     “[F]ew CDTs were produced in North America (most of the monitor production was in Asia)”. Willig,
             Robert D., 14 December 2012, Expert Report of Robert D. Willig, In re: Cathode Ray Tube (CRT)
             Antitrust Litigation (United States District Court Northern District of California San Francisco Division)
             (Hereinafter “Willig Report”), at ¶67.
       •     “Let me ask, with respect to monitor makers who were customers of Chunghwa’s Fuzhou plant [in China].
             Do you know if those monitor makers exported monitors with color display tubes from the Fuzhou plant
             into the United States? [objections omitted] THE WITNESS: Some were exported to the United States, I
             know that.” 28 February 2013, Deposition of Jing Song Lu, Volume II (Hereinafter “Deposition of Jing
             Song Lu, Vol. II, 28 February 2013”), at 241:13 - 241:22.
225
  See, e.g., “The world’s largest monitor market is North America, where about 20 million monitors were sold in
1995 - 40% of the world’s total.” Philips, Undated, Philips Display Components Company North America Strategy
Review 1996-2000, PHLP-CRT-081451 - PHLP-CRT-081491, at 1472.
226
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                      b) CPT
CPT production for the U.S. market was located in both Asia and North America.227 See Exhibit
51. CRT TV production for the North American market was also based in various locations; see
Exhibit 52. Importantly, as I described in my Rebuttal Report,228 North American consumer
demand for CPTs and CRT televisions can only be met by NTSC-compatible CPTs – a specific
broadcast standard distinct from the standards required for tubes sold to Europe, Africa, and most
of Asia. Broadcast standard compatibility, and hence suitability for meeting U.S. consumer
demand, is an inherent characteristic of every CPT, determined when it is being manufactured.
North American TV manufacturers sourced the majority of their tubes from local CPT makers
while also importing a significant portion of tubes, typically from Asia.229 In North America,
imported CPTs accounted for about 15% of total CPT sales in 1995, increasing to about 25% in
2003.230
North America was a large market (see Exhibit 47), served by both domestic and foreign TV
manufacturers. Imported TVs became increasingly common during the class period; as of 2003,
over 60% of CRT televisions consumed in North America were imports.231 Most imported TVs
came from Asian countries and contained Asian tubes.232




227
      Deposition of Sang-Kyu Park, Vol. III, 22 March 2013, at 340:2 - 17.
228
      Netz Rebuttal, at 52.
229
      See, e.g.,
       •     LG Philips Displays, 2003, LPD_00014554.
       •     December 2003, North American TV and CRT Market Condition Report for 2003, MTPD-0083663, at 3.
       •     LG’s TV manufacturing plant in Reynosa, Mexico obtained at least 32% of its CPTs from Asian sources
             from 2005 to 2007. See LGERS sourcing.do.
       •     Similarly, Sanyo’s TV manufacturing plant in Forrest City, Arkansas imported at least 11% of its CPTs
             from Asian sources between 1995 and 2007. See SMC sourcing.do.
230
      See, e.g.,
       •     LG Philips Displays, 2003, LPD_00014554.
       •     December 2003, North American TV and CRT Market Condition Report for 2003, MTPD-0083663, at 3.
231
      December 2003, North American TV and CRT Market Condition Report for 2003, MTPD-0083663, at 3.
232
      December 2003, North American TV and CRT Market Condition Report for 2003, MTPD-0083663, at 3.
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Defendants regularly exchanged information relevant to North America, including pricing and
demand conditions. The cartel met in the U.S. and cooperated on pricing of CPTs in the U.S.
Samsung explained that it was “meeting with North American businesses in order to find a
cooperation plan related to areas of common interest, and secure communication channels to
continuously maintain such relationship” and indicated Samsung’s “North American market
strategy [includes] Continuous maintenance of mutual cooperation within market.”233 Other
meeting notes and Defendant testimony indicate that cartel members, at the very least, discussed
prices of CPTs in U.S. meetings234 and expressed their desire to cooperate on pricing in the U.S.
233
  Im, Chul Hong, 12 January 1999, North America CPT companies meeting summary, SDCRT-0002526 -
SDCRT-0002528, at 2526E and 2527E.
234
      See, e.g.,
       •     MDDA (Matsushita’s Troy, OH, CPT plant) exchanged market information “such as production capacity
             and the production situation, and also discussed the exchanged CRT price situation information” with
             Hitachi between 1998 and 2002. MDDA also discussed price information with Toshiba between 1998 and
             2002. Deposition of Hirokazu Nishiyama, Vol. I, 05 March 2013, at 151:6 - 156:23.
       •     MDDA/MTPDA had meetings with Thomson between 2002 and 2006. At these meetings, they discussed
             production, capacity, and general market prices of North American CRTs including Thomson, LPD,
             MTPD, and SDI. Deposition of Shinichi Iwamoto, Vol. I, 07 February 2013, at 45:17 - 48:3.
       •     MDDA, TDDA (Toshiba Display Devices America), and Thomson met in 2003 and discussed Thomson’s
             sales status, North American market trends, and price status. 19 August 2003, Record of Meeting with T
             Company (Confidential), MTPD-0576483, at 6483E.
       •     An employee of Matsushita met with Samsung every three or four months while stationed in the U.S.
             between 2002 and 2004. They exchanged past production information and market information, including
             CRT prices. 05 February 2013, Deposition of Ayumu Kinoshita, Volume I (Hereinafter “Deposition of
             Ayumu Kinoshita, Vol. I, 05 February 2013”), at 77:11 - 79:2 and 142:10 – 143:18
       •     Hitachi discussed jumbo CPT prices with Philips in 2001 and planned to hold a follow-up meeting between
             the two companies in Detroit. Heiser, Tom, 07 March 2001, E-mail, Subject: SEMEX, HEDUS-
             CRT00000578, at 0578.
       •     Samsung met with Philips in the U.S. in 2001 and discussed competitor pricing. Samsung SDI, Im, Cheol
             Hong, 06 June 2001, Philips CPT meeting Report, SDCRT-0002582, at 2582E.
       •     Samsung Mexico met with Toshiba in Chicago in 2001. They discussed capacity utilization and current
             prices of 32VF and 36VF tubes. Samsung SDI, 11 October 2001, Meeting Report, SDCRT-0069086, at
             9086E.
       •     LPD exchanged information with Samsung in the U.S. in 2002. They discussed production, capacity, and
             pricing. Canavan, Pat, 04 March 2002, E-mail, Subject: Information on SDI, PHLP-CRT-097351 - PHLP-
             CRT-097352, at 7351 - 7352.
       •     Samsung met with LPD in the U.S. in 2003 and discussed current and forecasted CPT prices. Samsung
             SDI, 10 March 2003, LPD, SDCRT-0002588 - SDCRT-0002589, at 2589E.
       •     Samsung Mexico exchanged information with Thomson in 2003. Thomson told SDI that there will be no
             additional price cutting. Kim, Woong-rae, 02 May 2003, E-mail, Subject: Exchange of Information on
             Thomson CRT, SDCRT-0007239 - SDCRT-0007241, at 7239E.
       •     Samsung met with LPD, Thomson, and MTPD at the 2004 Consumer Electronics Show in Las Vegas. The
             companies expressed concerns about price cuts. Samsung SDI, 07 January 2004, 2004 International CES
             Business Trip Report (Jan. 7 - 14), SDCRT-0005180 - SDCRT-0005189, at 5183E - 5184E.
       •     MTPDA met with Samsung America in 2004. The companies discussed North American supply and
             demand, 27VPF CPT pricing for Mexican customer PAVCA, and price increases of the 20VPF CPT.
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market.235 The Defendants also indicated their North American collusion was intertwined with
the cartel meetings involving their headquarters.236


             Fujita, Norio, 01 April 2004, E-mail, Subject: (Please destroy after reading) SDI America, MTPD-0027035
             - MTPD-0027037, at 7035E - 7036E.
       •     MTPDA met with LPD in in 2004. The meeting notes say, “Pat [of LPD] is very determined to raise prices
             in the market.” Iwamoto, Shinichi, 02 April 2004, E-mail, Subject: FW: Meeting with Pat Canavan,
             MTPD-0025720, at 5720.
       •     LPD met with Samsung and Thomson at a “USA Roadshow” in 2004 and discussed CPT production.
             Thomson also discussed pricing policies with LPD. LG Philips Displays, November 2004, Evaluation USA
             Roadshow, PHLP-CRT-023515 - PHLP-CRT-023521, at 3516 - 3517.
       •     MTPDA exchanged information with Samsung North America in 2005. They discuss limiting MTPDA’s
             price cuts for its 32V [32 viewable inches] tube in order to protect the price of SDI’s 30VW [30 viewable
             inches, widescreen] tube. The notes also mention that the 27VPF [27 viewable inches, pure flat] has
             become more stable “since the three companies [Thomson/Videocon, LPD, and SDI]…are mutually not
             over-extending themselves”. Tsuruta, Shinichiro, 24 August 2005, E-mail, Subject: Re: SDI North America
             Information, MTPD-0303225 - MTPD-0303228, at 3228E.
       •     MTPDA exchanged information with Samsung North America in 2005. The information included
             production situations and market prices. Fujita, Norio, 02 December 2005, E-mail, Subject: Information
             Exchange with SDI North American Sales (Handle with Care), MTPD-0291761 - MTPD-0291762, at
             1761E - 1762E.
235
      See, e.g.,
       •     An e-mail from an employee at Samsung’s American branch with the subject line “Progress status of the
             price increase for clients in North America” reads: “Our strategy to increase the price… [Bullet] Strengthen
             the cooperation among CPT companies: If only SDI alone moves to raise the price, it would be more
             difficult to raise the price and it is more likely that we might face revenge attacks later. Thus we should
             move with all the other CPT companies and need assistance from the headquarters in this regard.” Oh Sung
             Kwon [SDI], 24 March 2000, Progress status of price increase for clients in North America, SDCRT-
             0079381 - SDCRT-0079383, at 9381.
       •     Notes from a meeting between Samsung, LG, Orion, Philips, and Chunghwa indicate that participants
             discussed NAFTA pricing and that “Mr. Chairman later requested [Philips] Mr. Corsino to keep contact
             with SDI/OEC personnel stationed in Mexico in order to exchange market and customer information.”
             Chunghwa Picture Tubes, LTD, 14 April 2000, Visitation Report (Submit), CHU00030995 -
             CHU00030997, at 0996.02E.
       •     Notes from meeting in the U.S. between Samsung Mexico and the president of Philips Display
             Components, North American region, say, “It would be good if cooperation on price among companies in
             the CPT industry would be considered after checking Thomson’s policy on price in the second half. It was
             agreed that a cooperation meeting between SDI and Philips would be held in our company’s plant in
             Mexico since the locations of Mexico and Brazil regions are safe, and the first meeting would be held
             around September 29.” Im, Cheolhong, 28 July 2000, Report on PHILIPS CPT Business Trip, SDCRT-
             0002506 - SDCRT-0002510, at 2506E.
       •     Notes from a meeting in Mexico between Samsung Mexico and the president of Philips Display
             Components, North American region, show that the two companies discussed maintaining and increasing
             the prices of 25V [25 viewable inches] and 27V [27 viewable inches] CPTs in 2001. The notes also appear
             to show that Philips gave SDI its entire business with Samex (TV manufacturer) in exchange for SDI
             reducing its tube supply to Philips TV. Samsung SDI, 29 September 2000, Philips Meeting, SDCRT-
             0002488 - SDCRT-0002489, at 2488E.
       •     An LPD e-mail describes a meeting with Samsung and Toshiba. Regarding the 34”RF [real flat] tube, the
             meeting description says, “Toshiba USA … will increase its output, decreasing [curved screen] production.
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             They say they sell it at U$330 and have no intention to drop the price. Their first priority customer is
             Toshiba-TV. I strongly talked them that there is no reason to reduce its price to such a low level. => Our
             MK-II of Gomez [in Mexico] should have cost competitiveness”. Philips, Lee, Phil PJ, 30 May 2002, E-
             mail, Subject: Information for SDI and Toshiba, PHLP-CRT-014272, at 4273.
       •     From an internal Matsushita e-mail: “Regarding the above-captioned matter, there was a telephone call
             from Toshiba CRT today (Mr. Sanogawaya took the call), and information regarding the North American
             market for 32 V [32 viewable inches] was exchanged. During this conversation, it was mentioned that there
             is a shortage of 32V product and the price is not going to decline as the year comes to a close, so [Toshiba]
             would definitely like to have [us] maintain the price. [Toshiba] is particularly concerned about the Sharp
             price, and they also know that MDDA obtained the Sharp Project, and [we] were told regarding the price
             that they would like for us not to lower the price more than the offering price even if Sharp requests it."
             Yasuki, Tomori, 13 June 2002, E-mail, Subject: New Document, MTPD-0024384, at 4384E.
       •     Notes from a meeting between Samsung, LPD, and Toshiba indicate that Samsung is “[s]eeking the
             cooperation with LPD in the US”. SDI was planning to contact LPD in Mexico and meet with LPD’s Chief
             Sales Officer at the Consumer Electronics Show in the U.S. Samsung SDI, 06 December 2002, 3
             Companies MTG Information (5th) - Result Report, SDCRT-0087934 - SDCRT-0087937, at 7937E.
       •     A trip schedule shows Samsung Mexico meeting with LPD and Thomson’s CPT division on 10 March
             2003, probably in San Diego, regarding “Americas market cooperation and information exchange”. SDI
             Mexico was meeting with MDDA the following day. Samsung SDI, 26 February 2003, Mexico Trip
             Schedule, SDCRT-0076954 - SDCRT-0076956, at 6954E.
       •     This schedule is an attachment to an e-mail that says, “3/3 - 3/11 (9 days): Visit with major customer and
             competitor companies…. Competitor companies: LPD, Thomson, Matsushita (Americas market
             collaboration and information exchange).” Oh, Kyung Chul, 26 February 2003, E-mail, Subject: Mexico
             Corporation Business Trip Schedule (Transition), SDCRT-0076953, at 6953E.
       •     Notes from SDI’s meetings with LPD, Thomson, and MTPD at the 2004 Consumer Electronics Show in
             Las Vegas say, “Competitors are having trouble in operating lines and indicated great concern about the
             price cut of large and jumbo sized models. They are desperately seeking collaboration among the
             companies for survival.” Samsung SDI, 07 January 2004, 2004 International CES Business Trip Report
             (Jan. 7 - 14), SDCRT-0005180 - SDCRT-0005189, at 5185E.
       •     An MTPD e-mail describes meeting with Thomson and LPD at the 2004 Consumer Electronics Show in
             Las Vegas: “Please note that we met with competitors (Thompson, LPD) as well, but the points were that
             (1) price should be maintained (2) operations in Europe and America are tough and (3) we should move
             forward with mutual non-aggression with regards to captives.” Iwamoto, Shinchi, 14 January 2004, E-mail,
             Subject: RE: Opinions-- CE Show, MTPD-0042738 - MTPD-0042740, at 2739E.
236
      See, e.g.,
       •     “Based on December meeting at headquarters, there was a subsequent meeting for purposes of finding
             grounds for cooperation within the North American market…” Im, Chul Hong, 12 January 1999, North
             America CPT companies meeting summary, SDCRT-0002526 - SDCRT-0002528, at 2527E.
       •     “Thus we should move with all the other CPT companies and need assistance from the headquarters in this
             regard.” Oh Sung Kwon [SDI], 24 March 2000, Progress status of price increase for clients in North
             America, SDCRT-0079381 - SDCRT-0079383, at 9381
       •     “I think we can move the negotiation for CPT price forward with advance due to tight demand and supply
             caused by shortage of bulbs. However, because the market will not turn around when only our company
             precedes, I think it is important to create an atmosphere ‘CPT price will increase??’ in the market. [break]
             ** I am thinking of starting to make the atmosphere of ‘CPT price going up next year??’ due to shortage of
             bulbs by visiting TV clients here from May to June. ** I request Headquarter to obtain information of the
             status of demand and supply of bulbs in the next and following years from Bulb suppliers. (Particularly, in
             each region) I also want to ask TDD [Toshiba Display Devices in Horseheads, New York] to obtain the
             expected status of demand and supply of bulbs in North America from local Bulb suppliers. ** I also want
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Defendants’ North American and other subsidiaries sought pricing guidance and approval from
Defendants’ headquarters in Asia. Indeed, there is significant evidence that many Defendants’
headquarters were able to influence, or even set, the prices at which their North American and
other subsidiaries sold CPTs to customers.

                                                                                       LG’s
headquarters provided price guidelines for its North American and other regional subsidiaries.238
LPD’s Chief Sales Officer at headquarters provided global price guidelines to its regional sales
offices.239 Pricing at MTPD’s North American and other regional subsidiaries was done


             to request Headquarter to contact competitive manufacturers of CPT (MEC [Matsushita], HITACHI, Sony)
             to know their directions for taking measures in North America next year.” Tukunaga, Seiichi, 12 May
             2000, E-mail, Subject: A scenario expecting shortage of cpt bulb (?) in North America, TSB-CRT-
             00039194 - TSB-CRT-00039196, at 9195E.
       •     An LPD internal e-mail about a meeting among LPD, Samsung, and Toshiba concludes “Dear AM
             [Americas] and EU colleague, Please let me know if there is anything we have to talk with SDl and
             Toshiba at global level. We will get together comming [sic] July in Japan. And I can keep in touch with
             them from time to time by mail or phone.” Philips, Lee, Phil PJ, 30 May 2002, E-mail, Subject:
             Information for SDI and Toshiba, PHLP-CRT-014272, at 4273.




238
   A slide titled “Comparison of HQ’s sales functions between AP [Asia Pacific] and Other regions” from an LG
presentation indicates that LG’s headquarters handled all aspects of sales for the Asia Pacific, and handled price
guidance, allocation, and inter-regional sales coordination for America, Europe, and China. A later slide titled “A/P
Sales Mission & Roles” from an LG presentation lists “Regional Price Decision in line with Global Price
Guidelines” as one of the roles of LG’s Asia Pacific sales organization. Undated, AP Sales Organization (Draft),
LGE00009918, at 5-6.
239
      See, e.g.,
       •     A “Demand Generation Process” document from LPD headquarters indicates that the CSO [Chief Sales
             Officer] at headquarters is the “final decision maker” in preparing global price guidelines per product size
             and communicates guidelines to Key Account Managers and regions. LG Philips Displays, 02 April 2003,
             Demand Generation Process, FOX00034021 - FOX00034082, at 29-31.
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according to business plans created by top management at headquarters,240 and regional price
quotes needed approval from headquarters whether they were below or above the business plan
bottom prices.241 Philips had “Commercial Council Meetings” of regional CPT marketing and
sales managers to discuss, among other things, pricing policies in North America and other
regions.242 Philips documents also show regional subsidiaries receiving price guidance from


       •     From an LPD presentation slide titled “Roles in the organization”: “Headquarter Functions in CSO [Chief
             Sales Officer] [Bullet] CSO leadership and integration of global plans across functions [Sub-bullet] Global
             allocation (co-op with COO) [Sub-bullet] Global pricing (global sales co-ordination, CFO analysis, COO
             cost structures, BI) [Bullet] Global business development [Sub-bullet] Align/co-ordinate customer account
             plans and policies.” LG Philips Displays, 12 April 2005, LPD sales organization focus on global account
             management, PHLP-CRT-009518, at 7, emphasis added.
240
    “[Q.] Who’s in charge of setting the bottom price? A. I’m not sure if I’m answering your question the --
precisely, but as I mentioned, the idea about the price is submitted by the sales, and the other departments or
divisions submit their numbers, too. And after all of those are authorized, then the – in the end, the price that appears
in the authorized plan becomes the – that bottom price. And the business plan itself is approved by the top
management of the MTPD…. Q. Okay. And who – so who is it that uses all this information to set the bottom
price? Is it the company’s top management? A. Top management approves the entire business plan, and since the
price is a part of it, in that sense you could understand that the top management is the one who approves the –
approves it too.” 17 July 2012, Deposition of Panasonic Corporation, Panasonic North America and MTPD 30(b)(6)
Witness Hirokazu Nishiyama, Volume I (Hereinafter “Panasonic 30(b)(6) Deposition of Hirokazu Nishiyama, Vol.
I, 17 July 2012”), at 71:2 - 71:25.
241
      See, e.g.,
       •     According to an MTPD document, MTPD’s new product prices must be approved by the President of
             MTPD (Mr. Tobinaga) if the decision may affect the whole MTPD group operation. Other new product
             prices must be approved by the Director of the Operation Business group (Mr. Shimoma). MTPD’s current
             product prices must be approved by the Director of the Operations Business group (Mr. Shimoma) and the
             Director of Regional Division (Mr. Matsuda for MTPDA and MTPDG, Mr. Shimoma for Asian
             companies) if the offered price is lower than business plan. If the offered price is within the business plan,
             current product prices must be approved by the Director of Regional Division (Mr. Matsuda for MTPDA
             and MTPDG, Mr. Shimoma for Asian companies). MTPD, 05 October 2004, Request for cooperation to
             MTPDG, MTPD-0400021.
       •     “Q. BY MR. LAMBRINOS: If the salesperson doesn’t think he can – he or she can get the business at the
             bottom price, can he depart from the bottom price and go below it? A. Yes. Q. What would the procedure
             have been for such a thing? A. In case it was not possible to get a business without offering the price that
             was below the price in the business plan, and if that business is an important business, then the salesperson
             could start what’s called the price -- price decision form and obtain the top management’s approval.”
             Panasonic 30(b)(6) Deposition of Hirokazu Nishiyama, Vol. I, 17 July 2012, at 77:16 - 78:14.
       •     A pricing approval form from MTPD (Indonesia) shows seals of approval from high-ranking managers at
             MTPD headquarters. MT Picture Display, Undated, Approval of Sales Price, MTPD-00653133 at 3133.

       •     Mr. Nishimaru of MTPD (Thailand) testified that he had to consult Mr. Nishiyama at headquarters when
             making price responses: “Q. Did Mr. Nishiyama have pricing authority for CRTs? [objection omitted] THE
             WITNESS: The image wasn’t – or the – the image was not that Mr. Nishiyama had pricing authority on
             his own. BY MS. ROSENBERG: Q. He had some responsibility for pricing? [objection omitted] THE
             WITNESS: I think he was one of the people who needed to be consulted when making price responses.
             However, I don’t have the impression that Mr. Nishiyama had pricing authority.” 27 June 2013, Deposition
             of Kazuhiro Nishimaru, Volume II (Hereinafter “Deposition of Kazuhiro Nishimaru, Vol. II, 27 June
             2013), at 233:17 - 234:8.
242
      See, e.g.,
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headquarters.243 Samsung headquarters provided price guidelines for its North American and
other regional subsidiaries in the form of a three-month rolling profit-and-loss plan;244 prices
below the rolling plan’s target prices had to be approved by headquarters.245 Toshiba

       •     From a Briefing Strategy Review: “The ‘Smart’ project is aimed at improving our competence in all key
             processes at the customer interface. This has to result in a more proactive product policy integrated with the
             needs of our key customers. This also requires a consistent policy w.r.t. [with respect to] customer
             portfolio, target marketing and pricing policy…. The nature of other global accounts such as Sharp and
             JVC and Sanyo needs to be better understood, in so far as it affects global/regional purchasing decisions.
             Nevertheless, a more transparent overview of key global/regional accounts will be followed up in the next
             Commercial Council.” Wilkes, John, 05 February 1999, Subject: Strategy Review 1999 - 2003,
             FOX00050659 - FOX00050689 at 4.
       •     An action plan from an October 2000 Commercial Council Meeting shows a due date of November 2000
             for “Global TVT [TV tubes (CPTs)] pricing analysis + Guidlines [sic]”. Philips, 26 October 2000, Action
             List Commercial Council Meeting October 26/ 27 in Amsterdam, PHLP-CRT-029673 - PHLP-CRT-
             029674, at 9674.
243
      See, e.g.,
       •     From an internal e-mail concerning price quotations from Philips’ Singapore sales office to customer
             LoBTV: “These prices are based on DC [headquarters] view of AP market price, which has been reviewed
             with all regions via Anton [from headquarters], where as in the price agreement it is stated that we would
             use LoBTV input for the market price.” Tyson, Mike, 15 April 1998, E-mail, Subject: LoBTV Asia Pacific
             Price quotation for Q2., PTC-00008572 - PTC-00008573, at 8572.
       •     A February 1999 e-mail from Philips headquarters to regional managers has price guidelines for 14" and
             20" CPTs for Asia Pacific, North America, Europe, and South America. Philips, Undated, EIN0109551,
             EIN0109551 - EIN0109996, at 9841 - 9842.
       •     Philips Display Components (PDC) North America is subject to global pricing policy for its strategic
             account, which is PCEC (Philips Consumer Electronics). PCEC accounted for over 40% of PDC North
             America sales in 1999. Philips, September 1999, Philips Display Components Company NAFTA Sales
             Strategy, PTC-00001149, at 9 - 10, 27.
244
      See, e.g.,
        •    “Q. Was – was the dispatched employee giving any sort of guidelines as to how to price a product, or was
             this employee allowed to do whatever they wanted? [objection omitted] THE WITNESS: There are like
             midterm or long-term goals in our company, in our company’s operation plans. So as I mentioned, we have
             a target for each three months. And we call it the rolling plan, and we have a target in terms of profit and
             loss. So if the goal – the target can be met, then decisions can be made locally in the region. But if the
             customer’s demand in terms of pricing is so – is [too low] to be dealt with locally or that local market
             fluctuated so much and that it affects the profit and loss to the extent the local dispatched employee cannot
             handle, then – then that dispatched employee would check with the headquarters and have a discussion and
             – discussion, and then a decision will be made.” Samsung SDI 30(b)(6) Deposition of Jaein Lee, Vol. II,
             07 June 2012, at 186:4 - 186:25.
        •    A Samsung user manual for creating rolling plans shows that local sales members input prices and
             headquarters sales members confirm the prices. Samsung SDI, August 2005, APS Rolling Plan User
             Manual (Functional), SDCRT-0054114, at 1.
        •    An internal Samsung e-mail shows that the plants enter CPT/CDT quantity and price into the rolling plan,
             and then headquarters adjusts quantity and price as needed. Choi, Jinyong, 13 May 2007, E-mail, Subject:
             '07.MAY Rolling Plan SKDL('07.MAY - '07.DEC), SDCRT-0033533 - SDCRT-0033534, at 3533.
245
      See, e.g.,
       •     “Q. All right, during 1996 through 1999 when you were selling CPTs and CDTs, produced in the
             Malaysian plant, who had the final authority to set – to approve the prices at which you would make sales?
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headquarters consulted on North American and other regional pricing decisions and provided
price plans for its regional subsidiaries through its CPT Overseas Sales Group.246 This evidence
of centralized pricing at the Asian headquarters, in combination with the rest of my analyses,
means that the cartel influenced the prices of CPTs and CRT TVs sold in the U.S.
Defendants were well aware that their actions in Asia, North America, and elsewhere directly
impacted pricing of both CPTs and CRT TVs that were produced or consumed in North
America.247


             [objections omitted] THE WITNESS: To explain more specifically about this they – there could be various
             cases. For instance, let’s say that I met a customer who asked for a price discount. If the depth of the price
             discount is at a level that I can decide on I might make a decision to give the discount, but if it’s too deep I
             could report it to the general manager in charge of sales at the headquarter or in any other – in other cases,
             if sales people below me meet with customers and those customers ask for a price discount and that is at
             that level that could be determined or decided by those people themselves, they could make that decision
             themselves. So, there could be various instances and possibilities which is why it is difficult for me to tell
             you exactly one person who makes the decision.” 20 March 2013, Deposition of Sang-Kyu Park, Volume I
             (Hereinafter “Deposition of Sang-Kyu Park, Vol. I, 20 March 2013”), at 33:2 - 34:1.
       •     “Q. So in those instances where there’d be requests for, I think you termed it excessive pricing, excessive
             price drop, the process was for the dispatched employee to contact someone at headquarters regarding that
             customer’s request; is that accurate? A. Yes, that’s correct. Q. Was there a particular contact person at
             headquarters during the period 1998 to 2006 who dealt with questions like that? [objections omitted] THE
             WITNESS: Basically when you look at our company’s organization, it’s done by the customer. So – and in
             here, too, in North America and Mexico there is – there is a person who is in charge of the customers, so
             the – the person at the headquarters who was in charge of the customer would be contacted. But if the price
             drive is too hard and the price has to go down too much, then the discussion will be made with the CPT
             team leader.” Samsung SDI 30(b)(6) Deposition of Jaein Lee, Vol. II, 07 June 2012, at 277:2 - 22.
246
      See, e.g.,
       •     “[Q.] At Toshiba Thailand, what was the process for setting prices for CDTs while you were there? ... A.
             Here again, there were many different cases. There were times when -- when the decision was made in
             consultation with my superior, cases where the president of TDDT would be consulted, and in parallel there
             are cases where consultation occurred with the sales group, CRT sales group in Japan. There are different
             cases.... BY MS. ROSENBERG: Q. At some point you also took responsibility and were involved with
             CPT sales, correct? [objection omitted] THE WITNESS: I became in charge of CP -- in charge of the sales
             of CPTs at TDDT in January of 2003.... Q. In any event, when you became involved with CPT sales in
             2003, is it your recollection that pricing decisions were made similarly to the decisions that -- the way
             decisions were made about pricing CDTs? [objection omitted] THE WITNESS: I think so.” 26 June 2013,
             Deposition of Kazuhiro Nishimaru, Volume I (Hereinafter “Deposition of Kazuhiro Nishimaru, Vol. I, 26
             June 2013”, at 82:21 - 87:20, emphasis added.
       •     An organization chart for Toshiba headquarters shows a CPT Overseas Sales Group. It indicates that the
             deputy manager for this group is responsible for the budget, forecast, midterm plan, and price control for
             America, Europe, Asean, the Middle East, and East Asia, as well as sales support for TDD, TDD
             (Thailand), and TDD (Japan). 01 October 2001, Organization of CRT Sales & Marketing Dept., TAEC-
             CRT-00084530, at 4530.0002.
247
  For example, notes from an October 27, 1999 meeting read: “Price-up trend [of small and medium CPTs] in
European & American market thanks to capacity reduction in Asia.” Chunghwa Picture Tubes and LTD, 27 October
1999, Visitation Report, Topic: Exchange of Market Information and Price Review, CHU00030899 -
CHU00030903, at 0902E. For context, see, e.g.,
       •     Notes from a 26 September 1998 meeting, “In order to stabilize price for this over-supplied market, a
             simulated adjustment of each maker’s Q4 [1998] production volume plan is as follows.” The notes then
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          B. The cartel overcharge was passed on to class members
Above I showed that the impact of the cartel was to raise the price of tubes to direct customers;
that is, direct customers were harmed by the cartel by paying higher prices for CRTs than they
otherwise would have. In order for class members (end consumers) to have been harmed by the
cartel via higher prices for CRT products, at least some portion of the overcharge imposed on
direct purchasers must have been passed down the distribution chain to class members.
To determine whether cartel CRT prices were passed through to indirect purchasers, I first
reviewed the economic theory of pass-through. Next, I reviewed documentary evidence that
showed that Defendants expected resellers of CRT products to pass through cost changes. These
documents also established that Defendants routinely monitored the street, or retail, prices of
CRT products. Street price monitoring underscores that Defendants were aware of the
connection between the tube price charged to direct purchasers and the amount paid by class
members for computer monitors and TVs that contain tubes.
My review of these materials led me to conclude that at least some portion of the cartel
overcharge was passed through to class members: CRT product prices (i.e., the amount class
members pay) increase when CRT prices (i.e., the amount direct purchasers pay) increase. In
other words, all class members were harmed by the cartel. I conducted 62 studies to quantify the
magnitude of pass-through; see Section X. Those results – that every pass-through estimate was
100% or more – are further support for my conclusion here that the overcharge was passed
through to class members.

                 1. Economic theory supports pass-through of the cartel overcharge
Economists routinely study the impact of changes in costs (in this case, a change in the cost of a
CRT) on prices (in this case, the price of a product containing a CRT) theoretically and
empirically. Economists refer to the concept of changes in upstream costs leading to changes in
downstream prices as “pass-through” (also sometimes called “pass-on”). The pass-through rate




          detail the quantity reductions of 14" and 20"/21" CPTs for each maker. Chunghwa Picture Tubes and LTD,
          26 September 1998, Visitation Report, Topic: 14"/20"/21" CPT Supply/Demand and Price Comment
          Review, CHU00029262 - CHU00029264, at 9264.01E.
    •     Notes from a 27 November 1998 meeting, “In an overall view of Q1 [1999], all makers are taking action to
          reduce production according to order status so no further discussion was conducted on this topic.” The
          targeted products are 14", 20", and 21" CPTs. Chunghwa Picture Tubes and LTD, 27 November 1998,
          Visitation Report (Submit), CHU00029259 - CHU00029261, at 9261.01E.
    •     Notes from a 20 May 1999 meeting describe the number of production lines reduced by each maker for 14"
          and medium-sized CPTs in Q1 1999. Supply and demand forecasts show overcapacity declining as the year
          progresses. Chunghwa Picture Tubes and LTD, 20 May 1999, Meeting Minutes, Meeting Subject: CPT
          Top Management Meeting, CHU00029191 - CHU00029194, at 9193E.
    •     Notes from a 24 January 2000 meeting indicate that 14" CPT capacity was reduced 5.1% in 1999 and
          20"/21" CPT capacity was reduced 9.8% in 1999. Chunghwa Picture Tubes and LTD, 24 January 2000,
          Visitation Report, CHU00029152 - CHU00029154, at 9153E.
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quantifies the degree to which output prices change when costs change.248 For example, a pass-
through rate of 110% means that when costs increase by $1, prices increase by $1.10.249
Pass-through can occur at each stage of the manufacturing and distribution process. As an
example, consider gasoline. An increase in the price of crude oil, the primary input into gasoline,
can cause an increase in the price of wholesale gasoline, which can cause an increase in the rack
price of gasoline (the amount paid by gas stations), which, in turn, can cause an increase in the
price of gasoline at the pump. Scholarly studies have shown that changes in the cost of crude oil
(at the top of the distribution channel) are passed-through to consumers of gasoline (at the
bottom of the distribution channel).250
A fundamental result in economics is that firms increase price when faced with an increase in
cost. The incentives to increase price in response to a cost increase are stronger when the cost
increase affects more of the firms that purchase the product, the longer the cost increase is
expected to last, and the higher is the cost increase. Pass-through occurs regardless of the market
structure of the industry facing the cost increase. While the magnitude of pass-through depends
on the market structure and the shape of demand for the product, pass-through occurs.

248
   E.g., if a $50 increase in cost causes price to increase by $55, then the pass-through rate is 110% ($50 × 110% =
$55). Mathematically, the pass-through rate is the partial derivative ∂p/∂c, where p represents price and c represents
cost.
249
   There is another relationship between cost and price that is sometimes confused with pass-through called mark-
up. The mark-up rate refers to the average relationship between cost levels and price levels. It is calculated as total
price divided by total cost. The mark-up rate is a relationship between price and cost levels, and the pass-through
rate refers to the relationship between cost and price changes.
250
      See, e.g.,
       •     Balke, N.S., S.P.A. Brown, and M.K. Yucel, 1998, Crude Oil and Gasoline Prices: An Asymmetric
             Relationship?, Federal Reserve Bank of Dallas Economic Review, 2-11.
       •     Blair, Benjamin F. and Philip A. Mixon, June 2011, Price Pass-Through in U.S. Gasoline Markets,
             Working Paper.
       •     Chouinard, Hayley H. and Jeffrey M. Perloff, 2007, Gasoline Price Differences: Taxes, Pollution
             Regulations, Mergers, Market Power, and Market Conditions, The B.E. Journal of Economic Analysis &
             Policy Vol. 7 Iss. 1.
       •     Dale, Charles, John Zyren, et al., February 1999, Price Changes in the Gasoline Market: Are Midwestern
             Gasoline Prices Downward Sticky? Energy Information Administration.
       •     Godby, R., A.M. Linter, et al., 2000, Testing for Asymmetric Price Responses in the Canadian Gasoline
             Market, Energy Economic, Vol. 22, 349-368.
       •     Kirchgassner, Gebhard and Knut Kubler, 1992, Symmetric or Asymmetric Price Adjustments, Energy
             Economics, Vol. 14, 171-185.
       •     Radchenko, Stanislav, 01 June 2005, Lags in Response of Gasoline Prices to Changes in Crude Oil Prices:
             The Role of Short-Term and Long-Term Shocks, Energy Economics, 27, 573 - 602.
       •     Reilly, B. and R. Witt, 1998, Petrol Price Asymmetries Revisited, Energy Economics, Vol. 18, 297-308.
       •     Shin, David, December 1992, Do Product Prices Respond Symmetrically to Changes in Crude Prices?,
             American Petroleum Institute, Research Study #068, 137-157.
       •     Weinhagen, Jonathan, July 2003, Consumer Gasoline Prices: An Empirical Investigation, Monthly Labor
             Review, Vol. 126(7), 3-10.
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                         a) Pass-through in a textbook model of perfect competition
The textbook definition of a perfectly competitive market is one in which there are many buyers
and sellers, none of which can affect prices in any significant manner. There are no barriers to
entry or exit, so firms can enter or exit the market freely. Buyers and sellers have perfect
information; that is, they have perfect knowledge of product quality, price, and availability. The
products being sold are homogeneous goods, meaning there is no difference in quality (perceived
or actual) between various suppliers and thus buyers buy from the cheapest source. Neither
buyers nor sellers incur any transaction costs when exchanging goods.251 These conditions mean
that sellers in a perfectly competitive market can instantaneously react to any changes in cost,
regardless of whether the change is temporary or whether it is small. That is, sellers can make
perfect adjustments to respond to market changes. Under these textbook conditions, economic
profits are zero in the long-run.252 If economic profits were negative, firms would go out of
business, causing prices to rise until economic profits returned to zero; if economic profits were
positive, firms would enter, causing prices to decline until profits returned to zero.
Now consider an industry-wide cost increase that impacts all of the perfectly competitive firms.
Any perfectly competitive firm that did not pass through the higher input costs would earn
negative economic profits on all its sales, since its costs would be greater than its price, and
would eventually go out of business. Not passing through cost increases would mean the firm
would lose money on each unit sold, which is not a rational long-term strategy for a profit-
maximizing firm.253 Thus, all perfectly competitive firms would charge a price that covered the
increase in cost. An industry-wide cost increase results in higher prices across the board.254
Now consider a cost change that is not industry-wide. If one of the perfectly competitive firms
faced with the cost increase raises its price, it will lose all its sales; its customers will all switch
to firms that do not face the cost increase and that are therefore continuing to charge the original
price. In this case the firm will go out of business, which is also what it would do if it kept
charging the original price, because its costs would be greater than its revenues.
Suppose that the perfectly competitive market also displays an economic characteristic known as
“constant costs”, which means the market can grow to any size without driving up the costs of its


251
   Agriculture markets are often considered nearly perfectly competitive. In the market for wheat, for example,
there are thousands of sellers (farmers producing wheat) and thousands of buyers who produce flour and other
products. In the wheat market, no individual seller or buyer can significantly affect the price of wheat. Pindyck,
Robert S. and Daniel L. Rubinfeld, 2005, Microeconomics: Sixth Edition, Prentice Hall: Upper Saddle River.
252
   A firm’s profitability can be measured using either accounting profit or economic profit. Accounting profit is a
firm’s revenues minus the total costs of producing goods or services including labor, raw materials, and interest plus
depreciation expenses. Economic profit is a firm’s total revenue minus the total opportunity cost of the inputs.
Therefore, economic profits, unlike accounting profits, consider the return a firm would earn it its capital were used
elsewhere. Pindyck, Robert S. and Daniel L. Rubinfeld, 2005, Microeconomics: Sixth Edition, Prentice Hall: Upper
Saddle River, at 283.
253
   Firms may elect to temporarily sell products below cost. See Section VIII.B.1.b)(5) for a discussion of why these
pricing aberrations are not inconsistent with positive pass-through.
254
   Pass-through is zero under perfect competition in the unrealistic case where demand is perfectly elastic. Perfectly
elastic demand falls to zero if price increases at all, even by a penny. If demand were perfectly elastic and costs
increased, all firms would go out of business and the market would disappear because the value of the good (how
much consumers are willing to pay for it) is less than the cost of producing the good.
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inputs.255 In this case, the long-run pass-through rate of an industry-wide cost increase is 100%,
which means that if costs rise by $1, prices also rise by $1.
Economic theory establishes that when an industry is perfectly competitive, the pass-through rate
of an industry-wide cost increase is positive;256 and, when the industry displays constant costs,
the pass-through rate is 100%.257

                        b) Pass-through in the real world
As explained above, economic theory establishes that under the extreme conditions of a constant
cost, perfect competition, industry-wide cost changes are completely passed-through. Similarly,
under these extreme conditions, cost increases that are not industry-wide cannot be passed-
through at all; firms experiencing the cost increase ultimately go out of business, firms not
experiencing the cost increase survive, and price remains the same. While the textbook
conditions of perfect competition are informative to understanding the actual world, no
industry—including that for the production and distribution of CRT products—is perfectly
competitive; therefore, in the real world, pass-through is not a binary construct where the pass-
through rate is either 0% or 100% depending on whether the cost change is strictly industry-wide
or not.
Markets also generally deviate from perfect competition in that there is not perfect information,
zero transactions costs, and no barriers to entry or exit. Given these deviations from the textbook
perfectly competitive model, prices may not be uniform across all products, firms, consumers,
and time. Pass-through is fully consistent with a variety of pricing practices that may be present
in the distribution of CRTs and CRT products. Specifically, pass-through occurs even when
firms have some influence on price, it is costly to change prices, cost changes are non-transitory,
there are multiple levels to the pass-through channel, there is price variation across firms and/or
products, there is loss-leader or discount pricing, or there is focal point pricing.

                              (1) Pass-through when firms have influence on price
Imperfectly competitive or oligopolistic markets deviate from textbook models of perfect
competition or monopoly in a variety of ways. The most obvious deviation is in terms of the
number of competitors: there are not so many firms that each firm has no individual influence on
price and there is more than one firm. With imperfect competition, the pass-through rate for


255
   For example, if unskilled labor is a major input in a firm’s production, and the wage for unskilled laborers is
unaffected by the increase in demand, then the firm can expand without incurring any cost increases. A practical
example is if a new retail store opens in a large city, the new entrant pays the same wage as existing retail stores—
the prevailing wage for store clerks remains unchanged.
256
      See, e.g.,
            •      Bishop, Robert L., May 1968, The Effects of Specific and Ad Valorem Taxes, Quarterly Journal of
                   Economics, Vol. 82(2), 198-218.
            •      Kosicki, George and Miles B. Cahill, Fall 2006, Economics of Cost Pass Through and Damages in
                   Indirect Purchaser Antitrust Cases, Antitrust Bulletin, Vol. 51(3), 599-630.
257
  Nicholson, Walter, 2005, Microeconomic Theory: Basic Principles and Extensions: Ninth Edition, South-
Western: Mason, Ohio, at 296-299 and Stiglitz, Joseph E., May 1988, Economics of the Public Sector, 2nd edition,
W.W. Norton & Company, at 417.
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industry-wide cost increases is positive.258 An imperfectly competitive firm recognizes that,
when it shifts even a portion of its cost increase forward, the increase in price causes demand for
its product to decline. Depending on how responsive demand is to changes in price, an
imperfectly competitive firm may find it profitable to shift forward less or more than its cost
increase;259 that is, the pass-through rate may be less than or greater than 100%, respectively.260


258
   Fullerton, Don, and Gilbert E. Metcalf, 2002, Chapter 26: Tax Incidence, in Auerback, A.J. and M. Felstein
(Eds.), Handbook of Public Economics, Vol. 4, Elsevier Science: Amsterdam, at 1823.
259
    When a firm increases its price in response to a cost increase, there are two effects on profits: (1) the firm’s profit
on each unit sold changes and (2) the firm sells fewer units. While the second effect always causes the firm’s profits
to fall, the first effect may cause the firm’s profit per unit sold to rise or fall. The decline in sales is sufficient that the
firm’s profits always fall when costs increase; the firm mitigates the extent of the profit decline by increasing its
price.
Suppose that a firm passes through less than 100% of a cost increase. In that case, its profit on each unit sold
declines and it sells fewer units, but the loss in sales is smaller than it would be if the firm passed on 100% or more
of a cost increase. When the firm is earning economic profits, the firm can account for the higher costs in part by
passing some of the cost increase on to consumers and in part by reducing its profit margin. If a firm passes through
more than 100% of a cost increase, then it still sells fewer units, but its profit on each unit sold increases. The
increase in profits per unit mitigates the decline in profits caused by the decline in volume sold. The pass-through
rate is less than 100% when the change in price reduces quantity sufficiently that it would offset the increase in
profits per unit if price rose by more than the cost change. Fullerton, Don and Gilbert E. Metcalf, 2002, Chapter 26:
Tax Incidence, in Auerback, A.J. and M. Felstein (Eds.), Handbook of Public Economics, Vol. 4, Elsevier Science:
Amsterdam, at 1825.
260
  Empirical studies have found positive pass-through rates of less than, greater than, and equal to 100%. I am
aware of no study published in a peer-reviewed journal that has found a pass-through rate of zero.
For estimates of pass-through rates less than 100%, see, e.g.,
         •     Balke, N.S., S.P.A. Brown, and M.K. Yucel, 1998, Crude Oil and Gasoline Prices: An Asymmetric
               Relationship?, Economic Review.
         •     Delipalla, Sophia and Owen O’Donnell,, 2001, Estimating Tax Incidence, Market Power and Market
               Conduct: The European Cigarette Industry, International Journal of Industrial Organization, 19, 885 -
               908.
         •     Duffy-Denno, K.T., 1996, Retail Price Asymmetries in Gasoline Local Markets, Energy Economics,
               Vol. 18.
         •     Nakamura, Emi and Dawit Zerom, 2010, Accounting For Incomplete Pass-Through, The Review of
               Economics and Statistics, Vol. 77, No. 3, 1192-1230.
For estimates of pass-through rates greater than 100%, see, e.g.,
         •     Carbonnier, Clement, 2013, Pass-through of Per Unit and ad Valorem Consumption Taxes: Evidence
               from Alcoholic Beverages in France, The B.E. Journal of Economic Analysis & Policy.
         •     Doyle, Maura P., July 1997, The Effects of Interest Rates and Taxes on New Car Prices, Board of
               Governors of the Federal Reserve System Finance and Economics Discussion Series 1997-38.
         •     Karp, Larry S. and Jeffrey M. Perloff, 1989, Estimating Market Structure and Tax Incidence: The
               Japanese Television Market, Journal of Industrial Economics; Vol. 37(3), 225-239.
         •     Young, Douglas J. and Agnieszka Bielinska-Kwapisz, March 2002, Alcohol Taxes and Beverage
               Prices, National Tax Journal, 55(1), 57 - 73.
For estimates of pass-through rates equal to 100%, see, e.g.,
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In imperfectly competitive markets, if a cost increase is imposed on some, but not all, resellers, it
will be more difficult to pass-through those increases, but it will not be impossible as it is when a
market is perfectly competitive. When the reseller passes through the cost change, at least some
purchasers will choose to buy from those resellers that did not experience a cost increase and
which can therefore charge a lower price than those firms that do face the cost increase. If the
cost increase is industry-wide, resellers know that they can pass-through a larger portion of the
cost increase because all other resellers will also increase prices. Therefore, as the cost increase
becomes closer to industry-wide, the pass-through rate will approach 100% for all resellers.

                                (2) Pass-through when there is a cost to change price
In a perfectly competitive industry, there are no transaction costs, so prices can be
instantaneously adjusted to account for cost changes no matter how small or how temporary they
might be. In the real world, firms do face transaction costs. One type of transaction cost a firm
may face is a cost to changing its price. For example, typically a restaurant that changes prices
will need to print new menus. Economists call the cost of changing prices “menu prices”, from
this restaurant example. The costs associated with changing prices, referred to by economists as
menu costs, include, but are not limited to, re-pricing merchandise, changing displays, and
communicating the new prices to salespeople.
Thus, when a firm faces a cost increase, one thing it should consider is the cost increase (and its
impact on profits if price doesn’t change) versus the costs of changing price (and its impact on
profits if price is changed). The magnitude of a cost change on profits relative to the menu costs
determines whether or not a given cost change will be passed through.261 The larger a cost
change or the longer the cost change will last, the more likely the gain to profits from changing
price will exceed the costs of changing price, and the more likely the cost change will be passed
through.262 Thus, relatively large (significant) and non-transitory cost changes will be passed

            •      Bacon, R.W., 1991, Rockets and Feathers: the Asymmetric Speed of Adjustment of UK Retail
                   Gasoline Prices to Cost Changes, Energy Economics, Vol. 13.
            •      Karp, Larry S. and Jeffrey M. Perloff, 1989, Estimating Market Structure and Tax Incidence: The
                   Japanese Television Market, Journal of Industrial Economics; Vol. 37(3), 225-239.
261
      See, e.g.,
            •      Pollard, Patricia S. and Cletus C. Coughlin, July 2004, Size Matters: Asymmetric Exchange Rate Pass-
                   Through at the Industry Level, The Federal Reserve Bank of St. Louis Working Paper Series,
                   http://research.stlouisfed.org/wp/2003/2003-029.pdf.
            •      Ghosh, Atish and Holger Wolf, 2001, Imperfect Exchange Rate Passthrough: Strategic Pricing and
                   Menu Costs, CESifo Working Paper, No. 436,
                   http://www.econstor.eu/bitstream/10419/75783/1/cesifo_wp436.pdf.
            •      Nakamura, Emi and Dawit Zerom, 2010, Accounting for Incomplete Pass-Through, The Review of
                   Economics and Statistics, Vol. 77, No. 3, 1192-1230.
            •      Gopinath, Gita, and Oleg Itskhoki, May 2010, Frequency of Price Adjustment and Pass-Through, The
                   Quarterly Journal of Economics, 125(2) pp. 675 - 727.
262
    Costco testified that it passes through cost changes if it has no reason to believe they are temporary: “Q. […] In a
situation where Costco’s costs […] were significant […] and in a situation where Costco had no reason to believe
that that cost change was temporary, would Costco necessarily increase its retail price on that product? [...] THE
WITNESS: Well, if it’s an item that we’re going to continue to purchase at the higher cost, at some point we’re
going to have to make an adjustment […]. Q. BY MR. GRALEWSKI: And when you say make that adjustment,
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through, whereas relatively small and short-term cost changes are less likely to be passed
through. Therefore, the larger and longer the cost change, the more likely pass-through will
occur.
Firms can choose not to pass-through the cost increase in the form of higher prices by earning a
lower margin on those sales temporarily until the costs decrease again. However, as I show
below in Section VIII.B.2.b), there is a high degree of competition in the production,
distribution, and sales of CRT products, which implies that firms earn very low margins on these
products; see Exhibits 53 and 54. As such, some firms may be able to temporarily absorb the cost
increase, but for significant or permanent cost increases they will be far less able to do so, and
will eventually pass-through the cost increase in the form of higher prices.

                                (3) Pass-through when there are multiple levels of distribution
Pass-through occurs at each stage of the manufacturing and distribution process. As described in
Section VI.E, there are several stages in the distribution of CRT monitors and TVs: a CRT
manufacturer sells to CRT monitor or TV manufacturer, the manufacturer sells CRT monitors or
TVs to a retailer, and the retailer sells the CRT products to the end consumer. When the
manufacturer faces an increase in the cost of inputs, it increases its price. Similarly, when the
distributor (and its competitors) pays a higher price for the product, it also increases its price; this
process continues throughout the entire distribution chain. One can calculate the pass-through
rate at any single level of the distribution channel or over multiple levels. The pass-through rate
from the top of the distribution channel to the bottom of the distribution channel, or the
“channel-length” pass-through rate, is the product of the pass-through rates for each distribution
level.
For example, consider an scenario in which Samsung, a CRT manufacturer, sells CRTs to BenQ,
a company that makes CRT monitors using those same tubes, for $100. BenQ then sells the CRT
monitors it makes from Samsung’s CRTs to Best Buy, a retailer, for $115. Best Buy then sells
the monitors to end-users for $120. Now suppose that Samsung increases the price it charges
BenQ by 10%, resulting in a tube price of $110. Suppose that BenQ in turn increases its price to
$130 and that Best Buy in turn increases its price to $135. The pass-through rate for BenQ is
150%263 and the pass-through rate for Best Buy is 100%.264 The channel-length rate is 150%,
which is the product of the two pass-through rates, 150% × 100% = 150%.
One can also measure the impact of the cost increase imposed by Samsung on the price paid by
final consumers in a single step. Using the same numerical example above, the channel-length
pass-through rate can be calculated directly: the change in price to the end user is $15 (Best Buy
raises its price for the monitor from $115 to $130) and the change in cost at the top of the



given the set of factors I indicated in my question, the adjustment would be upwards, correct? […] A. Yes. Because,
in that example, if we kept the – the previous retail price, we would be at a negative margin, which is really against
– it’s against our company policy to – to sell things below cost. Yeah.” 07 December 2012, Deposition of Costco
Wholesale Corporation 30(b)(6) Witness Geoffrey Shavey (Hereinafter “Costco 30(b)(6) Deposition of Geoffrey
Shavey, 07 December 2012”), at 122:15 - 124:5.
263
      Calculated as the change in price ($130 – $115) divided by the change in cost ($110 – $100).
264
      Calculated as the change in price ($135 – $120) divided by the change in cost ($130 – $115).
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channel is $10 (Samsung raises its price for the CRT from $100 to $110);265 therefore, the
channel-length pass-through rate is 150%, which is $15 divided by $10. Thus, it is not necessary
to estimate BenQ’s and Best Buy’s individual pass-through rates to determine the pass-through
rate for a price increase imposed on direct purchasers on to the price that final consumers pay.
The channel-length pass-through rate calculation gives the same result whether it is calculated
stage-by-stage or in a single step.

                                (4) Pass-through is consistent with different price levels
CRTs with the same specifications (or CRT products with the same specifications) may be sold
at different prices by different resellers; however, the fact that prices are not the same does not
indicate that pass-through differs—or does not occur at all—for these products. While the
products may be sold at different prices, they are sold in distribution channels that are highly
competitive and, therefore, the pass-through rate will be similar across firms and will be close to
100%.266
In general, although two different firms may be selling a CRT product with the same
specifications, from the consumer’s perspective they are typically not selling the identical
product because firms do more than simply hand over merchandise to purchasers. For example,
different retailers provide different levels of customer service, product information, return
policies, installation support, pre- and post-purchase consultation, repairs, and store warranties.
Different retailers may experience different rental expenses based on the desirability and
convenience of their store locations. Some retailers do not advertise at all, while others provide
consumers with information pertaining to products available, prices, performance, and store
locations. Some retailers operate only online, in which case shipping costs become relevant to
the consumer for both the purchase and potential return. The price of the products offered by a
retailer in a competitive distribution market reflect all of the costs incurred by the retailer; in
turn, the price of the product bundled together with other services, only some of which are
described above, will vary among retailers.
The following example illustrates that pass-through is consistent with different prices across
retailers. Suppose that retailer A runs a no-frills operation and has cost of $100 for a CRT
monitor plus $5 per sale in processing costs; intense competition leads retailer A to charge $105.
Retailer B runs a high-status, full-service operation, and has costs of $100 for the same CRT
monitor, $10 per sale in processing costs, and $10 per sale in customer service; intense
competition leads retailer B to charge $120. Thus, the same CRT monitor is available for $105
from retailer A and for $120 from retailer B. Now suppose that the cost for the CRT monitor
increases to both retailers from $100 to $110 and other costs are unchanged. Retailer A will raise
its price to $115 and retailer B will raise its price to $130. The price for the same CRT monitor is
higher at retailer B, before and after the increase in the cost of the CRT, and both firms have
100% pass-through.
Prices may also vary across CRTs and CRT products, even at the same distribution firm. For
example, graphics quality is superior on high definition TVs compared to standard definition

265
   The end consumer price for the CRT monitor increased from $115 to $130. Direct purchasers buy tubes which
are used to make CRT products; the tube costs increased from $100 to $110.
266
      I discuss the effects of competition on the pass-through rate in Section VIII.B.1.a).
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TVs. Based on the superior graphics, the market price for high definition TVs will be higher than
for standard definition TVs that are otherwise identical.267 Regardless of the fact that these
products are differentiated and sold at different prices, pass-through still occurs. Further, because
these products are sold in highly competitive distribution channels, the pass-through rate is
expected to be close to 100%. There is nothing inconsistent between the pass-through of
overcharges and product differentiation.
Consider a variation on the earlier numerical example. Suppose that no-frills retailer A sells a
standard definition CRT TV model X and a high definition CRT TV model Y. Suppose A pays
$300 for the standard definition CRT TV and $400 for the high definition CRT TV. Retailer A
also bears other processing costs of $5 for either the standard definition or the high definition
CRT TV. Due to intense competition, retailer A sets price to cover its total costs, and prices the
standard definition TV model X at $305 and the high definition TV model Y at $405. Now
suppose that the cost of CRT TV model X increases to $310 and the cost of CRT TV model Y
increases to $417. Retailer A again sets price to cover its full costs, so prices X at $315 and Y at
$422. In both cases, retailer A has fully passed on its cost increases. In one case cost increased
by $10, as did price; in the other cost increased by $17, as did prices.

                               (5) Pass-through is consistent with loss-leader and other discount
                               pricing
Firms sometimes engage in a variety of pricing techniques to attract customers, including
offering discounts (sales) and rebates or using loss-leaders.268 These pricing techniques are
simply different forms of marketing expenditure: a reseller incurs a cost in the form of reduced
sales revenue in order to entice consumers to purchase its other products. A firm that chooses to
incur these marketing expenditures in the actual world would have the same incentive to incur
these expenditures in the but-for world in which no price-fixing conspiracy existed. In the but-for
world, the only difference would be that the firms’ costs were lower absent the alleged
overcharge.
The following example illustrates this point. Suppose retailer A has costs of $300 for a TV, and
$5 in per sale processing costs. Assuming a competitive environment, it will sell the TV for
$305. Suppose retailer A decides to incur a $10 marketing cost per sale in the form of a sale
price, which results in the TV being sold for $295 (below its cost), with the expectation that A’s
total profits will increase based on consumers coming in for the low price TV purchasing
additional products. Now consider a world in which the cost for the same TV to retailer A is
$260 instead of $300. Assuming the retailer passes through 100% of its cost change and still
incurs the same marketing cost, the resulting price is $255. In this example, the retailer is still
spending $10 per unit on marketing (it has product and processing costs of $265, which are
discounted by $10 as a marketing strategy). The retailer is making the same per-unit profit,
which is negative $5 (the expectation is that the reseller will make up this loss on the sale of
other more profitable sales, either during the same visit or sometime in the future). In this
267
   E.g., the average retail price in the U.S. in April 2006 for a Samsung TX-S2783 27" 4:3 CRT SlimFit TV was
$349 and for a Samsung TX-S2782H 27" 4:3 CRT SlimFit HDTV $524. Witsview, April 2007, Monthly Major
Region Street Price Book, LGE00082765.
268
   The term loss-leader refers to an item being sold at a discounted price, sometimes at or even below cost. The
purpose of this pricing practice is to attract customers into the store and increase sales on other, more profitable
items. Loss-leaders are essentially temporary sales promotions.
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example, the retailer has passed-through 100% of the reduced TV price while continuing to use
the TV as a loss-leader: the cost to the retailer was reduced by $40, the same amount by which
the price to the consumer was reduced. In this manner, it is evident that incurring marketing costs
in the form of discounts or sale prices is unrelated to whether input costs are being passed
through, and 100% pass-through of the (savings from the) eliminated overcharge is completely
feasible even if the firm is “selling at a loss”.269

                                (6) Pass-through is consistent with focal point pricing
Focal point pricing is the tendency for firms to set prices at specific price points, which usually
end in “9”, such as $49. The use of this pricing strategy does not prevent the pass-through of
overcharges. First, a reseller can pass through cost changes while still using focal point pricing.
Second, quality adjustments can be made to offset cost changes, so that the original focal price
can be kept. In either event, the overcharge is passed through to the buyer.
Suppose that a firm that uses focal point pricing faces a cost increase. The reseller can simply
increase the price to a higher focal point. Suppose a TV OEM sells a CRT TV for $399, and that
the cost of the tube increases from $60 to $70. The TV OEM could increase the price of the TV
from $399 to $409 to compensate for the $10 cost increase. Alternately, an OEM could adjust the
quality of a finished product in order to offset the CRT tube cost increase. Extending the
previous example, the TV OEM could switch to a lower quality and less expensive tuner in order
to offset the CRT tube cost increase. As such, the OEM maintains the same focal point price;
however, the cost increase is still passed-through to the consumer since the consumer pays the
same amount for an inferior product. As these examples show, there is nothing inconsistent
between focal point pricing and the pass-through of overcharges.

                              (7) Summary: Pass-through is positive
Deviations from the conditions of a perfectly competitive market prevent firms from the
complete and instantaneous adjustment of price to cost changes, but they do not prevent firms
from passing through cost changes. None of these deviations individually determines the pass-
through rate, and none of these factors are inconsistent with a positive pass-through rate or a
pass-through rate of 100%.
In this matter, the cost increases imposed by Defendants were industry-wide,270 they were not
transient, 271 and they were significant.272 Therefore I conclude that the overcharge was passed
through to class members.

                     2. The pass-through rate is close to 100% or more than 100%

                              a) The more competitive the industry, the closer the pass-through rate is
                              to 100%


269
      This is true for any pass-through rate.
270
      See Section VIII.A.2.a).
271
  The cost increases imposed by the cartel were not temporary. The cartel set prices that were expected to last for
quarters, but sometimes months or half-years. See Target price-structure.xlsx in my back-up materials.
272
      See Section IX.
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Suppose that an industry is imperfectly competitive; the pass-through rate could be above or
below 100%. Regardless of whether it was initially above or below 100%, as the degree of
competition in the industry increases, the pass-through rate approaches 100%. At the extreme,
when the industry achieves perfect competition (and costs are constant), the pass-through rate
reaches 100%. The more competitive an industry, the closer the pass-through rate is to 100%.273

                        b) The distribution channel is highly competitive and therefore the pass-
                        through rate is likely close to 100%
As described above (see Section VI.E and Exhibit 10), there are multiple steps in the distribution
of CRTs to class members. As each of these levels becomes more competitive, the pass-through
rate at each level approaches 100% and, accordingly, the channel-length pass-through rate also
approaches 100%. The documentary evidence, from a variety of sources, indicates that each of
the distribution levels for CRT monitors and TVs is highly competitive.274
There are a large number of firms involved in the production and the distribution of CRT
products, which is one indicator of intense competition. There are at least 28 brands of CRT
monitors and at least 29 brands of CRT TVs.275 Exhibits 55 and 56 present worldwide market
shares for each of the monitor and TV brands.
Intense competition is also evidenced by the lack of concentration among the sellers of CRT
products. As explained in Section VI.C.1, HHIs (Herfindahl-Hirschman Indices) are used to
measure the degree of concentration. Lower HHI values indicate a less concentrated market and,
hence, more competitive conditions for market participants. I calculate HHIs, reported in
parentheses, for monitor brands (1121) and TV brands (971);276 these HHIs fall into the
“unconcentrated” category based on the DOJ guidelines.277


273
      See, e.g.,
       •     Benigno, Pierpaolo and Ester Faia, March 2010, Globalization, Pass-Through and Inflation Dynamic,
             NBER Working Paper 15842, http://www.nber.org/papers/w15842, accessed 09 August 2012.
       •     Verboven, Frank and Theon vanDuk, September 2009, Cartel Damages Claims and the Passing-On
             Defense, The Journal of Industrial Economics, Vol. 57(3), 457-491.
       •     Werden, Gregory J., Luke M. Froeb, and Steven Tschantz, October 2005, The Effects of Merger
             Efficiencies on Consumers of Differentiated Products, European Competition Journal, Vol. 1(2), 245-264.
274
   That the CRT product manufacturing industry is highly competitive is not inconsistent with Plaintiffs’ claims that
they paid supra-competitive prices for CRT products. By fixing the price of CRTs, the Defendants in effect are
fixing the price of products, because product prices are a function of CRT prices; an increase in the price of CRTs
leads to an increase in the price of CRT products, as discussed in Section VIII.B.
275
   These numbers are a lower bound because the data contain an “other” category that includes multiple, smaller,
brands.
276
  Market shares and HHIs are calculated using worldwide quantities sold of TVs for 2005-2006 and monitors for
2004-2006. See,
       •     DisplaySearch, 2007, Quarterly Desktop Monitor Shipment and Forecast Report, CHU00154421.
       •     DisplaySearch, 2007, DisplaySearch Q2'07 Quarterly Global TV Shipment and Forecast Report, SEAI-
             CRT-00223186.
277
   According to the 2010 Horizontal Merger Guidelines, the U.S. Department of Justice (DOJ) considers markets
with HHIs below 1500 to be “unconcentrated”, between 1500-2500 “moderately concentrated”, and above 2500
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Intense competition also leads to low profit rates, which is also a characteristic of the production
and distribution of CRT products. The trade press, financial analysts, and industry participants
recognized the intense competition and low profit rate; see Exhibit 53.
The trade press reports a high degree of competition in the production, distribution, and sales of
CRT products. The firms that produce and distribute CRT products routinely report intense
competition. CRT manufacturers also recognize intense competition throughout the entire
distribution channel. See Exhibit 54.

                        c) Pass-through is always greater than 100% when firms use “cost-plus”
                        pricing rules
I explained above that for imperfectly competitive markets, pass-through may be greater than or
less than 100%. Under certain conditions, more is known about the magnitude of the pass-
through rate. Specifically, if a firm uses cost-plus pricing, its pass-through rate is at least 100%.
Cost-plus pricing is the practice of applying a certain markup to cost to set price; the mark-up
could be expressed in percentage terms (price is equal to a given percentage above cost) or in
dollar terms (price is equal to cost plus a specific dollar mark-up).278
In the case of cost-plus pricing in percentage terms, the pass-through rate is equal to the mark-up
rate and is always greater than 100%. For example, suppose that a firm always marks costs up by
20%; if costs are $100, then the firm sets price at $120 (= $100 × 120% mark-up). When costs
increase by $1, price will increase by $1.20 (= $1 × 120% mark-up), and thus the pass-through
rate is equal to 120% ( = change in price / change in cost = $1 / $1.20). Now consider a firm that
uses cost-plus pricing in dollar terms. For example, suppose that a firm always sets price by
adding $40 to its costs. If costs are $100, the firm sets a price of $140 (= $100 + $40 mark-up). If
costs fall to $99, the firm decreases its price to $139. In the case of cost-plus pricing in dollar
terms, the pass-through rate will always be equal to 100% (= change in cost / change in price =
$1 / $1).

                        d) Firms use “cost-plus” pricing rules
There is evidence that cost-plus pricing policies were used in the distribution channel for CRT
products.279 To the extent that resellers follow these pricing policies, a reliable estimate of the
pass-through rate is at least 100%.


“highly concentrated”. Department of Justice and Federal Trade Commission, 18 August 2010, 2010 Horizontal
Merger Guidelines, at Section 5.3 Market Concentration.
278
    For certain types of demand, using a cost-plus rule is the profit-maximizing pricing strategy. This is true if a firm
faces a demand curve with constant elasticity of demand (that is, the elasticity of demand is the same at every price).
In lay terms, this means that given a 1% increase in price—regardless of whether the starting price is at a high level,
a middle level, or a low level—the quantity demanded will decline by the same percentage. Bulow, Jeremy I. and
Paul Pfleiderer, February 1983, A Note on the Effect of Cost Changes on Prices, The Journal of Political Economy,
Vol. 91(1), 182-185, at 183.
279
      See, e.g.,
       •    “Q. Would you sell your product above the FOB price? A. Yes. Q. Always? A. Sure. We needed – we
            required a markup. So we would buy it FOB, there would be a standard margin that Panasonic, PNA,
            would have to achieve.” 18 July 2012, Deposition of Panasonic North America 30(b)(6) Witness Edwin
            Wolff (Hereinafter “Panasonic 30(b)(6) Deposition of Edwin Wolff, 18 July 2012”), at 26:13-27:5.
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                       e) Summary: The pass-through rate is close to 100% or more
Because the resellers of the affected products operated in a highly competitive environment and
some resellers utilized cost-plus pricing, I conclude that the pass-through rate is close to 100% or
higher. In Section X, I describe the 62 pass-through studies I performed that confirm that pass-
through is at least 100%.

               3. Market participants recognized that CRT price changes are passed
               through
The documentary and testimonial evidence in this matter is consistent with the economic theory
discussed above. Specifically, Defendants and other market participants explicitly and implicitly
acknowledge that distributors, manufacturers, and resellers of CRT products pass-through cost
changes to their customers throughout the entire distribution channel.
    •   Defendants indicate that pass-through of tube prices to product prices occurs. See Exhibit
        57.
    •   Industry participants, including CRT product makers, market research firms, and the
        trade press, indicate that pass-through occurs. See Exhibit 58.


    •   Roger De Moor of Philips testified regarding Philips Consumer Electronics margins on sales of CRT
        monitors to Dell: “Q. Did PCEC typically have a set margin they were trying to achieve when working with
        Dell? A. We all had. Q. Did that margin vary over time or was there a particular set one within each
        organization that they aimed for? A. That was on the product level within the organizations.” Philips
        30(b)(6) Deposition of Roger De Moor, 31 July 2012, 31 July 2012, at 176:16-177:1.
    •   Kimura Mashiro of Panasonic testified regarding CRT product resellers’ profit margins: “Q. So the dealer
        margin number would always be a positive number? A. Yes, correct.” 19 July 2012, Deposition of
        Panasonic Corporation, Panasonic North America and MTPD 30(b)(6) Witness Mishiro Kimura
        (Hereinafter “Panasonic 30(b)(6) Deposition of Mishiro Kimura, 19 July 2012”), at 69:22-24.
    •   Roger De Moor of Philips testified: “Q. So on bigger retailers, was there a particular margin that each
        different retailer always or often tried to achieve? MR. EMANUELSON: Objection, vague. A. That’s my
        understanding.” Philips 30(b)(6) Deposition of Roger De Moor, 31 July 2012, at 302:3-7.
    •   Thomas Heiser of Hitachi USA testified regarding retailers’ margins: “Again, you know, at the time in ’96
        it was our understanding that Circuit City and those guys, they typically were between 30 and 40 percent,
        30 and 40 points max – margin, I mean, so... Q. Okay. And what do you mean by retail margins, just to
        make sure we’re on the same page? A. So if they bought a set for 700 from Hitachi, they’d sell it for 999.
        They would mark it up 30 percent or 40 percent was their markup. Q. And that was your understanding of
        approximately for the large retailers? A. Yeah, at that time.” Hitachi 30(b)(6) Deposition of Thomas Heiser,
        03 July 2012, at 151:17-152:3.
    •   “That markup of nearly 50% of the total cost is a ‘healthy profit margin’ for Amazon, said Van Baker, a
        Gartner Inc. analyst, adding that most consumer products have markups of 20% to 25% of total cost. ‘A
        markup of 50% of total cost is almost impossible to do in consumer electronics just because the market is
        so competitive’.” Matt Hamblen, 22 April 2009, Material costs for Kindle 2 are about half its retail price,
        ComputerWorld,
        http://www.computerworld.com/s/article/9131974/Materials_costs_for_Kindle_2_are_about_half_its_retail
        _price_, accessed 14 September 2012, at 1.
    •   Prices between DDI, a subsidiary of MTPD, and Funai were set using cost-plus rules: “Funai was a joint
        venture. So they were able to look at all the costs: The costs for the materials, for the labor, all costs. So all
        of the cost information was openly shared, and so it was cost plus a set margin.” Panasonic 30(b)(6)
        Deposition of Tatsuo Tobinaga,16 July 2012, at 139: 13-17.
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       •    The tie between CRT prices and CRT product prices is also reflected by CRT makers
            following CRT product “street prices”, which are the prices for CRT products paid by
            end-users; following street prices reveals that the Defendants recognize the tie between
            tubes and product prices. See Exhibit 59.
       •    Market research firms, which provide data that Defendants rely upon,280 regularly publish
            street prices. See Exhibit 60.
Trial testimony in a case involving price fixing of LCD panels by many of the same Defendants
and Best Buy indicated that pass-through occurs. See Exhibit 61.
All in all, there is ample documentary and testimonial evidence, from a variety of market
participants, showing that CRT product prices ultimately reflect increases in CRT prices.

                    4. Summary: Class members were harmed by the cartel
Based on economic theory and documentary and testimonial evidence, I conclude that the price
increase to direct purchasers was passed through. This conclusion is further supported by the 62
statistical pass-through studies I conducted, as described in Section X and summarized in
Exhibits 62 and 63. Furthermore, I am aware of no empirical study that contradicts the

280
      See, e.g.,
       •    Samsung testified: “Q. You mentioned earlier, I think you said the Marketing Department utilizes and
            sometimes relies on DisplaySearch information; is that accurate? A. That’s accurate.” 16 July 2012,
            Deposition of Samsung Electronics America 30(b)(6) Witness Kim London (Hereinafter “Samsung
            30(b)(6) Deposition of Kim London, 16 July 2012”), at 262:16-19.
       •    Philips testified about responsibilities of another Philips employee: “Q. Do you know what his
            responsibilities were? A. Collect information about market trends, working with DisplaySearch, and
            presenting to management the information on which they could base their plans.” Philips 30(b)(6)
            Deposition of Roger De Moor, 31 July 2012, at 70:19 - 71:1.
       •




       •    Hitachi America testified: “Q. Do you know whether HAL used data sources such as Display Search? A.
            Yes.” 23 August 2012, Deposition of Hitachi America, LTD. 30(b)(6) Witness William Allen Whalen
            (Hereinafter “Hitachi 30(b)(6) Deposition of William Allen Whalen, 23 August 2012”), at 110:24 - 111:1.
       •




       •    Panasonic testified: “Q. […] Did you monitor the finished product prices of CRT TVs […] during the 2004
            to 2008 time frame. A. Yes. […] Q. BY MR. LAMBRINOS: What documents did you use to track these
            prices? Please answer the question. A. Since market research, the companies that publish the price trends
            and so forth, I used such information to track down prices.” Panasonic 30(b)(6) Deposition of Hirokazu
            Nishiyama, Vol. I, 17 July 2012, at 39:18 - 40:9.
       •    Toshiba testified: “Q. And how would you go out and monitor television pricing? A. Actually there was a
            couple different ways you can do it. There’s reports you can go buy. I think there was like Stanford,
            Stanford Research or Display Search ...” TAEC 30(b)(6) Deposition of Jay Alan Heinecke, 31 July 2012, at
            119:19 - 120:2.
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theoretical findings. That is, I am aware of no study published in a peer-reviewed journal that has
found a pass-through rate of zero. Thus, all class members suffered common damage in the form
of higher prices.

IX. 25.0% and 9.5% are reasonable measures of the direct overcharge
imposed on CDTs and CPTs, respectively
In Section VIII I presented the evidence and analyses on which I formed my opinion that
Defendants’ and Co-conspirators’ conduct resulted in class members paying more for CRT
products than they would have absent the cartel. In this section I apply widely-accepted
economic principles and methods in a manner consistent with practices in the field of economics
to the evidence of the case to quantify the amount by which Defendants overcharged the Class
for CRT products by cartelizing CRTs.
Plaintiffs are indirect purchasers. Consequently, overcharges imposed on the class can be
decomposed into (1) a measure of overcharge harm imposed on direct purchasers of CRTs
integrated into products purchased by members of the class (“at-issue CRTs”) and (2) the portion
of that direct overcharge passed through to class members. I now describe the reasoning and
evidence that support my conclusion that the cartel imposed a 25.0% overcharge for CDTs and a
9.5% overcharge for CPTs.281 I detail my pass-through analysis in Section X and provide
measures of total damages in Section XI.
The overcharge damages are the difference between the dollar amount that direct purchasers
spent on at-issue CRTs in the actual world in which Defendants engaged in the collusive conduct
and the dollar amount they would have spent if the Defendants had not engaged in the
anticompetitive conduct. Formulaically, the dollar value of overcharge damages imposed on
direct purchasers by Defendants is measured as:
                     $                        ℎ           −$                          ℎ               .
Because the but-for world is by definition hypothetical, expenditures that direct purchasers
would have made absent the cartel are not observable. Consequently, the overcharge cannot be
directly observed.282 Economists have developed a number of research methods to use
observable information to estimate outcomes in the unobservable but-for world.283 I apply one of

281
  As explained in Section IX.B, I estimate two overcharges for CDTs and for CPTs, one for the time period
1995Q2 through 2006Q4 and another for 2007.
282
   “One of the central challenges of an overcharge analysis is determining the counterfactual scenario that would
have existed but for the alleged anticompetitive conduct. While actual prices generally are known, the but-for prices
are not observable and thus must be estimated.” American Bar Association, 2010, Proving Antitrust Damages: Legal
and Economic Issues, Second Edition, ABA Publishing: Chicago, p. 198.
283
      See, e.g.,
       •    “Many empirical questions in economics and other social sciences depend on causal effects of programs or
            policies. In the last two decades, much research has been done on the econometric and statistical analysis of
            the effects of such programs or treatments…The object of interest is a comparison of the two outcomes for
            the same unit when exposed, and when not exposed, to the treatment. The problem is that we can at most
            observe one of these outcomes because the unit can be exposed to only one level of the treatment. Holland
            (1986) refers to this as the ‘fundamental problem of causal inference.’ In order to evaluate the effect of the
            treatment we therefore always need to compare distinct units receiving the different levels of the treatment.
            Such a comparison can involve different physical units, or the same physical unit at different time.”
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the most widely used of these methods, regression analysis, to the facts and data of the case to
obtain a reasonable measure of the effect of the cartel on CRT expenditures.

        A. I use widely-accepted economic principles and methods to quantify the direct
        overcharge
In the absence of observations of the CRT prices in the but-for world, one reasonable way to
estimate the direct overcharge is to compare CRT prices in periods from the actual world in
which no collusive behavior occurred to CRT prices during periods of collusion. CRT prices
from different time periods may reflect changes in more than just whether firms compete or
collude. For instance, if a significant input in the production of CRTs had a higher price in the
time period when the cartel operated relative to its price in the time period when the cartel did
not operate, the price of CRTs would be expected to higher during the cartel in part because of
the cost increase and not solely because of the difference in competitive and collusive conduct.
Since CRT prices can be affected by more than the decision by suppliers to collude or compete,
an estimate of the impact of the cartel must control for changes in CRT prices due to changes in
other relevant factors.
Economists often use regression analysis to isolate the impact of one variable on another from
the impact of other variables,284 and the courts commonly accept regression analysis.285 I use

            Imbens, Guido W. and Jeffrey M. Wooldridge, 2009, Recent Developments in the Econometrics of
            Program Evaluation, Journal of Economic Literature, Vol. 47, No. 1, 5-86, at 5.
       •    “The problem of evaluating the effect of a binary treatment or program is a well studied problem with a
            long history in both econometrics and statistics. This is true both in the theoretical literature as well as in
            the more applied literature.” Imbens, Guido W. and Jeffrey M. Wooldridge, 2009, Recent Developments in
            the Econometrics of Program Evaluation, Journal of Economic Literature, Vol. 47, No. 1, 5-86, at 5.
In the present case, cartelization is the “treatment” and the difference in price between the without- and with-cartel
periods is the “effect.” The “fundamental problem of causal inference” is that the but-for price never existed due to
the cartel and therefore is not observable.
284
      See, e.g.,
       •    “One of the more useful aspects of the multiple regression model is its ability to identify the independent
            effects of a set of variables on a dependent variable.” Greene, William H., 2012, Econometric Analysis,
            Seventh Edition, Prentice Hall: Upper Saddle River, at 14.
       •    “Regression models form the core of the discipline of econometrics.” Davidson, Russell and James G.
            MacKinnon, 2004, Econometric Theory and Methods, Oxford University Press: New York, at 1.
       •    “[T]he classical linear regression model…is the workhorse of econometrics.” Gujarati, Damodar, 2011,
            Econometrics by Example, Palgrave Macillan: New York, at xvi.
285
      See, e.g.,
       •    Rubinfeld, Daniel L., 2000, Reference Guide on Multiple Regression, in Federal Judicial Center, and
            National Research Council (Eds.), Reference Manual on Scientific Evidence, Third Edition, National
            Academies Press: Washington, D.C., 303-358.
       •    “Econometric and regression analyses are particularly useful in separating the impact of an alleged
            anticompetitive act on market outcomes (such as pricing) from the influence of other factors.” American
            Bar Association, 2010, Proving Antitrust Damages: Legal and Economic Issues, Second Edition, ABA
            Publishing: Chicago, at 125.
       •    “Multiple regression and other econometric methods have been used frequently in cases brought by the
            competition authorities and in private litigation.” Rubinfeld, Daniel L., 2008, Quantitative Methods, in
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regression analysis to isolate the impact of the cartel on CRT prices from the impact of other
factors that may have also contributed to any CRT price differences between the with- and
without-cartel periods.
As a first step in the regression analysis, an understanding of which variables may affect CRT
prices is developed. Widely-accepted economic theory holds that a combination of supply
factors, demand factors, and competitive interactions between suppliers drive market prices.286
Consequently, by using data on CRT prices, supply and demand factors, and the nature of
competitive interactions between CRT producers, I can implement regression analysis to the case
facts and data to analyze the impact of collusion on CRT prices separately from the changes in
CRT prices due to changes in non-cartel related supply and demand factors.

                 1. Reduced-form price equations are widely used and accepted
A type of model of the price-formation process widely used in empirical economics is what is
known as a reduced-form price equation model – “reduced-form” because the system of supply
and demand factors that co-determine price can be reduced mathematically to a single equation
that relates prices to supply factors, consumer demand, and the competitiveness of the market.287
When measuring the price-effect of changing from an economic environment in which firms do
not collude to one in which firms do collude, a cartel indicator variable that identifies whether


            Antitrust, in American Bar Association (Eds.), Competition Law and Policy, Section of Antitrust Law,
            Issue 1, ABA Publishing: Chicago, 723-742, at 723.
       •    “The legal requirements for regression analysis fall under the rules for testimony by experts…Regression
            analyses have met these requirements many times in litigation for a wide range of issues, including the
            estimation of antitrust damages.” American Bar Association, 2010, Proving Antitrust Damages: Legal and
            Economic Issues, Second Edition, ABA Publishing: Chicago, at 128-129.
286
      See, e.g.,
       •    Firm strategy “requires an understanding of how the price or quantity equilibrium depends on cost and
            demand functions.” Church, Jeffrey, and Roger Ware, 2000, Industrial Organization: A Strategic Approach,
            McGraw-Hill: New York, at 233.
       •  “Market outcomes are determined by three factors: the nature of demand, the nature of the production
          process, and the nature of competitive interaction among suppliers.” Porter, Robert and J. Douglas Zona,
          1994, Bidding, Big Rigging, and School Milk Prices: Ohio v. Trauth, in Kwoka, Jr., John E. and White,
          Lawrence J. (Eds.), 2004 The Antitrust Revolution: Economics, Competition, and Policy, Fourth Edition,
          Oxford University Press: New York, at 213.
287
    See, e.g.,
       •    “The most common statistical method employed in antitrust litigation involves the estimation of ‘reduced-
            form’ price equations. A typical reduced-form model might explain the variation in the price of a product
            as a function of a series of variables relating to cost, demand, and market structure.” Rubinfeld, Daniel L.,
            2008, Quantitative Methods, in Antitrust, in American Bar Association (Eds.), Competition Law and
            Policy, Section of Antitrust Law, Issue 1, ABA Publishing: Chicago, 723-742, at 724.
       •    “A ‘reduced form’ model is a single equation that describes prices (the dependent variable) as a function of
            various exogenous factors thought to influence supply and demand (such as costs, prices of substitutes,
            etc.).” American Bar Association, 2010, Proving Antitrust Damages: Legal and Economic Issues, Second
            Edition, ABA Publishing: Chicago, at 201.
       •    McCrary, Justin, and Daniel L. Rubinfeld, 2014, Measuring Benchmark Damages in Antitrust Litigation,
            Journal of Econometric Methods, 3(1), 63-74.
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the observed data are from a cartel or non-cartel period is also included in the model to isolate
the effect of the cartel on prices from price changes due to other factors.288
The cartel-indicator reduced-form price equation approach provides a widely-accepted economic
framework by which to identify the changes in CRT prices due to the presence of the cartel
separately from changes in CRT prices due to non-cartel factors.

       B. The facts and data of the case form the basis for the direct overcharge measure
Although generally-accepted economic principles and methods provide the analytic framework,
Defendants’ sales data combined with relevant CRT supply and demand data form the
evidentiary basis for the direct overcharge measure.
As explained in Section IX, due to the unavailability of prices class members would have paid in
a world absent cartelization, I analyze Defendants’ CRT sales data from time periods not
believed cartelized and time periods with evidence of collusion.
I select my cartel date based on relevant evidence from the case. In particular, as I discuss in
Section VIII.A.3.a) case evidence indicates that information exchanges began as early as
February 1995 and continued through at least late 2007.289 Additionally, I take into account the
fact that the Department of Justice (DOJ), Korean Fair Trade Commission, and Japanese Fair
Trade Commission cartelization investigation into a number of LCD producers, including some
defendants in this case, became public in the last quarter of 2006.290 It is possible that members
of the CRT cartel changed their behavior in response to learning of these investigations in an
attempt to minimize costs in the event of an investigation in the CRT industry. For example,
cartel members may have considered becoming amnesty applicants in the CRT cartel or may
have been less likely to continue meeting. If the LCD investigation did influence the behavior of

288
   The cartel-period indicator model is one variant of the general “economic determinants” method of quantifying
cartel effects I described in my class certification report. Netz Class Cert Report, at 85.
289
      Documented instances of information exchanges in 2007 regarding CDTs include:
       •    Oh, Tae Gyun, 10 November 2007, E-mail, Subject: Record of visits to Company C, SDCRT-0139342.
       •    Choi, Hoon, 14 September 2007, E-mail, Subject: A report on the glass supply condition of Chunghwa,
            SDCRT-0104771 - SDCRT-0104772.
      Documented instances of information exchanges in 2007 regarding CPTs include:
       •    Lee, Dae-Eui, 19 September 2007, Request for Survey on Customer Response to Price Increase, SDCRT-
            0080694 - SDCRT-0080696.
       •    Choi, Kee, 13 July 2007, E-mail, Subject: Information Sharing] Main contents at the LPD meeting - 7/12
            (Thu), SDCRT-0170843.
       •    Sanogawaya, Masaki, 09 November 2007, E-mail, Subject: Meeting memo, MTPD-0543148 - MTPD-
            0543150.
290
      See, e.g.,
       •    12 February 2014, Brief for the United States of America, United States of America v. Shiu Lung Leung
            (In the United States Court of Appeals for the Ninth Circuit).
       •    Gohring, Nancy, 11 December 2006, LG.Philips Subpoenaed in LCD Competition Probe, InfoWorld,
            http://www.infoworld.com/d/security-central/lgphilips-subpoenaed-in-lcd-competition-probe-354, accessed
            08 April 2014.
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CRT cartel members, I expect the impact of the cartel to be smaller subsequent to the
announcement of the LCD cartel investigation; however, I do not impose such a restriction on
the model. I bifurcate the cartel period (1995Q2-2007Q4) into two segments based on the LCD
investigation becoming public. Specifically, the first segment includes 1995Q2 - 2006Q4 and the
second includes 2007Q1-2007Q4.
The most complete set of data for this analysis would include expenditures by direct purchasers
on all at-issue CRTs – sold during the cartel period – and the expenditures by direct purchasers
for CRTs that had the same (economically relevant) product characteristics from periods free
from cartelization. Since expenditures are the product of the price of a good and the number of
units purchased, expenditures on Defendants’ CRTs can be calculated from Defendants’ sales
data, which reveal transaction quantities and revenues.
Net prices and other sales data for Defendants’ CRTs from January 1, 1991 forward were
requested.291 Data produced in response to these requests have been incomplete, with some
Defendants failing to provide any data whatsoever.292 Data that were produced vary by
Defendant in terms of time periods covered and production facilities included.293 See Exhibit 64
for a list of Defendant data files used in my analyses.
Because the produced sales data may contain rebates, returns, or corrections to erroneous entries,
I aggregate the transaction-level sales data to the quarterly level.294 Additionally, as described
below, I incorporated data from third parties to control for changes in CRT prices due to non-
cartel factors, and these data are reported at the quarterly level. Therefore, aggregating the price


291
      See, e.g.,
       •    10 June 2008, Indirect Purchaser Plaintiffs' First Request for Production of Documents from Defendants, In
            re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
            California San Francisco Division).
       •    25 March 2010, Indirect Purchaser Plaintiffs' Second Request for Production of Documents from
            Defendants, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern
            District of California San Francisco Division).
       •    04 June 2008, Direct Purchaser Plaintiffs' First Set of Requests for Production of Documents, In re:
            Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
            San Francisco Division).
       •    12 March 2010, Direct Purchaser Plaintiffs' Second Set of Requests for Production of Documents, In re:
            Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
            San Francisco Division).
292
   Defendants Thomson/Videocon, Orion/Daewoo, IRICO, Samtel, and Thai-CRT did not produce CRT tubes sales
data.
293
      For example, LPD only provided data from its Ottawa, Ohio plant.
294
   For example, on May 21, 1996 Philips recorded three invoices for customer order 300722, each with 416 units
priced at $189.49. On June 11, 1996, Philips recorded three invoices containing the note “300722 WRONG PRICE”
that reversed the May 21 sales. Another three invoices from June 11, 1996 re-invoice the original sales at a price of
$187.46. When collapsing by quarter, these observations show up as a single observation with the corrected price of
$187.46.
This method of aggregating does not completely resolve the problem of adjustments in the data, as an adjustment
may occur during a different quarter than the original transaction, but it does mitigate the problem.
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data to the quarterly level allows all variables in the price equation to be measured at the same
time frequency.
Subsequent to filtering and cleaning, the produced CRT sales data deemed usable for the
overcharge analysis include quarterly price observations beginning in 1993Q1 and continuing
through 2010Q4.
       •    There are 49 CDT price observations from Chunghwa, LGE, Panasonic, Philips, and
            Toshiba prior to 1995Q2; for CPTs there are 145 observations from Chunghwa, Hitachi,
            LGE, Panasonic, Philips, and Toshiba.
       •    Between 1995Q2 and 2006Q4 there are 1,011 CDT price observations from Chunghwa,
            Daewoo, Hitachi, LGE, LPD, Mitsubishi, Panasonic, Philips, Samsung, and Toshiba; for
            CPTs there are 2,155 observations from the same manufacturers plus Irico, Samtel, and
            Thai CRT.
       •    In 2007, there are 38 CDT price observations from Chunghwa, LPD, and Samsung; for
            CPTs there are 168 observations in 2007 from Chunghwa, Daewoo, Irico, LPD,
            Panasonic, Samsung, and Samtel.
       •    There are 16 CDT price observations from Chunghwa and LPD after 2007; for CPTs
            there are 106 observations from Chunghwa, Daewoo, Irico, LPD, and Samtel.
Although, as is generally the case in empirical research, the set of data available for the analysis
does not cover the entire population of interest, I consider the available data sufficiently
complete to provide a reasonable measure of the cartel overcharges.295 I base my opinion on the
comprehensive sales data requests made of the Defendants, the lack of evidence that Defendants
systematically withheld data, the availability of useable data from before and after the cartel
period, and the ability of the dummy variable approach to provide reliable estimates in situations
with relatively limited data.296




295
      See, e.g.,
       •    “Multiple regression uses a sample, or a selection of data, from the population (all the units of interest) to
            obtain estimates of the values of the parameters of the model.” Rubinfeld, Daniel L., 2011, Reference
            Guide on Multiple Regression, Reference Manual on Scientific Evidence, Third Edition, National
            Academies Press: Washington, D.C., 303-357, at 312.
       •    “Samples presented in the courtroom have ranged from 5 (tiny) to 1.7 million (huge).” Kaye, David H. and
            David A. Freeman, 2011, Reference Guide on Statistics, Reference Manual on Scientific Evidence, Third
            Edition, National Academies Press: Washington, D.C., 211-302, at 247.
296
   Making judgments about the usefulness of a particular set of data is part of the job of a researcher. Moreover, one
strength of the dummy variable approach is its usefulness when data is relatively limited. See, e.g.,
       •    “The validity of data is ultimately a matter of judgment.” Allen Mark A., Hall, Robert E, et al., 2011,
            Reference Guide on Estimation of Economic Damages, Reference Manual on Scientific Evidence, Third
            Edition, National Academies Press: Washington, D.C., 425-502.
       •    “The dummy variable approach is appealing because it can be applied even where there is a relative paucity
            of data in the nonconspiratorial period.” Rubinfeld, Daniel L., 2008, Quantitative Methods in Antitrust,
            Competition Law and Policy, Issue 1, ABA Section of Antitrust Law, 723-742, at 740.
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In addition to Defendants sales data, I collected data related to CRT manufacturing costs, the
availability of potential substitutes, and indicators of world-wide demand to control for the
influence of CRT supply and demand factors on CRT prices.
Manufacturing costs are a key supply factor relevant to a product’s price. Cost data beginning
January 1991 have been requested from Defendants.297 However, insufficient defendant-specific
cost data that could be directly included in the regression analysis have been produced at this
point. In particular, defendant cost data either do not cover the required time period, aggregate
over multiple cost categories without indicating how to disaggregate, or simply have not been
produced.298
A number of organizations collect and publish cost data that are relevant in the present case.
Economists often use such information in research. The costs of the glass funnels and panels
comprise a significant portion of the materials cost.299 I included CPT glass price data from the

297
      See, e.g.,
       •    25 March 2010, Indirect Purchaser Plaintiffs' Second Request for Production of Documents from
            Defendants, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern
            District of California San Francisco Division).
       •    12 March 2010, Direct Purchaser Plaintiffs' Second Set of Requests for Production of Documents, In re:
            Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
            San Francisco Division).
298
      See, e.g.,
       •    “The LGE defendants do not have transactional cost data in a centralized, electronic database.” Shapland,
            Eric, 30 March 2012, Letter from Eric Shapland to R. Alexander Saveri and Lauren C. Russell, In re:
            Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
            San Francisco Division).
       •    “We replied on October 31, 2011 that the Panasonic Defendants had been unable to identify cost data
            pertaining to CRTs or CRT finished products in a consolidated, readily accessible format.” Hemlock, Adam
            C., 04 May 2012, Letter from Adam C Hemlock to Michael Christian, In re: Cathode Ray Tube (CRT)
            Antitrust Litigation (United States District Court Northern District of California San Francisco Division).
       •    “…data regarding costs and transactions prior to 1998 is not available.” Scarborough, Michael, 08 March
            2012, Letter from Michael Scarborough to R. Alexander Saveri and Lauren C. Russell, In re: Cathode Ray
            Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San Francisco
            Division).
299
      See, e.g.,
       •    “A. Of the total cost, the material cost was around 70 percent, and of that 70 percent was for glass, the cost
            for Panel and funnels. So I think I can say that approximately half the cost was for glass.” Panasonic
            30(b)(6) Deposition of Tatsuo Tobinaga,16 July 2012, at 84:5 - 8.
       •    “CRT glass typically accounts for about 40% of the overall production cost of CPT and about 22% of that
            of CDT.” ABN AMRO Bank, N.V., Citibank/Salomon Smith Barney Hong Kong Limited, et al., May
            2001, LG.Philips Displays Holding B.V. US$2,000,000,000 Senior Term Loan and Revolving Credit
            Facility, PHLP-CRT-051982 - PHLP-CRT-052085, at 2035.
       •    “With a trend toward larger picture tubes, glass represents a growing percentage of the value of materials,
            currently around 60 percent, up from 30 percent just a few years ago.” United States International Trade
            Commission, May 1995, Industry & Trade Summary: Television Picture Tubes and Other Cathode-Ray
            Tubes, USITC Publication 2877, p. 4, http://www.usitc.gov/publications/701_731/pub3695.pdf, accessed
            17 May 2012.
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Bank of Korea in the regression analysis to account for variation in CRT prices due to changes in
production costs.300
Changes in demand conditions may also result in changes in product prices. In particular, income
and the availability of functional substitutes are key drivers of consumer demand. Because CRT
products are sold worldwide, I included data on gross domestic product and unemployment from
the Organisation for Economic Co-operation and Development (OECD), a source commonly
used by economists and that includes more countries than other similar data sets, to account for
changes in CRT prices due to changes in demand conditions flowing from changes in income.301,
302


The availability of functional substitutes also influences the level of consumer demand for a
product. In the present case, other display technologies such as LCD monitors and TVs provided
functional substitutes for end-users. Data on worldwide LCD TV and monitor revenues as a
share of total TV and monitor revenues are included in the regression to account for changes in
the level of demand for CRTs.303
To account for the effect of additional factors that influenced the trend in CRT prices over the
long term, I included a second order time trend. This trend is composed of a linear and a
quadratic component. The linear component takes a value of one in 1993q1 and increases by one
in each subsequent quarter. The quadratic component equals the square of the linear component.
In addition to capturing the overall trend in CRT prices, these variables address the “spurious
regression problem” that can occur with data that vary over time. If both the dependent variable
and an independent variable are growing over time, then a regression might find a statistical
relationship between the two even if a different economic relationship exists. Adding a time
trend to the model eliminates this problem304 and allows for a more accurate estimate of the
overcharge.
Formulaically, I estimated the following reduced-form price equation to quantify the CRT cartel
effect:

300
   The Bank of Korea, Undated, Producer Price Indexes Bank of Korea, http://ecos.bok.or.kr/flex/EasySearch_e.jsp,
accessed 10 October 2013.
301
   The current members of the OECD are Australia, Austria, Belgium, Canada, Chile, Czech Republic, Denmark,
Estonia, Finland, France, Germany, Greece, Hungary, Iceland, Ireland, Israel, Italy, Japan, Korea, Luxembourg,
Mexico, Netherlands, New Zealand, Norway, Poland, Portugal, Slovak Republic, Slovenia, Spain, Sweden,
Switzerland, Turkey, United Kingdom, and United States. Organisation for Economic Co-operation and
Development, 17 February 2014, Members and Partners - OECD, http://www.oecd.org/about/membersandpartners/,
accessed 17 February 2014.
302
   I also considered using a measure of global output produced by the World Bank to account for changes in
demand in countries that are not members of the OECD, including China and India. However, these data only extend
through the beginning of 1994.
303
   Although LCD TVs and monitors provided similar functionality as CRT TVs and monitors, they do not appear to
have been economic substitutes, in the sense of CRT manufacturers being able to attract LCD customers by altering
CRT prices, for much of the time period of interest in the present case. For more details see the discussion in Section
VIII.A.2.c).
304
   “The phenomenon of finding a relationship between two or more trending variables simply because each is
growing over time is an example of a spurious regression problem. Fortunately, adding a time trend eliminates this
problem.” Wooldridge, Jeffrey M., 2000, Introductory Econometrics: A Modern Approach, South-Western College
Publishing: Mason, at 334 - 335.
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ln Priceit = α + θ1 Cartel1995-2006t + θ2 Cartel2007t
                  + β1 ln Glasst + β2 (ln Glasst × Sizeit) + β3 (ln Glasst × Sizeit2)
                  + β4 ln GDPt + β5 Ut + β6 Ut2 + β7 ln LCDt + β8 ln LCDt2
                  + γ1 Timet + γ2 Timet2 +δ Quartert + η Makerit + ρ (Makerit × Sizeit) + εit
where:
      •   Priceit measures the price charged for CRT model-manufacturer pair i at time t;
      •   the indicator variable Cartel1995-2006t equals one from 1995Q2 until 2006Q4 and zero
          otherwise; Cartel2007t equals one from 2007Q1 until 2007Q4 and zero otherwise;
      •   Glasst measures the price of CRT glass at time t; ln Glasst × Sizeit allows for the
          possibility that changes in glass prices affect CRT prices differently for different sized
          CRTs and (ln Glasst × Sizeit2) allows for a non-linear impact of a change in glass prices
          on CRT prices;
      •   GDPt and Ut are the OECD output and unemployment rate at time and the inclusion of
          Ut2 allows for changes in unemployment to affect CRT prices differently at different
          levels of unemployment;
      •          measures the revenue from the sale of LCD finished TVs or monitors as a share of
          total revenues from the sale of finished TVs or monitors and the inclusion of LCDt2
          allows for changes in revenue share of LCDs to affect CRT prices differently depending
          on how prevalent LCDs are in the market;
      •   Timet and Timet2 are the time variables allowing for a trending influence on price; the
          Quartert variables equal one in the relevant calendar quarter of the year and allow for the
          possibility of seasonal trends in CRT prices;
      •   the indicator variable Makerit identifies the manufacturer for the model-manufacturer pair
            at time and Makerit × Sizeit allows for the possibility that price differences between
          CRTs may vary based on the maker and size.305
Some case evidence suggests that prices of CDTs and CPTs did not respond to changes in market
conditions in the same manner;306 therefore, I estimated separate CDT and CPT regressions. I
305
   The coefficients on the supply and demand variables in a reduced-form price equation are not necessarily directly
interpretable as they combine effects from both the supply side and demand side of the market into a single
coefficient. See, e.g.,
      •   “When interpreting reduced-form regression coefficients…one needs to remember that these parameters are
          a function of those from the underlying structural model…Therefore, while the expected sign of a reduced-
          form regression is informed by economic theory, it also is dependent on the underlying structural
          regression coefficients (some of which may have opposing effects on equilibrium price).” Nieberding,
          James F., November 2006, Estimating Overcharges in Antitrust Cases Using a Reduced-Form Approach:
          Methods and Issues, Journal of Applied Economics, Vol. 9(2), 361-380, at 365-366.
      •   A reduced-form price equation “is not typically interpreted as an inverse demand equation, but rather a
          reduced form model for price. Consequently, there may be no economic basis for the assumption that the
          quantity and unexplained price deviations are negatively related.” McCrary, Justin, and Daniel L.
          Rubinfeld, 2014, Measuring Benchmark Dames in Antitrust Litigation, Journal of Econometric Methods,
          3(1), 63-74, at 66.
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also limited the CDT after-cartel period to an end-date of 2008Q4 since there is evidence that by
the end of 2008 Chunghwa was the primary CDT manufacturer.307,308
The regressions result in estimates of overcharges to direct buyers of CDTs of 25.0% prior to the
LCD cartel investigation becoming public and 12.3% after and an overcharge of 9.5% to direct
purchasers of CPTs prior to the LCD cartel investigation becoming public and 3.2% after.
These overcharge rates are consistent with economic theory applied to the case evidence that
Defendants organized and participated in a long-standing cartel despite the substantial costs and
risks of doing so.309 As expected, the pre-LCD investigation overcharges are higher than the
post-investigation overcharges, and the two are statistically significantly different.310 Moreover,
these results are within the typical cartel overcharges range estimated in scholarly empirical
research on the topic.311
In addition to fitting with economic theory and being consistent with other studies of cartel
overcharges, my model provides a good statistical fit to the data and the results are statistically
significant. See Exhibit 65 for the regression results.
As additional sensitivity checks I consider what happens when:

306
  See, e.g., “And glass bulb price was increased from 2Q. 2. So, we believe that price can be increased from 3Q. 3.
But, TV & DSP [display or monitor] market are quite different, the action must be taken very carefully. So we
would like to suggest Guideline of price and timing expected be decided on the meeting of Apr. 15. Finally, CPT
maker need to have a meeting to discuss detailed action plan to increase the price from 3Q in the beginning of May.”
Chunghwa Picture Tubes, LTD, 09 April 1999, Visitation Report, Subject: 14", 20", 21" CPT Respective Makers’
Recent Status and Price Opinion Review, CHU00028606 - CHU00028608, at 8608.01E.
307
   Although Samsung’s produced CDT sales data ends after 2007Q4 and LPD’s after 2008Q2, there is evidence that
both companies continued selling CDTs through late 2008. See, e.g.,
      •   Samsung 30(b)(6) deposition testimony that the company produced and sold CDTs through 2008. Samsung
          SDI 30(b)(6) Deposition of Jaein Lee, Vol. II, 07 June 2012, p. 176.
      •   Actual sales through September 2008 are reported in A.A.M. Deterink, 20 November 2008, Trustee's Sixth
          Report in the bankruptcy of LG.Philips Displays Holding B.V. and LG.Philips Displays Netherlands B.V.
          and LG.Philips Displays Investment B.V., p. 11,
          http://deterinklive.com/nl/publicaties/faillissementsverslagen/l/, accessed 12 July 2012.
308
   As I discuss below, my overcharge estimate is robust to extending the CDT after-cartel period to 2010Q4, the
same period I use for CPTs.
309
   “[T]he underlying economic theory provides a vital check” of a regression model. Pindyck, Robert S. and Daniel
L. Rubinfeld, 2005, Microeconomics: Sixth Edition, Prentice Hall: Upper Saddle River, at 679.
In the present case, economic theory predicts that “Only if a cartel is expected to raise the price above the noncartel
price and keep it high do firms join. [Accompanying footnote:] If the noncartel price is close to the cartel price, then
firms may not believe that joining the cartel is profitable given the legal liability they potentially face from
belonging to the cartel.” Carlton, Dennis W. and Jeffrey M. Perloff, 2005, Modern Industrial Organization, Fourth
Edition, Person Addison Wesley, at 131.
310
  I used an F-test to test the hypothesis that the coefficients for the first and second direct overcharge coefficients
were equal. For both CPTs and CDTs, this hypothesis was rejected with a p-value of 0.00.
311
   Connor and Landes (2012) find that the median overcharge in scholarly studies of 1,517 estimates of cartel
overcharges is 23.3% over all time periods and cartels and is higher, at 30.0%, for international cartels. Connor,
John M. and Robert H. Lande, 2012, Cartels as Rational Business Strategy: Crime Pays, Cardozo Law Review Vol.
34, 427-490, p. 456. http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1917657, accessed 02 April 2014.
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    •   I include CDT sales occurring after 2008;
    •   I remove the squared demand terms (unemployment and LCD revenue share);
    •   I use lagged glass costs and demand variables instead of contemporaneous glass costs and
        demand variables;
    •   I end the cartel period at the announcement of the LCD investigation; and
    •   I maintain the cartel period from the Complaint but force the overcharge rate to be the
        same throughout the period.
For each sensitivity analysis the overcharge remains positive and significant for both CDTs and
CPTs. The results of my sensitivity analyses are included in Exhibit 65.

        C. Reliable application of widely-accepted economic principles and methods to the
        facts and data of the case yields a 25.0% overcharge for CDTs and a 9.5% direct
        overcharge for CPTs
Absent the availability of observations on but-for world CRT prices, I used regression analysis
based on generally-accepted economic principles and methods applied to Defendants’ CRT sales
data, data on CRT supply and demand factors, and Defendant conduct to obtain a measure of the
overcharge rate imposed on direct purchasers. The application of economically valid principles
and methods in a manner consistent with practices in the field of economics to the case facts and
data indicates that the cartel resulted in CDT overcharges of 25.0% for 1995Q2 to 2006Q4 and
12.3% for 2007Q1 to 2007Q4 and overcharges of 9.5% and 3.2% on CPTs.

X. Calculating the pass-through rate
In Section VIII.B I established that at least some portion of the overcharge to direct purchasers
was passed through to class members, which is sufficient to establish that the cartel injured class
members. In order to calculate damages to class members, I estimated of the extent to which the
overcharge was passed through to class members (that is, I measured the extent to which changes
in the price of CRTs translate into changes in the price for CRT monitors and TVs). Below I
describe evidence (data) and a method to estimate the pass-through rate.

         A. Data used to estimate pass-through
The data used for the econometric studies of pass-through included the prices at which CRTs and
CRT products were bought and sold throughout the distribution channel. Ideally one would be
able to isolate the change in price resulting from the cartel’s behavior. This would require that
prices rise on the first day of the cartel to the cartel level and fall on the last day of the cartel to
the but-for level, while all else is held constant. These conditions, however, do not hold. I
therefore based my estimate of the pass-through rate on observations on how firms set price
based on cost; these data provided a reasonable proxy for how retail prices to class members
would change in the face of cartel overcharges.
The data I used to measure pass-through contained a variety of ordinary cost and price levels and
cost and price changes faced by CRT resellers. For each data set, I used all the usable data.
Because these data are for all sales from a given reseller for a particular point in time, the data
are likely to include cost changes that apply to all resellers and some that do not, cost changes
both large and small, and cost changes both temporary and non-transitory. As I described in
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Section VIII.B.1.b), cost changes are more likely to be passed through the more of the industry
that faces the cost change, the larger the cost change, and the longer the cost change is expected
to last. The data I employ for my studies provide a conservative estimate of the pass-through
rate. That is, small, temporary, and firm-specific cost changes are less likely to be passed-
through; therefore, including these observations in the pass-through studies will yield
conservative estimates of the pass-through coefficient. Even though these data contain all types
of cost changes, they can still be used as a basis for an economically meaningful measure of the
pass-through rate.
To obtain an economically reasonable estimate of the pass-through rate, it is neither feasible nor
necessary to measure pass-through for every individual firm in the distribution channel. There
are many firms that participate in the production and distribution of CRT products, and not all of
them maintain the data necessary to measure pass-through. Many resellers are located outside the
U.S. and I understand are not obligated to respond to Plaintiffs’ subpoenas requesting data. Some
resellers no longer exist, nor do data on their past sales. One can calculate pass-through on an
economically sound basis by obtaining data from a sample of the firms in the distribution
channel, which is the approach that I used. At my direction and that of my staff, Plaintiffs’
counsel has subpoenaed a range of different types of firms (e.g., “big box” stores, online
retailers) operating at all levels of the distribution channel (e.g., product manufacturers,
retailers), selling all types of at-issue CRT monitors and TVs. Using these third-party data
produced in response to Plaintiffs’ subpoenas, as well as other data produced by Defendants or
plaintiffs in other, related cases, I have completed a considerable number of pass-through studies
using data that represent the pricing decisions made by the various types of CRT resellers
operating throughout the distribution channel. I understand that discovery does not close until
September 5, 2014,312 and I reserve the right to supplement my analysis as new data becomes
available.
In order to use regression analysis, the data must include variations in price and in cost.313 There
are two types of data variation I can use: variations over time and variations over the cross-
sectional unit; one can estimate pass-through using data containing either, or both, type of
variation.
Data containing variations over time allow me to observe the sale of a specific CRT at different
points in time. Data containing cross-sectional variation allow me to observe, for example,
monitors containing different CRTs sold by the same retailer at a given point in time. If there is
variation in the cost of the CRT, either over time for the same product or over different products,
I could estimate the pass-through rate. Because both of these types of data can provide the
necessary information to estimate pass-through, ignoring either type results in a pass-through
estimate that is not based on all the available evidence in this matter.
Time series data control for differences in the cross-sectional unit. That is, in looking at the same
product sold at the same outlet over time, I do not have to contend with differences in products

312
   03 January 2014, Stipulation and Order Regarding Scheduling, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division), at 2
313
   In other words, knowing only that a product sells for $100 and costs $50 is not informative of the pass-through
rate, even if one observes that same combination of cost and price over time, suppliers, and/or buyers. These
hypothetical data simply show that the price of the product is twice as large as the cost; there is no variation in cost
or price from which one could draw meaningful conclusions regarding the impact of cost changes on price.
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and/or outlets that may also impact price. However, when observing changes in prices and costs
over time, not only is the cost changing, but other factors are changing too, such as the quality of
the product relative to other available products.314
In contrast, cross-sectional data control for changes over time, such as the relative quality of the
product, which may impact price. However, when observing multiple products or a product sold
at multiple outlets at a single point in time, there may be differences across products and/or
across outlets that may have an impact on price as well as on cost. For example, the same TV
model will be more expensive at a local electronics store with knowledgeable salespeople and
extensive displays than the same TV at Costco, which has minimal sales assistance and minimal
displays.315
As a third alternative, economists often use what is referred to as panel data, which contain
variation across time and across a cross-sectional unit.
Typically an economist will use whatever data are available, specifying the regression to the
specific characteristics of the data available. For example, if one uses cross-sectional units, one
can include variables to control for differences in cross-sectional units, and if one uses time-
series data, one can include variables to control for changes that take place over time.
When estimating the pass-through rate, one should make use of all the available types of
evidence and all of these types of data provide insight regarding how firms will pass-through
cost changes. In my studies, I followed this strategy. That is, I used whatever data were
available, whether they have cross-sectional variation, time-series variation, or both, and control
for other effects as appropriate.

             B. Econometric design

                 1. The basic pass-through regression
The pass-through rate can be estimated by regressing the price of the CRT product on the cost of
the CRT.316 Mathematically, the regression equation for these studies can be represented by



314
      See, e.g.,
       •




       •    Another spreadsheet tracking the average street prices for CRT TV categories shows that only regular,
            round, standard definition CRT TVs were available in 1998. Beginning in 1999 and 2000, flat screen CRT
            TVs were introduced, and in 2002 wide screen, flat screen, high-definition ready TVs were being produced.
            Matsushita Display Devices (America), Undated, Price Spreadsheet, MTPD-0086013.
315
  For example, in July 2005, Costco sold Philips 27PT543S televisions for $180, while Best Buy sold the same
model for $220. Chunghwa Picture Tubes and LTD, 20 September 2005, TV Price Summary, CHU00303245.
316
    The approach of regressing price on cost to estimate the pass-through rate is commonly used in the academic
literature. See, e.g.,
            •      Doyle, Maura P., July 1997, The Effects of Interest Rates and Taxes on New Car Prices, Board of
                   Governors of the Federal Reserve System Finance and Economics Discussion Series 1997-38.
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                                      price = α + β cost + ε or p = α + β c + ε,
where p is the price of the CRT product, c is the cost of the CRT, and ε represents the error term.
In this equation, the pass-through rate, which is equal to the derivative ∂p/∂c, is equal to β; that
is, the coefficient on the cost variable gives the pass-through rate.
The regression can be used to estimate the pass-through rate for the entire distribution channel or
a portion of it. In either case, the price paid by the downstream purchaser (which could be a
product manufacturer, a distributor, a reseller, or an end customer) for whatever item the
downstream purchaser buys (it could be a CRT or it could be a product containing a CRT) is
regressed on the upstream cost of either the CRT or the CRT product. In each case, the
coefficient (β in the equation above) on the upstream cost variable gives the pass-through rate.
In the regressions as applied to the CRT industry, the cost variable that is used generally captures
the majority of the cost of the item that is being sold. For example, when a firm is a product
distributor or a retailer, the cost included in the regression is the entire cost of the CRT product,
be it a monitor or TV. When a firm is a product manufacturer, the cost included is the cost of the
CRT,317 which is a substantial portion of the cost of both TV and monitors.318


            •      Stennek, Johan and Frank Verboven, 03 May 2001, Merger Control and Enterprise Competitiveness -
                   Empirical Analysis and Policy Recommendations, Research Institute of Industrial Economics Working
                   Paper No. 556.
            •      See also footnote 334.
317
  The cost data provided by some product manufactures included the cost for the complete finished CRT product.
This is likely due to the fact that some product manufactures outsource the manufacturing of some products.
318
      See, e.g.,
       •    CRT TVs:
                   o   The CRT accounts for approximately 50% of the total value of the components in a finished
                       television. U.S. International Trade Commission, May 1995, Industry Trade Summary: Television
                       Picture Tubes and Other Cathode-Ray Tubes, USITC Publication 2877,
                       http://www.usitc.gov/publications/docs/pubs/industry_trade_summaries/PUB2877/PUB2877.PDF,
                       accessed 15 March 2012, at 1.
                   o




                   o   Toshiba testified that CRTs account for approximately 60%-65% of the total value of the
                       components in a finished CRT TV. 01 August 2012, Deposition of Toshiba Corporation and
                       Toshiba America Consumer Products 30(b)(6) Witness Yoshiaki Uchiyama (Hereinafter “Toshiba
                       30(b)(6) Deposition of Yoshiaki Uchiyama, 01 August 2012”), at 38:10-17 and 39:9.
                   o   DisplaySearch data covering 2006Q1 through 2008Q1show that the CRT accounts for
                       approximately 52% of the total value of the components in finished 21-22" CRT TVs; 66% of 25-
                       29" TVs; and 70% of 30-34" TVs. DisplaySearch, April 2008, Quarterly CRT TV Cost & Price
                       Forecast Model Report, Q1'08 History with Q2'08-Q4'12 Forecasts, SDCRT-0002416.
       •    CRT Monitors:
                   o   Hitachi testified that CRTs account for approximately 45% to 55% of the total value of the
                       components in a finished monitor. 12 July 2012, Deposition of Hitachi, Ltd. 30(b)(6) Witness
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                   2. Other determinants of price
Price and cost are the necessary variables for the calculation of the pass-through rate, but it is
likely that product characteristics (e.g., screen size) have an impact on the price level. I included
variables to control for different product characteristics to the extent possible given the data. The
variety and detail of each dataset determine which characteristics can be reliably controlled for in
each study. I estimated separate regressions for each application and, whenever possible,
controlled for the following product attributes: screen size, CRT manufacturer, resolution, high
definition, and flat screen.319 These product attributes were selected based on industry
documents, which commonly classified products using these criteria.320
Including additional regressors in the analyses does not affect the interpretation of the coefficient
on the cost variable as the pass-through rate; rather, the inclusion of these additional regressors is
a variation on the same method of regressing downstream price on upstream cost. The purpose of
adding additional regressors is to account for the unique characteristics inherent in each dataset.
As stated above, I controlled for the same product attributes whenever the data allowed;
however, not all datasets contained identical information on CRTs or CRT products.321

                  3. Is the entire overcharge passed through?
Because the distribution channel is highly competitive, I expect to find that pass-through is close
to 100%, for the reasons described in Section VIII.B.2. Therefore I tested whether, in each
econometric study, the estimated pass-through rate is statistically significantly different than




                   Yasu Hisa Takeda, Volume I (Hereinafter “Hitachi 30(b)(6) Deposition of Yasu Hisa Takeda, Vol.
                   I, 12 July 2012”), at 11:21-12:2.
               o




319
   Not all datasets provide sufficient detail to control for these attributes. Some datasets provide additional
information, allowing me to control for additional attributes including, but not limited to, the presence of the
following: VCR or DVD TV combinations, wide screen, HD-ready, picture-in-picture, and re-
manufactured/refurbished products.
320
   Although there are other product characteristics, application, size, resolution, and manufacturer are the
characteristics commonly used to differentiate CRTs.
      •   A DisplaySearch spreadsheet lists CRT televisions and their characteristics, including size, manufacturer,
          resolution/high definition, aspect ratio, and CRT technology (including whether it is a flat screen CRT).
          Chunghwa Picture Tubes, LTD, 20 September 2005, TV Price Summary, CHU00303245.
      •   In the cartel meeting notes, Defendants routinely refer to application, size, finish, and manufacturer when
          discussing CRTs. See Exhibit 1.
321
   For example, some of the datasets I employed are for CRT TVs and contain information on whether the product
contained a built-in VCR or DVD player, whereas other datasets contain only sales for CRT monitors. With TVs, it
makes sense to control for VCR/DVD combo; with monitors, it does not.
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100%.322 For those studies with results that are statistically significantly different from 100%, I
then tested whether or not they were statistically significantly less than or greater than 100%.323
As I explained in Section VIII.B.2.a) when distribution firms operate in a perfectly competitive
industry with constant costs, the theoretical pass-through rate is 100%. Because the distribution
firms operate in a highly, but not perfectly, competitive industry, the pass-through rate calculated
from the data may be greater than or less than 100%.

          C. Summary of econometric estimates of pass-through
I conducted 62 empirical pass-through studies to calculate pass-through rates by application; that
is, I calculated separate pass-through rates for monitor tubes (CDTs), TV tubes (CPTs),
monitors, and TVs. I used data produced by Defendants as well as resellers of CRTs or CRT
products and market research firms. Some of the data were actual transaction-level data or based
on transaction-level data, meaning they represented the actual amount paid by the purchaser,
while some of these data were price lists or price guidelines from which actual transaction prices
were derived.

                   1. Wal-Mart
To illustrate the method used to calculate the pass-through rate and to demonstrate the usefulness
of different types of data, I describe in detail three pass-through studies using different data
sources for sales of CRT products at Wal-Mart. The datasets I used each contain purchases and
sales of CRT products by Wal-Mart: two of the datasets were produced by Wal-Mart324 and one
was produced by Sanyo, one of Wal-Mart’s suppliers. These files include different cost and price
variables, all of which provide useful information pertaining to Wal-Mart’s pricing practices and
for measuring Wal-Mart’s pass-through rate. These studies show that various types of price and
cost data can be combined to measure pass-through.325

322
   To test whether or not the pass-through rate is statistically significantly different from 100%, I used a Wald test
and a significance level of 10%. Wooldridge, Jeffrey M., 2000, Introductory Econometrics, South-Western College
Publishing, at 116-133.
323
   Before testing whether the estimated pass-through rate is equal to or different from 100%, I determined whether
the data are homoskedastic (which means the error term of the regression has a constant variance). If not, I estimated
the regression using White’s robust standard errors. See, e.g.,
      •   Wooldridge, Jeffrey M., 2000, Introductory Econometrics, South-Western College Publishing, at 248-249.
      •   Breusch, T.S., and A.R. Pagan, September 1979, A Simple Test for Heteroskedasticity and Random
          Coefficient Variation, Econometrica, Vol. 47, 1287-1294.
      •   White, Hal, 1980, A Heteroskedasticity-Consistent Covariance Matrix Estimator and a Direct Test for
          Heteroskedasticity, Econometrica, Vol. 48, 817-838.
324
   Wal-Mart also produced data for sales through Sam’s Club. I completed two studies using the Sam’s Club data,
which are reported in Section X.C.2 and Exhibits 62 and 63. The results of the Sam’s Club studies are consistent
with the Wal-Mart study results.
325
   In some data sets the cost and price of the items sold in each individual transaction are provided; I refer to these
datasets as having matched costs and prices. In these data, the cost that accompanies any given sale price is known.
For other data, it is necessary to match the appropriate cost with the appropriate price for each observation. For
example, many firms provided purchase data containing product costs in one dataset and provided sales data
containing product prices in a different dataset. In these instances, it was necessary to match these data, ideally by
each individual product and date.
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The files that were used for these studies, which were provided by Wal-Mart, included actual
transaction-level cost and prices as well as Wal-Mart’s retail prices at the time it purchased
products. I also used price lists provided by Sanyo for sales of CRT products to Wal-Mart.
Transaction-level data in theory record the actual amount paid by purchasers, but these data often
include extraneous information that may not accurately represent the price of an item for some
transactions.326 Price lists or suggested retail prices may not reflect the actual amount a customer
paid for an item, but they do provide a starting point for any price negotiations, discounts, etc.,
all of which are informative of a seller’s pricing practices.
In the first study, I used TV purchasing data produced by Wal-Mart. These data included Wal-
Mart’s weekly cost for each item,327 and a “Retail Amount” variable, which is a measure of the
retail price for each item.328 The data were in a form in which the cost and price variables were
already matched. I regressed the retail price on the cost for the TV, controlling for size and other
product characteristics (manufacturer, high-definition, and TV-VCR combo). Using these data, I
calculated a 110% pass-through rate. The interpretation of these results is that when Wal-Mart’s
cost for TVs increased by $1.00, the Wal-Mart increased the price it charged its customers
increases by $1.10.
In the second study, I used the same purchasing cost data, but I matched these costs to the daily
sales data produced by Wal-Mart; that is, I used price data based on store-level transactions.329 In
order to combine the data from these two sources, I calculated average weekly per-unit costs for
each product, which I then matched with Wal-Mart’s daily sales data. As before, I regressed the
price on the cost for each item, controlling for size and other product characteristics
(manufacturer, high-definition, TV-VCR combo, and month). Using these data, I calculated a

326
    For example, a retail customer may have store credit which may be applied to the purchase price of an item. Also,
it is not uncommon to observe a sales price of one cent in transaction-level data for various reasons (e.g., exchanges
for defective products) but these transaction amounts are not indicative of the actual price of the item. There are
many other scenarios which may distort the prices recorded in these transaction level data.
327
      See, e.g.,
       •    Wal-Mart produced weekly purchase data covering 11 October 2008 through 13 August 2010. Fields
            include the year-week, the week’s beginning and ending dates, item number, item description, UPC
            (Universal Product Code, a unique product identifier), UPC description, vendor name and number, the
            gross purchase quantity, the gross purchase cost, and the gross retail (price) amount. Wal-Mart, 2010,
            Walmart and Sams Select Gross Ships Report 102008-102010, <<Walmart and Sams Select Gross Ships
            Report 102008-102010 LR35847.xls>>.
       •    Wal-Mart produced additional weekly purchase data covering the 21st week of 2001 through the 34th week
            of 2008; these data were disaggregated by store. Fields include the store number, vendor name and number,
            item description, item number, year-week variable, per-unit retail (price) amount, per-unit purchase cost,
            and purchase quantity. Wal-Mart, 2010, Sams and WMT Selected Gross Ships Report LR35989, <<Sams
            and WMT Selected Gross Ships Report LR35989 (1).xls>>.
328
   Per an e-mail sent by Brian Hennelly to Brian Umpierre on 11 September 2013, the price variable in Wal-Mart’s
purchase data (named Gross Ship Retail $) “is calculated on the basis of the retail price at the time the product was
received at the store.” Hennelly, Brian, 12 September 2013, E-mail, Subject: Fwd: In re Cathode Ray Tube (CRT)
Antitrust Litig., Case No. 07-5944 (N.D. Cal.).
329
  Wal-Mart produced daily sales data for selected stores beginning on 14 January 1995 and ending on 6 October
2010. Fields include the date, the store number, the item number, item description, UPC, UPC description, vendor
name and number, sales quantity, and sales amount in dollars. Wal-Mart, 2010, Walmart and Sams Selected Sales
Report, <<Walmart and Sams Selected CRT Sales Report LR35846.xls>>.
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106% pass-through rate. The interpretation of these results is that when Wal-Mart’s cost for TVs
increased by $1.00, Wal-Mart increased the price it charged its customers by $1.06.
In the third study, I used annual price lists provided by Sanyo for TVs sold from Sanyo
Manufacturing Corporation to Wal-Mart between 1995 and 2007.330 These data included an
“FOB Cost” variable which represented Wal-Mart’s cost to purchase products from Sanyo; these
costs were already matched to the Wal-Mart suggested retail price. I regressed Wal-Mart’s
suggested retail price on Wal-Mart’s FOB Cost controlling for the size of the TV and other
features (flat screen, wide screen, HDTV, and picture-in-picture). Using these data, I calculated a
116% pass-through rate. The interpretation of these results is that when Wal-Mart’s cost for TVs
increased by $1.00, Wal-Mart increased the price it charges its customers increases by $1.16.331
While each of these studies used different data representing the cost and price at which Wal-Mart
purchases and sells CRT products, these data all illustrate the pricing behavior of Wal-Mart. By
analyzing these various data sources, I showed that Wal-Mart passed through cost increases to its
customers at a rate over 100%. This conclusion holds whether one examines data on suggested
retail prices, wholesale list prices, or actual transaction data.332 Additionally, I have completed
two additional studies, one top-to-bottom study and one top-and-bottom study, both of which
used data provided by Sanyo involving products sold at Wal-Mart and likewise yield consistent
results; see Section X.C.2 below.

                   2. Other studies
In addition to the Wal-Mart studies discussed above, I conducted 59 additional pass-through
studies, which fall into three general categories: those that measure pass-through over the entire
distribution channel, those that measure pass-through over multiple levels of distribution, and
those that measure pass-through for an individual level of distribution.



330
   This file contained prices and costs for Sanyo televisions sold through Wal-Mart. There was a separate price list
for each year, beginning in 1995 and ending in 2007. Generally, each year contained Wal-Mart’s model number, the
suggested retail price at which Wal-Mart listed the product, the percent mark-up, Wal-Mart’s FOB costs, an
“effective date” on which price changes took effect, and a column for notes and comments about the price change.
Some pages also contain a Wal-Mart item number (Wal-Mart’s in-house SKU) and a group description that specifies
the size of the TV as well as some other characteristics. Sanyo, 04 March 2011, CRT Pricing Info (1995-2007),
<<CRT Pricing Info (1995-2007).PDF>>.
331
   I was also able to conduct a Sanyo product manufacturer pass-through study using these data and other data
produced by Sanyo. I matched Sanyo’s tube purchase data with FOB costs for Sanyo finished CRT products from
Wal-Mart’s price list, finding a pass-through rate of 150%.
332
   Similarly, I conducted multiple studies for Dell and Target that use different measures of costs and prices in each,
yet yield similar results:
      •   Dell provided different datasets with two different measures of cost: one is purchase data with actual
          procurement costs, and the other is an accounting cost measure. In a letter from Rodney Ganske, Dell states
          that the accounting cost measure (a variable named total_cost_usd) “represents the measure of Cost Dell
          paid for the related SKU item in an order during the time period of sale.” Ganske, Rodney J., 22 May 2013,
          Letter, Re: Dell CRT Data Questions, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States
          District Court Northern District of California San Francisco Division).
      •   Target provided data with two different measures of price: one is a suggested price and the other is based
          on actual transactional prices.
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As described in Section X.B, there are two approaches for estimating pass-through over the
entire channel: by looking at the relationship between costs at the top of the distribution chain
and prices at the bottom of the distribution chain (which I call the top-and-bottom approach) and
by estimating the pass-through rate at each level of the distribution chain and then multiplying
them (which I call the top-to-bottom approach). The top-and-bottom approach directly calculates
the pass-through rate over the entire distribution channel, which I refer to as the channel-length
pass-through rate.
The top-to-bottom approach calculates separate pass-through rates for individual levels of the
distribution channel; the channel-length pass-through rate is obtained by multiplying all of the
pass-through rates for the individual levels. For example, consider the following distribution
chain in which tube manufacturer A sells tubes to tube distributor B. Tube distributor B then
resells the tubes to finished product manufacturer C to manufacture CRT TVs. Product
distributor D then buys those TVs from finished product manufacturer C and sells them to
retailer D. Retailer D, in turn, sells them to end users. This example has four levels of
distribution (tube distributor, finished product manufacturer, finished product distributor, and
retailer) and I can calculate a separate pass-through rate for each. If the individual pass-through
rates are 115% for tube distributor A, 109% for finished product manufacturer B, 100% for
finished product distributor C, and 104% for retailer D, then the channel-length rate is 120%.
The cumulative pass-through rate can be calculated by multiplying the pass-through rates at each
level: 115% × 109 % × 100% × 104% = 130%. See Exhibit 66.
The top-and bottom approach calculates a single pass-through rate over the entire distribution
channel by using data at the top of the channel on tube prices and data at the bottom of the
channel on retail prices paid by end users for monitors or TVs that include a CRT. For example,
a tube manufacturer initially increases the price of a tube by $1.00 and in response a retailer
selling finished TVs that use those same tubes increases its price by $1.20, the channel-length
pass-through rate is 120%. See Exhibit 67.
Both of these approaches were implemented using the same initial cost data, i.e., CRT prices
charged by Defendants to direct purchasers at the top of the channel; however, different data
were used at the bottom of the channel. The top-and-bottom approach used retail or “street”
prices for products being sold to end-users as the downstream price.333,334 The top-to-bottom

333
   The top-and-bottom approach does not use data from intermediate resellers. The pass-through rates of
intermediate resellers are subsumed within the analysis. This approach estimates a single pass-through coefficient
for the entire distribution channel.
334
   Estimating the pass-through rate for an entire distribution chain by looking at the prices at the top and bottom of
the distribution chain is common in the peer-reviewed, published, scholarly economic literature. See, e.g.,
      •   Aaronson, Daniel, February 2001, Price Pass-through and the Minimum Wage, The Review of Economics
          and Statistics, Vol. 83(1), 158-169.
      •   Gron, Anne and Deborah Swenson, May 2000, Cost Pass-Through in the U.S. Automobile Market, The
          Review of Economics and Statistics, Vol. 82(2), 316-324.
      •   Kadiyali, Vrinda, 1997, Exchange Rate Pass-through for Strategic Pricing and Advertising: An Empirical
          Analysis of the U.S. Photographic Film Industry, Journal of International Economics, Vol. 43, 437-461.
      •   Karp, Larry S. and Jeffrey M. Perloff, March 1989, Estimating Market Structure and Tax Incidence: The
          Japanese Television Market, The Journal of Industrial Economics, Vol. 37(3), 225- 239.
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approach incorporated data from multiple levels of the channel including as many intermediate
resellers as necessary to trace specific products through the entire distribution chain from the
CRT manufacturer to the end customer.335
I conducted three top-and-bottom studies, each of which span the entire distribution channel:
       •    For the first study, I used data on Sanyo’s purchase of tubes from Defendants at the top of
            the channel matched to Wal-Mart’s price list containing the retail prices for Sanyo
            finished CRT products sold in Wal-Mart stores. I calculated a pass-through rate of 185%;
            see Exhibit 68.
       •    For the second study, I used tube sales data from Panasonic at the top of the channel
            matched to TV sales data from Bestbuy.com at the bottom of the channel. The
            Bestbuy.com data were limited to Panasonic-brand finished products, which were likely
            to contain Panasonic tubes.336 Panasonic’s tube sales data were aggregated by month,
            size, shape (round or flat screen), and aspect ratio. These data were matched to
            Bestbuy.com’s transaction-level retail sales data by month, size, shape, and aspect ratio.
            Controlling for screen size, screen shape, integrated VCRs and DVD players, and picture-
            in-picture capabilities, I calculated a pass-through rate of 115%; see Exhibit 68.

       •    Leibtag, Ephraim, Alice Nakamura, et al., March 2007, Cost Pass-Through in the U.S. Coffee Industry,
            United States Department of Agriculture Economic Research Service Economic Research Report Number
            38.
       •    Nakamura, Emi and Dawit Zerom, August 2009, Accounting for Incomplete Pass-Through, NBER
            Working Paper 15255, http://www.nber.org/papers/w15255.
       •    Radchenko, Stanislav, 2005, Lags in the Response of Gasoline Prices to Changes in Crude Oil Prices: The
            Role of Short-Term and Long-Term Shocks, Energy Economics, Vol. 27, 573-602.
       •    Sumner, Daniel A., October 1981, Measurement of Monopoly Behavior: An Application to the Cigarette
            Industry, The Journal of Political Economy, Vol. 89(5), 1010-1019.
335
   This approach required being able to identify the customers across datasets as well as trace products across
datasets, preferably by manufacturer part number and date.
336
      See, e.g.,
       •    The vendor for all Panasonic-brand TVs in Best Buy.com’s data was Panasonic North America (PNA). See
            Best Buy, Undated, SKU List, BBYCRT000080.
       •    All finished products sold by PNA originated from its Mexican factory, referred to as PAVCA/MTNC: “Q.
            The televisions that you bought and then sold to your customers, they all came from Panasonic
            Corporation; is that correct? A. They came from MTNC, which is our factory in Mexico so... Q. Were all
            the televisions you sold manufactured in the same location? A. Yeah, they were all out of Mexico. As far
            as I know, they were all out of Mexico.” 18 July 2012, Deposition of Panasonic North America 30(b)(6)
            Witness Edwin Wolff (Hereinafter “Panasonic 30(b)(6) Deposition of Edwin Wolff, 18 July 2012”), at
            49:15 - 50:2.
       •    All TVs produced at PAVCA/MTNC were sold to PNA: “Q. Did all of the CRT TVs that PAVCA
            produced get sold to PNA? A. That is correct, for American business.” Panasonic 30(b)(6) Deposition of
            Mishiro Kimura, 19 July 2012, at 40:11 - 13.
       •    PAVCA/MTNC sourced 70% of its tubes from Panasonic: “Q. Can you give your best estimate on the
            percentage of time where the specifications were similar enough that the tubes could be substituted? A. […]
            [O]f all of the CRTs, around 70 percent came from MTPDA while around 30 percent came from Samsung
            and others.” Panasonic 30(b)(6) Deposition of Mishiro Kimura, 19 July 2012, at 93:20 - 94:6.
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      •   For the third study, I used tube sales data from Samsung at the top of the channel
          matched to TV sales data from brick-and-mortar Best Buy stores at the bottom of the
          channel. The Best Buy data were limited to Samsung-brand finished products, which are
          likely to contain Samsung tubes.337 Samsung’s tube sales data were aggregated by month,
          size, shape (round or flat screen), and aspect ratio. These data were matched to Best
          Buy’s transaction-level retail sales data by month, size, shape, and aspect ratio.
          Controlling for screen size, HDTVs, flat screens, and integrated VCRs, I calculated a
          pass-through rate of 155%; see Exhibit 68.
I have conducted two top-to-bottom studies:
      •   For the first top-to-bottom study, I used data that traced sales of CRTs through the
          following resellers: TAEC, TACP, and Costco.338 I calculated a pass-through rate of
          183%, which also spans the entire distribution channel; see Exhibit 69.
      •   For the second top-to-bottom study, I used data on Sanyo’s purchase of tubes from
          Defendants at the top of the channel. I matched these data to a price list of Sanyo
          products sold in Wal-Mart stores, which include a measure of Wal-Mart’s FOB costs for
          purchasing finished CRT products from Sanyo and Wal-Mart’s retail prices for those
          products. I calculated a pass-through rate of 176%, which spans the entire distribution
          channel; see Exhibit 69.
The second general category of studies calculated pass-through over multiple levels of
distribution, which I refer to as multi-level studies. These studies are similar to the top-to-bottom
approach in that they calculate separate pass-through rates for each individual level and the
multi-level rate is obtained by multiplying the pass-through rates for the individual levels. In the
multi-level studies I traced pass-through for specific products; that is, I was able to match
specific products across different datasets using individual product numbers. I conducted three
multi-level studies; see Exhibit 70:
      •   In the first study, I used data on sales of televisions by Philips and Best Buy. Televisions
          in this study were manufactured by Philips, sold to Best Buy, and then resold to end-
          users. Both datasets were aggregated by item number and month and matched based on
          these criteria. I calculated a pass-through rate of 139% controlling for tube size and flat
          screen.
      •   In the second study, I used data on sales of televisions by Philips and Costco. Televisions
          in this study were manufactured by Philips, sold to Costco, and then resold to end-users.
          Both datasets were aggregated by item number and month and matched based on these
          criteria. I calculated a pass-through rate of 133% controlling for tube size and flat screen.



337
   Samsung Electronics Corporation (SEC), Samsung’s finished product manufacturing subsidiary, purchased
nearly 87% of its tubes directly from Samsung tube manufacturers and Samsung sales organizations between 2001
and 2007. Approximately 79% were purchased directly from Samsung tube manufacturers. Samsung, 2007,
Samsung Electronics Corporation Tube Purchase Data 2001-2007, SEC-CRT-00000014.
338
   The data used for the tube distributor portion of this study, sales from Toshiba to TAEC, did not include
sufficient information to control for product characteristics. In order to complete this study, I controlled instead for
individual part numbers.
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       •    In the third study, I used data on sales of monitors by Envision, Ingram Micro, and PC
            Connection. Monitors in this study were manufactured by Envision, sold to Ingram
            Micro, resold to PC Connection, and then resold to end-users. Each dataset was
            aggregated by item number and week and matched based on these criteria. I calculated a
            pass-through rate of 127% controlling for tube size.
Although the multi-level studies do not calculate a pass-through rate that spans the entire
distribution channel, I can still make reasonable inferences about the channel-length rate.
Specifically, consider the Philips-Costco study in which I calculated a pass-through rate of 133%
from finished product manufacturer to end user. This study does not incorporate the tube
distributor level from which Philips purchased tubes; however, in order for the channel-length
pass-through rate to be less than 100%, the rate for the missing tube distributor level would have
to be less than 75%, which is considerably lower than any of the pass-through rates I have
calculated.
The third general category of studies calculated pass-through for a single level in the distribution
channel. I conducted two pass-through studies using data provided by a CRT distributor (two
because I calculated a separate pass-through rate for CDTs and for CPTs), eleven studies using
data provided by CRT product makers, four studies using data provided by CRT product
distributors, and 37 pass-through studies using data provided by CRT product resellers (nineteen
of these studies were for brick and mortar retailers and eighteen were for online retailers).339
Exhibit 62 lists the calculated pass-through rates and other statistical results for each of the
studies I have conducted. Exhibit 63 provides information about the firms, the data they
provided, and the specification for each of the studies I have conducted. Exhibit 71 lists the files
relied upon for each pass-through study.
Exhibits 72-74 plot the calculated pass-through rate and corresponding 95% confidence interval
for each of the studies.340 All 62 of the confidence intervals either include 100% or are wholly

339
      See, e.g.,
       •    Tube distributors: Toshiba America Electronics Corporation (TAEC).
       •    CRT product makers:
                   o   Monitors: BenQ, Envision, Philips, Tatung, Toshiba America Information Systems (TAIS), and
                       ViewSonic are monitor makers that provided data.
                   o   TVs: Funai, Philips, Sanyo, Sharp, and Toshiba America Consumer Products (TACP) are TV
                       makers that provided data.
       •    CRT product distributors: Arrow Electronics, Ingram Micro, and Tech Data.
       •    CRT product resellers:
                   o   Brick-and-mortar retailers: Best Buy, Costco, Fry’s, Kmart, Office Max, RadioShack, Sam’s Club,
                       Sears, Target, and Wal-Mart are brick-and-mortar retailers that provided data. These brick-and-
                       mortar stores have an online presence as well.
                   o   Online retailers: Amazon, Best Buy.com, Buy.com, CDW, Dell, Gateway, PC Connection, PC
                       Mall, and Zones.
340
   A 95% confidence interval is a range that is expected to contain the actual value of interest (in this case, the pass-
through rate) 95% of the time the range is estimated. Wooldridge, Jeffrey M., 2000, Introductory Econometrics: A
Modern Approach, South-Western College Publishing, at 134.
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above 100%. The 51 studies with confidence intervals wholly above 100% are the studies that
find a pass-through rate that is statistically significantly greater than 100%. The remaining eleven
studies with confidence intervals that include 100% are the studies that result in pass-through
rates that are not statistically significantly different from 100%. None of the confidence intervals
are wholly below 100%, meaning none of the studies result in a pass-through rate that is
statistically significantly less than 100%.

         D. Channel coverage
I conducted studies for all of levels of the distribution channel as described in Section VI.E. In
Exhibit 75 I summarized which segments of the distribution channel were covered with each
study. I presented five studies that measured pass-through from Defendants selling CRTs at the
top of the channel to end customers purchasing CRT products at the bottom of the channel, and I
presented three studies that measure pass-through for part of the distribution channel.
Collectively, these studies covered the entire distribution channel and portions of the distribution
channel, included both types of at-issue CRT products, and represented all the various types of
buyers and resellers operating in the distribution channel. The total number of CRTs with unique
price-cost combinations represented in these datasets was over 176 million.341 These datasets
included transactions beginning as early as February 1994 and continuing into November 2011.
Exhibits 76-78 summarize the time periods covered by each study.
In an effort to obtain data that included transactions typical of those made by indirect purchasers
represented in this matter, I compiled a list of third-party firms for Plaintiffs’ counsel to
subpoena for data that could be used to calculate pass-through rates; I specified the type of data
that were needed, the format, period covered, and products included. Additional data were also
provided by Defendant and Defendant-related entities through discovery. Some of the
subpoenaed firms were unable to provide the requested data and some firms produced data that
were insufficient to measure pass-through. For example, Zenith produced usable sales data, but
was unable to provide any cost or purchase data. Similarly, some Defendants were unable to
provide the data necessary to estimate pass-through and some Defendants produced data that was
not usable. For example, Hitachi America Limited (HAL) provided data for finished goods sales;
however, there is no variation in cost for each item over the entire period it was sold. In each of
these instances, my staff attempted to work through counsel with the party producing the data in
an effort to determine whether it could explain data deficiencies and/or produce additional data
that would render the already produced data usable.

        E. Summary: The pass-through rate is at least 100%
Based on economic theory and the results of the 62 econometric studies, I conclude that any
overcharges were passed through to consumers at a rate of at least 100%. Of those studies, 51
found a pass-through rate statistically greater than 100% and eleven found a pass-through rate
that was not statistically significantly different from 100%.

XI.     Damages to class members are $3.076 billion


341
   This number excludes tubes from the multi-level, top-and-bottom, and top-to-bottom studies. The total number of
tubes including those datasets was over 191 million.
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To calculate the damages that class members suffered as a result of the conspiracy, I multiplied
the revenues received by Defendants and Co-conspirators from sales to class members by the
overcharge and pass-through rates. The relevant CRT revenues are those that ultimately derive
from class members’ purchases of monitors and TVs containing CRTs.

        A. Global CRT revenues
I began by estimating total global revenues for sales of CRTs by all manufacturers, including
Defendants, Co-conspirators, and other manufacturers. The transaction data produced by
Defendants are insufficient to estimate Defendants’ global revenues. In particular, some
Defendants have not produced any data342 and other Defendants have produced data that do not
cover all shipments of CRTs.343 I therefore estimated global CRT revenues by obtaining
estimates of global CRT unit shipments from market research firms, which I then multiplied by
average wholesale CRT prices based on data produced by Defendants.344 I estimated shipments,
prices, and hence revenues separately for different sizes of CPTs (color picture tubes, the type of
CRTs that are incorporated into TVs) and CDTs (color display tubes, the type of CRTs that are
incorporated into computer monitors).345

               1. Global CPT and CDT unit shipments by size and manufacturer
I used data from Defendants’ internal documents detailing estimates of global sales to estimate
annual global CPT shipments by size and manufacturer.346 I used similar documents,
supplemented by NPD DisplaySearch reports,347 to estimate annual global CDT shipments by
size and manufacturer.348 Some of the data are disaggregated by size and manufacturer in their

342
  Irico, Mitsubishi, Orion, Samtel, Thai-CRT, and Thomson/Videocon have not produced CRT sales data. See
Section IX.B for further discussion on Defendant data production.
343
   Some Defendants have not produced CRT sales data for one or more subsidiaries, e.g., Hitachi Singapore and
Hitachi Malaysia. Other Defendant sales data are missing data for significant periods of time, e.g., the HEDUS data
are missing the years 1995-1997 and the Philips data are incomplete for the years 1993-1999Q1 and absent
completely for the time between 1999Q2 and the beginning of the LG-Philips joint venture in 2001.
344
      Market research firms do not have data on global revenues.
345
   I estimated shipments and prices separately for different sizes of CPTs and CDTs. The sizes of CPTs (in inches)
are: 10, 11, 14, 15, 16, 17, 19, 20, 21, 22, 24, 25, 26, 28, 29, 32, 33, 34, 36, 37, and 38. The sizes of CDTs (in
inches) are: 10, 12, 14, 15, 16, 17, 19, 20, 21, 24, 28, 29, 32, 34 and 36.
346
      Worldwide shipments of CPTs:
       •   Hitachi Displays, 2002, Untitled Spreadsheet, HDP-CRT00019322.
       •   MT Picture Display, November 2006, Untitled Spreadsheet, MTPD-0416090, at Tab ‘Supply DB’.
347
   NPD DisplaySearch is a market research firm specializing in coverage of the display supply chain and related
industries. It counts several Defendants among its clients. See footnote 280.
348
      Worldwide shipments of CDTs:
       •   Hitachi Displays, 2002, Untitled Spreadsheet, HDP-CRT00019322.
       •   DisplaySearch, 2003, DisplaySearch Quarterly Desktop Monitor Shipment and Forecast Report Q1'03,
           CHWA00106460 - CHWA00106757.
       •   DisplaySearch, 2003, Quarterly Desktop Monitor Shipment and Forecast Report, CHWA00062147 -
           CHWA00062569.
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original form. Where they are not, I estimated the disaggregation using supplemental data from
Defendants’ internal documents and NPD DisplaySearch.
These sources did not include data for global shipments of CDTs or CPTs in 2007. I estimated
shipments in 2007 by using the data for other years to predict 2007 shipments. I used regression
analysis of CDT and CPT shipments to estimate the time trend of shipments and then applied this
trend to the 2006 data to estimate the volume of shipments in 2007.

                2. Global CPT and CDT wholesale prices by size and manufacturer
To translate shipment sales to revenues, I used Defendants’ sales data to estimate the annual
price per tube for different sizes of CPTs and CDTs; see Exhibit 64 for a list of Defendants’ sales
data sources. For each size of CDTs and CPTs, I estimated the annual price by Defendant using
each Defendant’s own sales data. For manufacturers that did not produce sales data, I set annual
prices by size equal to the average of prices as recorded in the Defendant sales data.349

                3. Global CPT and CDT revenues by size and manufacturer
I multiplied the annual global unit shipments by size and manufacturer by the corresponding
wholesale price to calculate annual total global revenues by manufacturer for each size CDT and
CPT.

                 4. Adjustment for class period
I adjusted the global CPT and CDT revenue estimates in years 1995 and 2007 to account for the
fact that the class period is March 1, 1995 through November 25, 2007. For each of these years, I
multiplied global revenue estimates by the fraction of the year that is included in the class period.

        B. Defendants’ and Co-conspirators’ global CRT revenues
Defendants and Co-conspirators accounted for a substantial majority of global CRT sales during
the class period, but other firms produced CRTs as well. To estimate Defendants’ and Co-
conspirators’ global CRT revenues during the damages period, I estimated annual global market
shares by tube manufacturer. I then multiplied the market share by annual global revenues to
arrive at global revenues for each Defendant and Co-conspirator.




       •   DisplaySearch, 07 July 2005, Q2'05 Quarterly Desktop Monitor Shipment and Forecast Report,
           CHWA00088192 - CHWA00088762.
       •   DisplaySearch, 30 September 2005, Q3'05 Quarterly Desktop Monitor Shipment and Forecast Report,
           CHU00281352 - CHU00281923.
       •   DisplaySearch, 30 March 2007, Q1'07 Quarterly Desktop Monitor Shipment and Forecast Report,
           CHU00154037 - CHU00154420.
       •   DisplaySearch, 28 September 2007, Q3'07 Quarterly Desktop Monitor Shipment and Forecast Report,
           LGE00076321 - LGE00076707.
       •   Samsung, 11 December 2003, Worldwide CDT Manufacturer's Status, SDCRT-0201291.
       •   Undated, CDT maker sales, CHU00071226.
349
      I estimated average annual prices by size across all manufacturers by dividing total revenues by total shipments.
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To estimate market shares, I used the same data sources that I used to estimate total global CRT
shipments.350 These data contain Defendants’ shares of global shipments rather than Defendants’
share of global revenue; shipment shares differ from revenue shares to the extent that different
manufacturers sold products at different wholesale prices. In order to convert quantity shares to
revenue shares, I used average tube wholesale prices by Defendant by year, based on tube sizes
sold by each Defendant.

               1. Defendants’ and Co-conspirators’ shares of global CPT revenues
The CPT global unit shipment data include quarterly shipments by manufacturer for 1998 and
2000-2006. To estimate Defendants’ market shares for 1995-1997, I set the market share equal to
the 1998 value. To estimate Defendants’ market shares for 1999, I used the weighted average
market share for 1998 and 2000. To estimate Defendants’ market shares for 2007, I used the
share from 2006.

                2. Defendants’ and Co-conspirators’ shares of global CDT revenues
The CDT global unit shipment data include annual shipments by manufacturer for 1996-1997
and quarterly shipments by manufacturer for 1998-2003 and 2004 Q2-2006. To estimate shares
for 1995, I set each manufacturer’s market share equal to its 1996 value. For 2004 Q1, I used the
average of a firm’s 2003 Q4 and 2004 Q2 market share. To estimate market shares for 2007, I
used the share from 2006.

        C. U.S. share of Defendants’ and Co-conspirators’ global CRT revenues
Next, I estimated the share of Defendants’ and Co-conspirators’ global CRT revenues that was
attributable to sales of TVs and monitors in the U.S. Almost all of the available data on
geographic shares of global CRT sales present data on CRTs that were consumed in the U.S. as
part of sales to “NAFTA” or “North America”.351 To isolate U.S. consumption, I estimated the
share of CPTs and CDTs consumed in the U.S. and Canada by estimating consumption when
data were missing and excluding consumption in Mexico. I then excluded consumption in
Canada to arrive at estimates of the share of CRTs consumed in the U.S.
This approach to estimating the amount of Defendants’ and Co-conspirators’ CRT revenues
attributable to consumption in the U.S. assumes that the U.S. consumed the same mix of CPT
and CDT sizes and types as the rest of the world. In fact, the U.S. likely consumed a higher
proportion of larger, more expensive CRTs. For example, HDP-CRT00057341.xls contains
estimates of demand for CPT by tube size and region. NAFTA countries (U.S., Canada, and
Mexico) accounted for approximately half of demand for CPTs 30 inches or larger, but
accounted for less than 20% of demand for all CPTs in the late 1990s. These data are insufficient
to separately estimate the share of CPTs and CDTs by size that are consumed in the U.S. but they
provide evidence that my approach tends to underestimate the share of large CRTs sold to the
U.S. and overestimate the share of small CRTs sold to the U.S. The net effect should be to
underestimate total revenues attributable to the U.S., and thus leads to a conservative estimate of
the commerce affected by the CRT price-fixing cartel.


350
      See footnotes 346 and 348.
351
      NAFTA and North America both include the U.S. and Canada and, depending on the source, sometimes Mexico.
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               1. Share of CPTs consumed in the U.S.
To calculate the share of worldwide CPT production ultimately consumed in the U.S., I started
with data from two sources.352 One source includes data on the share of CRT TV sales to the
U.S., Canada, and Mexico for the years 1998-2000 and the other source includes data for the
years 2004-2007. First, I excluded sales to Canada and Mexico. I then estimated the U.S. share
for the missing years, 1995-1997 and 2001-2003.
I estimated each country’s share of North American CPT consumption by calculating its share of
nominal domestic demand measured in U.S. dollars at purchasing power parity.353 I then
excluded the share of CPT revenue attributable to sales of TVs in Canada and Mexico.
To estimate the U.S. share of CPT consumption for 1995-1997, I used the 1998 share. To
estimate the U.S. share for 2001-2003, I interpolated the missing years by assuming that the U.S.
share declines linearly from the 2000 share of 16.0% to the 2004 share of 14.9%. See Exhibit 79.

               2. Share of CDTs consumed in the U.S.
To calculate the share of worldwide CDT production ultimately consumed in the U.S., I started
with data on the share of CRT monitors sold to the U.S. and Canada from 1999-2007.354 I
excluded sales to Canada using the same method as for CPTs. I then estimated the U.S. share of
CDT consumption for the missing years (1995-1998) by setting the share in those years equal to
the share in 1999. See Exhibit 79.

        D. Elimination of government purchases
Government entities are not a part of the class; therefore, I excluded U.S. revenues that are
derived from government purchases. To calculate the share of revenues resulting from
government purchases, I used data on the breakdown of computer sales between government
entities and private consumers, which are available from the U.S. Bureau of Economic Analysis
(BEA, part of the Department of Commerce).355 Using the BEA data results in a conservative
estimate of class revenues for televisions because the government share of television purchases is
likely to be smaller than the government shares of computer purchases. See Exhibit 79.

352
      North American shares of CPTs:
       •   Data from DisplaySearch contain shipments of TVs to the U.S. and Canada for the years 2004-2010.
           DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
       •   Data from the Japanese Electronics and IT Industries Association contain shipments of CPTs to the U.S.,
           Canada, and Mexico for the years 1998-2000. Japanese Electronics and IT Industries Association, June
           2001, Worldwide CPT Demand by Area, HDP-CRT00057341.
353
   Domestic demand is the sum of consumer spending, government spending, and business spending. It is also equal
to gross domestic product (GDP) less net exports and change in inventories. I obtained the data from the OECD.
OECD.StatExtracts, Undated, National Accounts, http://stats.oecd.org/Index.aspx?DataSetCode=SNA_TABLE1,
accessed 01 October 2013.
354
      North American shares of CDTs:
       •   Data from DisplaySearch contain shipments of computer monitors to the U.S. and Canada for the years
           1999-2010. DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
355
   Bureau of Economic Analysis, 28 April 2011, Final Sales of Domestic Computers,
http://www.bea.gov/national/xls/comp-gdp.XLS, accessed 12 May 2011.
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        E. Revenues from class members
Only residents living in certain states are part of the Indirect Purchaser State Classes.356 In order
to calculate the share of Defendants’ and Co-conspirators’ non-governmental U.S. revenue that
accrues from sales in Class States, I assumed that CRT end-product sales are distributed across
states according to population. That is, I allocated the total non-governmental U.S. revenues to
class states based on population shares.357
Using this process, I estimated that, over the entire class period, 8.6%358 of Defendants’ and Co-
conspirators’ worldwide CRT revenue is attributable to indirect purchases by class members. See
Exhibit 79. This amounts to a total of $17.5 billion of revenue attributable to purchases by class
members. See Exhibit 80.

        F. Total damages
In order to calculate dollar overcharges to direct purchasers, I multiplied the total annual class
tube revenues by the annual overcharge percentages, which are discussed in Section IX. I
calculated dollar overcharges separately for each application type (CPTs and CDTs) as well as
separately for two groups of CRT manufacturers, Defendants and Co-conspirators. In order to
convert these direct purchaser dollar overcharges to the damages suffered by class members, who
are indirect purchasers, I multiplied the direct purchaser dollar overcharges by the pass-through
rate, which is discussed in Section X. I used a pass-through rate of 100%, which provides a
conservative estimate of total damages to class members since pass-through estimates are 100%
or more. The total damages estimate is $3.076 billion. See Exhibit 81.

Appendix 1: The basic economics of cartels
This discussion was previously submitted as Section V in my class certification report. It is
reproduced (with some very slight editing) here for convenience.

        A. Cartel “success” harms its customers
A cartel is a group of firms that explicitly coordinates its pricing or output activities. The
objective of a cartel is to increase cartel members’ prices and profits above the level that would
prevail in the absence of the cartel.359 Accordingly, I consider a cartel to be “successful” or
“effective” if its members are able to charge prices above those that would have prevailed absent




356
      See Section II.A.
357
   Census Bureau, Undated, 1990 to 1999 State Population Estimates,
http://www.census.gov/popest/archives/1990s/ST-99-03.txt, accessed 22 May 2009 and Census Bureau, December
2009, Population, population change and estimated components of population change: April 1, 2000 to July 1, 2009
(NST-EST2009-alldata), http://www.census.gov/popest/national/files/NST_EST2009_ALLDATA.csv, accessed 19
May 2011.
358
      Revenue-weighted average across all products and years.
359
   “In any market, firms have an incentive to coordinate their production and pricing activities to increase their
collective and individual profits by restricting market output and raising the market price. An association of firms
that explicitly coordinates its pricing or output activities is called a cartel.” Carlton, Dennis and Jeffery M. Perloff,
2005, Modern Industrial Organization, Fourth Edition, Addison-Wesley Longman, Inc., at 122.
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the cartel. I call the price that would have prevailed absent the cartel the “competitive price”360 or
the “but-for price”. A “successful” cartel, as I use the term, necessarily causes antitrust harm.
Causing price to be above the competitive level is often referred to as “raising” price; this
terminology can be confusing, especially when observed prices decline over time. The chart
below illustrates hypothetical supra-competitive prices that decline over time:
    $
  2.50


  2.00


  1.50


  1.00                                                                                   Actual price

  0.50                                                                                   Competitive price


  0.00                                                                                      Time
         0.00         0.20           0.40            0.60            0.80            1.00

The line in the chart above labeled “actual price” shows the prices that were actually charged by
the cartel; they decline over time.361 The line labeled “competitive price” shows the prices that
would have prevailed absent the cartel. The cartel overcharge is the amount by which the actual
price is above the competitive price. When I refer to the cartel “raising price”, I mean that the
price charged by cartel members is above the competitive price; equivalently, that the cartel
imposed an overcharge. As the chart above illustrates, “raising the price above the competitive
level” can occur when prices are falling over time: the price “rises” relative to the competitive
price, it does not necessarily rise over time.
Similarly, “raising price” does not necessarily result in above-normal profit. In certain
circumstances, an industry may be subject to below-normal profitability.362 In such cases, a cartel
may eke out merely normal (or even below-normal) profit. Such a cartel is nonetheless
successful if it charges a higher price than would exist absent the cartel: making a dollar of profit


360
   The “competitive price” is not to be confused with the equilibrium price in a perfectly competitive market. Most
markets are not perfectly competitive even if free of monopolizing conduct such as cartelization; the “competitive
price” is therefore not, in general, equal to the equilibrium price in a perfectly competitive market.
361
   The cause of the decline in prices is assumed for the purpose of this discussion to be unrelated to the conduct of
the cartel. For the purpose at hand, the reason for the decline is immaterial to the point under discussion. In the
actual world, prices may decline over time for many reasons unrelated to cartel conduct; for example, prices may
decline over time if costs decline over time.
362
   Profit is “normal” if firms earn a rate of return equal to their cost of capital. Long-term sub-normal profitability
can occur if industry capacity is substantially in excess of current and probable future demands, and rigidities retard
the reallocation of capital to more profitable uses. In Section VI.C.2, I show that these conditions prevailed in the
CRT industry during the proposed class period.
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at the cartel price is better than earning a dime at the competitive price. A cartel has succeeded if
the price it charges is above the competitive price.

         B. Cartel incentives: monopolization and cheating

                     1. Cartel success
If all firms in a market join a cartel, then the cartel can function like a monopolist: when cartel
members’ conduct is unified, the cartel can control the market price and output like a monopoly,
set the monopolist’s profit-maximizing price and output, and collect monopoly profits, as long as
cartel profits do not attract entry by others.363 If fewer than all of the firms in a market form a
cartel, or if entry into the market occurs, the cartel can still raise price and earn supra-competitive
profits, though not as effectively as a cartel that includes all suppliers in a market in which no
entry occurs.
To be successful, a cartel must possess market power. To illustrate, consider a hypothetical cartel
that includes all suppliers of paper clips. Consumers may be able to avoid paying cartel
overcharges for paper clips by switching to substitutes, such as binder clips and staples, if these
other products are supplied by firms outside the cartel. In that case, substitution to these other
products would prevent the hypothetical cartel from raising the price of paper clips significantly
above the competitive level. If the cartel were broadened to include all suppliers of all paper
fastening products, the cartel could prevent substitution away from paper clips to other paper
fasteners by raising the prices of all paper fastening products. Only if the cartel controls all
sufficiently good substitutes and consumers are willing to pay supra-competitive prices can a
cartel raise price above the competitive level. In sum, cartel success requires market power.
Market power is the ability to profitably raise price by restricting output.364 I illustrate this
definition with the aid of the following diagram:




363
   “A cartel that includes all firms in a market is in effect a monopoly, and the member firms share the monopoly
profits… If a few large firms make most of the sales in a market, and if they coordinate their activities, they can
raise price without involving all the other (smaller) firms in the market. For example, Spain and Italy, which
controlled 80% of the world’s production of mercury, formed a successful cartel that did not formally involve five
other producers.” Carlton, Dennis, and Jeffery M. Perloff, 2005, Modern Industrial Organization, Fourth Edition,
Addison-Wesley Longman, Inc., at 122 and 135.
364
  Areeda, Philip E., Hovenkamp, Herbert, et al., 2007, Antitrust Law: An Analysis of Antitrust Principles and
Their Application, Volume IIB, Third Edition, Aspen Publishers, at ¶501.
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                   Price
                                              D
                                                   Cartel

                                                         Competition
                      cost
                                                                     Output
In this diagram, price is on the vertical axis and output (quantity) is on the horizontal axis. The
sloping line labeled “D” is the market demand curve; it shows, for each price, the amount of
output that will be purchased by buyers. In general, buyers will purchase more output at lower
prices than at higher prices; equivalently, sellers can extract a higher price when they supply less
output. The dashed line labeled “cost” is the cost of producing additional output when output is
near the competitive level. The point labeled “Competition” shows the competitive price and the
quantity demanded at the competitive price.
If a cartel restricts output below the competitive level, it can charge a higher price because the
demand curve is downward sloping; the cartel-restricted combination of price and output is the
point on the demand curve labeled “Cartel”. The increase in cartel profit due to the restriction of
output is equal to the area shaded vertically (the increase in profit due to charging a higher price)
minus the area shaded horizontally (the reduction in profit due to lower sales).
I show that the CRT cartel possessed significant market power in Section VIII.A.2.

                       a) Restricting output causes price to rise
Because the market demand curve determines price given output (or output given price), there
are two fundamental mechanisms by which a cartel can cause price to rise. The first is to simply
set prices above the competitive level; this implicitly causes output to be below the competitive
level because buyers purchase less output at higher prices (as determined by the demand curve).
The second mechanism is to restrict output below the competitive level, which implicitly causes
price to be above the competitive level, again as determined by the demand curve. The two
mechanisms are equivalent: each causes price to rise. The CRT cartel employed both
mechanisms, price setting and output restriction through capacity restriction, to cause price to
increase.365

                        b) Output can be “restricted” even when it is growing over time
The phrase “restricting output” is subject to the same confusion as the phrase “raising price”.
Both “raising” and “restricting” in the context of a cartel refer to comparisons with the
competitive level, not to changes over time: output may be “restricted” (below the competitive
level) even though it is increasing over time, just as price can be “raised” (above the competitive
level) even when it is falling over time. A graph illustrating “restricted” output would look

365
   For example, notes of a cartel meeting say in part, “17” CDT production will stop for 5 days (25 operating days)
to adjust the actual production volume in order to maintain the price level.” Samsung SDI, May 1999, Report on the
CDT management meeting results (May of ’99), SDCRT-0086632 - SDCRT-0086633, at 6632E, emphasis added.
For a more complete description of the CRT cartel’s control of both price and output to cause price to rise, see
below at Sections VIII.A.3.b) andVIII.A.3.c).
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similar to the graph in the previous section illustrating “raised” price: it would show two lines
increasing over time; the higher of the two lines would represent the competitive level of output,
and the lower line would be below the actual level (“restricted”), despite the fact that the actual
output increases over time.

                        c) Anticompetitive harm exceeds overcharges
The harm to consumers caused by cartel overcharges is greater than simply the overcharges
themselves. As illustrated in the graph above, consumers purchase fewer units of a good at the
cartel price than the lower, competitive price. For ease of exposition, suppose that 100
consumers would have purchased one CRT product each at the competitive price, and only 90
consumers bought CRT products at the higher cartel price. Overcharge damages are the harm
caused by the cartel to the 90 consumers that bought CRT products at the cartel price. The 10
consumers that did not purchase CRT products at the cartel price were harmed by the cartel, too,
and this harm is not included in overcharge damages. They were harmed because they would
have preferred to buy a CRT product at the competitive price, but were induced by the cartel
overcharge to spend their money on other goods instead.

                   2. Cartel cheating
Even when a cartel includes all the firms in a market, it differs from a monopoly in that it is
comprised of individual firms. Each member of a cartel has two fundamental incentives. One
incentive is to cooperate with the cartel’s policies, because unity of action offers the possibility
of sharing in monopoly profits. The other incentive is to “cheat” on the cartel agreement, because
cheating increases the profits the firm earns. By cheating, a firm gains sales and higher profits in
the near term, while enjoying the protection of the cartel from unbridled price competition.366
These two incentives pull cartel members in opposite directions – to price high and to price low.
However, unless cheating is ubiquitous, cartel cheaters’ prices are still above the competitive
level. This is because the cartel members that cooperate with cartel policy provide a “price
umbrella”: buyers must pay the supra-competitive cartel target price if they don’t buy from
cheaters, so cheaters can sell at prices above the competitive level.367

                        a) Mechanisms to address cheating
Successful cartels develop ways to address members’ incentive to cheat.368 Cartel members’
incentive to cheat is constrained to some extent by their incentive to perpetuate the cartel and
share in the fruits of monopolization.369 Cartel members may monitor each other for compliance
366
  “[A]lthough it is in the cartel’s best interest for every firm to restrict output [raise price], it is in [each cartel
member’s] best interest for [every other cartel member] to restrict output [raise price].” Carlton, Dennis, and Jeffery
M. Perloff, 2005, Modern Industrial Organization, Fourth Edition, Addison-Wesley Longman, Inc., at 126.
367
  I provide a more formal explanation of why cheaters’ prices are above the competitive level in Section
VIII.A.3.b).
368
   “Sophisticated cartel organizations are also able to develop multipronged strategies to monitor one another to
deter cheating.” Levenstein, Margaret, and Valerie Suslow, March 2006, What Determines Cartel Success?, Journal
of Economic Literature, Vol. 44, 43-95, at 43.
369
   “Following George Stigler (1964), many economists assume that incentive problems undermine attempts by
firms to collude to raise prices and restrict output. But the potential profits from collusion can create a powerful
incentive as well.” Levenstein, Margaret, and Valerie Suslow, March 2006, What Determines Cartel Success?,
Journal of Economic Literature, Vol. 44, 43-95, at 43.
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with cartel policy regarding pricing and output. Cartels may establish mechanisms for punishing
cheaters, such as trigger prices: if a cartel member charges a price below the trigger price, the
cartel authorizes a price war to punish the cheater. Excess capacity may be held in order to make
credible the threat of a price war. However, price wars and holding excess capacity are expensive
for those doling out the punishment as well as for those receiving punishment.370 Empirical
studies find that cartels tend to avoid such expensive strategies by developing methods to
monitor each other, encourage cooperation, and physically prevent cheating.371
One efficient mechanism for limiting cheating is to impose restrictions in capacity, such as
temporary shut-downs of capacity. Such capacity restrictions are generally easily monitored and
commit cartel members to output restrictions, depriving them of opportunities to cheat by
limiting their ability to fill orders. Output restrictions, as noted above, cause prices to be above
competitive levels.

                       b) Cheating is not necessarily fatal to cartel success
While some cartels break up due to cheating, many cartels continue to operate in the face of
cheating.372 Moreover, cartels can survive episodes of extended price wars to re-establish supra-
competitive prices after the price war has subsided.373 Cheating may even be an integral part of a
properly functioning and successful cartel.374


370
   Moreover, there is a contrary view of the role of excess capacity in cartel members’ incentives: while holding
excess capacity makes the threat of a price war credible, it may also raise the incentive to cheat by reducing
marginal cost and thereby raising the profitability of additional sales. One theoretical study finds “support for the
conventional view that periods of low demand lead, through the emergence of excess capacity, to a breakdown of
collusive pricing… a large body of empirical evidence supports this view.” Staiger, Robert W., and Frank A. Wolak,
1992, Collusive Pricing with Capacity Constraints in the Presence of Demand Uncertainty, The RAND Journal of
Economics, Vol. 23(2), 203-220, at 203.
371
   “Although the evidence shows that cartels use a range of punishment mechanisms to deter cheating, including
both ‘price wars’ and side payments, successful cartels do not simply rely on ex post punishments. Instead, they
invest in monitoring mechanisms, such as joint sales agencies or regular reporting to one another or third parties.
Cartels much prefer to develop the means to monitor each other’s behavior in order to deter or physically prevent
cheating, rather than resorting to expensive punishments such as price wars.” “Successful cartels develop
mechanisms for sharing information, making decisions, and manipulating incentives through self-imposed carrots
and sticks.” Levenstein, Margaret, and Valerie Suslow, March 2006, What Determines Cartel Success?, Journal of
Economic Literature, Vol. 44, 43-95, at 44 and 86.
372
   “Cartels break up occasionally because of cheating or lack of effective monitoring, but the biggest challenges
cartels face are entry and adjustment of the collusive agreement in response to changing economic conditions.”
Levenstein, Margaret, and Valerie Suslow, March 2006, What Determines Cartel Success?, Journal of Economic
Literature, Vol. 44, 43-95, at 43.
373
   “The very successful bromine cartel lasted from 1885 to 1902. During its reign, the average price of bromine was
about 25 percent higher than the average in the years before the cartel’s formation. There were only three periods of
extended price wars over the cartel’s roughly 20 year life span… The pool fell apart and the price of potassium
bromide (the major bromine product) plunged 45 percent in two months.” Carlton, Dennis W., and Jeffrey M.
Perloff, 2005, Modern Industrial Organization, Fourth Edition, Pearson Addison Wesley, at 140.
374
   “Thus, we demonstrate that deliberate and unpunished price cuts and business stealing (which would appear to
observers as ‘cheating’) can be critical to the healthy functioning of a cartel.” Bernheim, B. Douglas and Erik
Madson, March 2014, Price Cutting and Business Stealing in Imperfect Cartels, NBER Working Paper Series
19993, at 6.
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                       c) Whether a cartel succeeds is an empirical question unresolvable by
                       theory or industry characteristics
Whether a cartel will succeed in increasing price above the competitive level is determined by
which of the two fundamental incentives dominates, the incentive to monopolize or the incentive
to cheat. While economic theory tells us that cartel members are subject to both incentives,
economic theory alone cannot tell us which incentive prevails in a particular situation: whether a
cartel succeeds is an empirical question. Certain industry characteristics tend to be correlated
with the presence of cartels or with cartel success, but successful cartels exist in industries with a
wide variety of characteristics.375 For example, it is often said that cartels are more likely to be
found in concentrated industries; yet successful cartels have operated in quite unconcentrated
industries.376 Whether a cartel has succeeded is therefore an empirical question that cannot be
resolved by examining the characteristics of an industry.

                   3. Vertically integrated firms profit from upstream cartels
Some members of the CRT cartel were vertically integrated; that is, in addition to making CRTs,
some cartel members made CRT TVs and/or CRT computer monitors as well.377 Vertically
integrated firms profit from a CRT cartel as do their unintegrated counterparts. For unintegrated
firms, the benefit of price-fixing is straightforward: these firms profit by selling tubes at cartel
prices rather than lower, competitive prices. Vertically integrated companies also profit by
raising the price of CRTs. Economists have studied cartels with vertically integrated firms using
sophisticated theoretical models and empirical methods. A recent paper in a prominent scholarly
economics journal studied incentives for collusion and vertical integration by firms in upstream
markets (exactly the situation in the case at hand), and found that vertical integration facilitates
collusion.378 In the model of an industry that is initially unintegrated, at least one firm will
vertically integrate in equilibrium, but integration may stop well before all firms are vertically
integrated, which helps explain “why a limited degree of vertical merger may be profitable in
industries aiming to collude. This is interesting since many industries seem to have the feature


375
   “[M]any economists assume that incentive problems undermine attempts by firms to collude to raise prices and
restrict output. But the potential profits from collusion can create a powerful incentive as well. Theory cannot tell us,
a priori, which effect will dominate: whether or when cartels succeed is thus an empirical question.” “There is
considerable variety in the type of products and industries where collusion appears.” Levenstein, Margaret, and
Valerie Suslow, March 2006, What Determines Cartel Success?, Journal of Economic Literature, Vol. 44, 43-95, at
43 and 57.
376
   “[I]ndustry concentration makes collusion easier, both by simplifying the coordination issues and by increasing
firms’ gains from collusion. But successful cartels have operated in a wide variety of industries by developing
organizations that can overcome these challenges. There are in fact many successful cartels in quite unconcentrated
industries, but they almost always rely on industry associations.” Levenstein, Margaret, and Valerie Suslow, March
2006, What Determines Cartel Success?, Journal of Economic Literature, Vol. 44, 43-95, at 44.
377
    For example, before acquiring Thomson’s CRT operations, Videocon produced glass components and CRT
televisions. After the acquisition of Thomson’s CRT factory in Anagni, Italy, Videocon was fully vertically
integrated from “[s]and to TV.” Videocon, Undated, Videocon International Ltd Welcomes You, PHLP-CRT-
035382, at 6. For a description of vertical relationships among cartel members’ subsidiaries, see Section VI.D.
378
   “In a vertically unintegrated industry, a [single] vertical merger [resulting in a mix of integrated and unintegrated
firms, as in the CRT industry] facilitates collusion.” Nocke, Volker, and Lucy White, September 2007, Do Vertical
Mergers Facilitate Upstream Collusion?, The American Economic Review, Vol. 97(4), 1321-1339, at 1329, 1330,
and 1332.
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that vertically integrated firms compete with separated ones.”379 The equilibrium in this model is
similar to the structure of the CRT industry, with its mix of vertically-integrated firms and
unintegrated firms. Other economic models are also consistent with a cartel comprised of
vertically-integrated and unintegrated firms.380
For ease of exposition, I explain the sources of gain to a vertically-integrated firm using a
stylized example. “Cartel Parent” is a CRT cartel member that owns a CRT manufacturing
subsidiary called “Cartel CRT Maker”. Cartel CRT Maker sells CRTs to two TV manufacturers,
“Cartel TV Maker”, a sister company owned by Cartel Parent, and “Outside TV Maker”, a firm
unaffiliated with cartel members. The TV manufacturers engage in horizontal competition in the
sale of TVs to retailers. The following diagram illustrates the relationships:


                          Cartel Parent

                     Cartel CRT Maker


                  CRTs                   $                             $
                                                        CRTs


                      Cartel TV Maker                            Outside TV Maker




                       TVs               $                         TVs               $


                                                  Retailers


When the cartel raises the price of CRTs, the profitability of the vertically integrated firm is
enhanced in at least two ways. First, Cartel Parent receives a supra-competitive price from non-
379
  Nocke, Volker and Lucy White, September 2007, Do Vertical Mergers Facilitate Upstream Collusion?, The
American Economic Review, Vol. 97(4), 1321-1339, at 1332.
380
   Riordan and Salop (1995), for example, explain how instances in which the downstream division of a vertically
integrated firm purchases inputs from other input makers – as occurs in the present case – can help monitor the
behavior of the upstream manufacturers. “Vertical mergers might be able to increase the likelihood of tacit or
express coordinated conduct by facilitating the exchange of pricing and other competitively sensitive information
among the competing input suppliers. [footnote: The 1984 DOJ Merger Guidelines offer a related theory of how
vertical mergers can facilitate information exchange among competitors. See 1984 DOJ Merger Guidelines §4.221,
supra note 5, at 20,566-57…] Assuming that the integrated firm does not satisfy all of its input requirements, but
rather continues to purchase part of its requirements from other input suppliers, the downstream division will receive
price quotes and competitive information from rival input producers. The downstream division can transfer this
information to its upstream division.” Riordan, Michael H., and Steven C. Salop, 1995, Evaluating Vertical Mergers:
A Post-Chicago Approach, Antitrust Law Journal, Vol. 63, at 513-568.
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cartel TV manufacturers (Outside TV Maker in the diagram above); this is the same as the
mechanism by which unintegrated cartel members profit. The elevated CRT price charged
internally (by Cartel CRT Maker to Cartel TV Maker) does not benefit the parent company
directly; the money simply goes from one pocket of the parent company to another.
The second way the vertically integrated firm benefits from the cartel’s elevation of the CRT
price is by allowing its TV subsidiary (Cartel TV Maker) to charge a higher price for TVs. When
the cartel raises the price of CRTs, the cost of producing TVs rises for unintegrated downstream
firms (such as Outside TV Maker in the diagram). Outside TV Maker responds to the cost
increase by increasing the prices of its CRT TVs. Cartel TV Maker is a horizontal competitor of
Outside TV Maker, so when Outside TV Maker raises its price, Cartel TV Maker raises its
television price, too, and earns supra-competitive profit. Consumers face higher CRT TV prices
whether they purchase from Cartel TV Maker or Outside TV Maker. Therefore, the cartel price
for tubes increases the profit of the vertically-integrated cartel member (Cartel Parent). Vertically
integrated CRT-TV or CRT-monitor manufacturers increase profits by joining a cartel in CRTs.
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 I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge and belief. This declaration was executed on the day of April 2014, at

 Ann Arbor, Michigan.




 JANET S. NETZ


 Subscribed and sworn to before me this rday of April 2014.


                                         BRIAN PAUL ROSEWARNE
                                      Notary Public, State of Michigan
                                             County of Washtenaw
                                        My Commission Boles May, 20, 2014
                                     Acting in the County of

 My commission expires:
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Education

Ph.D. economics, University of Michigan, 1992
M.A. economics, University of Michigan, 1990
B.A. economics, University of California at Berkeley, 1986, cum laude

Employment

Founder and Partner, applEcon, May 2001 to present
Visiting Associate Professor, University of Michigan, Fall 2001, Fall 2002, Fall 2003
Associate Professor, Purdue University, Fall 2001 to January 2003
Visiting Assistant Professor, University of Michigan, Winter 2001
Assistant Professor, Purdue University, Fall 1994 to Spring 2001
Assistant Professor, University of Delaware, Fall 1992 to Summer 1994

Courses Taught

Industrial Organization (undergraduate and doctoral)
Antitrust and Regulation (undergraduate)
Intermediate Microeconomics (undergraduate and master’s)
Microeconomic Principles (undergraduate)
International Economics (undergraduate and master’s)

Honors and Awards

Outstanding Antitrust Litigation Achievement in Economics, awarded by the American Antitrust Institute,
for work In re TFT-LCD Antitrust Litigation, 2013.

Publications

“Are All Men’s College Basketball Players Exploited?”, with Erin Lane and Juan Nagel, Journal of Sports
Economics, 2012 (forthcoming).

“Price Regulation: Theory and Performance”, in Regulation and Economics, Roger J. Van den Bergh
and Alessio M. Pacces, eds., Edward Elgar Publishing, 2011.
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Economidou and Vivian Lei, International Advances in Economic Research, 12(4), November 2006,
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A. Taylor, Review of Economics and Statistics, February 2002.

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Economics, 5(3), November 1999, 85-106.

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with Severin Borenstein, International Journal of Industrial Organization, 17(5), July 1999, 611-640.

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16(3), 289-312, May 1996.

“The Effect of Futures Markets and Corners on Storage and Spot Price Variability”, American Journal of
Agricultural Economics, 77(1), 182-193, February 1995.

“Antitrust Policy in Aftermarkets”, with Severin Borenstein and Jeffrey K. MacKie-Mason, Antitrust Law
Journal, 63(2), 455-482, Winter 1995.

“The Economics of Customer Lock-In and Market Power in Services”, with Severin Borenstein and
Jeffrey K. MacKie-Mason, in The Service Productivity and Quality Challenge, Patrick T. Harker, ed.,
Kluwer Academic, 1994.

Working Papers and Work in Progress

“LCDs and Antitrust: Does Crime Pay?”, with Nick Navitski and Josh Palmer, under review

“Fantasy Football Points as a Measure of Performance”, with Erin Lane and Juan Nagel

“Non-Profits and Price-Fixing: The Case of the Ivy League”

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”

“Basis and Exchange Rate Risks and their Impact on Storage and Exports”




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Research Grants

“Cooperation and Competition Among Nonprofits”, Nonprofit Sector Research Fund, Aspen
 Institute, 2000.

“Product Customization and Product-Space Positioning”, Dauch Center for the Management of
 Manufacturing Enterprises, Summer 2000.

“Outstanding Economics Professor of the Year”, Economics Club, Purdue University, 1999.

“Trade Barriers, Trade Blocs, Growth, and Convergence”, Purdue Research Foundation, 1998-1999.
“Effects of Informational Asymmetry on Competition in the Residential Long Distance Calling Market”,
 Purdue Research Foundation, 1997-1998.

“Basis and Exchange Rate Risks and their Impact on Storage and Exports”, Center for International
 Business and Economic Research, Summer 1997.

Global Initiative Faculty Grant (Course Development), “Industrial Organization in an International
Marketplace”, Purdue University, Summer 1997.

“Trade, Not Aid”, Purdue Research Foundation, Summer 1996.

“Trade, Not Aid”, Center for International Business and Economic Research, Summer 1996.

“The Effect of Price-Fixing by Institutions of Higher Education”, Purdue Research Foundation, Summer
 1995.

“Applied Microeconomics/International Workshop”, Purdue University, Spring 1995.

“The Market Structure of Higher Education”, University of Delaware, Summer 1993.

Research Associate, Center for the Study of Futures Markets, Columbia University, 1991.

Rackham Merit Fellowship, University of Michigan, 1987-1989.

Chancellor’s Scholar, University of California at Berkeley, 1983-1986.

Referee

American Economic Review
Contemporary Economic Policy
Feminist Economics
International Journal of the Economics of Business
International Journal of Industrial Organization
Journal of Economic Education
Journal of Economic and Management Strategy
Journal of Family and Economic Issues
Journal of Futures Markets
Journal of Industrial Economics
Journal of Law and Economics
Journal of Law, Economics, and Organization
Management Science
Review of Economics and Statistics
Scandinavian Journal of Economics
Telecommunications Systems


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Conference and Workshop Presentations

Panel participant, “Preparing Early and Often”, State-of-the-Art Strategies for Managing Class Action
Experts, American Bar Association, 16th Annual National Institute on Class Actions, Chicago, IL,
October 2012.

Panel participant, “Hot Topics Involving Experts in Antitrust Litigation”, New York State Bar Association,
Antitrust Law Section, Annual Meeting, New York, NY, January 2011.

Guest lecturer, Alternative Dispute Resolution Practicum, University of Michigan Law School, April
2008.

“The Economics of Indirect Purchaser Cases”, State Bar of Arizona Annual Conference, Phoenix, AZ,
June 2004.

“Manipulating Interface Standards as an Anti-Competitive Strategy”, Standards and Public Policy
Conference, Federal Reserve Bank of Chicago, Chicago, Il, May 2004.

“One-Way Standards as an Anti-Competitive Strategy”, Telecommunications Policy Research
Conference, Alexandria, VA, September 2002.

“Product Proliferation and Product Space Location”, Econometric Society Meetings, New Orleans,
January 2001.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, American
Economics Association Meetings, New Orleans, January 2001.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, Indiana
University-Purdue University Indianapolis, November 2000.

“Maximum or Minimum Differentiation? An Empirical Investigation into the Location of Firms”, University
of British Columbia, March 2000.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, University of Illinois, October 1999.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, Baylor University,
September 1999.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, Western
Economic Association Meetings, San Diego, July 1999.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, University of Chicago, April 1999.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, Indiana University, December 1998.

“International Integration and Growth: A Survey and Empirical Investigation”, Dynamics, Economic
Growth, and International Trade, III, Taiwan, August 1998.

Discussant (“Fiscal Policy and International Demand Spillovers”), Dynamics, Economic Growth, and
International Trade, III, An International Conference, Taiwan, August 1998.

“International Integration and Growth”, Workshop on Empirical Research in International
Trade and Investment, Copenhagen, June 1998.

Discussant (“Factor Endowments and the Pattern of Affiliate Production by Multinational
Enterprises,” by Karolina Ekholm), Workshop on Empirical Research in International Trade
and Investment, Copenhagen, June 1998.
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“Non-Profits and Price-Fixing: The Case of the Ivy League”, Department of Justice Antitrust
Division, April 1998.
“Non-Profits and Price-Fixing: The Case of the Ivy League”, American Economics
Association Meetings, Chicago, January 1998.

Discussant (“Equilibrium under Satisficing,” by Ralph W. Pfouts), International Atlantic Economics
Society, ASSA Meetings, Chicago, January 1998.

Discussant (“Overseas Investments and Firm Exports,” by Keith Head and John Ries),
Fourth Annual Empirical Investigations in International Trade conference, Purdue
University, November 1997.

“Maximum or Minimum Differentiation? An Empirical Investigation into the Location of
Firms”, International Atlantic Economic Association Conference, Philadelphia, October
1997.

Discussant (“Antidumping Enforcement in a Reciprocal Model of Dumping: Theory and
Evidence,” Taiji Furusawa and Thomas J. Prusa) and session chair, Third Annual Empirical
Investigations in International Trade conference, Purdue University, November 1996.

“The Effect of Price-Fixing by Institutions of Higher Education”, Indiana University-Purdue
University Indianapolis, April 1996.

“Exercising Market Power in Proprietary Aftermarkets”, with Severin Borenstein and Jeffrey
K. MacKie-Mason, Indiana University - Purdue University - IUPUI First Tri-School
Conference, March 1996.

“All in the Family: Family, Income, and Labor Force Attachment”, with Jon D. Haveman,
American Economic Association Meetings, San Francisco, January 1996.

“Family Matters: Unemployment, Wage Changes, and Mobility”, with Jon D. Haveman,
Southern Economics Association Meetings, New Orleans, November 1995.

Discussant and session chair, Second Annual Empirical Investigations in International
Trade conference, Purdue University, November 1995.

“Competition and Anti-Competitive Behavior”, ICLE (The State Bar of Michigan)
Conference on Antitrust and Intellectual Property, July 1995.

“Price-Fixing, Tuition, and Financial Aid”, Midwest Economics Association Meetings,
Cincinnati, April 1995.

“Family Matters: Unemployment, Wage Changes, and Mobility,” Midwest Economics
Association Meetings, Cincinnati, April 1995.

Discussant and session chair, “Customer Discrimination, Entrepreneurial Decisions, and
Investment”, Midwest Economics Association Meetings, April 1995.

“An Empirical Test of the Effect of Basis Risk on Cash Market Positions”, University of
Illinois, Urbana-Champaign, February 1995.

Discussant and session chair, First Annual Empirical Investigations in International Trade
conference, Purdue University, November 1994.

“Antitrust Policy in Aftermarkets”, with Severin Borenstein and Jeffrey K. MacKie-Mason,
FTC/DOJ/ABA Conference on Post-Chicago Economics, Washington, D.C., May 1994.


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“The Effect of Price-Fixing by Institutions of Higher Education, University of Delaware,
May 1994.

“The Effect of Futures Markets and Corners on Storage and Spot Price Variability”, Purdue
University, February 1994.

“An Empirical Test of the Effect of Basis Risk on Cash Market Positions”, University of
California at Davis, February 1993.

Discussant, Econometrics Association, Anaheim, 1992 Annual Meetings.

“Testing the Principle of Minimum Differentiation: Airline Departure-Time Crowding”, Econometrics
Association, Washington, D.C., 1990 Annual Meetings.

Consulting and Testifying

In re Cathode Ray Tube (CRT) Antitrust Litigation
United States District Court, Northern District of California, San Francisco Division, No. CV-07-5944-SC
Testifying expert for plaintiffs
Deposed November 2012 and March 2013

In re Photochromic Lens Antitrust Litigation, 2010-2012
United States District Court Middle District of Florida, Tampa Division, No. 8:10-md-02173-JDW-EAJ
Testifying expert for plaintiffs
Deposed August 2012

Datel Holdings and Datel Design and Development v. Microsoft, 2010-2011
United States District Court, Northern District of California, San Francisco Division, No. 09-cv-05535
Testifying expert for plaintiffs
Deposed October 2011

In re Prefilled Propane Tank Marketing and Sales Practices Litigation, 2010-2011
United States District Court, Western District of Missouri, Western Division, No. 4:09-cv-00465
Testifying expert for plaintiffs

In re Florida Cement and Concrete Antitrust Litigation, 2010
United States District Court, Southern District of Florida, Miami Division, No. 1:09-cv-23493-CMA
Consulting expert for plaintiffs

Altair Engineering v. MSC Software, 2009-2010
United States District Court, Eastern District of Michigan, Southern Division, No. 2:07-cv-12807
Testifying expert for plaintiffs
Deposed May 2010

In re Optical Disk Drive products Antitrust Litigation, 2009-2010
United States District Court, Northern District of California, San Francisco Division, No. M:2010-cv-
02143
Consulting expert for plaintiffs

In re Flash Memory Antitrust Litigation, 2008-2011
United States District Court, Northern District of California, Oakland Division, No. C-07-0086-SBA
Testifying expert for plaintiffs
Deposed August 2009




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Valassis Communications, Inc. v. News America, Inc., 2008-2009
United States District Court, Eastern District of Michigan, Southern Division, No. 2:06-cv-10240
Circuit Court of the State of Michigan, County of Wayne, No. XX-XXXXXXX-CZ
Consulting expert for plaintiffs

In re TFT-LCD (Flat Panel) Antitrust Litigation, 2008-present
United States District Court, Northern District of California, San Francisco Division, No. M:07-cv-01827
Testifying expert for plaintiffs
Deposed July 2009, June 2011, August 2011

Houston Baptist University v. NCAA, 2008-2009
United States District Court in and for the Southern District of Texas, Houston Division
Testifying expert for plaintiffs

Seoul Semiconductor Co. v. Nichia Corp., 2008
United States District Court, Northern District of California, No. 3:08-cv-04932-PJH
Testifying expert for plaintiffs

Albert Andy Cohn v. Office Depot, 2008
Superior Court of the State of California, County of Los Angeles, Central District, No. BC 372449
Testifying expert for defendants

In re Graphics Processing Units Antitrust Litigation, 2007-2008
United States District Court Northern District of California, No. M:07-CV-01826-WHA
Testifying expert for plaintiffs
Deposed June 2008

Pro-Sys Consultants Ltd. and Neil Godfrey v. Microsoft, 2007-present
Supreme Court of British Columbia, No. L043175, Vancouver Registry
Testifying expert for plaintiffs
Deposed December 2008

In re Dynamic Random Access Memory (DRAM) Antitrust Litigation, 2007
United States District Court, Northern District of California, No. 02-cv-01486
Consulting expert for plaintiffs

Jason White et al. v. NCAA, 2006-2008
United States District Court Central District of California, No. CV 06-0999 RGK (MANx)
Testifying expert for plaintiffs
Deposed October 2007

Kleppner et al. v. Unocal, 2004-2008
In re Reformulated Gasoline (RFG) Antitrust and Patent Litigation
United States District Court Central District of California, No. 05-1671 CAS
Testifying expert for plaintiffs
Deposed December 2006

Carlisle, settlement negotiations with Crompton, EPDM price-fixing cartel, 2005-2007
Consulting expert

Caterpillar and Carlisle, settlement negotiations with DuPont-Dow Elastomers, PCP (or CR) and
EPDM price-fixing cartels, 2004-2005
Consulting expert

City and County of San Francisco et al. v. Microsoft, 2004-present
United States District Court for the District of Maryland, No. 1332
Testifying expert for plaintiffs
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The Service Source v. Office Depot, 2004-2005
United States District Court Eastern District of Michigan Southern Division, No. 02-73361
Project director

Joe Comes et al. v. Microsoft, 2002-2008
Iowa District Court for Polk County, No. CL82311
Testifying expert for plaintiffs
Deposed July 2006, November 2006

Charles Cox et al. v. Microsoft, 2002-2006
Supreme Court of the State of New York County of New York, No. 105193/00
Testifying expert for plaintiffs

Daniel Gordon et al. v. Microsoft, 2002-2004
State of Minnesota District Court County of Hennepin Fourth Judicial District, No. 00-5994
Testifying expert for plaintiffs
Deposed September 2003

Morelock Enterprises, Inc. v. Weyerhaeuser Co., 2004-2008
United States District Court District of Oregon, No. 3:04-cv-00583-PA
Testifying expert for plaintiffs
Deposed October 2004, April 2005, October 2007
Testified in trial April 2008

Compuware v. IBM, 2002-2005
United States District Court for the Eastern District of Michigan, No. 02-70906
Project director

Lingo et al. v. Microsoft, 1999-2004
Superior Court of the State of California City and County of San Francisco, J.C.C.P. No. 4106
Project director
In re New Mexico Indirect Purchaser Microsoft Corp. Antitrust Litigation, 2002-2004
State of New Mexico First Judicial District, No. D-0101-CV-2000-1697
Testifying expert for plaintiffs

Charles Friedman et al. v. Microsoft, 2002-2004
Superior Court of the State of Arizona in and for the County of Maricopa, No. CV2000-000722 /
CV2000-005872
Testifying expert for plaintiffs
Deposed September 2003

In re Massachusetts Consumer Protection Litigation, 2003-2004
Commonwealth of Massachusetts, Superior Court Department of the Trial Court Middlesex Division,
No. 00-2456
Consulting expert

Olson v. Microsoft, 2002
Montana First Judicial District Court Lewis & Clark County, No. CDV-2000-219
Consulting expert

Covad v. Bell Atlantic (Verizon), 2001-2004
United District Court for the District of Columbia, No. 99-1046
Project director

AMD, 2000-2004
Project director


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Gravity et al. v. Microsoft, 1999-2003
United States District Court for the District of Columbia, No. 1:99CV00363
Staff economist

Leckrone, et al. v. Premark International, Inc., et al., 2001
Testifying expert for plaintiffs

Ren, et al. v. EMI Music Distribution, Inc., 2001
State of Michigan in the Circuit Court of the County of Macomb, No. 00-2383-CZ
Testifying expert for plaintiffs

SBC, 2000
Staff economist

City and County of San Francisco, 1999
Staff economist

Intergraph v. Intel, 1998-2001
United States District Court Appeals for the Federal District, No. 98-1308
Staff economist

Comm-Tract v. Northern Telecom, 1991-1997
United States District Court District of Massachusetts, No. 90-13088-WF
Project director

Systemcare, Inc. v. Wang Computer, 1991-1993
United States District Court for the District of Colorado, No. 89-B-1778
Staff economist

International Travel Arrangers v. Northwest Airlines, 1988-1989
Staff economist




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Exhibit B: Documents Considered in the Expert Report of Expert
Report of Janet S. Netz, Ph.D. Part 1: Bates Numbered Documents
AMZ 00001                  BMCC-CRT000117494          BMCC-CRT000320868
BBYCRT000080               BMCC-CRT000117593          BMCC-CRT000353853
BBYCRT000081               BMCC-CRT000117594          BMCC-CRT000359667
BBYCRT000082               BMCC-CRT000117655          BMCC-CRT000359894
BBYCRT000083               BMCC-CRT000117668          BMCC-CRT000362102
BBYCRT000084               BMCC-CRT000117860          BMCC-CRT000364947
BBYCRT000085               BMCC-CRT000118431          BMCC-CRT000367369
BBYCRT000086               BMCC-CRT000118593          BMCC-CRT000369201
BBYCRT000087               BMCC-CRT000119042          BMCC-CRT000371371
BBYCRT000088               BMCC-CRT000119055          BMCC-CRT000374785
BBYCRT000089               BMCC-CRT000119057          BMCC-CRT000378185
BBYCRT000090               BMCC-CRT000124489          BMCC-CRT000381530
BBYCRT000091               BMCC-CRT000124601          BMCC-CRT000383504
BBYCRT000092               BMCC-CRT000125032          BMCC-CRT000386875
BBYCRT000093               BMCC-CRT000125451          BMCC-CRT000390430
BBYCRT000094               BMCC-CRT000125788          BMCC-CRT000429237
BBYCRT000095               BMCC-CRT000132348          BMCC-CRT000438909
BBYCRT000096               BMCC-CRT000133605          BMCC-CRT000487129
BBYCRT000097               BMCC-CRT000134306          BMCC-CRT000510659
BBYCRT000098               BMCC-CRT000135034          BMCC-CRT000510774
BBYCRT000099               BMCC-CRT000177473          BMCC-CRT000548051
BBYCRT000100               BMCC-CRT000178813          BMCC-CRT000562015
BBYCRT000101               BMCC-CRT000178816          BMCC-CRT000567348
BBYCRT000102               BMCC-CRT000178829          BMCC-CRT000573081
BMCC-CRT000001186          BMCC-CRT000230941          BMCC-CRT000574521
BMCC-CRT000006384          BMCC-CRT000230950          BMCC-CRT000575227
BMCC-CRT000009545          BMCC-CRT000236521          BMCC-CRT000576460
BMCC-CRT000041121          BMCC-CRT000238070          BMCC-CRT000577177
BMCC-CRT000057539          BMCC-CRT000240214          BMCC-CRT000590923
BMCC-CRT000083813          BMCC-CRT000266503          BMCC-CRT000592284
BMCC-CRT000083813          BMCC-CRT000266592          BMCC-CRT000592982
BMCC-CRT000084670          BMCC-CRT000271099          BMCC-CRT000594510
BMCC-CRT000087776          BMCC-CRT000274230          BMCC-CRT000595208
BMCC-CRT000110052          BMCC-CRT000293499          BMCC-CRT000595907
BMCC-CRT000117420          BMCC-CRT000309484          CH000028606
BMCC-CRT000117490          BMCC-CRT000316664          CH000030816


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Exhibit B: Documents Considered in the Expert Report of Expert
Report of Janet S. Netz, Ph.D. Part 1: Bates Numbered Documents
CHU00000001                CHU00014202                CHU00021272
CHU00000207                CHU00014204                CHU00021280
CHU00000260                CHU00014205                CHU00021289
CHU00000305                CHU00014206                CHU00021628
CHU00000360                CHU00014207                CHU00021713
CHU00000411                CHU00014208                CHU00021791
CHU00000532                CHU00014210                CHU00022291
CHU00000642                CHU00014212                CHU00022500
CHU00000688                CHU00014213                CHU00022583
CHU00000688                CHU00014215                CHU00022689
CHU00000738                CHU00014218                CHU00022696
CHU00000782                CHU00014219                CHU00022700
CHU00000828                CHU00014223                CHU00022701
CHU00000875                CHU00014227                CHU00022704
CHU00001031                CHU00014230                CHU00022724
CHU00001275                CHU00014232                CHU00022728
CHU00001348                CHU00014398                CHU00022738
CHU00001427                CHU00016137                CHU00022743
CHU00003139                CHU00016977                CHU00023392
CHU00004334                CHU00017003                CHU00024554
CHU00005963                CHU00017026                CHU00024560
CHU00005997                CHU00017037                CHU00028178
CHU00006004                CHU00017064                CHU00028202
CHU00006009                CHU00017069                CHU00028203
CHU00006009                CHU00017092                CHU00028204
CHU00006362                CHU00017100                CHU00028207
CHU00006381                CHU00017115                CHU00028209
CHU00009188                CHU00017125                CHU00028211
CHU00011783                CHU00017130                CHU00028213
CHU00011820                CHU00020660                CHU00028215
CHU00013773                CHU00020661                CHU00028218
CHU00014182                CHU00020725                CHU00028221
CHU00014189                CHU00020779                CHU00028224
CHU00014196                CHU00020782                CHU00028227
CHU00014198                CHU00021262                CHU00028228
CHU00014200                CHU00021268                CHU00028229


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Exhibit B: Documents Considered in the Expert Report of Expert
Report of Janet S. Netz, Ph.D. Part 1: Bates Numbered Documents
CHU00028231                CHU00028377                CHU00028482
CHU00028234                CHU00028380                CHU00028487
CHU00028236                CHU00028382                CHU00028490
CHU00028238                CHU00028383                CHU00028493
CHU00028240                CHU00028385                CHU00028495
CHU00028241                CHU00028388                CHU00028497
CHU00028245                CHU00028393                CHU00028499
CHU00028248                CHU00028394                CHU00028501
CHU00028250                CHU00028396                CHU00028503
CHU00028252                CHU00028398                CHU00028505
CHU00028254                CHU00028400                CHU00028507
CHU00028257                CHU00028424                CHU00028508
CHU00028260                CHU00028425                CHU00028514
CHU00028263                CHU00028427                CHU00028516
CHU00028265                CHU00028430                CHU00028521
CHU00028267                CHU00028432                CHU00028524
CHU00028269                CHU00028434                CHU00028530
CHU00028273                CHU00028435                CHU00028531
CHU00028275                CHU00028436                CHU00028532
CHU00028277                CHU00028438                CHU00028544
CHU00028279                CHU00028439                CHU00028548
CHU00028281                CHU00028441                CHU00028551
CHU00028283                CHU00028447                CHU00028555
CHU00028286                CHU00028449                CHU00028556
CHU00028287                CHU00028451                CHU00028558
CHU00028289                CHU00028453                CHU00028559
CHU00028291                CHU00028456                CHU00028565
CHU00028293                CHU00028457                CHU00028589
CHU00028295                CHU00028459                CHU00028596
CHU00028297                CHU00028461                CHU00028597
CHU00028300                CHU00028463                CHU00028598
CHU00028302                CHU00028465                CHU00028599
CHU00028305                CHU00028467                CHU00028602
CHU00028311                CHU00028469                CHU00028604
CHU00028374                CHU00028472                CHU00028606
CHU00028376                CHU00028475                CHU00028612


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CHU00028613                CHU00028713                CHU00028807
CHU00028615                CHU00028716                CHU00028809
CHU00028621                CHU00028717                CHU00028811
CHU00028623                CHU00028723                CHU00028813
CHU00028625                CHU00028725                CHU00028815
CHU00028632                CHU00028728                CHU00028817
CHU00028635                CHU00028730                CHU00028821
CHU00028638                CHU00028734                CHU00028841
CHU00028639                CHU00028736                CHU00028848
CHU00028642                CHU00028737                CHU00028851
CHU00028645                CHU00028740                CHU00028853
CHU00028647                CHU00028744                CHU00028856
CHU00028648                CHU00028746                CHU00028858
CHU00028651                CHU00028749                CHU00028865
CHU00028653                CHU00028752                CHU00028868
CHU00028654                CHU00028755                CHU00028869
CHU00028656                CHU00028757                CHU00028873
CHU00028658                CHU00028758                CHU00028874
CHU00028661                CHU00028760                CHU00028877
CHU00028663                CHU00028763                CHU00028882
CHU00028666                CHU00028768                CHU00028884
CHU00028668                CHU00028768                CHU00028887
CHU00028670                CHU00028771                CHU00028887
CHU00028672                CHU00028773                CHU00028889
CHU00028674                CHU00028776                CHU00028893
CHU00028677                CHU00028781                CHU00028896
CHU00028685                CHU00028784                CHU00028897
CHU00028687                CHU00028786                CHU00028899
CHU00028689                CHU00028789                CHU00028901
CHU00028691                CHU00028791                CHU00028907
CHU00028698                CHU00028794                CHU00028908
CHU00028699                CHU00028796                CHU00028909
CHU00028701                CHU00028799                CHU00028912
CHU00028705                CHU00028801                CHU00028930
CHU00028707                CHU00028803                CHU00028933
CHU00028711                CHU00028805                CHU00028948


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Exhibit B: Documents Considered in the Expert Report of Expert
Report of Janet S. Netz, Ph.D. Part 1: Bates Numbered Documents
CHU00028950                CHU00029179                CHU00030026
CHU00028952                CHU00029185                CHU00030030
CHU00028955                CHU00029189                CHU00030034
CHU00028958                CHU00029191                CHU00030036
CHU00028959                CHU00029214                CHU00030040
CHU00028960                CHU00029228                CHU00030045
CHU00028962                CHU00029231                CHU00030051
CHU00028964                CHU00029235                CHU00030052
CHU00028966                CHU00029238                CHU00030056
CHU00028968                CHU00029242                CHU00030058
CHU00028970                CHU00029245                CHU00030060
CHU00028972                CHU00029248                CHU00030064
CHU00028975                CHU00029259                CHU00030066
CHU00029039                CHU00029262                CHU00030067
CHU00029044                CHU00029269                CHU00030068
CHU00029046                CHU00029279                CHU00030070
CHU00029048                CHU00029281                CHU00030071
CHU00029050                CHU00029293                CHU00030079
CHU00029059                CHU00029316                CHU00030080
CHU00029062                CHU00029340                CHU00030085
CHU00029065                CHU00029753                CHU00030228
CHU00029068                CHU00029944                CHU00030406
CHU00029070                CHU00029957                CHU00030408
CHU00029105                CHU00029967                CHU00030410
CHU00029108                CHU00029971                CHU00030414
CHU00029110                CHU00029977                CHU00030419
CHU00029116                CHU00029985                CHU00030421
CHU00029131                CHU00029987                CHU00030426
CHU00029138                CHU00029989                CHU00030429
CHU00029144                CHU00029990                CHU00030431
CHU00029147                CHU00029999                CHU00030437
CHU00029152                CHU00030001                CHU00030439
CHU00029155                CHU00030005                CHU00030443
CHU00029163                CHU00030008                CHU00030449
CHU00029171                CHU00030014                CHU00030458
CHU00029175                CHU00030020                CHU00030463


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CHU00030465                CHU00030688                CHU00030819
CHU00030468                CHU00030692                CHU00030823
CHU00030472                CHU00030695                CHU00030827
CHU00030474                CHU00030698                CHU00030831
CHU00030475                CHU00030701                CHU00030835
CHU00030477                CHU00030705                CHU00030839
CHU00030483                CHU00030713                CHU00030841
CHU00030491                CHU00030717                CHU00030843
CHU00030495                CHU00030720                CHU00030846
CHU00030497                CHU00030728                CHU00030851
CHU00030499                CHU00030731                CHU00030853
CHU00030500                CHU00030734                CHU00030855
CHU00030502                CHU00030738                CHU00030869
CHU00030505                CHU00030741                CHU00030872
CHU00030506                CHU00030745                CHU00030875
CHU00030512                CHU00030748                CHU00030877
CHU00030520                CHU00030749                CHU00030879
CHU00030524                CHU00030752                CHU00030881
CHU00030526                CHU00030756                CHU00030885
CHU00030530                CHU00030757                CHU00030887
CHU00030533                CHU00030763                CHU00030888
CHU00030537                CHU00030766                CHU00030894
CHU00030539                CHU00030769                CHU00030895
CHU00030543                CHU00030777                CHU00030899
CHU00030547                CHU00030781                CHU00030904
CHU00030553                CHU00030783                CHU00030910
CHU00030557                CHU00030787                CHU00030912
CHU00030559                CHU00030795                CHU00030916
CHU00030661                CHU00030797                CHU00030917
CHU00030664                CHU00030799                CHU00030920
CHU00030665                CHU00030801                CHU00030922
CHU00030668                CHU00030803                CHU00030940
CHU00030670                CHU00030805                CHU00030941
CHU00030675                CHU00030807                CHU00030944
CHU00030679                CHU00030809                CHU00030946
CHU00030684                CHU00030816                CHU00030948


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Exhibit B: Documents Considered in the Expert Report of Expert
Report of Janet S. Netz, Ph.D. Part 1: Bates Numbered Documents
CHU00030951                CHU00031092                CHU00031172
CHU00030953                CHU00031094                CHU00031174
CHU00030957                CHU00031095                CHU00031176
CHU00030960                CHU00031098                CHU00031177
CHU00030965                CHU00031101                CHU00031178
CHU00030971                CHU00031105                CHU00031180
CHU00030973                CHU00031107                CHU00031182
CHU00030976                CHU00031110                CHU00031183
CHU00030979                CHU00031111                CHU00031186
CHU00030985                CHU00031113                CHU00031188
CHU00030992                CHU00031115                CHU00031190
CHU00030995                CHU00031116                CHU00031194
CHU00030998                CHU00031117                CHU00031202
CHU00030999                CHU00031119                CHU00031209
CHU00031002                CHU00031121                CHU00031214
CHU00031006                CHU00031122                CHU00031221
CHU00031010                CHU00031123                CHU00031227
CHU00031013                CHU00031126                CHU00031232
CHU00031015                CHU00031129                CHU00031240
CHU00031017                CHU00031133                CHU00031248
CHU00031018                CHU00031134                CHU00031249
CHU00031022                CHU00031136                CHU00031253
CHU00031024                CHU00031137                CHU00031254
CHU00031028                CHU00031138                CHU00031255
CHU00031031                CHU00031140                CHU00031262
CHU00031032                CHU00031141                CHU00031268
CHU00031036                CHU00031142                CHU00031272
CHU00031040                CHU00031148                CHU00031274
CHU00031044                CHU00031150                CHU00031278
CHU00031047                CHU00031153                CHU00031279
CHU00031051                CHU00031154                CHU00031380
CHU00031056                CHU00031155                CHU00031804
CHU00031067                CHU00031159                CHU00031805
CHU00031070                CHU00031161                CHU00031819
CHU00031075                CHU00031163                CHU00031822
CHU00031088                CHU00031168                CHU00032057


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Exhibit B: Documents Considered in the Expert Report of Expert
Report of Janet S. Netz, Ph.D. Part 1: Bates Numbered Documents
CHU00032059                CHU00047658                CHU00104484
CHU00032064                CHU00050612                CHU00105275
CHU00032068                CHU00052905                CHU00105346
CHU00032071                CHU00057335                CHU00105555
CHU00032076                CHU00057658                CHU00106233
CHU00032092                CHU00059615                CHU00106844
CHU00032196                CHU00063266                CHU00108272
CHU00032935                CHU00066922                CHU00109024
CHU00032940                CHU00069180                CHU00117144
CHU00032948                CHU00071226                CHU00117458
CHU00033201                CHU00071475                CHU00118323
CHU00033227                CHU00071477                CHU00119571
CHU00033229                CHU00071480                CHU00119823
CHU00034071                CHU00072808                CHU00120771
CHU00036377                CHU00075287                CHU00121005
CHU00036378                CHU00075805                CHU00121161
CHU00036382                CHU00078587                CHU00121711
CHU00036384                CHU00079140                CHU00121778
CHU00036386                CHU00080445                CHU00121960
CHU00036388                CHU00080893                CHU00122045
CHU00036390                CHU00081871                CHU00122116
CHU00036392                CHU00087513                CHU00122171
CHU00036394                CHU00088029                CHU00122804
CHU00036396                CHU00088671                CHU00122864
CHU00036398                CHU00089485                CHU00123024
CHU00036402                CHU00089496                CHU00123297
CHU00036404                CHU00090021                CHU00123347
CHU00036406                CHU00093051                CHU00123358
CHU00036408                CHU00094753                CHU00123358
CHU00036410                CHU00094958                CHU00123371
CHU00036412                CHU00095334                CHU00123375
CHU00036414                CHU00099330                CHU00123383
CHU00036416                CHU00100274                CHU00123393
CHU00040988                CHU00102752                CHU00123428
CHU00040992                CHU00102864                CHU00123483
CHU00045143                CHU00102869                CHU00123530


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CHU00123561                CHU00125257                CHU00281352
CHU00123733                CHU00125296                CHU00288227
CHU00123742                CHU00125374                CHU00289150
CHU00123746                CHU00125421                CHU00289202
CHU00124017                CHU00125434                CHU00295705
CHU00124020                CHU00125652                CHU00296012
CHU00124022                CHU00125654                CHU00297707
CHU00124024                CHU00125655                CHU00303245
CHU00124027                CHU00125657                CHU00311953
CHU00124030                CHU00125659                CHU00318860
CHU00124033                CHU00125701                CHU00331635
CHU00124035                CHU00125713                CHU00338140
CHU00124099                CHU00125849                CHU00358700
CHU00124103                CHU00125895                CHU00363098
CHU00124110                CHU00125993                CHU00363404
CHU00124116                CHU00125993                CHU00363406
CHU00124930                CHU00126041                CHU00363560
CHU00124993                CHU00126131                CHU00372752
CHU00125001                CHU00126767                CHU00373452
CHU00125005                CHU00136669                CHU00373851
CHU00125007                CHU00149423                CHU00374510
CHU00125098                CHU00154037                CHU00375118
CHU00125116                CHU00154421                CHU00375215
CHU00125144                CHU00167398                CHU00376162
CHU00125146                CHU00168279                CHU00376843
CHU00125162                CHU00169692                CHU00377474
CHU00125166                CHU00172484                CHU00378103
CHU00125168                CHU00179905                CHU00380803
CHU00125171                CHU00188664                CHU00381353
CHU00125181                CHU00188951                CHU00382381
CHU00125185                CHU00191946                CHU00382819
CHU00125190                CHU00193338                CHU00384083
CHU00125192                CHU00207940                CHU00385281
CHU00125195                CHU00217276                CHU00386334
CHU00125199                CHU00250547                CHU00386769
CHU00125257                CHU00269383                CHU00388397


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CHU00391709                CHU00485646                CHU00553887
CHU00391781                CHU00485812                CHU00571826
CHU00392224                CHU00488587                CHU00573812
CHU00393933                CHU00491786                CHU00573814
CHU00395198                CHU00492653                CHU00576066
CHU00401183                CHU00492942                CHU00578883
CHU00402025                CHU00492950                CHU00578887
CHU00403247                CHU00494313                CHU00597476
CHU00406227                CHU00499227                CHU00597733
CHU00413033                CHU00499423                CHU00597905
CHU00414733                CHU00500954                CHU00597922
CHU00414739                CHU00500981                CHU00598215
CHU00416295                CHU00501008                CHU00607654
CHU00416469                CHU00502432                CHU00607732
CHU00417829                CHU00507050                CHU00608095
CHU00417908                CHU00507374                CHU00608743
CHU00418449                CHU00513829                CHU00611605
CHU00419092                CHU00515366                CHU00615130
CHU00419647                CHU00516814                CHU00615145
CHU00419667                CHU00524129                CHU00615163
CHU00420478                CHU00524992                CHU00615181
CHU00421009                CHU00529073                CHU00615712
CHU00421095                CHU00530288                CHU00616369
CHU00421111                CHU00530295                CHU00617790
CHU00421844                CHU00532295                CHU00618335
CHU00437643                CHU00532951                CHU00624682
CHU00453802                CHU00532952                CHU00628470
CHU00454594                CHU00535641                CHU00628898
CHU00457257                CHU00540552                CHU00629335
CHU00468598                CHU00545253                CHU00631948
CHU00473289                CHU00545730                CHU00632021
CHU00477126                CHU00548418                CHU00632268
CHU00477799                CHU00549116                CHU00632378
CHU00478872                CHU00550362                CHU00632846
CHU00479250                CHU00550744                CHU00633824
CHU00484870                CHU00550897                CHU00633902


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CHU00633905                CHU00648741                CHU00660446
CHU00633978                CHU00648816                CHU00660454
CHU00634479                CHU00648817                CHU00660464
CHU00634491                CHU00648818                CHU00660476
CHU00634498                CHU00649654                CHU00660487
CHU00635046                CHU00651590                CHU00660501
CHU00635116                CHU00653029                CHU00660515
CHU00636140                CHU00653030                CHU00660523
CHU00636165                CHU00655716                CHU00660539
CHU00636165                CHU00655718                CHU00660549
CHU00636931                CHU00656459                CHU00660561
CHU00636933                CHU00658438                CHU00660575
CHU00637123                CHU00659413                CHU00660586
CHU00637157                CHU00659671                CHU00660594
CHU00637563                CHU00660194                CHU00660606
CHU00637566                CHU00660198                CHU00660616
CHU00637619                CHU00660200                CHU00660626
CHU00637620                CHU00660202                CHU00660643
CHU00638344                CHU00660209                CHU00660656
CHU00639515                CHU00660213                CHU00660662
CHU00642834                CHU00660217                CHU00660671
CHU00644514                CHU00660221                CHU00660681
CHU00644987                CHU00660225                CHU00660693
CHU00644988                CHU00660235                CHU00660699
CHU00645156                CHU00660239                CHU00660709
CHU00645176                CHU00660247                CHU00660717
CHU00645177                CHU00660306                CHU00660728
CHU00646035                CHU00660337                CHU00660729
CHU00646093                CHU00660366                CHU00661917
CHU00646730                CHU00660369                CHU00673063
CHU00646732                CHU00660373                CHU00678247
CHU00646768                CHU00660383                CHU00678534
CHU00646803                CHU00660395                CHU00678641
CHU00647102                CHU00660408                CHU00678721
CHU00647104                CHU00660426                CHU00678723
CHU00647932                CHU00660436                CHU00678938


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CHU00681869                CHU00735291                CHWA00052613
CHU00682158                CHU00735295                CHWA00062147
CHU00682227                CHU00735298                CHWA00069568
CHU00682979                CHU00735299                CHWA00070981
CHU00688567                CHU00735380                CHWA00088192
CHU00689347                CHU00735387                CHWA00106460
CHU00693069                CHU00848029                CHWA00123560
CHU00693080                CHWA00000001               CHWA00129231
CHU00700074                CHWA00000002               CHWA00129721
CHU00706329                CHWA00000003               CHWA00145996
CHU00709991                CHWA00000004               CHWA00195847
CHU00718308                CHWA00000004               CHWA00197071
CHU00718839                CHWA00000005               CHWA00225304
CHU00722454                CHWA00000006               CHWA00225321
CHU00725669                CHWA00000007               CHWA00225357
CHU00725774                CHWA00000008               CHWA00225376
CHU00725833                CHWA00000009               CHWA00225402
CHU00732798                CHWA00000010               CHWA00225419
CHU00732816                CHWA00000011               CHWA00225447
CHU00732831                CHWA00000012               CHWA00225465
CHU00734324                CHWA00000013               CHWA00225485
CHU00734336                CHWA00000014               CHWA00225513
CHU00734349                CHWA00000014               CHWA00225530
CHU00734351                CHWA00000014               CHWA00225548
CHU00734954                CHWA00000140               CHWA00225581
CHU00735065                CHWA00006416               CHWA00225597
CHU00735066                CHWA00010117               CHWA00225612
CHU00735068                CHWA00011550               CHWA00225635
CHU00735070                CHWA00015235               CHWA00225663
CHU00735249                CHWA00017020               CHWA00225689
CHU00735250                CHWA00029907               CHWA00225707
CHU00735251                CHWA00031589               CHWA00225735
CHU00735253                CHWA00032001               CHWA00225766
CHU00735256                CHWA00032115               CHWA00225825
CHU00735283                CHWA00042517               CHWA00225848
CHU00735287                CHWA00048095               CHWA00225908


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CHWA00225931               CRT-INGRAM0003             CRT-INGRAM0039
CHWA00225970               CRT-INGRAM0004             CRT-INGRAM0040
CHWA00225988               CRT-INGRAM0005             CRT-INGRAM0041
CHWA00226020               CRT-INGRAM0006             CRT-INGRAM0042
CHWA00226040               CRT-INGRAM0007             CRT-INGRAM0043
CHWA00226056               CRT-INGRAM0008             CRT-INGRAM0044
CHWA00226082               CRT-INGRAM0009             CRT-INGRAM0045
CHWA00226132               CRT-INGRAM0010             CRT-INGRAM0046
CHWA00226162               CRT-INGRAM0011             CRT-INGRAM0047
CHWA00226189               CRT-INGRAM0012             CRT-INGRAM0048
CHWA00226208               CRT-INGRAM0013             CRT-INGRAM0049
CHWA00226236               CRT-INGRAM0014             CRT-INGRAM0050
CHWA00239086               CRT-INGRAM0015             CRT-INGRAM0051
CHWA00242220               CRT-INGRAM0016             CRT-INGRAM0052
CHWA00248458               CRT-INGRAM0017             CRT-INGRAM0053
CHWA00252447               CRT-INGRAM0018             CRT-INGRAM0054
CHWA00253374               CRT-INGRAM0019             CRT-INGRAM0055
CHWA00253494               CRT-INGRAM0020             CRT-INGRAM0056
CHWA00253494               CRT-INGRAM0021             CRT-INGRAM0057
CHWA00256934               CRT-INGRAM0022             CRT-INGRAM0058
CHWA00256935               CRT-INGRAM0023             CRT-INGRAM0059
CHWA00256936               CRT-INGRAM0024             CRT-INGRAM0060
CHWA00256937               CRT-INGRAM0025             CRT-INGRAM0061
COMP_CRT00000001           CRT-INGRAM0026             CRT-INGRAM0062
COMP_CRT00000002           CRT-INGRAM0027             CRT-INGRAM0063
COMP_CRT00000003           CRT-INGRAM0028             CRT-INGRAM0064
CRT-BMART-0000151          CRT-INGRAM0029             CRT-INGRAM0065
CRT-BMART-0004170          CRT-INGRAM0030             CRT-INGRAM0066
CRT-CC-000001              CRT-INGRAM0031             CRT-INGRAM0067
CRT-CC-000001              CRT-INGRAM0032             CRT-INGRAM0068
CRT-CC-000001              CRT-INGRAM0033             CRT-INGRAM0069
CRT-CC-000001              CRT-INGRAM0034             CRT-INGRAM0070
CRT-CPMCM-0000141          CRT-INGRAM0035             CRT-INGRAM0071
CRT-ESI-00000236           CRT-INGRAM0036             CRT-INGRAM0072
CRT-INGRAM0001             CRT-INGRAM0037             CRT-INGRAM0073
CRT-INGRAM0002             CRT-INGRAM0038             CRT-INGRAM0074


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CRT-INGRAM0075             CRT-PCR-0000071            FOX00001475
CRT-INGRAM0076             CRT-PCR-0000072            FOX00007278
CRT-INGRAM0077             CRT-PCR-0000073            FOX00008337
CRT-INGRAM0078             CRT-PCR-0000074            FOX00012877
CRT-INGRAM0079             CRT-PCR-0000075            FOX00013201
CRT-INGRAM0080             CRT-PCR-0000076            FOX00013227
CRT-INGRAM0081             CRT-PCR-0000077            FOX00013683
CRT-INGRAM0082             CRT-PCR-0000078            FOX00017104
CRT-INGRAM0083             CRT-TWTR-0000051           FOX00021568
CRT-INGRAM0084             CRT-TWTR-0000319           FOX00034021
CRT-INGRAM0085             CRT-TWTR-0000320           FOX00034352
CRT-INGRAM0086             DISP_LCD_000128            FOX00034682
CRT-INGRAM0087             DISP_LCD_000129            FOX00042751
CRT-INGRAM0088             EIN0001223                 FOX00049579
CRT-INGRAM0089             EIN0001646                 FOX00050659
CRT-INGRAM0090             EIN0007630                 FOX00051317
CRT-INGRAM0091             EIN0008511                 FOX00051331
CRT-INGRAM0092             EIN0008741                 FOX00053789
CRT-MARTA-0000187          EIN0012176                 FOX00058998
CRT-MARTA-0043817          EIN0012319                 FOX00059048
CRT-PCR-0000055            EIN0012936                 FOX00109753
CRT-PCR-0000056            EIN0013251                 FOX00150410
CRT-PCR-0000057            EIN0017699                 FOX00206921
CRT-PCR-0000058            EIN0045304                 FOX00207286
CRT-PCR-0000059            EIN0045706                 FOX00247396
CRT-PCR-0000060            EIN0080519                 FOX00260327
CRT-PCR-0000061            EIN0091049                 FOX00260842
CRT-PCR-0000062            EIN0093371                 FOX00261544
CRT-PCR-0000063            EIN0096752                 FOX00261636
CRT-PCR-0000064            EIN0097477                 FOX00261734
CRT-PCR-0000065            EIN0104437                 FOX00263735
CRT-PCR-0000066            EIN0107208                 FOX00270978
CRT-PCR-0000067            EIN0109551                 FOX00277735
CRT-PCR-0000068            EIN0109841                 FOX00286125
CRT-PCR-0000069            ENV_NAT_00001              FOX00288335
CRT-PCR-0000070            ENV_NAT_00002              FOX00289507


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FOX00349257                HAS-CRT00053408            HDP-CRT00019426
FOX00360836                HAS-CRT00053869            HDP-CRT00020204
FOX00376373                HAS-CRT00064973            HDP-CRT00021038
FOX00377450                HAS-CRT00065403            HDP-CRT00022892
HAL-CRT00000052            HAS-CRT00065516            HDP-CRT00022897
HAL-CRT00001769            HAS-CRT00065649            HDP-CRT00022898
HAL-CRT00001805            HAS-CRT00065760            HDP-CRT00022900
HAL-CRT00004153            HAS-CRT00066029            HDP-CRT00022911
HAL-CRT00004184            HAS-CRT00066386            HDP-CRT00022920
HAL-CRT00004195            HAS-CRT00068017            HDP-CRT00023105
HAL-CRT00004579            HAS-CRT00078086            HDP-CRT00023144
HAL-CRT00004580            HAS-CRT00080379            HDP-CRT00023305
HAL-CRT00004968            HAS-CRT00082439            HDP-CRT00023324
HAL-CRT00004975            HAS-CRT00082439            HDP-CRT00023360
HAS-CRT00000012            HAS-CRT00082441            HDP-CRT00023402
HAS-CRT00000118            HAS-CRT00082462            HDP-CRT00023416
HAS-CRT00000567            HAS-CRT0031108             HDP-CRT00023427
HAS-CRT00014814            HDP-CRT00002269            HDP-CRT00023436
HAS-CRT00017921            HDP-CRT00004389            HDP-CRT00023467
HAS-CRT00018558            HDP-CRT00004406            HDP-CRT00023506
HAS-CRT00019876            HDP-CRT00004408            HDP-CRT00023603
HAS-CRT00020221            HDP-CRT00004416            HDP-CRT00023625
HAS-CRT00020567            HDP-CRT00004468            HDP-CRT00023725
HAS-CRT00028780            HDP-CRT00004899            HDP-CRT00023864
HAS-CRT00030122            HDP-CRT00005044            HDP-CRT00024172
HAS-CRT00030131            HDP-CRT00005257            HDP-CRT00024225
HAS-CRT00035961            HDP-CRT00005979            HDP-CRT00025568
HAS-CRT00036007            HDP-CRT00007139            HDP-CRT00025612
HAS-CRT00036054            HDP-CRT00007631            HDP-CRT00025646
HAS-CRT00040167            HDP-CRT000121872           HDP-CRT00025895
HAS-CRT00040183            HDP-CRT00018516            HDP-CRT00025915
HAS-CRT00040396            HDP-CRT00018516T           HDP-CRT00025921
HAS-CRT00046290            HDP-CRT00018517            HDP-CRT00025934
HAS-CRT00046629            HDP-CRT00018518            HDP-CRT00025972
HAS-CRT00052549            HDP-CRT00019300            HDP-CRT00025985
HAS-CRT00052565            HDP-CRT00019322            HDP-CRT00026077


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HDP-CRT00026082            HDP-CRT00048795            HDP-CRT00056846
HDP-CRT00026180            HDP-CRT00048797            HDP-CRT00057075
HDP-CRT00026189            HDP-CRT00049201            HDP-CRT00057240
HDP-CRT00026193            HDP-CRT00049231            HDP-CRT00057341
HDP-CRT00026197            HDP-CRT00049232            HDP-CRT00058221
HDP-CRT00026227            HDP-CRT00049270            HDP-CRT000S1351
HDP-CRT00026234            HDP-CRT00049280            HEDUS-CRT00000162
HDP-CRT00026272            HDP-CRT00049281            HEDUS-CRT00000165
HDP-CRT00026313            HDP-CRT00049291            HEDUS-CRT00000309
HDP-CRT00027193            HDP-CRT00049313            HEDUS-CRT00000466
HDP-CRT00027899            HDP-CRT00049348            HEDUS-CRT00000578
HDP-CRT00029344            HDP-CRT00049440            HEDUS-CRT00000612
HDP-CRT00030309            HDP-CRT00049520            HEDUS-CRT00001906
HDP-CRT00031213            HDP-CRT00050790            HEDUS-CRT00002029
HDP-CRT00033683            HDP-CRT00050989            HEDUS-CRT00002035
HDP-CRT00034248            HDP-CRT00051179            HEDUS-CRT00002071
HDP-CRT00034545            HDP-CRT00051298            HEDUS-CRT00002177
HDP-CRT00034649            HDP-CRT00051340            HEDUS-CRT00002861
HDP-CRT00035179            HDP-CRT00051344            HEDUS-CRT00003041
HDP-CRT00037583            HDP-CRT00051345            HEDUS-CRT00003070
HDP-CRT00037612            HDP-CRT00051348            HEDUS-CRT00003071
HDP-CRT00040299            HDP-CRT00051354            HEDUS-CRT00004705
HDP-CRT00043292            HDP-CRT00051407            HEDUS-CRT00005200
HDP-CRT00043427            HDP-CRT00051620            HEDUS-CRT00005546
HDP-CRT00043450            HDP-CRT00051622            HEDUS-CRT00006153
HDP-CRT00044037            HDP-CRT00051706            HEDUS-CRT00006365
HDP-CRT00044122            HDP-CRT00052500            HEDUS-CRT00007401
HDP-CRT00044868            HDP-CRT00052669            HEDUS-CRT00009166
HDP-CRT00047209            HDP-CRT00055091            HEDUS-CRT00012186
HDP-CRT00047800            HDP-CRT00056055            HEDUS-CRT00014404
HDP-CRT00048049            HDP-CRT00056159            HEDUS-CRT00015110
HDP-CRT00048081            HDP-CRT00056170            HEDUS-CRT00015540
HDP-CRT00048189            HDP-CRT00056186            HEDUS-CRT00017051
HDP-CRT00048232            HDP-CRT00056188            HEDUS-CRT00018407
HDP-CRT0004869             HDP-CRT00056546            HEDUS-CRT00020788
HDP-CRT00048694            HDP-CRT00056730            HEDUS-CRT00020789


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HEDUS-CRT00020790          HEDUS-CRT00096772          HEDUS-CRT00160541
HEDUS-CRT00020791          HEDUS-CRT00096782          HEDUS-CRT00160800
HEDUS-CRT00020792          HEDUS-CRT00096793          HEDUS-CRT00161616
HEDUS-CRT00020793          HEDUS-CRT00096818          HEDUS-CRT00162087
HEDUS-CRT00020794          HEDUS-CRT00096831          HEDUS-CRT00162777
HEDUS-CRT00022872          HEDUS-CRT00096837          HEDUS-CRT00162931
HEDUS-CRT00024760          HEDUS-CRT00104763          HEDUS-CRT00163181
HEDUS-CRT00026544          HEDUS-CRT00125885          HEDUS-CRT00163693
HEDUS-CRT00029023          HEDUS-CRT00126016          HEDUS-CRT00163723
HEDUS-CRT00033182          HEDUS-CRT00126196          HEDUS-CRT00164095
HEDUS-CRT00033736          HEDUS-CRT00126328          HEDUS-CRT00165925
HEDUS-CRT00034967          HEDUS-CRT00126463          HEDUS-CRT00166844
HEDUS-CRT00037581          HEDUS-CRT00126627          HEDUS-CRT00168473
HEDUS-CRT00039696          HEDUS-CRT00146312          HEDUS-CRT00168774
HEDUS-CRT00042169          HEDUS-CRT00151290          HEDUS-CRT00169679
HEDUS-CRT00042450          HEDUS-CRT00152072          HEDUS-CRT00171902
HEDUS-CRT00044346          HEDUS-CRT00152139          HEDUS-CRT00172022
HEDUS-CRT00046017          HEDUS-CRT00152139P0001     HEDUS-CRT00173035
HEDUS-CRT00047779          HEDUS-CRT00152150          HEDUS-CRT00174034
HEDUS-CRT00049360          HEDUS-CRT00152273          HEDUS-CRT00177346
HEDUS-CRT00049395          HEDUS-CRT00152762          HEDUS-CRT00177823
HEDUS-CRT00049400          HEDUS-CRT00152810          HEDUS-CRT00179555
HEDUS-CRT00051194          HEDUS-CRT00154001          HEDUS-CRT00179555
HEDUS-CRT00060200          HEDUS-CRT00155212          HEDUS-CRT00179654
HEDUS-CRT00062277          HEDUS-CRT00155298          HEDUS-CRT00179660
HEDUS-CRT00063068          HEDUS-CRT00155581          HEDUS-CRT00179696
HEDUS-CRT00063591          HEDUS-CRT00155907          HEDUS-CRT00179852
HEDUS-CRT00063642          HEDUS-CRT00155940          HEDUS-CRT00183949
HEDUS-CRT00067732          HEDUS-CRT00156572          HEDUS-CRT00186930
HEDUS-CRT00071204          HEDUS-CRT00158208          HEDUS-CRT00187248
HEDUS-CRT00076244          HEDUS-CRT00158232          HEDUS-CRT00187249
HEDUS-CRT00078089          HEDUS-CRT00159574          HEDUS-CRT00188863
HEDUS-CRT00081461          HEDUS-CRT00159817          HEDUS-CRT00188865
HEDUS-CRT00096742          HEDUS-CRT00159846          HEDUS-CRT00188886
HEDUS-CRT00096752          HEDUS-CRT00159939          HITDOJCRTCIV00000001
HEDUS-CRT00096762          HEDUS-CRT00160538          HTC-CRT00000002


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HTC-CRT00000020             LGE00009841                LGE00054431
HTC-CRT00000022             LGE00009844                LGE00055218
HTC-CRT00000024             LGE00009918                LGE00055875
HTC-CRT00000034             LGE00010017                LGE00055878 P-0001
HTC-CRT00000050             LGE00010071                LGE00056100
HTC-CRT00000737             LGE00010193                LGE00056133 P-0001
JLJ-00000669                LGE00010355                LGE00056595
JLJ-00000729                LGE00010602                LGE00056600
JLJ-00000781                LGE00011058                LGE00056624
JLJ-00000811                LGE00011209                LGE00056673
JLJ-00000879                LGE00042824                LGE00056677
JLJ-00001080                LGE00043698                LGE00056677
JLJ-00002777                LGE00044913                LGE00056682
JLJ-00003320                LGE00046015                LGE00056687
JLJ-00004628                LGE00049118                LGE00056699
KMRT-CRT00000001            LGE00049228                LGE00056738
KMRT-CRT00000002            LGE00050133                LGE00056819
KMRT-CRT00000003            LGE00050474                LGE00056994
KMRT-CRT00000004            LGE00050755                LGE00057005
KMRT-CRT00000005            LGE00050974                LGE00057009
KMRT-CRT00000006            LGE00051383                LGE00057013
KMRT-CRT00000007            LGE00051520                LGE00057023
KMRT-CRT00000008            LGE00051690                LGE00057028
KMRT-CRT00000009            LGE00051737                LGE00057049
KMRT-CRT00000010            LGE00051939                LGE00057063
KMRT-CRT00000011            LGE00051948                LGE00057081
KMRT-CRT00000012            LGE00051977                LGE00057103
KMRT-CRT00000013            LGE00051978                LGE00057133
KMRT-CRT00000014            LGE00052952                LGE00057134
KMRT-CRT00000015            LGE00053339                LGE00057233
KMRT-CRT00000016            LGE00053385                LGE00057235
LGE0000054                  LGE00053624                LGE00057277
LGE00002248                 LGE00053662                LGE00057293
LGE00005290                 LGE00053684                LGE00057325
LGE00009413                 LGE00053780                LGE00057326
LGE00009465                 LGE00054179                LGE00057330


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LGE00057335                LGE00057740                LGE00078775
LGE00057343                LGE00057741                LGE00078881
LGE00057344                LGE00057745                LGE00079056
LGE00057359                LGE00057749                LGE00079473
LGE00057360                LGE00057771                LGE00079676
LGE00057363                LGE00057776                LGE00081653
LGE00057425                LGE00057794                LGE00081655
LGE00057426                LGE00057814                LGE00082588
LGE00057461                LGE00057836                LGE00082760
LGE00057465                LGE00057877                LGE00082762
LGE00057476                LGE00057908                LGE00082765
LGE00057480                LGE00058322                LGE00083154
LGE00057481                LGE00059377                LGE00083841
LGE00057487                LGE00059504                LGE00087354
LGE00057487                LGE00059639                LGE00088966
LGE00057527                LGE00059642                LGE00089293
LGE00057527                LGE00060500                LGE00089431
LGE00057547                LGE00060517                LGE00091165
LGE00057554                LGE00060914                LGE00091898
LGE00057554                LGE00062760                LGE00091900
LGE00057560                LGE00063138                LGE00091909
LGE00057579                LGE00064985                LGE00091912
LGE00057582                LGE00065495                LGE00091923
LGE00057582                LGE00067113                LGEUSA0000001
LGE00057595                LGE00067202                LGEUSA0001061
LGE00057596                LGE00068402                LGEUSA0001068
LGE00057596                LGE00068664                LGEUSA0001073
LGE00057600                LGE00069046                LPD_00000549
LGE00057605                LGE00069189                LPD_00000572
LGE00057608                LGE00069844                LPD_00000573
LGE00057608                LGE00070915                LPD_00000577
LGE00057695                LGE00073717                LPD_00000596
LGE00057710                LGE00074851                LPD_00001054
LGE00057716                LGE00076321                LPD_00001201
LGE00057723                LGE00076322                LPD_00001270
LGE00057733                LGE00077194                LPD_00001363


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LPD_00001364               LPD_00003108               LPD_00005134
LPD_00001428               LPD_00003109               LPD_00005418
LPD_00001434               LPD_00003110               LPD_00005431
LPD_00001749               LPD_00003112               LPD_00005432
LPD_00001750               LPD_00003404               LPD_00005433
LPD_00001751               LPD_00004040               LPD_00005434
LPD_00001752               LPD_00004044               LPD_00005508
LPD_00001753               LPD_00004135               LPD_00005516
LPD_00001754               LPD_00004136               LPD_00005609
LPD_00001755               LPD_00004137               LPD_00005749
LPD_00001756               LPD_00004138               LPD_00005772
LPD_00001757               LPD_00004139               LPD_00006462
LPD_00001758               LPD_00004140               LPD_00006471
LPD_00001963               LPD_00004141               LPD_00006654
LPD_00002678               LPD_00004142               LPD_00006694
LPD_00002679               LPD_00004143               LPD_00007164
LPD_00002680               LPD_00004144               LPD_00007571
LPD_00002681               LPD_00004146               LPD_00007683
LPD_00002682               LPD_00004147               LPD_00007694
LPD_00002683               LPD_00004148               LPD_00007728
LPD_00002684               LPD_00004151               LPD_00007761
LPD_00002685               LPD_00004477               LPD_00007771
LPD_00002686               LPD_00004573               LPD_00007788
LPD_00002687               LPD_00005119               LPD_00007806
LPD_00002688               LPD_00005120               LPD_00007823
LPD_00002689               LPD_00005121               LPD_00007850
LPD_00003097               LPD_00005122               LPD_00008175
LPD_00003098               LPD_00005123               LPD_00008176
LPD_00003099               LPD_00005124               LPD_0000821
LPD_00003100               LPD_00005125               LPD_00008857
LPD_00003102               LPD_00005126               LPD_00008907
LPD_00003103               LPD_00005127               LPD_00010442
LPD_00003104               LPD_00005128               LPD_00010444
LPD_00003105               LPD_00005129               LPD_00010446
LPD_00003106               LPD_00005130               LPD_00010452
LPD_00003107               LPD_00005133               LPD_00010476


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Exhibit B: Documents Considered in the Expert Report of Expert
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LPD_00010477               LPD_00014561               LPD_00028009
LPD_00010478               LPD_00014563               LPD_00029635
LPD_00010479               LPD_00014564               LPD_00030139
LPD_00010512               LPD_00014575               LPD_00030151
LPD_00010656               LPD_00014578               LPD_00030164
LPD_00010728               LPD_00014581               LPD_00030766
LPD_00010731               LPD_00014582               LPD_00030912
LPD_00010779               LPD_00014583               LPD_00031285
LPD_00010786               LPD_00014592               LPD_00031288
LPD_00010788               LPD_00014597               LPD_00031538
LPD_00010868               LPD_00014598               LPD_00031539
LPD_00010875               LPD_00014945               LPD_00031540
LPD_00010884               LPD_00014972               LPD_00031769
LPD_00010888               LPD_00014974               LPD_00033679
LPD_00010918               LPD_00015216               LPD_00034186
LPD_00010921               LPD_00015242               LPD_00034198
LPD_00010931               LPD_00015955               LPD_00034201
LPD_00010955               LPD_00016784               LPD_00034203
LPD_00010971               LPD_00017254               LPD_00034208
LPD_00010975               LPD_00019519               LPD_00034228
LPD_00010987               LPD_00019895               LPD_00034241
LPD_00011037               LPD_00021377               LPD_00034248
LPD_00011039               LPD_00023646               LPD_00034256
LPD_00011053               LPD_00023660               LPD_00034480
LPD_00011130               LPD_00024316               LPD_00034681
LPD_00011154               LPD_00024317               LPD_00034697
LPD_00011155               LPD_00024318               LPD_00034709
LPD_00011813               LPD_00024319               LPD_00034710
LPD_00013386               LPD_00024321               LPD_00034711
LPD_00013423               LPD_00024322               LPD_00034712
LPD_00013511               LPD_00024322               LPD_00034713
LPD_00013819               LPD_00024323               LPD_00034786
LPD_00013836               LPD_00024324               LPD_00034787
LPD_00014093               LPD_00024325               LPD_00034805
LPD_00014197               LPD_00024326               LPD_00034806
LPD_00014554               LPD_00024327               LPD_00034809


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LPD_00035549               LPD-NL00018242             MTPD-00653133
LPD_00035859               LPD-NL00031168             MTPD-00653135
LPD_00035873               LPD-NL00031186             MTPD-00653451
LPD_00036154               LPD-NL00117861             MTPD-00653452
LPD_00036774               LPD-NL00170983             MTPD-00653453
LPD_00037379               LPD-NL00213432             MTPD-00653454
LPD_00037407               LPD-NL00227436             MTPD-00653455
LPD_00040893               ME 0001                    MTPD-00653456
LPD_00041016               ME 0014                    MTPD-00653457
LPD_00041018               ME 0209                    MTPD-00653459
LPD_00041318               ME 0212                    MTPD-00653460
LPD_00041447               MPTD-0497655               MTPD-00653461
LPD_00041455               MTPD-0009514               MTPD-00653462
LPD_00041972               MTPD-0013142               MTPD-00653463
LPD_00041973               MTPD-0014062               MTPD-00653464
LPD_00042240               MTPD-0016566               MTPD-00653465
LPD_00042476               MTPD-0021647               MTPD-00653466
LPD_00042478               MTPD-0024384               MTPD-00653467
LPD_00042916               MTPD-0025531               MTPD-00653468
LPD_00042928               MTPD-0025632               MTPD-00653469
LPD_00042928               MTPD-0025634               MTPD-00653470
LPD_00042943               MTPD-0025720               MTPD-00653473
LPD_00042968               MTPD-0025802               MTPD-00653474
LPD_00042989               MTPD-0026026               MTPD-00653475
LPD_00043190               MTPD-0026263               MTPD-00653476
LPD_00043214               MTPD-0027035               MTPD-00653477
LPD_00043238               MTPD-0032366               MTPD-00653478
LPD_00043752               MTPD-0035375               MTPD-00653479
LPD_00044210               MTPD-0037897               MTPD-00653480
LPD_00044227               MTPD-0038856               MTPD-00653481
LPD_00044856               MTPD-0041014               MTPD-00653484
LPD_00045454               MTPD-0042010               MTPD-00653485
LPD_00070972               MTPD-0042034               MTPD-00653486
LPD-00000279               MTPD-0042116               MTPD-00653487
LPD-00000280               MTPD-0042484               MTPD-00653505
LPD-NL00006739             MTPD-0042738               MTPD-00653514


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MTPD-00653515              MTPD-00653613              MTPD-00653650
MTPD-00653517              MTPD-00653614              MTPD-00653651
MTPD-00653521              MTPD-00653615              MTPD-00653652
MTPD-00653523              MTPD-00653616              MTPD-00653653
MTPD-00653524              MTPD-00653617              MTPD-00653654
MTPD-00653525              MTPD-00653618              MTPD-00653655
MTPD-00653526              MTPD-00653619              MTPD-00653656
MTPD-00653527              MTPD-00653620              MTPD-00653657
MTPD-00653528              MTPD-00653621              MTPD-00653658
MTPD-00653529              MTPD-00653622              MTPD-00653659
MTPD-00653536              MTPD-00653623              MTPD-00653660
MTPD-00653546              MTPD-00653624              MTPD-00653661
MTPD-00653546              MTPD-00653625              MTPD-00653662
MTPD-00653547              MTPD-00653627              MTPD-00653663
MTPD-00653549              MTPD-00653628              MTPD-00653664
MTPD-00653551              MTPD-00653629              MTPD-00653665
MTPD-00653552              MTPD-00653630              MTPD-00653666
MTPD-00653559              MTPD-00653631              MTPD-00653667
MTPD-00653560              MTPD-00653632              MTPD-00653668
MTPD-00653561              MTPD-00653633              MTPD-00653669
MTPD-00653584              MTPD-00653634              MTPD-00653670
MTPD-00653585              MTPD-00653635              MTPD-00653671
MTPD-00653586              MTPD-00653636              MTPD-00653672
MTPD-00653587              MTPD-00653637              MTPD-00653673
MTPD-00653588              MTPD-00653638              MTPD-00653673
MTPD-00653589              MTPD-00653639              MTPD-00653674
MTPD-00653590              MTPD-00653640              MTPD-00653675
MTPD-00653591              MTPD-00653641              MTPD-00653676
MTPD-00653592              MTPD-00653642              MTPD-00653677
MTPD-00653594              MTPD-00653643              MTPD-00653678
MTPD-00653595              MTPD-00653644              MTPD-00653679
MTPD-00653597              MTPD-00653645              MTPD-00653680
MTPD-00653598              MTPD-00653646              MTPD-00653681
MTPD-00653599              MTPD-00653647              MTPD-00653682
MTPD-00653600              MTPD-00653648              MTPD-00653683
MTPD-00653612              MTPD-00653649              MTPD-00653684


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MTPD-00653685              MTPD-0086013               MTPD-0218512
MTPD-00653686              MTPD-0092115 P-0001        MTPD-0220066
MTPD-00653687              MTPD-0094874               MTPD-0222756
MTPD-00653688              MTPD-0094876               MTPD-0223553
MTPD-00653689              MTPD-0122906               MTPD-0223727E
MTPD-00653690              MTPD-0126307               MTPD-0223728
MTPD-00653691              MTPD-0132012               MTPD-0223728E
MTPD-00653692              MTPD-0141811               MTPD-0223790
MTPD-00653693              MTPD-0153291               MTPD-0230970
MTPD-00653694              MTPD-0161403               MTPD-0233116
MTPD-00653695              MTPD-0164693               MTPD-0236375
MTPD-00653696              MTPD-0165028               MTPD-0236383
MTPD-00653697              MTPD-0165126               MTPD-0238747
MTPD-00653698              MTPD-0166775               MTPD-0238939
MTPD-00653706              MTPD-0167509               MTPD-0240377
MTPD-00653713              MTPD-0167709               MTPD-0244685
MTPD-00653714              MTPD-0168215               MTPD-0247084
MTPD-00653737              MTPD-0171231               MTPD-0248484
MTPD-00653738              MTPD-0173688               MTPD-0250610
MTPD-00653753              MTPD-0183683               MTPD-0250938
MTPD-00653758              MTPD-0194013               MTPD-0251941
MTPD-00653767              MTPD-0194999               MTPD-0257306
MTPD-00653768              MTPD-0196717               MTPD-0260906
MTPD-00653777              MTPD-0198678               MTPD-0267083
MTPD-00653779              MTPD-0200766               MTPD-0275029
MTPD-00653784              MTPD-0201354               MTPD-0276412
MTPD-0082527               MTPD-0201555               MTPD-0276417
MTPD-0082529               MTPD-0201556               MTPD-0280442
MTPD-0082530               MTPD-0202360               MTPD-0282214
MTPD-0083564               MTPD-0202647               MTPD-0283313
MTPD-0083663               MTPD-0202847               MTPD-0291761
MTPD-0084106               MTPD-0209554               MTPD-0296403
MTPD-0084222               MTPD-0209617               MTPD-0300203
MTPD-0084523               MTPD-0212628               MTPD-0303225
MTPD-0085690               MTPD-0213602               MTPD-0307367
MTPD-0085883               MTPD-0214546               MTPD-0327190


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MTPD-0327723               MTPD-0401221               MTPD-0423651
MTPD-0327724               MTPD-0401222               MTPD-0423658
MTPD-0327725               MTPD-0401223               MTPD-0423668
MTPD-0327726               MTPD-0401224               MTPD-0423675
MTPD-0327727               MTPD-0401225               MTPD-0423825
MTPD-0327728               MTPD-0401226               MTPD-0423916
MTPD-0327729               MTPD-0401227               MTPD-0423918
MTPD-0327730               MTPD-0401463               MTPD-0423935
MTPD-0330545               MTPD-0401519               MTPD-0424152
MTPD-0332860               MTPD-0403729               MTPD-0424320
MTPD-0335675               MTPD-0404366               MTPD-0425352
MTPD-0336313               MTPD-0404990               MTPD-0426017
MTPD-0337961               MTPD-0408072               MTPD-0426066
MTPD-0338867               MTPD-0410018               MTPD-0426088
MTPD-0343504               MTPD-0410020               MTPD-0426099
MTPD-0343877               MTPD-0410475               MTPD-0427641
MTPD-0343935E              MTPD-0410562               MTPD-0428403
MTPD-0343949               MTPD-0410904               MTPD-0428439
MTPD-0345134               MTPD-0413158               MTPD-0428453
MTPD-0347731               MTPD-0414263               MTPD-0428842
MTPD-0400019               MTPD-0416090               MTPD-0432713
MTPD-0400021               MTPD-0417467               MTPD-0435860
MTPD-0400111               MTPD-0418116               MTPD-0436014
MTPD-0400279               MTPD-0419080               MTPD-0436378
MTPD-0400554               MTPD-0419572               MTPD-0438260
MTPD-0400555               MTPD-0420756               MTPD-0438320
MTPD-0400564               MTPD-0421386               MTPD-0438871
MTPD-0400569               MTPD-0421457               MTPD-0451046
MTPD-0400573               MTPD-0421698               MTPD-0454522
MTPD-0400574               MTPD-0422948               MTPD-0454526
MTPD-0400578               MTPD-0423111               MTPD-0454579
MTPD-0400580               MTPD-0423166               MTPD-0455813
MTPD-0400595               MTPD-0423645               MTPD-0455816
MTPD-0400597               MTPD-0423646               MTPD-0455847
MTPD-0400599               MTPD-0423648               MTPD-0457654
MTPD-0401219               MTPD-0423648               MTPD-0463507


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MTPD-046823                MTPD-0497052                MTPD-0538527
MTPD-0468550               MTPD-0497280                MTPD-0540538
MTPD-0468631               MTPD-0497655                MTPD-0543148
MTPD-0468754               MTPD-0504720                MTPD-0544058
MTPD-0473547               MTPD-0504721                MTPD-0544895
MTPD-0479473               MTPD-0504767                MTPD-0545662
MTPD-0479632               MTPD-0504768 (Sheet 1) P-   MTPD-0547357
                           0001
MTPD-0479660                                           MTPD-0549736
                           MTPD-0505719 (Sheet 1) P-
MTPD-0479668                                           MTPD-0550144
                           0001
MTPD-0479669                                           MTPD-0550829
                           MTPD-0508516
MTPD-0479670                                           MTPD-0551610
                           MTPD-0514562
MTPD-0479681                                           MTPD-0553425
                           MTPD-0514603
MTPD-0479714                                           MTPD-0559419
                           MTPD-0514606
MTPD-0479721                                           MTPD-0561182
                           MTPD-0515912
MTPD-0479725                                           MTPD-0561869
                           MTPD-0516759
MTPD-0479726                                           MTPD-0561871
                           MTPD-0517540
MTPD-0479728                                           MTPD-0561895
                           MTPD-0517543
MTPD-0479732                                           MTPD-0565798
                           MTPD-0517734
MTPD-0479738                                           MTPD-0570292
                           MTPD-0517933
MTPD-0479739                                           MTPD-0570796
                           MTPD-0518169
MTPD-0479742                                           MTPD-0570828
                           MTPD-0518509
MTPD-0479751                                           MTPD-0570911
                           MTPD-0521744
MTPD-0479781                                           MTPD-0572750
                           MTPD-0525932
MTPD-0479837                                           MTPD-0572806
                           MTPD-0526950
MTPD-0483335                                           MTPD-0573247
                           MTPD-0527744
MTPD-0483338                                           MTPD-0573591
                           MTPD-0527912
MTPD-0485511                                           MTPD-0573620
                           MTPD-0527913
MTPD-0486917                                           MTPD-0573683
                           MTPD-0527914
MTPD-0490549                                           MTPD-0573703
                           MTPD-0527915
MTPD-0491751                                           MTPD-0573740
                           MTPD-0527925
MTPD-0491774                                           MTPD-0573783
                           MTPD-0527925
MTPD-0492286                                           MTPD-0573796
                           MTPD-0527938
MTPD-0493549                                           MTPD-0574374
                           MTPD-0527938
MTPD-0493551                                           MTPD-0575489
                           MTPD-0529560
MTPD-0493552                                           MTPD-0575634
                           MTPD-0533137
MTPD-0497049                                           MTPD-0575714
                           MTPD-0533328


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MTPD-0575940               MTPD-0605248               MTPDA_SEC-0692820
MTPD-0575968               MTPD-0607489               MTPDA_SEC-0746526
MTPD-0576016               MTPD-0607496               MTPDA_SEC-0775526
MTPD-0576023               MTPD-0607496               MTPDA_SEC-0794523
MTPD-0576311               MTPD-0607571               MTPDA_SEC-0827153
MTPD-0576445               MTPD-0607585               MTPDA_SEC-0830214
MTPD-0576458               MTPD-0607598               MTPDA_SEC-0830216
MTPD-0576464               MTPD-0607605               MTPDA_SEC-0884137
MTPD-0576483               MTPD-0607728               MTPDA_SEC-0896104
MTPD-0576489               MTPD-0607745               MTPDA_SEC-1050750
MTPD-0576723               MTPD-0608058               MTPDA_SEC-1051148
MTPD-0576738               MTPD-0608932               MTPDA_SEC-1051557
MTPD-0576804               MTPD-0610046               MTPDA_SEC-1051935
MTPD-0576881               MTPD-0610940               MTPDA_SEC-1052303
MTPD-0580567               MTPD-0618135               MTPDA_SEC-1052728
MTPD-0580726               MTPD-0622464               MTPDA_SEC-1053134
MTPD-0580727               MTPD-0630025               MTPDA_SEC-1053518
MTPD-0580737               MTPD-0635167               MTPDA_SEC-1053906
MTPD-0580741               MTPD-0637764               MTPDA_SEC-1054265
MTPD-0580751               MTPD-0637815               MTPDA_SEC-1054605
MTPD-0580775               MTPD-0642663               MTPDA_SEC-1059623
MTPD-0580782               MTPD-0652301               MTPDA_SEC-1111093
MTPD-0580795               MTPD-0652308               MTPDA_SEC-1111992
MTPD-0580798               MTPD-0652308               MTPDA_SEC-1377349
MTPD-0580812               MTPD-0652322               ODP000001
MTPD-0580821               MTPD-0653054               ODP000035
MTPD-0580871               MTPD-0653056               ODP000049
MTPD-0581343               MTPD-0653072               ODP000340
MTPD-0582464               MTPD-0653079               ODP000381
MTPD-0583075               MTPD-0653084               PAN0000031
MTPD-0583080               MTPD-0653094               PC-0000242
MTPD-0583104               MTPD-0653484               PC-0000746
MTPD-0587280               MTPD-490551                PC-0000783
MTPD-0597225               MTPDA_SEC-0575817          PC-0002774
MTPD-0599132               MTPDA_SEC-0653204          PC-0003982
MTPD-0599134               MTPDA_SEC-0666226          PC-0008749


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PC-0009673                 PHLP-CRT-010948            PHLP-CRT-021368
PC-0010115                 PHLP-CRT-010963            PHLP-CRT-022384
PC-0014424                 PHLP-CRT-010965            PHLP-CRT-023515
PC-0014582                 PHLP-CRT-012076            PHLP-CRT-023911
PC-0015325                 PHLP-CRT-012360            PHLP-CRT-024532
PC-0015331                 PHLP-CRT-012378            PHLP-CRT-024697
PC-0015347                 PHLP-CRT-012646            PHLP-CRT-024925
PC-0015622                 PHLP-CRT-013087            PHLP-CRT-025735
PC-0015659                 PHLP-CRT-013620            PHLP-CRT-025872
PC-0018759                 PHLP-CRT-013964            PHLP-CRT-026085
PC-0020381                 PHLP-CRT-014038            PHLP-CRT-026590
PC-0020382                 PHLP-CRT-014085            PHLP-CRT-027419
PC-0020383                 PHLP-CRT-014141            PHLP-CRT-027421
PC-0020552                 PHLP-CRT-014144            PHLP-CRT-027422
PC-0020557                 PHLP-CRT-014272            PHLP-CRT-027718
PC-0020560                 PHLP-CRT-014275            PHLP-CRT-027766
PC-0020562                 PHLP-CRT-014292            PHLP-CRT-027856
PENAC000273                PHLP-CRT-014586            PHLP-CRT-028050
PENAC-DOJ-0000713          PHLP-CRT-014819            PHLP-CRT-028162
PHLP-CRT-001323            PHLP-CRT-014819            PHLP-CRT-029512
PHLP-CRT-001557            PHLP-CRT-014823            PHLP-CRT-029673
PHLP-CRT-002306            PHLP-CRT-014823            PHLP-CRT-029676
PHLP-CRT-003818            PHLP-CRT-015235            PHLP-CRT-030355
PHLP-CRT-005242            PHLP-CRT-015377            PHLP-CRT-030703
PHLP-CRT-005855            PHLP-CRT-015381            PHLP-CRT-030989
PHLP-CRT-006057            PHLP-CRT-015551            PHLP-CRT-033556
PHLP-CRT-006657            PHLP-CRT-015551            PHLP-CRT-034139
PHLP-CRT-006745            PHLP-CRT-016207            PHLP-CRT-034835
PHLP-CRT-006753            PHLP-CRT-016944            PHLP-CRT-034835
PHLP-CRT-007941            PHLP-CRT-017191            PHLP-CRT-035014
PHLP-CRT-009137            PHLP-CRT-017195            PHLP-CRT-035016
PHLP-CRT-009518            PHLP-CRT-017799            PHLP-CRT-035382
PHLP-CRT-009807            PHLP-CRT-019191            PHLP-CRT-038225
PHLP-CRT-010175            PHLP-CRT-020258            PHLP-CRT-038749
PHLP-CRT-010533            PHLP-CRT-020283            PHLP-CRT-039598
PHLP-CRT-010945            PHLP-CRT-021368            PHLP-CRT-039880


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PHLP-CRT-041475            PHLP-CRT-072983               PHLP-CRT-088753
PHLP-CRT-042025            PHLP-CRT-076881               PHLP-CRT-089512
PHLP-CRT-042450            PHLP-CRT-077930               PHLP-CRT-089518
PHLP-CRT-047867            PHLP-CRT-078331               PHLP-CRT-089716
PHLP-CRT-047878            PHLP-CRT-078366               PHLP-CRT-089887
PHLP-CRT-048267            PHLP-CRT-078887               PHLP-CRT-090156
PHLP-CRT-048269            PHLP-CRT-079191               PHLP-CRT-091378
PHLP-CRT-049353            PHLP-CRT-079204               PHLP-CRT-092187
PHLP-CRT-049357            PHLP-CRT-080037               PHLP-CRT-092570
PHLP-CRT-050266            PHLP-CRT-080275               PHLP-CRT-092606
PHLP-CRT-050787            PHLP-CRT-080277               PHLP-CRT-095492
PHLP-CRT-050960            PHLP-CRT-080289               PHLP-CRT-095505
PHLP-CRT-051472            PHLP-CRT-080312               PHLP-CRT-095537
PHLP-CRT-051753            PHLP-CRT-080351               PHLP-CRT-095826
PHLP-CRT-051982            PHLP-CRT-080376               PHLP-CRT-095826
PHLP-CRT-052781            PHLP-CRT-080573               PHLP-CRT-095826
PHLP-CRT-053426            PHLP-CRT-080623               PHLP-CRT-095919
PHLP-CRT-053466            PHLP-CRT-081171               PHLP-CRT-096125
PHLP-CRT-053781            PHLP-CRT-081370               PHLP-CRT-097351
PHLP-CRT-053815            PHLP-CRT-081451               PHLP-CRT-097975
PHLP-CRT-056099            PHLP-CRT-081746               PHLP-CRT-098241
PHLP-CRT-059614            PHLP-CRT-081748               PHLP-CRT-098244
PHLP-CRT-062180            PHLP-CRT-081982               PHLP-CRT-099333
PHLP-CRT-065480            PHLP-CRT-081989               PHLP-CRT-106080
PHLP-CRT-067513            PHLP-CRT-082072               PHLP-CRT-113437
PHLP-CRT-067782            PHLP-CRT-082464               PHLP-CRT-123025
PHLP-CRT-067904            PHLP-CRT-082631               PHLP-CRT-123437
PHLP-CRT-069175            PHLP-CRT-084116               PHLP-CRT-130382
PHLP-CRT-069570            PHLP-CRT-084315               PHLP-CRT-130382
PHLP-CRT-070774            PHLP-CRT-085339 (File 1) P-   PHLP-CRT-130383
                           0001
PHLP-CRT-071566                                          PHLP-CRT-130383
                           PHLP-CRT-086270
PHLP-CRT-071977                                          PHLP-CRT-130384
                           PHLP-CRT-087483
PHLP-CRT-072002                                          PHLP-CRT-130384
                           PHLP-CRT-088261
PHLP-CRT-072311                                          PHLP-CRT-130385
                           PHLP-CRT-088263
PHLP-CRT-072392                                          PHLP-CRT-130386
                           PHLP-CRT-088450
PHLP-CRT-072839                                          PHLP-CRT-130387
                           PHLP-CRT-088752

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PHLP-CRT-130388            RADS_CRT_00000005          SDCRT-0002416
PHLP-CRT-130389            RADS_CRT_00000006          SDCRT-0002423
PHLP-CRT-130390            RADS_CRT_00000007          SDCRT-0002448
PHLP-CRT-130391            RADS_CRT_00000008          SDCRT-0002478
PHLP-CRT-131584            RADS_CRT_00000009          SDCRT-0002488
PNA-0017752                RADS_CRT_00000010          SDCRT-0002506
PNA-0021689                SDCR T-0051697             SDCRT-0002514
PNA-0021689                SDCR T-0089060             SDCRT-0002515
PNA-0027169                SDCRT-0000006              SDCRT-0002526
PNA-0027170                SDCRT-0000039              SDCRT-0002533
PNA-0027171                SDCRT-0000121              SDCRT-0002543
PNA-0027172                SDCRT-0000258              SDCRT-0002562
PNA-0027173                SDCRT-0000291              SDCRT-0002567
PNA-0027174                SDCRT-0000426              SDCRT-0002582
PNA-0027182                SDCRT-0000469              SDCRT-0002584
PTC-00000796               SDCRT-0000523              SDCRT-0002585
PTC-00001149               SDCRT-0000664              SDCRT-0002588
PTC-00001189               SDCRT-0001619              SDCRT-0002593
PTC-00006474               SDCRT-0001654              SDCRT-0002595
PTC-00006522               SDCRT-0001675              SDCRT-0002984
PTC-00006549               SDCRT-0001715              SDCRT-0002998
PTC-00006552               SDCRT-0001750              SDCRT-0003034
PTC-00006564               SDCRT-0001818              SDCRT-0003036
PTC-00006608               SDCRT-0001846              SDCRT-0003084
PTC-00007205               SDCRT-0001854              SDCRT-0005170
PTC-00007223               SDCRT-0002028              SDCRT-0005180
PTC-00007239               SDCRT-0002029              SDCRT-0005645
PTC-00007512               SDCRT-0002130              SDCRT-0005709
PTC-00007644               SDCRT-0002203              SDCRT-0005717
PTC-00008160               SDCRT-0002283              SDCRT-0005813
PTC-00008572               SDCRT-0002363              SDCRT-0005818
PTC-00008609               SDCRT-0002375              SDCRT-0005830
PTC-00009040               SDCRT-0002412              SDCRT-0005831
RADS_CRT_00000002          SDCRT-0002413              SDCRT-0005854
RADS_CRT_00000003          SDCRT-0002414              SDCRT-0005856
RADS_CRT_00000004          SDCRT-0002415              SDCRT-0005874


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SDCRT-0005888              SDCRT-0007173              SDCRT-0013439
SDCRT-0005903              SDCRT-0007237              SDCRT-0013856
SDCRT-0005929              SDCRT-0007239              SDCRT-0016638
SDCRT-0005933              SDCRT-0007275              SDCRT-0020190
SDCRT-0005941              SDCRT-0007276              SDCRT-0020516
SDCRT-0005944              SDCRT-0007277              SDCRT-0020517
SDCRT-0005949              SDCRT-0007280              SDCRT-0020549
SDCRT-000598               SDCRT-0007282              SDCRT-0020688
SDCRT-0005996              SDCRT-0007538              SDCRT-0020884
SDCRT-0006041              SDCRT-0007539              SDCRT-0021274
SDCRT-0006043              SDCRT-0007580              SDCRT-0021278
SDCRT-0006266              SDCRT-0007585              SDCRT-0021338
SDCRT-0006307              SDCRT-0007588              SDCRT-0021359
SDCRT-0006345              SDCRT-0007599              SDCRT-0022048
SDCRT-0006370              SDCRT-0007602              SDCRT-0022060
SDCRT-0006442              SDCRT-0007609              SDCRT-0022235
SDCRT-0006510              SDCRT-0007615              SDCRT-0022272
SDCRT-0006513              SDCRT-0008688              SDCRT-0022273
SDCRT-0006587              SDCRT-00087007             SDCRT-0022449
SDCRT-0006593              SDCRT-0008729              SDCRT-0022644
SDCRT-0006632              SDCRT-0008901              SDCRT-0022644
SDCRT-0006670              SDCRT-0008946              SDCRT-0023349
SDCRT-0006674              SDCRT-0008960              SDCRT-0023958
SDCRT-0006858              SDCRT-0009076              SDCRT-0024499
SDCRT-0006868              SDCRT-0009115              SDCRT-0028159
SDCRT-0006870              SDCRT-0009585              SDCRT-0028608
SDCRT-0006903              SDCRT-0009709              SDCRT-0029302
SDCRT-0006920              SDCRT-0009853              SDCRT-0029337
SDCRT-0006927              SDCRT-0009956              SDCRT-0029972
SDCRT-0006928              SDCRT-0011038P-0001        SDCRT-0030338
SDCRT-0007101              SDCRT-0011363              SDCRT-0030556
SDCRT-0007125              SDCRT-0011436              SDCRT-0030670
SDCRT-0007128              SDCRT-0011436              SDCRT-0031594
SDCRT-0007139              SDCRT-0011511              SDCRT-0031662
SDCRT-0007145              SDCRT-0011573              SDCRT-0033489
SDCRT-0007161              SDCRT-0012333              SDCRT-0033533


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SDCRT-0038018              SDCRT-0065945              SDCRT-0073438
SDCRT-0042754              SDCRT-0066018              SDCRT-0073616
SDCRT-0045335              SDCRT-0066089              SDCRT-0074186
SDCRT-0045335P-0001        SDCRT-0066158              SDCRT-0074223
SDCRT-0048512              SDCRT-0066159              SDCRT-0074877
SDCRT-0048629              SDCRT-0066181              SDCRT-0075055
SDCRT-0048630              SDCRT-0066416              SDCRT-0075391
SDCRT-0049039              SDCRT-0066472              SDCRT-0075394
SDCRT-0051274              SDCRT-0066492              SDCRT-0076382
SDCRT-0051456              SDCRT-0066803              SDCRT-0076707
SDCRT-0051464              SDCRT-0066930              SDCRT-0076727
SDCRT-0051640              SDCRT-0067279              SDCRT-0076728
SDCRT-0051698              SDCRT-0067364              SDCRT-0076841
SDCRT-0051721              SDCRT-0067736              SDCRT-0076899
SDCRT-0052170              SDCRT-0067744              SDCRT-0076900
SDCRT-0052319              SDCRT-0067998              SDCRT-0076901
SDCRT-0053662              SDCRT-0067999              SDCRT-0076953
SDCRT-0054114              SDCRT-0068746              SDCRT-0076954
SDCRT-0054235              SDCRT-0068849              SDCRT-0077730
SDCRT-0054528              SDCRT-0068870              SDCRT-0077779
SDCRT-0054528              SDCRT-0068880              SDCRT-0077828
SDCRT-0055306              SDCRT-0069086              SDCRT-0077924
SDCRT-0055339              SDCRT-0069574              SDCRT-0079381
SDCRT-0059164              SDCRT-0069645              SDCRT-0079454
SDCRT-0060513P-0001        SDCRT-0070098              SDCRT-0079461
SDCRT-0061968              SDCRT-0070913              SDCRT-0080694
SDCRT-0062012              SDCRT-0071148              SDCRT-0082616
SDCRT-006287               SDCRT-0071229              SDCRT-0083118
SDCRT-0063639              SDCRT-0071831              SDCRT-0083119
SDCRT-0063672              SDCRT-0072112              SDCRT-0083119.1
SDCRT-0063673              SDCRT-0072527              SDCRT-0083119.2
SDCRT-0063803              SDCRT-0072705              SDCRT-0084985
SDCRT-0063870              SDCRT-0072774              SDCRT-0085141
SDCRT-0063965              SDCRT-0072779              SDCRT-0085394
SDCRT-0065518              SDCRT-0073107              SDCRT-0085535
SDCRT-0065639              SDCRT-0073140              SDCRT-0086208


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SDCRT-0086211              SDCRT-0086443              SDCRT-0086662
SDCRT-0086217              SDCRT-0086445              SDCRT-0086665
SDCRT-0086221              SDCRT-0086449              SDCRT-0086672
SDCRT-0086224              SDCRT-0086460              SDCRT-0086675
SDCRT-0086230              SDCRT-0086473              SDCRT-0086690
SDCRT-0086238              SDCRT-0086480              SDCRT-0086691
SDCRT-0086245              SDCRT-0086481              SDCRT-0086698
SDCRT-0086247              SDCRT-0086482              SDCRT-0086700
SDCRT-0086248              SDCRT-0086485              SDCRT-0086703
SDCRT-0086249              SDCRT-0086487              SDCRT-0086722
SDCRT-0086253              SDCRT-0086489              SDCRT-0086733
SDCRT-0086256              SDCRT-0086500              SDCRT-0086751
SDCRT-0086256              SDCRT-0086503              SDCRT-0086788
SDCRT-0086270              SDCRT-0086512              SDCRT-0086831
SDCRT-0086292              SDCRT-0086532              SDCRT-0086903
SDCRT-0086294              SDCRT-0086537              SDCRT-0086923
SDCRT-0086296              SDCRT-0086541              SDCRT-0086952
SDCRT-0086303              SDCRT-0086545              SDCRT-0087007
SDCRT-0086309              SDCRT-0086546              SDCRT-0087015
SDCRT-0086313              SDCRT-0086551              SDCRT-0087107
SDCRT-0086318              SDCRT-0086557              SDCRT-0087178
SDCRT-0086332              SDCRT-0086561              SDCRT-0087207
SDCRT-0086341              SDCRT-0086563              SDCRT-0087312
SDCRT-0086347              SDCRT-0086569              SDCRT-0087314
SDCRT-0086352              SDCRT-0086577              SDCRT-0087316
SDCRT-0086356              SDCRT-0086584              SDCRT-0087324
SDCRT-0086359              SDCRT-0086586              SDCRT-0087331
SDCRT-0086364              SDCRT-0086593              SDCRT-0087340
SDCRT-0086373              SDCRT-0086597              SDCRT-0087349
SDCRT-0086416              SDCRT-0086599              SDCRT-0087371
SDCRT-0086419              SDCRT-0086605              SDCRT-0087381
SDCRT-0086421              SDCRT-0086632              SDCRT-0087393
SDCRT-0086425              SDCRT-0086641              SDCRT-0087399
SDCRT-0086427              SDCRT-0086646              SDCRT-0087405
SDCRT-0086434              SDCRT-0086649              SDCRT-0087408
SDCRT-0086441              SDCRT-0086652              SDCRT-0087411


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SDCRT-0087414              SDCRT-0087953              SDCRT-0090233
SDCRT-0087417              SDCRT-0087963              SDCRT-0090253
SDCRT-0087427              SDCRT-0087970              SDCRT-0090258
SDCRT-0087436              SDCRT-0088012              SDCRT-0090278
SDCRT-0087437              SDCRT-0088466              SDCRT-0090280
SDCRT-0087441              SDCRT-0088525              SDCRT-0090283
SDCRT-0087464              SDCRT-0088635              SDCRT-0090292
SDCRT-0087467              SDCRT-0088661              SDCRT-0090299
SDCRT-0087525              SDCRT-0088675              SDCRT-0090302
SDCRT-0087526              SDCRT-0088681              SDCRT-0090306
SDCRT-0087662              SDCRT-0088705              SDCRT-0090312
SDCRT-0087664              SDCRT-0088713              SDCRT-0090314
SDCRT-0087667              SDCRT-0088715              SDCRT-0090316
SDCRT-0087673              SDCRT-0088720              SDCRT-0090319
SDCRT-0087675              SDCRT-0088726              SDCRT-0090322
SDCRT-0087679              SDCRT-0088732              SDCRT-0090328
SDCRT-0087685              SDCRT-0088738              SDCRT-0090339
SDCRT-0087694              SDCRT-0088740              SDCRT-0090350
SDCRT-0087700              SDCRT-0088743              SDCRT-0090354
SDCRT-0087705              SDCRT-0088763              SDCRT-0090355
SDCRT-0087708              SDCRT-0088773              SDCRT-0090846
SDCRT-0087719              SDCRT-0088791              SDCRT-0091027
SDCRT-0087737              SDCRT-0088807              SDCRT-0091351
SDCRT-0087741              SDCRT-0088819              SDCRT-0091353
SDCRT-0087743              SDCRT-0088826              SDCRT-0091364
SDCRT-0087745              SDCRT-0088846              SDCRT-0091367
SDCRT-0087790              SDCRT-0089035              SDCRT-0091371
SDCRT-0087926              SDCRT-0089076              SDCRT-0091372
SDCRT-0087928              SDCRT-0089091              SDCRT-0091374
SDCRT-0087930              SDCRT-0089426              SDCRT-0091377
SDCRT-0087931              SDCRT-0090157              SDCRT-0091382
SDCRT-0087932              SDCRT-0090167              SDCRT-0091384
SDCRT-0087934              SDCRT-0090174              SDCRT-0091397
SDCRT-0087938              SDCRT-0090180              SDCRT-0091400
SDCRT-0087941              SDCRT-0090197              SDCRT-0091402
SDCRT-0087944              SDCRT-0090210              SDCRT-0091491


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SDCRT-0091505              SDCRT-0160057              SDCRT-0203191
SDCRT-0091524              SDCRT-0161561              SDCRT-0203195
SDCRT-0091531              SDCRT-0170843              SDCRT-0203199
SDCRT-0091537              SDCRT-0173566              SDCRT-0203259
SDCRT-0091543              SDCRT-0174442              SDCRT-0203300
SDCRT-0091584              SDCRT-0175114              SDCRT-0203406
SDCRT-0091599              SDCRT-0175930              SDCRT-0203542
SDCRT-0091605              SDCRT-0176803              SDCRT-0203789
SDCRT-0091616              SDCRT-0178236              SDCRT-0203797
SDCRT-0091628              SDCRT-0179866              SDCRT-0203836
SDCRT-0091634              SDCRT-0190375              SDCRT-0203840
SDCRT-0091643              SDCRT-0193053              SDCRT-0203858
SDCRT-0091648              SDCRT-0199834              SDCRT-0204010
SDCRT-0091656              SDCRT-0201291              SDCRT-0204095
SDCRT-0091661              SDCRT-0201303              SDCRT-0204150
SDCRT-0091668              SDCRT-0201306              SDCRT-0209855
SDCRT-0091674              SDCRT-0201307              SDCRT-0211127
SDCRT-0091680              SDCRT-0201308              SDCRT-0211473
SDCRT-0091687              SDCRT-0201310              SDCRT-021272
SDCRT-0091692              SDCRT-0201311              SDCRT-0213826
SDCRT-0091703              SDCRT-0201334              SDCRT-0213996
SDCRT-0091710              SDCRT-0201335              SDCRT-0214781
SDCRT-0091715              SDCRT-0201336              SDCRT-0214786
SDCRT-0091742              SDCRT-0201337              SDCRT-0215655
SDCRT-0091836              SDCRT-0201578              SDCRT-0215665
SDCRT-0091843              SDCRT-0201579              SDCRT-0215903
SDCRT-0091852              SDCRT-0201727              SDCRT-0216503
SDCRT-0091855              SDCRT-0201940              SDCRT-0216554
SDCRT-0091891              SDCRT-0202095              SDOC0483
SDCRT-0091903              SDCRT-0202677              SEAI-00342506
SDCRT-0093349              SDCRT-0202795              SEAI-CRT-00000042
SDCRT-0093913              SDCRT-0202796              SEAI-CRT-00000052
SDCRT-0093949              SDCRT-0202981              SEAI-CRT-00000056
SDCRT-0096635              SDCRT-0203164              SEAI-CRT-00000122
SDCRT-0104771              SDCRT-0203189              SEAI-CRT-00000163
SDCRT-0139342              SDCRT-0203190              SEAI-CRT-00000312


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SEAI-CRT-00003951          SEAI-CRT-00297564          SHARP-CRT-00000005
SEAI-CRT-00025857          SEAI-CRT-00383647          SHARP-CRT-00000129
SEAI-CRT-00035855          SEAI-CRT-00489368          SHARP-CRT-00000130
SEAI-CRT-00042508          SEAI-CRT-00518902          SHARP-CRT-00000140
SEAI-CRT-00042833          SEAI-CRT-00541784          SHARP-CRT-00000141
SEAI-CRT-00050544          SEAI-CRT-00587793          SHARP-CRT-0000645
SEAI-CRT-00051749          SEAI-CRT-00587817          SHARP-CRT-0000666
SEAI-CRT-00059368          SEAI-CRT-00639921          SHARP-CRT-0000667
SEAI-CRT-00061769          SEAI-CRT-00643130          SHARP-CRT-0000668
SEAI-CRT-00062109          SEAI-CRT-00643131          SHARP-CRT-00025161
SEAI-CRT-00071041          SEAl-CRT-00244932          SHARP-CRT-00025162
SEAI-CRT-00071222          SEAl-CRT-00342235          SHARP-CRT-00025178
SEAI-CRT-00074731          SEAR_CRT00000007           SHARP-CRT-00025179
SEAI-CRT-00075559          SEAR_CRT00000011           TACP-CRT-00021819
SEAI-CRT-00075842          SEAR_CRT00000012           TACP-CRT-00056285
SEAI-CRT-00079762          SEAR_CRT00000013           TACP-CRT-00058370
SEAI-CRT-00079762          SEAR_CRT00000014           TACP-CRT-00058971
SEAI-CRT-00085285          SEAR_CRT00000015           TACP-CRT-00059130
SEAI-CRT-00088186          SEAR_CRT00000016           TACP-CRT-00060531
SEAI-CRT-00101961          SEAR_CRT00000017           TACP-CRT-00075852
SEAI-CRT-00112061          SEAR_CRT00000018           TACP-CRT-00096471
SEAI-CRT-00165559          SEAR_CRT00000019           TACP-CRT-00096980
SEAI-CRT-00174183          SEAR_CRT00000020           TACP-CRT-00109302
SEAI-CRT-00178170          SEAR_CRT00000021           TACP-CRT-00115472
SEAI-CRT-00183467          SEAR_CRT00000022           TAEC-CRT-00004748
SEAI-CRT-00207761          SEC-CRT-00000001           TAEC-CRT-00006212
SEAI-CRT-00207850          SEC-CRT-00000014           TAEC-CRT-00010225
SEAI-CRT-00223186          SEC-CRT-00000015           TAEC-CRT-00010351
SEAI-CRT-00246797          SEC-CRT-00000018           TAEC-CRT-00010411
SEAI-CRT-00258562          SEC-CRT-00017535           TAEC-CRT-00011248
SEAI-CRT-00266328          SEC-CRT-00018058           TAEC-CRT-00014236
SEAI-CRT-00280247          SEC-CRT-00018388           TAEC-CRT-00016370
SEAI-CRT-00280573          SHARP-CRT-00000001         TAEC-CRT-00016371
SEAI-CRT-00280573          SHARP-CRT-00000002         TAEC-CRT-00016372
SEAI-CRT-00295237          SHARP-CRT-00000003         TAEC-CRT-00016373
SEAI-CRT-00295237          SHARP-CRT-00000004         TAEC-CRT-00018123


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TAEC-CRT-00020718          TAEC-CRT-00071371          TAEC-CRT-0069157
TAEC-CRT-00021577          TAEC-CRT-00071857          TAIS-CRT-00000043
TAEC-CRT-00023685          TAEC-CRT-00071992          TAIS-CRT-00000276
TAEC-CRT-00025345          TAEC-CRT-00072276          TAIS-CRT-00000539
TAEC-CRT-00026960          TAEC-CRT-00073150          TARG_CRT00000023
TAEC-CRT-00038135          TAEC-CRT-00073542          TARG_CRT00000027
TAEC-CRT-00038136          TAEC-CRT-00074548          TARG_CRT00000031
TAEC-CRT-00041437          TAEC-CRT-00075228          TARG_CRT00000035
TAEC-CRT-00041564          TAEC-CRT-00075228          TARG_CRT00000039
TAEC-CRT-00041604          TAEC-CRT-00079825          TARG_CRT00000043
TAEC-CRT-00041740          TAEC-CRT-00081255          TARG_CRT00000047
TAEC-CRT-00042216          TAEC-CRT-00082897          TARG_CRT00000052
TAEC-CRT-00042455          TAEC-CRT-00083156          TDCRT-0000001
TAEC-CRT-00042456          TAEC-CRT-00084530          TDCRT-0000002
TAEC-CRT-00042457          TAEC-CRT-00085136          TDCRT-0000003
TAEC-CRT-00042462          TAEC-CRT-00086253          TDCRT-0000004
TAEC-CRT-00042463          TAEC-CRT-00087223          TDCRT-0000005
TAEC-CRT-00049876          TAEC-CRT-00087962          TDCRT-0000006
TAEC-CRT-00054831          TAEC-CRT-00087962          TDCRT-0000007
TAEC-CRT-00055069          TAEC-CRT-00088054          TDCRT-0000008
TAEC-CRT-00056158          TAEC-CRT-00088432          TDCRT-0000009
TAEC-CRT-00059040          TAEC-CRT-00088715          TDCRT-0000010
TAEC-CRT-00059798          TAEC-CRT-00089342          TDCRT-0000011
TAEC-CRT-00062947          TAEC-CRT-00089910          TDCRT-0000012
TAEC-CRT-00065483          TAEC-CRT-00089968          TDCRT-0000013
TAEC-CRT-00065484          TAEC-CRT-00090127          TDCRT-0000014
TAEC-CRT-00066181          TAEC-CRT-00093312          TDCRT-0000015
TAEC-CRT-00066846          TAEC-CRT-00095236          TDCRT-0000016
TAEC-CRT-00068610          TAEC-CRT-00096166          TDCRT-0000017
TAEC-CRT-00068992          TAEC-CRT-00096935          TDCRT-0000018
TAEC-CRT-00069279          TAEC-CRT-00110316          TDCRT-0000019
TAEC-CRT-00069348          TAEC-CRT-00116065          TDCRT-0000020
TAEC-CRT-00070348          TAEC-CRT-00116066          TDCRT-0000021
TAEC-CRT-00070424          TAEC-CRT-00124404          TDCRT-0000022
TAEC-CRT-00071245          TAEC-CRT-00124796          TDCRT-0000023
TAEC-CRT-00071333          TAEC-CRT-00126884          TDCRT-0000024


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TDCRT-0000025              TSB-CRT-00036875           WM2009-58914C000001
TDCRT-0000026              TSB-CRT-00037187           WM2009-58914C000019
TDCRT-0000027              TSB-CRT-00038197           WM2009-58914C000020
TDCRT-0000028              TSB-CRT-00038597           WM2009-58914C000190
TDCRT-0000029              TSB-CRT-00039194           WM2009-58914C000202
TET-CRT-00001249           TSB-CRT-00039414           WM2009-58914C000213
TET-CRT-00002363           TSB-CRT-00039415           WM2009-58914C000288
TET-CRT-00002488           TSB-CRT-00041527           WM2009-58914C000329
TET-CRT-00002612           TSB-CRT-00041620           WM2009-58914C000457
TET-CRT-00002966           TSB-CRT-00041721           WM2009-58914C000475
TET-CRT-00003403           TSB-CRT-00041746           WM2009-58914C001040
TSB-CR T-00041870          TSB-CRT-00041862           WM2009-58914C001437
TSB-CRT-00007596           TSB-CRT-00042440           WM2009-58914C001515
TSB-CRT-00008017           TSB-CRT-00042493           WM2009-58914C002250
TSB-CRT-00008068           TSB-CRT-00045123           WM2009-58914C002436
TSB-CRT-00009873           TSB-CRT-00061306           WM2009-58914C002726
TSB-CRT-00009883           TSB-CRT-00061307           WM2009-58914C002877
TSB-CRT-00009884           TSB-CRT-00061308           WM2009-58914C003124
TSB-CRT-00009885           TSB-CRT-00061309           WM2009-58914C003132
TSB-CRT-00018162           TSB-CRT-00061310           WM2009-58914C003174
TSB-CRT-00018808           TSB-CRT-00061311           WM2009-58914C003175
TSB-CRT-00018869           TSB-CRT-00061312           WM2009-58914C003176
TSB-CRT-00025664           TSB-CRT-00061313           WM2009-58914C003206
TSB-CRT-00026840           TSB-CRT-00061314           WM2009-58914C003207
TSB-CRT-00027223           TSB-CRT-00061315           WM2009-58914C003217
TSB-CRT-00029154           TSB-CRT-00061316           WM2009-58914C003222
TSB-CRT-00030282           TSB-CRT-00061317           WM2009-58914C003223
TSB-CRT-00030283           TSB-CRT-00061661           WM2009-58914C003289
TSB-CRT-00031137           TSB-CRT-00062406           WM2009-58914C003537
TSB-CRT-00033043           TSR-CRT-00041633           WM2009-58914C003643
TSB-CRT-00033686           TUSCRTP000001320           WM2009-58914C004257
TSB-CRT-00035348           TUSCRTP00001224            WM2009-58914C004713
TSB-CRT-00035350           VIEW_CRT00000001           WM2009-58914C004749
TSB-CRT-00036828           VIEW_CRT00000002           WM2009-58914C005826
TSB-CRT-00036829           VIEW_CRT00000003           WM2009-58914C006103
TSB-CRT00036875            VIEW_CRT00000004           WM2009-58914C007350


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WM2009-58914C007366
WM2009-58914C007380
WM2009-58914C007436
ZENCRT000001
ZENCRT000044
ZENCRT42-HC
ZENCRT43-HC




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without Bates Numbers
01 August 2012, Deposition of Philips Electronics North America Corporation, Inc. and
Koninklijke Philips Electronics N.V. 30(b)(6) Witness Roger De Moor.
01 August 2012, Deposition of Toshiba America Consumer Products and Toshiba America
Information Systems 30(b)(6) Witness Richard Eugene Huber.
01 August 2012, Deposition of Toshiba Corporation and Toshiba America Consumer Products
30(b)(6) Witness Yoshiaki Uchiyama.
01 August 2013, Deposition of Masaki Sanogawaya, Volume II.
01 August 2013, Notice of Errata in Memorandum of Points and Authorities in Support of Direct
Purchaser Plaintiffs' Motion for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division).
01 July 2013, Deposition of Yasuki Yamamoto, Volume I.
01 October 2012, Memorandum of Points and Authorities in Support of Motion of Indirect-
Purchaser Plaintiffs for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).
02 August 2013, Deposition of Masaki Sanogawaya, Volume III.
02 July 2013, Deposition of Yasuki Yamamoto, Volume II.
02 March 2009, Plea Agreement, United States of American v. Chih-Chun "C.C." Liu (United
States District Court Northern District of California San Francisco Division).
02 May 2005, Best Buy Receipt for Steve Ganz, <<Ganz Best Buy Receipt.pdf>>.
03 December 2012, Deposition of Best Buy Co. 30(b)(6) Witness Brian Stone.
03 July 2012, Deposition of Hitachi Electronic Devices (USA) 30(b)(6) Witness Thomas Heiser.
03 July 2013, Deposition of Yasuki Yamamoto, Volume III.
03 November 2011, Second Supplemental Responses and Objections of Panasonic Corporation
of North America, MT Picture Display Co., Ltd. and Panasonic Corporation (F/K/A Matushita
Electric Industrial Co., Ltd.) to Direct Purchaser Plaintiffs' First Set of Interrogatories, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division).
04 February 2014, Deposition of Kazumasa Hirai, Volume I.
04 June 2008, Direct Purchaser Plaintiffs' First Set of Requests for Production of Documents, In
re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District
of California San Francisco Division).
05 February 2013, Deposition of Ayumu Kinoshita, Volume I.
05 February 2013, Deposition of Michael Son, Volume I.
05 February 2014, Deposition of Kazumasa Hirai, Volume II.
05 March 2013, Deposition of Hirokazu Nishiyama, Volume I.


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without Bates Numbers
06 February 2013, Deposition of Ayumu Kinoshita, Volume II.
06 February 2013, Deposition of Michael Son, Volume II.
06 February 2014, Deposition of Kazumasa Hirai, Volume III.
06 July 2012, Letter Re: "LGE -- Highly Confidential 7.xls", "LGE00060300.xls",
"LGE00060301.xls", "LGE-Highly, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United
States District Court Northern District of California San Francisco Division).
06 June 2012, Deposition of Samsung SDI 30(b)(6) Witness Jaein Lee, Volume I.
06 March 2013, Deposition of Hirokazu Nishiyama, Volume II.
07 December 2010, Evidentiary Proffer of Defendants Hitachi, Ltd.; Hitachi Displays, Ltd.;
Hitachi Asia, Ltd.; Hitachi America, Ltd.; and Hitachi Electronic Devics (USA), Inc., In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division).
07 December 2012, Deposition of Costco Wholesale Corporation 30(b)(6) Witness Geoffrey
Shavey.
07 February 2013, Deposition of Shinichi Iwamoto, Volume I.
07 June 2012, Deposition of Samsung SDI 30(b)(6) Witness Jaein Lee, Volume II.
07 March 2013, Deposition of Hirokazu Nishiyama, Volume III.
07 November 2011, Response By LGE Defendants to Direct Purchasers Plaintiff Hawel A.
Hawel's, D/B/A City Electronics, Second Set of Interrogatories, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco
Division).
08 February 2013, Deposition of Shinichi Iwamoto, Volume II.
08 October 2013, Deposition of Masashi Muramatsu, Volume I.
09 July 2012, Deposition of LG Electronics 30(b)(6) Witness Choong Ryul Park, Volume I.
09 July 2012, Deposition of LG Electronics 30(b)(6) Witness Mok Hyeon Seong.
09 October 2013, Deposition of Masashi Muramatsu, Volume II.
10 December 2007, Class Action Complaint, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).
10 February 2009, Defendant Indictment Title 15 U.S.C. Section 1 (Conspiracy in Restraint of
Trade) Counts One and Two, United States of America v. Cheng Yuan Lin, aka C.Y. Lin.
10 February 2012, Defendant Hitachi Electronic Devices (USA), Inc.'s Supplemental Response
to Direct Purchaser Plaintiffs' First Set of Interrogatories, Interrogatory Nos. 4 and 5, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division).




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10 February 2012, Supplemental Responses and Objections of Defendant Beijing Matsushita
Color CRT Co, Ltd to Direct Purchaser Plaintiffs' First Set of Interrogatories, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
10 June 2008, Indirect Purchaser Plaintiffs' First Request for Production of Documents from
Defendants, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division).
11 February 2014, Deposition of Hun Sul Chu, Volume I.
11 July 2012, Deposition of Hitachi Displays, Ltd. 30(b)(6) Witness Toru Iwasawa.
11 July 2012, Deposition of LG Electronics 30(b)(6) Witness Yun Seok Lee.
11 July 2013, Deposition of Hitachi Electronic Devices (USA) 30(b)(6) Witness Thomas
Schmitt.
11 March 2014, Deposition of Noboru Toyama, Volume I.
11 November 2013, Reply Brief in Support of Direct Purchaser Plaintiffs' Motion for Class
Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division).
11 September 2013, Declaration of Mono Solouki In Support of Defendants' Opposition to
Direct Purchaser Plaintiffs' Motion for Class Certification, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco
Division).
11 September 2013, Defendants' Memorandum of Points and Authorities in Opposition to Direct
Purchaser Plaintiffs' Motion for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division).
11 September 2013, Deposition of Jun Yeol Youn, Volume I.
12 December 2013, Deposition of Jim Smith, Volume I.
12 February 2012, Defendant Hitachi Displays, Ltd.'s Supplemental Response to Direct
Purchaser Plaintiffs' First Set of Interrogatories, interrogatory Nos. 4 and 5, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
12 February 2014, Deposition of Hun Sul Chu, Volume II.
12 July 2012, Deposition of Hitachi Displays, Ltd. 30(b)(6) Witness Yasuhiro Morishima,
Volume I.
12 July 2012, Deposition of Hitachi, Ltd. 30(b)(6) Witness Yasu Hisa Takeda, Volume I.
12 June 2013, Deposition of Kenichi Hazuku.
12 March 2010, Direct Purchaser Plaintiffs' Second Set of Requests for Production of
Documents, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division).

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12 March 2014, Deposition of Noboru Toyama, Volume II.
12 March 2014, Deposition of Yu-Hao Zhang, a/k/a Allen Chang, Volume I.
12 May 2010, Defendant Hitachi America Ltd.'s Objections and Responses to Direct Purchaser
Plaintiffs' First Set of Requests for Production of Documents, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco
Division).
12 May 2010, Defendant Hitachi America, Ltd.'s Response to Second Set of Requests for
Production of Documents From Direct Purchaser Plaintiffs, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco
Division).
12 May 2010, Defendant Hitachi America, Ltd.'s Responses to Direct Purchaser Plaintiffs' First
Set of Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District
Court Northern District of California San Francisco Division).
12 May 2010, Defendant Hitachi Asia, Ltd.'s Objections and Responses to Direct Purchaser
Plaintiffs' First Set of Requests for Production of Documents, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco
Division).
12 May 2010, Defendant Hitachi Asia, Ltd.'s Response to Second Set of Requests for Production
of Documents from Direct Purchaser Plaintiffs, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division).
12 May 2010, Defendant Hitachi Asia, Ltd.'s Responses to Direct Purchaser Plaintiffs' First Set
of Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District
Court Northern District of California San Francisco Division).
12 May 2010, Defendant Hitachi Displays, Ltd.'s Objections and Responses to Direct Purchaser
Plaintiffs' First Set of Requests for Production of Documents, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco
Division).
12 May 2010, Defendant Hitachi Displays, Ltd.'s Response to Second Set of Requests for
Production of Documents from Direct Purchaser Plaintiffs.
12 May 2010, Defendant Hitachi Displays, Ltd.'s Responses to Direct Purchaser Plaintiffs' First
Set of Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District
Court Northern District of California San Francisco Division).
12 May 2010, Defendant Hitachi Electronic Devices (USA), Inc.'s Objections and Responses to
Direct Purchaser Plaintiffs' First Set of Request for Production of Documents, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
12 May 2010, Defendant Hitachi Electronic Devices (USA), Inc.'s Responses to Direct Purchaser
Plaintiffs' First Set of Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).

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12 May 2010, Defendant Hitachi Electronic Devices (USA), Inc.'s Response to Second Set of
Requests for Production of Documents From Direct Purchaser Plaintiffs, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
12 May 2010, Defendant Hitachi, Ltd. Responses to Direct Purchaser Plaintiffs' First Set of
Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division).
12 May 2010, Defendant Hitachi, Ltd.'s Objections and Responses to Direct Purchaser Plaintiffs'
First Set of Requests for Production of Documents, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division).
12 May 2010, Defendant Hitachi, Ltd.'s Response to Second Set of Requests for Production of
Documents from Direct Purchaser Plaintiffs, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).
12 May 2010, Objections and Response of Samsung Electronics America, Inc. to Direct
Purchaser Plaintiffs' First Set of Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division).
12 May 2010, Objections and Responses of Defendant Beijing Matsushita Color CRT Co., Ltd.,
to Direct Purchaser Plaintiffs' Second Set of Requests for Production of Documents, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division).
12 May 2010, Objections and Responses of Defendant Beijing Matsushita Color CRT Co., Ltd.,
to Direct Purchaser Plaintiffs' First Set of Requests for Production of Documents, In re: Cathode
Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
San Francisco Division).
12 May 2010, Objections and Responses of Defendant MT Picture Display Co., Ltd. to Direct
Purchaser Plaintiffs' Second Set of Requests for Production of Documents, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
12 May 2010, Objections and Responses of Defendant MT Picture Display Co., Ltd. to Direct
Purchaser Plaintiffs' First Set of Requests for Production of Documents, In re: Cathode Ray Tube
(CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
12 May 2010, Objections and Responses of Defendant Panasonic Corporation of North America
to Direct Purchaser Plaintiffs' Second Set of Requests for Production of Documents, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division).
12 May 2010, Objections and Responses of Defendant Panasonic Corporation of North America
to Direct Purchaser Plaintiffs' First Set of Requests for Production of Documents, In re: Cathode
Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
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12 May 2010, Objections and Responses of Defendant Panasonic Corporation (f/k/a Matsushita
Electric Industrial Co., Ltd.) To Direct Purchaser Plaintiffs' Second Set of Requests for
Production of Documents, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States
District Court Northern District of California San Francisco Division).
12 May 2010, Objections and Responses of Defendant Panasonic Corporation (f/k/a Matsushita
Electric Industrial Co., Ltd.) To Direct Purchaser Plaintiffs' First Set of Requests for Production
of Documents, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division).
12 May 2010, Objections and Responses of Samsung Electronics Co., Ltd. to Direct Purchaser
Plaintiffs' First Set of Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).
12 May 2010, Response by LGE Defendants to Direct Purchaser Plaintiffs' First Set of
Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division).
12 May 2010, Responses and Objections of Defendant Koninklijke Philips Electronics N.V. to
Direct Purchaser Plaintiffs' First Set of Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division).
12 May 2010, Responses and Objections of Defendant Philips Electronics North America
Corporation to Direct Purchaser Plaintiffs' First Set of Interrogatories, In re: Cathode Ray Tube
(CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
12 May 2010, Samsung SDI Defendants' Responses to Direct Purchaser Plaintiffs' Second Set of
Requests for Production Documents, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).
12 May 2010, Samsung SDI Defendants' Responses to Direct Purchaser Plaintiffs' First Set of
Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division).
12 May 2010, Samsung SDI Defendants' Responses to Direct Purchaser Plaintiffs' First Set of
Requests for Production Documents, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).
12 September 2013, Deposition of Jun Yeol Youn, Volume II.
13 December 2013, Deposition of Jim Smith, Volume II.
13 February 2014, Deposition of Hun Sul Chu, Volume III.
13 July 2012, Deposition of LG Electronics 30(b)(6) Witness Kyung Tae Kwon.
13 July 2012, Deposition of Panasonic Corporation 30(b)(6) Witness Takashi Nakano.
13 March 2014, Deposition of Yu-Hao Zhang, a/k/a Allen Chang, Volume II.
13 September 2013, Deposition of Jun Yeol Youn, Volume III.


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14 February 2013, Deposition of Kazuhiro Sakashita, Volume I.
14 May 2010, Objections and Response of Defendant Beijing Matsushita Color CRT Co. Ltd., to
Direct Purchaser Plaintiffs' First Set of Interrogatories.
14 May 2013, Memorandum of Points and Authorities in Support of Direct Purchaser Plaintiffs'
Motion for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United
States District Court Northern District of California San Francisco Division).
14 November 2008, Philips Electronics North America Corporation's Response to Plaintiffs'
Requests for Production of Documents Pursuant to Paragraph 4 of Order for Limited Discovery
Stay, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern
District of California San Francisco Division).
15 February 2013, Deposition of Kazuhiro Sakashita, Volume II.
15 January 2014, Deposition of DuK Chul Ryu, Volume I.
15 May 2013, Deposition of Nobuhiko Kobayashi, Volume I.
15 November 2012, Deposition of Janet S. Netz, PH.D.
16 January 2013, Deposition of Dae Eui Lee, Volume I.
16 January 2014, Deposition of DuK Chul Ryu, Volume II.
16 July 2012, Deposition of Panasonic Corporation, Panasonic North America and MTPD
30(b)(6) Witness Tatsuo Tobinaga.
16 July 2012, Deposition of Samsung Electronics America 30(b)(6) Witness Kim London.
16 July 2012, The Toshiba Entities' Objections and Responses To Direct and Indirect Purchaser
Plaintiffs Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States
District Court Northern District of California San Francisco Division).
16 March 2009, Indirect Purchaser Plaintiffs' Consolidated Amended Complaint, In re: Cathode
Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
San Francisco Division).
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Deposition Exhibit Kobayashi 1550, E-mail list
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Deposition Exhibit Kumazawa Exhibit 1591, E-mail List
Deposition Exhibit Kwon 194, Re: "LGE -- Highly Confidential 7.xls", "LGE00060300.xls",
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Deposition Exhibit Kwon 195, [Untitled]
Deposition Exhibit Kwon 196, List of Column Headings
Deposition Exhibit Lee Yun 187, LGEUS-Organizational Chart
Deposition Exhibit Lee Yun 188, Material Cost of RT-20CC25VX
Deposition Exhibit Lee Yun 190, Cost Structure for Export TV
Deposition Exhibit Lee Yun 191, Region (All)
Deposition Exhibit Lee Yun 192, [Untitled]
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Deposition Exhibit Lu 1286, (Jason Lu) - Employment History
Deposition Exhibit Nakano 252, MT Picture Display Co., Ltd.
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Deposition Exhibit Nishiyama 1401, Deposition of Hirokazu Nishiyama
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Source File(s):
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                                                                                                                          Exhibit 2
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Production Lines, by Type

       Type          Total
     CPT Only        186
     CDT Only         89
     Switched         33
     Hybrid             7
     Hybrid-Switch      7

      Type              Maker        Country           Site           Line
     CPT Only          Baoma          China         Changzhou          #1
     CPT Only           BDDL           India        New Delhi          #1
     CPT Only         Chunghwa   United Kingdom      Mossend           #1
     CPT Only         Chunghwa      Malaysia         Selangor          #1
     CPT Only         Chunghwa      Malaysia         Selangor          #3
     CPT Only         Chunghwa      Malaysia         Selangor          #4
     CPT Only          Ekranas      Lithuania       Panevezys          #1
     CPT Only          Ekranas      Lithuania       Panevezys          #2
     CPT Only          Ekranas      Lithuania       Panevezys          #3
     CPT Only          Ekranas      Lithuania       Panevezys          #4
     CPT Only          Hitachi    United States     Greenville         #1
     CPT Only          Hitachi    United States     Greenville         #2
     CPT Only          Hitachi        Japan           Mobara           #4
     CPT Only          Hitachi        Japan           Sakura           #1
     CPT Only          Hitachi        China         Shenzhen           #1
     CPT Only          Hitachi        China         Shenzhen           #2
     CPT Only          Hitachi        China         Shenzhen           #3
     CPT Only          Hitachi        China         Shenzhen           #4
     CPT Only          Hotline         India          Gwalior          #1
     CPT Only          Hotline         India          Gwalior          #2
     CPT Only          Hotline         India          Gwalior          #3
     CPT Only            Irico        China          Xianyang          #1
     CPT Only            Irico        China          Xianyang          #3
     CPT Only            Irico        China          Xianyang          #4
     CPT Only            Irico        China          Xianyang          #5
     CPT Only            Irico        China          Xianyang          #7
     CPT Only            Irico        China          Xianyang          #8
     CPT Only            JCT           India        Chandigarh         #1
     CPT Only            JCT           India        Chandigarh         #2
     CPT Only            JCT           India         Vadadora          #1
     CPT Only            JCT           India         Vadadora          #2
     CPT Only            LPD        Germany           Aachen           #1
     CPT Only            LPD        Germany           Aachen           #2
     CPT Only            LPD        Germany           Aachen           #3
     CPT Only            LPD          Spain         Barcelona          #1
     CPT Only            LPD          Spain         Barcelona          #2
     CPT Only            LPD          Spain         Barcelona          #3
     CPT Only            LPD          China          Changsa           #1
     CPT Only            LPD          China          Changsa           #2




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 Type            Maker           Country                  Site             Line
CPT Only           LPD            China                Changsa              #3
CPT Only           LPD            Korea               Changwon              H-1
CPT Only           LPD            France                Dreux               #1
CPT Only           LPD            France                Dreux               #2
CPT Only           LPD            France                Dreux               #3
CPT Only           LPD       United Kingdom            Durham               #1
CPT Only           LPD       United Kingdom            Durham               #2
CPT Only           LPD       United Kingdom            Durham               #3
CPT Only           LPD            Mexico      Gomez (Moved From Ottawa)      A
CPT Only           LPD            Mexico      Gomez (Moved From Ottawa)     B/C
CPT Only           LPD            Mexico      Gomez (Moved From Ottawa)   D (D/C)
CPT Only           LPD          Indonesia              Jakarta              #1
CPT Only           LPD          Indonesia              Jakarta              #2
CPT Only           LPD            Korea                  Kumi                A
CPT Only           LPD            Korea                  Kumi                J
CPT Only           LPD            Korea                  Kumi                P
CPT Only           LPD            Korea                  Kumi                W
CPT Only           LPD             India              Malanpur              #1
CPT Only           LPD            China                Nanjing             PL1
CPT Only           LPD            China                Nanjing             PL2
CPT Only           LPD            China                Nanjing             PL3
CPT Only           LPD            China                Nanjing             PL4
CPT Only           LPD            China                Nanjing             PL5
CPT Only           LPD        United States             Ottawa              #1
CPT Only           LPD        United States             Ottawa              #2
CPT Only           LPD        United States             Ottawa              #3
CPT Only           LPD        United States             Ottawa              #4
CPT Only           LPD        United States             Ottawa              #5
CPT Only           LPD        United States             Ottawa              #6
CPT Only           LPD        United States            Rauland              #1
CPT Only           LPD        United States            Rauland              #4
CPT Only           LPD             Brazil       Sao Jose Dos Campos         #1
CPT Only           LPD             Brazil       Sao Jose Dos Campos         #2
CPT Only           LPD             Brazil       Sao Jose Dos Campos         #3
CPT Only           LPD             Brazil       Sao Jose Dos Campos         #4
CPT Only           LPD             Brazil       Sao Jose Dos Campos         #6
CPT Only        Mitsubishi        Japan                  Kyoto              #1
CPT Only        Mitsubishi        Japan                  Kyoto              #2
CPT Only        Mitsubishi        Japan                  Kyoto              #3
CPT Only         MTPD            Thailand             Bang Kadi             #2
CPT Only         MTPD            Thailand             Bang Kadi             #6
CPT Only         MTPD             China                 Beijing             #3
CPT Only         MTPD             China                 Beijing             #4
CPT Only         MTPD             China                 Beijing             #5
CPT Only         MTPD           Germany               Esslingen             #1
CPT Only         MTPD           Germany               Esslingen             #2
CPT Only         MTPD             Japan                 Fukaya              #3
CPT Only         MTPD             Japan                 Himeji              #2




                                                                               Exhibit 3
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 Type            Maker            Country           Site          Line
CPT Only         MTPD               Japan          Himeji          #3
CPT Only         MTPD           United States   Horseheads         #1
CPT Only         MTPD            Indonesia        Jakarta          #1
CPT Only         MTPD            Indonesia        Jakarta          #2
CPT Only         MTPD               Japan         Kiyohara         #1
CPT Only         MTPD             Malaysia       Selangor          #1
CPT Only         MTPD             Malaysia       Selangor          #3
CPT Only         MTPD             Malaysia       Selangor          #5
CPT Only         MTPD             Malaysia       Selangor          #6
CPT Only         MTPD               Japan        Takatsuki         #2
CPT Only         MTPD           United States       Troy           #1
CPT Only         MTPD           United States       Troy           #2
CPT Only         MTPD           United States       Troy           #3
CPT Only         MTPD           United States       Troy           #4
CPT Only         MTPD               Japan       Utsunomiya         #1
CPT Only      Multi-Displays   Czech Republic     Hranice          #1
CPT Only      Multi-Displays   Czech Republic     Hranice          #2
CPT Only      Multi-Displays   Czech Republic     Hranice          #3
CPT Only          Novel             China        Shanghai          #1
CPT Only          Novel             China        Shanghai          #2
CPT Only          Novel             China        Shanghai          #3
CPT Only          Novel             China        Shanghai          #4
CPT Only          Novel             China        Shanghai          #5
CPT Only          Orion           Vietnam          Hanoi           #1
CPT Only          Orion           Vietnam          Hanoi           #2
CPT Only          Orion             Korea           Kumi      #1(ORICO-8)
CPT Only          Orion             Korea           Kumi      #2(ORICO-11)
CPT Only          Orion             Korea           Kumi          BSC
CPT Only          Orion             Korea           Kumi          BSF
CPT Only          Orion             Korea           Kumi          BSL
CPT Only          Orion            France         Longwy           #1
CPT Only          Orion            Mexico         Mexicali         #1
CPT Only            Rct             Brazil       Sao Paulo         #1
CPT Only         Samtel              India      Ghaziabad          #1
CPT Only         Samtel              India      Ghaziabad          #2
CPT Only         Samtel              India      Ghaziabad          #4
CPT Only         Samtel              India          Kota           #5
CPT Only           SDI           Germany           Berlin          #1
CPT Only           SDI           Germany           Berlin          #2
CPT Only           SDI              Korea          Busan           #7
CPT Only           SDI              Korea          Busan           #8
CPT Only           SDI            Hungary         Hungary          #1
CPT Only           SDI            Hungary         Hungary          #2
CPT Only           SDI            Malaysia       Sembilan          #1
CPT Only           SDI            Malaysia       Sembilan          #2
CPT Only           SDI            Malaysia       Sembilan          #3
CPT Only           SDI              China        Shenzhen          #1
CPT Only           SDI              Korea          Suwon           #6




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 Type            Maker          Country            Site          Line
CPT Only           SDI           China           Tianjin          #1
CPT Only           SDI           China           Tianjin          #3
CPT Only           SDI           Mexico          Tijuana          #1
CPT Only           SDI           Mexico          Tijuana          #2
CPT Only          Sony      United Kingdom      Bridgend          #1
CPT Only          Sony      United Kingdom      Bridgend          #2
CPT Only          Sony      United Kingdom      Bridgend          #3
CPT Only          Sony           Japan          Inazawa           #5
CPT Only          Sony           Japan          Mizunami          #2
CPT Only          Sony       United States     Pittsburgh         #1
CPT Only          Sony       United States     Pittsburgh         #2
CPT Only          Sony       United States     San Diego          #1
CPT Only          Sony       United States     San Diego          #2
CPT Only          Sony       United States     San Diego          #3
CPT Only          Sony           China          Shanghai          #1
CPT Only          Sony           China          Shanghai          #3
CPT Only          Sony        Singapore           Tuas            #2
CPT Only          Sony        Singapore           Tuas            #3
CPT Only          Tesla     Czech Republic       Roznov           #1
CPT Only          Tesla     Czech Republic       Roznov           #2
CPT Only        Thai-CRT        Thailand        Chonburi          #1
CPT Only        Thai-CRT        Thailand        Chonburi          #2
CPT Only        Thai-CRT        Thailand        Chonburi          #3
CPT Only        Thai-CRT        Thailand        Chonburi          #4
CPT Only        Thomson      United States       Marion           #1
CPT Only        Thomson      United States       Marion           #2
CPT Only        Thomson      United States       Marion           #3
CPT Only        Thomson      United States       Marion           #4
CPT Only        Thomson      United States       Marion           #5
CPT Only        Thomson          Mexico        Mexico City        #1
CPT Only        Thomson      United States      Scranton          #1
CPT Only        Thomson      United States      Scranton          #2
CPT Only        Videocon          Italy          Anagni           #1
CPT Only        Videocon          Italy          Anagni           #2
CPT Only        Videocon          Italy          Anagni           #3
CPT Only        Videocon          Italy          Anagni           #4
CPT Only        Videocon         China         Dongguan           #1
CPT Only        Videocon         China         Dongguan           #2
CPT Only        Videocon         China         Dongguan           #3
CPT Only        Videocon         China           Foshan           #1
CPT Only        Videocon         China           Foshan           #2
CPT Only        Videocon     United States       Marion           #1
CPT Only        Videocon     United States       Marion           #2
CPT Only        Videocon     United States       Marion           #3
CPT Only        Videocon     United States       Marion           #4
CPT Only        Videocon     United States       Marion           #5
CPT Only        Videocon         Mexico         Mexicali          #1
CPT Only        Videocon         Mexico         Mexicali          #2




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 Type           Maker          Country            Site           Line
CPT Only       Videocon        Poland          Piaseczno          #1
CPT Only       Videocon        Poland          Piaseczno          #2
CPT Only       Videocon        Poland          Piaseczno          #3
CDT Only       Chunghwa         China           Fuzhou            #1
CDT Only       Chunghwa         China           Fuzhou            #2
CDT Only       Chunghwa         China           Fuzhou            #5
CDT Only       Chunghwa         China           Fuzhou            #6
CDT Only       Chunghwa         China           Fuzhou            #7
CDT Only       Chunghwa         China           Fuzhou            #8
CDT Only       Chunghwa        Taiwan           Taoyuan           #1
CDT Only       Chunghwa        Taiwan           Taoyuan           #2
CDT Only       Chunghwa        Taiwan           Taoyuan           #3
CDT Only       Chunghwa        Taiwan           Taoyuan           #4
CDT Only       Chunghwa        Taiwan           Yangmei           #1
CDT Only       Chunghwa        Taiwan           Yangmei           #2
CDT Only       Chunghwa        Taiwan           Yangmei           #3
CDT Only       Chunghwa        Taiwan           Yangmei           #4
CDT Only        Hitachi       Malaysia          Malaysia          #6
CDT Only        Hitachi         Japan           Mobara            #1
CDT Only        Hitachi         Japan           Mobara            #2
CDT Only        Hitachi         Japan           Mobara            #3
CDT Only        Hitachi         Japan            Sakura           #2
CDT Only        Hitachi         Japan            Sakura           #3
CDT Only        Hitachi         Japan            Sakura           #4
CDT Only        Hitachi         Japan            Sakura           #5
CDT Only        Hitachi       Singapore        Singapore          #1
CDT Only        Hitachi       Singapore        Singapore          #2
CDT Only        Hitachi       Singapore        Singapore          #3
CDT Only        Hitachi       Singapore        Singapore          #4
CDT Only        Hitachi       Singapore        Singapore          #5
CDT Only         LPD            China           Changsa           #4
CDT Only         LPD            Korea          Changwon          H-3
CDT Only         LPD           Taiwan            Chupei           #1
CDT Only         LPD           Taiwan            Chupei           #2
CDT Only         LPD           Taiwan            Chupei           #3
CDT Only         LPD           Taiwan            Chupei           #4
CDT Only         LPD           Taiwan            Chupei           #5
CDT Only         LPD           Taiwan            Dapon            #1
CDT Only         LPD           Taiwan            Dapon            #2
CDT Only         LPD           Taiwan            Dapon            #3
CDT Only         LPD           Taiwan            Dapon            #4
CDT Only         LPD           Taiwan            Dapon            #5
CDT Only         LPD            Korea             Kumi           F-2
CDT Only         LPD            Korea             Kumi           G-1
CDT Only         LPD            Korea             Kumi           G-2
CDT Only         LPD            Korea             Kumi            T
CDT Only         LPD           Austria          Lebring           #1
CDT Only         LPD           Austria          Lebring           #2




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 Type           Maker           Country             Site          Line
CDT Only          LPD            Austria          Lebring          #3
CDT Only          LPD            Austria          Lebring          #4
CDT Only          LPD            China            Nanjing         DL3
CDT Only          LPD            China            Nanjing         DL4
CDT Only          LPD            China            Nanjing         DL5
CDT Only          LPD            China            Nanjing         DL6
CDT Only          LPD            China            Nanjing         DL7
CDT Only          LPD       United Kingdom        Wales            #1
CDT Only       Mitsubishi        Japan             Kyoto           #5
CDT Only       Mitsubishi        Japan             Kyoto           #6
CDT Only       Mitsubishi        Japan             Kyoto           #7
CDT Only       Mitsubishi        Mexico          Mexicali          #1
CDT Only        MTPD            Thailand       Bang Kadi           #4
CDT Only        MTPD             Japan            Fukaya           #1
CDT Only        MTPD             Japan            Fukaya           #2
CDT Only        MTPD             Japan            Himeji           #1
CDT Only        MTPD             Japan          Kiyohara           #2
CDT Only        MTPD           Malaysia         Selangor           #4
CDT Only        MTPD             Japan          Takatsuki          #1
CDT Only        MTPD             Japan         Utsunomiya          #3
CDT Only          Nec            Japan             Otsu            #1
CDT Only          Nec            Japan             Otsu            #2
CDT Only         Orion           Korea             Kumi       #4(ORICO-9)
CDT Only         Orion           Korea             Kumi       #5(ORICO-10)
CDT Only         Orion           Korea             Kumi           BSA
CDT Only         Orion           Mexico          Mexicali          #2
CDT Only          SDI            Korea            Busan            #3
CDT Only          SDI            Korea            Busan            #6
CDT Only          SDI            China          Shenzhen           #2
CDT Only          SDI            Korea            Suwon            #2
CDT Only          SDI            Korea            Suwon            #3
CDT Only          SDI            Korea            Suwon            #4
CDT Only          SDI            Korea            Suwon            #5
CDT Only          SDI            China            Tianjin          #2
CDT Only         Sony            Japan           Inazawa           #1
CDT Only         Sony            Japan           Inazawa           #2
CDT Only         Sony            Japan           Inazawa           #3
CDT Only         Sony            Japan           Inazawa           #4
CDT Only         Sony            Japan           Inazawa           #6
CDT Only         Sony            Japan          Mizunami           #1
CDT Only         Sony            Japan          Mizunami           #4
CDT Only         Sony        United States     San Diego           #4
CDT Only         Sony         Singapore            Tuas            #4
CDT Only         TECO            Taiwan          Kguanin           #1
Switched       Chunghwa          China            Fuzhou           #3
Switched       Chunghwa          China            Fuzhou           #4
Switched       Chunghwa     United Kingdom      Mossend            #2
Switched       Chunghwa        Malaysia         Selangor           #2




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   Type           Maker           Country               Site             Line
  Switched       Chunghwa        Malaysia            Selangor             #5
  Switched       Chunghwa        Malaysia            Selangor             #6
  Switched       Chunghwa        Malaysia            Selangor             #7
  Switched       Chunghwa        Malaysia            Selangor             #8
  Switched          Irico          China             Xianyang             #2
  Switched          Irico          China             Xianyang             #6
  Switched          LPD            China             Changsa              #5
  Switched          LPD            Korea                Kumi             F-1
  Switched          LPD            China              Nanjing            DL1
  Switched          LPD            China              Nanjing            DL2
  Switched          LPD        United States          Rauland             #2
  Switched          LPD        United States          Rauland             #3
  Switched          LPD            Brazil      Sao Jose Dos Campos        #5
  Switched       Mitsubishi        Japan               Kyoto              #4
  Switched        MTPD            Thailand           Bang Kadi            #1
  Switched        MTPD            Thailand           Bang Kadi            #3
  Switched        MTPD             China               Beijing            #1
  Switched        MTPD             China               Beijing            #6
  Switched        MTPD           Malaysia            Selangor             #2
  Switched         Orion           Korea                Kumi         #3(ORICO-7)
  Switched        Samtel            India           Ghaziabad             #3
  Switched          SDI            Korea               Busan              #2
  Switched          SDI            Korea               Busan              #4
  Switched          SDI            Korea               Busan              #5
  Switched          SDI          Malaysia            Sembilan             #6
  Switched          SDI            China             Shenzhen             #4
  Switched         Sony            China             Shanghai             #2
  Switched         Sony         Singapore               Tuas              #1
  Switched       Thai-CRT         Thailand            Rayong              #5
   Hybrid         MTPD             China               Beijing            #2
   Hybrid         MTPD         United States        Horseheads            #2
   Hybrid         MTPD             Japan            Utsunomiya            #2
   Hybrid           SDI            Korea               Busan              #1
   Hybrid           SDI            Brazil             Manaus              #1
   Hybrid           SDI            Brazil             Manaus              #2
   Hybrid          Sony            Japan             Mizunami             #3
Hybrid-Switch       LPD            Korea            Changwon             H-2
Hybrid-Switch       LPD            Korea            Changwon             H-5
Hybrid-Switch       LPD       United Kingdom           Wales              #2
Hybrid-Switch       SDI          Malaysia            Sembilan             #4
Hybrid-Switch       SDI          Malaysia            Sembilan             #5
Hybrid-Switch       SDI            China             Shenzhen             #3
Hybrid-Switch       SDI            Korea              Suwon               #1




                                                                            Exhibit 3
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Note(s):
Lines that exhibited positive CPT and CDT capacity simultaneously on at least two distinct dates in each of at least two distinct years are
considered to have sufficient observations to be considered a “hybrid” line. E.g., a line with positive CPT and CDT capacity on two different
dates within 2003 and two different dates in 2004 would be considered a hybrid line, whereas a line with only one hybrid observation in each
year would not. “Hybrid-switch” lines are lines that satisfy our criteria for a “hybrid” line, but also contain observations in which they produce
both CPTs exclusively and CDTs exclusively. Samsung’s Suwon #1 line is among the 14 lines I classify as “hybrid” or “hybrid-switch”.
Source File(s):
line_list_by_type.do
line_type.do
Capacity Worksheets.xlsx
capacity_database.do
database edits.do
early_capacity_load.do
capacity_load.do
line_list_by_type.xlsx




                                                                                                                                           Exhibit 3
                                                                                                                                         Page 8 of 8
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                                                    Worldwide CDT Production Shares

100%




                                                                                   Cartel
80%




60%




40%




20%
                                                                                  Non-Cartel




 0%
       1Q98              1Q99               1Q00                1Q01               1Q02               1Q03                2Q04        2Q05   2Q06
                                                                                      Year
  Note(s): 4Q03 CDT data are comprised of DisplaySearch projected quantities. There are no CDT market share data for 1Q04. "Others"
  CDT manufacturer assumed to be Orion in 3Q05 - 4Q06 based on CDT capacity information.
  Data Source(s): See Exhibits 2 and 82.
  Source File(s): CDT share.do, dta creator.do; Clean Shares.xlsx




                                                                                                                                                    Exhibit 4
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                                                        Worldwide CPT Production Shares

100%


90%


80%
                                                                          Cartel

70%


60%


50%


40%


30%

                                                                         Non-Cartel
20%


10%


 0%
       1Q00                    1Q01                    1Q02             1Q03             1Q04   1Q05     1Q06
                                                                               Quarter

 Note(s): 4Q06 CPT information appears to be projected as of 11/2006.
 Data Source(s): See Exhibit 82.
 Source File(s): CPT share.do; dta creator.do; Clean Shares.xlsx




                                                                                                                Exhibit 5
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                    HHI Over Time, Cartelized CPT Production vs. Non- Cartelized CPT Production
      10000


      9000


      8000


      7000

                                                                            With CRT Cartel
      6000
HHI




      5000


      4000


      3000
                                                                            Without CRT Cartel
      2000


      1000


          0
                     2000                    2001                    2002             2003       2004   2005   2006
                                                                                   Year

  Note(s): 4Q06 CPT information appears to be projected as of 11/2006.
  Data Source(s): See Exhibit 82.
  Source File(s): HHI.do; dta creator.do; HHI.xlsx




                                                                                                                      Exhibit 6
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                        HHI Over Time, Cartelized CDT Production vs. Non-Cartelized CDT Production
  10000


      9000


      8000
                                                                                With CRT Cartel

      7000
HHI




      6000


      5000


      4000
                                                                             Without CRT Cartel

      3000


      2000


      1000


           0
                     1998              1999              2000               2001            2002                2003               2004   2005   2006
                                                                                        Year
      Note(s): 4Q03 CDT data are comprised of DisplaySearch projected quantities. There are no CDT market share data for 1Q04. "Others"
      CDT manufacturer assumed to be Orion in 3Q05 - 4Q06 based on CDT capacity information.
      Data Source(s): See Exhibits 2 and 82.
      Source File(s): HHI.do; dta creator.do; CDT Data.xlsx; HHI.xlsx




                                                                                                                                                    Exhibit 7
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                        HHI Over Time, Cartelized CRT Production vs. Non-Cartelized CRT Production
      10000


       9000


       8000


       7000
                                                                                  With CRT Cartel

       6000
HHI




       5000


       4000


       3000
                                                                                 Without CRT Cartel

       2000


       1000


           0
                       2000                   2001                   2002                   2003                   2004                   2005                   2006
                                                                                            Year
      Note(s): 4Q03 CDT data are comprised of DisplaySearch projected quantities. There are no CDT market share data for 1Q04. "Others" CDT manufacturer assumed to be
      Orion in 3Q05 - 4Q06 based on CDT capacity information. 4Q06 CPT information appears to be projected as of 11/2006.
      Data Source(s): See Exhibits 2 and 82.
      Source File(s): HHI.do; dta creator.do; CDT Data.xlsx; HHI.xlsx




                                                                                                                                                                         Exhibit 8
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                                                     Total Worldwide CRT Production by Tube Type
                    80,000


                    70,000


                    60,000


                    50,000
Units (Thousands)




                    40,000


                    30,000


                    20,000


                    10,000


                        0
                             1Q91   1Q92   1Q93   1Q94   1Q95   1Q96      1Q97      1Q98      1Q99      1Q00      1Q01      1Q02      1Q03   1Q04   1Q05   1Q06
                                                                                        Quarter
                                                                 CPT                            CDT                             CRT

  Note(s): There are no data for 1Q04 CDT; quantity value generated by taking midpoint between 4Q03 CDT and 2Q04 CDT. 4Q03 CDT
  data are comprised of DisplaySearch projected quantities. Data for years 1991-1997 in CDT and 1991-1999 in CPT are reported every
  half-year; the same values are assigned to corresponding quarters. 4Q06 CPT information appears to be projected as of 11/2006.
  Data Source(s): See Exhibit 82.
  Source File(s): total production.do; dta creator.do; total production.xlsx




                                                                                                                                                                  Exhibit 9
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                         CRT Distribution Diagram




                           CRT Tube Manufacturers




                                                      Tube Distributors




                               Product Makers




                                                    Product Distributors




                                             Retailers




                          End-Users / Class-Members




                                                                           Exhibit 10
                                Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 297 of 1309



                                                         Worldwide CRT Production Shares

100%


90%

                                                                              Cartel
80%


70%


60%


50%


40%


30%

                                                                           Non-Cartel
20%


10%


 0%
       1Q00                    1Q01                   1Q02                    1Q03                    1Q04                    1Q05       1Q06
                                                                             Quarter

 Note(s): 4Q03 CDT data are comprised of DisplaySearch projected quantities. There are no CDT market share data for 1Q04. "Others" CDT
 manufacturer assumed to be Orion in 3Q05 - 4Q06 based on CDT capacity information. 4Q06 CPT information appears to be projected as of
 11/2006.
 Data Source(s): See Exhibits 2 and 82.




                                                                                                                                                Exhibit 11
                               Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 298 of 1309



                                                         Shares of Worldwide CRT Capacity

100%



90%



80%
                                                                                    Cartel

70%



60%



50%



40%



30%


                                                                                 Non-Cartel
20%



10%



 0%
            1996            1997           1998            1999           2000            2001            2002           2003   2004   2005   2006

                                                                                     Year
Data Source(s): See Exhibit 2.
Source File(s): Capacity Worksheets.xlsx; capacity shares.do; early_capacity_load.do; capacity_load.do; capacity_database.do;




                                                                                                                                                 Exhibit 12
                                 Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 299 of 1309



                                            Worldwide Monitor Share by Technology
 100%


  90%


  80%


  70%


  60%


  50%


  40%


  30%


  20%


  10%


    0%
      1999 Q1            2000 Q1            2001 Q1        2002 Q1           2003 Q1           2004 Q1      2005 Q1   2006 Q1   2007 Q1

                                                                      CRT Monitor             LCD Monitor


Data Source(s): DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Source File(s):   aE_DISP_LCD-000129.xlsx




                                                                                                                                          Exhibit 13
                                  Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 300 of 1309



                                                Worldwide TV Share by Technology
 100%


  90%


  80%


  70%


  60%


  50%


  40%


  30%


  20%


  10%


    0%
           2004 Q1             2004 Q3             2005 Q1             2005 Q3             2006 Q1      2006 Q3   2007 Q1   2007 Q3

                                                                                  CRT          LCD


Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Source File(s):   aE_DISP_LCD-000129.xlsx




                                                                                                                                      Exhibit 14
           Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 301 of 1309


CDT Prices and Compound Annual Growth Rates

     Year                                                Price
                            15" CDT                  17" CDT                   19" CDT
   1995                   $148.97                   $255.27
   1996                   $132.93                   $235.59
   1997                    $85.49                   $172.16                   $283.95
   1998                    $57.09                   $102.69                   $200.79
   1999                    $62.00                    $93.52                   $165.49
   2000                    $61.28                    $85.01                   $130.83
   2001                    $45.78                    $66.73                    $90.33
   2002                    $38.52                    $53.73                    $79.53
   2003                    $34.61                    $46.05                    $72.27
   2004                    $34.90                    $45.31                    $69.49
   2005                    $32.73                    $40.51                    $62.14
   2006                    $29.19                    $35.62                    $54.66
   2007                    $26.17                    $31.81                    $51.94
CAGR 1995-2001*              -17.9%                   -20.0%                   -24.9%
CAGR 2001-2007                -8.9%                   -11.6%                    -8.8%




Notes:            * First listed CAGR for 19" CDTs is for period 1997-2001 because 19" CDT price data for 1995 and 1996 are
                  unavailable.
Source File(s):   average_price.do; average_price_all.xlsx
Data Source(s):   Defendant data; see Exhibit 64.




                                                                                                                              Exhibit 15
           Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 302 of 1309


CPT Prices and Compound Annual Growth Rates

     Year                                                         Price
                               14" CPT                  20" CPT           21" CPT    29" CPT
   1995                        $48.08                   $68.60            $78.80    $161.61
   1996                        $47.72                   $67.09            $76.85    $165.26
   1997                        $41.55                   $61.66            $66.26    $159.06
   1998                        $33.33                   $58.85            $59.59    $136.47
   1999                        $29.90                   $51.71            $56.25    $142.86
   2000                        $32.33                   $50.89            $55.93    $147.66
   2001                        $28.72                   $49.27            $53.39    $127.06
   2002                        $23.29                   $41.67            $47.82    $108.05
   2003                        $21.86                   $37.55            $45.80    $103.68
   2004                        $21.36                   $37.88            $43.93     $97.32
   2005                        $19.73                   $37.52            $38.83     $82.22
   2006                        $17.29                   $33.68            $33.61     $74.29
   2007                        $16.48                   $31.77            $31.86     $71.37
CAGR 1995-2004                  -8.6%                    -6.4%              -6.3%     -5.5%
CAGR 2004-2007                  -8.3%                    -5.7%             -10.2%     -9.8%




Data Source(s):   Defendant data; see Exhibit 64.
Source File(s):   average_price.do; average_price_all.xlsx




                                                                                               Exhibit 16
                                   Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 303 of 1309



                                                     15" Monitor Price by Technology
 $1,400



 $1,200



 $1,000



   $800



   $600



   $400



   $200



      $0
        1999 Q1             2000 Q1             2001 Q1        2002 Q1           2003 Q1           2004 Q1     2005 Q1   2006 Q1   2007 Q1

                                                                         CRT Monitor             LCD Monitor



Note(s):          Prices are global averages.
Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Source File(s):   aE_DISP_LCD-000129.xlsx




                                                                                                                                             Exhibit 17
                                   Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 304 of 1309



                                                     17" Monitor Price by Technology
 $3,000




 $2,500




 $2,000




 $1,500




 $1,000




   $500




      $0
        1999 Q1             2000 Q1             2001 Q1        2002 Q1           2003 Q1           2004 Q1     2005 Q1   2006 Q1   2007 Q1

                                                                         CRT Monitor             LCD Monitor



Note(s):          Prices are global averages.
Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Source File(s):   aE_DISP_LCD-000129.xlsx




                                                                                                                                             Exhibit 18
                                   Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 305 of 1309



                                                        19" Monitor Price by Technology
 $5,000


 $4,500


 $4,000


 $3,500


 $3,000


 $2,500


 $2,000


 $1,500


 $1,000


   $500


      $0
        1999 Q1             2000 Q1            2001 Q1            2002 Q1            2003 Q1            2004 Q1            2005 Q1            2006 Q1            2007 Q1

                                                                             CRT Monitor              LCD Monitor



Note(s):          19" LCD price data are missing for Q3 and Q4 1999. I estimate these data linearly using Q2 1999 and Q1 2000 prices as end points. Prices are global averages.
Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Source File(s):   aE_DISP_LCD-000129.xlsx




                                                                                                                                                                                  Exhibit 19
                                    Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 306 of 1309



                                                        10" - 14" TV Price by Technology
 $600




 $500




 $400




 $300




 $200




 $100




    $0
           2004 Q1              2004 Q3                2005 Q1               2005 Q3           2006 Q1   2006 Q3   2007 Q1   2007 Q3

                                                                                         CRT     LCD




Note(s):          Prices are global averages. TV price data are reported by size category.
Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Source File(s):   aE_DISP_LCD-000129.xlsx




                                                                                                                                       Exhibit 20
                                    Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 307 of 1309



                                                        20" - 21" TV Price by Technology
 $1,200




 $1,000




   $800




   $600




   $400




   $200




      $0
            2004 Q1               2004 Q3               2005 Q1                2005 Q3         2006 Q1   2006 Q3   2007 Q1   2007 Q3

                                                                                         CRT    LCD




Note(s):          Prices are global averages. TV price data are reported by size category.
Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Source File(s):   aE_DISP_LCD-000129.xlsx




                                                                                                                                       Exhibit 21
                                    Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 308 of 1309



                                                        25" - 29" TV Price by Technology
 $3,000




 $2,500




 $2,000




 $1,500




 $1,000




   $500




      $0
            2004 Q1               2004 Q3               2005 Q1                2005 Q3         2006 Q1   2006 Q3   2007 Q1   2007 Q3

                                                                                         CRT     LCD




Note(s):          Prices are global averages. TV price data are reported by size category.
Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Source File(s):   aE_DISP_LCD-000129.xlsx




                                                                                                                                       Exhibit 22
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Worldwide Quantity of LCD Monitors Sold

     Year                                                        Monitor Size
                            15"                         17"                           19"                          20" - 21"
   1999                   3,156,997                      58,500                           97                          29,095
   2000                   4,643,969                     244,858                        5,043                          40,098
   2001                  12,214,705                   1,866,912                       19,469                         103,701
   2002                  22,180,311                   6,875,917                      467,007                         338,373
   2003                  24,515,928                  18,549,278                    2,343,642                         826,353
   2004                  22,486,475                  35,663,864                    7,822,250                       1,713,654
   2005                  17,098,234                  62,202,952                   23,081,926                       3,066,182
   2006                  14,251,796                  66,796,834                   41,775,168                       6,446,964
   2007                  11,317,648                  58,745,873                   64,874,135                      11,674,679
Grand Total             131,866,063                 251,004,988                  140,388,737                      24,239,099




Note(s):          Larger sizes omitted. Listed sizes make up roughly 95% of total monitor sales from 1999-2007.
Data Source(s): DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Source File(s):   aE_DISP_LCD-000129.xlsx



                                                                                                                               Exhibit 23
                                  Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 310 of 1309


Worldwide Quantity of LCD TVs Sold

      Year                                                                               TV Size
                      10" - 14"          15" - 19"          20" - 21"           22" - 24"       25" - 29"       30" - 34"     35" - 39"     40" - 44"
    2002               304,075            646,325            296,835              64,450           3,775          31,050         3,000         1,680
    2003               522,748          1,608,129            907,009             303,860         126,255         382,742        67,117        10,776
    2004               888,093          2,315,915          2,126,550             681,791       1,106,449       1,451,294       153,636        24,289
    2005               802,509          3,844,833          4,056,839           1,108,180       3,753,094       5,821,965     1,063,494       591,421
    2006               321,006          4,710,428          7,409,202           1,372,746       6,721,851      15,327,263     4,040,632     4,885,046
    2007               177,006          8,042,658          6,845,568           1,707,520       9,221,414      27,294,461     8,174,037    12,910,594
Grand Total          3,015,437         21,168,288         21,642,003           5,238,547      20,932,838      50,308,775    13,501,916    18,423,806




Notes:            Larger sizes omitted. Listed sizes make up over 96% of total LCD TV sales from 2002-2007.
Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Source File(s):   aE_DISP_LCD-000129.xlsx



                                                                                                                                                        Exhibit 24
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Gain in CPT Sales Necessary for 5% Price Decline to be Profitable
                                                         Additional Sales
                                                       Needed for 5% Price                                           Critical
                        Defendant CPT                     Decline to be                  Total LCD TV            Gain/Total LCD
     Year                 Production                       Profitable                        Sales                 TV Sales
     1995                   87,753,158                        12,536,165
     1996                  110,199,974                        15,742,853
     1997                  113,950,892                        16,278,699
     1998                  116,198,694                        16,599,813
     1999                  130,942,359                        18,706,051
     2000                  143,169,400                        20,452,771
     2001                  129,361,300                        18,480,186
     2002                  154,801,876                        22,114,554                     1,351,190                1637%
     2003                  158,202,742                        22,600,392                     3,928,636                 575%
     2004                  182,097,721                        26,013,960                     8,766,144                 297%
     2005                  168,130,444                        24,018,635                    21,167,909                 113%
     2006                  160,699,222                        22,957,032                    45,989,894                  50%
     2007                  125,871,823                        17,981,689                    79,194,161                  23%
    Total                1,781,379,604                      254,482,801                   160,397,934                   159%


Notes:            I assume a 40% gross profit margin prior to the hypothetical 5% price reduction. Under these assumptions,
                  defendants must sell at least 14% more units for a 5% price reduction to be profitable. Defendant tube production in
                  1995 and 2007 is limited to the months included in the class period.
Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
                  Total damages data; see Exhibit 84.
Source File(s):   total_damages_exhibits.do; total_damages_exhibits.xlsx




                                                                                                                                 Exhibit 25
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Gain in CDT Sales Necessary for 20% Price Decline to be Profitable
                                                        Additional Sales
                                                      Needed for 20% Price                                          Critical
                        Defendant CDT                    Decline to be                   Total LCD              Gain/Total LCD
     Year                 Production                       Profitable                   Monitor Sales            Monitor Sales
     1995                   47,818,389                       47,818,389
     1996                   66,382,000                       66,382,000
     1997                   71,545,000                       71,545,000
     1998                   80,532,000                       80,532,000
     1999                   96,120,000                       96,120,000                     4,490,422                2141%
     2000                  105,066,000                      105,066,000                     6,137,542                1712%
     2001                   82,000,000                       82,000,000                    15,712,661                 522%
     2002                   80,193,000                       80,193,000                    32,190,361                 249%
     2003                   65,126,000                       65,126,000                    49,205,397                 132%
     2004                   65,635,000                       65,635,000                    68,973,084                  95%
     2005                   46,963,869                       46,963,869                   106,156,730                  44%
     2006                   32,173,986                       32,173,986                   131,369,756                  24%
     2007                   17,872,152                       17,872,152                   162,519,167                  11%
    Total                  857,427,395                      857,427,395                   576,755,120                  149%


Note(s):          I assume a 40% gross profit margin prior to the hypothetical 20% price reduction. Under these assumptions,
                  defendants must sell at least 100% more units for a 20% price reduction to be profitable. Defendant tube production
                  in 1995 and 2007 is limited to the months included in the class period.
Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
                  Total damages data; see Exhibit 84.
Source File(s):   total_damages_exhibits.do; total_damages_exhibits.xlsx




                                                                                                                                Exhibit 26
                             Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 313 of 1309


Glass Meeting Attendees



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 8/23/1999 X     X   X   X                          X       23 August 1999, TV Glass Meeting Agenda, CHU00029070 - CHU00029082.
10/20/1999 X         X                 X                    Ross, David, 20 October 1999, Glass Meeting Report, CHU00029044 - CHU00029045.
                                                            Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 11 November 1999, Contact Report, Topic:
11/11/1999 X     X   X   X             X
                                                            European TV Glass Meeting , CHU00030917 - CHU00030919.
                                                            CPT, David Ross, 18 September 2000, Report on Glass Meeting, CHU00022728 -
 9/18/2000 X         X   X             X
                                                            CHU00022730.
 2/23/2001   X   X   X   X             X                    Lee, Jae In, 23 February 2001, GSM Meeting (SDI), SDCRT-0087405 - SDCRT-0087407.
 3/19/2001   X   X   X   X             X                    Lee, Jae In, 19 March 2001, GSM March MTG (Philips), SDCRT-0087408 - SDCRT-0087410.
 4/19/2001   X   X   X   X             X                    Lee, Jae In, 19 April 2001, GSM (LG office), SDCRT-0087411 - SDCRT-0087413.
 6/26/2001   X   X   X   X             X            X       Samsung, 26 June 2001, TV Glass meeting, SDCRT-0005831 - SDCRT-0005842.
 6/27/2001   X       X   X                 X                Lee, Jae In, 27 June 2001, GSM MTG (Orion), SDCRT-0087417 - SDCRT-0087422.
10/15/2001   X       X   X                 X                Lee, Jae In, 15 October 2001, GSM MTG (SDI), SDCRT-0087427 - SDCRT-0087429.
12/17/2001   X       X   X                 X                Samsung SDI, 17 December 2001, GSM Meeting, SDCRT-0087437 - SDCRT-0087440.
                                                            Lin, Chieng-Yuan, Liu, Chih-Chun, et al., 6 March 2002, GSM Meeting Glasgow 0202,
   2/??/02 X         X                     X
                                                            CHU00022583 - CHU00022585.
                                                            Chunghwa Picture Tubes, LTD, 20 March 2002, 3/20 GSM TV Tube Market Condition Explanation,
 3/20/2002 X         X   X                 X
                                                            CHU00123746 - CHU00123747.
                                                            Samsung SDI, 22 April 2002, GSM Meeting Log in April of 2002, SDCRT-0087743 - SDCRT-
 4/22/2002 X         X   X                 X
                                                            0087744.
 5/28/2002 X         X   X                 X                28 May 2002, Glass Meeting, SDCRT-0007588 - SDCRT-0007594.
10/25/2002           X   X                 X              X Samsung, 25 October 2002, GSM MTG, SDCRT-0087708 - SDCRT-0087718.
11/25/2002           X   X                 X              X Samsung, 25 November 2002, GSM Meeting, SDCRT-0087719 - SDCRT-0087736.
                                                            Chunghwa Picture Tubes, LTD Picture Tubes (Fuzhou), Yeh, Chung-Cheng (Alex), 21 February
 2/21/2003 X                       X       X        X       2003, Market Visitation (Glass Meeting) Report (For Submission), CHU00030557 -
                                                            CHU00030558.
 3/21/2003 X             X                 X                CPT, 21 March 2003, 3/21 '03 GSM Meeting, CHU00014182 - CHU00014185.
                                                            Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 22 May 2003, Market Visitation Report (Glass
 5/22/2003 X             X                 X   X    X
                                                            Meeting), CHU00030547 - CHU00030552.
                                                            Samsung Samsung SDI, 05 August 2003, 1st Glass TOP MEETING Results Report, SDCRT-
  8/5/2003               X                 X   X
                                                            0088726 - SDCRT-0088730.
                                                            Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 05 September 2003, Market Visitation Report
  9/5/2003 X             X                 X   X    X
                                                            (TV Glass Meeting), CHU00030060 - CHU00030063.
                                                            Samsung Samsung SDI, 29 October 2003, CDT Glass Meeting Results Report, SDCRT-0088819 -
10/29/2003 X             X                 X
                                                            SDCRT-0088821.
                                                            CPT, 07 November 2003, Market Visitation Report (Glass Meeting), CHU00030071 -
 11/7/2003 X             X                 X   X    X
                                                            CHU00030078.
                                                            Yang, Sheng-Jen (S.J.), Chen, Shih-Ming (Maxim), 12 November 2003, Marketing Contact Report
11/12/2003 X             X                 X   X    X
                                                            (Glass meeting), CHU00030058 - CHU00030059.
                                                            Samsung Samsung SDI, 28 November 2003, 9 GLASS MTG, SDCRT-0088743 - SDCRT-
11/28/2003               X                 X   X
                                                            0088748.

                                                                                                                                                   Exhibit 27
                                                                                                                                                  Page 1 of 3
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                                                  Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 16 February 2004, Market Visitation Report
2/16/2004 X       X               X   X   X
                                                  (Glass Meeting), CHU00030036 - CHU00030039.
                                                  Samsung Samsung SDI, 08 March 2004, Report on Glass MTG Results, SDCRT-0090278 -
 3/8/2004 X       X               X
                                                  SDCRT-0090279.
                                                  Chen, Shih-Ming (Maxim), 16 March 2004, Market Visitation Report (Glass Meeting),
3/16/2004 X       X               X   X   X
                                                  CHU00124020 - CHU00124021.
4/23/2004 X       X               X   X   X       23 April 2004, Market Visitation Report (Glass Meeting), CHU00030533 - CHU00030536.
                                                  Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 18 May 2004, Market Visitation Report (Glass
5/18/2004 X       X               X   X   X
                                                  Meeting), CHU00030530 - CHU00030532.
                                                  Samsung Samsung SDI, June 2004, Report the results of the Glass Working Meeting, SDCRT-
 06/??/04 X       X               X
                                                  0090312 - SDCRT-0090313.
                                                  Chen, Shih-Ming (Maxim), 18 June 2004, Marketing Visitation Report (Glass Meeting),
6/18/2004 X       X               X   X   X
                                                  CHU00124116 - CHU00124118.
7/22/2004 X       X               X   X   X       22 July 2004, Market Visitation Report (Glass Meeting), CHU00030520 - CHU00030523.

7/26/2004 X       X               X
                                                  Lee, Jae In, 26 July 2004, SDI CDT glass MTG - Itinerary, SDCRT-0090322 - SDCRT-0090328.
                                                  Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 17 September 2004, Marketing Contact
9/17/2004 X       X               X   X   X
                                                  Report (Glass Meeting), CHU00030506 - CHU00030511.

11/5/2004 X       X               X   X   X
                                                 05 November 2004, Marketing Contact Report (Glass Meeting), CHU00030502 - CHU00030504.
                                                 Samsung Samsung SDI, 15 November 2004, Report the results of the Glass working meeting on
11/15/2004 X      X               X
                                                 Nov. 15 , SDCRT-0090350 - SDCRT-0090353.
                                                 Yang, Chen, Shih-Ming (Maxim), et al., 28 December 2004, Marketing Contact Report (Glass
12/28/2004 X      X               X   X   X
                                                 meeting), CHU00029990 - CHU00029993.
                                                 Samsung SDI, 09 February 2005, Glass meeting in Amsterdam, SDCRT-0091491 - SDCRT-
 2/9/2005         X               X            X
                                                 0091504.
                                                 Veronica, Jess, 25 February 2005, Marketing Contact Report (Glass Meeting), CHU00030499 -
2/25/2005 X       X               X   X   X
                                                 CHU00030499 .
3/22/2005         X               X            X Samsung, 22 March 2005, Glass Meeting in Amsterdam, SDCRT-0002984 - SDCRT-0002988.
                                                 Chunghwa Picture Tubes, LTD, 26 April 2005, 4/26 '05 GSM (Seoul), CHU00735380 -
4/26/2005 X       X               X
                                                 CHU00735393.
                                                 Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 29 April 2005, Market Visitation Report (Glass
4/29/2005 X       X               X   X   X
                                                 Meeting), CHU00030495 - CHU00030496.
                                                 Chen, Shih-Ming (Maxim), 09 June 2005, Market Visitation Report (Glass Meeting), CHU00030491
 6/9/2005 X       X               X   X   X
                                                 - CHU00030494.
                                                 Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 08 August 2005, Glass Meeting Meeting
 8/8/2005 X       X               X
                                                 Information, CHU00017069 - CHU00017074.
                                                 Chunghwa Picture Tubes, LTD, 19 September 2005, GSM meeting material, CHU00017092 -
9/19/2005 X       X               X   X   X
                                                 CHU00017099.
                                                 Chen, Hwang-Yun (Henry), Chen, Mu-Lin (Jimmy), 22 September 2005, Market Visitation Report
9/22/2005 X       X               X   X   X
                                                 (Glass Meeting), CHU00030472 - CHU00030473.




                                                                                                                                           Exhibit 27
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                                                 Chunghwa Picture Tubes, LTD, 28 September 2005, GSM Top Management Meeting,
9/28/2005 X       X               X
                                                 CHU00014230 - CHU00014231.
                                                 Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 21 October 2005, Market Visitation Report
10/21/2005 X      X               X   X   X
                                                 (Glass Meeting), CHU00030468 - CHU00030471.
                                                 CPT, 31 October 2005, Subject: GLASSMEETING Meeting Materials, CHU00017125 -
10/24/2005 X      X               X
                                                 CHU00017129.
                                                 Samsung SDI, LG Philips Displays, et al., 21 November 2005, GSM Meetiing , CHU00014227 -
11/21/2005 X      X               X
                                                 CHU00014229.
                                                 Chen, Mu-Lin (Jimmy), 06 December 2005, Market Visitation Report (Glass Meeting),
12/6/2005 X       X               X   X   X
                                                 CHU00030465 - CHU00030467.
12/20/2005 X      X               X              20 December 2005, December Period CDT GSM Meeting, CHU00125657 - CHU00125658.
                                                 Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 09 March 2006, Market Visitation Report
 3/9/2006 X       X               X   X   X
                                                 (Glass Meeting), CHU00030458 - CHU00030469.
3/14/2006 X       X               X              14 March 2006, Visitation Report (GSM Meeting), CHU00014215 - CHU00014217.
                                                 Lu, Wei-Rong (Bruce), 08 May 2006, Subject: Glass Meeting Meeting Information, CHU00032196 -
 5/8/2006 X       X               X
                                                 CHU00032196.
                                                 Chunghwa Picture Tubes, LTD Picture Tubes, LTD, 05 September 2006, Market Visitation Report
 9/5/2006 X       X               X   X   X
                                                 (Glass Meeting), CHU00030449 - CHU00030457.
                                                 Chen, Mu-Lin (Jimmy), November 2006, Market Visitation Report (Glass Meeting), CHU00119571 -
11/9/2006 X       X               X   X   X
                                                 CHU00119573.
                                                 Jimmy, Wu, Meng Ying, 7 February 2007, Market Visitation Report (Glass Meeting),
 2/7/2007 X       X               X   X
                                                 CHU00030437 - CHU00030438.




                                                                                                                                        Exhibit 27
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Cartel Meetings Resulting in Capacity or Production Control

Meeting Date Bates Number         Manufacturer                                                           Type       Capacity Control   Production Control
 11/23/1996   CHU00028786         Chunghwa, Orion, Samsung                                               CDT               X                   X
  1/28/1997   CHU00028768         Chunghwa, Orion, Philips, Samsung                                      CDT                                   X
  2/24/1997   CHU00028763         Chunghwa, Orion, Philips, Samsung                                      CDT                                   X
  3/12/1997   CHU00028758         Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  7/31/1998   SDCRT-0086419       Chunghwa, LG, Philips, Samsung                                         CDT                                   X
   9/7/1998   SDCRT-0086421       Chunghwa, LG, Orion, Philips, Samsung                                  CDT               X                   X
   9/8/1998   CHU00030670         Chunghwa, LG, Orion, Samsung                                           CPT                                   X
  11/6/1998   CHU00030684         Chunghwa, Irico, Matsushita, Orion, Philips, Samsung                   CDT                                   X
 11/30/1998   SDCRT-0086445       Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
 12/11/1998   SDCRT-0086449       Chunghwa, Orion, Philips                                               CDT                                   X
   3/1/1999   CHU00030720         Chunghwa, LG                                                           CDT                                   X
  3/15/1999   CHU00030731         Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  3/22/1999   SDCRT-0086577       Chunghwa, LG, Orion, Philips                                           CDT                                   X
  3/31/1999   SDCRT-0086569       Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  4/10/1999   SDCRT-0086584       Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  5/21/1999   SDCRT-0086632       Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  5/23/1999   TSB-CRT-00045123 Irico, LG, Matsushita, Novel, Philips, SEG-Hitachi, Samsung, Thomson      CPT                                   X
  6/23/1999   CHU00030787         LG, Orion, Samsung                                                     CDT                                   X
  7/23/1999   CHU00030809         Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  8/20/1999   CHU00030835         Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  8/22/1999   CHU00030839         LG, Orion, Samsung                                                     CDT                                   X
   9/7/1999   SDCRT-0086691       Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  9/20/1999   CHU00030855         Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  1/24/2000   CHU00029152         Chunghwa, LG, Orion, Philips, Samsung, Thai-CRT                        CPT                                   X
  1/24/2000   CHU00030960         Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  2/24/2000   CHU00030965         Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  3/31/2000   CHU00030985         Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  4/10/2000   CHU00030998         Samsung                                                                CDT                                   X
   5/9/2000   CHU00031002         Samsung                                                             CPT and CDT                              X
  5/26/2000   CHU00031006         Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
   6/6/2000   CHU00031017         Samsung                                                                CDT                                   X
  6/20/2000   CHU00031010         Chunghwa, LG, Orion, Philips, Samsung                                  CDT                                   X
  8/11/2000   CHU00031040         Samsung                                                                CDT                                   X


                                                                                                                                                       Exhibit 28
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Meeting Date Bates Number       Manufacturer                                                          Type       Capacity Control   Production Control
  9/14/2000   CHU00031044       Samsung                                                               CDT                                   X
  9/27/2000   CHU00031067       Chunghwa, LG, Orion, Philips, Samsung                                 CDT                                   X
 10/25/2000   CHU00031075       Chunghwa, LG, Orion, Philips, Samsung                                 CDT                                   X
 11/29/2000   SDCRT-0087393     Chunghwa, LG, Orion, Philips, Samsung                                 CDT                                   X
  2/23/2001   SDCRT-0087405     Chunghwa, LG, Orion, Philips, Samsung                                 CDT                                   X
  3/19/2001   CHU00031111       Chunghwa, LG, Philips, Samsung                                        CDT                                   X
  4/19/2001   CHU00024554       Chunghwa, LG, Orion, Philips, Samsung                                 CDT                                   X
  4/24/2001   SDCRT-0087340     Guangdong, Irico, LG, MTPD, Novel, Philips, SEG-Hitachi, Thomson      CPT                                   X
  4/26/2001   CHU00006004       Chunghwa                                                              CDT                                   X
  6/27/2001   CHU00660306       Chunghwa, LPD, Orion, Samsung                                         CDT               X                   X
   7/5/2001   SDCRT-0087664     Orion, Philips, Thomson                                               CPT                                   X
  7/24/2001   CHU00031150       Chunghwa, LG, Orion, Samsung                                          CDT                                   X
  8/28/2001   CHU00660408       Chunghwa, LPD, Orion, Samsung                                         CDT               X                   X
 10/15/2001   SDCRT-0087427     Chunghwa, LPD, Orion, Samsung                                         CDT               X                   X
 11/20/2001   CHU00660337       Chunghwa, LPD, Orion, Samsung                                         CDT               X
   1/9/2002   SDCRT-0087741     Chunghwa                                                           CPT and CDT          X
  2/25/2002   TSB-CRT-00041862 Samsung                                                                CDT               X
 11/14/2002   CHU00660476       Chunghwa, LPD, Samsung                                                CDT               X
 11/28/2002   CHU00660487       Chunghwa, LPD, Samsung                                                CDT               X
   1/1/2003   CHU00031804       Chunghwa, LPD, Samsung                                                CDT               X                   X
  5/30/2003   CHU00660549       Chunghwa, LPD, Samsung                                                CDT               X
  6/17/2003   CHU00660561       Chunghwa, LPD, Samsung                                                CDT               X
  6/19/2003   CHU00660213       Chunghwa, LPD, Samsung                                                CDT               X
  7/29/2003   CHU00031190       LPD, Samsung                                                          CDT               X
  8/28/2003   CHU00031194       Chunghwa, LPD, Samsung                                                CDT               X
  11/7/2003   SDCRT-0088826     Chunghwa, LPD, Samsung                                                CDT               X
 11/21/2003   SDCRT-0088635     LPD, Samsung, Thomson                                                 CPT                                   X
  12/5/2003   CHU00031214       Chunghwa, LPD, Samsung                                                CDT               X
  1/30/2004   CHU00031227       Chunghwa, LPD, Samsung                                                CDT               X
   3/2/2004   SDCRT-0090258     Chunghwa, LPD, Samsung                                                CDT               X
  8/18/2004   CHU00031272       Chunghwa, LPD, Samsung                                                CDT                                   X
 10/13/2004   CHU00735299       Chunghwa, LPD, Samsung                                                CDT               X
 10/26/2004   SDCRT-0090339     Chunghwa, LPD, Samsung                                                CDT               X
 11/15/2004   CHU00578883       Chunghwa, LPD, Samsung                                                CDT               X
 11/30/2004   SDCRT-0090355     Chunghwa, LPD, Samsung                                                CDT                                   X


                                                                                                                                                    Exhibit 28
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Meeting Date Bates Number       Manufacturer                                 Type   Capacity Control   Production Control
  1/19/2005   SDCRT-0091599     Chunghwa, LPD, Samsung                        CDT          X
   2/9/2005   SDCRT-0091491     LPD, Samsung, Thomson                         CPT                              X
  2/14/2005   CHU00735253       Chunghwa, LPD, Samsung                        CDT          X
  2/24/2005   SDCRT-0091605     Chunghwa, LPD, Samsung                        CDT          X
  3/29/2005   SDCRT-0091616     Chunghwa, LPD, Samsung                        CDT          X
  4/26/2005   CHU00014204       Chunghwa, LPD, Samsung                        CDT          X
  5/25/2005   SDCRT-0091643     Chunghwa, LPD, Samsung                        CDT          X
  6/28/2005   SDCRT-0091661     Chunghwa, LPD, Samsung                        CDT          X
  9/28/2005   CHU00014230       Chunghwa, LPD, Samsung                        CDT          X
  3/13/2006   SDCRT-0091715     Chunghwa, LPD, Samsung                        CDT          X
 11/21/2006   CHU00102752       MTPD                                          CPT                              X




                                                                                                                       Exhibit 28
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Cartel Agreements to Reduce CDT Capacity by Shutting Down Production Lines

   Years                             Description                                            Source(s)
 2001 - 2002   In 2001, members of the cartel agreed “to stop the        Chunghwa Picture Tubes, LTD, 27 June 2001,
               production of 30% of the current [CDT] production         Visitation Report, CHU00660306 - CHU00660311, at
               lines for one year in order to effectively decrease       0309E - 3010E.
               capacity and control prices.” They planned a three-
               step process between July 2001 and September
               2001. LPD agreed to shut down six lines, Samsung
               five lines, Chunghwa five lines, and Orion one and a
               half lines during this period.

               By the end of 2002, each cartel member had met or  Chunghwa Picture Tubes, LTD, 23 January 2002,
               exceeded the agreed-upon number of line shutdowns. Visitation Report, Main Topic: CDT Market
                                                                  Information Exchange and Price/Production Review,
                                                                  CHU00031180 - CHU00031181, at 1181E.

                                                                         Chunghwa Picture Tubes, LTD, 27 December 2002,
                                                                         Itinerary, CHU00660487 - CHU00660500, at 0495.

 2003 - 2004   Cartel meeting notes from December 27, 2002 lay out Chunghwa Picture Tubes, LTD, 27 December 2002,
               the cartel’s line shutdown plan for CDTs in 2003. LPD Itinerary, CHU00660487 - CHU00660500, at 0495.
               was to shut down two lines and add one for a net
               decline of one line by June 2003, Samsung was to
               shut down two lines by June 2003, and Chunghwa
               was to shut down one line by May 2003 and another
               by June 2003.
               It took somewhat longer to shutter the agreed-upon    Yuan, 05 December 2003, CDT Market Report,
               number of lines: Slides from a December 5, 2003       CHU00031214 - CHU00031220, at 1219E.
               meeting provide a chart that illustrates that LPD
               needed to shut down two lines, Samsung half a line,
               and Chunghwa no lines to fulfill previous agreements.


               By September 2004 all cartel member had met their         Chunghwa Picture Tubes, LTD, 21 September 2004,
               obligations, except for Samsung, which had only           Itinerary, CHU00660728 - CHU00660735, at 0732.
               shutdown one of the promised two lines. The cartel
               rolled over Samsung’s planned line shutdown to the
               2005 plan discussed in the following section.

 2005 - 2006   In 2005, the cartel created a line shutdown plan          Samsung, June 2005, Agenda, SDCRT-0091661 -
               calling for each of LPD, Samsung, and Chunghwa to         SDCRT-0091667, at 1666.
               shut down a CDT line in each of the first three
               quarters of 2005 for a total shut down of nine lines.
               Cartel meeting notes from February 2005 state that        Chunghwa Picture Tubes, LTD, 23 February 2005,
               “each maker has stopped one production line since         Overseas Trip Report, CHU00608095 -
               January”.                                                 CHU00608105, at 8095.01E.

               As of March 2006, Samsung needed to shut down             Samsung SDI, 13 March 2006, Main Discussion
               one and a half lines to reach the total of three lines,   Agenda, SDCRT-0091715 - SDCRT-0091718, at
               while LPD and Chunghwa had shut down the                  1716E.
               necessary three lines to fulfill the cartel agreement.




                                                                                                                Exhibit 29
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                                                                           Price of 15-Inch CDTs
 $180


 $160


 $140


 $120


 $100


   $80


   $60


   $40


   $20


    $0
     Jan-95       Jan-96       Jan-97        Jan-98       Jan-99       Jan-00      Jan-01       Jan-02       Jan-03       Jan-04    Jan-05       Jan-06       Jan-07

                                                                            Actual Price            Target Price




Note(s):          Actual and target prices are quantity-weighted averages according to quantity sold in the Defendant data.
Data source(s):   Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source file(s):   Target price-structure.xlsx; vendor_map.do; vendor_map.xlsx; PriceTracker.do; clean_target.do; clean_defendant.do; target_price_index.do;
                  combine_target_defendant.do; data for graph exhibits.do; data for graph exhibits.xlsx



                                                                                                                                                                       Exhibit 30
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                                                                           Price of 17-Inch CDTs
 $350


 $300


 $250                                            Note(s):
                                                 Data Source(s):
                                                 Source File(s):
 $200


 $150


 $100


   $50


    $0
     Jan-95       Jan-96       Jan-97        Jan-98         Jan-99     Jan-00      Jan-01       Jan-02       Jan-03       Jan-04    Jan-05       Jan-06       Jan-07

                                                                            Actual Price            Target Price




Note(s):          Actual and target prices are quantity-weighted averages according to quantity sold in the Defendant data.
                  There is only one 17-inch CDT observation in Defendant data for 2Q 1995.
Data source(s):   Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source file(s):   Target price-structure.xlsx; vendor_map.do; vendor_map.xlsx; PriceTracker.do; clean_target.do; clean_defendant.do; target_price_index.do;
                  combine_target_defendant.do; data for graph exhibits.do; data for graph exhibits.xlsx



                                                                                                                                                                       Exhibit 31
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                                                                           Price of 19-Inch CDTs
 $350


 $300


 $250                                            Note(s):
                                                 Data Source(s):
                                                 Source File(s):
 $200


 $150


 $100


   $50


    $0
     Jan-95       Jan-96        Jan-97       Jan-98         Jan-99     Jan-00       Jan-01       Jan-02       Jan-03          Jan-04   Jan-05     Jan-06      Jan-07

                                                                            Actual Price             Target Price




Note(s):          Actual and target prices are quantity-weighted averages according to quantity sold in the Defendant data.
Data source(s):   Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source file(s):   Target price-structure.xlsx; vendor_map.do; vendor_map.xlsx; PriceTracker.do; clean_target.do; clean_defendant.do; target_price_index.do;
                  combine_target_defendant.do; data for graph exhibits.do; data for graph exhibits.xlsx



                                                                                                                                                                       Exhibit 32
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                                                                           Price of 14-Inch CPTs
 $60



 $50


                                                 Note(s):
 $40                                             Data Source(s):
                                                 Source File(s):


 $30



 $20



 $10



   $0
    Jan-95        Jan-96      Jan-97       Jan-98        Jan-99       Jan-00      Jan-01       Jan-02       Jan-03        Jan-04    Jan-05       Jan-06       Jan-07

                                                                            Actual Price            Target Price




Note(s):          Actual and target prices are quantity-weighted averages according to quantity sold in the Defendant data.
Data source(s):   Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source file(s):   Target price-structure.xlsx; vendor_map.do; vendor_map.xlsx; PriceTracker.do; clean_target.do; clean_defendant.do; target_price_index.do;
                  combine_target_defendant.do; data for graph exhibits.do; data for graph exhibits.xlsx



                                                                                                                                                                       Exhibit 33
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                                                                           Price of 20-Inch CPTs
 $80


 $70


 $60
                                                 Note(s):
                                                 Data Source(s):
 $50
                                                 Source File(s):


 $40


 $30


 $20


 $10


   $0
    Jan-95        Jan-96      Jan-97        Jan-98          Jan-99     Jan-00      Jan-01       Jan-02       Jan-03           Jan-04   Jan-05     Jan-06      Jan-07

                                                                             Actual Price            Target Price




Note(s):          Actual and target prices are quantity-weighted averages according to quantity sold in the Defendant data.
Data source(s):   Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source file(s):   Target price-structure.xlsx; vendor_map.do; vendor_map.xlsx; PriceTracker.do; clean_target.do; clean_defendant.do; target_price_index.do;
                  combine_target_defendant.do; data for graph exhibits.do; data for graph exhibits.xlsx



                                                                                                                                                                       Exhibit 34
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                                                                           Price of 21-Inch CPTs
 $90


 $80


 $70

                                                 Note(s):
 $60                                             Data Source(s):
                                                 Source File(s):
 $50


 $40


 $30


 $20


 $10


   $0
    Jan-95        Jan-96      Jan-97        Jan-98       Jan-99       Jan-00       Jan-01       Jan-02       Jan-03       Jan-04    Jan-05       Jan-06       Jan-07

                                                                            Actual Price             Target Price




Note(s):          Actual and target prices are quantity-weighted averages according to quantity sold in the Defendant data.
Data source(s):   Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source file(s):   Target price-structure.xlsx; vendor_map.do; vendor_map.xlsx; PriceTracker.do; clean_target.do; clean_defendant.do; target_price_index.do;
                  combine_target_defendant.do; data for graph exhibits.do; data for graph exhibits.xlsx



                                                                                                                                                                       Exhibit 35
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                                                                            Price of 29-Inch CPTs
 $180


 $160


 $140

                                                 Note(s):
 $120                                            Data Source(s):
                                                 Source File(s):
 $100


   $80


   $60


   $40


   $20


    $0
     Jan-95       Jan-96        Jan-97       Jan-98         Jan-99         Jan-00   Jan-01       Jan-02       Jan-03          Jan-04   Jan-05     Jan-06      Jan-07

                                                                               Actual Price          Target Price




Note(s):          Actual and target prices are quantity-weighted averages according to quantity sold in the Defendant data.
Data source(s):   Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source file(s):   Target price-structure.xlsx; vendor_map.do; vendor_map.xlsx; PriceTracker.do; clean_target.do; clean_defendant.do; target_price_index.do;
                  combine_target_defendant.do; data for graph exhibits.do; data for graph exhibits.xlsx



                                                                                                                                                                       Exhibit 36
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                              Target Price Regression Results - CDTs
                                     Regression of Actual Prices on Target Prices
                                          By Customer, Manufacturer, Size, and Finish


Dependant variable is Ln(Actual Price)
                                                                                     Standard                     P-Value
Variable                                             Coefficient                       Error                    (two-sided)
Ln(Previous Quarter's price)                             0.312                          0.047                       0.000
Ln(Target Price)                                         0.556                          0.032                       0.000
Ln(Price of Glass) × Size                                0.018                          0.004                       0.000
Ln(Industrial Production)                                0.556                          0.125                       0.000
Unemployment Rate                                        0.072                          0.012                       0.000
Constant                                                -3.917                          0.698                       0.000


Fixed Effects by customer, manufacturer, size, and finish
Number of observations           3,826
R-squared                         0.84




Data Source(s):   Organisation for Economic Co-operation and Development, 03 January 2014, Production and Sales (MEI):
                  Production, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=90#, accessed 03 January 2014.
                  Organisation for Economic Co-operation and Development, 03 January 2014, Key Short-Term Economic Indicators:
                  Harmonised Unemployment Rate, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=21760, accessed 03
                  January 2014.
                  Bank of Korea, Undated, Glass for CRT Use.
                  Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source File(s):   Target price-structure.xlsx; vendor_map.xlsx; vendor_map.do; PriceTracker.do; clean_target.do; clean_defendant.do;
                  target_price_index.do; combine_target_defendant.do; target_price_regressions.do; target_regression_exhibits.do;
                  target_regression_exhibits.xlsx




                                                                                                                              Exhibit 37
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                              Target Price Regression Results - CPTs
                                     Regression of Actual Prices on Target Prices
                                          By Customer, Manufacturer, Size, and Finish


Dependant variable is Ln(Actual Price)
                                                                                     Standard                     P-Value
Variable                                             Coefficient                       Error                    (two-sided)
Ln(Previous Quarter's price)                             0.466                          0.050                       0.000
Ln(Target Price)                                         0.342                          0.033                       0.000
Ln(Price of Glass) × Size                                0.006                          0.001                       0.000
Ln(Industrial Production)                               -0.108                          0.117                       0.357
Unemployment Rate                                       -0.011                          0.007                       0.132
Constant                                                 0.693                          0.664                       0.296


Fixed Effects by customer, manufacturer, size, and finish
Number of observations           6,046
R-squared                         0.96




Data Source(s):   Organisation for Economic Co-operation and Development, 03 January 2014, Production and Sales (MEI):
                  Production, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=90#, accessed 03 January 2014.
                  Organisation for Economic Co-operation and Development, 03 January 2014, Key Short-Term Economic Indicators:
                  Harmonised Unemployment Rate, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=21760, accessed 03
                  January 2014.
                  Bank of Korea, Undated, Glass for CRT Use.
                  Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source File(s):   Target price-structure.xlsx; vendor_map.xlsx; vendor_map.do; PriceTracker.do; clean_target.do; clean_defendant.do;
                  target_price_index.do; combine_target_defendant.do; target_price_regressions.do; target_regression_exhibits.do;
                  target_regression_exhibits.xlsx




                                                                                                                              Exhibit 38
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Price Differentials Set by Cartel

Price Differential   High Price Condition     Low Price Condition   Size   Base Model Shape Meeting Date Effective Date    Bates Number
     $2.00                     ITC                     B+D           14         Round        11/23/1996   11/23/1996       CHU00028786
     $2.00            Other Manufacturers            Daewoo          14         Round        1/28/1997      2/1/1997       CHU00028768
     $5.00           All Except Chunghwa            Chunghwa         15         Round        2/25/1997      4/1/1997       CHU00028760
     $2.50                  With Coil              Without Coil      15         Round        3/26/1997      4/1/1997       CHU00028746
     $2.00                   MPRII                    ASC            14         Round        3/26/1997      4/1/1997       CHU00028746
     $2.00                  With Coil              Without Coil      15         Round        3/26/1997      4/1/1997       CHU00028746
     $2.00                   MPRII                    ASC            15         Round        3/26/1997      4/1/1997       CHU00028746
     $2.00                  With Coil              Without Coil      14         Round        3/26/1997      4/1/1997       CHU00028746
     $1.50                  With Coil              Without Coil      14         Round        3/26/1997      4/1/1997       CHU00028746
     $3.00              Samsung/Philips             Chunghwa         15         Round        5/20/1997      5/1/1997       CHU00028725
     $3.00              Samsung/Philips             Chunghwa         15         Round        5/20/1997      6/1/1997       CHU00028725
     $10.00               Short Length           Normal Length       19         Round        1/18/1999     1/18/1999      SDCRT-0086557
     $10.00               Short Length           Normal Length       19         Round         3/8/1999      5/1/1999      SDCRT-0086563
     $1.00               Standard Neck              Mini-neck        15         Round        6/23/1999      8/1/1999       CHU00030787
     $2.00            External Customers       Internal Customers    14         Round        6/23/1999      8/1/1999      SDCRT-0086641
     $2.00                Key Account          Internal Customers    15         Round        6/23/1999      8/1/1999       CHU00030787
                     Customers Outside of
     $2.00           China and not Internal    Internal Customers   14          Round         6/23/1999     9/1/1999      CHU00030787
     $5.00                   .26mm                   .28mm          19          Round         7/28/1999     7/28/1999     CHU00030807
     $3.00                  Daewoo                  Chunghwa        19          Round         8/10/1999     8/10/1999     CHU00030831
     $3.00                    LPD                   Chunghwa        19          Round         8/10/1999     8/10/1999     CHU00030831
     $3.00                 Samsung                  Chunghwa        19          Round         8/10/1999     8/10/1999     CHU00030831
     $3.50                     ITC                    Bare          14          Round         8/23/1999     4/1/1999      CHU00029179
     $3.50                     ITC                    Bare          14          Round         8/23/1999     7/1/1999      CHU00029179
     $4.50                     ITC                    Bare          20          Round         8/23/1999     7/1/1999      CHU00029179
     $4.50                     ITC                    Bare          20          Round         8/23/1999     4/1/1999      CHU00029179
     $1.00                  Normal                  Mini-neck       15          Round         9/20/1999     9/20/1999     CHU00030855
     $1.00                    LPD                      Irico        14          Round         10/11/1999    1/1/2000      CHU00029046
     $0.30                   Arrival                   CIF          14          Round         1/24/2000     1/1/2000      CHU00029152
     $4.50                     ITC                    Bare          20          Round         1/24/2000     1/1/2000      CHU00029152
     $0.30                   Arrival                   CIF          20          Round         1/24/2000     10/1/2000     CHU00029152
     $3.50                     ITC                    Bare          14          Round         1/24/2000     10/1/2000     CHU00029152
     $4.50                     ITC                    Bare          20          Round         1/24/2000     10/1/2000     CHU00029152
     $0.30                   Arrival                   CIF          20          Round         1/24/2000     1/1/2000      CHU00029152
     $0.30                   Arrival                   CIF          14          Round         1/24/2000     10/1/2000     CHU00029152
     $3.50                     ITC                    Bare          14          Round         1/24/2000     1/1/2000      CHU00029152
     $4.00                 Mini-neck              Normal (Bare)     20          Round          3/7/2000     7/1/2000      CHU00029147

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Price Differential   High Price Condition   Low Price Condition   Size   Base Model Shape Meeting Date Effective Date     Bates Number
     $4.00                Mini-neck                  Bare          20         Round        3/24/2000      7/1/2000        CHU00029144
     $4.50                    ITC                    Bare          20         Round        3/24/2000      7/1/2000        CHU00029144
     $0.30                  Arrival                  CIF           20         Round        3/24/2000      7/1/2000        CHU00029144
     $0.30                  Arrival                  CIF           14         Round        3/24/2000      5/1/2000        CHU00029144
     $3.50                    ITC                    Bare          14         Round        3/24/2000      5/1/2000        CHU00029144
     $2.00                  95KHz                   85KHz          19         Round        5/26/2000      7/1/2000        CHU00031006
     $2.00                  .25mm                  .27mm           19         Round        5/26/2000      7/1/2000        CHU00031006
     $3.00                   TCO                    MPRII          19         Round        5/26/2000      7/1/2000        CHU00031006
     $1.00             Non-Key Account           Key Account       15         Round         6/9/2000      7/1/2000        CHU00028209
     $1.00             Non-Key Account           Key Account       17         Round         6/9/2000      7/1/2000        CHU00028209
     $1.00             Non-Key Account           Key Account       14         Round         6/9/2000      7/1/2000        CHU00028209
     $1.00                Mini-neck                Normal          15         Round        9/21/2000     9/21/2000        CHU00031051
     $2.00                Chunghwa                   Irico         14         Round        2/15/2001     2/15/2001        CHU00031101
     $2.00                    ITC                  Non ITC         19         Round        12/28/2001     2/1/2002        CHU00031174
     $2.00                   TCO                    MPRII          19         Round        12/28/2001     2/1/2002        CHU00031174
     $1.50                    ITC                  Non ITC         17          Flat        12/28/2001     2/1/2002        CHU00031174
     $2.00                  95KHz                   85KHz          19         Round        12/28/2001     2/1/2002        CHU00031174
     $1.00                    ITC                  Non ITC         15         Round        12/28/2001     2/1/2002        CHU00031174
     $1.00                   TCO                    MPRII          17          Flat        12/28/2001     2/1/2002        CHU00031174
     $1.00                   TCO                    MPRII          17         Round        12/28/2001     2/1/2002        CHU00031174
     $1.50                    ITC                  Non ITC         17         Round        12/28/2001     2/1/2002        CHU00031174
     $1.00             Other Customers             Lite-on         17          Flat        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers               AOC           17         Round        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers          Big Accounts       17         Round        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $2.00             Other Customers       Internal Customers    15         Round        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $2.00             Other Customers       Internal Customers    17          Flat        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers              BenQ           17         Round        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $2.00             Other Customers       Internal Customers    17         Round        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers               AOC           15         Round        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers               AOC           17          Flat        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers          Big Accounts       15         Round        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers              BenQ           17          Flat        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers              BenQ           15         Round        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers          Big Accounts       17          Flat        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers             Lite-on         15         Round        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00             Other Customers             Lite-on         17         Round        1/29/2002      2/1/2002      TAEC-CRT-00089968
     $1.00                    ITC                  Non ITC         17         Round        9/24/2003     10/1/2003        CHU00031202
     $6.50                   B+D                     Bare          17         Round        9/24/2003     9/24/2003        CHU00031202
     $6.50                   B+D                     Bare          17         Round        9/24/2003      9/1/2003        CHU00031202

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Price Differential   High Price Condition   Low Price Condition   Size   Base Model Shape Meeting Date Effective Date    Bates Number
     $1.00                    ITC                  Non ITC         17         Round        10/29/2003     1/1/2004      SDCRT-0088819
     $1.50             Higher Frequency       Lower Frequency      19          Flat        10/29/2003     1/1/2004      SDCRT-0088819
     $1.50                    ITC                  Non ITC         19         Round        10/29/2003     1/1/2004      SDCRT-0088819
     $0.75                   MPR                    Glare          17         Round        10/29/2003     1/1/2004      SDCRT-0088819
     $0.75                   MPR                    Glare          15         Round        10/29/2003     1/1/2004      SDCRT-0088819
     $1.00                   TCO                     MPR           19         Round        10/29/2003     1/1/2004      SDCRT-0088819
     $0.75                   MPR                    Glare          19         Round        10/29/2003     1/1/2004      SDCRT-0088819
     $0.50                   TCO                     MPR           17         Round        10/29/2003     1/1/2004      SDCRT-0088819
     $0.50                    ITC                  Non ITC         17          Flat        11/26/2003     1/1/2004       CHU00031214
     $0.50                   TCO                    MPRII          17         Round        11/26/2003     1/1/2004       CHU00031214
  $1.00 - $2.50             MPRII              Glare/Anti-glare    17          Flat        11/26/2003     1/1/2004       CHU00031214
  $1.00 - $1.50             MPRII              Glare/Anti-glare    15         Round        11/26/2003     1/1/2004       CHU00031214
     $1.00                    ITC                  Non ITC         17          Flat        11/26/2003     1/1/2004       CHU00031214
     $0.50                    ITC                  Non ITC         15         Round        11/26/2003     1/1/2004       CHU00031214
     $1.00                   TCO                    MPRII          19          Flat        11/26/2003     1/1/2004       CHU00031214
     $1.00                   TCO                    MPRII          19         Round        11/26/2003     1/1/2004       CHU00031214
     $1.50                    ITC                  Non ITC         19          Flat        11/26/2003     1/1/2004       CHU00031214
  $1.00 - $2.50             MPRII              Glare/Anti-glare    17         Round        11/26/2003     1/1/2004       CHU00031214
     $0.50                   TCO                    MPRII          17          Flat        11/26/2003     1/1/2004       CHU00031214
     $1.00                  57KHz                   48KHz          15         Round        11/26/2003     1/1/2004       CHU00031214
     $9.00                    ITC                    Bare          25          Flat        11/28/2003    10/1/2003      MTPD-0580726
     $9.00                    ITC                    Bare          29          Flat        11/28/2003    10/1/2003      MTPD-0580726
     $5.00                    ITC                    Bare          21          Flat        11/28/2003     7/1/2003      MTPD-0580726
     $9.00                    ITC                    Bare          29          Flat        11/28/2003     7/1/2003      MTPD-0580726
     $9.00                    ITC                    Bare          25          Flat        11/28/2003     7/1/2003      MTPD-0580726
     $5.00                    ITC                    Bare          21          Flat        11/28/2003    10/1/2003      MTPD-0580726
     $6.04                   LPD                  Samsung          32          Flat        12/4/2003      1/1/2004      SDCRT-0088661
     $6.04            External Customers     Internal Customers    32          Flat        12/4/2003      1/1/2004      SDCRT-0088661
     $1.00                   TCO                    MPRII          19          Flat        3/25/2004      4/1/2004       CHU00031240
  $0.50 - $1.00             MPRII              Glare/Anti-glare    17          Flat        3/25/2004      4/1/2004       CHU00031240
  $0.50 - $1.00             MPRII              Glare/Anti-glare    17         Round        3/25/2004      4/1/2004       CHU00031240
     $0.50                    ITC                  Non ITC         17         Round        3/25/2004      4/1/2004       CHU00031240
     $1.50                    ITC                  Non ITC         15         Round        3/25/2004      4/1/2004       CHU00031240
     $1.50                    ITC                  Non ITC         19          Flat        3/25/2004      4/1/2004       CHU00031240
  $0.50 - $1.00             MPRII              Glare/Anti-glare    15         Round        3/25/2004      4/1/2004       CHU00031240
     $1.00                    ITC                  Non ITC         19         Round        3/25/2004      4/1/2004       CHU00031240
     $1.00                   TCO                    MPRII          15         Round        3/25/2004      4/1/2004       CHU00031240
     $0.50                   TCO                    MPRII          19         Round        3/25/2004      4/1/2004       CHU00031240
     $0.50                   TCO                    MPRII          17          Flat        3/25/2004      4/1/2004       CHU00031240

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Price Differential   High Price Condition   Low Price Condition   Size   Base Model Shape Meeting Date Effective Date    Bates Number
     $1.00                  57KHZ                 48KHZ            19         Round        3/25/2004      4/1/2004       CHU00031240
     $1.50                  95KHz                 85KHz            19          Flat        3/25/2004      4/1/2004       CHU00031240
     $1.00                    ITC                Non ITC           17          Flat        3/25/2004      4/1/2004       CHU00031240
     $0.50             Other Customers             AOC             15         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50                    ITC                Non ITC           15         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers            Lite-on          19         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers            Lite-on          17         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers            Lite-on          15         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50                   TCO                  MPRII            17         Round        4/26/2004      4/1/2004       CHU00660681
     $1.00                    ITC                Non ITC           17         Round        4/26/2004      4/1/2004       CHU00660681
     $1.00                  57KHZ                 48KHZ            15         Round        4/26/2004      4/1/2004       CHU00660681
     $1.00                   TCO                  MPRII            19         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             LPD             15         Round        4/26/2004      4/1/2004       CHU00660681
     $1.50                    ITC                Non ITC           19         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             LPD             19         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             SEC             19         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             SEC             17         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             AOC             17         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             EMC             15         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             SEC             15         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             EMC             17         Round        4/26/2004      4/1/2004       CHU00660681
     $1.50                  95KHz                 85KHz            19         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             LPD             17         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             EMC             19         Round        4/26/2004      4/1/2004       CHU00660681
     $0.50             Other Customers             AOC             19         Round        4/26/2004      4/1/2004       CHU00660681
     $6.50                   B+D                   Bare            17         Round         9/3/2004     10/1/2004       CHU00660728
     $7.00                   B+D                   Bare            17          Flat         9/3/2004     10/1/2004       CHU00660728
     $6.00                   B+D                   Bare            15         Round         9/3/2004     10/1/2004       CHU00660728
     $1.50                Invar Mask             AK Mask           21          Flat        9/13/2004     10/1/2004      MTPD-0483335
     $6.50                   B+D                   Bare            17          Flat        9/20/2004     10/1/2005       CHU00732831
     $6.50                   B+D                   Bare            17         Round        9/20/2004     10/1/2005       CHU00732831
     $5.50                   B+D                   Bare            15         Round        9/20/2004     10/1/2005       CHU00732831
     $4.00                    ITC                  Bare            20         Round        12/28/2004     1/1/2005      SDCRT-0090210
     $4.00                    ITC                  Bare            21         Round        12/28/2004     1/1/2005      SDCRT-0090210
     $2.50                    ITC                  Bare            14         Round        12/28/2004     1/1/2005      SDCRT-0090210
     $5.00                    ITC                  Bare            21          Flat        12/28/2004     1/1/2005      SDCRT-0090210
     $3.50                    ITC                  Bare            21         Round         6/9/2005      4/1/2005      SDCRT-0091374
     $4.50                    ITC                  Bare            21          Flat         6/9/2005      4/1/2005      SDCRT-0091374
     $2.30                    ITC                  Bare            14         Round         6/9/2005      4/1/2005      SDCRT-0091374

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Price Differential            High Price Condition                Low Price Condition              Size     Base Model Shape Meeting Date Effective Date                                  Bates Number
     $3.50                             ITC                               Bare                       21           Round         6/9/2005      7/1/2005                                     CHU00029971
     $2.30                             ITC                               Bare                       14           Round         6/9/2005      7/1/2005                                     CHU00029971
     $3.00                             ITC                               Bare                       20           Round         6/9/2005      4/1/2005                                    SDCRT-0091374
     $3.00                             ITC                               Bare                       20           Round         6/9/2005      7/1/2005                                     CHU00029971
     $4.50                             ITC                               Bare                       21            Flat         6/9/2005      7/1/2005                                     CHU00029971
     $3.00                         Invar Mask                          AK Mask                      29            Flat        6/30/2005      7/1/2005                                    MTPD-0517933
     $3.00                             ITC                               Bare                       20           Round        9/22/2005     10/1/2005                                     CHU00548418
     $3.50                             ITC                               Bare                       21           Round        9/22/2005     10/1/2005                                     CHU00548418
     $4.00                             ITC                               Bare                       21            Flat        9/22/2005     10/1/2005                                     CHU00548418
     $2.30                             ITC                               Bare                       14           Round        9/22/2005     10/1/2005                                     CHU00548418
     $4.00                             ITC                               Bare                       21            Flat        10/21/2005     1/1/2006                                    MTPD-0343949
     $2.30                             ITC                               Bare                       14           Round        12/6/2005      1/1/2006                                    SDCRT-0091400
     $3.50                             ITC                               Bare                       21           Round        12/6/2005      1/1/2006                                    SDCRT-0091400
     $3.00                             ITC                               Bare                       20           Round        12/6/2005      1/1/2006                                    SDCRT-0091400
     $4.00                             ITC                               Bare                       21           Round        12/6/2005      1/1/2006                                    SDCRT-0091400
     $1.00                         Invar Mask                          AK Mask                      15            Flat        12/12/2005     1/1/2006                                    MTPD-0580821
     $4.00                             ITC                               Bare                       21            Flat         3/9/2006      4/1/2006                                     CHU00124103
     $3.50                             ITC                               Bare                       21           Round         3/9/2006      4/1/2006                                     CHU00124103
     $2.30                             ITC                               Bare                       14           Round         3/9/2006      4/1/2006                                     CHU00124103
     $3.00                             ITC                               Bare                       20           Round         3/9/2006      4/1/2006                                     CHU00124103

Note(s):

The Meeting Date is the date that the cartel set the price differential or reviewed a previously-set price differential. The Effective Date is the date that the cartel planned to implement the price differential.
Bare, ITC, N-ITC (Non-ITC), and B+D are related to deflection yokes. B+D and N-ITC both refer to situations where the deflection yoke is shipped with the CRT but not pinned to it.
ASC means "Anti-Static & Silica Coating".
MPRII and TCO are safety standards for monitors.
Short Length, Normal Length, Standard Neck, and Mini-neck are related to CRT neck length.
Invar mask and AK mask are different mask types.
.25mm, .26mm, .27mm, and .28mm are dot pitches (related to resolution).
48kHz, 57kHz, 85kHz, 95kHz, Lower Frequency, and Higher Frequency are related to the horizontal scanning frequencies of monitors (the rate at which the electron gun scans rows on the display).
Coils are components of electron guns.
Arrival and CIF are terms of shipment.


Source File(s):
Target price-structure.xlsx




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CDT Hedonic Regression Results

Dependant variable is Ln(Actual Price)
                                                                                                        P-Value
                   Variable                               Coefficient                Standard Error
                                                                                                      (two-sided)
Time trend                                                    -0.043                      0.001           0.000
Time trend squared                                             0.000                      0.000           0.000
12-inch tube                                                  -0.758                      0.037           0.000
14-inch tube                                                  -1.092                      0.020           0.000
15-inch tube                                                  -0.822                      0.020           0.000
16-inch tube                                                  -0.701                      0.030           0.000
17-inch tube                                                  -0.465                      0.020           0.000
19-inch tube                                                  -0.078                      0.020           0.000
20-inch tube                                                  -0.059                      0.029           0.039
21-inch tube                                                   0.553                      0.021           0.000
24-inch tube                                                  -0.016                      0.036           0.660
ITC                                                            0.176                      0.011           0.000
Knock-down                                                     0.062                      0.011           0.000
Constant                                                       5.870                      0.029           0.000

Controlling for buyer-seller pairs                      Yes
Number of observations                               33,168
R-squared                                              0.91




Note(s):
Dependant variable is log(price). Coefficients for buyer-seller pairs are omitted.
Data Source(s):
Defendant data; see Exhibit 64.
Source File(s):
defendant_data_hedonics_merits.do
all_defendants_price.do
hedonics_results.xlsx




                                                                                                           Exhibit 40
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CPT Hedonic Regression Results

Dependant variable is Ln(Actual Price)
                                                                                                 P-Value
                  Variable                           Coefficient              Standard Error
                                                                                               (two-sided)
Time trend                                               0.000                       0.001         0.428
Time trend squared                                       0.000                       0.000         0.000
11-inch tube                                            -0.217                       0.034         0.000
14-inch tube                                            -0.548                       0.007         0.000
15-inch tube                                            -0.188                       0.008         0.000
16-inch tube                                            -0.072                       0.011         0.000
17-inch tube                                            -0.007                       0.010         0.503
19-inch tube                                             0.128                       0.023         0.000
20-inch tube                                            -0.058                       0.007         0.000
21-inch tube                                             0.090                       0.007         0.000
24-inch tube                                             0.243                       0.025         0.000
25-inch tube                                             0.582                       0.007         0.000
26-inch tube                                             0.563                       0.009         0.000
27-inch tube                                             0.816                       0.018         0.000
28-inch tube                                             0.611                       0.013         0.000
29-inch tube                                             0.876                       0.007         0.000
32-inch tube                                             1.299                       0.014         0.000
33-inch tube                                             1.784                       0.016         0.000
34-inch tube                                             1.557                       0.008         0.000
36-inch tube                                             1.824                       0.015         0.000
38-inch tube                                             1.982                       0.012         0.000
ITC                                                      0.079                       0.003         0.000
Knock-down                                               0.010                       0.006         0.070
Widescreen                                               0.305                       0.012         0.000
Constant                                                 4.125                       0.019         0.000

Controlling for buyer-seller pairs                   Yes
Number of observations                            62,026
R-squared                                           0.97


Note(s):
Dependant variable is log(price). Coefficients for buyer-seller pairs are omitted.
Data Source(s):
Defendant data; see Exhibit 64.
Source File(s):
defendant_data_hedonics_merits.do
all_defendants_price.do
hedonics_results.xlsx




                                                                                                      Exhibit 41
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                                                                                CDT Price Indices
                                                       Target Prices vs. Unmatched Defendant Data Prices
 2.5




   2




 1.5




   1




 0.5




   0
   Jan-95         Jan-96       Jan-97        Jan-98        Jan-99          Jan-00   Jan-01        Jan-02       Jan-03        Jan-04       Jan-05        Jan-06       Jan-07

                                                           Unmatched Defendant data price index                        Target price index




Note(s):          Prices are quantity-weighted averages from Defendant data. Base period for both indices is 2000Q1.
Data source(s): Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source file(s):   Target price-structure.xlsx; vendor_map.xlsx; vendor_map.do; PriceTracker.do; clean_target.do; clean_defendant.do; target_price_index.do; actual_price_index.do;
                  target_regression_exhibits.xlsx




                                                                                                                                                                                 Exhibit 42
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                                                                                CPT Price Indices
                                                       Target Prices vs. Unmatched Defendant Data Prices
 1.8

 1.6

 1.4

 1.2

    1

 0.8

 0.6

 0.4

 0.2

   0
   Jan-95         Jan-96       Jan-97        Jan-98        Jan-99          Jan-00   Jan-01       Jan-02        Jan-03        Jan-04       Jan-05       Jan-06        Jan-07

                                                          Unmatched Defendant data price index                         Target price index




Note(s):          Prices are quantity-weighted averages from Defendant data. Base period for both indices is 2002Q1.
Data source(s):   Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source file(s):   Target price-structure.xlsx; vendor_map.xlsx; vendor_map.do; PriceTracker.do; clean_target.do; clean_defendant.do; target_price_index.do; actual_price_index.do;
                  target_regression_exhibits.xlsx



                                                                                                                                                                                 Exhibit 43
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                        Target Price Index Regression Results - CDTs
                                 Regression of Actual Prices on Target Price Index
                                          By Customer, Manufacturer, Size, and Finish


Dependant variable is Ln(Actual Price)
                                                                                    Standard                    P-Value
Variable                                             Coefficient                      Error                   (two-sided)
Ln(Previous Quarter's price)                             0.504                        0.031                       0.000
Ln(Target Price Index)                                   0.298                        0.019                       0.000
Ln(Price of Glass) × Size                                0.026                        0.003                       0.000
Ln(Industrial Production)                                0.746                        0.146                       0.000
Unemployment Rate                                        0.085                        0.015                       0.000
Constant                                                -3.686                        0.803                       0.000



Fixed Effects by customer, manufacturer, size, and finish
Number of observations           5,955
R-squared                         0.82




Data Source(s):   Organisation for Economic Co-operation and Development, 03 January 2014, Production and Sales (MEI):
                  Production, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=90#, accessed 03 January 2014.
                  Organisation for Economic Co-operation and Development, 03 January 2014, Key Short-Term Economic Indicators:
                  Harmonised Unemployment Rate, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=21760, accessed
                  03 January 2014.
                  Bank of Korea, Undated, Glass for CRT Use.
                  Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source File(s):   Target price-structure.xlsx; vendor_map.xlsx; vendor_map.do; PriceTracker.do; clean_target.do;
                  clean_defendant.do; target_price_index.do; combine_target_defendant.do; target_price_regressions.do;
                  target_regression_exhibits.do; target_regression_exhibits.xlsx




                                                                                                                           Exhibit 44
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                        Target Price Index Regression Results - CPTs
                                 Regression of Actual Prices on Target Price Index
                                          By Customer, Manufacturer, Size, and Finish


Dependant variable is Ln(Actual Price)
                                                                                    Standard                    P-Value
Variable                                             Coefficient                      Error                   (two-sided)
Ln(Previous Quarter's price)                             0.490                        0.037                       0.000
Ln(Target Price Index)                                   0.196                        0.028                       0.000
Ln(Price of Glass) × Size                                0.014                        0.001                       0.000
Ln(Industrial Production)                               -0.008                        0.083                       0.924
Unemployment Rate                                        0.016                        0.007                       0.033
Constant                                                 0.553                        0.513                       0.281



Fixed Effects by customer, manufacturer, size, and finish
Number of observations          12,605
R-squared                         0.94




Data Source(s):   Organisation for Economic Co-operation and Development, 03 January 2014, Production and Sales (MEI):
                  Production, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=90#, accessed 03 January 2014.
                  Organisation for Economic Co-operation and Development, 03 January 2014, Key Short-Term Economic Indicators:
                  Harmonised Unemployment Rate, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=21760, accessed
                  03 January 2014.
                  Bank of Korea, Undated, Glass for CRT Use.
                  Defendant data; see Exhibit 64.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source File(s):   Target price-structure.xlsx; vendor_map.xlsx; vendor_map.do; PriceTracker.do; clean_target.do;
                  clean_defendant.do; target_price_index.do; combine_target_defendant.do; target_price_regressions.do;
                  target_regression_exhibits.do; target_regression_exhibits.xlsx




                                                                                                                           Exhibit 45
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                         Regional Shares of Worldwide CRT Monitor Consumption
 100%


  90%


  80%


  70%


  60%


  50%


  40%


  30%


  20%


  10%


    0%
                  1999             2000              2001            2002              2003             2004   2005      2006         2007

                  EMEA         JAPAN            NORTH AMERICA               REST OF WORLD (INCL. ASIA PACIFIC, CHINA, AND LATIN AMERICA)

Data Source(s):   DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000128.
Source File(s):   regional production and consumption shares.xlsx




                                                                                                                                             Exhibit 46
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                              Regional Shares of Worldwide CRT TV Consumption
 100%


  90%


  80%


  70%


  60%


  50%


  40%


  30%


  20%


  10%


    0%
                  1995         1996           1997           1998         1999       2000    2001      2002    2003     2004   2005

                                      ASIA        EUROPE             LATIN AMERICA     NORTH AMERICA    REST OF WORLD

Data Source(s):    Hitachi Displays, June 1999, HDP-CRT00050989.
                   Hitachi Displays, 21 March 2000, HDP-CRT00022892.
                   Hitachi Displays, 11 April 2001, HDP-CRT00022920.
                   Hitachi Displays, April 2003, HDP-CRT00019300.
                   MT Picture Display, 23 August 2004, MTPD-0576016.
                   MT Picture Display, November 2005, MTPD-0432713.
Source File(s):    regional production and consumption shares.xlsx




                                                                                                                                      Exhibit 47
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                                    Regional Shares of Worldwide CDT Production
 100%


  90%


  80%


  70%


  60%


  50%


  40%


  30%


  20%


  10%


    0%
                   1996                     1997                    1998            1999             2000          2001   2002

                                                    ASIA        EUROPE     NORTH AMERICA           REST OF WORLD

Note(s):          South America is included in Rest of World.
Data Source(s):   Samsung, 11 December 2003, Worldwide CDT Manufacturer's Status, SDCRT-0201291.
                  Hitachi Displays, 09 May 2001, HDP-CRT00023725.
                  MT Picture Display, June 2003, MTPD-0423918.
Source File(s):   regional production and consumption shares.xlsx




                                                                                                                                 Exhibit 48
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                                       Regional Shares of Worldwide CDT Capacity
 100%


  90%


  80%


  70%


  60%


  50%


  40%


  30%


  20%


  10%


    0%
                  2000                 2001                  2002                 2003                 2004                  2005                 2006                 2007

                                                    ASIA        EUROPE            NORTH AMERICA                SOUTH AMERICA

Date Source(s):   See Exhibit 2.
Source File(s):   Capacity Worksheets.xlsx; cdt regional shares.do; early_capacity_load.do; capacity_load.do; capacity_database.do; database edits.do; regional capacity shares.xlsx




                                                                                                                                                                                 Exhibit 49
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                          Regional Shares of Worldwide CRT Monitor Production
 100%


  90%


  80%


  70%


  60%


  50%


  40%


  30%


  20%


  10%


    0%
              1994           1995          1996          1997        1998         1999         2000          2001         2002          2003          2004   2005

                                                    ASIA          EUROPE       NORTH AMERICA               REST OF WORLD

Note(s):          South America is included in "Rest of World".
Data Source(s) Hitachi Displays, June 1999, HDP-CRT00050989.
                  Toshiba Electronics Taiwan, 24 April 2001, CDT & Monitor Demand Supply Analysis, TET-CRT-00003403.
                  MT Picture Display, June 2003, MTPD-0423918.
                  iSuppli, 2006, Monitor Revenues Dip on Falling LCD Prices, Seasonal Sluggishness - Worldwide Monitor Market Tracker, LGE00069046.
Source File(s):   regional production and consumption shares.xlsx




                                                                                                                                                                    Exhibit 50
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                                     Regional Shares of Worldwide CPT Production
 100%


  90%


  80%


  70%


  60%


  50%


  40%


  30%


  20%


  10%


    0%
                  1998           1999             2000               2001     2002     2003     2004        2005       2006   2007

                                      ASIA        EUROPE             NORTH AMERICA   REST OF WORLD     SOUTH AMERICA

Data Source(s):    Samsung SDI, 27 February 2007, SDCRT-0203542.
Source File(s):    regional production and consumption shares.xlsx




                                                                                                                                     Exhibit 51
                                   Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 346 of 1309



                                Regional Shares of Worldwide CRT TV Production
 100%

  90%

  80%

  70%

  60%

  50%

  40%

  30%

  20%

  10%

    0%
              1995        1996         1997         1998            1999   2000      2001   2002   2003      2004    2005   2006   2007

                                      ASIA        EUROPE             LATIN AMERICA     NORTH AMERICA      REST OF WORLD

Data Source(s):   Hitachi Displays, June 1999, HDP-CRT00050989.
                  Hitachi Displays, 21 March 2000, HDP-CRT00022892.
                  Hitachi Displays, 11 April 2001, HDP-CRT00022920.
                  Hitachi Displays, April 2003, HDP-CRT00019300.
                  MT Picture Display, 23 August 2004, MTPD-0576016.
                  Samsung SDI, 27 February 2007, SDCRT-0203542.
                  MT Picture Display, 13 July 2007, MTPD-0473547.
Source File(s):   regional production and consumption shares.xlsx




                                                                                                                                      Exhibit 52
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Intense Competition Leads to Low Profit Rates
Trade press and financial analysts
“The PC industry in general, and the notebook industry in particular, is not highly profitable.” Foster, William, Cheng, Zhang, Dedrick, Jason,
and Kenneth L. Kraemer, 2006, Technology and Organizational Factors in the Notebook Industry Supply Chain, Personal Computing Industry
Center Paper 382, at 14.

"Today, the PC business is showing all the signs of a brutal price war: rapid price cuts, rebates and lots of freebies. Dell Computer Corp.,
which launched the current price battle at the end of last year, now is tossing in free delivery, a free printer and free Internet access to
customers who buy a PC through its Web site. That's a good thing for customers. But computer makers are reeling as the stiffening
competition slices into profits". McWilliams, Gary, 26 March 2001, Price War Squeezes PC Makers --- Cuts Make Companies Bleed As Profits,
Sales Decline; Some Predict a Shakeout, Wall Street Journal, Eastern Edition, at B.1.

"That markup of nearly 50% of the total cost is a 'healthy profit margin' for Amazon, said Van Baker, a Gartner Inc. analyst, adding that most
consumer products have markups of 20% to 25% of total cost. 'A markup of 50% of total cost is almost impossible to do in consumer
electronics just because the market is so competitive'." Hamblen, Matt, 22 April 2009, Material costs for Kindle 2 are about half its retail price,
ComputerWorld, http://www.computerworld.com/s/article/9131974/Materials_costs_for_Kindle_2_are_about_half_its_retail_price_, accessed
14 September 2012, at 1.

"Indeed, even as consumers inexorably move toward buying ever-larger screens and retailers' revenues climb, competition is forcing price
cuts. And as the low-price, high-volume mass merchants like Wal-Mart or Costco become major vendors of big-screen HDTVs, all retailers are
forced to keep their prices - and their profit margins - as low as possible". Taub, Eric A., 25 August 2007, If There's A High-Definition TV in
Your Future, Wait Till After the Holidays, The New York Times,
http://www.nytimes.com/2007/08/25/business/yourmoney/25TELE.html?pagewanted=all, accessed 14 September 2012, at 2.


Industry participants
A slide from Toshiba Asia presentation states: "Market trend ... Forecast fm Y2002 [bullet] All CTV maker [sic] have been getting tired of no-
profit discount competition". Toshiba, 05 July 2001, CPT World Wide Technical Engineering Meeting, TET-CRT-00002966 - TET-CRT-
00002988, at 2971.

Samsung testified: "The dealers and distributors that we are doing business with today have evolved to be able to support -- sell and support
higher-technology TVs and they have refined their operations to a point where they can work on lower margins, very much like we do. It is a
very, very competitive business and there is a continuous squeeze on margins due to the competitiveness." 17 July 2012, Deposition of
Samsung Electronic America and Samsung Electronic Corporation 30(b)(6) Witness Steve Panosian, at 150:16-25.

"CPT [Chunghwa] President Lin indicated that raising the price on 15" not only benefits 15" CDT makers, but also gives Monitor makers the
opportunity to adjust the price to create some profit margin for their no-profit-base business..." Chunghwa Picture Tubes, LTD, 23 June 1999,
Business Meeting Report, CHU00030787 - CHU00030794, at 0791.01E.

“As a result of intense price competition in the IT products and services distribution industry, our [Ingram Micro’s] gross margins have
historically been narrow and we expect them to continue to be narrow in the future.” Ingram Micro, 26 January 2008, Ingram Micro Form 10-K
2007, http://www.sec.gov/Archives/edgar/data/1018003/000095013708002845/a38343e10vk.htm, accessed 19 May 2008, at 11.

 “As a result of significant price competition in the IT [Information Technology] products and services industry, our [SYNNEX’s] gross margins
are low, and we expect them to continue to be low in the future.” SYNNEX, 01 February 2008, SYNNEX Corporation Form 10-K 2007,
http://www.sec.gov/Archives/edgar/data/1177394/000119312508029448/d10k.htm, accessed 19 May 2008, at 9.
Toshiba testified: "Q. Would you -- is it fair to say that the television business that TACP [Toshiba America Consumer Products] was in was a
competitive business? A. Yes. [...] BY MR. LEBSOCK: Q. Okay. And specifically with respect to the CRT television business, was that a
competitive business? [...] THE WITNESS: All television is competitive business. It's all very -- the margins are all very low to nonexistent." 01
August 2012, Deposition of Toshiba America Consumer Products and Toshiba America Information Systems 30(b)(6) Witness Richard
Eugene Huber, at 76:16 - 77:9.




                                                                                                                                     Exhibit 53
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High Degree of Competition in the Production of CRT Products
Trade press & financial analysts
 “Noel Leeming Group merchandise general manager Jason Bell says consumer electronics is ‘one of the most competitive retail industries
there is.’” Mace, William, 26 July 2010, Television prices plummet at a store near you, http://www.stuff.co.nz/technology/digital-
living/3956050/Television-prices-plummet-at-a-store-near-you, accessed 27 July 2010, at 1.

“DELL INC. slashed its personal-computer prices across the board, taking aim at rival Hewlett-Packard Co. and signaling a brutal new phase
of competition in an industry that has just begun to pick itself off the floor.” McWilliams, Gary and Tam Pui-Wing, 21 August 2003, Dell Price
Cuts Put a Squeeze On Rival H-P, Wall Street Journal, Eastern Edition, at B.1.
“Such is the new pricing order in the hypercompetitive world of PCs.” Sager, Ira, 16 November 1998, Dream Days For Desktops,
BusinessWeek, http://www.businessweek.com/1998/46/b3604022.htm, accessed 11 April 2008, at 1.
From UBS Investment Research: "We believe the pricing trends and sales in this holiday season will be indicative of the level of retail
competition and, more importantly, consumer receptiveness to flat TVs going into 2005." UBS Investment Research, 15 December 2004, Flat
TV Price Tracker #2, Global Equity Research, CHWA00032115 - CHWA00032128, at 2116.

"Today, competition in TV industry not only becomes more drastic than before but also affects the relationship between different roles in TV
value chain." Hongquan, Xu, 2003, Strategy Analysis Report in China TV Market for Philips, Theseus International Management Institute,
PHLP-CRT-039598 - PHLP-CRT-039648, at 9600.


CRT product makers, distributors, and retailers
"Home PC sales in the U.S, serving as the warning canary for the industry, fell 24% in February, the third straight month of such declines.
What's more, the drop-off also is being seen in small-business and corporate PC purchases. 'I don't see much difference across these
categories right now,' says Webb McKinney, the head of Hewlett-Packard Co.'s new Business Customer Organization. 'It's very, very
competitive'." McWilliams, Gary, 26 March 2001, Price War Squeezes PC Makers --- Cuts Make Companies Bleed As Profits, Sales Decline;
Some Predict a Shakeout, Wall Street Journal, Eastern Edition, at B.1.
Toshiba testified: "Q. Would you -- is it fair to say that the television business that TACP [Toshiba America Consumer Products] was in was a
competitive business? A Yes. […] Q Okay. And specifically with respect to the CRT television business, was that a competitive business?
[…] THE WITNESS: All television is competitive business. It's all very -- the margins are all very low to nonexistent." 01 August 2012,
Deposition of Toshiba America Consumer Products and Toshiba America Information Systems 30(b)(6) Witness Richard Eugene Huber, at
76:16 - 77:9.

"That markup of nearly 50% of the total cost is a 'healthy profit margin' for Amazon, said Van Baker, a Gartner Inc. analyst, adding that most
consumer products have markups of 20% to 25% of total cost. 'A markup of 50% of total cost is almost impossible to do in consumer
electronics just because the market is so competitive'." Matt Hamblen, 22 April 2009, Material costs for Kindle 2 are about half its retail price,
ComputerWorld, http://www.computerworld.com/s/article/9131974/Materials_costs_for_Kindle_2_are_about_half_its_retail_price_, accessed
14 September 2012, at 1.


Samsung testified: "The dealers and distributors that we are doing business with today have evolved to be able to support -- sell and support
higher-technology TVs and they have refined their operations to a point where they can work on lower margins, very much like we do. It is a
very, very competitive business and there is a continuous squeeze on margins due to the competitiveness." 17 July 2012, Deposition of
Samsung Electronics America and Samsung Electronics Corporation 30(b)(6) Witness Steve Panosian, at 150:16 - 25.

"Indeed, even as consumers inexorably move toward buying ever-larger screens and retailers' revenues climb, competition is forcing price
cuts. And as the low-price, high-volume mass merchants like Wal-Mart or Costco become major vendors of big-screen HDTVs, all retailers are
forced to keep their prices - and their profit margins - as low as possible." Eric A. Taub, 25 August 2007, If There's A High-Definition TV in Your
Future, Wait Till After the Holidays, The New York Times,
http://www.nytimes.com/2007/08/25/business/yourmoney/25TELE.html?pagewanted=all, accessed 14 September 2012, at 2.

"The greatest influence in the supply chain still remains with the mass retailers. Their purchasing power and ability to reach millions of
consumers exert enormous pressure on manufacturers. Competition among these retail titans has forced lower prices." 3M Precision Optics,
Inc., March 2002, Projection Television Past & Future 2003 Global Consumer Market, MTPD-0202647 - MTPD-0202669, at 2658.


"Albin F. Moschner, Zenith's president and chief executive, said the dismal second quarter resulted from brutal price competition as unit sales
of color televisions fell 2.3 percent in the first half of the year, instead of rising by about that amount as the industry had projected." Feder,
Barnaby J., 18 July 1995, Last U.S. TV Maker Will Sell Control to Koreans, The New York Times, http://www.nytimes.com/1995/07/18/us/last-
us-tv-maker-will-sell-control-to-koreans.html?pagewanted=all&src=pm, accessed 10 September 2012, at 2.

Panasonic testified: "Q. How competitive would be characterize was [sic] the market for you to resell your CRT TVs? A. Very. Frankly, it was
ridiculously competitive as compared to almost any other industry you could be, I guess, in the world. I mean, it's a crazy business." 18 July
2012, Deposition of Panasonic North America 30(b)(6) Witness Edwin Wolff, at 60:3-7.


                                                                                                                                    Exhibit 54
                                                                                                                                   Page 1 of 2
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CRT manufacturers
"In the future, how can the three makers show forth their sincerity, eliminate vicious price competition and jointly resist the price slashing of the
PC brand makers and monitor OEM makers." Chunghwa Picture Tubes, LTD, 2002, CDT Market Analysis, CHU00660198 - CHU00660199, at
0198E.

From CDT top management meeting notes: "[A]nyway, 17" monitor market price has indeed plunged below the reasonable price level of $160
as a result of competition among monitor makers." Chunghwa Picture Tubes, LTD, 23 June 1999, Business Meeting Report, CHU00030787 -
CHU00030794, at 0789.01E.

An internal Samsung e-mail regarding a meeting with retailer Best Buy states: “Competition Among Manufacturers Is Fierce & Competition
Among Retailers Is Fierce.” Samsung Electronics America Inc., 23 October 2006, BBY Korea Meeting Recap, SEAI-CRT-00383647 - SEAI-
CRT-00383650, at 3648.

A slide from MTPD presentation states: "State of CRT/TV Industry [bullet] Fierce competition (Global)". Greg Tatusko, Undated, Clarifying
Consumer TV Choices, MT Picture Display Corporation of America, MTPD-0161403, at 11.




                                                                                                                                     Exhibit 54
                                                                                                                                    Page 2 of 2
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                                                 Monitor Brand Worldwide Market Shares, 2004-2006




                                                                                                            ACER
                                                                                                            AOC
                                                                                                            BENQ
                                                                                                            CTX
                                                                                                            DELL
                                                                                                            EIZO NANAO
                                                                                                            EMACHINES
                                                                                                            FUJITSU
                                                                                                            FUJITSU SIEMENS
                                                                                                            GATEWAY
                                                                                                            HP
                                                                                                            HYUNDAI-IT
                                                                                                            IBM
                                                                                                            IIYAMA
                                                                                                            LENOVO
                                                                                                            LGE
                                                                                                            LITEON
                                                                                                            MAXDATA
                                                                                                            MITSUBISHI
                                                                                                            NEC DS
                                                                                                            NEC PC
                                                                                                            NEC-MITSUBISHI
                                                                                                            PHILIPS
                                                                                                            PROVIEW
                                                                                                            SAMPO
                                                                                                            SAMSUNG
                                                                                                            SONY
                                                                                                            VIEWSONIC
                                                                                                            WW OTHERS
Note(s): Market shares based on worldwide shipments.
Data Source(s): DisplaySearch, 2007, Quarterly Desktop Monitor Shipment and Forecast Report, CHU00154421.
Source File(s): TV & Monitor Brand HHI.xlsx




                                                                                                                              Exhibit 55
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                                                TV Brand Worldwide Market Shares, 2005-2006




                                                                                                                       CHANGHONG
                                                                                                                       DAEWOO
                                                                                                                       FUNAI
                                                                                                                       GRADIENTE
                                                                                                                       GRUNDIG
                                                                                                                       HAIER
                                                                                                                       HISENSE
                                                                                                                       HITACHI
                                                                                                                       HYUNDAI
                                                                                                                       JVC
                                                                                                                       KONKA
                                                                                                                       LGE
                                                                                                                       LOEWE
                                                                                                                       MITSUBISHI
                                                                                                                       MIVAR
                                                                                                                       OTHERS
                                                                                                                       PANASONIC
                                                                                                                       PHILIPS
                                                                                                                       POLAROID
                                                                                                                       SAMSUNG
                                                                                                                       SANYO
                                                                                                                       SEMP
                                                                                                                       SHARP
                                                                                                                       SKYWORTH
                                                                                                                       SONY
                                                                                                                       SVA
                                                                                                                       TECO
                                                                                                                       TOSHIBA
                                                                                                                       TTE
Note(s): Market shares based on worldwide shipments.
                                                                                                                       XOCECO
Data Source(s): DisplaySearch, 2007, DisplaySearch Q2'07 Quarterly Global TV Shipment and Forecast Report, SEAI-CRT-
00223186.




                                                                                                                                    Exhibit 56
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Defendants Indicate that Pass-Through Occurs

General Purchasing Agreement between Chunghwa Picture Tubes and Philips Consumer Electronics International states:
"Supplier agrees to use commercially reasonable efforts to maximize efficiencies and realize cost reductions. Decreases in prices
or cost savings will be passed along to Buyer." Chunghwa Picture Tubes, LTD, 01 January 2004, General Purchasing Agreement,
CHU00628898 - CHU00628952, at 8903.

"CPT [Chunghwa] President Lin indicated that raising the price on 15" not only benefits 15" CDT makers, but also gives Monitor
makers the opportunity to adjust the price to create some profit margin for their no-profit-base business..." Chunghwa Picture
Tubes, LTD, 23 June 1999, Business Meeting Report, CHU00030787 - CHU00030794, at 0791.01E.

Notes from a meeting between Samsung, LG, Orion, Philips, and Chunghwa indicate that industry media recognized the
connection between an increase in the price of CRT tubes and an increase in the price of CRT monitors: "Conclusion: Mr. David
indicated that recently the newspapers and media have repeatedly published information about the expected rise of CDT and
Monitor prices. It is quite helpful for our CDT and Monitor makers to raise the prices even further in the future." Chunghwa Picture
Tubes, LTD, 26 January 1999, Contact Report, CHU00030701 - CHU00030704, at 0702.01E.

Notes from a meeting between Chunghwa, Samsung, LPD, and Orion state: "CDT price increase topic: CPT [Chunghwa] indicated
that the $2 price increase this time was to facilitate monitor makers' transfer of the CDT increase to customers. It will increase
each size again by $3 in April. It hopes that makers can have a common understanding and implement accordingly. Though
neither SDI/LPD have objected, CPT hopes that it can progress with discussions and obtain a final decision at next month's CEO
meeting." Chunghwa Picture Tubes, LTD, 22 February 2002, Visitation Report (Submit), CHU00031183 - CHU00031185, at
1184.02E.

Defendant meeting notes discuss product makers' reactions to a price increase: SDI [Samsung] reported that product maker Delta
"can gradually accept increase. Delta is also actively convincing customers to accept increase. SDI will be able to successfully
increase 15":$41 [arrow] $43, 17":$54 [arrow] $56, 17"RF: $66." Chunghwa Picture Tubes, LTD, 23 January 2002, Visitation
Report, Main Topic: CDT Market Information Exchange and Price/Production Review, CHU00031180 - CHU00031181, at
1180.01E.

Notes from a meeting between SDD [Samsung], LG, Orion, Philips, and Chunghwa state: "Besides, addressing the customers'
queries raised by CPT [Chunghwa] as to whether the Korean market would simultaneous [sic] increase the price for 15"
[Underlined by hand], SDD [Samsung Display Devices] stated that in addition to SEC [Samsung Electronics Co.] accepting, export
customers such as Hyundai/Daewoo have also accepted, but it would require some time for the Monitor makers to reflect the price
increase to the PC system makers." Chunghwa Picture Tubes, LTD, 10 August 1999, Visitation Report, Topic: CDT Market
Information Exchange and Price Review, CHU00030831 - CHU00030834, at 0831.01E.

Notes from a meeting between Samsung, LG, Orion, Philips, and Chunghwa state: "President Lin also indicated that 15" tube price
will be raised and slightly reduce 17" tube price from August with an objective to shorten the price differential between the two and
encourage the migration of market demand to 17"; since the price adjustment was just made in August, the impact has yet to be
felt. It is estimated that the impact of price increase will start to be felt in the market place beginning in December." Chunghwa
Picture Tubes, LTD, 20 September 1999, Visitation Report (Submit), CHU00030855 - CHU00030868, at 0855.02E - 0855.03E.

Chunghwa's notes state under Price Hike: "[W]e should also inform the customers of a possible second stage of price hike, so that
they can take time to pass on to OEM customers." Chunghwa Picture Tubes, LTD, 25 March 2004, Return-from-Abroad Trip
Report, CHU00031240 - CHU00031247, at 1242E.

From internal Hitachi correspondence: "Tatung/Taiwan is one of 15 inch monitor supplier to Macintosh Product Operations(US
market)/Apple Computer Inc. Hitachi recently proposed price increase of 15 inch CDT to Tatung/Taiwan, who has eventually
transferred this price requirement to Apple." Effler, F. Skip, 21 September 1994, Apple: 15" Monitor Price Up, HEDUS-
CRT00126016 - HEDUS-CRT00126021, at 6017.

Notes from a meeting between Samsung, LG, Orion, Chunghwa, and Philips state: "Mr. Jerry [from Philips] claimed that he had
already expressed to PH [Philips] BU before the Lunar New Year that the price of 17" would be increased starting in April. PH BU
has also conveyed the price increase information to Dell. Mr. Ha also claimed that its headquarters had conveyed the price
increase information to SEC. SEC has also informed its customers that the sales price would be increased again." Chunghwa
Picture Tubes, LTD, 19 March 1999, Visitation Report [Submitted], CHU00030731 - CHU00030733, at 0731.02E.

Meeting notes suggest that Samsung Electronics Co. [SEC] was expected to increase monitor prices in response to a CDT price
increase: "According to Mr. Kim, the current CDT price which SDD [Samsung Display Devices] supplies to SEC, was totally in
reference to the price of its major customers (such as ACER/Lite-on). Additionally, prices to customers increased again on
September 1. SEC was no exception. SEC will increase sales prices to its customers (Apple, etc.) starting October 1." Chunghwa
Picture Tubes, LTD, 18 September 1995, Customer Contact Report, CHU00028865 - CHU00028867, at 8867E.




                                                                                                                             Exhibit 57
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Industry Participants Indicate that Pass-Through Occurs
CRT product makers
“Our [Dell’s] general practice is to rapidly pass on cost declines to our customers to enhance customer value.” Dell, 14 March
2008, Dell Form 10-K 2008, http://www.SEC.gov/Archives/edgar/data/826083/000095013408005718/d55156e10vk.htm, accessed
20 May 2008, at 5.

In a Harrah's Operating Company request for proposal for LG Electronics USA, Inc. to supply Harrah's with LCD, HD Plasma,
HDTV CRT, and Digital CRT televisions, Harrah's states: "Harrah's realizes that a fixed price model may not be the most equitable
over time. Please provide a manner to index the price that would be tied to raw materials used in production. The price should
reflect the movement of base materials." Harrah's Operating Company, Inc., 09 February 2006, Harrah's Operating Company
Request for Proposal, LGE00058322 - LGE00058349, at 8339.

General Purchasing Agreement between Chunghwa Picture Tubes and Philips Consumer Electronics International states:
"Supplier agrees to use commercially reasonable efforts to maximize efficiencies and realize cost reductions. Decreases in prices
or cost savings will be passed along to Buyer." Chunghwa Picture Tubes, LTD, 01 January 2004, General Purchasing Agreement,
CHU00628898 - CHU00628952, at 8903.

In an agreement between Dell and an unnamed supplier: "Cost Reduction. SUPPLIER shall review with Dell, on an ongoing
quarterly basis, a value chain analysis for each Product, and the cost trend for the key components including currency content
analysis as well as all passthrough expenses. SUPPLIER agrees that the price of the Products will be reduced in accordance with
any cost reductions realized." Dell, Undated, Master Purchase Agreement [unsigned] [redacted], CHU00734954 - CHU00734957,
at 4954.


Trade press
From an article regarding CDT tube price increase: "Jean [monitor maker] has indicated that CPT [Chunghwa] has already
increase [sic] 3 usd per tube to them in January and as a consequence, Jean is trying to reflect such cost to their customers."
David Y Chang, 22 January 2002, News from Commercial times, Taiwan, PHLP-CRT-052781, at 2781.


Market research firms
DisplaySearch report: "To calculate the CRT TV price, we used the previous quarter's tube prices to determine the current
quarter's CRT TV street prices due to the lag between tube shipment and TV shipment. Thus, tube price reductions are reflected
in street prices one quarter later." DisplaySearch, 12 March 2006, Quarterly TV Cost & Price Forecast Model & Report, SDCRT-
0002283 - SDCRT-0002362, at 2290.

A United States International Trade Commission (USITC) report discusses the growing percentage of the CRT as a percentage of
total CRT TV cost. "Because of the increasing cost of glass, the cost of tubes has risen during the period 1982-93. At the same
time, the proliferation of integrated circuitry has reduced the cost of electronic television componentry other than picture tubes.
Consequently, the share of television receiver cost attributable to the CRT has risen, and currently represents more than half the
total unit cost of a finished color television." United States International Trade Commission, May 1995, Industry & Trade Summary:
Television Picture Tubes and Other Cathode-Ray Tubes, USITC Publication 2877,
http://www.usitc.gov/publications/701_731/pub3695.pdf, accessed 17 May 2012, at 5.




                                                                                                                            Exhibit 58
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Tube Manufacturers Monitor Street Prices of CRT Products
Chunghwa
From CDT meeting notes: "In addition, LG provided the information that SEC is selling 17" flat products at a low price of $165
market price in the US market. This can be converted into FOB price of $120 and CDT at $70." Chunghwa Picture Tubes, LTD, 27
June 2001, Visitation Report, CHU00031142 - CHU00031147, at 1144.01E.

A spreadsheet file produced by Chunghwa contains tables with street prices of various CRT TVs by retailer. Chunghwa Picture
Tubes, LTD, 20 September 2005, TV Price Summary, CHU00303245.
Chunghwa produced a WitsView spreadsheet containing street prices of CRT TVs and monitors in October 2004. WitsView,
October 2004, Street Price Survey on TV & Monitor, CHU00646093.
Chunghwa Picture Tubes presentation includes a slide containing street prices for 15" and 17" monitors. Chunghwa Picture Tubes,
LTD, August 2001, Agenda, CHU00660408 - CHU00660418, at 0417.


Hitachi
Hitachi USA testified: "Q. Okay. What's your understanding of street price? A. Street price is what the TV actually sells for. Q.
Okay. And that's what the TV is sold for to the end user ultimately? A. Yes. Q. Okay. And did HED/US monitor retail prices of
televisions? A. As best we could." 03 July 2012, Deposition of Hitachi Electronic Devices (USA) 30(b)(6) Witness Thomas Heiser,
at 136:2-11.

Hitachi presentation includes a table titled "Calculation 21" monitors 2Q 2001". Table lists costs of CDT, Materials, Labor Cost,
Sales Profit; FOB price; calculated street price; and actual street price. Hitachi, Ltd. Displays, November 2000, Hitachi Color
Display Tube, HEDUS-CRT00044346 - HEDUS-CRT00044371, at 4371.

From an internal Hitachi USA letter: "Enclosed is my pricing survey from September." Several tables titled "Monitor Street Pricing -
September 1994" with prices of CRT monitors at various retailers follow. Moore, Jerry, 26 October 1994, Price Survey and Other
Information, HEDUS-CRT00104763 - HEDUS-CRT00104768, at 4763 - 4765.

Hitachi testified: "Q. And did Hitachi Limited monitor either street prices or retail prices for CRT monitors? A. Yes. Q. Okay. And
how did it go about gathering that information? A. Well, for example, one method would be that we ask the OEM customer. And
the second method would be that we, employees of Hitachi Limited, when we go on business trip to the U.S., we would just go
shopping to different retail shops. And we didn't get the street price, actually, it is rather difficult to get the street price. But we
would make a record as to what were the retailer's prices were, and then when we went back to Japan, we report on those." 12
July 2012, Deposition of Hitachi Displays, Ltd. 30(b)(6) Witness Yasuhiro Morishma, Volume I, at 75:24-76:13.

A document produced by HEDUS is a collection of printouts which list online store retail prices for various TV sets at Best Buy,
Circuit City, Goodguys.com, Twitter Products, Blue Light, Sears, and Wal-Mart. Hitachi Electronic Devices (USA), 04 December
2001, Online store TV search results [print-out], HEDUS-CRT00018407 - HEDUS-CRT00018470, at 8407 - 8470.

A Hitachi document contains a slide entitled 27" Retail Pricing. Okybo, 11 September 1996, Fax, RE: HIMEX, HEDUS-
CRT00146312 - HEDUS-CRT00146317, at 6315.


LG Philips
LGE testified: "Q. How did you keep track of -- of retail or street prices? [...] A. There is nothing we do to track those, but as I
mentioned earlier, there is a periodic report published periodically by display research which contained the retail prices. Q. Okay.
Why were you interested in the retail or street prices? A. That was because we needed to know where our prices came in
compared to the competitors' prices." 09 July 2012, Deposition of LG Electronics 30(b)(6) Witness Mok Hyeon Seong, at 111:22-
112:11.

LG Philips Displays presentation contains slides with average CRT TV prices by size during December 2002 - July 2004. LG, June
2004, US Retail Channel Report, PHLP-CRT-012360, at 5.

A spreadsheet produced by LP Philips contains tables with TV set retail prices for various sizes in years 2000-2007. LG Philips
Displays, Undated, TV Set Retail Prices, LPD_00014197 at 1. LG Philips Displays, Undated, TV Set Retail Prices,
LPD_00014197.

An LG Philips Displays spreadsheet contains a summary of internal data files and reports by region. Under AM (America) tab one
of the data files is titled "Retail pricing survey report". Under description of contents it states: "CTV Set prices at retailers". Under
frequency of update it states: "2 months". LG Philips Displays, Undated, Database and Report Summary, LPD_00013386.




                                                                                                                                 Exhibit 59
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LG Philips Displays presentation entitled "US Retail Channel Report" contains slides with average CRT TV prices by size during
December 2002 - April 2003. LG, 23 April 2003, US Retail Channel Report, PHLP-CRT-024925, at 14-16.



Matsushita
A Beijing-Matsushita Color CRT Company document lists standard retail prices and Black Friday special prices by retailer, brand,
technology, and model. Beijing-Matsushita Color CRT Company, 2003, Y2003 Black Friday Promotion Models of Display
Category, BMCC-CRT000001186, at 1186.

MT Picture Display produced a document which contains street prices of CRT TVs of various sizes in 1998 through 2007.
Undated, Price Spreadsheet, MTPD-0086013.

A spreadsheet attached to an e-mail between Shinichi Iwamoto, sales general manager for Matsushita Display Devices of America
(MDDA), and Ayumu Kinoshita, sales engineer for Matsushita Television Networks Company (MTNC), contains CRT prices, the
tube supplier, TV prices from MTNC (the product maker), TV prices from the product distributor (Panasonic Consumer Electronics,
PCEC), and street prices. E-mail: Iwamoto, Shinichi, 30 July 2002, E-mail, Subject: This is really strictly confidential material,
MTPD-0223727E. Spreadsheet: MT Picture Display, 29 July 2002, USA Set Prices - Margins - CRT Price Component Ratio
Review, MTPD-0223728E.


Samsung
A document produced by Samsung contains a list of retail prices of 134 different types of CRT-TVs at Best Buy, Circuit City, Wal-
Mart, and Sears. Samsung, 27 February 2006, US CRT Price Survey (2/27/'06), SDCRT-0023958.

A document produced by Samsung contains tables with TV retail price survey information. CRT-TV prices are stated for Best Buy
and Circuit City. Samsung, 17 January 2006, US FTV Retail Price Survey, SDCRT-0022644.

Samsung Sales Strategy presentation includes a slide with 32" CRT and LCD TV prices at Walmart, Best Buy, and Sears.
Samsung SDI, 05 January 2012, '2005 Sales Strategy, SDCRT-0012333, at 8.

Samsung testified: "Q. Was one of the subjects that was discussed at various CRT glass meetings was the street price of CRT
monitors? A. Well, there were times when discussions of this kind occurred, but as I mentioned earlier, the -- the amount that went
through the direct channel was not very large, and most of the products went to PC OEM makers." 06 June 2012, Deposition of
Samsung SDI 30(b)(6) Witness Jaein Lee, Volume I, at 154:7-21.
Samsung testified regarding tracking of street prices of finished CRT products: "Q Do you track so-called street prices at all for
competitors? A. Yes. Q. And how do you do that? A. Our marketing team. Information is either given to them verbally in weekly
reports based upon the GSBN system, so they do track that information." 16 July 2012, Deposition of Samsung Electronics
America 30(b)(6) Witness Kim London, at 229:21-230:5.


Toshiba
Several slides from a TAEC CDT presentation track the street prices of CDT and LCD monitors by size. Toshiba America
Electronic Components, Inc., 23 July 2001, WW CDT Meeting, TAEC-CRT-00055069 - TAEC-CRT-00055130, at 5077-5082.
A Toshiba presentation includes a "Monitor Pricing Ideas" section with a table showing average street prices by screen size during
the period Q1 1998 through Q1 2001. Toshiba America, 26 April 2001, WW CDT Meeting, TAEC-CRT-00010351 - TAEC-CRT-
00010410, at 0357.

In an internal Toshiba e-mail, an employee shares information about monitor prices from Compaq's website: "Looked into the
latest web site, I found different information of my previous mail regarding spec on MV920 versus MV940. [paragraph] MV920
0.26/96 kHz/conventional $574. MV940 0.26/85kHz/shortlength $499. [paragraph] The above information is available from
Compaq Homepage. Therefore, model name maybe vice versa between SEC and Lite-On. FYI, here is all consumer line
monitors." A list with specifications and prices follows. Kazuya Iizuka, 27 June 2000, Re: Liteon-CPQ Consumer 19" P/J (MV940
model), TAEC-CRT-00070348 - TAEC-CRT-00070353, at 0348-0349.




                                                                                                                            Exhibit 59
                                                                                                                           Page 2 of 2
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Market Research Firms Monitor and Publish Street Price Data

DisplaySearch report from December 2006 states: "To calculate the CRT TV price, we used the previous quarter's tube
prices to determine the current quarter's CRT TV street prices due to the lag between tube shipment and TV shipment.
Thus, tube price reductions are reflected in street prices one quarter later". DisplaySearch, 19 December 2006, Quarterly
Global TV Shipment and Forecast Report, CHU00004334 - CHU00005025, at 4355.

Among the documents produced by Chunghwa is a WitsView spreadsheet report entitled Display Street Price Survey on TV
& Monitor. Report contains street prices of CRT TVs and monitors in October 2004. CPT, October 2004, CHU00646093.

A document produced by Hitachi USA, a Display Monitor report published by Meko ltd., includes street prices of various 21"
CRT monitors. Meko Ltd, 19 June 2000, Display Monitor Volume 7 No 25, HEDUS-CRT00174034 - HEDUS-CRT00174040,
at 4054.

A document produced by Chunghwa, entitled "UBS Investment Research Flat TV Price Tracker #3", includes prices of CRT
TVs at various US retailers. UBS Investment Research, 13 January 2005, Flat TV Price Tracker #3, Global Equity Research,
CHWA00032001 - CHWA00032020, at 2004.

DisplaySearch TV Flash Reports track weekly advertised retail prices of TVs, including CRT TVs, at major retailers like Best
Buy and Circuit City. Among DisplaySearch TV Flash Reports produced by Defendants are the following documents:

     CHWA00225304                           CHWA00225707
     CHWA00225321                           CHWA00225735
     CHWA00225357                           CHWA00225766
     CHWA00225376                           CHWA00225825
     CHWA00225402                           CHWA00225848
     CHWA00225419                           CHWA00225908
     CHWA00225447                           CHWA00225931
     CHWA00225465                           CHWA00225970
     CHWA00225485                           CHWA00225988
     CHWA00225513                           CHWA00226020
     CHWA00225530                           CHWA00226040
     CHWA00225548                           CHWA00226056
     CHWA00225581                           CHWA00226082
     CHWA00225597                           CHWA00226132
     CHWA00225612                           CHWA00226162
     CHWA00225635                           CHWA00226189
     CHWA00225663                           CHWA00226208
     CHWA00225689                           CHWA00226236




                                                                                                                            Exhibit 60
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Defendants in TFT-LCD Antitrust Litigation Acknowledge Pass-through Occurred

Defendants acknowledged that pass-through occurred
Defendants HannStar and Toshiba claimed that Best Buy passed-through most of the cost increases to end users: “Ultimately, several
companies agreed to inflate prices on LCDs in laptops and TVs Best Buy purchased and sold to its customers. In the trial, the retailer seeks to
recover $485.9 million on the LCD panels it purchased indirectly, and $289.9 million on the products it purchased directly from LCD makers,
Silberfeld said…Although Best Buy insists that it must recover those ‘hidden costs,’ the defendants have argued that the retailer passed much
of those costs along to the consumer, U.S. District Court Judge Susan Illston told the jury Tuesday.” Winegarner, Beth, 23 July 2013, Massive
LCD Cartel Cost Best Buy $800M, Jury Hears, Law360, at 1.
Defendant HannStar’s attorney, Robert Freitas, argued that “Best Buy passed on roughly 93 percent of the increased costs to their customers.”
Winegarner, Beth, 29 August 2013, Best Buy Tells Jury It's Owed $770M For LCD Price-Fixing, Law360,
http://www.law360.com/articles/468864/print?section=competition, accessed 30 August 2013.


Defendants' expert, Dean Edward Snyder, testified at trial that pass-through occurred
Dean Snyder calculated the following pass-through rates for products sold at Best Buy: LCD TVs (147%), monitors (97%), notebooks (132%),
mobile phones (87%), cameras (108%), camcorders (147%), MP3 players (109%), and portable DVD players (98%). See Best Buy’s Motion
for an Order Precluding Defendants From Presenting A Sur-Rebuttal Case, Dkt. No. 317, filed Aug. 26, 2013 in Case No. 07-MD-1827 SI,
Case No. 10-CV-4572, and Case No. 12-CV-4114, at 39 (attaching Defendants’ expert’s (Dean Edward Snyder) Demonstratives for the Best
Buy LCD Trial).
Dean Snyder’s demonstratives provide the following quote taken from an e-mail from Mike Garretson, an employee at Samsung
Semiconductor, to Byung Il Oh, a Samsung representative: “HP pays the integrator a fixed amount over [underlined] the cost of the
components for the system. Again, if our Panel price is too high, that will cause HP to have to pay more for the system, and therefore have a
high end price at retail.” Snyder, Edward, 26 August 2013, Edward Snyder's Demonstratives for the Best Buy LCD Trial, Case No. 07-MD-1827
SI, Case No. 10-CV-4572, and Case No. 12-CV-4114, at 38.
Dean Snyder’s demonstratives provide the following quote from Genichi Watanabe, Hitachi's Executive Products Manager: “Q. BY MR.
ALIOTO: LCD panels, when you sell LCD panels at a lower price to the manufacturers, do you expect that they are going to sell their products
to the customers at a lower price? ... THE WITNESS: Yes, I did.” Snyder, Edward, 26 August 2013, Edward Snyder's Demonstratives for the
Best Buy LCD Trial, Case No. 07-MD-1827 SI, Case No. 10-CV-4572, and Case No. 12-CV-4114, at 38.
Dean Snyder cites the pass-through used by two of Plaintiff’s experts for sales of Dell notebooks at Best Buy: the cross-sectional (between-
SKUs) rate is just below 100%, and the fixed effects rate is around 110%. Snyder, Edward, 26 August 2013, Edward Snyder's Demonstratives
for the Best Buy LCD Trial, Case No. 07-MD-1827 SI, Case No. 10-CV-4572, and Case No. 12-CV-4114, at 37.
Dean Snyder testified that his estimated pass-through rate at Best Buy to consumers is 93%: "Q Okay. Now, using that average rate, could we
illustrate again what happens to one dollar of overcharge that gets to the Best Buy level? A Yes. Of that, 93 cents is passed on by Best Buy to
consumers. Best Buy buys and sells. They're a retailer. So, for a dollar of overcharges that gets to Best Buy, 93 cents hits consumers." 20
August 2013, Best Buy LCD Trial Transcript, Volume 18, In re: TFT-LCD (Flat-Panel) Antitrust Litigation (United States District Court Northern
District of California), Case No. 12-CV-4114, at 2752:8 - 14.
Dean Snyder testified that retailers, on average, pass-through cost changes: "[…] But I also -- as I testified earlier, in general, firms pass on, at
least on average." 20 August 2013, Best Buy LCD Trial Transcript, Volume 18, In re: TFT-LCD (Flat-Panel) Antitrust Litigation (United States
District Court Northern District of California), Case No. 12-CV-4114, at 2826:24 - 25.
Dean Snyder testified about variation in pass-through rates based on transactions: "[…] In general, firms try to pass on their costs. And that's
why you can expect pass-on to be not zero all the time, but it's an empirical question." 20 August 2013, Best Buy LCD Trial Transcript, Volume
18, In re: TFT-LCD (Flat-Panel) Antitrust Litigation (United States District Court Northern District of California), Case No. 12-CV-4114, at
2832:19 - 21.


Dean Edward Snyder testified that the overall pass-through rate is important and can be calculated
Dean Snyder testified that it is possible to determine the average extent of pass-through: "[...] I still think you can take an average pass-on
rate. It's hard to figure out how pass-on behavior would affect millions of consumers, but again, to figure out how, on average, that Best Buy
was damaged, and the extent of overcharges reaching them and being passed on to consumers, that's possible." 20 August 2013, Best Buy
LCD Trial Transcript, Volume 18, In re: TFT-LCD (Flat-Panel) Antitrust Litigation (United States District Court Northern District of California),
Case No. 12-CV-4114, at 2842:1 - 7.
Snyder testified that (regarding the Best Buy LCD trial), the important aspect of his pass-through study is to estimate the "chunk" that gets
passed on to consumers, and to do that it is not necessary to measure state-by-state, store-by-store, or anything else: "[...] what you want to
do is figure out what chunk of overcharges reaches Best Buy, and then what chunk gets passed on to consumers. You don't need to know
state by state, store by store, et cetera. And what I said earlier outside the Best Buy example is the key summary of the overall opinion. If you
take $100 of overcharges at the top, at the Panel level, the overall analysis says $14 -- excuse me, $16 resides upstream with the parties who
make LCD finished products. Seventy-eight ends up with consumers. And a little less than 6 ends up with Best Buy." 20 August 2013, Best
Buy LCD Trial Transcript, Volume 18, In re: TFT-LCD (Flat-Panel) Antitrust Litigation (United States District Court Northern District of
California), Case No. 12-CV-4114, at 2863:14 - 25.




                                                                                                                                       Exhibit 61
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Pass-Through Study Summary Results
                                                                                          Number of   Pass- Significance           Standard Error of
                                 Distribution
        Third Party Name                                Product    Begin Date   End Date   Tubes in through    (Rate =   R-Squared   Pass-through
                                 Chain Level
                                                                                            Study     Rate      100%)                    Rate
Amazon                     Internet Retailer         Monitors        01/02/02    11/16/11      19,847 104%     = 100%       0.98         0.02
Amazon                     Internet Retailer         Televisions     02/08/02    01/07/11      20,591    117%   > 100%      0.97          0.01
Arrow Electronics          Product Distributor       Monitors        11/24/97    06/26/06      70,703    109%   > 100%      0.97          0.00
BenQ                       Product Maker             Monitors        11/02/98    09/21/05    5,037,064   112%   > 100%      0.95          0.00
Best Buy                   Brick & Mortar Retailer   Monitors        04/08/96    03/22/09   13,939,131   110%   > 100%      0.91          0.00
Best Buy                   Brick & Mortar Retailer   Televisions     04/08/96    12/27/09   39,584,133   124%   > 100%      0.96          0.00
Best Buy.com               Internet Retailer         Monitors        08/18/00    12/29/07     110,200    138%   > 100%      0.95          0.00
Best Buy.com               Internet Retailer         Televisions     06/12/00    12/31/07     451,463    144%   > 100%      0.98          0.00
Buy.com                    Internet Retailer         Monitors        01/13/02    01/28/10         473    116%   > 100%      0.99          0.03
Buy.com                    Internet Retailer         Televisions     09/27/02    09/06/10         575    105%   > 100%      0.99          0.01
CDW                        Internet Retailer         Monitors        01/03/06    01/08/08      53,063    100%   = 100%      0.93          0.02
CDW                        Internet Retailer         Televisions     11/08/05    03/29/10        5,721   102%   = 100%      0.98          0.03
Costco                     Brick & Mortar Retailer   Monitors        12/16/96    03/11/06     562,712    107%   > 100%      0.99          0.00
Costco                     Brick & Mortar Retailer   Televisions     09/03/96    12/08/07    3,945,136   106%   > 100%      0.99          0.00
Dell                       Internet Retailer         Monitors        01/02/02    12/31/06    2,739,263   118%   > 100%      0.92          0.00
Dell (Purchase Costs)      Internet Retailer         Monitors        01/02/02    12/31/06    2,716,596   122%   > 100%      0.92          0.00
Envision                   Product Maker             Monitors        01/03/01    05/27/08    1,377,421   100%   > 100%      0.79          0.00
Fry's                      Brick & Mortar Retailer   Monitors        01/01/98    10/21/06    1,205,681   113%   > 100%      0.97          0.00
Funai                      Product Maker             Televisions     01/03/05    07/28/09   10,958,577   113%   > 100%      0.97          0.00
Gateway                    Internet Retailer         Monitors        01/05/98    12/30/04        N/A*    112%   > 100%      0.98          0.01
Ingram Micro               Product Distributor       Monitors        12/31/01    12/27/10    2,646,928   102%   > 100%      1.00          0.00
Ingram Micro               Product Distributor       Televisions     12/31/01    12/07/10        4,960   103%   > 100%      1.00          0.01
Kmart                      Brick & Mortar Retailer   Televisions     11/25/04    11/19/09    1,314,151   115%   > 100%      0.94          0.00
OfficeMax                  Brick & Mortar Retailer   Desktops        01/26/03    12/01/08      90,747    109%   > 100%      0.79          0.03
OfficeMax                  Brick & Mortar Retailer   Monitors        01/26/03    09/25/07     231,354    101%   > 100%      0.77          0.01
PC Connection              Internet Retailer         Monitors        07/08/99    10/29/08      23,101    109%   > 100%      0.98          0.01
PC Connection              Internet Retailer         Televisions     02/05/99    01/08/07         232    106%   > 100%      1.00          0.02
PC Mall                    Internet Retailer         Desktops        06/06/02    03/07/06        5,638   101%   = 100%      0.95          0.01
PC Mall                    Internet Retailer         Monitors        02/27/94    06/18/09     159,587    110%   > 100%      0.98          0.00

                                                                                                                                          Exhibit 62
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                                                                                               Number of  Pass- Significance           Standard Error of
                                    Distribution
     Third Party Name                                      Product      Begin Date   End Date   Tubes in through   (Rate =   R-Squared   Pass-through
                                    Chain Level
                                                                                                 Study     Rate     100%)                    Rate
PC Mall                       Internet Retailer         Televisions       09/24/96    11/19/09      2,001 112%     > 100%       0.99         0.02
Philips                       Product Maker             Monitors          06/01/00    08/01/07    2,425,995   110%   > 100%      0.95         0.02
Philips                       Product Maker             Televisions       02/01/00    05/01/09   20,975,642   106%   > 100%      0.94         0.01
RadioShack                    Brick & Mortar Retailer   Monitors          01/01/02    07/04/09     165,233    108%   > 100%      0.84         0.00
RadioShack                    Brick & Mortar Retailer   Televisions       01/01/02    02/29/08    1,016,643   105%   > 100%      0.88         0.00
Sam's Club (Retail Prices)    Brick & Mortar Retailer   Televisions       08/13/01    11/19/05      17,939    98%    = 100%      1.00         0.02
Sam's Club (Transaction
                              Brick & Mortar Retailer   Televisions       09/08/01    12/17/05      15,871    113%   > 100%      0.98         0.03
Prices)
Sanyo                         Product Maker             Televisions       12/01/94    07/01/07        N/A*    150%   > 100%      0.96         0.01
Sears                         Brick & Mortar Retailer   Monitors          01/05/99    12/28/05     769,667    100%   = 100%      0.71         0.01
Sears                         Brick & Mortar Retailer   Televisions       01/05/99    01/14/09   13,418,767   128%   > 100%      0.94         0.00
Sharp Electronics             Product Maker             Televisions       10/01/97    11/01/07   11,496,675   104%   = 100%      0.90         0.03
Target (Retail Prices)        Brick & Mortar Retailer   Monitors          05/01/05    10/01/09     805,388    117%   > 100%      0.99         0.04
Target (Transaction Prices)   Brick & Mortar Retailer   Televisions       05/01/05    10/01/09     805,388    121%   > 100%      0.98         0.09
Tatung                        Product Maker             Monitors          09/02/98    10/31/06     222,516    100%   = 100%      0.93         0.01
Tech Data                     Product Distributor       Monitors          11/03/97    10/29/07    1,217,901   100%   > 100%      0.99         0.00
Toshiba America Consumer
                         Product Maker                  Televisions       04/12/95    03/31/06   20,313,733   117%   > 100%      0.97         0.00
Products (TACP)
Toshiba America Electronics                             Tubes for
                            Tube Distributor                              04/23/94    06/28/00    1,854,536   96%    = 100%      0.99         0.02
Corporation                                             Monitors
Toshiba America Electronics
                            Tube Distributor            Tubes for TVs     04/27/94    11/22/02   12,188,332   100%   > 100%      1.00         0.00
Corporation
Toshiba America Information
                            Product Maker               Monitors          11/01/96    04/01/05     327,738    112%   = 100%      0.78         0.14
Systems
ViewSonic                     Product Maker             Monitors          04/16/97    10/31/01    1,109,928   118%   > 100%      0.96         0.00
Wal-Mart/Sanyo                Brick & Mortar Retailer   Televisions       12/01/94    08/03/09        N/A*    116%   > 100%      1.00         0.01
Wal-Mart (Retail Prices)      Brick & Mortar Retailer   Televisions       06/23/01    08/07/10      48,156    110%   > 100%      0.99         0.05
Wal-Mart (Transaction
                              Brick & Mortar Retailer   Televisions       06/25/01    08/07/10      47,141    106%   > 100%      0.99         0.02
Prices)
Zones                         Internet Retailer         Desktops          01/03/00    04/01/03        7,175   113%   > 100%      0.97         0.01
Zones                         Internet Retailer         Monitors          01/03/00    01/11/08      41,368    104%   > 100%      0.97         0.00
Envision - Ingram Micro - PC
                             Multi-level                Monitors          01/15/02    11/19/05           **   127%   = 100%                   0.09
Connection


                                                                                                                                              Exhibit 62
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                                                                                                             Number of    Pass- Significance           Standard Error of
                                        Distribution
      Third Party Name                                             Product        Begin Date     End Date     Tubes in through     (Rate =   R-Squared   Pass-through
                                        Chain Level
                                                                                                               Study      Rate      100%)                    Rate
Philips - Best Buy               Multi-level                  Televisions            06/01/00       07/01/06          *** 139%     > 100%                    0.07
Philips - Costco                 Multi-level                  Televisions            06/01/00       02/01/07              ****   133%         > 100%                              0.07
Panasonic - Best Buy.com         Top-and-bottom               Televisions            06/12/00       04/06/07          15,551     115%         > 100%           0.73               0.06
Samsung - Best Buy               Top-and-bottom               Televisions            01/01/98       12/01/07       2,402,442     155%         > 100%           0.86               0.01
Sanyo - Wal-Mart                 Top-and-bottom               Televisions            12/01/94       07/01/07             N/A*    185%         > 100%           0.95               0.19
Sanyo - Wal-Mart                 Top-to-bottom                Televisions            12/01/94       07/01/07             N/A*    176%         > 100%                              0.16
Toshiba                          Top-to-bottom                Televisions            09/03/96       03/31/06             *****   183%         > 100%                              0.00

Note(s):
Unless otherwise noted, the number of observations is weighted by the transaction quantity. Studies that are not weighted by transaction quantity are Gateway, Wal-Mart/Sanyo, and the
Sanyo - Wal-Mart top-and-bottom and top-to-bottom studies.
Cost data is generally produced in two forms: synchronized with the sales data, or separate from the sales data. Synchronized cost data appears in the sales data as a separate field and does
not need to be matched with sales data.
When costs and prices (i.e. purchases and sales) are not synchronized, I calculate average costs for each product over a certain time (generally daily or weekly average costs).
Where possible, I also conduct pass-through studies on desktop computers that are all-in-one computers featuring a built-in CRT monitor, or that are bundled with CRT monitors.
Studies combining Wal-Mart and Sanyo data use price lists of Sanyo products sold in Wal-Mart stores. The price variable is Wal-Mart's retail price, and the cost variable is FOB costs from
products sold by Sanyo Manufacturing Corporation to Wal-Mart.
The columns Begin Date and End Date represent the oldest and most recent dates for all observations in each study.
All pass-through studies except Toshiba America Electronics Corporation and PC Connection (television) are run with robust standard errors, i.e. I conducted a Breusch-Pagan test for
heteroskedasticity and this rejected the null hypothesis of no heteroskedasticity. The Toshiba America Electronics Corproration studies use standard errors that allow for clustering
(correlation between observations within each cluster).
* The data used for these studies do not feature sufficient quantity information for a tube count.
** The Envision - Ingram Micro - PC Connection study involves 12,641 tubes at the Envision level, 324 tubes at the Ingram Micro level, and 307 tubes at the PC Connection level.
*** The Philips - Best Buy study involves 1,655,162 tubes at at the Philips level and 1,587,196 tubes at the Best Buy level.
**** The Philips - Costco study involves 890,557 tubes at the Philips level and 822,079 tubes at the Costco level.
***** The Toshiba top-to-bottom study involves 6,035,699 tubes at theTAEC level, 280,337 tubes at the TACP level, and 1,291,761 tubes at the Costco level.

Source File(s):
See Exhibit 71.




                                                                                                                                                                                 Exhibit 62
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Pass-Through Study Explanatory Variable List




                                                                                                                                                            VCR Combo

                                                                                                                                                                        DVD Combo
                                                                                                                                       Flat Screen
                                                                                                                          Resolution
                                                                                                                  Brand




                                                                                                                                                     HDTV
                          Distribution                             Price




                                                                                                                                                                                    Time
                                                                                                    Cost

                                                                                                           Size
 Third Party Name         Chain Level             Product        Description     Cost Description                                                                                            Other Explanatory Variables

Amazon              Internet Retailer         Monitors      Transaction Prices   Synchronized       X      X      X        X
Amazon              Internet Retailer         Televisions   Transaction Prices   Synchronized       X      X      X                                  X                   X
Arrow Electronics   Product Distributor       Monitors      Transaction Prices   Synchronized       X      X               X
BenQ                Product Maker             Monitors      Transaction Prices   Synchronized       X      X               X
Best Buy            Brick & Mortar Retailer   Monitors      Transaction Prices   Synchronized       X      X                            X                                                            Wide screen.
                                                                                                                                                                                           Wide screen; HD-ready; Picture-in-
Best Buy            Brick & Mortar Retailer   Televisions   Transaction Prices   Synchronized       X      X                            X            X       X           X
                                                                                                                                                                                                       picture.
Best Buy.com        Internet Retailer         Monitors      Transaction Prices   Synchronized       X      X      X                     X
                                                                                                                                                                                           Wide screen; HD-ready; Picture-in-
Best Buy.com        Internet Retailer         Televisions   Transaction Prices   Synchronized       X      X      X                     X            X       X           X
                                                                                                                                                                                                  picture; Slim tube.
Buy.com             Internet Retailer         Monitors      Transaction Prices   Synchronized       X      X      X        X            X
Buy.com             Internet Retailer         Televisions   Transaction Prices   Synchronized       X      X      X                     X            X       X           X
CDW                 Internet Retailer         Monitors      Transaction Prices   Monthly Average    X      X               X            X
CDW                 Internet Retailer         Televisions   Transaction Prices   Monthly Average    X      X      X                     X            X       X           X
Costco              Brick & Mortar Retailer   Monitors      Transaction Prices   Weekly Average     X      X      X                     X
                                                                                                                                                                                           Wide screen; HD-ready; Picture-in-
Costco              Brick & Mortar Retailer   Televisions   Transaction Prices   Weekly Average     X      X      X                     X            X       X           X
                                                                                                                                                                                                       picture.
Dell                Internet Retailer         Monitors      Transaction Prices   Synchronized       X      X               X
Dell (Purchase
                    Internet Retailer         Monitors      Transaction Prices   Weekly Average     X      X               X
Costs)
Envision            Product Maker             Monitors      Transaction Prices   Synchronized       X      X                            X                                                             Speakers.
Fry's               Brick & Mortar Retailer   Monitors      Transaction Prices   Synchronized       X      X      X                     X                                                            Refurbished.
Funai               Product Maker             Televisions   Transaction Prices   Monthly Average    X      X      X                     X                    X           X
Gateway             Internet Retailer         Monitors      List Prices          Daily Average      X      X
Ingram Micro        Product Distributor       Monitors      Transaction Prices   Synchronized       X      X               X            X
Ingram Micro        Product Distributor       Televisions   Transaction Prices   Synchronized       X      X                            X            X                                               Wide screen.
Kmart               Brick & Mortar Retailer   Televisions   Transaction Prices   Weekly Average     X      X      X                     X            X       X           X
                                                                                                                                                                                           RAM; Hard Drive Size; Processor
                                                                                                                                                                                                  Type; Processor
OfficeMax           Brick & Mortar Retailer   Desktops      Transaction Prices   Synchronized       X
                                                                                                                                                                                              Speed; Condition Type;
                                                                                                                                                                                                Distribution Channel
                                                                                                                                                                                             Condition Type; Distribution
OfficeMax           Brick & Mortar Retailer   Monitors      Transaction Prices   Synchronized       X      X                            X
                                                                                                                                                                                                      Channel.

                                                                                                                                                                                                                   Exhibit 63
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                                                                                                                                                                 VCR Combo

                                                                                                                                                                             DVD Combo
                                                                                                                                            Flat Screen
                                                                                                                               Resolution
                                                                                                                       Brand




                                                                                                                                                          HDTV
                            Distribution                               Price




                                                                                                                                                                                          Time
                                                                                                         Cost

                                                                                                                Size
 Third Party Name           Chain Level             Product          Description      Cost Description                                                                                            Other Explanatory Variables

PC Connection         Internet Retailer         Monitors        Transaction Prices    Weekly Average     X      X      X        X            X                                                            Refurbished.
PC Connection         Internet Retailer         Televisions     Transaction Prices    Weekly Average     X      X      X                                  X                                                 HD-ready.
                                                                                                                                                                                                 RAM; Processor Speed; Retailer
PC Mall               Internet Retailer         Desktops        Transaction Prices    Weekly Average     X
                                                                                                                                                                                                        (PC Mall, Trend)
                                                                                                                                                                                                 Refurbished; Retailer (PC Mall,
PC Mall               Internet Retailer         Monitors        Transaction Prices    Weekly Average     X      X               X            X
                                                                                                                                                                                                          Trend, SX)
PC Mall               Internet Retailer         Televisions     Transaction Prices    Weekly Average     X      X                            X            X       X           X                     Retailer (PC Mall, Trend)
                                                                Monthly Average
Philips               Product Maker             Monitors                              Monthly Average    X      X                            X
                                                                Prices
                                                                Monthly Average
Philips               Product Maker             Televisions                           Monthly Average    X      X                            X            X       X           X
                                                                Prices
RadioShack            Brick & Mortar Retailer   Monitors        Transaction Prices    Synchronized       X      X      X                     X
RadioShack            Brick & Mortar Retailer   Televisions     Transaction Prices    Synchronized       X      X      X                     X                    X           X
Sam's Club (Retail                                              Weekly Average
                     Brick & Mortar Retailer    Televisions                           Weekly Average     X      X      X                                          X
Prices)                                                         Prices
Sam's Club
                     Brick & Mortar Retailer    Televisions     Transaction Prices    Weekly Average     X      X      X                                          X                      Month
(Transaction Prices)
Sanyo                 Product Maker             Televisions     List Prices           Monthly Average    X      X                            X            X                                             Picture-in-picture.
Sears                 Brick & Mortar Retailer   Monitors        Transaction Prices    Synchronized       X      X      X
Sears                 Brick & Mortar Retailer   Televisions     Transaction Prices    Synchronized       X      X      X                                          X           X
                                                                Monthly Average
Sharp Electronics     Product Maker             Televisions                          Monthly Average     X      X                            X                    X           X
                                                                Prices
Target (Retail                                                  Monthly Average List
                      Brick & Mortar Retailer   Televisions                          Monthly Average     X      X                            X                    X           X
Prices)                                                         Prices
Target (Transaction                                             Monthly Average
                      Brick & Mortar Retailer   Televisions                          Monthly Average     X      X                            X                    X           X
Prices)                                                         Prices
Tatung                Product Maker             Monitors        Transaction Prices    Monthly Average    X      X               X                                                        Year             Color Display
Tech Data             Product Distributor       Monitors        Transaction Prices    Monthly Average    X      X               X            X                                                   Speakers; Unbranded (generic).
Toshiba America
Consumer Products Product Maker                 Televisions     Transaction Prices    Synchronized       X      X                                         X       X
(TACP)
Toshiba America
Electronics       Tube Distributor              Tubes for Monitors
                                                                 Transaction Prices   Monthly Average    X                                                                                               Model Number
Corporation
Toshiba America
Electronics       Tube Distributor              Tubes for TVs   Transaction Prices    Monthly Average    X                                                                                               Model Number
Corporation



                                                                                                                                                                                                                         Exhibit 63
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                                                                                                                                                                      VCR Combo

                                                                                                                                                                                  DVD Combo
                                                                                                                                                 Flat Screen
                                                                                                                                    Resolution
                                                                                                                            Brand




                                                                                                                                                               HDTV
                            Distribution                                 Price




                                                                                                                                                                                               Time
                                                                                                              Cost

                                                                                                                     Size
 Third Party Name           Chain Level              Product           Description        Cost Description                                                                                             Other Explanatory Variables

                                                                                                                                                                                                        Remanufactured; Obsolete;
Toshiba America                                                   Monthly Average                                                                                                                          Discounted; Limited;
                    Product Maker               Monitors                                 Monthly Average       X     X
Information Systems                                               Prices                                                                                                                              Product Line; Multimedia; Casing
                                                                                                                                                                                                                    Color
ViewSonic             Product Maker             Monitors          Transaction Prices     Weekly Average        X     X                            X                                                             Multimedia.
Wal-Mart (Retail                                                  Weekly Average
                      Brick & Mortar Retailer   Televisions                              Weekly Average        X     X      X                                  X       X
Prices)                                                           Prices

Wal-Mart
                     Brick & Mortar Retailer    Televisions       Transaction Prices     Weekly Average        X     X      X                                  X       X                      Month
(Transaction Prices)

Wal-Mart/Sanyo        Brick & Mortar Retailer   Televisions       List Prices            FOB Costs             X     X                            X            X                                      Wide screen, Picture-in-picture.
Zones                 Internet Retailer         Desktops          Transaction Prices     Synchronized          X                                                                                          RAM; Processor Speed
Zones                 Internet Retailer         Monitors          Transaction Prices     Synchronized          X     X      X        X            X
Envision - Ingram
                                                                  Weekly Average
Micro - PC            Multi-level               Monitors                                 Weekly Average        X     X
                                                                  Prices
Connection
                                                                  Monthly Average
Philips - Best Buy    Multi-level               Televisions                              Monthly Average       X     X                            X
                                                                  Prices
                                                                  Monthly Average
Philips - Costco      Multi-level               Televisions                              Monthly Average       X     X                            X
                                                                  Prices
Panasonic - Best
                      Top-and-bottom            Televisions       Transaction Prices     Monthly Average       X     X                            X                    X           X                         Picture-in-picture.
Buy.com

Samsung - Best Buy Top-and-bottom               Televisions       Transaction Prices     Monthly Average       X     X                            X            X       X

Sanyo - Wal-Mart      Top-and-bottom            Televisions       List Prices            Monthly Average       X     X                            X            X                                             Picture-in-picture.
Sanyo - Wal-Mart      Top-to-bottom             Televisions       List Prices            Monthly Average       X     X                            X            X                                             Picture-in-picture.
Toshiba               Top-to-bottom             Televisions       Transaction Prices     Monthly Average       X     X                            X                    X                              Wide screen; Picture-in-picture.


Note(s):
Cost data is generally produced in two forms: synchronized with the sales data, or separate from the sales data.
When costs and prices (i.e. purchases and sales) are not synchronized, I calculate average costs for each product over a certain time (generally weekly or monthly average costs).
Where possible, I also conduct pass-through studies on desktop computers that are all-in-one computers featuring a built-in CRT monitor, or that are bundled with CRT monitors.
The Wal-Mart - Sanyo studies use price lists of Sanyo products sold in Wal-Mart stores. The price variable is Wal-Mart's retail price, and the cost variable is FOB costs from products sold
by Sanyo Manufacturing Corporation to Wal-Mart.
Source File(s):
See Exhibit 71.



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CRT Tube Sales Data

Source Files                                Data Cleaning Program   Resulting Data File             Start Date   End Date    Granularity     Application   Size   Shape   Finish

Chunghwa
CHWA00000001 [Headings for CPTM             CHWA00000002.do         CHWA00000002.dta                 1/3/1994    12/29/2006 Transactional        Yes        Yes     No      Yes
Transactional Records].xls
CHWA00000005 [CPTF Transactional            CHWA00000005.do         CHWA00000005.dta                 11/3/1997   12/29/2006 Transactional        Yes        Yes     No      Yes
Records].xls
CHWA00000009 [CPTT Transactional            CHWA00000009.do         CHWA00000009.dta                 1/4/1994    12/30/1998 Transactional        Yes        Yes     No      Yes
Records 1994-1998].xls
CHWA00000011 [CPTT Transactional            CHWA00000011.do         CHWA00000011.dta                 1/4/1999    2/27/2003   Transactional       Yes        Yes     No      Yes
Records 1999-2003].xls
CHWA00256935.XLS                            CHWA00256935.do         CHWA00256935.dta                 12/8/2006   12/29/2007 Transactional        Yes        Yes     No      Yes
CHWA00256936.XLS                            CHWA00256936.do         CHWA00256936.dta                 1/2/2007    11/17/2011 Transactional        Yes        Yes     No      Yes
CHWA00256937.XLS                            CHWA00256937.do         CHWA00256937.dta                     -           -       Transactional       Yes        Yes     No      Yes
                                            CHWA_combined.do        CHWA_combined.dta                1/3/1994    11/17/2011 Transactional        Yes        Yes     No      Yes
CPTM Order Numbers.xlsx
CHWA00000002 [CPTM Transactional
Records].xls
CHWA00000008 [Headings for CPTT
Transactional Records 1994-1998].xls
CHWA00000010 [Headings for CPTT
Transactional Records 1999-2003].xls
Chunghwa_Addresses.xlsx
exchange_rates_daily.dta
exchange_rates_monthly.dta


Hitachi
HEDUS-CRT00179555.xlsx                      HEDUS-CRT.do            HEDUS-CRT.dta                    7/18/1994   6/26/2003   Transactional       Yes        Yes     No      Yes
HDP-CRT00018516-T.xls                       HDP-CRT00018516.do      HDP-CRT00018516_1995-1997.dta     1995h1      1997m1      Semiannual         Yes        No      No      No
                                                                    HDP-CRT00018516_1997-2004.dta    5/12/1997   2/21/2005   Transactional       Yes        Yes     No      Yes
exchange_rates_daily.dta
exchange_rates_semiannual.dta
03 July 2012, Deposition of Hitachi
Electronic Devices (USA) 30(b)(6) Witness
Thomas Heiser.
Hitachi, Undated, Specifications, HDP-
CRT00018517 - HDP-CRT00018518.




                                                                                                                                                                       Exhibit 64
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Source Files                          Data Cleaning Program    Resulting Data File                  Start Date   End Date    Granularity     Application   Size   Shape   Finish


LPD
LGE00057595.xls                       LG_rofo_load.do          LG_rofo_load.dta
LPD_00034712.xls                      LG_rofo_data_clean.do    LG_rofo_data_clean.dta                Jan-2001     Dec-2003      Monthly          Yes        Yes     No      Yes
LPD_00010955.xls                                               LG_rofo_data_clean_drop_ottawa.dta
LGE00057776.xls                       lge_clean.do             lge_clean.dta                         Jan-1992     Dec-1999      Monthly          Yes        Yes     No      Yes
LGE00057608.xls
LGE00057028.xls
LGE00057277.xls
LGE00057554.xls
LGE00057335.xls
LGE00057547_ae.xls
LGE00057582_ae.xls
LGE--Highly Confidential 7.xls        lge_purchases_clean.do   lge_purchases_dropoverlap.dta         Jan-2002     May-2008      Monthly          Yes        Yes     Yes     Yes
61 Billing files                      lpd_load.do              lpd_load.dta
LPD_00005516.xls                      lpd_clean.do             lpd_clean.dta                         Apr-1999     Jun-2004      Monthly          Yes        Yes     No      Yes
LPD_00044227.xls

Panasonic
MTPD-0122906.xls                      MTPD-0122906.do          MTPD-0122906.dta                      Jan-1994     Sep-2007      Monthly          Yes        Yes     Yes     Yes
m_t_mtpd.xlsx
exchange_rates_daily.dta

Philips
YTDDEC93.xlsx                         Philips sales clean.do   Philips sales clean.dta               1/3/1993     4/1/1999   Transactional       Yes        Yes     No      Yes
YTDDEC94.xlsx
YTDDEC95.xlsx
YTDDEC96.xlsx
YTDDEC97.xlsx
YTDDEC98.xlsx
YTDINVC.xlsx

Samsung
SDCRT-0083119.2.xlsx                  SDCRT-0083119.2.do       SDCRT-0083119.2.dta                   Jan-1998     Dec-2007      Monthly          Yes        Yes     Yes     Yes
aE_SDCRT-
0083119.2_with_translations.xlsx
Translations_of_customer_names.xlsx
exchange_rates_monthly.dta




                                                                                                                                                                       Exhibit 64
                                                                                                                                                                      Page 2 of 3
                                    Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 366 of 1309


Source Files                              Data Cleaning Program     Resulting Data File                        Start Date   End Date    Granularity     Application   Size   Shape   Finish


SDI, Undated, Model of SDI CRT Product,
SDCRT-0021278 - SDCRT-0021294.

SDCRT-0021278.xlsx


Toshiba
TSB-CRT-00061306-317                      TSB-CRT.do                TSB-CRT.dta                                 10/2/1995   1/14/2004   Transactional       Yes        Yes     No       Yes
TSB-CRT-00061306_AE_translation-TSB-
CRT-00061317_AE_translation
TAEC-CRT-                            TAEC-CRT-00016371.do           TAEC-CRT-00016371.dta                       4/19/1994   6/30/2000   Transactional       Yes        Yes     No       Yes
00016371_CONFIDENTIAL.xls
TAEC-CRT-                            TAEC-CRT-00016373.do           TAEC-CRT-00016373.dta                       7/24/2000   12/2/2003   Transactional       Yes        Yes     Yes      Yes
00016373_CONFIDENTIAL.xls
exchange_rates_daily.dta


All Defendants
CHWA_combined.dta                         all_defendants_price.do   all_defendants_dropexout_collapsed.dta
HEDUS-CRT.dta
HDP-CRT00018516_1997-2004.dta
lge_clean.dta
lpd_clean.dta
lge_purchases_dropoverlap.dta
LG_rofo_data_clean_drop_ottawa.dta
MTPD-0122906.dta
Philips sales clean.dta
SDCRT-0083119.2.dta
TAEC-CRT-00016371.dta
TAEC-CRT-00016373.dta
TSB-CRT.dta


Note(s):
Defendants use the worldwide type designation code system (WTDS) for model numbers, with the exception of SDI. Chunghwa's data that includes WTDS codes contains inconsistencies. Therefore,
Chunghwa's item number is used instead of WTDS code. Defendants have identified how to determine application, aspect ratio, size, and ITC vs. bare from the WTDS code. The defendants have not
produced documentation or identified a method for pulling additional information from the family code or version component of the WTDS number.




                                                                                                                                                                                  Exhibit 64
                                                                                                                                                                                 Page 3 of 3
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Direct Overcharge Models and Sensitivity Checks
CDTs
                                                                                                         Root Mean                             Number of
Model                                                          Overcharge          Standard Error       Squared Error          Adjusted R2    Observations
Direct overcharge model                                             -                    -                 0.095                  0.952          1114
                                       1995Q2 - 2006Q4           25.0%                 4.3%                   -                     -              -
                                       2007Q1 - 2007Q4           12.3%                 5.6%                   -                     -              -
…using data from after 2008                                         .                    .                 0.096                  0.951          1134
                                       1995Q2 - 2006Q4           24.1%                 4.5%                   -                     -              -
                                       2007Q1 - 2007Q4           11.8%                 5.6%                   -                     -              -
…without squared demand terms                                       .                    .                 0.097                  0.951          1114
                                 1995Q2 - 2006Q4                 27.9%                 4.9%                   -                     -              -
                                 2007Q1 - 2007Q4                 19.0%                 5.1%                   -                     -              -
…with lagged cost and demand terms                                  -                    -                 0.096                  0.952          1112
                                 1995Q2 - 2006Q4                 23.3%                 4.0%                   -                     -              -
                                 2007Q1 - 2007Q4                  8.3%                 4.7%                   -                     -              -
...with a single cartel period (1995Q2 - 2006Q4)                  18.5%                 4.5%                 0.096                 0.951         1114
...with the complaint cartel period (1995Q2 - 2007Q4)             19.4%                 5.8%                 0.096                 0.951         1114

CPTs
                                                                                                         Root Mean                             Number of
Model                                                          Overcharge          Standard Error       Squared Error          Adjusted R2    Observations
Direct overcharge model                                             -                    -                   0.081                0.986          2574
                                       1995Q2 - 2006Q4            9.5%                 2.0%                    -                    -              -
                                       2007Q1 - 2007Q4            3.2%                 1.7%                    -                    -              -
…without squared demand terms                                       -                    -                   0.081                0.986          2574
                                 1995Q2 - 2006Q4                  9.3%                 2.1%                    -                    -              -
                                 2007Q1 - 2007Q4                  4.9%                 1.6%                    -                    -              -
…with lagged cost and demand terms                                  -                    -                   0.083                0.985          2566
                                 1995Q2 - 2006Q4                  9.9%                 2.5%                    -                    -              -
                                 2007Q1 - 2007Q4                  3.5%                 2.1%                    -                    -              -
...with a single cartel period (1995Q2 - 2006Q4)                   7.1%                 1.3%                 0.081                 0.986         2574
...with the complaint cartel period (1995Q2 - 2007Q4)              4.8%                 1.7%                 0.081                 0.986         2574

Data Source(s): See Exhibit 83.
Source File(s): CDT_model.do; CPT_model.do; robustness.do; sensitivity_table.do; lcd_data.do; input_data.do; oecd_data.do; bok_glass_ppi.do



                                                                                                                                                             Exhibit 65
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Top-to-Bottom Pass-Through Method


        Tube Manufacturer


               $1.00               A tube manufacturer increases its prices by $1


         Tube Distributor
                                   In response to the tube price increase of $1, a tube distributor
                                   increases its prices by $1.15; the pass-through rate at this
               $1.15
                                   level is 115%.


          Product Maker
                                   In response to the $1.15 tube price increase, a product maker
                                   increases its TV/monitor prices by $1.25; the pass-through
               $1.25
                                   rate at this level is 109%.


    Finished Product Distributor
                                   In response to the $1.25 TV/monitor price increase, the
                                   finished product distributor increases the price of
               $1.25               TVs/monitors by $1.25; the pass-through rate at this level is
                                   100%.

              Retailer
                                   In response to the $1.25 TV/monitor price increase from the
                                   finished product distributor, the retailer increases its price by
               $1.30
                                   $1.30; the pass-through rate at this level is 104%.


            End Users
                                   End users paid an additional $1.30 as a result of the $1.00
                                   tube price increase. The cumulative pass-through rate can be
                                   calculated by multiplying the pass-through rates at each level:
                                   115% * 109% * 100% * 104% = 130%. Note that the
                                   cumulative pass-through rate (130%) multiplied by the original
                                   price increase ($1.00) yields the price increase faced by end
                                   consumers: $1.30.




                                                                                               Exhibit 66
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Top-and-Bottom Pass-Through Method

          Tube Manufacturer


                $1.00             A tube manufacturer increases its prices by $1.00.


  [Product Maker and/or Distributors]




               Retailer


                                  A retailer increases TV/monitor prices by $1.20 in response
                $1.20
                                  to price increases upstream.


              End Users
                                  End users who purchase a TV or monitor face a price
                                  increase of $1.20 as a result of the $1.00 tube price
                                  increase; the top-and-bottom pass-through rate is 120%.




                                                                                        Exhibit 67
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Top-and-Bottom Pass-Through Study Results

Panasonic - Best Buy.com
               Panasonic

   [Product Maker and/or Distributors]
                                              Pass-through rate: 115%
              Best Buy.com

                End Users




Samsung - Best Buy
               Samsung

   [Product Maker and/or Distributors]
                                              Pass-through rate: 155%
                Best Buy

                End Users




Sanyo - Wal-Mart
          Tube Manufacturers

       [Sanyo and/or Distributors]
                                              Pass-through rate: 185%
                 Wal-Mart

                End Users



Note(s):
The Sanyo - Wal-Mart top-and-bottom study uses Sanyo tube purchase data that include tubes from many
manufacturers.
Pass-through rates rounded to the nearest percent.

Source File(s):
panasonic_bestbuy_com_TAB_report.do
samsung_bestbuy_TAB_report.do
sanyo_combined_report.do
See Exhibit 71




                                                                                                  Exhibit 68
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Top-to-Bottom Pass-Through Study Results

Toshiba
                     Toshiba
                    Tube Manufacturer




   Toshiba America Electronics Corporation                        Pass-through rate: 101%
                     Tube Distributor




     Toshiba America Consumer Products                            Pass-through rate: 174%
                      Product Maker




                      Costco                                      Pass-through rate: 104%
                         Retailer




                    End Users
                                                   Cumulative pass-through rate: 101% * 174% * 104% =
                                                                         183%



Sanyo - Wal-Mart
             Tube Manufacturers


                       Sanyo                                      Pass-through rate: 150%
                      Product Maker




                     Wal-Mart                                     Pass-through rate: 117%
                         Retailer




                    End Users
                                                    Cumulative pass-through rate: 150% * 117% = 176%

   Note(s):
   The Sanyo - Wal-Mart study uses Sanyo tube purchase data that include tubes from many manufacturers.
   Pass-through rates are rounded to the nearest percent.

   Source File(s):
   sanyo_combined_report.do
   toshiba_top_to_bottom.do
   See Exhibit 71




                                                                                                   Exhibit 69
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Multi-Level Pass-Through Study Results

Envision - Ingram Micro - PC Connection
         Tube Manufacturers

             [Tube Distributors]*

                     Envision                     Pass-through rate: 112%

                  Ingram Micro                    Pass-through rate: 103%

                PC Connection                     Pass-through rate: 109%

                    End Users
                                                  Cumulative pass-through rate: 112% * 103% * 109% = 127%

Philips - Best Buy
           Tube Manufacturers

             [Tube Distributors]*

                      Philips                     Pass-through rate: 100%

                     Best Buy                     Pass-through rate: 139%

                    End Users
                                                  Cumulative pass-through rate: 100% * 139% = 139%

Philips - Costco
           Tube Manufacturers

             [Tube Distributors]*

                      Philips                     Pass-through rate: 123%

                      Costco                      Pass-through rate: 108%

                    End Users
                                                  Cumulative pass-through rate: 123% * 108% = 133%

Note(s):
* Tube distributors may not be present in the distribution chain.
Pass-through rates are rounded to the nearest percent.

Source File(s):
envision_im_pcc_report.do
philips_costco_report.do
philips_bestbuy_report.do
See Exhibit 71




                                                                                                            Exhibit 70
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Pass-Through Stata File List

Study Name                                Stata Program Names
                                          Import Amazon Specs.do
Amazon                                    amazon_data_cleaning.do
                                          amazon_report.do
                                          arrow_data_cleaning.do
Arrow
                                          arrow_report.do
                                          benq_customer_list.do
BenQ                                      benq_data_cleaning.do
                                          benq_report.do
                                          bestbuy_sku_list.do
                                          bestbuy_data_load.do
                                          bestbuy_20100128_production_load.do
Best Buy
                                          bestbuy_20121024_production_load.do
                                          bestbuy_data_cleaning.do
                                          bestbuy_report.do
                                          bestbuy_com_data_load.do
Best Buy.com                              bestbuy_com_data_clean.do
                                          bestbuy_com_report.do
                                          Import BuyCom Digests.do
                                          ReadSKUs.do
Buy.com
                                          buycom_data_cleaning.do
                                          buycom_report.do
                                          cdw_data_cleaning.do
CDW
                                          cdw_report.do
                                          costco_data_load.do
Costco                                    costco_data_cleaning.do
                                          costco_report.do
                                          dell_data_cleaning.do
Dell
                                          dell_report.do
                                          envision_data_cleaning.do
Envision
                                          envision_report.do
                                          frys_data_cleaning.do
Fry's
                                          frys_report.do
                                          funai_data_cleaning.do
Funai
                                          funai_report.do
                                          gateway_data_cleaning.do
Gateway
                                          gateway_report.do
                                          ingram_micro_data_load.do
Ingram Micro                              ingram_micro_data_cleaning.do
                                          ingram_micro_report.do
                                          kmart_data_load.do
Kmart                                     kmart_data_clean.do
                                          kmart_report.do
                                          item_selection.do
OfficeMax                                 officemax_data_cleaning.do
                                          officemax_report.do




                                                                                 Exhibit 71
                                                                                Page 1 of 4
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Study Name                                     Stata Program Names
                                               pcconnection_data_cleaning.do
PC Connection
                                               pcconnection_report.do
                                               pcmall_data_cleaning.do
PC Mall
                                               pcmall_report.do
                                               radioshack_data_load.do
RadioShack                                     radioshack_data_clean.do
                                               radioshack_report.do
                                               selected_stores.do
                                               selected_items.do
Sam's Club (Retail Prices)                     additional_wm_sams_skus.do
                                               sams_retail_prices.do
                                               sams_retail_prices_report.do
                                               selected_stores.do
                                               selected_items.do
Sam's Club (Transaction Prices)                additional_wm_sams_skus.do
                                               sams_data_cleaning.do
                                               sams_report.do
                                               sanyo_data_combine.do
Sanyo
                                               sanyo_combined_report.do
                                               sears_data_load.do
                                               sears_data_clean.do
Sears
                                               sears_add_date.do
                                               sears_report.do
Target                                         target_data_clean.do
                                               target_report.do
                                               tatung_costs.do
Tatung                                         tatung_sales.do
                                               tatung_report.do
                                               techdata_data_cleaning.do
Tech Data
                                               techdata_report.do
                                               tacp_sales_load.do
Toshiba America Consumer Products (TACP)       tacp_sales_clean.do
                                               tacp_report.do
                                               taec_data_load.do
Toshiba America Electronic Components (TAEC)
                                               taec_report.do
                                               tais_sales.do
Toshiba America Information Systems (TAIS)
                                               tais_report.do
                                               viewsonic_data_cleaning.do
ViewSonic
                                               viewsonic_report.do
                                               selected_stores.do
                                               selected_items.do
Wal-Mart (Retail Prices)                       additional_wm_sams_skus.do
                                               walmart_retail_prices.do
                                               walmart_retail_prices_report.do
                                               selected_stores.do
                                               selected_items.do
Wal-Mart (Transaction Prices)                  additional_wm_sams_skus.do
                                               walmart_data_cleaning.do




                                                                                  Exhibit 71
                                                                                 Page 2 of 4
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Wal-Mart (Transaction Prices)
Study Name                                           Stata Program Names
                                                     walmart_report.do
                                                     sanyo_data_cleaning.do
Wal-Mart/Sanyo
                                                     sanyo_report.do
                                                     zones_item_selection.do
Zones                                                zones_data_cleaning.do
                                                     zones_report.do
                                                     envision_data_cleaning.do
                                                     ingram_micro_data_load.do
                                                     ingram_micro_data_cleaning.do
Multi-Level: Envision - Ingram Micro - PC Connection
                                                     pcc_clean_ingram_envision_only.do
                                                     envision_im_pcc_merge.do
                                                     envision_im_pcc_report.do
                                                     bestbuy_sku_list.do
                                                     bestbuy_data_load.do
                                                     bestbuy_20100128_production_load.do
                                                     bestbuy_20121024_production_load.do
Multi-Level: Philips - Best Buy                      bestbuy_data_cleaning.do
                                                     philips_data_load.do
                                                     philips_data_clean.do
                                                     philips_bestbuy_load_clean.do
                                                     philips_bestbuy_report.do
                                                     costco_data_load.do
                                                     costco_philipsonly_clean.do
                                                     philips_data_load.do
Multi-Level: Philips - Costco
                                                     philips_data_clean.do
                                                     philips_costco_clean.do
                                                     philips_costco_report.do
                                                     bestbuy_com_data_load.do
                                                     bestbuy_com_data_clean.do
Top-and-Bottom: Panasonic - Best Buy.com             MTPD-0122906.do
                                                     panasonic_bestbuy_com_TAB_clean.do
                                                     panasonic_bestbuy_com_TAB_report.do
                                                     bestbuy_sku_list.do
                                                     bestbuy_data_load.do
                                                     bestbuy_20100128_production_load.do
                                                     bestbuy_20121024_production_load.do
Top-and-Bottom: Samsung - Best Buy                   bestbuy_data_cleaning.do
                                                     SDCRT-0083119.2.do
                                                     samsung_bestbuy_tab_load.do
                                                     samsung_bestbuy_tab_clean.do
                                                     samsung_bestbuy_tab_report.do
                                                     sanyo_data_cleaning.do
Top-and-Bottom: Sanyo - Wal-Mart                     sanyo_data_combine.do
                                                     sanyo_combined_report.do
                                                     sanyo_data_cleaning.do
Top-to-Bottom: Sanyo - Wal-Mart                      sanyo_data_combine.do
                                                     sanyo_combined_report.do




                                                                                            Exhibit 71
                                                                                           Page 3 of 4
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Study Name                                             Stata Program Names
                                                       taec_data_load.do
                                                       tacp_sales_load.do
                                                       tacp_sales_clean.do
Top-to-Bottom: Toshiba
                                                       costco_data_load.do
                                                       costco_data_cleaning.do
                                                       toshiba_top_to_bottom.do



Note(s):
Programs are listed in the order they should be run.




                                                                                   Exhibit 71
                                                                                  Page 4 of 4
                                                                                             Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 377 of 1309
                                                                                                                                                              Monitor Pass-Through
                                                                                                                                Calculated Pass-Through Rates and 95% Confidence Intervals
                                                150%
Pass-Through Rate and 95% Confidence Interval




                                                140%


                                                130%


                                                120%


                                                110%


                                                100%


                                                90%


                                                80%

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                                                          Note: + The pass-through rate is statistically greater than 100%.
                                                          Source Files: See Exhibit 71.

                                                                                                                                                                                                                                                                                                  Exhibit 72
                                                                                      Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 378 of 1309
                                                                                                                                                   Television Pass-Through
                                                                                                                     Calculated Pass-Through Rates and 95% Confidence Intervals
Pass-Through Rate and 95% Confidence Interval



                                                180%


                                                160%


                                                140%


                                                120%


                                                100%


                                                80%

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                                                         Note: + The pass-through rate is statistically greater than 100%.
                                                         Source Files: See Exhibit 71.

                                                                                                                                                                                                                                                                                                                                  Exhibit 73
                                                                            Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 379 of 1309
                                                                                                                           Tubes Pass-Through
                                                                                                   Calculated Pass-Through Rates and 95% Confidence Intervals
                                                110%
Pass-Through Rate and 95% Confidence Interval




                                                 105



                                                100%



                                                  95



                                                90%



                                                  85



                                                80%
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                                                       Note: + The pass-through rate is statistically greater than 100%.
                                                       Source Files: See Exhibit 71.

                                                                                                                                                                    Exhibit 74
                                           Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 380 of 1309
                                                                   Pass-Through Studies Channel Coverage
Tube Manufacturer




  Tube Distributor




    Product Maker




Product Distributor




           Retailer




         End User


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                                                                                                                Econometric Study
                          Source Files: See Exhibit 71.

                                                                                                                                                                                                                       Exhibit 75
                         Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 381 of 1309



                                                           Pass-Through Data by Year
                                                                    Retailers

            Beginning of                                                                                                End of
            Class Period                                                                                             Class Period
                                  PC Mall

                                                   Wal-Mart/Sanyo

                                Best Buy

                                                                       Costco
                                                    Gateway

                                                                               Fry's

                                                           Sears

                                                                          PC Connection

                                                                                                      Zones

                                                                               Best Buy.com

                                                                                                                           Wal-Mart

                                                                        Sam's Club

                                                                                                           Amazon
                                                                                       RadioShack

                                                                        Dell

                                                                                                               Buy.com

                                                                                             OfficeMax

                                                                                                                  Kmart

                                                                                                      Target

                                                                                                                    CDW


 1994    1995     1996   1997   1998       1999   2000   2001   2002   2003      2004      2005     2006   2007     2008     2009     2010     2011

Source File(s):
See Exhibit 71.                                                                                                                              Exhibit 76
                         Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 382 of 1309




                               Pass-Through Data by Year
                         Product Makers and Product Distributors
            Beginning of                                                                     End of
            Class Period                                                                  Class Period
                         Sanyo
                                      Toshiba America Consumer Products

                                      Toshiba America Information Systems

                                        ViewSonic
                                                                      Sharp Electronics
                                                Tatung
                                                                BenQ
                                                                                            Philips
                                                              Envision
                                                                                            Funai
                                          Tech Data
                                                                Arrow Electronics
                                                                                            Ingram Micro

 1994    1995     1996    1997   1998    1999   2000   2001   2002   2003   2004   2005     2006    2007   2008   2009   2010     2011

Note(s):
Blue indicates product makers.
Red indicates product distributors.

Source File(s):
See Exhibit 71.                                                                                                                 Exhibit 77
                       Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 383 of 1309




                 Pass-Through Data by Year
    Top-and-Bottom, Top-to-Bottom, and Multi-Level Studies
             Beginning of                                                                                        End of
             Class Period                                                                                     Class Period
                                                Sanyo - Walmart
                                                                           Toshiba

                                                                                     Sanyo - Walmart

                                                   Samsung - Best Buy

                                                                                        Panasonic - Best Buy.com

                                                                  Philips - Costco

                                                                                              Envision -
                                                                                            Ingram Micro -
                                                                                            PC Connection

                                                               Philips - Best Buy


 1994      1995     1996      1997       1998   1999    2000      2001    2002       2003      2004   2005   2006   2007     2008



Note(s):
Blue indicates top-and-bottom studies.
Green indicates top-to-bottom studies.
Purple indicates multi-level studies.

Source File(s):
See Exhibit 71.                                                                                                      Exhibit 78
                                     Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 384 of 1309


Class Share of Worldwide CRT Revenues

     Year         North American Share of            U.S. Share of North   Non-Government Share   Class States' Share of   Class Members' Share of
                      Worldwide Sales                     America                 of U.S.                 U.S.                 Worldwide Sales
                       CDT               CPT                                                                                 CDT           CPT
    1995              38.7%             17.2%                92.3%                92.8%                  44.9%               14.9%           6.6%
    1996              38.7%             17.2%                92.5%                92.8%                  44.9%               14.9%           6.6%
    1997              38.7%             17.2%                92.4%                93.4%                  44.9%               15.0%           6.7%
    1998              38.7%             17.2%                92.5%                93.5%                  45.0%               15.0%           6.7%
    1999              38.7%             17.8%                92.6%                93.0%                  45.0%               15.0%           6.9%
    2000              37.6%             16.0%                92.8%                93.6%                  45.2%               14.7%           6.3%
    2001              33.9%             15.8%                92.8%                93.8%                  45.2%               13.3%           6.2%
    2002              33.9%             15.5%                92.7%                92.6%                  45.2%               13.2%           6.0%
    2003              28.0%             15.2%                92.7%                92.9%                  45.3%               10.9%           5.9%
    2004              27.6%             14.9%                92.8%                92.9%                  45.3%               10.8%           5.8%
    2005              20.3%             14.3%                92.7%                93.5%                  45.4%                8.0%           5.6%
    2006              12.4%             12.0%                92.6%                93.3%                  45.4%                4.9%           4.7%
    2007               6.9%              5.1%                92.5%                93.2%                  45.3%                2.7%           2.0%
   Average            35.6%             15.6%                92.6%                93.2%                  45.1%               13.8%           6.1%


Note(s):          Averages are revenue-weighted across all years.
Data Source(s):   See Exhibit 84.
Source File(s):   total_damages_exhibits.xlsx
                  total_damages_exhibits.do
                  total_damages.do
                  quantity_database.do
                  average_price.do
                  class_shares.do
                  cdt_size_share.do
                  cpt_size_share.do
                  defendant_cdt_share.do
                  defendant_cpt_share.do
                  worldwide_production.do
                  total production.do
                  dta creator.do



                                                                                                                                              Exhibit 79
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Class CRT Expenditures by Product Type and Defendant Status

     Year                    CDT Expenditures by Class Members                                   CPT Expenditures by Class Members                          Total Expenditures
                                                                                                                                                            by Class Members
                     Defendants             Co-conspirators         Total               Defendants             Co-conspirators            Total
     1995              961,205,077              26,884,116         988,089,193            553,717,400               99,775,612           653,493,012              1,641,582,205
     1996            1,282,560,433              73,443,349       1,356,003,782            735,477,070              132,749,575           868,226,645              2,224,230,427
     1997            1,135,139,290              64,340,442       1,199,479,732            724,676,235              130,406,330           855,082,565              2,054,562,297
     1998              935,195,531              43,861,623         979,057,154            695,134,165              126,032,051           821,166,215              1,800,223,370
     1999            1,142,447,326              57,027,028       1,199,474,354            680,928,263              116,987,597           797,915,860              1,997,390,213
     2000            1,217,064,212              98,015,652       1,315,079,864            642,518,554              173,050,491           815,569,045              2,130,648,908
     2001              663,213,636              35,224,194         698,437,830            580,235,022              110,977,776           691,212,798              1,389,650,629
     2002              562,837,894              22,395,828         585,233,722            515,780,130              110,640,257           626,420,387              1,211,654,109
     2003              330,084,825               9,657,293         339,742,118            511,130,700              107,144,743           618,275,442                958,017,560
     2004              320,351,705               2,562,904         322,914,610            549,081,791               90,043,368           639,125,159                962,039,769
     2005              153,611,074                        0        153,611,074            417,717,958               66,326,671           484,044,628                637,655,702
     2006               56,079,170                        0         56,079,170            288,354,349               46,095,121           334,449,470                390,528,640
     2007               15,622,368                        0         15,622,368             88,597,501               14,044,303           102,641,804                118,264,172
     Total         $ 8,775,412,542          $ 433,412,429      $ 9,208,824,971        $ 6,983,349,136         $ 1,324,273,893        $ 8,307,623,030        $    17,516,448,001

Note(s):          Defendants include BMCC, Chunghwa, Daewoo/Orion, Hitachi, IRICO, LG Electronics, LPD, Matsushita, MTPD, Philips, Samsung, Samtel, Thai CRT, Toshiba, and
                  Videocon/Technologies Displays. Co-conspirators include Mitsubishi, Thomson, and Videocon.
Data Source(s):   See Exhibit 84.
Source File(s):   total_damages_exhibits.xlsx
                  total_damages_exhibits.do
                  total_damages.do
                  quantity_database.do
                  average_price.do
                  class_shares.do
                  cdt_size_share.do
                  cpt_size_share.do
                  defendant_cdt_share.do
                  defendant_cpt_share.do
                  worldwide_production.do
                  total production.do
                  dta creator.do




                                                                                                                                                                         Exhibit 80
                                     Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 386 of 1309


Nominal Damages Suffered by Class Members

     Year                                     CDT Damages                                                       CPT Damages
                                                                                                                                                             Total Damages
                     Defendants              Co-conspirators         Total               Defendants            Co-conspirators              Total
     1995              239,930,684                 6,710,664        246,641,348             52,405,565               9,443,079              61,848,644             308,489,993
     1996              320,145,627                18,332,522        338,478,149             69,607,875              12,563,839              82,171,714             420,649,863
     1997              283,347,178                16,060,305        299,407,483             68,585,650              12,342,067              80,927,717             380,335,200
     1998              233,438,325                10,948,495        244,386,821             65,789,695              11,928,072              77,717,766             322,104,587
     1999              285,171,370                14,234,771        299,406,140             64,445,203              11,072,076              75,517,279             374,923,420
     2000              303,796,823                24,466,124        328,262,947             60,809,987              16,378,045              77,188,032             405,450,980
     2001              165,547,712                 8,792,468        174,340,180             54,915,277              10,503,288              65,418,564             239,758,745
     2002              140,492,476                 5,590,322        146,082,798             48,815,062              10,471,344              59,286,406             205,369,204
     2003               82,393,945                 2,410,600         84,804,545             48,375,025              10,140,517              58,515,542             143,320,087
     2004               79,964,417                   639,738         80,604,155             51,966,836               8,521,989              60,488,825             141,092,981
     2005               38,343,545                          0        38,343,545             39,534,148               6,277,366              45,811,514              84,155,059
     2006               13,998,172                          0        13,998,172             27,290,767               4,362,588              31,653,355              45,651,527
     2007                1,915,358                          0         1,915,358              2,799,726                 443,807               3,243,533               5,158,891
     Total         $ 2,188,485,633          $    108,186,008    $ 2,296,671,641        $  655,340,815         $    124,448,077       $     779,788,893      $    3,076,460,534

Note(s):          Defendants include BMCC, Chunghwa, Daewoo/Orion, Hitachi, IRICO, LG Electronics, LPD, Matsushita, MTPD, Philips, Samsung, Samtel, Thai CRT, Toshiba, and
                  Videocon/Technologies Displays. Co-conspirators include Mitsubishi, Thomson, and Videocon.
Data Source(s):   See Exhibit 84.
Source File(s):   total_damages_exhibits.xlsx
                  total_damages_exhibits.do
                  total_damages.do
                  quantity_database.do
                  average_price.do
                  class_shares.do
                  cdt_size_share.do
                  cpt_size_share.do
                  defendant_cdt_share.do
                  defendant_cpt_share.do
                  worldwide_production.do
                  total production.do
                  dta creator.do




                                                                                                                                                                       Exhibit 81
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CRT Production and Market Shares Data Sources
                                                                                                                       Tube Type
                                                                                                     Dates Used          Used            Subdivision            Granularity
Defendant Production
Hitachi Displays, 2002, Untitled Spreadsheet, HDP-CRT00019322.                                     H1 1991 - H2 1999    CPT, CDT   Industry total quantities;   Semi-annually
                                                                                                                                   Hitachi total quantities
MT Picture Display, November 2006, Untitled Spreadsheet, MTPD-0416090.                             Q1 2000 - Q4 2006      CPT      Quantities by Manufacturer   Quarterly
Samsung, 11 December 2003, Worldwide CDT Manufacturer's Status, SDCRT-0201291.                     Q1 1998 - Q4 2000      CDT      Quantities by Manufacturer   Quarterly
Undated, CDT maker sales, CHU00071226.                                                             Q1 - Q4 2001           CDT      Quantities by Manufacturer   Quarterly


Third Party
DisplaySearch, 2003, DisplaySearch Quarterly Desktop Monitor Shipment and Forecast Report Q1'03,   Q1 - Q4 2002           CDT      By Manufacturer              Quarterly
CHWA00106460 - CHWA00106757.
DisplaySearch, 2003, Quarterly Desktop Monitor Shipment and Forecast Report, CHWA00062147 -        Q1 - Q4 2003           CDT      By Manufacturer              Quarterly
CHWA00062569.
DisplaySearch, 07 July 2005, Q2'05 Quarterly Desktop Monitor Shipment and Forecast Report,         Q2 2004 - Q1 2005      CDT      By Manufacturer              Quarterly
CHWA00088192 - CHWA00088762.
DisplaySearch, 30 September 2005, Q3'05 Quarterly Desktop Monitor Shipment and Forecast Report,    Q2 2005                CDT      Shares by Manufacturer;      Quarterly
CHU00281352 - CHU00281923.                                                                                                         quantities by size
DisplaySearch, 30 March 2007, Q1'07 Quarterly Desktop Monitor Shipment and Forecast Report,        Q3 2005 - Q4 2006      CDT      Shares by Manufacturer;      Quarterly
CHU00154037 - CHU00154420.                                                                                                         quantities by size




                                                                                                                                                                    Exhibit 82
                                  Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 388 of 1309


Direct Overcharge Data Sources
CRT Price & Quantity Data
Defendant data; see Exhibit 64.


Demand Data
Organisation for Economic Co-operation and Development, 03 January 2014, Quarterly National Accounts, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=90#, accessed
03 January 2014.
Organisation for Economic Co-operation and Development, 03 January 2014, Key Short-Term Economic Indicators: Harmonised Unemployment Rate, OECD.StatExtracts,
http://stats.oecd.org/index.aspx?queryid=21760, accessed 03 January 2014.


LCD Data
DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.

Glass Price Data
The Bank of Korea, Undated, Producer Price Indexes Bank of Korea, http://ecos.bok.or.kr/flex/EasySearch_e.jsp, accessed 10 October 2013.




                                                                                                                                                                           Exhibit 83
                                  Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 389 of 1309


Total Damages Data Sources
Worldwide quantity and Defendant market shares
CPT, Du, Ching-Yuan (Michael), 22 September 1995, Customer Contact Report, CHU00028305 - CHU00028310.
DisplaySearch, 07 July 2005, Q2'05 Quarterly Desktop Monitor Shipment and Forecast Report, CHWA00088192 - CHWA0008876,2 at 8484.
DisplaySearch, 2003, DisplaySearch Quarterly Desktop Monitor Shipment and Forecast Report Q1'03, CHWA00106460 - CHWA00106757, at 6730.
DisplaySearch, 2003, Quarterly Desktop Monitor Shipment and Forecast Report, CHWA00062147 - CHWA00062569, at 2427.
DisplaySearch, 30 March 2007, Q1'07 Quarterly Desktop Monitor Shipment and Forecast Report, CHU00154037 - CHU00154420, at 4389 - 4390.
DisplaySearch, 30 September 2005, Q3'05 Quarterly Desktop Monitor Shipment and Forecast Report, CHU00281352 - CHU00281923, at 1644 - 1645.
Hitachi Displays, 2002, Untitled Spreadsheet, HDP-CRT00019322.
LG Philips Displays, 02 December 2003, LG.Philips Displays to restructure its European industrial production infrastructure, PHLP-CRT-001323 - PHLP-CRT-001556, at 1370.
MT Picture Display, November 2006, Untitled Spreadsheet, MTPD-0416090, at Tab ‘Supply DB’.
Samsung, 11 December 2003, Worldwide CDT Manufacturer's Status, SDCRT-0201291.
Undated, CDT maker sales, CHU00071226.

Class share of worldwide market
Census Bureau, 29 December 1999, 1990 to 1999 State Population Estimates, http://www.census.gov/popest/archives/1990s/ST-99-03.txt, accessed 22 May 2009
Census Bureau, December 2009, Population, population change and estimated components of population change: April 1, 2000 to July 1, 2009 (NST-EST2009-alldata),
http://www.census.gov/popest/national/files/NST_EST2009_ALLDATA.csv, accessed 19 May 2011.
DisplaySearch, May 2011, Analysis Group, Inc. Custom Data Project, DISP_LCD_000129.
Japanese Electronics and IT Industries Association, June 2001, Worldwide CPT Demand by Area, HDP-CRT00057341.
OECD.StatExtracts, Undated, National Accounts, http://stats.oecd.org/Index.aspx?DataSetCode=SNA_TABLE1, accessed 01 October 2013.
Bureau of Economic Analysis, 28 April 2011, Final Sales of Domestic Computers, http://www.bea.gov/, accessed 01 October 2013.

Size-weighted average prices
all_defendants_dropexout_collapsed.dta. See Exhibit 64 for underlying sources.
28 August 2000, Philips Display Components North America: 1998 - 2002 Strategy Review, FOX00007278.
MT Picture Display, November 2006, Untitled Spreadsheet, MTPD-0416090, at Tab ‘Supply DB’.
Samsung, 11 December 2003, Worldwide CDT Manufacturer's Status, SDCRT-0201291.
DisplaySearch, 30 March 2007, Q1'07 Quarterly Desktop Monitor Shipment and Forecast Report, CHU00154037 - CHU00154420, at 4389 - 4390.
DisplaySearch, 30 September 2005, Q3'05 Quarterly Desktop Monitor Shipment and Forecast Report, CHU00281352 - CHU00281923, at 1644 - 1645.
DisplaySearch, 07 July 2005, Q2'05 Quarterly Desktop Monitor Shipment and Forecast Report, CHWA00088192 - CHWA00088762, at 8484.




                                                                                                                                                                           Exhibit 84
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 5
     Lead Counsel for the Indirect Purchaser Plaintiffs
 6

 7

 8
                               UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10

11                                  SAN FRANCISCO DIVISION

12   IN RE: CATHODE RAY TUBE (CRT)  )                Master File No. CV-07-5944 SC
     ANTITRUST LITIGATION           )
13                                  )                MDL No. 1917
                                    )
14                                  )                ERRATA TO THE EXPERT REPORT OF
15                                  )                JANET S. NETZ, PH.D
                                    )
16                                  )
     This document relates to:      )
17                                  )
     ALL INDIRECT PURCHASER ACTIONS )                The Honorable Samuel Conti
18                                  )
19

20

21

22

23

24

25

26

27

28

                               EXPERT REPORT OF JANET S. NETZ, PH.D
       Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 392 of 1309
Confidential               ERRATA TO THE EXPERT REPORT OF JANET S. NETZ, Ph.D.                         Page 1 of 1


Change the final paragraph in Section VIII.A.2.c)(5) (p. 39):
           $13.43 on line three becomes $11.82
           $3.60 on line four becomes $3.41
Replace Section XI.F (p.123) with:
           I estimated a reduced-form price equation to identify the effect of the cartel on CRT
           prices. In addition to controlling for economic price determinants I included indicator
           variables that were equal to one during a portion of the cartel period and zero outside of
           the cartel period. The estimated coefficients on the indicator variables give an estimate of
           the percentage by which the cartel price was above the but-for (or competitive) price.
           Before calculating damages, I adjust the estimates to account for the semi-log functional
           form of the estimation equation1 and I convert the estimates to express the overcharge
           relative to the cartel price rather than relative to the but-for price.2 The but-for CDT
           prices for 1995-2006 would have been 22.0% lower than the cartel price and for 2007
           11.4% lower; the but-for CPT prices for 1995-2006 would have been 9.0% lower than the
           cartel price and for 2007 3.1% lower.
           Damages to indirect purchaser class members were calculated as class expenditures
           multiplied by the overcharge rate relative to the cartel price multiplied by the pass-
           through rate. I calculated damages separately for each application type (CPTs and CDTs)
           as well as separately for two groups of CRT manufacturers, Defendants and Co-
           conspirators. The cartel imposed damages of $2.8 billion on class members; see Exhibit
           ER-81.
Replace Exhibit 81 with Exhibit ER-81.




1
  Kennedy, Peter E., September 1981, Estimation with Correctly Interpreted Dummy Variables in Semilogarithmic
Equations, The American Economic Review, Volume 71, No. 4, 801. Specifically, the direct estimate on the cartel
indicator coefficient, , was adjusted according to the formula: exp −         − 1, where exp denotes the
exponential function and denotes the estimated variance. Let the adjusted coefficient, which gives the overcharge
rate relative to the but-for price, be denoted    .
2
    The overcharge rate relative to the cartel price,   , was obtained by the following conversion:      =
             .
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I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief. This declaration was executed on the            Yrd day of July 2014, at
Ann Arbor, Michigan.




JANET S. NETZ

                                                el
Subscribed and sworn to before me this 1 day of July 2014.

                                 ffirlbwelbodaiellimewilhwa•Ah-damiliwo
                                                                      b
                                           BRIAN P ROSEWARNE            I
                                         Notary Public - Michigan       I
                                            Washtenaw County
Notary Public                 I    My Commission Expires May 20, 2021
                                                                        I
                              4 Acting in the County of
                              erww-wwwww• ■■•■■•■••■■mlIP++"1
My commission expires: _
                                     Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 394 of 1309


Nominal Damages Suffered by Class Members

     Year                                     CDT Damages                                                       CPT Damages
                                                                                                                                                             Total Damages
                     Defendants              Co-conspirators         Total               Defendants            Co-conspirators              Total
     1995              211,642,724                 5,919,473        217,562,197             49,902,197               8,991,992              58,894,189             276,456,386
     1996              282,400,281                16,171,107        298,571,388             66,282,767              11,963,676              78,246,443             376,817,831
     1997              249,940,390                14,166,786        264,107,175             65,309,373              11,752,498              77,061,871             341,169,046
     1998              205,915,818                 9,657,662        215,573,480             62,646,979              11,358,278              74,005,257             289,578,736
     1999              251,549,508                12,556,483        264,105,991             61,366,712              10,543,173              71,909,885             336,015,876
     2000              267,979,010                21,581,554        289,560,564             57,905,147              15,595,681              73,500,828             363,061,392
     2001              146,029,545                 7,755,831        153,785,377             52,292,022              10,001,555              62,293,577             216,078,953
     2002              123,928,335                 4,931,220        128,859,556             46,483,209               9,971,137              56,454,346             185,313,901
     2003               72,679,653                 2,126,389         74,806,042             46,064,192               9,656,113              55,720,306             130,526,348
     2004               70,536,568                   564,313         71,100,881             49,484,426               8,114,901              57,599,327             128,700,208
     2005               33,822,820                          0        33,822,820             37,645,636               5,977,502              43,623,138              77,445,958
     2006               12,347,779                          0        12,347,779             25,987,111               4,154,191              30,141,302              42,489,081
     2007                1,780,923                          0         1,780,923              2,744,249                 435,013               3,179,262               4,960,185
     Total         $ 1,930,553,355          $     95,430,818    $ 2,025,984,173        $  624,114,021         $    118,515,708       $     742,629,729      $    2,768,613,903

Note(s):          Defendants include BMCC, Chunghwa, Daewoo/Orion, Hitachi, IRICO, LG Electronics, LPD, Matsushita, MTPD, Philips, Samsung, Samtel, Thai CRT, and Toshiba. Co-
                  conspirators include Mitsubishi, Thomson, and Videocon.
Data Source(s):   See Exhibit 84.
Source File(s):   total_damages_exhibits.xlsx
                  total_damages_exhibits.do
                  total_damages.do
                  quantity_database.do
                  average_price.do
                  class_shares.do
                  cdt_size_share.do
                  cpt_size_share.do
                  defendant_cdt_share.do
                  defendant_cpt_share.do
                  worldwide_production.do
                  total production.do
                  dta creator.do




                                                                                                                                                                   Exhibit ER-81
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                     UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

                        SAN FRANCISCO DIVISION


IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION
                                            Master File No. CV-07-5944-SC
This document relates to:                   MDL No. 1917
ALL INDIRECT PURCHASER ACTIONS




                 EXPERT REPORT OF ROBERT D. WILLIG




                                   8/5/14
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I.      Introduction
     A. Qualifications
        1. I am a Professor of Economics and Public Affairs at the Woodrow Wilson School and
        the Economics Department of Princeton University, USA. I am also a Senior Consultant
        at Compass Lexecon, an economics consulting firm based in the U.S. Previously, I was a
        Supervisor in the Economics Research Department of Bell Laboratories. My teaching and
        research have specialized in the fields of industrial organization, government-business
        relations, and welfare theory.

        2.   I have extensive experience analyzing economic issues arising under the law. From
        1989 to 1991, I served as Chief Economist in the Antitrust Division of the U.S.
        Department of Justice, where I led the development of the 1992 Horizontal Merger
        Guidelines. I met with outsiders, weighed evidence, and participated in decisions on
        when to use enforcement power. Core to my work were issues pertaining to alleged
        conspiracies and market competition. I am the author of Welfare Analysis of Policies
        Affecting Prices and Products and Contestable Markets and the Theory of Industry
        Structure (with William Baumol and John Panzar) as well as numerous articles. I have
        served on the editorial boards of The American Economic Review, The Journal of
        Industrial Economics, and the MIT Press Series on Regulation. Also, I have served as a
        consultant and advisor to the Federal Trade Commission, the Department of Justice, the
        OECD, the Inter-American Development Bank, the World Bank, and the governments of
        many nations.

        3. My curriculum vitae, which includes a list of my publications, is at Attachment 1. A
        list of matters in which I have given sworn testimony as an expert during the past four
        years, at trial or in deposition, is at Attachment 2.

     B. Assignment
        4. The Plaintiffs, a class of indirect purchasers (“IPPs”), allege that the manufacturers of
        color picture tubes (“CPTs”) and color display tubes (“CDTs”) acted in concert to elevate




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         prices of CPTs and CDTs between March 1, 1995 and November 25, 2007 (the class
         period).1 I have been asked by counsel for several Defendants2 to assess whether the
         economic analyses related to CPT damages provided by Dr. Janet Netz, the economic
         expert for the IPP class,3 provide a reliable and sound basis to estimate damages to the
         IPP class.

         5. In my report, I do not assess the impact (if any) of the alleged CPT cartel on the
         prices of televisions purchased by members of the IPP class during the class period. I
         understand that this assessment will be a subject of Professor Janusz Ordover’s testimony
         in the instant litigation. My report will focus entirely on the impact of the putative CPT
         cartel on CPT prices.




1
  The named Defendants are: Panasonic Corporation, Panasonic Corporation of North America,
MT Picture Display Co., Ltd.; Koninklijke Philips Electronics N.V., Philips Electronics North
America Corporation, Philips Electronics Industries (Taiwan), Ltd.; Philips da Amazonia
Industria Electronica Ltda.; Samsung SDI Co., Ltd., Samsung SDI America, Inc., Samsung SDI
Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co., Ltd., Tianjin
Samsung SDI Co., Ltd, Samsung SDI (Malaysia) Sdn. Bhd.; Toshiba Corporation, Toshiba
America, Inc., Toshiba America Consumer Products, L.L.C., Toshiba America Information
Systems, Inc., Toshiba America Electronic Components, Inc.; Beijing-Matsushita Color CRT
Company; Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi America, Ltd.,
Hitachi Asia, Ltd., Hitachi Electronic Devices (USA), Inc.; P.T. Tosummit Electronic Devices
Indonesia; IRICO; Thai CRT Co.; Samtel Color, Ltd.; Shenzhen SEG Hitachi Color Display
Devices, Ltd.; and LP Displays International.
2
  I have been retained by Winston & Strawn LLP representing Panasonic Corporation of North
America, MT Picture Display Co., Ltd., and Panasonic Corporation (f/k/a Matsushita Electrical
Industrial Co.); Kirkland & Ellis LLP representing Hitachi, Ltd., Hitachi Asia, Ltd., Hitachi
America, Ltd., Hitachi Electronic Devices (USA), Inc., and Hitachi Displays, Ltd. (n/k/a Japan
Display Inc.) (collectively, the “Hitachi Defendants” or “Hitachi”); White & Case LLP
representing Toshiba America Consumer Products, L.L.C., Toshiba America Electronic
Components, Inc., Toshiba America, Inc., Toshiba America Information Systems, Inc., and
Toshiba Corporation; Sheppard, Mullin, Richter & Hampton LLP representing Samsung SDI
America, Inc., Samsung SDI Co. Ltd., Samsung SDI (Malaysia) Sdn. Bhd., Samsung SDI
Mexico S.A. De C.V., Samsung SDI Brasil Ltda., Shenzen Samsung SDI Co., Ltd., and Tianjin
Samsung SDI Co., Ltd.; and Baker Botts LLP representing Koninklijke Philips N.V., Philips
Electronics North America Corporation, Philips Taiwan Limited, and Philips do Brasil Ltda.
3
    Expert Report of Janet S. Netz, Ph.D., April 15, 2014 (hereafter “Netz Damages Report”).



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        6. A list of the information and data I have relied upon in forming the opinions
        expressed herein is attached at Attachment 3. My opinions expressed herein are based on
        those materials and data, my analyses and opinions explained in the three expert reports
        that I have filed in the class-certification stage of the instant litigation,4 my knowledge
        and experience in industrial organization economics and antitrust economics, my
        experience in antitrust enforcement at the Department of Justice, and my experience in
        advising and consulting with clients on competition matters over the past 35 years, both
        here and abroad.

        7. The opinions expressed in this report reflect the information and facts I believe to be
        true at the time this report is filed. I reserve the right to revise my opinions if additional
        information and facts supplied in discovery or through subsequent expert reports and
        depositions make such revisions appropriate.

        8. Compass Lexecon is being compensated for my work at my usual hourly rate of
        $1350, which is the same rate for research and testimony. This compensation is in no way
        connected to the outcome of this litigation.


II.     Summary of Conclusions
        9. I have reached the following conclusions in this matter:

            a)      Market conditions for CPTs differed materially from conditions for CDTs. As
                    such, it makes economic sense to analyze the impact and damages of the
                    alleged cartel separately for CPTs and CDTs.
            b)      Salient characteristics of the CPT industry were not conducive to effective and
                    sustained class-wide elevations of CPT prices resulting from collusion.
            c)      Defendants’ conduct was inconsistent with a sustained and effective CPT
                    cartel.




4
 Expert Report of Robert D. Willig, Indirect Purchaser Class Action, December 17, 2012,
Rebuttal Declaration of Robert D. Willig, Indirect Purchaser Class Action, March 25, 2013, and
Expert Report of Robert D. Willig, Direct Purchaser Class Action, September 10, 2013 (hereafter
“Willig Class Action Reports”).



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          d)      Straightforward evidence on CPT prices, margins and capacity do not support
                  Dr. Netz’s claim of a highly successful CPT cartel.
          e)      Dr. Netz’s model of CPT overcharges undermines her claim that the alleged
                  cartel had a class-wide impact because it finds potentially no damages after
                  1997 and potentially no damages for large CPTs.
          f)      Dr. Netz’s model of CPT overcharges is fundamentally unreliable and does
                  not validly support a claim of substantial overcharges. In particular, Dr. Netz’s
                  model crucially assumes that the model includes all material economic
                  determinants of CPT prices and also that the underlying relationships between
                  the economic factors and CPT prices did not change materially during the 18-
                  year estimation period. As such, the model assumes that the only reason (after
                  controlling for the included economic factors) that prices were higher during
                  the class period is the alleged collusive conduct by manufacturers. However,
                  standard tests show that relationships between CPT prices and the economic
                  variables included in Dr. Netz’s model were not at all stable during the 18-
                  year period (consistent with dramatically changing market conditions for
                  CPTs). Moreover, the model excludes basic economic determinants (such as
                  product quality) of CPT prices. For both these reasons, Dr. Netz’s model
                  produces completely unreliable estimates of collusive overcharges.
          g)      Despite these fundamental flaws, if Dr. Netz’s model were to be used to
                  estimate CPT overcharges, then her model should be modified to better
                  control for changes in market conditions. Making reasonable modifications to
                  her model to include relevant economic variables and better control for
                  changes in market conditions result in an estimated CPT overcharge of 2.3%
                  during the 1995-2006 period and a negative overcharge in 2007. Although
                  these corrections improve Dr. Netz’s model of CPT overcharges, they do not
                  remedy the fundamental flaw described in this report.
       10. Each of the above conclusions is explained in an associated section in the rest of this
       report, starting with the economic reasons for analyzing CPTs separately from CDTs.


III.   It Makes Economic Sense to Analyze the Impact of the Alleged Cartel
       on CPTs Separately from CDTs.
       11. I understand that CPTs were used predominantly in televisions, whereas CDTs were
       used predominantly in desktop computer monitors and were not used in televisions. The
       two were not substitutes from the standpoint of manufacturers of monitors and TVs (i.e.,
       customers of CRT manufacturers) because of differences in resolution, electrical current




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         tolerances and brightness.5 On the supply side, CDTs were manufactured mostly in Asia
         and shipped in monitors to consumer markets.6 For example, about 10% of global CDT
         production occurred outside of Asia between 1998 and 2002, whereas about 50% of CPT
         production was outside Asia during the same period.7 In contrast, the manufacture of
         CPTs and TVs was more geographically dispersed. For example, a majority of CPTs sold
         in North America were manufactured in North America during the class period.8

         12. CPTs and CDTs were affected by differentiated market forces. For example,
         competition from LCDs impacted CRT monitors earlier and to a greater extent than CRT
         TVs.9 The differential impact of LCDs on TVs and monitors is evident in Exhibit 1.
         Shares of CRT desktop monitors and TVs sold globally began to decline around 2000,
         but the decline was earlier and greater for CRT monitors. Exhibit 1 shows that CRT
         desktop monitors accounted for 91% of global desktop monitor sales in early 2001 but
         only 10% of such sales by the end of 2007. CRT TVs’ share of global TV sales also




5
  I understand that CPTs and CDTs are characterized by several different properties. A key
product feature of CPTs is high brightness, while CDTs are characterized by high resolution. The
two CRT types also exhibit different mask and phosphor structures. (SDCRT-0021278-SDCRT-
0021294 at 1288). Additionally, there is a tradeoff between the two products with regard to
resolution and the power the CRT is able to withstand. CDTs are not able to withstand the
current of a television due to their thin masks, which are needed to produce a high resolution,
while CPTs do not have a high enough resolution to be used in monitors but are able to withstand
a higher current than CDTs. (Deposition of Tatsuo Tobinaga, July 16-17, 2012 (“Tobinaga
(Panasonic Corporation, PNA, MTPD) Deposition”) p. 143.)
6
 See, e.g., Deposition of Sang-Kyu Park, Volume III, March 22, 2013, (“Sang-Kyu Park (SDI)
Deposition”) p.340.
7
    Exhibits 48 and 51, Netz Damages Report.
8
 Deposition of Jay Heinecke, July 31, 2012 (“Heinecke (TAEC) Deposition”), p. 64; Deposition
of Jaein Lee, June 6-7, 2012, (“Lee (SDI) Deposition”), pp. 133-134, 179-180; Deposition of
Michael Son, February 5-6, 2013 (“Son (SDI) Deposition”), p. 193.
9
  Contemporaneous documents acknowledge the differential impact of LCD competition on
monitors and TVs. See, e.g., PHLP-CRT-049353 (a February 2004 presentation), which notes
that “LCD technology development has exceeded all expectations” and that “CRT monitors are
more severely affected by LCD demand.” (p. 3)



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       declined during this time period, albeit more slowly: CRT TVs accounted for nearly
       100% of global TV sales in early 2001 and 48% by the end of 2007.10

       13. Given the differential impact of LCD and plasma competition on CPTs and CDTs, it
       would not be surprising to find very different price dynamics for them. Consistent with
       this view, my analyses of CRT pricing data demonstrate that global prices of CDTs fell
       more and earlier than prices of CPTs after 2000, as illustrated in Exhibit 2. The chart
       tracks average prices (measured using chained Fisher Indices11, 12) of CPTs and CDTs
       sold globally during the class period. As illustrated in Exhibit 2, the average prices of
       CDTs and CPTs fell during much of the period, but the average price of CDTs declined
       more than the average price of CPTs after 2000. This is consistent with the view that
       CDTs faced greater competition from LCDs than did CPTs. More generally, the fact that
       the relative prices of CPTs and CDTs sometimes deviated substantially for sustained
       periods of time during the class period (see Exhibit 2) is further evidence that CPTs and
       CDTs were affected by differentiated market forces.



10
  I exclude rear-projection CRT TVs from my analyses since I understand that they are not part
of the instant litigation.
11
  The quarter-to-quarter change in the Fisher Price Index for CPTs (for example) represents an
average of the percentage price changes for CPT models sold to the same customer in both
quarters. The price changes across quarters 1 and 2 are averaged in two ways ‒ once using the
quarter 1 sales volumes as weights and once using the quarter 2 sales volumes as weights. The
change in the Fisher Price Index represents the geometric mean of the two average price changes.
12
  Fisher Indices (or more precisely, chained Fisher Indices of the type I employ) are an accurate
way to track changes in average prices of CRTs over time because they remove from price trends
the effect of changes in product mixes. (Diewert, W. E. (1993). The Early History of Price Index
Research & Fisher Ideal Output, Input and Productivity Indexes Revisited. In W.E. Diewert and
A.O. Nakamura (Eds.), Essays in Index Number Theory, Volume I, Elsevier Science Publishers.
pp. 58, 320-330; International Labour Organization. (2004). Consumer Price Index Manual:
Theory and Practice. International Labour Organization. pp. 6-32.) This is important because the
mix of CRTs changed substantially during the class period, with the advent of higher-quality flat,
wide-screened, high resolution CRTs that were introduced in response to LCD and plasma
competition. Since these high-quality CRTs were priced higher than lower quality CRTs,
ignoring the improvement in product quality over time would mask declines in prices for CRTs
of similar quality, and hence I remove the effects of changes in product mix by using Fisher
Indices.



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         14. Dr. Netz’s decision to analyze CPT and CDT pricing dynamics separately in her
         report indicates that she also recognizes that these two segments were affected by
         different market forces and by the same market forces differently. For example, Dr. Netz
         analyzes the relationship between actual prices and alleged target prices separately for
         CPTs and CDTs. In doing so, she allows for the possibility that the relationships between
         target prices as well as various market conditions and actual prices were different for
         CPTs and CDTs,13 and indeed her CPT and CDT models produce different estimates of
         these relationships.14 Similarly, Dr. Netz estimates overcharges for CPTs separately from
         CDTs, thereby allowing for the possibility that market factors and the putative cartel had
         very different impacts on prices for CPTs and CDTs,15 and her CPT and CDT pricing
         models produce very different overcharge estimates for CPTs and CDTs.16

         15. In sum, I conclude that it makes economic sense to analyze the impact of the alleged
         cartel on CPT prices separately from CDTs. In the next section, I examine the structural
         features of the CPT industry to see if they are consistent with characteristics identified by
         economic theory as conducive to effective cartelization.


IV.      Characteristics of the CPT Marketplace Were Not Conducive to
         Sustained and Effective Collusion
         16. Economic theory has established that cartels in industries with certain characteristics
         are less likely to be effective than cartels in industries without those features. Many of
         these features are found in the CPT industry during the relevant period.




13
     Netz Damages Report, p. 65.
14
     Netz Damages Report, Exhibits 37-38 and 44-45.
15
  Netz Damages Report, pp. 104-105 (“Some case evidence suggests that prices of CDTs and
CPTs did not respond to changes in market conditions in the same manner, therefore, I estimated
separate CDT and CPT regressions.”)
16
  Dr. Netz estimates that the overcharge during the 1995-2006 period was 22% for CDTs and
9% for CPTs. See Errata to the Expert Report of Janet S. Netz, Ph. D, July 3, 2014 (“Netz
Damages Report Errata”), p. 1.



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     A. Availability of substitutes: Competition from LCD and plasma technologies
        17. Economic theory indicates that the availability of attractive substitutes for a cartelized
        product constrains the ability of a putative cartel to achieve and sustain substantial
        increases in prices.17 As noted above, from the early 2000s onward, fierce competition
        from LCD and plasma display technologies rapidly shrank the CPT share of the
        television market. Not only did competition from flat screen technologies reduce sales of
        CRT TVs, such competition constrained prices of CPTs and hence limited the ability of
        the putative CPT cartel to elevate CPT prices.

        18. The influence of competition from flat screen technologies on CRT prices is evident
        in the fact that CRT prices fell fastest in the segments in which CRTs were displaced by
        flat screen technologies earlier and faster. For example, as explained above, competition
        from flat screen technologies eroded sales of CRT monitors earlier and faster than CRT
        TVs. Consistent with the greater competition that CDTs faced from flat screen
        technologies, Exhibit 2 shows that CDT prices declined faster than CPT prices once LCD
        products became more price competitive after 2000.

        19. Similarly, differential impacts of flat screen competition on different sizes of CPTs
        provide evidence of the price constraining effects of flat screen competition. Specifically,
        LCD and plasma technologies displaced sales of large CRT TVs earlier and more
        significantly than sales of small and medium CRT TVs. As shown in Exhibit 3, the global
        penetration of CRT TVs larger than or equal to 25 inches shrank from 95% in 2001 to
        just 33% by late 2007,18 while the penetration of CRT TVs below that size declined by
        less – from nearly 100% to about 79% during the same period. Consistent with the
        greater competition that large CPTs faced from flat screen technologies, Exhibit 4 shows




17
  Church, J, and Ware, R. (2000) Industrial Organization: A Strategic Approach. McGraw Hill.
P.314.
18
  Contemporaneous documents classified TVs equal to or larger than 25 inches as “large.” See
e.g., PHLP-CRT-088309.ppt, p.4.


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          that prices of large CPTs19 declined faster than prices of small and medium-sized CPTs
          once flat screen products became more price competitive after 2000.

          20. In her expert report, Dr. Netz acknowledges that flat screen technologies rapidly
          displaced CPTs and CDTs during the class period.20 Nonetheless, Dr. Netz contends that
          competition from LCD and plasma technologies could not have constrained the prices of
          CRTs and CRT finished products because flat screen products were priced substantially
          higher than CRT finished products.21 This claim is incorrect as a matter of economic
          logic. It is also inconsistent with the record evidence and Dr. Netz’s own analyses.

          21. As a matter of economic logic and common sense, higher priced LCD TVs would
          have constrained lower priced CRT TVs (and by extension, prices of CPTs) if a material
          number of consumers considered CRT TV prices to be only marginally lower than LCD
          TV prices after adjusting for differences in quality. Inasmuch as at least some consumers
          viewed CRT TVs to be inferior to LCD TVs (for example due to the bulk and weight of
          the former22) to the point where they only marginally preferred CRT TVs at prevailing
          prices, then those consumers likely would be willing to switch to LCD TVs in the event
          of even a small increase in the relative price of CRT TVs. If there were a substantial
          number of such marginal consumers, then CRT TV prices and CPT prices would have
          been effectively constrained by LCD products.


19
   Unless otherwise stated, for the purpose of my analyses, I define “large” CPTs to be CPTs that
are at least 26 inches in actual diagonal length. TV size is measured in terms of the viewable
diagonal length (see CFR-2011-title16-vol1-part410.pdf), whereas CPT size in the relevant CPT
data is measured in terms of the actual diagonal length of CPTs. (The actual CPT size is 1 inch
larger than viewable size for 25-inch viewable size. See e.g., MTPD-0122906.xls and 033 -
2011-06-01.pdf.)
20
     Netz Damages Report, p. 35, Exhibits 13 and 14.
21
     Id., pp. 35-41.
22
  Contemporaneous documents refer to disadvantages of CRT TVs perceived by consumers.
E.g., “As LCD prices fall CRTs will lose share;” “CRTs are boxy, heavy, thick and consume
more power than competing technologies;” “Consumers [sic] belief that digital/HDTVs require
non-CRT solution and that the CRT forma factory is old fashioned.” (TAEC00006084.
Shulklapper, Andrew. DisplaySearch HDTV Forum 2004: Accelerating the HDTV Transition,
August 24-26, p. 11. See also pp. 4-17.)



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       22. Evidence that there were, in fact, a substantial number of marginal consumers during
       the class period, and hence evidence that prices of CRTs (including CPTs) were
       constrained by flat screen technologies, is found in the relatively greater declines in CRT
       prices in segments in which CRT sales lost ground to flat screen technologies relatively
       earlier and faster (as explained above).

       23. Further evidence of the constraint imposed by flat screen technologies on CPT prices
       is found in Dr. Netz’s own CPT overcharge econometric analysis. In that analysis, she
       employs an econometric model to explain the variation in the prices of CPTs. Dr. Netz
       estimates that increasing LCD penetration over time had a statistically significant impact
       on CPT prices. The impact was also economically significant as evidenced by the fact
       that she estimates that an increase in LCDs’ market share from 0.3% to 60% was
       associated with a 30% decrease in the price of CPTs (all else being equal).23 Clearly, CPT
       prices were materially constrained by LCDs according to Dr. Netz’s own CPT
       overcharge model.

       24. Further evidence of the impact of LCD competition on CPT prices as well as on non-
       price features of CPTs is found in contemporary documents. Such documents show that
       CPT manufacturers lowered prices in response to the competitive pressure exerted by
       LCD TVs.24 They also show that CPT manufacturers responded to competition from flat
       screen technologies by improving CPTs. For example, manufacturers increased their
       offerings of flat screen CPTs. (“To compete with the flat panels, the CPT makers and TV




23
  Dr. Netz estimates the share of LCD shipments (LCD penetration) as the ratio of (a) LCD
panel shipments and (b) the sum of LCD panel and CPT shipments in each quarter during the Q1
1993- Q1 2011 period. (Data from this period are used by Dr. Netz to estimate CPT
overcharges.) The 25th percentile of this LCD share variable equals 0.3% and the 75th percentile
equals 59%. Between 2000 and 2011, LCD’s share increased from almost zero to more than
90%. Hence, the 0.3%-60% increase in the LCD share used as an example here is well within the
range of LCD shares observed in the data.
24
  See, for example, Market Visitation Report, CHU00030071.01E-CHU00030078E at
CHU00030078E, November 7, 2003 (“Traditional TV must continue to lower down prices.
Under the pressure from LCD TV- prices for tube decrease [sic]”).



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        OEMs are boosting production of flat-face CRTs.”25) Clearly, CPT manufacturers altered
        their conduct in response to competition from flat screen technologies. The impact of
        such competition likely constrained the ability of the putative cartel to elevate prices
        during many years of the class period.

     B. CPT heterogeneity, price complexity and opaqueness
        25. CPTs were widely differentiated along many dimensions. CPT pricing depended on
        CPT size, shape (curved or flat), finish (whether a CRT is shipped with a deflection yoke
        (“ITC”) or without it (“bare”)), and the type of “mask”26 included in the CPT. A
        particular CPT model was not easily interchangeable with other CPT models, even those
        that may have shared similar basic features. Each CPT model was designed to fit the
        specific technical requirements of a particular finished product requested by a customer.
        For example, the electrical components of the CPT and the connection points between the
        CPT and the external casing were specific to a given customer’s finished product
        design.27 Such customization limited the ability of a finished product manufacturer to
        interchange different CPT models for a given finished product.28

        26. The heterogeneity in CPT prices is illustrated in Exhibit 5, which shows a substantial
        amount of CPT price dispersion in each quarter. Taking Q3 2001 as an illustrative


25
  iSuppli, “Flat-Panel Sets Gain Strong Footing in TV Market”, Television Systems, Market
Tracker – Q1 2006, CHU00154658 – CHU00154694 at CHU00154673.
26
  The “shadow mask” is a finely perforated screen that ensures that an electron beam strikes the
correct phosphor dot. “In a colour picture tube, it is absolutely necessary to ensure that each of
the three electron beams strikes only one phosphor in each triad. For this purpose, a mask, called
a shadow mask or an aperture mask, is inserted between the neck of the picture tube and the
phosphor dot screen.” (Bali, S. P. (1994). Colour Television: Theory and Practice. Delhi: Tata
McGraw-Hill Publishing Company Limited. p. 83)
27
  Tobinaga (Panasonic Corporation, PNA, MTPD) Deposition, p. 142; Deposition of Toru
Iwasawa, July 11, 2012 (“Iwasawa (Hitachi) Deposition”), pp. 29-30.
28
  For example, according to a Philips witness, customers could not always interchange a Philips
CPT for another manufacturer’s CPT without significant modifications to the finished product.
(Deposition of Roger de Moor, July 31 - August 1, 2012 (“de Moor (PENAC) Deposition”), pp.
141-143.) An SDI witness testified that customers would take up to a year to qualify new
suppliers of CPTs. Lee (SDI) Deposition, p. 213.



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       example, 10% of CPT sales volume were at prices below $27 and 10% were above $163
       (i.e., more than 5x higher). Substantial price variation can be observed in Exhibit 5 for
       other quarters. This price variation was due to differences in product and customer
       characteristics, as well as associated differences in competitive pressures.29

       27. Pricing complexity and diversity have been cited in testimony by executives from
       CPT manufacturers as reasons why manufacturers were unable to reliably assess the
       prices of other CPT manufacturers.30 Economic theory shows that when prices are
       opaque, members of a cartel would have trouble monitoring fellow cartel members’
       conduct and detecting and punishing deviations from any agreements in a timely and
       effective way.31 Opaque and complex pricing are all the more likely to have eroded the
       effectiveness of the alleged cartel because there were major changes in the industry
       during the class period such as the growing competitive presence of LCD and plasma
       technologies.32 Under such conditions, it would be hard for cartel members to separate


29
  Each observation in Exhibit 5 represents the average price at which a specific CPT model was
sold to a specific customer in a specific quarter. Weighting observations by sales volume does
not alter my conclusion that CPT prices in any given quarter exhibited substantial heterogeneity.
For example, on average (across quarters in the class period), the 90th percentile of the sales-
volume-weighted distribution of CPT prices in a given quarter was 88% higher than the weighted
average CPT price for that quarter, and the 10th percentile of the distribution was 62% below the
weighted average CPT price for that quarter. Put differently, on average, the 90th percentile of
the sales-volume-weighted distribution of CPT prices in a given quarter was about 4.9 times as
expensive as the 10th percentile.
30
  See, for example, Deposition of Yoshiaki Uchiyama (TACP), August 1, 2012 (“Uchiyama
(TACP) Deposition”), pp. 51-52.
31
 See, e.g., Church, J., and Ware, R. (2000) Industrial Organization: A Strategic Approach.
McGraw-Hill. p. 340.
32
  The shift from analog TV to digital TV in the U.S. was another notable change in the CRT
marketplace during the class period. In particular, widescreen and high definition digital CPTs
differed from analog CPTs and from CPTs used to display standard definition digital broadcasts.
(United States International Trade Commission. (2000). Color Picture Tubes from Canada,
Japan, Korea, and Singapore, Investigations Nos. 731-TA-367-370 (Review), Determinations
and Views of the Commission. USITC Publication No 3291. pp. 21-22.) Other changes during the
class period include substantial changes in the characteristics of CPTs, shifts in CPT production
and consumption to lower-income countries, and the exit of firms such as Hitachi from the
industry (see §VIII.A of this report). (It is my understanding that the Hitachi Defendants ceased
                                                                                  (footnote continued …)


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         price changes due to technology disruptions and other market changes unrelated to the
         alleged cartel from price changes due to cheating. Moreover, the sheer diversity of CPT
         prices due to the heterogeneity of products would have likely hindered the ability of CPT
         manufacturers to reach an effective agreement during any negotiations over CPT prices
         and outputs.

     C. Asymmetries among CPT suppliers and vertical integration.
         28. During the class period, several large CPT manufacturers were vertically integrated
         and manufactured finished CPT products (i.e., TVs) while others were not. Specifically, I
         understand that Hitachi was vertically integrated for some finished products during part
         of the class period, while Chunghwa, LPD, and SDI were not. I also understand that
         Panasonic Corporation and Toshiba Corporation were each vertically integrated for some
         finished products through at least March 2003 when they formed a new entity called
         MTPD, that acquired Panasonic Corporation’s and Toshiba Corporation’s former CRT
         manufacturing capacity,33 with Panasonic Corporation retaining a controlling stake in
         MTPD.34 Philips and LG were each vertically integrated through July 2001, at which



(… footnote continued)


manufacturing CDTs by December 2001 and CPTs by April 2002, and ceased selling CDTs by
October 2002 and CPTs by March 2003.)
33
  Toshiba Corp.’s Himeji factory remained in operation for approximately a year after April
2003. During this year, the factory took orders from MTPD. (Deposition of Koji Kurosawa, July
30, 2012 (“Kurosawa (Toshiba Corp.) Deposition”), pp. 64-65.) I understand that for a short time
following the April 2003 formation of MTPD, Panasonic Corporation continued to manufacture
some CPTs for MTPD pursuant to a manufacturing services agreement. I further understand that
these CPTs were sold to MTPD at cost plus 0.01%.
34
  Panasonic Corporation initially owned 64.5% of MTPD. (Kurosawa (Toshiba Corp.)
Deposition, p. 154; PC-0020552.) In 2007, Panasonic Corporation acquired Toshiba
Corporation’s entire 35.5% ownership stake. (Deposition of Takashi Nakano, July 13, 2012
(“Nakano (Panasonic Corporation, PNA, MTPD) Deposition”), p. 33.) (In her analyses, Dr. Netz
makes no distinction between sales data associated with MTPD and Panasonic Corporation.) I
understand that another joint venture, Beijing Matsushita Color CRT Co., Ltd. (“BMCC”) is a
Chinese company 50 percent of which was held (directly and indirectly) by Matsushita Electric
Industrial Co., Ltd. (later known as “Panasonic Corporation”) and MEC at formation. I also
understand that Panasonic Corporation’s 50 percent interest in BMCC was sold to Chinese
                                                                                 (footnote continued …)


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          point they each divested their entire CRT manufacturing businesses to LPD – a newly
          formed independent joint venture. I further understand that alleged co-conspirator
          Thomson was also a vertically integrated manufacturer of televisions and CPTs.

          29. Economists have identified such asymmetries in vertical integration as a contributor
          to cartel instability.35 The price paid by a finished product manufacturer to an affiliated
          CPT manufacturer (the “transfer” price) is likely to be hard to detect by other firms, and
          the output incentives of a vertically integrated supplier of finished products are apt to
          differ significantly from those of non-integrated upstream and downstream producers.36

      D. Fragmented market shares and low industry concentration
          30. Effective coordination is less likely in industries that are relatively unconcentrated
          with diffused market shares of suppliers.37 The CPT industry was unconcentrated during
          the relevant time period. For example, between 2000 and 2006, the Herfindahl-
          Hirschman Index (HHI) of global CPT production concentration varied between 1,200
          and 1,400,38 a range that the Horizontal Merger Guidelines of the U.S. Department of
          Justice and the Federal Trade Commission considers to be “unconcentrated.”39


(… footnote continued)


shareholders on December 24, 2009. I further understand that BMCC’s sales data have been
inadvertently included in Panasonic Corporation’s data production in the instant matter.
35
  Carlton, D.W., and Perloff, J. M. (1999). Modern Industrial Organization, 3rd edition.
Addison-Wesley. p. 138. To be clear, I do not mean to imply that successful cartelization is
impossible in the presence of asymmetries in vertical integration, rather that economists have
identified such asymmetries as a contributor to cartel instability.
36
  For example, whereas unaffiliated TV manufacturers could be expected to use favorable
pricing offered by one CPT manufacturer to try to convince other CPT manufacturers to offer
even lower prices, an integrated finished-product manufacturer would be much less likely to
reveal that its upstream affiliate had cheated on the cartel agreement by lowering its transfer
price.
37
     Cabral, L. (2000) Introduction to Industrial Organization. The MIT Press. pp.137-8
38
     HHI estimates from back-up data production related to Exhibit 6 of the Netz Damages Report.
39
  U.S. Department of Justice and the Federal Trade Commission. Horizontal Merger Guidelines
(2010), at §5.3



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         31. Although the CPT industry is characterized by features that likely undermine any
         effectiveness of the alleged cartel, it is also true that the CPT industry is characterized by
         other factors that economists have identified as facilitating collusion (for example, high
         entry barriers due to substantial sunk costs of setting up CPT plants). Thus, whether or
         not the CPT cartel alleged by the IPP class was consistently effective in elevating the
         prices of all (or most) products to all or most customers during the nearly 13-year class
         period is ultimately an empirical question that needs to be resolved by examining the
         evidence on record. One element of such an analysis is an examination of the conduct of
         alleged cartel members and an assessment of whether their conduct is consistent with
         Plaintiffs’ claims of effective collusion. I turn to this next.


V.       Defendants’ Conduct in the CPT Marketplace Was Inconsistent with a
         Sustained and Effective Cartel that Had a Class-wide Impact.
      A. A large majority of CPT sales were not subject to the target prices allegedly set by
         Defendants.
         32. Dr. Netz contends that the alleged conspirators successfully elevated the prices for all
         or most CPTs sold during the nearly 13-year proposed class period in part by agreeing to
         a set of “target prices.”40 However, the CPT “target prices” allegedly set by Defendants
         applied to only a small minority of global CPT sales, and the extent of target price
         coverage was far from uniform across products and regions.

         33. Specifically, Dr. Netz alleges that the target prices she identified correspond to 29.7%
         of the worldwide CPT sales during the class period.41 Thus, even by her own
         calculations, Dr. Netz did not identify target prices for the great majority of global CPT
         sales. However, this estimate exaggerates the actual coverage of claimed target prices
         because Dr. Netz employs a flawed methodology to match CPT sales with the claimed
         CPT target prices. Specifically, Dr. Netz’s CPT target price coverage estimate includes
         many instances in which the allegedly matching target price is for a different


40
     Netz Damages Report, p. 48.
41
     Netz Damages Report, p. 63.



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       manufacturer, a different month, and/or a different set of product characteristics than the
       purportedly matched sale.42 It is not possible to identify all of these instances using the
       available data. However, excluding just those instances that can be identified reveals that
       at most 17.4% of CPTs sold worldwide during the class period was actually associated
       with an alleged target price.43, 44 (See Exhibit 6.)



42
   Dr. Netz greatly overstates the coverage of target prices that she identifies for three
reasons. First, with some exceptions, Dr. Netz assumes that a target price applied to each
Defendant regardless of whether the Defendant was present at the meeting at which the target
price was allegedly decided (or whether any other indication is given in the meeting minutes that
the Defendant had agreed to that price). For example, Dr. Netz identifies a number of alleged
target prices based on the minutes of an August 1999 meeting attended by IRICO, Orion, and
Chunghwa. (CHU00030827E) She then assumes that these target prices applied to all of the
Defendants even though only IRICO, Orion, and Chunghwa were in attendance according to the
document relied on by Dr. Netz (and there is no indication in the meeting minutes that any other
Defendant had agreed to those prices). Dr. Netz then proceeds to match the target prices to sales
by Defendants that were not at the meeting, such as Toshiba Corp., Panasonic Corporation, and
SDI, and treats those sales as “covered” by the target prices she identified. As a result, Dr. Netz’s
coverage estimate includes a substantial number of sales that Dr. Netz just assumes were covered
by the identified target prices even though she provides no evidence that the manufacturers that
made those sales ever had any discussions about – much less agreed to – the alleged target
prices. Second, Dr. Netz’s calculation represents the share of all unit CPT sales in Defendants’
data that match a CPT target price on manufacturer, size, finish, and quarter. (Netz Damages
Report, fn. 203.) As a result, if Dr. Netz identifies an alleged target price for a CPT with a
particular manufacturer, size, finish, and quarter, she assumes that it “covers” all sales of CPTs
of that application and size sold during that specified quarter. The alleged target price may refer
explicitly or implicitly to a particular shape, resolution, frequency, safety standards, mask type,
neck diameter, and/or shipping terms, but for the purposes of calculating the share of CPT sales
“covered” by the alleged target prices, Dr. Netz does not consider whether the models sold
shared any of those attributes with the alleged target prices. Lastly, Dr. Netz identifies the
months in which she believes each target price was effective, but for the purposes of calculating
the share of CPT sales “covered” by the alleged target prices, Dr. Netz includes all the CPT sales
for a given manufacturer, size, and finish for all three months in a given quarter if she identified
a CPT target price for that manufacturer, size, and finish that was allegedly effective in even just
one of those three months.
43
  The methodology used to correct Dr. Netz’s coverage estimates is described in the notes to
Exhibit 6 of my report.
44
  Additionally, as I discuss further below, target prices were much less common for larger, more
expensive CPTs. As a result, whereas the share of CPT units sold worldwide during the class
period that were associated with an alleged target price was at most 17.4%, the share of
                                                                                  (footnote continued …)


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         34. As discussed in the previous section, large CPTs faced a significantly greater
         competitive constraint from LCD and plasma technologies than did small CPTs. This can
         be expected to have made it even more difficult to have sustained an effective conspiracy
         to elevate the prices for large CPTs. Consistent with this finding, the target price
         coverage was substantially lower for large CPTs than small CPTs. Specifically, while a
         maximum of 22.2% of small and medium CPTs sold worldwide during the class period
         were associated with an alleged target price, at most only 5.0 % of large CPTs were
         associated with an alleged target price.45 (See Exhibit 6.) This is not consistent with an
         effective elevation of the prices of large CPTs.

     B. Data on CPT sales prices are consistent with pervasive cheating on the alleged
        target prices. The extent of such cheating varied across products.
         Sales Prices Were Typically below Target Prices

         35. Although only a small minority of CPT sales was subject to the target prices
         identified by Dr. Netz, if the putative cartel members had strongly adhered to those target
         prices, one would expect rarely to observe CPT sales prices being set below the claimed
         associated target prices. However, the data on record show that Defendants frequently
         priced below target prices. Specifically, 60.4% of the CPTs sold worldwide for which Dr.
         Netz identified an alleged applicable target price were priced below that target price.

         36. Even this figure under-estimates the extent to which Defendants priced below target
         prices inasmuch as target prices were often set only with respect to relatively basic




(… footnote continued)


worldwide CPT sales revenues during the class period that were associated with an alleged target
price was at most 10.1%.
45
  These coverage estimates are based on the corrections to Dr. Netz’s flawed methodology for
estimating target price coverage, which were described earlier in supra note 42 and in notes to
Exhibit 6 of my report. Although the estimated coverage is higher without these corrections, the
gap in coverage between large and small CPTs persists (13.7% for large CPTs compared to
35.8% of small CPTs).



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       models within the group, as Dr. Netz has acknowledged.46 Thus my estimates of CPT
       prices below target prices compare a target price often set for more basic models in a
       group with an average actual price that includes both basic and premium CPTs in that
       group. Because prices for premium CPTs are likely to be higher than for basic models,
       this is not an apples-to-apples comparison. Instead, it biases average actual prices up
       relative to the alleged target price and thus biases my estimate of the share of CPTs sold
       at prices below the alleged applicable target prices. Put differently, if it were possible to
       identify the actual prices only for the specific CPT models for which the target prices
       were set (i.e., often the more basic models), one would almost surely find that the share
       of CPTs sold at prices below the alleged applicable target price was greater than 60.4%.

       37. So far, my comparison of actual and target prices has pooled all categories of CPTs
       together. Next, I segment the analysis by CPT size in order to demonstrate the lack of
       uniformity across various sizes in the extent to which actual prices deviated from target
       prices. As explained above, the share of CPT sales associated with an alleged target price
       was significantly lower for large CPTs than for small CPTs, which is consistent with the
       relatively greater competitive constraint imposed on large CPTs by LCD and plasma
       technology. Consistent with this, I find that the share of actual prices below the alleged
       applicable target price was higher for large CPTs (72.9%) than for small and mid-sized
       CPTs (58.5%). Thus, only 5.0% of worldwide large CPT sales were covered by Dr.
       Netz’s target prices and even for those covered, 72.9% of sales were below the target
       prices during the class period. Put differently, only 1.4% of large CPTs sold worldwide
       during the class period were covered by the alleged target prices identified by Dr. Netz
       and had prices equal to or above those target prices.

       Changes in Sales Prices Typically Did Not Adhere to Changes in Target Prices

       38. If the alleged cartel members closely adhered to the putative target prices, then
       changes in target prices would reliably predict changes in actual prices. In fact, the



46
  Declaration of Janet S. Netz, Ph.D., in Support of Motion of Indirect-Purchaser Plaintiffs for
Class Certification (hereafter “Netz Initial Class Report”), p. 63.



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       relevant data demonstrate that quarterly changes in target prices are extremely poor
       predictors of changes in actual prices.

       39. For example, based on several documents from late 2002 and early 2003, Dr. Netz
       contends that alleged cartel members agreed to elevate the target prices of 20-inch Bare
       CPTs by 6.34% from Q4 2002 to Q2 2003.47 If the alleged cartel members adhered to the
       alleged target prices when setting their actual sales prices, then their actual 20-inch Bare
       CPT sales prices would have increased by an amount approximately similar to the alleged
       increase in the target price during the relevant period. Conversely, if alleged cartel
       members rarely adhered to the alleged target prices, then we should observe that changes
       in actual sales prices of 20–inch CPT models were inconsistent with changes in the target
       prices identified by Dr. Netz.

       40. The broad lack of conformity between changes in the target prices identified by Dr.
       Netz and changes in actual CPT prices is illustrated in Exhibit 7. In this chart, the vertical
       axis represents quarterly changes in actual sales prices of CPT models and the horizontal
       axis represents changes in the corresponding alleged target prices during the same time
       period.48

       41. If actual prices followed target prices closely, I would expect most observations in
       Exhibit 7 to be located close to the 45-degree line (which is traced in the chart) indicating
       that an actual price change was equal to the alleged applicable target price change.



47
  This example is based on a review of Dr. Netz’s target price database (“clean_target.dta”
produced as part Dr. Netz’s Damages Report back-up).
48
  Dr. Netz identifies CRT target prices based on her reading of the case record. She partitions
these target prices by manufacturer, application (CDT or CPT), size, and finish (bare or ITC)
(“group”) and quarter. She then derives an average target price for each group and quarter for
which she has identified any target prices. In Exhibit 7, for each CPT model produced in a given
factory and sold to a given customer, I compared changes in the actual quarterly prices for that
model, factory, and customer to changes in the alleged average target price for the corresponding
group. For example, I compared the change in the actual quarterly price paid for a particular
Chunghwa 14-inch ITC CPT model (6836403256) between the third quarter and fourth quarter
of 2002 with the change in the average alleged target price for all Chunghwa 14-inch ITC CPT
models during the same time period.



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       However, although most of the data points are located in the lower left quadrant of the
       chart – consistent with the general downward trend in CPT prices over the course of the
       class period – the points are widely diffused rather than clustered around the 45-degree
       line, which demonstrates that changes in actual prices for CPTs differed widely from
       changes in the alleged applicable target prices. Moreover, the bottom right quadrant of
       Exhibit 7 shows many instances where the target prices increased whereas the actual
       sales prices decreased.

       42. An econometric analysis of changes in actual and target CPT prices further confirms
       the frequent deviations of the actual prices from the target prices identified by Dr. Netz.49



49
   In this econometric analysis, the dependent variable is the quarterly change in the price paid by
a customer for a given CPT model and the independent variable is the contemporaneous change
in the associated target price identified by Dr. Netz. I compare actual and claimed target price
changes because such a comparison is a direct test of putative cartel members’ adherence to
target prices. To be effective in an environment where prices are declining, a cartel would have
to guard against overly aggressive price decreases by cartel members who could use such price
cuts to gain sales at the expense of other cartel members. The logic of Dr. Netz’s cartel theory
implies that the alleged CPT cartel used newly announced target prices as a mechanism to set
limits to price decreases. As such, if the alleged cartel were, in fact, effective and its members
adhered to target prices, then they would have changed their sales prices in compliance with
changes in announced target prices.
Moreover, analyzing the relationship between changes in target and actual sales prices is
preferable to analyzing the relationship between levels of such prices because target price levels
are likely to be somewhat predictive of actual price levels even if the alleged cartel members
completely ignored the alleged target prices. Put differently, levels of target and actual prices
would be correlated even if setting target prices had no impact on actual CPT price levels. This is
because most consumers would be willing to pay more for a larger TV, all else equal, so one
would expect actual prices to be higher for 29-inch CPTs than for 21-inch CPTs even in the
absence of the alleged cartel. Likewise, given consumers’ willingness to pay more for larger
TVs, an aspiring cartel could be expected to set higher target prices for 29-inch CPTs than for
21-inch CPTs. More generally, one would expect both actual prices and target prices to be
higher for higher quality CPTs – which would lead to a high degree of correlation between actual
and target price levels – regardless of whether the alleged cartel members ever adhered to the
target prices. Because an econometric analysis of actual and target price levels measures the
extent of correlation between these two prices, and because one would expect their correlation to
be high regardless of whether the alleged cartel members ever adhered to the target prices, such
an analysis is unlikely to be able to distinguish between adherence and non-adherence to target
prices. In principle, it may be possible to control for differences between, say 29-inch CPTs and
                                                                                  (footnote continued …)


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         The analysis shows that changes in Dr. Netz’s target prices explain only 3.9% of the
         variation in changes in the actual prices for corresponding CPTs. (See Exhibit 8, row 1.)
         If actual sales price changes adhered closely to target price changes, this percentage
         would instead be very high.

         43. Moreover, target price changes do an extremely poor job of predicting changes in
         actual prices, even on average. Specifically, a 5% increase in the target price identified by
         Dr. Netz is, on average, associated with only a 1.06% increase in the actual price during
         the same quarter.50 (See Exhibit 8, row 1.) Furthermore, even this slight correlation does

(… footnote continued)


21-inch CPTs (or CPTs with a different finish, shape, mask, etc.), but this becomes much more
difficult when the relative demand for various product attributes changes significantly over time.
For example, as discussed in Section V.D below, estimating Dr. Netz’s hedonic regression
analysis on an annualized basis shows that the average premium for 29-inch CPTs compared to
21-inch CPTs was 144% in 2000 but only 106% in 2005.
Finally, any analysis of the relationship between the levels of sales prices and target prices is
problematic because both types of prices were strongly trending downward during the relevant
period due to the impact of declining manufacturing costs and/or declining demand. Even if sales
prices were always set below target prices at competitive levels (i.e., putative cartel members
never complied with target prices), the two sets of prices would appear to be highly correlated
because both were impacted by the same market forces. Here again, in principle, it may be
possible to control for changes in market conditions that affect both actual and target prices, but
this is a much more daunting task when market conditions changed as dramatically as in the CPT
industry during the nearly 13-year class period. To wit, as discussed in Section XIII below, Dr.
Netz attempts to control for changes in market conditions in her overcharge analysis, but because
the changes in the CPT industry during the class period were so fundamental, the relationships
between CPT prices and the various economic indicators included in her model were not stable,
and thus her model fails to properly control for changes in market conditions.
50
   In my analysis, adherence to target prices is measured using U.S. dollars. While the CRT
prices were negotiated in different currencies, the degree of adherence to the purported target
prices is most logically measured using U.S. dollars. This conclusion follows naturally from Dr.
Netz’s allegation that the alleged cartel was (in part) orchestrated through the use of target prices
that were denominated in U.S. dollars. In fact, she assumes that there was only a single global
target price (expressed in U.S. dollars) for any given product (or set of products) at a particular
point in time – not different target prices depending on the region of sale or the currency in
which a particular price was negotiated. If the alleged cartel members closely or uniformly
adhered to the alleged U.S. dollar-denominated (“USD”) target prices, then changes in USD
target prices should reliably predict changes in USD actual prices. Nevertheless, for further
assessment of my results, I added independent variables that control for changes in the exchange
                                                                                   (footnote continued …)


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         not imply causation (i.e., the change in actual price may not be due to the change in target
         price) since actual and target price changes are both likely to have been affected in the
         same direction by common market factors, generating some positive correlation between
         the two series, irrespective of whether the alleged cartel members ever adhered to the
         alleged target prices. In fact, if I control for changes in the market variables (such as the
         unemployment rate in OECD countries) that Dr. Netz included in her analysis of actual
         and target prices, a 5% increase in the target price identified by Dr. Netz is, on average,
         associated with only a 0.57% increase in the actual price (i.e., roughly half as much as
         when no market variables are included). (See Exhibit 8, row 2.)

         44. As discussed above, Dr. Netz identified alleged target prices corresponding to a
         substantially lower share of sales of large CPTs than sales of small CPTs. Furthermore,
         prices of large CPTs were more likely to have been below the corresponding alleged
         target prices than prices of small CPTs. Both these facts are consistent with the evidence
         that LCD and plasma technologies exhibited a stronger and earlier competitive constraint
         on the pricing of large CPTs than small CPTs.

         45. Consistent with these findings, when I perform econometric analyses of actual and
         target price changes separately for large and small CPTs, I find that changes in target


(… footnote continued)


rate between the currency in which prices were negotiated (“negotiated-price currency”) and
U.S. dollars to my econometric analysis of changes in USD actual prices and USD target prices.
These variables allow the model to account for any impact that changes in the exchange rate
between the negotiated-price currency and U.S. dollars had on USD actual price changes. My
qualitative results remain unchanged. Specifically, the R-squared statistic associated with this
econometric model is 0.134 (See Exhibit 8, row 3.), indicating that changes in the target prices
identified by Dr. Netz and changes in the exchange rates between the negotiated-price currency
and U.S. dollars together explain only 13.4% of the variation in changes in CPT actual USD
prices. Additionally, the estimated coefficient on the target price change in this model is 0.184,
which is lower than in the model without controls for exchange rate movements, and implies that
a 5 percentage point increase in the target price identified by Dr. Netz is, on average, associated
with only a 0.92 percentage point increase in the actual price during the same time period. Thus,
even after controlling for the influence of exchange rate movements on USD actual price
changes, the results of my econometric model demonstrate that the alleged cartel was far from
uniformly effective (if at all).



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  prices explain an even smaller share of the variation in changes in the actual prices of
  large CPTs (0.2%) than small CPTs (4.8%). (See Exhibit 8, rows 4 and 5.) Moreover,
  whereas a 5% increase in the target price for a small CPT is, on average, associated with
  a minor (1.1%) but statistically significant increase in the actual price of corresponding
  CPTs, a 5% increase in the target price for a large CPT is, on average, associated with a
  decrease in the actual price of corresponding CPTs that is not statistically significant (i.e.,
  one cannot reject the possibility that there is zero association between the target and
  actual prices within standard levels of statistical confidence). These results further
  reinforce my finding that even if the alleged cartel were effective at elevating the prices
  of some CPTs at some points in time, the effect was likely much smaller – possibly zero
  – for large CPTs than for small CPTs.

  46. As an extension of my analysis of actual and target price changes, I have also
  employed an econometric model to test how well changes in CPT target prices predict
  contemporaneous changes in the actual prices of CPTs for which Dr. Netz did not
  identify target prices. I find that quarter-to-quarter changes in the target price index
  created by Dr. Netz have little ability to predict changes in the prices of CPTs for which
  Dr. Netz was unable to identify target prices. Specifically, quarter-to-quarter changes in
  her target price index explain only 2.3% of the variation in changes in the actual prices
  for non-targeted CPTs over the same pair of quarters. My analysis also indicates that a
  5% increase in the target price index created by Dr. Netz is, on average, associated with
  only a 1.25% increase in the actual prices of non-targeted CPTs during the same quarter.

  47. The inability of changes in target prices to predict changes in non-targeted actual
  prices is further illustrated in Exhibit 9. This chart is analogous to Exhibit 7, except that
  now the vertical axis represents quarterly changes in actual sales prices of non-targeted
  CPTs, and the horizontal axis represents contemporaneous changes in the target price
  index created by Dr. Netz. The fact that the points in Exhibit 9 are widely diffused rather
  than clustered around the 45-degree line demonstrates that changes in actual prices for
  CPTs differed widely from changes in the target price index.

  48. In sum, the evidence indicates that the target prices set by the alleged cartel were
  either ineffective or at least were not frequently effective in elevating sales prices of


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         CPTs. Thus, the data are inconsistent with Dr. Netz’s claim that the alleged target prices
         constituted a mechanism by which the alleged cartel effectively elevated CPT prices
         class-wide.

      C. Dr. Netz’s analysis of actual and target prices at most demonstrates a positive
         relationship between actual and target prices. It does not demonstrate that the
         alleged target prices had an impact on actual CPT prices.
         49. Dr. Netz reviews the same data that I discussed in the previous section but reaches a
         different conclusion. In particular, she presents a regression analysis that she purports
         shows that target prices “exhibit a strong, positive, and economically meaningful
         predictive effect on the actual prices charged by Defendants.”51 However, Dr. Netz’s
         conclusion is misguided for several reasons.

         50. First, Dr. Netz’s analysis of actual and target prices at most demonstrates a positive
         relationship between them. It does not demonstrate that the alleged target prices had an
         impact on actual CPT prices for the following reasons:

                       Both actual sales prices and target prices likely responded to changes in
                        the same market conditions. The control variables that Dr. Netz included
                        in her regression52 do not capture all of the market forces that affected
                        both actual and target prices. Consequently, one would expect to observe a
                        positive relationship between actual and target prices regardless of the
                        extent to which target prices influenced actual prices.
                       There is evidence in the documents cited by Dr. Netz of the alleged target
                        prices being set at least partly based on past actual prices.53 If target prices
                        were set even partly based on actual prices, then one would expect to find
                        a positive relationship, at least on average, between actual prices and


51
     Netz Damages Report, p. 65.
52
 I demonstrate later in this report (in § IX) that market variables other than the ones used by Dr.
Netz affect CPT prices.
53
 See, e.g., Visitation Report, July 18, 1997, CHU00028707; Customer Contact Report,
November 21, 1997, CHU00028674.



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                        target prices even if target prices did not have any causal impact on actual
                        prices.
                       Finally, even if actual prices and target prices exhibit a positive
                        relationship, it does not preclude the possibility that actual prices were
                        frequently below the alleged applicable target prices. In fact, as discussed
                        above, a majority of actual CPT prices were below the alleged target
                        prices.

        51. Second, I have assessed whether the alleged target prices, expressed in the same
        functional form as in Dr. Netz’s analysis, are reliable predictors of actual price levels.54 If
        the alleged cartel members had adhered consistently to the alleged target prices, the target
        prices would be able to predict actual prices with great precision. In fact, a statistical
        analysis of actual and target prices reveals that predicting the average actual price for a
        given CPT based on the alleged applicable target price could be expected to be wrong by
        more than 5% at least 86% of the time, by more than 10% at least 72% of the time, and
        by more than 15% at least 56% of the time.55,56 (See Exhibit 10.) Given that documents
        cited by Dr. Netz indicate that price differences of even 5% can result in shifts in sales



54
   Specifically, similar to Dr. Netz, in the first stage of my analysis I regress the natural log of the
quarterly average price for a given panel (defined by Dr. Netz to include all CRT sales that share
the same manufacturer, application, size, finish, factory and customer) and quarter on the natural
log of the matched target price. Unlike Dr. Netz’s regression, I do not include the natural log of
the average actual price from the previous quarter, any macroeconomic variables, or product
fixed effects because if the alleged cartel members adhered uniformly to the alleged target prices,
then target prices alone should be able to accurately predict actual prices.
55
  These results are statistically significant at the 95% confidence level. Specifically, they are
based on the 5% lower bound on the variance of the prediction errors.
56
  The regression does produce a relatively high R-squared statistic. However, as discussed
earlier, actual price levels and target price levels are both likely to be heavily influenced by
product characteristics and the same market conditions. As a result, a regression of actual price
levels on target price levels could produce a high R-squared statistic even if the alleged cartel
members did not adhere at all to the alleged target prices. Nevertheless, my analysis shows that
predictions of actual prices based on target prices would frequently be wrong by economically
meaningful amounts.



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         and shares,57 the fact that predictions of actual prices based on observed target prices
         would frequently be wrong by more than 5%, 10%, and even 15% confirms my earlier
         finding that target prices are poor predictors of actual prices. This finding is consistent
         with substantial non-adherence of alleged cartel members to putative target prices, and to
         an alleged mechanism of collusion that relies on them.

         52. Dr. Netz also presents a regression analysis that she purports shows that target prices
         “exhibit a strong, positive, and economically meaningful predictive effect on the actual
         prices [of non-targeted CPTs] charged by Defendants.”58 This analysis suffers from all of
         the aforementioned flaws exhibited by her analysis of the relationship between target
         prices and actual prices of allegedly targeted CPTs. Extending my own statistical analysis
         to the actual prices of non-targeted CPTs reveals that predicting the average actual price
         for a given non-targeted CPT based on the target price index created by Dr. Netz could be
         expected to be wrong by more than 5% at least 95% of the time, by more than 10% at
         least 91% of the time, and by more than 15% at least 86% of the time. (See Exhibit 11.)
         The fact that predictions of actual prices of non-targeted CPTs based on observed target
         prices would frequently be wrong by more than 5%, 10%, and even 15% confirms my
         earlier finding that target prices are poor predictors of actual prices for non-targeted
         CPTs, and it is inconsistent with Dr. Netz’s claim that the alleged cartel adhered closely
         to target prices.

      D. Dr. Netz’s hedonic regression analysis fails to establish that prices of CPTs that
         were not subject to the target prices she identifies were also elevated because of a
         “price structure” that links the prices of targeted and non-targeted CPTs.
         53. Dr. Netz’s conclusion of common impact rests heavily on her claim that CPT prices
         exhibited a “structure” such that “prices of different types are related to each other via
         product characteristics, and therefore setting a target price increase for one type of CPT



57
  See, e.g., CPT Sales Division Customer Contact Report, October 4, 1999, CHU00028599;
CDT Market Report, May 28, 2004, CHU00031249; and Customer Contact Report, February 2,
1997, CHU00028763.01E.
58
     Netz Damages Report, p. 72.



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         implies a price increase for other CPTs.”59 To support this claim, Dr. Netz presents what
         she refers to as a “hedonic pricing analysis.”60 However, Dr. Netz’s claim of a price
         structure is refuted by her own data and analyses.

         54. First, Dr. Netz’s own overcharge analysis refutes her claimed existence of a CPT
         price structure. As I explain below, Dr. Netz’s own CPT overcharge regression analysis
         finds no statistically significant overcharge for large CPTs (i.e., one cannot reject the
         possibility of zero damages for large CPTs within standard levels of statistical
         confidence), whereas it estimates a positive and statistically significant overcharge for
         small CPTs. Thus, accepting Dr. Netz’s CPT overcharge analysis necessarily requires
         rejecting her claim of a price structure since, under her interpretation, her overcharge
         analysis implies that the alleged cartel elevated prices for small CPTs, while also
         implying that it did not elevate prices of larger CPTs.

         55. Second, if a price structure of the sort alleged by Dr. Netz actually existed (and if the
         alleged cartel members closely adhered to the putative target prices identified by Dr.
         Netz), then changes in target prices should reliably predict changes in actual prices of
         CPTs that were not targeted. In fact, as discussed above, the relevant data demonstrate
         that quarterly changes in target prices are extremely poor predictors of changes in actual
         prices of CPTs that were not targeted.

         56. Third, Dr. Netz’s own hedonic regressions provide evidence that there was no price
         structure due to divergent market conditions among various segments of CPTs. This is
         evident in the considerable variation over time in the relative price premiums commanded
         by larger CPTs over smaller CPTs, which is strong evidence that market conditions
         differed materially between large and small CPTs. For example, annualized versions of
         Dr. Netz’s sales price hedonic regressions show that, in 2000, 29-inch CPTs were priced
         144% above 21-inch CPTs on average. By 2005, this premium decreased to 106%.
         Clearly, the relative prices of CPTs of different sizes varied substantially even during


59
     Netz Damages Report, p. 69.
60
     Netz Damages Report, pp. 68-69.



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         short time periods, consistent with the greater impact of plasma and LCD competition on
         larger CPTs and inconsistent with Dr. Netz’s claim of a price structure.61

      E. The documentary record of communications between Defendants cited by Dr. Netz
         does not establish that the alleged cartel was successful in substantially and
         consistently elevating CPT prices class-wide.
         57. In her report, Dr. Netz cites to the record of communications between Defendants as
         evidence that the alleged cartel was effective in raising CPT prices.62 As a general matter,
         communications between competitors that disseminate information about prices, costs
         and investments can enhance efficiency.63 The actual competitive impact of
         communications between competitors in a specific marketplace needs to be evaluated
         empirically based on available evidence for that marketplace. For example, as explained
         above, target prices identified by Dr. Netz based on communications between Defendants
         applied to only a minority of CPT sales during the class period. Furthermore, actual CPT
         prices were typically below associated target prices, and changes in actual CPT prices
         typically diverged from changes in associated target prices. These facts are inconsistent
         with Dr. Netz’s claim that communications related to target price setting had a sustained
         and material impact on CPT prices.

         58. Nonetheless, Dr. Netz contends that if cartel members were behaving rationally, they
         would not have engaged in the alleged conduct for such an extended time period if the


61
   A “price structure” of the sort claimed by Dr. Netz cannot exist if prices in different segments
of CPTs were affected by materially different market forces such that the ability and incentive of
the alleged cartel to affect CPT prices differed across CPT segments. For example, if the alleged
cartel substantially elevated the prices of some CPTs but failed to elevate prices of other CPTs
(or elevated them less) because the latter had better substitutes and faced greater competition
from alternative technologies, then relative prices in the actual and but-for worlds would be quite
different – precisely the opposite of what Dr. Netz’s price structure would require.
62
     Netz Damages Report, § VIII.A.3.
63
   For example, information about competitor pricing reduces the dispersion of prices, and
sharing information about current market conditions may enable firms to plan more effectively
and manufacture more efficiently. (Rosenfield, A., Carlton, D., and Gertner, R. (1997)
“Communication Among Competitors: Game Theory and Antitrust.” George Mason Law
Review. Vol. 5, No. 3, pp. 423-440.)



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          cartel were ineffective.64 Although Dr. Netz is correct that it would be irrational to
          engage in the alleged conduct if the perceived benefit were not at least as large as the
          costs, given the substantial volume of CPT sales that Dr. Netz estimates was sold
          worldwide during the class period (about $136 billion), even sporadic, temporary, small
          increases in some CPT prices above but-for levels could have generated sufficient
          increases in revenues and profits to have offset the costs perceived to have been
          associated with the putative cartel. Thus, even if the alleged cartel members engaged in
          the alleged conduct for an extended period of time, it does not necessarily follow that the
          claimed cartel was able to effect a large sustained percentage increase in the prices of
          CPTs above their but-for levels. In fact, a cartel that was able to only temporarily elevate
          the prices of certain CPTs used in certain TVs in certain regions may nonetheless have
          found it rational to continue to engage in the alleged conduct for a lengthy period.
          However, such a cartel would not have had a class-wide impact. As such, the argument
          by Dr. Netz in this context is irrelevant for her claim that the putative cartel harmed all or
          nearly all members of the IPP class.

          59. Dr. Netz further contends that the documentary record shows that the Defendants
          “reported their success in raising or maintaining their prices.”65 However, other
          documents indicate significant competition among CRT manufacturers. For example, an
          investigation into the causes of LPD’s bankruptcy notes that “[t]he CRT industry was
          characterized by a predominant focus on cost reduction, fierce competition, decreasing
          sales and constant consolidation [in the years following the formation of LPD in
          2001].”66 Moreover, even documents cited by Dr. Netz as evidence of cartel conduct
          often show meeting participants found the CPT marketplace to be competitive and/or that




64
     Netz Damages Report, pp. 31-32.
65
     Netz Damages Report, p. 27.
66
     2009-04-20 - Investigation of the Causes of the Bankruptcy of LG Philips Displays, p. 93.



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          Defendants often engaged in pricing conduct that deviated from what Dr. Netz
          characterizes as agreements between them.67



67
     CPT-related examples include the following:
         CPT Makers Competitive Analysis, LPD-NL00140679-692, at 686, September 2005
          (“Extremely competitive environment due to huge overcapacity in the market – some
          players survive based on captive customers or protected market.”)
         2006 Sales Budget Proposal, PHLP-CRT-009472 at p.3 (“New competition in midst of
          oversupply”; “SuS promotion to fend off Chinese attack”; “Price pressure from China”)
         Visitation Report, CHU00029179.01E – 179.02E at 179.02E, August 23, 1999 (“Low
          price still offering [sic] ([by] IRICO, Samtel, Philips Brazil, Ekranas, etc.) The attendees
          agreed with SDD Mr. Inn Kim's proposal to approach the above-mentioned CRT
          manufacturers who have been destroying the market price with low-price competition
          and provide these manufacturers with timely updates on the market situation on demand
          and price information in order to convince them to follow suit.”)
         14”/20”/21” CPT supply and demand situation and price comments and reviews, Chih-
          Chun Liu Deposition Exhibit 1142E, CHU000029235.01E- 237E at 235.01E (translated),
          April 1999 (“After consolidating the market situation reports from the meeting attendees
          of various makers, the update is as follows: The price in Q2 keeps sliding to some extent
          because some makers still approach new customers to get orders (eg. OrionSREC,
          LGTCE [sic]).”)
         CPT Visitation Report, CHU00029971.01E – 972E at 971.01E, June 2005 (“The focus
          of concerns of the meeting attendees are still on the China market, the crazy low prices
          used to secure orders caused by high inventories in China worries them. Moreover, they
          are threatened by the fact that low priced products from Huafei, Evernew and Hitachi are
          already being sold in Southeast Asian markets… We and T-CRT complained that the
          Japan and Korean makers all have factories in China and are all pursuing high utilization
          production and sales. This has not only resulted in constantly falling prices in Mainland
          China, it has also caused second tier color tube factories to dump low prices in Southeast
          Asia. If the Japan and Korean makers do not follow effective plans devised by HQ, but
          rather choose to sit and watch low pricing competition between China factories, the
          Southeast market will be quickly undermined. But the mumble jumble of the Japan and
          Korea makers in attendance offer little room for optimism.”)
         Marketing Contact Report (Glass Meeting), CHU00029999.01E – CHU00030000.02E at
          29999.02E, November 2004 (“Remark: It's difficult to determine the true and false [sic]
          of the prices quoted above by MTPD but the intention to cut price [sic] among the
          competing brands is clearly expressed. Price war has already begun…The China market
          situation will have a massive impact on Q1 in 2005... Overcapacity for CRT will begin to
          compete for export orders and thus generate more intense competition.”)
                                                                                     (footnote continued …)


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          60. Dr. Netz also cites to documents suggesting that the Defendants engaged in conduct
          aimed at reducing CPT output and capacity.68 However, Dr. Netz’s own estimates of CPT
          global capacity show that prior to the emerging success of LCD and plasma technologies,
          the Defendants rapidly expanded CPT capacity and production (as I explain below). As a
          result, even if the Defendants did engage in attempts to restrict CPT output, the impact (if
          any) of such efforts likely was not significant, consistent, or sustained. In any event, Dr.
          Netz presents no empirical analysis that would aid the fact-finder in determining how
          effective those alleged efforts were.

          61. In sum, the documentary evidence related to Defendants’ communications cited by
          Dr. Netz is insufficient to determine if the alleged cartel was successful in consistently
          and significantly elevating CPT prices. Instead, evidence of Defendants’ conduct related
          to actual CPT prices, margins and capacity is more relevant for assessing the magnitude
          and consistency of the impact of the alleged cartel on CPT prices. I have already
          compared actual CPT prices with target prices identified by Dr. Netz and demonstrated
          that their relative levels and divergent movements are inconsistent with a claim of a
          highly effective cartel. In the next section, I provide additional evidence related to CPT
          prices, margins and capacity.




(… footnote continued)


         Market Visitation Report (Glass Meeting), CHU00030036.01E – CHU00030039E at
          037.01E, February 2004 (“MTPD has admitted that it already quoted USD31.50,
          imposing tremendous pressure on other makers including CPT to lower their prices for
          Funai.”)
         CPT Visitation Report, CHU00036408.01E – 409.02E at 409.01E, November 2001
          (“Because certain tube maker [sic] in mainland China are grabbing orders with low
          prices, Thai-CRT seeks to compete by following suit, causing the market price to tumble
          …This approach has already severely damaged the CPT industry." "Most prices are
          actually lower than the Guideline price [sic]. It seems that the various makers are unable
          to provide their actual prices.”)
68
     Netz Damages Report, pp. 50-1.



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VI.      Evidence on CPT Prices, Margins, Capacity and Production Do Not
         Support the Claim of a Highly Successful Cartel.
         62. A cartel that was consistently and broadly effective would have altered the conduct
         and performance of its members in ways that would be readily apparent in prices, profit
         margins and investment activity. As I explain in this section, straightforward evidence on
         these variables is inconsistent with the sort of highly effective cartel claimed by Dr. Netz.

      A. No evidence that CPT prices decreased slower during the putative cartel period.
         63. Dr. Netz claims that “the defendants … colluded to hold prices steady or reduce
         prices only slowly.”69 Had they been successful in this endeavor, then such success would
         manifest itself in CPT prices decreasing slower during the cartel period than during the
         periods immediately before or after the cartel period. However, as seen in Exhibit 12, the
         average CPT price actually fell faster (1.8% per quarter on average) during the alleged
         cartel period than after the putative cartel ended (0.6% per quarter on average).70
         Moreover, the average CPT price increased in a typical quarter in the years immediately
         before the alleged cartel started, but the trend reversed and the average CPT price
         declined in the typical quarter soon after the alleged cartel began. These trends in the
         average CPT price do not suggest a highly effective CPT cartel that was able to sustain
         material price increases to all or nearly all IPP class members as claimed by Dr. Netz.

      B. No evidence that CRT profit margins increased with the onset of the alleged cartel.
         64. A successful CPT cartel would have elevated the profit margins of its participants. To
         test this proposition, I have examined the gross profit margins of Chunghwa, the only




69
     Netz Damages Report, p.37.
70
  The average CPT price movements are measured by Fisher Price Indices calculated using CPT
sales data compiled by Dr. Netz.



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         major CPT manufacturer71 for which I have been able to locate consistent data on CRT-
         specific gross profit margins for cartel and non-cartel periods.

         65. Chunghwa has no CPT-specific gross margin data that would permit a comparison of
         its CPT gross profit margins during the alleged cartel period with its margins outside the
         cartel period. However, Chunghwa’s financial statements show that overall CRT gross
         profit margins (combining CPTs with CDTs) show no increase following the start of the
         alleged cartel in 1995. In fact, Chunghwa’s average annual CRT gross margin declined
         from 19.9% during the six years immediately prior to the start of the alleged cartel period
         (1989-1994) to 18.1% during the six years immediately after the start of the alleged cartel
         (1995-2000).72

      C. Industry-wide CPT capacity and production grew consistently during most of the
         class period.
         66. Dr. Netz contends that members of the alleged cartel agreed to reduce CPT
         production and capacity.73 However, according to Dr. Netz’s own estimates, global CPT
         capacity increased each year after 1996 until 2005, and CPT capacity in 2005 was 59%




71
  Between 2000 and 2006, Chunghwa’s average annual share of global CPT production placed it
among the five largest suppliers. (Production share data are obtained from the back-up to Exhibit
6 of the Netz Damages Report, which contains data only for the 2000-2006 period.)
72
   Margin data for 1989-1994 are from Chunghwa’s annual reports which record annual gross
margins. (Chunghwa annual reports and certified translations, 1990-1995.) No data for years
prior to 1989 are available. During the 1989-1994 period, Chunghwa reported only margins on
all operations instead of CRT-specific operations, but Chunghwa was predominantly a CRT
manufacturer at the time. Specifically, non-CRT products accounted for less than 10% of
Chunghwa’s revenues in these years. (See, e.g., 1994 Chunghwa Annual Report, p. 124.)
Starting in 1995, Chunghwa’s gross margins for CRTs are obtained from CHWA00256934 -
HIGHLY CONFIDENTIAL.xls. The analysis noted here compares unweighted mean gross
margins before and during the cartel period. However, weighting the annual gross margins by
annual Chunghwa revenues and comparing weighted means does not alter the conclusion that the
average gross margin was lower in the cartel period. Moreover, extending the analysis to include
all years of the alleged cartel (instead of 1995-2000) does not alter the conclusion that the
average gross margin during the alleged cartel period was lower than in the years prior to 1995.
73
     Netz Damages Report, pp. 50-1.



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       higher than in 1996.74 Although CPT capacity decreased in later years, this is to be
       expected even in a competitive market given the declining demand for CPTs due to
       plasma and LCD competition in the later years of the class period. Similarly, according to
       Dr. Netz’s own estimates, global CPT production volume grew in all but one year
       between 1995 and 2004, and the volume of CPT production in 2004 was 71% higher than
       in 1995. The median annual growth rate of CPT production was higher (5.3%) during the
       three years immediately after the advent of the alleged cartel in 1995 than during the
       three years immediately before the start of the alleged cartel (0.7%).75

       67. In sum, straightforward evidence related to CPT prices, margins, capacity and
       production provide no support for Dr. Netz’s view that the alleged cartel was effective in
       substantially elevating CPT prices.


VII. Dr. Netz’s Own Analysis of CPT Overcharges Undermines Her Claim
     that the Alleged Cartel Had a Class-wide Impact.
       68. Dr. Netz not only contends that the alleged cartel substantially elevated CPT prices
       but also that it did so in a manner that impacted all or most members of the IPP class.76 In
       the two expert reports that I filed during the IPP class certification phase of the instant
       litigation, I concluded that common methods and evidence cannot be used to assess the
       impact of the alleged cartel on members of the proposed IPP class and that instead an
       individualized examination is required to determine whether any particular indirect
       purchaser actually paid a cartel overcharge when purchasing a given CRT finished



74
  Capacity data are extracted from the back-up material related to Exhibit 12 of the Netz
Damages Report. Data prior to 1996 were unavailable in Dr. Netz’s back-up materials. Data
extend to 2009 but 2008 data are missing.
75
   CPT production data between 1991 and 2006 are extracted from the back-up material related
to Exhibit 9 of the Netz Damages Report. Although CPT production decreased in 2005 and 2006,
this is to be expected even in a competitive market given the declining demand for CPTs due to
plasma and LCD competition in the later years of the class period.
76
  Netz Damages Report and Declaration of Janet S. Netz, Ph.D., in Support of Motion of
Indirect-Purchaser Plaintiffs for Class Certification (hereafter “Netz Class Certification Report”).



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          product.77 This conclusion flows naturally from the observed heterogeneity in CRTs
          (CPTs as well as CDTs) and the divergent CRT price dynamics propelled by
          heterogeneous market forces that applied to CRTs (including various types of CPTs). It
          also follows logically from the unevenness of the applicability of Dr. Netz’s target prices
          to the actual prices of the various CPTs, since those target prices are a principal
          mechanism cited by Dr. Netz for the alleged cartel’s coordination of prices with
          overcharges.

          69. This conclusion is further confirmed by Dr. Netz’s own analysis of CPT overcharges
          caused by the alleged cartel. As an initial matter, the very facts that Dr. Netz estimated
          overcharges (and all other analyses) separately for CPTs and CDTs, and that she obtained
          very different estimates of CPT and CDT overcharges (9% and 22% respectively for the
          1995-2006 period), imply that impact and damages for CDTs and CPTs together cannot
          be established using class-wide proof.

          70. Moreover, the econometric model employed by Dr. Netz to estimate damages is
          unable to establish cartel impact on many members of the IPP class. In the next section, I
          describe Dr. Netz’s econometric model of CPT overcharges, and I explain the
          fundamental flaws in her analysis that render her estimates unreliable. However, even
          setting aside the methodological flaws, Dr. Netz’s analysis of CPT overcharges clearly
          undermines any claim of class-wide impact of cartel conduct because her own model of
          overcharges is unable to establish overcharges for large CPTs. Moreover, the same
          analysis finds that all CPTs (pooled together) likely had no overcharge after 1997. I
          explain this in the rest of this section.

      A. No overcharges for large CPTs
          71. Dr. Netz estimates putative overcharges for all CPTs pooled together.78 However,
          making no change to her analysis other than just unbundling small CPTs from large CPTs
          reveals that Dr. Netz’s model estimates no statistically significant overcharges for larger


77
     See Willig Class Action Reports.
78
     See Exhibit 65 of the Netz Damages Report.



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        CPTs, whereas it finds statistically significant overcharges for smaller CPTs. Thus, Dr.
        Netz’s own statistical model of CPT overcharges cannot reject the proposition that the
        alleged cartel had no impact on larger CPTs.79

        72. This conclusion is not surprising given the evidence (explained above) that prices of
        larger CPTs were constrained by alternative technologies for much of the class period,
        and more so than smaller CPTs. It is also consistent with my findings, presented above,
        that Dr. Netz has identified alleged target prices corresponding to a substantially smaller
        share of sales of large CPTs than sales of small CPTs, that prices of large CPTs were
        more likely to be below the corresponding alleged target prices than prices of small
        CPTs, and that changes in associated target prices were poorer predictors of changes in
        actual prices for large CPTs than for small CPTs.

     B. No CPT overcharges after 1997
        73. Dr. Netz estimates putative overcharges for all years between 1995 and 2006 pooled
        together, with only 2007 separated from the rest of the class period. Making no change to
        her analysis other than just unbundling the alleged cartel period such that her model is
        used to estimate potential CPT overcharges for each year of the alleged cartel activity
        reveals that Dr. Netz’s model estimates positive and statistically significant (at the 10%
        level) overcharges only in 1995 and 1996. For all other years, her model implies



79
   When applied to large CPTs (26 inches or greater), Dr. Netz’s damages model estimates a
3.9% overcharge during the 1995-2006 period, but it is not statistically significantly different
from zero at the 10% level (and hence it is not statistically significantly different from zero at the
5% level as well). This is smaller than the 9% overcharge that she estimates for all CPTs for the
same period. (I test for the statistical significance of the overcharge and not the coefficient of the
1995-2006 cartel dummy since the overcharge is what is relevant for this analysis. The annual
overcharge expressed as a percentage of actual CPT prices was calculated using the same
methodology as described in the Netz Damages Report Errata (p. 1). Specifically, bt, the
estimated coefficient on the year t indicator variable was first converted into a percentage of but-
for CPT prices using the formula: OCBF = exp[bt - Var(bt)/2], where Var(bt) is the estimated
variance of bt . OCBF,t was then converted into a percentage of actual prices using the formula:
OCA,t = 1 / (1 + OCBF,t).) For CPTs no smaller than 32 inches, the estimated overcharge
coefficient is 0.3% for the same period, and the estimate is also statistically insignificant. (For
both definitions of “large CPTs,” Dr. Netz’s model estimates negative overcharges in 2007.)



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       negative overcharges (except in 1997 where it finds an overcharge of just 0.1%, which is
       statistically insignificant). This is illustrated in Exhibit 13, which shows the CPT
       overcharge estimated by Dr. Netz’s CPT overcharge model for each year of the class
       period. Thus, accepting Dr. Netz’s analysis necessarily implies acknowledging that IPP
       class members who purchased TVs after 1997 were likely not impacted by the putative
       cartel, and the model cannot reject the possibility that purchasers in 1997 were also not
       impacted.80

       74. Moreover, using the annual estimates of alleged cartel impact illustrated in Exhibit
       13, Dr. Netz’s model implies that the average CPT overcharge for the entire class period
       is just 1.19%,81 far less than the 8.94%82 claimed by Dr. Netz for the class period.83

       75. Furthermore, even the “overcharges” estimated for 1995 and 1996 by Dr. Netz’s
       model may, in fact, have had nothing to do with the alleged cartel. Dr. Netz’s quantitative
       analysis of target prices allegedly set by the cartel does not cite to a single CPT target




80
  Examining impact by each year of the class period may better capture the impact of the cartel
on class members than an estimate that pools all years. “In class action cases where class
membership varies over time, estimating an overcharge for various subperiods may lead to a
more accurate estimate of overcharges for specific class members than would an estimate of the
average overcharge over the entire relevant time period.” (ABA Section of Antitrust Law,
“Proving Antitrust Damages: Legal and Economic Issues,” (2D ED. 2010), p. 204.)
81
  1.19% is the weighted average annual overcharges estimated by Dr. Netz’s model (when
modified to estimate annual overcharges) for each year of the class period. Years for which Dr.
Netz’s model estimates negative overcharges are assumed to have had zero overcharges. Each
calendar year is weighted by its share of IPP members’ total CPT expenditures, as estimated by
Dr. Netz. (Netz Damages Report, Exhibit 80.)
82
  8.94% is the weighted average of Dr. Netz’s estimates of CPT overcharges for the 1995-2006
period and 2007 (with the two periods weighted by their shares of IPP members’ CPT
expenditures).
83
  The weighted average annual overcharge implied by a model with annual cartel impact
estimates need not be comparable to Dr. Netz’s estimate with many years pooled together
because the estimated coefficients of the various cost and demand control variables in the
regression change when Dr. Netz’s model is generalized to allow for varying annual
overcharges.



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       price agreed to by the alleged cartel members in 1995, 1996 or 1997.84 This is illustrated
       in Exhibit 13, in which the bar heights indicate the fraction of annual CPT sales covered
       by target prices identified by Dr. Netz. As this exhibit shows, the target price coverage
       was zero from 1995 through 1997. Moreover, although Exhibit 28 of Dr. Netz’s report
       lists documents that she characterizes as instances in which some Defendants agreed to
       reduce production capacity and supply, the earliest CPT-related instance she lists is from
       a meeting in September 1998.

       76. In contrast to the paucity of evidence of cartel activity that Dr. Netz finds in 1995-97,
       there exist non-collusive explanations for why prices in 1995 and 1996 were relatively
       high. For instance, manufacturers reported shortages of specialty glass used in CRTs in
       1995 and 1996,85 which likely would have resulted in higher CPT prices in 1995 and
       1996 regardless of whether the alleged cartel was effective.86


VIII. Dr. Netz’s Model of CPT Overcharges Is Fundamentally Unreliable and
      Does Not Support a Claim of Substantial Overcharges.
       77. In order to estimate CPT overcharges, Dr. Netz compares CPT prices during two
       cartel periods (Q2 1995 through 2006 and, separately, 2007) with CPT prices during a
       benchmark non-cartel period. The benchmark period is comprised of two time periods
       pooled together: (i) the pre-cartel period from Q1 1993 through Q1 1995, and (ii) the
       post-cartel period from Q1 2008 to Q1 2011. In effect, Dr. Netz compares the average
       CPT price during each cartel period with the average price during the benchmark period.
       In doing so, she controls for a limited set of market factors such as LCD penetration, the


84
  This finding is based on a review of Dr. Netz’s target price database (“clean_target.dta”)
produced as part Dr. Netz’s Damages Report back-up.
85
   See, e.g., Pereira, Pedro. “Higher monitor prices looming—Shortages of cathode ray tubes,
higher production costs in Japan taking a toll,” Computer Reseller News. April 10, 1995, #625;
“Corning Asahi Expanding Glass, Adding 35” Consumer Electronics. 10 July 1995.
86
  Dr. Netz’s overcharge regression contains a control variable for glass costs, but (as explained
below) it is limited to glass costs in Korea and likely does not accurately reflect global glass
costs.



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          cost of specialty glass in Korea, CPT size and manufacturer. Dr. Netz concludes that,
          after controlling for these market factors, CPT prices were, on average, 9% higher during
          Q2 1995 through 2006 relative to the benchmark period, and that they were 3.1% higher
          in 2007.

          78. However, Dr. Netz’s econometric estimates of CPT overcharges are fundamentally
          unreliable for several reasons that I explain in this section.

      A. The CPT industry changed fundamentally during the estimation period in ways not
         captured by Dr. Netz’s model.87
          79. The CPT industry changed fundamentally between 1993 and 2011.88 For example,
          CRT technologies that dominated global sales of televisions in the early years were
          displaced by LCD (and to a lesser extent plasma) technologies by the end of the alleged
          cartel period. Moreover, the mix of characteristics of CPTs changed substantially during
          the relevant period. For example, as noted above, manufacturers introduced flat CPTs in
          place of curved CPTs in order to better compete with flat screen technologies such as
          LCD and plasma, thereby increasing the share of flat CPTs. For instance, Dr. Netz’s data
          record no flat CPT sales by Panasonic Corporation during the years prior to the start of
          the alleged cartel, but their flat CPT sales increased during the alleged cartel period such
          that flat CPTs accounted for about 62% of their CPT sales during that period.89 Not only



87
   In addition to the problems described in this section about Dr. Netz’s estimation of
overcharges, the CPT sales dataset that she uses for her overcharge analysis has serious
shortcomings.

                                           SDI, one of the largest CPT manufacturers, is missing
from both the pre-cartel and post-cartel periods. Dr. Netz has data on Thomson, another major
CPT manufacturer, for only four years during the alleged cartel period and none for the years
prior to or after the alleged cartel. Dr. Netz has performed no analysis of the implications of
these data gaps on her overcharge estimates.
88
     Dr. Netz uses data from 1993 through 2011 in order to estimate CPT overcharges.
89
   Estimates of the revenue share of flat CPTs sold by Panasonic Corporation are based on CPT
sales data compiled by Dr. Netz. Dr. Netz’s data record the first flat CPT sale by Panasonic
Corporation in Q2 2000. The comparison of the incidence of flat CPTs at Panasonic Corporation
is only between the alleged cartel period and the period prior to that (“pre-cartel period” or “pre-
                                                                                     (footnote continued …)


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         did the mix of product characteristics change, the mix of CPT manufacturers also
         changed during the class period such that by the end of the alleged cartel period
         manufacturers such as Hitachi had exited the industry or reconfigured their
         participation.90

         80. The changes in industry conditions during the class period render Dr. Netz’s model
         unstable and hence unreliable. To see why, it is important to recognize a fundamental
         assumption of the dummy variable model employed by Dr. Netz to estimate CPT
         overcharges: she assumes that she has fully controlled for all material changes in market
         conditions between the alleged cartel period and the benchmark non-cartel periods such
         that the only material remaining difference between the cartel and non-cartel periods is
         the absence of collusive conduct in the benchmark period. If, however, market conditions
         materially differed between the cartel and benchmark periods in ways that are not fully
         accounted for by Dr. Netz, then the difference in CPT prices between the alleged cartel
         and non-cartel periods, i.e., the “overcharge” estimated by Dr. Netz’s dummy variable
         model, would reflect those unaccounted for differences in market conditions and not just
         the impact of the alleged cartel. If so, Dr. Netz would conflate changes in market
         conditions with the impact of the alleged cartel on CPT prices.

         81. In fact, Dr. Netz’s model does fail to control for salient changes in market conditions
         during the estimation period. For example, her model does not control for changes in

(… footnote continued)


period”) because I understand that MTPD wound down its CPT business in 2007. More
generally, Dr. Netz’s data on all CPT manufacturers present during both the pre-cartel and
alleged cartel periods show that flat CPTs had a 64.1% share of CPT sales during the alleged
cartel period, whereas the data record no flat CPT sales by any manufacturer during the pre-
cartel period. When I further limit the data to manufacturer- CPT size combinations that were
present in both the pre-cartel period and the alleged cartel period, I find that the share of flat
CPTs was 57.6% during the claimed cartel period. (The share of flat CPTs during the cartel
period is estimated only for observations where the CPT shape is recorded in the data.)
90
  I understand that Hitachi Defendants ceased manufacturing CPTs by April 2002 and ceased
selling CPTs by March 2003. Moreover, I understand that Philips and LG transferred their CRT
operations to LPD, a joint venture established in 2001. Similarly, I understand that Panasonic
Corporation and Toshiba Corp. transferred their CRT operations to MTPD.



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         product quality over time, and thus it does not recognize the fact that CPT manufacturers
         shifted production from curved to flat CPTs (for instance) during this period, although
         Dr. Netz acknowledges that CPT shape is a major determinant of CPT prices91 and that
         changes in product mix are relevant for her analysis.92

         82. Since prices for flat CPTs were higher than for curved CPTs, the shift to flat CPTs
         would likely have increased the prices of CPTs during the class period (when there were
         more flat CPTs) relative to their prices during the pre-class period. In fact, the data used
         by Dr. Netz show that the prevalence of flat CPTs (measured by the fraction of revenues
         accounted for by flat CPTs) was greater during the class period than before or after the


91
     Netz Damages Report, p. 7.
92
   At her deposition, Dr. Netz acknowledged that the mix of CRTs sold changed over time and
that the change was relevant for her analysis. Specifically, she testified that more flat and
widescreen CRTs were sold over time and that these types of CRTs had higher prices (all else
being equal). (Deposition of Dr. Janet Netz, June 27, 2014 (“Netz Deposition”), pp. 72-74.) She
also testified that although she has no direct controls for the change in product mix in her
overcharge regression, nonetheless her regression model contains time-trend variables that would
“in part” control for the impact of the changes in product mix. (Netz Deposition, p. 75.)
However, Dr. Netz presents no evidence that these time-trend variables effectively capture the
price impact of changes in CPT quality. In fact, these trend variables only capture market
changes that follow a very particular shape implied by the functional form that she uses. Any
market changes that do not follow this particular shape would not be properly controlled for in
her analysis.
For example, Dr. Netz estimates a convex trend in her CPT overcharge regression that increases
monotonically (i.e., consistently) during the entire data period (from 2003 through Q1 2011). Dr.
Netz provides no evidence that the change in product mix followed this particular pattern over
time. Indeed, the fact that manufacturers such as IRICO and LPD, whose data are used by Dr.
Netz, show a decrease in their share of flat CPTs between the alleged cartel period and the post-
cartel period is inconsistent with the trend variable used by Dr. Netz, and it is evidence that the
change in product mix is not properly controlled for by Dr. Netz’s trend variables. (Neither LPD
nor IRICO have pre-period data.) More generally, when I compare the share of flat CPT sales
revenues for all manufacturers in Dr. Netz’s data that had sales during the claimed cartel period
and the post-cartel period, I find that flat CPTs’ share of total CPT revenue was smaller (35.7%)
in the post-cartel period than in the alleged cartel period (47.4%). When I limit the analysis to
manufacturer-size combinations that were sold during the alleged cartel period and in the post-
cartel period, I find that the share of flat CPT sales fell from 56.3% during the claimed cartel
period to 35.7% during post-cartel period. (All estimates of flat CPT sales shares are estimated
only for observations where the CPT shape is known.)



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          class period.93 Because Dr. Netz’s model of CPT overcharges does not recognize this
          change in the quality mix of CPTs, it mistakenly attributes higher prices of CPTs during
          the class period to the deleterious effects of the alleged cartel rather than to the increased
          prevalence of the higher priced flat CPTs. Consequently, Dr. Netz likely over-estimates
          the impact of the putative cartel on CPT prices.

          83. The importance of controlling for material changes in market conditions when using a
          dummy variable model to estimate damages is well recognized by economists, as
          evidenced by the following excerpt from a treatise on the use of quantitative methods:

                     [T]he omission of relevant variables [from a dummy variable
                     regression] can bias the results. If, for example, costs were high
                     during those periods of alleged wrongful behavior because of
                     the influence of variables not included in the regression model,
                     or if demand grew more inelastic during that period in ways
                     not captured by the included demand-side variables, then a
                     dummy variable reflecting the likely effect of wrongful
                     behavior might have a large positive coefficient for reasons
                     unrelated to the existence of the alleged conspiracy.94

          84. Even for those market factors that Dr. Netz attempts to control for in her estimation
          model, her model assumes that their relationship with CPT prices was stable (i.e., the
          same) throughout the alleged cartel and benchmark periods. However, if the relationship
          between these market forces and CPT prices changed during the 18-year estimation
          period, then the fundamental assumption of stability between the cartel and non-cartel
          periods would be violated.

          85. For example, Dr. Netz includes the GDP of and unemployment in OECD economies
          in her regression. These variables are expected to control for changes in demand for


93
     See supra notes 89 and 92.
94
  Rubinfeld, D.L. “Quantitative Methods in Antitrust,” in 1 Issues in Competition Law and
Policy, 723 (ABA Section of Antitrust Law 2008), p. 740.



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       CPTs as economic conditions in major CPT consuming markets changed over time.
       However, the impact of the Great Recession in 2008-09 (after the alleged cartel ended)
       on CPT demand and prices is not likely to be the same as the impact of the recession in
       2000 (during the alleged cartel), not just because of the greater magnitude of the 2008
       recession but also because by 2008 CRT TVs had largely been displaced by LCD and
       plasma TVs. The extent to which consumers responded to similar changes in their income
       and employment status by buying more or less CPT TVs was not likely to be the same in
       2008 as it was in 2000, but this is what Dr. Netz’s model assumes.

       86. More generally, changes (between the cartel and non-cartel periods) in the
       relationships between CPT prices and market variables that explain CPT prices result in
       Dr. Netz conflating the impact of the alleged cartel on CPT prices with changes in market
       conditions. Put simply, if Dr. Netz’s model is not stable, then her benchmark period is not
       a reliable benchmark for damages estimation.

       87. The importance of model instability due to changes in the relationships between
       market variables has long been recognized in economics. The impact of such changes
       (also termed “structural breaks” in the literature) is described thusly in a well-known
       econometrics textbook:

              A … nonstationarity arises when the population regression
              function changes over the course of the sample. In economics, this
              can arise for a variety of reasons, such as changes in economic
              policy, changes in the structure of the economy, or an invention
              that changes a specific industry. If such changes or “breaks” occur,
              then a regression model that neglects those changes can provide a
              misleading basis for inference and forecasting.95

       88. Economists have recognized the relevance of model stability in the context of dummy
       variable models used for damage estimation:


95
 Stock, J.H., and Watson, M.W. (2011) Introduction to Econometrics. 3rd edition. Addison-
Wesley. p. 556.



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                  There is, however, an important limiting assumption implicit in the
                  dummy variable approach. That assumption is that the overall
                  behavior of the regression model can be modeled in precisely the
                  same way during both the conspiratorial and non-conspiratorial
                  periods. This may be a reasonable assumption in some cases, but it
                  should not be made without substantial thought. If prices are
                  determined in rather complex ways, the use of a single dummy
                  variable that will reflect mean differences between the benchmark
                  and but-for periods may be too simplistic.96

          89. Direct evidence of the instability of Dr. Netz’s model is found in two tests. First,
          when forming her benchmark periods, Dr. Netz pools together the nine quarters prior to
          the start of the alleged cartel with the thirteen quarters after the alleged cartel ended. In
          doing so, Dr. Netz implicitly assumes that her estimation model is stable between these
          two periods, but she neither tests this assumption nor provides any supporting evidence.
          Put differently, she assumes, without support, that market conditions remained
          sufficiently unchanged so that the relationship between CPT prices and GDP (for
          instance) was the same between the pre-class period (Q1 1993 to Q1 1995) and the post-
          class period (Q1 2008 to Q1 2011) despite the 18-year gap between the start of the pre-
          class period and the end of the post-class period and the enormous changes in CPT
          industry conditions during this time.

          90. If she were correct in her assumption, then the two benchmark periods would imply
          approximately similar overcharges for CPTs. They do not. When Dr. Netz’s model is
          applied so that only the post-class period is used as a benchmark (and the pre-class period
          is excluded altogether from the analysis), the estimated overcharge is 1.7% (which is not
          statistically significant and hence one cannot reject the possibility that the overcharge is
          zero) for the 1995-2006 period and -4.4% (which is statistically significant) for 2007. In
          contrast, when Dr. Netz’s model is applied so that only the pre-class period is used as a



96
     See Rubinfeld, supra note 94, p. 740.



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        benchmark (and the post-class period is excluded altogether from the analysis), her model
        estimates a statistically significant overcharge of 14% for both the 1995-2006 period and
        2007. Thus, the two benchmark periods are clearly fundamentally different, which is not
        surprising given the enormous changes in market conditions during the relevant period.
        Thus, Dr. Netz's model is revealed as unstable.

        91. I have also tested the stability of Dr. Netz’s model by employing a standard statistical
        test of structural breaks. This test compares the relationships between CPT prices and the
        market demand and cost controls (for example) between the alleged cartel and non-cartel
        periods as defined by Dr. Netz. For example, the test would compare the effect of a 5%
        change in the unemployment rate in OECD economies on CPT prices during the alleged
        cartel period with the impact of a similar change in the unemployment rate during the
        non-cartel period. If Dr. Netz’s model were stable, then the statistical test would be
        unable to reject within a statistical margin of error the proposition that the impact of
        changes in unemployment on CPT prices was comparable in the alleged cartel period and
        the benchmark period. However, the test emphatically rejects the proposition that Dr.
        Netz’s model is stable between the alleged cartel and non-cartel periods.97

        92. In sum, Dr. Netz’s dummy variable model does not control for material changes in
        market conditions, and hence it conflates changes in market conditions with the impact of
        the alleged cartel on CPT prices.

     B. Dr. Netz’s model implies an implausible pattern of CPT damages.
        93. As explained above, Dr. Netz’s model estimates that CPT overcharges occurred only
        during the first three years of the alleged cartel but not thereafter. Nearly all the


97
   A Chow test of the null hypothesis that covariates other than the cartel dummies in Dr. Netz’s
CPT overcharge model are stable between the alleged cartel and non-cartel periods is rejected at
the 0.001% level of statistical significance. The test is conducted as follows: I first interact a
single cartel dummy variable (which equals 1 between Q2 1995 and Q4 2007 and zero
otherwise) with each of the control variables (including fixed effects of CPT size-manufacturer
combinations) in Dr. Netz’s model. I then include these interaction variables in Dr. Netz’s
model, estimate the extended model, and then test the joint hypothesis that the coefficients of
these interaction variables equal zero.



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        overcharges are estimated to have occurred in 1995 and 1996. However, as also
        explained above, Dr. Netz is unable to find evidence of agreements between Defendants
        related to target prices and supply reductions in 1995 and 1996. Moreover, there are non-
        collusive explanations for CPT price increases in 1995 and 1996. The inability of Dr.
        Netz to find any correspondence between the timing of her estimated CPT overcharges
        and the incidence of key activity (e.g., agreements to set target prices or to reduce
        capacity) by the alleged cartel is a further indication of the unreliability of her approach
        to estimating CPT overcharges.

     C. Dr. Netz’s CPT overcharge estimates are inconsistent with available data on profit
        margins.
        94. Chunghwa is the major CPT manufacturer for which I have been able to locate CPT-
        related (or CRT-related) profitability (gross margin) and investment data for the longest
        time period. Applying Dr. Netz’s CPT overcharge estimates to Chunghwa leads to the
        conclusion that Chunghwa would have persistently operated at a loss in the but-for world.
        Specifically, Dr. Netz’s but-for CPT prices imply that Chunghwa’s but-for CPT gross
        profit margins would have been negative in seven of the twelve years between 1995 and
        2006 (the period for which data on CPT margins are available for Chunghwa) with an
        average annual but-for gross margin equal to -2.2% during these years.98

        95.
                        Yet Dr. Netz’s estimates of CPT and CDT overcharges imply that


98




                                                                                   (footnote continued …)


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         Chunghwa’s overall CRT gross margin in the but-for world would have been negative in
         seven of eight years between 1999 and 2006, and the average annual but-for gross margin
         would have been -7.8%.100 Chunghwa’s operating margins, which account for overhead
         costs, would have been even more negative in the but-for world postulated by Dr. Netz. It
         would be economically irrational for a firm facing persistent losses not to scale back
         investment, capacity and production, but this supply reduction is not incorporated into
         Dr. Netz’s analysis, which is further evidence of the unreliability of her overcharge
         analysis.

      D. Dr. Netz provides no basis for her assumption that her estimated global CPT price
         overcharge is a reliable estimate of the overcharge paid by members of the IPP class
         in the U.S.
         96. Dr. Netz estimates CPT overcharges using global CPT prices, and she then applies
         this estimated overcharge (through claims of pass-through) to TV purchases by members
         of the U.S.-based IPP class. Thus, Dr. Netz assumes that the global CPT overcharge that
         she estimates is a reliable estimate of the overcharge paid by U.S. TV consumers.
         However, she provides no evidence or analysis to support this assumption. This is a
         notable omission for several reasons.

                        First, a substantial volume of CPTs were manufactured in North America,
                         and the domestic production exceeded CPT imports into North
                         America.101




(… footnote continued)




101
   See supra note 8. See also MTPD-0202360.ppt, p. 13. Dr. Netz acknowledges that only a
minority (25% or less between 1995 and 2003) of CPTs sold in North America were imports.
(Netz Damages Report, p. 74.)



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                     Second, among the CPT target prices that Dr. Netz has identified and used
                      in her quantitative analyses of target prices, she has not identified any that
                      she contends specifically applied to CPTs sold in North America.
                     Third, even if the CPT target prices that Dr. Netz has identified applied to
                      CPTs sold in North America, such target prices applied only to a very
                      small fraction of CPTs sold in North America – smaller than the
                      worldwide coverage of such target prices. Specifically, whereas the CPT
                      target prices identified by Dr. Netz applied to at most only 17.5 % of CPTs
                      sold outside North America during the class period, they applied to an
                      even smaller fraction of North American CPT sales, i.e. at most 9.9% (see
                      Exhibit 6).102, 103 This is due to the fact that CPTs sold in North America
                      were, on average, larger than CPTs sold in the rest of the world (as
                      explained below), and (as explained above) larger CPTs were less likely to
                      have target prices associated with them (per Dr. Netz’s data).
                     Fourth, I find that changes in the alleged target prices were even poorer
                      predictors of changes in actual prices for CPTs sold in North America than
                      in the rest of the world. Specifically, whereas changes in target prices
                      explain only 3.9% of the variation in changes in the prices of CPTs sold
                      outside North America, they explain an even smaller share, 2.6%, of the
                      variation in changes in North American CPT prices. Similarly, whereas,
                      on average, a 5% change in the alleged applicable target price identified
                      by Dr. Netz is associated with only a 0.95% increase in the actual prices of
                      CPTs sold outside North America during the same quarter, it is associated
                      with an even lower increase, 0.67%, in the actual prices of CPTs sold in
                      North America during the same quarter. This is again due to the fact that


102
    These coverage estimates are based on the corrections to Dr. Netz’s flawed methodology for
estimating target price coverage that I have described above in § V.A.
103
   Similarly, the CPT target prices identified by Dr. Netz applied to at most only 10.1 % of
revenues from CPTs sold outside North America during the class period compared to at most
4.6% of revenues from CPTs sold in North American during the same period.



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                       CPTs sold in North America were, on average, larger than CPTs sold in
                       the rest of the world (as explained below), and (as explained above)
                       changes in the prices of larger CPTs were less likely to be correlated with
                       changes in target prices associated with them than smaller CPTs.
                      Fifth, CPTs sold in North America were substantially more likely to be
                       large than CPTs sold in the rest of the world. For example, 53% of CPTs
                       sold in North America during the class period were large CPTs, whereas
                       the corresponding share in the rest of the world was only 19%. As
                       explained above, the alleged cartel is less likely to have impacted prices of
                       large CPTs, and hence the impact on CPTs sold in North America may
                       well have been smaller.
                      Sixth, based on a comparison of divergent prices paid by Sharp
                       Electronics Corporation (“Sharp”) for CPTs in North America and in Asia,
                       Professor Hausman, the expert economist in the instant matter for Sharp, a
                       Direct Action Plaintiff, has focused on estimating overcharges in a North
                       American CPT market separate from the rest of the world.104

        97. In sum, there are sound economic reasons to conclude that the North American CPT
        marketplace differed in material ways from the rest of the world. Despite these reasons,
        Dr. Netz has provided no quantitative analysis to support the view that her estimate of
        worldwide CPT overcharges is a reasonable estimate of overcharges of TVs sold to IPP
        class members in the U.S.

        98. In fact, when Dr. Netz’s CPT overcharge model is estimated using only data on CPTs
        sold in North America, the model estimates a 5.14% overcharge for the alleged cartel
        period, which is substantially less than the 8.94% that Dr. Netz estimates using
        worldwide data for the same period.105 Thus, even setting aside the basic flaws with Dr.


104
   Expert Report of Professor Jerry Hausman, April 15, 2014 (hereafter “Hausman Report”),
¶15.
105
   These overcharges are the weighted average overcharge during (a) Q2 1995-Q4 2006 and (b)
2007.


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        Netz’s model of CPT overcharges, her model estimates substantially smaller overcharges
        for CPTs sold in North America.


IX.     Modifying Dr. Netz’s Model to Better Control for Changes in CPT
        Industry Conditions Materially Reduces Her CPT Overcharge
        Estimates.
        99. Dr. Netz purports to estimate a single average overcharge for all years between 1995
        and 2006. However, since market conditions changed materially over time (e.g., the
        advent of flat screen competition after 2000), it is highly likely that the effectiveness of
        the alleged cartel varied over time. Indeed, as explained above, when Dr. Netz’s model is
        used to estimate overcharges for each year in the class period, it predicts positive
        overcharges only for the first three years (1995-1997) of the class period. Moreover,
        allowing the CPT overcharge estimates in Dr. Netz’s model to vary by year produces
        overcharge estimates that average just 1.19% for the entire class period (1995-2007), far
        lower than Dr. Netz’s estimate of 8.94% for the same period.106 In this section, I explain
        that even when CPT overcharges are estimated for all years between 1995 and 2006
        pooled together (as Dr. Netz does), modifying her CPT overcharge model to better
        control for changes in market conditions leads to estimated CPT overcharges that are
        closer to the estimate produced by the annualized version of her model.107

        100.    Although economic logic implies that manufacturing costs are a key determinant
        of pricing, Dr. Netz controls only for the cost of specialty glass in Korea;108 she controls



106
   As noted earlier, the weighted average annual overcharge implied by a model with annual
cartel impact estimates need not be comparable to Dr. Netz’s estimate with many years pooled
together because the estimated coefficients of the various cost and demand control variables in
the regression change when Dr. Netz’s model is generalized to allow for varying annual
damages.
107
   In her damages report filed on April 15, 2014, Dr. Netz made a calculation error that inflated
her estimate of CPT overcharges. After being questioned about this error at her deposition, Dr.
Netz filed an errata report on July 3, 2014 in which she corrected this mistake.
108
  Dr. Netz relies on a Korean glass cost producer price index (PPI) provided by the Bank of
Korea (the Korean central bank). According to relevant documentation on the bank’s web site,
                                                                                    (footnote continued …)


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         for no other manufacturing or distribution costs. As explained earlier, Dr. Netz provides
         no support for her assumption that her estimates of overcharges associated with global
         CPT prices provide reliable estimates of overcharges paid by IPP class members.
         Nonetheless, even if one were to maintain her assumption of a globally integrated CPT
         marketplace and her focus on Korea, it makes economic sense to add the following
         market variables to Dr. Netz’s CPT pricing regression model: a global shipping cost
         index (because Dr. Netz claims that a substantial volume of CPTs were shipped across
         countries109), an index of labor cost in Korea (because labor costs were an important
         component of the manufacture of CPTs110), and the Korean Won-U.S. dollar exchange
         rate (because to the extent such imports occurred, exchange rate fluctuations likely
         affected the cost of importing CPTs and TVs from Korea to the U.S.111 ). Economic logic
         suggests that these supply-side variables likely affected CPT prices and thus including


(… footnote continued)


each PPI series “measures the developments of the prices of domestic goods and services sold by
producers.” (Bank of Korea web site, accessed on June 20 2014,
http://ecos.bok.or.kr/download/Guide%20to%20Economic%20Statistics%20Compiled%20by%2
0the%20BOK%20(as%20of%20Nov%202013).pdf,, p.39) At her deposition, Dr. Netz testified
that the Korean glass cost PPI is “closely correlated” with glass costs in several other countries.
(Netz deposition, p. 84.) However, a comparison of the Korean glass cost metric used by Dr.
Netz and several available glass cost metrics for Japan and the U.S. during the relevant period
shows that the Korean glass PPI often deviated from the Japanese and U.S. glass variables for
extended time periods. Consistent with this, an analysis of correlations between the Korean glass
cost metric used by Dr. Netz and the glass cost metrics in Japan and the U.S. having the longest
available time series data shows that quarterly changes in the Korea glass costs and changes in
glass costs in Japan and the U.S. were not correlated in a statistically significant manner (at the
10% level). (For this analysis, I used the following glass cost series since they were available for
the entire 1993-2011 period when CPT data are available: Japan Scientific Glass Instrument PPI,
Japan Float Glass PPI and the U.S. Pressed and Blown Glass PPI.)
109
   Netz Damages Report, p. 74. (The global shipping cost index -- the Baltic Dry Index -- is
obtained from Bloomberg LP. The index provides an assessment of the cost of moving major
raw materials by sea).
110
   See, e.g., 010_LPD-NL-00140679-692.ppt at pp. 6-7, 14. The Korean labor cost index that I
use is a metric of labor costs in Korean manufacturing recorded by the OECD.
111
   North America consumed 20% or more of global CRT TVs during most years of the class
period. (Exhibit 47, Netz Damages Report.)



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        these variables in Dr. Netz’s CPT pricing regression would better control for changes in
        market conditions that affected CPT prices.112 I have also added sales in U.S. electronics
        retail stores as a proxy for TV demand, which may well have affected CPT prices.113, 114

        101.   Adding these market demand and supply variables to Dr. Netz’s model, but
        otherwise leaving her analysis unchanged, leads to a 2.3% overcharge estimate (which is
        not statistically significant at the 10% level) instead of the 9.0% overcharge for the 1995-
        2006 period that Dr. Netz’s less explanatory model obtained. For 2007, the modification
        reduces the overcharge from 3.1% to -3.8%, which is statistically significant at the 5%
        level. Even these estimates, which are produced only by maintaining Dr. Netz’s flawed
        assumption that changes in the mix of CPT products over time did not materially affect
        the analysis, are likely to be an inflated estimate of overcharges. Although these
        modifications improve her analysis, Dr. Netz’s analysis of CPT overcharges remains
        fundamentally unsound (for the reasons explained above), and the modifications
        explained in this section do not remedy the fundamental flaws in her CPT overcharges
        analysis.




112
    On average, increases in shipping costs and Korean labor costs were likely to be associated
with increases in CPT prices. Increase in the Korean Won-U.S. dollar exchange rate (i.e., the
number of Won per U.S. dollar) represents an appreciation of the dollar against the Won. Since
at least some Korea-based vendors’ supply contracts set prices in Won, an appreciation of the
U.S. dollar against the Won was likely to lead to a decrease in dollar-denominated CPT prices.
(About 42% of SDI’s sales were denominated in Won during the 1998-2007 period for which
SDI sales data are available in the data used by Dr. Netz to estimate overcharges.)
113
   This variable estimates sales at U.S. electronics and appliance stores, and it is compiled by the
U.S. Census Bureau. (These data were also used by Professor Jerry Hausman, the expert
economist in the instant matter for Sharp, a Direct Action Plaintiff, in his expert report.
(Hausman Report, ¶ 61.)
114
   Once added to Dr. Netz’s regression, each of these variables appears with the sign predicted
by economic logic, and they are jointly statistically significant at the 1% level (i.e., an F-test of
the joint hypothesis that the coefficients of all the additional variables equal zero is rejected at
the 1% level of significance).



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X.     Conclusions
       102.    In sum, I have reached the following key conclusions:

          a)      Market conditions for CPTs differed materially from conditions for CDTs. As
                  such, it makes economic sense to analyze the impact and damages of the
                  alleged cartel separately for CPTs and CDTs.
          b)      Salient characteristics of the CPT industry were not conducive to effective and
                  sustained class-wide elevations of CPT prices resulting from collusion.
          c)      Defendants’ conduct was inconsistent with a sustained and effective CPT
                  cartel.
          d)      Straightforward evidence on CPT prices, margins and capacity do not support
                  Dr. Netz’s claim of a highly successful CPT cartel.
          e)      Dr. Netz’s model of CPT overcharges undermines her claim that the alleged
                  cartel had a class-wide impact because it finds potentially no damages after
                  1997 and potentially no damages for large CPTs.
          f)      Dr. Netz’s model of CPT overcharges is fundamentally unreliable and does
                  not validly support a claim of substantial overcharges. In particular, Dr. Netz’s
                  model crucially assumes that the model includes all material economic
                  determinants of CPT prices and also that the underlying relationships between
                  the economic factors and CPT prices did not change materially during the 18-
                  year estimation period. As such, the model assumes that the only reason (after
                  controlling for the included economic factors) that prices were higher during
                  the class period is the alleged collusive conduct by manufacturers. However,
                  standard tests show that relationships between CPT prices and the economic
                  variables included in Dr. Netz’s model were not at all stable during the 18-
                  year period (consistent with dramatically changing market conditions for
                  CPTs). Moreover, the model excludes basic economic determinants (such as
                  product quality) of CPT prices. For both these reasons, Dr. Netz’s model
                  produces completely unreliable estimates of collusive overcharges.
          g)      Despite these fundamental flaws, if Dr. Netz’s model were to be used to
                  estimate CPT overcharges, then her model should be modified to better
                  control for changes in market conditions. Making reasonable modifications to
                  her model to include relevant economic variables and better control for
                  changes in market conditions result in an estimated CPT overcharge of 2.3%
                  during the 1995-2006 period and a negative overcharge in 2007. Although
                  these corrections improve Dr. Netz’s model of CPT overcharges, they do not
                  remedy the fundamental flaws described in this report.




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                       Exhibit 1: CRT Share of Worldwide Finished Product Sales by Application
                                                    (2001-2009)
    100%

      90%

      80%

      70%

      60%

      50%

      40%

      30%

      20%

      10%

       0%
             1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4
                2001        2002        2003         2004         2005         2006        2007       2008        2009
                                    CRT Desktop Monitor Share            Direct View CRT TV Share
Sources: (1) iSuppli Worldwide Monitor Market Tracker Database; (2) iSuppli Television Systems Market Tracker Database.
Notes: (1) Direct View CRT TV Share represents CRT TV shipments as a percentage of CRT, LCD, plasma, and projection TV shipments;
(2) CRT Desktop Monitor Share represents CRT monitor shipments as a percentage of CRT and LCD monitor shipments.
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                                 Exhibit 2: Fisher Indices of Global CPT and CDT Prices
3.00
                                                                                                                        CDT
                                                                                                                        CPT

2.50
                                                                                Alleged cartel end date



2.00




1.50




1.00



                          Alleged cartel start date
0.50




0.00




Source: Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation, Philips,
SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.
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                            Exhibit 2: Notes for Fisher Indices of Global CPT and CDT Prices
Notes:
(1) The global CRT sales data range from Q1 1992 to Q4 2011;
(2) The quarter-to-quarter change in the Fisher Price Index for CDTs/CPTs represents an average across all CDT/CPT models and
customers of the changes in the prices paid by each customer for each model; the price changes across quarters t-1 and t are averaged in
two ways - once using the quarter t-1 sales volumes and once using the quarter t sales volumes - and the change in the Fisher Price Index
represents the geometric mean of the two average price changes;
(3) Each index is set to 1.0 in Q1 2000;
(4) Prices were excluded as outliers as follows: for each quarter in which a given CRT model was sold to a given customer, the average
quarterly price change was calculated between the given quarter and the previous quarter in which the same model was sold to the same
customer. Price changes that were less than the 25th percentile of the distribution of price changes across all defendants minus 3 times
the interquartile range of that distribution or greater than the 75th percentile of the distribution plus 3 times the interquartile range were
flagged as “very large price decreases” or “very large price increases,” respectively. Prices for a given model, customer, and quarter were
excluded as outliers if: (a) the price for the model and customer experienced a very large decrease in the given quarter followed by a very
large increase in the next quarter in which that model was sold to that customer, or vice versa; (b) it was the first quarter in which the
model was sold to the customer and the price experienced a very large increase or decrease in the next quarter in which that model was
sold to that customer; or (c) it was the last quarter in which the model was sold to the customer and the price experienced a very large
increase or decrease from the previous quarter in which that model was sold to that customer;
(5) The following observations were excluded: (a) observations for which the manufacturer, application, size, model number, or customer
name was missing; (b) sales between integrated entities that sold CRTs; and (c) observations identified by Dr. Netz as outliers.
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                              Exhibit 3: CRT TV Share of Worldwide TV Sales (by TV Size)
                                                      2001-2009
   100%

     90%

     80%

     70%

     60%

     50%

     40%

     30%

     20%

     10%

      0%
            1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4 1 2 3 4
               2001          2002         2003         2004           2005          2006       2007         2008         2009

                                            CRT Large Share           CRT Small/Medium Share
Source: iSuppli TV Systems Market Tracker.
Notes: (1) The size categories are defined as follows: Small/Medium (0-24"), Large (25" or greater); (2) Projection TVs are considered
Large; (3) The shares represent worldwide Large (or Small/Medium) CRT TV shipments as a percentage of worldwide Large (or
Small/Medium) CRT, LCD, projection, and plasma TV shipments.
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                            Exhibit 4: Fisher Indices of Global CPT Prices by Size Category
1.60
                                                                                                                Small/Medium
                                                                                                                Large
1.40
                                                                                Alleged cartel end date

1.20



1.00



0.80



0.60
                    Alleged cartel start date

0.40



0.20



0.00



Source: Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation, Philips,
SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.
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                            Exhibit 4: Notes for Fisher Indices of CPT Prices by Size Category
Notes:
(1) The global CRT sales data range from Q1 1992 to Q4 2011;
(2) The quarter-to-quarter change in the Fisher Price Index for CDTs/CPTs represents an average across all CDT/CPT models and
customers of the changes in the prices paid by each customer for each model; the price changes across quarters t-1 and t are averaged in
two ways - once using the quarter t-1 sales volumes and once using the quarter t sales volumes - and the change in the Fisher Price Index
represents the geometric mean of the two average price changes;
(3) Each index is set to 1.0 in Q1 2000;
(4) Prices were excluded as outliers as follows: for each quarter in which a given CPT model was sold to a given customer, the average
quarterly price change was calculated between the given quarter and the previous quarter in which the same model was sold to the same
customer. Price changes that were less than the 25th percentile of the distribution of price changes across all defendants minus 3 times
the interquartile range of that distribution or greater than the 75th percentile of the distribution plus 3 times the interquartile range were
flagged as “very large price decreases” or “very large price increases,” respectively. Prices for a given model, customer, and quarter were
excluded as outliers if: (a) the price for the model and customer experienced a very large decrease in the given quarter followed by a very
large increase in the next quarter in which that model was sold to that customer, or vice versa; (b) it was the first quarter in which the
model was sold to the customer and the price experienced a very large increase or decrease in the next quarter in which that model was
sold to that customer; or (c) it was the last quarter in which the model was sold to the customer and the price experienced a very large
increase or decrease from the previous quarter in which that model was sold to that customer;
(5) The following observations were excluded: (a) observations for which the manufacturer, application, size, model number, or customer
name was missing; (b) sales between integrated entities that sold CRTs; and (c) observations identified by Dr. Netz as outliers;
(6) "Large CPTs" refers to CPTs with an actual diagonal size of at least 26 inches. "Small and Medium CPTs" refers to all other CPTs.
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                                Exhibit 5: Dispersion in Quarterly Prices Across
                                      All CPT Models and All Customers
$700


$600


$500


$400


$300


$200


$100


  $0
    1995    1996      1997     1998      1999     2000      2001        2002   2003      2004     2005      2006     2007

Source: Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation, Philips,
SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.
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                               Exhibit 5: Notes for Dispersion in Quarterly Prices Across
                                          All CPT Models and All Customers
Notes:
(1) The global CPT sales data range from Q1 1995 to Q4 2007;
(2) A point on the above chart represents the quantity-weighted average price for a given CPT model, customer, and quarter;
(3) Prices were excluded as outliers as follows: for each quarter in which a given CPT model was sold to a given customer, the
average quarterly price change was calculated between the given quarter and the previous quarter in which the same model was
sold to the same customer. Price changes that were less than the 25th percentile of the distribution of price changes across all
defendants minus 3 times the interquartile range of that distribution or greater than the 75th percentile of the distribution plus 3
times the interquartile range were flagged as “very large price decreases” or “very large price increases,” respectively. Prices
for a given model, customer, and quarter were excluded as outliers if: (a) the price for the model and customer experienced a
very large decrease in the given quarter followed by a very large increase in the next quarter in which that model was sold to
that customer, or vice versa; (b) it was the first quarter in which the model was sold to the customer and the price experienced a
very large increase or decrease in the next quarter in which that model was sold to that customer; or (c) it was the last quarter in
which the model was sold to the customer and the price experienced a very large increase or decrease from the previous quarter
in which that model was sold to that customer;
(4) The following observations were also excluded: (a) Sales between integrated entities that sold CPTs; and (b) observations
identified by Dr. Netz as outliers;
(5) A de minimis number of observations are outside the bounds of the y-axis.
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        Exhibit 6: Share of CPT Units Sales with a Corresponding Alleged Target Price
                                 ("Target Price Coverage")

                                                            Maximum Coverage Using Corrected Matching
  Coverage Using Dr. Netz's Matching Methodology
                                                                         Methodology


                       29.7%                                                 17.4%




  Maximum Coverage for Small and Medium CPTs            Maximum Coverage for Large CPTs Using Corrected
     Using Corrected Matching Methodology                          Matching Methodology


                       22.2%                                                  5.0%




 Maximum Coverage for Non-North America CPTs             Maximum Coverage for North America CPTs Using
     Using Corrected Matching Methodology                      Corrected Matching Methodology


                       17.5%                                                  9.9%


Sources:
(1) Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic
Corporation, Philips, SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.;
(2) Netz target price data.
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              Exhibit 6: Notes for Share of CPT Sales with a Corresponding Alleged Target Price
                                          ("Target Price Coverage")

Notes:
(1) Coverage using Dr. Netz's matching methodology represents the share of CPTs sold worldwide during the class period
for which Dr. Netz identified at least one CPT target price for the same manufacturer, size, finish, and quarter.
(2) The corrected matching methodology differs from Dr. Netz's methodology in that the former matches actual and CPT
target prices only if they share the same month (as opposed to quarter) and shape (if it is possible to identify the shape of
the CPT sold), and only if the manufacturer attended the relevant meeting or if there is some indication in the meeting
minutes that the manufacturer agreed to the target price;
(3) "Large CPTs" refers to CPTs with an actual diagonal size of at least 26 inches. "Small and Medium CPTs" refers to all
other CPTs.
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                          Exhibit 7: Changes in Actual Prices vs. Changes in Target Prices
                                    (by Model, Factory, Customer, and Quarter)
                                                        18%
                                                                  Actual Price
                                                                  Change (%)
                                                        14%


                                                        10%


                                                         6%

                                                                                                  Target Price Change (%)
                                                         2%

-15%               -10%                 -5%             -2% 0%                   5%                  10%               15%


                                                        -6%


                                                       -10%


                                                       -14%


                                                         -18%
  Sources: (1) Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic
  Corporation, Philips, SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.; (2) Netz target price data.
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      Exhibit 7: Notes for Changes in Actual Price vs. Changes in Target Prices (by Model, Factory,
                                        Customer, and Quarter)
Notes:
(1) An actual price observation represents the quantity-weighted average actual price for a given model, factory, customer, and
quarter using global CPT sales data for Q1 1995 to Q4 2007;
(2) A target price observation represents the average of the CPT target prices identified by Dr. Netz for a given manufacturer, size,
and finish (bare/ITC), ("group") and quarter, weighted by the number of days that the target price was effective during that quarter;
(3) Actual and target price changes represent the average quarterly percentage change (divided by 100) in the actual price for a
given model, factory, and customer and the average quarterly percentage change (divided by 100) in the target price for the group
between quarters t and t-x, where x is defined as the smallest positive integer (possibly equal to 1) for which there were actual
prices for the model-factory-customer and target prices for the group in quarters t and t-x. That is, actual and target price changes
were calculated over the same period of time, and x represents the shortest period over which this was possible.
(4) Actual prices were excluded as outliers as follows: For each quarter in which a given CPT model produced in a given factory
was sold to a given customer, the average quarter-to-quarter price change was calculated between the given quarter and the
previous quarter in which the same model was produced in the same factory and sold to the same customer. Price changes that
were less than the 25th percentile of the distribution of price changes across all defendants minus 3 times the interquartile range of
that distribution or greater than the 75th percentile of the distribution plus 3 times the interquartile range were flagged as “very
large price decreases” or “very large price increases,” respectively. Prices for a given model, factory, customer, and quarter were
excluded as outliers if: (a) the price for the model, factory, and customer experienced a very large decrease in the given quarter
followed by a very large increase in the next quarter in which the same model was produced in the same factory and sold to the
same customer, or vice versa; (b) it was the first quarter in which the model was produced at that factory and sold to that customer
and the price experienced a very large increase or decrease in the next quarter in which the model was produced at that factory and
sold to that customer; or (c) it was the last quarter in which the model was produced in that factory and sold to that customer and
the price experienced a very large increase or decrease from the previous quarter in which the model was produced in that factory
and sold to that customer;
(5) The following actual price observations were also excluded: (a) observations for which the manufacturer, application, size,
finish, model number, customer name, or quarter were missing; (b) sales between integrated entities that sold CRTs; (c)
observations with more than four quarters between observed pairs of actual price changes and target price changes.
(6) A de minimis number of observations are outside the bounds of the x or y axis.
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                                     Exhibit 8: Regressions of Changes in Actual Prices on Changes in Target Prices
         Dependent
                                          Independent Variables                                                       Results                           Robustness Checks
          Variable
                                                                                        Small
                           Change in                            Change in
         Change in                                                                Large  and               Estimated             Range of Estimated
 Row                     Alleged Target        Change in     Negotiated Price
        Actual Price                                                              CPTs Medium Number of Coefficient on             Coefficient on                     R-Squared
                              Price          Macroeconomic   Currency-to-USD                                           R-Squared
         (Level of                                                                      CPTs Observations Change in                the Change in                        Range
                            (Level of          Variables      Exchange Rate
        Aggregation)                                                                                      Target Price              Target Price
                          Aggregation)                          Variables

       Model, Factory,  Manufacturer,
  1     Customer,      Application, Size,                                                               6,815         0.211***        0.039     0.197*** - 0.287*** 0.038 - 0.045
          Quarter       Finish, Quarter


       Model, Factory,  Manufacturer,
  2     Customer,      Application, Size,         X                                                     6,815         0.113***        0.133      0.113** - 0.264***   0.076 - 0.137
          Quarter       Finish, Quarter

       Model, Factory,
                        Manufacturer,
        Customer,
  3                    Application, Size,                            X                                  6,474         0.184***        0.134     0.184*** - 0.239*** 0.116 - 0.151
         Currency,
                        Finish, Quarter
          Quarter

       Model, Factory,  Manufacturer,
  4     Customer,      Application, Size,                                            X                  1,164         -0.0845         0.002        -0.0845 - 0.493    0.000 - 0.038
          Quarter       Finish, Quarter

           Model,
                         Manufacturer,
          Customer,
  5                     Application, Size,                                                      X       5,651         0.221***        0.048     0.201*** - 0.277*** 0.042 - 0.048
           Factory,
                         Finish, Quarter
           Quarter
Sources:
(1) Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation, Philips, SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.;
(2) Netz target price data; (3) OECD StatExtracts Database (OECD unemployment rate and industrial production), Bank of Korea (Korean CRT glass PPI), DisplaySearch (worldwide TV
sales by technology), U.S. Federal Reserve (exchange rates).
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             Exhibit 8: Notes for Regressions of Changes in Actual Price on Changes in Target Price
Notes:
(1) An actual price observation represents the quantity-weighted average actual price for a given model, factory, customer, and quarter
(rows 1-2 and 4-5) or for a given model, customer, factory, the currency in which the prices were negotiated ("negotiated currency"),
and quarter (row 3) using global CPT sales data for Q1 1995 to Q4 2007;
(2) A target price observation represents the average of the CPT target prices identified by Dr. Netz for a given manufacturer, size, and
finish (bare/ITC), ("group") and quarter, weighted by the number of days that the target price was effective during that quarter;
(3) Actual and target price changes represent the average quarterly percentage change (divided by 100) in the actual price for a given
model, factory, and customer (and negotiated currency in row 3) and the average quarterly percentage change (divided by a hundred) in
the CPT target price for the group between quarters t and t-x, where x is defined as the smallest positive integer (possibly equal to 1) for
which there were actual prices for the model-factory-customer (and currency in row 3) and target prices for the group in quarters t and
t-x. That is, the actual and target prices changes were calculated over the same period of time, and x represents the shortest period over
which this was possible;
(4) Actual prices were excluded as outliers as follows: For each quarter in which a given CPT model produced in a given factory was
sold to a given customer, the average quarter-to-quarter price change was calculated between the given quarter and the previous quarter
in which the same model was produced in the same factory and sold to the same customer. Price changes that were less than the 25th
percentile of the distribution of price changes across all defendants minus 3 times the interquartile range of that distribution or greater
than the 75th percentile of the distribution plus 3 times the interquartile range were flagged as “very large price decreases” or “very
large price increases,” respectively. Prices for a given model, factory, customer, and quarter were excluded as outliers if: (a) the price
for the model, factory, and customer experienced a very large decrease in the given quarter followed by a very large increase in the
next quarter in which the same model was produced in the same factory and sold to the same customer, or vice versa; (b) it was the first
quarter in which the model was produced at that factory and sold to that customer and the price experienced a very large increase or
decrease in the next quarter in which the model was produced at that factory and sold to that customer; or (c) it was the last quarter in
which the model was produced in that factory and sold to that customer and the price experienced a very large increase or decrease
from the previous quarter in which the model was produced in that factory and sold to that customer;
(5) The following actual price observations were also excluded: (a) observations for which the manufacturer, application, size, finish,
model number, customer name, or quarter (or currency for the model presented in row 3) were missing; (b) sales between integrated
entities that sold CRTs; and (c) observations with more than four quarters between observed pairs of actual price changes and target
price changes.

* Notes continued on next page.
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     Exhibit 8: Notes (Continued) for Regressions of Changes in Actual Price on Changes in Target Price
Notes (continued):
(6) The macroeconomic variables included in the model presented in row 2 are: (a) the unemployment rate and industrial production
for Organization for Economic Co-operation and Development ("OECD") countries; (b) the Korean CRT glass producer price index
("PPI"); and (c) the quarterly LCD share of worldwide TV revenue. The changes in the Korean glass PPI and the OECD industrial
production represents the average quarterly percentage change (divided by a hundred) in that variable between quarters t and t-x,
where t and x are defined according to Note #3 above. The changes in the OECD unemployment rate and LCD market share represent
the average quarterly percentage point change in that variable between quarters t and t-x;
(7) The exchange rate used in row 3 represents the ratio for quarter t between the average price in the negotiated currency and the U.S.
dollar average price (both weighted by sales volume) for a given model, factory, customer, and negotiated currency. The change in the
exchange rate represents the percentage change (divided by a hundred) in the exchange rate between quarters t and t-x, where t and x
are defined according to Note #3 above. The model presented in row 3 includes the change in the exchange rate and interactions
between this variable and a series of eight "dummy" variables that take the value 1 if the currency in which the actual price was
negotiated is the Deutsche Mark, Euro, Japanese Yen, South Korean Won, Malaysian Ringgit, Chinese Yuan, Taiwan New Dollar, or
U.S. Dollar respectively, and zero otherwise. To avoid collinearity there is no dummy variable that equals 1 for prices negotiated in
Brazil Real;
(8) "Large CPTs" refers to CPTs with an actual diagonal size of at least 26 inches. "Small and Medium CPTs" refers to all other CPTs.
(9) I performed the following robustness checks on each of the regressions presented in the above table:
   - weighting observations by sales volume;
   - aggregating actual prices by group and quarter (or by group, currency, and quarter in the model presented in row 3);
   - using clustered standard errors by group;
The range of results from these robustness checks are reported in the table;
(10) (***) indicates that the estimated coefficient is different from zero at the 0.1% significance level.
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        Exhibit 9: Changes in Actual Prices of Non-Targeted CPTs vs. Changes in Target Price Index
                               (by Model, Factory, Customer, and Quarter)
                                                        20%
                                                                   Unmatched Actual
                                                                   Price Change (%)
                                                        16%

                                                        12%

                                                         8%

                                                         4%
                                                                                                           Target Price
                                                         0%                                             Index Change (%)
-10%       -8%          -6%         -4%         -2%           0%             2%       4%         6%          8%        10%
                                                        -4%

                                                        -8%

                                                       -12%

                                                       -16%

                                                       -20%
  Sources: (1) Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic
  Corporation, Philips, SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.; (2) Netz target price data.
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        Exhibit 9: Changes in Actual Prices of Non-targeted CPTs vs. Changes in Target Price Index
                               (by Model, Customer, Factory, and Quarter)
Notes:
(1) An actual price observation represents the quantity-weighted average actual price for a given model, factory, customer, and
quarter using global CPT sales data for Q1 1995 to Q4 2007;
(2) A target price observation represents the average of the CPT target prices identified by Dr. Netz for a given manufacturer, size,
and finish (bare/ITC), ("group") and quarter, weighted by the number of days that the target price was effective during that quarter.
Dr. Netz constructs a Fisher target price index using the average quarterly CPT target prices for each group.
(3) Actual and target price index changes represent the average quarterly percentage change (divided by 100) in the actual price for a
given model, customer, and factory and the average quarterly percentage change (divided by 100) in the target price index between
quarters t and t-x, where x is defined as the smallest positive integer (possibly equal to 1) for which there were actual prices for the
model-factory-customer and target price index values in quarters t and t-x. That is, actual and target price index changes were
calculated over the same period of time, and x represents the shortest period over which this was possible.
(4) Actual prices were excluded as outliers as follows: For each quarter in which a given CPT model produced in a given factory
was sold to a given customer, the average quarter-to-quarter price change was calculated between the given quarter and the previous
quarter in which the same model was produced in the same factory and sold to the same customer. Price changes that were less than
the 25th percentile of the distribution of price changes across all defendants minus 3 times the interquartile range of that distribution
or greater than the 75th percentile of the distribution plus 3 times the interquartile range were flagged as “very large price decreases”
or “very large price increases,” respectively. Prices for a given model, factory, customer, and quarter were excluded as outliers if: (a)
the price for the model, factory, and customer experienced a very large decrease in the given quarter followed by a very large
increase in the next quarter in which the same model was produced in the same factory and sold to the same customer, or vice versa;
(b) it was the first quarter in which the model was produced at that factory and sold to that customer and the price experienced a very
large increase or decrease in the next quarter in which the model was produced at that factory and sold to that customer; or (c) it was
the last quarter in which the model was produced in that factory and sold to that customer and the price experienced a very large
increase or decrease from the previous quarter in which the model was produced in that factory and sold to that customer;
(5) The following actual price observations were also excluded: (a) observations for which the manufacturer, application, size,
finish, model number, customer name, or quarter were missing; (b) sales between integrated entities that sold CRTs; (c) observations
with more than four quarters between observed pairs of actual price changes and target price index changes.
(6) A de minimis number of observations are outside the bounds of the x or y axis.
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                    Exhibit 10: Target Prices Are Poor Predictors of Actual Prices of Targeted CPTs

                                                                                 Probability of Errors Greater than X% when Predicting
                                      Independent          Number of                   Actual CPT Prices Based on Target Prices
       Dependent Variable
                                       Variables          Observations
                                                                                     X=5%              X=10%               X=15%

  Actual Price of Targeted CPTs        Target Price           8,052                  86.0%              71.5%               56.4%

Sources: (1) Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation, Philips,
SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.; (2) Netz target price data.
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      Exhibit 10: Notes for Target Prices Are Poor Predictors of Actual CPT Prices of Targeted CPTs

Notes:
(1) The model presented is based on the same data that Dr. Netz used in the model presented in Exhibit 38 of her report.
Specifically, an actual price observation represents the natural logarithm of the quantity-weighted average actual price for a
given model, factory, customer, and quarter using global CPT sales data for Q1 1995 to Q4 2007, and a target price
observation represents the natural logarithm of the average of the CPT target prices identified by Dr. Netz for the
corresponding manufacturer, size, finish (bare/ITC), and quarter, weighted by the number of days that the target price was
effective during that quarter;
(2) The reported probabilities that the predicted actual prices would be greater than X% are statistically significant at the
95% confidence level. Specifically, they are based on the 5% lower bound on the variance of the prediction errors.
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              Exhibit 11: Target Prices Are Poor Predictors of Actual Prices of Non-Targeted CPTs

                                                                         Probability of Errors Greater than X% when Predicting
                                Independent                                    Actual CPT Prices Based on Target Prices
    Dependent Variable                            Observations (N)
                                 Variables
                                                                              X=5%             X=10%               X=15%
Actual Price of Non-Targeted
                             Target Price Index        10,915                 95.3%             90.6%               85.9%
            CPTs

Sources: (1) Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation,
Philips, SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.; (2) Netz target price data.
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      Exhibit 11: Notes for Target Prices Are Poor Predictors of Actual Prices of Non-Targeted CPTs

Notes:
(1) The model presented is based on the data that Dr. Netz used in the model presented in Exhibit 45 of her report and is
limited to actual price observations for which there is no corresponding target price. Specifically, an actual price
observation represents the natural logarithm of the quantity-weighted average actual prices for a given model, customer,
factory, and quarter using global CPT sales data for Q1 1995 to Q4 2007, and a target price observation represents the
natural logarithm of the Fisher price index Dr. Netz constructed (which she refers to as a "target price index") using the
average of the CPT target prices she identified for by manufacturer, size, finish (bare/ITC), and quarter, weighted by the
number of days that the target price was effective during that quarter;
(2) The reported probabilities that the predicted actual prices would be greater than X% are statistically significant at the
95% confidence level. Specifically, they are based on the 5% lower bound on the variance of the prediction errors.
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                                         Exhibit 12: Fisher Index of Global CPT Prices
1.40



1.20
                                                                                    Alleged cartel end date


1.00

       Pre-Cartel                                                                                             Post-Cartel Period
       Period                                                                                                 Mean quarterly rate
0.80   Mean quarterly                                                                                         of CPT price
       rate of                                                                                                change = -0.6%
       CPT price
       change = 0.2%
0.60


                          Alleged cartel start date
0.40                                                                  Cartel Period
                                                                      Mean quarterly rate
                                                                      of CPT price
                                                                      change = -1.8%
0.20



0.00




Source: Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation, Philips,
SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.
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                                  Exhibit 12: Notes for Fisher Index of Global CPT Prices
Notes:
(1) The global CRT sales data range from Q1 1992 to Q4 2011;
(2) The quarter-to-quarter change in the Fisher Price Index represents an average across all CPT models and customers of the changes in
the prices paid by each customer for each model; the price changes across quarters one and two are averaged in two ways - once using the
quarter one sales volumes and once using the quarter two sales volumes - and the change in the Fisher Price Index represents the
geometric mean of the two average price changes;
(3) Each index is set to 1.0 in Q1 2000;
(4) Prices were excluded as outliers as follows: for each quarter in which a given CPT model was sold to a given customer, the average
quarterly price change was calculated between the given quarter and the previous quarter in which the same model was sold to the same
customer. Price changes that were less than the 25th percentile of the distribution of price changes across all defendants minus 3 times
the interquartile range of that distribution or greater than the 75th percentile of the distribution plus 3 times the interquartile range were
flagged as “very large price decreases” or “very large price increases,” respectively. Prices for a given model, customer, and quarter were
excluded as outliers if: (a) the price for the model and customer experienced a very large decrease in the given quarter followed by a very
large increase in the next quarter in which that model was sold to that customer, or vice versa; (b) it was the first quarter in which the
model was sold to the customer and the price experienced a very large increase or decrease in the next quarter in which that model was
sold to that customer; or (c) it was the last quarter in which the model was sold to the customer and the price experienced a very large
increase or decrease from the previous quarter in which that model was sold to that customer;
(5) The following observations were excluded: (a) observations for which the model number or customer name was missing; (b) sales
between integrated entities that sold CPTs; and (c) observations identified by Dr. Netz as outliers.
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                  Exhibit 13: CPT Target Price Coverage and Overcharge Percentages (1995-2007)
100%
               Coverage
               Overcharge
80%



60%



40%



20%



 0%
        1995       1996      1997    1998     1999      2000      2001         2002   2003    2004     2005      2006     2007


-20%



-40%

Sources: (1) Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation, Philips, SDI,
Samtel, Thai CRT, Thomson, and Toshiba Corp.; (2) Netz Target Price Data.
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         Exhibit 13: Notes for CPT Target Price Coverage and Overcharge Percentages (1995-2007)

Notes:
(1) The overcharge percentage for each year was estimated using Dr. Netz's overcharge regression model (Netz Damages
Report, pp. 103-105), except that the single cartel-indicator variable for the entire class period was replaced with a year
indicator variable for each year of the class period (the indicator variable for 1995 was set equal to 0 in Q1 1995 and 1 in
Q2-Q4 1995).
(2) The annual overcharge expressed as a percentage of actual CPT prices was calculated using the same methodology as
described in the Netz Damages Report Errata (p. 1). Specifically, bt, the estimated coefficient on the year t indicator
variable was first converted into a percentage of but-for CPT prices using the formula: OCBF = exp[bt - Var(bt)/2], where
Var(bt) is the estimated variance of bt . OCBF,t was then converted into a percentage of actual prices using the formula:
OCA,t = 1 / (1 + OCBF,t).
(3) The target price coverage was measured using Dr. Netz's matching methodology and represents the share of CPTs sold
worldwide during the class period for which Dr. Netz identified at least one CPT target price for the same manufacturer,
size, finish, and quarter.
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                     ATTACHMENT 1
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                                                                                  August 2014

                                     Curriculum Vitae


Name:                       Robert D. Willig

Address:                    220 Ridgeview Road, Princeton, New Jersey 08540

Birth:                       1/16/47; Brooklyn, New York

Marital Status:              Married, four children

Education:           Ph.D. Economics, Stanford University, 1973
                           Dissertation: Welfare Analysis of Policies
                                         Affecting Prices and Products.
                           Advisor: James Rosse

                     M.S.    Operations Research, Stanford University, 1968.

                     A.B.    Mathematics, Harvard University, 1967.


Professional Positions:

Professor of Economics and Public Affairs, Princeton University, 1978-.

Principal External Advisor, Infrastructure Program, Inter-American Development Bank, 6/97-
8/98.

Deputy Assistant Attorney General, U.S. Department of Justice, l989-1991.

Supervisor, Economics Research Department, Bell Laboratories, 1977-1978.

Visiting Lecturer (with rank of Associate Professor), Department of Economics
and Woodrow Wilson School, Princeton University, 1977-78 (part time).

Economics Research Department, Bell Laboratories, 1973-77.

Lecturer, Economics Department, Stanford University, 1971-73.




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Other Professional Activities

ABA Section of Antitrust Law Economics Task Force, 2010-2012

Advisory Committee, Compass Lexecon 2010 -

OECD Advisory Council for Mexican Economic Reform, 2008 - 2009

Senior Consultant, Compass Lexecon, 2008 -

Director, Competition Policy Associates, Inc., 2003-2005

Advisory Bd., Electronic Journal of I.O. and Regulation Abstracts, 1996-2008.

Advisory Board, Journal of Network Industries, 2004-2010.

Visiting Faculty Member (occasional), International Program on Privatization and Regulatory
Reform, Harvard Institute for International Development, 1996-2000.

Member, National Research Council Highway Cost Allocation Study
Review Committee, 1995-98.

Member, Defense Science Board Task Force on the Antitrust Aspects of Defense Industry
Consolidation, 1993-94.

Editorial Board, Utilities Policy, 1990-2001.

Leif Johanson Lecturer, University of Oslo, November 1988.

Member, New Jersey Governor's Task Force on Market-Based Pricing of Electricity, 1987-89.

Co-editor, Handbook of Industrial Organization, 1984-89.

Associate Editor, Journal of Industrial Economics, 1984-89.

Director, Consultants in Industry Economics, Inc., 1983-89, 1991-94.

Fellow, Econometric Society, 1981-.

Organizing Committee, Carnegie-Mellon-N.S.F. Conference on Regulation, 1985.

Board of Editors, American Economic Review, 1980-83.

Nominating Committee, American Economic Association, 1980-1981.

Research Advisory Committee, American Enterprise Institute, 1980-1986.
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Editorial Board, M.I.T. Press Series on Government Regulation of Economic
Activity, 1979-93.

Program Committee, 1980 World Congress of the Econometric Society.

Program Committee, Econometric Society, 1979, 1981, 1985.

Organizer, American Economic Association Meetings: 1980, 1982.

American Bar Association Section 7 Clayton Act Committee, 198l.

Principal Investigator, NSF grant SOC79-0327, 1979-80; NSF grant 285-6041, 1980-82; NSF
grant SES-8038866, 1983-84, 1985-86.

Aspen Task Force on the Future of the Postal Service, 1978-80.

Organizing Committee of Sixth Annual Telecommunications Policy Research
Conference, 1977-78.

Visiting Fellow, University of Warwick, July 1977.

Institute for Mathematical Studies in the Social Sciences, Stanford University, 1975.


Published Articles and Book Chapters:

"Unilateral Competitive Effects" (with Bryan Keating), in The Oxford Handbook on
International Antitrust Economics, (Roger D. Blair and D. Daniel Sokol, eds.), Oxford University
Press, forthcoming 2014.

“Activating Actavis: A More Complete Story” (with Barry C. Harris, Kevin M. Murphy, and
Matthew B. Wright), Antitrust, vol. 28, No. 2 (Spring), 2014.

“'Reverse Payments' in Settlements of Patent Litigation: Split Opinions on Schering-Plough’s K-
Dur (2005 and 2012)" (with John P. Bigelow), in The Antitrust Revolution (Sixth Edition), (J.
Kwoka and Laurence White, eds.), Oxford University Press, 2013.

"The Delta-Northwest Merger: Consumer Benefits from Airline Network Effects (2008)" (with
Mark Israel, Bryan Keating and Daniel Rubinfeld), in The Antitrust Revolution (Sixth Edition), (J.
Kwoka and Laurence White, eds.), Oxford University Press, 2013.

"Airline Network Effects and Consumer Welfare" (with Bryan Keating, Mark Israel and Daniel
Rubinfeld), Review of Network Economics, published online November 2013.

"The Liftoff of Consumer Benefits from the Broadband Revolution" (with Mark Dutz and Jon
Orszag), Review of Network Economics (2012) vol. 11, issue 4, article 2.
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Invited Conference Presentations:

Brookings Institution Conference on The Economics of the Airline Industry
"Airline Network Effects and Consumer Welfare"                                        2012

AGEP Public Policy Conference on Pharmaceutical Industry Economics, Regulation and Legal
Issues; Law and Economics Center, George Mason University School of Law
 "Pharmaceutical Brand-Generic Disputes"                                            2012

U.S.-EU Alliance Study Peer Review Conferences
"Review of Cooperative Agreements in Transatlantic Airline Markets"                    2012
"The Research Agenda Ahead"                                                            2012

Antitrust in the High Tech Sector Conference
 "Developments in Merger Enforcement"                                                  2012

Georgetown Center for Business and Public Policy, Conference on the Evolution of Regulation
 "Reflections on Regulation"                                                            2011

Antitrust Forum, New York State Bar Association
 "Upward Price Pressure, Market Definition and Supply Mobility"                        2011

American Bar Association, Antitrust Section, Annual Convention
 "The New Merger Guidelines' Analytic Highlights"                                      2011

OECD and World Bank Conference on Challenges and Policies for Promoting Inclusive Growth
 "Inclusive Growth From Competition and Innovation"                                  2011

Villanova School of Business Executive MBA Conference
 "Airline Network Effects, Competition and Consumer Welfare"                           2011

NYU School of Law Conference on Critical Directions in Antitrust
 "Unilateral Competitive Effects"                                                       2010

Conf. on the State of European Competition Law and Enforcement in a Transatlantic Context
 "Recent Developments in Merger Control"                                                2010

Center on Regulation and Competition, Universidad de Chile Law School
 "Economic Regulation and the Limits of Antitrust Law"                                  2010

Center on Regulation and Competition, Universidad de Chile Law School
"Merger Policy and Guidelines Revision"                                                2010

Faculty of Economics, Universidad de Chile
"Network Effects in Airlines Markets"                                                  2010

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Georgetown Law Global Antitrust Enforcement Symposium
"New US Merger Guidelines"                                                         2010

FTI London Financial Services Conference
"Competition and Regulatory Reform"                                                2010

NY State Bar Association Annual Antitrust Conference
“New Media Competition Policy”                                                     2009

Antitrust Law Spring Meeting of the ABA
“Antitrust and the Failing Economy Defense”                                        2009

Georgetown Law Global Antitrust Enforcement Symposium
“Mergers: New Enforcement Attitudes in a Time of Economic Challenge”               2009

Phoenix Center US Telecoms Symposium
“Assessment of Competition in the Wireless Industry”                               2009

FTC and DOJ Horizontal Merger Guidelines Workshop
“Direct Evidence is No Magic Bullet”                                               2009

Northwestern Law Research Symposium: Antitrust Economics and Competition Policy
"Discussion of Antitrust Evaluation of Horizontal Mergers"                         2008

Inside Counsel Super-Conference
 "Navigating Mixed Signals under Section 2 of the Sherman Act"                     2008

Federal Trade Commission Workshop on Unilateral Effects in Mergers
"Best Evidence and Market Definition"                                               2008

European Policy Forum, Rules for Growth: Telecommunications Regulatory Reform
“What Kind of Regulation For Business Services?”                                    2007

Japanese Competition Policy Research Center, Symposium on M&A and Competition Policy
 “Merger Policy Going Forward With Economics and the Economy”                        2007

Federal Trade Commission and Department of Justice Section 2 Hearings
“Section 2 Policy and Economic Analytic Methodologies”                              2007

Pennsylvania Bar Institute, Antitrust Law Committee CLE
“The Economics of Resale Price Maintenance and Class Certification”                 2007

Pennsylvania Bar Institute, Antitrust Law Committee CLE
“Antitrust Class Certification – An Economist’s Perspective”                       2007

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Fordham Competition Law Institute, International Competition Economics Training Seminar
“Monopolization and Abuse of Dominance”                                               2007

Canadian Bar Association Annual Fall Conference on Competition Law
“Economic Tools for the Competition Lawyer”                                               2007

Conference on Managing Litigation and Business Risk in Multi-jurisdiction Antitrust Matters
“Economic Analysis in Multi-jurisdictional Merger Control”                                 2007

World Bank Conference on Structuring Regulatory Frameworks for Dynamic and Competitive
South Eastern European Markets
“The Roles of Government Regulation in a Dynamic Economy”                            2006

Department of Justice/Federal Trade Commission Section 2 Hearings
“(Allegedly) Monopolizing Tying Via Product Innovation”                                   2006

Fordham Competition Law Institute, Competition Law Seminar
“Monopolization and Abuse of Dominance”                                                  2006

Practicing Law Institute on Intellectual Property Antitrust
“Relevant Markets for Intellectual Property Antitrust”                                   2006

PLI Annual Antitrust Law Institute
“Cutting Edge Issues in Economics”                                                       2006

World Bank’s Knowledge Economy Forum V
“Innovation, Growth and Competition”                                                     2006

Charles University Seminar Series
“The Dangers of Over-Ambitious Antitrust Regulation”                                     2006

NY State Bar Association Antitrust Law Section Annual Meeting
“Efficient Integration or Illegal Monopolization?”                                      2006

World Bank Seminar
“The Dangers of Over-Ambitious Regulation”                                                2005

ABA Section of Antitrust Law 2005 Fall Forum
“Is There a Gap Between the Guidelines and Agency Practice?”                              2005

Hearing of Antitrust Modernization Commission
“Assessment of U.S. Merger Enforcement Policy”                                            2005

LEAR Conference on Advances in the Economics of Competition Law
“Exclusionary Pricing Practices”                                                          2005

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Annual Antitrust Law Institute
             “Cutting Edge Issues in Economics”                           2005

PRIOR Symposium on States and Stem Cells
           “Assessing the Economics of State Stem Cell Programs”          2005

ABA Section of Antitrust Law – AALS Scholars Showcase
              “Distinguishing Anticompetitive Conduct”                    2005

Allied Social Science Associations National Convention
               “Antitrust in the New Economy”                             2005

ABA Section of Antitrust Law 2004 Fall Forum
           “Advances in Economic Analysis of Antitrust”                   2004

Phoenix Center State Regulator Retreat
            “Regulatory Policy for the Telecommunications Revolution”     2004

OECD Competition Committee
         “Use of Economic Evidence in Merger Control”                     2004

Justice Department/Federal Trade Commission Joint Workshop
              “Merger Enforcement”                                        2004

Phoenix Center Annual U.S. Telecoms Symposium
            “Incumbent Market Power”                                      2003

Center for Economic Policy Studies Symposium on Troubled Industries
             “What Role for Government in Telecommunications?”            2003

Princeton Workshop on Price Risk and the Future of the Electric Markets
            “The Structure of the Electricity Markets”                    2003

2003 Antitrust Conference
             “International Competition Policy and Trade Policy”          2003

International Industrial Organization Conference
               “Intellectual Property System Reform”                      2003

ABA Section of Antitrust Law 2002 Fall Forum
            “Competition, Regulation and Pharmaceuticals”                 2002




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Fordham Conference on International Antitrust Law and Policy
           “Substantive Standards for Mergers and the Role of Efficiencies”   2002

Department of Justice Telecom Workshop
            “Stimulating Investment and the Telecommunications Act of 1996”   2002

Department of Commerce Conference on the State of the Telecom Sector
            “Stimulating Investment and the Telecommunications Act of 1996”   2002

Law and Public Affairs Conference on the Future of Internet Regulation
             “Open Access and Competition Policy Principles”                  2002
Center for Economic Policy Studies Symposium on Energy Policy
             “The Future of Power Supply”                                     2002

The Conference Board: Antitrust Issues in Today’s Economy
            “The 1982 Merger Guidelines at 20”                                2002

Federal Energy Regulatory Commission Workshop
             “Effective Deregulation of Residential Electric Service”         2001

IPEA International Seminar on Regulation and Competition
             “Electricity Markets: Deregulation of Residential Service”       2001
             “Lessons for Brazil from Abroad”                                 2001

ABA Antitrust Law Section Task Force Conference
            “Time, Change, and Materiality for Monopolization Analyses”       2001

Harvard University Conference on American Economic Policy in the 1990s
            “Comments on Antitrust Policy in the Clinton Administration”      2001

Tel-Aviv Workshop on Industrial Organization and Anti-Trust
            “The Risk of Contagion from Multimarket Contact”                  2001

2001 Antitrust Conference
             “Collusion Cases: Cutting Edge or Over the Edge?”                2001
             “Dys-regulation of California Electricity”                       2001

FTC Public Workshop on Competition Policy for E-Commerce
            “Necessary Conditions for Cooperation to be Problematic”          2001

HIID International Workshop on Infrastructure Policy
               “Infrastructure Privatization and Regulation”                  2000

Villa Mondragone International Economic Seminar
            “Competition Policy for Network and Internet Markets”             2000

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New Developments in Railroad Economics: Infrastructure Investment and Access Policies
           “Railroad Access, Regulation, and Market Structure”                        2000

The Multilateral Trading System at the Millennium
             “Efficiency Gains From Further Liberalization”                             2000

Singapore – World Bank Symposium on Competition Law and Policy
             “Policy Towards Cartels and Collusion”                                     2000

CEPS: Is It a New World?: Economic Surprises of the Last Decade
              “The Internet and E-Commerce”                                             2000

Cutting Edge Antitrust: Issues and Enforcement Policies
            “The Direction of Antitrust Entering the New Millennium”                    2000

The Conference Board: Antitrust Issues in Today’s Economy
           “Antitrust Analysis of Industries With Network Effects”                      1999

CEPS: New Directions in Antitrust
          “Antitrust in a High-Tech World”                                              1999

World Bank Meeting on Competition and Regulatory Policies for Development
          “Economic Principles to Guide Post-Privatization Governance”                  1999

1999 Antitrust Conference
           “Antitrust and the Pace of Technological Development”                        1999
           “Restructuring the Electric Utility Industry”                                1999

HIID International Workshop on Privatization, Regulatory Reform and Corporate Governance
           “Privatization and Post-Privatization Regulation of Natural Monopolies”    1999

The Federalist Society: Telecommunications Deregulation: Promises Made,
Potential Lost?
           “Grading the Regulators”                                                     1999

Inter-American Development Bank: Second Generation Issues In the Reform
Of Public Services
           “Post-Privatization Governance”                                              1999
           “Issues Surrounding Access Arrangements”                                     1999

Economic Development Institute of the World Bank -- Program on Competition Policy
         “Policy Towards Horizontal Mergers”                                            1998

Twenty-fifth Anniversary Seminar for the Economic Analysis Group of the Department of

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Justice
          “Market Definition in Antitrust Analysis”                                    1998

HIID International Workshop on Privatization, Regulatory Reform and Corporate Governance
         “Infrastructure Architecture and Regulation: Railroads”                      1998

EU Committee Competition Conference – Market Power
       “US/EC Perspective on Market Definition”                                        1998


Federal Trade Commission Roundtable
          “Antitrust Policy for Joint Ventures”                                        1998

1998 Antitrust Conference
         “Communications Mergers”                                                      1998

The Progress and Freedom Foundation Conference on Competition, Convergence, and the
Microsoft Monopoly
          Access and Bundling in High-Technology Markets                            1998

FTC Program on The Effective Integration of Economic Analysis into Antitrust Litigation
        The Role of Economic Evidence and Testimony                                     1997

FTC Hearings on Classical Market Power in Joint Ventures
        Microeconomic Analysis and Guideline                                           1997

World Bank Economists --Week IV Keynote
        Making Markets More Effective With Competition Policy                          1997

Brookings Trade Policy Forum
         Competition Policy and Antidumping: The Economic Effects                      1997

University of Malaya and Harvard University Conference on The Impact of Globalisation and
Privatisation on Malaysia and Asia in the Year 2020
           Microeconomics, Privatization, and Vertical Integration                      1997

ABA Section of Antitrust Law Conference on The Telecommunications Industry
        Current Economic Issues in Telecommunications                                  1997

Antitrust 1998: The Annual Briefing
          The Re-Emergence of Distribution Issues                                      1997

Inter-American Development Bank Conference on Private Investment, Infrastructure Reform and
Governance in Latin America & the Caribbean
      Economic Principles to Guide Post-Privatization Governance                       1997

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Harvard Forum on Regulatory Reform and Privatization of Telecommunications in the Middle
East
     Privatization: Methods and Pricing Issues                                     1997

American Enterprise Institute for Public Policy Research Conference
     Discussion of Local Competition and Legal Culture                               1997


Harvard Program on Global Reform and Privatization of Public Enterprises
     “Infrastructure Privatization and Regulation: Freight”                          1997

World Bank Competition Policy Workshop
     “Competition Policy for Entrepreneurship and Growth”                            1997

Eastern Economics Association Paul Samuelson Lecture
      “Bottleneck Access in Regulation and Competition Policy”                       1997

ABA Annual Meeting, Section of Antitrust Law
    “Antitrust in the 21st Century: The Efficiencies Guidelines”                     1997

Peruvian Ministry of Energy and Mines Conference on Regulation of Public Utilities
      “Regulation: Theoretical Context and Advantages vs. Disadvantages”             1997

The FCC: New Priorities and Future Directions
     “Competition in the Telecommunications Industry”                                1997

American Enterprise Institute Studies in Telecommunications Deregulation
     “The Scope of Competition in Telecommunications”                                1996

George Mason Law Review Symposium on Antitrust in the Information Revolution
     “Introduction to the Economic Theory of Antitrust and Information”              1996

Korean Telecommunications Public Lecture
     “Market Opening and Fair Competition”                                           1996

Korea Telecommunications Forum
     “Desirable Interconnection Policy in a Competitive Market”                      1996

European Association for Research in Industrial Economics Annual Conference
     “Bottleneck Access: Regulation and Competition Policy”                          1996

Harvard Program on Global Reform and Privatization of Public Enterprises
     “Railroad and Other Infrastructure Privatization”                               1996


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FCC Forum on Antitrust and Economic Issues Involved with InterLATA Entry
     “The Scope of Telecommunications Competition”                                   1996

Citizens for a Sound Economy Policy Watch on Telecommunications Interconnection
      “The Economics of Interconnection”                                             1996


World Bank Seminar on Experiences with Corporatization
     “Strategic Directions of Privatization”                                         1996

FCC Economic Forum on the Economics of Interconnection
     Lessons from Other Industries                                                   1996

ABA Annual Meeting, Section of Antitrust Law
    The Integration, Disintegration, and Reintegration
    of the Entertainment Industry                                                    1996

Conference Board: 1996 Antitrust Conference
     How Economics Influences Antitrust and Vice Versa                               1996

Antitrust 1996: A Special Briefing
      Joint Ventures and Strategic Alliances                                         1996

New York State Bar Association Section of Antitrust Law Winter Meeting
     Commentary on Horizontal Effects Issues                                         1996

FTC Hearings on the Changing Nature of Competition in a Global and Innovation-Driven Age
     Vertical Issues for Networks and Standards                                       1995

Wharton Seminar on Applied Microeconomics
     Access Policies with Imperfect Regulation                                       1995

Antitrust 1996, Washington D.C.
      Assessing Joint Ventures for Diminution of Competition                        1995

ABA Annual Meeting, Section of Antitrust Law
    Refusals to Deal -- Economic Tests for Competitive Harm                          1995

FTC Seminar on Antitrust Enforcement Analysis
      Diagnosing Collusion Possibilities                                             1995

Philadelphia Bar Education Center: Antitrust Fundamentals
      Antitrust--The Underlying Economics                                           1995

Vanderbilt University Conference on Financial Markets

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      Why Do Christie and Schultz Infer Collusion From Their Data?                     1995

ABA Section of Antitrust Law Chair=s Showcase Program
    Discussion of Telecommunications Competition Policy                                1995

Conference Board: 1995 Antitrust Conference
     Analysis of Mergers and Joint Ventures                                             1995

ABA Conference on The New Antitrust: Policy of the '90s
    Antitrust on the Super Highways/Super Airways                                       1994

ITC Hearings on The Economic Effects of Outstanding Title VII Orders
     "The Economic Impacts of Antidumping Policies"                                     1994

OECD Working Conference on Trade and Competition Policy
    "Empirical Evidence on The Nature of Anti-dumping Actions"                          1994

Antitrust 1995, Washington D.C.
      "Rigorous Antitrust Standards for Distribution Arrangements"                      1994

ABA -- Georgetown Law Center: Post Chicago-Economics: New Theories
- New Cases?
     "Economic Foundations for Vertical Merger Guidelines"                              1994

Conference Board: Antitrust Issues in Today's Economy
     "New Democrats, Old Agencies: Competition Law and Policy"                          1994

Federal Reserve Board Distinguished Economist Series
      "Regulated Private Enterprise Versus Public Enterprise"                           1994

Institut d'Etudes Politiques de Paris
       "Lectures on Competition Policy and Privatization"                               1993

Canadian Bureau of Competition Policy Academic Seminar Series, Toronto.
     "Public Versus Regulated Private Enterprise"                                       1993

CEPS Symposium on The Clinton Administration: A Preliminary Report Card
     "Policy Towards Business"                                                          1993

Columbia Institute for Tele-Information Conference on Competition in Network Industries, New
York, NY
      "Discussion of Deregulation of Networks: What Has Worked and What Hasn't"
                                                                                         1993
World Bank Annual Conference on Development Economics
      "Public Versus Regulated Private Enterprise"                                       1993

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Center for Public Utilities Conference on Current Issues Challenging the Regulatory Process
      "The Economics of Current Issues in Telecommunications Regulation"                   1992
      "The Role of Markets in Presently Regulated Industries"                              1992

The Conference Board's Conference on Antitrust Issues in Today's Economy, New York, NY
     "Antitrust in the Global Economy"                                               1992
     "Monopoly Issues for the '90s"                                                  1993

Columbia University Seminar on Applied Economic Theory, New York, NY
     "Economic Rationales for the Scope of Privatization"                                 1992

Howrey & Simon Conference on Antitrust Developments, Washington, DC
     "Competitive Effects of Concern in the Merger Guidelines"                           1992

Arnold & Porter Colloquium on Merger Enforcement, Washington, DC
     "The Economic Foundations of the Merger Guidelines"                                  1992

American Bar Association, Section on Antitrust Law Leadership Council Conference, Monterey,
CA
     "Applying the 1992 Merger Guidelines"                                            1992

OECD Competition Policy Meeting, Paris, France
    "The Economic Impacts of Antidumping Policy"                                          1992

Center for Public Choice Lecture Series, George Mason University Arlington, VA
      "The Economic Impacts of Antidumping Policy"                                        1992

Brookings Institution Microeconomics Panel, Washington, DC,
     "Discussion of the Evolution of Industry Structure"                                  1992

AT&T Conference on Antitrust Essentials
    "Antitrust Standards for Mergers and Joint Ventures"                                 1991

ABA Institute on The Cutting Edge of Antitrust: Market Power
    "Assessing and Proving Market Power: Barriers to Entry"                               1991

Second Annual Workshop of the Competition Law and Policy Institute of New Zealand
     "Merger Analysis, Industrial Organization Theory, and Merger Guidelines"             1991
     "Exclusive Dealing and the Fisher & Paykel Case"                                     1991

Special Seminar of the New Zealand Treasury
      "Strategic Behavior, Antitrust, and The Regulation of Natural Monopoly"             1991



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Public Seminar of the Australian Trade Practices Commission
      "Antitrust Issues of the 1990's"                                         1991

National Association of Attorneys General Antitrust Seminar
      "Antitrust Economics"                                                    1991

District of Columbia Bar's 1991 Annual Convention
       "Administrative and Judicial Trends in Federal Antitrust Enforcement"   1991

ABA Spring Meeting
    "Antitrust Lessons From the Airline Industry"                              1991

Conference on The Transition to a Market Economy - Institutional Aspects
     "Anti-Monopoly Policies and Institutions"                                 1991

Conference Board's Thirtieth Antitrust Conference
     "Antitrust Issues in Today's Economy"                                     1991

American Association for the Advancement of Science Annual Meeting
     "Methodologies for Economic Analysis of Mergers"                          1991

General Seminar, Johns Hopkins University
     "Economic Rationales for the Scope of Privatization"                      1991

Capitol Economics Speakers Series
      "Economics of Merger Guidelines"                                         1991

CRA Conference on Antitrust Issues in Regulated Industries
    "Enforcement Priorities and Economic Principles"                           1990

Pepper Hamilton & Scheetz Anniversary Colloquium
     "New Developments in Antitrust Economics"                                 1990

PLI Program on Federal Antitrust Enforcement in the 90's
      "The Antitrust Agenda of the 90's"                                       1990

FTC Distinguished Speakers Seminar
     "The Evolving Merger Guidelines"                                          1990

The World Bank Speakers Series
     "The Role of Antitrust Policy in an Open Economy"                         1990

Seminar of the Secretary of Commerce and Industrial Development of Mexico
     "Transitions to a Market Economy"                                         1990


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Southern Economics Association
     "Entry in Antitrust Analysis of Mergers"                                      1990
     "Discussion of Strategic Investment and Timing of Entry"                      1990

American Enterprise Institute Conference on Policy Approaches to the
Deregulation of Network Industries
     "Discussion of Network Problems and Solutions"                                1990

American Enterprise Institute Conference on Innovation, Intellectual Property, and World
Competition
     "Law and Economics Framework for Analysis"                                     1990

Banco Nacional de Desenvolvimento Economico Social Lecture
     "Competition Policy: Harnessing Private Interests for the Public Interest"    1990

Western Economics Association Annual Meetings
     "New Directions in Antitrust from a New Administration"                       1990
     "New Directions in Merger Enforcement: The View from Washington"              1990

Woodrow Wilson School Alumni Colloquium
    "Microeconomic Policy Analysis and Antitrust--Washington 1990"                 1990

Arnold & Porter Lecture Series
     "Advocating Competition"                                                      1991
     "Antitrust Enforcement"                                                       1990

ABA Antitrust Section Convention
    "Recent Developments in Market Definition and Merger Analysis"                 1990

Federal Bar Association
      "Joint Production Legislation: Competitive Necessity or Cartel Shield?"      1990

Pew Charitable Trusts Conference
     "Economics and National Security"                                             1990

ABA Antitrust Section Midwinter Council Meeting
    "Fine-tuning the Merger Guidelines"                                            1990
    "The State of the Antitrust Division"                                          1991

International Telecommunications Society Conference
      "Discussion of the Impact of Telecommunications in the UK"                   1989

The Economists of New Jersey Conference
     "Recent Perspectives on Regulation"                                           1989


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Conference on Current Issues Challenging the Regulatory Process
     "Innovative Pricing and Regulatory Reform"                                        1989
     "Competitive Wheeling"                                                           1989

Conference Board: Antitrust Issues in Today's Economy
     "Foreign Trade Issues and Antitrust"                                             1989

McKinsey & Co. Mini-MBA Conference
    "Economic Analysis of Pricing, Costing, and Strategic Business Behavior"          1989
                                                                                      1994

Olin Conference on Regulatory Mechanism Design
      "Revolutions in Regulatory Theory and Practice: Exploring The Gap"              1989

University of Dundee Conference on Industrial Organization and Strategic Behavior
     "Mergers in Differentiated Product Industries"                                   1988

Leif Johanson Lectures at the University of Oslo
      "Normative Issues in Industrial Organization"                                   1988

Mergers and Competitiveness: Spain Facing the EEC
     "Merger Policy"                                                                  1988
     "R&D Joint Ventures"                                                             1988

New Dimensions in Pricing Electricity
     "Competitive Pricing and Regulatory Reform"                                      1988

Program for Integrating Economics and National Security: Second Annual Colloquium
      "Arming Decisions Under Asymmetric Information"                                 1988

European Association for Research in Industrial Economics
     "U.S. Railroad Deregulation and the Public Interest"                              1987
     "Economic Rationales for the Scope of Privatization"                              1989
     "Discussion of Licensing of Innovations"                                         1990

Annenberg Conference on Rate of Return Regulation in the Presence of Rapid Technical Change
     "Discussion of Regulatory Mechanism Design in the Presence
      of Research, Innovation, and Spillover Effects"                                  1987

Special Brookings Papers Meeting
      "Discussion of Empirical Approaches to Strategic Behavior"                      1987
      "New Merger Guidelines"                                                         1990

Deregulation or Regulation for Telecommunications in the 1990's
     "How Effective are State and Federal Regulations?"                               1987

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Conference Board Roundtable on Antitrust
     "Research and Production Joint Ventures"                                         1990
     "Intellectual Property and Antitrust"                                            1987

Current Issues in Telephone Regulation
     "Economic Approaches to Market Dominance: Applicability of
      Contestable Markets"                                                            1987

Harvard Business School Forum on Telecommunications
     "Regulation of Information Services"                                             1987

The Fowler Challenge: Deregulation and Competition in The Local Telecommunications
Market
     "Why Reinvent the Wheel?"                                               1986

World Bank Seminar on Frontiers of Economics
      "What Every Economist Should Know About Contestable Markets"                    1986
Bell Communications Research Conference on Regulation and Information
      "Fuzzy Regulatory Rules"                                                        1986

Karl Eller Center Forum on Telecommunications
      "The Changing Economic Environment in Telecommunications:
       Technological Change and Deregulation"                                         1986

Railroad Accounting Principles Board Colloquium
      "Contestable Market Theory and ICC Regulation                                   1986

Canadian Embassy Conference on Current Issues in Canadian -- U.S. Trade and Investment
     "Regulatory Revolution in the Infrastructure Industries"                          1985

Eagleton Institute Conference on Telecommunications in Transition
      "Industry in Transition: Economic and Public Policy Overview"                   1985

Brown University Citicorp Lecture
     "Logic of Regulation and Deregulation"                                           1985

Columbia University Communications Research Forum
     "Long Distance Competition Policy"                                               1985

American Enterprise Institute Public Policy Week
     "The Political Economy of Regulatory Reform"                                     1984

MIT Communications Forum
     "Deregulation of AT&T Communications"                                            1984

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Bureau of Census Longitudinal Establishment Data File and Diversification Study Conference
     "Potential Uses of The File"                                                       1984

Federal Bar Association Symposium on Joint Ventures
      "The Economics of Joint Venture Assessment"                                      1984

Hoover Institute Conference on Antitrust
     "Antitrust for High-Technology Industries"                                        1984

NSF Workshop on Predation and Industrial Targeting
    "Current Economic Analysis of Predatory Practices"                                 1983

The Institute for Study of Regulation Symposium:               Pricing Electric,   Gas, and
Telecommunications Services Today and for the Future
      "Contestability As A Guide for Regulation and Deregulation"                      1984

University of Pennsylvania Economics Day Symposium
     "Contestability and Competition: Guides for Regulation and Deregulation"          1984

Pinhas Sapir Conference on Economic Policy in Theory and Practice
      "Corporate Governance and Market Structure"                                      1984

Centre of Planning and Economic Research of Greece
      "Issues About Industrial Deregulation"                                           1984
      "Contestability: New Research Agenda"                                            1984

Hebrew and Tel Aviv Universities Conference on Public Economics
     "Social Welfare Dominance Extended and Applied to Excise Taxation"                1983

NBER Conference on Industrial Organization and International Trade
    "Perspectives on Horizontal Mergers in World Markets"                              1983

Workshop on Local Access: Strategies for Public Policy
     "Market Structure and Government Intervention in Access Markets"                  1982

NBER Conference on Strategic Behavior and International Trade
    "Industrial Strategy with Committed Firms: Discussion"                             1982

Columbia University Graduate School of Business, Conference on Regulation and New
Telecommunication Networks
      "Local Pricing in a Competitive Environment"                            1982

International Economic Association Roundtable Conference on New Developments in the
Theory of Market Structure

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      "Theory of Contestability"                                                 1982
      "Product Dev., Investment, and the Evolution of Market Structures"         1982

N.Y.U. Conference on Competition and World Markets: Law and Economics
     "Competition and Trade Policy--International Predation"                     1982

CNRS-ISPE-NBER Conference on the Taxation of Capital
    "Welfare Effects of Investment Under Imperfect Competition"                  1982

Internationales Institut fur Management und Verwalturg Regulation Conference
      "Welfare, Regulatory Boundaries, and the Sustainability of Oligopolies"    1981
NBER-Kellogg Graduate School of Management Conference on the
Econometrics of Market Models with Imperfect Competition
      "Discussion of Measurement of Monopoly Behavior: An
       Application to the Cigarette Industry"                                    1981

The Peterkin Lecture at Rice University
     "Deregulation: Ideology or Logic?"                                          1981

FTC Seminar on Antitrust Analysis
     "Viewpoints on Horizontal Mergers                                           1982
     "Predation as a Tactical Inducement for Exit"                               1980

NBER Conference on Industrial Organization and Public Policy
    "An Economic Definition of Predation"                                        1980

The Center for Advanced Studies in Managerial Economics Conference on The Economics of
Telecommunication
      "Pricing Local Service as an Input"                                        1980

Aspen Institute Conference on the Future of the Postal Service
     "Welfare Economics of Postal Pricing"                                       1979

Department of Justice Antitrust Seminar
     "The Industry Performance Gradient Index"                                   1979

Eastern Economic Association Convention
      "The Social Performance of Deregulated Markets for Telecom Services"
      1979

Industry Workshop Association Convention
      "Customer Equity and Local Measured Service"                               1979

Symposium on Ratemaking Problems of Regulated Industries
    "Pricing Decisions and the Regulatory Process"                               1979

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Woodrow Wilson School Alumni Conference
    "The Push for Deregulation"                                                             1979

NBER Conference on Industrial Organization
    "Intertemporal Sustainability"                                                          1979

World Congress of the Econometric Society
       "Theoretical Industrial Organization"                                                1980
Institute of Public Utilities Conference on Current Issues in Public Utilities Regulation
       "Network Access Pricing"                                                             1978

ALI-ABA Conference on the Economics of Antitrust
     "Predatoriness and Discriminatory Pricing"                                             1978

AEI Conference on Postal Service Issues
     "What Can Markets Control?"                                                            1978

University of Virginia Conference on the Economics of Regulation
     "Public Interest Pricing"                                                              1978

DRI Utility Conference
     "Marginal Cost Pricing in the Utility Industry: Impact and Analysis"                   1978

International Meeting of the Institute of Management Sciences
      "The Envelope Theorem"                                                                1977

University of Warwick Workshop on Oligopoly
     "Industry Performance Gradient Indexes"                                                1977

North American Econometric Society Convention
      "Intertemporal Sustainability"                                                        1979
      "Social Welfare Dominance"                                                            1978
      "Economies of Scope, DAIC, and Markets with Joint Production"                         1977

Telecommunications Policy Research Conference
      "Transition to Competitive Markets"                                                   1986
      "InterLATA Capacity Growth, Capped NTS Charges and Long
       Distance Competition"                                                                1985
      "Market Power in The Telecommunications Industry"                                     1984
      "FCC Policy on Local Access Pricing"                                                  1983
      "Do We Need a Regulatory Safety Net in Telecommunications?"                           1982
      "Anticompetitive Vertical Conduct"                                                    1981
      "Electronic Mail and Postal Pricing"                                                  1980
      "Monopoly, Competition and Efficiency": Chairman                                      1979

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      "A Common Carrier Research Agenda"                                              1978
      "Empirical Views of Ramsey Optimal Telephone Pricing"                           1977
      "Recent Research on Regulated Market Structure"                                 1976
      "Some General Equilibrium Views of Optimal Pricing"                             1975

National Bureau of Economic Research Conference on Theoretical Industrial Organization
      "Compensating Variation as a Measure of Welfare Change"                          1976
Conference on Pricing in Regulated Industries: Theory & Application
      "Ramsey Optimal Pricing of Long Distance Telephone Services"                     1977

NBER Conference on Public Regulation
    "Income Distributional Concerns in Regulatory Policy-Making"                      1977

Allied Social Science Associations National Convention
      "Merger Guidelines and Economic Theory"                                         1990
      Discussion of "Competitive Rules for Joint Ventures"                            1989
      "New Schools in Industrial Organization"                                        1988
      "Industry Economic Analysis in the Legal Arena"                                 1987
      "Transportation Deregulation"                                                   1984
      Discussion of "Pricing and Costing of Telecommunications Services"              1983
      Discussion of "An Exact Welfare Measure"                                        1982
      "Optimal Deregulation of Telephone Services"                                    1982
      "Sector Differentiated Capital Taxes"                                           1981
      "Economies of Scope"                                                            1980
      "Social Welfare Dominance"                                                      1980
      "The Economic Definition of Predation"                                          1979
      Discussion of "Lifeline Rates, Succor or Snare?"                                1979
      "Multiproduct Technology and Market Structure"                                  1978
      "The Economic Gradient Method"                                                  1978
      "Methods for Public Interest Pricing"                                           1977
      Discussion of "The Welfare Implications of New Financial Instruments"           1976
      "Welfare Theory of Concentration Indices"                                       1976
      Discussion of "Developments in Monopolistic Competition Theory"                 1976
      "Hedonic Price Adjustments"                                                     1975
      "Public Good Attributes of Information and its Optimal Pricing"                 1975
      "Risk Invariance and Ordinally Additive Utility Functions"                      1974
      "Consumer's Surplus: A Rigorous Cookbook"                                       1974

University of Chicago Symposium on the Economics of Regulated Public Utilities
     "Optimal Prices for Public Purposes"                                             1976

American Society for Information Science
     "The Social Value of Information: An Economist's View"                           1975

Institute for Mathematical Studies in the Social Sciences Summer Seminar

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       "The Sustainability of Natural Monopoly"                                     1975

U.S.-U.S.S.R. Symposium on Estimating Costs and Benefits of Information Services
      "The Evaluation of the Economic Benefits of Productive Information"           1975

NYU-Columbia Symposium on Regulated Industries
    "Ramsey Optimal Public Utility Pricing"                                         1975


Research Seminars:

Bell Communications Research (2)              University of California, San Diego
Bell Laboratories (numerous)                  University of Chicago
Department of Justice (3)                     University of Delaware
Electric Power Research Institute             University of Florida
Federal Reserve Board                         University of Illinois
Federal Trade Commission (4)                  University of Iowa (2)
Mathematica                                   Universite Laval
Rand                                          University of Maryland
World Bank (3)                                University of Michigan
Carleton University                           University of Minnesota
Carnegie-Mellon University                    University of Oslo
Columbia University (4)                       University of Pennsylvania (3)
Cornell University (2)                        University of Toronto
Georgetown University                         University of Virginia
Harvard University (2)                            University of Wisconsin
Attachment 1Hebrew University                               University of
Wyoming Johns Hopkins University (2)                          Vanderbilt
University
M. I. T. (4)                                  Yale University (2)
New York University (4)                       Princeton University (many)
Northwestern University (2)                   Rice University
Norwegian School of Economics and             Stanford University (5)
 Business Administration                      S.U.N.Y. Albany
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                 ATTACHMENT 2
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           Expert Testimony Provided by Robert D. Willig in the Last Four Years
                                      August 2014

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   the District of Columbia, MDL Docket No. 1869, Misc. No. 07-489 (PLF), expert report
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2. Before the Federal Reserve Bank: Docket Number R-1404: Proposed Rule on Debit Card
   Interchange Fees and Routing, written statement 2/22/2011.

3. Before the Surface Transportation Board: Docket Number EP 704: Review of Commodity,
   Boxcar, and TOFC/COFC Exemptions; written statement 1/31/2011; testimony at hearing
   2/23, 24/2011.

4. New Zealand Commerce Commission vs. Malaysian Airline Systems Berhad, Ltd. and et. al.;
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5. Before the Federal Communications Commission: Docket Number 11-65: For Consent to
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8. In the Matter of Rambus Inc. v. Micron Technology, Inc., et al. In the Superior Court of the
   State of California County of San Francisco, Civil Action No. 04-431105; expert report
   11/08/2008; supplemental expert report 12/19/2008, deposition testimony 5/7/2009-5/8/2009,
   trial testimony 9/1,6,7/2011.

9. In Re McKesson Governmental Entities Average Wholesale Price Litigation, Master File
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   Related to Connecticut v. McKesson Corp., expert report, April 14, 2010; Related to
   Montana v. McKesson Corporation, expert report, November 8, 2010; Related to Oklahoma
   v. McKesson Corporation, expert report, November 8, 2010; San Francisco Health Plan, et
   al. v. McKesson Corporation, rebuttal expert report, 9/19/2011.

10. Before the Public Service Commission of Maryland, Case No.: 9271, In the Matter of the
    Merger of Exelon Corp. and Constellation Energy Group, Inc., written market power rebuttal



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   testimony, 10/17/2011, written surrebuttal testimony 10/26/2011, hearing testimony,
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11. In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District Court
    Northern District of California San Francisco Division, DELL Inc., et. al., v. SHARP
    Corporation, et al., Case No. 3:10-cv-01064 SI MDL No. 3:07-md-1827-SI, expert report
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    Northern District of California San Francisco Division, Motorola Mobility Inc. v. SHARP
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13. In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District Court
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14. In Re TFT-LCD (Flat Panel) Antitrust Litigation, In the United States District Court
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    OPTRONICS CORP., et al., Case No. 10-cv-4572 SI MDL No. 07-md-1827-SI, expert
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15. Clark R. Huffman and Brandi K. Winters, individually and on behalf of all others similarly
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17. Australian Competition and Consumer Commission v. Singapore Airlines Cargo PTE LTD
    et. al., Before the Federal Court of Australia, District Registry: New South Wales, Division:
    General, No. NSD 1980 of 2008, NSD 363 of 2009, NSD 876 of 2009 and NSD 1213 of
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18. Bandspeed, Inc. v. Sony Electronics, Inc. et al. and Cambridge Silicon Radio Limited, Cause
    No. A-11-CV-771-LY, In the United States District Court for the Western District of Texas,
    Austin Division, expert reports 9/21/2012, 8/01/2013, 11/01/2013, declaration 11/19/2013,
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19. M&G Polymers USA, LLC v. CSX Transportation, Inc., Before the Surface Transportation
    Board, Docket Number NOR 42123, verified statement, 11/27/2012.




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20. National Collegiate Athletic Association et al., Plaintiffs, v. Christopher J. Christie et al.,
    Defendants, In the United States District Court for the District of New Jersey, Civil Action
    No. 3:12-cv-04947 (MAS) (LHG), expert report 11/21/2012, deposition 11/30/2012.

21. In Re Cathode Ray Tube (CRT) Antitrust Litigation, In the United States District Court
    Northern District of California San Francisco Division, Master File No. CV-07-5944-SC
    MDL No. 1917, expert report 12/17/12, deposition 01/24/12, declaration 3/25/2013, expert
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22. In Re Titanium Dioxide Antitrust Litigation, In the United States District Court of Maryland
    Northern Division, Case No. 1:10-cv-00318-RDB, expert report 12/21/2012, deposition
    testimony 02/07/2013, 02/08/2013.

23. PPL EnergyPlus, LLC, et al., v. Douglas R.M. Nazarian, in his official capacity as Chairman
    of the Maryland Public Service Commission, et al., In the United States District Court of
    Maryland Northern Division, Case No. 1:12-cv-01286-MJG, expert report 12/21/2012,
    supplemental expert report 02/01/2013, deposition testimony 02/14/2013, trial testimony
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    capacity as President of the New Jersey Board of Public Utilities, et al., In the United States
    District Court for the District of New Jersey, Case No. 3:11-cv-00745-PGS-DEA, expert
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25. Total Petrochemicals & Refining USA, Inc. v. CSX Transportation, Inc., Before the Surface
    Transportation Board, Docket Number NOR 42121, verified statement, 06/20/2013.

26. Australian Taxation Office - Rio Tinto Limited transfer pricing rules mediation matter,
    Expert Reports: 11/14/2013; 11/24/2013; and 5/15/2014.

27. Statement and Reply Statement of Robert Willig and Gustavo Bamberger, filed with the U.S.
    Securities and Exchange Commission, File No. SR-Phlx-2013-113, on behalf of NASDAQ
    OMX PHLX LLC, 1/24/2014 (Statement); and 5/20/2014 (Reply Statement).

28. GSI Technology, Inc. v. Cypress Semiconductor Corporation, In the United States District
    Court for the Northern District of California, Civil Action No. 5:11-cv-03613-EJD; expert
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29. Amazon.com Inc. v. Commissioner, Tax Court Docket No. 31197-12; expert report 6/6/2014;
    rebuttal report 8/1/2014.




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                 ATTACHMENT 3
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                                 Attachment 3: Materials Relied Upon

Legal Filings

Indirect Purchaser Plaintiffs’ Fourth Consolidated Amended Complaint, January 10, 2013



Expert Materials

Declaration of Janet S. Netz, Ph.D., in Support of Motion of Indirect-Purchaser Plaintiffs for Class
  Certification, October 1, 2012, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States
  District Court Northern District of California San Francisco Division)

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  Francisco Division)

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  Class Certification, February 15, 2013, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United
  States District Court Northern District of California San Francisco Division)

Declaration of Janet S. Netz, Ph.D., in Support of Indirect-Purchaser Plaintiffs’ Opposition to
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  California San Francisco Division)

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  Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
  California San Francisco Division)

Expert Report of Robert D. Willig, Direct Purchaser Class Action, September 10, 2013, In re: Cathode
  Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
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Expert Report and Backup of Janet S. Netz, Ph.D., April 15, 2014, In re: Cathode Ray Tube (CRT)
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CHU00022728                CHU00028434                CHU00028691

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CHU00028229E               CHU00028521E               CHU00028723E

CHU00028240                CHU00028589                CHU00028725

CHU00028252E               CHU00028599                CHU00028728

CHU00028263E               CHU00028604                CHU00028730

CHU00028283                CHU00028606                CHU00028734E

CHU00028291E               CHU00028638                CHU00028740

CHU00028293                CHU00028642                CHU00028746

CHU00028295E               CHU00028645                CHU00028752

CHU00028297                CHU00028648E               CHU00028755E

CHU00028311E               CHU00028651E               CHU00028758

CHU00028376E               CHU00028654                CHU00028760

CHU00028385                CHU00028656E               CHU00028763

CHU00028393E               CHU00028663                CHU00028768

CHU00028396                CHU00028666                CHU00028773

CHU00028398E               CHU00028668                CHU00028776

CHU00028400E               CHU00028670                CHU00028786

CHU00028424E               CHU00028674                CHU00028803

CHU00028425E               CHU00028677                CHU00028815

CHU00028427E               CHU00028687                CHU00028817

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CHU00028869                CHU00029171                CHU00030505

CHU00028873                CHU00029175                CHU00030506

CHU00028889E               CHU00029179                CHU00030530

CHU00028909                CHU00029185                CHU00030547

CHU00028912E               CHU00029214                CHU00030665

CHU00028933E               CHU00029228                CHU00030670

CHU00028952                CHU00029235                CHU00030684

CHU00028955                CHU00029245                CHU00030698E

CHU00028958                CHU00029259                CHU00030717

CHU00028959                CHU00029262                CHU00030745

CHU00028968E               CHU00029944E               CHU00030763

CHU00028975                CHU00029971                CHU00030766

CHU00029046                CHU00029987                CHU00030787

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CHU00029144                CHU00030449                CHU00030851

CHU00029147                CHU00030458                CHU00030855

CHU00029152                CHU00030468                CHU00030888

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CHU00030960                CHU00031221                CHU00548418

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CHU00031051                CHU00036394                CHU00660408

CHU00031056                CHU00036408                CHU00660436

CHU00031075                CHU00036414                CHU00660446

CHU00031101                CHU00040992E               CHU00660454

CHU00031111                CHU00071480                CHU00660681

CHU00031113                CHU00123375                CHU00660728

CHU00031142                CHU00123393                CHU00732816

CHU00031150                CHU00123530                CHU00732831

CHU00031172E               CHU00123742                CHWA00256934–937

CHU00031174                CHU00124103                HDP-CRT00023416E

CHU00031176                CHU00124930                HDP-CRT00025921

CHU00031180                CHU00125166                LPD-NL00140679–692

CHU00031182E               CHU00125195                MTPD-0024384E

CHU00031194E               CHU00125374                MTPD-0122906

CHU00031202                CHU00154658                MTPD-0202360

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MTPD-0400554               MTPD-0580821               SDCRT-0086485

MTPD-0400573               MTPD-0607571               SDCRT-0086487

MTPD-0400578               MTPD-0607585               SDCRT-0086503

MTPD-0400580               MTPD-0607598               SDCRT-0086512

MTPD-0400597               PC-0020552                 SDCRT-0086545

MTPD-0423645               PHLP-CRT-009472            SDCRT-0086557

MTPD-0423651               PHLP-CRT-014141            SDCRT-0086563

MTPD-0423668               PHLP-CRT-014272            SDCRT-0086586

MTPD-0423675               PHLP-CRT-049353            SDCRT-0086593

MTPD-0426088               PHLP-CRT-088309            SDCRT-0086597

MTPD-0427254E              SDCRT-0002488              SDCRT-0086605

MTPD-0438871E              SDCRT-0002984              SDCRT-0086632

MTPD-0479660E              SDCRT-0003084              SDCRT-0086641

MTPD-0479714               SDCRT-0005830              SDCRT-0086649

MTPD-0479726               SDCRT-0007239              SDCRT-0086662

MTPD-0483335               SDCRT-0007580              SDCRT-0086672

MTPD-0493552               SDCRT-0007588              SDCRT-0086698

MTPD-0517933               SDCRT-0021278–294          SDCRT-0086703

MTPD-0580726               SDCRT-0063870              SDCRT-0086751

MTPD-0580737               SDCRT-0079381E             SDCRT-0087007

MTPD-0580741               SDCRT-0080694              SDCRT-0087312

MTPD-0580751               SDCRT-0086230              SDCRT-0087393

MTPD-0580775               SDCRT-0086256              SDCRT-0087427

MTPD-0580795               SDCRT-0086416              SDCRT-0087437

MTPD-0580798               SDCRT-0086434              SDCRT-0087441

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SDCRT-0087662              SDCRT-0091397

SDCRT-0087667              SDCRT-0091400

SDCRT-0087694              SDCRT-0091599

SDCRT-0087932              SDCRT-0091855

SDCRT-0087934              TAEC00006084

SDCRT-0087938              TAEC-CRT-00088054

SDCRT-0088635              TAEC-CRT-00088432

SDCRT-0088661              TAEC-CRT-00088715

SDCRT-0088675              TAEC-CRT-00089342

SDCRT-0088713              TAEC-CRT-00089968

SDCRT-0088715              TAEC-CRT-00090127

SDCRT-0088720              TSB-CRT-00036875

SDCRT-0088732              TSB-CRT-00041862E

SDCRT-0088738

SDCRT-0088740

SDCRT-0088773

SDCRT-0088819

SDCRT-0090197

SDCRT-0090210

SDCRT-0091027

SDCRT-0091353

SDCRT-0091364

SDCRT-0091372

SDCRT-0091374

SDCRT-0091377

SDCRT-0091382

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                        UNITED STATES DISTRICT COURT

                      NORTHERN DISTRICT OF CALIFORNIA

                           SAN FRANCISCO DIVISION


IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION
                                            Master File No. CV-07-5944-SC
This document relates to:                   MDL No. 1917
ALL INDIRECT PURCHASER ACTIONS




             EXPERT REPORT OF MARGARET E. GUERIN-CALVERT


                                 August 5, 2014
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I.      INTRODUCTION

        A.      Qualifications

1.       I am Senior Consultant at Compass Lexecon, a consulting firm that specializes in antitrust economics and
applied microeconomics, and a founding director of its predecessor, Compass (Competition Policy Associates). I
am also Senior Managing Director of FTI Consulting, Inc. I am trained as an industrial organization economist,
which is the branch of economics that involves the study of firms, industries, consumer behavior, and pricing. I
have worked as an economist on issues related to competition and competition policy involving a variety of
industries since 1979. During this thirty-five year period, I have reviewed a large number of competition issues
and cases, including many mergers and claims regarding market power, coordinated effects, and market
conditions, and served as an economist both in government and in the private sector. In addition, I have worked
on a wide variety of issues involving assessment of industry conditions in manufacturing, healthcare, network
industries and electronic commerce, including assessment of joint ventures and innovation as well as issues
related to licensing. Among other positions, I served as Assistant Chief of the Economic Regulatory Section at the
Antitrust Division of the U.S. Department of Justice (“DOJ”) from 1990 to 1994, where I was responsible for
supervision of mergers, civil case investigations, and regulatory filings in a wide array of regulated and
unregulated industries. I also was a Principal at Economists Incorporated, where I worked on a number of matters
involving evaluation of competition in a wide variety of industries.

2.      I have written and edited numerous articles on industrial organization and competition policy. I also co-
edited and wrote chapters for a book on these subjects. I taught economics at the Institute of Policy Sciences at
Duke University. Publications include “Assessing Hospital Mergers and Rivalry in An Era of Health Care
Reform,” in Antitrust Magazine, Summer 2013 (with Jeff Brennan), “Coordinated Effects Analysis: Cruise Line
Mergers (2002) in The Antitrust Revolution, 2009, and “The Role of the Economist/Economics in ‘Proving’
Coordinated Effects,” the Milton Handler Annual Antitrust Review sponsored by the Association of the Bar of the
City of New York, published in Columbia Business Law Review, 2005. I have testified as an economic expert in a
number of court proceedings or administrative hearings, both in the U.S. and internationally on a wide variety of
matters including matters related to coordinated effects and damages. I have testified before the Federal Trade
Commission (“FTC”) and DOJ Hearings on Intellectual Property on issues related to incentives and innovation
and before the FTC and DOJ Hearings on Healthcare and on Merger Guidelines. My professional expertise,
including my experience in testimony in the last four years at trial or deposition, is set out in detail in my
curriculum vitae, which is attached at Appendix A.

        B.      Overview and Assignment

3.    Plaintiffs in this matter are indirect purchasers of finished products that contain cathode ray tubes
(“CRTs”), such as televisions and computer monitors. Plaintiffs allege that the “Defendants 1 conspired to fix,

1
 The named Defendants are: BMCC; IRICO; LG.Philips Displays (an independent joint venture that combined LG's and
Philips' CRT manufacturing businesses); Panasonic Corporation, Panasonic Corporation of North America, MT Picture
Display Co. (an independent entity that combined Panasonic Corporation’s and Toshiba Corp.’s CRT businesses in 2003);
Koninklijke Philips Electronics N.V., Philips Electronics North America Corporation, Philips Electronics Industries
(Taiwan), Ltd., Philips da Amazonia Industria Electronica Ltda.; Samsung SDI Co., Ltd., Samsung SDI America, Inc.,
Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co., Ltd., Tianjin Samsung SDI Co.,
Ltd, Samsung SDI (Malaysia) Sdn. Bhd.; Samtel, Thai CRT; Toshiba Corporation, Toshiba America, Inc., Toshiba America
Consumer Products, L.L.C., Toshiba America Information Systems, Inc., Toshiba America Electronic Components, Inc.;
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raise, maintain and/or stabilize prices of CRT Products sold in the United States. Because of Defendants’
unlawful conduct, Plaintiffs and other Class Members paid artificially inflated prices for CRT Products and have
suffered antitrust injury to their business or property.” 2

4.       The IPPs have retained Dr. Janet Netz to offer expert economic testimony related to their claims. Dr. Netz
concludes that “the cartel was successful in raising price above the competitive level.”3 Dr. Netz also concludes
that “class members were harmed as a result of the cartel’s actions.” 4 Dr. Netz bases these conclusions on her
review of a number of contemporaneous documents and on economic and empirical analyses. Dr. Netz also
attempts to estimate the harm allegedly suffered by class members using econometric analysis, and concludes that
“CDTs (the CRTs used to make monitors) were overcharged at the rate of 25.0% for 1995Q2-2006Q4 and 12.3%
for 2007Q1 to 2007Q4 and CPTs (the CRTs used to make TVs) were overcharged at the rate of 9.5% and 3.2%
[during the same periods. She] conclude[s] that at least 100% of the overcharge was passed through to class
members … [and] calculate[s] that the damages borne by class members who purchased CRT monitors was
$2.296 billion and CRT TVs was $780 million, for a total of $3.076 billion.”5

5.       I have been asked by counsel for several Defendants in this matter 6 to assess whether the economic
analyses related to the impact of the alleged conspiracy among CDT manufacturers and the estimated overcharges
on CDT sales provided by Dr. Janet Netz, provide a reliable and economically sound basis to estimate damages to
the IPP class. In undertaking this assignment, I conducted an economic analysis of the document-based and other
analyses presented by Dr. Netz in support of her allegations that the conduct of the defendant manufacturers
resulted in a highly effective conspiracy and substantial collusive overcharges on CDTs during the alleged
conspiracy period. I also conducted a detailed analysis of Dr. Netz’s attempts to quantify the alleged CDT
overcharges, including underlying assumptions and econometric analysis. Based on these analyses, I determined
that Dr. Netz’s analyses have numerous significant economic and statistical problems, and, as a result, greatly
overstate any applicable overcharges. After making economically reasonable corrections for some of the most
significant problems in Dr. Netz’s econometric analysis, I re-estimated and provide here the resulting alternative
estimates of CDT overcharges that could be used as one of the inputs needed to assess the damages incurred by


Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi Asia, Ltd., Hitachi America, Ltd., Hitachi Electronic
Devices (USA), Inc.; and Shenzhen SEG Hitachi Color Display Devices, Ltd.
2
  Indirect Purchaser Plaintiffs’ Fourth Consolidated Amended Complaint, In re: Cathode Ray Tube (CRT) Antitrust
Litigation, January 10, 2013 (United States District Court Northern District of California San Francisco) – (hereafter “IPP
Complaint”), at ¶1.
3
  Netz, Janet S., Ph.D., 15 April 2014, Expert Report of Janet S. Netz, Ph.D., In re: Cathode Ray Tube (CRT) Antitrust
Litigation, (Hereinafter “Netz Expert Report”), at 6.
4
  Netz Expert Report, at 6.
5
  Netz Expert Report, at 6. Dr. Netz issued an errata in which these estimates were revised. For example, the CDT
overcharge was revised to 22.0% for 1995Q2-2006Q4 and 11.4% for 2007. 03 July 2014, Errata to the Expert Report of
Janet S. Netz, Ph.D., In re: Cathode Ray Tube (CRT) Antitrust Litigation, at 1.
6
   I have been retained by Winston & Strawn LLP representing Panasonic Corporation of North America, MT Picture Display
Co., Ltd., and Panasonic Corporation (f/k/a Matsushita Electrical Industrial Co.); Kirkland & Ellis LLP representing Hitachi,
Ltd., Hitachi Asia, Ltd., Hitachi America, Ltd., Hitachi Electronic Devices (USA), Inc., and Hitachi Displays, Ltd. (n/k/a
Japan Display Inc.) (collectively, the “Hitachi Defendants” or “Hitachi”); White & Case LLP representing Toshiba America
Consumer Products, L.L.C., Toshiba America Electronic Components, Inc., Toshiba America, Inc., Toshiba America
Information Systems, Inc., and Toshiba Corporation; Sheppard, Mullin, Richter & Hampton LLP representing Samsung SDI
America, Inc., Samsung SDI Co. Ltd., Samsung SDI (Malaysia) Sdn. Bhd., Samsung SDI Mexico S.A. De C.V., Samsung
SDI Brasil Ltda., Shenzen Samsung SDI Co., Ltd., and Tianjin Samsung SDI Co., Ltd.; and Baker Botts LLP representing
Koninklijke Philips N.V., Philips Electronics North America Corporation, Philips Taiwan Limited, and Philips do Brasil
Ltda..
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the indirect purchaser class. I do not analyze the impact (if any) of the alleged CDT cartel on the prices of
computer monitors purchased by members of the IPP class during the class period. I understand that this analysis
will be a subject of Professor Janusz Ordover’s testimony.

6.       In conducting my analyses, I applied standard economic principles and methods customarily used by
economists in evaluation of coordinated effects, impact and damages in my evaluation of Plaintiffs’ and Dr.
Netz’s claims. My staff and I reviewed a variety of materials relevant to this case, including: (1) court filings
made by the Plaintiffs and Defendants in this case; (2) discovery documents produced by Defendants and
Plaintiffs; (3) deposition testimony; and (4) detailed data on CDT sales, production, capacity and other factors
produced by the Defendants. Additionally, my staff and I reviewed the relevant data, programs and documents
produced by Dr. Netz in support of her opinions and considered the relevant economic literature. A list of the
materials I relied on in this matter is attached as Appendix B.

7.       My analysis is ongoing and I reserve the right to evaluate any new reports or analysis produced by
Plaintiffs or their experts as well as to incorporate new information into my analysis and opinions as necessary.

           C.      Summary of Conclusions

8.      Based on an application of standard economic principles and methods used to evaluate claims of alleged
collusive conduct and potential impact on prices and other market conditions to the facts of this industry, and
specifically to the analyses and conclusions set out in Dr. Netz’ report, I reached the following conclusions:

9.      Both the underlying economic conditions of supply, demand and competition as well as the allegations of
collusive conduct differ substantially for CDTs and CPTs. Accordingly, it makes economic sense to analyze the
impact and damages of the alleged cartel separately for CPTs and CDTs. This is consistent with the fact that Dr.
Netz analyzes the alleged collusive conduct and estimates overcharges separately for CDTs and CPTs.7

10.      Application of the economic literature on cartels to the facts of the CDT industry reveals several factors
that make effective coordination of pricing and thereby alleged collusive overcharges difficult and hence less
likely to be successful both generally, and in the CDT industry.

                 a. Collusion is more difficult in dynamic industries – including those characterized by substantial
                    changes in output and capacity among competitors relative to the market – as can be evidenced
                    by changing market shares, many and varied products introduced over time and/or at the same
                    time along with significant changes in demand, substitute products, competitive conditions, or
                    technology.

                 b. Collusion is more difficult where competitors vary substantially in important characteristics
                    and/or where these are changing over time.

                 c. Collusion is more difficult when products are heterogeneous and prices are changing frequently
                    and are difficult to monitor.

11.     Plaintiffs’ and Dr. Netz’ claims of a highly effective conspiracy generating large collusive overcharges
ignore or are at odds with basic empirical evidence on CDT prices, capacity, output and their drivers.


7
    See Section I. D below
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              a. CDT price patterns at the beginning and end of the alleged cartel do not support the alleged
                 effective collusive arrangement described by Plaintiffs and Dr. Netz nor substantiate significant
                 overcharges. Instead, patterns of CDT prices at the beginning of the alleged cartel period are
                 consistent with underlying demand and supply economics and cannot reasonably be attributed
                 to the alleged conspiracy. Similarly, CDT prices did not exhibit unusually sharp drops or faster
                 rates of decline after the end of the alleged cartel period. In fact, looking at the alleged cartel
                 period as a whole, CDTs prices declined at a much faster rate during the alleged cartel than they
                 did either before or after.

              b. CDT capacity and output grew very rapidly during the early years of the alleged cartel (until
                 about 2000) with investments by several different competitors in capacity and new products.
                 While demand for computer monitors grew rapidly, CDT capacity and output ultimately grew
                 even more rapidly, leading to substantial excess capacity, price and non-price rivalry and
                 rapidly declining prices – factors inconsistent with an effective cartel constraining capacity,
                 output or pricing. Accordingly, this provides evidence against claims of an effective
                 conspiracy producing substantial overcharges during this period.

              c. The experience of continually declining CDT prices, ongoing changes in demand and capacity
                 and lack of price transparency along with near constant downward revisions in the "target
                 prices" and deviations of actual prices from “target prices” of the alleged cartel, challenge the
                 notion that the alleged cartel was able to effectively control CDT prices over the long alleged
                 cartel period.

              d. Significant changes in market shares and other factors are inconsistent with Dr. Netz’s
                 allegations that the defendants successfully colluded on market shares, capacity and output.
                 Firms such as SDI, Chunghwa, LG and LPD expanded capacity as well as output much more
                 aggressively than their rivals and gained substantial market share. Other alleged conspirators,
                 notably the Japanese manufacturers, lost substantial market share. Several of these
                 manufacturers eventually exited the industry completely.

              e.    Dr. Netz’s empirical and qualitative analyses fail to account for these factors appropriately in
                   the economic analyses of prices, capacity, output and claimed overcharges.

12.    Dr. Netz’s analyses of alleged collusive conduct do not imply a highly effective conspiracy or large
overcharges.

              a. Actual CDT prices were frequently below target prices and both CDT prices and price changes
                 show wide variation from alleged target prices and changes in them.

              b. Dr. Netz fails to establish effective collusive restriction of industry capacity or output.

13.     Dr. Netz’s own econometric model of CDT overcharges undermines her claim that the alleged cartel had
a class-wide impact.

              a. In fact, if we only add additional indicator variables to Dr. Netz’s model for 1995 and 1996 -- a
                 time period that was substantially influenced by tight capacity and increased demand-- and
                 make no other changes to the model, the overcharge for 1997-2006 declines from Dr. Netz’s
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                  reported figure of 22 percent to a statistically insignificant level of -14.4 percent. This would
                  imply zero overcharges for any class member that purchased CDTs during this period.
                  Similarly, replacing the Netz conspiracy variable with annual indicator variables for each year,
                  the overcharges generally are negative from 1997-2007.

14.     Dr. Netz’s model of CDT overcharges is fundamentally unreliable and does not support a claim of
substantial overcharges.

              a. Dr. Netz’s econometric model implausibly implies that collusive “overcharges” were
                 concentrated in 1995 and 1996, years for which she offers very little evidence of collusive
                 conduct and where she ignores fundamental economic conditions. Moreover, there are other,
                 much more economically plausible explanations for price changes and levels during this period,
                 given the strong demand for CDTs, shortages of CDT and glass capacity and other non-
                 conspiracy factors affecting prices at this time, which were widely recognized in
                 contemporaneous documents.

              b. Dr. Netz’s model does not adequately account for the fundamental economic changes in the
                 CDT industry during 1993-2008.

              c. Dr. Netz’s model is highly unreliable and not at all robust. Small changes in model
                 specification and explanatory variables yield large and implausible changes in results.

15.      Despite these fundamental flaws, if Dr. Netz’s model were to be used to estimate CDT overcharges, then
several basic problems with her model should be corrected. I have provided an alternative estimate of
overcharges that makes a number of economically reasonable adjustments to the Netz model. First, I have relaxed
the arbitrary assumption of a constant overcharge over the entire 1995-2006 period by replacing Dr. Netz’s single
variable for 1995-2006 with three separate variables for 1995, 1996 and 1997-2006. Since the evidence indicates
that the estimated effects for 1995 and 1996 were caused predominantly by underlying economic conditions
unrelated to the alleged conspiracy, I have used the overcharge percentage estimated from this adjusted model for
the period 1997-2006 as the estimated overcharge for sales in the years 1995 and 1996 as well. I believe this
approach is conservative because Dr. Netz and the Plaintiffs allege that there was far greater collusive activity
during 1997-2006 than there was in 1995 and 1996. I have also added a number of additional economically
reasonable control variables that significantly improve the performance of the Netz model. Lastly, I have
corrected Dr. Netz’s arithmetic error in applying the overcharge percentage to the estimated CDT revenue.

16.     When I make economically appropriate corrections for these major flaws in Dr. Netz’s model, the overall
average overcharge percentage for 1995-2006 declines from Dr. Netz’s reported figure of 22 percent to an
estimate of 1.6 percent.

        D.      It makes economic sense to analyze CDTs separately from CPTs

17.     A cathode ray tube (CRT) is a display technology that operates by shining an electron beam onto a
phosphor-coated panel, causing the phosphors to glow, emitting red, green, and blue light to make a picture. The
CRTs used in making computer monitors are called color display tubes or “CDTs” while those used in televisions
are color picture tubes or “CPTs.” I understand that CPTs and CDTs are characterized by substantially different
physical properties. For example, high brightness is relatively important for CPTs, while high resolution is
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relatively important for CDTs.8 CDTs were the dominant display technology that was used to produce computer
monitors during the 1990s and early 2000s when it began to be displaced by alternative technologies such as
LCDs. As described in detail in Section II below, different types of CDTs also were differentiated among
themselves, with substantially varying characteristics and prices.

18.      In addition to the substantial differences in their physical characteristics, there were very substantial
differences in the economic environment that determined the prices and quantities of CDTs and CPTs during the
period for which Plaintiffs allege that these conspiracies operated. Most obviously, there is no substitutability of
one product for the other on the demand side of the market. Firms seeking to purchase CDTs in order to produce
computer monitors cannot instead purchase CPTs. Similarly, while there is some overlap in terms of the firms
that produce CDTs and CPTs, there are substantial differences on the supply side of the market. The products are
generally produced on different production lines, often in different geographic regions 9 and are typically sold to
different customers via different distribution channels under separate negotiations and terms of sale. As shown in
Figure 1, the economic forces driving the supply and demand for CDTs also were substantially different than
those for CPTs during the alleged conspiracy period. In particular, CDTs experienced a “boom” period with rapid
growth of demand, capacity and output during 1992-2000 as demand for desktop computers grew rapidly. This
was followed by a “bust” period of rapid declines in demand due to the tech bust of 2000-2001 and growth of
laptops / LCD substitution during 2000-2008. Accordingly, CDTs experienced substantially more rapid growth in
demand, capacity and output during 1992-2000 than did CPTs. While annual CPT production grew by 65 percent
from 1992 to 2000, CDT production grew by 221 percent. 10 CDTs also experienced a much earlier and more
rapid decline in demand due to substitution from LCDs than did CPTs.11 While annual CPT production grew by a
slight six percent from 2000 to 2006, CDT production plummeted by -72 percent. As shown in Figure 1, the
boom and bust nature of CDT demand also translated into volatile CDT prices during the relevant period. CDTs
experienced substantially larger declines in prices than did CPTs, particularly during 1996-1998. Close linkages
of demand and supply forces for CDTs and CPTs are belied by such dramatically different patterns in prices.
These substantial differences in the economic forces driving the supply and demand for CDTs vs. CPTs, make it
economically appropriate to analyze Plaintiffs’ allegations regarding CDTs separately from those for CPTs.




8
  See, e.g.,
     x SDCRT-0021278 – SDCRT-0021294, at 1288.
     x 16 July 2012, Deposition of Tatsuo Tobinaga, Volume 1, at 143:7-23.
9
  “During the class period, the geographic source of CDT and CPT finished goods that were sold in the U.S. differed. Almost
all CDT and monitor production destined for the U.S. market took place in Asia while a significant portion of CPT and TV
production destined for U.S. consumers took place closer to the U.S. final consumers.” Netz Expert Report, at 72.
10
   These calculations are detailed in my backup file “a054_total production.xlsx.”
11
   See, e.g., LPD-NL00173522 – LPD-NL00173655, at 3585.
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                                                                                                            Figure 1
                                                         CPT and CDT Production and Fisher Price Indices
                        60                                                                                                                                                                              2.4




                        50                                                                                                                                                                              2.0




                        40                                                                                                                                                                              1.6




                                                                                                                                                                                                              Fisher Price Index
     Units (Millions)




                        30                                                                                                                                                                              1.2




                        20                                                                                                                                                                              0.8




                        10                                                                                                                                                                              0.4




                        0                                                                                                                                                                               0.0
                             1Q91   1Q92      1Q93       1Q94        1Q95        1Q96       1Q97        1Q98        1Q99       1Q00        1Q01       1Q02        1Q03        1Q04       1Q05   1Q06

                                                           CPT Production                     CDT Production                     CPT Fisher Price                     CDT Fisher Price
 Note(s):                            Vertical line marks beginning of alleged cartel conspiracy. Base period for both Fisher price indices is 2000Q1.
 Data Source(s):                     Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibits 64 and 82.
 Source File(s):                     all_defendants_dropexout_collapsed.dta; total production.xlsx; tukey filter.do; fisher app-quarter.do; fisher_app_q.xlsx; a001_fisher_app_quarter.xlsx




19.      Despite these substantial differences in the underlying supply and demand factors, Dr. Netz appears to
argue that there was a single conspiracy that “encompassed both CPTs and CDTs.” 12 However, in addition to
ignoring the major differences in supply and demand factors, this opinion also ignores the fact that the vast
majority of the alleged collusive conduct claimed by Dr. Netz is separate for CDTs and CPTs. Dr. Netz’s report
references specific incidents that Dr. Netz identifies as numerous individual instances of alleged collusive
conduct. The vast majority of these incidents appear to relate to only CDTs or CPTs, not both. For example, the
vast majority of alleged collusive meetings identified by Dr. Netz appear to have been separate, and the specifics
of alleged conducts (such as alleged output restrictions) are separate and in many cases qualitatively different. 13
To a large extent, Dr. Netz does not appear to disagree with the import of these factors. She analyzes the alleged
anticompetitive conduct separately for CDTs and CPTs, and estimates separate overcharge models as well.

20.     Moreover, as I discuss in detail in Section II below, several factors make effective coordination of
economic activity or alleged conspiracy more difficult – for example, where there are substantial differences
across competitors in terms of important competitive characteristics. It is also more difficult when the industry in

12
         Netz Expert Report, at 2.
13
         See, e.g. Netz Expert Report, at 41-61.
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question is dynamic and subject to many and varying changes in supply, demand and competitive factors over
time. While I discuss in detail below how these factors would raise very substantial impediments to an effective
CDT cartel, the complexity would increase even more dramatically if the necessarily broader group of alleged
cartel participants were simultaneously attempting to coordinate across CDTs and CPTs. For all of these reasons,
I have focused my analysis exclusively on the allegations regarding CDTs.



II.      DR. NETZ’S ANALYSIS OF THE ECONOMIC LITERATURE ON CARTELS DOES
         NOT IMPLY THAT THE ALLEGED CONSPIRACY NECESSARILY WAS
         EFFECTIVE OR THAT OVERCHARGES WERE LARGE IN THE CDT INDUSTRY.

21.      The economic literature on cartels recognizes that individual firms have powerful incentives to deviate
from a collusive agreement in order to increase their individual profit.14 Cartels only succeed to the extent that
they can put mechanisms in place that limit participating firms’ incentives and ability to pursue these individual
interests at the expense of the group interest. Dr. Netz recognizes this fact when she states: “Whether a cartel will
succeed in increasing price above the competitive level is determined by which of the two fundamental incentives
dominates, the incentive to monopolize or the incentive to cheat. While economic theory tells us that cartel
members are subject to both incentives, economic theory alone cannot tell us which incentive prevails in a
particular situation: whether a cartel succeeds is an empirical question.” 15

22.      In particular, cartels require mechanisms that allow effective monitoring of the behavior of participants.16
They also need mechanisms to punish firms that deviate from the agreed course of conduct and potentially
compensate other cartel members who are harmed by such cheating. 17 Moreover, such mechanisms for
monitoring, enforcement, and punishment must adapt continually over time as the industry evolves. For this
reason, the literature recognizes that cartels are less likely to succeed in dynamic industries where market
conditions are changing substantially over time. 18The economic evidence reviewed in this report indicates that the

14
   See, e.g.,
     x Levenstein, Margaret C. and Valerie Suslow, “What Determines Cartel Success?” Journal of Economic Literature,
          Vol. 44(1), March 2006, at 45-46.
     x Dennis W. Carlton and Jeffrey M. Perloff (2005), Modern Industrial Organization, 4th edition (Hereinafter “Carlton
          and Perloff (2005)”), at 122-154.
     x Stigler, George J., “A Theory of Oligopoly,” Journal of Political Economy, Vol. 72(1), February 1964, at 46.
15
   Netz Expert Report, at129. [Emphasis added.]
16
   “Upon its creation, a cartel immediately faces three key problems: coordination, cheating, and entry. Firms must be able to
coordinate on an equilibrium—in a situation in which there are often multiple equilibria—which increases prices and
allocates reduced output among member firms. The equilibrium must increase profits to cartel members as a group and
provide a mechanism for distributing those profits 'fairly' to member firms.” Levenstein & Suslow (2006), at 45.
17
   One article states: “Second, interfirm sales or other forms of compensation, as the use of asymmetric punishments is
essential to effective collusion (a point originally made by Harrington and Skrzypacz 2007).” Joseph E. Harrington and
Andrzej Skrzypacz (2011), Private Monitoring and Communication in Cartels: Explaining Recent Collusive Practices,
American Economic Review, 101(6): 1-25, at 18.
18
   For example, one widely cited study stated: “Cartels break up occasionally because of cheating or lack of effective
monitoring, but the biggest challenges cartels face are entry and adjustment of the collusive agreement in response to
changing economic conditions. Cartels that develop organizational structures that allow them the flexibility to respond to
these changing conditions are more likely to survive. Price wars that erupt are often the result of bargaining issues that arise
in such circumstances. Sophisticated cartel organizations are also able to develop multipronged strategies to monitor one
another to deter cheating and a variety of interventions to increase barriers to entry.” See Levenstein, Margaret C. and
Valerie Suslow, “What Determines Cartel Success?” Journal of Economic Literature, Vol. 44(1), March 2006, at 43.
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alleged CDT cartel had characteristics inconsistent with those typically considered important to cartel success –
and for which empirical tests demonstrate conduct or factors inconsistent with effective cartels. For example, as
discussed further in Section III.B below, the alleged CDT cartel appears to have experienced limited adherence to
target prices. Empirical evidence shows that CDT prices and price changes varied widely and there was
widespread pricing below target prices. The evidence shows that approximately 80 percent of CDT sales for
which Dr. Netz identified a target price were sold below that target price.19

23.     Similarly, as discussed further in Sections III.C and D below, the empirical evidence is inconsistent with
effective capacity and output coordination. Capacity and output grew very rapidly during the early years of the
conspiracy, eventually leading to excess capacity and rapidly falling prices. Certain manufacturers such as SDI,
Chunghwa, LG and LPD experienced substantial gains in market share. Moreover, these firms increased capacity
and output substantially relative to firms such as Sony that are not alleged to be cartel participants as well as other
firms that Dr. Netz does not allege to have participated in any such agreements to restrict output.

24.      Dr. Netz cites economic literature stating that “Successful cartels fashion self-imposed penalties or other
compensation schemes for firms that exceed cartel quotas.” 20 However, despite empirical evidence showing
widespread failures to adhere to target prices, and substantial changes in CDT market shares, Dr. Netz provides
very little evidence of such penalties ever being implemented and no evidence of any such “compensation
schemes.” 21

25.     Economists recognize that an analysis of industry characteristics can be a useful component of an
economic analysis of the effects of alleged collusion. A careful and detailed empirical analysis of prices,
quantities, market shares and other detailed data on the actual performance of the industry during the relevant time
period is an essential complement. Dr. Netz notes that an analysis of industry characteristics is “of limited use in
determining whether collusion has actually occurred in a particular industry, or whether a cartel has successfully
raised prices above the competitive level,”22 and concludes that: “Whether a cartel succeeds is an empirical
question unresolvable by theory or industry characteristics.”23 (Emphasis added.)

         A.       Collusion is more difficult in dynamic industries such as the CDT industry

26.      The economic literature recognizes that cartels must develop “sophisticated and flexible organizations” in
order to “identify a collusive equilibrium, coordinate on it, and then continuously update as demand and costs


19
   See ¶70.
20
   Netz, Janet S., Ph.D., 15 February 2013, Rebuttal Declaration of Janet S. Netz, Ph.D., in Support of Motion of Indirect-
Purchaser Plaintiffs for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division), (Hereinafter “Netz Class Cert Rebuttal Report”), note 99 citing
Levenstein, Margaret C., and Valerie Y. Suslow, “What Determines Cartel Success?” Journal of Economic Literature, Vol.
44(1), 43-95, at 67.
21
   See also ¶101 below.
22
   “Both cartelized and competitive industries are likely to exhibit one or more characteristics that facilitate collusion and one
or more characteristics that hinder collusion. Economic theory has very little to say about the relative magnitude of each
effect. Furthermore, some industry characteristics, such as the presence of vertical integration, may facilitate collusion in one
theoretical model, but hinder collusion in another model….Accordingly, the net effect of one or more industry characteristics
on the ability of firms to collude is ambiguous, and whether or not a cartel can successfully raise prices in a specific industry
is an empirical question. For these reasons, the success of the CRT cartel is an empirical question and cannot be determined
solely by economic theory.” Netz Class Cert Rebuttal Report, at 24.
23
   Netz Expert Report, at 129.
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fluctuate.” 24 Accordingly, cartel success is more difficult in dynamic industries where costs, demand, market
shares and other industry characteristics are changing frequently. 25 The CDT industry experienced many such
changes during the 1995 – 2007 period during which the cartel is alleged to have operated.

27.     For example, it has been recognized in the economic literature that industry growth that leads to
differential capacity expansion by competitors can make successful cartel coordination more difficult. A recent
economic report to the European Competition Commission states:

             x    “The ‘lumpiness’ aspect of capacity building leads to pre-emption phenomena: when a market
                  opportunity arises or simply when demand is growing, firms compete for being the first to build
                  capacity…the capacity choice of one firm affects the market for a very long time. In this context
                  pre-emption phenomena may be particularly acute. Indeed, when capacity decisions are fully
                  irreversible, a firm that deviates from a collusive conduct will impose a ‘fait accompli’ on its
                  competitors, who may have no choice left other than adapting themselves to this new situation.”26

28.     The economic literature also recognizes that uncertainty about such factors as changes in demand, costs,
technology, and market shares over time and across firms also can make cartel coordination more difficult.27
Such changes often affect the incentives of different firms in different ways and may also lead firms to seek
changes in the terms of any coordination. They also make it more difficult for participants to detect cheating since
it may not be easy to determine if one firm's gain in sales or market share is due to cheating on the terms of any
collusive agreement or other factors. For example, the firm gaining share may have developed stronger
technology, better service or lower costs. Alternatively, the firm may have had a strong position in the product
types that happened to experience greater demand from consumers.28 Similarly, it may be difficult to determine if
a given firm’s decision to offer lower prices is due to cheating or to other factors such as lower quality or reduced

24
   Levenstein, Margaret C., and Valerie Y. Suslow, 2006, What Determines Cartel Success?, Journal of Economic
Literature, Vol. XLIV, 43-95, at 67.
25
  See, e.g.,
     x “Second, does the industry display volatile turnover over a sustained period of time? Cartels are more likely if
          output and market conditions are normally stable.” Grout, Paul A., & Sonderegger, S. M. I. A. (2005). Predicting
          Cartels (OFT 773), Office of Fair Trading, at 15.
     x “If a market has frequent shifts in demand, input costs, or other factors, prices in that market have to adjust often. In
          that case, cheating on a cartel arrangement may be difficult to detect, because it cannot be distinguished easily from
          other factors that cause price fluctuations. Cheating is easier to detect if prices are known.” Carlton & Perloff, at
          137.
     x “If the probability of successful innovation is substantial, the incumbents then anticipate that their market position is
          short-lived (at least in expected terms); they thus put less emphasis on the cost of future retaliation and are more
          tempted to cheat on collusion.” Marc Ivaldi, Bruno Jullien, Patrick Rey, Paul Seabright, Jean Tirole, The
          Economics of Tacit Collusion, IDEI, Toulouse, March 2003, at 33.
     x “Bounded rationality and uncertainty may also make collusion difficult, particularly in a changing economic
          environment, because of increased complexity in formulating and monitoring any ‘contract.’ Asymmetry in costs
          may mean that there is no focal price on which firms can agree, resulting in ‘costly haggling.’” Levenstein & Suslow
          (2006), at 48.
26
    Marc Ivaldi, Bruno Jullien, Patrick Rey, Paul Seabright, Jean Tirole, “The Economics of Tacit Collusion,” IDEI,
Toulouse, March 2003, at 60-61.
27
   “Economic theory identifies uncertainty as the primary cause of cartel instability.” “Breaking Up Is Hard to Do:
Determinants of Cartel Duration,” Margaret C. Levenstein & Valerie Y. Suslow, April 2010, at 2. See also, Carlton &
Perloff, at 135-136.
28
   For example, firms that are seeking to reduce costs through economies of scale and/or learning curve effects may prefer
lower prices than other firms.
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demand for its products. 29 When it is difficult to distinguish deviations from a cartel agreement from demand or
supply shocks that affect relative firm performance and/or prices in a dynamic industry such as CDTs, firms also
are more likely to deviate from the terms of coordination because they know that such cheating is less likely to be
detected.

29.     In fact, the CDT industry experienced rapid and substantial changes in supply and demand conditions
over time that would tend to make effective coordination difficult and at a minimum necessitate frequent changes
in any alleged collusive agreement (which in turn could make effective collusion more difficult). These changes
include the following:

             a. The industry experienced rapid growth in capacity, output and models during 1993 – 2000 as the
                demand for desktop computers grew rapidly and evolved.

                       i. Consumer demand for larger and better monitors caused CDT manufacturers to make
                          continual substantial investments. 30

                      ii. Firms such as SDI, Chunghwa and LG invested aggressively during this period to
                          improve their technology and expand their capacity, taking substantial market share even
                          during this period from incumbent competitors such as Hitachi, Toshiba Corp., Panasonic
                          Corporation, and Sony.

             b. Beginning in late 2000, the industry transitioned abruptly from rapid growth to rapid decline.

                       i. The bust of the intense speculation surrounding “dot-com” companies sometimes called
                          the “dot-com bubble” led to a dramatic slowing of overall technology spending in late
                          2000 and 2001.

                      ii. LCD monitor technology began to compete with and displace CRT technology, a trend
                          that was spurred by the popularity of laptop computers. Competition from LCDs was a
                          significant additional constraint on CRT pricing that increased substantially over time. 31

             c. Substantial and often rapid declines in prices that varied significantly over time and across
                different sizes and types of CDTs; 32


29
  As discussed below, differences in product quality and other aspects of products across manufacturers led to disputes
among the CDT manufacturers.
30
   For example, one article stated: “Distributors said 15-inch monitors already are in short supply, yet the demand continues
to skyrocket. The 15-inch and 17-inch models are replacing 14-inch screens as the standard, and their popularity is expected
to grow with the planned August release of Microsoft Corp.'s Windows 95.” Pereira, Pedro, “Higher monitor prices looming -
- Shortages of cathode ray tubes, higher production costs in Japan taking a toll,” Computer Reseller News, 10 April 1995.
http://global.factiva.com (accessed 27 July 2014). See also Section III.A below.
31
   Dr. Netz argues that LCD competition did not constrain CRT prices. Netz Expert Report, at 35-41. However, this is
inconsistent with the fact that she includes an LCD variable in her CRT overcharge regressions. The actual significance of
LCD competition also is consistent with the fact that CDT prices declined earlier and more rapidly than CPT prices,
consistent with the earlier and greater penetration of LCDs into computer monitors relative to televisions. See Figure 1
above. Dr. Netz also argues that competition from LCD monitors was not an effective constraint on the prices of CRTs and
CRT monitors because LCD products were priced substantially higher than CRT products. Netz Expert Report, at 35-41.
However, the fact that there may be significant price differences between two products does not mean that consumers will not
substitute from one to the other if relative prices change.
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              d. Continued substantial changes in market shares as some firms continued to invest in technology,
                 plant and production and other firms began to decline and/or exit; 33

              e. Substantial changes occurred in the geographic location of both CDT supply and demand.

                       i. Continual efforts to move production to lower cost regions led to continual changes in the
                          relative cost positions of existing competitors as well as the growth of some competitors
                          and the decline and/or exit of others; 34

                       ii. Rapid growth of emerging economies as consumers of CDTs. 35

         B.       Collusion is more difficult when there are substantial differences in important
                  characteristics across competitors.

30.     The economic literature also recognizes that substantial differences among competitors can make
collusion more difficult.36 When firms differ substantially, it is more difficult to reach agreement on the terms of
coordination. In addition, firms with better technology, lower costs, or more excess capacity, among other factors
will have greater incentives to expand output and/or “cheat” on any collusive agreement than their less efficient
and/or less aggressive rivals.

31.      CDT manufacturers exhibited substantial differences in terms of several characteristics that make
collusion more difficult. As discussed in more detail below, these characteristics included the following (among
others):

              x   Commitment to an aggressive or expansive CDT growth strategy;

              x   Quality of technology; 37


32
   See Figure 13 and hedonic price analysis in Section III.B below.
33
   The economic literature recognizes that collusion can be more difficult in a declining industry such as the CDT industry
was after 2001. When the future of the industry is uncertain and demand is expected to be lower in the future, firms have an
incentive to compete more aggressively for share today. See Marc Ivaldi, Bruno Jullien, Patrick Rey, Paul Seabright, and
Jean Tirole, “The Economics of Tacit Collusion,” IDEI, Toulouse March 2003. The same is true for an individual firm that
expects that it will be exiting the industry. See Margaret C. Levenstein and Valerie Y. Suslow (2010), “Breaking Up Is Hard
to Do: Determinants of Cartel Duration,” Journal of Law and Economics, at 6.
34
   See Section III. C below. Figure 26 below shows the rapid growth of China as a CDT manufacturing country.
35
   See, e.g. Netz Expert Report, Exhibit 46.
36
   See, e.g.,
     x “The presence of such cost asymmetry has several implications. First, firms may find it difficult to agree to a
          common pricing policy. Indeed, firms with a lower marginal cost will insist in lower prices than what the other
          firms would wish to sustain. More generally, the diversity of cost structures may rule out any 'focal point' in pricing
          policies and so exacerbate coordination problems. In addition, technical efficiency would require allocating market
          share to low-cost firms, but this would clearly be difficult to sustain in the absence of explicit agreements and side-
          transfers. Second, even if firms agree on a given collusive price, low-cost firms will again be more difficult to
          discipline, both because they might gain more from undercutting their rivals and because they have less to fear from
          a possible retaliation from high-cost firms.” Marc Ivaldi, Bruno Jullien, Patrick Rey, Paul Seabright, and Jean
          Tirole, “The Economics of Tacit Collusion,” IDEI, Toulouse March 2003, at 35-36.
     x “Asymmetry in costs may mean that there is no focal price on which firms can agree, resulting in ‘costly haggling.’”
          Levenstein & Suslow (2006), at 48.
37
   See, e.g.,
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             x    Cost of production; 38

             x    Supply Elasticity / Production line flexibility. 39

             x    Degree of vertical integration;

             x    Participation in the supply of competing products such as LCDs.

32.      CDT manufacturers differed significantly in their commitment to an aggressive CDT growth strategy. In
the early years of the alleged conspiracy period some firms such as SDI, Chunghwa and LG were committed to
rapid growth and gains in market share. They invested heavily in both improving their technology and expanding
their capacity. 40 The differences in perceived strategies across manufacturers are evident in produced documents.
One Chunghwa document stated “With its full size, production capacity expansion and global supply advantages,
Samsung ambitiously wants to expand its territory. It will definitely grab strategic customers like ACER,
PHILIPS, $60.00 (S/S), also offer $62.00(S/S) to the medium customers. Have impact on CPT's order.” 41

33.      An internal Philips document indicates that different defendants responded in quite different ways to the
buildup of excess capacity in the industry in the years after 1996. Some firms, such as SDI and Chunghwa, were
perceived as continuing to focus on rapid growth despite industry-wide excess capacity and reduced
profitability. 42 However, other firms were perceived to be “throttling back" their growth plans in the face of
falling prices and overcapacity. The same document stated that there were yet other differentiated strategies
pursued by firms: "Japanese players, with the exception of Matsushita [Panasonic Corporation] and Sony have
continued to consolidate their CRT activities. They remain focused on the higher end of the markets and are
trying to maintain a competitive advantage by introducing innovative products early. The strategic thrust of the
Japanese players however is directed towards new display technologies such as LCD and LFD.” 43


    x     Mr. Song mentioned that differences between the manufacturers led to different discussions during the meetings; he
          states that “LP or Chunghwa had a great gap in terms of the technology and other aspect[s] compared to us.” 13
          December 2012, Deposition of In Hwan Song, Volume 2, at 191:12-14.
     x “Toshiba has the potential to capitalize on proprietary MNN, MF, RAC, UHC and Flat face technology. In order to
          do this, technology improvements must continue to be promoted and available to the PC and OEM markets before or
          at the same time as competitor’s products.” TAEC-CRT-00065220, at 34. See also footnotes 40, 43, and 47.
38
   See also footnotes 37, 47, 48 and 194. In addition to the evidence cited below, the differential timing of CDT firms’ exits
from the industry provides further evidence of their varying cost structures.
39
   See also footnotes 41, 49-50 below.
40
   See, e.g.,
     x LPD-NL00018267 – LPD-NL00018336, at 8278.
     x A 1999 TAEC document stated: “PC companies and OEMs are no longer willing to pay a premium for MF or other
          technological advances. …TSB is introducing new CDT technologies at a slower pace. Koreans have closed the
          technology gap.” TAEC-CRT-00065220, at 27.
     x See also, SDCRT-0203634 - SDCRT-0203664, at SDCRT-0203646, SDCRT-0203664, and footnotes 41 and 50 for
          large share gains by these firms.
41
   24 February 1997, CHU00028763 - CHU00028767, at 8763.01E. See also: "Mr. Moon [Orion] claimed that he believed
that SDD had strong ambitions to expand M/S, and that its major strategy is to ‘kill the competing makers’. So he was
suspicious about SDD's attitude toward holding prices." 18 May 1998, CHU00028952 – CHU00028954, at 8954E. See also
Sections III.B and III.C below.
42
   LPD-NL00018267 – LPD-NL00018336, at 8278-8280. Similarly, an LPD document states that “LPD set itself the target
to increase its market share in four years time from about 26% to 30%...” A.A.M. Deterink, Investigation of the Causes of
the Bankruptcy of LG.Philips Displays, 20 April 2009, at 27.
43
   LPD-NL00018267 – LPD-NL00018336, at 8278.
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34.      Economists also have noted that varying degrees of vertical integration among competitors can
complicate the effective functioning of a cartel. For example, one study states that: “If some firms are vertically
integrated … it may be difficult for the cartel to determine at what point in the distribution chain cheating occurs.
In contrast, if all firms sell to the same type of customer (for example, at the retail level), cheating is easier to
detect.” 44 The extent of vertical integration did, in fact, vary significantly across CDT manufacturers. 45 In
addition, there is evidence that some CDT manufacturers saw the presence of vertical integration as an important
point of competitive differentiation across manufacturers.46

35.     Moreover, the many differences across CDT manufacturers were not static, but changed over time as
firms made different levels of investments to improve their technology, expand their production capacity or to
lower their costs. For example, the relative technology and cost positions of CDT manufacturers changed over
time based on factors such as:

             x    The magnitude of the investments each manufacturer made in its products and technology; 47

             x    The extent to which individual manufacturers relocated production facilities from higher cost
                  countries to lower cost countries; 48

             x    The extent to which individual manufacturers had “excess capacity” or the ability to expand
                  output significantly over a short period of time 49 and the extent to which such “excess” capacity

44
   Carlton and Perloff (2005), at 139.
45
   The following defendants, for example, have corporate affiliates that also manufactured CRTs and products containing
CRTs: Hitachi, LG (prior to July 2001), Philips (prior to July 2001), Panasonic Corporation (until December 2000 when it
exited the CDT business and until 2003 when it exited the CPT business), and Toshiba Corp. (prior to April 2003).
Chunghwa, LPD (starting in July 2001), and SDI did not.
46
   For example, a FY2001 Budget Analysis from TAEC indicated that one of the significant challenges facing their CDT
business was the fact that they were "competing against OEM monitor makers who are vertically integrated." TAEC-CRT-
00083305.
47
   See, e.g.,
     x "The Company achieves its cost competitiveness through innovation activities, by having a flexible production
          system, with constant improvements in process technology, and by pursuing an efficient system of purchasing and
          outsourcing. The company's productivity of CPTs . . . is believed to be the highest in the world . . . In addition, the
          Company also ranks highest in the world in terms of total process yield for CRTs. Therefore, despite price erosion,
          increased labor and raw material costs and increased competition over the past few years, the company has
          succeeded in maintaining its cost competitiveness while capturing additional market share." 22 May 2001,
          EIN0017699 - EIN0018075, at 7711.
     x “The CRT industry was characterised by a predominant focus on cost reduction, fierce competition, decreasing sales
          and constant consolidation.” A.A.M. Deterink, Investigation of the Causes of the Bankruptcy of LG.Philips
          Displays, 20 April 2009, at 93. See also footnotes 37-38.
48
   See, e.g. LPD: “Although management and supervisors have annually restructured, a much more rapid closure of the
factories in the high-wage countries (in particular former Philips factories in Europe) would – in retrospect – have been
appropriate. This is all the more persuasive given that in the annual report of 2001 it was already stated that, in connection
with the need to produce at as low costs as possible, rapid migration was needed to production countries with lower costs.”
A.A.M. Deterink, Investigation of the Causes of the Bankruptcy of LG.Philips Displays, 20 April 2009, at 20.
49
   Dr. Netz argues that “Adding capacity to an existing plant was also expensive. In addition, CRT manufacturing required
substantial ongoing investments in capital.” … “Building a plant or adding a line also took a lot of time. Constructing the
plant or line can take a year and require an additional year to get the completed line up to mass production. For a line to
reach full efficiency might take a further year or more of mass production.” … “On top of the time and capital required, there
is substantial risk involved in establishing a new CRT facility or line. Despite CRT manufacturing being a mature
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                  was of a kind for which product demand was high at a given time –e.g. excess capacity for
                  making 14” curved CDTs does not help if the market is demanding 17” flat CDTs because the
                  excess capacity for making 14” curved CDTs would have to be converted to 17” flat CDTs,
                  which takes time and expense. 50

36.       An example of firm asymmetry raising the costs of coordination is provided by disputes among the CDT
manufacturers regarding whether manufacturers with lower quality products should be able to sell at lower prices
than their competitors, and if so, what any such differential should be at different points in time. For example,
there appear to have been numerous disputes between Chunghwa and other manufacturers in which CPT argued
that it needed to be able to charge lower prices than other manufacturers to compensate for the lower quality of its
product(s). 51 Moreover, evidence suggests that this disputed differential was not static but changed over time. 52
Similarly, LG complained that it was weaker than SDI and Chunghwa and should be able to charge lower
prices. 53

37.      Another potential source of conflicting incentives among the defendants relates to the fact that some of
the defendant manufacturers such as Chunghwa and Hitachi also produced LCDs and products containing LCDs.
Since LCDs provided substitutes for CDTs or CPTs, this would potentially give these firms different incentives
with respect to capacity investments and CDT (or CPT) prices. For example, firms that made large investments in
LCD capacity might be less willing to invest in additional CDT or CPT capacity and may also prefer higher prices
for these products.

38.     The relatively large number of firms in the CDT industry and the relatively low concentration,
particularly in the early years of the alleged conspiracy, also would have complicated efforts at coordination. For
example, between 1996 and 2000, the HHI index of global CDT production concentration was less than 1500, 54 a
range that the Horizontal Merger Guidelines of the U.S. Department of Justice and the Federal Trade Commission
considers to be “unconcentrated.” 55

39.      These important differences across CDT manufacturers are reflected in the data on manufacturers’ shares
for particular sizes of CDTs and the changes in those shares over time. For example, as shown in Table 1, as of
1998, firms such as Chunghwa, SDI and LGE were strong in the smaller sizes of CDTs, while Japanese


technology, manufacturers sometimes were unable to develop economical production on a given line or of a given product.”
Netz Expert Report, at 14-16.
50
   The idiosyncratic factors that can affect a firm’s ability to expand production from a given CDT facility are illustrated by
some of Dr. Netz’s examples of the operational risks of CDT production. For example, Dr. Netz Expert Reports that “Philips
established a plant in Nanjing, China, with an initial investment of $100 million. The plant installed five production lines in
two stages, three lines in the third quarter of 2000 and two more in the third quarter of 2001. However, the factory had
problems attaining either adequate run rates or quality. By July 2002, LG Philips expected it might cost another $15 million
to $25 million to revise the equipment, modify product designs, and correct operating processes.” Netz Expert Report, at 16,
citing L.G. Philips Displays Holding B.V., Undated, Minutes of the Supervisory Board Meeting of LG.Philips Displays
Holding B.V., PHLP-CRT-002306 - PHLP-CRT-002481, at 2339.
51
   See, e.g., CHU00028763 - CHU00028767, at 8764E.
52
   24 February 1997, CHU00028763 - CHU00028767 at 8764E.
53
   SDCRT-0086662 - SDCRT-0086664, at 6662E.
54
   Production share data are obtained from SDCRT-0201291. Calculation of CDT shares and HHIs are provided in my
backup file “a003_pdn_mfg_shares.xlsx.”
55
   U.S. Department of Justice and the Federal Trade Commission, Horizontal Merger Guidelines (2010): §5.3. CDT industry
concentration began to increase after 2000 as the declining demand and low profitability of the industry led to substantial
exit.
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manufacturers such as Hitachi, Sony, Toshiba Corp. and Panasonic Corporation were technology leaders with
relatively large shares in the larger 17 and 19 inch sizes at this time.

                                                               Table 1

           1998 CDT Production Shares by Manufacturer and Size
                (Top 4 Manufacturers for Each Size Group)
             Size                             Manufacturer                                                  Share
             14"                                 Chunghwa                                                    31%
                                                    SDI                                                      30%
                                                  Daewoo                                                     17%
                                                   Philips                                                   11%

             15"                                 Chunghwa                                                    23%
                                                   SDI                                                       21%
                                                    LG                                                       17%
                                                  Philips                                                    14%

             17"                                    SDI                                                      17%
                                                   Hitachi                                                   14%
                                                    Sony                                                     12%
                                                   Toshiba                                                   10%

             19"                                  Hitachi                                                    56%
                                                   Sony                                                      11%
                                                   SDI                                                       10%
                                              Panasonic Corp.                                                10%

             21"                                   Sony                                                      42%
                                                  Hitachi                                                    28%
                                                Mitsubishi                                                   17%
                                              Panasonic Corp.                                                13%



      Note(s):          Data source combines LG and Philips under the heading of “ LPD.”
                        Data source inappropriately labels Panasonic Corp. as Matsushita.
                        Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                        For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (T aiwan).
      Data source(s):   SDCRT -0201291.
      Source file(s):   SDCRT -0201291.dta; vendor_map.xlsx; p003_pdn_mfg_shares.do; a003_pdn_mfg_shares.xlsx


40.     In terms of changes in shares, Figures 2-6 show that firms such as SDI, LGE and Chunghwa substantially
increased their industry shares from 1996 to 2000 -- at the expense of Hitachi, Panasonic Corporation and Sony
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particularly. These substantial changes in share could only come from substantial improvements in the technology
of SDI, LGE and Chunghwa for making larger CDTs and the large investments in capacity during this time period
that represents the beginning of the alleged cartel. The following graphics depict changes in shares for 15 and 17
inch monitors between the two time periods. 56 The first graphic shows share levels by manufacturer in each
period, and the second shows the percentage point change in share with the same listing of manufacturers. Figure
6 shows the change in share over this period across all monitor sizes for manufacturers. For example, looking at
17 inch CDTs in Figure 3 shows that SDI and LG gained 14 percentage points of share, and Chunghwa gained 17
percentage points. These gains largely came at the expense of Hitachi (-22%), Panasonic Corporation (-18%) and
Sony (-10%). Similar results are shown for 15 inch CDTs in Figure 5. 57

                                                                                             Figure 2
                                    17-Inch CDT Annual Production Shares by Manufacturer
 30%
                                          28%



 25%
                                                                                                                                         23%



 20%                                                                                                 19%

                   17%                                         18%                                                                               18%


 15%




                                                                                                                                   9%
 10%
                                                                         9%                                                                                                                   9%
                                                                              7%                                                                        8%
                                                                                                                           7%                                                                       6%
                                                 6%
                                                                                       5%
     5%                           4%                     4%
                                                                                                                                                                       3%
                                                                                                            2%
                                                                                                                    1%
            0%              0%                                                               0%                                                                  0%            0% 0%
     0%
            Chunghwa        Daewoo         Hitachi          LG         Mitsubishi        NEC         Panasonic        Philips         SDI           Sony          TECO         Thai-CRT        Toshiba
                                                                                                       Corp.
                                                                                                  1996     2000
 Note(s):                Data source combines LG and Philips under the heading of “LPD.” Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                         For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (Taiwan).
                         Data source inappropriately labels Panasonic Corp. as Matsushita.
 Data Source(s):         SDCRT-0201291.
 Source File(s):         SDCRT-0201291.dta; vendor_map.xlsx; p003_pdn_mfg_shares.do; a003_pdn_mfg_shares.xlsx




56
   I am not aware of any comprehensive source of CDT production data for the entire relevant time period. Figures 2-6 are
based on estimated production data compiled from internal CDT manufacturer documents. This is the same data that Dr. Netz
used in her Exhibits 4 (Worldwide CDT Production Shares), 7 (HHI Over Time, Cartelized CDT Production vs. Non-
Cartelized CDT Production), 9 (Total Worldwide CRT Production by Tube Type). It is also the same data that DAP
plaintiff's expert Dr. Elzinga used in calculating market shares in his Exhibit 3 (Share of Worldwide CDT Volume). See also
SDCRT-0203634 - SDCRT-0203664.
57
   All market share calculations are provided in my backup file “a003_pdn_mfg_shares.xlsx.”
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                                                                                        Figure 3
                    Change in 17-Inch CDT Annual Production Shares by Manufacturer
                                             (1996-2000)
 20%
              17%

 15%                                                   14%                                                                       14%


 10%

                                                                                                                   6%
   5%                      4%
                                                                                                                                                               3%
                                                                                                                                                                              0%
   0%

                                                                      -1%
                                                                                                                                                                                            -2%
  -5%
                                                                                     -5%


 -10%
                                                                                                                                               -10%


 -15%


                                                                                                   -18%
 -20%

                                        -22%
 -25%
            Chunghwa    Daewoo         Hitachi          LG         Mitsubishi        NEC         Panasonic       Philips         SDI           Sony          TECO         Thai-CRT        Toshiba
                                                                                                   Corp.
 Note(s):           Data source combines LG and Philips under the heading of “LPD.” Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                    For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (Taiwan). Change in shares calculated as difference between 2000 and 1996 shares.
                    Data source inappropriately labels Panasonic Corp. as Matsushita.
 Data Source(s):    SDCRT-0201291.
 Source File(s):    SDCRT-0201291.dta; vendor_map.xlsx; p003_pdn_mfg_shares.do; a003_pdn_mfg_shares.xlsx
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                                                                                             Figure 4
                                    15-Inch CDT Annual Production Shares by Manufacturer
 25%
                                                                                                                                         23%
                   22%



 20%

                                                                             18%                                                  18%



                                                                                                                    15%
 15%
                                                                                                                                                                                             13%

                                 11%      11%                          12%                           12%

                                                                                                                                                  9%
 10%
                                                                                                                           9%                                                                       9%




                                                                                       5%
  5%
            4%

                                                               2%                                                                                       2%
                                                 1%                                                                                                                    1%
                            1%                                                                              0%                                                                        1%
                                                         0%                                  0%                                                                  0%            0%
  0%
            Chunghwa        Daewoo         Hitachi          Irico          LG            NEC         Panasonic        Philips         SDI           Sony          TECO         Thai-CRT        Toshiba
                                                                                                       Corp.
                                                                                                1996      2000
 Note(s):                Data source combines LG and Philips under the heading of “LPD.” Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                         For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (Taiwan).
                         Data source inappropriately labels Panasonic Corp. as Matsushita.
 Data Source(s):         SDCRT-0201291.
 Source File(s):         SDCRT-0201291.dta; vendor_map.xlsx; p003_pdn_mfg_shares.do; a003_pdn_mfg_shares.xlsx
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                                                                                        Figure 5
                    Change in 15-Inch CDT Annual Production Shares by Manufacturer
                                             (1996-2000)
 20%
              18%



 15%


                          11%
 10%

                                                                       6%
                                                                                                                                  5%
   5%
                                                        2%
                                                                                                                                                               1%
                                                                                                                                                                              1%
   0%




  -5%
                                                                                                                                                                                            -5%
                                                                                     -5%
                                                                                                                  -6%
                                                                                                                                                -7%
 -10%
                                        -10%
                                                                                                   -11%

 -15%
            Chunghwa    Daewoo         Hitachi          Irico          LG            NEC         Panasonic       Philips         SDI           Sony          TECO         Thai-CRT        Toshiba
                                                                                                   Corp.
 Note(s):           Data source combines LG and Philips under the heading of “LPD.” Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                    For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (Taiwan). Change in shares calculated as difference between 2000 and 1996 shares.
                    Data source inappropriately labels Panasonic Corp. as Matsushita.
 Data Source(s):    SDCRT-0201291.
 Source File(s):    SDCRT-0201291.dta; vendor_map.xlsx; p003_pdn_mfg_shares.do; a003_pdn_mfg_shares.xlsx
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                                                                                       Figure 6
                           Change in CDT Annual Production Shares by Manufacturer
                                                (1996-2000)
 10%


   8%         8%

                        7%

   6%


   4%
                                      3%
                                                   2%            2%
   2%
                                                                               1%           0%
   0%
                                                                                                          0%            0%
                                                                                                                                     -1%          -1%
  -2%

                                                                                                                                                                -3%
  -4%


  -6%


  -8%
                                                                                                                                                                              -8%
                                                                                                                                                                                           -8%

 -10%
              LG        SDI       Mitsubishi     Daewoo         TECO          Irico      Thai-CRT Chunghwa             Sony        Philips      Toshiba         NEC        Panasonic      Hitachi
                                                                                                                                                                             Corp.
 Note(s):          Data source combines LG and Philips under the heading of “LPD.” Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                   For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (Taiwan). Change in shares calculated as difference between 2000 and 1996 shares.
                   Data source inappropriately labels Panasonic Corp. as Matsushita.
 Data Source(s):   SDCRT-0201291.
 Source File(s):   SDCRT-0201291.dta; vendor_map.xlsx; p003_pdn_mfg_shares.do; a003_pdn_mfg_shares.xlsx
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                                                                                     Figure 7
                    Change in CDT Quarterly Production Shares from 2000Q1 to 2006Q4
     25%
             23%


     20%



     15%



     10%

                        6%
     5%
                                    3%
                                                                                                                                                                                      1%
                                                0%
     0%
                                                            0%
                                                                        -1%         -1%         -2%          -2%
     -5%                                                                                                                 -4%         -4%
                                                                                                                                                 -6%         -6%          -7%

 -10%
              SDI   Chunghwa       LPD        Philips    Thai-CRT       Irico        LG      Panasonic      TECO       Hitachi    Mitsubishi Toshiba         Sony       Daewoo       Others
                                                                                               Corp.
 Note(s):           Data source combines LG and Philips under the heading of “LPD.”
                    Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                    For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (Taiwan).
                    Change in shares calculated as difference between 2006Q4 and 2000Q1 shares unless noted otherwise below.
                    Change in LG shares and Philips shares calculated as difference between 2000Q1 and 2001Q2 shares.
                    Because LPD was not formed until 2001Q3 out of combination of LG and Philips, the change in LPD share calculated relative to LG and Philips' combined 2001Q2 share.
                    Hitachi’s change in CDT quarterly production share only represents 2000Q1 through 2001Q4, as the Hitachi Defendants ceased manufacturing CDTs in December 2001.
 Data Source(s):    Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 82.
 Source File(s):    total production.do; HDP-CRT00019322_rough_translation.xls; SDCRT-0201291.dta; chu00071226.dta; mtpd-0416090.dta; CDT data.xlsx; vendor_map.do; vendor_map.xlsx;
                    vendor_map_def.dta; vendor_map_name.dta; p004_pdn_mfg_shares_2006.do; a004_pdn_mfg_shares_2006.xlsx




41.     These substantial changes in share continued beyond 1996-2000 and extended over the entire period for
which data are available. Importantly, during a period of substantial decline in demand which was evidenced by
excess capacity by 2000, some competitors increased their shares significantly while others faced significant
reductions, and even exit. For example, Figure 7 shows that during the period from 2000Q1 to 2006Q4 SDI
increased its share by 23 percentage points while Chunghwa gained roughly 6 percentage points. LPD’s share
fluctuated significantly over this period, ending up with a gain of approximately 3 percentage points. The gains
experienced by these firms came largely at the expense of Hitachi, Mitsubishi, Daewoo, Toshiba Corp. and Sony,
each of whom lost between four and seven percentage points of market share during this period. Several of these
firms actually exited the CDT industry during this period.58


58
   It is my understanding that the Hitachi Defendants ceased manufacturing CDTs by December 2001 and CPTs by April
2002, and ceased selling CDTs by October 2002 and CPTs by March 2003. It is also my understanding that Panasonic
Corporation stopped manufacturing CDTs in 2000 and had exited the CDT business by 2001. Deposition of Allen Chang, 12
March 2014, Volume 1, at 35:25-36:15. A 2004 LPD document stated: “Over the past two years, competitors in CDTs have
been ceasing their CDT production, including Matsushita, Hitachi, Toshiba, Sony and Teco. Mitsubishi has announced that it
will cease CDT production in 2004. Orion is understood to be having financial difficulties and has reduced its production
lines from 3 to 1.” LPD-NL00173522 – LPD-NL00173655, at 3588.
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                                                                                     Figure 8
                    Change in CDT Quarterly Production Shares from 1996Q1 to 2006Q4
     35%

             30%
     30%


     25%


     20%


     15%


     10%
                         7%
                                      5%
     5%                                            3%
                                                                0%                                                                                                                    1%
     0%
                                                                             0%
                                                                                          -2%          -3%
     -5%
                                                                                                                    -5%

 -10%                                                                                                                            -8%          -8%
                                                                                                                                                           -9%

                                                                                                                                                                       -13%
 -15%
              SDI        LG       Chunghwa         LPD        Philips        Irico     Mitsubishi      NEC        Daewoo       Toshiba        Sony      Panasonic      Hitachi      Others
                                                                                                                                                          Corp.
 Note(s):           1996Q1 shares from annual production shares.
                    Data source combines LG and Philips under the heading of “LPD.”
                    Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                    For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (Taiwan).
                    Change in shares calculated as difference between 2006Q4 and 1996Q1 shares unless noted otherwise below.
                    Change in LG shares and Philips shares calculated as difference between 1996Q1 and 2001Q2 shares.
                    Because LPD was not formed until 2001Q3 out of combination of LG and Philips, the change in LPD share calculated relative to LG and Philips' combined 2001Q2 share.
                    Hitachi’s change in CDT quarterly production share only represents 1996Q1 through 2001Q4, as the Hitachi Defendants ceased manufacturing CDTs in December 2001.
 Data Source(s):    Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 82.
 Source File(s):    total production.do; HDP-CRT00019322_rough_translation.xls; SDCRT-0201291.dta; chu00071226.dta; mtpd-0416090.dta; CDT data.xlsx; vendor_map.do; vendor_map.xlsx;
                    vendor_map_def.dta; vendor_map_name.dta; p004_pdn_mfg_shares_2006.do; a004_pdn_mfg_shares_2006.xlsx




42.      If we look at the entire 1996Q1 to 2006Q4 time period as a whole, we see that SDI had the largest share
gain with 30 percentage points followed by LG at seven percentage points and Chunghwa at five percentage
points. The largest share losers were Hitachi at -13% Pansonic Corporation at -9% and Sony and Toshiba Corp. at
-8% (Figures 8-9). These share changes are consistent with the testimony of Mr. Chu of SDI who stated: “First of
all, we had to expand our company’s market share. Second, we had to kill the competitors no matter who they
were. So we stuck to those two principals. So in the end, LPD died out. All our CRT competitors have fallen
before us. So what we did was try to eliminate all our competitors and become the last winner to survive in the
end.” 59




59
     Deposition of Hun Sul Chu, 11 February 2014, Volume 2, at 284:6-11.
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                                                                                        Figure 9
                          CDT Quarterly Production Shares and Total Industry Production
                                               (1996Q1-2006Q4)
             50%                                                                                                                                                                        40

             45%                                                                                                                                                                        36

             40%                                                                                                                                                                        32

             35%                                                                                                                                                                        28




                                                                                                                                                                                             Units (Millions)
             30%                                                                                                                                                                        24
     Share




             25%                                                                                                                                                                        20

             20%                                                                                                                                                                        16

             15%                                                                                                                                                                        12

             10%                                                                                                                                                                        8

             5%                                                                                                                                                                         4

             0%                                                                                                                                                                         0
               1996Q1       1997Q1         1998Q1         1999Q1         2000Q1         2001Q1         2002Q1         2003Q1         2004Q1         2005Q1         2006Q1
                                      Chunghwa                          LG                                 Philips                           LPD
                                      SDI                               Hitachi                            Panasonic Corp.                   Sony
                                      Toshiba                           Daewoo                             Mitsubishi                        Others
                                      CDT Production
 Note(s):               1996 and 1997 quarterly shares from annual production shares.
                        Data source combines LG and Philips under the heading of “LPD.”
                        Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                        For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (Taiwan).
                        2001 Q1 and 2001 Q2 "LPD" production shares split into "LG" and "Philips" according to relative production volumes of LG and Philips for the first half of 2001.
                        Manufacturer production data for 2004Q1 unavailable. 2004Q1 production calculated as the average of 2003Q4 and 2004Q2 production.
                        Plaintiffs' dataset inappropriately labels Panasonic Corp. as MTPD.
 Data Source(s):        Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 82.
 Source File(s):        total production.do; total production.xlsx; HDP-CRT00019322_rough_translation.xls; SDCRT-0201291.dta; CHU00071226.XLS; chu00071226.dta; mtpd-0416090.dta; vendor_map.do;
                        vendor_map.xlsx; vendor_map_def.dta; vendor_map_name.dta; CDT data.xlsx; p004_pdn_mfg_shares_2006.do; a004_pdn_mfg_shares_2006.xlsx




43.      As discussed in more detail in Section III, the significant changes in CDT market shares make it less
likely that effective collusion occurred for several reasons. Most obviously, Dr. Netz alleges that the defendant
manufacturers engaged in a variety of mechanisms to restrict output including allocations of market share and
individual large customers. From an economic perspective, the goal of these alleged mechanisms would be to
“share” the economic costs and benefits of collusion relatively equally among the participating manufacturers and
prevent individual manufacturers from cheating on the agreements by increasing their sales at the expense of other
manufacturers. Substantial share changes indicate that these objectives were not realized.60 In addition, changing
shares make it more difficult for cartel members to determine whether one or more firms are cheating on a price
fixing agreement or have experienced increased sales for some other reason.




60
  Dr. Netz argues that substantial share changes can be consistent with collusion, in principle. However, for the reasons
discussed in Section III.D, I do not believe her arguments in this regard are persuasive in this case.
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         C.       Collusion is more difficult when products are heterogeneous and prices are difficult
                  to observe and monitor.

44.     Economists recognize that collusion is more difficult when products are differentiated and heterogeneous
and prices are difficult to observe and monitor.61 CDTs are differentiated products with varied characteristics and
opaque or differentiated prices. Dr. Netz identifies a number of product characteristics such as finish (whether the
tube shipped without or with the deflection yoke and related components installed), size, shape, resolution,
frequency, safety standards, mask type, and neck diameter. Similarly, one industry publication from Stanford
Resources, Inc. routinely tracked a variety of different characteristics of CDT monitors over time including
application, diagonal screen size, profile type, resolution, and pixel format. 62

45.      The large number of different CDT products during the class period and the high degree of product
heterogeneity is illustrated in Figure 10 and Appendix C which summaries the number of unique models in each
quarter for each of the major CDT size categories along with summary information on the range of prices for each
size category. Many quarters have more than 200 different models for a specific CDT size category. The relative
importance of major size categories varies as does mix per manufacturer. In addition, most categories exhibit
wide price dispersion as measured by the difference between the 95th and 5th percentile prices as a percentage of
the overall average price. Moreover, this variation across products changes over time as new models are
introduced, old models are phased out, and prices change. 63 All of this heterogeneity would complicate attempts
to “fix” CDT prices.




61
   See, e.g.,
     x “The first core question is whether the industry has a homogeneous product or not. Cartels are far more likely if the
          product is fairly homogeneous between companies in the market.” Grout, Paul A., & Sonderegger, S. M. I. A.
          (2005). Predicting Cartels (OFT 773), Office of Fair Trading, at 15.
     x “Firms have more difficulty agreeing on relative prices when each firms product has different qualities or properties.
          Each time a product is modified, a new relative price must be established. It is easier for a cartel to spot cheating
          when all it has to do is examine a single price. It is relatively difficult to detect price cutting that is achieved by an
          increase in quality; a firm could increase its quality and hold its price constant if it wanted to increase sales without
          explicitly violating the pricing agreement.” Carlton and Perloff, at 135.
62
   Rhoda Alexander, Brian Fedrow, and Joseph A. Castellano, Monitor Market Trends, 10th Edition, Stanford Resources, Inc.,
1996, Appendix A. CDT manufacturers also differed in the level of service they provided. For example, one TAEC
document stated “Provide JIT(warehouse)/BTO(TDDI) to improve Toshiba’s CDT business responsiveness.” TAEC-CRT-
00065220, at 31. “For the last 5 years, Toshiba has maintained a technology leadership role in CDT development. In some
instances, such as the 17” and 19” introduction, this leadership role and Toshiba’s reputation has been impacted by Toshiba’s
inability to deliver a quality product, on-time at a competitive price.” TAEC-CRT-00065220, at 34.
63
   The analysis of prices in Appendix C was performed on data that was aggregated to the level of CDT size, finish,
manufacturer, model number and customer. The reported prices are for the ITC finish as this category accounted for the
largest dollar volume.
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                                                                                                                 Figure 10
                                                                                   Number of CDT Models by Size
 900

                                                                       802
                                                                 788
 800

                                                           719                           715
                                                                             707
                                                                                   688
 700                                                 660
                                                                                                     645
                                                                                               623
                                                                                                           597 601                                           590
 600                                                                                                                 574
                                                                                                                                 563 563               557         556
                                                                                                                                           544
                                                                                                                           528                   525
                                                                                                                                                                         514 512 513 515 514

 500                                                                                                                                                                                           460
                                                                                                                                                                                                     434 431

                                               389
 400
                                                                                                                                                                                                               346
                                         324                                                                                                                                                                         319               318
                                   306                                                                                                                                                                                     309               304
                                                                                                                                                                                                                                 279               288
 300
                         253 260
         241
               226 231                                                                                                                                                                                                                                   231


 200



 100



     0
         1996Q1
         1996Q2
         1996Q3
         1996Q4
         1997Q1
         1997Q2
         1997Q3
         1997Q4
         1998Q1
         1998Q2
         1998Q3
         1998Q4
         1999Q1
         1999Q2
         1999Q3
         1999Q4
         2000Q1
         2000Q2
         2000Q3
         2000Q4
         2001Q1
         2001Q2
         2001Q3
         2001Q4
         2002Q1
         2002Q2
         2002Q3
         2002Q4
         2003Q1
         2003Q2
         2003Q3
         2003Q4
         2004Q1
         2004Q2
         2004Q3
         2004Q4
         2005Q1
         2005Q2
         2005Q3
         2005Q4
         2006Q1
         2006Q2
         2006Q3
         2006Q4
                                                                                                                     14     15       17      19
 Data Source(s):          Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 64.
 Source File(s):          all_defendants_dropexout_collapsed.dta; input_data.do; p101_cdt_price_by_size.do; a101_cdt_price_by_size.xlsx




46.      Dr. Netz also recognizes that CDT manufacturers often must design their products specifically for a given
manufacturer’s needs based on "design in competition." 64 I understand that once a monitor manufacturer has
chosen a specific CRT for a particular model of monitor, it cannot easily substitute a different vendor’s CRT into
that particular monitor. Because of the heterogeneity across products and customers, CDT prices were
individually negotiated with large customers. For example, the price data in Section III shows that CDT prices
and price changes varied widely across customers and transactions.

47.     As shown in greater detail in Section III, a detailed analysis of CDT transactions prices and products
confirms the substantial heterogeneity of products and customers and evidences the reduced likelihood of
effective coordination on price. In particular, the evidence shows that:

                         x     CDT prices exhibit wide dispersion;

64
 “Due to the technical product differentiation that is necessary to the incorporation of tubes into monitors and TVs,
competition among CRT vendors is for design-in, not each individual CRT order. That is, when a TV or monitor
manufacturer develops a new model, the CRT vendors compete to win the design.” … “Once a TV or monitor manufacturer
has chosen a specific CRT as the basis for a given model of TV or monitor, it cannot readily substitute a different vendor’s
CRT into the finished product.” Netz Expert Report, at 10-11.
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             x   CDT price changes exhibit wide dispersion.

             x   CDT prices and price changes differed greatly from changes in alleged target prices.

48.     The differentiation among CRT products, customers and prices would have made it difficult for cartel
members readily to compare actual prices to the alleged cartel target prices, making it more difficult to detect
which firms were not complying with the target prices of alleged cartel. 65 Similarly, such differentiation would
have made enforcement of alleged cartel prices more difficult. Differentiated and customized products also
complicate punishment efforts since they make it more difficult for the cartel to take sales away from a perceived
“cheater,” thereby making cheating on the cartel more likely to be profitable.

49.     Substantial differences in technology and quality can lead to different price premia for different products
even of generally comparable size as well as differing views across manufacturers on what price levels would be
most profitable. Review of documents and information indicates that is the case here.

            x “For CDTs of the same size and specifications, Japanese manufacturers commanded a $4 to $5
              premium compared to Samsung, which, in turn, commanded a $2 to $3 premium over Chunghwa.” 66

            x Mr. Song mentioned that differences between the manufacturers led to different discussions during
              the meetings, as he states that “LP or Chunghwa had a great gap in terms of the technology and other
              aspect[s] compared to us.” 67

            x “As prices continue to decline on 15- and 17-inch units more of that production is expected to move
              off-shore as well. Japanese manufacturers remain solidly in control of the increasingly stringent
              high-resolution workstation market where design expertise, attention to detail, and quality control
              are vital. Although a few Taiwanese, Korean, and European vendors are active in this market,
              Japanese vendors such as end-user favorite Sony are expected to maintain the leadership position.” 68

            x In July 1999, LG complained about not being able to compete at the same price level: “Honestly, LG
              is absolutely weaker than Samsung and Chunghwa, so LG cannot compete at the same price level.” 69



65
   According to Mr. Kim, the price discussions were at a very ambiguous, general level, since "the price of CDTs are
determined through a very complicated process." For every given size of CDT product, there are a number of different
specifications that have different prices. Mr. Kim mentions a few examples: surface treatment (glare vs. non-glare), anti-
radiation (MPRII), different surfaces (round vs. flat) and length. All these specifications led to prices that could differ
significantly. Mr. Kim also states that prices would differ by the type of orders a customer made, “for instance, prices
offered to customers with long-term agreements with us, and prices that would be offered to customers who would buy high-
priced products.” Mr. Kim states that the terms of payments between customers varied as well: “there were customers who
would request bank guarantees and there were customers who would request credits.” Customers also differed in terms
transportation, insurance and shipment payments, as “for some customers we [SDI] will be in charge of paying those fees,
whereas other customers themselves would pay those fees.” Similarly, “the prices offered to customers who would have the
credit line of 60 days or 90 days were more expense – were higher.” 27 March 2013, Deposition of Deok-Yun Kim, Volume
1, at 27:1-29:13.
66
   Netz Expert Report, Note 220, citing Deposition of Chih Chun-Liu, Vol. 1, 19 February 2013, at 70:24 - 72:9.
67
   13 December 2012, Deposition of In Hwan Song, Volume 2, at 191:12 - 14.
68
   Rhoda Alexander, Brian Fedrow, and Joseph A. Castellano, Monitor Market Trends, 10th Edition, Stanford Resources, Inc.,
1996, at 93.
69
   SDCRT-0086662 - SDCRT-0086664, at 6662E.
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50.     As discussed above, Dr. Netz recognizes that successful cartels must be able to frequently adapt to
changes in market conditions over time (where such changes are occurring). This adaptation is more difficult
when prices are declining at varying rates, price transparency is limited, when products are heterogeneous and
changing rapidly, and when it is difficult to determine whether price changes or any observed prices are due to
changes in market conditions or cheating by particular members of the cartel. Coordination is made even more
complex when capacity, production, market shares and product mix are changing over time, and across
manufacturers. As discussed above, uncertainty in demand or changes in demand enhance incentives to “cheat”
on any coordinated arrangement.

        D.       Dr. Netz’s use of documentary evidence to establish conspiracy effectiveness

51.      Dr. Netz argues that collusive overcharges must have been substantial because the CDT manufacturers
accepted the costs and risks of such collusive activities for many years, and would not have done so absent a
substantial economic gain.70 However, the fact that meetings and communications may have taken place for
many years does not prove that the conspiracy was highly effective; nor does it prove the existence of substantial
overcharges. One widely cited study of cartel practices states: “Cartel duration is the most common measure of
cartel success because it is the most easily measured, but it is clearly unsatisfactory in capturing the economic
impact of cartels. There are cases where cartels have continued to exist on paper for many years with little
sustained effect on price.” 71

52.     In addition, as discussed further in Section III below, the documentary record in this case also provides
substantial evidence of competitive rivalry and non-cooperative behavior among CDT manufacturers. Individual
defendants frequently accuse one another of undercutting target prices, stealing market share or otherwise
"cheating" on alleged cartel agreements. 72 In fact, as described below, firms such as SDI, LG, LPD and
Chunghwa experienced substantial gains in market share despite alleged agreements on price, output and capacity.

53.      Importantly, much of the documentary evidence cited by Dr. Netz is inherently ambiguous regarding
effect and is not a substitute for a detailed empirical analysis. Dr. Netz appears to agree with this when she states:
“…narrow anecdotal documentary evidence cannot substitute for the quantitative analysis I have presented of the
extent to which actual prices matched cartel target prices, using all suitable price data available.”73 As shown in
detail in Section III below, the evidence on the extent to which actual prices matched target prices is consistent
with widespread non-adherence to target prices. Such non-adherence is consistent with both ineffectiveness of
any alleged conspiracy and/or widespread “cheating” on target prices. More importantly, as shown in Section IV,
a detailed econometric analysis of CDT prices is consistent with a finding of at most modest overcharges.

54.       In analyzing the economic effects of the alleged conspiracy, it is important to recognize that individual
firms have legitimate independent business reasons to obtain "competitive intelligence" about the markets in
which they operate in and about their competitors. Information about such factors as competitors’ product
offerings, as well as their production capability, quality, service levels, customer relationships, etc. are important
market-based information that can be used by individual firms to compete more effectively. Such information

70
   Netz Expert Report, at 31.
71
   Levenstein, Margaret C. and Suslow, Valerie Y., “What Determines Cartel Success?” Journal of Economic Literature, Vol.
44(1), 2006, at 45. Moreover, as a matter of economics, given the large magnitude of CDT sales, it could make financial
sense to participate in a cartel even if the overcharge was small as a percentage of sales.
72
   See Section III Below.
73
   Netz Class Cert Rebuttal Report, at 30.
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may reduce uncertainty and make firms more willing to undertake pro-competitive business transactions or risky
investments. This type of information can be valuable to individual firms for reasons that have nothing to do with
collusion. 74 For this reason economists typically evaluate the potential procompetitive benefits of such activity
along with any potential anticompetitive effects. 75



III.    BASIC EMPIRICAL EVIDENCE ON THE CDT INDUSTRY IS CONSISTENT WITH
        LIMITED CONSPIRACY EFFECTIVENESS AND AT MOST MODEST
        OVERCHARGES.

        A.       Evidence on trends in CDT prices

55.      CDT prices generally were declining throughout most of the relevant time period. When we consider the
alleged cartel period as a whole, CDT prices declined substantially faster during the alleged 1995Q2- 2007Q4
cartel period (-3.2% per quarter) than they did in either the 1993Q1-1995Q1 pre-cartel period (-1.1% per quarter)
or the post-cartel period. In fact, during the 2008Q1-2008Q4 post cartel period, CDT prices actually increased
(1.2% per quarter). 76 This is shown in Figures 11-12. The fact that prices fell substantially more rapidly during
the alleged cartel period than they did during periods when no cartel activity is alleged provides relatively simple,
yet powerful, evidence against Dr. Netz's claims of a highly effective conspiracy that produced large overcharges.




74
   Dr. Netz recognized these principles in her deposition. “Q. Dr. Netz, you'd agree with me that there are procompetitive
rationales for information sharing …THE WITNESS: Yes. […] Q. It is not your opinion that there are no procompetitive
reasons firms might -- firms would seek out information about prices, capacity, and production amounts of its competitors?
A. Yes. Q. BY MR. FOSTER: "Yes," it's not your opinion? A. Correct. . . . Q. In the absence of such information that I
mentioned in my last question, you would expect that firms might be more risk averse and less likely to make investments in
that industry; correct? A. That's possible, yes. Q. Okay. That would be an expectation, all things being equal? A. All things
being equal, yes.” 27 June 2014, Deposition of Janet S. Netz (Hereinafter “Netz Deposition”), at 193:4-194:6.
75
   See, e.g. Andrew M. Rosenfield, Dennis W. Carlton & Robert H. Gertner, "Communication among Competitors: Game
Theory and Antitrust,” Application of Game Theory to Antitrust," 5 George Mason Law Review 423 (1997).
76
   Dr. Netz analyzes two alternative ending dates for the alleged CDT conspiracy 2006Q4 and 2007Q4. If we include 2007 in
the post-conspiracy period, the average price decline during the alternative alleged post-conspiracy period of 2007Q1 –
2008Q4 is -0.4 percent per quarter.
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                                                                                                                                                  Figure 11
                                                                                                                      CDT Fisher Price Index
    3.0                                                                                                                                                                                                                                                                                                                                        1


                                                                                                                                                                                                                                                                                                                                               0.9

    2.5
                                                                                                                                                                                                                                                                                                                                               0.8
                                                                                                                                                                                                                                                    Alleged Cartel End Date

                                                                                                                                                                                                                                                                                                                                               0.7
    2.0

                                                                                                                                                                                                                                                                                                                                               0.6


    1.5                                                                                                                                                                                                                                                                                                                                        0.5


                                                                                                                                                                                                                                                                                                                                               0.4

    1.0
                                                                                                                                                                                                                                                                                                                                               0.3

                                                                           Alleged Cartel Start Date
                                                                                                                                                                                                                                                                                                                                               0.2
    0.5

                                                                                                                                                                                                                                                                                                                                               0.1


    0.0                                                                                                                                                                                                                                                                                                                                        0
          1992Q1
                   1992Q3
                            1993Q1
                                     1993Q3
                                              1994Q1
                                                       1994Q3
                                                                1995Q1
                                                                         1995Q3
                                                                                  1996Q1
                                                                                           1996Q3
                                                                                                    1997Q1
                                                                                                             1997Q3
                                                                                                                      1998Q1
                                                                                                                               1998Q3
                                                                                                                                        1999Q1
                                                                                                                                                 1999Q3
                                                                                                                                                          2000Q1
                                                                                                                                                                   2000Q3
                                                                                                                                                                            2001Q1
                                                                                                                                                                                     2001Q3
                                                                                                                                                                                              2002Q1
                                                                                                                                                                                                       2002Q3
                                                                                                                                                                                                                2003Q1
                                                                                                                                                                                                                         2003Q3
                                                                                                                                                                                                                                  2004Q1
                                                                                                                                                                                                                                           2004Q3
                                                                                                                                                                                                                                                     2005Q1
                                                                                                                                                                                                                                                              2005Q3
                                                                                                                                                                                                                                                                       2006Q1
                                                                                                                                                                                                                                                                                2006Q3
                                                                                                                                                                                                                                                                                         2007Q1
                                                                                                                                                                                                                                                                                                  2007Q3
                                                                                                                                                                                                                                                                                                           2008Q1
                                                                                                                                                                                                                                                                                                                    2008Q3
                                                                                                                                                                                                                                                                                                                             2009Q1
                                                                                                                                                                                                                                                                                                                                      2009Q3
 Note(s):                      Base period for Fisher price index is 2000Q1.
 Data Source(s):               Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 64.
 Source File(s):               all_defendants_dropexout_collapsed.dta; tukey filter.do; fisher app-quarter.do; fisher_app_q.xlsx; a001_fisher_app_quarter.xlsx
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                                                                                       Figure 12

                        Compound Quarterly Growth Rates of CDT Fisher Price Index
 1.5%
                                                                                                                                                          1.2%

 1.0%



 0.5%



 0.0%



 -0.5%                                                                                                                      -0.4%


 -1.0%

                          -1.1%

 -1.5%



 -2.0%



 -2.5%



 -3.0%

                                                                           -3.2%
 -3.5%
                   1993Q1 to 1995Q1                                1995Q2 to 2007Q4                                 2007Q1 to 2008Q4                 2008Q1 to 2008Q4
 Data Source(s):   Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 64.
 Source File(s):   all_defendants_dropexout_collapsed.dta; tukey filter.do; fisher app-quarter.do; fisher_app_q.xlsx; a001_fisher_app_quarter.xlsx



56.      While CDT prices generally declined substantially during the alleged cartel period, Figure 12 indicates
that CDT prices did increase somewhat in 1995. However, it is highly unlikely that the price increases in 1995
are due to the alleged conspiracy for (at least) two reasons: 1) There is substantial evidence that the level of
allegedly collusive activity was low in the early years of the alleged conspiracy, and 2) there are more plausible
alternative explanations for these 1995 price increases that are unrelated to the alleged conspiracy. As I discuss in
Section IV below, it is likely that these price increases driven by non-cartel factors are what drive Dr. Netz’s
calculations of large overcharges in 1995 and 1996.

57.      With respect to the first point, Dr. Netz's own target price database shows no target prices for any size of
CDT during all of 1995 and the first quarter of 1996. Dr. Netz reports two CDT target prices in the second
quarter of 1996, and then nothing until the fourth quarter. Accordingly, Dr. Netz has identified no target prices in
1995 and very little target price coverage until the fourth quarter of 1996, by which time CDT prices were already
declining. This lack of target prices is particularly noteworthy in light of the emphasis placed by Dr. Netz on the
use of target prices as a key mechanism of the alleged cartel.

58.     To illustrate the lack of target prices during the 1995 price increases in greater detail, Figure 13 shows
Fisher price indexes of Dr. Netz’s CDT price data along with the timing of the earliest target price observations in
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Dr. Netz’s dataset. For each size of CDT, the first and second quarters that Dr. Netz reports a target price are
indicated with symbols on the Fisher price lines. These data show that:

                   x    Dr. Netz’s database shows no target prices for 14 inch CDTs until fourth quarter of 1996, long
                        after the price increases in 1995. In fact, by the time of the first target price, CDT prices have
                        already declined significantly.

                   x    For 15 inch CDTs there are no target prices in 1995, and target prices first appear in the second
                        quarter of 1996, again well after the 1995 price increases.

                   x    For 17 inch CDTs there are no target prices until the fourth quarter of 1996. Then there are no
                        additional target prices until the second quarter of 1999, by which time 17 inch CDT prices have
                        already fallen dramatically.

                   x    For 19 inch CDTs there are no target prices until 1999.77

                                                                                           Figure 13
                       CDT Price Indices by Size with Earliest Target Price Observations
                                          From Dr. Netz's Database
     3




 2.5




     2




 1.5




     1




 0.5




     0



                                                   14            15            17            19            1st Target Price               2nd Target Price
 Note(s):          Base period for all indices is 2000Q1. For each size, chart indicates timing of the first and second target price identified by Dr. Netz.
 Data Source(s):   Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 64.
                   Cartel meeting notes; see Target price-structure.xlsx.
 Source File(s):   combine_target_defendant.dta; fisher_app_size_q.xlsx; p053_netz_fishers_by_size.do; a053_netz_fishers_by_size.xlsx




77
     See my backup files “p020_first_netz_target_by_size.do” and “a020_first_netz_target_by_size.xlsx.”
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59.     Similarly, there is no evidence that the price increases in 1995 are due to collusive output restrictions. Dr.
Netz's Exhibit 28 lists documents that she characterizes as instances in which Defendants agreed to reduce
production capacity or output. However, the earliest CDT-related instance (and the only instance in 1995 or
1996) on this list is from a meeting that occurred in late November 1996, far too late to have any role in
explaining the price increases in 1995. Moreover, Dr. Netz provides no evidence of output or capacity
coordination during this period, and the empirical evidence presented above shows that several manufacturers
were significantly increasing capacity and output during this period – and indeed introducing new sizes and
models.

60.     While Dr. Netz cites two other documents in her report relating to alleged communications among the
defendants from 1995, 78 as discussed herein, the defendants were adding capacity and increasing output
throughout 1995, and indeed until around 2000 when demand began to decline. The rapid growth in capacity and
output that was being planned and put in place in 1995 and later years produced substantial excess capacity
causing prices to decline rapidly during later years such as 1996-1998. 79 In short, the empirical evidence does not
support the proposition that the defendants were successfully coordinating in 1995 or that the price increases that
occurred in 1995 were caused by the alleged conspiracy. 80

61.      While there is very little evidence that the 1995 price increases could be due to the alleged conspiracy,
there is substantial evidence that these price increases were due to non-cartel factors such as rapid demand
growth, capacity shortages and glass shortages. Demand for CDTs grew very rapidly in 1995 due to rapid growth
in desktop computers. For example, an internal Hitachi document shows annual data on the estimated growth of
CDT demand for different sizes of CDTs. The overall demand for CDTs was estimated to have grown by 31.1
percent in 1995. In addition, the document shows that demand growth was particularly high for larger CDTs such
as 15 and 17 inch CDTs. 15 inch CDTs had an estimated annual growth rate in 1995 of 93.3 percent and 17 inch
CDTs had an estimated growth rate of more than 200 percent. 81




78
   Netz Expert Report, at 42, citing
     x 14 February 1995, SDCRT-0086208 - SDCRT-0086210.
     x 29 May 1995, CHU00028933 - CHU00028945, at 8933.01E.
79
   See, e.g.,
     x "As per last year's expected capacity increases, the supply demand situation is further out of balance. This has
          resulted in significant price erosions in CMT in 1997 (minus 30% versus average of 1996). Further price erosion at
          about -10% is expected in 1998 and 1999 and will soften only after that year when supply/demand is in balance
          again." LPD-NL00018267 – LPD-NL00018336, at 8270.
     x "CMT prices on average have eroded drastically during 1997 (-30%). This was more severe than expected due to
          massive overcapacity. We expect the average market price erosion over the total review period to be at 3-4% for the
          14” and 15”, 5% for 17” and up to 6% annually for the 19.” LPD-NL00018267 – LPD-NL00018336, at 8276.
80
   In addition, low concentration and more diversity of strategies with the larger number of firms in the industry would have
made coordination difficult.
81
   HDP-CRT00048109.
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                                                                                Figure 14
                               Annual Growth Rates of Worldwide CDT Demand by Size
     350%                                                                                                                                                1


                                                                          Dramatic growth in
     300%                                                                                                                                                0.9
                                                                          demand for larger-
                                                                          sized CDTs in 1995.
                                                                                                                                                         0.8
     250%


                                                                                                                                                         0.7
     200%

                                                                                                                                                         0.6
     150%

                                                                                                                                                         0.5

     100%
                                                                                                                                                         0.4

     50%
                                                                                                                                                         0.3


      0%
                                                                                                                                                         0.2


     -50%                                                                                                                                                0.1


 -100%                                                                                                                                                   0
                   1991          1992            1993            1994            1995            1996             1997           1998   1999     2000
                                                          14"         15"         17"      19"          20"/21"          Total
 Data Source(s):      HDP-CRT00048109.
 Source File(s):      HDP-CRT00048109.XLS; a008_cdt_demand_by_size.xlsx



62.      In part this high demand for larger size and higher resolution monitors and CDTs was due to the widely
expanding functionality and performance of desktop computer hardware and software. For example, several trade
press articles from this time period emphasized the growing role of applications such as desktop publishing, video
games with advanced graphics and the introduction of Microsoft Windows 95 software. Some examples are
given below:

             x      “Distributors said 15-inch monitors already are in short supply, yet the demand continues to
                    skyrocket. The 15-inch and 17-inch models are replacing 14-inch screens as the standard, and their
                    popularity is expected to grow with the planned August release of Microsoft Corp.'s Windows 95.”82

             x      “Color monitors with screens 15 inches and larger--once the domain of artists, graphics designers and
                    high-end publishers--have greatly broadened their base, having become affordable and desirable in
                    personal computers. …The advent of Windows software and resultant proliferation of graphical user
                    interfaces in the PC world, the availability of economical color printers, and dramatic price decreases


82
  Pereira, Pedro, “Higher monitor prices looming -- Shortages of cathode ray tubes, higher production costs in Japan taking a
toll,” Computer Reseller News, 10 April 1995. http://global.factiva.com (accessed 27 July 2014).
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             in large-screen color monitors have all worked to intensify color-monitor demand. Windows has also
             dramatically increased the demand for monitors larger than 14 inches.” 83

         x   “Sales of color display tubes for computer monitors were up sharply in Japan and overseas. This was
             attributable to much higher worldwide PC sales, in concert with rising demand for high resolution and
             large-screen monitors. Orders for 15 inch and 17 inch models increase significantly, while demand
             for 14 inch units declined. Toshiba responded quickly to this trend, starting full-scale production of
             15 inch and 17 inch Microfilter display tubes…. To bolster production capacity Toshiba began
             making TV color picture tubes at an Indonesian joint venture in June 1996.”84

         x   "For manufacturers and OEMs alike, 1995 was something of a feeding frenzy. Faced with
             skyrocketing consumer demand, OEMs scoured the Far East in search of monitors to package with
             their CPUs. Manufacturers, caught between escalating tube costs, glass shortages and increased
             demand were forced to juggle product between customers. Like the fish that got away, everyone
             involved was left with a feeling of ""if only."" No one will ever really know just how big the year
             could have been if supply had been adequate. But like all good fish tales, we imagine it would have
             been really, really big.” 85

         x   “Figure 2 – 4 illustrates the worldwide unit monitor market forecast by diagonal screen size and CRT
             type. The greatest market share increase will occur in the 15 to 18 inch diagonal category, growing
             from 45.3% in 1996 to 79.9% in 2002. This trend reflects the change in manufacture/end-user
             attitudes regarding production and consumption of smaller CRT – based monitors as well as
             anticipated changes in equipment design. Specific emerging application categories, such as desktop
             publishing, online services, and Windows, have caused an upward shift in monitor sizes from 14 to 15
             or 17 inches for some monitor subcategories, especially in desktop personal computers.”86

63.     In light of the rapid growth in the demand for monitors and CDTs, the CDT manufacturers responded by
increasing their capacity and output. For example, Dr. Netz's own data indicates that total CDT production
increased by 14 percent in 1994 and 38 percent in 1995. 87 However, despite this rapid growth, the evidence
indicates that the manufacturers were not able to expand capacity rapidly enough to fully meet the booming
demand in 1995. Contemporaneous documents indicate that CDT capacity was very tight during this period. In
addition, some other supply related problems, such as shortages of glass for making CRTs exacerbated the
shortages of CDT supply during 1995. In addition to the documents cited above, some additional examples of
contemporaneous documents discussing these and other supply issues are provided below88


83
   Derman, Glenda, “Large color monitors thrive in today’s PC world,” Electronic Engineering Times, 05 June 1995.
http://global.factiva.com (accessed 27 July 2014).
84
   Toshiba Corp.'s 1996 annual report, at 19.
85
   Alexander Rhoda, Brian Fedrow, Joseph A. Castellano, Monitor Market Trends, Tenth Edition, 1996, Stanford Resources,
Inc., 1996, at 79.
86
   Alexander Rhoda, Brian Fedrow, Joseph A. Castellano, Monitor Market Trends, Tenth Edition, 1996, Stanford Resources,
Inc., 1996, at 13-14.
87
   CDT production data used in Dr. Netz’s Exhibit 9. These calculations are detailed in my backup file “a054_total
production.xlsx”. See also documents cited in footnote 128 documenting rapid capacity expansion during this period.
88
   Dr. Netz recognized in her deposition that to the extent that there were CDT capacity shortages and glass shortages, such
factors could have caused the increase in prices during 1995: “So I'd like to ask you a hypothetical: If there was a capacity
shortage of CDT prices -- of CDTs in 1995 could that have been responsible for a rise in prices during that year as opposed to
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         x   An internal business plan dated March 9, 2001 related to LG Philips Displays contains data on CDT
             demand and capacity covering the time period 1994 through 2000 along with a projection through
             2005. 89 The document shows substantial excess capacity in most years except 1994 and 1995. In
             particular, CDT demand is shown to be very close to CDT capacity in 1995.90 This document and
             many others also confirm that CDT manufacturers invested heavily during the 1990s to bring on new
             CDT capacity.

         x   An internal analysis of desktop demand, monitor production and CDT production prepared by
             Toshiba Corp. in April 1998 shows that desktop demand and monitor production was essentially
             equal to CDT capacity in 1995. 91

         x   A May 1995 presentation by LG Electronics titled "Color CRT market data" showed that monitor
             demand was expected to be very close to CDT supply in 1995. The document also illustrates the
             rapid projected increase in color monitor demand and CDT production during 1993 through 1998, as
             well as the rapid transition from 14” CDTs to larger sizes. 92 This document and many others show
             that CDT manufacturers were investing heavily during this period to bring on new CDT capacity in
             light of rapid demand growth.

         x   A 1996 industry report stated: “Over the past few years, the CRT industry has gone through some
             radical price increases for such a mature industry. These price increases were due to the component
             parts which comprise the finished CRT. A shortage in glass was the major culprit. In early 1994, an
             unusual number of glass manufacturers underwent tank repairs which limited the amount of glass
             which could be produced. At that time, tank repair could typically take up to 8 weeks. The beginning
             of the demand shift for computer data display tubes to 15-inch and 17 -inch sizes from 14-inch also
             demanded more glass. The increasing screen sizes in television tubes had also put more demands on
             the glass manufacturers which caused price increases. In addition, the Kobe earthquake in late 1994
             led to short-term shortages for yokes as facilities were damaged and transportation abilities were
             hindered.” 93




a cartel effect if that had taken place? A. Relative to an earlier period where there weren't capacity constraints. Q. Yes. A.
Production and capacity -- yes that could play a role. Q. How about a glass shortage? If there was a glass shortage during a
particular year that you studied during the cartel period in comparison to other periods a greater shortage could that have been
responsible for an increase in price different from the cartel effect? A. If there were an actual glass shortage it might cause
that to happen, yes.” Netz Deposition, at 132:25 – 133:16.
89
   09 March, 2001, PHLP-CRT-090615, at 12.
90
   When asked in her deposition if she found any evidence of CDT capacity shortages in 1995, Dr. Netz concluded that there
was no evidence of shortage even though her own data indicated that production was equal to capacity in 1995. Netz
Deposition, at 79:9-19. In contrast to Dr. Netz’s answer, a situation where reported production is equal to capacity is fully
consistent with capacity constraints.
91
   22 April 1998, TSB-CRT-00036829.
92
   29 May 1995, CHU00028933 - CHU00028945, at 8940E.
93
   George R. Aboud, Joseph A. Castellano, Brian Fedrow, Cathode Ray Tubes, First Edition, 1996, (Stanford Resources, Inc.,
1996), at 72. See, also,
     x Pereira, Pedro, “Higher monitor prices looming -- Shortages of cathode ray tubes, higher production costs in Japan
          taking a toll,” Computer Reseller News, 10 April 1995. http://global.factiva.com (accessed 27 July 2014):
          x Channel players are bracing for monitor price increases as manufacturers try to cope with cathode ray tube
               shortages and the higher cost of production in Japan.
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64.      These non-collusive explanations for the 1995 price increases also are supported by the fact that CDT
prices of all types plummeted from 1996-1998 as these supply issues were resolved (Figure 13), despite alleged
attempts by the defendants to arrest the decline in prices. 94 Contemporaneous documents discuss these factors as
well. 95

         B.       Dr. Netz’s claims relating to alleged price-fixing and target prices

65.      Despite the evidence that CDT prices declined more rapidly during the alleged conspiracy period than
either before or after, Dr. Netz alleges that the defendant manufacturers engaged in effective coordination of CDT
pricing through extensive use of target prices. However, in contrast to Dr. Netz’s claims that such activity was
highly effective and produced substantial overcharges, empirical analyses of CDT prices show substantial
evidence that the defendant manufacturers did not adhere closely to alleged cartel target prices. In fact, actual

         x      Distributors said prices at their level have started to climb by less than $10 on low-end monitors to as much as
                $100 on the higher-resolution units. This translates into an across-the-board average of between 5 percent and
                10 percent, said industry insiders.
          x Glass production has fallen short of the high demand created by the migration from 14-inch screens to larger
                and higher-resolution models, said distributors, monitor vendors and analysts.
          x Distributors said 15-inch monitors already are in short supply, yet the demand continues to skyrocket. The 15-
                inch and 17-inch models are replacing 14-inch screens as the standard, and their popularity is expected to grow
                with the planned August release of Microsoft Corp.'s Windows 95.
          x Rhoda Alexander, a senior analyst with research firm Stanford Resources Inc., San Jose, Calif., said increased
                glass production would solve the shortage problem, but she expects the shortage to last through year's end.
                "The world's glass capacity hasn't increased to meet all the demand. There wasn't enough production," said
                Alexander.
Additional documentation of these supply and demand conditions in 1995 is provided in Appendix D.
94
   Dr. Netz cites numerous alleged target prices as well as alleged output restrictions during this period when CDT prices are
dropping extremely rapidly. This illustrates the ineffectiveness of this alleged conduct during this period. See my backup file
“CDT Target Price Coverage by Quarter.xlsx” and Netz Expert Report, Exhibit 28.
95
   Bliss, Jeff, “Pricing: Monitors stabilize, DRAM dips -- Prices stabilize the board; 15-inch monitors in supply,” Computer
Reseller News 18 March 1996. http://global.factiva.com (accessed 27 July 2014):
          x Monitor prices are stabilizing-and in some cases, dropping-as the shortage in cathode ray tubes begins to ease.
          x Glass-supply problems-caused primarily by the growing popularity of 15- and 17-inch models over 14-inch
                units and for big-screen TVs, which compete for the CRTs-have lessened with the retooling and building of
                CRT plants and recent smaller-than-expected sales of PCs in the retail sector, said vendors and analysts.
          x The crisis appears almost over for 17-, 20- and 21-inch supplies, while stocks of 15-inch monitors-which were
                the most affected by the shortage-have been shored up considerably, said Rhoda Alexander, senior market
                analyst for CRT monitors at Stanford Resources Inc., San Jose, Calif.
          x "We actually have been seeing [supply problems] ease quite a bit," said Mark Gersh, product manager at
                ViewSonic, Walnut, Calif.
          x Retail PC sales in the first quarter that did not meet expectations also lowered monitor sales, allowing supply to
                catch up, manufacturers said.
          x "[Supply] obviously is improving as sales slow down," said John Grundy, senior national marketing manager of
                monitors for Samsung Electronics, in Ridgefield Park, N.J.
          x CRT manufacturers simultaneously have been so successful in refitting plants and in building new factories to
                meet the demand in 1995, monitor vendors said, that tube prices have been reduced-a discount that allowed
                monitor prices to be dropped.
"As per last year's expected capacity increases, the supply demand situation is further out of balance. This has resulted in
significant price erosions in CMT in 1997 (minus 30% versus average of 1996). Further price erosion at about 10% is
expected in 1998 and 1999 and will soften only after that year when supply/demand is in balance again." LPD-NL00018267
– LPD-NL00018336, at 8270. "CMT prices on average have eroded drastically during 1997 (-30%). This was more severe
than expected due to massive overcapacity. We expect the average market price erosion over the total review period to be at
3-4% for the 14” and 15”, 5% for 17” and up to 6% annually for the 19.” LPD-NL00018267 – LPD-NL00018336, at 8276.
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CDT prices were frequently below the alleged target prices. In addition, actual prices and price changes exhibit
wide dispersion across manufacturers and time as well as at any given point in time.

66.       Before comparing actual CDT prices to target CDT prices, it is important to recognize that a large fraction
of CDT sales was not covered by target prices even based on Dr. Netz's own analysis for matching actual CDT
sales to target prices. Dr. Netz asserts that 39% of CDT sales during the class period were associated with a target
price. 96 Thus, even based on her own methodology and calculations, Dr. Netz recognizes that she has not
identified target prices for a majority of global CDT sales during the alleged conspiracy. 97 Moreover, Dr. Netz
employs inappropriately broad product categories when she attempts to “match” CDT target prices to actual CDT
sales, leading her to assume that she has an actual "match" between target and actual prices when she is ignoring
many characteristics of CDT products and sales transactions that mean the match may be an incorrect one. For
example, Dr. Netz matches based on a relatively general set of product characteristics including application, size,
and finish (ITC or bare ) while recognizing that many other characteristics such as such as aspect ratio, the type
of shadow mask the CRT has, dot pitch, frequency, and coating potentially are relevant to CDT pricing. 98 While
Dr. Netz might argue that such problems are due to lack of detail in the available data, this ignores the fact that
she is assuming that the defendants would have been able to determine and adhere to target prices despite having
far less data than Dr. Netz.

67.      Moreover, Dr. Netz also overstates the extent of target price “coverage” by assuming that target prices
discussed in a meeting applied to all Defendants in many cases regardless of whether a particular defendant
actually attended the meeting or had any communications whatsoever regarding the alleged target price with other
defendants. 99 Finally, in many cases Dr. Netz assumes that a given target price is in effect for a longer time
period than was actually the case because she effectively assumes that a target price that was effective for any
portion of a particular quarter was effective for the entire quarter. 100 For example, if a target price was set to be
effective during the month of March, Dr. Netz assumes that it was effective for January-March.

68.     While it is not possible to identify all of these “mismatches” between actual and target prices in Dr. Netz's
database because of a lack of available data on CDT characteristics and other factors, I made use of alternative
reasonable assumptions and re-estimated matches. The adjusted matching methodology differs from Dr. Netz's
methodology and attempts a closer match by matching actual and target prices only if they share the same month

96
   Netz Expert Report, at 63.
97
   I also note that Dr. Netz’s target price coverage is particularly low in the 1995-1996 period. I show in Section IV below
that these years are driving Dr. Netz’s estimated overcharges. Even combining all sizes of CDTs together, there are no target
prices in Dr. Netz’s database until the second quarter of 1996, and the coverage for 1996 is far lower than in later years. The
target price coverage calculations are provided in my backup file “CDT Target Price Coverage by Quarter.xlsx.”
98
   “It is important to note that while all CRT models within a group are identical with respect to application, size, and finish,
they are different with respect to other characteristics relevant to pricing, such as aspect ratio, the type of shadow mask a
CRT has, dot pitch, frequency, and coating.” Netz, Janet S., Ph.D., 01 October 2012, Declaration of Janet S. Netz, Ph.D., In
Support of Motion of Indirect-Purchaser Plaintiffs for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (Hereinafter “Netz Class Cert Report”), at 63.
99
   Netz Deposition, at 160:25 – 161:5: “Q. And if it was not indicated one way or the other, you'd apply it to all alleged cartel
members? If the target price was not specific to a specific manufacturer, you would apply it to all alleged cartel members
whether or not they attended the meeting? A. Yes, that is correct.” As discussed above, Dr. Netz identified at least the
following categories of CDTs: finish, size, shape, resolution, frequency, safety standards, mask type, and neck diameter.
However, her program for matching actual sales to target prices for calculating “coverage” only takes account of
manufacturer, size, finish, and quarter. Netz Expert Report, note 203. Netz Expert Report, backup file
“combine_target_defendant.smcl.”
100
    Netz Expert Report, note 203.
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(as opposed to quarter) and shape (where it is possible to identify the shape of the CDT sold), and only if the
seller attended the meeting at which Dr. Netz alleges the target price was set. This approach addresses, to the
extent possible with the available data, the problems with Dr. Netz’s methodology discussed above. Using this
approach, I have estimated a substantially lower estimate of roughly 16.4 percent of CDTs during the class period
that can be associated with an alleged target price in Dr. Netz's data set. The fact that we (and Dr. Netz) are
unable to match such a large portion of actual sales to target prices even with the benefit of extremely detailed
sales databases and transactions level data many years after the fact further demonstrates the difficulties that
would have faced alleged cartel members who would have had to conform their pricing for many products to such
target prices as well as attempt to monitor and police adherence to target pricing in real-time with far less
information available.

                                                         Table 2 101
            Share of CDT Sales with a Corresponding Alleged Target Price
                            ("Target Price Coverage")

                                                                  Maximum Coverage Using Corrected Matching
Coverage Using Dr. Netz's Matching Methodology
                                                                               Methodology



                            39.0%                                                           16.4%



69.      The preceding analyses showed that even by Dr. Netz’s calculation there is a low proportion of sales that
have associated target prices – where such target prices existed. Additional analyses of target and actual prices
shows there is considerable variation in actual prices, and in target prices relative to actual prices over the period.
The following graphics present examples of alleged target prices for each major size category of CDT (ITC)
products and actual prices by manufacturer. Each of the figures shows substantial variation in actual prices across
manufacturers and across individual products at each point in time particularly during the initial years. The
variation in actual prices is much greater than that of the target prices for every quarter with a target price.102 As
described above, the figures also show that the first target prices identified by Dr. Netz occur significantly after
the CDT price increases that occurred in 1995. For some product categories, there are substantial periods with no
target prices. For example, for 17 inch CDTs the figure shows that Dr. Netz identifies only one target price event
in late 1996 and then none until 1999.




101
   See my backup file “Share of CDT Sales with a Corresponding Alleged Target Price.xlsx.”
102
   In contrast to the wide variation in actual prices visible in each chart, the difference between the minimum and maximum
target prices in any given quarter often is visually indistinguishable in these charts. This also illustrates how little of the
variation in actual prices in a given quarter is explained by target prices.
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                                                                                                 Figure 15
                                                                14-Inch CDT with ITC Finish
                                                           Actual vs. Target Prices by Manufacturer
                  200


                  180


                  160


                  140


                  120
      Price ($)




                  100


                   80


                   60


                   40


                   20


                    0
                     1995        1996          1997          1998          1999           2000          2001          2002          2003          2004           2005        2006      2007      2008

                        Chunghwa               LG            LPD             Panasonic Corp.               Philips           SDI            Toshiba             Max Target          Min Target


 Note(s):                   Dr. Netz's sales database inappropriately labels Panasonic Corp. as MTPD.
 Data source(s):            Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 64.
                            Cartel meeting notes; see Target price-structure.xlsx.
 Source file(s):            combine_target_defendant.dta; p010_target_price_regressions.do - actual v target.do; a010_target_price_regressions.do - actual v target.xlsx
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                                                                                             Figure 16

                                                                    15-Inch CDT with ITC Finish
                                                               Actual vs. Target Prices by Manufacturer
                      300




                      250




                      200
          Price ($)




                      150




                      100




                       50




                        0
                         1995        1996          1997          1998          1999           2000          2001          2002          2003          2004           2005      2006        2007    2008


                            Chunghwa             LG           LPD             Panasonic Corp.               Philips           SDI            Toshiba             Max Target           Min Target

     Note(s):                   Dr. Netz's sales database inappropriately labels Panasonic Corp. as MTPD.
     Data source(s):            Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 64.
                                Cartel meeting notes; see Target price-structure.xlsx.
     Source file(s):            combine_target_defendant.dta; p010_target_price_regressions.do - actual v target.do; a010_target_price_regressions.do - actual v target.xlsx
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                                                                                             Figure 17

                                                                    17-Inch CDT with ITC Finish
                                                               Actual vs. Target Prices by Manufacturer
                      400



                      350



                      300



                      250
          Price ($)




                      200



                      150



                      100



                       50



                        0
                         1995        1996          1997          1998          1999           2000          2001          2002          2003          2004           2005      2006       2007     2008

                            Chunghwa              LG            LPD             Panasonic Corp.               Philips           SDI            Toshiba            Max Target          Min Target

     Note(s):                   Dr. Netz's sales database inappropriately labels Panasonic Corp. as MTPD.
     Data source(s):            Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 64.
                                Cartel meeting notes; see Target price-structure.xlsx.
     Source file(s):            combine_target_defendant.dta; p010_target_price_regressions.do - actual v target.do; a010_target_price_regressions.do - actual v target.xlsx
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                                                                                              Figure 18

                                                                     19-Inch CDT with ITC Finish
                                                                Actual vs. Target Prices by Manufacturer
                       400



                       350



                       300



                       250
           Price ($)




                       200



                       150



                       100



                        50



                         0
                          1995        1996          1997          1998          1999           2000          2001          2002          2003          2004           2005      2006       2007     2008

                             Chunghwa              LG           LPD             Panasonic Corp.               Philips           SDI            Toshiba             Max Target          Min Target

      Note(s):                   Dr. Netz's sales database inappropriately labels Panasonic Corp. as MTPD.
      Data source(s):            Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 64.
                                 Cartel meeting notes; see Target price-structure.xlsx.
      Source file(s):            combine_target_defendant.dta; p010_target_price_regressions.do - actual v target.do; a010_target_price_regressions.do - actual v target.xlsx



70.      While Dr. Netz argues that: “The prices charged by Defendants closely tracked the collusive target
prices,” 103 she ignores the fact that even for the minority of CDT sales that arguably were covered by target
prices, Defendants frequently priced below those target prices. Specifically, I have estimated that approximately
80 percent of CDTs sold worldwide for which Dr. Netz identified an alleged applicable target price were priced
below that target price.104 Moreover, even this very substantial 80 percent figure under-estimates the extent to
which Defendants priced below target prices because (as Dr. Netz has acknowledged) target prices were more
frequently set with respect to relatively basic CDT models rather than more differentiated models which would
generally have higher prices. 105

71.      Dr. Netz's data also indicate that the percentage of sales below target varied substantially across CDT
manufacturers. See Figure 19. This further undermines Dr. Netz's conclusions that CDT manufacturers adhered
in a uniform way to the alleged target prices. To the extent that there were substantial differences across

103
    Netz Expert Report, at 64.
104
    See my backup file “Share of CDT Sales Quantity Below Target Price by Year.xlsx.”
105
    Netz, Janet S., Ph.D., 15 February 2013, Declaration of Janet S. Netz, Ph.D., in Support of Motion of Indirect-Purchaser
Plaintiffs for Class Certification (hereafter “Netz Initial Class Report”), at 63.
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manufacturers in the extent of adherence to target prices, we would have expected substantial punishments and/or
side payments. However, Dr. Netz provides little evidence of such punishments being carried out, and no
evidence of such side-payments. 106

                                                       Figure 19 107
                              Share of CDT Sales Quantity Below Target Price
 100%

                                                              92%

  90%

             83%                                                                                     84%
                                                 81%
  80%



  70%

                        61%                                                 61%
  60%



  50%                                                                                                            47%


  40%



  30%
                                     25%


  20%                                                                                     19%



  10%



      0%
           Chunghwa   Daewoo        Hitachi      LGE          LPD      Panasonic Corp.   Philips     SDI        Toshiba


72.     The data also show that widespread pricing below target prices continued throughout the alleged
conspiracy. For example, Table 3 below shows that the large majority of sales remained below target prices even
during 2003-2005. Accordingly, there is no evidence that the alleged conspiracy was able to increase adherence
substantially over time.




106
    Despite the widespread evidence of non-adherence to target prices, Dr. Netz reports only a small number of instances
where punishment allegedly was threatened. Netz Expert Report, at 57-58. Moreover, she provides no evidence that any such
punishments actually were carried out, despite the fact that evidence of non-adherence to target prices continued throughout
the alleged conspiracy period. See Table 3.
107
    See my backup file “share_sales_below_target_by_manufacturer.csv.”
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                                                           Table 3 108
                                            Share of CDT Sales Quantity
                                            Below Target Price by Year

                                                  Year                     Below Target

                                                  1996                         58.9%
                                                  1997                         71.1%
                                                  1998                         89.8%
                                                  1999                         76.7%
                                                  2000                         80.5%
                                                  2001                         83.7%
                                                  2002                         78.5%
                                                  2003                         82.0%
                                                  2004                         73.3%
                                                  2005                         89.7%
                                                Overall:                      80.5%


73.      CDT price changes often differed substantially from contemporaneous changes in target prices. In Figure
20, I plot quarterly changes in actual sales prices for those sales where Dr. Netz claims to have found a match to a
target price. The horizontal axis depicts quarterly changes in the alleged target prices identified by Dr. Netz, and
the vertical axis depicts corresponding changes in actual sales prices of CDT models for the same time period. In
calculating these price changes, I used disaggregated sales data in which an actual price observation represents the
quantity-weighted average actual price for a given model, customer, factory, and quarter using Dr. Netz's global
CRT sales data for Q1 1995 to Q4 2007. 109 Similarly, a target price observation represents the average of the
target prices identified by Dr. Netz for the same combination of manufacturer, application (CDT/CPT), size,
finish, and quarter.

74.      If actual prices followed target prices closely as Dr. Netz alleges, most observations in the figure would
be located close to the 45-degree line indicating that an actual price change was equal to the change in Dr. Netz's
alleged applicable target price. In contrast, most of the data points are widely dispersed rather than clustered
tightly around the 45-degree line. For each specific target price change on the x-axis, there is a wide range of
corresponding actual price changes. It is not uncommon that the actual price even changes in the opposite
direction of the target price change. This demonstrates that even though the chart only depicts actual prices for
which Dr. Netz has identified a matching target price, changes in actual prices for CDTs differed widely from
changes in the alleged applicable target prices. This substantial deviation of actual from target prices, along with
the differentiation among CDT products, undermines Dr. Netz’s claims of a highly effective conspiracy. Such
variation would have made it difficult for individual cartel members to: a) conform their prices to alleged target




108
   See my backup file “Share of CDT Sales Quantity Below Target Price by Year.xlsx.”
109
   I have reviewed the analysis of target prices in the reports of Dr. Netz and Dr. Willig from the class certification stage of
the CRT litigation, and taken them into consideration in my analysis in this report.
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prices, b) compare actual prices to the target prices, making it more difficult to detect which firms were not
complying with the alleged cartel, and c) to punish any perceived “cheaters.” 110

                                                                                 Figure 20 111
                                   Changes in Actual CDT Prices vs. Changes in Target Prices
                                          By Model, Customer, Factory, and Quarter
                                                                                              40%
                                                                                                          Actual Price
                                                                                                          Change (%)

                                                                                              30%



                                                                                              20%



                                                                                              10%


                                                                                                                                                            Target Price Change (%)
                                                                                                0%
      -40%                   -30%                    -20%                   -10%                     0%                   10%                    20%                    30%            40%


                                                                                             -10%



                                                                                             -20%



                                                                                             -30%



                                                                                             -40%
      Sources:
      (1) Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation, Philips, SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.;
      (2) Netz target price data.



Similar charts for particular sizes of CDTs are provided in Appendix E. As shown by the example for 15 inch
CDTs shown below, these charts also indicate that changes in actual CDT prices varied widely from changes in
target prices, and also varied substantially across individual CDT manufacturers.




110
    As discussed above, the economic literature on cartels indicates that collusion generally is more difficult when products
are heterogeneous and prices are difficult to observe and monitor. See, e.g.,
     x Grout, Paul A., & Sonderegger, S. M. I. A. (2005). Predicting Cartels (OFT 773). Office of Fair Trading, at 15.
     x "Cartel agreements are easier to enforce if detecting violations is easy. Four factors aid in the detection of cheating:
          There are few firms in the market. -Prices do not fluctuate independently. -Prices are widely known. -All cartel
          members sell identical products at the same point in the distribution chain." … “If a market has frequent shifts in
          demand, input costs, or other factors, prices in that market have to adjust often. In that case, cheating on a cartel
          arrangement may be difficult to detect, because it cannot be distinguished easily from other factors that cause price
          fluctuations. Cheating is easier to detect if prices are known.” Carlton & Perloff, at 136-137.
111
    See my backup file “Changes in Actual CDT Prices vs. Changes in Target Prices.xlsx.”
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                                                                                            Figure 21
                        15-Inch CDT Actual and Target Price Changes by Manufacturer
                                                                                                                    20%
                                                                                                                              Actual Price Change


                                                                                                                    15%



                                                                                                                    10%



                                                                                                                     5%


                                                                                                                                                                                 Target Price Change
                                                                                                                     0%
  -15%                                 -10%                                      -5%                                       0%                                       5%                                      10%


                                                                                                                    -5%



                                                                                                                   -10%



                                                                                                                   -15%



                                                                                                                   -20%
                                                                              Chunghwa              LPD            MTPD             SDI
 Note(s):           Price changes represent the compounded quarterly percentage change for a given manufacturer, factory, customer, and finish between quarters t and t-x, where x is defined as the
                    smallest positive integer for which there were actual prices and target prices for the panel in quarters t and t-x. That is, the actual and target price changes were calculated over the same
                    period of time, and x represents the shortest period over which this was possible. Excludes observations for which the model number, customer name, size, or finish were missing or
                    with more than four quarters between observed pairs of actual/target price changes. A number of observations are outside the bounds of the x or y axis.
                    Dr. Netz's sales database inappropriately labels Panasonic Corp. as MTPD.
 Data Sources(s):   Defendant data; see Expert Report of Janet S. Netz April 15, 2014, Exhibit 64.
 Source File(s):    combine_target_defendant.dta; p051_actual_v_target_price_mfg_size.do; a051_actual_v_target_price_mfg_size.xlsx




75.      An econometric analysis of the data also confirms the conclusions from Figure 21 and shows that changes
in actual CDT prices vary widely from changes in allegedly applicable target prices. In particular, I estimated a
regression of the actual change in CDT prices for each quarter on the corresponding change in the target price for
all sales for which Dr. Netz was able to assign a target price. The coefficient of the target price variable in this
regression was .24 indicating that a 1% increase in the target price is associated with only a 0.24% increase in the
actual CDT price (on average) during the same quarter. Moreover, changes in target prices explain only a small
percentage of the total variation in changes in the actual prices for corresponding CDTs from quarter to quarter as
the R- squared statistic was only 0.126. 112




112
   I have also run a number of “robustness” checks on these regressions using different explanatory variables. See Appendix
F. I find the same general results in all of these models.
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                                                        Table 4 113

                                       Change in CDT Actual Price
                              Regressed on Change in Target Price & Controls

                           VARIABLES                        (1)                  (2)                  (3)


               Delta Target Price                        0.237***             0.231***             0.224***
                                                         (0.00791)             (0.00793)            (0.00798)
               Delta OECD Unemployment                                        0.0954***            0.0729***
                                                                               (0.00857)            (0.00920)
               Delta OECD Industrial Production                                2.003***             2.237***
                                                                                 (0.114)              (0.119)
               Delta CRT Glass Price                                          0.159***             0.139***
                                                                                (0.0240)             (0.0242)
               Delta Monitor LCD Share                                                              0.360***
                                                                                                     (0.0548)
               Constant                                 -0.0343***           -0.0398***           -0.0493***
                                                         (0.000880)           (0.00117)             (0.00186)

               Observations                                6,225                6,225                6,225
               R-squared                                   0.126                0.185                0.190


               Standard errors in parentheses
               *** p<0.001, ** p<0.01, * p<0.05


76.      I also estimated a similar regression model of changes in actual and target prices to analyze how well
changes in Dr. Netz’s index of average CDT target price changes explain changes in the actual prices of CDTs for
which Dr. Netz was not able to identify target prices. Dr. Netz argues that there would still be a strong
relationship between these prices because she believes there was a "price structure" that linked the prices of
different types of CDTs to one another in a stable and reliable way. 114 To the contrary, I find that quarter-to-
quarter changes in the target price index created by Dr. Netz have little ability to explain contemporaneous
quarterly changes in actual CDT prices. As shown in Table 5, the regression has an R-squared statistic of only
.004, indicating that the target price index explains less than one percent of the variation in changes in the actual
prices for non-targeted CDTs over the same pair of quarters. Similarly, the coefficient of the change in target
prices of -.0342 indicates that a 5% increase in the target price index created by Dr. Netz is actually associated
with a very small (-0.2%) decrease in non-targeted actual prices during the same quarter.




113
      See my backup file “Change in CDT Actual Price Regressed on Change in Target Price.xlsx.”
114
      See, e.g.,
       x Netz Expert Report, at 66-72.
       x Netz Class Cert Declaration, at 65.
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                                                           Table 5 115

                                      Change in CDT Actual Price
                                   Regressed on Change in Target Price

                                                VARIABLES                          (1)


                                Delta Target Price Index                        -0.0342**
                                                                                 (0.0110)

                                Constant                                       -0.0395***
                                                                                (0.00194)

                                Observations                                      2,486
                                R-squared                                         0.004


                                Standard errors in parentheses
                                *** p<0.001, ** p<0.01, * p<0.05


77.      The inability of changes in target prices reliably to statistically explain changes in non-targeted actual
prices is further illustrated in Figure 22 below. This chart is analogous to Figure 20 above, except that the actual
sales are ones for which Dr. Netz was not able to match a target price and, accordingly, the horizontal axis
represents contemporaneous changes in the target price index created by Dr. Netz for analysis of non-targeted
CDT models. Once again, the chart shows wide variation in the magnitude of actual price changes for any given
change in target prices. It is not uncommon that the actual price even changes in the opposite direction of the
target price change. Very few actual price changes lie along or closely clustered to the 45° line in the chart which
would indicate an actual price change equal to the target price change.




115
      See my backup file “Change in CDT Actual Price Regressed on Change in Target Price Index.xlsx.”
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                                                                                   Figure 22 116
                           CDT Unmatched Actual Price Change vs. Target Price Index Change
                                    By Model, Customer, Factory, and Quarter
                                                                                                40%
                                                                                                            Unmatched Actual Price
                                                                                                                Change (%)

                                                                                                30%



                                                                                                20%



                                                                                                10%


                                                                                                                                                     Target Price Index Change (%)
                                                                                                  0%
         -40%                  -30%                    -20%                   -10%                     0%                   10%                    20%                    30%            40%


                                                                                               -10%



                                                                                               -20%



                                                                                               -30%



                                                                                               -40%
        Sources:
        (1) Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation, Philips, SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.;
        (2) Netz target price data.



78.      Dr. Netz also presents an econometric analysis in her Exhibit 37 that purports to show that target CDT
prices are good predictors of actual CDT prices. However, rather than looking at quarter to quarter changes, as in
the charts and regression analyses discussed above, Dr. Netz's analysis is based on the levels of CDT prices in
each quarter. In particular, she regresses the level of the actual CDT price for a given product in a given quarter
on the target price that she assigns to that CDT product for the same quarter, as well as the actual price in the prior
quarter, the price of glass and a number of macroeconomic variables. She claims that this regression constitutes a
“direct test of whether the cartel affected the prices of CRTs…” (Emphasis added) She also claims that her
regression analysis provides: “clear evidence that the cartel’s activities increased the price for CRTs for which
the cartel set targets.”117

79.      However, neither of these claims is economically valid. First, Dr. Netz's econometric analyses of actual
and target prices at most show correlation between actual prices and target prices. Moreover, if manufacturers
have some ability to make use of market supply and demand information to estimate where their prices should be
one or two months in the future, and similar information was used to inform target prices, then there will be some
correlation between actual prices and target prices – albeit with a great deal of “noise” and variation. These
relationships do not show that target prices caused actual prices to be substantially higher than they would have


116
      See my backup file “CDT Unmatched Actual Price Change vs. Target Price Index Change.xlsx.”
117
      Netz Expert Report, at 65.
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been absent the alleged setting of target prices. In the longer run, target and actual prices are driven by the same
underlying economic forces of supply and demand for CDTs. The control variables that Dr. Netz included in her
regression capture some of these factors, but do not capture all of the relevant market forces. Accordingly, one
would expect to observe a positive relationship between actual and target prices even if target prices played no
role in actually determining the prices that each manufacturer actually sets. In economic jargon, to the extent that
both actual prices and target prices are affected by similar economic factors that are not fully controlled for in Dr.
Netz's regression models, there will be spurious correlation between the actual and target prices.118

80.      Spurious correlation between actual prices and target prices also is exacerbated in Dr. Netz's analysis of
price levels because some target prices were based on contemporaneous actual prices. In fact, Dr. Netz states that
one major category of target prices was a “maintenance price” where the goal of the target is simply to maintain
the current actual price level. 119 If target prices frequently were set even partly based on actual prices, then one
would expect to find a positive relationship between actual prices and target prices even if target prices did not
have any causal impact on future actual prices.

81.      As introduced above, yet another reason that Dr. Netz's regression analysis does not demonstrate that
target prices caused actual prices to be higher than they would otherwise have been stems from the fact that
individual CDT manufacturers likely had some information about future trends in CDT prices based on their
normal participation in the market and knowledge of supply and demand factors in the marketplace other than that
provided by the target prices. As they manage their business, firms collect market information on a continuous
basis and use such information to form expectations about future prices. For example, each firm may know what
orders it has received from its major customers for the next few months and may track how such demand levels
compare to the same quarter in prior years. Such information can give individual CDT manufacturers some
incremental ability to estimate what CDT prices are likely to be over the next month or two compared to a
simplistic forecast based for example only on the prior month’s actual prices and the additional variables in Dr.
Netz's regression model. Accordingly, to the extent that target prices reflect some of the information in such
manufacturer estimates, they will tend to reflect incremental information beyond that reflected in the actual price
in the prior quarter and the other variables in Dr. Netz's model. However, the fact that target prices may reflect
such information does not imply that they cause future actual prices to move to the level of the target price.
Similarly, the fact that some macroeconomic models might have some ability to predict future GDP movements
does not imply that those forecasts are causing the subsequent changes in GDP.120

82.     In addition, even if there were some causal relationship between the levels of target prices and actual
prices as Dr. Netz claims, there remain significant limits on the ability of CDT target prices to statistically predict
actual CDT price levels. For example, statistical analysis indicates that there is a statistical probability of more

118
    This spurious correlation between actual and target prices is mitigated in the analysis of quarter to quarter changes since
there are fewer changes in these left out variables over shorter time horizons, and the changes in these variables are not as
large as they would be over a longer time period.
119
    See, e.g.,
     x Netz Expert Report, at 49-50.
     x See also, e.g. 23 February 2005, CHU00608095.01E - CHU00608105E, at 8096.02E.
120
    These same criticisms are fully applicable to Dr. Netz's Exhibits 30-32 and the conclusions she draws from those exhibits
that “[t]he prices charged by Defendants closely tracked the collusive target prices.” Netz Expert Report, at 64. These
exhibits also do not indicate that CDT target prices were effective in raising actual CDT prices above the levels that would
have occurred absent the setting of the target prices. In addition, the experience of continually declining CDT prices shown
in these exhibits and the corresponding frequent downward revisions in the "target prices" of the alleged cartel shown in these
exhibits, illustrate the limits to any alleged cartel’s ability to control actual CDT prices.
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than 65 percent of making an error of 10 percent or more when predicting actual CDT prices based on target
prices. In other words , even looking at sales of CDTs for which Dr. Netz was able to match target prices, actual
prices would have a roughly 66% probability of being 10 percent different than the target prices (and an even
higher probability (over 82%) of being at least 5 percent different than the target price).121 This high rate of
prediction error is consistent with the results on quarterly price changes shown above and indicates that it would
be difficult for CDT manufacturers to accurately monitor one another's pricing and adherence to the alleged target
prices. Moreover, individual manufacturers would actually have had a much more difficult time than implied by
this regression analysis since they would have far less detailed data than contained in Dr. Netz's price databases
and would be attempting to monitor such pricing for many different types of products, competitors and customers
in real time.

83.      Moreover, the same statistical analysis described above shows even larger prediction errors when I apply
it to products for which Dr. Netz was not able to assign a target price. The analysis indicates that there is a
statistical probability of approximately 94% of making an error of 5% or more and a probability of 88% of
making an error of 10 percent of more when predicting actual CDT prices based on Dr. Netz's target price
indexes. 122

84.      As discussed above, Dr. Netz argues that it was not necessary for the CDT manufacturers to set target
prices for all products because the prices of different sizes and types of CDTs were strongly linked to one another
through a stable “price structure.” 123 To the contrary, the evidence presented above indicates that prices for
different types and sizes of CDTs often moved differently from one another, rather than always staying in a
common "price structure" during the alleged conspiracy and that new models were being introduced at
significantly different rates across sizes of CDTs. Dr. Netz also argues that her opinions regarding such a "price
structure" are supported by a "hedonic pricing model" that analyzes the relative prices of different types and sizes
of CDTs and how those prices are related to underlying product characteristics. See Netz Exhibit 40. I have
estimated similar CDT hedonic models to those used by Dr. Netz for individual years from 1995 – 2008. The
coefficients of the different size categories in these regressions allow me to illustrate how price differences for
different sizes of CDTs vary over time while controlling for other factors that may have affected the prices of
these products. For example, these regressions indicate that the price premium of a 15 inch CDT over a 14 inch
CDT varied from a high of 46.1% in 1995 to a low of 4.4% in 2002. The premium for a 17 inch CDT over a 15
inch CDT varied from a high of 105.4% in 1997 to 20% in 2008. 124

85.     The hedonic price regressions also demonstrate that price differentials varied significantly across
manufacturers during the alleged conspiracy. For example, the differential in prices of SDI over Chunghwa
(controlling for other factors using Dr. Netz’s data and hedonic regression approach) varied from a high of 4.6%




121
    See my backup file “prediction_error_matched_products.csv.”
122
    See my backup file “prediction_error_unmatched_products.csv.” Moreover, even if actual prices and target prices exhibit
a significant positive relationship, it was shown below that a majority of actual CDT prices were below the alleged target
prices.
123
    See, e.g.,
     x Netz Expert Report, at 66-72.
     x Netz, Janet S., Ph.D., 01 October 2013, Declaration of Janet S. Netz, Ph.D., In Support of Motion of Indirect-
          Purchaser Plaintiffs for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation, at 65.
124
    See my backup file “size_premium_CDT.xlsx.”
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in 2001 to a low of -6% in 2007. 125 Similarly, the differential of Toshiba Corp. over SDI based on the hedonic
model varied from a high of 11.2% in 1998 to -27% in 2002. These results cast doubt on Dr. Netz’s use of her
hedonic model to support her conclusions about conspiracy effectiveness. The fact that hedonic price differentials
between manufacturers change substantially over time provides evidence that prices certainly did not move in
lock-step across manufacturers. Such diverse price movements would have significantly complicated the
monitoring of compliance with target prices by individual manufacturers.

86.      Consistent with the foregoing empirical analysis, many of the defendants’ internal documents also are
consistent with frequent perceived “cheating” or non-adherence to target prices. 126 These documents also indicate
that the defendants frequently experienced difficulties in monitoring one another’s pricing and often did not trust
the information that their competitors reported in meetings.127



125
    Manufacturer premiums were calculated by running regressions similar to those reported in Exhibit 40 of the Netz Expert
Report, but separately for each year, without the seller-buyer dummies and weighted by quantity. See my backup file
“mfr_premium_CDT.xlsx.”
126
    See, e.g.,
          x Regarding SDD:
                    o “With its full size, production capacity expansion and global supply advantages, Samsung ambitiously
                         wants to expand its territory. It will definitely grab strategic customers like ACER, PHILIPS, $60.00
                         (S/S), also offer $62.00(S/S) to the medium customers. Have impact on CPT's order.” 24 February
                         1997, CHU00028763 - CHU00028767, at 8763.01E.
                    o “In addition to snatching orders from PH, ACER, SDD also offered CDT - $2 to L-ON. Even though it
                         already enjoys a higher market share among small and medium sized customers, it still offered $60 as
                         the bottom price. Unless the upper level of SDD asked its SALES to restrain their behaviors of
                         grabbing orders, with the order loss for CDT, it is feared that a vicious battle with SDD will be
                         unavoidable.” 24 February 1997, CHU00028763 - CHU00028767, at 8763.02E.
                    o “Mr. Moon [Orion] claimed that he believed that SDD had strong ambitions to expand M/S, and that
                         its major strategy is to 'kill the competing makers'. So he was suspicious about SDD's attitude toward
                         holding prices.” CHU00028952 - CHU00028954, at 8954E.
          x “The Korean makers not only took away orders from the Japanese makers, but also drove the Taiwanese makers
               to the wall!” 13 October 1999, CHU00030888 - CHU00030893, at 0888.01E.
          x Regarding pricing agreements, Mr. Song states that “[a]lthough there was a discussion regarding the agreement,
               but after such meeting we went ahead and acted based on our own opinion. I don't believe we can use the term
               'agreement' here.” 12 December 2012, Deposition of In Hwan Song, Volume 1, at 120:16-19.
          x "Regarding the second-phase price increase, LPD raised serious doubts about SDI. Not only did SDI engage in
               questionable practices toward small customers such as Delta, the price to SEC was essentially never increased,
               so there are strong objections against continued cooperation." "Hundreds and thousands of excuses, only
               making it more obvious that SDI has been hiding actual numbers. SDI admitted by its silence that the disclosed
               numbers do not reflect actual performance, and LPD openly confessed at the meeting that the numbers they
               disclosed at the meetings were false[...]” 26 May 2004, CHU00031249 - CHU00031252, at 1249.02E-1250E.
          x Other examples include, CHU00028803 - CHU00028804, at 8803.02E; CHU00014202 - CHU00014206, at
               4203E; CHU00031249 - CHU00031252, at 1249.02E; CHU00028728 - CHU00028729, at 8729E;
               CHU00028763 - CHU00028767, at 8764E; CHU00071480 - CHU0071482, at 1481E; CHU00028604 -
               CHU00028605, at 8604.01E-8605E; CHU00030888 - CHU00030893, at 0888.01E; CHU00028952 -
               CHU00028954, at 8954E; 12 December 2012, Deposition of In Hwan Song, Volume 1, at 120:16-19 and 13
               December 2012, Deposition of In Hwan Song, Volume 2, at 191:12-14.
127
    See, e.g.,
          x Deposition of Deok-Yun Kim:
                    o At the manufacturer meetings, Mr. Kim of SDI mentions that the future prices submitted by SDI were
                         not accurate, and he also thought "that the prices that were submitted by competitors would not be
                         accurate." 27 March 2013, Deposition of Deok-Yun Kim, Volume 1, at 31:17-18.
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        C.       Evidence on CDT capacity and output

87.      As discussed above, CDT capacity and output grew very rapidly during the early years of the alleged
cartel (until about 2000). While CDT capacity was tight in 1995, a number of the defendants’ internal documents
indicate that the rapid growth in capacity and output led to substantial excess capacity in the years after 1996.128
As shown in Figure 13 the excess capacity led to vigorous price competition and rapidly declining prices,
particularly during mid-1996 through mid-1998. 129 These data are inconsistent with claims of effective output

                 o     Mr. Kim suspects that they received false information in return: "there were instances where I knew
                       and there were other instances [...] where I did not know." 28 March 2013, Deposition of Deok-Yun
                       Kim, Volume 2, at 324:23-25.
                   o He continues to say, "when it came to price or production figures, I believe that there was little trust
                       among all of the participants…" 28 March 2013, Deposition of Deok-Yun Kim, Volume 2, at 325:9-
                       12.
                   o Mr. Kim does recall that his subordinates provided future pricing information to other CRT
                       manufacturers. 27 March 2013, Deposition of Deok-Yun Kim, Volume 1, at 35:22-36:4.
                   o He also recalls competitors suggesting future prices, but that he believes "that those information was
                       false information." 27 March 2013, Deposition of Deok-Yun Kim, Volume 1, at 36:16-20.
                   o When asked whether Mr. Kim’s superior, Mr. In Kim, knew of the false information SDI provided at
                       meetings, Mr. Kim responded: "Mr. In Kim already had a rough understanding about the nature of
                       such meetings." 28 March 2013, Deposition of Deok-Yun Kim, Volume 2, at 331:12-16.
          x Deposition of Hoon Choi:
                   o Regarding the passing of information Mr. Choi states: "I kept giving them [the] wrong information,
                       and I think they also gave me the wrong information, and continuously the three companies talked lies
                       to each other." 20 June 2013, Deposition of Hoon Choi, Volume 2, at 234:15-18.
                   o He goes on to state that "everything was fabricated," however, to keep his competitors believing the
                       information he provided was factual, “[he] tried to adjust within the boundary of [his] knowledge" of
                       what the actual figures were. 20 June 2013, Deposition of Hoon Choi, Volume 2, at 265:10-13.
          x Deposition of In Hwan Song from SDI:
                   o Regarding the reliability of the figures shared during the meetings, Mr. Song from SDI states, “what I
                       did was to provide the information which was different from the actual data. Therefore, I actually did
                       not put much trust in the information I received from those meetings.” 14 December 2012, Deposition
                       of In Hwan Song, Volume 3, at 284:9-12.
                   o As Mr. Song discusses, “the numbers [SDI] submitted were vastly different from the actual numbers.
                       [SDI], in turn, did not expect that the competitors were providing us with the exact numbers.” 12
                       December 2012, Deposition of In Hwan Song, Volume 1, at 121:12-15.
                   o The information Mr. Song did receive he used to “have [a] better understanding about the market and
                       customers.” 14 December 2012, Deposition of In Hwan Song, Volume 3, at 285:6.
          x Other examples include: 20 June 2013, Deposition of Hoon Choi, Volume 2, at 209:21-23 and 211:11-233:6; 11
               September 2013, Deposition of Jun Yeol Youn, Volume 1, at 39:11-25 and 12 September 2013, Deposition of
               Jun Yeol Youn, Volume 2, at 284:5-16; CHU00031249 - CHU00031252 at 1249.02E; and CHU00028728 -
               CHU00028729 at 8729E.
128
    See, e.g. PHLP-CRT-090615; CHU00028933 - CHU00028945; TSB – CRT 00036829; HDP-CRT00055162; LPD-
NL00018267 - LPD-NL00018336; SDCRT-0201291; TAEC-CRT-00065484, TET-CRT-00003403. “By Toshiba’s
calculations, capacity equaled output in 1995 and thereafter exceeded output by 19% in 1996, 31% in 1997, 37% in 1998,
35% in 1999, and 27% in 2000.” Netz Expert Report, at 20.
129
    See, e.g.,
     x
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control during this period. No CDT conspiracy that could effectively control the capacity and output of its
members would knowingly create such substantial excess capacity and such rapidly declining prices.

88.      In addition, economic evidence shows that the rapid expansion in industry output and subsequent changes
to capacity (additions of new lines, line modifications to change CDT size, shape or other characteristics, changes
in location, etc.) does not have the attributes of effective coordination. Most obviously, firms such as SDI, LG
and Chunghwa improved their products and expanded their capacity and output much more aggressively than
their competitors, leading to substantial shifts in market share, both overall and for individual sizes of CDTs. See
Figures 2-6. The fact that capacity and output grew so rapidly during this period combined with the fact that
shares changed substantially casts great doubt on Dr. Netz’s claims that collusive output restriction had any
significant effect on prices during the period prior to 2000.

89.     Moreover, as discussed above CDT market shares continued to change substantially even after 2000 when
CDT demand was declining and some firms were exiting. For example, Figure 7 shows that during the period
from 2000Q1 to 2006Q4 SDI increased its share by roughly 23 percentage points while Chunghwa gained
roughly 6 percentage points. LPD’s share fluctuated significantly over this period, ending up with a gain of
approximately 3 percentage points. The gains experienced by these firms came largely at the expense of Hitachi,
Mitsubishi, Daewoo, Toshiba Corp. and Sony, each of whom lost between four and seven percentage points of
market share during this period. Several of these firms actually exited the CDT industry during this period.130




    x      Dr. Netz agrees that the balance between CDT demand and capacity was an important determinant of CDT prices
           when she emphasizes the role of excess capacity in causing declines in CDT prices. However, she makes the critical
           error of assuming that substantial excess capacity existed throughout the alleged conspiracy period. Netz Expert
           Report, at 5, 19-20. In fact, as discussed in detail in Section III below, several non-collusive factors contributed to
           supply shortages during 1995, a critical period for Dr. Netz’s estimated overcharges.
130
    It is my understanding that the Hitachi Defendants ceased manufacturing CDTs by December 2001 and CPTs by April
2002, and ceased selling CDTs by October 2002 and CPTs by March 2003. It is also my understanding that Panasonic
Corporation stopped manufacturing CDTs in 2000 and had exited the CDT business by 2001. 12 March 2014, Deposition of
Allen Chang, Volume 1, at 35:25-36:15. A 2004 LPD document stated: “Over the past two years, competitors in CDTs have
been ceasing their CDT production, including Matsushita, Hitachi, Toshiba, Sony and Teco. Mitsubishi has announced that it
will cease CDT production in 2004. Orion is understood to be having financial difficulties and has reduced its production
lines from 3 to 1.” LPD-NL00173522 – LPD-NL00173655 at 3588.
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                                                                                   Figure 23
                       CDT Quarterly Production Shares and Total Industry Production
                                            (1996Q1-2006Q4)
          50%                                                                                                                                                                        40

          45%                                                                                                                                                                        36

          40%                                                                                                                                                                        32

          35%                                                                                                                                                                        28




                                                                                                                                                                                          Units (Millions)
          30%                                                                                                                                                                        24
  Share




          25%                                                                                                                                                                        20

          20%                                                                                                                                                                        16

          15%                                                                                                                                                                        12

          10%                                                                                                                                                                        8

          5%                                                                                                                                                                         4

          0%                                                                                                                                                                         0
            1996Q1       1997Q1         1998Q1         1999Q1         2000Q1         2001Q1         2002Q1         2003Q1         2004Q1         2005Q1         2006Q1
                                   Chunghwa                          LG                                 Philips                           LPD
                                   SDI                               Hitachi                            Panasonic Corp.                   Sony
                                   Toshiba                           Daewoo                             Mitsubishi                        Others
                                   CDT Production
 Note(s):            1996 and 1997 quarterly shares from annual production shares.
                     Data source combines LG and Philips under the heading of “LPD.”
                     Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                     For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (Taiwan).
                     2001 Q1 and 2001 Q2 "LPD" production shares split into "LG" and "Philips" according to relative production volumes of LG and Philips for the first half of 2001.
                     Manufacturer production data for 2004Q1 unavailable. 2004Q1 production calculated as the average of 2003Q4 and 2004Q2 production.
                     Plaintiffs' dataset inappropriately labels Panasonic Corp. as MTPD.
 Data Source(s):     Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 82.
 Source File(s):     total production.do; total production.xlsx; HDP-CRT00019322_rough_translation.xls; SDCRT-0201291.dta; CHU00071226.XLS; chu00071226.dta; mtpd-0416090.dta; vendor_map.do;
                     vendor_map.xlsx; vendor_map_def.dta; vendor_map_name.dta; CDT data.xlsx; p004_pdn_mfg_shares_2006.do; a004_pdn_mfg_shares_2006.xlsx




90.     Despite this evidence of independent action and competition, Dr. Netz cites contemporaneous documents
from meetings purporting to show that defendant manufacturers agreed to collusively restrict output by shutting
down particular CDT lines either temporarily or permanently at various times. However, the fact that some
defendants shut down production lines does not prove collusive output restriction if the lines allegedly shut down
would have sat idle and/or would have been shut down anyways whether such meetings had occurred or not.
There are many reasons having nothing to do with collusion why individual CDT manufacturers may have
decided to reduce output or shut down particular production lines at various points in time.

91.       Most obviously, many of Dr. Netz’s examples of alleged capacity and output control are taken from
periods of substantial excess capacity for CDTs such as the post-2000 period when CDT demand was declining
rapidly. It is not surprising that CDT manufacturers would seek independently to rationalize their manufacturing
facilities and reduce their output during this period in light of substantial excess capacity and declining demand
for CDTs. 131 For example, LPD documents from this time frame discuss several line closures in the context of
131
   Dr. Netz appears to have agreed with this point: “Q. And is it correct that in such an industry without any collusion
declining demand could lead to decisions to idle or close capacity? A. Yes. Q. Okay. Have you done any analysis to
determine how much capacity would be closed without any alleged collusion in this industry versus how much capacity was
closed over time? A. No.” Netz Deposition, at 141:18-142:1.
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reducing costs and rationalizing LPD’s own global capacity. 132 This is particularly true if CDT lines can
profitably be converted (with necessary time and investment) to other uses such as CPT production.133

92.      In addition to declines in the level of CDT demand over time, changes in the composition of CDT
demand in terms of demand shifts to larger sizes of CDTs and CDTs with flatter screens, shorter necks, higher
resolution or other improved characteristics could also necessitate reductions in capacity and output for certain
CDT lines. For example, it makes economic sense that many 14” and 15” production lines would be cut back or
shut down as the demand shifted from 14 and 15 inch CDTs to larger sizes over time. 134 Figure 24 illustrates the
changes in the mix of capacity by size over time for the industry as a whole, and Figure 25 shows similar data for
an individual manufacturer, SDI. 135




132
    A 2009 document about LPD discusses CPT and CDT plants:
     x "However, quite soon after LPD's formation it already became apparent that in 2001 the CRT market, especially the
          market for CDT products, had deteriorated much more than had been taken into account at LPD's formation. In
          order to cope with these disappointing developments, at a meeting held on 27 October 2001 the Supervisory Board
          instructed the Executive Board to restructure more aggressively than initially foreseen at the formation. ... The
          object of these new plans had to be (a) to reduce within two to three years the number of employees by about
          15,000, (b) to close half of all factories and (c) to dispose of the glass, yoke and fly-back activities. ... In 2001 the
          factories of LPD in Dapon (CDT and guns) and Chungli (DU factory), both situated in Taiwan, were closed. ... Early
          in February 2002 the revised restructuring plan for LPD, which complemented or extended the earlier plans, was
          presented and submitted for approval by the Executive Board to the Supervisory Board. In outline the adjusted plan
          provided, on the one hand, in the closure of the former Philips factories in Chupei (Taiwan), Ottawa (USA) and
          Lebring (Austria) and, on the other hand, in the divestment of the former Philips factory in Barcelona and of all
          Yoke Ring and Fly-back activities. ... As a result of the restructuring measures the number of employees at the end
          of the year 2002 would have to be reduced by about 5,600. All this should largely be completed in 2002. The
          Executive Board foresaw in February 2002 that the revised restructuring plan for LPD would require an amount of
          USD 300 million in costs. ... In addition to the plans for the closure and divestment of factories, early in 2002 the
          Executive Board also had developed plans to: a) increase the factory loading of LPD in 2002 from 75% to 88% for
          CPT and for CDT from 71% to 87%; b) improve the factory efficiency of LPD in 2002 from 81% in 2001 to 84% in
          2002." A.A.M. Deterink, Investigation of the Causes of the Bankruptcy of LG.Philips Displays, 20 April 2009, at
          155-157.
     x "Finally, early in 2003 LPD set itself the target, on the one hand, to increase in 2003 the factory loading for both
          CPT and CDT to 90% and, on the other hand, to improve in 2003 the factory efficiency from 79% to 83%." A.A.M.
          Deterink, Investigation of the Causes of the Bankruptcy of LG.Philips Displays, 20 April 2009, at 161.
133
    LPD 2004 annual report indicated that “In 2004, we had to close down our CPT facility in Aachen, Germany, and our
glass plant in Simonstone, UK, while we also had to reduce our CDT exposure Nanjing, China by partly converting
production lines toward CPT. We further announced in December 2004 that we will close two lines in Dreux, France. These
moves, though painful, are crucial to help us align our production capacity with market demand and maintain a worldwide
cost-competitive position in the long term.” LPD-NL00214381 - LPD-NL00214444, at 4388. Similarly, a 2003 document
reports that Chunghwa converted one of its Malaysia CRT lines from CDT to 14-inch CPT. Philips, 06 February 2003,
Global C-CRT Line Status, PHLP-CRT-015235. See also Netz Report Exhibit 3.
134
    See, e.g.,
     x A 2003 document shows SDI converting a 17-inch CDT line to a 21-inch CPT line in October 2002. The same line
          status report also shows Chunghwa converting a line of CDT to CPT production. PHLP-CRT-015235.
     x In addition, BGDC 1998-2002 Strategy review stated “CAPEX has been ‘allocated’ based on product portfolio. For
          this review period CAPEX for capacity extension is limited to WS products (including Real Flat) in Europe and
          Large Sizes in South America (conversion 20" line).” LPD-NL00018253–LPD-NL00018266, at 8264.
135
    Similar charts for other manufacturers can be found in Appendix G.
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                                                                                                                     Figure 24
                                                                                 Total CDT Annual Production and
                                                                     Estimated Size Composition of Total CDT Annual Capacity
                                                     100%                                                                                                                                                                      150


                                                     90%                                                                                                                                                                       135
      Estimated Share of Total CDT Annual Capacity




                                                     80%                                                                                                                                                                       120




                                                                                                                                                                                                                                       Total Production (Millions of Units)
                                                     70%                                                                                                                                                                       105


                                                     60%                                                                                                                                                                       90


                                                     50%                                                                                                                                                                       75


                                                     40%                                                                                                                                                                       60


                                                     30%                                                                                                                                                                       45


                                                     20%                                                                                                                                                                       30


                                                     10%                                                                                                                                                                       15


                                                      0%                                                                                                                                                                       0
                                                            1997           1998             1999             2000             2001            2002               2003           2004             2005             2006
                                                                         10         14          15          17          18           19         20          21          22         Total Production
     Note(s):                                               Manufacturer production data for 2004Q1 unavailable. 2004Q1 production calculated as the average of 2003Q4 and 2004Q2 production.
                                                            Source data reports total CDT capacity by line and date. Capacity for a given size calculated as total capacity divided by number of sizes for given line and date.
                                                            CDT capacity identified by prefix "D:" in the "products" field from Dr. Netzs' backup file "capacity_db_linetype.dta."
                                                            For a given date, capacity assumed to be zero if none reported.
     Data Source(s):                                        Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibits 2 and 82.
     Source File(s):                                        total production.do; total production.xlsx; HDP-CRT00019322_rough_translation.xls; SDCRT-0201291.dta; chu00071226.dta; mtpd-0416090.dta; vendor_map.do; vendor_map.xlsx;
                                                            vendor_map_def.dta; vendor_map_name.dta; p004_pdn_mfg_shares_2006.do; t004_CDTpdn_tot_sdi_cpt_oec.dta; capacity_db_linetype.dta; CDT data.xlsx;
                                                            p006_capacity_db_linetype_mfg_size.do; a006_capacity_db_linetype_mfg_size.xlsx
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                                                                                                                    Figure 25
                                                                                  SDI CDT Annual Production and
                                                                      Estimated Size Composition of SDI CDT Annual Capacity
                                                    100%                                                                                                                                                                      30


                                                    90%                                                                                                                                                                       27


                                                    80%                                                                                                                                                                       24
       Estimated Share of SDI CDT Annual Capacity




                                                                                                                                                                                                                                      SDI Production (Millions of Units)
                                                    70%                                                                                                                                                                       21


                                                    60%                                                                                                                                                                       18


                                                    50%                                                                                                                                                                       15


                                                    40%                                                                                                                                                                       12


                                                    30%                                                                                                                                                                       9


                                                    20%                                                                                                                                                                       6


                                                    10%                                                                                                                                                                       3


                                                     0%                                                                                                                                                                       0
                                                           1997           1998             1999             2000             2001            2002             2003             2004             2005             2006
                                                                          10             14            15             17            19             20            21             Total Production
      Note(s):                                             Manufacturer production data for 2004Q1 unavailable. 2004Q1 production calculated as the average of 2003Q4 and 2004Q2 production.
                                                           Source data reports total CDT capacity by line and date. Capacity for a given size calculated as total capacity divided by number of sizes for given line and date.
                                                           CDT capacity identified by prefix "D:" in the "products" field from Dr. Netz's backup file "capacity_db_linetype.dta."
                                                           For a given date, capacity assumed to be zero if none reported.
      Data Source(s):                                      Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibits 2 and 82.
      Source File(s):                                      total production.do; total production.xlsx; HDP-CRT00019322_rough_translation.xls; SDCRT-0201291.dta; chu00071226.dta; mtpd-0416090.dta; vendor_map.do; vendor_map.xlsx;
                                                           vendor_map_def.dta; vendor_map_name.dta; p004_pdn_mfg_shares_2006.do; t004_CDTpdn_tot_sdi_cpt_oec.dta; capacity_db_linetype.dta; CDT data.xlsx;
                                                           p006_capacity_db_linetype_mfg_size.do; a006_capacity_db_linetype_mfg_size.xlsx



93.     Other internal documents indicate that new CDT lines were added or existing lines were upgraded to
produce flat CDTs rather than curved CDTs during time periods when Dr. Netz claims that CDT capacity and
production were being collusively restricted.136 Similarly, internal documents show that a number of existing
CDT lines in high-wage Asian countries were shut down to be relocated to lower wage Asian countries to reduce
costs and increase competitiveness. See also Figure 26. 137 These diverse changes in capacity and output that

136
    See, e.g.,
     x A 2003 document shows LG adding a 19-inch flat CDT line in April 2002, SDI adding 17-inch flat CDT lines in
          August 2001, and Chunghwa adding a 21-inch flat CDT line in March 2002. 06 February 2003, PHLP-CRT-015235.
     x “While current forecasts show the 17” CRT market to make a quick move to 17” Flat, price sensitive markets like
          Latin America which are still showing some grow with flat CDT production outpacing 17” curved CDT production
          in Q1’06 7/3, if the market does not move to 17” flat then the marginal Q/Q revenue gain shown for Q3’06 will not
          be realized.” Q2’06 Quarterly Desktop Monitor Shipment and Forecast Report, Final Edition, July 24, 2006,
          Display Search.
137
    See, e.g.,
     x A 2003document shows Chunghwa moving several CDT lines from Taiwan and Malaysia to mainland China, SDI
          moving a CDT line from Malaysia to China, and LG moving a CDT line from Korea to China. PHLP-CRT-015235.
     x “Japanese companies, facing of stiff competition, trade barriers, and relatively slow growth in developed countries,
          are continuing their drive to relocate production to East Asia. Production facilities in the developing countries of
          Asia offer not only lower production costs but also facilitate entry into new markets. In late 1992, NEG (Malaysia)
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varied across CDT manufacturers and over time reflect that CDT manufacturers were responding to changes in
CDT demand in deciding which lines to expand and which to shut down over time. 138 Moreover, this type of
diverse conduct would make it more difficult for the alleged conspiracy to effectively coordinate on capacity and
output since firms likely would have to coordinate on the particular types of capacity to be shut down.

                                                                               Figure 26
                                             CDT Annual Production Distribution by Region
                                                            (2000-2004)
     100%


      90%


      80%


      70%


      60%


      50%


      40%


      30%


      20%


      10%


       0%
                         2000                                 2001                                2002                                 2003                                2004
                                   Europe        China        Japan      South Korea         Taiwan        Other Asian Countries           North America         Others
     Note(s):          Shares based on production value denominated in Japanese yen.
     Data Source(s):   Fuji Chimera Research Institute, Inc. and InterLingua, "Flat Panel Display Applications: Trends and Forecasts," editions 2001-02 and 2004-06.
     Source File(s):   2001_CRT sections.pdf; 2002_CRT sections.pdf; 2004_CRT sections.pdf; 2005_CRT sections.pdf; 2006_CRT sections.pdf; a011_cdt_pdn_region_fuji_chimera.xlsx




94.    In addition, even if multiple CDT manufacturers did shut down some CDT lines, total industry output
may not have been reduced if these manufacturers (or other manufacturers) offset any lost output from a closed

          began investing in the production of glass bulbs for CRTs. Samsung of Korea has also established a picture tube
          plant in Malaysia. By 1996, the Malaysian market is expected to have grown to 8.8 million bulbs for CRTs annually.
          Toshiba has set up facilities in Thailand to produce color television tubes for its Far East plants. Vietnam and China
          are also locations in Asia attractive to CRT producers.” Industry & Trade Summary, Television Picture Tubes and
          Other Cathode-Ray Tubes, USITC Publication 2877, May 1995.
138
    “In order to keep pace with more demanding computer applications, CRTs have been continually improved: larger screen
sizes, higher resolution (for Windows, Macintosh OS, and Web-page font challenges), and higher luminance (for videos).
This improvement is likely to continue, as the market moves away from sales of smaller (14-inch and 15-inch) monitors,
toward 19-inch and 21-inch monitors.” Mizuki, Colleen and Gloria Schuldt, “Computer Display Industry and Technology
Profile,” U.S. Environmental Protection Agency, 744-R-98-005, December 1998.
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CDT line with increased production at other facilities. To the extent that there remained substantial excess
capacity even after the alleged collusive line shutdowns (as Dr. Netz alleges 139), such reallocations of production
likely would have been feasible. For all of these reasons, proving a successful collusive restriction of industry
output that significantly raises market prices requires much more than providing examples of individual
production lines that allegedly were shut down, particularly during a period of declining demand.

95.     The fact that collusive output restriction cannot be inferred from individual line or plant shutdowns also is
consistent with the fact that industry competitors that are not alleged to have been participants in the alleged
conspiracy were also reducing capacity and output substantially during much of the alleged cartel period. In fact,
Sony (a non-defendant) reduced both capacity and production by a substantially greater amount than many of the
companies that appear frequently in Dr. Netz’s examples of alleged output restriction. See Figures 6-9.
Obviously, Sony was reducing its output during this period because it made independent business sense to do so.

96.      The same point also can be illustrated with data from Dr. Netz’s Exhibit 28, which purports to summarize
the participation of CDT manufacturers in cartel meetings that resulted in capacity or production control
agreements. The alleged participation in these meetings varied significantly across different CDT manufacturers.
In particular, while Dr. Netz claims that Chunghwa, LG, Orion, Philips, SDI and LPD were frequent participants
in such meetings, other manufacturers such as Hitachi, Mitsubishi, and Toshiba Corp. do not appear in Dr. Netz's
exhibit at all. Other manufacturers such as Irico and Pansonic Corporation appear only once.

97.      Given this substantial variation in alleged participation rates across manufacturers, we would expect that
these alleged agreements would have reduced the production and capacity of the participating firms relative to
that of firms who are not alleged to have participated. In contrast, the evidence directly contradicts this
proposition, demonstrating substantial cheating or other non-adherence to the alleged agreements. For example,
Figure 27 shows quarterly CDT production for Dr. Netz’s alleged participating group versus the non-participating
group. Contrary to the implication of Dr. Netz’s allegations, the group of allegedly participating manufacturers
shows substantially greater relative growth in output than that of the nonparticipating manufacturers.
Accordingly, rather than restricting their output, these manufacturers were increasing output substantially relative
to manufacturers who are not alleged to have participated in these meetings. As shown in Figure 28, we obtain
similar results if we do the same analysis using capacity rather than production.




139
   “I found that the CRT industry was a so-called ‘sick industry’; that is, there was falling demand and excess capacity
throughout the damages period.” Netz Expert Report, at 5.
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                                                                                Figure 27
                                           CDT Quarterly Production Indices
                                 Grouped by Alleged Participation in CDT Cartel Meetings
    250




    200




    150




    100




     50




      0
       1996Q1          1997Q1         1998Q1           1999Q1           2000Q1           2001Q1          2002Q1           2003Q1           2004Q1           2005Q1           2006Q1
                                                Manufacturers with alleged participation in CDT capacity/production control meetings
                                                Manufacturers without alleged participation in CDT capacity/production control meetings
     Note(s):          Base period for both indices is 1996Q1. 1996 and 1997 manufacturer shares from annual production shares.
                       Manufacturer production data for 2004Q1 unavailable. 2004Q1 production calculated as the average of 2003Q4 and 2004Q2 production.
     Data Source(s):   Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibits 28 and 82.
     Source File(s):   total production.do; total production.xlsx; HDP-CRT00019322_rough_translation.xls; SDCRT-0201291.dta; chu00071226.dta; mtpd-0416090.dta; CDT data.xlsx; vendor_map.do;
                       vendor_map.xlsx; vendor_map_def.dta; vendor_map_name.dta; p004_pdn_mfg_shares_2006.do; a004_pdn_mfg_shares_2006.xlsx
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                                                                                        Figure 28
                                           CDT Annual Capacity Indices
                               Grouped by Alleged Participation in CDT Cartel Meetings
140




120




100




 80




 60




 40




 20




  0
             1997             1998                1999                2000                2001              2002   2003         2004      2005        2006
                                                Manufacturers with alleged participation in CDT capacity/production control meetings
                                                Manufacturers without alleged participation in CDT capacity/production control meetings
 Note(s):           Base year for both indices is 1997.
 Data Source(s):    Defendant data; see Expert Report of Janet S. Netz April 15, 2014, Exhibits 2 and 28.
 Source File(s):    capacity_database.dta; p007_capacity_shares.do; a007_capacity_shares.xlsx




98.      Similarly, as discussed in Section IV below, when we relax Dr. Netz’s implausible assumption that
overcharges were uniform across the entire 2Q1995-4Q2006 period, we find that the vast majority of the
“overcharges” implied by the Netz model occur in 1995 and 1996, years for which there are essentially no
allegations of production or output control in Dr. Netz’s report. Estimated overcharges for the years 1997 through
2007, when the vast majority of Dr. Netz’s alleged output restrictions occur, are generally small and not
statistically significant.

             D.          Evidence related to CDT market shares and claims of market allocation

99.      Dr. Netz argues that the defendant manufacturers engaged in two types of market allocation: a) Targets
for market shares of aggregate CDT production or sales; and b) Allocation of specific large customers (or shares
of sales at specific customers). Economics indicates that the goal of such mechanisms would be to reduce the
ability of individual manufacturers to increase their sales at the expense of their competitors by “cheating” on the
alleged collusive agreements. To the extent that such mechanisms were successful we would expect that they
would have tended to stabilize market shares among the defendant manufacturers. However, as discussed above,
the available evidence suggests that there were substantial changes in market shares during the periods that Dr.
Netz claims these mechanisms were being employed. These substantial changes in market shares continued
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throughout the alleged conspiracy period, both during the pre-2000 period when demand for CDTs was growing
rapidly, and the post-2000 period when demand was declining. 140

100.     In particular, firms such as SDI, CPT, LG and LPD expanded capacity and output much more
aggressively than their rivals and gained substantial market share. Other alleged conspirators, notably the
Japanese manufacturers, lost substantial market share. Several of these manufacturers eventually exited the
industry completely. 141 As discussed in more detail in Section II above, if we look at production during the entire
1996Q1 to 2006Q4 time period as a whole, we see that SDI had by far the largest share gain with 30 percentage
points followed by LG at seven percentage points and Chunghwa at five percentage points. The largest share
losers were Hitachi at -13%, Pansonic Corporation at -9% and Sony and Toshiba Corp. at -8%. See Figure 29.
These substantial changes in market shares of various competitors (including the different timing of firms’ exit
decisions) undermine Plaintiffs’ and Dr. Netz’s allegations that the defendants successfully colluded on market
shares, capacity and output.

                                                                                     Figure 29
                    Change in CDT Quarterly Production Shares from 1996Q1 to 2006Q4
  35%

             30%
  30%


  25%


  20%


  15%


  10%
                         7%
                                      5%
      5%                                           3%
                                                                0%                                                                                                                    1%
      0%
                                                                             0%
                                                                                          -2%          -3%
  -5%
                                                                                                                    -5%

 -10%                                                                                                                            -8%          -8%
                                                                                                                                                           -9%

                                                                                                                                                                       -13%
 -15%
              SDI        LG       Chunghwa         LPD        Philips        Irico     Mitsubishi      NEC        Daewoo       Toshiba        Sony      Panasonic      Hitachi      Others
                                                                                                                                                          Corp.
 Note(s):           1996Q1 shares from annual production shares.
                    Data source combines LG and Philips under the heading of “LPD.”
                    Because LPD was not formed until July 2001, LG, Philips, and LPD are separated for the purposes of this chart.
                    For periods before the July 2001 LPD formation, "LPD" separated into "LG" (Korea) & "Philips" (Taiwan).
                    Change in shares calculated as difference between 2006Q4 and 1996Q1 shares unless noted otherwise below.
                    Change in LG shares and Philips shares calculated as difference between 1996Q1 and 2001Q2 shares.
                    Because LPD was not formed until 2001Q3 out of combination of LG and Philips, the change in LPD share calculated relative to LG and Philips' combined 2001Q2 share.
                    Hitachi’s change in CDT quarterly production share only represents 1996Q1 through 2001Q4, as the Hitachi Defendants ceased manufacturing CDTs in December 2001.
 Data Source(s):    Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 82.
 Source File(s):    total production.do; HDP-CRT00019322_rough_translation.xls; SDCRT-0201291.dta; chu00071226.dta; mtpd-0416090.dta; CDT data.xlsx; vendor_map.do; vendor_map.xlsx;
                    vendor_map_def.dta; vendor_map_name.dta; p004_pdn_mfg_shares_2006.do; a004_pdn_mfg_shares_2006.xlsx




140
    As discussed in Section II above, the economic literature on cartels indicates that collusion generally is more difficult in
dynamic industries when supply and demand conditions and competitor market share are changing over time.
141
    It is my understanding that the Hitachi Defendants ceased manufacturing CDTs by December 2001 and CPTs by April
2002, and ceased selling CDTs by October 2002 and CPTs by March 2003.
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101.     Dr. Netz appears to dismiss the evidence on changes in market shares and argues that economic theory
indicates that shifting market shares are consistent with an effective and stable cartel. 142 While a variety of
different market share patterns potentially can be consistent with collusion as a matter of economic theory, the
balance of the economic evidence in this case supports the view that the substantial share gains of firms such as
SDI (and to a lesser extent LG, LPD and Chunghwa) were, on balance, a major factor inconsistent with, and that
acted to undermine the effectiveness of alleged collusion. For example, numerous contemporaneous documents
such as those discussed in the following paragraphs indicate that the defendant manufacturers frequently did not
trust one another and believed some firms such as SDI were frequently expanding their share by "cheating" on
alleged agreements. This evidence is consistent with the basic economics of collusion which suggests that
significant changes in CDT market shares make it less likely that effective collusion occurred for several reasons.
Most obviously, Dr. Netz alleges that the defendant manufacturers engaged in a variety of mechanisms to restrict
output including allocations of market share and individual large customers. From an economic perspective, the
goal of these alleged mechanisms would be to “share” the economic costs and benefits of collusion relatively
equally among the participating manufacturers and prevent individual manufacturers from cheating on the
agreements by increasing their sales at the expense of other manufacturers. Substantial share changes indicate
that these objectives were not realized. 143 In addition, as discussed in Section II above, changing shares make it
more difficult for cartel members to determine whether one or more firms are cheating on a price fixing
agreement or have experienced increased sales for some other reason. In addition, many of the models in the
literature where market share changes are part of the collusive agreement involve some form of compensation or
side payments among the conspirators, for which I am aware of no evidence in the CDT industry. 144

102.    As noted above, our analysis has the benefit of extensive review of data and information made available
from a number of defendant companies by product size on actual prices, sales and production (across multiple
products) [from this we observe significant changes in shares and production – and changes for a given
manufacturer over time. In contrast, the alleged conspiracy had significantly less clarity into contemporaneous
actions or planned versus implemented actions. Defendants’ deposition testimony and internal documents
indicate that they often did not provide truthful information about prices, capacity, output and market shares in the
meetings. As a result, CDT manufacturers often did not trust the information they received from competitors in
meetings. 145 These problems increased the difficulty the manufacturers experienced in monitoring one another’s
sales and/or market shares, and they often engaged in disputes over these issues.146



142
    Netz, Janet S., Ph.D., 15 February 2013, Rebuttal Declaration of Janet S. Netz, Ph.D., In Support of Motion of Indirect-
Purchaser Plaintiffs for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation, at 28-30.
143
    See, e.g.:
     x George J. Stigler (1964), “A Theory of Oligopoly,” Journal of Political Economy 72(1) at 46.
     x “Second, does the industry display volatile turnover over a sustained period of time? Cartels are more likely if
          output and market conditions are normally stable.” Grout and Sonderegger (2005, at 15).
144
    One paper concluded that “interfirm sales or other forms of compensation, as the use of asymmetric punishments is
essential to effective collusion (a point originally made by Harrington and Skrzypacz 2007).” Joseph E. Harrington and
Andrzej Skrzypacz (2011), Private Monitoring and Communication in Cartels: Explaining Recent Collusive Practices,
American Economic Review, 101(6): 1-25, at 18.
145
    See, e.g.,
     x Deposition of Hoon Choi:
               o Regarding the passing of information Mr. Choi states “I kept giving them [the] wrong information, and I
                    think they also gave me the wrong information, and continuously the three companies talked lies to each
                    other. 20 June 2013, Deposition of Hoon Choi, Volume 2, at 234:15-18.
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           o    He goes on to state that “everything was fabricated,” however, to keep his competitors believing the
                information he provided was factual, “[he] tried to adjust within the boundary of [his] knowledge” of what
                the actual figures were. 20 June 2013, Deposition of Hoon Choi, Volume 2, at 265:10-13.
   x   Deposition of In Hwan Song:
            o Regarding the reliability of the figures shared during the meetings, Mr. Song from SDI states, “what I did
                was to provide the information which was different from the actual data. Therefore, I actually did not put
                much trust in the information I received from those meetings.” 14 December 2012, Deposition of In Hwan
                Song, Volume 3, at 284:9-12.
            o As Mr. Song discusses, “the numbers [SDI] submitted were vastly different from the actual numbers.
                [SDI], in turn, did not expect that the competitors were providing us with the exact numbers.” 12
                December 2012, Deposition of In Hwan Song, Volume 1, at 121:12-15.
            o The information Mr. Song did receive he used to “have [a] better understanding about the market and
                customers.” 14 December 2012, Deposition of In Hwan Song, Volume 3, at 285:6.
   x   Deposition of Jae In Lee: Mr. Lee states "…when I attended the meetings, I always prepared two data relating to the
       supply volume and prices in actual numbers and false information. Because I went there with false information, I
       believe other companies also would have come with false information. And I recall that other companies made
       numerous complaints to us." 24 July 2013, Deposition of Jae In Lee, Volume 1, at 45:17-24.
   x   Deposition of Jun Yeol Youn:
            o Mr. Youn states: "[he] had absolutely no reason to tell [competitors] the accurate information […] [he]
                always gave them the smaller number compared to the actual sales or actual production volume." 11
                September 2013, Deposition of Jun Yeol Youn, Volume 1, at 40:20-23.
            o It was very typical of the competitors to cheat and challenge each other. Regarding a particular example
                reviewed by Mr. Youn, he notes: "here it says C.C. Liu, from Chunghwa, is challenging me that SDI is
                actually making 150,000 pieces. But I believe, actually, at this time SDI was making over 200,000 pieces.
                So I believe this document is a typical documentation of the situation where at a meeting people were
                challenging each other, accusing each other of cheating." 12 September 2013, Deposition of Jun Yeol
                Youn, Volume 2, at 270:11-18.
   x   Deposition of Deok-Yun Kim:
            o Mr. Kim states "when capacity information was exchanged at those meetings, accurate capacity
                information was not disclosed. I myself provided false information when provided -- when providing our
                capacity information." 27 March 2013, Deposition of Deok-Yun Kim, Volume 1, at 17:9-14.
            o Mr. Kim also states that many different factors can affect production capacity, such as whether the line is
                split between producing two different tube sizes, how many hours the lines is operational per day, and
                whether highly-priced models or simple models are produced. 27 March 2013, Deposition of Deok-Yun
                Kim, Volume 1, at 17:16-18:11.
            o He states, "…even the numbers for future production [...] would tend to change all the time depending on
                market circumstances." 27 March 2013, Deposition of Deok-Yun Kim, Volume 1, at 23:8-11.
            o Mr. Kim “hardly trusted” production numbers he gathered from the meetings. 27 March 2013, Deposition
                of Deok-Yun Kim, Volume 1, at 22:15-16.
            o Mr. Kim states that giving false information would "give [SDI] an advantage in doing our business and
                would probably give a disadvantage to Chunghwa." 28 March 2013, Deposition of Deok-Yun Kim,
                Volume 2, at 267:22-24.
            o Mr. Kim states that "information about the capacity of one CRT line, in the case of producing just very
                generic simple products, was not regarded as so sensitive at that time." 27 March 2013, Deposition of
                Deok-Yun Kim, Volume 1, at 19:15-18.
            o He mentions "regarding the production figures from one CDT line, I think competitors probably could have
                been able to estimate the rough numbers." 28 March 2013, Deposition of Deok-Yun Kim, Volume 2, at
                267:9-12.
            o In regards to alleged audit agreements between the manufacturers, Mr. Kim states “there were instances
                where such an agreement was discussed once or twice but [he] thought that it was a very unrealistic idea
                and because of the company's [SDI’s] policy, which prevented showing the inside of the plant to a
                competitor…" He continues to say "[a]t that time while other competitors came probably once or twice,
                only a part of the plant was shown to them and, at that time during their visits, lines would be stopped and
                as soon as they left those lines were restarted..." Similarly, when SDI technicians or engineers visited
                competitors’ facilities, they were shown "a very limited part of their plant..." Additionally, Mr. Kim states
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103.    In fact, this evidence goes beyond episodic cheating and suggests that some firms such as SDI had an
active policy of seeking to gain competitive advantage by preparing false information about its capacity,
production and prices and using it to mislead its competitors. This is evident both in deposition testimony from
SDI executives and from contemporaneous documents. It also appears that SDI felt that its competitors had
similar objectives and followed similar practices in the meetings. Dr. Netz recognized in her deposition that this
type of conduct would reduce the effectiveness of a cartel. 147

104.     Examples from deposition testimony include the following:

         x   Deposition of Jun Yeol Youn: Mr. Youn states that he lied to other suppliers at the glass meetings
             because “the meeting[s] themselves [were] a place where people came to obtain information about the

                   "when our people went there the lines were not operating but they [SDI's personnel] told me [Mr. Kim] that
                   when they touched the facilities they could see that the lines had just stopped operating." Thus, he believed
                   that "those visits had no effect at all." 27 March 2013, Deposition of Deok-Yun Kim, Volume 1, at 77-78.
     x     “In order not to provoke Chunghwa, other companies submitted 200K~300K less than actual… Especially, the 17”
          CDT production/sales were adjusted by 150K to 200K.” SDCRT-0086675 - SDCRT-0086681, at 6680E.
     x Other examples include SDCRT-0090350 - SDCRT-0090353, at 0351E; CHU00031075 - CHU00031087; 20 June
          2013, Deposition of Hoon Choi, Volume 2, at 209, 211-233; 11 September 2013, Deposition of Jun Yeol Youn,
          Volume 1, at 39:11-25; 12 September 2013, Deposition of Jun Yeol Youn, Volume 2, at 284:5-16; 27 March 2013,
          Deposition of Deok-Yun Kim, Volume 1, at 31:11-18, 35:1-36:21; and 28 March 2013, Deposition of Deok-Yun
          Kim, Volume 2, at 324:7-325:24 and 331:2-16.
146
    See, e.g.,
     x Regarding SDD, "Mr. Moon [Orion] claimed that he believe that SDD had strong ambitions to expand M/S, and that
          its major strategy is to ‘kill the competing makers’. So he was suspicious about SDD's attitude toward holding
          prices." CHU00028952 - CHU00028954, at 8954E.
     x “The Korean makers not only took away orders from the Japanese makers, but also drove the Taiwanese makers to
          the wall!” CHU00030888 - CHU00030893, at 0888.01E.
     x Hoon Choi notes several contentious issues regarding “content and atmosphere” for a meeting in Taiwan between
          LPD, CPT, and SDI, on May 6, 2004. SDCRT-0090299 - SDCRT-0090301, at 0299.01E. Particularly, regarding
          sales volume, Choi notes that "hiding […] sales of 7K […] continuing to challenge whether the figures are true."
          SDCRT-0090299 - SDCRT-0090301, at 0300.01E.
     x “In order not to provoke Chunghwa, other companies submitted 200K~300K less than actual… Especially, the 17”
          CDT production/sales were adjusted by 150K to 200K.” SDCRT-0086675 - SDCRT-0086681, at 6680E.
     x “There were numerous discussions and people talked about it a lot. But for that discussion to lead to actual
          implementation, there were many different factors that made it difficult. Each company had a different situation,
          and customer demands were very different, too. So I believe that it was -- yes, the discussions did exist, but they
          were never implemented.” Deposition of Samsung SDI 30(b)(6) Jaein Lee, Volume 2, 7 June 2012, at 286:2-10.
     x “President Ha of SDD uses its large remaining production capacity to necessitate competition with CPT, giving the
          three major CPT customers offer that is more preferential than that of CPT. CPT told them: Taiwan makers are
          CPT’s only territory, the bottom line being more sensitive. If SDD insists on competing with the belief of 'full
          production capacity, no profit', CPT will use even more pressure of production capacity to not only bravely combat
          for Taiwan makers, but also go to Korea and with even more unreasonable means, make it impossible for SDD to
          establish foothold. President Ha of SDD will convey this to Korea headquarters!” CHU00028773 - CHU00028774,
          at 8774.01E-.02E.
     x Other examples include 12 September 2013, Deposition of Jun Yeol Youn, Volume 2, at 269:25-270:18; 27 March
          2013, Deposition of Deok-Yun Kim, Volume 1, at 77:1-18; CHU00005963; CHU00028763 - CHU00028767, at
          8764E; CHU00028589 - CHU00028590, at 8590.01E and 8590.02E; CHU00028952 - CHU000289524;
          CHU00030695 - CHU00030697; CHU00030888 - CHU00030893, at 0888.01E; CHU00031249 - CHU00031250;
          SDCRT-0090299 - SDCRT-0090301; SDCRT-0086537 - SDCRT-0086539; SDCRT-0090267 - SDCRT-0090274;
          SDCRT-0090306 - SDCRT-0090311, at 0310E; SDCRT-0090350 - SDCRT-0090353, at 0351E; SDCRT-0088852 -
          SDCRT-0088856; SDCRT-0091919 - SDCRT-0091920; and SDCRT-0104660 - SDCRT-01046601.
147
    Netz Deposition, at 166:7-169:13. See also Elzinga Deposition, at 219:3-234:13.
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            other side and to increase their own sales volumes. So there was no reason to be honest or truthful or
            sincere”. 148 Deposition of Hun Sul Chu: Mr. Chu states, “So what that means is that even if we
            discussed the prices, we did not trust the competitor’s prices. [...]And we actually – the prices we
            actually provided to the customer were different prices. There were two purposes for this. First of all,
            we had to expand our company’s market share. Second, we had to kill the competitors no matter who
            they were. So we stuck to those two principals. So in the end, LPD died out. All our CRT competitors
            have fallen before us. So what we did was try to eliminate all our competitors and become the last
            winner to survive in the end.” 149

        x   Deposition of In Hwan Song: Regarding the reliability of the figures shared during the meetings, Mr.
            Song states, “what I did was to provide the information which was different from the actual data.
            Therefore, I actually did not put much trust in the information I received from those meetings.” 150 As
            Mr. Song discusses, “the numbers [SDI] submitted were vastly different from the actual numbers.
            [SDI], in turn, did not expect that the competitors were providing us with the exact numbers.”151 The
            information Mr. Song did receive he used to “have [a] better understanding about the market and
            customers.” 152

        x   Deposition of Jae In Lee: Mr. Lee states “[W]hen I attended the meetings, I always prepared two [sets
            of] data relating to the supply volume and prices in actual numbers and false information. Because I
            went there with false information, I believe other companies also would have come with false
            information. And I recall that other companies made numerous complaints to us.”153

        x   Deposition of Jun Yeol Youn: Mr. Youn states “[he] had absolutely no reason to tell [competitors]
            accurate information […] [he] always gave them the smaller number compared to the actual sales or
            actual production volume.” 154 Regarding a particular example reviewed by Mr. Youn, he notes “here
            it says C.C. Liu, from Chunghwa, is challenging me that SDI is actually making 150,000 pieces. But I
            believe, actually, at this time SDI was making over 200,000 pieces. So I believe this document is a
            typical documentation of the situation where at a meeting people were challenging each other,
            accusing each other of cheating.” 155

        x   Deposition of Deok-Yun Kim: Mr. Kim states “when capacity information was exchanged at those
            meetings, accurate capacity information was not disclosed. I myself provided false information when
            provided – when providing our capacity information.” 156 Mr. Kim also states that many different
            factors can affect production capacity, such as whether the line is split between producing two
            different tube sizes, how many hours the lines is operational per day, and whether highly-priced
            models or simple models are produced. 157


148
    11 September 2013, Deposition of Jun Yeol Youn, Volume 1, at 41:8-12.
149
    12 February 2014, Deposition of Hun Sul Chu, Volume 2, at 283:22-284:11
150
    14 December 2012, Deposition of In Hwan Song, Volume 3, at 284:9-12.
151
    12 December 2012, Deposition of In Hwan Song, Volume 1, at 121:12-15.
152
    14 December 2012, Deposition of In Hwan Song, Volume 3, at 285:6.
153
    24 July 2013, Deposition of Jae In Lee, Volume 1, at 45:17-24.
154
    11 September 2013, Deposition of Jun Yeol Youn, Volume 1, at 40:20-23.
155
    12 September 2013, Deposition of Jun Yeol Youn, Volume 1, at 270:11-18.
156
    27 March 2013, Deposition of Deok-Yun Kim, Volume 1, at 17:9-14.
157
    27 March 2013, Deposition of Deok-Yun Kim, Volume 1, at 17:16-18:11.
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        x   Deposition of In Hwan Song: As Mr. Song discusses, “the numbers [SDI] submitted were vastly
            different from the actual numbers. [SDI], in turn, did not expect that the competitors were providing
            us with the exact numbers.” 158 The information Mr. Song did receive he used to “have [a] better
            understanding about the market and customers.”159

        x   Deposition of Hoon Choi: Mr. Choi states that he had “given false information or wrong information
            because [he] hoped that competitors would believe it.”160 Mr. Choi states “I met with competitors in
            order to obtain market information. However, no one actually gave the correct information; everyone
            gave the false information […] I thought that if I can give them false information in order to lead
            them to make wrong decisions, it will be helpful for our company.” 161

        x   Deposition of Jae In Lee: “What I was thinking about competitors, unlike what is written here, I
            considered them as not a companion but someone that we need to beat, we need to overcome and we
            need to win. So, ultimately, in order to beat them in the CDT market and increase our market share, I
            believe I was asking internal cooperation in order to come up with a strategy to beat other CDT
            makers by giving them false information.”162

105.    Examples from contemporaneous documents include the following:

        x   SDCRT-0090346 reports on an alleged agreement in 2004 among SDI, LPD and Chunghwa to reduce
            capacity by 20% among the three companies. SDI submitted a plan to reduce its capacity by two lines
            which would total 5.7 million unit of production. However the document shows that SDI’s actual plan
            was to only reduce capacity by one line resulting in a reduction of 1.8 million units rather than the 5.7
            million submitted to the group. 163

        x   Regarding a particular example reviewed by Jae In Lee, he states “in 2001 actual sales of our
            company was 24,300,000. However, the number we gave to other companies in glass meetings was
            22 million. So we cheated them by 2.3 million, and that was the number that was submitted and
            discussed at the meetings.” Further, he states that this sort of deception “wasn’t only done for the
            sales, it was also done for the prices.” SDI prepared two prices in order to provide false information
            to other companies. 164

        x   See also: SDCRT-0088852 – SDCRT-0088856, at 8853E; SDCRT-0090267 – SDCRT-0090274, at
            0268E; and SDCRT-0090306–SDCRT-0090311, at 0307E.

106.    Several of the examples provided above also indicate that SDI executives believed that its competitors
often followed similar practices and objectives. Additional examples include the following:




158
    12 December 2012, Deposition of In Hwan Song, Volume 1, at 121:12-15.
159
    14 December 2012, Deposition of In Hwan Song, Volume 3, at 285:6.
160
    20 June 2013, Deposition of Hoon Choi, Volume 2, at 209:21-23.
161
    20 June 2013, Deposition of Hoon Choi, Volume 2, at 212:3-7, 235:4-6.
162
    25 July 2013, Deposition of Jae In Lee, Volume 2, at 283:23-284:5.
163
    SDCRT-0090346 - SDCRT-0090349, at 0347E.
164
    25 July 2013, Deposition of Jae In Lee, Volume 1, at 282:4-13.
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        x    Deposition of In Hwan Song: As Mr. Song discusses, “the numbers [SDI] submitted were vastly
             different from the actual numbers. [SDI], in turn, did not expect that the competitors were providing
             us with the exact numbers.” 165

        x    Deposition of Deok-Yun Kim: At the manufacturer meetings, Mr. Kim mentions that the future
             prices submitted by SDI were not accurate, and he also thought “that the prices that were submitted
             by competitors would not be accurate.” 166 Mr. Kim suspects that they received false information in
             return: “there were instances where I knew and there were other instances […] where I did not
             know.” 167 He continues to say, “when it came to price or production figures, I believe that there was
             little trust among all of the participants.” 168

        x    Deposition of Hoon Choi: Regarding the passing of information Mr. Choi states “I kept giving them
             [the] wrong information, and I think they also gave me the wrong information, and continuously the
             three companies talked lies to each other.”169

        E.       Other evidence cited by Dr. Netz

107.     Dr. Netz argues that: “The cartel’s success is demonstrated by the statements and conduct of cartel
members. … In contemporaneous business documents, including notes from cartel meetings, cartel members
repeatedly declared their ability and intent to raise and maintain the prices of CPTs and CDTs above the
competitive level. Cartel members also regularly reported their success in raising or maintaining prices for CPTs
and CDTs.” 170 However, the documents cited by Dr. Netz that allegedly refer to cartel success do not prove the
effectiveness of the alleged cartel or the existence of substantial overcharges. These claims of cartel “success”
must be viewed in the larger context of declining prices throughout the alleged conspiracy period and the
relatively modest overcharges derived from the econometric analysis in Section IV below. This comprehensive
empirical evidence undercuts Dr. Netz’s anecdotal examples of cartel “success.”

108.    In addition, many of Dr. Netz’s examples of “cartel success” come from late 1998 and 1999 when the
extremely rapid decline in CDT prices that occurred during late-1996 to mid-1998 slowed to some extent.
However, Dr. Netz fails to mention that these “successes” followed an extended period of rapidly plummeting
CDT prices. As shown in Figure 30, CDT prices fell virtually continually from mid-1996 to mid- 1998 before
experiencing the flattening or in some cases very small increases described by Dr. Netz. Clearly, the alleged
conspiracy was not “successful” at preventing the collapse in price over this earlier time period. 171




165
    12 December 2012, Deposition of In Hwan Song, Volume 1, at 121:12-15.
166
    27 March 2013, Deposition of Deok-Yun Kim, Volume 1, at 31:17-18.
167
    28 March 2013, Deposition of Deok-Yun Kim, Volume 2, at 324:23-25.
168
    29 March 2013, Deposition of Deok-Yun Kim, Volume 2, at 325:9-12.
169
    20 June 2013, Deposition of Hoon Choi, Volume 2, at 234:15-18.
170
    Netz Expert Report, at 27.
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                                                                                      Figure 30
                                                                   CDT Price Indices by Size
      3




 2.5




      2




 1.5




      1




 0.5




      0
          1992Q1
          1992Q2
          1992Q3
          1992Q4
          1993Q1
          1993Q2
          1993Q3
          1993Q4
          1994Q1
          1994Q2
          1994Q3
          1994Q4
          1995Q1
          1995Q2
          1995Q3
          1995Q4
          1996Q1
          1996Q2
          1996Q3
          1996Q4
          1997Q1
          1997Q2
          1997Q3
          1997Q4
          1998Q1
          1998Q2
          1998Q3
          1998Q4
          1999Q1
          1999Q2
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          2005Q4
          2006Q1
          2006Q2
          2006Q3
          2006Q4
          2007Q1
          2007Q2
          2007Q3
          2007Q4
          2008Q1
          2008Q2
          2008Q3
          2008Q4
                                                                                 14          15          17         19
 Note(s):          Base period for all Fisher price indices is 2000 Q1.
 Data Source(s):   Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 64.
 Source File(s):   combine_target_defendant.dta; fisher_app_size_q.xlsx; p053_netz_fishers_by_size.do; a053_netz_fishers_by_size.xlsx




109.    Dr. Netz also uses the slowdown in the rate of CDT price decline over time to argue that “CRT prices
exhibited remarkable resiliency in the face of LCD encroachment, indicating that the cartel successfully avoided
cutthroat competition by collusively maintaining cartel prices and that the prices of CRTs were not constrained by
prices of LCD finished goods.” However, as shown in Figure 31 below, Dr. Netz ignores the fact that CDT prices
and margins had already fallen substantially by the time that LCDs began to make substantial penetration of
computer monitors. For example, Dr. Netz’s implicit assumption on p. 36 of her report that CDT prices would
have continued to decline at 18% per year absent the alleged conspiracy from the already low levels that prevailed
in 2001 implies that Chunghwa CDT prices would have declined well below its reported direct costs during the
years after 2001. 172




172
      Figure 31 uses a 15% rate of decline based in the Chunghwa price data shown in the figure rather than Dr. Netz’s 18%.
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                                                                                                Figure 31
                                                           Chunghwa 15" CDT Average Selling Price and Cost
                      4,500



                      4,000



                      3,500



                      3,000
 New Taiwan Dollars




                      2,500



                      2,000



                      1,500



                      1,000
                                                                     If average selling price continued to decline by 15% per
                                                                     year, then price would have been below cost by 2003.
                       500



                         0
                                   1995        1996          1997          1998          1999          2000          2001          2002          2003         2004        2005     2006
                                                 Actual Average Selling Price                                      Cost                                  Hypothetical Price
 Note(s):                            1995-2001 actual average selling price CAGR of -15% used to derive 2002-2006 hypothetical price.
                                     14V CDTs are 15" CDTs, according to 15IN/14V 28MM 1024X768 75HZ 563N CRT VGA VESA WHITE Specifications, available at
                                     http://www.cnet.com/products/15in-14v-28mm-1024x768-75hz-563n-crt-vga-vesa-white/specs/, CNET, accessed July 16, 2014.
 Data Source(s):                     CHWA00256934 - CHWA00256937.
 Source File(s):                     CHWA00256934 - HIGHLY CONFIDENTIAL.xls; a050_profit_margins.xlsx




IV.                           DR. NETZ’S CDT OVERCHARGE REGRESSION MODEL DOES NOT PROVIDE
                              RELIABLE EVIDENCE OF SUBSTANTIAL COLLUSIVE OVERCHARGES.

                              A.          Dr. Netz’s own analysis of CDT overcharges undermines her claim that the alleged
                                          cartel had class-wide impact.

110.     In order to estimate CDT overcharges, Dr. Netz estimates a regression model that effectively compares
CDT prices during the alleged conspiracy period to prices during two benchmark or unaffected periods after
controlling for differences in a number of other factors during these periods. Specifically, she divides the alleged
cartel period into two sub periods (Q2 1995 through 2006 and, separately, 2007). The benchmark period is
comprised of: (i) the pre-cartel period of the two years prior to the alleged cartel (i.e., Q1 1993 through Q1 1995),
and (ii) a one year post-cartel period from Q1 2008 to Q4 2008. In effect, Dr. Netz compares the average CDT
price during each cartel period with the average price during the combined pre and post benchmark period after
controlling for a limited set of market factors such as macroeconomic factors, LCD penetration, CDT size and
manufacturer. Based on this regression analysis, Dr. Netz concludes that “but-for” CDT prices absent the alleged
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conspiracy would have been roughly 22 percent lower than actual prices during Q2 1995 through 2006, and they
would have been 11.4 percent lower in 2007.

111.     In Sections IV.B and C below, I describe Dr. Netz’s econometric model of CDT overcharges in somewhat
more detail, and explain a number of economic and statistical problems with her analysis. However, before
moving to those problems, I note that Dr. Netz’s own econometric model of CDT overcharges is inconsistent with
Plaintiffs’ claims that the alleged conspiracy impacted all members of the proposed indirect purchaser class. In
estimating her overcharge model, Dr. Netz calculates a single combined overcharge estimate for all years between
1995 and 2006 pooled together, with the single year 2007 estimated separately. Specifically, Dr. Netz uses this
model to conclude that the effect of the alleged conspiracy on CDT prices was a 22 percent overcharge for the
entire twelve year period from the second quarter of 1995 until the fourth quarter of 2006.173

112.     However, making no changes to her analysis other than just allowing the overcharge to vary over the
conspiracy period in a way that better reflects actual movements in CDT prices over the period, the result is very
striking: 174

             x    The estimated overall overcharge declines substantially.

             x    A large portion of the remaining “overcharge” occurs in years 1995 and 1996.

             x    The overcharge for 1997-2007 is small and generally not statistically significant.

             x    The ability of the model to explain changes in CDT prices over time improves.

113.     Allowing the effect of the alleged conspiracy to vary over the class period in the Netz model can be
implemented in a number of different ways. One approach is to include additional dummy variables for the years
1995 and 1996 to the Netz model. This approach is economically reasonable because of the unique demand
increases and capacity constraints that led to the price increases in 1995 that persisted into 1996. Another
approach is to include annual dummy variables for each year of the alleged conspiracy, to assess overcharges in
each year separately. The dramatic reductions in Dr. Netz’s estimated overcharges described above occur with
either approach.

114.    For example , if we only add additional indicator variables to Dr. Netz’s model for 1995 and 1996 and
make no other changes to the model, the overcharge for 1997-2006 declines from Dr. Netz’s reported figure of 22
percent shown in column (1) of Table 6 to a negative and statistically insignificant level of -14.4 percent shown
in column (2). This result implies zero overcharges for any class member that purchased CDTs during this 1997-
2006 period. Similarly, if we replace the Netz conspiracy variable with annual indicator variables for each year,
the annual indicators are negative for all but three of the 11 years from 1997 to 2007. Moreover, none of the three

173
    Dr. Netz explained her approach in her deposition as follows: “My expert testimony is that an economically reasonable
estimate of the overcharge for CPTs or for CDTs from '95 to 2006 was the same percentage” Netz Deposition, at 111:8-9.
“The best we can do is come up with an informed estimate, and my informed estimate is that for any day between 1995 and
2006, purchasers of monitor, of the CRT monitor, paid an overcharge of 25 percent relative to what they would have paid had
the defendants followed the law.” Netz Deposition, at 113:25-114:5. The 22 percent figure was reported in Dr. Netz’s errata
subsequent to her deposition. Netz, Janet S., Ph.D., 03 July 2014, Errata to the Expert Report of Janet S. Netz, Ph.D., In re:
Cathode Ray Tube (CRT) Antitrust Litigation, at 1.
174
    This approach is consistent with the regression model that Dr. Netz used in the LCD litigation where she estimated a
model with annual dummy variables for the conspiracy period. See Netz, Janet S., Ph.D., 25 May 2011, Expert Report of
Janet S. Netz, Ph.D., In re: TFT-LCD (Flat Panel) Antitrust Litigation, at 93.
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years with positive overcharges are statistically significant. See Table 6. Thus, accepting Dr. Netz’s econometric
model and making this one modification that improves the performance of the model implies that most IPP class
members who purchased computer monitors after 1997 were not adversely impacted by the alleged conspiracy. 175




175
   “In class action cases where class membership varies over time, estimating an overcharge for various subperiods may lead
to a more accurate estimate of overcharges for specific class members than would an estimate of the average overcharge over
the relevant time period.” ABA Section of Antitrust Law, “Proving Antitrust Damages: Legal and Economic Issues,” (2D
ED. 2010), at 204 footnote 23.
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                                                           Table 6 176
                                   Effect of Allowing Estimated Overcharge
                                    To Vary Over Time in the Netz Model
                                                                  (1)                 (2)                 (3)
               Y = Log of average quarterly CDT price by      Netz Model        Netz + 1995/96      Netz + Annual
               size-manufacturer                                                  Dummies             Dummies
               Cartel Dummy{=1 for 1995-2006}                  0.220***
                                                                (0.000)
               Cartel Dummy{=1 for 1995}                                           0.161***            0.244***
                                                                                    (0.000)             (0.000)
               Cartel Dummy{=1 for 1996}                                           0.174***            0.271***
                                                                                    (0.000)             (0.000)
               Cartel Dummy{=1 for 1997-2006}                                        -0.144
                                                                                    (0.125)
               Cartel Dummy{=1 for 1997}                                                                0.022
                                                                                                       (0.820)
               Cartel Dummy{=1 for 1998}                                                                -0.136
                                                                                                       (0.191)
               Cartel Dummy{=1 for 1999}                                                                -0.004
                                                                                                       (0.969)
               Cartel Dummy{=1 for 2000}                                                                -0.065
                                                                                                       (0.475)
               Cartel Dummy{=1 for 2001}                                                                -0.150
                                                                                                       (0.114)
               Cartel Dummy{=1 for 2002}                                                               -0.164*
                                                                                                       (0.086)
               Cartel Dummy{=1 for 2003}                                                                -0.038
                                                                                                       (0.674)
               Cartel Dummy{=1 for 2004}                                                                0.017
                                                                                                       (0.862)
               Cartel Dummy{=1 for 2005}                                                                0.003
                                                                                                       (0.975)
               Cartel Dummy{=1 for 2006}                                                                -0.071
                                                                                                       (0.450)
               Cartel Dummy{=1 for 2007}                      0.114**               -0.139              -0.048
                                                               (0.022)             (0.134)             (0.487)
               Fixed Effects                                   Quarter             Quarter            Quarter
                                                           Manufacturer-size   Manufacturer-size   Manufacturer-size
               Observations                                     1,114                1,114              1,114
               R-squared                                        0.954               0.962                0.972
               p-values in parentheses
               *** p<0.01, ** p<0.05, * p<0.1

115.    As discussed further below, while year-to-year changes in overcharge estimates do not themselves
indicate that Dr. Netz’s model is unreliable, the fact that the overcharge estimates from the Netz model change so
dramatically as a result of small changes in the model shows that the Netz model is unreliable and not at all
robust. When small changes in explanatory variables and/or model specification lead to such substantial changes


176
      See my backup file “Effect of Allowing Estimated Overcharge to Vary Over Time.xlsx.”
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in the estimated conspiracy effect, the proposed model cannot be relied upon to provide a reliable basis for
damages. 177

         B.        Dr. Netz’s overcharge estimates rely heavily on price increases in 1995 which are
                   not plausibly related to the alleged conspiracy.

116.     It is highly unlikely that the large estimated “overcharges” in 1995 and 1996 that are produced by the
Netz model are due to the alleged conspiracy for (at least) two reasons: 1) Dr. Netz’s own claimed evidence of
alleged collusive activity indicates that such activity was very limited in the early years of the alleged conspiracy,
rather than higher as the Netz model implies; and 2) there are more plausible alternative explanations for the
relatively high prices in 1995 and 1996 that have nothing to do with the alleged conspiracy. Regarding the first
point, as discussed in Section III.A above, the two years in which the Netz model overcharges were the highest,
1995 and 1996, are years in which Dr. Netz’s own data indicates that the estimated target price coverage was very
low both absolutely and compared to later years.178 In fact, Dr. Netz's target price database reports a coverage
percentage of 0% for every quarter in 1995. Accordingly, the evidence that the price increases in 1995 and the
large estimated "overcharges" in 1995 and 1996 were caused by collusive activity with respect to target prices is
very weak.

117.     Similarly, there also is no evidence that the price increases in 1995 and the large estimated "overcharges"
in 1995 and 1996 could be due to collusive output restrictions. Dr. Netz's Exhibit 28 lists documents that she
characterizes as instances in which Defendants agreed to reduce production capacity and/or output. The earliest
CDT-related instance (and the only instance in the 1995 or 1996) on this list is from a meeting that occurred in
late November 1996, far too late to have any role in explaining price increases in 1995. Moreover, as discussed in
Section III above, the defendants were adding capacity and increasing output rapidly throughout this early period.
In short, the evidence that the high estimated "overcharges" in 1995 and 1996 are due to the alleged conspiracy is
extremely weak.

118.    In addition, by attributing all of the 1995 and 1996 effects to the alleged conspiracy, Dr. Netz's analysis
ignores the fact that there were many other non-conspiracy related factors occurring during this period. As
discussed in detail in Section III.A above, 1995 was characterized by unexpectedly rapid growth in the demand
for computer monitors, shifts in demand toward larger monitors, and monitors with higher resolution, tight CDT

177
    See, e.g.,
     x     “Sensitivity analysis consists of purposely running a number of alternative specifications to determine whether
          particular results are robust (not statistical flukes). In essence, we’re trying to determine how sensitive a potential
          ‘best’ equation is to a change in specification because the true specification is not known. Researchers who use
          sensitivity analysis run (and report on) a number of different reasonable specifications and tend to discount a result
          that appears significant in some specifications and insignificant in others. Indeed, the whole purpose of sensitivity
          analysis is to gain confidence that a particular result is significant in a variety of alternative specifications, functional
          forms, variable definitions, and/or subsets of the data.” Studenmund, A. H., Using Econometrics: A Practical Guide,
          5th ed., 2006, at 179-180.
     x “Suppose that the purpose of the study is to estimate the coefficients of some ‘key’ variables. The first step of this
          approach, after identifying a general family of models, is to undertake an ‘extreme bounds analysis’ in which the
          coefficients of the key variables are estimated using all combinations of included/excluded ‘doubtful’ variables. …
          This range of information will produce a range of estimates of the parameters of interest; a narrow range (‘sturdy’
          estimates) implies that the data at hand yield useful information, but if this is not the case (‘fragile’ estimates), it
          must be concluded that inferences from these data are too fragile to be believed.” Kennedy, Peter E., A Guide to
          Econometrics, 3rd ed., 1992, at 75-76.
178
    These calculations are detailed in my backup file “CDT Target Price Coverage by Quarter.xlsx.”
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capacity, glass shortages179 and other factors. Because Dr. Netz's econometric model does not adequately control
for these factors, she effectively attributes the effects of these non-collusive factors to the alleged conspiracy.

119.     The implausibility of Dr. Netz's overcharge estimates also can be illustrated by showing the “but-for”
CDT prices that are implied by such overcharges. For example, the red line in Figure 32 shows the pattern of
“but-for” CDT prices implied by Dr. Netz's overcharge model. Dr. Netz’s but for price exhibits a substantial drop
at the beginning of the alleged conspiracy period in the second quarter of 1995. Such a substantial drop in prices
during this period makes no economic sense. As discussed above, 1995 was a period of high demand, tight CDT
capacity, CRT glass shortages and rising prices. The drop in CDT prices implied by the Netz model during this
period further undermines Dr. Netz's overcharge estimates.

                                                                                          Figure 32

                                                               Actual and But-For CDT Price Indices
      2.5




      2.0




      1.5
                        Dr. Netz model predicts a
                        large price decline in 1995,
                        despite strong demand and
                        tight capacity.

      1.0




      0.5




      0.0



                                                                                                  Actual            But-For
      Data Source(s):        Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibits 64-65.
      Source File(s):        all_defendants_dropexout_collapsed.dta; total production.xlsx; tukey filter.do; Sensitivity Table.xlsx; fisher app-quarter.do; fisher_app_q.xlsx; a001_fisher_app_quarter.xlsx



120.    Dr. Netz’s assumption that the 1995-96 price movements were caused by the alleged conspiracy also is
inconsistent with the opinions of DAP Plaintiff Dell’s expert Dr. Mohan Rao. Dr. Rao was the only one of the

179
   While Dr. Netz’s model does include a glass price series in her model, the contemporaneous reports cited in Section III
above indicate that the problems were not limited to glass price increases. Adequate glass for CDT production was not
available during some portions of 1995.
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Plaintiffs’ experts to explicitly address the unique market conditions during this time period, and he concluded
that it would be inappropriate to assume that the alleged conspiracy accounted for the behavior of CDT prices in
1995 and 1996. He states:

              x   “CDT prices experienced a very large fluctuation in the period from March 1995 through the end
                  of 1996. It appears that capacity was tight during some of this time period. This period was
                  before any significant adoption of LCD monitors. These factors present challenges to forming an
                  appropriate model of pricing behavior prior to 1997.” (Emphasis added, footnotes omitted)

121.    While there is strong evidence that non-collusive factors were important in explaining the movements in
CDT prices during 1995 and 1996, it is important to recognize that my conclusion that Dr. Netz greatly overstated
any possible overcharge is not dependent upon this opinion. Even if I were to inappropriately attribute a large
portion of the estimated effect from the 1995 and 1996 coefficients to the alleged conspiracy, the estimated
damages would still be far less than the amount estimated by Dr. Netz. This occurs because when I eliminate Dr.
Netz’s artificial restriction and allow the data to determine how the overcharge should vary over time, the
coefficients on the other variables in the model change as the model is able to do a better job of explaining the
movements in CDT prices over time. Accordingly, allowing the overcharge to vary over time does more than just
reallocate Dr. Netz's 22 percent overcharge across the different years of the alleged conspiracy. It also causes a
dramatic reduction in the average overcharge as well. For example, using model (2) in Table 6 and incorrectly
assuming (for sake of illustration) that 100 percent of the estimated “overcharge” in 1995 and 1996 was due to the
alleged conspiracy, the weighted average overcharge for the 1995 through 2007 time period still declines from the
22 percent reported by Dr. Netz to only 4.29 percent. 180

122.     However, because the evidence indicates that the estimated effects for 1995 and 1996 likely were caused
primarily by underlying economic conditions unrelated to the alleged conspiracy, I have not assumed that the
estimated effects for these years should be treated as "overcharges." Rather, for purposes of estimating damages,
I believe it is more economically appropriate to use the overcharge that the adjusted Netz model estimates for the
years 1997-2006 as the estimate for 1995 and 1996 as well. I believe this approach is conservative since all of the
evidence presented by Dr. Netz suggests relatively little alleged collusive activity during 1995 and 1996.181

         C.       Dr. Netz’s model of CDT overcharges is fundamentally unreliable and does not
                  support a claim of substantial overcharges.

123.    As discussed in Sections II and III above, the CDT industry experienced many substantial changes during
the 16 year 1993-2008 period covered by Dr. Netz’s analysis including a dramatic shift from rapid growth to rapid
decline, substantial changes in consumer demand for different sizes and types of CDTs, large changes in market
shares and substantial exit, and significant changes in the geographic location of both CDT supply and demand.
Dr. Netz’s model does a poor job controlling for these types of industry changes. 182

180
    See my backup file “weighted_average_overcharge.csv.”
181
    In particular, Dr. Netz did not identify any target prices in 1995 and few in 1996 until the fourth quarter. Similarly, Dr.
Netz's Exhibit 28 lists documents that she characterizes as instances in which Defendants agreed to reduce production
capacity and supply. However, the earliest CDT-related instance (and the only instance in the 1995 or 1996) on this list is
from a meeting that occurred in late November 1996, far too late to have any role in explaining the price increases in 1995.
182
    In light of the dramatic changes in the CDT industry over this 16 year period, I find it noteworthy that Dr. Netz did not
perform any analysis of the stability of her regression model over this long time period. I also find it noteworthy that Dr.
Netz did no analysis of whether the estimated overcharges varied by size of CDT.
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124.    Dr. Netz’s model fails adequately to take account of key determinants of CDT prices such as the demand
for desktop computer monitors, CDT production costs (other than glass), and the level of CDT production
capacity. Since the primary use of CDTs was for computer monitors, a key determinant of CDT demand was the
demand for desktop computers. Dr. Netz uses only very rough proxies for demand such as the unemployment
rate and the level of OECD GDP. To better reflect changes in demand over time, I augmented Dr. Netz's model
by adding a variable to measure worldwide quarterly shipments of desktop computers. 183 This variable enters the
model with the expected positive sign and is highly statistically significant.

125.     Dr. Netz uses only a single cost variable in her model -- the price of CRT glass in Korea. To better
control for changes in costs during the relevant time period, I have added additional cost controls to Dr. Netz’s
overcharge regression. These include the cost of shipping since CDTs and computer monitors tend to be heavy,
bulky products that were often shipped substantial distances across countries, and an index of labor cost in Korea.
I have also added a variable for the Korean Won-US dollar exchange rate (since exchange rate fluctuations affect
the cost of producing and importing CDTs and monitors from Korea and other Asian countries to the U.S., and
because Dr. Netz's glass cost variable reflects glass prices in Korea, whereas the CDT price data are all expressed
in US dollars. Basic economic forces of supply and demand suggest that these supply-side variables would likely
affect prices of CDTs. These variables all have the expected signs and all are statistically significant, except the
Korean labor cost variable.

126.     As described above, the balance between demand and capacity also was an important determinant of CDT
prices that is not adequately controlled for in the Netz model. 184 In fact, Dr. Netz implicitly agrees that the
balance between CDT demand and capacity was an important determinant of CDT prices when she emphasizes
the role of excess capacity in causing declines in CDT prices.185 However, she makes the critical error of
assuming that substantial excess capacity existed throughout the alleged conspiracy period (even in 1995). By
allowing the estimated "overcharge" to be different in 1995 and 1996, a time period that was influenced
substantially by the tight capacity and price increases in 1995, than in other years when there was substantially
more excess capacity, I believe that this estimation method allows the model to effectively incorporate the
situation of tight CDT capacity in a more economically reasonable way than the approach used by Dr. Netz.

127.    Dr. Netz’s model also fails to adequately control for changes in CDT product mix over time, and hence it
ignores composition effects and important changes in CDT products over time within each manufacturer / size




183
    This variable was also used for the same purpose by Dr. Mohan Rao, the expert economist in the instant matter for Dell, a
direct action plaintiff. I extended the desktop shipments series back in time from 1995 to 1993 using the year over year
growth rates for each quarter of the IDC quarterly series for PC shipments from TAEC-CRT-00018123. The extrapolation is
provided in my backup file “a052_idc_desktop_pc_qty_1993Q1_2009Q1.xlsx.”
184
    Examples from contemporaneous business documents on the importance of the balance between capacity and demand:
     x "As per last year's expected capacity increases, the supply demand situation is further out of balance. This has
          resulted in significant price erosions in CMT in 1997 (minus 30% versus average of 1996). Further price erosion at
          about -10% is expected in 1998 and 1999 and will soften only after that year when supply/demand is in balance
          again." LPD-NL00018267 - LPD-NL00018336, at 8270.
     x "CMT prices on average have eroded drastically during 1997 (-30%). This was more severe than expected due to
          massive overcapacity. We expect the average market price erosion over the total review period to be at 3-4% for the
          14” and 15”, 5% for 17” and up to 6% annually for the 19”. LPD-NL00018267 - LPD-NL00018336, at 8276.
185
    Netz Expert Report, at 5, 19-20.
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category such as the transition from curved CDTs to more expensive flat CDTs. For example, one SDI document
indicated that SDI’s sales of flat CDTs increased from zero percent in 1996 to 54.4 percent by 2003. 186

128.     Dr. Netz also made a calculation error that inflates CDT overcharges by double counting a portion of her
estimated overcharges. Using her econometric model of CDT overcharges, Dr. Netz effectively estimates the
CDT overcharge relative to the but-for price of CDTs. She then multiplied this estimate by actual CDT sales to
get the CDT overcharge in dollars. However, by applying her overcharge estimate to actual dollar sales instead of
but-for dollar sales, she over-estimated damages because actual dollar sales already include the overcharge that
she claims. In effect, Dr. Netz had included an overcharge on the overcharge, thereby over-estimating damages.
This is incorrect and inflates damages. After being informed of this error in her deposition, Dr. Netz subsequently
corrected this error in an errata dated July 3, 2014. 187

129.    Dr. Netz also ignores the fact that the dataset she uses to estimate overcharges is missing sales data for
many manufacturers and time periods. Dr. Netz claims that the alleged conspiracy was comprised of fourteen
members. 188 However, as shown in Table 7 below, many of the firms that provided CDT sales data for some
years and/or products are missing data for other years and/or products. For example, Dr. Netz has no data on
SDI’s CDT sales during 1993-1997 and 2008. Similarly, she has no data for Daewoo prior to 2002 and no data
for Hitachi prior to 1997. Dr. Netz provides no discussion of this issue and no analysis to indicate that such
substantial gaps in data coverage would not affect her results. In fact, the hedonic analysis discussed in Section
III.B above indicates that the prices of different manufacturers sometimes moved very differently from one
another during the alleged conspiracy. The existence of such considerable variation across manufacturers raises
considerable doubt about Dr. Netz’s implicit assumption that no analysis of the potential effects of missing data
on her overcharge estimates is necessary.




186
    SDCRT-0203634 - SDCRT-0203664, at 3651E. See also:
     x Similarly, another document indicates that Hitachi was “concentrating on a line-up of higher value products such as
          short length tubes, flat faced products and larger format (19" and above) CRTs.” HEDUS-CRT00169116 - HEDUS-
          CRT00169137, at 9116.
     x Dr. Netz stated in her deposition that she wanted to control for certain other CDT characteristics such as shape, and
          would have investigated such characteristics if the data were available. Netz Deposition, at 73:8-17.
187
    “A. Mr. Kessler and I had a disagreement over how to do math, and in thinking about it, it occurred to me that we were
perhaps not starting from the same point; that each of us was describing correct math, but that I had not correctly interpreted
the 25-percent overcharge that was mentioned for CDTs for 1995 to 2006, and I would like to have the opportunity to check
my records and make sure that the number was applied correctly, and if it wasn't, to correct that error and put it on the
record.” Netz Deposition, at 216:14-22.
188
    BMCC, Chunghwa, Daewoo/Orion, Hitachi, IRICO, LG Electronics, LPD, Panasonic Corporation, MTPD, Philips, SDI,
Samtel, Thai CRT, and Toshiba Corp.; Daewoo/Orion, LPD, and Thai CRT no longer exist and three companies that
Plaintiffs have named as Co-Conspirators and with whom Plaintiffs have entered into a tolling agreement (Thomson,
Mitsubishi, and Videocon). Netz Expert Report, at 2.
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                                              Table 7
                 Availability of Price Data in Dr. Netz's CDT Direct Overcharge Model

                                                                                                              Panasonic
          Year          Chunghwa Daewoo                Hitachi          LG            LPD        Mitsubishi     Corp.     Philips    SDI     Toshiba
          1993                                                           X                                                  X
          1994               X                                           X                                        X         X                   X
          1995               X                                           X                                        X         X                   X
          1996               X                                           X                                        X         X                   X
          1997               X                             X             X                                        X         X                   X
          1998               X                             X             X                                        X         X         X         X
          1999               X                             X                            X                         X         X         X         X
          2000               X                             X                            X                         X                   X         X
          2001               X                             X                            X                                             X         X
          2002               X              X              X                            X                 X                           X         X
          2003               X              X                                           X                 X                           X         X
          2004               X              X                                           X                 X                           X
          2005               X              X                                           X                 X                           X
          2006               X                                                          X                                             X
          2007               X                                                          X                                             X
          2008               X                                                          X
          2009               X
          2010               X
          2011               X

     Data Source(s):    Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 83.
     Source File(s):    estimation_size.dta; p055_availability_of_price_data.do; a055_availability_of_price_data.xlsx


        D.             Economically reasonable changes that significantly improve the performance of Dr.
                       Netz’s model result in substantially lower overcharges estimates.

130.    To illustrate the magnitude of some of the major economic and statistical problems with Dr. Netz’s model
discussed above, I have provided an alternative estimate of overcharges which makes a number of economically
reasonable adjustments to the Netz model. First, I have relaxed the arbitrary assumption of a constant overcharge
over the entire 1995-2006 period by replacing Dr. Netz’s single variable for 1995-2006 with three separate
variables for 1995, 1996 and 1997-2006. However, because the evidence indicates that the estimated effects for
1995 and 1996 likely were caused by underlying economic conditions unrelated to the alleged conspiracy, I have
assumed that the overcharge in 1995 and 1996 was the same percentage (1.6 percent) as the overcharge that the
modified model estimates for the years 1997-2006. I believe this approach is conservative since all of the
evidence presented by Dr. Netz suggests that there was far less collusive activity during 1995 and 1996 than there
was in 1997-2006. I have also added additional economically reasonable control variables that substantially
improve the performance of the model as discussed above. Lastly, I have corrected Dr. Netz’s arithmetic error in
applying the overcharge percentage to the estimated CDT revenue.

131.    When I make economically appropriate corrections for these major flaws in Dr. Netz’s model, the overall
average overcharge percentage for 1995-2006 declines from Dr. Netz’s reported figure of 22 percent to an
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estimate of 1.6 percent. The improved model that incorporates all of these changes is shown in column (3) of
Table 8. 189

                                               Table 8 190
                                   Summary of CDT Overcharge Models
                                                       (1)                         (2)                         (3)

                                                                         Netz Model + 1995/96        Netz Model + 1995/96
Y = Log of average quarterly CDT price by         Netz Model
                                                                              Dummies              Dummies + Addnl Controls
size-manufacturer
Cartel Dummy{=1 for 1995-2006}                     0.220***
                                                    (0.000)
Cartel Dummy{=1 for 1995}                                                       0.161***                    0.161***
                                                                                 (0.000)                     (0.000)
Cartel Dummy{=1 for 1996}                                                       0.174***                    0.235***
                                                                                 (0.000)                     (0.000)
Cartel Dummy{=1 for 1997-2006}                                                    -0.144                      0.016
                                                                                 (0.125)                     (0.801)
Cartel Dummy{=1 for 2007}                           0.114**                       -0.139                      -0.027
                                                    (0.022)                      (0.134)                     (0.611)
Observations                                         1,114                        1,114                       1,114
R-squared                                            0.954                        0.962                       0.971
p-values in parentheses
*** p<0.01, ** p<0.05, * p<0.1


         E.       CDT profit margins provide additional evidence against Plaintiffs’ conspiracy
                  theory and Dr. Netz’s overcharge estimates.

132.     I use data on margins of CDT manufacturers to assess further the plausibility of Plaintiffs’ theory of
effective conspiracy and Dr. Netz’s estimated overcharges. I find that such CDT profit margins are consistent
with non-collusive forces of supply and demand for CDTs. CDT manufacturer margins did not exhibit sharp
increases during the alleged cartel period relative to the pre-cartel period. As shown in Table 9, the only firm with
gross margin data that extends prior to 1995 is Chunghwa. While Chunghwa’s gross margins did increase
somewhat in 1995, the evidence indicates that this likely was due to non-cartel factors such as high demand for
computers and CDTs and capacity shortages. See Sections III.A and IV.B above It also is consistent with the
generally increasing trend in Chunghwa’s margins in prior years. However, rather than increasing further during
the alleged conspiracy period, Chunghwa’s margins declined sharply in 1997 and 1998, reflecting the substantial
price competition during this period and the inability of the alleged conspiracy to arrest price declines despite a
substantial increase in the frequency of target prices during these years as discussed above. 191


189
    The 1.6 percent overcharge is lower than the 4.29 percent overcharge discussed above because the 4.29 percent
inappropriately assumed for sake of illustration that 100 percent of the estimated 1995 and 1996 effect was due to the alleged
conspiracy and because the 4.29 percent was based on a regression that does not include the additional control variables I
added to Dr. Netz’s model.
190
    See my backup file “Summary of CDT Overcharge Models.xlsx.” A more detailed table of the regression output can be
found in Appendix H.
191
    The same basic pattern is evident in the operating margins of Chunghwa and for SDI which reports a pre-tax margin. See
Table 10. Plaintiffs might argue that the fact that Chunghwa’s CDT margins declined to very low levels after 2007 implies
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133.     In addition, the margin data provides further economic evidence that Dr. Netz's estimated overcharges are
implausible. Figures 33 and 34 and Tables 9 and 10 provide estimates of actual margins as well as what gross
margins and operating margins would have been in the “but for” world if one were to accept Dr. Netz's estimates
of overcharges. As shown in Figure 33, the implied but-for gross margin on CDT sales for Chunghwa is actually
negative for 8 of the 12 years from 1995 through 2006 (and close to zero for two additional years). In other
words, Dr. Netz’s overcharge estimates imply that in the but- for world Chunghwa would not have been able to
cover even its direct cost of goods sold during these years (not to mention its other costs such as overhead and the
cost of capital). Similarly, Table 9 shows that Toshiba Corp.’s but-for gross margins for CDTs also would have
been negative ranging from -14.1 percent in 1996 to a very large -27.1 percent in 1998. Once again, the Netz
overcharges implausibly imply that Toshiba Corp. would have not even come close to covering its direct costs.
Available gross margin data for one other firm, LPD, shows that the but-for gross margins also would have been
very substantially lower than their actual gross margins. See Table 9.

134.    Similarly, Table 10 provides estimates of actual operating margins as well as operating margins in a
world but-for Dr. Netz's claimed overcharges. Operating margins differ from gross margins in that they subtract
out additional costs such as corporate overhead and other costs that cannot be readily allocated to particular
product lines. As shown in Figure 34, the but for operating margins for Chunghwa are negative for all years
except 1995 and 1996, years when margins likely were relatively high due to high demand, capacity shortages and
other reasons unrelated to the alleged conspiracy. The but-for operating losses for Chunghwa using Dr. Netz’s
overcharges exceed 20 percent of revenue for five of the years during the alleged cartel period, and the simple
average of Chunghwa’s but-for annual operating margins over the 1995-2006 period is -12.8 percent.192
Accordingly, Dr. Netz’s overcharge estimates imply that Chunghwa would have continued to incur large losses on
its CRT business for many years.

135.    While we have less complete data for firms other than Chunghwa, the data we do have also indicates that
the Netz overcharge figures are unrealistic. For LPD, the implied but-for operating margins for CDT sales are
substantially negative for all years for which data is available. See Table 10. But-for margins also would have
been negative for SDI, based on “profit before tax” figures reported in a produced document, 193 despite the fact
that SDI had very strong performance relative to its peers, with very large market shares gains throughout the
relevant period and was perceived to be the most profitable firm in the industry. 194




that CDT prices were elevated by collusive overcharges in prior years. However, such an inference would not be valid. The
low levels of CDT margins after 2007 reflect the continued declines in CDT demand due to continued LCD substitution as
well as the effects of the financial crisis and global recession. The severity of the financial crisis and recession is illustrated
by the fact that Chunghwa’s LCD gross margins also experienced a very large decline during the same period. For example,
Chunghwa’s LCD gross margin declined from 18% in 2007 to -35% in 2009. See my backup file
“a056_chunghwa_lcd.xlsx.”
192
    These calculations are detailed in my backup file “a050_profit_margins.xlsx.” While we have information on
Chunghwa’s gross margins for CRTs, Chunghwa did not report an operating margin for CRT sales. I estimated the CRT
operating margin by assuming that any unallocated operating expenses (e.g. corporate overhead) would be the same
percentage of revenue for CRT sales as for Chunghwa’s other sales.
193
    SDCRT-0203634 – SDCRT-0203664, at 3652E-3653E. See my backup file “a050_profit_margins.xlsx.”
194
    See, e.g.
              x LPD-NL00173522- LPD-NL00173655, at 3584-3589.
              x SDCRT-0203634 - SDCRT-0203664, at 3649E.
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                                                                                    Figure 33
                                             Actual & But-For Chunghwa Gross Margins
                                             Based on Dr. Netz's Estimated Overcharges
 40%



 30%



 20%



 10%



  0%



 -10%



 -20%



 -30%
            1993     1994       1995        1996        1997       1998        1999       2000        2001       2002        2003       2004        2005       2006        2007      2008
                                 All Segments Actual                    CRT Actual                    CDT Actual                    CRT BF                  CDT BF
 Note(s):           Monochrome CRTs excluded from CDTs for the purpose of this case..
                    1993-1999 CRT actual gross margins assumes All Segments gross margins.
                    75% of the overcharge was applied to 1995 because alleged cartel period started in 1995Q2.
                    CRT but-for (BF) margins assume All Segments' shares of net sales for 1995-99 gross income.
                    CRT BF margins assume weighted average of Dr. Netz CDT/CPT overcharges by CDT/CPT sales.
                    Most recently reported figures used whenever possible.
 Data Sources(s):   Chunghwa Annual Reports & certified translations; CHWA00256934 - CHWA00256937; Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 65.
 Source File(s):    Sensitivity Table.xlsx; CHWA00256934 - HIGHLY CONFIDENTIAL.xls; a050_profit_margins.xlsx
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                                                                                     Figure 34
                                         Actual & But-For Chunghwa Operating Margins
                                           Based on Dr. Netz's Estimated Overcharges
  30%




  20%




  10%




      0%




 -10%




 -20%




 -30%
            1993      1994       1995        1996       1997        1998        1999       2000        2001        2002       2003        2004        2005       2006        2007        2008
                                               All Segments Actual                                   CRT Actual                                  CRT BF
 Note(s):           Monochrome CRTs excluded from CDTs for the purpose of this case.
                    75% of the overcharge was applied to 1995 because alleged cartel period started in 1995Q2.
                    CRT but-for margins assume CRT's share of All Segments' net sales for 1995-99 gross income, 1995-99 and 2002-06 operating expenses, and 2000-01 non-R&D operating expenses.
                    CRT but-for margins assume weighted average of Dr. Netz CDT/CPT overcharges by CDT/CPT sales mix.
                    Most recently reported figures used whenever possible.
 Data Sources(s):   Chunghwa Annual Reports & certified translations; CHWA00256934 - CHWA00256937; Expert Report of Janet S. Netz, April 15, 2014, Exhibit 65.
 Source File(s):    Sensitivity Table.xlsx; CHWA00256934 - HIGHLY CONFIDENTIAL.xls; a050_profit_margins.xlsx



136.     In addition, even operating margins do not take into account additional categories of costs that CDT
manufacturers incur such as taxes, and also do not take account of any required return on a firm’s capital
investments. To address these issues, economists sometimes calculate “economic profit” which can be estimated
as the firm’s net operating profit after taxes less the cost of capital. The cost of capital often is estimated by
multiplying a weighted cost of debt and equity capital (or “WACC”) times the average amount of capital
employed during a given year. 195 These additional costs would also need to be subtracted from the operating
margins above to reflect this required return on capital.




195
      See, e.g.,
       x Richard A. Brealey, Stewart C. Myers, and Franklin Allen (1988) Principles of Corporate Finance, 3rd ed.,
            McGraw-Hill Irwin, at 393-394, 451-455.
       x Tom Copeland, Tim Koller and Jack Murrin, (1995) Valuation: Measuring and Managing the Value of Companies,
            University Edition, Second Edition, McKinsey & Company, Chapters 6, 8.
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                                                                                                Table 9

    Actual and But-For Gross Margins Based on Dr. Netz's Estimated Overcharges
    Company           Segment         Margin          Actual/BF Restruct.                  1989         1990        1991        1992         1993         1994          1995     1996     1997        1998
    Chunghwa          All             GM              Actual                              12.5%        14.2%       19.0%       22.4%        26.2%        24.8%         27.9%    25.9%     9.4%        7.2%
    Chunghwa          CRT             GM              Actual                              12.5%        14.2%       19.0%       22.4%        26.2%        24.8%         27.9%    25.9%     9.4%        7.2%
    Chunghwa          CDT+CPT         GM              Actual                              12.5%        14.2%       19.0%       22.4%        26.2%        24.8%         27.0%    25.9%     7.2%        9.2%
    Chunghwa          CDT             GM              Actual                                                                                                           30.3%    27.9%     6.0%        9.0%
    Toshiba           CDT             GM              Actual                                                                                                                    11.1%     1.3%        1.0%

    Chunghwa          CRT             GM              BF                                                                                                               16.6%      8.4%   -11.3%   -15.1%
    Chunghwa          CDT+CPT         GM              BF                                                                                                               15.6%      8.5%   -14.1%   -12.7%
    Chunghwa          CDT             GM              BF                                                                                                               16.4%      7.5%   -20.6%   -16.7%
    Toshiba           CDT             GM              BF                                                                                                                        -14.1%   -26.7%   -27.1%

    Company           Segment         Margin          Actual/BF Restruct.                  1999         2000        2001        2002         2003         2004          2005     2006     2007         2008
    Chunghwa          All             GM              Actual                              18.1%        19.9%        1.6%       10.8%        11.2%        15.6%          1.7%     0.2%    15.3%         1.4%
    Chunghwa          CRT             GM              Actual                              18.1%        21.1%        8.3%        8.0%         9.0%        17.6%          7.6%     5.5%    -5.6%        -3.7%
    Chunghwa          CDT+CPT         GM              Actual                              20.7%        19.3%        8.3%        7.3%         9.3%        16.9%          7.3%     5.4%    -5.6%        -3.7%
    Chunghwa          CDT             GM              Actual                              23.4%        22.5%       11.0%       10.7%        12.4%        20.8%          9.7%     6.2%
    LPD               All             GM              Actual                                                       11.1%       17.5%        17.7%        18.5%         12.8%
    Toshiba           CDT             GM              Actual                               2.0%

    Chunghwa          CRT             GM              BF                                  -2.9%          2.2%      -14.0%     -13.8%       -11.4%          0.5%        -10.6%   -11.7%
    Chunghwa          CDT+CPT         GM              BF                                   0.3%         -0.1%      -14.0%     -14.7%       -11.1%         -0.2%        -11.0%   -11.7%
    Chunghwa          CDT             GM              BF                                   1.7%          0.5%      -14.3%     -14.6%       -12.4%         -1.6%        -15.8%   -20.5%
    LPD               All             GM              BF                                                            -2.0%       6.1%         6.5%          7.3%          1.7%
    Toshiba           CDT             GM              BF                                 -25.8%

    Note(s):          LPD (2005) and T oshiba (1999) values are forecasts.
                      For Chunghwa, Monochrome CRT s excluded from CDT s for the purpose of this case.
                      Chunghwa CRT gross margins assume Chunghwa All Segments gross margins for 1989-99.
                      Chunghwa "CDT +CPT " gross margins assume Chunghwa All Segments gross margins for 1989-94, CHWA00256934 "CDT + CPT " for 1995-06, and Chunghwa CRT gross margins for 2007-08.
                      Chunghwa CRT but-for (BF) margins assume All Segments' shares of net sales for 1995-99 gross income.
                      Chunghwa CRT BF margins assume weighted average of Dr. Netz CDT /CPT overcharges by CDT /CPT sales mix.
                      75% of the overcharge was applied to 1995 because alleged cartel period started in 1995Q2.
                      Most recently reported figures used whenever possible.
    Data Source(s): Expert Report of Janet S. Netz, April 15, 2014, Exhibit 65; Chunghwa Annual Reports & certified translations; CHWA00256934 - CHWA00256937; LPD Annual Reports;
                      Investigation of the Causes of the Bankruptcy of LG.Philips Displays; T AEC00105573.
    Source File(s):   Sensitivity T able.xlsx; CHWA00256934 - HIGHLY CONFIDENT IAL.xls; 012_LPD-NL00214482.PDF; LPD-NL00214381.PDF;
                      066_Part 2 - 2009-04-20 - Investigation of the Causes of the Bankruptcy of LG Philips Displays.PDF; taec00105573.ppt; a050_profit_margins.xlsx
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                                                                                                  Table 10

Actual and But-For Operating Margins Based on Dr. Netz's Estimated Overcharges
Company           Segment         Margin          Actual/BF Restruct.                  1989         1990        1991        1992         1993         1994          1995         1996         1997         1998
Chunghwa          All             OM              Actual                               9.8%        11.2%       14.1%       17.9%        21.1%        20.1%         24.1%        20.8%         1.9%        -0.2%
Chunghwa          CRT             OM              Actual                                                                                                           24.1%        20.8%         1.9%        -0.2%
SDI               CRT             Pretax          Actual                                             7.3%       8.3%        9.0%          7.7%         8.6%        10.0%         7.8%         3.0%         4.3%

Chunghwa CRT                      OM              BF                                                                                                               12.3%         2.2%       -20.5%       -24.3%
SDI      CRT                      Pretax          BF                                                                                                               -1.7%        -9.1%       -14.9%       -13.4%

Company           Segment         Margin          Actual/BF Restruct.                  1999         2000         2001       2002         2003         2004         2005          2006         2007         2008
Chunghwa          All             OM              Actual                              11.9%        14.1%        -6.4%       4.8%         4.8%         9.9%        -5.4%         -7.8%         8.0%        -9.9%
Chunghwa          CRT             OM              Actual                              11.9%        16.3%         2.0%       2.1%         2.6%        11.8%         0.5%         -2.5%
LPD               All             OM              Actual                                                       -14.1%      -9.2%       -20.7%        -1.0%       -26.2%
LPD               All             OM              Actual    excl.                                               -6.4%       3.7%         3.1%         7.0%         1.0%
LPD               CDT             OM              Actual                                                                  -18.6%       -17.3%        10.6%
LPD               CDT             OM              Actual    excl.                                                           2.0%         3.2%        10.7%          4.9%
SDI               CRT             Pretax          Actual                               5.1%        14.6%       13.0%       12.1%        11.4%

Chunghwa          CRT             OM              BF                                 -10.7%         -3.7%      -21.8%     -21.2%       -19.3%        -6.5%       -19.1%        -21.1%
LPD               All             OM              BF                                                           -30.9%     -24.3%       -37.0%       -14.8%       -42.3%
LPD               All             OM              BF              excl.                                        -22.0%      -9.6%       -10.0%        -5.6%       -11.7%
LPD               CDT             OM              BF                                                                      -52.2%       -50.6%       -14.7%
LPD               CDT             OM              BF              excl.                                                   -25.8%       -24.2%       -14.6%       -22.1%
SDI               CRT             Pretax          BF                                 -13.1%         -2.2%      -2.9%       -3.1%        -3.0%

Note(s):          LPD (2005) values are forecasts.
                  For Chunghwa, Monochrome CRT s excluded from CDT s for the purpose of this case.
                  Chunghwa CRT but-for (BF) margins assume All Segments' shares of net sales for 1995-99 gross income, 1995-99 and 2002-06 operating expenses, and 2000-01 non-R&D operating expenses.
                  Chunghwa CRT BF margins assume weighted average of Dr. Netz CDT /CPT overcharges by CDT /CPT sales mix.
                  75% of the overcharge was applied to 1995 because alleged cartel period started in 1995Q2.
                  Most recently reported figures used whenever possible.
Data Source(s): Expert Report of Janet S. Netz, April 15, 2014, Exhibit 65; Chunghwa Annual Reports & certified translations; CHWA00256934 - CHWA00256937; LPD Annual Reports;
                  Investigation of the Causes of the Bankruptcy of LG.Philips Displays; SDCRT -0203634-SDCRT -0203664, at 3652E-3653E.
Source File(s):   Sensitivity T able.xlsx; CHWA00256934 - HIGHLY CONFIDENT IAL.xls; 012_LPD-NL00214482.PDF; LPD-NL00214381.PDF;
                  066_Part 2 - 2009-04-20 - Investigation of the Causes of the Bankruptcy of LG Philips Displays.PDF; SDCRT -0203634-Highly Confidential_T ranslation CERT .2.pdf; a050_profit_margins.xlsx




137.    Dr. Netz appears to argue that CDT prices did not need to cover full costs to induce CDT manufacturers
to continue supplying products to the marketplace because the CDT industry was a “sick industry” with
substantial sunk costs. 196 However, the evidence shows that many CDT manufacturers continued to make
substantial new investments throughout much of the alleged cartel period.197 Manufacturers would not have made
new investments in the industry unless they believed that they would be able to earn at least a normal economic
return on such investments. Accordingly, investments of the same scope and magnitude would have been highly

196
      Netz Expert Report, at 18-21.
197
      See, e.g.
       x Dr. Netz recognizes that “Adding capacity to an existing plant was also expensive. In addition, CRT manufacturing
            required substantial ongoing investments in capital.” Netz Expert Report, at 14-15. She also cites the following
            examples: LG’s investment plans for updating existing lines to produce its “Flatron” real flat CRTs ranged from 22
            billion to 68 billion Won (at an exchange of 1200 Won per dollar, these convert to $18 million to $56 million).
            Salomon Smith Barney Inc., 22 May 2001, Project Mercury Confidential Information Memorandum, EIN0017699 -
            EIN0018075, at 7842.
       x Toshiba invested over $150 million in its existing Horseheads, NY CRT plant in the five years up to March 2003.
            Panasonic, 27 March 2003.
       x The above Toshiba investment is in addition to $220 million spent in the mid-1980s refurbishing and expanding the
            same facility. Kenney, Martin, Undated, The Shifting Value Chain: “The Television Industry in North America,” in
            Locating Global Advantage, (Stanford: Stanford University Press, 2004) Chapter 4.
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unlikely in Dr. Netz’s but-for world where she argues that prices would have been 22 percent lower than those
that prevailed in the actual world. To the extent that some of the investment that occurred in the actual world
would not have occurred in Dr. Netz’s but-for world, this would have the effect of raising prices, reducing product
innovation or variety or having other effects that would harm consumers. Dr. Netz fails to take account of the
effects of her alleged overcharges on CDT manufacturers’ investment incentives and, hence, the potential adverse
economic effects on CDT consumers due to these reduced investments that would have occurred in her but-for
world. 198

138.     Most obviously, as shown in Figures 26-29 above, large manufacturer investments caused overall CDT
production and capacity to increase substantially until approximately 2000. Thereafter, several CDT
manufacturers continued to make significant investments to a) build/upgrade capacity for producing larger
monitor sizes; b) invest in other product improvements, such as the transition from curved CRTs to flat CRTs and
higher resolution CDTs; 199 and c) invest in relocating production capacity to lower cost regions.200 These
significant continuing investments are consistent with the fact that Dr. Netz recognized in her report that “Adding




198
    The fact that several CDT manufacturers exited the industry during the alleged cartel period also indicates that such firms
did not believe they were earning a sufficient return on capital, even in the actual world. It is likely that such firms would
have exited the industry even earlier in Dr. Netz’s but-for world.
199
    CDT manufacturers were forced to incur product development costs and to retool production lines in order to produce the
flat CDT models and make other improvements demanded by the marketplace. See, e.g.,
     x One SDI document indicated that SDI’s sales of flat CDTs increased from zero percent in 1996 to 54.4 percent by
          2003. SDCRT-0203634 - SDCRT-0203664, at 3651E.
     x Another document indicates that Hitachi was “concentrating on a line-up of higher value products such as short
          length tubes, flat faced products and larger format (19" and above) CRTs.” HEDUS-CRT00169116 - HEDUS-
          CRT00169137, at 9116.
     x A 2003 document shows LG adding a 19-inch flat CDT line in April 2002, SDI adding 17-inch flat CDT lines in
          August 2001, and Chunghwa adding a 21-inch flat CDT line in March 2002. 06 February 2003, PHLP-CRT-
          015235.
     x Chunghwa’s financial statements report CRT related capital expenditure of $649 million from 1999 to 2006. See
          my backup file “a057_chunghwa_crt_capex.xls.”
200
    See, e.g.,
      x LPD: “Although management and supervisors have annually restructured, a much more rapid closure of the
           factories in the high-wage countries (in particular former Philips factories in Europe) would – in retrospect – have
           been appropriate. This is all the more persuasive given that in the annual report of 2001 it was already stated that, in
           connection with the need to produce at as low costs as possible, rapid migration was needed to production countries
           with lower costs.” A.A.M. Deterink, Investigation of the Causes of the Bankruptcy of LG.Philips Displays, 20
           April 2009, at 20.
      x LPD’s Fei Ma Project in China “concerned the closure of the factories in Taiwan and moving the Taiwanese CDT
           lines to one of the Chinese joint ventures in Nanjing. In addition, 1 or 2 Jumbo lines would be installed in Hua Fei.
           LPD aimed at completion of this project in 2001. The (capital) expenditure associated with the Fei Ma Project was
           budgeted at USD 80 million. The implementation of these three restructuring projects should eventually result in a
           25% reduction of labour costs over a period of five years.” A.A.M. Deterink, Investigation of the Causes of the
           Bankruptcy of LG.Philips Displays, 20 April 2009, at 155.
      x A 2000 TAEC document describes CDT plans of “Toshiba Japan moving portions of production from Japan to
           Thailand and China to save cost.” TAEC-CRT-00074796 - TAEC-CRT-00074831, at 4815.
      x Numerous “line status reports” cited by Dr. Netz discuss examples or relocating CDT lines to lower cost countries.
           See e.g. footnote 137.
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   APPENDIX A: CURRICULUM VITAE OF MARGARET E. GUERIN-CALVERT




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                        Email: mguerin-calvert@compasslexecon.com

                                          EDUCATION

1976          A.B., Economics, Brown University

1979          M.P.A., (Masters in Public Affairs), Woodrow Wilson School of Public and
              International Affairs, Princeton University

                             PROFESSIONAL EXPERIENCE

2012-present Senior Consultant, Compass Lexecon,
             and President, Center for Healthcare Economics and Policy and Senior Managing
             Director, FTI Consulting, Inc.

2008-2012     Vice Chairman and Senior Managing Director, Compass Lexecon
              (formerly Competition Policy Associates)

2003-2008     President, Competition Policy Associates (As of January 2006, also Senior
              Managing Director, FTI Consulting Inc.)

1994-2003     Principal, Economists Incorporated

1990-1994     Assistant Chief, Economic Regulatory Section, Economic Analysis Group,
              Antitrust Division, U.S. Department of Justice

1987-1990     Senior Economist, Economists Incorporated

1986-1987     Director of Analytical Resources Unit,
              Economic Analysis Group, Antitrust Division

1985-1986     Economist, Economic Analysis Group,
              Antitrust Division, U.S. Department of Justice


                                                                                  Appendix A
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    APPENDIX A: CURRICULUM VITAE OF MARGARET E. GUERIN-CALVERT

1982-1985      Economist, Financial Structure Section, Division of Research and Statistics,
               Board of Governors of the Federal Reserve System

1979-1982      Economist, Economic Policy Office, Antitrust Division, U.S. Department of
               Justice

1976-1977      Research Associate, Energy Economics Group, Arthur D. Little, Inc.

                                 TEACHING EXPERIENCE

1984           Adjunct Lecturer, Institute of Policy Sciences, Duke University

1984-1989      Executive Education for Top State Managers, conducted by The Institute of
               Policy Sciences, Duke University

1983           Lecturer, Board of Governors of the Federal Reserve System and American
               Institute of Banking

1979           Teaching Assistant, Princeton University

                                           TESTIMONY

Investigation into the Competitive Marketing of Air Transportation, CAB

Arbitration Between First Texas Savings Association and Financial Interchange Network

In Re “Apollo” Air Passenger Computer Reservation System (CRS) MDL DKT. No. 760 M-21-
49-MP

U.S. v. Ivaco, Inc.; Canron, Inc.; and Jackson Jordan, Inc.

Consent Order Proceeding before the Competition Tribunal, Canada Between The Director of
Investigation and Research and Air Canada, Air Canada Services, Inc., PWA Corporation,
Canadian Airlines International, and the Gemini Group Automated Distribution Systems Inc.

In the Matter of an Application by the Director of Investigation and Research under Section 79 of
the Competition Act and in the Matter of certain practices by the D & B Companies of Canada
Ltd. (Respondent), before the Competition Tribunal

Beville v. Curry, et al.; Comanche County District Court, Case No. CJ-95-115

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Artemio Del Serrone, Steven Ren, Heather Snay, Jon Ren, Keith Pine, and Bill Reed, on behalf of
themselves and all others similarly situated v. Philip Morris Inc., R.J. Reynolds Tobacco Co.,
Brown & Williamson Tobacco Corp., Lorillard Tobacco Co., Liggett Group, Inc., and Brooke
Group, Ltd., Case No. 00-004035 CZ, State of Michigan in the Circuit Court for the County of
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Israeli corporation, and Novopharm, Ltd., a Canadian Corporation, Counterclaim Plaintiffs, v.
Abbott Laboratories, an Illinois corporation, Fournier Industrie et Sante, a French corporation,
and Laboratoires Fournier, S.A., a French corporation, Counterclaim Defendants; Abbott
Laboratories, an Illinois corporation, Fournier Industrie et Sante, a French corporation, and
Laboratoires Fournier, S.A., a French corporation, Plaintiffs, v. Impax Laboratories, Inc., a
Delaware corporation, Defendant; Civil Action No. 03-120-KAJ; Impax Laboratories, Inc., a
Delaware corporation, Counterclaim Plaintiff, v. Abbott Laboratories, an Illinois corporation,
Fournier Industrie et Sante, a French corporation, and Laboratoires Fournier, S.A., a French
corporation, Counterclaim Defendants.; in re TriCor direct purchaser antitrust litigation; Civil
Action No. 05-340 (KAJ); in re TriCor indirect purchaser antitrust litigation; Civil Action No.
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Defendants. Case No. C-06-04333 PJH US District Court for the Northern District of California,
San Francisco Division

Natchitoches Parish Hospital Service District, on behalf of itself and all others similarly
situated, Plaintiff, v. Tyco International, Ltd., Tyco International, (U.S.), Inc., Tyco Healthcare
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“Public Health, Public Policy, and the Law: Organizational Change in Healthcare” Presentation
at Summer Institute on Health Policy, RWJF Center for Health Policy at Meharry Medical
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“Issues in Consolidation–Industry Perspectives” Presentation at AHLA/ABA 2014 Antitrust in
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submitted to the Energy Research and Development Administration, August 1976, (with F.
Mansvelt-Beck and T. Rothermal)

                          OTHER PROFESSIONAL ACTIVITIES

Member, International Task Force, Section of Antitrust Law, American Bar Association and its
Committees, including Healthcare and Pharmaceuticals

Member, American Economics Association

                           PAST PROFESSIONAL ACTIVITIES

Chair, Interagency Task Force on Bank Competition (at the U.S. Department of Justice, Antitrust
Division)

Co-Chair, Economics Task Force, Member, Technology and Financial Resources Task Force,
Chair of the Membership Committee, Transition Task Force Member, Chair of the Exemptions
and Immunities Task Force, Council Member, Chair, Financial Markets and Institutions
Committee, Member Advisory Board on Section Reserves, Long Range Planning Committee,
Section of Antitrust Law, American Bar Association




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California San Francisco Division)
Robert D. Willig, December 17, 2012, Expert Report of Robert D. Willig, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division)
Robert D. Willig, March 25, 2013, Rebuttal Declaration of Professor Robert D. Willig In
Support of Defendants’ Motion to Strike The Proposed Expert Testimony of Dr. Janet S. Netz, In
re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District
of California San Francisco Division)
Robert D. Willig, August 5, 2014, Expert Report of Robert D. Willig, Indirect Purchaser Class
Action, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division)




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Depositions
Deposition of Deok-Yun Kim, Vol. 1, March 27, 2013
Deposition of Deok-Yun Kim, Vol. 2, March 28, 2013
Deposition of Deok-Yun Kim, Vol. 3, March 29, 2013
Deposition of Hoon Choi, Vol. 1, June 19, 2013
Deposition of Hoon Choi, Vol. 2, June 20, 2013
Deposition of Hoon Choi, Vol. 3, June 21, 2013
Deposition of Hun Sul Chu, Vol. 1, February 11, 2014
Deposition of Hun Sul Chu, Vol. 2, February 12, 2014
Deposition of Hun Sul Chu, Vol. 3, February 13, 2014
Deposition of In Hwan Song, Vol. 1, December 12, 2012
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Bates Stamped Documents

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CHU00014202 - CHU00014206               LPD-NL00018253 - LPD-NL00018266

CHU00028589 - CHU00028590               LPD-NL00018267 - LPD-NL00018336

CHU00028604 - CHU00028605               LPD-NL00173522 - LPD-NL00173665

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CHU00030888 - CHU00030893               SDCRT-0086208 - SDCRT-0086210

CHU00031075 - CHU00031087               SDCRT-0086537 - SDCRT-0086539

CHU00031249 - CHU00031250               SDCRT-0086662 - SDCRT-0086664

CHU00071226                             SDCRT-0086675 - SDCRT-0086681

CHU00071480 - CHU0071482                SDCRT-0088756 - SDCRT-0088762

CHU00608095 - CHU00608105               SDCRT-0088819 - SDCRT-0088821

CHWA00256934                            SDCRT-0088852 - SDCRT-0088856

EIN0017699 – EIN0018075                 SDCRT-0090077 - SDCRT-0090079

HDP-CRT00048109                         SDCRT-0090100 - SDCRT-0090101

HDP-CRT00055162 - HDP-CRT00055165       SDCRT-0090253 - SDCRT-0090254

HDPE – CRT 00048109                     SDCRT-0090267 - SDCRT-0090274


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SDCRT-0090278 - SDCRT-0090279           SDCRT-0201291

SDCRT-0090299 - SDCRT-0090301           SDCRT-0203634 - SDCRT-0203664

SDCRT-0090306 - SDCRT-0090311           SDCRT-0203634 - SDCRT-0203664

SDCRT-0090312 - SDCRT-0090313           TAEC00105573

SDCRT-0090319 - SDCRT-0090321           TAEC-CRT-00065220

SDCRT-0090346 - SDCRT-0090349           TAEC-CRT-00018123

SDCRT-0090350 - SDCRT-0090353           TAEC-CRT-00065484

SDCRT-0091643 - SDCRT-0091647           TAEC-CRT-00074796 - 4831

SDCRT-0091656 - SDCRT-0091659           TAEC-CRT-00083305

SDCRT-0091919 - SDCRT-0091920           TET-CRT-00003403

SDCRT-0104660 - SDCRT-01046601          TSB – CRT 00036829




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Netz Target Price Documents

CHU00005997E                  CHU00028638E            CHU00028758E

CHU00014210E                  CHU00028642E            CHU00028760E

CHU00014218E                  CHU00028645E            CHU00028763E

CHU00017037E                  CHU00028654E            CHU00028768E

CHU00020661E                  CHU00028663E            CHU00028773E

CHU00020779E                  CHU00028666E            CHU00028776E

CHU00022724E                  CHU00028668E            CHU00028786E

CHU00022728E                  CHU00028670E            CHU00028803E

CHU00022738E                  CHU00028674E            CHU00028815E

CHU00024554E                  CHU00028677E            CHU00028817E

CHU00024560E                  CHU00028687E            CHU00028869E

CHU00028209E                  CHU00028689E            CHU00028873E

CHU00028240E                  CHU00028691E            CHU00028909E

CHU00028283E                  CHU00028698E            CHU00028952E

CHU00028293E                  CHU00028701E            CHU00028955E

CHU00028297E                  CHU00028707E            CHU00028958E

CHU00028385E                  CHU00028711E            CHU00028959E

CHU00028396E                  CHU00028713E            CHU00028975E

CHU00028434E                  CHU00028725E            CHU00029046E

CHU00028441E                  CHU00028728E            CHU00029062E

CHU00028589E                  CHU00028730E            CHU00029065E

CHU00028599E                  CHU00028740E            CHU00029105E

CHU00028604E                  CHU00028746E            CHU00029108E

CHU00028606E                  CHU00028752E            CHU00029110E

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CHU00029116E               CHU00030414E               CHU00030835E

CHU00029131E               CHU00030426E               CHU00030851E

CHU00029138E               CHU00030449E               CHU00030855E

CHU00029144E               CHU00030458E               CHU00030888E

CHU00029147E               CHU00030468E               CHU00030917E

CHU00029152E               CHU00030497E               CHU00030960E

CHU00029163E               CHU00030505E               CHU00030965E

CHU00029171E               CHU00030506E               CHU00030973E

CHU00029175E               CHU00030530E               CHU00031006E

CHU00029179E               CHU00030547E               CHU00031010E

CHU00029185E               CHU00030665E               CHU00031013E

CHU00029214                CHU00030670E               CHU00031018E

CHU00029228E               CHU00030684E               CHU00031047E

CHU00029235E               CHU00030717E               CHU00031051E

CHU00029245E               CHU00030745E               CHU00031056E

CHU00029259E               CHU00030763E               CHU00031075E

CHU00029262E               CHU00030766E               CHU00031101E

CHU00029971E               CHU00030787E               CHU00031111E

CHU00029987E               CHU00030797E               CHU00031113E

CHU00029999E               CHU00030807E               CHU00031142E

CHU00030005E               CHU00030809E               CHU00031150E

CHU00030020E               CHU00030819E               CHU00031174E

CHU00030036E               CHU00030823E               CHU00031176E

CHU00030071E               CHU00030827E               CHU00031180E

CHU00030410E               CHU00030831E               CHU00031202E

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CHU00031214E               CHU00548418                MTPD-0423651E

CHU00031221E               CHU00608095E               MTPD-0423668

CHU00031240E               CHU00660194E               MTPD-0423675E

CHU00031248E               CHU00660217E               MTPD-0426088E

CHU00031249E               CHU00660247E               MTPD-0479714_CT

CHU00031253E               CHU00660306                MTPD-0479715_CT

CHU00031279E               CHU00660366E               MTPD-0479726_EN

CHU00036384E               CHU00660369                MTPD-0483335

CHU00036386E               CHU00660395                MTPD-0493552

CHU00036390E               CHU00660408                MTPD-0493552_EN

CHU00036392E               CHU00660436                MTPD-0517933

CHU00036394E               CHU00660446                MTPD-0580726E

CHU00036408E               CHU00660454                MTPD-0580737E

CHU00036414E               CHU00660681                MTPD-0580741

CHU00071480E               CHU00660728                MTPD-0580751E

CHU00123375E               CHU00732816E               MTPD-0580775

CHU00123393E               CHU00732831E               MTPD-0580795_EN

CHU00123530E               HDP-CRT00025921            MTPD-0580798E

CHU00123742E               MTPD-0343949E              MTPD-0580812E

CHU00124103E               MTPD-0400554_EN            MTPD-0580821

CHU00124930                MTPD-0400573               MTPD-0607571E

CHU00125162E               MTPD-0400578_EN            MTPD-0607585_EN

CHU00125195                MTPD-0400580E              MTPD-0607598E

CHU00125374                MTPD-0400597               SDCRT-0002984

CHU00375118E               MTPD-0423645E              SDCRT-0003084

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SDCRT-0005830-42           SDCRT-0086662E             SDCRT-0088773

SDCRT-0007580              SDCRT-0086672E             SDCRT-0088819

SDCRT-0007588              SDCRT-0086698E             SDCRT-0090197E

SDCRT-0063870E–71E         SDCRT-0086703E             SDCRT-0090210–14

SDCRT-0080694              SDCRT-0086751E–53E         SDCRT-0091027

SDCRT-0086230              SDCRT-0087007              SDCRT-0091353E

SDCRT-0086256              SDCRT-0087312–13           SDCRT-0091364E

SDCRT-0086256_557E         SDCRT-0087371              SDCRT-0091372E

SDCRT-0086416E             SDCRT-0087393E–98E         SDCRT-0091374E

SDCRT-0086434E             SDCRT-0087427E             SDCRT-0091377E-81E

SDCRT-0086449E             SDCRT-0087437-40           SDCRT-0091382E

SDCRT-0086485E-86E         SDCRT-0087441-704          SDCRT-0091397E

SDCRT-0086487E-88E         SDCRT-0087662E             SDCRT-0091400E

SDCRT-0086503              SDCRT-0087667E             SDCRT-0091599E

SDCRT-0086512E             SDCRT-0087741              TAEC-CRT-00089342

SDCRT-0086545E             SDCRT-0087931–32           TAEC-CRT-00089968

SDCRT-0086557E             SDCRT-0087934E             TSB-CRT-00036875

SDCRT-0086563E             SDCRT-0087938E

SDCRT-0086586E-87E         SDCRT-0088635

SDCRT-0086593E             SDCRT-0088661

SDCRT-0086597E             SDCRT-0088675-80

SDCRT-0086605E             SDCRT-0088713E

SDCRT-0086632E             SDCRT-0088715E–19E

SDCRT-0086641E             SDCRT-0088720E–25E

SDCRT-0086649E             SDCRT-0088732E

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Source Files

065_Part 1 - 2009-04-20 - Investigation of the   combine_target_defendant.dta
Causes of the Bankruptcy of LG Philips
Displays.PDF                                     HDP-CRT00019322_rough_translation.xls

066_Part 2 - 2009-04-20 - Investigation of the   input_data.do
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all_defendants_dropexout_collapsed.dta           oecd_data.dta

bok_glass_ppi.dta                                SDCRT-0201291.dta

capacity_database.dta                            Sensitivity Table.xlsx

capacity_db_linetype.dta                         target_index.dta

CDT data.xlsx                                    Target price-structure.xlsx

chu00071226.dta                                  total production.do

clean_defendant.dta                              total production.xlsx

clean_target.dta                                 vendor_map.do

estimation_size.dta                              vendor_map.xlsx




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      APPENDIX C: SUMMARY OF CDT PRODUCTS BY SIZE AND QUARTER


                       CDT Quarterly Price Summary
                                            [a]       [b]         [c]     (b - a) / c
                                          5th       95th       Weighted
                                Number Percentile Percentile   Average     Price
   Year      Quarter    Size   of Models Price      Price       Price     Variation
   1996         1        14      128      $49.08    $107.39      $91.52     64%
                         15       66      $125.03   $164.30     $148.14     27%
                         17       47      $196.43   $288.22     $252.54     36%
                2        14      121       $49.53   $107.00      $96.64     59%
                         15       64      $129.65   $168.81     $141.95     28%
                         17       41      $183.04   $280.13     $251.66     39%
                3        14      106       $77.91   $104.75      $92.28     29%
                         15       80      $101.89   $160.14     $132.31     44%
                         17       45      $174.07   $278.25     $230.77     45%
                4        14      111       $59.00    $92.10      $78.38     42%
                         15       95       $96.53   $156.89     $117.72     51%
                         17       47      $169.94   $274.97     $223.72     47%
    1997        1        14      122       $49.35    $86.50      $64.01     58%
                         15       88       $84.02   $141.47     $101.11     57%
                         17       50      $157.95   $246.27     $210.82     42%
                2        14      128       $40.90   $100.50      $61.18     97%
                         15       96       $79.38   $143.45     $100.06     64%
                         17       82      $149.50   $252.85     $210.62     49%
                3        14      116       $40.90    $69.00      $54.57     51%
                         15      107       $64.00   $125.78      $83.55     74%
                         17       94      $131.00   $251.67     $195.21     62%
                         19        7      $289.61   $358.80     $314.19     22%
                4        14      138       $40.41    $74.23      $52.72     64%
                         15      115       $59.62   $125.77      $72.33     91%
                         17      123      $125.66   $205.71     $161.77     49%
                         19       13      $264.05   $337.13     $286.70     25%




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      APPENDIX C: SUMMARY OF CDT PRODUCTS BY SIZE AND QUARTER


                       CDT Quarterly Price Summary
                                            [a]       [b]         [c]     (b - a) / c
                                          5th       95th       Weighted
                                Number Percentile Percentile   Average     Price
   Year      Quarter    Size   of Models Price      Price       Price     Variation
   1998         1        14      187      $35.25    $63.20      $50.16      56%
                         15      218       $51.38    $91.06      $63.46     63%
                         17      229      $103.10   $203.72     $133.73     75%
                         19       26      $218.82   $301.64     $243.68     34%
                2        14      207       $32.32    $51.50      $42.36     45%
                         15      226       $43.80    $73.70      $51.99     58%
                         17      248       $87.00   $167.55     $107.15     75%
                         19       38      $188.95   $242.26     $206.65     26%
                3        14      173       $30.00    $50.50      $43.08     48%
                         15      286       $43.73    $70.33      $53.49     50%
                         17      274       $77.71   $128.00      $95.24     53%
                         19       55      $169.56   $222.15     $183.75     29%
                4        14      117       $37.00    $61.80      $48.74     51%
                         15      291       $52.00    $69.69      $61.00     29%
                         17      330       $85.00   $140.24      $97.94     56%
                         19       64      $175.28   $252.21     $199.01     39%
    1999        1        14       97       $42.15    $59.00      $47.27     36%
                         15      275       $57.03    $80.73      $62.04     38%
                         17      261       $88.00   $146.22      $98.51     59%
                         19       74      $130.62   $238.13     $191.36      56%
                2        14       81       $42.00   $107.46      $46.82     140%
                         15      253       $57.21    $67.00      $61.23      16%
                         17      264       $88.00   $128.06      $97.22     41%
                         19       90      $152.33   $205.87     $174.84      31%
                3        14       84       $44.15    $53.96      $48.45      20%
                         15      257       $56.56    $73.73      $62.45      27%
                         17      292       $86.57   $139.77      $93.49      57%
                         19       82      $144.00   $191.78     $159.60      30%
                4        14       77       $46.00    $56.87      $49.62      22%
                         15      221       $57.48    $70.26      $62.76      20%
                         17      251       $81.38   $122.96      $90.82      46%
                         19       74      $130.19   $182.37     $145.91      36%




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      APPENDIX C: SUMMARY OF CDT PRODUCTS BY SIZE AND QUARTER


                       CDT Quarterly Price Summary
                                            [a]       [b]         [c]     (b - a) / c
                                          5th       95th       Weighted
                                Number Percentile Percentile   Average     Price
   Year      Quarter    Size   of Models Price      Price       Price     Variation
   2000         1        14      74       $46.00     $61.00     $49.63      30%
                         15      190      $58.53     $84.62     $62.84      42%
                         17      294      $81.61    $118.13     $87.03      42%
                         19       87      $119.64   $191.25     $135.66     53%
                2        14       65       $46.00    $83.59      $49.14     76%
                         15      166       $57.11    $70.21      $61.89     21%
                         17      283       $79.85   $108.48     $84.73      34%
                         19       83      $115.00   $160.05     $133.46     34%
                3        14       70       $47.00    $58.00      $50.05     22%
                         15      159       $56.00    $71.74      $60.94     26%
                         17      289       $79.00   $110.02      $86.45     36%
                         19       83      $107.48   $156.91     $132.00     37%
                4        14       66       $46.55    $61.30      $49.63     30%
                         15      133       $54.14    $71.18      $59.93     28%
                         17      303       $72.88   $108.22      $84.82     42%
                         19       72      $105.19   $150.35     $127.07     36%
    2001        1        14       51       $44.00    $55.00      $48.01     23%
                         15      135       $49.60    $68.12      $54.83     34%
                         17      271       $67.17    $95.46      $77.26     37%
                         19       71       $92.45   $145.00     $109.31     48%
                2        14       49       $40.33    $56.00      $43.32     36%
                         15      123       $42.04    $64.50      $47.60     47%
                         17      306       $61.37    $86.00      $69.94     35%
                         19       85       $85.00   $129.60      $94.29     47%
                3        14       45       $37.93    $52.00      $41.51     34%
                         15      123       $38.45    $59.68      $43.22     49%
                         17      297       $56.33    $79.54      $62.34     37%
                         19       98       $76.28   $127.26      $83.70     61%
                4        14       34       $37.71    $49.78      $40.28     30%
                         15      112       $36.00    $49.47      $40.52     33%
                         17      284       $50.01    $70.00      $58.50     34%
                         19      114       $74.08   $111.81      $82.02     46%




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      APPENDIX C: SUMMARY OF CDT PRODUCTS BY SIZE AND QUARTER


                       CDT Quarterly Price Summary
                                            [a]       [b]        [c]      (b - a) / c
                                          5th       95th       Weighted
                                Number Percentile Percentile   Average     Price
   Year      Quarter    Size   of Models Price      Price       Price     Variation
   2002         1        14      22       $36.81     $46.00     $38.50      24%
                         15      121      $36.00     $49.00     $42.04      31%
                         17      273      $48.54     $69.96     $58.26      37%
                         19      109      $73.35    $105.00     $82.32      38%
                2        14       20      $35.77     $41.72     $38.11      16%
                         15      157      $35.35     $57.00     $39.75      54%
                         17      271      $49.00     $67.74     $58.50      32%
                         19      109      $69.50    $102.33     $83.30      39%
                3        14       16      $37.00     $40.00     $38.30       8%
                         15      141      $30.89     $49.00     $39.27      46%
                         17      306      $46.00     $63.61     $54.13      33%
                         19      127      $66.35     $95.00     $77.33      37%
                4        14        9      $30.00     $39.03     $34.20      26%
                         15      107      $30.46     $47.68     $37.11      46%
                         17      302      $41.28     $59.75     $50.16      37%
                         19      138      $63.87     $92.87     $75.18      39%
   2003         1        14        5      $29.18     $51.00     $36.69      59%
                         15      110      $33.43     $42.70     $36.63      25%
                         17      277      $43.50     $56.06     $49.39      25%
                         19      122      $65.13     $85.54     $77.19      26%
                2        14        4      $29.77     $32.00     $30.10       7%
                         15      112      $32.00     $42.13     $35.64      28%
                         17      282      $42.35     $56.00     $48.19      28%
                         19      114      $62.28     $83.11     $75.27      28%
                3        14        3      $29.60     $29.60     $29.60
                         15      101      $30.17     $41.27     $34.66      32%
                         17      291      $40.09     $52.64     $46.14      27%
                         19      118      $58.08     $81.84     $72.05      33%
                4        14        3      $31.00     $31.00     $31.00
                         15      100      $28.61     $39.24     $33.73      32%
                         17      302      $41.00     $51.65     $44.50      24%
                         19      110      $58.66     $77.09     $70.44      26%




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      APPENDIX C: SUMMARY OF CDT PRODUCTS BY SIZE AND QUARTER


                       CDT Quarterly Price Summary
                                            [a]       [b]        [c]      (b - a) / c
                                          5th       95th       Weighted
                                Number Percentile Percentile   Average     Price
   Year      Quarter    Size   of Models Price      Price       Price     Variation
   2004         1        14       2       $29.90     $29.90     $29.90
                         15      94       $31.20     $38.92     $33.91      23%
                         17      312      $39.30     $50.00     $44.18      24%
                         19      106      $60.45     $76.58     $70.21      23%
                2        14       3       $30.53     $30.53     $30.53
                         15       79      $32.40     $42.08     $35.25      27%
                         17      267      $40.94     $52.12     $46.07      24%
                         19      111      $58.27     $78.83     $70.08      29%
                3        14        3
                         15       88      $33.20     $44.40     $37.05      30%
                         17      248      $40.50     $52.67     $47.04      26%
                         19       95      $63.30     $78.94     $71.28      22%
                4        14        2
                         15       82      $33.11     $43.00     $37.09      27%
                         17      260      $39.50     $52.56     $45.92      28%
                         19       87      $58.51     $77.12     $69.71      27%
    2005        1        14        1
                         15       62      $31.39     $41.31     $36.67      27%
                         17      208      $38.45     $50.60     $44.44      27%
                         19       75      $63.04     $74.61     $67.56      17%
                2        14        1      $45.00     $45.00     $45.00
                         15       55      $30.00     $41.00     $34.37      32%
                         17      200      $36.50     $48.00     $42.84      27%
                         19       63      $59.39     $70.69     $63.60      18%
                3        15       61      $26.77     $37.97     $32.67      34%
                         17      204      $34.35     $46.00     $39.43      30%
                         19       44      $49.50     $70.82     $60.69      35%
                4        14        2
                         15       57      $27.42     $40.28     $31.68      41%
                         17      179      $32.96     $44.50     $38.34      30%
                         19       41      $51.53     $67.86     $59.11      28%




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           APPENDIX C: SUMMARY OF CDT PRODUCTS BY SIZE AND QUARTER


                                 CDT Quarterly Price Summary
                                                                    [a]           [b]            [c]     (b - a) / c
                                                            5th       95th                   Weighted
                                                  Number Percentile Percentile               Average      Price
     Year          Quarter           Size        of Models Price      Price                   Price      Variation
     2006               1             14             2
                                      15            55           $27.97         $37.65         $31.46      31%
                                      17            211          $32.42         $42.02         $38.02      25%
                                      19            50           $44.14         $66.15         $58.41      38%
                        2             14             1
                                      15            59           $26.02         $34.02         $30.79      26%
                                      17            202          $31.40         $41.72         $37.02      28%
                                      19            42           $53.15         $65.26         $56.43      21%
                        3             14             1
                                      15            39           $26.33         $33.16         $31.64      22%
                                      17            210          $31.23         $41.49         $35.84      29%
                                      19            38           $52.56         $67.66         $56.44      27%
                        4             15            41           $26.31         $37.00         $30.81      35%
                                      17            158          $31.15         $42.04         $36.01      30%
                                      19            32           $27.87         $62.16         $53.29      64%

Note(s):          Number of Models includes all finishes; price information based on IT C finish only.
Data Source(s): Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibit 64.
Source File(s):   all_defendants_dropexout_collapsed.dta; input_data.do; p101_cdt_price_by_size.do;
                  a101_cdt_price_by_size..xlsx




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    APPENDIX D: ADDITIONAL EXAMPLES OF ECONOMIC EVIDENCE RELATING
              TO THE DETERMINANTS OF CDT PRICES IN 1995-1996

     x   A 1995 report published by the US international Trade Commission (US ITC) provided an
         extensive discussion of trends in the US and international CRT industries.1 Their discussion
         repeatedly emphasized factors such as:

             o   rapid growth in demand, particularly for larger sizes of CRTs;

             o   acute shortages of glass for CRT production;

             o   substantial restructuring of CRT production facilities to meet the market demand for
                 larger sizes of CRTs and to relocate production from high-cost regions to low-cost
                 regions;

             o   shortages of CRT production capacity;


     x   Quotes from 1995 USITC Report:

             o   The glass industry supplying picture tube manufacturers has been hard pressed in recent
                 years to keep up with demand, which now exceeds capacity in the United States. Since
                 larger screen tubes consume more glass than smaller tubes, the trend toward larger
                 screens means fewer tubes can be produced from the same amount of glass. The North
                 American Free-Trade Agreement (NAFTA) may increase the demand for U.S.-made
                 tubes at Mexican border plants, further intensifying the glass shortage. Industry shortfalls
                 continued through 1994, when five of the seven U.S. picture tube plants were forced to
                 shut down due to a shortage of glass.

             o   Additional glass supplied by Japan has become “incredibly expensive” and Japan’s
                 ability to act as a “safety valve...has been disappearing”. No meaningful increases in U.S.
                 tube plant capacity are expected before 1995. The most important factor in demand for
                 picture tubes is the consumer’s preference in screen size. There is increasing demand
                 worldwide for large-screen (25-inch and over) direct-view televisions, leading to a
                 shortage of large-screen picture tubes.

             o   Foreign producers of CRTs face many of the same problems as do U.S. producers—
                 product differentiation, capacity constraints, need for investment capital, and supply
                 shortages….Because of increased demand worldwide, manufacturers are operating at or
                 near full capacity for the production of larger screen tubes and the cost of adding more
                 capacity for larger screen tubes is very high. Furthermore, as in the United States, glass
                 producers are finding it difficult to keep up with demand from CRT manufacturers.

             o   Japanese companies, facing of stiff competition, trade barriers, and relatively slow
                 growth in developed countries, are continuing their drive to relocate production to East
                 Asia. Production facilities in the developing countries of Asia offer not only lower
                 production costs but also facilitate entry into new markets. While four picture tube plants

1
 Industry & Trade Summary, Television Picture Tubes and Other Cathode-Ray Tubes, USITC Publication 2877,
May 1995.

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    APPENDIX D: ADDITIONAL EXAMPLES OF ECONOMIC EVIDENCE RELATING
              TO THE DETERMINANTS OF CDT PRICES IN 1995-1996

                 are under construction, China is importing tubes from other countries. Most portable
                 television manufacturers in Taiwan have suffered from insufficient supplies of CRTs,
                 particularly color CRTs. The booming computer market encouraged CRT makers to
                 concentrate on making more profitable units for computer monitors.

     x   A May 1995 presentation by LG Electronics titled "Color CRT market data" showed that monitor
         demand was expected to be very close to CDT supply in 1995. The document also illustrates the
         rapid projected increase in color monitor demand and CDT production during 1993 through 1998,
         as well as the rapid transition from 14” CDTs to larger sizes. This document and many others
         show that CDT manufacturers were investing heavily during this period to bring on new CDT
         capacity in light of rapid demand growth.

     x   An internal analysis of desktop demand, monitor production and CDT production prepared by
         Toshiba in 1997 shows that desktop demand and monitor production was essentially equal to
         CDT capacity in 1995.2

Other Documents & Testimony

     x   "Q Can you describe the condition of Toshiba's CDT business between 1994 and '96? THE
         WITNESS: 1994, I believe the business was not doing very well. In 1995, my recollection is that
         the sales were doing very well. And in 1996, perhaps because -- due to the reaction to that, the
         sales was not doing that well, if I recall. Q What do you mean by the reaction to that? A It was in
         1995, Windows 95 became available and, therefore, quite a number of PCs were sold. In 1996,
         sales did not grow as had been expected, so sales was not that well, if I recall, for us." 3

     x   "Bigger Windows": 4

             o   Anyone who works with large spreadsheets, multitasks in Windows, or zaps alien ships
                 in Descent will appreciate a 17-inch display. … Last year, 17-inch models accounted for
                 about 15 percent of the worldwide monitor market in terms of unit sales, according to
                 Dataquest, a market research firm located in San Jose, California. By the end of this year,
                 they will represent about 18 percent and next year, approximately 25 percent.

             o   Unfortunately, while sales may be on the rise, so are some prices—at least temporarily.
                 Several factors have contributed to, in some cases, a price rise of up to 15 percent.
                 Shortages of the glass used for tubes and of the plastic used in chassis combined with a
                 rise in the price of copper (which is used in significant amounts in monitors) have
                 prevented manufacturers from lowering prices. This was further aggravated by the
                 weakening dollar and by the disruption in distribution and manufacturing caused by the
                 earthquake in Kobe, Japan, which diverted some of the already scarce glass into
                 television manufacturing.


2
  TSB-CRT-00036829.
3
  June 26, 2013, Deposition of Kazuhiro Nishimaru, Volume 1, at 48-49.
4
  John R. Quain, “Bigger windows,” PC Magazine, September 12, 1995, http://global.factiva.com (accessed August
3, 2014).

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    APPENDIX D: ADDITIONAL EXAMPLES OF ECONOMIC EVIDENCE RELATING
              TO THE DETERMINANTS OF CDT PRICES IN 1995-1996

     x   Computer Reseller News, 13 February 1995 5

            o    Resellers face tight supplies on monitors through the next several months and possibly
                 into the fourth quarter because of strong demand, problems related to the Japanese
                 earthquake and a market shift toward larger display sizes.

            o    Most recently, manufacturers have struggled to keep up with strong demand for 21-inch
                 monitors, which has been sparked by price reductions bringing the displays below the
                 $2,000 level, distributors and manufacturers reported.

            o    But shortages of 14-inch monitors also have been reported, and some worry the problem
                 could spill over into larger formats. "A lot of the vendors indicate there are already
                 shortages in the 14-inch {market} and anticipated or actual shortages in the 15-inch
                 market, {as well as} expectations of shortages in the 17-inch market later in the year,"
                 said Rhoda Alexander, a senior analyst with market-research firm Stanford Resources
                 Inc., San Jose, Calif.

            o    Alexander said most of the shortages appeared to be linked to unexpectedly strong sales,
                 which caught tube and monitor manufacturers by surprise. Others suggested the Japanese
                 tube manufacturers are shifting away from 14-inch tubes because of low margins and are
                 hoping to shift the market toward 15-inch and 17-inch models.

            o    "Those markets are really booming right now, so I think that's causing {cathode-ray-tube
                 (CRT)} manufacturers to ship larger-screen-size CRTs," said Howard Sun, marketing
                 director for Mag InnoVision Inc., Santa Ana, Calif.

            o    It is difficult to assess how big the problem is. Several manufacturers said they were
                 having no problem getting 15-inch and 17-inch monitors but that they were benefiting
                 from other manufacturer's difficulties. Rumors of quake-related supply problems also
                 may be fueling some speculative fears.

            o    A Mitsubishi CRT plant suffered damage to a couple of production lines, which caused
                 two weeks of lost production, but the lines are back up now, said Bob Crooks, senior vice
                 president of the displays division for Mitsubishi Electronics America Inc., Cypress, Calif.
                 While causing some hiccups in the supply chain, Crooks said the problems were not
                 major.

            o    Sam Taylor, vice president of sales and marketing for Electrograph Systems Inc., a
                 graphics distributor in Hauppauge, N.Y., said spot shortages have been ongoing for
                 several months. "Some manufacturers will be out, and then they'll get product," he said.
                 "It's not just one manufacturer, but it seems to roll." He said two vendors currently had
                 21-inch monitors on allocation. Another distributor reported Mitsubishi, Sony Corp.,
                 Nokia Consumer Electronics and NEC Technologies Inc. were in short supply on 21-inch
                 monitors.

5
 John Longwell, “Resellers face crunch time—Monitors in short supply possibly into fourth quarter,” Computer
Reseller news, February 13, 1995, http://global.factiva.com (accessed August 3, 2014).

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    APPENDIX D: ADDITIONAL EXAMPLES OF ECONOMIC EVIDENCE RELATING
              TO THE DETERMINANTS OF CDT PRICES IN 1995-1996

            o   Crooks said demand for 21-inch monitors had far-outstripped Mitsubishi's expectations.
                "We have drastically increased our orders to our factory, and they are working very hard
                to increase capacity," he said. "I would like to say it will be a matter of two or three
                months {before shortages ease}, but the way demand is increasing, we may be in the
                same situation only talking about larger numbers."


     x   1995 Taiwan Business News 6

            o   Due to the current short supply of cathode ray tubes (CRTs) throughout the world, and
                the resulting increases in production costs for computer monitor manufacturers, monitor
                producers in Taiwan, Japan, and Korea have announced that export quotations will
                increase as of Sept. 1. Over the past year, cathode ray tube prices have risen by more than
                20%, and export quotations will therefore be hiked by about 10%.




6
 “Computer monitor export quotations rise by 10%,” Taiwan Business News, September 4, 1995,
http://global.factiva.com (accessed August 3, 2014).

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                                       APPENDIX E: SCATTER PLOTS OF CHANGES
                                    IN TARGET PRICES AND ACTUAL PRICES BY SIZE

                       14-Inch CDT Actual and Target Price Changes by Manufacturer
                                                                                                                   20%
                                                                                                                             Actual Price Change


                                                                                                                   15%



                                                                                                                   10%



                                                                                                                    5%


                                                                                                                                                                                Target Price Change
                                                                                                                    0%
 -15%                                 -10%                                      -5%                                       0%                                       5%                                      10%


                                                                                                                   -5%



                                                                                                                  -10%



                                                                                                                  -15%



                                                                                                             -20%
                                                                                 Chunghwa                 MTPD                 SDI
Note(s):           Price changes represent the compounded quarterly percentage change for a given manufacturer, factory, customer, and finish between quarters t and t-x, where x is defined as the
                   smallest positive integer for which there were actual prices and target prices for the panel in quarters t and t-x. That is, the actual and target price changes were calculated over the same
                   period of time, and x represents the shortest period over which this was possible. Excludes observations for which the model number, customer name, size, or finish were missing or
                   with more than four quarters between observed pairs of actual/target price changes. A number of observations are outside the bounds of the x or y axis.
                   Dr. Netz's sales database inappropriately labels Panasonic Corp. as MTPD.
Data Sources(s):   Defendant data; see Expert Report of Janet S. Netz April 15, 2014, Exhibit 64.
Source File(s):    combine_target_defendant.dta; p051_actual_v_target_price_mfg_size.do; a051_actual_v_target_price_mfg_size.xlsx




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                                       APPENDIX E: SCATTER PLOTS OF CHANGES
                                    IN TARGET PRICES AND ACTUAL PRICES BY SIZE

                       15-Inch CDT Actual and Target Price Changes by Manufacturer
                                                                                                                   20%
                                                                                                                             Actual Price Change


                                                                                                                   15%



                                                                                                                   10%



                                                                                                                    5%


                                                                                                                                                                                Target Price Change
                                                                                                                    0%
 -15%                                 -10%                                      -5%                                       0%                                       5%                                      10%


                                                                                                                   -5%



                                                                                                                  -10%



                                                                                                                  -15%



                                                                                                                  -20%
                                                                             Chunghwa              LPD            MTPD             SDI
Note(s):           Price changes represent the compounded quarterly percentage change for a given manufacturer, factory, customer, and finish between quarters t and t-x, where x is defined as the
                   smallest positive integer for which there were actual prices and target prices for the panel in quarters t and t-x. That is, the actual and target price changes were calculated over the same
                   period of time, and x represents the shortest period over which this was possible. Excludes observations for which the model number, customer name, size, or finish were missing or
                   with more than four quarters between observed pairs of actual/target price changes. A number of observations are outside the bounds of the x or y axis.
                   Dr. Netz's sales database inappropriately labels Panasonic Corp. as MTPD.
Data Sources(s):   Defendant data; see Expert Report of Janet S. Netz April 15, 2014, Exhibit 64.
Source File(s):    combine_target_defendant.dta; p051_actual_v_target_price_mfg_size.do; a051_actual_v_target_price_mfg_size.xlsx




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                                       APPENDIX E: SCATTER PLOTS OF CHANGES
                                    IN TARGET PRICES AND ACTUAL PRICES BY SIZE

                       17-Inch CDT Actual and Target Price Changes by Manufacturer
                                                                                                                   20%
                                                                                                                             Actual Price Change


                                                                                                                   15%



                                                                                                                   10%



                                                                                                                    5%


                                                                                                                                                                                Target Price Change
                                                                                                                    0%
 -15%                                 -10%                                      -5%                                       0%                                       5%                                      10%


                                                                                                                   -5%



                                                                                                                  -10%



                                                                                                                  -15%



                                                                                                               -20%
                                                                          Chunghwa           Hitachi        LPD   MTPD                SDI
Note(s):           Price changes represent the compounded quarterly percentage change for a given manufacturer, factory, customer, and finish between quarters t and t-x, where x is defined as the
                   smallest positive integer for which there were actual prices and target prices for the panel in quarters t and t-x. That is, the actual and target price changes were calculated over the same
                   period of time, and x represents the shortest period over which this was possible. Excludes observations for which the model number, customer name, size, or finish were missing or
                   with more than four quarters between observed pairs of actual/target price changes. A number of observations are outside the bounds of the x or y axis.
                   Dr. Netz's sales database inappropriately labels Panasonic Corp. as MTPD.
Data Sources(s):   Defendant data; see Expert Report of Janet S. Netz April 15, 2014, Exhibit 64.
Source File(s):    combine_target_defendant.dta; p051_actual_v_target_price_mfg_size.do; a051_actual_v_target_price_mfg_size.xlsx




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     APPENDIX F: REGRESSIONS OF QUARTERLY CHANGES IN ACTUAL CDT PRICES ON
                           CHANGES IN TARGET PRICES

                                                                    Regressions of Changes in Actual Prices on Changes in Target Prices

           Dependent Variable                                 Independent Variables                                                          Results                                               Robustness Checks


    Row                                                                                                                                                                                Range of Estimated
                                       Change in                 Change in              Change in Negotiated
          Change in Actual Price                                                                                   Number of          Estimated Coefficient on                           Coefficients on          R-Squared
                                  Alleged Target Price         Macroeconomic           Price Currency-to-USD                                                        R-Squared
          (Level of Aggregation)                                                                                  Observations        Change in Target Price                          the Change in Target         Range
                                 (Level of Aggregation)          Variables            Exchange Rate Variables
                                                                                                                                                                                             Price


                                      Manufacturer,
            Model, Customer,
     1                           Application, Size, Finish,                                                            6,225                  0.237***                0.126             0.232*** - 0.314*        0.015 - 0.132
            Factory, Quarter
                                         Quarter



                                      Manufacturer,
            Model, Customer,
     2                           Application, Size, Finish,           X                                                6,225                  0.224***                0.190             0.202*** - 0.328*        0.027 - 0.243
            Factory, Quarter
                                         Quarter



            Model, Customer,          Manufacturer,
     3      Factory, Currency,   Application, Size, Finish,                                     X                      6,116                  0.238***                0.163             0.228* - 0.238***        0.040 - 0.163
                 Quarter                 Quarter


Sources:
(1) Global CRT sales data for Chunghwa, Daewoo, Hitachi, IRICO, LGE, LPD, Mitsubishi, MTPD, Panasonic Corporation, Philips, SDI, Samtel, Thai CRT, Thomson, and Toshiba Corp.;
(2) Netz target price data;
(3) OECD StatExtracts Database (OECD unemployment rate and industrial production), Bank of Korea (Korean CRT glass PPI), DisplaySearch (worldwide monitor sales), U.S. Federal Reserve (exchange rates).

                                                                                                                                                                                                                                 1




1
    See my backup file “Regressions of Changes in Actual Prices on Changes in Target Prices.xlsx.”

                                                                                                                                                                                                            Appendix F
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 APPENDIX F: REGRESSIONS OF QUARTERLY CHANGES IN ACTUAL CDT PRICES ON
                       CHANGES IN TARGET PRICES
  Notes:
  (1) An actual price observation represents the quantity-weighted average actual price for a given model, factory, customer, and quarter
  (rows 1-2) or for a given model, customer, factory, the currency in which the prices were negotiated ("negotiated currency"), and
  quarter (row 3) using global CDT sales data for Q1 1995 to Q4 2007;
  (2) A target price observation represents the average of the CDT target prices identified by Dr. Netz for a given manufacturer, size, and
  finish (bare/ITC), ("group") and quarter, weighted by the number of days that the target price was effective during that quarter;
  (3) Actual and target price changes represent the average quarterly percentage change (divided by 100) in the actual price for a given
  model, factory, and customer (and negotiated currency in row 3) and the average quarterly percentage change (divided by a hundred) in
  the CDT target price for the group between quarters t and t-x, where x is defined as the smallest positive integer (possibly equal to 1)
  for which there were actual prices for the model-factory-customer (and currency in row 3) and target prices for the group in quarters t
  and t-x. That is, the actual and target prices changes were calculated over the same period of time, and x represents the shortest period
  over which this was possible;
  (4) Actual prices were excluded as outliers as follows: For each quarter in which a given CDT model produced in a given factory was
  sold to a given customer, the average quarter-to-quarter price change was calculated between the given quarter and the previous quarter
  in which the same model was produced in the same factory and sold to the same customer. Price changes that were less than the 25th
  percentile of the distribution of price changes across all defendants minus 3 times the interquartile range of that distribution or greater
  than the 75th percentile of the distribution plus 3 times the interquartile range were flagged as “very large price decreases” or “very
  large price increases,” respectively. Prices for a given model, factory, customer, and quarter were excluded as outliers if: (a) the price
  for the model, factory, and customer experienced a very large decrease in the given quarter followed by a very large increase in the
  next quarter in which the same model was produced in the same factory and sold to the same customer, or vice versa; (b) it was the first
  quarter in which the model was produced at that factory and sold to that customer and the price experienced a very large increase or
  decrease in the next quarter in which the model was produced at that factory and sold to that customer; or (c) it was the last quarter in
  which the model was produced in that factory and sold to that customer and the price experienced a very large increase or decrease
  from the previous quarter in which the model was produced in that factory and sold to that customer;
  (5) The following actual price observations were also excluded: (a) observations for which the manufacturer, application, size, finish,
  model number, customer name, or quarter (or currency for the model presented in row 3) were missing; (b) sales between integrated
  entities that sold CRTs; and (c) observations with more than four quarters between observed pairs of actual price changes and target
  price changes.
  (6) The macroeconomic variables included in the model presented in row 2 are: (a) the unemployment rate and industrial production
  for Organization for Economic Co-operation and Development ("OECD") countries; (b) the Korean CRT glass producer price index
  ("PPI"); and (c) the quarterly LCD share of worldwide monitor revenue. The changes in the Korean glass PPI and the OECD industrial
  production represents the average quarterly percentage change (divided by a hundred) in that variable between quarters t and t-x,
  where t and x are defined according to Note #3 above. The changes in the OECD unemployment rate and LCD market share represent
  the average quarterly percentage point change in that variable between quarters t and t-x;
  (7) The exchange rate used in row 3 represents the ratio for quarter t between the average price in the negotiated currency and the U.S.
  dollar average price (both weighted by sales volume) for a given model, factory, customer, and negotiated currency. The change in the
  exchange rate represents the percentage change (divided by a hundred) in the exchange rate between quarters t and t-x, where t and x
  are defined according to Note #3 above. The model presented in row 3 includes the change in the exchange rate and interactions
  between this variable and a series of seven "dummy" variables that take the value 1 if the currency in which the actual price was
  negotiated is the Deutsche Mark, Japanese Yen, South Korean Won, Malaysian Ringgit, Chinese Yuan, Taiwan New Dollar, or U.S.
  Dollar respectively, and zero otherwise. To avoid collinearity there is no dummy variable that equals 1 for prices negotiated in Brazil
  Real;
  (8) I performed the following robustness checks on each of the regressions presented in the above table:
     - weighting observations by sales volume;
     - aggregating actual prices by group and quarter (or by group, currency, and quarter in the model presented in row 3);
     - using clustered standard errors by group;
  The range of results from these robustness checks are reported in the table;
  (9) (***) indicates that the estimated coefficient is different from zero at the 0.1% significance level.




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                                                                        APPENDIX G: CHANGES IN CDT CAPACITY OVER TIME


                                                                         Chunghwa CDT Annual Production and
                                                             Estimated Size Composition of Chunghwa CDT Annual Capacity
                                                   100%                                                                                                                                                                      25


                                                   90%
 Estimated Share of Chunghwa CDT Annual Capacity




                                                   80%                                                                                                                                                                       20




                                                                                                                                                                                                                                     Chunghwa Production (Millions of Units)
                                                   70%


                                                   60%                                                                                                                                                                       15


                                                   50%


                                                   40%                                                                                                                                                                       10


                                                   30%


                                                   20%                                                                                                                                                                       5


                                                   10%


                                                    0%                                                                                                                                                                       0
                                                          1997           1998             1999             2000             2001            2002             2003           2004           2005                2006
                                                                            14                   15               17                 19                 20                Total Production
Note(s):                                                  Manufacturer production data for 2004Q1 unavailable. 2004Q1 production calculated as the average of 2003Q4 and 2004Q2 production.
                                                          Source data reports total CDT capacity by line and date. Capacity for a given size calculated as total capacity divided by number of sizes for given line and date.
                                                          CDT capacity identified by prefix "D:" in the "products" field from Dr. Netz's backup file "capacity_db_linetype.dta."
                                                          For a given date, capacity assumed to be zero if none reported.
Data Source(s):                                           Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibits 2 and 82.
Source File(s):                                           total production.do; total production.xlsx; HDP-CRT00019322_rough_translation.xls; SDCRT-0201291.dta; chu00071226.dta; mtpd-0416090.dta; vendor_map.do; vendor_map.xlsx;
                                                          vendor_map_def.dta; vendor_map_name.dta; p004_pdn_mfg_shares_2006.do; t004_CDTpdn_tot_sdi_cpt_oec.dta; capacity_db_linetype.dta; CDT data.xlsx;
                                                          p006_capacity_db_linetype_mfg_size.do; a006_capacity_db_linetype_mfg_size.xlsx




                                                                                                                                                                                                                        Appendix G
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                                                                      APPENDIX G: CHANGES IN CDT CAPACITY OVER TIME


                                                                            Daewoo CDT Annual Production and
                                                                Estimated Size Composition of Daewoo CDT Annual Capacity
                                                  100%                                                                                                                                                                      10


                                                  90%                                                                                                                                                                       9
  Estimated Share of Daewoo CDT Annual Capacity




                                                  80%                                                                                                                                                                       8




                                                                                                                                                                                                                                    Daewoo Production (Millions of Units)
                                                  70%                                                                                                                                                                       7


                                                  60%                                                                                                                                                                       6


                                                  50%                                                                                                                                                                       5


                                                  40%                                                                                                                                                                       4


                                                  30%                                                                                                                                                                       3


                                                  20%                                                                                                                                                                       2


                                                  10%                                                                                                                                                                       1


                                                   0%                                                                                                                                                                       0
                                                         1997           1998             1999             2000             2001            2002             2003            2004              2005            2006
                                                                                14                   15                    17                  19                      Total Production
 Note(s):                                                Manufacturer production data for 2004Q1 unavailable. 2004Q1 production calculated as the average of 2003Q4 and 2004Q2 production.
                                                         Source data reports total CDT capacity by line and date. Capacity for a given size calculated as total capacity divided by number of sizes for given line and date.
                                                         CDT capacity identified by prefix "D:" in the "products" field from Dr. Netz's backup file "capacity_db_linetype.dta."
                                                         For a given date, capacity assumed to be zero if none reported.
 Data Source(s):                                         Defendant data; see Expert Report of Janet S. Netz, April 15, 2014, Exhibits 2 and 82.
 Source File(s):                                         total production.do; total production.xlsx; HDP-CRT00019322_rough_translation.xls; SDCRT-0201291.dta; chu00071226.dta; mtpd-0416090.dta; vendor_map.do; vendor_map.xlsx;
                                                         vendor_map_def.dta; vendor_map_name.dta; p004_pdn_mfg_shares_2006.do; t004_CDTpdn_tot_sdi_cpt_oec.dta; capacity_db_linetype.dta; CDT data.xlsx;
                                                         p006_capacity_db_linetype_mfg_size.do; a006_capacity_db_linetype_mfg_size.xlsx




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                       APPENDIX H: SUMMARY OF CDT OVERCHARGE MODELS


                            Regression Output for CDT Overcharge Models
                                                (1)                       (2)                       (3)

                                                                  Netz Model + 1995/96     Netz Model + 1995/96
Y = Log of average quarterly CDT price by   Netz Model
                                                                       Dummies           Dummies + Addnl Controls
size-manufacturer
Cartel Dummy{=1 for 1995-2006}               0.250***
                                             (0.0428)
Cartel Dummy{=1 for 1995}                                              0.176***                  0.176***
                                                                       (0.0406)                  (0.0306)
Cartel Dummy{=1 for 1996}                                              0.193***                  0.269***
                                                                       (0.0532)                  (0.0368)
Cartel Dummy{=1 for 1997-2006}                                           -0.131                    0.0176
                                                                       (0.0820)                  (0.0625)
Cartel Dummy{=1 for 2007}                     0.123**                    -0.127                   -0.0255
                                              (0.0560)                 (0.0813)                  (0.0522)
Log BOK glass PPI                            -12.69***                 -14.35***                 -15.08***
                                               (4.290)                    (5.024)                   (5.405)
Log BOK glass PPI X tube size                1.573***                   1.719***                  1.735***
                                               (0.518)                    (0.603)                   (0.645)
Log BOK Glass PPI X tube size^2             -0.0435***                 -0.0474**                 -0.0476**
                                              (0.0154)                   (0.0179)                  (0.0191)
Log OECD GDP                                 2.127***                  2.140***                     0.966*
                                               (0.528)                    (0.615)                   (0.575)
OECD unemployment rate                       -1.932***                     -0.701                    1.399
                                               (0.686)                    (0.530)                   (0.906)
OECD unemployment rate^2                      0.149***                    0.0507                     -0.109
                                              (0.0511)                  (0.0395)                  (0.0698)
Revenue share of LCD monitors                   -0.302                     -0.460                    0.573
                                               (0.338)                    (0.311)                   (0.372)
Revenue share of LCD monitors^2              0.694***                  1.197***                    -0.728*
                                               (0.224)                    (0.249)                   (0.368)
Log Won-USD exchange rate                                                                        -0.351***
                                                                                                  (0.0750)
Log shipping cost                                                                                0.0716***
                                                                                                  (0.0173)
Log worldwide desktop shipments                                                                   0.495***
                                                                                                    (0.119)
Log Korea labor cost                                                                                 0.201
                                                                                                    (0.147)
Linear Trend                                -0.0640***                 -0.0338**                -0.0853***
                                              (0.0128)                  (0.0164)                  (0.0157)
Trend^2                                     0.000306**                 -0.000295                0.000566**
                                             (0.000140)                (0.000200)                (0.000216)

Intercept                                      -1.781                    -3.892                 -11.11***
                                              (2.686)                   (2.702)                   (2.578)
Observations                                   1,114                     1,114                     1,112
R-squared                                      0.954                     0.962                     0.971
Robust standard errors in parentheses
*** p<0.01, ** p<0.05, * p<0.1
1




1
    See my backup file “Summary of CDT Overcharge Models.xlsx.”

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                       APPENDIX H: SUMMARY OF CDT OVERCHARGE MODELS


Notes:
(1) All specifications use the same data used by Dr. Netz for her overcharge regressions, i.e. data at the application-manufacturer-size
level; We maintained the same error correction as Dr. Netz (clustering on the panel variable).
(2) All specifications use quantity weights.
(3) All specifications were estimated using the same control variables used by Dr. Netz: Bank of Korea glass PPI (also interacted with size
and size squared), OECD GDP, unemployment and unemployment squared, revenue share of LCD monitors and its square, linear trend and
linear trend squared.
(4) Specification (3) was estimated with the addition of the following 4 controls: Won-USD exchange rate, shipping cost index, worldwide
desktop shipments, and Korean labor cost (all were converted to natural logs).
(5) Worldwide desktop shipments are based on IDC quarterly data for 1995 onwards. For 1993-4 the series is extrapolated using quarterly
data on PC shipments from TAEC-CRT-00018123 and IDC Client PC Historical data_1995Q1 to 2013Q3.xlsx.
(6) Shipping costs are measured by the Baltic Dry Index, a composite index measuring the cost of moving the major raw materials by sea.
(7) Korean labor costs are measured by an indicator provided by the OECD which tracks Korean manufacturing unit labor costs.
(8) Korean exchange rate in Won per USD.

Sources: OECD stats website, IDC, Dr. Netz's report backup, Bloomberg LP, St. Louis Fed.




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 7

 8

 9

10                               UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN FRANCISCO DIVISION
13   IN RE: CATHODE RAY TUBE (CRT)                Master File No. CV-07-5944-SC
     ANTITRUST LITIGATION                         MDL No. 1917
14

15

16   This Document Relates to:
17   ALL INDIRECT-PURCHASER ACTIONS
18

19
                     REBUTTAL EXPERT REPORT OF JANET S. NETZ, PH.D.
20

21                                         September 26, 2014

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                            REBUTTAL EXPERT REPORT OF JANET S. NETZ, PH.D.
                                                                                  MDL No 1917
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I. Qualifications
I, Janet S. Netz, am a founding partner of applEcon, LLC. I have been a tenured Associate
Professor of Economics at Purdue University and a Visiting Associate Professor at the
University of Michigan. I received a B.A. (1986) from the University of California, Berkeley,
cum laude, and an M.A. (1990) and Ph.D. (1992) from the University of Michigan, all in the
field of economics. My doctoral fields were Industrial Organization, which is the study of firms
and markets, the economic field most closely related to the issues in this case specifically and in
antitrust generally, and International Trade, which includes the study of firms and markets in a
global environment.
Among the courses that I have taught, those that are most closely related to the issues of this case
include Industrial Organization at the undergraduate and doctoral level; Antitrust and Regulation
at the undergraduate level; Microeconomic Theory at the undergraduate and master’s level; and
International Trade at the undergraduate and master’s levels. I have guest lectured on the role of
an economic expert in an Alternative Dispute Resolution class at the University of Michigan
Law School. I have spoken on the role of economists and economics in class action antitrust
cases at several American Bar Association conference programs. My research has focused on
competitive interactions of firms and strategies firms can use to increase profits. I have published
in peer-reviewed, scholarly journals and have presented my research at many conferences and
seminars. A detailed account of my academic employment and publication histories is provided
in my curriculum vitae, which is attached as Exhibit A.
I have testified in trial or by affidavit or declaration, especially with regard to the determination
of the impact of anti-competitive conduct on consumers and quantifying the magnitude of the
impact, for over ten years. In addition, I have consulted on numerous antitrust cases. I provide a
list of the cases on which I have testified and consulted in my curriculum vitae, which is attached
as Exhibit A.
I am compensated for my work on this case at the rate of $450 per hour. My compensation is not
dependent on my opinions or the outcome of the case.

To the best of my ability, I kept track of the materials I reviewed. In Exhibits B and C, I provide
a list of all confidential and public documents, respectively, that my staff and I have reviewed
since my Merits Report was filed April 15, 2014. See Exhibits B and C of my Merits Report for
additional documents reviewed. I reserve the right to revise my conclusions and opinions as
more information comes to light.

II. Assignment
Based on my review of the case facts and evidence, in my merits report I concluded that the CRT
cartel engaged in a variety of anti-competitive conduct that allowed it to increase the price of
CRTs above the competitive level. I concluded that the overcharge imposed by Defendants on
direct purchasers was subsequently passed down the distribution channel to class members (end
users). I then developed common methods based on common evidence to calculate a reasonable
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estimate of the overcharge imposed on direct purchasers and the ultimate damages suffered by
class members. I concluded that the cartel harmed class members by $2.8 billion dollars.1
For this report, I have been asked by counsel for the Indirect Purchaser Plaintiffs to evaluate the
case facts and economic analyses presented by Defendants’ experts, to consider the conclusions
reached by these experts, and to determine if any new information has changed the conclusions
expressed in my merits report.

III.        The relevant economic framework to answer the questions at issue
To engage in and understand the appropriate economic analysis, it is important to keep in mind
the appropriate economic framework. The questions at issue, broadly, are (1) to evaluate whether
the cartel’s conduct increased the price of CRTs and (2) if so, to quantify that harm.

       A. To evaluate and quantify the impact of the CRT cartel, one should compare the
       observed outcome given a CRT cartel to the but-for world in which Defendants
       would not have colluded
Because the but-for world – the world where Defendants did not engage in the allegedly
anticompetitive conduct, but instead made business decisions independently – cannot be
observed, simply because that world did not occur, one must draw inferences based on observed
conduct from other time periods or from other industries or markets not subject to the conduct at
issue.
For any comparison put forward to support a claim that the cartel is effective or ineffective, one
should consider whether the comparison is appropriate. In particular, Defendants’ experts at
times compare variables that change over time, but only within the period that was subject to the
alleged cartel.2 If no argument is made that the cartel did not operate at some time period used in
the comparison, the comparison cannot support a finding regarding the effectiveness of the
cartel.



1
  My conclusions are set out in Section V of the merits report, while the remainder of the report puts forth the factual
evidence and economic analyses that underlie these conclusions. Netz, Janet S., 15 April 2014, Expert Report of
Janet S. Netz, Ph.D, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern
District of California San Francisco Division) (Hereinafter “Netz Merits Report”). My estimate of damages was
reported in Netz, Janet S., 03 July 2014, Errata to the Expert Report of Janet Netz, Ph.D, In re: Cathode Ray Tube
(CRT) Antitrust Litigation (United States District Court Northern District of California San Francisco Division)
(Hereinafter “Netz Merits Errata”).
2
    See, e.g.,
        •   Willig, Robert D., 05 August 2014, Expert Report of Robert D. Willig, In re: Cathode Ray Tube (CRT)
            Antitrust Litigation (United States District Court Northern District of California San Francisco Division)
            (Hereinafter “Willig Opposition Report”), at ¶66.
        •   Guerin-Calvert, Margret E., 05 August 2014, Expert Report of Margret E. Guerin-Calvert, In re: Cathode
            Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
            Francisco Division) (Hereinafter “Guerin-Calvert Opposition Report”), at ¶¶87-98.
        •    Rubinfeld, Daniel L., 05 August 2014, Expert Report of Daniel L. Rubinfeld, In re: Cathode Ray Tube
            (CRT) Antitrust Litigation (United States District Court Northern District of California San Francisco
            Division) (Hereinafter “Rubinfeld Opposition Report”), at ¶¶59-60.
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      B. To make the above comparison, one should hold “all else equal”; that is, the
      proxy for the but-for world should differ from the actual world only in terms of
      Defendants’ conduct
The question at issue is conceptually simple: what would have happened to prices for CRTs and
CRT products if the world were just like it was except for one change – that the Defendants
competed with each other, rather than colluding?
While the question is conceptually simple, that is not to say that finding the answer to the
question is simple. The complexity is caused by the fact that the but-for world is not observed
and must be inferred from proxies (different time periods or industries that were not subject to
the allegedly anticompetitive conduct), and by the fact that any economic outcome is subject to a
variety of influences.
For any comparison put forward to support a claim that the cartel is effective or ineffective, one
should also consider whether all other influences remain the same – different prices for different
products, different bargaining abilities, demand levels, cost levels, etc. If not, care must be taken
to account for these other changes.

IV. Summary of conclusions: Defendants’ experts’ analyses are flawed or
irrelevant
Plaintiffs alleged that Defendants’ engaged in a pattern of activity to fix the price of CRTs from
approximately 1995 to 2007. As part of evaluating the impact of this conduct, I examined a
variety of evidence related to the Defendants’ conduct. I found voluminous evidence that the
Defendants had developed a hierarchical structure of meetings among executives that occurred
on a frequent basis; developed a web of other types of communication, including bilateral
meetings, e-mails, and phone calls; came to agreements to set particular prices; came to
agreements to reduce capacity and production on short-term and long-term bases; and monitored
or audited cartel participants’ prices, capacity, and production.
In my merits report I considered whether a cartel that engaged in this conduct in the CRT
industry would have the market power that would enable it to raise price above the competitive
level. I found that there were barriers to entry, a necessity for a cartel to raise price. I also found
that the competitive influence of LCD products on CRT prices was not sufficient to prevent the
cartel from raising the price of CRTs. Defendants’ experts do not dispute these points.3 Ms.
Guerin-Calvert, Prof. Willig, Prof. Ordover, and Dean Snyder discuss a variety of other industry
characteristics that they assert make it “more difficult” or “less likely” for the cartel to operate
successfully. None of these characteristics marks an insurmountable burden to a successful
cartel; the economic literature has ambiguous predictions as to whether some of these
characteristics hinder or actually facilitate a cartel; and there are real-world cartels that have
many of these characteristics.
Defendants’ experts consider several types of Defendants’ conduct that the experts use to support
conclusions that the cartel would not have succeeded in raising the price of all CRTs, that some
activity may not be anticompetitive, or that the cartel was generally unsuccessful. In fact, the

3
 Defendants’ experts do conclude that the introduction and growth of LCD products limited the extent to which the
cartel could raise the price of CRTs above the competitive level, as I also concluded in my merits report. Netz
Merits Report, p. 14.
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cartel had the incentive and ability to increase the price of all CRTs, including large size CPTs
and CRTs consumed in North America. Defendants’ experts actually explain why the cartel
would raise the price of all CRTs, although they reach a different conclusion. If the cartel
attempted to increase the price of only some CRTs, then consumers would substitute away from
those CRTs, limiting the cartel’s ability to raise prices. Defendants’ experts then argue that these
shifts in demand would cause the cartel to be ineffective. While I agree with the potential
problem, the answer for the cartel is to raise the price of all CRTs.
Defendants’ experts also assert that a high degree of product differentiation will make it difficult
for the cartel to reach agreement. I find product differentiation is not nearly as pervasive as
Defendants’ experts claim. In fact, sales are quite concentrated on a small number of different
CRTs. I also show that a handful of product characteristics explain almost all of the variation in
CDT and CPT prices. This means that Defendants did not need to set target prices for each type
of CRT. There is evidence to show that Defendants understood the value relationship between
CRTs and set prices accordingly.
Defendants’ experts suggest that information exchanges between cartel members were not
necessarily anticompetitive. While information exchanges in general may not be anticompetitive,
the characteristics of the information exchanges undertaken by the CRT cartel members had the
attributes that indicate an anticompetitive impact: the firms were exchanging current and future
plans, the information was firm-specific, and the firms were exchanging information directly
with each other. Furthermore, the effect of the information exchanges must be considered in light
of the accompanying conduct. That is, information exchanges were but one part of a
comprehensive set of activities designed to result in CRT prices that were higher than the
competitive level. In addition, documentary evidence indicates that the information exchanges
had anticompetitive effects. That the information exchanges were not anticompetitive is not a
tenable conclusion when the case is examined as a whole.
Defendants’ experts emphasize the evidence of “cheating”; that is, documents and
communications that indicate that some Defendants were unhappy with other Defendants, that
some Defendants were charging prices that were lower than agreed. While Defendants’ experts
are correct that members of a cartel have an incentive to cheat, undercutting the price of other
cartel members, resulting in increased sales and profits for the cheater, they are incorrect that
discussion of cheating indicates widespread ineffectiveness. Economic theory and empirical
studies in the past twenty years have established that cartel effectiveness is compatible with the
existence of cheating. That this is the situation in the CRT cartel is supported by the fact that
cartel members engaged in these activities for a thirteen year period. Given the substantial
penalties for price fixing, both in terms of fines to the firms and jail times for executives, we
would not observe continued participation if the cartel was not sufficiently effective to offset the
risk the firm and the managers were taking.
In addition to applying economic principles to the conduct of the cartel given the industry facts, I
also examined some empirical evidence to evaluate the impact of the cartel. In my merits report,
I presented an analysis showing that the cartel’s target prices increased the price of CRTs that
had target prices and that did not. The analysis controlled for market determinants of supply, and
included a lagged dependent variable to prevent a statistical problem called spurious correlation.
Defendant’ experts criticized my analysis of the impact of target prices on actual prices and
implement their own empirical analysis. Ms. Guerin-Calvert and Prof. Willig find the same thing
that I did – target prices cause higher actual prices for CRTs that have target prices and those that
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do not. Dean Snyder misinterprets his target price regression results. They actually show that the
cartel had the same impact on prices of targeted and non-targeted CRTs.
Defendants’ experts also present other empirical evidence that they interpret as evidence that the
cartel was not effective. They make two logical errors in their analyses and interpretation: they
do not make the right comparison and they do not hold “all else equal”. A cartel succeeds when
it raises actual price above the but-for price (the price that would hold if the cartel did not exist).
The proper comparison is between an outcome in the actual world and a proxy for the outcome
in the but-for world. Defendants’ experts’ comparisons often simply involve changes in variables
over time. Unless there are observations before or after the cartel, such an analysis is not
evidence that the cartel was successful (or not). In addition, virtually all economic predictions are
subject to the caveat “all else equal”. For example, since a cartel raises price by limiting the
quantity produced, one would expect production to fall when a cartel forms, if nothing else
changes (that is, all else equal). If a cartel forms and demand expands, then an observation that
production increased is not informative as to the success of the cartel, without in some way
accounting for the increase in demand. Defendants’ experts’ empirical evidence suffer from one
or both of these flaws, and is consistent with the existence of a successful cartel.
The claims made by Defendants’ experts do not change my conclusion that 22.0% and 9.0% are
reasonable measures of the direct overcharge imposed on CDTs and CPTs, respectively, for most
of the cartel period.4 Defendants’ arguments are based on incomplete analyses of the case
evidence, incomplete and misleading summaries of my methods and reasoning, application of
their own variations to the model on subsets of the data, and attempts to measure impacts other
than that for which I developed the overcharge model. Case evidence supports cartel overcharges
throughout 1995-2007, including 1995 and 1996. Ms. Guerin-Calvert and Prof. Willig overlook
the documentary and testimonial evidence related to cartel conduct and effectiveness in 1995 and
1996. Case evidence also supports overcharges for large CPTs and for CPTs sold directly to
North America and Hitachi’s and Panasonic’s participation in the cartel. My overcharge model is
robust to small changes in the model, contrary to Defendants’ experts’ claim. Defendants’
experts ignore the sensitivity analyses I reported in my merits report.5 Defendants’ experts
propose a number of alternative measures of demand and supply. Adding these control variables
results in statistically and economically significant overcharges. In addition, the proxy variables
Defendants’ experts suggest do not explain materially more of CRT prices changes than the
variables I use. My model is based on an analysis of all the data available, while Defendants’
experts apply the model to small subsets of the data. It is no wonder that Defendants’ experts
results are variable and at odds with the facts.
Ms. Guerin-Calvert, Prof. Willig, and Dr. Wu purport to calculate profit margins in the but-for
world using my overcharge calculations. Their calculations use accounting margins, despite the
well-known fact that accounting margins are not reasonable proxies for economic margin and
require strong, unstated, implausible assumptions to conclude that the results of their calculations
are, as Ms. Guerin-Calvert claims, what “margins would have been in the `but-for’ world”.6
Because their margins do not measure what they purport to, they do not support the conclusions

4
    Netz Merits Errata.
5
    Netz Merits Report, Exhibit 65.
6
    Guerin-Calvert Opposition Report, at ¶133.
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of Defendants’ experts that the margins are evidence that the results of my overcharge model are
implausible. In fact, the results of my overcharge model are consistent with an accurate
consideration of the margin data.
Contrary to Prof. Ordover’s claims, my pass-through analysis is completely consistent with
economic theory and empirical studies. Economic theory establishes that pass-through of an
industry-wide cartel overcharge is positive. Economic theory and empirical studies also establish
that pass-through can be greater than, equal to, or less than 100%. Any characteristics that move
an industry farther from the textbook description of perfect competition push the pass-through
rate away from 100%, but whether it becomes smaller or larger depends on the demand for the
product. None of these characteristics preclude pass-through. Testimonial evidence cited by Prof.
Ordover and Prof. Rubinfeld are consistent with the economic predictions that price depends on
not only cost, but also other supply, demand, and competition properties. The testimony is not
useful in answering the question at issue – how does price change if cost increases, all else
equal. To answer that question, I conduct 63 statistical studies. The results are consistent: an
overcharge is completely passed on to end-users; that is, end users suffer at least the full extent
of the overcharge.
Finally, Prof. Ordover suggests that a portion of the volume of commerce I use in my calculation
of damages is legally unsupported under the Federal Trade and Antitrust Improvements Acts. I
leave that legal question to the court; my calculation of damages can be adjusted to remove or
add to the volume of commerce as requested by the court. At this point I stand by my calculation
of $2.8 billion as an economically reasonable lower bound of the harm done to class members.

V. Defendants’ conduct is consistent with an effective cartel
        A. Plaintiffs’ allegations about Defendants’ pattern of conduct is supported by the
        record
Plaintiffs’ lay out their allegations in the complaint.7 I summarized the allegations in my merits
report and then described the conduct in detail in my analysis of the effects of the cartel.8 Briefly,
the cartel implemented the conspiracy to increase price with a variety of conduct, including:
setting up a four-level hierarchy of multi-lateral meetings; met frequently; engaging in bilateral
meetings and communications; setting target prices; setting price differentials for different types
of CRTs; agreeing to reduce output or capacity below the competitive level; monitoring each
other’s prices, output, and capacity; fixing market shares; allocated customers; exchanging
sensitive information that is not normally shared with competitors.
Plaintiffs allege a single conspiracy to raise the prices of both CDTs and CPTs. The following
facts are consistent with a single conspiracy:
       •   The same Defendants manufactured both CDTs and CPTs and attempted to collusively
           raise the price of both types of CRTs.


7
 10 January 2013, Indirect Purchaser Plaintiffs' Fourth Consolidated Amended Complaint, In re: Cathode Ray Tube
(CRT) Antitrust Litigation (United States District Court Northern District of California San Francisco Division)
(Hereinafter “Complaint”).
8
    Netz Merits Report, at 2-4, 41-62, and Exhibits 1, 27, 28, 29, 39.
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       •   Many of the same employees are alleged to have been involved in efforts to collusively
           raise the price of both CDTs and CPTs.
       •   Defendants used similar methods in their attempt to raise the prices of both CDTs and
           CPTS.
       •   CDTs and CPTs are, to some degree, supply substitutes – manufacturing capacity can, in
           some cases, be converted from producing CDTs to CPTs and vice versa.
There are, however, differences between the markets for CDTs and CPTs. For one, they are not
demand substitutes and the demand conditions in the CDT and CPT markets differed. Economic
theory predicts that a profit-maximizing cartel would determine the prices of CDTs and CPTs
separately. This suggests that it’s possible that the impact of Defendants’ conduct on CDT prices
could have differed from the impact on CPT prices. Accordingly, I analyze the two separately
when assessing the impact of Defendants’ conduct and when estimating overcharges.
While I have assumed that plaintiffs will prove liability, I have examined evidence regarding the
operations of the cartel in order to evaluate the impact of the cartel. Some of this evidence has
been laid out in my class certification report, my class certification rebuttal, and my merits
report. Defendants’ experts have made a variety of claims in their opposition reports regarding
the supposed lack of evidence regarding the scope of the cartel and its conduct. I have engaged in
additional examination of the evidence to evaluate these claims and found that Defendants’
experts’ claims are unfounded.

                1. Target prices are useful for quantitative analysis of the cartel
Defendants’ experts often seem to indicate that the cartel consisted solely of setting target prices
for a subset of CRTs, or at least focus much of their attention to target price evidence. While the
target prices are the most easily quantifiable of the cartel’s activities and therefore lend
themselves to empirical analyses, they are only a subset of the conduct. In their depositions, Prof.
Willig, Dean Snyder and Prof. Rubinfeld acknowledged that I rely on more than target pricing.9
Target prices were not the only tool the cartel used to raise prices above the competitive level. As
explained in my previous report, Defendants also imposed output and capacity restrictions,
shared information and plans, allocated customers, and employed most-favored customer
clauses.10 Much of my quantitative analysis uses target prices. This is not because target prices
were the only, or even most effective, tool that Defendants employed in their efforts to raise
prices. I analyze target prices because they are more easily quantified than other types of
collusive conduct and thus can be used for statistical analysis.


9
    See,
       •   19 September 2014, Deposition of Robert Willig, Ph.D (Hereinafter “Deposition of Robert Willig, 19
           September 2014”), at 150:25-151:12.
       •   11 September 2014, Deposition of Edward Snyder, Ph.D (Hereinafter “Deposition of Edward Snyder, 11
           September 2014”), at 232:24-235:8.
       •   08 September 2014, Videotaped Deposition of Daniel L. Rubinfeld, Ph.D (Hereinafter “Deposition of
           Daniel Rubinfeld, 08 September 2014”), at 103:18-23.
10
     Netz Merits Report, at Section VIII.A.3.
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The fact that I have not found more target prices is not evidence that Defendants set price
competitively or that there were time periods when or CRTs on which the Defendants were not
imposing an overcharge. Defendants had strong incentives to hide their collusive activity from
their customers and law enforcement.11 Defendants likely did not document all target prices or
the documentation may have been destroyed. In addition, several of the firms that participated in
the cartel are no longer in existence. In some cases documents may have been passed to a
successor, but not always. For these reasons, it is not surprising that I have identified relatively
few price targets for 1995 and 1996.
One must also keep in mind that price-fixing is illegal, many Defendants were aware of this, and
made efforts to conceal the collusion. Economists have noted this issue with respect to scholarly
analyses.12 As such, there is no reason to expect that the evidence that has been uncovered is
complete. Finally, millions of pages of documents have been produced, many or even most in
languages other than English and many as handwritten notes, and identifying all meeting notes
that resulted in an agreement to fix price is necessarily incomplete.
Defendants’ experts agree that I did not identify all target prices set by Defendants.13

11
     See, e.g.,
       •    Netz Merits Report Section VIII.A.4.a.
       •    17 September 2014, Deposition of Margaret Guerin-Calvert (Hereinafter “Deposition of Margaret Guerin-
            Calvert, 17 September 2014”), at 160:17-161:7.
       •    Deposition of Robert Willig, 19 September 2014, at 35:20-36:5.
12
     See, e.g.,
       •    “Of course, these estimates of cartel duration must be treated with caution, as they are not based on random
            samples. To the contrary, because cartels are often secretive and even illegal, sample selection reflects the
            legal regime in which the cartels operated. In some cases, samples are literally selected by prosecutors; in
            such cases we simply do not know whether cartels that run afoul of legal authorities are similar to or
            different from cartels that manage to escape unnoticed.” Levenstein, Margaret C. and Valerie Y. Suslow,
            2006, What Determines Cartel Success?, Journal of Economic Literature, Vol. XLIV, 43-95, at p. 44.
       •    “A number of problems related to any [cartel] data set like this have to be mentioned. This data set includes
            overcharges associated with cartels that: (a) have revealed themselves or have been uncovered; (b)
            information on which has been published; and (c) cases that have been selected by the author to be included
            in his data set. Therefore, the data set does not include overcharges of: (a) cartels that have never revealed
            themselves; (b) cartels that have become known but their information has never become publicly available;
            and (c) cartels that have not been selected by the author. We are not aware of the exact number of
            uncovered cartels. There are estimates suggesting that only 13–17 percent of illegal cartels are caught.
            Consequently, approximately 80 percent of such cartels are not known.” Bolotova, Yuliya, Connor, John
            M., et al., 28 August 2008, Factors Influencing the Magnitude of Cartel Overcharges: An Empirical
            Analysis of the U.S. Market, Journal of Competition Law & Economics, 5(2) 361 – 381, at pp. 366 – 367.
13
     See, e.g.,
       •    Deposition of Edward Snyder, 11 September 2014, at 197:9 - 197:13.
       •    15 September 2014, Deposition of Darrell Williams, Ph.D (Hereinafter “Deposition of Darrell Williams, 15
            September 2014”), at 24:17 - 24:25, 46:9 - 46:24, and 263:12 - 263:15.
       •    Deposition of Margaret Guerin-Calvert, 17 September 2014, at 162:5 - 163:5.
       •    Deposition of Robert Willig, 19 September 2014, at 162:7 - 163:14.
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                2. Target prices apply to many CRTs sold
There is considerable evidence that all Defendants engaged in collusive behavior,14 that the cartel
sought to raise prices for all types of CPTs and CDTs,15 that this collusive behavior started in
1995 and only ended in 2007,16 and that the collusive behavior took place in North America as
well as Asia.17 It does not make sense for the cartel to raise the price of some CPTs or CDTs but
not others.18 Defendants’ expert have not provided any explanation as to why they think
Defendants would attempt to raise the price of some CRTs while pricing other CRTs
competitively; in fact, Defendants’ experts discussion of this possibility shows why the cartel
would increase the price of all CRTs; see Section V.D.
Consistent with this evidence that Defendants’ collusion was long-lived and applied to
substantially all CRTs, I have identified target prices that matched 39.0% of sales of CDTs and
29.7% of CPTs.19 This is equivalent to $13.2 billion of CDT sales and $8.8 billion of CPT
sales.20
Several of Defendants’ experts claim that there are few target prices matched with certain types
of sales. For example, they cite low coverage for sales by a particular Defendant, for sales of
certain types or sizes of CRTs, for sales during a particular time period or for sales to customers
in North America.21 As I explained in Section IV, Defendants did not rely solely on target prices
in their effort to raise prices.



14
  Evidence is cited generally throughout my class certification, class rebuttal, and merits reports. In particular, see
Netz Merits Exhibit 27; Target price-structure.xlsx in my backup materials; and Exhibits RR-85-RR-88. All exhibits
for Netz Merit Rebuttal begin with the prefix RR. Updated exhibits from Netz Merit Report retain the same exhibit
number as the old report. New exhibits are numbered sequentially starting from the last exhibit number in the Netz
Merits Report. Therefore, exhibit numbers in this report may not be in sequential order. RR-62, RR-63, RR-71, RR-
73, RR-75, and RR-76 were updated from Netz Merits Report. RR-85 through RR-99 are new exhibits.
15
     See, e.g.,
       •    Section IV.
       •    Section V.D.
       •    Netz Merits Report, at Section VIII.A.4.b.
16
     See, e.g.,
       •    Section IV.
       •    Netz Merits Report, at Sections VIII.A.3.a and XI.B.
17
     See Section VI.A.5.
18
     See,
       •    Section V.D.
       •    Netz Merits Report, at Section VIII.A.4.b
19
     Netz Merits Report, at Section VIII.A.4.a.
20
     See combine_target_defendant_revenues.log in my Backup files.
21
     See, e.g.,
       •    Williams Opposition Report, at ¶¶47-54, 108-114, and 144-145.
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Because target prices were not the only tool Defendants used to increase prices, there may be
some CRTs for which there exist no target prices because Defendants sought to increase their
prices using other tools (e.g., line shutdowns). And in Section V.D.1 I explain that the cartel did
not need to set target prices for all products because the prices of CDTs and CPTs are tightly
related to their product characteristics (e.g., size and finish) via a price structure.
For these reasons, there are almost certainly target prices that I have not seen and my analysis of
target price “coverage” likely understates the true amount of Defendants’ sales that were covered
by target prices.

               3. Target price matching methodology
Prof. Willig and Ms. Guerin-Calvert claim that my method of matching target prices with the
prices in Defendant sales data overstates the true level of target price coverage and propose three
changes to my calculations. All of these changes are misguided, although only one of them
makes a meaningful change in share of Defendants’ sales that are covered by target prices.
Defendants’ experts assumed that a target price is only effective during the month in which it
was to take effect. I treated a target price as effective for the entire calendar quarter because
target prices were generally determined quarterly and the terms of actual sale prices were
typically negotiated quarterly. The only adjustment made by Prof. Willig and Ms. Guerin-Calvert
that has a substantial impact on the calculation of target price coverage is their choice to match
target prices with actual prices on a monthly—rather than quarterly—basis.22
Defendant documents and testimony indicate that CRT prices, both actual and target, were often
set on a quarterly basis. Almost 70 meeting notes documents ranging from September 1996 to
September 2006 contain quarterly target prices; see Exhibit RR-89. Cartel discussions also
support the presumption of quarterly pricing.23 Furthermore, several deponents have testified that


       •    05 August 2014, Opposition Expert Report of Lawrence Wu, In re: Cathode Ray Tube (CRT) Antitrust
            Litigation (United States District Court Northern District of California San Francisco Division)
            (Hereinafter “Wu Opposition Report”), at ¶¶83-84.
       •    Willig Opposition Report, at ¶¶32-34, and 96.
       •    Guerin-Calvert Opposition Report, at ¶¶66-69.
22
  Adjusting only the timing of matching (quarterly vs. monthly) decreases coverage from 39.0% to 19.0% for CDTs
and from 29.7% to 19.7% for CPTs. Maintaining quarterly matching but making the other adjustments proposed by
Defendants’ experts decreases coverage from 39.0% to 34.8% for CDTs and from 29.7% to 26.3% for CPTs. See
combine_target_defendant_timing.log and combine_target_defendant_shape_participants.log in my Backup files.
23
     See, e.g.,
       •    “It was also agreed that at the next meeting to review the prices for each quarter of Year 2000.” Chunghwa
            Picture Tubes, LTD, 21 September 1999, Visitation Report, CHU00029175 - CHU00029178, at 9178.01E.
       •    “It appears that the price of glass went up 3-4%, and it looks like all companies are asking for price
            increases on CPT every three months.” Watanabe, Genichi, 30 March 2000, E-mail, Subject: Other
            company CDT status - Internal use only, HDP-CRT00025985, at 5985.
       •    “It is very important to set the price for the next three months to stabilize the market and inventory.” 11
            May 2001, Report of Color CRT Industry Meeting, SDCRT-0087694 - SDCRT-0087698, at 2.
       •    “(1) Prices to be established quarterly [bullet] Only one offer for each quarter (qty + price) [bullet] No spot
            deal or special price [break] (2) Prices agreed (for each quarter) at least one month before through matrix
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their companies negotiated CRT prices with customers on a quarterly basis.24 Testimony from at
least one finished goods producer likewise supports this.25
Prof. Willig and Ms. Guerin-Calvert also reject my practice of applying certain target prices to
all Defendants even if they weren’t at that particular price-fixing meeting.26 This adjustment has


            system -> qty/customer/type”. Samsung SDI, 21 November 2003, Schiphol Meeting, SDCRT-0088635 -
            SDCRT-00886660, at 8640.
       •    “14" price increase is continuing (the price increase amount is decided every three months at the meeting).”
            MT Picture Display, 18 June 2004, ASEAN MTG (Small and Mid-Sized Units), MTPD-0493552 - MTPD-
            0493554, at 3552.
24
     See, e.g.,
       •    Panasonic/MTPD: “[Sales were] mainly for existing customers. Normally, we would receive the price
            request from a customer, and the prices -- price was determined, more or less, every three months or on a
            quarterly basis. Before the one quarter, about one to two months prior to that, the -- there was a price
            negotiation. When the -- the agreement was reached about the price, then we would get the purchase order
            from the customer.” 17 July 2012, Deposition of Panasonic Corporation, Panasonic North America and
            MTPD 30(b)(6) Witness Hirokazu Nishiyama, Volume I (Hereinafter “Panasonic 30(b)(6) Deposition of
            Hirokazu Nishiyama, Vol. I, 17 July 2012”), at 65:24 - 66:6.
       •    LPD: “The -- the process was that each of the markets, each of the regions were doing their own
            conversations with -- with their customers, their own base of quarterly contracts, etc.” 18 December 2013,
            Deposition of Wiebo Jan Vaartjes, Volume I (Hereinafter “Deposition of Wiebo Jan Vaartjes, 18 December
            2013”) at 114:25 - 115:4.
       •    Samsung: “And thirdly, based on the quarterly pricing -- most people are, based on their experience,
            they’re aware of what their pricing should be for that quarter. They just know it intuitively because of their
            experience. So if the price is like five percent lower than the pricing for that quarter, then the employee
            would know that it’s too excessive. In that case, the employee would turn to the headquarters and have a
            discussion.” 07 June 2012, Deposition of Samsung SDI 30(b)(6) Witness Jaein Lee, Volume II (Hereinafter
            “Samsung SDI 30(b)(6) Deposition of Jaein Lee, Vol. II, 07 June 2012”) at 188:24 - 189:8.
       •    LG: “So at the time the internal transaction prices for CRT from the CRT business unit to the set business
            unit were supposed to be adjusted quarterly. Either they were changed or they were extended. And that
            prices were set at the 95 percent of the average prices charged to the products sold outside of LG, which is
            not the internal prices which were charged in the previous quarter.” 09 July 2012, Deposition of LG
            Electronics 30(b)(6) Witness Mok Hyeon Seong (Hereinafter “LG 30(b)(6) Deposition of Mok Hyeon
            Seong, 09 July 2012”), at 77:19 - 78:2.
       •    Toshiba: “Q. And how often would you meet with the team at Compaq? A. Quarterly. Q. In Houston? A. In
            Houston, for the most part. Q. And talk about the same things, pricing of Toshiba tubes and trying to get
            them to use Toshiba tubes in their monitors? A. Yes.” 28 January 2014, Deposition of Daniel Patrick Ryan,
            Volume I (Hereinafter “Deposition of Daniel Ryan, Vol. I, 28 January 2014”), at 70:16 - 70:24.




25
  “Q. How frequently did you negotiate prices with LGE’s CRT suppliers? A. Basically it was once per quarter.” 16
January 2014, Deposition of Duk Chul Ryu, Volume II (Hereinafter “Deposition of Duk Chul Ryu, 16 January
2014”), at 237:24 - 238:1.
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a very minor effect on the target price coverage results.27 However, there is substantial evidence
that decisions made at cartel meetings were communicated to CRT manufacturers that did not
attend those meetings, making it entirely appropriate to apply target prices across all Defendants
for the purpose of my coverage analyses. Defendant testimony is clear that Defendants relied on
a network of communication between meeting attendees and non-attendees.28 The meetings notes
are similarly full of references to this interconnectedness. See Exhibit RR-90.


26
  If two or more manufacturers agreed to the same price for the same customer and the same CRT characteristics
without a conflicting target price from any other manufacturer, then I applied that target price to all manufacturers.
27
  Coverage decreases from 39.0% to 35.3% for CDTs and 29.7% to 28.2% for CPTs. See
combine_target_defendant_participants.log in my Backup files.
28
     See, e.g.,
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Defendant sales data sometimes (but not always) include information on the shape of the tube
being sold. Likewise, meeting notes sometimes (but not always) include information on the
shape of the tube for which a target price is set.
As I explained in my Merits Report,29 I do not incorporate shape when matching target prices
with sales data because most of the data fail to identify tube shape. Defendants’ experts attempt
to use the limited information available on tube shape when matching target and actual prices,
although their methods for doing so vary. The negligible effect that the inclusion of a shape
variable has on coverage indicates that my approach was appropriate.30

                4. Defendants’ experts’ claims of limited evidence of collusion are
                contradicted by the evidence
Defendants’ experts assert a paucity of data for some particular slice of the cartel such as the
early years or for a particular Defendant or subset of CRTs. Their assertions are contradicted by
the evidence.




Jae In Lee, who held various marketing positions for CRTs for Samsung:
       •   “Q. Okay. And you have a recollection that on occasion you met with individual competitors outside the
           context of the glass meetings, or the GSM meetings; correct? A. That is my recollection. Q. All right. And
           that occurred periodically between 1998 and 2004; correct? [objections omitted] THE WITNESS: I don’t
           believe they occurred periodically, but I believe we contacted each other, if necessary, and had meetings.
           BY MR. SHAPIRO: Q. Okay. And you had meetings with representatives from Toshiba, didn’t you?
           [objection omitted] THE WITNESS: I don’t have an exact recollection as to when and how I got to meet
           with them, but I do recall as to meeting with them.” 24 July 2013, Deposition of Jae In Lee, Volume I
           (Hereinafter, “Deposition of Jae In Lee, Vol. I, 24 July 2013”), at 48:22 – 49:16.
       •   “Q. Do you recall that your company, from time to time when you attended glass meetings, was requested
           to contact a Japanese CDT manufacturer to fill them in on what was discussed at glass meetings? ... THE
           WITNESS: What I’m saying is that I have heard a discussion as to let us let the Japanese manufacturers
           know of these facts.” Deposition of Jae In Lee, Vol. I, 24 July 2013, at 82:23 - 83:19.
       •   “[Q.] What I’m asking you is: Do you have a general recollection of during the time period that you
           attended glass meetings, that Samsung was assigned a particular Japanese CDT manufacturer or particular
           Japanese CDT manufacturers to go talk to and let them know what was discussed and agreed to at the glass
           meeting? [objections omitted] THE WITNESS: As I said before, there were that kind of discussions.”
           Deposition of Jae In Lee, Vol. I, 24 July 2013, at 127:23 - 128:9.
29
     Netz Merits Report, at footnote 203.
30
  Adding a shape variable reduces CDT coverage from 39.0% to 38.5% and CPT coverage from 29.7% to 27.7%.
See combine_target_defendant_shape.log in my Backup files.
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Ms. Guerin-Calvert inaccurately claims that plaintiffs allege that there was greater collusive
activity during 1997-2006 than in 1995-1996.31 Prof. Willig notes that there were no target prices
for CPTs in 1995-1996 and the earliest agreement to limit CPT production or capacity was
September 1998.32 In addition to the evidence cited in my merits report, I have documented
additional evidence regarding collusive activity in 1995-1996 in Exhibit RR-85.
Dr. Williams asserted that Panasonic did not participate in multi-party meetings and that I
identified only a handful of other meetings.33 Dr. Williams ignores the fact that there are many
other ways Panasonic participated in the cartel. I cited to some of that evidence in my merits
report and I have documented additional evidence as well in Exhibit RR-86.
Dean Snyder claims that I have not identified much evidence of cartel behavior for Toshiba.34 I
cited to some of that evidence in my merits report and I have documented additional evidence as
well in Exhibit RR-87.
Prof. Willig says that target prices were less common for larger CPTs.35 Again, target prices
were not the only collusive conduct in which the cartel engaged. I cited to some of that evidence
in my merits report and I have documented additional evidence as well, see Exhibit RR-91.
Dr. Wu claims that I have not identified much evidence of cartel behavior with respect to KPNV,
the holding company for Philips. In addition to the evidence cited in my merits report, I have
documented additional evidence as well.36



31
     Guerin-Calvert Opposition Report, at 5.
32
     Willig Opposition Report, ¶75.
33
     Williams Opposition Report, ¶45, ¶56, and Exhibits 8A.
34
  Snyder, Edward A., 05 August 2014, Expert Report of Edward A. Snyder, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco Division)
(Hereinafter “Snyder Opposition Report”), ¶¶142-159; Deposition of Edward Snyder, 11 September 2014, at 69:8 -
69:16.
35
     Willig Opposition Report, footnote 44.
36
     See, e.g.,
       •   David Chang, who participated in early cartel meetings and even came up with the 3-level meeting
           structure, was a Philips representative on LPD’s Supervisory Board. For role in conspiracy meetings, see
           19 February 2013, Deposition of Chih Chun-Liu, Volume I, at 48:4 - 48:12, 366:18 - 367:12. For role as
           member of the Supervisory Board (SVB), see LG Philips Displays, 04 July 2003, Information on Legal
           Entities of LG.Philips Displays, LPD-NL00202015 - LPD-NL00202022, at 2015.
       •   LPD employees had meetings with Matsushita and Toshiba and discussed the CRT, LCD, and PDP
           business. This information was forwarded to a Philips employee. Leborgne, Guy, 17 June 2002, Email:
           Competitors info, PHLP-CRT-052964 - PHLP-CRT-052965, at 2964.
       •   From an internal Philips e-mail written by an LPD Supervisory Board member: “During the shareholders
           meeting Andreas Wente showed the strategic outlook for LPD, and we asked him and his team to become
           more aggressive in sales, pushing out competitors (who must be bleeding even more than we are).
           However, most small competitors have been visited and did not show interest to close their factories earlier
           than ours (except Thomson USA, which will close at least 2 lines).” Spaargaren, Frans, 15 July 2003,
           Email: Brief update on LG.Philips board meetings and shareholder meetings, PHLP-CRT-053164 - PHLP-
           CRT-053165, at 3164.
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Finally, Dr. Howell mischaracterizes my evaluation of the cartel’s impact on Defendants’ prices;
she assumes that my evaluation of impact relies solely on the estimate of classwide damages.37 In
fact, I concluded my evaluation of impact before I estimated damages.38 I cited to a variety of
evidence specifically involving Hitachi in my merits report; I have documented additional
evidence in Exhibit RR-88.

        B. Defendants would not have continued to participate in the cartel unless the
        benefits outweighed the costs
In my previous report, I explained that Defendants’ participation in the cartel was costly and
carried significant legal risk in the form of fines and jail time for those involved.39 Defendants’
conduct made no sense unless the cartel was able to raise prices far enough above the
competitive level to offset these costs.
Prof. Willig agrees that it would be irrational to engage in the alleged conduct unless the
expected benefits outweighed the expected costs.40 Nevertheless, he suggests that the benefits of
cartel participation could outweigh the costs even if the cartel only achieved “sporadic,
temporary, small increases in some CPT prices above but-for levels”.41 Prof. Willig does not
assess the magnitude of the costs of cartel participation and thus has no basis for concluding that
sporadic, temporary, small increases in some CPT prices would sufficiently outweigh the costs
of cartel participation.
To date, cartel members have been fined at least $2.04 billion in fines to four governments42 and
$114 million to settle civil claims.43 In addition, six executives have been indicted on anti-

       •    From a Philips purchasing e-mail: “As you know there is a glass meeting for CDT suppliers and they have
            agreement to well manage CDT price especially for major 17" CDT even reduce thier [sic] production
            capacity.” De Lombaerde, Jan, 08 October 2004, Re: RoFo Savings for AOP 2005, PHLP-CRT-149827 -
            PHLP-CRT-149830, at 9828.
       •    “Parents companies want LPD to suggest competitive strategy with benchmarking data of major
            competitors until next SVB [Supervisory Board] Meeting, which will fall on 11th July.” Major competitors
            are SDI, Thomson, MTPD, and regional competitors. Information requested about competitors includes
            restructuring information, operational information, purchasing information, and financial information. The
            requested information seems detailed enough to require non-public sources. Albertazzi, Felice, 17 June
            2005, Email: Fw: Request to Submit Competitors information for SVB meeting at Jul, PHLP-CRT-029020
            - PHLP-CRT-029021, at 9021.
37
     Netz Merits Report, at 26-81.
38
  See Netz, Janet S., 01 October 2012, Declaration of Janet S. Netz, Ph.D., In Support of Motion of Indirect-
Purchaser Plaintiffs For Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States
District Court Northern District of California San Francisco Division) (Hereinafter “Netz Class Cert Report”), at 65-
72.
39
     Netz Merits Report, at Section VIII.A.1.c.
40
     Willig Opposition Report, at ¶58.
41
     Willig Opposition Report, at ¶58.
42
     See, e.g.,
       •    The European Union fined six CRT producers a total of $1.92 billion. Chee, Foo Yun, 05 December 2012,
            EU imposes record $1.9 billion cartel fine on Philips, five others, Reuters,
            http://www.reuters.com/article/2012/12/05/us-eu-cartel-crt-idUSBRE8B40EK20121205, accessed 25
            September 2014.
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competitive charges. 44 Depending on the outcome of the present litigation, Defendants could pay
billions of dollars in civil damages.45 These costs are on top of the resources, time, and effort
Defendants expended to actually participate in the cartel.



       •    The United States Department of Justice fined Samsung SDI $32 million. 18 March 2011, Samsung SDI
            Agrees to Plead Guilty in Color Display Tube Price-Fixing Conspiracy, U.S. Department of Justice,
            http://www.justice.gov/atr/public/press_releases/2011/268592.htm, accessed 25 September 2014.
       •    Japan fined CRT producers a total of $37.4 million. Tejada, Carlos, 08 October 2009, Japan Fines
            Panasonic for Price Fixing, The Wall Street Journal,
            http://online.wsj.com/articles/SB10001424052748703298004574458873658696910, accessed 25
            September 2014.
       •    South Korea’s antitrust agency fined four CRT producers a total of $47.5 million. 11 December 2011,
            Watchdog fines 4 CRT glass makers for price fixing, Yonhap News Agency,
            http://english.yonhapnews.co.kr/techscience/2011/12/11/99/0601000000AEN20111211002300320F.HTM
            L, accessed 25 September 2014.
43
     A number of CRT manufacturers settled with direct purchasers of their products
       •    Toshiba paid a $13.5 million settlement to direct purchasers. McAfee, David, 15 February 2013, Toshiba
            Reaches $14M Deal In Cathode Ray Price-Fixing MDL, Law360,
            http://www.law360.com/articles/416330/toshiba-reaches-14m-deal-in-cathode-ray-price-fixing-mdl,
            accessed 25 September 2014.
       •    Hitachi paid a $13.4 million settlement to direct purchasers. Prochilo, Dan, 09 December 2013, Hitachi
            Reaches $13.4M Deal in Cathode Ray Price-Fixing MDL, Law360,
            http://www.law360.com/articles/494176/hitachi-reaches-13-4m-deal-in-cathode-ray-price-fixing-mdl,
            accessed 25 September 2014.
       •    Panasonic paid a $17.5 million settlement to direct purchasers. Sundar, Sindhu, 06 July 2012, Panasonic To
            Pay $17.5M To Settle Ray Antitrust MDL, Law360,
            http://www.cpmlegal.com/media/news/88_Panasonic%20To%20Pay%20_17.5M%20To%20Settle%20Cat
            hode%20Ray%20Antitrust%20MDL%20_7-6-12_.pdf, accessed 25 September 2014.
       •    Philips paid a $27 million settlement to direct purchasers, while Chunghwa paid $10 million. Gold, Django,
            27 March 2012, Philips, Chunghwa Pay $37M To End CRT Price-Fixing Claims, Law360,
            http://www.law360.com/articles/323848/philips-chunghwa-pay-37m-to-end-crt-price-fixing-claims,
            accessed 25 September 2014.
       •    Samsung paid a $33 million settlement to direct purchasers. Bucher, Anne, 12 March 2014, Samsung
            Agrees to $33M CRT Price-Fixing Class Action Settlement, Top Class Actions,
            http://topclassactions.com/lawsuit-settlements/lawsuit-news/19945-samsung-agrees-33m-crt-price-fixing-
            settlement/, accessed 25 September 2014.
44
     See, e.g.,
       •    C.Y. Lin was indicted in February of 2009. 10 February 2009, Indictment of Chen Yuan Lin, United States
            of American v. Cheng Yuan Lin, a.k.a. C.Y. Lin (United States District Court Northern District of
            California San Francisco Division).
       •    Seung-Kyu Lee, Yeong-Ug Yang, and Jae-Sik Kim were indicted in November 2010. 09 November 2010,
            Indictment of Seung-Kyu Lee, et al., United States of American v. Seung-Kyu Lee, et al. (United States
            District Court Northern District of California San Francisco Division).
       •    Wen Jun Cheng was indicted in August 2009. 18 August 2009, Indictment of Wen Jun Cheng, a.k.a. Tony
            Cheng, United States of American v. Wen Jun Cheng (United States District Court Northern District of
            California San Francisco Division).
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These costs, while large, are not atypical. The recent LCD cartel (which involved several of the
CRT Defendants) paid $2.5 billion in fines to antitrust authorities (including $1.4 billion in fines
in the U.S.) and at least $1.9 billion in payments to private claimants.46
The magnitude of these costs indicates that the benefit from cartel participation must have been
commensurately large. It would have been irrational for Defendants to continue to participate in
the cartel if they only achieved sporadic, temporary, small increases in some CPT prices.



       •   Chung Cheng Yeh was indicted in March of 2010. 30 March 2010, Indictment of Chung Cheng Yeh,
           United States of American v. Chung Cheng Yeh (United States District Court Northern District of
           California San Francisco Division).
45
     Netz Merits Report Section IX.
46
     In the United States, eight producers of LCD screens were fined a total of $1.4 billion.
       •   Gullo, Karen, 18 December 2012, AUO Executive Found Guilty in LCD Price-Fixing Case, Bloomberg,
           http://www.bloomberg.com/news/2012-12-18/auo-executive-found-guilty-by-jury-in-lcd-price-fixing-case-
           1-.html, accessed 25 September 2014.
Outside of the United States, producers of LCD screens were fined a sum of $1.1 billion by competition agencies.
       •   The European Union fined six LCD producers a total of $861 million. Henson, Carolyn, 09 December
           2010, LCD firms fined for alleged price fixing, The Wall Street Journal,
           http://online.wsj.com/articles/SB40001424052748703493504576007361215813164, accessed 25
           September 2014.
       •   South Korea fined six LCD producers a total of $175.7 million. Lee, Jung-Ah, 31 October 2011, Seoul
           Fines Six LCD Manufacturers in Price-Fixing Case, The Wall Street Journal,
           http://online.wsj.com/news/articles/SB10001424052970204528204577007682854719686, accessed 25
           September 2014.
       •   China fined six LCD producers a total of $56.6 million. Qi, Liyan, 04 January 2013, China Fines Makers of
           LCD Screens, The Wall Street Journal,
           http://online.wsj.com/news/articles/SB10001424127887323374504578220862089391652, accessed 25 July
           2013.
       •   Japan fined Sharp $3 million for its anti-competitive acts. Bettex, Morgan, 18 December 2008, Japan Fines
           Sharp $3M In LCD Price-Fixing Scheme, Law360, http://www.law360.com/articles/80800/japan-fines-
           sharp-3m-in-lcd-price-fixing-scheme, accessed 25 July 2013.
Private claimants have been paid a total of $1.9 billion by LCD producers
       •   Indirect purchasers reached a settlement for $1.1 billion. Boyette, Chris, 16 July 2012, What the $1.1
           billion LCD price-fixing settlement means for you, CNN Money,
           http://money.cnn.com/2012/07/16/technology/lcd-class-action-settlement/, accessed 25 September 2014.
       •   Direct purchasers were awarded $479 million in damages. James, Ben, 11 September 2012, Toshiba To Pay
           Direct LCD Buyers $30M In Price-Fixing MDL, Law360,
           http://www.law360.com/articles/377122/toshiba-to-pay-direct-lcd-buyers-30m-in-price-fixing-mdl,
           accessed 08 April 2014.
       •   Payments to individual plaintiffs sum to a minimum of $349 million, as most settlement values have not
           been disclosed. Scott Flaherty, Motorola Settles LCD Price-Fixing Suit Against Philips, Law360 (October
           9, 2012), http://www.law360.com/articles/384964/motorola-settles-lcd-price-fixing-suit-against-philips and
           Jonathan Randles, Dell Drops LCD Price-Fixing Claims Against AUO To Exit MDL, Law360 (January 18,
           2013), http://www.law360.com/articles/408520/dell-drops-lcd-price-fixing-claims-against-auo-to-exit-mdl,
           accessed 25 July 2013.
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       C. CRT industry characteristics do not prevent an effective cartel
Several Defendants’ experts describe a variety of CRT industry characteristics that they assert
make forming and operating an effective cartel “more difficult”,47 “less likely”,48 “highly
compromised”,49 or “[tend] to destabilize” and “undermine”50 price- and output-fixing
agreements.51 A couple of Defendants’ experts also agree that there are some CRT industry
characteristics that facilitate a cartel.52
Dean Snyder justifies the discussion of CRT industry characteristics as “an essential starting
point” to determining whether a cartel “would have relatively more or less difficulty” in
operating effectively.53 The problem with the discussions proffered by Defendants’ experts is
that whether the cartel had “more or less difficulty” in operating is beside the point. The relevant
questions are whether a cartel existed, whether the cartel was able to increase price above the
competitive level, and if it could, to quantify the overcharge.
Evidence, including a guilty plea from Samsung SDI, investigations by various competition
agencies including the Department of Justice, the European Commission, the Korean Fair Trade
Commission, and the Japanese Fair Trade Commission,54 documents created in the course of
operating the cartel,55 and testimonial evidence,56 clearly indicate that a cartel did exist. In my

47
     Guerin-Calvert Opposition Report, at 3.
48
     Guerin-Calvert Opposition Report, at 3; Willig Opposition Report, at 7.
49
     Rubinfeld Opposition Report, at 15.
50
     Snyder Opposition Report, at 25.
51
 Rubinfeld Opposition Report, at 5. In his deposition, Prof. Rubinfeld stated that he did not have an opinion as to
whether “there was an effective cartel at all.” Deposition of Daniel Rubinfeld, 08 September 2014, at 35:8-10.
52
     Willig Opposition Report, at 15 and Deposition of Edward Snyder, 11 September 2014, at 123:3-10 and 124:6-21.
53
     Snyder Opposition Report, at ¶12.
54
     Netz Merits Report, at Section III.
55
  See, e.g., the cartel meeting notes referenced generally throughout Netz Merits Report as well as Exhibits 1, 27,
28, 29, and 39 in Netz Merits Report.
56
     See, e.g.,
       •




       •    W.R. Kim, CPT sales manager for Samsung America, testified: “Q. During your tenure at Samsung SDI
            America, you were provided copies of glass meeting reports, correct? [objection omitted] THE WITNESS:
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class certification report, class certification rebuttal, and merits report, I examined the industry
characteristics that are necessary for the cartel to raise price above the competitive level.57 In
addition I described and evaluated the various practices used by the cartel, including an empirical
investigation into the direct effect of one of the cartel’s tactics on actual prices. In my merits
report I go on to empirically estimate the extent to which the cartel was able to raise price above
the competitive level.58
As Prof. Willig puts it, “Although the CPT industry is characterized by features that likely
undermine any effectiveness of the alleged cartel, it is also true that the CPT industry is
characterized by other factors that economists have identified as facilitating collusion (for
example, high entry barriers due to substantial sunk costs of setting up CPT plants). Thus,
whether or not the CPT cartel alleged by the IPP class was consistently effective in elevating the
prices of all (or most) products to all or most customers during the nearly 13-year class period is
ultimately an empirical question that needs to be resolved by examining the evidence on
record.”59

                    1. The CRT industry has the characteristics that are necessary for a cartel
                    to raise price above the competitive level




           Yes, I did. BY MR. GRALEWSKI: Q. Okay. So, during your tenure at Samsung SDI America, you were
           aware that CRT makers were meeting and agreeing on price, correct? [objections omitted] THE
           WITNESS: Yes.” 02 July 2014, Videotaped Deposition of W.R. Kim, Volume II (Hereinafter “Deposition
           of W.R. Kim, Vol. II, 05 July 2014”), at 249:24 - 251:16.
       •   Kyu In Choi, LPD America sales account manager, testified that he attended meetings with competitors to
           reach agreements on CPT pricing to specific customers. “Q. Did the meetings you attended, were these
           meetings with LG’s competitors in the CPT markets? [objection omitted] THE WITNESS: While I work
           for the CPT sales team, I attend the meeting with -- I attend the meeting with the CPT competitor. […] Q.
           So were prices to specific customers discussed at the meetings? A. Yes. Yes, ma’am. Q. Okay. And was
           there an agreement reached among the competitors for particular prices for particular customers? A. Yes.”
           25 August 2014, Videotaped Deposition of Kyu In Quin Choi, Volume I (Hereinafter “Deposition of Kyu
           In Quin Choi, Vol. I, 25 August 2014”), at 74:7 - 76:20.
       •   Jim Smith, LPD regional manager, testified: “Q. And what were the proposals, what types of proposals
           were they seeking approval from the senior people? A. They would try to hold prices at this kind of level
           on each product type. […] Q. There was agreement? A. There was agreement. Q. And you said that one
           of the topics would be setting prices at certain levels, correct? [objection omitted] A. It would be a
           conclusion. The regional managers would in this consolidated document be informing the senior
           management of what the price levels would be and in the absence of objection from the senior managers
           that was taken as approval. MR. WILLIAMS: When you’re talking about what the price levels would be,
           you mean future prices? A. Future prices.” 12 December 2013, Deposition of Jim Smith, Volume I
           (Hereinafter “Deposition of Jim Smith, Vol. I, 12 December 2013”), at 59:20 - 60:21.
57
  Netz Class Certification Report at Section V, Netz Class Certification Rebuttal at Section VII.B., and Netz Merits
Report, at Appendix 1.
58
     Netz Merits Report, at Section IX.
59
  Willig Opposition Report, at 15. Dean Snyder agrees; “It’s a necessary starting point. It doesn’t give you a final
answer.” Deposition of Edward Snyder, 11 September 2014, at 15:15-16.
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I described and evaluated in my merits report the industry characteristics that are necessary for a
cartel to be able to increase price above the competitive level – the existence of barriers to entry
and the absence of close substitutes.60
If there are no barriers to entry at all, a cartel will not be able to increase price above the
competitive level. The instant that they did so, entry would occur and price would be competed
back down to the competitive level. Defendants’ experts either agree explicitly that barriers to
entry exist or ignore the topic.61
The existence of products not covered by the cartel can prevent a cartel from raising price above
the competitive level if such products are sufficiently good substitutes for the products covered
by the cartel. The logical products to consider for this case are alternative display technologies –
LCDs and plasma. While these display technologies are not substitutes in production (that is, a
CRT TV manufacturer cannot simply switch the CRT tube for an LCD panel), they are
substitutions in consumption (that is, a consumer can easily switch from a CRT TV to an LCD
TV). I evaluated the strength of substitution from these technologies in my merits report.62 I
considered both how an overcharge on CRTs would affect the relative price of CRT products and
LCD products and how many customers would need to buy LCD products rather than CRT
products to make the imposition of an overcharge on CRTs unprofitable. Based on those
analyses, I concluded that substitution over the damages period was not sufficient to prevent the
cartel from increasing price above the competitive level.
Prof. Willig and Ms. Guerin-Calvert claim that my analysis of alternative display technologies
consists of nothing more than observing that LCDs were more expensive than CRTs, then
concluding that CRTs and LCDs couldn’t be economic substitutes.63 This is a gross
oversimplification and ignores the primary thrust of my argument:
       •   The CRT overcharge did little to change the relative price of LCD and CRT products.64
       •   An implausibly large number of consumers would need to switch from CRT to LCD
           products in order for LCDs to eliminate the ability of a cartel to increase the price of
           CRTs above the competitive level.
       •   Given the results of the first two bullet points, I conclude that a small change in relative
           prices of products, given an overcharge on CRTs, would not induce a sufficiently large



60
     Netz Merits Report, at 33-41.
61
  Prof. Willig acknowledges the existence of barriers to entry (see Willig Class Cert Report, at 38 and Willig
Opposition Report, at 15) and that barriers to entry facilitate collusion (Deposition of Robert Willig, 19 September
2014, at 123:19-125:8). Ms. Guerin-Calvert, Prof. Ordover, Dr. Howell, Prof. Rubinfeld, Dean Snyder, Dr.
Williams, and Dr. Wu do not discuss barriers to entry.
62
     Netz Merits Report, at 40-41 and Exhibits 25 and 26.
63
     Willig Opposition Report, at ¶20 and Guerin-Calvert Opposition Report, at footnote 31.
64
  For example, a $10 overcharge for a $100 CPT that is incorporated into a $200 CRT TV doesn’t change the
relative price of the two types of TVs if a comparable LCD TV costs $600. Without the overcharge, consumers are
faced with the choice between a $200 CRT TV and a $600 LCD TV. With the overcharge, the choice is between a
$210 CRT TV and a $600 LCD TV. I have written this example as if pass-through of the CRT cost is 100%. My
point is even stronger if pass-through is less than 100% as some Defendants’ experts assert.
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           number of consumers to switch from CRT to LCD so as to prevent the CRT price from
           rising above the competitive level.
Defendants’ experts, including Prof Willig and Ms. Guerin-Calvert, do not contest these points.
None of Defendants’ experts dispute my analysis of the degree of substitution between CRTs and
LCDs (indeed, none of Defendants’ experts refer to this part of my merits report at all) or
suggests that substitution is so severe that it would prevent the CRT cartel from raising price
above the competitive level.
While the presence of very high substitutability is necessary for a cartel to be prevented from
raising price at all, lower degrees of substitutability can impact the magnitude of the overcharge.
Defendants’ experts do discuss the constraint that the availability of other display technologies
(Defendants’ experts consider the same alternative technologies that I do, LCDs and plasma) put
on the ability of the CRT cartel to increase price.65 I allow for this constraint in my estimate of
overcharges through the inclusion of a variable that captures the market penetration of other
display technologies.66

                 2. The presence or absence of other CRT industry characteristics are not
                 useful for evaluating whether the CRT cartel was able to increase CRT
                 prices above the competitive level
The presence or absence of the other industry characteristics discussed by Defendants’ experts
are not dispositive regarding the existence or effectiveness of the CRT cartel. For these
characteristics, economic theory is ambiguous as to whether the characteristic hinders or
facilitates a cartel and cartels have been observed that have the characteristic.

                          a) Economic theory gives ambiguous predictions for many CRT industry
                          characteristics
While Defendants’ experts mention the ways in which industry characteristics can hinder a
cartel, other economic models have shown that some of these characteristics can facilitate a
cartel, under different assumptions. Because the existence of these industry characteristics is
neither necessary nor sufficient for an effective cartel, I do not spell out the economic
mechanism under which a particular industry characteristic hinders or facilitates the operation of
a cartel. Instead, I list the characteristic that Defendants’ experts claim hinders a cartel and
supply a citation to an economic study that shows that the same characteristic can facilitate a
cartel.
       •   Decreasing capacity and exit:67 Cartels may collude in declining industries in order to
           facilitate collusion in other markets.68
       •   Demand volatility:69 Demand volatility can make it more likely for a cartel to develop.70


65
  Willig Opposition Report, at ¶17; Ordover Opposition Report, at ¶15; Snyder Opposition Report, at ¶¶41, 47, 53,
and 68; and Williams Opposition Report, at ¶38.
66
     Netz Merits Report, at 103.
67
     Rubinfeld Opposition Report, at ¶¶59-60.
68
  Harrington, Joseph E., Jr., February 1987, Collusion in Multiproduct Oligopoly Games under a Finite Horizon,
International Economic Review, Vol. 28, No. 1, 1-14.
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       •   Increasing capacity:71 Not only can collusion exist in the presence of excess capacity, but
           collusion can exist when capacity is increasing.72
       •   Product differentiation:73 Product homogeneity (the opposite of product differentiation)
           has been shown to hinder collusion.74
       •   Vertical integration:75 Asymmetric vertical integration has been shown to facilitate
           collusion.76,77

                        b) Real world cartels have industry characteristics that theoretically make
                        collusion more difficult
There are real-world cartels that have many of the characteristics that Defendants’ experts claim
create obstacles to the effective operation of a cartel, adding more evidence to my assertion that
the presence of these industry characteristics are not informative as to the existence and
effectiveness of a cartel.
       •   Changes in relative capacity: LCD cartel78
       •   Disagreements between cartel members: Graphite electrodes cartel79
       •   Economies of scale: DRAM cartel/industry80,81

69
     Snyder Opposition Report, at ¶¶41, 48-51.
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at ¶27; and Williams Opposition Report, at ¶¶37-38.
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p. 26.
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     Snyder agrees that the prediction from economic literatures is ambiguous. Snyder Opposition Report, at ¶127.
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industries of Japan, Korea, and Taiwan, Research Policy, at 543.
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Countries: Economic Effects and Implications for Competition Policy, Antitrust Law Journal Vol. 71, No. 3, 801-
852, at p. 835.
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MIT Press: Cambridge, http://mitpress.mit.edu/sites/default/files/titles/content/9780262013468_sch_0001.pdf,
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81
  Dean Snyder agrees that the presence of high fixed costs and low marginal costs can hinder or facilitate a cartel.
Snyder Deposition, 124:22-125:10.
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     •   Firms exiting the industry: DRAM82
     •   Firm heterogeneity in vertical arrangements: Quebec retail gasoline cartel83, LCD84
     •   Firm size heterogeneity: Quebec retail gasoline cartel,85 lysine cartel86
     •   Large number of firms in cartel: Quebec retail gasoline market87
     •   Low industry concentration: cotton textiles cartel88
     •   Opaque prices: lysine cartel89
     •   Product differentiation: graphite electrodes cartel,90 women’s swimsuits,91 DRAM92
     •   Shifts in market share: lysine cartel,93 vitamin cartel,94 LCD cartel95
     •   Technological change: DRAM cartel,96 LCD cartel97

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      •   Volatile demand: ocean shipping cartel,98 LCD cartel99
      •   Volatility of other variables: Quebec retail gasoline cartel,100 LCD cartel,101 hydrogen
          peroxide cartel102

                3. Defendants’ experts exaggerate the degree and impact of product
                differentiation
Defendants’ experts particularly focus on two related industry characteristics – the degree of
product differentiation and product introduction. They claim that the CRT industry is
characterized by a high degree of product differentiation and new product introduction and that
this would have impeded the cartel’s efforts to fix prices.103 These claims fail on both a
theoretical level and because they assert industry characteristics that are contrary to fact.
Even if product differentiation and product introduction did make collusion “more difficult”,
Defendants’ experts’ analyses regarding production differentiation and product introduction are
so fundamentally flawed that their results are misleading and incapable of supporting reliable
expert opinion. The evidence does not support Defendants’ experts’ claims that there was a great
deal of product diversity or that there were many new product introductions of short-lived
products. On the contrary, the evidence demonstrates a strong focus on a small set of products
with substantial stability, having only slow migrations from one small set of economically
significant models to another small set.



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Investments: An empirical examination of the LCD panel industry, International Journal of Industrial Organization,
Vol. 29,118-728, at p. 720.
102
    Ms. Guerin-Calvert testified: “Q Based upon your experience as a [sic] economist of industrial organizations,
are you aware of any actual real world cartels that had as a characteristic rapid growth and capacity output in
models? A Yes. Q Can you identify them? A I’m aware only generally because I haven’t been involved in it
that LCD is something that’s alleged to be a cartel. […] Another example is there was a [sic] alleged cartel in
hydrogen peroxide and I believe there was a very significant amount of capacity expansion, a lot of different grades
of the product in hydrogen peroxide.” Deposition of Margaret Guerin-Calvert, 17 September 2014, at 103:4 - 19.
103
  Guerin-Calvert Opposition Report, at ¶¶45-49, Snyder Opposition Report at ¶¶41-47, and Deposition of Margaret
Guerin-Calvert, 17 September 2014, at 139:1 – 10.
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To describe the flaws in Defendants’ experts’ attempts at measuring the degree of product
differentiation, I rely on World Type Designation System (WTDS) codes, a standardized code
many firms use. As I explained in my Class Certification Rebuttal Report, the product “family”,
denoted by the first six characters of a CRT’s WTDS code, is the appropriate level for
considering economically relevant product differentiation.104
In my class certification rebuttal report, I showed that CRT production was highly concentrated
in a small number of product families at each manufacturer. Additionally, specific CDT (and
CPT) models, even when “model” is defined narrowly to include the minor design classification,
were sold to multiple customers, rather than being specifically designed for each customer.105
Instead of analyzing the diversity of product families, Defendants’ experts analyze individual
model numbers, which are too specific to be economically meaningful. For example, Ms.
Guerin-Calvert treats ITC and customer variations as attributes meaningful for distinguishing
one model of CDT from another.106 It is neither innovation nor product differentiation to sell an
existing product to a different customer.107 Similarly, selling identical CRTs, one with the ITC

104
   “The first character of the WTDS code indicates the application and aspect ratio (wide-screen vs. normal) of the
model. The second and third characters indicate the diagonal length of the screen in centimeters. The fourth, fifth,
and sixth characters give the major design classification, which includes characteristics such as deflection angle,
neck diameter, shape, mask pitch, and electron gun information. Industry sources refer to these as delineating the
product family. Matsushita Toshiba Picture Display, 28 December 2004, Project Name Registration Standard,
MTPD-0347731 - MTPD-0347738 at 10. Samsung SDI Germany, February 2001, Samsung A68QCP891X430 at 4.
MT Picture Display, 12 December 2001, D0753-101, MTPD-0652301 - MTPD-0652307, at 2304E – 2305E.” Netz,
Janet S., 15 February 2013, Rebuttal Declaration of Janet S. Netz, Ph.D., in Support of Motion of Indirect-Purchaser
Plaintiffs for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division) (Hereinafter “Netz Class Cert Rebuttal”), at 10 and footnote
29.
As support for “family” being the appropriate granularity for considering products “distinct”, my hedonic
regressions demonstrated that 91% of the variation in CDT prices and 97% of the variation in CPT prices can be
explained by size, shape, and finish. See Netz Merits Report VIII.A.4.b)2). Finish, while economically significant, is
not relevant when measuring product differentiation or innovation. All of the members of a product family are
identical with each other on all other attributes significant to pricing (those attributes in my hedonic regression).
I will also reference minor design classifications in the text. Minor design classifications are denoted by variations in
the two or three characters, typically digits, following the product family but before the “X” that is in almost all
WTDS codes in our data (the ‘X’, or ‘XX’, denote color phosphors; naturally most color display tubes and color
picture tubes have color phosphors). Minor design classifications represent subdivisions within a product family
having minor differences. Examples of differences that could cause different minor design classifications are, for
example, having mounting lags toward the back of the reinforcing band instead of toward the front of the band; or
being NTSC only; or having slight variations in electron guns.
105
      Netz Class Cert Rebuttal, at 9-14 and Exhibit 14.
106
  Ms. Guerin-Calvert’s analysis used “data that was [sic] aggregated to the level of CDT size, finish, manufacturer,
model number and customer.” Guerin-Calvert Opposition Report, at ¶45, footnote 63.
107
    It is possible Ms. Guerin-Calvert included customer information because of her erroneous belief that CDTs are
uniquely designed for each customer. She asserts “that CDT manufacturers often must design their products
specifically for a given manufacturer’s needs based on ‘design in competition’.” (Guerin-Calvert Opposition Report,
at ¶46.) She incorrectly asserts that I “recognize” this fact, citing to Netz Expert Report, at 10-11. However, the text
she cites says only that CRT manufacturers engage in design-in competitions when TV or monitor manufacturers
develop new models. That text says nothing about whether CRT manufacturers use existing or new designs in these
competitions. In general, manufacturers use existing designs in these competitions: “CRTs were generally not
designed for a specific customer nor heavily customized for each purchaser. Rather, CRT manufacturers each had a
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installed and another to which the buyer will attach ITC acquired separately, is neither
innovation nor product differentiation.108
Consider an analogy – suppose the task was to analyze the amount of product differentiation in
the automobile industry; one could analyze it several levels of specificity. Analysis based on the
numbers of vehicle types (e.g., full-size, mid-size, compact, SUV) would understate the amount
of meaningful product differentiation because the categories include too many different types of
cars (e.g., full-size cars could include a Hyundai Sonata and a Mercedes S-class). Analysis based
on the most detailed description of a vehicle (e.g., including make, model, options packages, and
color) would overstate the amount of meaningful product differentiation because the categories
treat vehicles that are not meaningfully different (e.g., otherwise identical cars that are painted
red and blue) as distinct. The proper level of product aggregation is somewhere in between these
two extremes, perhaps at the model level (e.g., a Ford Focus) or at the model-options level (e.g.,
the base model of the Ford Focus).
The distinctions between CRTs within the same product family are not generally meaningful,
while the distinctions between products that are in different product families are generally
meaningful. This indicates that product families are the proper level of aggregation for analysis
of product differentiation and that Defendants’ experts have chosen an inappropriately specific
definition of product type.109
When Defendants’ data are examined in terms of distinct product designs – the WTDS family
code – a lack of product differentiation is revealed.




limited number of major product designs, which they could alter in various minor ways. A given minor alteration
was typically sold to multiple customers. Furthermore, the minor variations generally have quite limited price
differentials across them. This is readily seen by examining the Defendants’ sales data.” [Emphasis in original,
internal citation omitted] Netz Class Cert Rebuttal, at 10.
108
      Netz Class Cert Rebuttal Report, at 12.
109
   Ms. Guering-Calvert agrees that the appropriate question is whether “using some very basic characteristics is it a
homogenous product or does it look more like a heterogeneous product.” However, by failing to assess whether her
chosen granularity – in this case, “model number” – actually identifies “very basic characteristics” or instead
identifies exceedingly minute details, her study fails to perform the task she expected of it. Similarly, it is not
appropriate to consider customer identify if one wants to draw conclusions about product homogeneity, a lack
thereof, or the amount of new product innovation or introductions
110
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Similar patterns of sales being concentrated on a narrow range of products are seen in CPTs. For
example, 100% of Hitachi’s sales of 34" CPT, over the entire period the Hitachi data report sales
of 34" CPT, are one specific tube: A80LJF.113
Ms. Guerin-Calvert testified that the high rate of new product introduction was a significant
factor in her belief that the cartel was unlikely to be successful.114 However, she has not
performed any analysis of the rate of product introduction or the length of product lifetimes.
Instead, she relies on a flawed analysis that simply counts the number of products sold each year.
As I explained above, her results depend on an unreasonably narrow definition of what
constitutes a distinct product. As I show below, rather than being characterized by high rates of
new product introduction, CRTs had long product lifetimes, with a given tube design generally
marketed for several years and only slowly transitioning to new designs.
Dean Snyder claims the CRT industry was characterized by high rates of new product
introductions.115 As support for his claim, he counts the number of new product introductions as
the number of models first observed in a given year. However, his analysis is inherently
incapable of providing support for his claim, because his definition of a distinct “model”
includes attributes such as ITC variations and other attributes not related to the actual CRT
design. For at least Samsung, the model number can include information about the customer to
whom the product is sold.116 As I explained above, this definition of “model” is too narrow to be
economically meaningful. Dean Snyder’s analysis treats each of these – selling a product to
multiple customers, selling a product with one ITC versus another or selling it bare – as new and
different CRTs. This is wrong and renders his analysis uninformative and misleading.
For an example of how he overstates innovation, consider the Toshiba M41LLH.117 Per the
WTDS standard, every tube in this family has the same basic design: “same deflection angle,
neck diameter, bulb shape, electric gun large scale design, electronic gun line, lighting




113
   This was not a minor product: Hitachi sold almost 2.8 million of them from 1997-2003. See
hitachi_34_cpt_share.log in my backup.
114
    “[A.] I concluded and had formed an opinion based on all of my analysis that the type of heterogeneity that is
here makes it – made the likelihood that this cartel, alleged cartel, particularly given the mechanisms that it used
with regard to target prices and the fact that differentiation was in the form of new model introductions as well made
it – an industry condition made it much less likely that a cartel here could be effective.” [Emphasis added.] 17
September 2014, Deposition of Margaret Guerin-Calvert, at 139:1 - 10.
115
      Snyder Opposition Report, at ¶¶45-47.
116
   The Samsung data used by Dean Snyder are the data I used in my merits report. These data include customer-
specific information in the model number field used by Dean Snyder for identifying distinct models. SDI, Undated,
SDI CRT Model Number Decoder, SDCRT-0021274 - SDCRT-0021277, at 1274.
117
   The ‘M’ indicates this is a CDT, the 41 indicates it is a 17" tube. I chose Toshiba as an example because it is
Dean Snyder’s client. As my discussion of Chunghwa and Hitachi, above, and further discussion of Chunghwa,
below, indicate, the problem of Dean Snyder overcounting models and product introductions exists across the
Defendants’ data.
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membrane structure, mask pitch, lighting condition major design, support structure.”118 The
M41LLH first appears in 1996 and is sold until 2002, with a total of almost 6 million tubes being
sold. Dean Snyder’s analysis reports this single design as being 53 distinct models, with
introduction dates as late as 2000.119 The same problems exist among CPTs.120 Considered
another way, Toshiba’s top 20 tube designs account for over 75% of Toshiba’s unit sales across
Toshiba’s entire CRT sales data. Dean Snyder counts 813 distinct model numbers across those
20 tube designs. It is clear that Dean Snyder’s analysis fails to assess any economically relevant
measure of product differentiation or rate of innovation. The problem is not limited to Toshiba; it
exists for all vendors.121
The evidence does not support Defendants’ experts’ claims that there was a great deal of product
diversity or that there were many new product introductions of short-lived products. On the
contrary, the evidence demonstrates a strong focus on a small set of products with substantial
stability, having only slow migrations from one small set of economically significant models to
another small set.
Prof. Willig presents an analysis, summarized in his Exhibit 5, purporting to show great diversity
in CPT prices. His Exhibit 5 is a slight modification of Exhibit 1A from his Class Certification
[Opposition] Report, changing from presenting monthly price plots to quarterly plots. As I
demonstrated in response to the earlier version,122 charts such these – simply plotting all
observed prices without regard for quantities or product distinctions – not only fail to help the
finder of fact assess the existence or size of cartel overcharges, but are misleading.


118
      MT Picture Display, 12 December 2001, D0753-101, MTPD-0652301 - MTPD-0652307, at 2305E.
119
  Even if I were to include the minor design classification – which includes all attributes of the tube as it is
manufactured, but allows for variations like which neck components (ITC) are installed after the tube is
manufactured – the most popular version, the M41LLH507, would be counted as 25 distinct models in Dean
Snyder’s analysis. See toshiba_wtds_major_shares.log in my backup.
120
  The A48KZL is Toshiba’s highest volume CPT (‘A’ indicates it is a 4:3 CPT; the 48 indicates it is a 20" tube).
The tube first appears in the Toshiba data in 1994 and is sold until 2001, with a total of 5.1 million units sold. Dean
Snyder’s analysis would report this single design as being 21 distinct models, with introduction dates as late as
2000. See toshiba_wtds_major_shares.log in my backup.
121
   In fact, the problem is much worse for Chunghwa. I performed a rough check on how severe the problem is with
Chunghwa by examining the data in CHWA_combined.dta. I examine these data, rather than the data directly
underlying Dean Snyder’s analysis, because the Chunghwa WTDS data fields are not in the data used by Dean
Snyder. I examined its largest selling design – the M34AFA. These were identified as products in
CHWA_combined.dta having “M34AFA” in the “original_CHWA_model_number” field. I then counted the
distinct values in “model_number”, the field used for defining Chunghwa models in Dean Snyder’s analysis. Dean
Snyder presumably counts 564 distinct “models” for this single tube design. See chunghwa_model_no.log in my
backup.
I expect the Samsung data overstate “model” counts to much the same degree as do the Chunghwa data (because of
the degree of granularity in Samsung’s model numbers – SDI, Undated, SDI CRT Model Number Decoder,
SDCRT-0021274 - SDCRT-0021277, at 1274.). However, we have no WTDS information from Samsung to allow
me to even roughly quantify the ratio between Samsung’s model numbers and their WTDS product families.
None of the defendant data report only WTDS codes for model numbers. Although Hitachi’s and Toshiba’s model
number includes the full WTDS code (including minor design classification and deflection yoke specification) for
almost all observations, the model number also includes non-WTDS codes for most observations.
122
      Netz Class Cert Rebuttal, at 7-9.
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Prof. Willig purports to have addressed my earlier criticisms, asserting that adding quantity
weights has little impact on his conclusions regarding price dispersion.123 Adding quantity
weights has little impact because Prof. Willig ignored the other part of my criticism of his earlier
analysis: the inappropriate and misleading examination of prices without concern for relevant
product attributes. Prof. Willig presents the distribution of prices in a manner that hides the very
high degree of price standardization that existed. Prof. Willig commingles the prices of all CPTs
and reports the 10th-percentile and 90th-percentile prices. Such an analysis would be appropriate
if, and only if, the cartel set a single CPT price for each quarter. Of course, the cartel was more
sophisticated – the cartel set different prices for different sizes of CPT. An informative analysis
would examine the distribution of prices for a given size at each point in time.
In my Class Certification Rebuttal Report, I presented a series of exhibits rebutting Prof. Willig’s
claims of great price diversity. My exhibits reveal that CRT sales collapse into tight, orderly
bands, showing very high concentrations of sales within narrow price ranges when the size,
shape, and finish of the products are considered.124 Notably, the CRT cartel explicitly considered
those factors when they agreed on their target prices.
Prof. Willig’s change from monthly data to quarterly data does nothing to salvage his analysis or
cure its misleading implications. For example, considering the third quarter of 2001 used by
Prof. Willig in his illustrative example, simply by considering size and finish, we see 74% of 14"
bare CPT selling between $25.00 and $27.99 and another 16% selling between $28.00 and
$29.99. At the time, the target price of a 14" bare CPT was $26.50.125

        D. The cartel had the incentive and ability to raise the price for all CRTs
As I explained in my previous reports, Defendants had strong incentives to raise the prices of all
CDTs and CPTs they sold.126 I also explained that Defendants had sufficient market power to
increase CDT and CPT prices.127 Defendants’ experts claim that Defendants either did not seek
to raise prices for certain groups of CDTs or CPTs, or were unsuccessful in doing so. For
example, some of Defendants’ experts claim that they did not attempt to raise prices of CPTs in
North America or that Defendants did not attempt to raise the prices of large CPTs.128
Dr. Williams argues that demand substitution would tend to blunt any efforts of the cartel to raise
the price of some CRTs but not others.129 Dean Snyder makes a similar argument and also claims


123
      Willing Opposition Report, at footnote 29.
124
      See Netz Class Cert Rebuttal Report, at Exhibits 2-13.
125
      See 14_bare_cpt.log and Target price-structure.xlsx in my backup.
126
      Netz Merits Report Section VIII.A.4.b.1.
127
      Netz Merits Report Section VIII.A.2.
128
      See, e.g.,
       •    Willig Opposition Report, at ¶¶34, 96.
       •    Williams Opposition Report, at ¶¶41, 142-143.
       •    Wu Opposition Report, at ¶¶83-84.
129
  Dr. Williams’ reasoning is that if, for example, Defendants tried to raise the price of 15” CDTs but not 17”
CDTs, then the change in the relative prices of the two sizes would cause consumers to shift demand to the 17” size.
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that supply-side substitution would restrict Defendants’ ability to raise the price of some CRTs
but not others.130,131
I agree with Dr. Williams and Dean Snyder that it would be difficult for Defendants to raise the
price of some CRTs but not others that are closely related. Supply and/or demand substitution
could tend to blunt the effects of raising the price of some CRTs because manufacturers and/or
consumers would tend to substitute to other CRTs. Defendants surely understood that raising the
of, say, 15" CDTs but not 17" CDTs would be a poor strategy.




Therefore I conclude it is highly unlikely that Defendants would attempt to raise the price of
some CRTs but not others. There is overwhelming evidence that Defendants attempted to raise
the price of some CRTs. Because it would be irrational to try to raise price of some CRTs but not
others, this indicates that Defendants sought to raise the price of substantially all CRTs.
Defendants’ experts offer no explanation why they believe Defendants would collusively raise
some prices but not others. For example, it makes no economic sense to try to increase prices for


This would reduce demand for 15" CDTs, putting some downward pressure on prices and preventing Defendants
from raising price as much as they could if there was no close substitute for 15” CDTs.
130
      Snyder Opposition Report, at ¶126.
131
   Dean Snyder’s reasoning is similar to Dr. Williams’. For example, if Defendants tried to restrict output of 15"
CDTs but not 17" CDTs, then Defendants would shift their production capacity to the unrestricted 17" CDTs. The
increase in supply of 17" CDTs would cause their price to fall. This would, presumably, make it more difficult to
maintain high prices for 15" CDTs.
132
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small and medium CPTs while simultaneously pricing large CPTs competitively. Defendants had
the incentive (higher profits) and ability (market power) to raise prices for all CPTs.
Similarly, Defendants’ experts offer no explanation for why they believe Defendants would not
attempt to raise prices in North America, while attempting to raise prices elsewhere. I address
Defendants’ incentive and ability to raise prices in North America in Section V.D.2.

                1. The prices for CRTs are related via a price structure
In my previous reports, I have presented the results of what I call hedonic regressions to “show
that CRT prices are determined primarily by product attributes. This analysis showed that the
prices Defendants charged to direct purchasers could be closely approximated by a formula
common to all direct purchasers. Based on the results, I conclude that CRT prices of different
types are related to each other via product characteristics, and therefore setting a target price
increase for one type of CRT implies a price increase for other CRTs.”133 Consistent with this
analysis I concluded that Defendants did not need to set target prices for all CRTs in order to
raise the price of all CRTs. This is one reason why I am not surprised that I have been unable to
find target prices for every CRT.
Defendants’ experts mischaracterize my argument. They appear to think that my argument is that
the cartel could attempt to raise the prices of only some CRTs, and that this would automatically
have the effect of raising all prices by the same amount.134 For example, if Defendants raised the
price of 17" CDTs, then 19" CDT prices would automatically follow because CRT prices could
not deviate from the stable price structure. I do not claim that the price structure is stable and my
conclusions are perfectly consistent with a price structure that changes over time.
I conclude that CRT prices were determined almost entirely by a handful of product
characteristics, as evidenced by the results of my hedonic regression.135 Defendants knew and
relied on these relationships between product characteristics. At a given point in time,
Defendants knew the difference in price between round and flat 21” CPTs, for example. Because
of this, the cartel did not need to set target prices for each and every model of CRT. They could
set a handful of target prices and all participants would understand the implications for prices of
other related CRTs.
Consistent with this, Defendants agreed to set prices in accordance with a series of price
differentials that explicitly linked the prices with product characteristics.136 This approach has
been successfully used by other cartels.137
My hedonic regression estimates a single relationship between CRT characteristics and prices
across the entire cartel period.

133
      Netz Merits Report, at 68-69.
134
  Willig Opposition Report, at ¶¶53-56, Guerin-Calvert Opposition Report, at ¶¶84-85, Williams Opposition
Report, at ¶¶58-68, 115-117, 146-148, and Snyder Opposition Report, at ¶126.
135
      Netz Merits Report, at 66-71 and Exhibits 40 and 41.
136
      Netz Merits Report, at Section VIII.A.4.b.2 and Exhibits 39.
137
   The graphite electrodes cartel used a “pricing formula”, which corresponds to what I call a “price structure”.
Harrington, Joseph E., Jr., 2006, How Do Cartels Operate?, Foundations and Trends in Microeconomics, Vol.2, No.
1, 1-105, http://assets.wharton.upenn.edu/harrij/pdf/fnt06.pdf, accessed 17 September 2014.
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For the purpose of demonstrating that a handful of characteristics determine price, this is
conservative. If I relaxed this constraint and estimated a separate regression for each year (or
otherwise incorporated time into the model) I would find that the model does an even better job
of explaining prices.
Prof. Willig and Ms. Guerin-Calvert argue that I should estimate year-by-year the relationship
between product characteristics and price. So, for example, this approach may estimate that the
price difference between a 15” and 17” CDT is different in 1997 and 2000. Accordingly, they
cite year-by-year regression results that are similar to my hedonic regressions.138 When I
replicate their analyses, I find that my year-by-year hedonic regressions explain more of the
variation in CRT prices than when I perform single regressions for the entire cartel period.139
Thus performing the regressions for each year only strengthens my conclusion that CRT prices
are determined almost entirely by a handful of product characteristics, including the date of sale.
At any given time, Defendants were aware of the tight relationship between product
characteristics and price.

                 2. The cartel had the incentive and ability to raise the prices of CRTs
                 consumed in North America
Defendants’ experts state that most CPTs sold in North America were manufactured in North
America, most CPTs manufactured in North America were sold in North America, and pricing
decisions were made locally. They argue that this suggests that the cartel’s conspiracy to raise
CPT prices failed to impact the U.S. or that the impact in the U.S. was different than the impact
elsewhere.140 In reaching their conclusions, Defendants experts ignore or dismiss out of hand
virtually all of the facts and analysis presented in my opening report.141


138
      See,
       •     Guerin-Calvert Opposition Report, at ¶84
       •     Willig Opposition Report, at ¶56.
139
   The hedonic regressions in my previous report explained 91.39% of the variation in CDT prices and 96.53% of
the variation in CPT prices using just a handful of product characteristics. Following Defense experts’
specifications, I re-ran those regressions allowing for the relationships between product characteristics and price to
vary year-by-year. The updated regressions explain 94.43% of the variation in CDT prices and 97.09% of the
variation in CPT prices. While my original regressions explained almost all price variation, the updated versions do
even better. See defendant_data_hedonics_merits_rebuttal.smcl in my backup production.
140
      See, e.g.,
       •     Rubinfeld Opposition Report, at ¶¶67-90. In his deposition, Prof. Rubinfeld says that regionalization in
             CPT sales “raises questions” as to the impact on North American customers that lead him to conclude “that
             there could have been” a smaller effect in North America. Rubinfeld Deposition, at 12-18, emphasis added.
       •     Williams Opposition Report, at ¶¶28-36, 41, 47-54, 140-143.
       •     Willig Opposition Report, at ¶¶96-98.
       •     Wu Opposition Report, at ¶¶67-84.
Defendants’ experts do not suggest that the cartel’s impact on CDT prices was non-existent or different in the U.S.
and the rest of the world.
141
      See Section VIII.A.5 of Netz Merits Report.
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Defendants’ experts’ reasoning is inconsistent with Defendants’ numerous cartel meetings and
information exchanges in North America, which would be expected to affect the prices of CPTs
made and sold in North America.142 The reasoning is also inconsistent with the fact that a
significant share of the CRT TVs consumed in the U.S. were manufactured outside of North
America (mostly in Asia) using CPTs that were also manufactured outside of North America
(again, mostly in Asia).143 That is, CPTs were manufactured and incorporated into TVs outside
of North America before being imported to the U.S. as finished goods, and these imported TVs
accounted for a substantial share of CRT TVs purchased in the U.S. With the exception of Dr.
Wu, Defendants’ experts ignore this distribution channel and its role in the cartel’s impact on
prices in the U.S.
Dr. Wu presented data on the origins of CRT TVs imported into the U.S.144 His Exhibit 8 shows
that in 1995 not quite one third of all CRT TVs imported into the U.S. were from Asia. This
share increased steadily over time, with imports from Asia accounting for over 60% of CRT TVs
shipped to the U.S. in 2002 and over 80% in 2006. For the years 1995-2006, just over half of all
TVs imported into the U.S. originated in Asia.
Defendants also sold a significant number of CRTs to purchasers in the U.S. The available
Defendant sales data indicates that at least $1.028 billion of CDTs and $13.18 billion of CPTs
were shipped or billed to customers in the U.S. or Mexico in the years 1995-2007.145 Of that
total, at least $630 million of CDTs and $8.6 billion of CPTs were shipped or billed to U.S.
customers in the years 1995-2007.146 These figures understate the true value of shipments to U.S.
customers because I do not have complete sales data for some Defendants and some Defendants’
data do not include customer location information.
Defendants’ experts ignore evidence presented in my merits report that Defendants’ North
American collusion was intertwined with the collusive activities at their Asian headquarters and
that Defendants’ headquarters exerted substantial influence over North American pricing.147
Several of Defendants’ experts argued that I identified more target prices for small CPTs than for
large CPTs, and that this indicates the cartel did not attempt to raise the prices of the larger tubes,
which are more popular with consumers in the U.S. They conclude that this means the cartel
would not have effectively raised prices in the U.S. for larger CPTs.148

142
   Prof. Rubinfeld is the only expert to acknowledge that Defendants met in North America with the intent to
“coordinate on pricing and/or avoid competition”. Without further analysis he asserts that any efforts to collusively
raise prices in North America would be unsuccessful due to cheating. Rubinfeld Opposition Report, at ¶¶89-90.
143
      I discussed this in detail in Netz Class Cert Rebuttal, at Section VII.F.
144
      Wu Opposition Report, at ¶70 and Exhibit 8.
145
      See “us_sales.txt” from my backup for calculations.
146
      See “us_sales.txt” from my backup for calculations.
147
      Netz Merits Report, at 76-81.
148
      See e.g.,
       •    Williams Opposition Report, at ¶¶49-54, 140-145.
       •    Willig Opposition Report, at ¶¶34, 96.
       •    Wu Opposition Report, at ¶¶76-84.
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Again, their argument ignores the following points made in my previous report:
       •   I have identified target prices for approximately 29.7% of all CPTs, including 13.3% of
           large CPTs.149
       •   The cartel had an incentive to cover up collusive activity. The fact that I was unable to
           identify more target prices for large CPTs may reflect that Defendants did not keep good
           records of that part of their collusive activity.150
       •   Target prices are not the only tool Defendants used in its attempt to raise prices above the
           competitive level. They also agreed to restrict output and reduce capacity, allocated
           customers, and exchanged sensitive information on price and market conditions.151
In Section VI.A.5, I describe analyses that show Defendants did, in fact, raise CRT prices in
North America.

       E. Defendants’ information exchanges were part of a pattern of price-fixing
       conduct
Defendants’ experts’ statements that not all information exchanges between competitors are
inherently anticompetitive are insufficient for refuting the case evidence that Defendants’
engaged in information exchanges as part of an overall cartel strategy that had an anticompetitive


149
      Netz Merits Report, at 63 and combine_target_defendant_large_cpt.log in my backup files.
150
  See Netz Merits Report, at Section VIII.A.4. Defendants’ experts agree that I have not identified all target prices.
See, e.g.:
       •   “Q Assuming that the defendants destroyed documents that pertained to the collusive activity, it is
           possible that documents reflecting target prices simply don't exist for that reason, would you agree? [...] A
           If documents were destroyed and if those documents included additional target price documents that are
           included target prices, then I'd have to accept your -- by definition that there might be some target price
           documents that aren't available. Q You're going to give me that one? A Absolutely. Q You don't
           contend that Dr. Netz has identified every single target price agreement that defendants made and that,
           therefore, this is all that there possible was in the case, correct? [...] A I make -- I'm making no
           assumptions about whether she has found every document.” Deposition of Margaret Guerin-Calvert, 17
           September 2014, at 162:5 - 163:5.
       •   “Q. Is it possible that members of the alleged CRT cartel made additional price agreements that are not
           captured in Dr. Netz's data? A. Yes, it's possible.” Deposition of Edward Snyder, 11 September 2014, at
           197:10 - 13.
       •   “Q. Is it your understanding that Dr. Netz identified every target price agreement that was in the
           conspiracy? A. Not necessarily, and it's not necessary for my analysis.” Deposition of Darrell Williams,
           15 September 2014, at 263:12 - 16.
       •   “Q. You'll agree that it's possible that defendants set target prices that Dr. Netz simply did not find? A.
           I would imagine so. [...] Q. Well, it's possible that some evidence of target prices no longer exist, for
           example, the documents were destroyed or not retained. [...] THE WITNESS: Yeah. I mean, just common
           sense says who knows what's possible. I didn't look into that. [...] Q. What about the possibility that some
           target price agreements were made orally and that there's no written record of them? That's a possibility as
           well; true? THE WITNESS: Yeah. Again from the same point of view that I answered the last question; I
           have no particular reason to think that that was a likelihood, but nor could I rule it out as a matter of just
           plain logic.” 19 September 2014, Deposition of Robert Willig, Ph.D., at 162:7 - 163:14.
151
      See Section VIII.A.3 of Netz Merits Report and Section V.A.
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impact.152 The relevant question is not whether there exist information exchanges that are not
anticompetitive or even if some of Defendants’ information exchanges were not anticompetitive
but, rather, whether the information exchanges contributed to the overall effort to raise price
above the competitive level. Defendants have explicitly acknowledged the anticompetitive nature
of their exchanges as well as their efforts to hide the information exchanges as a result of their
anticompetitive nature.153
While it is true that economists recognize that not all information exchanges between
competitors are anticompetitive, it is also recognized that certain types of information are likely
to have anticompetitive effects.154 Exchanges of current or future (as opposed to historic) pricing
or cost information, firm-specific (as opposed to aggregate) information, and direct exchanges
between competitors (as opposed to a third-party, e.g., trade association) are considered to
facilitate anticompetitive harm via collusion.155 Meeting notes and deposition testimony establish
exactly these characteristics.156



152
  Snyder Opposition Report, at ¶¶86, 90, 105, 108, 113; Guerin-Calvert Opposition Report, at ¶54; and Willig
Opposition Report, at ¶57.
153
      See, e.g.,
       •    An internal MTPD e-mail has the subject, “(Confidential) Thomson Mexicali Factory Information”. The
            body text says, “Since this is in violation of antitrust, please do not leak it to others. Thomson production
            information. Sales figures obtained from the marketing unit at the Paris headquarters. It’s the Marion A59
            25V.” The e-mail was forwarded to other MTPD employees in the U.S. with the warning “Please treat this
            as strictly confidential. It is information about the advancement of business.” Kinoshita, Ayumu, 02 July
            2003, E-mail, Subject: FW: (Confidential) Thomson Mexicali Factory Information, MTPD-0035375 -
            MTPD-0035376, at 5375E.
       •    From an internal Toshiba e-mail: “* Below, I ask you to destroy after reading * [paragraph] I am sure you
            are aware, but it is a fact that information exchange is being conducted occasionally among the three
            companies, Samsung, Orion and TAEC (TDD), regarding NAFTA’s mid-size tubes. It is mainly general
            information, but since there are times that specific matters are discussed such as each’s CPT supply
            proposals for each customer’s (TV) planned production volume, as a result, the actual situation is that each
            Bulb store has considerably accurate understanding of information such as which customer is securing how
            much CPT for the set production volume.” Yoshino, Michihiro, 24 January 2000, E-mail, Subject: Re:
            Destroy After Reading: GM Mizushima's complaint regarding Funai Electric's TDD 19v CPT Inquiry,
            TSB-CRT-00042440 - TSB-CRT-00042443, at 2440.
       •    From meeting notes: “The industry meetings should remain confidential in consideration of international
            antitrust laws”. Shenzhen Samsung Display Device, 05 August 1999, The Chinese Industry Meeting
            (August), SDCRT-0086672 - SDCRT-0086674, at 6672E.
       •    See Netz Merits Report, p. 63 at footnote 205 for an extensive listing of documents demonstrating Cartel
            members understood that setting target prices was illegal attempted to conceal such their anticompetitive
            exchanges.
154
      See, e.g.,
       •    Federal Trade Commission and the U.S. Department of Justice, April 2000, Antitrust Guidelines for
            Collaborations Among Competitors.
       •    Delegation of the United States, 21 October 2010, Roundtable on Information Exchanges Between
            Competitors Under Competition Law, Compilation of OECD Competition of Policy Roundtables.
155
      See, e.g.,
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Information exchanges are especially likely to be evidence of anticompetitive harm when there is
supporting evidence of actual harm.157
                                                                   In addition, as I explain in
detail in Section VII, applying generally-accepted economic principles and methods to the facts
and data from the case indicates that cartel conduct, which included information exchanges,
resulted in higher CRT and CRT product prices.

            F. Instances of cheating were not sufficient to render the cartel ineffective




       •    “Other things being equal, the sharing of information relating to price, output, costs, or strategic planning is
            more likely to raise competitive concern than the sharing of information relating to less competitively
            sensitive variables. Similarly, other things being equal, the sharing of information on current operating and
            future business plans is more likely to raise concerns than the sharing of historic information. Finally, other
            things being equal, the sharing of individual company data is more likely to raise concern than the sharing
            of aggregated data that does not permit recipients to identify individual firm data.” Federal Trade
            Commission and the U.S. Department of Justice, April 2000, Antitrust Guidelines for Collaborations
            Among Competitors, at pp. 15-16.
       •    Delegation of the United States, 21 October 2010, Roundtable on Information Exchanges Between
            Competitors Under Competition Law, Compilation of OECD Competition of Policy Roundtables, at p. 296.
156
      For a list of examples see,
       •    Netz Merits Report, at pp. 26-30 and accompanying footnotes.
       •    Netz Merits Report, at 54 and footnote 185.
157
  Delegation of the United States, 21 October 2010, Roundtable on Information Exchanges Between Competitors
Under Competition Law, Compilation of OECD Competition of Policy Roundtables, at p. 296.
158
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Defendants’ experts assert that cheating was widespread, possibly so widespread as to render the
cartel ineffective.159 They also argue that a cartel needs effective punishment mechanisms to
deter cheating.160
As a foundational matter, there seems to be some confusion as to whether cheating should have
been a concern. Ms. Guerin-Calvert says “Differentiated and customized products also
complicate punishment efforts since they make it more difficult for the cartel to take sales away
from a perceived ‘cheater,’ thereby making cheating on the cartel more likely to be
profitable.”161 This assertion is logically incoherent: if product differentiation limits co-
conspirators from punishing cheaters because customers cannot easily switch away from
cheaters, product differentiation would have likewise limited the cheaters ability to attract
customers away from other suppliers. On the other hand, if product differentiation allows the
cheater to steal sales by offering lower prices, the aggrieved co-conspirators can punish by
offering punitive prices. Logically, either product differentiation limits cheating and punishment,
in which case there is no need for punishment, or it does not limit cheating, in which case
punishment is available to counter cheating.162
It appears that Ms. Guerin-Calvert made the same error made by Prof. Willig in his Class
Certification Rebuttal Report: confusing the difficulty of physically substituting one CDT for
another in an end-product with the question of economic substitution. As I described in my class
certification report, competition among CRT manufacturers is at the design level: CRT
manufacturers compete by convincing CRT finished goods manufacturers to use their tube in a
given finished product design. Once the finished good design is finalized, the finished good
manufacturer cannot readily switch to an alternative CRT for that specific finished good model.
The cartel eliminated competition not only during the design stage but also post-design-win.
When a finished good manufacturer is in the design stage, the various CRTs available for the
application and size desired are almost completely interchangeable – differences in electrical
components, mounting points, the curvature where the tube and the bezel mate – are all open to
change. After a finished product design has been finalized and a specific CRT has been chosen,
the finished product manufacturer can cut back on production of one design in favor of a
different design for the same size product. In this way, the finished good manufacturer can
readily substitute between two physically incompatible CRTs from different manufacturers,
simply by having two different designs of, for example, TVs using 21" CPTs from two different
tube manufacturers.
When the correct question is addressed – whether different CRTs of a given size can be
economic, rather than physical, substitutes, the answer is clearly affirmative. Thus, both cheating
and punishment are possible.
As a second foundational issue, the existence of cheating – of producing more than the cartel
agreed, charging prices lower than the cartel agreed, or presenting misleading information to the
159
   Guerin-Calvert Opposition Report, at ¶86; Willig Opposition Report at ¶59; Rubinfeld Opposition Report, at
¶¶43-53; and Snyder Opposition Report, at ¶157.
160
  Guerin-Calvert Opposition Report, at ¶22; Willig Opposition Report, at ¶27 (implicitly requiring a punishment
mechanism); and Snyder Opposition Report, at ¶68.
161
      Guerin-Calvert Opposition Report, at ¶48.
162
      This is why economic models find that product differentiation may hinder or facilitate a cartel. See Section V.C.
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cartel meetings – must not be confused with a competitive outcome. Observing a price below the
agreed target price (or any other form of cheating) is not evidence that the observed price is a
competitive price.163 This point was succinctly put in a meeting between Chunghwa and
Matsushita personnel:
       “Director Liu [Chunghwa] explained that although LG still has some under the table conduct,
       but being under the supervision by everyone, they are being pushed towards making most
       offer at the agreed bottom price”164
A competitive outcome occurs with the breakdown of the cartel – a situation where participation
in the cartel provides no benefits to participants compared to non-participation. Basic economics
tells us that firms are unlikely to invest the expensive time of their executives, let alone expose
those executives to possible jail time and the firm to potentially massive fines, if the participation
in the cartel meetings offered no benefit compared to non-participation. The continued
participation of the firms is itself evidence that, regardless of the possible existence of cheating,
the cartel had not broken down to the point where prices and output were at competitive levels.
See Section V.B.
The Defendants’ experts overstate the importance of cheating. Suslow and Levenstein, in a study
of cartels cited by Defendants’ experts, note “There are, however, numerous cartels for which
cheating was an issue either intermittently or throughout the life of the cartel. Thus, for many of
the cartels cheating was a fact of life – a reality of running the organization – but not a cause of
death [of the cartel].”165 Tellingly, they also note that cheating is often not punished; that cartels
that frequently respond to cheating with punishment tend to be unstable.166
These empirical conclusions, in a study of many cartels, directly contradict the assertion by Ms.
Guerin-Calvert that “we would have expected substantial punishments and/or side payments” in
response to the deviations from target prices she claims exist.167 Rather than being evidence of
the cartel’s failure, an ability to continue without punishments, despite imperfect adherence to
cartel plans, is a hallmark of successful cartels.
Empirical economic research has also shown how cartels prevent breakdowns without
punishment:
       “Cartels much prefer to develop the means to monitor each other’s behavior in order to deter
       or physically prevent cheating, rather than resorting to expensive punishments such as price
       wars. Designing effective monitoring mechanisms takes place over time as cartels learn
       about both their competitors and their customers, and then refine the organizational structure
       to provide the necessary incentives and information to sustain cooperation. For example,

163
      See Section VI.A.1.
164
    CPT, Liu, et al., 25 August 1998, Sales Department Customer Contact Report, CHU00028463 - CHU00028464,
at 8464E.
165
   In their study of 81 cartels, only 6 broke up primarily due to cheating. Levenstein, Margaret C. and Valerie
Suslow, May 2011, Breaking up is Hard to Do: Determinants of Cartel Duration, Journal of Law and Economics,
54(2), 455 - 492, at p. 470.
166
  Levenstein, Margaret C., Suslow, Valerie Y., May 2011, Breaking up is Hard to Do: Determinants of Cartel
Duration, Journal of Law and Economics, 54(2), 455 - 492, at p. 485.
167
      Guerin-Calvert Opposition Report, at ¶71, emphasis added.
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       successful cartels will often develop a hierarchy, separating high-level policy decisions made
       by executives from the more frequent ongoing monitoring and negotiations undertaken by
       lower-level managers.”168
Not surprisingly, we observe exactly this approach to cheating in the successful and effective
CRT cartel. I described the hierarchical structure of the cartel meetings in my previous reports.169
The cartel had specific methods within its structure to address allegations of cheating.170 In line
with the approach cartels generally have to cheating (as described above by Suslow and
Levenstein), the cartel primarily used discussion and public shaming (public within the context
of cartel meetings, rather than in a broader, general-public, sense) to address cheating.171 That is
not to say the cartel never threatened each other with retaliation, they did.172 On at least one
168
   Levenstein, Margaret C. and Valerie Y. Suslow, 2006, What Determines Cartel Success?, Journal of Economic
Literature, Vol. XLIV, 43-95, at p. 44.
169
  See Netz Class Cert Report, at section VIII.A.2.a); Netz Class Cert Rebuttal at section VII.B.2.b)(5); Netz Merits
Report at VIII.A.3.a).
170
      See, e.g.,
       •    “President Lin indicated that after the Top Level reached a conclusion regarding the price issue, the
            Working Level personnel should actually Review the market price situation at each meeting, and if
            abnormality appears, then they should find out the real price. The saboteur will be questioned thoroughly.
            The matter will then be reviewed at the Top meeting to seek a solution.” Hsieh, Chun-Mei (Christina), 13
            October 1999, Contact Report, Meeting Topic: CDT Regular Exchange Meeting, CHU00030888 -
            CHU00030893, at 0890.01E.
       •    “In response to the above statements [about SDD Shenzen maintaining high output and low prices], [SDD
            Senior VP] Mr. INN Kim indicated that he: ‘did not know before that’, but only heard about this rumor just
            now. He would investigate and find out the truth himself. Hopefully others would give him some time. If
            proved to be true upon investigation, it will be corrected. If each maker still faces the above situation at the
            next high level meeting, then everybody can discuss how to respond. It’s okay even if the conclusion is to
            Shut Down SDD(Shenzhen).” Chunghwa Picture Tubes, LTD, 26 January 1999, Contact Report,
            CHU00030701 - CHU00030704, at 0702.01E.
171




                      .
172
      See, e.g.,
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occasion, a cartel member threatened to address cheating in the CRT cartel with punishment in
the cartelized LCD market.173 The evidence of “cheating” discussed by Defendants’ experts
amount to little more than the ordinary, day-to-day functioning of a cartel, in line with what
current economic theory and empirical research lead us to expect.
Ms. Guerin-Calvert’s and Defendants’ other experts’ claims that Defendants’ behavior was
inconsistent with that of a “successful cartel” suggests that successful cartels behave in
accordance with simple textbook economic models rather than the more complicated reality
described in empirical studies of real-world cartels.
Defendants’ experts claim that a successful cartel would experience little cheating and when
cheating did occur, it would be punished. They claim that a successful cartel would keep prices
from falling over time, prevent output and production capacity from increasing over time, and
maintain constant market shares among members.174
This is an outdated understanding of how cartels work and is inconsistent with modern economic
theory and empirical studies of real world cartels:175
       “Following Stigler (1964), many economists have argued that such attempts [to collude]
       would inevitably fail as colluding firms succumbed to the temptation to shave prices secretly
       in order to increase their individual firm profits. Subsequent theoretical work has established
       that sufficiently patient and well informed firms can, in principle, collectively deter cheating
       and allow collusion to survive. But the empirical question remains: Do firms manage to deter
       cheating? Does collusion survive? If so, for how long? If not, why not? What impact do
       cartels have on profits and prices while they are in existence? What impact do they have on
       industry structure after their demise?”176



       •    “I said that if SDD [Samsung] insisted, then competition was bound to happen. CPT [Chunghwa] would
            have to respond with countermeasures. PH [Philips] said that there should be differences between the large
            and small ones. Only then, SDD reluctantly said that it would check and see to the best of its ability.”
            Chunghwa Picture Tubes, LTD, 12 March 1997, Contact Report, CHU00028755 - CHU00028756, at
            8755.02E.
       •    “If HEDS [Hitachi] still insists on price competition, then the Major 5 will have Serious Countermeasure.”
            Chunghwa Picture Tubes, LTD, 25 October 2000, Visit Report, CHU00031075 - CHU00031087, at
            1076.02E.
       •    “Mr. Garbi [employee of LPD] reinforced that we [Samsung] must not disturb them into [sic] Panasonic
            and in case it happens they will strongly drop the prices at Semp Toshiba just in order to cause some
            damage to us.” Samsung, 16 June 2005, Meeting Report, SDCRT-0091855 - SDCRT-0092657, at 1859.
173
    “In the event that other companies reduce their [CDT] prices to grab the market share, we will stop LCD supplies
to AOC (currently supplies [90~100K]) and will offer the supplies to other customers at low price to hurt the
market.” Samsung SDI, 23 February 2004, Report on DMM meeting results, SDCRT-0090253 - SDCRT-0090254,
at 0253E.
174
      I discuss these claims directly in Section VI.
175
  Dean Snyder acknowledges this new strand of literature; Deposition of Edward Snyder, 11 September 2014, at
261:10-19.
176
   Levenstein, Margaret C. and Valerie Y. Suslow, 2006, What Determines Cartel Success?, Journal of Economic
Literature, Vol. XLIV, 43-95, at p. 44.
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This suggests that successful cartels react to changing economic conditions by developing
sophisticated organizations, developing trust, and constantly renegotiating their collusive
agreements as they learn what works and what doesn’t. To be sure, the incentive to cheat on
price and output agreements exists, but this does not necessarily make successful cartelization
impossible, especially when it gives rise to the kind of behavior Defendants engaged in:
establishing a complex hierarchy of meetings, frequent communication of sensitive market
information, fixing target prices, restricting output, allocating customers, developing trust,
ensuring compliance via monitoring and credibly threatening noncompliant members.
Defense experts also assert that CRT pricing was complex and opaque, making it difficult for
cartel members to distinguish cheating from fluctuations in demand.177 As a basic matter, this
assertion is difficult to reconcile with the documents they cite as showing complaints about
cheating: the complaints indicate cartel members believed they had detected cheating. Cartel
members indicated they were able to determine the prices offered by competitors.178 The ability
of the cartel to detect deviations from the cartel agreements is not surprising, given the evidence
above that products were far more standardized than Defendants’ experts claimed.179
Additionally, recognizing that overall output reductions equate to supracompetitive prices, the
cartel had systems for monitoring output.180 They also used their influence to prevent non-cartel
members from growing output in a manner that would threaten the cartel’s pricing.181

177
      Guerin-Calvert Opposition Report, at ¶44 and Willig Opposition Report, at ¶¶25-27.
Prof. Willig states that, while unaffiliated finished good manufacturers might reveal one tube vendors prices to
another tube vendor, the finished good manufacturing arms of the vertically integrated tube manufacturers would not
have incentives to reveal cheating that took the form of reduced internal transfer prices. Willig Opposition Report, at
¶29, footnote 36. This claim does not make economic sense. A vertically integrated finished good firm must do three
things to hide low prices on its internal tube purchases: it must not reveal the lower internal tube prices to external
tube vendors, it must continue to purchase from external tube suppliers at cartel prices, and it must not reduce the
prices of the finished goods made with the low-priced internal tubes. Failing to do any of these would reveal the
cheating. But doing all three means that the lower internal transfer prices are meaningless – they have no effect on
the market or on the integrated firm’s profits; they merely change which division of the vertically integrated firms
records the cartel profit.
178
      See, e.g.,
       •    Chunghwa claimed “they have seen reliable proof from customers” regarding Samsung’s pricing.
            Chunghwa Picture Tubes, LTD, 18 August 1997, Visitation Report, Major Content: Exchange of Market
            Information, CHU00028701 - CHU00028703, at 8702E.
       •    Shao'R stated that PHS’s [Philips] orders had been low and determined that SDDD [sic, Samsung] had
            definitely yielded to one of its customers on absolute price and/or PAYMENT TERMs. CDT, 08 January
            1999, China CDT MAKER Contact Meeting, CHU00030695 - CHU00030697, at 0697.01E.
       •    “CPT intends to counter using a tactic of small volume and low price in transactions with LGE, and thereby
            pry out LPD’s [Handwritten: ‘Intra-group’] actual prices and restrict its conduct of damaging market
            prices.” Samsung SDI, 24 November 2004, CDT Market Report, CHU00578887 - CHU00578894, at
            8887.02E.
       •    “Mr. Kim also claims that there are No Confidentiality on current market, SDD has its channel of
            Information.” Du, Ching-Yuan (Michael), 21 August 1996, Customer Contact Report, CHU00028803 -
            CHU00028804, at 8803.02E - 8804E.
179
      See Section V.C.3.
180
      Netz Merits Report, at 55-58.
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VI.         Empirical evidence is consistent with an effective cartel
In the previous sections, I explained why Defendants’ experts’ claims have not changed my
conclusion that Defendants’ conduct was consistent with their goal of collectively raising CDT
and CPT prices above competitive levels. In this section I explain why Defendants’ experts’
claims have not changed my conclusion that the data indicate that Defendants succeed in raising
prices. I start by discussing the empirical analysis that directly shows the impact of one type of
conduct the cartel engaged in – setting target prices for some CRTs – leads to higher prices of
CRTs. I then discuss the empirical evidence offered by Defendants’ experts. I explain why their
comparisons and conclusions are logically flawed, and that when considered in context of the
facts of the CRT industry and cartel, the empirical evidence is consistent with the operation of an
effective cartel.

        A. The cartel’s target prices impacted Defendants’ actual prices
As described in Section V.A, the cartel used a variety of methods to raise price above the
competitive level. One of those methods – the setting of target prices – is quantifiable and
therefore lends itself to empirical analysis. In one of those analyses, I showed that the target
prices set by the cartel impacted the actual CRT prices charged by the cartel, for both CRTs that
had and did not have a target price.

              1. The fact that some actual prices were below target prices is irrelevant
Ms. Guerin-Calvert, Prof. Rubinfeld, Dr. Williams, and Prof. Willig all argue that Defendants
sometimes set prices below target prices and that this is inconsistent with my conclusion that
Defendants successfully raised prices above the competitive level.182
The fact that some actual prices were below target prices does not mean that Defendants set
prices at the competitive level. It only indicates that Defendants did not raise prices as high as
they wanted. See Section V.F.
The proper way to evaluate the effectiveness of the cartel is to compare actual prices with what
the prices would have been if Defendants had competed instead of colluding to raise prices.
Accordingly, a simple comparison of target and actual prices is irrelevant to the question of how
successful cartel members were at raising prices.

                    2. Regression analysis shows that target prices caused actual prices to be
                    higher


181
   “In addition, it is forecasted that Glass supply will face a Shortage next year. Everyone should work diligently to
pressure the Glass Vendors not to supply Glass to those second tier makers [Rainbow, Samtel and Ekranas], so that
they would not be not able to have enough Glass to ruin the market pricing.” Chunghwa Picture Tubes, LTD, 27
November 1998, Visitation Report (Submit), CHU00029259 - CHU00029261, at 9259.01E.
182
      See, e.g.,
       •    Guerin-Calvert Opposition report, at ¶¶70-73.
       •    Rubinfeld Opposition report, at ¶¶54-55.
       •    Williams Opposition report, at ¶¶118-128.
       •    Willig Opposition report, at ¶¶35-36.
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In my previous report, I presented a series of regression analyses that showed target prices
predict actual prices of CDTs and CPTs for which I was able to find a matching target price.
That is, all else equal, higher target prices led to Defendants setting higher actual prices for those
CRTs.
This relationship also holds for CDTs and CPTs for which I was unable to find a matching target
price. To assess this relationship, I created an index of CDT target prices and another for CPT
prices.183 I presented regression results that showed these target price indices predict the actual
prices of CDTs and CPTs for which I was unable to find a matching target price. That is, all else
equal, higher target prices led to Defendants setting higher actual prices for all CRTs. This is
exactly the relationship that one would expect if Defendants succeeded in raising prices.
Prof. Willig, Ms. Guerin-Calvert, and Dean Snyder each criticize my methodology and present
alternate target price regression analyses. Defendants’ experts’ versions of target price
regressions are unreliable and biased toward finding that target prices have no effect even when
there is a direct causal effect. Furthermore, Defendants’ experts mischaracterize the result of
their own (improperly specified) analyses, which are in fact perfectly consistent with
Defendants’ successfully raising prices for all CRTs. None of their claims alters my conclusion
or the approach to my target price regression analysis.

               3. Prof. Willig’s and Ms. Guerin-Calvert’s target price regressions also
               show target prices caused actual prices
Prof. Willig and Ms. Guerin-Calvert both claim that if cartel members adhered to target prices
then changes in target prices should predict changes in actual prices.184
Both perform regressions that are similar to my target price regressions. The most important
difference is that Defendants’ regressions are run in first-differences (quarterly changes in prices)
as opposed to levels, as in my regressions. Below, I explain the importance of this distinction and
why analysis in first-differences is improper.

                        a) Prof. Willig’s and Ms. Guerin-Calvert’s regressions prove the opposite
                        of what they claim; target prices led to higher actual prices
Both Prof. Willig’s and Ms. Guerin-Calvert’s regressions show that changes in target prices
predict changes in actual prices.185 This relationship is statistically significant and its magnitude
is economically meaningful. They argue that their results indicate that the cartel was not very
effective, e.g., Prof. Willig says a 5% increase in target price is associated with a 1.06% change
in actual price and Ms. Guerin-Calvert says that a 1% increase in the target price is associated
with a 0.24% increase in actual price.186 Even if their results were correct (they are not, because
they improperly used first-differences in the regressions), the results indicate that the cartel
successfully raised price by about 20-25% of its goal. Prof. Willig’s and Ms. Guerin-Calvert’s
regressions, even taken at face value, prove exactly the opposite of the point they claim.

183
   An index is used as a measure of “average” target prices. Unlike a simple average, it controls for changes in the
types of tubes made in different periods.
184
      Willig Opposition Report, at ¶38 and Guerin-Calvert Opposition Report, at ¶73.
185
      Willig Opposition Report, at ¶43 and Exhibit 8 and Guerin-Calvert Opposition Report, at ¶75 and Table 4.
186
      Willig Opposition Report, at ¶43 and Guerin-Calvert Opposition Report ¶75.
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Prof. Willig claims that his results do not imply that changes in target prices caused changes in
actual CPT prices because both prices are likely affected by common market factors.187
However, when he controls for changes in market conditions (as I did in my target price
regressions) he still finds that target price changes predict changes in actual prices and this
relationship is statistically significant and its magnitude is economically meaningful.188
Prof. Willig also presented separate regressions for large and small CPTs.189 The regressions
were also conducted in first-differences. The results of the regression for small CPTs were
consistent with the regressions for all CPTs; they show that changes in target prices for small
CPTs predict changes in the actual prices. This relationship is statistically significant and its
magnitude is economically meaningful.
The regression results for large CPTs show that changes in target price for large CPTs do not
have a statistically significant impact on actual prices. Prof. Willig claims that this is evidence
that “even if the alleged cartel were effective at elevating the prices of some CPTs at some points
in time, the effect was likely much smaller – possibly zero – for large CPTs than for small
CPTs.”190 However, as I explain below, target price regressions should be performed using price
levels, not price changes. When I perform the regressions for small and large CPTs using price
levels, I find that target prices predict actual prices of both small and large CPTs and that these
relationships are both statistically significant and economically meaningful. See Exhibits RR-92
and RR-93.

                        b) Defendants’ experts’ criticism of analysis in price levels is wrong
Prof. Willig and Ms. Guerin-Calvert both claim that the analysis in first-differences is better than
the analysis in levels.
Prof. Willig claims that a regression using price changes is a more direct test of Defendants’
adherence to target prices.191 This makes no sense; Defendants set target prices and actual prices
in dollar levels,192 and any “direct test” of their conduct would be conducted in levels.
Prof. Willig also argues that a regression in first-differences is appropriate because target and
actual prices should both be higher for, say, a 29” CPT than for a 21” CPT, and first-differencing
the price data controls for this.193 He may be correct that some CRTs have higher target and
actual prices because they are bigger or higher quality, and that this might cause an improperly

187
      Willig Opposition Report, at ¶43.
188
      Willig Opposition Report, at ¶43 and Exhibit 8.
189
      Willig Opposition Report, at ¶45 and Exhibit 8.
190
      Willig Opposition Report, at ¶45.
191
   “I compare actual and claimed target price changes because such a comparison is a direct test of putative cartel
members’ adherence to target prices. To be effective in an environment where prices are declining, a cartel would
have to guard against overly aggressive price decreases by cartel members who could use such price cuts to gain
sales at the expense of other cartel members. The logic of Dr. Netz’s cartel theory implies that the alleged CPT
cartel used newly announced target prices as a mechanism to set limits to price decreases. As such, if the alleged
cartel were, in fact, effective and its members adhered to target prices, then they would have changed their sales
prices in compliance with changes in announced target prices.” Willig Opposition Report, at footnote 49.
192
      See Target price-structure.xlsx in my backup materials.
193
      Willig Opposition Report, at footnote 49.
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specified regression to find a relationship between target and actual prices where one did not
exist. However, he ignores the fact that I control for this possibility by including appropriate
regressors.194
Prof. Willig and Ms. Guerin-Calvert claim that my analysis of price levels is problematic
because target and actual prices are affected by the same market forces that caused prices to
generally trend downward over time.195 My regression controls for changing supply and demand
conditions including macroeconomic factors and the cost of glass. Prof. Willig admits that it is
possible to directly control for changing market conditions as I have done, although he says it’s
difficult.196 Similarly, Ms. Guerin-Calvert concedes that I directly control for factors that affect
supply and demand but claims that I have failed to control for some unspecified “relevant market
forces”.197 Neither expert points to specific market conditions for which I have failed to account.
Both Prof. Willig and Ms. Guerin-Calvert ignore the fact that I control for unobserved market
forces that affect actual prices. I do this by including the previous period’s actual price in the
regression, thus mitigating the “spurious correlation” problem to which Ms. Guerin-Calvert
refers.198 Ms. Guerin-Calvert acknowledged in her deposition that including a lagged dependent
variable can mitigate the problem of spurious regression.199

                        c) Analysis in first-differences biases the regression results toward
                        finding no relationship between target and actual prices
Defendants’ experts perform their target price regressions in first-differences. This exacerbates
econometric problems related to random variation, or noise, in the data which can obscure the
true impact that target prices have on actual prices.
In practice, virtually all large sales datasets contain some errors and this is true of Defendants’
data in this case.200 This is a fact of life for econometricians and is typically not an
insurmountable problem.


194
    Econometricians call unobserved differences between products “unobserved heterogeneity” and have devised
several methods of controlling for it. I use a method called “fixed effects estimation” while Defendants’ experts use
a method called “first-differences estimation”. Both methods correct the problem of unobserved heterogeneity but
first-differences estimation causes other problems (see below) which make it unsuitable for this particular
application. Wooldridge, Jeffrey M., 2002, Econometric Analysis of Cross Section and Panel Data, The MIT Press:
Massachusetts, at pp. 265-267.
195
      Willig Opposition Report at footnote 49 and Guerin-Calvert Opposition Report, at ¶79.
196
      Willig Opposition Report, at footnote 49.
197
      Guerin-Calvert Opposition Report, at ¶79.
198
   Granger and Newbold state that the “usual recommendations are to either include a lagged dependent variable [as
I have done] or take first differences of the variables involved in the equation [like Defendants’ experts did]”.
Granger, C.W.J. and P. Newbold, 1974, Spurious Regression in Econometrics, Journal of Econometrics, Vol 2, 111-
120, at p. 117.
199
      Guerin-Calvert Deposition, at 178:17-20.
200
   Sources of noise in the data include Defendants’ data entry errors and Defendants’ different methods of treating
rebates and discounts. Another source is the lack of complete information on CRT characteristics. Given the
incomplete information, several CRTs may be used to calculate a single average price, and that price may fluctuate
due to changes in the mix of CRTs over time. This can affect actual prices and target prices.
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When the target price regressions are performed in levels, the noise in the data is small relative to
the actual and target prices. However, the noise in the data is amplified when one analyzes the
data in first-differences rather than levels. The increase in noise obscures the relationship
between target and actual prices.
For example, suppose that the “true” target and actual prices are about $50 and that they are
trending downward by approximately $1 each quarter. Now suppose that the data we observe is
not the “true” values of the target and actual prices but includes a small amount of “noise” on the
order of $0.50, or about 1% of the true prices. If one runs a regression on the price levels,
because the noise in the data (about $0.50) is only about 1% of the price levels (about $50), this
doesn’t present much of a problem to estimation. Intuitively, because the noise is small relative
to the price, it is relatively easy to discern the relationship between target and actual prices.
But if one runs a regression on the price changes, then the noise ($0.50) is 50% of the quarterly
change in prices ($1). When the noise is this large relative to the data used in a regression, the
true relationship between target and actual prices is likely to be obscured.
To further illustrate how the effects of a small amount of noise in the data are exaggerated by
applying first-differences to the data, I simulated a dataset containing target and actual prices.
The simulated target prices decline by 2% each quarter plus or minus a random noise term. The
simulated actual prices are equal to the target prices plus or minus another random noise term.
Because of the way that I have defined the data, actual prices are a direct function of the “true”
target prices. Thus in these data, there is a causal relationship between target and actual prices.
Exhibit RR-94 plots the levels of the simulated target and actual prices over time. The two series
clearly move together and seldom deviate by very much. In contrast, Exhibit RR-95 plots the
changes in the simulated target and actual prices in the same style as Prof. Willig and Ms.Guerin-
Calvert did in their reports.201 In first-differences, there is no longer a clear relationship between
target and actual prices; it has been completely obscured by the random errors, despite the fact
that there is a causal relationship between target and actual prices in these data and that the errors
in the data are relatively small.
These simulated data are only included as an illustration of one problem associated with first-
difference estimation. I do not base any of my conclusions on the simulated data nor do I claim
that the simulated data represent the Defendant data.
It is well-understood that analysis in first-differences makes the problem of noisy data worse
than if the data are analyzed using the fixed effects approach I employ.202 Furthermore, as I
explained in Section VI.A.3.b) my estimation approach affords the same benefits as the first-
difference estimation approach.203


201
      Guerin-Calvert Opposition Report, Figure 20; Willig Opposition Report, Exhibit 7.
202
   The first-difference estimation approach used by Defendants’ experts exacerbates the problem of attenuation bias
to a greater degree than fixed effects estimation approach that I employ. Griliches, Zvi and Jerry A. Hausman, 1986,
Errors in Variables in Panel Data, Journal of Econometrics, Vol. 31, 93-118, at p. 95.
203
   My regressions are run using price levels and used the fixed effects estimator, which provides the same benefit of
eliminating the impact of unobserved time-invariant heterogeneity across different CRTs without inducing a
problem with noise in the data. I also include the previous period’s actual price in the regression, which mitigates the
problem of “spurious regression”.
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Defendants’ arguments in favor of the first-differences specification are not supported by
economic or econometric theory. The target price regressions should be performed in levels.
Performing the regressions in first-differences adds nothing to the analysis and artificially
obscures the relationship between target and actual prices.

                       d) Ms. Guerin-Calvert’s interpretation of target price regressions is
                       unreasonable
Ms. Guerin-Calvert claims that my regressions only demonstrate a correlation between target and
actual prices and not a causal effect. She claims that the relationship in the data may be due to
Defendants’ forecasting ability. That is, when Defendants set target prices they had some idea
what actual prices would be in the following months and the target prices reflect that
information. According to Ms. Guerin-Calvert, when Defendants actually sold CDTs over the
following months, the only reason those prices were correlated with the target prices was
because the cartel was good at forecasting what prices would be.204
This is not a reasonable interpretation of the regression results. To see why, consider the
following analogy made by Ms. Guerin-Calvert. She says that macroeconomic models may
predict future GDP movements but that doesn’t mean the model causes the movements in
GDP.205 She claims that this is similar to how Defendants set target prices (forecasts), which then
had no impact on actual prices.
The results of a regression analysis should be interpreted in the context of the available facts. It’s
a fact that a macroeconomic model cannot cause GDP to move. Any correlation between a GDP
model and subsequent movements in GDP should be attributed to good forecasting. Conversely,
it’s a fact that Defendants had control over both target and actual prices. Not only that, the
Defendants’ stated intent in setting target prices was to affect the actual prices that they would
set in the coming months. It simply makes more sense to attribute the predictive relationship
between target and actual prices to Defendants’ conduct than some unspecified market
conditions for which I have not controlled. The facts indicate that the most reasonable
interpretation of the regression results is that Defendants’ target prices served their intended
purpose by causing Defendants to set higher prices.

                       e) Prof. Willig’s and Ms. Guerin-Calvert’s claims concerning target price
                       predictive accuracy are wrong
Prof. Willig presented another regression which he claims shows that “alleged target prices,
expressed in the same functional form as that Dr. Netz’s analysis”, are poor predictors of actual
CPT price levels.206 Ms. Guerin-Calvert presented a similar analysis for CDTs.207
Prof. Willig’s claim that he uses “the same functional form as in Dr. Netz’s analysis” when
evaluating the predictive accuracy of target prices is wrong. The model he presents is completely
different from my model. In a footnote he clarifies that his model is a regression of actual prices
on target prices and does not include any of the other variables included in my regression. He

204
      Guerin-Calvert Opposition Report, at ¶81.
205
      Guerin-Calvert Opposition Report, at ¶81.
206
      Willig Opposition Report, at ¶¶51-52 and Exhibits 10-11.
207
      Guerin-Calvert Opposition Report, at ¶82.
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justifies this choice by saying “if the alleged cartel members adhered uniformly to the alleged
target prices, then target prices alone should be able to accurately predict actual prices”. When
Defendants set their actual prices, they had full knowledge of prior prices and supply and
demand conditions in addition to the target prices. They would not have had complete
information about future supply and demand conditions when they set the target price. Since the
underlying information on which Defendants based prices was different for targets versus actual
prices, any model of prices should include as controls all of the information available to
Defendants when they set their actual prices.
I do not claim that Defendants adhered uniformly to target prices, and whether they did so or not
is irrelevant to the question of whether they raised prices above the competitive level.
Defendants could have successfully raised prices above the competitive level without adhering
uniformly to target prices. The predictive accuracy of Prof. Willig’s and Ms. Guerin-Calvert’s
oversimplified models is irrelevant to the question of whether target prices caused actual prices
to be higher.

               4. Dean Snyder misinterprets his target price regression results
Dean Snyder also presents a regression that analyzes the relationship between changes in target
prices and changes in actual prices.208 As I explain in Section VI.A.3.c), analyzing price changes
is inappropriate and a proper analysis should examine the relationship between target and actual
price levels.
Dean Snyder’s regression analysis is different from the other Defense experts’ analyses. He
limits his regression to Toshiba’s data and changes the specification of his regression model. He
regressed the change in actual prices on an indicator variable for CRTs with a matched target
price, the change in glass cost, the change in an index of consumer electronic sales, and the
change in the Yen/U.S. Dollar exchange rate. He finds that the coefficient on the indicator
variable is zero. He claims this means target prices had no effect on actual prices.
Dean Snyder misinterprets the results of his own regression. Instead of supporting his conclusion
that target prices have no effect on actual prices, his regression actually indicates that CRTs with
matched target prices are priced similarly to CRTs for which I was unable to identify a target
price. Dean Snyder’s results can be explained as showing either that the target prices moved
none of Toshiba’s prices or that the target prices moved all of Toshiba’s prices. Because of the
way he chose to specify his regression, it is incapable of distinguishing between these two
possibilities. To the extent that the results mean anything at all, they are fully consistent with an
inference that all of Toshiba’s prices were impacted. Dean Snyder agreed with this interpretation
in his deposition.209 In light of the considerable evidence that the cartel frequently succeeded in
raising prices, the more reasonable interpretation of Dean Snyder’s results is that all of Toshiba’s
prices were impacted by Defendants’ conduct.

               5. The cartel’s target prices impacted sales to North American purchasers
Prof. Willig presented a regression analysis of the impact of changes in Defendants’ target prices
on changes in the actual prices paid by North American direct purchasers. His analysis is

208
      See Snyder Opposition report, at ¶¶154-156 and Exhibit 14.
209
      Deposition of Edward Snyder, 11 September 2014, at 241:15-23.
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performed in first-differences, which is improper. As I explain in Section VI.A.3.c), such an
analysis should be performed on price levels, not price changes. I have corrected Prof. Willig’s
regressions to estimate the impact of target price levels on actual prices paid by North American
purchasers. See Exhibit RR-96. Defendants’ target prices exhibit an economically meaningful
and statistically significant impact on the prices paid by North American direct purchasers. These
results are similar to the results of my regressions assessing the impact of target prices on
worldwide CPT prices presented in my previous report.210 In fact, the effect of target prices on
the prices paid by North American purchasers is stronger than the effect on prices worldwide, as
reflected in the larger coefficient estimate in the regression on North American sales.
I also performed a regression that estimates the effect of an index211 of target prices on the level
of actual prices paid by North American purchasers for CPTs that I was unable to match to a
specific target price. See Exhibit RR-97. The index of Defendants’ target prices exhibits an
economically meaningful and statistically significant impact on the prices paid by North
American direct purchasers for CRTs that I was unable to match to a specific target price. These
results are also similar to the results of regressions assessing the impact on worldwide CPT
prices that I presented in my previous report.212 The effect of the target price index on actual
prices paid by North American purchasers is stronger than the effect on prices worldwide, as
reflected in the larger coefficient estimate in the regression on North American sales.
Together, these results indicate that the cartel effectively raised prices to all North American
purchasers, regardless of whether there is a record of Defendants setting target prices for a
particular sale.

       B. Trends in output, capacity, prices, and market shares over time do not indicate
       that the cartel was ineffective
Several Defense experts claim to identify trends in CRT output, capacity, prices, and market
shares over time that are inconsistent with successful collusion.213 They claim that output and
capacity increased while prices fell, either industry-wide or for a particular Defendant, and that
market shares of individual Defendants changed over time. They argue that members of a
successful cartel would not increase output or capacity and cut prices over time and that shifting
market shares are incompatible with a successful cartel. Defendants’ experts are wrong.
There is no theoretical basis for their claims. Even if Defendants’ experts are correct in claiming
that output or capacity increased or that prices fell and Defendants’ market shares changed over
210
      Netz Merits Report Section, at VIII.A.4.a and Exhibit 38.
211
  I used a Fisher price index, which is a method of calculating average prices that accounts for changes in the
composition of target prices over time.
212
      Netz Merits Report, at Sections VIII.A.4.b.3 and Exhibit 45.
213
      See, e.g.,
       •    Guerin-Calvert Opposition Report, at ¶¶55-64, 87-98.
       •    Willig Opposition Report, at ¶¶62-67.
       •    Williams, at ¶¶75-80, 154-157.
       •    Snyder Opposition Report, at ¶¶131-141, ¶158.
       •    Rubinfeld Opposition Report, at ¶¶12, 56-60.
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time, all of these facts are consistent with the presence of a successful cartel. Simply examining
trends in output, capacity, price, and market shares over time provides no economic basis for
concluding that Defendants were unsuccessful in restricting output and raising prices above the
competitive level.
In addition, Defendants’ experts have failed to control for changes in determinants of output,
capacity, price, and market share other than the cartel. The optimal levels of output, capacity, and
price for a successful cartel would only be stable over time if the economic environment failed to
change over time. Members of a profit-maximizing cartel will respond to changing market
conditions by changing output, capacity, and prices. That does not mean that prices are as low or
that output is as high as they would be in the but-for world. It simply reflects the fact that profit-
maximizing cartel members will respond optimally to changing economic conditions. For
example, cartel members might cut prices because of improved production technology (which
effectively decreases production costs) and increase output in response to a surge in demand. In
fact, production technology did generally improve during the cartel period and, for a time at
least, demand for CDTs surged as computer sales soared in the mid-1990s.214
The same flaw applies to the claim that a successful cartel would have stable market shares: that
prediction is based on an underlying assumption that all else is held constant.215 In particular,
predictions of stable shares across cartel members over time assume the cartels’ market demand
and relative costs of supply are unchanging. Defendants’ experts agree that market conditions
were changing; e.g., Defendants’ experts called the CRT market “dynamic” and characterized by
“shifts in the identities and profiles of CRT manufacturers”.216
Similarly, Defendants’ experts recognize that the various firms had differentiated strategies and
sold differentiated products. For example, they report that some firms, primarily the Japanese
vendors, focused on high-quality, high-end CDTs relative to other firms.217 If the Japanese firms
were focused on the high-quality, high-end of the market while Samsung, Chunghwa, and LG
focused on the mass market, I would expect Samsung, Chunghwa, and LG to benefit more from
the explosive growth of home and general-business computers over 1995-2000. This would
result in Samsung, Chunghwa, and LG growing more quickly than the Japanese manufacturers,
which would likely be experiencing lower growth rates in their chosen niches.218 Such a pattern
would see market shares changing over time, even if Samsung, Chunghwa, LG, and the Japanese
were not competing for customers. For example, Ms. Guerin-Calvert reports that Sony’s share



214
      See Snyder Opposition Report, at ¶¶62, 67 and Guerin-Calvert Opposition Report, at ¶¶61, 63.
215
   Even if all else were equal, Defendants’ experts’ claim of stable market shares is too rigid. For example, the
Harrington article cited by Dean Snyder (Snyder Opposition Report, footnote 142) says “the best collusive
equilibrium may have market shares moving over time as firms achieve a more efficient mechanism in which a firm
with lower cost has a higher market share.” Harrington Jr., Joseph E., “Detecting Cartels,” in Buccirossi, Paolo ed.,
Handbook of Antitrust Economics, The MIT Press, Cambridge, 2008, at p. 245.
216
      Guerin-Calvert Opposition Report, at ¶¶26-29 and Snyder Opposition Report, at ¶54.
217
   See, e.g., Guerin-Calvert Opposition Report, at footnote 68 and 220 and Snyder Opposition Report, at ¶44,
internal citations omitted.
218
   For example, engineers would have already been using high-end monitors, so the sales growth to them would be
a replacement or organic growth rate (based on the growth rate of engineers).
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of 17” CDTs declined 10% between 1996 and 2000; she fails to note that Sony’s output of those
products increased 63% over the period.219
The high-end strategy the experts attribute to the Japanese also explains their early exit from
CDT production relative to Samsung, Chunghwa, and LG: the high-end market, accustomed to
high prices for monitors, would have been the first to move to LCD monitors.
Dr. Williams and Dean Snyder claim cartel capacity should grow more slowly than non-cartel
capacity and present evidence purporting to show it did not. The argument fails on both
theoretical and factual grounds.
Some economic models predict that cartel capacity should grow more slowly than non-cartel
capacity, all else equal. However, if the non-cartel capacity and cartel capacity address different
market segments, economic theory offers no predictions about their relative capacity growth
rates. There is no theoretical expectation that demand or cost conditions, and changes in those
conditions, are the same for all market segments. If one segment of the market is growing
differently from the overall market, or experiencing different changes in its cost structure, there
is no reason to expect capacity or output growth in that segment to match the overall market.
This issue affects the manufacturers to which Dr. Williams and Dean Snyder compare
Defendants. For example, Sony, as noted by other defense experts (see text above) focused on
the high-end, high-quality niche and JCT was a small producer in India, a market isolated by
protectionist barriers.220 Similarly, if producers have different costs, economic theory provides
no useful predictions about cartel and non-cartel producer capacity or output over time unless
one accounts for the differences in costs.
Dr. Williams' claim, that we expect a cartel to grow output or capacity more slowly than non-
cartel output or capacity, is a theoretical prediction about the cartel, not about individual firms or
plants within the cartel. To claim this theoretical prediction applies specifically to Panasonic
requires an implicit assumption that cartel member market shares must be perfectly stable over
time - that is, that changes in overall cartel output or capacity (the subject of the theoretical
claim) will be exactly reflected in changes at a specific cartel member (the subject of his
empirical analysis). As described above, there is no theoretical or empirical basis for claiming
that we should expect stable market shares within the CRT cartel. Dr. Williams present no
additional evidence to support this necessary assumption, meaning there is no theoretical
expectation about how Panasonic’s output or capacity should change relative to the output or
capacity of either the entirety of non-cartel members or any individual non-cartel firm.
Dr. Williams’ results do not generalize to other non-cartel members. He compared Panasonic to
JCT, a small firm within the protected Indian market. Another non-cartel firm is Novel, a
significantly larger firm than JCT manufacturing small and medium CPT in China, from which
finished small and medium TVs enter the global market. Novel's output increased from 3.48

219
  Sony 10% drop in share: Guerin-Calvert Opposition Report, at Figure 3. According to the source underlying Ms.
Guerin-Calvert's Figure 3 (Samsung, 11 December 2003, Worldwide CDT Manufacturer's Status, SDCRT-
0201291.), Sony produced 2,550,000 17" CDT in 1996 and 4,149,000 17" CDT in 2000, an increase of 62.7%.
220
   In 1999, “India’s CRT import tariff is still as high as 40%.” Du, Ching-Yuan (Michael), Hsieh, et al., 25
November 1999, Contact Report, CHU00029163 - CHU00029170, at 9164.01E. Six years later, an LPD analysis
cites India as an example of a protected market. Vaartjes, Wiebo, 26 September 2005, Email: competitive analysis,
LPD-NL00140679 - LPD-NL00140692, at 0686.
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million tu
         ubes in 1998
                    8 to 5.77 milllion in 2002
                                             2, a 13.5% C
                                                        CAGR, a grow
                                                                   wth rate subbstantially hiigher
                                                           221
than the 0.2%
         0     CAGR R Dr. Williamms reports fo
                                             or Panasonicc.

         C.
         C Declining  g profit marrgins over tiime are con nsistent with  h an effectivve cartel
Both Ms. Guerin-Callvert and Pro  of. Willig atttempt to shoow that the caartel was ineeffective by
presentinng evidence ofo declining margins; theeir evidencee cannot suppport that connclusion becaause
          t decline over time arre consistentt with the exiistence of ann effective cartel. An
margins that
effective cartel is onee which causses prices to be higher thhan they wouuld otherwisse be, absentt the
cartel’s anticompetiti
         a             ive conduct; generally, margins
                                                m       are hhigher, too. A higher thaan competitiive
margin iss consistent with
                       w a margiin that falls over
                                                o    time, ass illustrated in the follow
                                                                                       wing chart
illustrates:222




                                                                       Actual margin
                                                                       Com
                                                                         mpetitive maargin

                                                                       Tim
                                                                         me



This circumstance is not only possible, in an industry expperiencing secular declinne in demannd
and excess capacity, such as CRT   Ts, it is to bee expected wwhen that inddustry is carttelized. Abseent
price fixiing, competiition in such circumstancces can becoome “ruinouss”.223 Cartel members
themselvves recognizeed that their industry waas in secular decline224 annd that, but ffor the cartell,
would haave engaged in “ruinous”” competitio     on.225 Fallingg margins aree not only coonsistent witth an
effective cartel, they can be an in
                                  ncentive to form
                                                 fo a cartel..
Ms. Guerrin-Calvert’ss commentarry on the faccts is consisttent with minne: she says that the
observed
       d margins aree consistent with
                                   w non-collusive condduct, and I shhow that the observed
margins are
         a consisten nt with an efffective carteel. Taken toggether, our cclaims are coonsistent witth the
statemen
       nt “the existence of a decclining margiin does not ttell us anythiing about whhether the caartel
was effecctive”.
Prof. Willlig goes furtther than Mss. Guerin-Caalvert; he assserts that “[aa] successfull CPT cartel
would haave elevated the profit margins
                                  m       of itss participantss”. This is a true statemeent if the maargins
were elev
        vated relativ ve to what theey would haave been abs ent collusionn. Looking oonly at colluusive
margins cannot
         c       tell you
                      y if profit margins
                                   m        werre elevated rrelative to buut-for profit m
                                                                                        margins. Thhe
conclusio
        on Prof. Willig reaches cannot
                                   c      be su
                                              upported by tthe evidencee he presentss because hiss

221
      William
            ms Opposition Report,
                          R       at ¶75 and Exhibit C--1.
222
      Netz Cllass Cert Reporrt has a similarr chart and disccussion on p. 7 .
223
      Guerin--Calvert Oppossition Report, at
                                          a ¶132 and Wiillig Oppositionn Report, at ¶¶¶64-65.
224
      Netz Merits Report, att 21.
225
      Netz Merits Report, att 21.
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conclusion is based on the false premise that falling margins are inconsistent with an effective
cartel.226

        D. Panasonic’s prices are consistent with participation in the cartel
Dr. Williams claims Panasonic’s and MTPD’s CRT prices were not highly correlated with other
Defendants’ prices and that this indicates Panasonic’s and MTPD’s prices were not determined
in concert with other Defendants’ prices.227 This claim is at odds with basic economic theory,
which predicts that Panasonic’s and MTPD’s prices should be correlated with other Defendants’
prices whether they participated in the cartel or not. Dr. Williams acknowledges this when he
argues that even if Panasonic’s and MTPD’s prices were similar to other Defendants’ prices, that
would not necessarily indicate that they participated in the cartel because non-participants have
an incentive to set prices just below that of the cartel.228 In any event, Dr. Williams’ correlations
are calculated improperly.
Dr. Williams calculates average prices for various size categories of CPTs and CDTs separately
for Panasonic, MTPD, and other Defendants. For example, he calculates the average price for
medium CPTs produced by MTPD. He then calculates the correlation between the firms within a
particular size category; for example, the correlation between MTPD’s and other Defendants’
prices for medium CPTs.
The problem with this approach is that the various size categories include different types of
CRTs with varying prices; e.g., a particular size category would include sales of flat and round
CRTs.229 To the extent that the mix of CRTs in a given group changes from month to month the
average price will also change, even if the price of every CRT remained constant.230 Because of
this flaw in his calculations, Williams’ correlations do not accurately measure how closely
Panasonic’s and MTPD’s prices track the prices charged by other Defendants.
I corrected Dr. Williams’ calculations to account for changes in the mix of products over time by
employing a Fisher Price index.231 This is a method of calculating average prices that accounts

226
   Prof. Willig acknowledged at his deposition that changes in margins over time may be due to “other things ..
going on … in the marketplace”, and that declining margin “alone is not a dispositive fact” regarding cartel
effectiveness. Deposition of Robert Willig, 19 September 2014, at 236:8-23.
227
      Williams Opposition Report, at ¶¶84-86, 129-130, 149 and Exhibits 11, 25, 34.
228
      Williams Opposition Report, at ¶15.
229
   I implement some analyses without taking into account the shape or other characteristics of CRTs. I do this when
the data are not sufficient to incorporate adjustments for other characteristics and when that simplification does not
bias the analysis in a way favorable to Plaintiffs. Neither is true for the analysis Dr. Williams is attempting.
230
   For example, if Panasonic sold two different small CDTs, one at a high price and one at a low price, then an
increase one month in the number of high price CDTs sold would make the average sale price increase even if the
prices of the individual CPTs were both constant.
231
   I calculate separate monthly Fisher price indices for CDTs and for CPTs sold by each Defendant in Dr. Williams’
exhibits. For Panasonic and MTPD, I use only U.S. price data. I make two changes relative to Dr. Williams’
approach, both of which are conservative because they make it less likely that I would find a strong correlation
between Panasonic’s or MTPD’s prices and other Defendants’ prices. I use worldwide price data for other
Defendants and I do not calculate separate price indices for different size groups (e.g., small, medium, and large
CPTs). Both changes allow me to use more data to calculate the correlations because some month-size group-
Defendant combinations have no data. Using worldwide price data for other Defendants is conservative because
worldwide prices may be less correlated with U.S. prices if market conditions in the U.S. differed materially from
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for the change over time of the products that are sold.232 I then use these price indices to
calculate the correlation between Panasonic’s and MTPD’s prices and the prices charged by
other Defendants.
Exhibit RR-98 presents the results. Unlike Dr. Williams’ correlations, most of the pairwise
correlations in my analysis are large and statistically significant, indicating that Panasonic’s and
MTPD’s prices track other Defendants’ prices.

VII. The evidence supports my finding that the cartel caused overcharges of
22% and 9% for CDTs and CPTs, respectively
The facts and the data of the case described in my original report formed the basis for my
opinion that the cartel did in fact impose overcharges on class members.233 My overcharge model
is limited to estimating a reasonable quantification of class-wide damages. Specifically, using the
widely-accepted regression analysis method I analyzed all usable Defendant-produced sales data
from before, during, and after the cartel with additional data to control for non-cartel factors and
obtained a reasonable measure of the amount by which the cartel increased CRT prices over
what they would have been absent collusion. I then multiplied the cartel-imposed overcharge rate
by the pass-through rate and the revenues received by Defendants and Co-conspirators from
sales to class members.
As detailed in my expert report, I combined generally-accepted economic principles and methods
to the facts and data from the case to obtain my overcharge estimate.234 Moreover, I subjected
my results to standard statistical tests and sensitivity checks in addition to considering their
reasonableness in light of the documentary evidence.235
Defendants have filed a number of reports opposing my overcharge model and conclusions. In
particular, Ms. Guerin-Calvert opposes the reliability of my CDT overcharge estimates,236 and
Prof. Willig opposes my CPT overcharge estimates.237 In addition, although Dr. Howell does not
address the validity of my cartel overcharge model generally, she makes assertions regarding its
ability to estimate manufacturer-specific overcharges.238,239



the rest of the world, as Defendants’ experts claim. Calculating a single price index for each Defendant instead is
conservative because prices of CRTs within a size group may be more highly correlated with each other than with
prices of CRTs in other size groups.
232
   Willig Opposition Report, at footnote 12 and Ordover Opposition Report, at footnote 19. Ms. Guerin-Calvert
does not describe a Fisher Price Index, but she uses the concept frequently in her Opposition Report, at Figures 1,
11, 12, 13, 30, and 32.
233
      See, especially Netz Merits Report, at Section VIII.
234
      Netz Merits Report, at Section IX, pp. 96-103.
235
      Netz Merits Report, at Exhibit 65.
236
      Guerin-Calvert Opposition Report, at Section IV.
237
      Willig Opposition Report, at Sections VII, VIII, and IX.
238
  Howell, Vandy, 05 August 2014, Expert Report of Vandy Howell, Ph.D., In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco Division)
(Hereinafter “Howell Opposition Report”).
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Below I demonstrate that Defendants’ experts’ arguments overlook documentary evidence I cited
in making my modeling decisions; neglect statistical tests and sensitivity analyses I reported in
my merits report; and use their altered versions of my model to answer questions other than that
for which I developed the overcharge model in my merits report. I also explain how Ms. Guerin-
Calvert and Prof. Willig make invalid arguments about the consistency of my results and my
conclusions. Specifically, Ms. Guerin-Calvert and Prof. Willig introduce false premises by
mischaracterizing their own altered versions of my model as “Dr. Netz’s model” and assessing
my conclusions against their models’ results.240

       A. My overcharge estimates are consistent with my claim of class-wide impact
Ms. Guerin-Calvert and Prof. Willig argue that my own analyses undermine my claim of class-
wide impact.241 However, both alter the model I used in my merits report.242 In particular, they
change the cartel period variable – the main variable of interest in the overcharge model.243 They
then use results from their altered models as the basis to claim that my analysis is inconsistent
with my class-wide impact claim. Results from Ms. Guerin-Calvert and Prof. Willig’s models,
which implement different cartel variables, do not provide an appropriate basis for assertions
regarding the consistency between my conclusions reached from my model’s results.

            B. My estimate of the overcharge is based on the data available


239
   Dr. Williams uses my overcharge model for another purpose. I discuss that issue below. Williams, Darrell, 05
August 2014, Expert Report of Dr. Darrell Williams, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United
States District Court Northern District of California San Francisco Division) (Hereinafter “Williams Opposition
Report”).
240
      See, e.g.,
       •    “making no change to her analysis other than just unbundling small CPTs from large CPTs reveals that Dr.
            Netz’s model estimates…”Willig Opposition Report, at ¶71.
       •    “Making no change to her analysis other than just unbundling the alleged cartel period such that her model
            is used to estimate potential CPT overcharges for each year of the alleged cartel activity reveals that Dr.
            Netz’s model estimates…” Willig Opposition Report, at ¶73.
Likewise, Ms. Guerin-Calvert assesses the consistency of my claims and my model on the basis of comparing my
claims to estimates she gets:
       •    “if we only add additional indicator variables to Dr. Netz’s model…” Guerin-Calvert Opposition Report, at
            ¶114.
       •    “if we replace the Netz conspiracy variable with annual indicator variables for each year…” Guerin-Calvert
            Opposition Report, at ¶114.
241
      Guerin-Calvert Opposition Report, at Section IV.A. and Willig Opposition Report, at Sections VII.A-B.
242
      Guerin-Calvert Opposition Report, at 73, ¶¶112-114 and Willig Opposition Report, at ¶¶71 and 73.
243
  More specifically, in one version Ms. Guerin-Calvert inserts two additional dummy variables, one for each of
1995 and 1996; in another version she inserts individual dummy variables for each year from 1995 through 2007.
Guerin-Calvert Opposition Report, at ¶¶112-113 and Table 6.
Prof. Willig also adds individual dummy variables for each year from 1995 through 2007. Willig Opposition Report,
at ¶¶73-74 and Exhibit 13.
Ms. Guerin-Calvert and Prof. Willig do not present case evidence supporting annualized cartel periods.
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I described the data that were available and that I used to calculate the overcharge in my Merits
Report. The biggest source of data for the overcharge analysis was Defendants. As I stated:
“Data produced in response to these requests have been incomplete, with some Defendants
failing to provide any data whatsoever.[footnote omitted] Data that were produced vary by
Defendant in terms of time periods covered and production facilities included.”244
Ms. Guerin-Calvert claims that “Dr. Netz also ignores the fact that the dataset she uses to
estimate overcharges is missing sales data for many manufacturers and time periods.”245 In fact I
did what I could – I looked for alternative sources of data, I asked counsel to pursue discovery
from Defendants, and I evaluated the sufficiency of the data to form the foundation for the
overcharge calculation. I would have used data that is missing for some firms and some time
periods if it had been available.
In contrast to Ms. Guerin-Calvert, Prof. Willig instead throws out some of the data. Specifically,
he breaks my benchmark period, which combines information from both the pre- and post-cartel
period, into two separate periods and then throws out the nine quarters of pre-cartel period data
and compares the results to when he throws out the thirteen quarters of post-cartel period data.246
To justify this analysis, Prof. Willig cites to an econometric text that states that if changes occur
in an industry, “then a regression model that neglects those changes can provide a misleading
basis for inference and forecasting”.247 The estimated relationships in my cartel overcharge
model incorporate, not “neglect”, changes within the data period as they are based on data from
the entire data period.

        C. Case evidence is the basis of my overcharge model
Prior to formulating my cartel overcharge model, I reviewed the available CRT sales data and
provided my reasoning for deeming the data sufficient – though incomplete relative to what were
requested – to provide a reasonable measure of the cartel overcharges.248
After reviewing the case evidence – including documented evidence that information exchanges
began as early as February 1995 and continued through at least late 2007 – I selected 1995
through 2007 as the cartel period.249 Additionally, I split the cartel period into two sub-periods to
account for various global competition agencies’ actions which may have impacted the cartel’s
operation and effectiveness.250 Recent empirical academic work supports the reasoning that
competition agency investigations impact cartel effects.251 Ms. Guerin-Calvert and Prof. Willig
do not dispute that the agencies took such actions or my reasoning that such actions could impact
the cartel effectiveness.

244
      Netz Merits Report, at 100-101.
245
      Guerin-Calvert Opposition Report, at ¶129.
246
      Willig Opposition Report, at ¶¶89-90.
247
      Willig Opposition Report, at ¶87.
248
      Netz Merits Report, at 101.
249
      Netz Merits Report, at 99.
250
      Netz Merits Report, at 99-100.
251
   Clark, Robert and Jean-Francois Houde, June 2014, The Effect of Explicit Communication on Pricing: Evidence
from the Collapse of a Gasoline Cartel, The Journal of Industrial Economics, Vol. LXII, No. 2, 191-228.
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Ms. Guerin-Calvert and Prof. Willig do not present case evidence or reasoning supporting
annualized cartel periods. Prof. Willig cites to an ABA treatise that says estimating overcharges
for various sub-periods “may” provide a more accurate estimate of overcharges “for specific
class members”.252 This authority does not support using an arbitrary division of the overcharge
into years, nor does it suggest such a division improves the accuracy of estimating classwide
damages.
I also used case evidence and industry facts when determining reasonable control variables –
which account for non-cartel related CRT pricing factors – for my cartel-overcharge model.253 In
particular, I used controls for supply factors – including CRT glass prices; and demand factors –
including unemployment and other display technologies. I also included a flexible time trend to
control for the influence of trends in CRT prices over time not otherwise captured by the model’s
supply and demand variables.254
My overcharge model is fit to the facts and data of the case.

         D. Case evidence supports cartel overcharges throughout 1995-2007
Ms. Guerin-Calvert and Prof. Willig both make the claim that my model estimates positive and
statistically significant results for 1995 and 1996 but that for other years my model finds small or
negative overcharges.255 This is simply false; my model does not estimate annual overcharges.256
Ms. Guerin-Calvert and Prof. Willig also assert that the evidence does not support positive
overcharges in 1995 and 1996. However, the positive overcharges Ms. Guerin-Calvert’s and
Prof. Willig’s models estimate in 1995 and 1996 are supported by the record evidence. For
example, as documented in my Merits Report, early 1995 meeting notes demonstrate cartel
members were engaging in information exchanges in that time frame.257 Exhibit RR-85
documents a multitude of cartel meetings and communications from 1995 and 1996.
Additionally, deposition testimony establishes that the meetings allowed cartel members to more
slowly decrease prices and more quickly increase prices in response to industry conditions than
they would have absent the exchanges.258
This case evidence undermines Ms. Guerin-Calvert’s and Prof. Willig’s claims that changes in
industry conditions in 1995 and 1996 caused higher prices rather than the cartel. In fact, changes

252
      Willig Opposition Report, at footnote 80.
253
      Netz Merits Report, at 102-103.
254
      Netz Merits Report, at 103.
255
      Guerin-Calvert Opposition Report, at ¶112 and Willig Opposition Report, at ¶73.
256
  My model does, however, include variables to control for, among other factors, changes in CRT prices over time.
Netz Merits Report, at 104.
257
   Notes from a 1995 meeting show that communication regarding price increases had occurred or was planned with
“all CPT/CDT Makers in Thailand, Malaysia and Singapore”. Chunghwa Picture Tubes, LTD, 29 May 1995, CPT
Sales & Marketing Division Visiting Report, CHU00028933- CHU00028945, at 8933.01E.
258
    “Q. Do you agree, Mr. Liu, that in times of over-supply these group competitor meetings helped keep prices from
falling as much as they would have? [Objections omitted.] A. Agree.” “Q. And when there was a shortage of tubes,
sir, do you agree that these group competitor meetings allowed suppliers to raise prices faster? [Objections omitted.]
A. Agreed.” Deposition of Chih Chun-Liu, Vol. II, 20 February 2013, at 364-365.
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in industry conditions provided opportunities for cartel members to price differently than they
would have absent coordination. In particular, Ms. Guerin-Calvert and Prof. Willig both claim
the glass shortages in 1995 and 1996 are the explanation for their high estimated overcharges in
those years relative to later years.259 My model includes CRT glass prices for each year,
including 1995 and 1996, in order to isolate the cartel price effect from changes in glass prices.
Furthermore, Dean Snyder claims that there was a glass shortage in 1998 but Ms. Guerin-Calvert
and Prof. Willig both assert low overcharge estimates after 1996.260 If glass shortages were the
cause of higher overcharge estimates in 1995 and 1996 that were not sufficiently captured by the
inclusion of a glass price index, then Ms. Guerin-Calvert and Prof. Willig should have found
high overcharges in 1998 as well.
Ms. Guerin-Calvert and Prof. Willig also base their claims regarding 1995 and 1996 cartel
overcharges on the amount of target price coverage in 1995 and 1996.261 Target price evidence,
which the participants explicitly tried to keep secret, is not the extent of the cartel evidence
available; see Section V. As I explained in my merits report, I considered the full-body of
evidence when determining the cartel period, including notes on meetings and other information
exchanges.262
Ms. Guerin-Calvert also claims that my “assumption that the 1995-1996 price movements were
caused by the alleged conspiracy also is inconsistent with the opinions of DAP Plaintiff Dell’s
expert Dr. Mohan Rao.” 263 As an initial matter, I did not assume that any price movements were
caused by the conspiracy; I reviewed the record evidence and drew appropriate conclusions. I
also did not use the overcharge model as a basis for concluding that the cartel was able to raise
price above the competitive level – I used it to obtain a reasonable estimate of the cartel imposed
overcharge.
Further, I understand that Dr. Rao submitted an expert report for Dell in this matter alleging
cartel overcharges on Dell.264 This is a different question, involving different plaintiffs, than the
question I investigated. Additionally, Dr. Rao did not “conclude[] that it would be inappropriate”
to include 1995 and 1996 in the cartel period.265 As the quote Ms. Guerin-Calvert cites in her
report explicitly indicates, Dr. Rao stated that there would be “challenges” to doing so.266 He also
explained that his modeling decision was influenced in part by the lack of significant Dell sales



259
      Guerin-Calvert Opposition Report, at ¶118 and Willig Opposition Report, at ¶76.
260
      Snyder Opposition Report, at ¶¶63-64.
261
      Guerin-Calvert Opposition Report , at ¶116 and Willig Opposition Report, at ¶75.
262
      Netz Merits Report, at 99.
263
      Guerin-Calvert Opposition Report, at ¶120.
264
   Dr. Rao’s assignment was “to calculate the overcharges paid by Dell on its direct purchases of CRT monitors”.
Rao, Mohan, 15 April 2014, Expter Report of Mohan Rao, Ph.D, Dell Inc., et al. v. Hitachi, Ltd. (United States
District Court Northern District of California San Francisco Division) (Hereinafter “Rao Merits Report”), at 3.
265
   “Dr. Rao was the only one of the Plaintiffs’ experts to explicitly address the unique market conditions during this
time period, and he concluded it would be inappropriate to assume that the alleged conspiracy accounted for the
behavior of CDT prices in 1995 and 1996.” Guerin-Calvert Opposition Report, at ¶120.
266
      Guerin-Calvert Opposition Report, at ¶120.
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prior to 1997.267 In contrast, I have obtained usable sales data beginning in 1993.268 Dr. Rao also
acknowledged case evidence that “information exchanges among the defendants began at least as
early as 1995” .269
Dr. Rao was seeking to answer a different question, for a different plaintiff, using different data
and never offered an opinion that including 1995 and 1995 in the cartel period was inappropriate.
Documentary and quantitative case evidence supports cartel overcharges throughout the damages
period, including 1995 and 1996.
Prof. Willig also claims that my CPT overcharges undermine my claim that the cartel had class-
wide impact in part on his premise “just unbundling small CPTs from large CPTs” causes my
model to estimate a 3.9% overcharge.270 Prof. Willig arrives at this figure by dropping all
observations on CPTs smaller than 26 inches. I did not exclude observations on CPTs smaller
than 26 inches; I included all usable data. Even accepting Prof. Willig’s positive and
economically significant 3.9% overcharge estimate on large CPTs does not contradict a claim
that the cartel had class-wide impact. Prof. Willig points out that his 3.9% overcharge estimate is
not statistically different from zero.271 As Prof. Willig acknowledged at his deposition, the
manner in which he split up the data could have been a factor in the results not being statistically
significant.272 Whether an estimate is statistically significant or not does not impinge on whether
it is economically significant nor does it change the fact that given the data and model Prof.
Willig used, the best estimate of the overcharge is 3.9%.
Moreover, my model isolates the price effects of size from the cartel’s impact in a number of
ways. For one, my model has variables for each CRT-glass price and size combination; this
allows changes in CRT glass prices to impact CRT prices differently depending on the size.273
Since demand for CRT glass drives CRT glass prices and demand for CRT glass is derived
directly from demand for CRTs, these interaction variables control for the possibility that, for
example, alternative display technologies affect the demand – and hence price – for CPTs
differently for different sizes.274 Further, I include dummy variables for each manufacturer and
size; these variables not only account for price variation by size, but also allow the premium for
one size versus another to vary between manufacturers.


267
  “In addition, Dell’s purchases of CRT monitors, according to its purchase records, were relatively small prior to
1997. These factors also provide reasonable support for a damages model that does not extend to a period prior to
1997.” Rao Merits Report, at ¶22.
268
      Netz Merits Report, at 101.
269
      Rao Merits Report, at ¶53.
270
      Willig Opposition Report, at ¶71.
271
      Willig Opposition Report, at footnote 79.
272
      Deposition of Robert Willig, Ph.D., at 245:12 - 246:13.
273
  These are the (glass and size) and (glass and size-squared) interaction terms in my model. Netz Merits Report, at
104.
274
   In fact, by including a term interacting glass prices with a squared size variable, I also allow the differential effect
of glass prices on CRT prices to itself vary by size. For example, the effect of glass prices on CRT prices is allowed
to vary between 14” and 15” CRTs differently than it is between 20” and 21” CRTs
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I have presented evidence that large CPTs were cartelized in Section V. I estimate my cartel
overcharge model using data that include large CPT prices and the overcharge coefficient is
statistically and economically significant. The documentary and case evidence supports cartel
overcharges on large CPTs.

        E. My overcharge model is reliable
Ms. Guerin-Calvert and Prof. Willig argue that my overcharge model is unreliable. To support
this assertion Ms. Guerin-Calvert cites to academic literature that econometric models should be
robust to small changes.275 Similarly, Prof. Willig questions the reliability of my dummy variable
model on the basis of academic literature highlighting the well-known fact that, like every other
empirical model, the dummy variable approach incorporates assumptions and these should be
taken into consideration.276
I agree that sensitivity analyses, along with consideration of the underlying theory and other
evidence, are an important type of information when evaluating empirical work. I documented
the sensitivity analyses and the resulting range of overcharge estimates I performed in Exhibit 65
of my merits report. Despite pointing out that such analyses are pertinent for judging estimation
results, neither Ms. Guerin-Calvert nor Prof. Willig opposed or otherwise discussed these
sensitivity analyses.277
Likewise, I agree with the reference Prof. Willig quotes that the dummy variable approach
should “not be made without substantial thought.” I explained my reasoning for implementing
the dummy variable in my merits report.278 Further, when read in full, the cited paragraph does
not undermine the reliability of the dummy variable approach. Instead, the conclusion from the
paragraph is that when prices are determined in complex ways the dummy variable approach and
forecasting approach are likely to generate different estimates.279 Again, I explained in my merits
report why, given the available data, I deem the dummy variable model to be appropriate.
Finally, the reference paragraph states (in part) that “If prices are determined in rather complex
ways, the use of a single dummy variable that will reflect mean differences between the
benchmark and but-for periods may be too simplistic.”280 I did not use a single cartel-period
dummy variable.




275
      Guerin-Calvert Opposition Report, at footnote 177.
276
      Willig Opposition Report, at ¶88.
277
   Dean Snyder uses an alteration in lag structure as a sensitivity analyses; this is one of the sensitivity tests I
reported in Exhibit 65. Snyder Opposition Report, at footnote 175.
278
      Netz Merits Report, at. 96-101.
279
   “If prices are determined in rather complex ways, the use of a single dummy variable, that will reflect mean
differences between the benchmark and but-for periods may be too simplistic. In particular, if one or more of the
explanatory variables in the model is correlated with the dummy variable, then the dummy variable and forecasting
approaches are likely to generate different damages estimates.” Rubinfeld, Daniel L., 2008, Quantitative Methods in
Antitrust, Competition Law and Policy, Issue 1, ABA Section of Antitrust Law, 723-742, at p. 740.
280
      Willig Opposition Report, at ¶88.
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Furthermore, I evaluated the reasonableness of my overcharge estimate in the context of other
case evidence and economic theory.281 Defendants’ experts also do not oppose or otherwise
discuss these considerations.
As explained my merits report, my cartel overcharge model includes variables capturing CRT
supply and demand factors to isolate the price-effect of the cartel.282 In particular, although
defendant-specific cost data sufficient for regression analysis have not been produced, I included
a CRT glass price index.283 Case evidence indicates that glass comprises a significant portion of
the manufacturing cost of CPTs and CDTs.284 Moreover, CRT glass demand derives from
demand for CRT products – changes in CRT product demand will be reflected in changes CRT
glass prices.
In contrast to Ms. Guerin-Calvert and Prof. Willig’s claims that I do not have sufficient controls
in my model the variables I included in my overcharge model explain over 95% of CDT price
variation and over 98% of CPT price variation.285
Prof. Willig claims that the Bank of Korea glass price index is unlikely to reflect global glass
costs.286 To support his claim Prof. Willig points out that the Bank of Korea CRT glass prices do
not always correlate with Japanese scientific instrument glass, Japanese float glass (used, e.g., in
windows), and U.S. blown glass. It is not surprising that differences may exist between the
Korean CRT glass index and the non-CRT glass indices Prof. Willig considered. That is not
evidence against the claim that Korean CRT glass prices were likely to be correlated with other
global CRT glass prices.287
I note that Defendants’ expert Dean Snyder also identifies glass as a significant part of the CRT
unit price and uses the Bank of Korea glass index to measure CRT glass prices in his analyses.288
Ms. Guerin-Calvert and Prof. Willig identified different proxy variables they assert more
appropriately control for relevant CRT market factors. Specifically, they suggest adding
worldwide desktop computer shipments (for CDTs); the Baltic Dry Goods Shipping Index; the
Korean Labor rate; the Korean Won-U.S.-dollar exchange rate; and sales in U.S. electronics
retail stores (for CPTs).289,290
There are a number of alternative indices that proxy for the same types of information as the
variables Ms. Guerin-Calvert and Prof. Willig suggest. For example, fuel is a component of both

281
      Netz Merits Report, at 105.
282
      Netz Merits Report, at 102-103.
283
      Netz Merits Report, at 103.
284
      Netz Merits Report, at 102.
285
      Exhibit RR-99 provides the unadjusted and adjusted R-squareds.
286
      Willig Opposition Report, at footnote 86.
287
      See Willig Opposition Report, at footnote 108.
288
      Snyder Opposition Report, ¶¶63-64.
289
      Guerin-Calvert Opposition Report, at ¶¶124-125 and Willig Opposition Report, at ¶100.
290
   Ms. Guerin-Calvert mistakenly asserts that the Korean glass prices are in won when in fact I converted the index
to U.S. prices. Guerin-Calvert Opposition Report, at ¶125.
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shipping costs and production (energy) costs and so would be relevant even to CRTs produced in
North America and that don’t involve ocean shipping, whereas Prof. Willig testified that the
Baltic shipping index he used would be irrelevant to these tubes.291 He also acknowledged that
he is not sure what is in the U.S. electronics store variable he used but thinks it includes
refrigerators and other non-CRT related home appliances.292 Exhibit RR-99 shows that cartel-
imposed overcharges remain positive and significant after adding the fuel index as well as the
control variables suggested by Ms. Guerin-Calvert and Prof. Willig. Including the suggested
variables does not explain meaningfully more price variation than the model I estimated.293

        F. 22.0% and 9.0% are reasonable measures of the direct overcharge imposed on
        CDTs and CPTs, respectively
Although the Defendants’ cartelization of the CRT industry makes it impossible to observe the
prices that would have resulted in a competitive CRT market, economists have developed a
number of research methods to use observable information to estimate outcomes in such
unobservable but-for worlds.294 The approach I followed in my Merits Report entailed
combining generally-accepted economic principles and methods to the facts and data from the
case. I also conducted statistical tests and sensitivity analyses as well as evaluated the results in
light of the qualitative evidence.
The arguments in Defendants’ Experts’ Opposition Reports rely on false premises, faulty
reasoning, and irrelevant claims that do not undermine the reasonableness of the approach,
model, data, results, or conclusions I presented in my Merits Report.
I conclude that 22.0% and 9.0% are reasonable measures of the direct overcharge imposed on
CDTs and CPTs, respectively.

       G. Case evidence supports an overcharge to North American purchasers
Defendants’ experts argue that Defendants’ collusive actions did not have an impact on prices in
North America or that the impact there differed from the impact in other parts of the world.295 I




291
      Deposition of Robert Willig, 19 September 2014, at 277:8-277:24.
292
      Deposition of Robert Willig, 19 September 2014, at 286:6-286:21.
293
   The adjusted      statistics for the CDT and CPT overcharge models I reported in my merits report were 0.952 and
0.986, respectively. In contrast, the adjusted   statistics from CDT and CPT models that also include the control
variables suggested by Ms. Guerin-Calvert and Prof. Willig are equal to 0.965 and 0.987. Given that the adjusted
statistic ranges between zero and one, these are very slight differences. For calculations, see “adjusted r2
comparisons.txt” from my backup.
294
      Netz Merits Report, at 96-97 and footnote 283.
295
      See, e.g.,
       •    Rubinfeld Opposition Report, at ¶¶67-90.
       •    Williams Opposition Report, at ¶¶28-36, 41, 47-54, 140-143.
       •    Willig Opposition Report, at ¶¶96-98.
       •    Wu Opposition Report, at ¶¶67-84.
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have already documented evidence and provided reasoning for my conclusion that the cartel’s
impact applied to tubes sold to class members.296 Section VI.A.5.
Prof. Willig is the only expert to attempt an empirical analysis of the impact to purchasers
located in North America.297 The others simply argue that the cartel could not have had an
impact as a matter of theory. Contrary to these theoretical arguments, documentary evidence
establishes that cartel members were aware of international – including North American –
antitrust implications of their conduct.298
Prof. Willig identified Defendants’ sales to North American purchasers and used these data to
generate an estimate of the cartel overcharge specific to North American purchasers.299 Prof.
Willig’s estimate of the overcharge indicates that North American prices were, on average,
5.14% higher during the cartel period than they would have been in the but-for world.300 By
itself, Prof. Willig’s estimate is evidence that Defendants’ conduct had an impact on North
American purchasers. Further, Prof. Willig’s North American overcharge estimate is statistically
indistinguishable from the worldwide estimate of 8.94% presented in my previous report.301 My
estimates of the worldwide CPT overcharge are based on significantly more data, which means
they are more reliable and precise than Prof. Willig’s estimates of the overcharge paid by North
American purchasers.302

296
      Netz Merits Report, see especially Section VIII.A.5: The cartel’s price-fixing impacted the U.S., at pp. 72-81.
297
      Willig Opposition Report, at ¶98.
298
      See, e.g.,
        •   An internal MTPD e-mail has the subject, “(Confidential) Thomson Mexicali Factory Information”. The
            body text says, “Since this is in violation of antitrust, please do not leak it to others. Thomson production
            information. Sales figures obtained from the marketing unit at the Paris headquarters. It’s the Marion A59
            25V.” The e-mail was forwarded to other MTPD employees in the U.S. with the warning “Please treat this
            as strictly confidential. It is information about the advancement of business.” Kinoshita, Ayumu, 02 July
            2003, E-mail, Subject: FW: (Confidential) Thomson Mexicali Factory Information, MTPD-0035375 -
            MTPD-0035376, at 5375E.
        •   From meeting notes: “The industry meetings should remain confidential in consideration of international
            antitrust laws”. Shenzhen Samsung Display Device, 05 August 1999, The Chinese Industry Meeting
            (August), SDCRT-0086672 - SDCRT-0086674, at 6672E.
        •   “Large size price trend: 25V $102-103 (major customer, bottom price standard) Based on North America
            antitrust law, CRT companies are not to discuss prices with each other, but in my opinion it appears to be a
            price we heard from Philips [return] Price gap between 25v and 27V: Tube (ITC standard) around $35, set
            retail standard $40-50.” Im, Chul Hong, 12 January 1999, North America CPT companies meeting
            summary, SDCRT-0002526 - SDCRT-0002528, at 2528E.
299
      Willig Opposition Report, at ¶98.
300
      Willig Opposition Report, at ¶98.
301
   See “test nafta significance.txt” in my backup for calculations. Prof. Willig’s 5.14% estimate is a weighted
average of the two cartel sub-period estimates; I have reported the weighted average CPT overcharge from my
previous report (8.94%) for comparison purposes.
302
   My worldwide overcharge estimates incorporate data from all sources while Prof. Willig is forced to discard a
substantial amount of data from his NAFTA overcharge estimates because the data have incomplete customer
location information. As a result, my worldwide CPT overcharge estimates are based on 2,574 observations, while
Prof. Willig’s NAFTA estimates are based on only 1,314 observations. My estimates are based on roughly twice as
many data points as Prof. Willig’s.
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        H. Case evidence supports Hitachi overcharges
Dr. Howell claims to assess my model’s ability to identify and measure Hitachi specific
overcharges.303 Not only does Dr. Howell not use my model in her estimate, her approach is
inapplicable to CDTs because of its reliance on only Hitachi data for the but-for world.304 And,
while her approach allows her to estimate a Hitachi specific CPT overcharge, her estimate is
based on nine Hitachi observations from the before period; these nine total observations are for
three different CPT sizes.305
My approach allows me to use all usable defendant data when estimating the cartel
overcharge.306 By using all available data, I am able to estimate the cartel overcharge for both
CDTs and CPTs. Hitachi sales data are included in the data used to estimate the cartel
overcharges and my model includes manufacturer specific identifiers to control for
manufacturer-specific price effects.
Dr. Howell did not evaluate how her results fit in with the rest of the case evidence. In fact, she
did not evaluate any produced documents or data outside of the transaction data.307 This is not
good statistical practice.308 Case evidence establishes that Hitachi participated in the cartel. See
Exhibit RR-88.

303
      Howell Opposition Report, at ¶4.
304
   Dr. Howell changed my model by adding “interactions between all control variables with a dummy variable for
the Hitachi Defendants.” Howell Opposition Report, at footnote 7.
305
      See, e.g,
       •    Howell Opposition Report, at p. 9, Notes to Table 2.
       •    18 September 2014, Deposition of Vandy Howell, Ph.D., at p. 21:17-21:21.
In fact, by including Hitachi interactions for all control variables, Dr. Howell is effectively throwing out all non-
Hitachi data for any of her Hitachi-specific estimates. That is, one could obtain the exact same estimates as Dr.
Howell by dropping all non-Hitachi data instead of implementing a Hitachi interaction for all control variables.
306
      Netz Merits Report, at 104.
307
    “Q. The only document you reviewed in this case was -- for this report that you've relied upon was HDP-
CRT00018516? A. Yes.Q. And that's Hitachi's transactional data? A. Yes.Q. And there were no other documents
produced in the litigation that you relied on in forming your opinion for Dr. McClave's report? A. Not to do these
tests, no. Q. And is that the same document you relied on for Dr. Netz's report? A. Yes.” 18 September 2014,
Deposition of Vandy Howell, Ph.D., at p. 52:1-13.
308
    See, e.g.,
       •    “Naturally, the value of the statistical analysis depends on the substantive knowledge that informs it.”
            Kaye, David H., David A. Freeman, 2011, Reference Guide on Statistics, Reference Manual on Scientific
            Evidence, Third Edition, National Academies Press: Washington, D.C., 211-302, at p. 215.
       •    “Observational studies can produce legitimate disagreement among experts, and there is no mechanical
            procedure for resolving such differences of opinion.”, Kaye, David H., David A. Freeman, 2011, Reference
            Guide on Statistics, Reference Manual on Scientific Evidence, Third Edition, National Academies Press:
            Washington, D.C., 211-302, at p. 222.
       •    “Even in cases where quantitative analysis is important, a solid qualitative analysis and a good factual
            knowledge of the industry will provide both a necessary basis for quantitative work and a source for vital
            reality checks regarding the conclusions emerging from empirical work.” Davis, Peter, Eliana Garces,
            2010, Quantitative Techniques for Competition and Antitrust Analysis, Princeton University Press:
            Princeton, at p. iv.
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The empirical and documentary evidence supports Hitachi overcharges.

       I. Dr. Williams’ use of my overcharge model is not appropriate
Dr. Williams uses my overcharge model “for the sole purpose of identifying ‘differences’ in
Panasonic Corporation’s CPT pricing behavior and the pricing behavior of other
manufacturers”.309 Dr. Williams applies my overcharge regression to the subset of the
observations in my data that have prices for Panasonic, BMCC, or MTPD and to a subset of
observations in my data that purportedly include prices for Panasonic or MTPD, but not
BMCC.310 On the basis of his analysis, Dr. Williams concludes that Panasonic’s and MTPD’s
CPT pricing is lower than other manufacturers’ pricing.
It is not clear why Dr. Williams is using my overcharge model for this task. Data on Panasonic
and MTPD’s prices are available, as are data on many other CPT manufacturers’ prices. Thus, a
direct comparison could be made. Indeed, that is what Dr. Williams does elsewhere when he
examines the correlation between different firms’ prices; see Section VI.
Dr. Williams’ interpretation of the results of his analysis is simply wrong. The results Dr.
Williams obtains from applying the overcharge model to only Panasonic CPT data indicates how
much higher Panasonic’s CPT prices were during the cartel period relative to the non-cartel
period.311 The overcharge estimate based on all defendant CPT data indicate how much higher
all defendants’ prices were during the cartel period relative to the non-cartel period. Comparing
the two overcharge estimates does not indicate how Panasonic’s prices compare to all
defendants’ prices. That is, Dr. Williams’ analysis does not provide a basis for his claim
regarding Panasonic’s prices relative to other firms’ prices.312
Even if Dr. Williams’ result were factually correct, that Panasonic charged lower prices than
other Defendants, his interpretation of this result is incorrect. He is correct that such pricing
could be consistent with Panasonic’s non-participation in the cartel. But the result is just as
consistent with Panasonic’s participation in the cartel; Panasonic could have charged more in the
actual world than it would have absent the cartel and have been the lowest priced manufacturer
in both the but-for and actual worlds.

VIII. Defendants’ experts’ margin evidence is consistent with my overcharge
estimates
Dr. Wu, Ms. Guerin-Calvert, and Prof. Willig each conclude that the overcharges I have
estimated are too high because, according to their calculations, certain Defendants would have

309
  Dr. Williams specifically says that he is not evaluating the validity of my overcharge model. Williams Opposition
Report, at ¶¶90-95 and Exhibits 15A, 15B, and C-10.
310
      See “Exhibit 15 C-10.do” in Dr. Williams’ back-up papers.
311
      Dr. Williams says that he is not using my overcharge model to calculate overcharges.
       •   Williams Opposition Report, at ¶90.
       •   Deposition of Darrell Williams, 15 September 2014, at 218:25-219:12.
Nonetheless, Dr. Williams reports and focuses on the coefficient that gives the overcharge. For example, his Exhibit
15 graphs the “Estimated Overcharge”.
312
      Williams Opposition Report, at ¶95.
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earned low or negative accounting margins if they had not imposed the overcharges I have
estimated.313 As I explain below, these analyses cannot support the conclusions they have drawn
regarding profitability, exit by suppliers, or investment in the but-for world. Even if the
calculations were reliable, they wouldn’t mean anything, because Defendants’ experts’
conclusions about the possibility of negative profit, exit, and investment are consistent with my
prior testimony regarding the but-for world.
As I laid out in my merits report,314 in the absence of the cartel’s anticompetitive conduct, the
likely outcome would have been “ruinous competition”, caused by the combination of declining
demand and excess capacity. The Defendants themselves recognized that the CRT industry was
in secular decline and that, absent the cartel, they would have engaged in ruinous competition.315
In such an environment, price need not cover fixed costs in order for firms to continue in
operation. Firms will continue to supply output as long as price exceeds variable cost, even for
long periods of time, because earning some variable profit is better than earning nothing.316
My view of the but-for world is therefore consistent with the continued supply of CRTs by some
firms despite prices that are too low to cover fixed costs. The but-for world is also consistent
with exit from the industry of some firms that supplied CRTs in the actual world.317 The firms
that would have continued to supply CRTs in the but-for world would have tended to be those
with the lowest variable costs.318 Market-wide quantity demanded would have been greater in the
but-for world than in the actual world due to lower prices, absent the cartel’s price-fixing.319
Therefore suppliers would have had greater economies of scale than in the actual world, and
therefore lower costs than in the actual world, for two reasons: (i) because demand would have
been stimulated by lower prices in the but-for world and (ii) because if some firms exited, then
the market-wide output would have been divided among fewer firms than supplied CRTs in the

313
   Wu Opposition Report, at ¶¶19, 66; Guerin-Calvert Opposition Report, at ¶133; and Willig Opposition Report, at
¶¶94-95.
314
      Netz Class Cert Report, at 38-39.
315
      Netz Merits Report, at 21.
316
   Scherer, F.M., and David Ross, 1990, Industrial Market Structure and Economic Performance, Third Edition,
Houghton Mifflin Company: Boston, p. 294. Prof. Willig agreed at his deposition that when “considering whether or
not to cut back or exit, then garden variety blackboard economics says you want to look at the avoidable costs is the
word we use on the blackboard. If you were to exit, what costs would you avoid? You’d avoid operating cost, you’d
avoid the labor cost, the material costs and you might avoid some of your capital costs to the extent that those
facilities where fungible had other uses were not entirely sunk in this particular application. But if the costs really
are totally specialized can’t do anything with these facilities but make CPTs you still might want to exit but you
wouldn’t take into account those completely sunk costs.” 19 September 2014, Deposition of Robert Willig, Ph.D., at
310:11 - 311:6. Regarding “the extent … those facilities where fungible had other uses”, Prof. Willig conceded that
“[a]ll I really know is that it’s not extremely fungible, but I don’t know how significant the remaining salvaged costs
might be.” Deposition of Robert Willig, 19 September 2014, at 311:7 - 14.
317
   I use the word “exit” to mean the discontinuation of supply of CRTs; firms may exit the supply of CRTs yet
continue to supply other products.
318
   Prof. Willig agreed at his deposition that firms with high variable costs would tend to be the first to exit an
industry when prices are declining, other things equal. Deposition of Robert Willig, 19 September 2014, at 301:5 -
15.
319
  Dr. Wu and Prof. Willig agree. Wu Opposition Report, at ¶21, footnote 29 and Deposition of Robert Willig, 19
September 2014, at 303:12 - 17.
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actual world, so each firm that continued to supply CRTs would have produced more CRTs than
in the actual world, with greater economies of scale and lower costs than in the actual world.

        A. Defendants’ experts’ conclusions regarding exit and investment are consistent
        with my view of the but-for world
As I show below, opposing experts perform the same superficial calculation and represent the
result to be margins in the but-for world; their calculation cannot support their conclusions
regarding exit in the but-for world.320 Even if opposing experts’ gross margin calculations were
taken at face value as what they allege them to be (“what gross margins and operating margins
would have been in the ‘but for’ world”321), and even if the accounting margins they calculate
were economically meaningful, they would mean nothing more than that some suppliers may
have exited the industry earlier in the but-for world than they did in the actual world and others
may have continued to operate despite prices below the level that would allow them to cover
fixed costs and non-cash costs such as accounting depreciation.322
The logic that links Defendants’ experts’ manipulation of accounting margins to their
conclusions regarding the reasonableness of my estimates of overcharges (and hence but-for
prices) is not entirely clear to me. They seem to suggest that in their view, the mere fact that
some firms’ accounting margins would have been negative (or even that firms did not earn a
normal rate of return on embedded investments) is evidence that my estimates of overcharges are
unreasonable.323 Firms that have invested in capacity, which later becomes excess in supply
because it is capable of producing only products which (subsequent to investment) will
foreseeably become obsolete, are likely to be unable to cover fixed costs and accounting
depreciation.324 To suggest that my estimate of but-for prices is unreasonable because some firms
would not have been profitable at those prices (by any measure of profitability) simply makes no
sense, because my testimony about the but-for world is consistent with some firms earning
negative profits. The Defendants foresaw ruinous competition and formed a cartel to make the
best of a bad situation; even with price-fixing they often earned negative operating margins in
the actual world, as shown by Ms. Guerin-Calvert;325 that some may have been unprofitable
absent the cartel is not surprising.

320
      See Section VIII.B.5 below.
321
   Guerin-Calvert Opposition Report, at ¶133 (emphasis supplied). Willig Opposition Report, at ¶94, footnote 98. I
show below that the claim that these are the margins that “would have been” in the but-for world rests on strong,
implausible, mostly unstated assumptions.
322
   Dr. Wu includes depreciation and overhead costs in his calculation. Wu Opposition Report, at ¶19 and footnote
27. Neither Ms. Guerin-Calvert nor Prof. Willig disclose the composition of the costs they use in their calculation of
but-for gross margins. In its total company reporting, Chunghwa’s “cost of sales” (the cost measure it uses to
calculate “gross margin”) included 98% of the company’s depreciation in 2007. See Chunghwa Picture Tubes, Ltd.,
25 April 2008, Chunghwa Annual Report 2007, http://www.cptt.com.tw/cptt/chinese/backend/files/AR_2007rar.pdf,
accessed 20 February 2009, at p. 124. I am unaware of reporting of just how much depreciation is in the cost of sales
in Chunghwa’s CRT segment or the costs used to calculate gross margins for other firms whose margins were
analyzed by opposing experts.
323
      Wu Opposition Report, at ¶65 and Guerin-Calvert Opposition Report, at ¶133.
324
      See footnote 316 and the text to which it is appended.
325
   Of the 37 observations of operating margins in Ms. Guerin-Calvert’s exhibit for the years 1998-2008, 15 of them
are negative. Guerin-Calvert Opposition Report, at Exhibit 10, p. 87.
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The claim that prices too low to cover depreciation and fixed cost are unreasonable is contrary to
evidence that such prices existed in the actual world, as shown in Ms. Guerin-Calvert’s own
exhibit.326 CRT manufacturers wrote off assets in recognition of the fact that they had little
value, and based their supply and pricing decisions, and analyses of competitive conditions, on
cash costs, exclusive of fixed cost, overhead, and depreciation.327 In the but-for world, they
would have made the same economically sound decisions to sell at prices too low to cover
depreciation and fixed cost, but prices and profits would have been lower, and the inevitable
CRT industry shakeout may have happened earlier than it did in the actual world.
Two of the opposing experts suggest another link between their use of accounting margins and
their opinion that my estimate of but-for prices is unreasonable: exit, they say, would have
reduced the supply of CRTs, thereby raising price.328 This is contrary to basic economics: market
prices are determined by market supply, not the supply of any particular firm. With productive
capacity in excess supply,329 the exit of one firm creates an opportunity for firms that continue to
supply CRTs to expand their scale, thereby reducing their costs, and to supply the output that had
formerly been supplied by the exiting firm.330
Finally, Prof. Willig offers the following logic that connects the margins he calculates with his
assessment of my estimate of but-for prices: there would have been less investment. He does not
say why he considers this to be “further evidence of the unreliability” of my overcharge
estimates;331 I assume he means to imply that less investment in the but-for world would have
326
      See footnote 325.
327
      See, e.g.,
       •    “Competition ... As you know, Thomson has announced write-off of assets for their Mexicali factory a few
            weeks ago. As a result, their cost structure is similar to GP (no depreciation expense). … Their factory is
            sounding very similar to GP [LPD’s Gomez Palacio (Mexico) CPT plant].... no depreciation ...” Canavan,
            Pat, 15 November 2004, E-mail: Re: 29RF global pricine [sic] status, PHLP-CRT-023911 - PHLP-CRT-
            023915, at 3914.
       •    From an LPD “competitive analysis”: “Considering CRT industry situation and structure … industry
            focusing on cash cost … this analysis is focused on industrial cost curves based on labor costs per product
            … Key variables by competitor / site [sub-bullet] Factor Costs (salary and wages) by region, location [sub-
            bullet] Net Productivity (labor $/product) by site… Labor productivity is key criteria to determine CPT cost
            competitiveness.” Vaartjes, Wiebo, 26 September 2005, Email: competitive analysis, LPD-NL00140679 -
            LPD-NL00140692, at 0684.
328
   Dr. Wu is explicit: he opines that PDC’s likely exit in the but-for world “would likely have increased the market
prices of CRTs above what they otherwise would have been without the alleged conspiracy”. Wu Opposition
Report, ¶43. Prof. Willig says merely that it would have been rational for unprofitable firms to “scale back
investment, capacity and production, but this supply reduction is not incorporated into Dr. Netz’s analysis, which is
further evidence of the unreliability of her overcharge analysis.” Willig Opposition Report, ¶95. At his deposition,
Prof. Willig was explicit: in his opinion, “there would have been alterations to the supply side. In particular
Chunghwa would not have been doing what it did… that would have meant that prices would not have fallen as far
as she [Dr. Netz] suggests.” Deposition of Robert Willig, 19 September 2014, at 296:10 - 21.
329
      See Netz Class Cert Report, at 19-21.
330
   When asked at his deposition whether, when some firms exit an industry, if other firms have excess capacity,
“you would not necessarily have a situation where there would be reduced supply that tended to push prices up,”
Prof. Willig acknowledged that “in most market settings it [excess capacity] … does affect prices.” Deposition of
Robert Willig, 19 September 2014, at 299:24 - 300:13.
331
      See footnote 313 above.
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resulted in higher prices. The evidence relied upon by Defendants’ experts for their opinions
regarding investment in the but-for world is not a suitable basis for their conclusions because
none of that evidence is an analysis of the profitability of investment opportunities in the but-for
world, as I explain below.332
As a general matter, I acknowledge that lower output prices generally reduce the profitability of
investment in additional capacity. However, any investments which were made in the actual
world at monopoly CRT prices but would not have been made in the but-for world at competitive
CRT prices represent socially inefficient over-investment due to the cartel’s supra-competitive
CRT prices. Due to excess capacity, supra-competitive investments may have had no effect on
CRT prices.333 Prof. Willig’s expert report offers no evidence suitable for analyzing the
profitability of investments; no evidence, in particular, of the extent to which investment that
occurred in the actual world would not have occurred in the but-for world and only insinuation
regarding the effect the alleged reduction in investment would have had on price.
To summarize, the Defendants’ experts’ analysis is generally consistent with my prior testimony
regarding profitability, exit, and investment in the but-for world. I see no basis in logic or
economics for the conclusions the Defendants’ experts have drawn, on the basis of that analysis,
about my estimate of but-for prices.

           B. Defendants’ experts’ calculated margins are based on actual profitability of past
           investments

               1. Defendants’ experts calculate margins based on accounting data
Dr. Wu, Ms. Guerin-Calvert, and Prof. Willig perform the same calculation: they begin with
actual accounting margins, they deduct my overcharge estimate from revenue, and re-calculate
margins using that lower, but-for, level of revenue, assuming that nothing else relevant to
accounting margins (such as costs) would be different in the but-for world than in the actual
world.334 Because it is used in common by three of the opposing experts, I call it, for
convenience, “the common margin calculation”.

                2. Defendants’ experts rely on strong, unstated assumptions
Strong assumptions are necessary in order to assert that the result of the common margin
calculation is “what gross margins and operating margins would have been in the ‘but for’
world”.335 Dr. Wu acknowledges that the following two assumptions underlie the common
margin calculation; Ms. Guerin-Calvert and Prof. Willig do not: (i) that the demand curve for



332
   See below at Section VIII.B.5.a). In brief, the margins estimated by Defendants’ experts are average,
retrospective accounting margins earned on embedded capital, not the prospective incremental economic profit
expected to be earned by incremental investment.
333
      See footnote 330.
334
   Willig Opposition Report explains this calculation in ¶94, footnote 98. For the method used by Ms. Guerin-
Calvert and Dr. Wu, see their work papers: a050_profit_margins.xlsx, and Exhibit 03, 04, 05, 06, and 07.xlsx,
respectively.
335
      See foonote 321.
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CRTs is vertical, so that the quantity of CRTs demanded is not influenced by price, and (ii) that
unit costs would have been the same in the but-for world as in the actual world.336
The common margin calculation also assumes that there would have been no difference in the
timing of supplier exit in the but-for world from the timing in the actual world, and no effect on
margins of an earlier-than-actual shakeout in the industry.337 This implicit assumption is
inconsistent with their testimony regarding the “implausibility” of firms continuing to operate
with negative margins in the but-for world. As I explained above, exit by some suppliers is
consistent with my prior testimony regarding the but-for world, and exit would likely have
resulted in lower costs – and hence higher margins – than in the actual world for the firms that
continued to supply CRTs.

                3. A negative gross margin does not necessarily mean firms will exit the
                CRT market
Defendants’ experts perform the common margin calculation using as input two actual-world
margins: (i) gross margin and (ii) operating margin. The two margins differ in the costs deducted
from revenue in the calculation of profit. Gross margin deducts “cost of sales”, which includes,
for the company about which we know most, “material costs, labor costs, [accounting]
depreciation, change in inventories, and overhead costs”.338 Operating margin deducts “cost of
sales” and all other operating costs, too.
Dr. Wu testified at his deposition that “as a general matter, when I think about gross margins I
think about capturing the variable costs... that might be material costs, that might be – there are
all sorts of per-unit costs that might be in there. What I’m trying to separate out are broader fixed
costs and overhead costs.”339 That description is contradicted by his expert report, which says
that the cost of sales he used to calculate PDC’s gross margin includes depreciation (a fixed cost)
and overhead costs.340 When the cost that is used to calculate gross margin includes fixed cost,
negative gross margins are consistent both with prices above average variable cost and with
prices below variable cost. Given that ambiguity, no conclusion can be drawn about whether
firms will continue to supply output, even for long periods.341 Dr. Wu’s conclusion that
“[n]egative profits would have likely caused PDC to shut down its CRT operations”342 cannot
follow from his evidence.
In the context of a discussion of economic decisions such as exit and investment, statements
made by Ms. Guerin-Calvert such as “in the but- for world Chunghwa would not have been able

336
      Wu Opposition Report, at ¶¶21 and 30, footnote 48.
337
   See footnote 313. Prof. Willig acknowledged at his deposition that in the but-for world, some firms may have
exited, but his margin calculation was done under the assumption that no firms that produced in the actual world
exited the market in the but-for world. 19 September 2014, Deposition of Robert Willig, Ph.D., at 293:24 - 294:4
and 297:2 - 14.
338
      See footnote 322 above.
339
      12 September 2014, Videotaped Deposition of Lawrence Wu, Ph.D, at 82:14-23, emphasis added.
340
  “In PDC’s data, the cost of sales includes material costs, labor costs, depreciation, change in inventories, and
overhead costs.” Wu Opposition Report, ¶19, footnote 27, emphasis added.
341
      See Section VIII above.
342
      Wu Opposition Report, at ¶43.
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to cover even its direct cost of goods sold” are meaningless without knowing whether the “direct
cost of goods sold” includes accounting depreciation and fixed cost.343 When asked at her
deposition, Ms. Guerin-Calvert testified that she did not know whether the costs used to calculate
her gross margin included depreciation and overhead; she referred to information in her backup
to answer questions about exactly what is in her costs; Prof. Willig also said he believes that that
information on the components of cost variables is in his backup materials.344 Their backup
materials contain no more information about what is in the cost they use to calculate gross
margin other than the superficial: they represent “cost of goods sold”. There is no indication in
either Ms. Guerin-Calvert’s deposition testimony or her backup materials that she knows
whether the “cost of goods sold” she uses includes, as does the “cost of sales” used by Dr. Wu,
depreciation and overhead.345

                4. Accounting margins are a poor measure of economic profitability
The result of the Defendants’ experts’ common margin calculation is irrelevant because, as I
showed above, negative margins are consistent with my testimony about the but-for world. In
addition, accounting margins are well known to be poor measures of economic profitability.346 I
show below that no conclusion about whether to supply output for extended periods can be
drawn from negative margins, given the accounting data used as input to the calculation.
Perhaps the most well-known difference between accounting profit and economic profit is in the
treatment of capital.347 When capacity is in excess supply, demand is declining or decline is
foreseeable, and capacity has no use other than to produce the product for which demand is
declining, particular care in the treatment of capital is appropriate. In such conditions, the value
of capital can vanish;348 if it does, then both elements of the economic cost of capital,
depreciation and the opportunity cost of capital, are zero.349 In practical terms, if nobody wants

343
      Guerin-Calvert Opposition Report, at ¶133.
344
  17 September 2014, Deposition of Margaret Guerin-Calvert, at 235:12-15 and 236:23-237:1. 19 September 2014,
Deposition of Robert Willig, Ph.D., at 312:18 - 313:4.
345
      See footnote 322.
346
      The seminal articles on this topic are,
       •    Fisher, Franklin M., 1987, On the Misuse of the Profits-Sales Ratio to Infer Monopoly Power, RAND
            Journal of Economics, Vol. 18, No. 3, 384-396.
       •    Fisher, Franklin M. and John J. McGowan, March 1983, On the Misuse of Accounting Rates of Return to
            Infer Monopoly Profits, The American Economic Review, Vol. 73(1), 82-97.
347
   “If book depreciation and economic depreciation are different (they are rarely the same), then the book
profitability measures will be wrong; that is, they will not measure true profitability.” Brealey, Richard A. and
Stewart C. Myers, 2000, Principles of Corporate Finance Sixth Edition, Irwin McGraw-Hill., at p. 336. This
textbook is cited in Guerin-Calvert Opposition Report, at ¶136.
348
   For empirical evidence that CRT productive capital had little value in alternative uses, see Netz Merits Report, at
17. See also 16 July 2012, Deposition of Panasonic Corporation, Panasonic North America and MTPD 30(b)(6)
Witness Tatsuo Tobinaga, at 147:9-149:8: When Panasonic decides to shut down CRT production lines, Panasonic
“basically will destroy them.”
349
   Economic depreciation is the change in the market value of an asset during the period; once the market value
vanishes, it no longer changes, so economic depreciation is zero. The opportunity cost of capital is the cost of
holding rather than selling the capital; it is the return the firm could make during the period by selling its capital at
the beginning of the period and investing it in an asset of similar risk. Holding assets with zero value incurs no
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to buy your factory, it doesn’t cost you anything to use it to supply output, other than the costs
caused by production: incremental materials and labor.
The appropriate measure of profitability to consider exit and investment is the economic profit,
which does not include accounting depreciation and overhead expenses. If one does not know
whether the measure of profitability includes these expenses, one can make no conclusion about
exit or investment.

                  5. Defendants’ experts’ margins cannot support opinions regarding exit and
                  investment

                       a) Defendants’ experts do not perform an analysis of investment
                       decisions
The opinions expressed by Prof. Willig, Dr. Wu, and Ms. Guerin-Calvert regarding investment in
the but-for world are unsupported by any economic analysis of the profitability of making
investments in the but-for world. Economic analyses of investment decisions differ from the
margin evidence cited by Defendants’ experts as the basis for such decisions are based on the net
present value (NPV) of future expected incremental cash flows from a particular investment; the
investment is profitable if the NPV exceeds the cost of the investment.350 In contrast,
Defendants’ experts’ common margin calculation purports to represent a but-for retrospective
measure of the accounting profitability on average over all of the firms’ embedded investments
in CRTs. For that to be a useful criterion for investment, the profitability of a new investment
would have to be the same as the average profitability of previous investments, the past would
have to be a good predictor of the future, and accounting profit would have to be equal to cash
flows. None of these are good assumptions in the case at hand. Defendants’ experts mention
none of these assumptions in their analysis of investment.
To illustrate how wrong using Defendants’ experts’ margins as an investment criterion can be, it
is easy to show that it may actually contra-indicate whether an investment is profitable; that is,
low retrospective margins on embedded investments (not high margins, as opposing experts
assume) may indicate that some incremental investments will be profitable. Consider, for
example, one of the investments in the actual world noted by Ms. Guerin-Calvert: investment in
relocation of productive capacity to lower-cost regions.351 According to the correct criterion for
investment (NPV), relocation will be profitable if the present value of future cost savings from
moving production to a low-cost region exceeds the cost of making the investment in relocation.


opportunity cost. Prof. Willig testified that when considering whether to exit or continue to produce output, capital
costs should be considered if the capital has other uses, but if not, “you wouldn’t take into account those completely
sunk costs”; see footnote 316.
350
   “Invest in any project with a positive net present value. This is the difference between the discounted, or present,
value of the future income and the amount of the initial investment.” Brealey, Richard A. and Stewart C. Myers,
2000, Principles of Corporate Finance Sixth Edition, Irwin McGraw-Hill., at p. 23. Prof. Willig agrees that while the
past can inform the future, investment decisions should be based on expectations of the future. 19 September 2014,
Deposition of Robert Willig, Ph.D., at 306:11 - 307:2.
351
    Ms. Guerin-Calvert refers to “ investments to a) build/upgrade capacity for producing larger monitor sizes; b)
invest in other product improvements, such as the transition from curved CRTs to flat CRTs and higher resolution
CDTs;199 and c) invest in relocating production capacity to lower cost regions.” Guerin-Calvert Opposition Report,
at ¶138.
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High costs in the current location are associated both with low retrospective average margins on
embedded investment and with high cost savings from moving to a low-cost region. Then
retrospective margins on embedded investments, if used to evaluate investment in relocation to
low-cost regions, have a systematic tendency to incorrectly indicate that investment should not
be made in cases where the investment would be profitable when evaluated by the correct (NPV)
criterion.

                       b) Defendants’ experts do not perform an analysis of exit from the CRT
                       market
None of the evidence presented by Defendants’ experts is an analysis of a firm’s decision to exit
or continue to supply CRTs. Defendants’ experts’ assertions regarding the “sustainability” of the
but-for prices I have estimated, and the likely exit of suppliers at those prices, therefore cannot
be supported by the evidence they present.
An economic analysis of the decision to exit would compare the expected net present value of
two future cash streams, the stream of cash expected if the firm continues to supply CRTs in the
future and the stream of cash expected in the future if the firm discontinues supply of CRTs. In
an analysis of the decision to exit, the relevant costs are variable costs of operation and avoidable
costs (costs that can be avoided by exit); fixed costs and costs which cannot be avoided by exit
are immaterial to the analysis because the costs are borne in both circumstances.352 In contrast,
the analysis of margins performed by all three Defendants’ experts makes no attempt to model
firms’ prospective, variable profit at any point in time. They make no attempt to account for
foreseeable changes in the industry (such as the exit of some firms). The costs they include in
their calculation of gross margins include non-cash costs (such as accounting depreciation) and
fixed cost (such as overhead cost).353 As I explained above, firms need not cover fixed and non-
cash costs in order to rationally decide to continue to supply output. The costs Defendants’
experts include in their calculation of operating margins are even more inclusive and even less
relevant to firms’ exit decision. No conclusion about whether firms would have exited in the but-
for world can be drawn from the evidence cited by Defendants’ experts.354 The evidence used by
Defendants’ experts is also contrary to evidence regarding CRT suppliers’ actual analyses of
market conditions: they based their supply and pricing decisions, and analyses of competitive
conditions, on cash costs, exclusive of fixed cost and depreciation.355

IX.        The overcharge was passed-through to class members



352
   Prof. Willig testified at his deposition that when considering exit, firms would consider the variable cost of
production and avoidable cost, and capital cost, if the capital had other uses, but not sunk (unavoidable) costs. See
footnote 316.
353
      See footnote 322.
354
   It is conceivable that a set of assumptions (e.g. “the past is a perfect predictor of the future”) could be drawn up
which would permit an exit decision based on the evidence presented, but opposing experts do not state any such
assumptions, and they would be highly implausible in an industry undergoing fundamental changes, such as the
CRT industry in the relevant time period.
355
      See footnote 327.
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After reviewing the opinions expressed in Defendants’ Expert Reports, my conclusions regarding
pass-through remain: any overcharges imposed by Defendants on direct purchasers were passed
through to class members at a rate of at least 100%.
My conclusions are based on the documentary evidence I have reviewed,356 as well as the 63
empirical studies that I have conducted. The pass-through estimate is 100% or higher for all
studies. These studies estimate pass-through rates using data from all types of resellers, for all at-
issue products, at all levels of the distribution channel, and over the entire class period. In my
damages calculations, I use a 100% pass-through rate, which results in a conservative estimate of
total damages borne by class members.
The relevant question is to quantify, all else equal, the degree to which the overcharge was
passed-through to class members. The challenge to the economist is to use real-world data to
isolate the answer to this question, given that in the real world, all else is not equal.

        A. My pass-through studies covers the entire distribution chain and damages
        period
To estimate pass-through, I regressed the price of CRTs or CRT products on cost; this approach
can be implemented for any portion of the distribution channel or over the entire channel. In
either case, the coefficient on the upstream cost variable gives the pass-through rate. Price and
cost data are required to calculate the pass-through rate, but there may be some product
characteristics (e.g., screen size) that also impact the price level. To the extent possible, I
included variables to control for different product characteristics; the composition of each dataset
determines those characteristics for which I can control in each study. I ran separate regressions
for monitors and TVs and, whenever possible, I controlled for the economically meaningful
product attributes including screen size, CRT manufacturer, resolution, high definition, and flat
screen.357
To date, I have conducted 63 total pass-through studies including sales for all types of at-issue
CRT products, by all types of resellers operating at all levels of the distribution channel. Exhibit
RR-62 lists the calculated pass-through rates and other statistical results for each of the studies I
have conducted. Exhibit RR-63 provides information about the firms, the data they provided, and
the specification for each of the studies I have conducted. Exhibit RR-71 lists the files relied
upon for each pass-through study. Because I completed one new study,358 I have updated the
following exhibits as well: Exhibit RR-73 (95% confidence intervals for television pass-through
rates);359 Exhibit RR-75 (channel coverage for pass-through studies);360 and Exhibit RR-76 (time

356
      Netz Merits Report, 91-95.
357
    Although there are other product characteristics, application, size, resolution, and manufacturer are the
characteristics commonly used to differentiate CRTs products. Not all datasets provided sufficient detail to control
for all of these attributes, while some datasets provide additional information, allowing me to control for other
attributes including, but not limited to: VCR or DVD TV combinations, wide screen, HD-ready, picture-in-picture,
and re-manufactured/refurbished products.
358
    I have completed one new pass-through study, for the electronics retailer PC Richard, since submitting my merits
report. I use this study to respond to the deposition testimony from a PC Richard representative that Prof. Ordover
cites. See Section IX.
359
   This exhibit plots the calculated pass-through rate and corresponding 95% confidence interval for each of the
studies. All 63 of the confidence intervals either include 100% or are wholly above 100%. The 52 studies with
confidence intervals wholly above 100% are the studies that find a pass-through rate that is statistically significantly
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period coverage for retailer studies). The total number of CRTs with unique price-cost
combinations represented in these datasets was over 178 million.361 These datasets included
transactions beginning as early as February 1994 and continuing into November 2011.

        B. Prof. Ordover estimates pass-through rates using an alternative method
Prof. Ordover and I both use regression analysis to estimate pass-through rates, but his method is
a variation on the approach I employ. His model assumes that there are economically meaningful
differences across each and every product, regardless of how similar they may be. The regression
approach he uses controls for differences between products. In contrast, my approach controls
for the meaningful product characteristics for each product; that is, I control for those
characteristics that impact price.
Prof. Ordover then calculates what he refers to as cumulative pass-through rates by averaging all
of the rates he calculates for each level of distribution, then multiplying all of the levels together.
These cumulative rates build upon his individual regressions and rely on the false assumption
that each and every CRT travels through each level in his overly-complex depiction of the
distribution chain.
To support the implausibly low pass-through rates that result from his method and the
cumulative rates he erroneously calculates, Prof. Ordover relies upon incomplete and misleading
testimony from CRT resellers. Prof. Ordover also discusses several factors—including focal
point pricing, and rebates—that can impact the pass-through rate; however, he makes no final
determination as to whether any of these factors do, in fact, have any real impact in the context
of this case.

       C. Defendants’ expert mischaracterizes my conclusions regarding pass-through
Professor Ordover consistently mischaracterizes my testimony regarding pass-through.
Specifically, I do not assume that the alleged cartel overcharges were passed through in a
uniform manner to each member of the class at a rate of 100%.362 Although my conclusions are


greater than 100%. The remaining eleven studies with confidence intervals that include 100% are the studies that
result in pass-through rates that are not statistically significantly different from 100%. None of the confidence
intervals are wholly below 100%, meaning none of the studies result in a pass-through rate that is statistically
significantly less than 100%.
360
   I have conducted studies for all of levels of the distribution channel. I presented five studies that measured pass-
through from Defendants selling CRTs at the top of the channel to end customers purchasing CRT products at the
bottom of the channel, and I presented three studies that measure pass-through for part of the distribution channel.
Collectively, these studies covered the entire distribution channel and portions of the distribution channel, included
both types of at-issue CRT products, and represented all the various types of buyers and resellers operating in the
distribution channel.
361
   This number excludes tubes from the multi-level, top-and-bottom, and top-to-bottom studies. The total number of
tubes including those datasets was over 193 million.
362
      See, e.g.,
       •    “This is so because Dr. Netz’s assumption that the rate at which the alleged overcharges were passed
            through to indirect purchasers was a constant 100 percent throughout the 12 years of the alleged
            conspiracy, and that it did not differ across OEMs, retailers or products is not supported by available
            evidence and inconsistent with her own estimates.” Ordover Opposition Report, at ¶8.
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informed by economic theory and the documentary evidence in this matter, ultimately I
empirically measure pass-through and conclude that any overcharges were passed through to
class members at a common rate of at least 100%. I have conducted 63 pass-through studies; 52
of those studies yield a pass-through rate statistically greater than 100% and 11 found a pass-
through rate that was not statistically significantly different from 100%. Based on these findings,
I conclude that pass-through was at least 100% for all class members and conservatively use that
figure for my damages calculations. I do not assume anything nor do I claim that the pass-
through rate was uniform; based on the statistical evidence, I conclude that pass-through was
100% or higher.
Notably, for one of his own damages calculations, Professor Ordover uses this same approach.
That is, Prof. Ordover calculates average pass-through rates for product distributors of 106.6%
(monitors) and 101.4% (TVs). He then applies a 100% pass-through rate to the product
distributors (Electrograph, Tech Data, and Viewsonic) in his damages calculations.363 Similarly,
several other experts retained in related cases also calculate pass-through rates above 100%, but
use 100% for purposes of calculating damages.364

            D. Economic theory establishes that a cartel overcharge is passed through to class
            members



       •    “Dr. Netz assumes, as discussed above, that the alleged overcharges from the cartel were passed‐through to
            each member of the Indirect Purchaser Class at a rate of 100%, and thus each class member was commonly
            affected by the alleged conspiracy.” Ordover Opposition Report, at ¶45.
       •    “As discussed above, Dr. Netz’s assumes that pass‐through rates will be at least 100 percent at every point
            in the distribution chain, and will not vary across time, manufacturer, retailer or product are not supported
            by either the economics of pass‐through, nor are they consistent with empirical research about the
            magnitude of estimated pass‐through rates in a variety of industries.” Ordover Opposition Report, at ¶30.
363
      See, e.g.,
       •    05 September 2014, Videotaped Deposition of Janusz A. Ordover, Ph.D (Hereinafter “Deposition of Janusz
            A. Ordover, 05 September 2014”), at 371:15-24.
       •    See the backup materials for Ordover, Janusz A., 05 August 2014, Expert Report of Janusz A. Ordover,
            Ph.D for Best Buy, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
            Northern District of California San Francisco Division) (Hereinafter “Ordover Opposition Report”). A
            spreadsheet named “Frankel (Master) Damages Calculations.xlsx” contains these calculations.
364
      See, e.g.,
       •    Rao Merits Report.
       •    Hausman, Jerry A., 15 April 2014, Expert Report of Jerry A. Hausman, In re: Cathode Ray Tube (CRT)
            Antitrust Litigation (United States District Court Northern District of California San Francisco Division)
            (Hereinafter “Hausman Merits Report”).
       •    Frankel, Alan S., 15 April 2014, Report of Alan S. Frankel, Ph.D for Best Buy, In re: Cathode Ray Tube
            (CRT) Antitrust Litigation (United States District Court Northern District of California San Francisco
            Division) (Hereinafter “Frankel Merits Report”).
       •    Dr. Frankel also submitted merit reports for the following plaintiffs: BrandsMart; Circuit City;
            CompuCom; Costco; Electrograph; Office Depot; PC Richard; MARTA; ABC Appliance; Sears; Kmart;
            Target; Tech Data; and Tweeter.
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Economic theory shows that an industry-wide cost increase, such as an increase in the cost of
CRT tubes, leads to an increase in the downstream price whether the downstream industry is
monopolistic, imperfectly competitive, or perfectly competitive. In the present matter, economic
theory shows that CRT product prices increase when CRT tube prices increase. Economic theory
also shows that the more competitive an industry, the closer the pass-through rate is to 100%.
Because there is a high degree of competition throughout the entire distribution channel for CRT
products, I expect that pass-through will be near 100%. However, these markets are, in fact, not
perfectly competitive; therefore, pass-through may be higher or lower than 100%.
Prof. Ordover discusses several influences that can bias the pass-through rate. He assumes, for
purposes of this discussion, that pass-through does not exceed 100% and, therefore, cites all of
these influences as reasons why the pass-through rate is below 100%. In Sections IX.G below, I
explain why each of these influences are not, in fact, determinative of the pass-through rate. Prof.
Ordover has not made a determination on whether or not these influences actually do make it less
likely that pass-through occurs in this case.365 Furthermore, he argues that the market conditions
are not present in this matter for pass-through to be above 100%;366 that is, he opines that pass-
through must be less than 100% based on the market conditions present throughout the CRT
distribution channel. As one piece of evidence to support this claim, he cites deposition

365
      See, e.g.,
       •    “A. Right. I talk about price points not necessarily in the -- totally in the context of comparing it to the ideal
            benchmark of perfect competition, but also in the context of its relevance to pass-through analysis, but
            price points are based on what I know from my daily activities as a teacher of industrial organization
            economics are a fairly familiar concept across a broad range of retail establishments different products, not
            only electronics. Q. Do price points have a tendency to increase or reduce pass-through? A. That’s an
            interesting question. I think the answer is that it depends on the time frame during which you are analyzing
            the pass-through. The short -- whether you are looking -- and also at the set of establishments that you are
            looking at in order to gauge the pass-through. So there is no simple answer. There is an interesting and
            complicated answer, and in my reports I cite to a recent paper by Alexandrov that tries to understand the
            implication of these price points for pricing decisions, but the literature is very, very old in terms of the
            relevance of these things for competitive market interactions.” 04 September 2014, Videotaped Deposition
            of Janusz A. Ordover, Ph.D (Hereinafter “Deposition of Janusz A. Ordover, 04 September 2014”), at 92:5-
            93:8.
       •    Prof. Ordover testifies that excluding rebates/discounts does not necessarily bias estimation the pass-
            through rate: “Q. So you don’t offer any opinion in your report at all as to whether this quote potential bias
            causes -- has a tendency to cause the regressions to overstate or understate pass-through, do you? A. I offer
            no bottom line opinion on that. I am pointing out that there’s an issue, but I do not either attempt to solve it
            or to gauge its qualitative effect.” Deposition of Janusz A. Ordover, 04 September 2014, at 149:19-150:11.
366
      See, e.g.,
       •    “In fact, rates above 100 percent one can also come up with models that generate those kind of numbers,
            but I don’t believe that those conditions are satisfied in the current context.” Deposition of Janusz A.
            Ordover, 04 September 2014, at 286-287.
       •    Prof. Ordover argues that he has never seen pass-through rates above 100%: “In my experience I have not
            experienced pass-through rates in excess of 100 percent, but essentially the question is whether the demand
            curve is bowed into the origin or bowed out. So whether they are pulling this -- pulling up northeast or
            whether they are pulling down southwest, those are properties of the demand curve that’s a matter for pass-
            through.” Deposition of Janusz A. Ordover, 04 September 2014, at 289:1-290:8.
       •    “The markets for CRT products are not perfectly competitive suggesting that the correct pass through rates
            may be less than 100%.” Ordover Opposition Report, at 18.
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testimony from Dr. Frankel, Plaintiffs’ expert for multiple direct action plaintiffs; 367 however
Dr. Frankel’s testimony reports some pass-through rates that exceed 100% so he must believe
these conditions exist to the extent those rates are plausible.368
Prof. Ordover’s claim that I do “not attempt to reconcile [my] empirical findings with [my]
theoretical arguments”369 is unfounded. First, I cite several papers that estimate pass-through
rates greater than 100%.370 Second, in my original report, I explain how economic theory
supports pass-through of the cartel overcharge, including both textbook models of perfect
competition as well as real world scenarios.371 The discussion includes theoretical examples
supported by documentary evidence produced in this matter.372 My findings are also consistent
with other expert economists working on related cases:
       •    Dr. Mohan Rao, economic expert for Dell plaintiffs, testified that economic theory
            establishes that pass-through rates can be “more or less than 100 percent”; ultimately, he
            calculates multiple pass-through rates, all of which exceed 100%. He also uses a
            conservative pass-through rate of 100% for his damages calculations.373
       •    Dr. Allen Frankel, economic expert for multiple direct action plaintiffs, testifies that a
            100% pass through rate is a reasonable expectation based on economic theory.
            Ultimately, he calculates multiple pass-through rates using three different regression
            approaches and concludes that the mean pass-through estimate is 104.3% and the median
            estimate is 114.6%. He also uses 100% when calculating damages.374



367
   Dr. Frankel submitted reports for the following companies: Best Buy; BrandsMart; Circuit City; CompuCom;
Costco; Electrograph; Office Depot; PC Richard; MARTA; ABC Appliance; Sears; Kmart; Target; Tech Data; and
Tweeter. These reports, although not identical, are the same for any purpose cited in this report. Ordover, Janusz A.,
05 August 2014, Expert Report of Janusz A. Ordover, Ph.D for Best Buy, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division) (Hereinafter
“Ordover Best Buy Report”), at 21-22.
368
      See Frankel Merits Report, at ¶31 and Exhibit 14.
369
      Ordover Opposition Report, at 22.
370
      Netz Merits Report, at footnote 260.
371
      See Netz Merits Report, at Sections VIII.B.1 - VIII.B.4.
372
   For example, see Section VIII.B.2.a) titled “The more competitive the industry, the closer the pass-through rate is
to 100%” which is followed by Section VIII.B.2.b) titled “The distribution channel is highly competitive and
therefore the pass-through rate is likely close to 100%”. Netz Merits Report, at 91-93.
373
      See, e.g.,
       •    “The ‘pass-through’ rate is the percentage by which cost increases are passed through into finished or
            intermediate good prices. Under constant marginal costs and competitive market conditions, economic
            theory tells us that the pass through rate will be 100 percent. However, under other conditions, the pass-
            through rate could be more or less than 100 percent.” Rao Merits Report, at ¶82.
       •    “Thus, the pass-through results indicate a pass-through of CDT overcharges of at least 100% into the prices
            paid by Dell for its purchases of CRT monitors. I conservatively employ a pass-through rate of 100% in
            calculating damages to Dell.” Rao Merits Report, at ¶82.
374
      See, e.g.,
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       •   Prof. Jerry Hausman calculates a 120% pass-through rate for the product maker Sharp; he
           also uses 100% when calculation damages.375
Contrary to Prof. Ordover’s claims, my pass-through rates are consistent with economic theory
and the market conditions in this matter.

       E. The distribution channel is conceptually straightfoward
Professor Ordover argues that the distribution channels for CRT products are long and complex
and that direct purchasers are a heterogeneous group.376 Prof. Ordover’s depiction is overly
complex and founded upon the following false assumptions:
       •    Resellers with different business models, but providing similar services, constitute a
            unique channel of distribution.
       •    The number of steps in the distribution channel is relevant for determining if cost
            changes are passed-through to class members.
       •    Resellers at different levels of distribution face considerably different competitive
            conditions.
I address these assumptions below.

               1. Product manufacturers with different business models compete against
               each other
Prof. Ordover complicates the manner in which CRTs flow from Defendants to class members.
In Figure 1, he diagrams all of the possible steps through which a CRT could travel from
Defendants to end users; however, many of the divisions he creates are not meaningful. For
example, he unnecessarily creates categories of CRT product makers—companies that all
perform the same function—based on the fact they may have different business models.
However, the relevant issue for mapping the distribution channel is what function these firms
perform, not the terms and conditions under which resellers conduct business with other
intermediary resellers. For example, in Figure 1, Prof. Ordover distinguishes between PC
original equipment manufacturers (PC OEMs), original design manufacturers (ODMs), and
contract manufacturers, despite the fact they all makes CRT products. Similarly, he creates
divisions between vertically integrated product manufacturers and all other types of product
manufacturers. That is, he argues that LGE (operating as a CRT product maker) is somehow
fundamentally different from a company such as Dell (also a product maker) based on the fact

       •   “Perfect competition is a theoretical ideal, but if higher costs persist across a market – and the CRT cartel is
           alleged to have persisted over a period of nearly 13 years – a reasonable economic benchmark or
           expectation in a highly competitive market is 100 percent” Frankel Merit Report, at 8-9.
       •   Frankel Merits Report, at Exhibit 13.
375
   Prof. Hausman calculates 120% pass-through for sales from Sharp’s foreign affiliates to Sharp in the U.S.
concluding that “The estimated pass-through coefficient is 1.197, which indicates that a one dollar increase in CPT
price is associated with a $1.197 increase in the television price paid by Sharp in the U.S. The estimated pass-
through coefficient is statistically significant (p = 0.004). Because the hypothesis of a 100% pass-through rate
cannot be rejected (p = 0.612), to be conservative I use a 100% pass-through rate in my calculations.” Hausman
Merits Report, at 34.
376
      Ordover Opposition Report, at 7-9.
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that LGE is affiliated with a parent company that is a tube manufacturer, whereas Dell is not.
These false distinctions make the distribution channel appear more complex than it actually is.

                2. The channel-length pass-through rate is determined by market forces
Regardless of whether or not the distinctions above are appropriate, the number of steps in the
distribution channel is not necessarily relevant to the pass-through rate. Because consumers at
the end of the distribution chain have a choice where to buy CRT products and resellers are
competing for their business, I expect the channel-length pass-through rate to be relatively
consistent regardless of the number of intermediary resellers. If it were true that one distribution
chain had a lower overall pass-through rate than another distribution chain, then the high pass-
through chain would eventually be abandoned as a bad business model. As such, one would
expect their pass-through rates to be relatively similar.377

               3. The steps in the distribution channel are very competitive
Whereas there is some variation in the competitive conditions faced by different resellers, Prof.
Ordover overstates these differences; he also does not provide any documentary evidence to
corroborate his conclusions. The relevant factors are that:
       •    All stages of distribution are highly competitive.378
       •    The firms in the distribution channel are selling manufacturing services or distribution
            services.
       •    Firms may have different pricing strategies and business models; regardless, they are in
            the same market and face the same competitive conditions.
       •    Furthermore, there is considerable evidence of competition among various types of
            resellers, thus they must face similar competitive conditions.379

377
   Of course this does not imply that prices would be identical at all these locations. On the contrary, stores sell
other services as well as the product, and the provision of these other services results in some price variation. For
example, one must typically pay an annual membership fee for the warehouse stores and they usually do not offer
much, if any, customer assistance. On the contrary, the smaller scale stores are usually geared towards consumers
who are willing to pay more for the stores’ customer service expertise.
378
      See Exhibits 53 and 54 to the Netz Merits Report.
379
      See, e.g.,
       •    “EMSNow: It is the relationship between EMS and ODM that I wanted to explore with you. It seems that
            many companies, including your former company BenQ, employ an ODM model sometimes and an OEM
            model other times. How can they do that without competing with their contract-manufacturing clients?
            Jeffrey Wu: The answer is they cannot. Once an ODM launches products under its own brand name, the
            competition with its OEM client begins.” 10 November 2005, An Interview with iSuppli’s Jeffery Wu -
            ODM vs EMS, what happens next?, EMSNow, http://www.emsnow.com/npps/story.cfm?ID=15416,
            accessed 18 June 2008, at p. 1.
       •    “Proview OEMs displays for other vendors as well and also sells them under its own brand.” Spiwak,
            Marc, 23 April 2004, Xerox, KDS Focus On Flat-Panel Displays, http://www.crn.com/it-
            channel/18842421;jsessionid=0N2X3CDEVLA3HQE1GHPSKHWATMY32JVN, accessed 24 August
            2009, at p. 1.
       •    “[Forbes.com] How much of your [Jabil’s] business is original design manufacturing? [Main] It’s a rapidly
            growing part of our business that is directly competitive with the so-called Taiwanese ODM players. We
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Resellers are competing with each other for sales of CRTs and CRT products throughout the
entire distribution chain.
As discussed in Section IX.E.2, resellers at all levels of the distribution channel compete for
sales to downstream customers and, therefore, behave in a similar manner.

       F. Testimonial evidence does not refute my conclusions regarding pass-through
Prof. Ordover and Prof. Rubinfeld cite testimonial evidence from market participants as well as
the declaration submitted by Thomas Trail on behalf of Dell suggesting that pass-through does
not occur.380 This evidence, however, fails to address the relevant question for pass-through,
which is how do resellers react to cost increases that are significant, permanent, and affect all
firms without changing their relative competitive positions? In other words, the appropriate
question asks how resellers respond when faced with cost changes that are comparable to the
alleged overcharge. This testimony does not address that question; rather, it merely shows there
may be some instances in which a cost change does not result in a price change.
This testimony, however, fails to address the relevant question. This fact is best illustrated by
deposition testimony from Prof. Rubinfeld who reiterates that the specific cost changes referred
to in the Trail declaration are not necessarily related to the alleged cartel overcharges.
Furthermore, when asked if he knew whether the cost changes to which Mr. Trail is referring
were significant, permanent, and industry-wide, Prof. Rubinfeld replied, “No, I definitely don’t
know that.”381 Prof. Ordover concurs that pass-through is more likely to occur when these
conditions—those that are comparable to the cartel overcharges—are present, further
undercutting the reliability of this evidence.382

           don’t break it down as a separate business. Our thought process is that the EMS and ODM markets are
           essentially converging. ODM and EMS are really different tactical ways of accomplishing the same thing,
           and that’s the outsourcing of electronic hardware.” Clark, Hannah, 28 December 2005, Q & A: Jabil
           Circuit’s CEO Tim Main, http://www.forbes.com/2005/12/27/jabil-ceo-tim-main-cx_hc_1228jabil.html,
           accessed 18 August 2009, at p. 2.
       •   “‘We are answering the needs of our customers by offering original design for manufacturing (known as
           ODM) capability within the EMS business model,’ said Lumetta.” Jabil Circuit Inc., 30 May 2001, Jabil
           Expands Technology Services, http://www.jabil.com/news/news_releases/2001/05302001.html, accessed
           18 August 2009, at p. 1.
       •   “However, in some cases EMS providers and ODMs are competing for the same business and EMS
           companies are offering OEMs ODM-type programs. Many EMS companies have beefed up their design
           expertise often through acquisitions. Design expertise is the competitive advantage for ODMs and many
           OEMs use ODMs for that technical know how.” Carbone, Jim, 16 January 2003, ODMs offer design
           expertise, quicker time to market,
           http://www.purchasing.com/index.ASP?layout=articlePrint&articleID=CA269147&article_prefix=CA&art
           icle_id=269147, accessed 01 February 2008, at 2.
380
  Trail, Thomas, 14 July 2014, Declaration of Thomas Trail, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division)(Hereinafter “Trail
Declaration”).
381
      Deposition of Daniel Rubinfeld, 08 September 2014, at 104:7-105:1.
382
    “Q. Sure. Would you agree that where a cost increase for a product component is industry-wide, significant, and
permanent and holding everything else constant, that finished product prices containing that component will
increase? A. Given all these assumptions, I think it's more likely.” Deposition of Janusz A. Ordover, 05 September
2014, at 527-528.
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The testimonial evidence cited by Prof. Ordover and Prof. Rubinfeld merely shows that pass-
through decisions can be complex and identifies the conditions under which some cost changes
may not be passed-through, but nothing more.383
Prof. Ordover also cites testimony from several resellers suggesting that not every cost change is
passed-through in a uniform manner. For example, he cites Thomas Pohmer, a P.C. Richard
employee who testified that when faced with cost increases or decreases the decision to change
prices would depend “on what the competition is doing” among other factors.384 This quote is
entirely uninformative because it fails to identify whether the cost changes are significant,
permanent, and industry-wide. Regardless, to assess the validity of Mr. Pohmer’s claims, I have
completed a new pass-through study using data from P.C. Richard and the results of that
empirical analysis show that P.C. Richard passes through cost changes at a rate of 120%; see
Exhibit RR-62. I have also completed an alternative study for P.C. Richard using Prof. Ordover’s
regression approach; the results of that study show that P.C. Richard passes through cost change
at an even higher rate of 132%.385 Mr. Pohmer’s testimony contradicts Prof. Ordover’s own
statistical analysis in a related CRT case, about which he opined that PC Richard passed through
“nearly all of their increases in wholesale prices to retail customers.”386
Similarly, Prof. Ordover relies on testimony from Nikhil Nayar of Target who stated “while the
cost does bear some relevance to the retail that we set, predominately it’s going to be what’s
happening in the competitive environment.”387 The notion that costs only “bear some relevance”
to retail prices is contrary to fundamental economics as well as common sense; regardless, this
testimony is again undercut by the available empirical analyses. Specifically, Prof. Ordover’s
own pass-through results estimate two pass-through rates for Target’s sales of monitors: the first
study uses retail prices and yields a 104% pass-through rate; the second uses transaction prices
and yields a 135% pass-through rate.388
Prof. Ordover also cites testimony from Christopher Re of Tweeter, an electronics retailer, who
testified that, “Tweeter ultimately sold the television for what somebody was willing to pay for
it. So if somebody raised our cost, we couldn’t necessarily raise the cost and sell it for more if
the customer didn’t want to pay for more.”389 Again, this quote provides nothing informative of
how Tweeter, or any other company, responds to cost changes similar to the cartel overcharges.
It is also notable that all three of the companies cited by Prof. Ordover are plaintiffs in related
lawsuits. Each of these firms argues that upstream firms are able to pass-through cost changes to
383
  Prof. Ordover confirms this fact in deposition testimony; see Deposition of Janusz A. Ordover, 04 September
2014, at 397-99.
384
      Ordover Opposition Report, at 20 citing to 12 November 2003, Deposition of Thomas P. Pohmer, at 290‐292.
385
      See my backup production for “pcr_data_cleaning.do”, “pcr_report.do”, and “pcr_report.log”.
386
    Prof. Ordover did not conduct a pass-through study in this matter for PC Richard; he did, however, conduct one
for the DAP matter in response to Dr. Frankel. The cited testimony refers to his DAP study. Deposition of Janusz A.
Ordover, 04 September 2014, at 402:5-8.
387
  Ordover Opposition Report, at 20 citing to the 01 May 2014, Videotaped Deposition of Target 30(b)(6) Witness
Nikhil Nayar, Volume I, at 172‐173.
388
      Ordover Opposition Report, at Appendix 5.
389
   Ordover Opposition Report, at 19 citing to the 24 April 2014, Videotaped Deposition of Tweeter Opco, LLC
30(b)(6) Witness Christopher Re, at 150.
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them; in fact, each has retained experts who have calculated pass-through rates to each company
that are greater than 100%. These economic experts do not opine on downstream pass-through
rates. Prof. Ordover does calculate downstream rates for both firms showing that pass-through is
near 100% for PC Richard and over 100% for Target.390 The witnesses cited by Prof. Ordover—
who are addressing downstream pass-through for each company—are not economic experts and,
as explained above, are answering incomplete, misleading, and otherwise uninformative
questions. During other reseller depositions when the witnesses were asked to answer the
relevant questions, the answers are markedly different:
       •    John O’Donnell, CompuCom director of supply chain management during the class
            period, testified: “Q. So the selling price would be the cost plus margin for freight and
            handling, plus the specific margin above that number would result in the final price to the
            customer? A. Yes. Q. In any instances where CompuCom sold CRT products on a cost-
            plus margin basis, would the customer’s price move when CompuCom’s price to acquire
            the product also moved? A. It potentially could, yes. Q. [...] Are there circumstances
            when a cost-plus margin sales price to a customer would not change despite
            CompuCom’s cost changing? A. Not normally because it would -- if were receiving the
            product into inventory, then we’re using first-in, first-out weighted average cost, so it
            would bring that down. If it was a drop ship, it would be reflected in the price
            immediately. Q. So CompuCom’s cost in a cost-plus calculation would not be the cost of
            that particular product, but the average of products of that type held in inventory? A.
            Right. It’s a weighted average cost because we have, you know, more expensive product
            up front and we’re bringing in lesser price product. And so the weighted average of all
            that as it goes through -- as we sell it out, yes, it adjusts as we’re receiving more
            inventory, and another reason why you don’t want to hold inventory. It’s not good. Q.
            And that weighted average cost is calculated per specific product? A. Yes, by SKU.”391
       •    Paul Garcia, Brandsmart general manager, testified: “Q. So let’s say that you had a
            margin in mind of 10 percent for a particular product, and you find out that the costs
            associated with that product went up a little bit, as you say they sometimes did. Would
            you then want to charge a higher price so that you could keep that 10 percent margin that
            you were going after? A. Yes, I would.”392
       •    Jason Bonfig, Best Buy business team manager for desktop computers during the class
            period, testified: “Q. If the costs of Best Buy’s CRT monitors went up, did Best Buy seek
            to increase the retail price of those products in its retail stores? A. Generally, the cost
            going up would have increased the retail [price].”393
       •    Claudine Adamo, Costco buyer for computers and peripherals during the class period,
            testified: “Q. Okay. In -- in a situation where Costco experienced a significant cost

390
      See, e.g.,
       •    Target: Ordover Opposition Report, at Appendix 5.
       •    PC Richards: Deposition of Janusz A. Ordover, 04 September 2014, at 402:5-8.
391
      20 May 2014, Oral and Videotaped Deposition of John O'Donnell, at 190:10 - 191:17.
392
      08 August 2014, Videotaped Deposition of Paul Anthony Garcia, at 83:8 - 14.
393
      21 August 2014, Videotaped Deposition of Jason Bonfig, at 63:17 - 23.
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            increase from a vendor, for example, a 6 percent cost increase on a product that Costco
            was earning a 5 percent margin on, and in a situation where all competitors were
            experiencing the same kind of cost increase, where there was no reason to believe that the
            cost change was temporary, would Costco necessarily increase its retail price on that
            product? [...] A. If -- if I kept it at the same price. So on an active item. If the -- if it
            would have taken me below cost, yes, I would have increased the price.”394
       •    Costco testified: “Q. I have a follow-up question to ask you about that. In a situation
            where […] Costco’s cost changes were significant -- for example, a six percent cost
            increase on a product that Costco was earning a five percent margin on -- and in a
            situation where all competitors were experiencing the same type of cost changes, and in a
            situation where Costco had no reason to believe that that cost change was temporary,
            would Costco necessarily increase its retail price on that product? [...] A. Well, if it’s an
            item that we’re going to continue to purchase at the higher cost, at some point we’re
            going to have to make an adjustment […] Q. And when you say make that adjustment,
            given the set of factors I indicated in my question, the adjustment would be upwards,
            correct? The adjustment to the retail price would be upwards? A. Yes. Because, in that
            example, if we kept the -- the previous retail price, we would be at a negative margin,
            which is really against -- it’s against our company policy to -- to sell things below cost.
            Yeah.”395
Clearly the testimonial evidence from resellers varies on this issue; however, when asked the
appropriate questions, the responses are more consistent and reliable.

        G. Pass-through is consistently 100% or more despite the presence of complicating
        factors in the data
Prof. Ordover presents several factors that he claims reduce the likelihood that pass-through
occurs, including focal point pricing,396 menu costs,397 and whether or not rebates or other
discounts are included in the data.398 Below I reiterate why these issues are red-herrings; in fact,
Prof. Ordover has not actually made any determination as to whether or not these factors actually
do impact pass-through, which is confirmed by his deposition testimony.399


394
      29 July 2014, Videotaped Deposition of Claudine Adamo, at 148:20 - 149:13.
395
  07 December 2012, Deposition of Costco Wholesale Corporation 30(b)(6) Witness Geoffrey Shavey, at 122:15 -
124:5.
396
      Ordover Opposition Report, at 31.
397
      Ordover Opposition Report, at 42.
398
      Ordover Opposition Report, at 22.
399
      See, e.g.,
       •    “Q. So you don't offer any opinion in your report at all as to whether this quote potential bias causes -- has
            a tendency to cause the regressions to overstate or understate pass-through, do you? A. I offer no bottom
            line opinion on that. I am pointing out that there's an issue, but I do not either attempt to solve it or to gauge
            its qualitative effect.” Deposition of Janusz A. Ordover, 04 September 2014, at 149:19-150:2.
       •    “Q. Do price points have a tendency to increase or reduce pass-through? A. That’s an interesting question. I
            think the answer is that it depends on the time frame during which you are analyzing the pass-through. The
            short -- whether you are looking -- and also at the set of establishments that you are looking at in order to
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                1. Focal point pricing, menu costs, rebates, and other discount pricing are
                consistent with pass-through
I addressed these topics in my opening report, explaining that there is nothing inconsistent with
the existence of pass-through and focal point pricing, loss leaders, discount pricing, and several
other pricing practices.400 Even if the existence of focal point pricing, for example, does reduce
the likelihood that pass-through occurs, the results of my empirical studies account for that
influence. In other words, the data used for my studies would reflect the fact that some firms may
price at focal points, and the results still show that pass-through occurs.
Regarding rebates and other discounts, Prof. Ordover is correct that I am unable to always
determine whether or not a specific dataset contains rebates or other incentives,401 but as he
conceded there is no reason to believe the results are biased.402 I have tested his concerns in two
ways.
       •   First, I have already presented pass-through studies for Sam’s Club, Wal-Mart, and
           Target that use “retail” or “list” prices in one study, then use “transaction” prices in a
           second study. Presumably, the difference between these two prices includes at least some
           rebates, discounts, and other promotions, and the results of these studies—each using
           different price measures—are consistent, leading me to conclude that rebates, discounts
           and incentives are generally not a concern. See Exhibit RR-62.
       •   Second, in some datasets there are additional variables that allow me to more directly test
           how including rebates, discounts, and other incentives impacts the pass-through rate. I
           have tested the pass-through studies from Dell, Philips, and OfficeMax
           •    Dell: I calculated a pass-through rate of 118% using the actual transaction price
                variable; using the list price variable, which excludes rebates and discounts, I
                calculate a pass-through rate of 108%. In this instance, including rebates increased the
                pass-through rate.403
           •    OfficeMax: I calculate pass-through for monitors and desktops, in each instance using
                a price variable inclusive of rebates (i.e., transaction prices) and another that removes
                rebates (i.e., list prices). Using transaction prices, I calculate rates of 101% (monitors)
                and 109% (desktops); using list prices I calculate rates of 106% (monitors) and 110%


           gauge the pass-through. So there is no simple answer. There is an interesting and complicated answer, and
           in my reports I cite to a recent paper by Alexandrov that tries to understand the implication of these price
           points for pricing decisions, but the literature is very, very old in terms of the relevance of these things for
           competitive market interactions.” Deposition of Janusz A. Ordover, 04 September 2014, at 91:25-93:8.
400
      Netz Merits Report, at Section VIII.B.
401
      Ordover Opposition Report, at 22-23.
402
   “Q. So you don't offer any opinion in your report at all as to whether this quote potential bias causes -- has a
tendency to cause the regressions to overstate or understate pass-through, do you? A. I offer no bottom line opinion
on that. I am pointing out that there's an issue, but I do not either attempt to solve it or to gauge its qualitative
effect.” Deposition of Janusz A. Ordover, 04 September 2014, at 149:19-150:2.
403
   Dell’s data contain two price variables. The variable total_rev_retail_usd is the “list” price; total_rev_disc_usd is
the price the customer paid. In my original Dell study, I use the total_rev_disc_usd to calculate the price. My new
study uses the total_rev_retail_usd variable. See “dell_rebuttal.do” and “dell_rebuttal.log” in my backup production.
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              (desktops). In this instance, including rebates decreased the pass-through rate, but not
              below 100%.404
         •    Philips: I calculate pass-through for monitors and TVs, in each instance using a price
              variable inclusive of rebates (i.e., transaction prices) and another that removes rebates
              (i.e., list prices). Using transaction prices, I calculate rates of 110% (monitors) and
              106% (TVs); using list prices I calculate rates of 114% (monitors) and 107% (TVs).
              In this instance, including rebates decreased the pass-through rate, but not below
              100%.405
Prof. Ordover presents an analysis to support the claim that focal point pricing precludes pass-
through. He examines how cost changes less than $5 are passed-through compared to those
greater than $5. His analysis suffers several flaws. First, aside from saying at least some of the
alleged overcharges in this matter might be less than $5, he provides no concrete evidence to
support the claim that this analysis represents cost changes that are, in fact, informative of how
resellers would respond to the alleged overcharges. Second, the analysis is predicated on the
belief that some resellers might not pass-through some very small cost changes in the short
run,406 but the class period in this matter is over 12 years long, suggesting this analysis says little
about how firms will respond to those cost changes more analogous to the cartel overcharges
(i.e., larger) over a much longer period. Third, the non-sensical results illustrate how
uninformative this analysis is: his rates range from negative 283% to positive 634%; for a single
reseller, Target, he measures pass-through of negative 283% for cost changes less than $5, but
133% for cost changes above $5. These results are not credible: a negative 283% pass-through
rate indicates that when the cost increases by $1, the price decreases by $2.83; a positive 634%
pass-through rate indicates that when the cost increases by $1, the price increases by $6.34. The
implication of these results is that the consumer would prefer to see the firm’s costs go up,
because it results in a lower price to the consumer, which is simply inconsistent with basic
economic principles. The results of this analysis strongly suggest he is exploiting the noise in
these transactional data, a fact he warns against in his own deposition.407


404
   OfficeMax’s data contain a price variable, rt_salspet, which includes reductions such as coupons, deals, and price
overrides. I use this price variable in my original OfficeMax studies. The variable rt_priredr contains the total of all
reductions for each transaction. I sum rt_salspet and rt_priredr to obtain the price excluding reductions, which I use
in my new study for CRT monitors and desktops sold by OfficeMax. See “officemax_rebuttal.do” and
“officemax_rebuttal.log” in my backup production.
405
   Philips’s data contain four price variables. “List Price” is an unmodified dealer list price. “Net value” subtracts
direct discounts, such as product and channel discounts, from the “List Price” variable. “Net/net price” is zero for
most observations in Philips’s data, but it subtracts postponed rebates, such as international and other rebates, from
“Net value”. “Pocket price” subtracts central office rebates and cash discounts from “Net/net price”. My original
Philips studies use the “Net value” variable to calculate the price. I conduct a new study using the “List price”
variable. See “philips_rebuttal.do” and “Philips_rebuttal.log” in my backup production.
406
   “Thus, it may be that, due in part to the practice of focal point pricing, retailers in the short run might not pass‐
through small overcharges, e.g., of the orders of magnitude estimated by Dr. Netz.” Ordover Opposition Report, at
¶54.
407
   “As I said, the fact that somebody finds an estimate of 101 percent, 101 percent is not at all problematic from my
perspective because the data is noisy and, therefore, just to Hitachi Ltd it on the 100 percent every time you do the
estimates is not likely to be – it’s not likely to begin with, right. But if you are looking at these estimates, and you
are coming up with numbers which are out of line with both economics and common sense, then you have to ask
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I have attempted to use all of the data available and, even though these data may not always be
ideal, they are still informative and reliable as shown by these additional analyses. After
completing these additional analyses testing the impact of rebates and discounts in these data and
considering the other influences Prof. Ordover discusses that could impact pass-through, my
conclusions regarding pass-through do not change.

                2. Vertical integration is consistent with pass-through
Prof. Ordover claims that I fail to recognize the economic literature regarding vertically
integrated firms and pass-through; specifically, that these firms have the incentive to pass-
through at rates less than 100%.408 Prof. Ordover fails to actually cite any literature to support his
assertion; rather, he relies on his assumption that anything, such as vertical integration, that
departs from the textbook model of perfect competition will result in pass-through rates less than
100%. When asked to support these claims during deposition he provides a vague, ambiguous
answer that, at best, suggests vertically integrated firms could have the incentive to pass-through
less than 100%, but provides no evidence why that may be true in this matter.409 He also

yourself why is it happening. What is going on. What is driving the results.” Deposition of Janusz A. Ordover, 05
September 2014, at 444:7-444:18.
408
      See, e.g.,
       •    “Dr. Netz fails to recognize that economic literature indicates that vertically integrated firms, such as many
            of the Defendants in this matter who manufacture both CRTs and finished televisions or computer
            monitors, have the incentive to pass‐through less than 100 percent of their cost changes in the form of
            higher prices.” Ordover Opposition Report, at ¶30.
       •    “These estimates conform more closely to the predictions of economic theory, with the pass‐through rates
            for product manufacturers, which include CRT finished product manufacturers some of which are vertically
            integrated into television and computer monitor manufacturing, estimated to be less than 100 percent, while
            retailer pass through rates are around 100 percent. As discussed above, this empirical finding of finished
            product manufacturer pass through rates below 100 percent is consistent with both the presence of vertical
            integration and the high level of product differentiation in finished product manufacturing.” Ordover
            Opposition Report, at ¶44.
       •    “Q. Okay. Besides the nature of the margins that OEMs and other manufacturers have upstream, are there
            any other specific characteristics of the Cathode Ray Tube upstream market that in your view make it more
            likely that pass-through at that level will be less than 100 percent? A. Well, actually, I point out to the issue
            of vertical integration. I raise that as an important consideration, which I believe links the empirical work or
            the observed pass-through rates to sound industrial organization economics, noticing that at that level of the
            distribution chain, the pass-through rates may be, in fact, less than 100 percent, and the reason being that
            vertical integration, as we discussed at length yesterday, does affect the incentives and the abilities of firms
            to take these cost shocks and translate them into prices for final products in a way that may be different for
            a firm that procures the input in the merchant market from the firm that transfers the product internally
            within the firm’s structure.” Deposition of Janusz A. Ordover, 05 September 2014, at 356:10-357:8.
409
    “Q. Why do vertically integrated firms have an incentive to pass-through less 100 percent of cost changes? A.
Well, because -- anyway, it’s a complicated question, but the answer intuitively, as I said, I am not going to derive it
for you here as we sit, is that a vertically integrated firm has two choices for any particular unit of output that it
makes. It can either sell it into what people refer to as the merchant market, which is where third parties that need
the input to purchase it, or it can use it for itself. When it sells it into the merchant market, it gets the margin equal to
the merchant market price minus its costs. When it sells it to itself, it makes the margin equal to the margin on the
end product minus the marginal costs of the end product, which includes the component. And depending on the
balance of these margins and depending on the elasticities of demand for the input by the merchant customer which
is derived from demand for the final product, the firm will have to make a profit optimizing decision how to price in
order to maximize the two flows of its profits, and because of the diversion between its product and the product
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concedes that, again, he has not actually made any final determination as to whether or not
vertical integration actually does have an impact on the pass-through rate.410 In fact, he suggests
the results of my studies support his claim. That is, he testifies that “if you are looking at Dr.
Netz’s pass-through estimates, you will see that there is an identifiable reduction at the level of
pass-through to -- manufacturer pass-through, and one of the reasons, and I am not 100 percent
sure that’s the only reason, but is most likely that the manufacturers who are -- many of whom
are vertically integrated are pricing differently than those who are not vertically integrated.”411
Prof. Ordover’s claims are patently false: the pass-through rates I calculate for vertically
integrated product makers do not show an “identifiable reduction” in pass-through rates from
those calculated for all other types of resellers.412 See Exhibit RR-62.
Aside from being vague and unsupported, there are additional problems with Prof. Ordover’s
argument, including:
       •   The pass-through rates Prof. Ordover calculates for product manufacturers do not support
           his assumptions. Specifically, he calculates pass-through rates for six monitor product
           manufacturers and, contrary to his suggestion, the highest pass-through rates are for
           Philips (70%) and Toshiba America Information Systems (83%), both of which are
           affiliated with tube manufacturers. Furthermore, the lowest two rates for Envision (30%)
           and Tatung (26%) are not only so low as to not be credible, but they are also for firms
           that are not vertically integrated.413
       •   The wide variation in Prof. Ordover’s results cast doubt on their reliability. For example,
           he calculates a 26% pass-through rate for Tatung and an 83% rate for Toshiba America
           Information Systems. He provides no explanation for why there is such large variation in
           his results for firms that generally face similar competitive conditions. During deposition
           he is questioned about some of the implausible rates he calculates in his direct action
           report, conceding that they are, in fact, “controversial, problematic”, but when averaged




going sold by the merchant – firm’s buying the input in the merchant market and then competing downstream with
the firm’s own product, the seller will take those cross elasticities and diversion ratios which is what they represent
into account in deciding how to price. It doesn’t make much sense to somebody who hasn’t worried about these
things, but that’s essentially the economics of it. When I am not very vertically integrated, the only thing I care
about is my profit on the unit of output that I sell into the merchant market. If I am vertically integrated, I care not
only about the margin on the unit I sell to the output -- to the merchant market, but I also care about the diversion of
sales from one side to the other, and that is the reason why this incentive may -- is different.” Deposition of Janusz
A. Ordover, 04 September 2014, at 97:18-99:14.
410
   “Q. Did you study the extent to which the prices charged by CRT product manufacturers to its own affiliates for
CRT products diverged from those charged to third parties? A. No, that was not part of the assignment.” Deposition
of Janusz A. Ordover, 04 September 2014, at 100:15-21.
411
      Deposition of Janusz A. Ordover, 04 September 2014, at 101:2-9.
412
   I calculate the following pass-through rates for product makers: Philips (100% monitors, 106% TVs); Sanyo
(150% TVs); Sharp Electronics (104% TVs); Tatung (100% monitors); Toshiba America Consumer Products (117%
TVs); Toshiba America Information Services (112% monitors); ViewSonic (118% monitors).
413
      Ordover Opposition Report, at Appendix 5.
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           are “quite encouraging.”414 The individual rates he calculates here are similarly
           problematical, undercutting the validity of his approach.
       •   Many of Prof. Ordover’s pass-through rates are implausibly low to the extent they defy
           economic logic and common sense. When asked about these low rates, Prof. Ordover
           justifies them as “relatively more possible” than if he observed them in the more
           competitive downstream retail environment.415 This argument is problematical in that
           Prof. Ordover has not done any work to assess the degree of competition at either the
           tube distributor or product manufacturer levels;416 rather, he simply assumes they are less
           competitive and, therefore, can justify such implausibly low pass-through rates. Whereas
           these levels are likely somewhat less competitive than the retail level, they are still very
           competitive as I show in my original report.417 Dr. Frankel comes to this same conclusion
           in his expert report418 and Prof. Rubinfeld acknowledges the same during deposition.419
           In fact, Prof. Ordover recognizes there is “good deal of competition” at the product
           manufacturer level as well.420
Prof. Ordover repeatedly states that vertical integration will reduce the likelihood that pass-
through will occur, but he fails to cite the literature upon which his claims rest; regardless, his
empirical results undercut those claims anyway.

           H. Defendants’ experts’ pass-through analysis is unsound


414
    “Q. And for the Benq Corporation monitors you report a pass-through rate of 144 percent? A. Right. Q. Now, do
you not elsewhere in your report opine that pass-through rates above 100 percent are not plausible? A. Yes, they are
controversial, problematic, and if you look under Vision, it says 155 percent. However, when you average it out, it
tries to -- the results are actually quite encouraging because the average pass-through rate using the normalized
approach is only 84 percent which is actually quite -- not -- well, it is not surprising, and it’s consistent with a lot of
thinking we can do about the pass-through rates, and it's way below the average of 130 percent which are the results
of Frankel's cross-section just focusing on monitors alone. So I believe that to be an improvement.” Deposition of
Janusz A. Ordover, 04 September 2014, at 140:14-141:8.
415
   ‘Q. Does it make sense that a product manufacturer would be able to consistently pass-through only 53 percent or
58 percent of a cost increase in your view in the long-term? A. Again, I think that probably would depend on the
reality of the marketplace in which that manufacturer --manufacturer functions. So it's – it’s not impossible, and I
think it's relatively more possible than a circumstance in which the retailer functions in a highly competitive
downstream environment with very thin margins that create very little ability to absorb higher costs without
translating them into -- into retail prices. So the answer would be, yes. For how long, I don't know.” Deposition of
Janusz A. Ordover, 05 September 2014, at 484:9-25.
416
   “Q. Did you determine whether the market for assembling televisions and computer monitors using tubes is
competitive? A. I have done no independent research on that. So the only thing I have information is based on my
broad understanding of the electronic sector. Q. Did you determine whether the market for selling televisions and
computer monitors to intermediaries who then resell to retailers is competitive? A. Again, I have seen nothing
suggesting that it's not.” Deposition of Janusz A. Ordover, 05 September 2014, at 546:13-25.
417
      See Exhibits 53 and 54 to the Netz Merits Report.
418
      Frankel Merits Report, at 9-10.
419
   “Do you think it’s very competitive at the product maker level, such as Dell’s level, in this industry? A. I think
the finished product industry is very competitive, yes. Or was competitive -- well, still is. But was definitely very
competitive during this period.” Deposition of Daniel L. Rubinfeld, 08 September 2014, at105: 20-24.
420
      Deposition of Janusz A. Ordover, 04 September 2014, at 300:24-301:5.
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Both Prof. Ordover and I use regression analysis to estimate pass-through, but we use different
variations. Below I discuss the differences between our approaches and explain why Prof.
Ordover’s approach is neither the only approach, nor the appropriate one, to measure pass-
through in this matter.

                1. Defendants’ expert and I control for product differentiation differently
Prof. Ordover claims that my regression method does not properly control for differences across
products or account for changes in industry conditions over time.421 The fundamental difference
between his approach and mine is that I control for those product differences that are
economically meaningful. For example, whenever possible I control for size, brand, resolution,
flat screen, HDTV, VCR combo, and DVD combo. These are the salient features of CRT
products and the economically meaningful characteristics; these attributes were selected based
on industry documents, which commonly classified products using these criteria.422 The results
of my studies are consistent; that is, they are 100% or greater, which is consistent with both
economic theory and the competitive conditions present in this industry. The regression approach
I use is supported by the literature.423
In contrast, Prof. Ordover controls for any and all differences between products, regardless of
whether or not those criteria are likely to have an impact on price. His model assumes that there
is unobserved product-level heterogeneity that affects the estimated pass-through rate;424 he
includes fixed effects (i.e., dummy or indicator variables) for individual products in his
regressions to control for any and all differences between products; however, not all of these
differences are meaningful. Below I present two examples of why his approach is inappropriate.



421
      Ordover Opposition Report, at 26-31.
422
   Although there are other product characteristics, application, size, resolution, and manufacturer are the
characteristics commonly used to differentiate CRTs.
       •   A DisplaySearch spreadsheet lists CRT televisions and their characteristics, including size, manufacturer,
           resolution/high definition, aspect ratio, and CRT technology (including whether it is a flat screen CRT).
           Chunghwa Picture Tubes, LTD, 20 September 2005, TV Price Summary, CHU00303245.
       •   In the cartel meeting notes, Defendants routinely refer to application, size, finish, and manufacturer when
           discussing CRTs. Netz Merits Report, Exhibit 1.
423
    The following academic articles that estimate pass-through in the same manner that I do and yield results that are
corroborative of my findings See, e.g.,
       •   Gron, Anne and Deborah Swenson, May 2000, Cost Pass-Through in the U.S. Automobile Market, The
           Review of Economics and Statistics, Vol. 82(2), 316-324.
       •   Kadiyali, Vrinda, 1997, Exchange Rate Pass-through for Strategic Pricing and Advertising: An Empirical
           Analysis of the U.S. Photographic Film Industry, Journal of International Economics, Vol. 43, 437-461.
       •   Karp, Larry S. and Jeffrey M. Perloff, March 1989, Estimating Market Structure and Tax Incidence: The
           Japanese Television Market, The Journal of Industrial Economics, Vol. 37(3), 225-239.
       •   Sumner, Daniel A., October 1981, Measurement of Monopoly Behavior: An Application to the Cigarette
           Industry, The Journal of Political Economy, Vol. 89(5), 1010-1019.
424
   If there is unobserved product-level heterogeneity that is correlated with the cost variable and it is not properly
controlled for, the estimated pass-through rate will be biased and inconsistent.
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       •   The data provided by BenQ, a CRT product manufacturer, present many examples of
           Prof. Ordover controlling for different model numbers that are actually identical
           products.425
       •   Funai’s data contain two CRT TVs with built-in VCRs, with model numbers 6313CE and
           6313CEY; these products have identical specifications. However, because they have
           different model numbers, Prof. Ordover treats them separately in his pass-through
           regression.426
Above I present just two examples, but this problem is pervasive in his studies. He assumes that
the model numbers (or whatever other code is used to distinguish products) provided in these
data are economically meaningful; however, often these numbers are created for other purposes,
such as inventory.
If it is necessary and appropriate to control for product-specific differences when calculating
pass-through, one would expect to see reasonable results from the product-specific regressions
that Prof. Ordover calculates; however, that is not the case. As noted earlier, many of Prof.
Ordover’s results show wide variation in pass-through rates for similar firms; see Section IX.G.2.
Prof. Ordover provides no explanation for why one product manufacturer, Tatung, is only able to
pass-through 26% of any cost change, while another, Toshiba America Information Systems, can
pass-through 83%.
Furthermore, he provides no explanation for why Amazon, an extremely successful online
retailer, is only able to pass-through 70% of any cost change for TVs, while PC Mall is able to
pass-though 134%. Online retailing is extraordinarily competitive with very thin margins and it’s
implausible that one of the most successful firms is passing-through only 70% of cost changes;
in other words, Amazon is absorbing 30% of any cost increase. Prof. Ordover’s deposition
testimony supports this notion that these results are unlikely.427
Prof. Ordover also argues is it appropriate and necessary to control for what he refers to as
secular industry changes that affected the CRT industry over time,428 including primarily
competition from similar products such as LCD and plasma monitors and TVs.429 Notably, he
has not performed any analysis to determine whether these competing technologies did, in fact,
affect how CRT cost changes were passed-through;430 regardless, he controls for these possible

425
   BenQ produced data with two model number fields, ITEM_NUMBER and MODEL_NAME. There are
numerous values of ITEM_NUMBER for each MODEL_NAME. For example, the MODEL_NAME “7254E” is
associated with 14 individual MODEL_NUMBERs Prof. Ordover controls for the ITEM_NUMBER field, even
though all of these products are the 7254E model with the same specifications.
426
   See: Sylvania, Undated, Sylvania Color TV/VCR 6313CE Owner’s Manual,
http://www.funaiservice.com/manuals/SYLVANIA/6313CE/6313CE.pdf, accessed 24 September 2014; Sylvania,
Undated, Sylvania 13-Inch Color TV/VCR 6313CEY Owner’s Manual,
http://www.funaiservice.com/manuals/SYLVANIA/6313CEY/6313CEY.pdf, accessed 24 September 2014.
427
  “So at retail it’s my overall view that the margins are slim or slimmer, and their room for absorption is much less.
The fact that competition is intense also makes it less likely there will be absorption.” Deposition of Janusz A.
Ordover, 05 September 2014, at 354:1-4.
428
      Ordover Opposition Report, at ¶¶41-42.
429
      Deposition of Janusz A. Ordover, 05 September 2014, at 319:8-320:2.
430
      Deposition of Janusz A. Ordover, 05 September 2014, at 320:3-322:25.
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influences by including a time trend in his regressions. This trend, however, is not necessary
and, by his own admission, the variables in my regressions—including cost—already account for
secular trends to some degree.431 Furthermore, because the time trend is collinear with the cost
trend, the resulting estimate on the cost variable will be less precise.432
Prof. Ordover has presented one method to estimate pass-through, but it clearly is not the only
approach nor is it the appropriate approach. To inform and corroborate the results from this
method he relies on testimonial evidence that is clearly incomplete and misleading as I explain
above. His method calculates rates that are inconsistent and defy common sense. For example,
for Sears he calculates pass-through 100% for monitors, but only 37% for TVs; in contrast, I
calculate rates of 100% and 128% respectively. Although the approach I use is a variation of the
approach used by other experts in this matter, my results are consistent with all of those experts.
Specifically, Dr. Rao, Dr. Frankel, and Prof. Hausman all employ regression analysis to estimate
pass-through and all of these experts come to the same conclusion that I do: estimate of pass-
through rate in this matter is 100% or more.

                2. I allow for different pass-through rates for different firms and different
                products
Prof. Ordover argues that I do not account for different pass-through rates for different resellers
at the same level of distribution and that the pass-through rate can vary from year-to-year.433 His
claims rest on the false argument (see Section IX.C above) that I assume the alleged cartel
overcharges were passed through in a uniform manner to each member of the class at a rate of
100%. First, my results clearly reflect that I allow the pass-through rate to differ across retailers
and all other types of resellers; see Exhibit RR-62. Second, these studies each cover time periods
of time within the class-period. Collectively they cover the entire class period; see Exhibit RR-76
to this report and Exhibits 77-78 of the Netz Merits Report, which show the time period coverage
for all pass-through studies. Contrary to Prof. Ordover’s claims, my conclusions are not based on
the false assumption that pass-through is 100% for all products, sold by all resellers, over the
entire class-period. Rather, based on the 63 empirical studies I have completed, I conclude that
pass-through is at least 100% and use 100% as a conservative input into my damages calculates.

               3. Defendants’ experts’ cumulative pass-through rates are flawed and
               implausible
Prof. Ordover’s calculation of what he refers to as cumulative pass-through rates is
fundamentally flawed. He bases this analysis on the fact that the cumulative rate is
mathematically the product of the pass-through rate at each level of distribution. Above I explain
why the individual rates he calculates for each level are inappropriate, but his calculation of the
cumulative rate is further flawed because it assumes incorrectly that all tubes flow through each
and every level of distribution. While I conduct top-to-bottom pass-through studies which are
based on similar intuition (i.e., that the rates for each level can be multiplied to obtain the
channel-length pass-through rate), my studies are different in a crucial dimension: I am able to

431
      Deposition of Janusz A. Ordover, 05 September 2014, at 478:12-479:16.
432
   Kennedy, Peter, 26 February 2008, A Guide to Econometrics, 6th Edition, Wiley-Blackwell: Malden, pp. 193-
194.
433
      Ordover Opposition Report, at 34-36 and Figures 10 and 11.
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trace specific products from one level to another. In other words, my approach accurately
represents the manner in which CRT products flow through the distribution channel, whereas
Prof. Ordover’s does not.
Prof. Ordover’s analysis grossly misrepresents the manner in which products flow through the
distribution channel and relies on his overly-complex depiction of the distribution channel; see
Figure 1 of the Ordover Opposition Report. Notably his Figure 1 allows for various levels of
distribution to be skipped (e.g., a vertically-integrated CRT television manufacturer selling to a
retailer); however, his calculations for “cumulative pass-through” include virtually all levels in
the distribution chain.434,435 Whereas this long, convoluted path may be accurate for a small share
of products flowing through the distribution channel, it is a highly unlikely and inefficient route.
Prof. Ordover, however, assumes all products take this route, despite providing no evidence to
support this assumption. Below I present a few examples using actual data that illustrate why his
assumptions are false and render his cumulative pass-through rates are meaningless.

                         a) Tube distributors are not always used
Prof. Ordover’s analysis assumes that all CRT tubes sold by Defendants flow through tube
distributors. If true, the only direct purchasers of tubes in Defendants’ sales data should be tube
distributors. This is a simple assumption to test, which Prof. Ordover clearly has not done. First,
a cursory glance the sales data provided by Defendants shows several thousand customers, all of
which are clearly not tube distributors.436 In fact, Prof. Ordover concedes he does not know the
number of tubes that flow through the tube distributor level, claiming “that some tubes as
opposed to a specific number of tubes went through that level.”437 His analysis, in contrast,
assumes that all tubes as opposed to some specific number of tubes flow through that level,
which is clearly incorrect.

                        b) Product makers typically sell directly to retailers
There are similar problems at the product maker level. Specifically, it is common for product
makers to sell directly to retailers, skipping the product distributor level altogether. Though
product makers may not sell all CRT products to retailers, at least some of their sales do not flow
through product distributors. Again, Prof. Ordover assumes, without any justification, that all
products sold by product makers flow through product distributors.



434
      Ordover Opposition Report, at Figure 7.
435
   Prof. Ordover calculates cumulative pass-through by multiplying the average pass-through rates for tube
distributors, product makers, product distributors, and brick and mortar retailers. Prof. Ordover leaves the internet
retailer level out of this calculation.
436
      See Exhibit 64 of Netz Merits Report for Defendant data sources.
437
   “Q. So if you don’t know what fraction of tubes were sold by tube distributors, you have no idea if the tube
distributor link in your distribution chain is even relevant, right, sir? A. It’s relevant to the extent that some tubes as
opposed to a specific number of tubes went through that level. Some tubes went through these distributors, and they
ended up a step down. Then if I could -- if the interests were in trying to figure out how much these tube distributors
were overcharged, then we would have to estimate the extent of overcharge to tube distributors. It was not my
assignment. I don't know whether it was somebody else's assignment. It certainly was not mine.” Deposition of
Janusz A. Ordover, 04 September 2014, at 68:20-69:14.
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For example, Sharp Electronics (a product maker) purchases tubes from defendants438 then sells
CRT televisions to retailers such as Best Buy, Costco, Fry’s, and Wal-Mart.439 In this example,
Sharp skips the tube distributor and product distributor levels. Though Sharp also sells to product
distributors and purchases tubes from tube distributors such as Toshiba America Electronic
Components (TAEC), not all of Sharp’s products flow through every step of Ordover’s
distribution chain. This is inconsistent with his calculation of the cumulative pass-through rate.

                         c) Tracing products correctly gives plausible estimates
The top-to-bottom pass-through studies that I conduct rely upon the same intuition as Prof.
Ordover’s rates, but I do not assume that products flow through all levels of distribution. That is,
I do not impose any distribution path, but rather rely upon the data to show the appropriate path.
For example, I conducted a top-to-bottom pass-through study using Toshiba tubes and CRT
televisions sold by Costco. In this study, I am able to trace the following: tubes sold by Toshiba
America Electronic Components (TAEC) to Toshiba America Consumer Products (TACP);
TACP CRT televisions being sold to Costco; and Costco selling Toshiba CRT televisions to end-
users. In this instance, the data informs me that TACP bypasses the product distributor level for
some products; in contrast, Prof. Ordover’s method assumes all products flow through a product
distributor. That is, using Prof. Ordover’s cumulative pass-through rate method to conduct this
same study would erroneously include the product distributor step and, hence, result in an
incorrect pass-through rate. This example clearly illustrates how the conditions that his method
imposes are contrary to reality and exposes why his cumulative pass-through calculation is
unreliable.
Although the intuition underlying Prof. Ordover’s calculation of cumulative pass-through rates is
accurate, the implementation of this calculation is flawed. Neither the individual pass-through
rates that Prof. Ordover estimates for each level of distribution, nor the assumptions underlying
his calculation of cumulative pass-through rates across all level are credible. As such, his
application of these cumulative pass-through rates in his damages calculations is unsubstantiated.

             I. My conclusion is unchanged: the overcharge is passed through to end users



438
   Sharp purchases tubes from entities such as Chunghwa Picture Tubes (Malaysia), Hitachi Electronic Devices
(USA), LG Philips Displays USA, MT Picture Display, Orion, Philips, various Samsung entities including Samsung
Display Devices and Samsung SDI, Technology Displays Americas, Thomson, and Toshiba. See Sharp’s purchase
data files:
             •   Sharp Electronics Corporation, 1994, Sharp Purchase Data, SHARP-CRT-00000129.
             •   Sharp Electronics Corporation, 1998, Sharp Purchase Data, SHARP-CRT-00000130.
             •   Sharp Electronics Corporation, 1998, Sharp Purchase Data, SHARP-CRT-00000140.
             •   Sharp Electronics Corporation, 2001, Sharp Purchase Data, SHARP-CRT-00000141.
439
      See:
       •     Sharp, 2010, Sharp Electronics CRT Sales Data October 1997 to March 2001, <<Oct 97 - Mar 01 Legal
             CRT Antitrust.xls>>.
       •     Sharp Electronics Corporation, 2011, Sharp Electronics CRT Product Sales Data FY2001 - FY2007,
             <<CRT Sales by Month for FY 2001 - 2010.xls.XLS>>.
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My conclusions regarding pass-through remain unchanged after reviewing the arguments put
forth by Defendants’ experts. Specifically, the overcharges imposed by Defendants on direct
purchasers were passed through to class members at a rate of at least 100%. Above I explain why
Defendants’ experts’ arguments are misleading, inaccurate, or otherwise uninformative to the
relevant question at hand. My conclusions are consistent with economic theory, market
conditions, the documentary evidence, and the data.

X. Total damages are $2.8 billion
Defendants’ experts Dr. Wu and Prof. Ordover present their own calculation of total damages
based on various alterations to presumed volume of at-issue commerce.440 More specifically, Dr.
Wu posits three different cartel date ranges based on when PDC [Panasonic] is presumed to be
part of the cartel, while Prof. Ordover basis his calculations according to his assessment of
FTAIA and indirect purchaser issues.
I examined the data and facts and found the complaint allegations well supported by economic
analysis applied to the case record. Accordingly, I calculated damages for the allegations in the
complaint. I disagree with Defendants’ experts’ more narrow view of cartel impact. However,
although I disagree with Defendants’ experts’ conclusions, should the court find that the cartel
was limited in the time period affected or the CRT products affected, the total damages
calculation can be adjusted accordingly.

XI.        Defendants’ conduct harmed class members
In short, the conclusion that Defendants engaged in a variety of collusive activities resulting in
overcharges to the class is supported by a variety of evidence types: documentary evidence;
economic analyses of the body of evidence; cartel participants’ deposition testimony; and
econometric analyses of Defendants’ sales data.
Given the characteristics of the industry, the cartel had the market power to increase price – entry
barriers protected the cartel from competitive entry, and competitive pressure from LCDs was
not sufficient to prevent an overcharge.
The Defendants engaged in a pattern of conduct designed to reduce capacity and production and
increase price. The conduct included a hierarchy of regular meetings between different levels of
Defendants’ management teams; frequent communications among Defendants by phone, e-mail,
and bilateral meetings; agreement on prices, production, and capacity; and monitoring of prices,
production, and capacity. Econometric analysis confirms that the most easily quantifiable part of
the pattern of conduct – target prices – caused Defendants’ actual price to increase.
I applied a widely accepted, standard economic method to Defendants’ actual price data as well
as third-party data that captured non-cartel supply and demand determinants of price. As
expected, the overcharge analysis confirmed the economic analysis that the cartel’s actions
raised prices. I estimate that the overcharge to direct purchasers was 22.0% for CDTs and 9.0%
for CPTs for 1995-2006. Once it became public that the Department of Justice was investigating
a related industry (LCDs), the overcharges fell to 11.4% and 3.1% for 2007.
Economic theory predicts that the overcharge would be passed through to class members (end
users), and that the more competitive each level in the distribution channel the closer pass-
440
      See, Wu Opposition Report, at Section VI and Ordover Opposition Report, at Section V.
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through would be to 100%. I conducted 63 pass-through studies that covered all types of firms at
each level of the distribution channel as well as studies that covered the entire distribution
channel for both CRT products for the entire damages period. The pass-through estimates are
100% or higher for all 63 studies.
Finally, using the overcharge and pass-through estimates combined with an estimate of how
much class members had spent on CDTs in monitors and CPTs in TVs, I calculate that the harm
done to class members by this conspiracy was $2.8 billion.
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I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief. This declaration was executed on the           Zb   day of September
2014, at Ann Arbor, Michigan.




JANET S. NETZ

                                                11\
Subsced d sworn to before me this                 day of September 2014.

                                       BRIAN P ROSEWARNE
                                      Notary Public • Michigan
                                         Washtenaw County
                                 y Commission Expires May 20, 2021
Notary Public                   Acting in the County of

My commission expires:
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Education

Ph.D. economics, University of Michigan, 1992
M.A. economics, University of Michigan, 1990
B.A. economics, University of California at Berkeley, 1986, cum laude

Employment

Founder and Partner, applEcon, May 2001 to present
Visiting Associate Professor, University of Michigan, Fall 2001, Fall 2002, Fall 2003
Associate Professor, Purdue University, Fall 2001 to January 2003
Visiting Assistant Professor, University of Michigan, Winter 2001
Assistant Professor, Purdue University, Fall 1994 to Spring 2001
Assistant Professor, University of Delaware, Fall 1992 to Summer 1994

Courses Taught

Industrial Organization (undergraduate and doctoral)
Antitrust and Regulation (undergraduate)
Intermediate Microeconomics (undergraduate and master’s)
Microeconomic Principles (undergraduate)
International Economics (undergraduate and master’s)

Honors and Awards

Outstanding Antitrust Litigation Achievement in Economics, awarded by the American Antitrust Institute,
for work In re TFT-LCD Antitrust Litigation, 2013.

Publications

“Are All Men’s College Basketball Players Exploited?”, with Erin Lane and Juan Nagel, Journal of Sports
Economics, 15(3), June 2014, 237-262.

“Price Regulation: Theory and Performance”, in Regulation and Economics, Roger J. Van den Bergh
and Alessio M. Pacces, eds., Edward Elgar Publishing, 2011.
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and Zenon Zygmont”, Journal of Economic Literature, 47(2), June 2009, 485-489.

“One-Way Standards as an Anti-Competitive Strategy”, with Jeffrey K. MacKie-Mason, in Standards and
Public Policy, Shane Greenstein and Victor Stango, eds., Cambridge Press, 2007.

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A. Taylor, Review of Economics and Statistics, 84(1), February 2002, 162-175.

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Haveman, Review of Development Economics, 5(2), June 2001, 289-311.

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Bouckaert and Gerrit De Geest, eds, Edward Elgar and University of Ghent, 2000.

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Economics, 5(3), November 1999, 85-106.

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with Severin Borenstein, International Journal of Industrial Organization, 17(5), July 1999, 611-640.

“An Empirical Test of the Effect of Basis Risk on Cash Market Positions”, Journal of Futures Markets,
16(3), May 1996, 289-312.

“The Effect of Futures Markets and Corners on Storage and Spot Price Variability”, American Journal of
Agricultural Economics, 77(1), February 1995, 182-193.

“Antitrust Policy in Aftermarkets”, with Severin Borenstein and Jeffrey K. MacKie-Mason, Antitrust Law
Journal, 63(2), Winter 1995, 455-482.

“The Economics of Customer Lock-In and Market Power in Services”, with Severin Borenstein and
Jeffrey K. MacKie-Mason, in The Service Productivity and Quality Challenge, Patrick T. Harker, ed.,
Kluwer Academic, 1994.

Working Papers and Work in Progress

“LCDs and Antitrust: Does Crime Pay?”, with Nick Navitski and Josh Palmer, under review

“Fantasy Football Points as a Measure of Performance”, with Erin Lane and Juan Nagel

“Non-Profits and Price-Fixing: The Case of the Ivy League”

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”

“Basis and Exchange Rate Risks and their Impact on Storage and Exports”




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Research Grants

“Cooperation and Competition Among Nonprofits”, Nonprofit Sector Research Fund, Aspen
 Institute, 2000.

“Product Customization and Product-Space Positioning”, Dauch Center for the Management of
 Manufacturing Enterprises, Summer 2000.

“Outstanding Economics Professor of the Year”, Economics Club, Purdue University, 1999.

“Trade Barriers, Trade Blocs, Growth, and Convergence”, Purdue Research Foundation, 1998-1999.
“Effects of Informational Asymmetry on Competition in the Residential Long Distance Calling Market”,
 Purdue Research Foundation, 1997-1998.

“Basis and Exchange Rate Risks and their Impact on Storage and Exports”, Center for International
 Business and Economic Research, Summer 1997.

Global Initiative Faculty Grant (Course Development), “Industrial Organization in an International
Marketplace”, Purdue University, Summer 1997.

“Trade, Not Aid”, Purdue Research Foundation, Summer 1996.

“Trade, Not Aid”, Center for International Business and Economic Research, Summer 1996.

“The Effect of Price-Fixing by Institutions of Higher Education”, Purdue Research Foundation, Summer
 1995.

“Applied Microeconomics/International Workshop”, Purdue University, Spring 1995.

“The Market Structure of Higher Education”, University of Delaware, Summer 1993.

Research Associate, Center for the Study of Futures Markets, Columbia University, 1991.

Rackham Merit Fellowship, University of Michigan, 1987-1989.

Chancellor’s Scholar, University of California at Berkeley, 1983-1986.

Referee

American Economic Review
Contemporary Economic Policy
Feminist Economics
International Journal of the Economics of Business
International Journal of Industrial Organization
Journal of Economic Education
Journal of Economic and Management Strategy
Journal of Family and Economic Issues
Journal of Futures Markets
Journal of Industrial Economics
Journal of Law and Economics
Journal of Law, Economics, and Organization
Management Science
Review of Economics and Statistics
Scandinavian Journal of Economics
Telecommunications Systems


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Conference and Workshop Presentations

Panel participant, “Winning or Losing: Class Certification Post-Comcast”, American Bar Association,
62nd Antitrust Law Spring Meeting, Washington, DC, March 2014.

Panel participant, “Preparing Early and Often”, State-of-the-Art Strategies for Managing Class Action
Experts, American Bar Association, 16th Annual National Institute on Class Actions, Chicago, IL,
October 2012.

Panel participant, “Hot Topics Involving Experts in Antitrust Litigation”, New York State Bar Association,
Antitrust Law Section, Annual Meeting, New York, NY, January 2011.

Guest lecturer, Alternative Dispute Resolution Practicum, University of Michigan Law School, April
2008.

“The Economics of Indirect Purchaser Cases”, State Bar of Arizona Annual Conference, Phoenix, AZ,
June 2004.

“Manipulating Interface Standards as an Anti-Competitive Strategy”, Standards and Public Policy
Conference, Federal Reserve Bank of Chicago, Chicago, Il, May 2004.

“One-Way Standards as an Anti-Competitive Strategy”, Telecommunications Policy Research
Conference, Alexandria, VA, September 2002.

“Product Proliferation and Product Space Location”, Econometric Society Meetings, New Orleans,
January 2001.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, American
Economics Association Meetings, New Orleans, January 2001.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, Indiana
University-Purdue University Indianapolis, November 2000.

“Maximum or Minimum Differentiation? An Empirical Investigation into the Location of Firms”, University
of British Columbia, March 2000.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, University of Illinois, October 1999.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, Baylor University,
September 1999.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, Western
Economic Association Meetings, San Diego, July 1999.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, University of Chicago, April 1999.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, Indiana University, December 1998.

“International Integration and Growth: A Survey and Empirical Investigation”, Dynamics, Economic
Growth, and International Trade, III, Taiwan, August 1998.

Discussant (“Fiscal Policy and International Demand Spillovers”), Dynamics, Economic Growth, and
International Trade, III, An International Conference, Taiwan, August 1998.

“International Integration and Growth”, Workshop on Empirical Research in International
Trade and Investment, Copenhagen, June 1998.

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Discussant (“Factor Endowments and the Pattern of Affiliate Production by Multinational
Enterprises,” by Karolina Ekholm), Workshop on Empirical Research in International Trade
and Investment, Copenhagen, June 1998.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, Department of Justice Antitrust
Division, April 1998.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, American Economics
Association Meetings, Chicago, January 1998.

Discussant (“Equilibrium under Satisficing,” by Ralph W. Pfouts), International Atlantic Economics
Society, ASSA Meetings, Chicago, January 1998.

Discussant (“Overseas Investments and Firm Exports,” by Keith Head and John Ries),
Fourth Annual Empirical Investigations in International Trade conference, Purdue
University, November 1997.

“Maximum or Minimum Differentiation? An Empirical Investigation into the Location of
Firms”, International Atlantic Economic Association Conference, Philadelphia, October
1997.

Discussant (“Antidumping Enforcement in a Reciprocal Model of Dumping: Theory and
Evidence,” Taiji Furusawa and Thomas J. Prusa) and session chair, Third Annual Empirical
Investigations in International Trade conference, Purdue University, November 1996.

“The Effect of Price-Fixing by Institutions of Higher Education”, Indiana University-Purdue
University Indianapolis, April 1996.

“Exercising Market Power in Proprietary Aftermarkets”, with Severin Borenstein and Jeffrey
K. MacKie-Mason, Indiana University - Purdue University - IUPUI First Tri-School
Conference, March 1996.

“All in the Family: Family, Income, and Labor Force Attachment”, with Jon D. Haveman,
American Economic Association Meetings, San Francisco, January 1996.

“Family Matters: Unemployment, Wage Changes, and Mobility”, with Jon D. Haveman,
Southern Economics Association Meetings, New Orleans, November 1995.

Discussant and session chair, Second Annual Empirical Investigations in International
Trade conference, Purdue University, November 1995.

“Competition and Anti-Competitive Behavior”, ICLE (The State Bar of Michigan)
Conference on Antitrust and Intellectual Property, July 1995.

“Price-Fixing, Tuition, and Financial Aid”, Midwest Economics Association Meetings,
Cincinnati, April 1995.

“Family Matters: Unemployment, Wage Changes, and Mobility,” Midwest Economics
Association Meetings, Cincinnati, April 1995.

Discussant and session chair, “Customer Discrimination, Entrepreneurial Decisions, and
Investment”, Midwest Economics Association Meetings, April 1995.

“An Empirical Test of the Effect of Basis Risk on Cash Market Positions”, University of
Illinois, Urbana-Champaign, February 1995.



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Discussant and session chair, First Annual Empirical Investigations in International Trade
conference, Purdue University, November 1994.

“Antitrust Policy in Aftermarkets”, with Severin Borenstein and Jeffrey K. MacKie-Mason,
FTC/DOJ/ABA Conference on Post-Chicago Economics, Washington, D.C., May 1994.

“The Effect of Price-Fixing by Institutions of Higher Education, University of Delaware,
May 1994.

“The Effect of Futures Markets and Corners on Storage and Spot Price Variability”, Purdue
University, February 1994.

“An Empirical Test of the Effect of Basis Risk on Cash Market Positions”, University of
California at Davis, February 1993.

Discussant, Econometrics Association, Anaheim, 1992 Annual Meetings.

“Testing the Principle of Minimum Differentiation: Airline Departure-Time Crowding”, Econometrics
Association, Washington, D.C., 1990 Annual Meetings.

Consulting and Testifying

In re Cathode Ray Tube (CRT) Antitrust Litigation
United States District Court, Northern District of California, San Francisco Division, No. CV-07-5944-SC
Testifying expert for plaintiffs
Deposed November 2012, March 2013, June 2014, July 2014

In re Photochromic Lens Antitrust Litigation, 2010-2012
United States District Court Middle District of Florida, Tampa Division, No. 8:10-md-02173-JDW-EAJ
Testifying expert for plaintiffs
Deposed August 2012

Datel Holdings and Datel Design and Development v. Microsoft, 2010-2011
United States District Court, Northern District of California, San Francisco Division, No. 09-cv-05535
Testifying expert for plaintiffs
Deposed October 2011

In re Prefilled Propane Tank Marketing and Sales Practices Litigation, 2010-2011
United States District Court, Western District of Missouri, Western Division, No. 4:09-cv-00465
Testifying expert for plaintiffs

In re Florida Cement and Concrete Antitrust Litigation, 2010
United States District Court, Southern District of Florida, Miami Division, No. 1:09-cv-23493-CMA
Consulting expert for plaintiffs

Altair Engineering v. MSC Software, 2009-2010
United States District Court, Eastern District of Michigan, Southern Division, No. 2:07-cv-12807
Testifying expert for plaintiffs
Deposed May 2010

In re Optical Disk Drive products Antitrust Litigation, 2009-2010
United States District Court, Northern District of California, San Francisco Division, No. M:2010-cv-
02143
Consulting expert for plaintiffs




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In re Flash Memory Antitrust Litigation, 2008-2011
United States District Court, Northern District of California, Oakland Division, No. C-07-0086-SBA
Testifying expert for plaintiffs
Deposed August 2009

Valassis Communications, Inc. v. News America, Inc., 2008-2009
United States District Court, Eastern District of Michigan, Southern Division, No. 2:06-cv-10240
Circuit Court of the State of Michigan, County of Wayne, No. XX-XXXXXXX-CZ
Consulting expert for plaintiffs

In re TFT-LCD (Flat Panel) Antitrust Litigation, 2008-present
United States District Court, Northern District of California, San Francisco Division, No. M:07-cv-01827
Testifying expert for plaintiffs
Deposed July 2009, June 2011, August 2011

Houston Baptist University v. NCAA, 2008-2009
United States District Court in and for the Southern District of Texas, Houston Division
Testifying expert for plaintiffs

Seoul Semiconductor Co. v. Nichia Corp., 2008
United States District Court, Northern District of California, No. 3:08-cv-04932-PJH
Testifying expert for plaintiffs

Albert Andy Cohn v. Office Depot, 2008
Superior Court of the State of California, County of Los Angeles, Central District, No. BC 372449
Testifying expert for defendants

In re Graphics Processing Units Antitrust Litigation, 2007-2008
United States District Court Northern District of California, No. M:07-CV-01826-WHA
Testifying expert for plaintiffs
Deposed June 2008

Pro-Sys Consultants Ltd. and Neil Godfrey v. Microsoft, 2007-present
Supreme Court of British Columbia, No. L043175, Vancouver Registry
Testifying expert for plaintiffs
Deposed December 2008

In re Dynamic Random Access Memory (DRAM) Antitrust Litigation, 2007
United States District Court, Northern District of California, No. 02-cv-01486
Consulting expert for plaintiffs

Jason White et al. v. NCAA, 2006-2008
United States District Court Central District of California, No. CV 06-0999 RGK (MANx)
Testifying expert for plaintiffs
Deposed October 2007

In re Reformulated Gasoline (RFG) Antitrust and Patent Litigation, 2004-2008
United States District Court Central District of California, No. 05-1671 CAS
Testifying expert for plaintiffs
Deposed December 2006

Carlisle, settlement negotiations with Crompton, EPDM price-fixing cartel, 2005-2007
Consulting expert

Caterpillar and Carlisle, settlement negotiations with DuPont-Dow Elastomers, PCP (or CR) and
EPDM price-fixing cartels, 2004-2005
Consulting expert
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City and County of San Francisco et al. v. Microsoft, 2004-present
United States District Court for the District of Maryland, No. 1332
Testifying expert for plaintiffs

The Service Source v. Office Depot, 2004-2005
United States District Court Eastern District of Michigan Southern Division, No. 02-73361
Project director

Joe Comes et al. v. Microsoft, 2002-2008
Iowa District Court for Polk County, No. CL82311
Testifying expert for plaintiffs
Deposed July 2006, November 2006

Charles Cox et al. v. Microsoft, 2002-2006
Supreme Court of the State of New York County of New York, No. 105193/00
Testifying expert for plaintiffs

Daniel Gordon et al. v. Microsoft, 2002-2004
State of Minnesota District Court County of Hennepin Fourth Judicial District, No. 00-5994
Testifying expert for plaintiffs
Deposed September 2003

Morelock Enterprises, Inc. v. Weyerhaeuser Co., 2004-2008
United States District Court District of Oregon, No. 3:04-cv-00583-PA
Testifying expert for plaintiffs
Deposed October 2004, April 2005, October 2007
Testified in trial April 2008

Compuware v. IBM, 2002-2005
United States District Court for the Eastern District of Michigan, No. 02-70906
Project director

In re New Mexico Indirect Purchaser Microsoft Corp. Antitrust Litigation, 2002-2004
State of New Mexico First Judicial District, No. D-0101-CV-2000-1697
Testifying expert for plaintiffs

Charles Friedman et al. v. Microsoft, 2002-2004
Superior Court of the State of Arizona in and for the County of Maricopa, No. CV2000-000722 /
CV2000-005872
Testifying expert for plaintiffs
Deposed September 2003

In re Massachusetts Consumer Protection Litigation, 2003-2004
Commonwealth of Massachusetts, Superior Court Department of the Trial Court Middlesex Division,
No. 00-2456
Consulting expert

Olson v. Microsoft, 2002
Montana First Judicial District Court Lewis & Clark County, No. CDV-2000-219
Consulting expert

Covad v. Bell Atlantic (Verizon), 2001-2004
United District Court for the District of Columbia, No. 99-1046
Project director



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AMD, 2000-2004
Project director

Leckrone, et al. v. Premark International, Inc., et al., 2001
Testifying expert for plaintiffs

Ren, et al. v. EMI Music Distribution, Inc., 2001
State of Michigan in the Circuit Court of the County of Macomb, No. 00-2383-CZ
Testifying expert for plaintiffs

SBC, 2000
Staff economist

Lingo et al. v. Microsoft, 1999-2004
Superior Court of the State of California City and County of San Francisco, J.C.C.P. No. 4106
Project director

Gravity et al. v. Microsoft, 1999-2003
United States District Court for the District of Columbia, No. 1:99CV00363
Staff economist

City and County of San Francisco, 1999
Staff economist

Intergraph v. Intel, 1998-2001
United States District Court Appeals for the Federal District, No. 98-1308
Staff economist

Comm-Tract v. Northern Telecom, 1991-1997
United States District Court District of Massachusetts, No. 90-13088-WF
Project director

Systemcare, Inc. v. Wang Computer, 1991-1993
United States District Court for the District of Colorado, No. 89-B-1778
Staff economist

International Travel Arrangers v. Northwest Airlines, 1988-1989
Staff economist




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Exhibit B: Documents Considered in the Expert Report of Janet S.
Netz, PH.D.
Part 1: Bates Numbered Documents

BMCC-CRT000142063          HEDUS-CRT00161617          SDCRT-0007266
CHU00082287                HEDUS-CRT00161619          SDCRT-0086213
CHU00725787                HEDUS-CRT00166472          SDCRT-0086219
CHU00735558                HEDUS-CRT00166576          SDCRT-0086220
EIN0066369                 JLJ-00001899               SDCRT-0086227
HDP-CRT00007270            JLJ-00001901               SDCRT-0086229
HDP-CRT00007271            JLJ-00001928               SDCRT-0086236
HDP-CRT00022912            JLJ-00003167               SDCRT-0086241
HDP-CRT00023325            JLJ-00003477               SDCRT-0086517
HDP-CRT00023353            LPD-NL00018267             SDCRT-0086554
HDP-CRT00023354            LPD-NL00140679             SDCRT-0086748
HDP-CRT00023468            LPD-NL00202015             SDCRT-0087377
HDP-CRT00023894            LPD-NL00214267             SDCRT-0087389
HDP-CRT00024173            LPD-NL00214321             SDCRT-0087683
HDP-CRT00024174            LPD-NL00214381             SDCRT-0087703
HDP-CRT00025601            MTPD-0023243               SDCRT-0091869
HDP-CRT00025646            MTPD-0025533               SDCRT-0091873
HDP-CRT00025965            MTPD-0224010               SDCRT-0105131
HDP-CRT00026401            MTPD-0479804               SDCRT-0203634
HDP-CRT00033831            MTPD-0479805               TAEC-CRT-00065220
HDP-CRT00037711            PHLP-CRT-009472            TAEC-CRT-00065795
HDP-CRT00038725            PHLP-CRT-014611            TAEC-CRT-00065796
HDP-CRT00042019            PHLP-CRT-028942            TAEC-CRT-00065798
HDP-CRT00049280            PHLP-CRT-029020            TAEC-CRT-00068280
HDP-CRT00049449            PHLP-CRT-052964            TAEC-CRT-00068281
HDP-CRT00049470            PHLP-CRT-053164            TAEC-CRT-00070341
HDP-CRT00051351            PHLP-CRT-080735            TAEC-CRT-00070413
HDP-CRT00051354            PHLP-CRT-087420            TAEC-CRT-00071173
HDP-CRT00052643            PHLP-CRT-087780            TAEC-CRT-00071243
HDP-CRT00055593            PHLP-CRT-090736            TAEC-CRT-00072396
HDP-CRT00055626            PHLP-CRT-140529            TAEC-CRT-00072920
HDP-CRT00056170            PHLP-CRT-144478            TAEC-CRT-00082220
HEDUS-CRT00002107          PHLP-CRT-149827            TAEC-CRT-00082222
HEDUS-CRT00098394          PNV0012429                 TAEC-CRT-00091750
HEDUS-CRT00160563          PNV0026938                 TCE-CRT 0011658

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Exhibit B: Documents Considered in the Expert Report of Janet S.
Netz, PH.D.
Part 1: Bates Numbered Documents
TCE-CRT 0013094            TCE-CRT 0020866
TCE-CRT 0013096            TCE-CRT 0020867
TCE-CRT 0013708            TCE-CRT 0020868
TCE-CRT 0013710            TCE-CRT 0020869
TCE-CRT 0013711            TCE-CRT 0020870
TCE-CRT 0013712            TCE-CRT 0020871
TCE-CRT 0013713            TCE-CRT 0020912
TCE-CRT 0013716            TCE-CRT 0020913
TCE-CRT 0013717            TCE-CRT 0021804
TCE-CRT 0013719            TCE-CRT 0021805
TCE-CRT 0013722            TCE-CRT 0021819
TCE-CRT 0013724            TCE-CRT 0021822
TCE-CRT 0013725            TCE-CRT 0022382
TCE-CRT 0013727            TCE-CRT 0022672
TCE-CRT 0013728            TCE-CRT 0022861
TCE-CRT 0013746            TCE-CRT 0022862
TCE-CRT 0013749            TCE-CRT 0023943
TCE-CRT 0014493            TSB-CRT-00035366
TCE-CRT 0014658            TSB-CRT-00036524
TCE-CRT 0014659            TSB-CRT-00036533
TCE-CRT 0020435            TSB-CRT-00036534
TCE-CRT 0020460            TSB-CRT-00039829
TCE-CRT 0020461            TSB-CRT-00042610
TCE-CRT 0020578
TCE-CRT 0020578
TCE-CRT 0020855
TCE-CRT 0020856
TCE-CRT 0020857
TCE-CRT 0020858
TCE-CRT 0020859
TCE-CRT 0020860
TCE-CRT 0020861
TCE-CRT 0020863
TCE-CRT 0020864
TCE-CRT 0020865

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Exhibit B: Documents Considered in the Expert Report of Janet S.
Netz, PH.D.
Part 2: Confidential Documents without Bates Numbers
01 July 2014, Videotaped Deposition of W.R. Kim, Volume I.
01 May 2014, Videotaped Deposition of Target 30(b)(6) Witness Nikhil Nayar, Volume I.
02 July 2014, Videotaped Deposition of W.R. Kim, Volume II.
02 May 2014, Videotaped Deposition of Target 30(b)(6) Witness Nikhil Nayar, Volume II.
04 September 2014, Videotaped Deposition of Janusz A. Ordover, PH.D.
05 August 2014, Certificate of Service, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).
05 August 2014, Certificate of Service, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).
05 August 2014, Certificate of Service, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).
05 August 2014, Opposition Expert Report of Lawrence Wu, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco
Division).
05 September 2014, Deposition of Janet Netz, PH.D.
05 September 2014, Videotaped Deposition of Janusz A. Ordover, PH.D.
08 August 2014, Videotaped Deposition of Paul Anthony Garcia.
08 May 2014, Deposition of Chih-Yen Hsu, Volume I.
08 September 2014, Videotaped Deposition of Daniel L. Rubinfeld, PH.D.
09 June 2014, Videotaped Deposition of Kris Mortier.
09 May 2014, Deposition of Chih-Yen Hsu, Volume II.
10 July 2014, Videotaped Deposition of Alan S. Frankel, PH.D.
10 June 2014, Continued Videotaped Deposition of Kris Mortier.
10 June 2014, Deposition of Mohan Rao, PH.D.
11 July 2014, Videotaped Deposition of Lawrence Wu, PH.D.
11 September 2014, Deposition of Edward Snyder, PH.D.
12 December 2012, Deposition of In Hwan Song, Volume I.
12 November 2003, Deposition of Thomas P. Pohmer.
12 September 2014, Deposition of Barry Harris, PH.D.
12 September 2014, Videotaped Deposition of Lawrence Wu, PH.D.
13 August 2014, Deposition of Jeffrey Johnson, Volume I.
13 December 2012, Deposition of In Hwan Song, Volume II.


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Exhibit B: Documents Considered in the Expert Report of Janet S.
Netz, PH.D.
Part 2: Confidential Documents without Bates Numbers
14 August 2014, Deposition of Jeffrey Johnson, Volume II.
14 December 2012, Deposition of In Hwan Song, Volume III.
15 September 2014, Deposition of Darrell Williams, PH.D.
16 July 2013, Deposition of Pil Jae Lee, Volume 1.
17 July 2013, Deposition of Pil Jae Lee, Volume 2.
17 September 2014, Deposition of Margaret Guerin-Calvert.
18 September 2014, Deposition of Vandy Howell, PH.D.
19 September 2014, Deposition of Robert Willig, PH.D..
20 May 2014, Oral and Videotaped Deposition of John O'Donnell.
21 August 2014, Videotaped Deposition of Jason Bonfig.
24 April 2014, Videotaped Deposition of Tweeter Opco, LLC 30(b)(6) Witness Christopher Re.
25 August 2014, Videotaped Deposition of Kyu In Quin Choi, Volume I.
26 August 2014, Videotaped Deposition of Kyu In Quin Choi, Volume II.
26 June 2014, Videotaped Deposition of Vandy Howell, PH.D.
27 June 2014, Videotaped Deposition of Janet S. Netz, PH.D.
27 June 2014, Videotaped Deposition of Janet S. Netz, PH.D.
29 July 2014, Videotaped Deposition of Claudine Adamo.
Carlton, Dennis W., 05 August 2014, Reply Expert Report of Prof. Dennis W. Carlton, The State
of California, et al. v. Samsung Samsung SDI, Co., Ltd. et al (Superior Court of the State of
California in the County of San Francisco).
Carlton, Dennis W., 23 September 2014, Errata to Reply Expert Report of Prof. Dennis W.
Carlton for Sharp, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District
Court Northern District of California San Francisco Division).
Carlton, Dennis W., 23 September 2014, Errata to Reply Expert Report of Prof. Dennis W.
Carlton for Multiple DAPs, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States
District Court Northern District of California San Francisco Division).
Carlton, Dennis W., 23 September 2014, Errata to Reply Expert Report of Prof. Dennis W.
Carlton for Viewsonic, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States
District Court Northern District of California San Francisco Division).
Deposition Exhibit Wu 4003, Investigation of the Causes of the Bankruptcy of LG.Philips
Displays
Elzinga, Kenneth G., 05 August 2014, Reply Expert Report of Dr. Kenneth G. Elzinga, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division).

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Exhibit B: Documents Considered in the Expert Report of Janet S.
Netz, PH.D.
Part 2: Confidential Documents without Bates Numbers
Elzinga, Kenneth G., 15 April 2014, Expert Report of Dr. Kenneth G. Elzinga, In re: Cathode
Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
San Francisco Division).
Frankel, Alan S., 15 April 2014, Report of Alan S. Frankel, PH.D for Best Buy, In re: Cathode
Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
San Francisco Division).
Guerin-Calvert, Margaret E., 23 September 2014, Errata to The Expert Report of Margaret E.
Guerin-Calvert, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District
Court Northern District of California San Francisco Division).
Guerin-Calvert, Margret E., 05 August 2014, Expert Report of Margret E. Guerin-Calvert, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division).
Haggard, Stephan, 15 April 2014, Expert Report of Dr. Stephan Haggard, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
Harris, Barry C., 05 August 2014, Expert Report of Barry C. Harris, PH.D, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
Hausman, Jerry A., 15 April 2014, Expert Report of Jerry A. Hausman, In re: Cathode Ray Tube
(CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
Howell, Vandy, 05 August 2014, Expert Report of Vandy Howell, PH.D., In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
Lys, Thomas, 23 September 2014, Expert Report of Professor Thomas Lys, PH.D, In re: Cathode
Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
San Francisco Division).
McClave, James T., 15 April 2014, Expert Report of Dr. James T. McClave, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
Netz, Janet S., 03 July 2014, Errata to the Expert Report of Janet S. Netz, PH.D, In re: Cathode
Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
San Francisco Division).
Netz, Janet S., 15 April 2014, Expert Report of Janet S. Netz, PH.D, In re: Cathode Ray Tube
(CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).




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Exhibit B: Documents Considered in the Expert Report of Janet S.
Netz, PH.D.
Part 2: Confidential Documents without Bates Numbers
Ordover, Janusz A., 05 August 2014, Expert Report of Janusz A. Ordover, PH.D for Best Buy, In
re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District
of California San Francisco Division).
Ordover, Janusz A., 05 August 2014, Expert Report of Janusz A. Ordover, PH.D., The State of
California, et al. v. Samsung Samsung SDI, Co., Ltd. et al (Superior Court of the State of
California in the County of San Francisco).
Ordover, Janusz A., 05 August 2014, Expert Report of Janusz A. Ordover, PH.D, In re: Cathode
Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California
San Francisco Division).
Rao, Mohan, 15 April 2014, Expert Report of Mohan Rao, PH.D, Dell Inc., et al. v. Hitachi, Ltd.
(United States District Court Northern District of California San Francisco Division).
Rubinfeld, Daniel L., 05 August 2014, Expert Report of Daniel L. Rubinfeld, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
Snyder, Edward A., 05 August 2014, Expert Report of Edward A. Snyder, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
Trail, Thomas, 14 July 2014, Declaration of Thomas Trail, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco
Division).
Whinston, Michael D., 05 August 2014, Expert Report of Michael D. Whinston, PHD, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division).
Whitehead, Melissa Mahurin, 23 July 2014, Letter from Whitehead to Caseria Concerning FTP
cite documents.
Williams, Darrell, 05 August 2014, Expert Report of Dr. Darrell Williams, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
Willig, Robert D., 05 August 2014, Expert Report of Robert D. Willig, In re: Cathode Ray Tube
(CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
Willig, Robert D., 23 September 2014, Errata to The Expert Report of Robert D. Willig, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division).
Wu, Lawrence, 15 April 2014, Expert Report of Lawrence Wu, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco
Division).



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Exhibit C: Documents Considered in the Expert Report of Janet S.
Netz, PH.D.
10 February 2009, Indictment of C.Y. Lin.
11 December 2011, Watchdog fines 4 CRT glass makers for price fixing, Yonhap News Agency,
http://english.yonhapnews.co.kr/techscience/2011/12/11/99/0601000000AEN20111211002300320F.HTML,
accessed 25 September 2014.
11 July 2014, Panasonic Corporation of North America's First Set of Interrogatories to Indirect Purchaser Plaintiffs,
In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).
18 June 2014, Attachment A to Sharp's Responses to Various Interrogatories, In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco Division).
18 June 2014, Certificate of Service, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District
Court Northern District of California San Francisco Division).
18 June 2014, Plaintiffs Sharp Corp. and Sharp Electronics Manufacturing Company of America, Inc.'s Second
Supplemental Responses and Objections to Defendants Panasonic Corporation and LG Electronics, Inc.'s First Set of
Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District
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Pass-Through Study Summary Results
                                                                                         Number of   Pass- Significance          Standard Error of
                                 Distribution
        Third Party Name                                Product    Begin Date End Date    Tubes in through    (Rate =   R-Squared Pass-through
                                 Chain Level
                                                                                           Study     Rate      100%)                   Rate
Amazon                     Internet Retailer         Monitors        1/2/2002 11/16/2011      19,847  104%    = 100%       0.98        0.02
Amazon                     Internet Retailer         Televisions     2/8/2002    1/7/2011      20,591    117%   > 100%     0.97         0.01
Arrow Electronics          Product Distributor       Monitors      11/24/1997   6/26/2006      70,703    109%   > 100%     0.97         0.00
BenQ                       Product Manufacturer      Monitors       11/2/1998   9/21/2005    5,037,064   112%   > 100%     0.95         0.00
Best Buy                   Brick & Mortar Retailer   Monitors        4/8/1996   3/22/2009   13,939,131   110%   > 100%     0.91         0.00
Best Buy                   Brick & Mortar Retailer   Televisions     4/8/1996 12/27/2009    39,584,133   124%   > 100%     0.96         0.00
Best Buy.com               Internet Retailer         Monitors       8/18/2000 12/29/2007      110,200    138%   > 100%     0.95         0.00
Best Buy.com               Internet Retailer         Televisions    6/12/2000 12/31/2007      451,463    144%   > 100%     0.98         0.00
Buy.com                    Internet Retailer         Monitors       1/13/2002   1/28/2010         473    116%   > 100%     0.99         0.03
Buy.com                    Internet Retailer         Televisions    9/27/2002    9/6/2010         575    105%   > 100%     0.99         0.01
CDW                        Internet Retailer         Monitors        1/3/2006    1/8/2008      53,063    100%   = 100%     0.93         0.02
CDW                        Internet Retailer         Televisions    11/8/2005   3/29/2010        5,721   102%   = 100%     0.98         0.03
Costco                     Brick & Mortar Retailer   Monitors      12/16/1996   3/11/2006     569,177    107%   > 100%     0.99         0.00
Costco                     Brick & Mortar Retailer   Televisions     9/3/1996   12/8/2007    7,325,920   107%   > 100%     0.99         0.00
Dell                       Internet Retailer         Monitors        1/2/2002 12/31/2006     2,739,263   118%   > 100%     0.92         0.00
Dell (Purchase Costs)      Internet Retailer         Monitors        1/2/2002 12/31/2006     2,716,596   122%   > 100%     0.92         0.00
Envision                   Product Manufacturer      Monitors        1/3/2001   5/27/2008    1,377,421   100%   > 100%     0.79         0.00
Fry's                      Brick & Mortar Retailer   Monitors        1/1/1998 10/21/2006     1,205,681   113%   > 100%     0.97         0.00
Funai                      Product Manufacturer      Televisions     1/3/2005   7/28/2009   10,958,577   113%   > 100%     0.97         0.00
Gateway                    Internet Retailer         Monitors        1/5/1998 12/30/2004         N/A*    112%   > 100%     0.98         0.01
Ingram Micro               Product Distributor       Monitors      12/31/2001 12/27/2010     2,646,928   102%   > 100%     1.00         0.00
Ingram Micro               Product Distributor       Televisions   12/31/2001   12/7/2010        4,960   103%   > 100%     1.00         0.01
Kmart                      Brick & Mortar Retailer   Televisions   11/25/2004 11/19/2009     1,314,151   115%   > 100%     0.94         0.00
OfficeMax                  Brick & Mortar Retailer   Desktops       1/26/2003   12/1/2008      90,747    109%   > 100%     0.79         0.03
OfficeMax                  Brick & Mortar Retailer   Monitors       1/26/2003   9/25/2007     231,354    101%   > 100%     0.77         0.01
PC Connection              Internet Retailer         Monitors        7/8/1999 10/29/2008       23,101    109%   > 100%     0.98         0.01
PC Connection              Internet Retailer         Televisions     2/5/1999    1/8/2007         232    106%   > 100%     1.00         0.02
PC Mall                    Internet Retailer         Desktops        6/6/2002    3/7/2006        5,638   101%   = 100%     0.95         0.01


                                                                                                                                      Exhibit RR-62
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                                                                                             Number of  Pass- Significance          Standard Error of
                                    Distribution
     Third Party Name                                      Product    Begin Date End Date     Tubes in through   (Rate =   R-Squared Pass-through
                                    Chain Level
                                                                                               Study     Rate     100%)                   Rate
PC Mall                       Internet Retailer         Monitors       2/27/1994   6/18/2009    159,587   110%   > 100%       0.98        0.00
PC Mall                       Internet Retailer         Televisions    9/24/1996 11/19/2009         2,001   112%   > 100%     0.99         0.02
P.C. Richard                  Brick & Mortar Retailer   Televisions     3/1/1995 11/27/2007     2,819,216   120%   > 100%     0.94         0.00
Philips                       Product Manufacturer      Monitors        6/1/2000    8/1/2007    2,425,995   110%   > 100%     0.95         0.02
Philips                       Product Manufacturer      Televisions     2/1/2000    5/1/2009   20,975,642   106%   > 100%     0.94         0.01
RadioShack                    Brick & Mortar Retailer   Monitors        1/1/2002    7/4/2009     165,233    108%   > 100%     0.84         0.00
RadioShack                    Brick & Mortar Retailer   Televisions     1/1/2002   2/29/2008    1,016,643   105%   > 100%     0.88         0.00
Sam's Club (Retail Prices)    Brick & Mortar Retailer   Televisions    8/13/2001 11/19/2005       17,939    98%    = 100%     1.00         0.02
Sam's Club (Transaction
                              Brick & Mortar Retailer   Televisions     9/8/2001 12/17/2005       15,871    113%   > 100%     0.98         0.03
Prices)
Sanyo                         Product Manufacturer      Televisions    12/1/1994    7/1/2007        N/A*    150%   > 100%     0.96         0.12
Sears                         Brick & Mortar Retailer   Monitors        1/5/1999 12/28/2005      769,667    100%   = 100%     0.71         0.01
Sears                         Brick & Mortar Retailer   Televisions     1/5/1999   1/14/2009   13,418,767   128%   > 100%     0.94         0.00
Sharp Electronics             Product Manufacturer      Televisions    10/1/1997   11/1/2007   11,496,675   104%   = 100%     0.90         0.03
Target (Retail Prices)        Brick & Mortar Retailer   Televisions     5/1/2005   10/1/2009     805,388    117%   > 100%     0.99         0.04
Target (Transaction Prices)   Brick & Mortar Retailer   Televisions     5/1/2005   10/1/2009     805,388    121%   > 100%     0.98         0.09
Tatung                        Product Manufacturer      Monitors        9/2/1998 10/31/2006      222,516    100%   = 100%     0.93         0.01
Tech Data                     Product Distributor       Monitors       11/3/1997 10/29/2007     1,217,901   100%   > 100%     0.99         0.00
Toshiba America Consumer
                         Product Manufacturer           Televisions    4/12/1995   3/31/2006   20,313,733   117%   > 100%     0.97         0.00
Products (TACP)
Toshiba America Electronics
                            Tube Distributor            CDTs           4/23/1994   6/28/2000    1,854,536   96%    = 100%     0.99         0.02
Corporation
Toshiba America Electronics
                            Tube Distributor            CPTs           4/27/1994 11/22/2002    12,188,332   100%   > 100%     1.00         0.00
Corporation
Toshiba America Information
                            Product Manufacturer        Monitors       11/1/1996    4/1/2005     327,738    112%   = 100%     0.78         0.14
Systems
ViewSonic                     Product Manufacturer      Monitors       4/16/1997 10/31/2001     1,109,928   118%   > 100%     0.96         0.00
Wal-Mart (Retail Prices)      Brick & Mortar Retailer   Televisions    6/23/2001    8/7/2010      48,156    110%   > 100%     0.99         0.05
Wal-Mart (Transaction
                              Brick & Mortar Retailer   Televisions    6/25/2001    8/7/2010      47,141    106%   > 100%     0.99         0.02
Prices)
Wal-Mart/Sanyo                Brick & Mortar Retailer   Televisions    12/1/1994    8/3/2009        N/A*    116%   > 100%     1.00         0.01
Zones                         Internet Retailer         Desktops        1/3/2000    4/1/2003        7,175   113%   > 100%     0.97         0.01


                                                                                                                                          Exhibit RR-62
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                                                                                                             Number of   Pass- Significance          Standard Error of
                                         Distribution
      Third Party Name                                             Product        Begin Date End Date         Tubes in through    (Rate =   R-Squared Pass-through
                                         Chain Level
                                                                                                               Study     Rate      100%)                   Rate
Zones                             Internet Retailer            Monitors               1/3/2000     1/11/2008      41,368  104%    > 100%       0.97        0.00
Envision - Ingram Micro - PC
                             Multi-level                       Monitors             1/15/2002 11/19/2005                     **    127%       = 100%           0.00               0.25
Connection
Philips - Best Buy                Multi-level                  Televisions            6/1/2000      7/1/2006                ***    139%       > 100%           0.00               0.07
Philips - Costco                  Multi-level                  Televisions            6/1/2000      2/1/2007               ****    133%       > 100%           0.00               0.07
Panasonic - Best Buy.com          Top-and-bottom               Televisions          6/12/2000       4/6/2007           15,551      115%       > 100%           0.73               0.06
Samsung - Best Buy                Top-and-bottom               Televisions            1/1/1998     12/1/2007       2,402,442       155%       > 100%           0.86               0.01
Sanyo - Wal-Mart                  Top-and-bottom               Televisions          12/1/1994       7/1/2007             N/A*      185%       > 100%           0.95               0.19
Sanyo - Wal-Mart                  Top-to-bottom                Televisions          12/1/1994       7/1/2007             N/A*      176%       > 100%           0.00               0.16
Toshiba                           Top-to-bottom                Televisions            9/3/1996     3/31/2006              *****    183%       > 100%           0.00               0.00



Note(s):           Unless otherwise noted, the number of observations is weighted by the transaction quantity. Studies that are not weighted by transaction quantity are Gateway, Wal-
                   Mart/Sanyo, and the Sanyo - Wal-Mart top-and-bottom and top-to-bottom studies.
                   Where possible, I also conduct pass-through studies on desktop computers that are all-in-one computers featuring a built-in CRT monitor, or that are bundled with CRT
                   monitors.
                   Cost data is generally produced in two forms: synchronized with the sales data, or separate from the sales data. Synchronized cost data appear in the sales data as a
                   separate field and does not need to be matched with sales data.
                   When costs and prices (i.e. purchases and sales) are not synchronized, I calculate average costs for each product over a certain time (generally daily or weekly average
                   costs).
                   Studies combining Wal-Mart and Sanyo data use price lists of Sanyo products sold in Wal-Mart stores. The price variable is Wal-Mart's retail price, and the cost variable is
                   FOB costs from products sold by Sanyo Manufacturing Corporation to Wal-Mart.
                   The columns Begin Date and End Date represent the oldest and most recent dates for all observations in each study.
                   All pass-through studies except Toshiba America Electronics Corporation and PC Connection (televisions) are run with robust standard errors, i.e. I conducted a Breusch-
                   Pagan test for heteroskedasticity and this rejected the null hypothesis of no heteroskedasticity. The Toshiba America Electronics Corproration studies use standard errors
                   that allow for clustering (correlation between observations within each cluster).
                   * The data used for these studies do not contain quantity information for a tube count.
                   ** The Envision - Ingram Micro - PC Connection study involves 12,641 tubes at the Envision level, 324 tubes at the Ingram Micro level, and 307 tubes at the PC
                   Connection level.
                   *** The Philips - Best Buy study involves 1,655,162 tubes at at the Philips level and 1,587,196 tubes at the Best Buy level.
                   **** The Philips - Costco study involves 890,557 tubes at the Philips level and 822,079 tubes at the Costco level.
                   ***** The Toshiba top-to-bottom study involves 6,035,699 tubes at theTAEC level, 280,337 tubes at the TACP level, and 1,291,761 tubes at the Costco level.
Source File(s):    See Exhibit RR-71.




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Pass-Through Study Explanatory Variable List




                                                                                                                                                            VCR Combo

                                                                                                                                                                        DVD Combo
                                                                                                                                       Flat Screen
                                                                                                                          Resolution
                                                                                                                  Brand




                                                                                                                                                     HDTV
                          Distribution                             Price




                                                                                                                                                                                    Time
                                                                                                    Cost

                                                                                                           Size
 Third Party Name         Chain Level             Product        Description     Cost Description                                                                                            Other Explanatory Variables

Amazon              Internet Retailer         Monitors      Transaction Prices   Synchronized       X      X      X       X
Amazon              Internet Retailer         Televisions   Transaction Prices   Synchronized       X      X      X                                  X                  X
Arrow Electronics   Product Distributor       Monitors      Transaction Prices   Synchronized       X      X              X
BenQ                Product Manufacturer      Monitors      Transaction Prices   Synchronized       X      X              X
Best Buy            Brick & Mortar Retailer   Monitors      Transaction Prices   Synchronized       X      X                           X                                                   Wide screen.
                                                                                                                                                                                           Wide screen; HD-ready; Picture-in-
Best Buy            Brick & Mortar Retailer   Televisions   Transaction Prices   Synchronized       X      X                           X             X      X           X
                                                                                                                                                                                           picture.
Best Buy.com        Internet Retailer         Monitors      Transaction Prices   Synchronized       X      X      X                    X
                                                                                                                                                                                           Wide screen; HD-ready; Picture-in-
Best Buy.com        Internet Retailer         Televisions   Transaction Prices   Synchronized       X      X      X                    X             X      X           X
                                                                                                                                                                                           picture; Slim tube.
Buy.com             Internet Retailer         Monitors      Transaction Prices   Synchronized       X      X      X       X            X
Buy.com             Internet Retailer         Televisions   Transaction Prices   Synchronized       X      X      X                    X             X      X           X
CDW                 Internet Retailer         Monitors      Transaction Prices   Monthly Average    X      X              X            X
CDW                 Internet Retailer         Televisions   Transaction Prices   Monthly Average    X      X      X                    X             X      X           X
Costco              Brick & Mortar Retailer   Monitors      Transaction Prices   Weekly Average     X      X      X                    X
                                                                                                                                                                                           Wide screen; HD-ready; Picture-in-
Costco              Brick & Mortar Retailer   Televisions   Transaction Prices   Weekly Average     X      X      X                    X             X      X           X
                                                                                                                                                                                           picture.
Dell                Internet Retailer         Monitors      Transaction Prices   Synchronized       X      X              X
Dell (Purchase
                    Internet Retailer         Monitors      Transaction Prices   Weekly Average     X      X              X
Costs)
Envision            Product Manufacturer      Monitors      Transaction Prices   Synchronized       X      X                           X                                                   Speakers.
Fry's               Brick & Mortar Retailer   Monitors      Transaction Prices   Synchronized       X      X      X                    X                                                   Refurbished.
Funai               Product Manufacturer      Televisions   Transaction Prices   Monthly Average    X      X      X                    X                    X           X
Gateway             Internet Retailer         Monitors      List Prices          Daily Average      X      X
Ingram Micro        Product Distributor       Monitors      Transaction Prices   Synchronized       X      X              X            X
Ingram Micro        Product Distributor       Televisions   Transaction Prices   Synchronized       X      X                           X             X                                     Wide screen.
Kmart               Brick & Mortar Retailer   Televisions   Transaction Prices   Weekly Average     X      X      X                    X             X      X           X
                                                                                                                                                                                           RAM; Hard Drive Size; Processor
OfficeMax           Brick & Mortar Retailer   Desktops      Transaction Prices   Synchronized       X                                                                                      Type; Processor Speed; Condition
                                                                                                                                                                                           Type; Distribution Channel
                                                                                                                                                                                           Condition Type; Distribution
OfficeMax           Brick & Mortar Retailer   Monitors      Transaction Prices   Synchronized       X      X                           X
                                                                                                                                                                                           Channel.


                                                                                                                                                                                                             Exhibit RR-63
                                                                                                                                                                                                               Page 1 of 3
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                                                                                                                                                              VCR Combo

                                                                                                                                                                          DVD Combo
                                                                                                                                         Flat Screen
                                                                                                                            Resolution
                                                                                                                    Brand




                                                                                                                                                       HDTV
                            Distribution                             Price




                                                                                                                                                                                         Time
                                                                                                      Cost

                                                                                                             Size
 Third Party Name           Chain Level             Product        Description     Cost Description                                                                                               Other Explanatory Variables

PC Connection         Internet Retailer         Monitors      Transaction Prices   Weekly Average     X      X      X       X            X                                                      Refurbished.
PC Connection         Internet Retailer         Televisions   Transaction Prices   Weekly Average     X      X      X                                  X                                        HD-ready.
                                                                                                                                                                                                RAM; Processor Speed; Retailer
PC Mall               Internet Retailer         Desktops      Transaction Prices   Weekly Average     X
                                                                                                                                                                                                (PC Mall, Trend)
                                                                                                                                                                                                Refurbished; Retailer (PC Mall,
PC Mall               Internet Retailer         Monitors      Transaction Prices   Weekly Average     X      X              X            X
                                                                                                                                                                                                Trend, SX)
PC Mall               Internet Retailer         Televisions   Transaction Prices   Weekly Average     X      X                           X             X      X           X                     Retailer (PC Mall, Trend)
P.C. Richard          Brick & Mortar Retailer   Televisions   Transaction Prices   Synchronized       X      X      X                                  X      X           X                     HD-ready.
Philips               Product Manufacturer      Monitors      Monthly Average PricesMonthly Average   X      X                           X
Philips               Product Manufacturer      Televisions   Monthly Average PricesMonthly Average   X      X                           X             X      X           X
RadioShack            Brick & Mortar Retailer   Monitors      Transaction Prices   Synchronized       X      X      X                    X
RadioShack            Brick & Mortar Retailer   Televisions   Transaction Prices   Synchronized       X      X      X                    X                    X           X
Sam's Club (Retail
                     Brick & Mortar Retailer    Televisions   Weekly Average PricesWeekly Average     X      X      X                                         X
Prices)
Sam's Club
                     Brick & Mortar Retailer    Televisions   Transaction Prices   Weekly Average     X      X      X                                         X                       Month
(Transaction Prices)
Sanyo                 Product Manufacturer      Televisions   List Prices          Monthly Average    X      X                           X             X                                        Picture-in-picture.
Sears                 Brick & Mortar Retailer   Monitors      Transaction Prices   Synchronized       X      X      X
Sears                 Brick & Mortar Retailer   Televisions   Transaction Prices   Synchronized       X      X      X                                         X           X
Sharp Electronics     Product Manufacturer      Televisions   Monthly Average PricesMonthly Average   X      X                           X                    X           X
Target (Retail
                      Brick & Mortar Retailer   Monitors      Monthly Average List Prices
                                                                                    Monthly Average   X      X                           X                    X           X
Prices)
Target (Transaction
                      Brick & Mortar Retailer   Monitors      Monthly Average PricesMonthly Average   X      X                           X                    X           X
Prices)
Tatung                Product Manufacturer      Monitors      Transaction Prices   Monthly Average    X      X              X                                                         Year Color Display
Tech Data             Product Distributor       Monitors      Transaction Prices   Monthly Average    X      X              X            X                                                      Speakers; Unbranded (generic).
Toshiba America
Consumer Products Product Manufacturer          Televisions   Transaction Prices   Synchronized       X      X                                         X      X
(TACP)
Toshiba America
Electronics       Tube Distributor              CDTs          Transaction Prices   Monthly Average    X                                                                                         Model Number
Corporation
Toshiba America
Electronics       Tube Distributor              CPTs          Transaction Prices   Monthly Average    X                                                                                         Model Number
Corporation




                                                                                                                                                                                                                      Exhibit RR-63
                                                                                                                                                                                                                        Page 2 of 3
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                                                                                                                                                                        VCR Combo

                                                                                                                                                                                    DVD Combo
                                                                                                                                                   Flat Screen
                                                                                                                                      Resolution
                                                                                                                              Brand




                                                                                                                                                                 HDTV
                               Distribution                                Price




                                                                                                                                                                                                   Time
                                                                                                                Cost

                                                                                                                       Size
 Third Party Name              Chain Level             Product           Description       Cost Description                                                                                                 Other Explanatory Variables

                                                                                                                                                                                                          Remanufactured; Obsolete;
Toshiba America
                    Product Manufacturer          Monitors          Monthly Average PricesMonthly Average       X      X                                                                                  Discounted; Limited; Product Line;
Information Systems
                                                                                                                                                                                                          Multimedia; Casing Color
ViewSonic               Product Manufacturer      Monitors          Transaction Prices     Weekly Average       X      X                           X                                                      Multimedia.

Wal-Mart (Retail Prices)
                      Brick & Mortar Retailer     Televisions       Weekly Average PricesWeekly Average         X      X      X                                  X      X

Wal-Mart (TransactionBrick
                      Prices)
                           & Mortar Retailer      Televisions       Transaction Prices     Weekly Average       X      X      X                                  X      X                       Month

Wal-Mart/Sanyo          Brick & Mortar Retailer   Televisions       List Prices            FOB Costs            X      X                           X             X                                        Wide screen, Picture-in-picture.
Zones                   Internet Retailer         Desktops          Transaction Prices     Synchronized         X                                                                                         RAM; Processor Speed
Zones                   Internet Retailer         Monitors          Transaction Prices     Synchronized         X      X      X       X            X

Envision - Ingram Micro - PC Connection
                      Multi-level                 Monitors          Weekly Average PricesWeekly Average         X      X

Philips - Best Buy      Multi-level               Televisions       Monthly Average PricesMonthly Average       X      X                           X
Philips - Costco        Multi-level               Televisions       Monthly Average PricesMonthly Average       X      X                           X

Panasonic - Best Buy.com
                     Top-and-bottom               Televisions       Transaction Prices     Monthly Average      X      X                           X                    X           X                     Picture-in-picture.

Samsung - Best Buy Top-and-bottom                 Televisions       Transaction Prices     Monthly Average      X      X                           X             X      X

Sanyo - Wal-Mart        Top-and-bottom            Televisions       List Prices            Monthly Average      X      X                           X             X                                        Picture-in-picture.
Sanyo - Wal-Mart        Top-to-bottom             Televisions       List Prices            Monthly Average      X      X                           X             X                                        Picture-in-picture.
Toshiba                 Top-to-bottom             Televisions       Transaction Prices     Monthly Average      X      X                           X                    X                                 Wide screen; Picture-in-picture.




Note(s):             Cost data is generally produced in two forms: synchronized with the sales data, or separate from the sales data.
                     When costs and prices (i.e. purchases and sales) are not synchronized, I calculate average costs for each product over a certain time (generally daily or weekly average
                     costs).
                     Where possible, I also conduct pass-through studies on desktop computers that are all-in-one computers featuring a built-in CRT monitor, or that are bundled with CRT
                     monitors.
                     The Wal-Mart/Sanyo studies use price lists of Sanyo products sold in Wal-Mart stores. The price variable is Wal-Mart's retail price, and the cost variable is FOB costs
                     from products sold by Sanyo Manufacturing Corporation to Wal-Mart.
Source File(s):      See Exhibit RR-71.




                                                                                                                                                                                                                                Exhibit RR-63
                                                                                                                                                                                                                                  Page 3 of 3
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Pass-Through Stata File List

Study Name                Stata Program Names
                          Import Amazon Specs.do
Amazon                    amazon_data_cleaning.do
                          amazon_report.do
                          arrow_data_cleaning.do
Arrow
                          arrow_report.do
                          benq_customer_list.do
BenQ                      benq_data_cleaning.do
                          benq_report.do
                          bestbuy_sku_list.do
                          bestbuy_data_load.do
                          bestbuy_20100128_production_load.do
Best Buy
                          bestbuy_20121024_production_load.do
                          bestbuy_data_cleaning.do
                          bestbuy_report.do
                          bestbuy_com_data_load.do
Best Buy.com              bestbuy_com_data_clean.do
                          bestbuy_com_report.do
                          Import BuyCom Digests.do
                          ReadSKUs.do
Buy.com
                          buycom_data_cleaning.do
                          buycom_report.do
                          cdw_data_cleaning.do
CDW
                          cdw_report.do
                          costco_data_load.do
Costco                    costco_data_cleaning.do
                          costco_report.do
                          dell_data_cleaning.do
Dell
                          dell_report.do
                          envision_data_cleaning.do
Envision
                          envision_report.do
                          frys_data_cleaning.do
Fry's
                          frys_report.do
                          funai_data_cleaning.do
Funai
                          funai_report.do
                          gateway_data_cleaning.do
Gateway
                          gateway_report.do
                          ingram_micro_data_load.do
Ingram Micro              ingram_micro_data_cleaning.do
                          ingram_micro_report.do
                          kmart_data_load.do
Kmart                     kmart_data_clean.do
                          kmart_report.do



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Study Name                 Stata Program Names
                           item_selection.do
OfficeMax                  officemax_data_cleaning.do
                           officemax_report.do
                           pcconnection_data_cleaning.do
PC Connection
                           pcconnection_report.do
                           pcmall_data_cleaning.do
PC Mall
                           pcmall_report.do
                           pcr_data_cleaning.do
P.C. Richard
                           pcr_report.do
                           philips_data_load.do
Philips                    philips_data_clean.do
                           philips_report.do
                           radioshack_data_load.do
RadioShack                 radioshack_data_clean.do
                           radioshack_report.do
                           selected_stores.do
                           selected_items.do
Sam's Club (Retail Prices) additional_wm_sams_skus.do
                           sams_retail_prices.do
                           sams_retail_prices_report.do
                           selected_stores.do
                           selected_items.do
Sam's Club (Transaction
                           additional_wm_sams_skus.do
Prices)
                           sams_data_cleaning.do
                           sams_report.do
                           sanyo_data_combine.do
Sanyo
                           sanyo_combined_report.do
                           sears_data_load.do
                           sears_data_clean.do
Sears
                           sears_add_date.do
                           sears_report.do
                           sharp_data_cleaning.do
Sharp Electronics
                           sharp_report.do
Target (Retail and         target_data_clean.do
Transaction Prices)        target_report.do
                           tatung_costs.do
Tatung                     tatung_sales.do
                           tatung_report.do
                           techdata_data_cleaning.do
Tech Data
                           techdata_report.do
                           tacp_sales_load.do
Toshiba America Consumer
                           tacp_sales_clean.do
Products (TACP)
                           tacp_report.do
Toshiba America Electronic taec_data_load.do
Components (TAEC)          taec_report.do


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                                                                         Page 2 of 4
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Study Name                    Stata Program Names
Toshiba America               tais_sales.do
Information Systems (TAIS) tais_report.do
                              viewsonic_data_cleaning.do
ViewSonic
                              viewsonic_report.do
                              selected_stores.do
                              selected_items.do
Wal-Mart (Retail Prices)      additional_wm_sams_skus.do
                              walmart_retail_prices.do
                              walmart_retail_prices_report.do
                              selected_stores.do
                              selected_items.do
Wal-Mart (Transaction
                              additional_wm_sams_skus.do
Prices)
                              walmart_data_cleaning.do
                              walmart_report.do
                              sanyo_data_cleaning.do
Wal-Mart/Sanyo
                              sanyo_report.do
                              zones_item_selection.do
Zones                         zones_data_cleaning.do
                              zones_report.do
                              envision_data_cleaning.do
                              ingram_micro_data_load.do
Multi-Level: Envision -
                              ingram_micro_data_cleaning.do
Ingram Micro - PC
                              pcc_clean_ingram_envision_only.do
Connection
                              envision_im_pcc_merge.do
                              envision_im_pcc_report.do
                              bestbuy_sku_list.do
                              bestbuy_data_load.do
                              bestbuy_20100128_production_load.do
                              bestbuy_20121024_production_load.do
Multi-Level: Philips - Best
                              bestbuy_data_cleaning.do
Buy
                              philips_data_load.do
                              philips_data_clean.do
                              philips_bestbuy_load_clean.do
                              philips_bestbuy_report.do
                              costco_data_load.do
                              costco_philipsonly_clean.do
                              philips_data_load.do
Multi-Level: Philips - Costco
                              philips_data_clean.do
                              philips_costco_clean.do
                              philips_costco_report.do
                              bestbuy_com_data_load.do
                              bestbuy_com_data_clean.do
Top-and-Bottom: Panasonic
                              MTPD-0122906.do
- Best Buy.com
                              panasonic_bestbuy_com_TAB_clean.do
                              panasonic_bestbuy_com_TAB_report.do


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Study Name                  Stata Program Names
                            bestbuy_sku_list.do
                            bestbuy_data_load.do
                            bestbuy_20100128_production_load.do
                            bestbuy_20121024_production_load.do
Top-and-Bottom: Samsung -
                            bestbuy_data_cleaning.do
Best Buy
                            SDCRT-0083119.2.do
                            samsung_bestbuy_tab_load.do
                            samsung_bestbuy_tab_clean.do
                            samsung_bestbuy_tab_report.do
                            sanyo_data_cleaning.do
Top-and-Bottom: Sanyo -
                            sanyo_data_combine.do
Wal-Mart
                            sanyo_combined_report.do
                            sanyo_data_cleaning.do
Top-to-Bottom: Sanyo - Wal-
                            sanyo_data_combine.do
Mart
                            sanyo_combined_report.do
                            taec_data_load.do
                            tacp_sales_load.do
                            tacp_sales_clean.do
Top-to-Bottom: Toshiba
                            costco_data_load.do
                            costco_data_cleaning.do
                            toshiba_top_to_bottom.do


Note(s):   Programs are listed in the order they should be run.




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                                                                                     Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 793 of 1309
                                                                                                                                                 Television Pass-Through
                                                                                                                        Calculated Pass-Through Rates and 95% Confidence Intervals
Pass-Through Rate and 95% Confidence Interval



                                                180%


                                                160%


                                                140%


                                                120%


                                                100%


                                                80%

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                                                       az       tB        .co       .co               s          Fu           Mi       Km          h          c           M         hi            h           r                      an         ea        tro                    ric           ric         ric          -M            an        on
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                                                                                                                                                                           Econometric Study




                                                         Note(s):        + The pass-through rate is statistically greater than 100%.
                                                         Source File(s): See Exhibit RR-71.

                                                                                                                                                                                                                                                                                                                      Exhibit RR-73
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                                                                   Pass-Through Studies Channel Coverage
Tube Manufacturer




  Tube Distributor




    Product Maker




Product Distributor




           Retailer




         End User


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                          Source File(s): See Exhibit RR-71.

                                                                                                                                                                                                               Exhibit RR-75
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                                                           Pass-Through Data by Year
                                                                    Retailers

            Beginning of                                                                                            End of
            Class Period                                                                                         Class Period
                                 PC Mall
                                                  Wal-Mart/Sanyo
                                                                      P.C. Richard
                               Best Buy

                                                                      Costco
                                                   Gateway
                                                                              Fry's
                                                   Sears

                                                                         PC Connection
                                                                                                  Zones

                                                                        Best Buy.com

                                                                                            Wal-Mart

                                                                        Sam's Club

                                                                                           RadioShack
                                                                                                           Amazon

                                                                                  Dell
                                                                                                           Buy.com

                                                                                           OfficeMax
                                                                                                               Kmart

                                                                                                  Target

                                                                                                                 CDW


 1994    1995   1996    1997   1998       1999   2000   2001   2002    2003     2004     2005   2006    2007    2008   2009     2010   2011


Source File(s): See Exhibit RR-71.                                                                                                      Exhibit RR-76
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1995 - 1996 Cartel Meetings/Communications
     DATE          CHU   LG   DW   SDI   HIT   MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM     BEG BATES
   2/14/1995             X    X    X                                                                                    SDCRT-0086208
   3/13/1995                  X    X                                                                                    SDCRT-0086211
  3/17/1995 -
                    X    X    X    X                              X                                                      CHU00028565
   3/18/1995
   3/22/1995        X              X                                                                                      CHU00028877
Before 5/29/1995         X         X                                                                                      CHU00028933
   5/29/1995        X    X                                                                                                CHU00028933
   6/29/1995        X              X                                                                                      CHU00028874
   7/17/1995        X              X                                                                                      CHU00028873
                                                                                                                          CHU00028869
   8/16/1995        X              X
                                                                                                                          CHU00021791
   8/23/1995        X              X                                                                                      CHU00028868
    9/6/1995                             X      X           X                                                             CHU00028311
    9/7/1995        X                                       X                                                             CHU00028311
   9/18/1995        X              X                                                                                      CHU00028865
   9/19/1995        X              X                                                                                      CHU00028853
Before 9/22/1995                   X                        X                                                             CHU00028305
   9/22/1995        X                                       X                                                             CHU00028305
   10/5/1995        X    X         X                                                                                      CHU00028856
   11/8/1995        X              X                                                                                     SDCRT-0086213
   12/4/1995        X                                X                                                                    CHU00028558
   12/5/1995        X    X                                                                                                CHU00028930
   12/6/1995        X              X                                                                                      CHU00028848
  Before or on
                                   X     X                                                                              HDP-CRT00025646
   1/17/1996
    2/2/1996        X              X                                                                                      CHU00028841
    2/9/1996        X                                       X                                                             CHU00028302
   2/12/1996        X              X                                                                                     SDCRT-0086219
    3/4/1996        X         X                                                                                           CHU00028972
                                                                                                                          CHU00028817
   3/19/1996        X              X
                                                                                                                         SDCRT-0086220
   4/15/1996        X              X                                                                                      CHU00028815
   4/18/1996        X              X                                                                                      CHU00028811
   4/23/1996        X                           X                                                                         CHU00028524
   4/29/1996        X                                       X                                                             CHU00028300
    5/6/1996        X                           X                                                                         CHU00028521
    5/7/1996        X              X                                                                                      CHU00028813
   5/17/1996        X         X                                                                                           CHU00028970
   5/17/1996        X              X                                                                                      CHU00028809
   5/24/1996        X         X                                                                                           CHU00028968
   6/10/1996        X              X                                                                                     CHU00028805
   6/10/1996        X              X                                                                                     CHU00028807

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  DATE       CHU   LG   DW   SDI   HIT   MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM    BEG BATES
6/12/1996     X    X                                                                                               CHU00028912
6/12/1996     X                                X                                                                   CHU00028551
6/17/1996     X                                       X                                                            CHU00028297
7/17/1996     X                           X                                                                        CHU00028516
7/19/1996     X                                       X                                                            CHU00028295
8/21/1996     X              X                                                                                     CHU00028803
 9/4/1996     X                                       X                                                            CHU00028293
9/11/1996     X              X                                                                                     CHU00028789
9/19/1996                    X            X                                                                       SDCRT-0086217
9/23/1996     X                    X                                                                               CHU00028400
10/2/1996     X              X                                                                                     CHU00028801
10/3/1996     X                                       X                                                            CHU00028289
10/4/1996     X                                             X                                                      CHU00032071
10/9/1996     X                                       X                                                            CHU00028291
10/17/1996         X    X    X                                                                                    SDCRT-0086221
10/21/1996    X              X                                                                                     CHU00028799
10/22/1996    X                                             X                                                      CHU00032064
10/22/1996    X              X                                                                                     CHU00028796
                                                                                                                   CHU00028909
10/24/1996    X    X
                                                                                                                   CHU00032068
10/30/1996    X                           X                                                                        CHU00028514
11/14/1996    X              X                                                                                     CHU00028794
11/21/1996    X                                X                                                                   CHU00028548
11/21/1996    X                    X                                                                               CHU00028398
  Before
              X              X     X                                                                               CHU00028786
11/23/1996
11/23/1996    X         X    X                                                                                     CHU00028791
11/25/1996    X              X     X                                                                               CHU00028396
11/25/1996         X    X    X                                                                                    SDCRT-0086224
11/26/1996    X              X                                                                                     CHU00028776
12/2/1996     X              X                                                                                     CHU00028781
12/6/1996     X              X                                                                                    SDCRT-0086227
12/18/1996    X              X                                                                                     CHU00028773




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Pre-MTPD Panasonic (Matsushita) and BMCC Cartel Meetings/Communications
    DATE          CHU   LG   DW   SDI   HIT   MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM     BEG BATES
   9/6/1995                             X      X           X                                                             CHU00028311
  4/23/1996       X                            X                                                                         CHU00028524
   5/6/1996       X                            X                                                                         CHU00028521
  7/17/1996       X                            X                                                                         CHU00028516
  9/19/1996                       X            X                                                                        SDCRT-0086217
  10/30/1996      X                            X                                                                         CHU00028514
   1/9/1997       X                            X                                                                         CHU00028508
Before 3/4/1997                   X            X                                                                         CHU00028507
   3/4/1997       X                            X                                                                         CHU00028507
                                                                                                                         CHU00028755
  3/12/1997       X     X    X    X     X      X                 X
                                                                                                                         CHU00028758
 Week prior to
                                  X            X                                                                        CHU00028505
  4/9/1997
                                                                                                                       SDCRT-0086230 @
   4/9/1997                       X            X
                                                                                                                          6236-6237
   4/9/1997       X                            X                                                                         CHU00028505
  4/23/1997       X                            X                                                                         CHU00028503
  5/23/1997       X                            X                                                                         CHU00028501
   7/9/1997       X                            X                                                                         CHU00028499
  9/12/1997       X                            X                                                                         CHU00028497
  10/13/1997      X                            X                                                                         CHU00028495
  10/15/1997      X                            X                                                                         CHU00028493
  11/7/1997       X                            X                                                                         CHU00028490
  11/10/1997                                   X                                                                 X     TCE-CRT 0021822
  12/24/1997      X                            X                                                                         CHU00028487
  1/16/1998       X                            X                                                                         CHU00028482
  1/19/1998       X                            X                                                                         CHU00028451
  2/11/1998       X                            X                                                                         CHU00028475
  3/20/1998       X                            X                                                                         CHU00028472
  4/15/1998       X                            X                                                                         CHU00028469
  5/27/1998       X                            X                                                                         CHU00028467
   7/3/1998       X                            X                                                                         CHU00028465
  7/16/1998                       X            X                                                                        SDCRT-0086416
   8/5/1998       X               X                              X                     X     X                           CHU00030661
  8/25/1998       X                            X                                                                         CHU00028463
   9/4/1998       X     X    X    X                              X                     X     X                           CHU00030665
  9/15/1998       X                            X                                                                         CHU00028461
  9/26/1998       X                            X                                                                         CHU00006362
  10/15/1998      X                            X                                                                         CHU00028459
  11/5/1998                             X      X                                                                       HDP-CRT00023360
  11/6/1998       X          X    X                              X                     X     X                           CHU00030684



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     DATE          CHU   LG   DW   SDI   HIT   MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM     BEG BATES
                                                                                                                        HDP-CRT00023353
   12/7/1998                             X      X
                                                                                                                        HDP-CRT00023354
  12/11/1998       X                            X                                                                         CHU00028457
  1/30/1999        X                            X                                                                         CHU00028453
   2/2/1999        X     X    X    X                              X                     X     X                           CHU00030705
                                                                                                                          CHU00030734
   4/2/1999        X          X    X                              X                     X     X                           CHU00030741
                                                                                                                          CHU00030745
   4/25/1999             X         X            X                                                                        SDCRT-0086748
    6/4/1999       X          X    X                              X                     X     X                           CHU00030777
   6/28/1999       X                            X                                                                         CHU00030795
   7/15/1999                       X            X                                                                        SDCRT-0086503
                                                                                                                          CHU00028449
   7/20/1999       X                            X                                                                         CHU00028447
                                                                                                                          CHU00030803
   7/29/1999       X                            X                                                                         CHU00028436
    8/5/1999       X          X    X                              X                     X     X                           CHU00030819
Before 8/23/1999                   X                                                    X                                 CHU00029179
    9/7/1999       X                            X                                                                         CHU00028438
   9/14/1999       X                            X                                                                         CHU00028441
   9/15/1999       X                            X                                                                         CHU00028439
   10/1/1999       X                            X                                                                         CHU00028432
  10/12/1999       X               X                              X                     X     X                           CHU00030881
   11/2/1999                       X            X                                                                        SDCRT-0086554
   11/9/1999                             X      X                                                                        MTPD-0016566
                                                                                                                          CHU00028435
  11/10/1999       X                            X
                                                                                                                          CHU00030887
  12/9/1999        X               X                              X                     X     X                           CHU00030941
  12/13/1999       X                            X                                                                         CHU00028434
  12/21/1999                       X            X                                                                        SDCRT-0086517
   1/3/2000                                     X           X                                                            MTPD-0016566
  1/21/2000                                     X                 X                                                      MTPD-0212628
   3/2/2000                                     X           X                                                            MTPD-0016566
  3/23/2000        X                            X                                                                         CHU00028430
  3/28/2000                        X            X                                                                        SDCRT-0087314
   4/6/2000        X     X    X    X                              X                     X     X                           CHU00030992
                                                                                                                        TCE-CRT 0020460
   4/13/2000                                    X                                                                 X
                                                                                                                        TCE-CRT 0020461
    5/2/2000       X                            X                                                                         CHU00028427
    5/9/2000                                    X                 X                                                       JLJ-00003477
    5/9/2000       X     X    X    X                              X                     X     X                           CHU00031002
   5/19/2000                                    X                 X                                                     PHLP-CRT-082631
    6/5/2000                                    X           X                                                            MTPD-0016566
    6/8/2000                       X            X                                                                        SDCRT-0087324
    6/8/2000       X                            X                                                                         CHU00028425

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     DATE           CHU      LG      DW      SDI     HIT     MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM     BEG BATES
    6/9/2000         X        X       X       X                                 X                     X     X                           CHU00031018
   6/21/2000         X                                        X                                                                         CHU00028424
   6/28/2000                                  X               X                                                                        SDCRT-0087324
   8/11/2000         X        X       X       X                                 X                     X     X                           CHU00031040
   8/29/2000                                                  X                 X                                                      MTPD-0212628
   8/30/2000                                  X               X                                                                        SDCRT-0087381
   9/14/2000         X        X       X       X                                 X                     X     X                           CHU00031044
   11/9/2000         X        X       X       X                                 X                     X     X                           CHU00031088
   11/29/2000                                 X               X                                                                        SDCRT-0087331
    2/7/2001                                                  X                 X                                                      MTPD-0212628
                                                                                                                                        CHU00031105
   2/22/2001         X        X               X                                 X                     X     X
                                                                                                                                        CHU00031107
  Before or on
                                                      X       X                                                                       HDP-CRT00049280
  02/23/2001
    6/6/2001         X                                        X                                                                         CHU00031137
   6/12/2001         X                                                                                X                                 CHU00031140
                                                                                                                                      TCE-CRT 0013094
   8/29/2001                                                  X                                                                 X
                                                                                                                                      TCE-CRT 0013096
   10/9/2001                                  X               X                                                                        SDCRT-0087683
   1/11/2002                                                  X                       X                                         X     PHLP-CRT-095492
  Before or on
                                              X               X                                                                        MTPD-0426017
   4/19/2002
  Before or on
                                                              X                                                                 X     TCE-CRT 0021804
    5/9/2002
   6/13/2002                                                  X           X                                                            MTPD-0024384
Before 6/17/2002                                              X                       X                                               PHLP-CRT-052964
   7/30/2002                                  X               X                                                                        SDCRT-0087926
    8/8/2002                                  X               X                                                                        MTPD-0220066
   8/15/2002                                                  X                                                                 X      MTPD-0223790
  Before or on
                                              X               X                                                                        SDCRT-0007266
  10/16/2002
   11/7/2002                                                  X                       X                                                 JLJ-00001901
  11/22/2002                                  X               X                                                                        MTPD-0023243
                                                                                                                                       SDCRT-0006670
   12/27/2002                                 X               X
                                                                                                                                       MTPD-0222756
   2/24/2003                                  X               X                                                                        SDCRT-0007282
                                                                                                                                        CHU00020661
   2/26/2003          X                                       X
                                                                                                                                        CHU00030080
    3/7/2003                                  X               X                                                                        MTPD-0025531
   3/10/2003                                  X               X                                                                        SDCRT-0002585
   3/13/2003                                  X               X                                                                        MTPD-0025531


Note(s):           MTPD was officially created on April 1, 2003.



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Pre-MTPD Toshiba Cartel Meetings/Communications
     DATE          CHU   LG   DW   SDI   HIT   MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM     BEG BATES
    9/6/1995                             X     X           X                                                              CHU00028311
    9/7/1995       X                                       X                                                              CHU00028311
Before 9/22/1995                   X                       X                                                              CHU00028305
   9/22/1995       X                                       X                                                              CHU00028305
    2/9/1996       X                                       X                                                              CHU00028302
   4/29/1996       X                                       X                                                              CHU00028300
   6/17/1996       X                                       X                                                              CHU00028297
   7/19/1996       X                                       X                                                              CHU00028295
    9/4/1996       X                                       X                                                              CHU00028293
   10/3/1996       X                                       X                                                              CHU00028289
   10/9/1996       X                                       X                                                              CHU00028291
   1/10/1997       X                                       X                                                              CHU00028287
   2/27/1997       X                                       X                                                              CHU00028286
                                                                                                                          CHU00020779
   3/12/1997       X     X    X    X                       X                       X
                                                                                                                          CHU00020782
    4/7/1997       X                                       X                                                              CHU00028283
    5/7/1997                       X                       X                                                             SDCRT-0086241
   5/27/1997       X                                       X                                                              CHU00028279
   5/27/1997                       X                       X                                                             SDCRT-0086245
    7/4/1997       X                                       X                                                              CHU00028281
Before 7/16/1997                   X                       X                                                              CHU00028277
   7/16/1997       X                                       X                                                              CHU00028277
   8/29/1997       X                                       X                                                              CHU00028275
   9/29/1997       X                                       X                                                              CHU00028273
                                                                                                                          CHU00028267
   10/6/1997       X                                       X
                                                                                                                          CHU00028269
  11/12/1997 -
                                                           X                                                      X     TCE-CRT 0021822
   11/13/1997
   1/14/1998       X                                       X                                                              CHU00028263
   1/20/1998       X                                       X                                                              CHU00028260
   3/11/1998       X                                       X                                                              CHU00028257
   4/14/1998       X                                       X                                                              CHU00028254
   5/18/1998       X                                       X                                                              CHU00028252
    7/3/1998       X                                       X                                                              CHU00028250
   8/20/1998       X                                       X                                                              CHU00028248
   10/15/1998      X                                       X                                                              CHU00028245
                                                                                                                        HDP-CRT00023353
   12/7/1998                                   X           X
                                                                                                                        HDP-CRT00023354
  12/16/1998       X                                       X                                                              CHU00028265
  Before or on
                                   X                       X     X                                                X      SDCRT-0002526
   1/12/1999
   1/22/1999       X                                       X                                                              CHU00028240

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     DATE          CHU   LG   DW   SDI   HIT   MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM     BEG BATES
   2/23/1999       X                                       X                                                              CHU00028241
    3/6/1999       X     X    X    X                       X     X                                                      TSB-CRT-00036875
    5/6/1999       X                                       X                                                              CHU00028238
    5/7/1999                             X                 X                                                              CHU00028238
                                                                                                                          CHU00028236
   7/28/1999       X                                       X
                                                                                                                          CHU00030805
Before 8/23/1999              X                            X                                                              CHU00029179
                                                                                                                          CHU00028234
   9/15/1999       X                                       X
                                                                                                                          CHU00030851
   9/29/1999       X                                       X                                                              CHU00028228
  10/20/1999       X                                       X                                                              CHU00028229
   11/5/1999       X                                       X                                                              CHU00028231
  12/31/1999       X                                       X                                                              CHU00029039
    1/3/2000                                   X           X                                                              MTPD-0016566
Before 1/21/2000              X    X                       X                                                            TSB-CRT-00042440
    3/2/2000       X                                       X                                                              CHU00030971
    3/2/2000                                   X           X                                                              MTPD-0016566
    3/3/2000                       X                       X                                                             SDCRT-0005813
                                                                                                                          CHU00028224
   3/6/2000        X                                       X
                                                                                                                          CHU00028215
                                                                                                                          CHU00028218
   3/10/2000       X                                       X
                                                                                                                          CHU00028227
   3/21/2000       X                                       X                                                              CHU00028213
   4/13/2000             X                                 X                                                            TSB-CRT-00042493
                                                                                                                        TCE-CRT 0020460
   4/14/2000                                               X                                                      X
                                                                                                                        TCE-CRT 0020461
                                                                                                                          CHU00028221
   5/4/2000        X                                       X
                                                                                                                          CHU00030999
   5/15/2000             X                                 X                                                            TSB-CRT-00041620
   5/16/2000                                               X      X                                                     PHLP-CRT-082631
    6/5/2000                                   X           X                                                              MTPD-0016566
                                                                                                                        TSB-CRT-00039414
   6/9/2000         X                                       X                                                           TSB-CRT-00039415
                                                                                                                          CHU00028209
                                                                                                                        TSB-CRT-00039414
   6/12/2000                                                X     X
                                                                                                                        TSB-CRT-00039415
   7/6/2000        X                                       X                                                              CHU00028211
                                                                                                                          CHU00028207
   8/2/2000        X                                       X
                                                                                                                          CHU00031036
   8/28/2000                       X                       X                                                             SDCRT-0087377
                                                                                                                          CHU00028204
   9/28/2000       X                                       X
                                                                                                                          CHU00031047
   Between
10/12/2000 and                     X                       X                                                             SDCRT-0087389
  10/20/2000

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     DATE          CHU   LG   DW   SDI   HIT   MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM      BEG BATES
  10/24/2000                       X                       X                                                            TSB-CRT-00041721
  10/25/2000             X                                 X                                                            TSB-CRT-00042610
  1/12/2001        X                                       X                                                              CHU00031095
  1/15/2001                        X                       X                                                            TSB-CRT-00041746
  1/19/2001                        X                       X                                                             SDCRT-0087675
                                                                                                                          CHU00028202
   3/5/2001        X                                       X
                                                                                                                          CHU00031110
Before 3/20/2001              X                            X                                                              CHU00031113
   4/20/2001       X                                       X                                                              CHU00028203
                                                                                                                        TCE-CRT 0013708
   5/22/2001                                               X                                                      X
                                                                                                                        TCE-CRT 0013710
                                                                                                                        TSB-CRT-00035348
   7/4/2001         X         X    X                        X           X
                                                                                                                        TSB-CRT-00035350
  7/25/2001 -
                                                           X           X                                                   JLJ-00003167
   7/26/2001
   7/26/2001       X                                       X                                                              CHU00031153
   8/22/2001                                               X            X                                               TSB-CRT-00035366
   8/29/2001                       X                       X                                                            HDP-CRT00026189
                                                                                                                        TCE-CRT 0013711
   8/29/2001                                               X                                                      X
                                                                                                                        TCE-CRT 0013712
                                                                                                                         TCE-CRT 0020868
                                                                                                                         TCE-CRT 0020869
   9/7/2001                                                X                                                      X      TCE-CRT 0020870
                                                                                                                         TCE-CRT 0020871
                                                                                                                         TCE-CRT 0013713
                                                                                                                        TCE-CRT 0013716
   9/10/2001                                               X                                                      X     TCE-CRT 0013717
                                                                                                                        TCE-CRT 0013719
  10/11/2001                       X                       X                                                             SDCRT-0069086
                                                                                                                        TCE-CRT 0013722
  11/16/2001                                               X                                                      X
                                                                                                                        TCE-CRT 0013724
   1/9/2002                              X                 X                                                            HDP-CRT00026227
                                                                                                                         TCE-CRT 0020863
                                                                                                                         TCE-CRT 0020864
   1/11/2002                                               X                                                      X      TCE-CRT 0020865
                                                                                                                         TCE-CRT 0020866
                                                                                                                         TCE-CRT 0020867
                                                                                                                         TCE-CRT 0013725
   1/21/2002                                               X                                                      X
                                                                                                                         TCE-CRT 0013727
   1/22/2002                                               X                                                      X       TCE-CRT0013728
Before 1/29/2002    X                                      X                                                            TAEC-CRT-00089968
Before 2/7/2002                                            X                                                      X      TCE-CRT 0023943
   2/25/2002                       X                       X                                                             TSB-CRT-00041862
  Before or on
                                         X                 X                                                            HDP-CRT00051407
   4/18/2002

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     DATE           CHU      LG      DW      SDI     HIT     MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM     BEG BATES
   4/18/2002                                  X                          X                                                            TSB-CRT-00041870
Before 4/19/2002                              X                          X           X                                                PHLP-CRT-012646
Before 5/9/2002                                                          X                                                      X     TCE-CRT 0021804
                                                                                                                                      PHLP-CRT-014272
   5/27/2002                                  X                          X           X
                                                                                                                                      PHLP-CRT-014141
   6/13/2002                                                  X          X                                                              MTPD-0024384
Before 6/17/2002                                                         X            X                                               PHLP-CRT-052964
   6/18/2002                                                             X                                                      X      TCE-CRT0013746
                                                                                                                                      TCE-CRT 0022861
   6/28/2002                                                              X                                                     X
                                                                                                                                      TCE-CRT 0022862
                                                                                                                                      TCE-CRT 0020858
                                                                                                                                      TCE-CRT 0020859
    7/2/2002                                                              X                                                     X
                                                                                                                                      TCE-CRT 0020860
                                                                                                                                      TCE-CRT 0020861
   8/12/2002                                  X                          X                                                              SDCRT-0087928
   9/13/2002         X                        X                          X           X           X                                       CHU00030414
                                                                                                                                      TCE-CRT 0020855
   10/15/2002                                                            X                                                      X     TCE-CRT 0020856
                                                                                                                                      TCE-CRT 0020857
                                                                                                                                         CHU00030410
   10/17/2002        X                X       X                          X           X           X
                                                                                                                                       SDCRT-0087932
   11/6/2002                                                             X           X                                                   JLJ-00001901
   11/25/2002                                         X                  X                                                            HDP-CRT00026077
   12/6/2002                                  X                          X           X                                                 SDCRT-0087934
                                                                                                                                       SDCRT-0087938
   12/17/2002        X                        X                          X           X           X
                                                                                                                                         CHU00030559
   2/10/2003                                  X                          X           X                                                 SDCRT-0088705
                                                                                                                                         CHU00020660
   2/21/2003         X                                                   X           X           X                                       CHU00030070
                                                                                                                                         CHU00030557
  2/24/2003 -
                                              X                          X                                                             SDCRT-0007282
   2/27/2003
                                                                                                                                        CHU00020661
   2/28/2003          X                                                   X                                                             CHU00030080
                                                                                                                                        CHU00030553
  Before or on
                                                                         X           X                                                  JLJ-00001928
   3/5/2003



Note(s):           MTPD was officially created on April 1, 2003.




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Hitachi Cartel Meetings/Communications
     DATE          CHU   LG   DW   SDI   HIT   MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM       BEG BATES
    9/6/1995                             X     X           X                                                                CHU00028311
  Before or on
                                   X     X                                                                                HDP-CRT00025646
   1/17/1996
   9/23/1996       X                     X                                                                                  CHU00028400
  11/21/1996       X                     X                                                                                  CHU00028398
     Before
                   X               X     X                                                                                  CHU00028786
  11/23/1996
                                                                                                                            CHU00028396
  11/25/1996       X               X     X
                                                                                                                            CHU00028784
   1/10/1997       X                     X                                                                                  CHU00028394
                                                                                                                            CHU00028755
   3/12/1997       X     X    X    X     X     X                 X
                                                                                                                            CHU00028758
  4/29/1997        X                     X                                                                                  CHU00028393
  3/13/1998                              X           X                                                                    HDP-CRT00025601
  5/14/1998                              X                                                                        X      HEDUS-CRT00002107
  7/13/1998                              X                       X                                                        PHLP-CRT-081748
  8/21/1998        X                     X                                                                                  CHU00028385
  10/13/1998                             X                                                                        X      HEDUS-CRT00160563
  11/5/1998                              X     X                                                                          HDP-CRT00023360
  11/20/1998       X                     X                                                                                  CHU00028383
                                                                                                                        HEDUS-CRT00098394 @
   1/6/1999                              X                       X
                                                                                                                             8394-8395
                                                                                                                         HEDUS-CRT00166472
   1/7/1999                              X                       X                                                      HEDUS-CRT00098394 @
                                                                                                                             8399-8400
                                                                                                                        HEDUS-CRT00098394 @
   1/7/1999                              X                                                                        X
                                                                                                                               8396
    3/8/1999                       X     X                                                                                HDP-CRT00056170
   4/21/1999                             X                       X                                                       HEDUS-CRT00152273
Before 6/23/1999                   X     X                                                                                  CHU00030787
   11/9/1999                             X     X                                                                           MTPD-0016566
   2/22/2000       X                     X                                                                                  CHU00028382
   1/29/2000                             X           X                                                                    HDP-CRT00025965
   4/11/2000       X                     X                                                                                  CHU00028380
   5/17/2000                             X                       X                                                        PHLP-CRT-082631
                                                                                                                            CHU00031028
   6/16/2000       X                     X
                                                                                                                            CHU00028377
    7/3/2000                       X     X                                                                                HDP-CRT00051354
   7/18/2000       X                     X                                                                                  CHU00028376
Before 9/21/2000         X               X                                                                                  CHU00031051
   9/20/2000                             X                       X                                                          CHU00031051
  10/22/2000                             X                                                    X                           HDP-CRT00042019


                                                                                                                                   Exhibit RR-88
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   DATE        CHU   LG   DW   SDI   HIT   MAT   MIT   TSB   PHS   LPD   MTPD TCRT BMCC   IRI   SMTL   TAT   THOM      BEG BATES
                                                                                                                    HEDUS-CRT00161617
 11/1/2000                           X                                                                        X
                                                                                                                    HEDUS-CRT00161619
 11/3/2000     X                     X                                                                                 CHU00028374
12/13/2000                     X     X                                                                               HDP-CRT00023436
Before or on
                                     X     X                                                                         HDP-CRT00049280
 2/23/2001
  3/7/2001                           X                       X                                                      HEDUS-CRT00004705
                                                                                                                     HDP-CRT00049348
 3/16/2001                     X     X
                                                                                                                     HDP-CRT00004468
 3/??/2001                           X                       X                                                      HEDUS-CRT00162777
                                                                                                                     HDP-CRT00048694
 4/14/2001                     X     X
                                                                                                                     HDP-CRT00004468
                                                                                                                     HDP-CRT00023467
 4/27/2001                     X     X
                                                                                                                     HDP-CRT00023468
                                                                                                                     TCE-CRT 0020912
 5/14/2001                           X                                                                        X
                                                                                                                     TCE-CRT 0020913
 5/24/2001                     X     X                                                                               HDP-CRT00049291
 5/30/2001                     X     X                                                                               HDP-CRT00048797
Before or on
                                     X                       X                                                       PHLP-CRT-090736
 6/11/2001
                                                                                                                     HDP-CRT00026180
 6/22/2001                     X     X
                                                                                                                     HDP-CRT00004468
 7/24/2001                     X     X                                                                              HEDUS-CRT00162931
 8/29/2001                     X     X                                                                               HDP-CRT00026189
  9/4/2001                     X     X                                                                               HDP-CRT00026197
  9/4/2001                           X                                                                        X      TCE-CRT 0022672
 9/13/2001                     X     X                                                                               HDP-CRT00051298
 10/4/2001                     X     X                                                                               HDP-CRT00049201
11/29/2001                     X     X                                                                               HDP-CRT00051340
12/17/2001                     X     X                                                                                SDCRT-0087437
  1/9/2002                           X                 X                                                             HDP-CRT00026227
 1/18/2002                     X     X                                                                               HDP-CRT00049440
Before or on
                               X     X                                                                               HDP-CRT00049449
  2/4/2002
  2/8/2002                     X     X                                                                               HDP-CRT00026234
 3/26/2002                     X     X                                                                               HDP-CRT00049313
 3/28/2002                     X     X                                                                               HDP-CRT00056188
Before or on
                                     X                 X                                                             HDP-CRT00051407
 4/18/2002
Before or on
                               X     X                                                                               HDP-CRT00049470
 5/13/2002
 8/17/2002     X                     X                                                                               HDP-CRT00037711
 10/8/2002                           X     X                                                                          MTPD-0224010
11/25/2002                           X                 X                                                             HDP-CRT00026077
 3/12/2003                           X                 X                                                             HDP-CRT00026082

                                                                                                                              Exhibit RR-88
                                                                                                                                Page 2 of 3
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     DATE       CHU      LG      DW      SDI      HIT     MAT     MIT     TSB      PHS     LPD    MTPD TCRT BMCC             IRI    SMTL     TAT    THOM     BEG BATES
                                                                                                                                                           HDP-CRT00024172
   6/26/2003                                       X                                                 X                                                     HDP-CRT00024173
                                                                                                                                                           HDP-CRT00024174
   7/17/2003                                       X                                                 X                                                     HDP-CRT00026313
                                                                                                                                                            MTPD-0479804
   5/26/2005                                       X                                                 X
                                                                                                                                                            MTPD-0479805



Note(s):       This list does not include conspiracy activity on the part of Hitachi's partially-owned SEG-Hitachi subsidiary in Shenzhen, China.




                                                                                                                                                                    Exhibit RR-88
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Meetings with Quarterly Target Prices
   DATE        BEG BATES         DATE        BEG BATES
9/4/1996     CHU00028293      4/25/2003    SDCRT-0088713
4/16/1997    SDCRT-0086238    5/22/2003    SDCRT-0088715
9/7/1998     CHU00030670      7/24/2003    MTPD-0580741
9/26/1998    CHU00029262      7/25/2003    SDCRT-0088720
11/24/1998   SDCRT-0086485    9/5/2003     SDCRT-0088732
3/7/1999     CHU00029245      11/7/2003    SDCRT-0088738
4/9/1999     CHU00028606      11/21/2003   SDCRT-0088635
4/15/1999    SDCRT-0086545    11/28/2003   MTPD-0580741
5/10/1999    CHU00029228      12/4/2003    SDCRT-0088675
6/21/1999    CHU00029185      2/12/2004    MTPD-0580737
8/23/1999    CHU00029179      2/16/2004    MTPD-0607571
9/13/1999    CHU00029065      5/6/2004     MTPD-0580751
10/26/1999   SDCRT-0086703    6/1/2004     CHU00125374
10/27/1999   CHU00029171      6/18/2004    MTPD-0580775
11/25/1999   CHU00029163      9/13/2004    MTPD-0607598
1/24/2000    CHU00029152      11/5/2004    SDCRT-0090197
4/14/2000    CHU00029138      12/1/2004    SDCRT-0003084
9/18/2000    SDCRT-0087312    12/28/2004   MTPD-0400578
1/26/2001    SDCRT-0087662    2/9/2005     SDCRT-0091491
3/20/2001    CHU00031113      2/13/2005    MTPD-0580798
5/17/2001    SDCRT-0087667    2/25/2005    CHU00029987
6/26/2001    CHU00036414      3/15/2005    SDCRT-0091353
7/24/2001    CHU00036384      3/22/2005    SDCRT-0002984
10/15/2001   CHU00660366      4/29/2005    CHU00732816
11/20/2001   CHU00036408      6/9/2005     MTPD-0400597
12/21/2001   CHU00036390      6/30/2005    MTPD-0400573
1/18/2002    CHU00036392      8/5/2005     MTPD-0400554
2/22/2002    CHU00036394      9/22/2005    CHU00548418
3/20/2002    CHU00125166      9/26/2005    MTPD-0423645
4/22/2002    CHU00660436      10/21/2005   CHU00030468
5/28/2002    SDCRT-0007588    12/6/2005    SDCRT-0091400
9/13/2002    CHU00030414      12/12/2005   MTPD-0580821
12/6/2002    SDCRT-0087934    3/9/2006     CHU00124103
4/22/2003    CHU00123742      9/5/2006     MTPD-0479714




                                                                       Exhibit RR-89
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Meeting Notes Showing Network of Communication Between Cartel Members

Text                                                                                           Citation
From a meeting between Chunghwa, Samsung, and Orion: “CPT [Chunghwa] and SDD                   Lu, Jing-Song (Jason), 23 November 1996, Sales & Marketing Division
[Samsung] together persuaded HTC [Hitachi] from continue damaging the order of market          Visiting Report, CHU00028786 - CHU00028788, at 8788E.
price… Furthermore, ORION proposed and hoped that it could be arranged for various CRT to
participate together at the next meeting, to engage in frank dialogue and to solve problems
together. CPT would invite PH [Philips] to participate, and ORION assured that it would invite
TSB [Toshiba] to attend; SDD was responsible for inviting LG and HTC.”
From a meeting between Chunghwa, Samsung, Philips, Orion, and LG: “Regarding the price              Chunghwa Picture Tubes, LTD, 19 March 1997, Customer Contact
for 15" of the Japanese, attendees have to notify TSB/MEC respectively (CPT will make the           Report, Main Contents 14"/15" CDT Price Opinion Exchange,
contact), HTC (SDD will try to notify) will follow suit to avoid unsynchronized March, causing it   CHU00028749 - CHU00028751, at 8750E.
to fall short of final completion.”
From a meeting between Chunghwa and Matsushita: “MEC claimed that currently its supply              CPT, Du, Ching-Yuan (Michael), et al., 13 October 1997, Customer
prices are 14": 55, 15":82~83, 17": about 180 on average. CPT indicated that currently the          Contact Report, CHU00028495 - CHU00028496, at 8496E.
main 14" suppliers CPT/SDD/PH already have a common understanding not to keep competing
viciously. Guard the bottom line of USD 58.00. Please pass on to BMCC for coordination.”
From a meeting between Chunghwa, Samsung, Philips, Orion, and LG: “Visited Matsushita               Samsung SDI, 18 July 1998, 7th CDT Industry Meeting (July 18) Results,
July 16 as the representative of Japanese cathode ray tube (CRT) representative and provided        SDCRT-0086416 - SDCRT-0086418, at 6417E.
information on the agreements reached by 5 Korean and Taiwan companies [bullet] Expressed
their intention to participate actively [bullet] Caution against ANTITRUST LAWS.”
From a meeting between Chunghwa and Matsushita: “Currently, Matsushita has made an                  CPT, Wen-Chun (Tony) Cheng, et al., 11 December 1998, Sales
overall announcement to its customers that the new price will be implemented effective              Department Customer Contact Report, CHU00028457 - CHU00028458,
December 1st, and asked that the customers' orders/L/C to be issued at the new price, but           at 8457E.
none of the customers accepted. Matsushita is currently persisting; December shipments to
Taiwanese makers have not yet been made, in addition, although TSB also announced 17"
CDT price increase to the customers, but after the customers' resistance, the shipments in
December to major customers such as ADI/MAG etc. were shipped by using the old price first,
and ask for the price differential (?) back from the customers after the overall price increase
has succeeded. In addition, HTC increases have been fragmented, MEC headquarter is
coordinating with HTC personnel now, it is believed that it will be clarified by next week.
Assistant Manager Hsu said this time it was announced to the customers that the scale of
increase will be USD 10.00/pc, but actual scale of increase is USD 7.00/pc.”
From a meeting between Chunghwa, Samsung, Orion, and LG: “LG and OEC will contact TDDI Chunghwa Picture Tubes, LTD, 10 May 1999, Business Meeting Report,
(TSB Indonesia) and ask TDDI to FLW the price agreement.”                                       Subject Review of Q3 TV tube price, CHU00029228 - CHU00029230, at
                                                                                                9229.01E.
From a meeting between Chunghwa, Samsung, Philips, Orion, and LG: “Major agreements…            Samsung SDI, 08 March 1999, CDT Industry (March of ’99) Meeting
To integrate the communication lines with the Japanese companies (Philips) in order to          Results, SDCRT-0086563 - SDCRT-0086566, at 6563E.
transmit the industry atmosphere and to induce participation [bullet] If the Japanese companies
do not increase their prices, the CDT price of the 5 companies will be equal/greater than the
CDT prices of the 5 Japanese companies, so the participation of the Japanese companies is
important”.


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Text                                                                                           Citation
From a meeting between Chunghwa, Samsung, Orion, LG, and Thai-CRT: “1) TSB Indonesia           Chunghwa Picture Tubes, LTD, 23 August 1999, Visitation Report
issue: Mr. Moon said that TSB has in fact Delayed implementing the price increase in           (Submit), CHU00029179 - CHU00029184, at 9179.01E - 9179.02E.
Indonesia, and that although he has spoken to TSB personnel over the phone, up until today,
he has not had the chance to speak to high-level management in person and will be arranging
for himself and Mr. HK Cho to meet with high-level TSB managers to persuade TSB to follow
up on Indonesia prices. 2) IRICO: Mr. Moon said that he and Director Liu of CPT have
communicated twice with IRICO and that IRICO has agreed to raise its 14" ITC prices from the
original USD 26 to USD 29-30. However, because PH's current price is only USD 32.5
(returning to FOB Asia Price of around USD 26-27), the price increase is being delayed. Senior
Manager Cheng explained that CPT has pushed PH on numerous occasions to increase prices
by at least October, but PH is still concerned about Orion/CPT/IRICO's prices, so CPT and
Orion's Mr. Moon will continue to communicate with PH and Push.”
From a meeting between Chunghwa, Samsung, Orion, LG, and Thai-CRT: “[bullet] Low price          Chunghwa Picture Tubes, LTD, 23 August 1999, Visitation Report
still offering (IRICO, Samtel, Philips Brazil, Ekranas, etc.) The attendees agreed with SDD Mr. (Submit), CHU00029179 - CHU00029184, at 9179.02E - 9180.01E.
Inn Kim’s proposal to approach the above-mentioned CRT manufacturers who have been
destroying the market price with low-price competition and provide these manufacturers with
timely updates on the market situation on demand and price information in order to convince
them to follow suit. Division of labor among each maker is as follows: [sub-bullet] CPT →
IRICO [sub-bullet] SDD → BMCC, PH Brazil [sub-bullet] OEC → TSB Indonesia, Ekranas [sub-
bullet] LG → Samtel”.
From a meeting between Chunghwa, Samsung, Philips, Orion, and LG: “PH Mr. Jerry explained            Chunghwa Picture Tubes, LTD, 24 January 2000, Visitation Report,
that on 1/13, after talking with Mr. Watanabe of HTC Japan Headquarters, he felt that HTC has        CHU00030960 - CHU00030962, at 0960.01E.
no intention of beginning a price war. However, HTC does not believe that the Major 5 are so-
called ‘sticking to bottom line pricing’ (TSB holds the same view).”
From a meeting between Chunghwa, Samsung, Philips, Orion, LG, and Thai-CRT: “Currently in            Chunghwa Picture Tubes, LTD, 24 March 2000, Visitation Report, Topic:
Mainland China, the prices of 21" CPT are lower than those of 20", which will seriously affect       Market Information Exchange and Price Review, CHU00029144 -
price increases. Meeting attendees are resolved to continue to ask SDI, Chunghwa Picture             CHU00029146, at 9144.02E.
Tubes, and PH to strive to communicate with HTC Shenzhen, IRICO, PH Huafei, and BMCC,
etc., requesting that the price of 21" tubes for direct export sales must be over $3.0/pcs higher
than the price for 20" tubes.”
From a meeting between Chunghwa and Hitachi: “Manager Chang claims that regarding China              Du, Ching-Yuan (Michael), 16 June 2000, Sales Department Customer
and Korea maker's 14"/15"/17" CDT price increase, HTC itself also intends to increase. Its           Contact Report, CHU00031028 - CHU00031030, at 1029E.
headquarters' resolution is that if prices have definitely increased, HTC guarantees that it would
FLW… The Japan MEC now is not up to par. TSB price is also above market price. Therefore,
HTC also has the responsibility to help ensure the ability for prices to increase successfully.”




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Text                                                                                            Citation
From a meeting between Chunghwa and Matsushita: “CPT Tube: Director Liu explained that          CPT, Liu, et al., 21 June 2000, Visitation Report (Submit),
after China and Korea makers communicated with and explained the market status to related       CHU00028424, at 8424.01E - 8424.02E.
makers individually, of the China makers who were originally exporting the 21" tube with low
prices, PH Nanjing has already increased $0.5/pcs in May. It plans to adjust another $1~2/pcs
in August. HTC Shenzhen also agreed to increase the current price of Bare $48-$49/pcs, to
$51/pcs in August. The price increase of 20" tubes in Southeast Asia is also very successful.
Customers such as Funai/TCE/AIWA/JVC, etc. have all accepted new prices of $49/pcs or
more. Prices for medium and small-size customers such as Silver are at $50/pcs. [break] Mr.
Matsumoto thanked CPT for its explanation and promised to take action to announce the price
increase of 20"/21" tubes to customers.”
From a meeting between Chunghwa, Samsung, Philips, Orion, and LG: “Mr. Park of SDI, the           Chunghwa Picture Tubes, LTD, 21 September 2000, Visitation Report
Price leader, explained the results of discussion with TSB Indonesia: Currently, TSB supply       (Submit), CHU00031056 - CHU00031066, at 1056.01E.
volume for SREC 20" is 10k/m. 2Q price is $47.0/pcs. In July, price has already been adjusted
by $0.5/pcs to $47.5/pcs. (GSM target price: $49.0.) Mr. Yasukawa of TSB believes that it will
be difficult to increase the price again. Mr. Park of SDI proposed that because the current price
from SREC's biggest supplier, TSB Indonesia, has been confirmed to be only $47.5/pcs, in
order to ensure competitiveness, the original $48.0/pcs price be maintained”.
From a meeting between Chunghwa, Samsung, Philips, Orion, and LG: “The attendees                Chunghwa Picture Tubes, LTD, 25 October 2000, Visit Report,
continued to request that Chairman LG Mr. Choi and HEDS personnel maintain contact and          CHU00031075 - CHU00031087, at 1076.02E.
arrange meeting to communicate and transmit correct market information (representatives
assigned by five makers to join the meeting), and that HEDS must FLW the price. If HEDS still
insists on price competition, then the Major 5 will have Serious Countermeasure.”
From a phone call between Toshiba and Samsung: “Today, I called Executive Director D.Y.          Yamamoto, Yasuki, 25 February 2002, E-mail, Subject: Regarding SEC
KIM of SDI to remind him of our intentions, but unfortunately, he was on a business trip to      CDT Pricing (Confidential), TSB-CRT-00041862 - TSB-CRT-00041863, at
Taiwan and I could not get in touch with him. I spoke with his subordinate, General Manager J. 1862E.
JO (in charge of SEC) and confirmed our intentions and their situations. [break] Also, Executive
Director D.Y. KIM will be working in Korea tomorrow morning, and he is supposed to give me a
call tomorrow morning. [break] (1) Trends among competitors [break] 3 major makers got
together in Taiwan on February 22nd (Fri). [paragraph] It was confirmed that the price
increases for February and beyond were successful.”




                                                                                                                                                              Exhibit RR-90
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Examples of Meeting Notes Discussing Large CPTs Before 2003

   DATE             BEG BATES                              DATE          BEG BATES
2/14/1995      SDCRT-0086208                            7/3/2000     HDP-CRT00019426
9/19/1996      SDCRT-0086217                            7/11/2000    SDCRT-0005874
10/17/1996     SDCRT-0086221                            7/28/2000    SDCRT-0002506
11/25/1996     SDCRT-0086224                            7/31/2000    SDCRT-0007580
4/9/1997       SDCRT-0086236                            8/29/2000    MTPD-0212628
4/16/1997      SDCRT-0086238                            9/29/2000    SDCRT-0002488
5/7/1997       SDCRT-0086241                            10/25/2000   CHU00028975
5/27/1997      SDCRT-0086245                            1/19/2001    SDCRT-0087675
10/15/1997     CHU00028493                              1/26/2001    SDCRT-0087662
12/16/1997     SDCRT-0086248                            2/7/2001     MTPD-0212628
12/29/1997     SDCRT-0086253                            2/15/2001    SDCRT-0087679
7/13/1998      PHLP-CRT-081748                          3/7/2001     HEDUS-CRT00000578
11/24/1998     SDCRT-0086485                            5/17/2001    SDCRT-0087667
12/21/1998     SDCRT-0086489                            6/6/2001     SDCRT-0002582
1/12/1999      SDCRT-0002526                            6/25/2001    SDCRT-0005856
3/24/1999      SDCRT-0086537                            6/26/2001    SDCRT-0005831
4/14/1999      CHU00029238                              7/5/2001     SDCRT-0087664
6/22/1999      CHU00029050                              8/29/2001    HDP-CRT00026189
6/28/1999      JLJ-00000669                             10/11/2001   SDCRT-0069086
7/13/1999      CHU00030799                              10/25/2001   SDCRT-0087685
7/15/1999      SDCRT-0086503                            11/12/2001   SDCRT-0087673
7/??/1999      JLJ-00001080                             12/17/2001   SDCRT-0087437
10/21/1999     SDCRT-0086551                            3/18/2002    PHLP-CRT-098241
11/9/1999      MTPD-0016566                             4/22/2002    CHU00030406
12/31/1999     CHU00029039                              5/27/2002    PHLP-CRT-014272
1/3/2000       MTPD-0016566                             5/28/2002    SDCRT-0007585
1/21/2000      MTPD-0212628                             6/27/2002    SDCRT-0087705
3/3/2000       SDCRT-0005813                            7/30/2002    SDCRT-0087926
3/6/2000       CHU00028224                              8/15/2002    MTPD-0223790
3/14/2000      SDCRT-0005888                            10/17/2002   SDCRT-0087932
4/14/2000      CHU00030995                              10/25/2002   SDCRT-0087708
5/16/2000      PHLP-CRT-082631                          11/14/2002   SDCRT-0007161
5/17/2000      SDCRT-0069574                            11/15/2002   SDCRT-0006632
5/17/2000      PHLP-CRT-082631                          11/25/2002   SDCRT-0087719
5/19/2000      PHLP-CRT-082631                          12/6/2002    SDCRT-0087934
6/8/2000       SDCRT-0087324                            12/27/2002   SDCRT-0006670
6/28/2000      SDCRT-0087324


Note(s):       I define large CPTs as 25 inches or larger.




                                                                                         Exhibit RR-91
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                        Target Price Regression Results - Small CPTs
                                     Regression of Actual Prices on Target Prices
                                          By Customer, Manufacturer, Size, and Finish


Dependent variable is Ln(Actual Price)
                                                                                        Standard                  P-Value
Variable                                             Coefficient                          Error                 (two-sided)
Ln(Previous Quarter's Price)                             0.439                           0.053                      0.000
Ln(Target Price)                                         0.337                           0.034                      0.000
Ln(Price of Glass) × Size                                0.005                           0.002                      0.004
Ln(Industrial Production)                               -0.277                           0.123                      0.025
Unemployment Rate                                       -0.025                           0.007                      0.001
Constant                                                 1.751                           0.689                      0.011


Fixed Effects by customer, manufacturer, size, and finish
Number of observations           4,860
R-squared                         0.91


Note(s):          For this regression, I define small CPTs as smaller than 25 inches.
Data Source(s):   Organisation for Economic Co-operation and Development, 03 January 2014, Production and Sales (MEI):
                  Production, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=90#, accessed 03 January 2014.
                  Organisation for Economic Co-operation and Development, 03 January 2014, Key Short-Term Economic Indicators:
                  Harmonised Unemployment Rate, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=21760, accessed 03
                  January 2014.
                  Bank of Korea, Undated, Glass for CRT Use.
                  Defendant data; see Exhibit 64 of Netz Merits Report.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source File(s):   Target price-structure.xlsx; vendor_map.xlsx; vendor_map.do; PriceTracker.do; clean_target.do; clean_defendant.do;
                  target_price_index.do; combine_target_defendant.do; target_price_regressions_merits_rebuttal.do;
                  target_regression_exhibits_merits_rebuttal.do; target_regression_exhibits_merits_rebuttal.xlsx




                                                                                                                        Exhibit RR-92
           Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 814 of 1309


                        Target Price Regression Results - Large CPTs
                                     Regression of Actual Prices on Target Prices
                                           By Customer, Manufacturer, Size, and Finish


Dependent variable is Ln(Actual Price)
                                                                                     Standard                     P-Value
Variable                                             Coefficient                       Error                    (two-sided)
Ln(Previous Quarter's Price)                             0.509                          0.125                       0.000
Ln(Target Price)                                         0.505                          0.153                       0.001
Ln(Price of Glass) × Size                                0.007                          0.002                       0.006
Ln(Industrial Production)                                0.651                          0.409                       0.112
Unemployment Rate                                        0.041                          0.051                       0.415
Constant                                                -4.251                          2.370                       0.073


Fixed Effects by customer, manufacturer, size, and finish
Number of observations           1,186
R-squared                         0.83


Note(s):          For this regression, I define large CPTs as 25 inches or larger.
Data Source(s):   Organisation for Economic Co-operation and Development, 03 January 2014, Production and Sales (MEI):
                  Production, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=90#, accessed 03 January 2014.
                  Organisation for Economic Co-operation and Development, 03 January 2014, Key Short-Term Economic Indicators:
                  Harmonised Unemployment Rate, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=21760, accessed 03
                  January 2014.
                  Bank of Korea, Undated, Glass for CRT Use.
                  Defendant data; see Exhibit 64 of Netz Merits Report.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source File(s):   Target price-structure.xlsx; vendor_map.xlsx; vendor_map.do; PriceTracker.do; clean_target.do; clean_defendant.do;
                  target_price_index.do; combine_target_defendant.do; target_price_regressions_merits_rebuttal.do;
                  target_regression_exhibits_merits_rebuttal.do; target_regression_exhibits_merits_rebuttal.xlsx




                                                                                                                        Exhibit RR-93
                                    Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 815 of 1309



                                                    Time Series of Price Levels (Simulated Data)

        $120




        $100




         $80
Price




         $60




         $40




         $20




          $0
               1   2      3        4       5       6        7       8       9         10        11       12     13       14   15   16   17   18   19   20   21
                                                                                           Time Period


                                                                                Target Prices            Actual Prices




Source File(s):    Target_Regressions_first_differences_simulated data.do




                                                                                                                                                       Exhibit RR-94
                                     Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 816 of 1309



                                            Differences in Actual v. Target Prices (Simulated Data)
                                                                             $5
                                                                                        Differences in
                                                                                        Target Prices

                                                                             $4



                                                                             $3



                                                                             $2



                                                                             $1
           Differences in
           Actual Prices
                                                                             $0
     -$4                    -$3                   -$2                  -$1         $0                    $1   $2   $3          $4


                                                                             -$1



                                                                             -$2



                                                                             -$3



                                                                             -$4



                                                                             -$5




Source File(s):     Target_Regressions_first_differences_simulated data.do




                                                                                                                        Exhibit RR-95
           Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 817 of 1309


                              Target Price Regression Results - CPTs
                               Regression of NAFTA Actual Prices on Target Prices
                                          By Customer, Manufacturer, Size, and Finish


Dependent variable is Ln(Actual Price)
                                                                                    Standard                    P-Value
Variable                                             Coefficient                      Error                   (two-sided)
Ln(Previous Quarter's Price)                             0.056                        0.202                       0.782
Ln(Target Price)                                         0.383                        0.112                       0.001
Ln(Price of Glass) × Size                                0.011                        0.005                       0.029
Ln(Industrial Production)                               -1.556                        0.600                       0.011
Unemployment Rate                                       -0.103                        0.040                       0.010
Constant                                                 8.915                        3.466                       0.011


Fixed Effects by customer, manufacturer, size, and finish
Number of observations             431
R-squared                         0.92


Data Source(s):   Organisation for Economic Co-operation and Development, 03 January 2014, Production and Sales (MEI):
                  Production, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=90#, accessed 03 January 2014.
                  Organisation for Economic Co-operation and Development, 03 January 2014, Key Short-Term Economic Indicators:
                  Harmonised Unemployment Rate, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=21760, accessed 03
                  January 2014.
                  Bank of Korea, Undated, Glass for CRT Use.
                  Defendant data; see Exhibit 64 of Netz Merits Report.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source File(s):   Target price-structure.xlsx; vendor_map.xlsx; vendor_map.do; PriceTracker.do; clean_target.do;
                  clean_defendant_NAFTA.do; target_price_index.do; combine_target_defendant_NAFTA.do;
                  target_price_regressions_NAFTA.do; target_regression_exhibits_NAFTA.do; target_regression_exhibits_NAFTA.xlsx




                                                                                                                       Exhibit RR-96
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                        Target Price Index Regression Results - CPTs
                           Regression of NAFTA Actual Prices on Target Price Index
                                          By Customer, Manufacturer, Size, and Finish


Dependent variable is Ln(Actual Price)
                                                                                    Standard                    P-Value
Variable                                             Coefficient                      Error                   (two-sided)
Ln(Previous Quarter's Price)                             0.225                        0.086                       0.009
Ln(Target Price Index)                                   0.321                        0.117                       0.007
Ln(Price of Glass) × Size                                0.008                        0.004                       0.028
Ln(Industrial Production)                               -0.825                        0.280                       0.003
Unemployment Rate                                       -0.026                        0.026                       0.316
Constant                                                 6.475                        1.786                       0.000


Fixed Effects by customer, manufacturer, size, and finish
Number of observations           1,375
R-squared                         0.95


Data Source(s):   Organisation for Economic Co-operation and Development, 03 January 2014, Production and Sales (MEI):
                  Production, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=90#, accessed 03 January 2014.
                  Organisation for Economic Co-operation and Development, 03 January 2014, Key Short-Term Economic Indicators:
                  Harmonised Unemployment Rate, OECD.StatExtracts, http://stats.oecd.org/index.aspx?queryid=21760, accessed 03
                  January 2014.
                  Bank of Korea, Undated, Glass for CRT Use.
                  Defendant data; see Exhibit 64 of Netz Merits Report.
                  Cartel meeting notes; see Target price-structure.xlsx.
Source File(s):   Target price-structure.xlsx; vendor_map.xlsx; vendor_map.do; PriceTracker.do; clean_target.do;
                  clean_defendant_NAFTA.do; target_price_index.do; combine_target_defendant_NAFTA.do;
                  target_price_regressions_NAFTA.do; target_regression_exhibits_NAFTA.do; target_regression_exhibits_NAFTA.xlsx




                                                                                                                       Exhibit RR-97
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Correlation Between Panasonic, MTPD Price Indices and Other
Defendants' Price Indices

Defendant 1        Defendant 2        Type      Correlation        Obs.
Panasonic          Chunghwa           CPT       0.881***            23
Panasonic          Hitachi            CPT       -0.129              17
Panasonic          LG Philips         CPT       0.838***            23
Panasonic          Samsung            CPT       0.86***             23
Panasonic          Toshiba            CPT       0.202               23
MTPD               Chunghwa           CPT       0.631***            39
MTPD               LG Philips         CPT       0.615***            39
MTPD               Samsung            CPT       0.743***            39
Panasonic          Chunghwa           CDT       0.788***            28
Panasonic          Hitachi            CDT       0.945***            28
Panasonic          LG Philips         CDT       -0.244              26
Panasonic          Samsung            CDT       0.729***            23
Panasonic          Toshiba            CDT       0.937***            28


Note(s):          The price indices for Panasonic and MTPD only use U.S. prices. Price indices for other defendants include worldwide
                  prices.
                  *** Significant at the 1% level (p < 0.01)
                  ** Significant at the 5% level (p < 0.05)
                  * Significant at the 10% level (p < 0.10)
Data Source(s):   See Exhibit 64 of Netz Merits Report; full defendant database.dta; country codes.dta
Source File(s):   Williams correlations_price indices.do; correlations_price_indices_manufacturer_type.xlsx




                                                                                                                        Exhibit RR-98
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Alternative Overcharge Model Specifications

Application Specification                                       1995Q2 - 2006Q4          2007Q1 - 2007Q4             R-squared      Adjusted R-squared
CDT          Netz Merits Report Model                                 22.0***                  11.4**                   0.954             0.952
             Including the Baltic Dry Index                           25.0***                 15.5***                   0.958             0.955
             Including the IMF Fuel Index                             23.2***                 19.0***                   0.960             0.957
             Including Korean Labor Costs                             30.2***                 23.4***                   0.957             0.955
             Including the Korean-U.S. Exchange Rate                  16.5***                   6.6                     0.962             0.960
             Including Desktop Shipments                              28.2***                 19.5***                   0.961             0.959
CPT          Netz Merits Report Model                                  9.0***                   3.1*                    0.987             0.986
             Including the Baltic Dry Index                            6.0***                   0.5                     0.987             0.986
             Including the IMF Fuel Index                              8.2***                  4.4***                   0.987             0.986
             Including Korean Labor Costs                              7.7***                   1.1                     0.987             0.986
             Including the Korean-U.S. Exchange Rate                   7.6***                   1.4                     0.987             0.986
             Including U.S. Electronic Sales                           6.3***                   1.5                     0.987             0.986



Note(s):          * p < 0.1
                  ** p < 0.05
                  *** p < 0.01
Data Source(s):   us electronics.xlsx; controls.dta; estimation_size.dta
Source File(s):   alternate regression data.do; alternate regression exhibit.do; alternate regression exhibit.xlsx; input_data.do




                                                                                                                                                         Exhibit RR-99
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 1                UNITED STATES DISTRICT COURT

 2              NORTHERN DISTRICT OF CALIFORNIA

 3                    SAN FRANCISCO DIVISION

 4                           ---o0o---

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 7
     In Re: CATHODE RAY TUBE (CRT)    )
 8   ANTITRUST LITIGATION,            )
                                      )
 9                    Plaintiff,      )
     _________________________________)          Case No.
10                                    )          07-5944 SC
                                      )          MDL No. 1917
11   This Document Relates to:        )
                                      )
12   ALL ACTIONS,                     )
                                      )
13

14

15                           ---o0o---

16                  FRIDAY, OCTOBER 31, 2014

17     VIDEOTAPED DEPOSITION OF JANET S. NETZ, PH.D.

18      CONFIDENTIAL TRANSCRIPT ATTORNEYS' EYES ONLY

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     REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR
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                   JANET S. NETZ, PH.D. - ATTORNEYS' EYES ONLY
Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 824 of 1309


 1                     A P P E A R A N C E S
                             ---o0o---
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 3         44 Montgomery Street, Suite 3400
           San Francisco, California 94104
 4         BY: CHRISTOPHER T. MICHELETTI, ESQ.
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 5         cmicheletti@zelle.com

 6         TRUMP, ALIOTO, TRUMP & PRESCOTT
           2280 Union Street
 7         San Francisco, California 94123
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 8         (415) 563-7200
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 9

10   FOR THE STATE OF CALIFORNIA:
     (Telephonic Appearance)
11
           CALIFORNIA DEPARTMENT OF JUSTICE
12         PUBLIC RIGHTS DIVISION - ANTITRUST LAW SECTION
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14         (415) 703-5551
           nicole.gordon@doj.ca.gov
15

16   FOR THE DEFENDANTS TOSHIBA AMERICA ELECTRONIC
     COMPONENTS, INC., TOSHIBA AMERICA INFORMATION
17   SYSTEMS, INC., TOSHIBA CORPORATION and TOSHIBA
     MATSUSHITA DISPLAY TECHNOLOGY CO., LTD.:
18
           WHITE & CASE
19         701 Thirteenth Street, NW
           Washington, D.C. 20005
20         BY: KRISTEN J. McAHREN, ESQ.
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22

23

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25



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                   JANET S. NETZ, PH.D. - ATTORNEYS' EYES ONLY
Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 825 of 1309


 1                     A P P E A R A N C E S
                             ---o0o---
 2
     FOR THE DEFENDANTS SAMSUNG ELECTRONICS AMERICA,
 3   INC., SAMSUNG SEMICONDUCTOR, INC., and SAMSUNG
     ELECTRONICS CO., LTD.:
 4
           SHEPPARD, MULLIN, RICHTER & HAMPTON, LLP
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 8
     FOR THE DEFENDANTS KONINKLIJKE PHILIPS ELECTRONICS
 9   N.V., PHILIPS ELECTRONICS NORTH AMERICA
     CORPORATION:
10   (Telephonic Appearance)

11         BAKER BOTTS LLP
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12         Washington, D.C. 20004-2400
           BY: ERIK KOONS, ESQ.
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           erik.koons@bakerbotts.com
14

15   FOR THE DEFENDANTS PANASONIC CORPORATION:

16         WINSTON & STRAWN
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17         New York, New York 10166
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           35 W. Wacker Drive
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23

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                   JANET S. NETZ, PH.D. - ATTORNEYS' EYES ONLY
Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 826 of 1309


 1                     A P P E A R A N C E S
                             ---o0o---
 2
     FOR THE DEFENDANTS HITACHI, LTD., HITACHI DISPLAYS,
 3   LTD., HITACHI ASIA, LTD., HITACHI AMERICA, LTD.,
     AND HITACHI ELECTRONIC DEVICES:
 4
           KIRKLAND & ELLIS LLP
 5         555 California Street
           San Francisco, California 94104
 6         BY: J. MAXWELL COOPER, ESQ.
           (415) 439-1649
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        Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 827 of 1309


         1   speculation, object to form.

         2              THE WITNESS:    If I had observed the prices

         3   that would have held had the defendants not engaged

         4   in price-fixing, yes, it is possible that that

09:35    5   would reveal that the overcharge was different in

         6   two different periods.

         7       Q.     BY MR. KESSLER:     And in fact, you found

         8   the overcharge was different in 2007 and 2006,

         9   right?

09:36   10       A.     That is correct.

        11       Q.     Okay.    What did you do to test whether or

        12   not the overcharge in particular years might vary

        13   year by year or not?

        14       A.     Within the initial 12-year period?

09:36   15       Q.     Yes.    In other words, did you do any

        16   testing of one year versus the other to determine

        17   whether there was any variation between years, any

        18   kind of economic test, statistical test, data test,

        19   any kind of test?

09:36   20       A.     Well, assuming that you're talking about

        21   1995 to 2006 for CDTs, no, I did not do testing of

        22   overcharges year by year.       The data are not

        23   sufficient to do such a thing.

        24       Q.     Now, in the LCD case you did do such a

09:37   25   test, right?



                                                27

                           JANET S. NETZ, PH.D. - ATTORNEYS' EYES ONLY
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  Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 829 of 1309




                    UNITED STATES DISTRICT COURT

             FOR THE NORTHERN DISTRICT OF CALIFORNIA

                           OAKLAND DIVISION



                                         Case No. 3:07-cv-05944-JST
IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,                    MDL No. 1917


THIS DOCUMENT RELATES TO:

ALL INDIRECT PURCHASER ACTIONS




                  EXPERT REPORT OF DONALD CLARKE

                              March 16, 2022
    Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 830 of 1309




    1. I have been retained by defendants Irico Group Corp. and Irico Display Devices Co., Ltd.
       (“Irico”) in the current action to provide an opinion about a pricing regulatory framework
       in China involving color cathode ray tubes (“CRT”) and color televisions (“TV”) and
       certain documents related thereto.
    2. I am currently a Professor of Law and the David A. Weaver Research Professor at the
       George Washington University Law School. From 1988 through 2004, I was on the
       faculty of the University of Washington School of Law (“UWLS”), and I have been a
       visiting professor at New York University Law School, University of California at Los
       Angeles School of Law, and Duke Law School. From 1995 to 1998, I was on a leave of
       absence from UWLS and worked as an attorney at Paul, Weiss, Rifkind, Wharton &
       Garrison (“Paul, Weiss”), a large United States law firm with a substantial China
       business practice. During that period, I visited China and Hong Kong approximately
       twice a year in the course of my work, a substantial amount of which was related to
       China. From 1998 through 2003, I regularly worked with Paul, Weiss as a consultant on
       Chinese law matters. Since that time I have maintained an independent consulting
       practice.
    3. I have published widely in the field of Chinese law; a full copy of my curriculum vitae
       including a list of publications is attached hereto as Appendix 1. I am fluent in Mandarin
       Chinese (speaking, reading, and writing). I am being compensated for my work at my
       customary hourly rate of $1,050 per hour. This compensation is in no way connected to
       the outcome of this litigation.
    4. I graduated cum laude from Harvard Law School in 1987, where my studies focused on
       East Asian legal systems and I served as an editor of the Harvard Law Review. I earned a
       graduate degree (M.Sc. with Honours) in the Government and Politics of China from the
       School of Oriental and African Studies at the University of London in 1983. I also
       studied Chinese history for two years at Beijing University and Nanjing University in
       China from 1977 to 1979. I earned my undergraduate degree from Princeton University
       in 1977.
    5. I have served as adviser or consultant on Chinese law matters to a number of bodies,
       including the Asian Development Bank, the Agency for International Development, and
       the World Bank’s Financial Sector Reform and Strengthening Initiative. I have testified
       on aspects of the Chinese legal system before the Congressional-Executive Commission
       on China and the United States-China Economic and Security Review Commission. In
       2005, I was appointed to the Academic Advisory Group to the US-China Working Group
       of the United States Congress. I was admitted to practice in the State of New York in
       1988, and am a member of the Council on Foreign Relations.
    6. I have been asked to provide an opinion on the following matters:
            a. Whether the following documents attached to this report (the “Pricing
               Documents”) are genuine and authentic:1


1
  In order to avoid confusion, the document names in English in this list are exactly as they appear in the
translations by Park IP Translations with which Irico’s counsel has supplied me and which will be before
the court, even if I might have translated them somewhat differently myself.
    Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 831 of 1309




                    i. Notification of the State Planning Commission and the State Economic
                       and Trade Commission regarding Issuing “Regulations on Preventing
                       Unfair Price Actions through Dumping of Industrial Products” and
                       Strengthening Price Self-Discipline of Industries (国家计委、国家经贸
                       委关于发布《关于制止低价倾销工业品的不正当价格行为的规定》和
                       加强行业价格自律的通知), issued Nov. 16, 1998, effective Nov. 25,
                       1998 (the “1998 Notice,” attached as Appendix 2);
                   ii. Notification of Reporting Cost Information for Color TV and Color CRT
                       Industry (关于报送彩电、彩管行业成本资料的通知), Feb. 3, 1999 (the
                       “1999 Reporting Notice,” attached as Appendix 3);
                   iii. Circular of the State Development Planning Commission on Issuing the
                        Measures for Determining the Cost of Low-price Dumped Industrial
                        Products (Trial) (国家计委关于印发《低价倾销工业品的成本认定办法
                        （试行）》的通知), issued Feb. 23, 1999, effective March 1, 1999 (the
                        “March 1999 Circular,” attached as Appendix 4);
                   iv. Notification that the State Planning Commission and the Ministry of
                       Information Industry print and distribute Trial Measures to Prevent Unfair
                       Price Competition Regarding Color CRTs and Color TVs (国家计委、信
                       息产业部印发关于制止彩色显像管、彩色电视机不正当价格竞争的试
                       行办法的通知), issued March 15, 1999, effective April 1, 1999 (the
                       “April 1999 Notice,” attached as Appendix 5, with an additional copy
                       attached as pages IRI-CRT-00031461 through IRI-CRT-00031464 of
                       Appendix 62);
                    v. Notification of Publishing Industrial Average Production Costs for Some
                       Types of Color CRTs and Color TVs (关于发布彩色显像管、彩色电视
                       机部分品种行业平均生产成本的通知), April 2, 1999 (the “April 1999
                       Cost Notification,” attached as Appendix 7, with an additional copy
                       attached as pages IRI-CRT-00031466 through IRI-CRT-00031467 of
                       Appendix 6);
                   vi. Notification of Publishing Industrial Average Production Costs for Some
                       Types of Color TVs (关于发布彩色电视机部分品种行业平均生产成本
                       的通知), Aug. 25, 2000 (the “August 2000 Cost Notification,” attached as
                       Appendix 8);
                  vii. Notification of Publishing Industrial Average Production Costs for Some
                       Types of Color CRTs (关于发布彩色显像管部分品种行业平均生产成
                       本的通知), Sept. 13, 2000 (the “September 2000 Cost Notification,”
                       attached as Appendix 9).


2
 Appendix 6, which I understand to be produced from Irico’s files, appears to be a bound copy of the
April 1999 Notice and April 1999 Cost Notification, combined with various cover pages, routing slips,
and a newspaper clipping.
      Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 832 of 1309




              b. The legal status of the regulatory framework constituted by the Pricing
                 Documents.
      7. My conclusions, as set forth in more detail below, are as follows:
              a. Based on details below regarding the origin of some of the Pricing Documents, I
                 believe the Pricing Documents to be genuine and authentic.
              b. The regulatory framework constituted by the Pricing Documents has the status of
                 enforceable law in the Chinese legal system.
Authenticity of the Pricing Documents
      8. In order to verify the authenticity of the Pricing Documents, I independently searched
         available online resources, including Chinese government websites and Chinese
         publications. I also reviewed the documents themselves for indicia of reliability based on
         my knowledge of and experience with Chinese laws and regulations.
      9. In terms of content and structure, the Pricing Documents are similar to many documents
         of a similar nature that I have seen over the course of my studies of Chinese law.
      10. Unlike regulations issued by the U.S. federal government, regulatory frameworks
          implemented by Chinese government ministries are not always regularly published or
          codified in an official legal code or register. The State Council, the institution at the apex
          of what may loosely be analogized to China’s executive branch of government, issues a
          publication called the State Council Gazette many times a year. The State Council
          Gazette publishes some (but not all) documents issued by the State Council itself,
          including regulations of various kinds, and some (but not all) documents issued by
          ministries and equivalent-level bodies under the State Council, also including regulations
          of various kinds. The ministries and equivalent-level bodies typically do not have this
          kind of regular publication. To the best of my knowledge the State Planning Commission
          and its successor bodies have never had such a publication.
      11. An example of the unsystematic nature of publication can be seen in the fact that whereas
          the 1998 Notice of the State Planning Commission was, as discussed below, published in
          the State Council Gazette, other documents relating to the same regulatory framework
          issued by the State Planning Commission or its successors were not, even though they
          can be found on some other official government websites.
      12. For the specific reasons explained below, I conclude that the Pricing Documents are
          genuine and authentic:
              a. The 1998 Notice: I was able to independently confirm the existence of this
                 document by finding it in the State Council Gazette.3 It is also posted on the
                 official website of the Development and Reform Commission of Guangdong
                 Province in China, a regional arm of the National Development and Reform
                 Commission,4 which is the successor agency to the State Planning Commission

3
 STATE COUNCIL GAZETTE (国务院公报), No. 3, 1999 (Feb. 26, 1999), at 83,
http://www.gov.cn/gongbao/shuju/1999/gwyb199903.pdf [https://perma.cc/H4UP-GJQH].
4
    http://drc.gd.gov.cn/gfxwj5633/content/post_861015.html [https://perma.cc/UD5E-GS8T].
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                  that jointly issued the 1998 Notice. The content of the 1998 Notice found in the
                  State Council Gazette and on the official website of the Development and Reform
                  Commission of Guangdong Province appears identical to that of the notice
                  attached as Appendix 2.
              b. The 1999 Reporting Notice: I have not been able to independently procure a copy
                 of this document on my own; the copy attached as Appendix 3 has been supplied
                 to me by Irico’s counsel. It appears to me to be genuine, based on its appearance,
                 format, and content, which is consistent with other Chinese ministry regulations I
                 have seen in the past. I also note that the 1999 Reporting Notice bears a seal
                 labeled “Electronic Industry Archives” along with a copy number (2017049). I am
                 informed by counsel that this document is a certified copy obtained from the
                 Electronic Industry Archives maintained by the Chinese Ministry of Industry and
                 Information Technology in Beijing, China.5 Assuming that to be true, I believe
                 the document to be a genuine and authentic copy of a notification issued by the
                 Ministry of Information Industry.
              c. The March 1999 Circular: I was able to independently confirm the existence of
                 this document by finding it on the official website of the Development and
                 Reform Commission of Guangdong Province in China. 6 The content of the
                 March 1999 Circular found on the official website of the Development and
                 Reform Commission of Guangdong Province appears identical to that of the
                 notice attached as Appendix 4.
              d. The April 1999 Notice: I was able to independently confirm the existence of this
                 document by finding it on the official website of the Development and Reform
                 Commission of Guangdong Province in China.7 The content of the April 1999
                 Notice found on the official website of the Development and Reform Commission
                 of Guangdong Province appears identical to that of the notice attached as
                 Appendix 5, as well as the copy produced from Irico’s files, bearing the Bates
                 stamp IRI-CRT-00031457 et seq. and attached as Appendix 6, at pages IRI-CRT-
                 00031461 through IRI-CRT-00031464.
              e. The April 1999 Cost Notification: I was not able to find a copy of the complete
                 text of this document independently of the copies supplied to me by Irico’s
                 counsel. The copy produced from Irico’s files bearing the Bates stamp IRI-CRT-
                 00031457 et seq. and attached as Appendix 6 includes at IRI-CRT-00031459 a
                 photocopy of what purports to be a newspaper clipping reproducing the text of the
                 April 1999 Cost Notification from page 1 of the April 13, 1999 issue of a Chinese
                 industry newspaper called the China Electronics News (中国电子报). It was a
                 common practice for Chinese government ministries to publish rules in national
                 newspapers, and to do so in an industry newspaper would be quite normal.
                 Therefore, the presence of a contemporaneous newspaper clipping tends to

5
 The Ministry of Industry and Information Technology is the successor ministry to the Ministry of
Information Industry, which originally issued the 1999 Reporting Notice.
6
    http://drc.gd.gov.cn/gfxwj5633/content/post_861460.html [https://perma.cc/7GT2-XEAE].
7
    http://drc.gd.gov.cn/gfxwj5633/content/post_861921.html [https://perma.cc/KER3-PFPL].
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              confirm the authenticity of the April 1999 Cost Notification. What purports to be
              a photocopy of The April 1999 Cost Notification also appears in Irico’s files at
              IRI-CRT-00031466 through IRI-CRT00031467. An additional copy of this
              document, attached as Appendix 7, bears a seal labeled “Electronic Industry
              Archives” along with a copy number (2017048). I am informed by counsel that
              this document is a certified copy obtained from the Electronic Industry Archives
              maintained by the Ministry of Industry and Information Technology in Beijing,
              China. Assuming that to be true, I believe the document to be a genuine and
              authentic copy of a notification issued by the Ministry of Information Industry.
          f. The August 2000 Cost Notification: I have not been able to independently procure
             a copy of this document on my own; the copy attached as Appendix 8 has been
             supplied to me by Irico’s counsel. It appears to me to be genuine, based on its
             appearance, format, and content, which is consistent with other Chinese ministry
             regulations I have seen in the past. I also note that the August 2000 Cost
             Notification bears a seal labeled “Electronic Industry Archives” along with a copy
             number (2017053). I am informed by counsel that this document is a certified
             copy obtained from the Electronic Industry Archives maintained by the Chinese
             Ministry of Industry and Information Technology in Beijing, China. Assuming
             that to be true, I believe the document to be a genuine and authentic copy of a
             notification issued by the Ministry of Information Industry.
          g. The September 2000 Cost Notification: I have not been able to independently
             procure a copy of this document on my own; the copy attached as Appendix 9 has
             been supplied to me by Irico’s counsel. It appears to me to be genuine, based on
             its appearance, format, and content, which is consistent with other Chinese
             ministry regulations I have seen in the past. I also note that the September 2000
             Cost Notification bears a seal labeled “Electronic Industry Archives” along with a
             copy number (2017052). I am informed by counsel that this document is a
             certified copy obtained from the Electronic Industry Archives maintained by the
             Chinese Ministry of Industry and Information Technology in Beijing, China.
             Assuming that to be true, I believe the document to be a genuine and authentic
             copy of a notification issued by the Ministry of Information Industry.
Legal Status of Regulatory Framework
   13. The regulatory framework set out in the Pricing Documents can be summarized as
       follows: Producers are required to submit information about costs to the regulator. The
       regulator then issues a document containing minimum prices. The producers may not
       price below those minima. If they do, they are subject to a variety of sanctions, ranging
       from warnings to fines to the loss of their business license.
   14. In my opinion, as explained in more detail below, the regulatory framework set out in the
       Pricing Documents has the status of law in the Chinese legal system, and was binding and
       enforceable on producers in China.
   15. China’s highest legislative authorities are the National People’s Congress (the “NPC”)
       and its Standing Committee (the “NPCSC”). China’s Law Against Unfair Competition,
       passed in 1993, prohibits pricing below cost (i.e., dumping) in order to gain competitive
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            advantage.8 China’s Price Law, passed in 1997 (the “Price Law”), similarly prohibits (in
            Article 14) “dumping commodities at prices lower than production cost in order to drive
            out rivals or monopolize the market[.]” 9 It further provides:
                     Any operator who commits any of the acts listed in Article 14 of this Law shall be
                     ordered to make amends and his illegal gains shall be confiscated; he may also be
                     fined not more than five times his illegal gains; if he has no illegal gains, he shall
                     be given a disciplinary warning and may also be fined; if the circumstances are
                     serious, he shall be ordered to suspend business for rectification, or his business
                     license shall be revoked by the administrative department for industry and
                     commerce.10
       16. The 1998 Notice contains the “Regulations on Preventing Unfair Price Actions through
           Dumping of Industrial Products” (the “1998 Regulations”) issued jointly by the State
           Planning Commission and the State Economic and Trade Commission. Both these
           commissions are roughly equivalent to ministries under the State Council, the highest
           executive body in China’s central government, but have a slightly higher bureaucratic
           rank than ordinary ministries. The State Planning Commission, which has subsequently
           undergone some name changes, was authoritatively described in 2009 as follows: “Most
           famously, the planning commission remains a powerful agency in China 30 years after
           the start of market reform, where it is ‘first among equals’ among the super-ministries.” 11
       17. The State Planning Commission and other relevant departments under the State Council
           have authority under Articles 5, 33, and 34 of the Price Law to implement its provisions.
       18. Article 5 of the 1998 Regulations sets forth a variety of “unfair price actions” in the
           nature of dumping (i.e., selling below cost) that are specifically prohibited. Article 9
           requires manufacturers to set prices at a level that reflects costs plus a reasonable profit.
           Article 10 states that anyone may report below-cost pricing, and that the competent
           government department—in this case, the State Planning Commission, which had
           jurisdiction over pricing—shall then investigate. Article 11 states that the producer being
           investigated must cooperate by supplying information. Article 12 states that when a
           producer is found to have committed one of the “unfair price actions” listed in Article 5,
           the competent government department shall order the producer to correct its actions and
           may in addition impose one or more of the following punishments: (1) warning, (2) fine,
           (3) suspension of business for a period of rectification, and (4) loss of business license (if
           approved by the State Administration of Industry and Commerce).




8
 Law Against Unfair Competition (反不正当竞争法), passed by National People’s Congress Standing
Committee Sept. 2, 1993, effective Dec. 1, 1993, art. 11, https://perma.cc/92AU-43SW (in Chinese).
9
 Price Law (价格法), passed by National People’s Congress Standing Committee Dec. 29, 1997,
effective May 1, 1998, art. 14(2), https://perma.cc/Y58D-U6A5 (in Chinese).
10
     Id., art. 40.
11
  Christine Wong, Rebuilding Government for the 21st Century: Can China Incrementally Reform the
Public Sector?, 2009 CHINA QUARTERLY (no. 200) 929, 934 n.9.
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           APPENDIX 1
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                                        DONALD C. CLARKE

                                            Professor of Law
                                  David A. Weaver Research Professor
                                George Washington University Law School
                                             2000 H Street
                                        Washington, DC 20052
                                           Tel. (202) 994-2830
                                   E-mail: donaldclarke@law.gwu.edu
                                    Website: http://donaldclarke.net


CURRENT POSITION

• Professor, George Washington University Law School, Washington, DC (from Jan. 2005)

              Courses taught:        • Chinese Law
                                     • Chinese Business Law
                                     • Business Organizations
                                     • Law and Development

OTHER POSITIONS AND VISITORSHIPS

• Visiting Professor, Interdisciplinary Center, Herzliya, Israel (April-May 2013)
• Visiting Professor, Duke University Law School, Durham, NC (Spring 2012)
• Visiting Professor, University of California at Los Angeles School of Law, Los Angeles, CA (Fall
2008)
• Visiting Professor, New York University School of Law, New York, NY (2007-08)
• Professor, University of Washington School of Law, Seattle, Washington (1988-2004)
• Attorney, Paul Weiss Rifkind Wharton & Garrison, New York, New York (Sept. 1995-Aug. 1998) (on
         leave from University of Washington)
         Areas of practice: Corporate, East Asia (focusing on China)
• Lecturer in Commercial Law of the Far East, Department of Law, School of Oriental and African
         Studies, University of London, UK (Sept. 1985-July 1988)

EDUCATION

• Harvard Law School, Cambridge, Mass., USA (1983-85, 1986-87)—JD cum laude 1987
          Activities:      Editorial Board, Harvard Law Review
                           Harvard International Law Journal
• School of Oriental and African Studies, University of London, UK (1981-83)—MSc 1983 in Government
          and Politics of China
          Honors: Award of Distinction for thesis
• Beijing University and Nanjing University, People’s Republic of China (1977-79)— Non-degree academic
          exchange program
          Major area of study: Chinese history
• Princeton University, Princeton, New Jersey, USA (1973-77)—BA cum laude 1977
          Major areas of study: International affairs (Woodrow Wilson School of Public and International
          Affairs); Certificate of Proficiency in East Asian Studies
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SCHOLARSHIPS AND FELLOWSHIPS

• Law and Public Affairs Fellowship, Princeton University, 2020-21 academic year
• Rowdget Young Visiting Fellow, Faculty of Law, University of Hong Kong, June 2005
• Fulbright Research Fellowship, 2003 (Tsinghua University Faculty of Law, Beijing)
• Visiting Fellow, China Law Center, Yale Law School, Fall 2001
• Research Fellowship, National Program, Committee on Scholarly Communication with the People’s
         Republic of China, 1991-92
• Foreign Language and Area Studies Fellowship, 1986-87 (Harvard Law School)
• Foreign Language and Area Studies Fellowship, 1984-85 (Harvard Law School)
• Commonwealth Scholarship, 1981-83 (University of London)
• Canada-China Exchange Scholarship, 1977-79 (Peking University, Nanking University)

PROFESSIONAL ASSOCIATIONS AND MEMBERSHIPS

• Member, Council on Foreign Relations
• Member, New York Bar
• Member, Executive Editorial Board, American Journal of Comparative Law
• Member, Editorial Board, The China Quarterly
• Member, Editorial Board, Journal of Comparative Law
• Member, Academic Advisory Group, US-China Working Group, United States Congress
• Affiliate Professor, University of Washington School of Law
• Director, Pacific Rim Law and Policy Association (publisher of Pacific Rim Law and Policy Journal)
• Member, Advisory Board, Center for Real Estate Law, Peking University Law School

CONSULTANCIES (SELECTED )

• U.S. Department of Justice (2019)
• Office of the Attorney General of New Jersey (2019)
• Public Company Accounting Oversight Board (2016-2017, 2021)
• Securities and Exchange Commission (2013)
• Financial Sector Reform and Strengthening (FIRST) Initiative, Amendments to the Securities Law of the
People’s Republic of China, 2004-2005
• Asian Development Bank, Economic Law in the People’s Republic of China: Retrospect and Prospect, 2004-
2005
• Asian Development Bank, Amendments to the Company Law of the People’s Republic of China, 2001-2005
• Agency for International Development, Commercial Law Reform in the Former Soviet Republics, 2002
• Asian Development Bank, China’s Legal and Administrative System, 2001

EXPERT TESTIMONY

The following is a list of cases in which I have testified at trial or in a deposition between March 15, 2018 and March
15, 2022

• Beijing Luode Property Management Co., Ltd. v. Han Qin & Fan Yang (Superior Court of California,
County of Orange), Aug. 27, 2021 (deposition)
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• In re Cathode Ray Tube Antitrust Litigation (U.S. Dist. Ct. for the Northern District of California,
San Francisco Division), March 26, 2019 (deposition)

PUBLICATIONS

                                                   Books

China’s Legal System: New Developments, New Challenges (Cambridge University Press, 2008) (edited
volume)

                                        Articles and Monographs

“Order and Law in China,” University of Illinois Law Review (forthcoming 2022)
“Anti Anti-Orientalism, or Is Chinese Law Different?”, American Journal of Comparative Law, vol. 68, no 1
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“Form and Function in China’s Urban Land Regime: The Irrelevance of ‘Ownership’,” Land Use Policy,
      vol. 79 (Dec. 2018): 902-912
“The Bonding Effect in Chinese Cross-Listed Companies: Is It Real?”, in Nicholas C. Howson &
      Robin Hui Huang (ed.), Enforcement of Corporate and Securities Law: China and the World (Cambridge
      University Press 2017): 88-100 [Working paper version: “The Bonding Effect in Cross-Listed
      Chinese Companies: Is It Real?”, Dec. 31, 2015, GWU Legal Studies Research Paper No.
      2015-55, available at http://ssrn.com/abstract=2710717]
“The Law of China’s Local Government Debt: Local Government Financing Vehicles and Their
      Bonds” (with Fang Lu), American Journal of Comparative Law, vol. 65 (2017): 751-798
“Don’t Ask, Don’t Sell: The Criminalization of Business Intelligence in China and the Case of Peter
       Humphrey,” UCLA Pacific Basin Law Journal, vol. 33, no. 2 (2016): 109-153
“Blowback: How China’s Efforts to Bring Private-Sector Standards into the Public Sector Backfired,”
      in Curtis Milhaupt & Benjamin Liebman (ed.), Regulating the Visible Hand? The Institutional
      Implications of Chinese State Capitalism (Oxford University Press 2015): 29-48
“Zai fanyizhong yishi? Jianping Zhongguo gongsi fa zhong de yizhiti” (Lost in Translation? Legal
        Transplants in Chinese Corporate Law), in Ge Pingliang & Liang Jiaolong (ed.), Waiguo Xuezhe
        Lun Zhongguo Fa Congshu—Gongsi Fa Fenjuan (Collection of Works of Foreign Scholars
        Discussing Chinese Law—Company Law Volume) (Zhongguo Dabaike Quanshu Chubanshe
        (Great Encyclopedia of China Publishers), forthcoming 2015)
“Judicial Innovation in Chinese Corporate Law,” in John O. Haley & Toshiko Takenaka (ed.), Legal
        Innovations in Asia: Judicial Law-Making and the Influence of Comparative Law (Edward Elgar, 2014):
        259-272
“China’s Stealth Urban Land Revolution,” Am. J. Comp. L., vol. 62, no. 2 (Spring 2014): 323-366
“Derivative Actions in the People’s Republic of China” (with Nicholas C. Howson), in Dan W.
       Puchniak, Harald Baum & Michael Ewing-Chow (ed.), The Derivative Action in Asia: A
       Comparative and Functional Approach (Cambridge University Press, 2012): 243-295; translated as
       “Tongwang xiao gudong baohu zhi lujing: Zhongguo paisheng susong,” in Ge Pingliang &
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        Liang Jiaolong (ed.), Waiguo Xuezhe Lun Zhongguo Fa Congshu—Gongsi Fa Fenjuan (Collection of
        Works of Foreign Scholars Discussing Chinese Law—Company Law Volume) (Zhongguo
        Dabaike Quanshu Chubanshe (Great Encyclopedia of China Publishers), forthcoming 2015)
“‘Nothing But Wind’? The Past and Future of Comparative Corporate Governance,” Am. J. Comp. L.,
       vol. 59, no. 1 (Winter 2011): 75-110
“Law Without Order in Chinese Corporate Governance Institutions,” Nw. J. Int’l L. & Bus., vol. 30
      (2010): 131-199; translated as “Zhongguo gongsi zhili zhidu: you fa er wu zhixu,” in Ge Pingliang
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      of Works of Foreign Scholars Discussing Chinese Law—Company Law Volume) (Zhongguo
      Dabaike Quanshu Chubanshe (Great Encyclopedia of China Publishers), forthcoming 2015)
“The Private Attorney-General in China: Potential and Pitfalls,” Wash. U. Global Studies L. Rev., vol. 8,
       no. 2 (2009): 241-255
“The Role of Non-Legal Institutions in Chinese Corporate Governance,” in Curtis Milhaupt, Kon-Sik
      Kim and Hideki Kanda (ed.), Transforming Corporate Governance in East Asia (Routledge, 2008):
      168-192
“The Role of Law in China’s Economic Development” (with Peter Murrell and Susan Whiting), in
      Thomas Rawski and Loren Brandt (ed.), China’s Great Economic Transformation (Cambridge
      University Press, 2008): 375-428
“China: Creating a Legal System for a Market Economy,” Nov. 7, 2007 (report prepared for the Asian
       Development Bank) (available at http://ssrn.com/abstract=1097394)
“The Chinese Legal System Since 1995: Steady Development, Striking Continuities,” China Quarterly,
      no. 191 (Sept. 2007): 555-566
“Legislating for a Market Economy in China,” China Quarterly, no. 191 (Sept. 2007): 567-585
“Three Concepts of the Independent Director,” Delaware Journal of Corporate Law, vol. 32, no. 1 (2007):
       73-111 (available at http://ssrn.com/abstract=975111)
“How Do We Know When an Enterprise Exists? Unanswerable Questions and Legal Polycentricity in
     China,” Columbia Journal of Asian Law, vol. 19, no. 1 (2005 [2006]): 50-71
“The Independent Director in Chinese Corporate Governance,” Delaware Journal of Corporate Law, vol.
       31, no. 1 (2006): 125-228 (available at http://ssrn.com/abstract=895588)
“Zhengfu chigu yu Zhongguo gongsi zhili” (Government Shareholding and Chinese Corporate
      Governance), Hongfan Pinglun (Hongfan Review [Journal of Legal and Economic Studies]), vol.
      2, no. 2 (Sept. 2005): 230-248
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       not Round: America’s Anti-Insider Trading Legal Regime), Hongfan Pinglun (Hongfan Review
       [Journal of Legal and Economic Studies]), vol. 2, no. 1 (March 2005): 225-238
“Zhongguo xiuding ‘Xing Fa’ pingjia” (An Assessment of China’s Revisions to the “Criminal Law”), in
      Xu Chuanxi (ed.), Zhongguo Shehui Zhuanxing Shiqi de Falü Fazhan (The Development of Law in
      China’s Transitional Society) (Beijing: Falü Chubanshe [Law Press], 2004): 448-492
“Corporate Governance in China: An Overview,” China Economic Review, vol. 14, no. 4 (2003): 494-507
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“Empirical Research in Chinese Law,” in Erik Jensen & Thomas Heller (eds.), Beyond Common Knowledge:
      Empirical Approaches to the Rule of Law (Stanford: Stanford University Press, 2003): 164-192
“Duli dongshi yu Zhongguo gongsi zhili” (The Independent Director and Chinese Corporate
       Governance), in Fang Liufang (ed.), Fa Da Pinglun (China University of Politics and Law
       Review), vol. 2 (Beijing: Zhongguo Zheng-Fa Daxue Chubanshe [China University of Politics
       and Law Press], 2003): 99-122 (also in Hamada Michiyo & Wu Zhipan (ed.), Gongsi Zhili yu
       Ziben Shichang Jianguan—Bijiao yu Jiejian (Corporate Governance and the Regulation of Capital
       Markets: Comparisons and Lessons) (Beijing: Beijing Daxue Chubanshe [Beijing University
       Press], Jan. 2003)
“The Independent Director in Chinese Corporate Governance and the ‘Guidance Opinion on the
       Establishment of an Independent Director System in Listed Companies’,” in Wang Baoshu
       (ed.), Touzizhe Liyi Baohu (The Protection of Investors’ Interests) (Beijing: Shehui Kexue
       Wenxian Chubanshe [Social Sciences Documentation Press], 2003): 142-165
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      Comparative Law, vol. 51 (2003): 89-111
“China’s Legal System and the WTO: Prospects for Compliance,” Washington University Global Studies
       Law Review, vol. 2, no. 1 (2003): 97-118
“Puzzling Observations in Chinese Law: When Is a Riddle Just a Mistake?” in C. Stephen Hsu (ed.),
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      Xiandaixing: Zhongguo Tiaojie Zhidu Yanjiu (Mediation, Legality, and Modernity: Studies in the
      Chinese Mediation System) (Beijing: Zhongguo Fazhi Chubanshe [China Legal System Press],
      2001)
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      Regulation in China), in Chi Fulin (ed.), Zouru 21 Shiji de Zhongguo Nongcun Tudi Zhidu Gaige
      (China’s Rural Land System Reform Going Into the 21st Century) (Beijing: Zhongguo Jingji
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      Beyond the ‘Rule of Law’ Paradigm), Hikaku Hôgaku (Studies in Comparative Law), vol. 34, no.
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      University of Michigan Press, 1996): 39-59
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        (London: Macmillan, 1995): 83-93
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“Political Power and Authority in Recent Chinese Literature,” China Quarterly, no. 102 (June 1985): 234-
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      1985): 1890-1908


                            Short Articles, Comments, and Book Reviews
“Robin Munro, 1952-2021,” Journal of Comparative Law, vol. 16, no. 2 (2021): 691-696,
       https://perma.cc/5ETJ-D9C8
“Will I Return to China?” ChinaFile, June 21, 2021, https://perma.cc/FNQ3-MKT6
“New Zealand’s Troubling Precedent for China Extradition,” Lawfare, June 15, 2021,
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“Hong Kong National Security Law: New Institutions Show China’s True Intent,” South China Morning
      Post, July 17, 2020, http://bit.ly/dccscmp
“Hong Kong’s National Security Law: An Assessment,” China Leadership Monitor, July 13, 2020,
      https://perma.cc/6KNA-2MFW
Review of Kwai Hang Ng & Xin He, Embedded Courts: Judicial Decision-Making in China, China
       Quarterly, no. 237 (March 2019): 266-67
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“Winter Settles on Chinese Universities: What Does Xu Zhangrun’s Punishment Mean for Hopes of
       Academic Freedom?”, Foreign Policy, April 1, 2019, https://perma.cc/JV3K-6KFK
“China’s Hostage Diplomacy,” Lawfare, Jan. 11, 2019, https://perma.cc/W67K-NWWP
“China Is Holding Two Canadians as Hostages. It’s Not Even Denying It.” Washington Post, Dec. 17,
       2018, https://perma.cc/SH5U-E5CD
“No, New Xinjiang Legislation Does not Legalize Detention Centers,” Lawfare, Oct. 11, 2018,
      https://perma.cc/NWX9-TP3X
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LECTURES, INTERVIEWS, PRESENTATIONS, AND CONFERENCE APPEARANCES
Featured speaker, “Judging China: Illiberal Legal Systems in U.S. Courts,” Council on Foreign Relations
       Virtual Roundtable, Jan. 13, 2022
“Judging China,” paper presented at George Washington University Law School Faculty Workshop,
       Nov. 5, 2021
Speaker, “Judging China: Chinese Law in U.S. Courts,” panel on When Domestic Courts Evaluate Foreign
       Legal Systems: The Case of China, International Law Weekend (99th Annual Meeting of the
       American Branch of the International Law Association), Oct. 29, 2021
Visiting lecturer, “Order and Law in China,” Göttingen Summer School on Chinese Law,
        Max-Planck-Institut für ausländisches und internationals Privatrecht, Hamburg, Sept. 20. 2021
Speaker, “Legal Aspects of Xinjiang Detentions: Points of Argument Regarding Chinese Domestic
       Law,” at The Xinjiang Crisis: Genocide, Crimes Against Humanity, Justice, Conference at Newcastle
       University, UK, Sept. 3, 2021
Featured speaker, “Order and Law in China,” in Rethinking Cultural Constructions of Law in East Asia
       (speaker series) (University of Toronto Faculty of Law, Cornell Law School, Yale Law School),
       June 25, 2021
Panelist, We Must Not Remain Silent: China’s Uyghur Genocide and What You Can Do About It, Symposium
        and CLE presented by The Cardozo Society, Jewish Federation of Greater Seattle, and Middle
        Eastern Legal Association of Washington, June 3, 2021
Commentator, US-China Rule of Law Dialog, sponsored by National Committee on US-China Relations,
     New York, NY, April 26-27, 2021
Featured speaker, “Order and Law in China,” Princeton University East Asian Studies Program, March
       29, 2021
Speaker, “The Xinjiang Crisis and Chinese Law,” Human Rights Symposium, George Washington
       University Law School, March 25, 2021
Presenter, Research in the Chinese Legal System, Princeton University School of Public and International
       Affairs, March 16, 2021
Panelist, International Law and the Uyghur Crisis, Columbia Law School, March 15, 2021
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Commentator, Works-in-Progress Workshop, American Society of Comparative Law, Princeton
     University, March 12, 2021
Featured speaker, “Judging China: How US Courts Look at the Chinese Legal System,” Program in
       Law and Public Affairs, Princeton University, Feb. 26, 2021
Discussant, Securities Regulatory Cooperation Over Cross-Border Listings and Transactions, Chinese University of
       Hong Kong, Dec. 10-11, 2020
Moderator, The Uyghur Human Rights Crisis: What Are the Legal Options, George Washington University
      Law School, Nov. 10, 2020
Featured speaker, “Order and Law in China,” Harvard Law School Comparative Law Seminar, Nov. 9,
       2020
Visiting lecturer, “Anti Anti-Orientalism,” Göttingen Summer School on Chinese Law,
        Max-Planck-Institut für ausländisches und internationals Privatrecht, Hamburg, Sept. 21. 2020
Panelist, The Future of Hong Kong’s Separate Legal System under the National Security Law, University of
        London, School of Oriental & African Studies China Institute Roundtable, Sept. 9, 2020
Featured speaker, “Approaches to the Study of Chinese Law,” New York University Law School, Aug.
       27, 2020
Speaker, Policy Forum: Organ Procurement and Extrajudicial Killing in China: Confronting the Evidence,
       sponsored by International Coalition to End Transplant Abuse in China (ETAC), Uyghur
       Human Rights Project, Victims of Communism Memorial Foundation, Washington, DC,
       March 10, 2020
Speaker, China’s Ideological Ambitions, workshop organized by Brookings Institution, Washington, DC,
       March 10, 2020
Panelist, China and the Rule of Law: Addressing Key Human Rights Challenges Together, workshop organized by
        Department of Human Rights and Labor, Department of State, Washington, DC, March 2,
        2020
“China’s Legal Non-Construction Project,” paper presented at George Washington University Law
       School Faculty Workshop, Jan. 15, 2020
Panel chair, Going Global (seminar on business in East Asia), George Washington University,
       Washington, DC, Nov. 14, 2019
“China’s Legal Non-Construction Project,” paper presented at China’s Legal Construction Program at 40
       Years—Towards an Autonomous Legal System?, University of Michigan, Oct. 11, 2019
Presentation at China Reform Forum, Georgetown Law School, Washington, DC, Aug. 10, 2019
“China’s Legal Non-Construction Project,” keynote speech, 2019 Annual General Conference of the
       European China Law Studies Association, Durham University, Durham, UK, July 27, 2019
Presentation on China policy issues to Policy Planning Office, Department of State, July 11, 2019
Presentation on Chinese legal system. University of Ottawa (Certificate Program in Public Sector
       Leadership and Governance for federal civil servants at Director General level), Ottawa,
       Canada, July 5, 2019
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“Of cell phones and seed prices: The Chinese legal system in theory and practice,” ChinaEconTalk, June
        21, 2019, http://bit.ly/2RAlxQo (podcast interview)
Panelist, Confronting Atrocities in China: The Global Response to the Uyghur Crisis, George Washington
        University, June 7, 2019
Commentator, Chinese Law Workshop, Columbia Law School, May 14, 2019
“The Chinese Legal System,” presentation to China Policy Centre, Ottawa, Canada, April 16, 2019
Organizer and panelist, Mass Detentions in Xinjiang, China: Issues of Law and Human Rights, George
       Washington University Law School, April 15, 2019
“Arbitrary Detention in China,” presentation at Council on Foreign Relations, Washington, DC, April
       12, 2019
Panelist, The U.S. Supreme Court Says “No” to China: Lessons Learned from the Vitamin C Case & the
        Implications for Cross-Border Litigation, ABA Section on International Law Annual Conference,
        Washington, DC, April 11, 2019
Commentator, Authoritarian Police and Legality in Asia, conference at Faculty of Law, University of Hong
     Kong, Hong Kong, Feb. 22-23, 2019
Panel moderator, DC Residency Lecture Series: The Chinese Dream & What It Means to the World, Graduate
       School of Political Management, George Washington University, Washington, DC, July 18,
       2018
“The Supreme Court’s Vitamin C Antitrust Case,” presentation at George Washington University Law
       School Faculty Workshop, Washington, DC, June 6, 2018
“The Law of Local Government Debt in China,” presentation at A Legal Revolution: Evolving Jurisprudence
      in Present Day China, symposium sponsored by George Washington University International Law
      Review, Washington, DC, April 2018
“Corporate Governance in China,” invited lecture at Columbia Law School, New York, NY, March
      2018
“Local Government Debt in China,” presentation at Center for Chinese Law, Columbia Law School,
       New York, NY, March 2018
“Anti Anti-Orientalism,” paper presented at Comparative Law Works in Progress Workshop, sponsored by
       American Society of Comparative Law, Princeton, NJ, February 2018
“China’s Law on Supervision,” presentation at US-China Rule of Law Dialog, sponsored by National
       Committee on US-China Relations, New York, NY, November 2017
Panelist, Containing the Fallout from the North Korea Crisis: What Role for U.S. and International Law?, George
        Washington University Law School, Washington, DC, Sept. 6, 2017
Panelist, Anti-Corruption Forever? Xi Jinping’s Signature Policy in a Fraught Political Year, Woodrow Wilson
        International Center for Scholars, Washington, DC, March 24, 2017
“Short- and Long-Term Perspectives on Legal Developments in China,” presentation at Fourth Annual
       China Law Conference, University of Toronto Faculty of Law, Toronto, Canada, Feb. 18, 2017
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Panelist, Reinvigorating Human Rights Policy Toward China, conference sponsored by McCain Institute for
        International Leadership (Arizona State University) and Robert Strauss Center for International
        Security and Law, Washington, DC, Nov. 15-16, 2016
“Chinese Law and Chinese Language,” paper presented at conference on How and Why Language
       Learning Is Useful in China Careers, sponsored by Princeton in Beijing, Princeton, NJ, Oct. 21-23,
       2016
Participant, Roundtable discussion on China’s Overseas NGO Law, Department of State, Washington,
        DC, May 13, 2016
Panel moderator and discussant, Judicial Reform, Legal Reform and IP in China: A Roundtable Discussion,
       United States Patent and Trademark Office, Alexandria, VA, April 14, 2016
Presentation at World Development Report 2017 on Governance and the Law, Symposium on The Role of Law in
       Governance, World Bank, Washington, DC, April 13, 2016
“Anti Anti-Orientalism, or Is Chinese Law Different?”, invited lecture, University of British Columbia
       Law School, Vancouver, Canada, March 30, 2016
“Legal and Regulatory Reform – or Not: Implications for Business,” presentation at Third Annual China
        Law Conference, University of Toronto Faculty of Law, Toronto, Canada, March 26, 2016
Participant in Sixth Sino-American Dialogue on the Rule of Law and Human Rights, sponsored by the National
        Council on US-China Relations and the China Foundation for Human Rights Development,
        Beijing, China, Dec. 6-10, 2015
“Legal Issues of the Fourth Plenum,” presentation at 5th Annual NYU Conference on Chinese Capital
        Markets: Assessing the Progress of China’s Economic and Legal Reforms, New York University, New
        York, NY, Dec. 5, 2015
Invited participant, conference on The Chinese State & Market: Toward the 13th Five-Year Plan, Center for
        Strategic and International Studies, Washington, DC, Nov. 24, 2015
“Is the Xi Administration Interested in the Rule of Law?”, invited lecture at USPTO’s Global IP
        Academy, Alexandria, VA, July 14, 2015
“Recent Developments in American Insider Trading Law: Why China Should Not Learn from the US,”
      invited lecture, China Securities Regulatory Commission, Beijing, China, May 25, 2015
“Anti Anti-Orientalism, or Is Chinese Law Different?”, invited lecture, University of Michigan Center
       for Chinese Studies Occasional Lecture Series, Ann Arbor, MI, March 25, 2015
“Anti Anti-Orientalism, or Is Chinese Law Different?”, keynote address, Law and the Legal Profession in
       China Conference, University of Pittsburgh School of Law, Pittsburgh, PA, Feb. 27, 2015
“The Bonding Effect in Cross-Listed Chinese Companies: Is It Real?”, conference paper presented at
      Public and Private Enforcement of Company Law and Securities Regulation—China and the World,
      sponsored by Chinese University of Hong Kong, University of Michigan Law School, and
      University of Michigan Center for Chinese Studies, Hong Kong, Dec. 13, 2014
“China’s Stealth Urban Land Revolution,” invited lecture at Fall 2014 Speaker Series, Institute for the
       Study of International Development, McGill University, Montreal, Canada, Nov. 27, 2014
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“Fourth Plenum Legal Reforms and Their Implications for US-China Relations,” talk presented at
       conference on Corruption, Constitutionalism & Control: Implications of the 4th Plenum for China and
       U.S.-China Relations, Woodrow Wilson International Center for Scholars, Washington, DC, Nov.
       25, 2014
“Local Government Financing Vehicles in China and their Debt: The Legal Picture,” talk presented at
       Sigur Center for Asian Studies, George Washington University, Nov. 25, 2014
“Legal Developments in China Since the Third Plenum,” panel presentation at American Association
       for Chinese Studies Annual Meeting, Washington, DC, Oct. 11, 2014
“Blowback: How China’s Efforts to Bring Private-Sector Standards into the Public Sector Backfired,”
      paper presentation at conference on Chinese State Capitalism and Institutional Change: Domestic and
      Global Implications, Columbia Law School, New York, NY, June 13-14, 2014
“The Significance of Recent Detentions for the Rule of Law in China,” testimony before the
       Congressional-Executive Commission on China, Washington, DC, April 8, 2014
Interviewed for the United States-China Policy Foundation’s China Forum, available at
        http://youtu.be/7hfwjStUcDs, April 2, 2014
Moderator for panel on “Wider Implications of Asian Maritime Tensions,” Mansfield Foundation
      conference on Maritime and Territorial Disputes in East Asian Waters, Washington, DC, Feb. 12,
      2014
Speaker at Third Annual China Intellectual Property Conference, George Washington University Law
       School, Washington, DC, Dec. 11, 2013
“Legal Aspects of Entrepreneurship in China,” presentation at US-China Legal Exchange (co-organized
       by U.S. Department of Commerce and P.R.C. Ministry of Commerce), George Washington
       University Law School, Washington, DC, Dec. 3, 2013
“China’s Stealth Urban Land Revolution,” seminar presentation, Yale Law School, April 4, 2013
“China’s Stealth Urban Land Revolution,” seminar presentation, Columbia Law School, March 1, 2013
Participant in Fourth Sino-American Dialog on Rule of Law and Human Rights, sponsored by the National
        Council on US-China Relations and the China Foundation for Human Rights Development,
        Haikou, China, Dec. 3-7, 2012
Discussant at Festschrift Conference in Honor of Professor John Haley: Law in Japan and Its Role in Asia—Between
       East and West, University of Washington School of Law, Seattle, Oct. 19, 2012
“China’s Stealth Urban Land Revolution,” invited lecture at University of Amsterdam, June 18, 2012
“China’s Informal Constitutional Order,” presentation at Social Change and the Constitution: A Conference on
       the Occasion of the 30th Anniversary of the 1982 Constitution of the People’s Republic of China, Free
       University of Berlin, June 15-17, 2012
“Local Government Bonds in China: What’s Behind Them?”, presentation at Shanghai Forum 2012,
       sponsored by Fudan University and Korean Foundation for Advanced Studies, Shanghai, May
       27, 2012 (in Chinese)
“China’s Stealth Urban Land Revolution,” presentation at Perspectives on Chinese Law conference, George
       Washington University Law School, Washington, DC, April 13, 2012
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Panelist in “Who Makes Your iPhone? China Migration, Labor, and Human Rights,” Program in Public
        Law, Duke Law School, Durham, NC, April 4, 2012
Panelist in “China’s Environmental Policy,” Duke Law School, Durham, NC, March 29, 2012
Interviewed by Radio Australia on recent developments in Chinese law, Mar. 21, 2012
Roundtable participant in conference on Democracy in China and Southeast Asia: Local and National
      Perspectives, Princeton University, Princeton, NJ, March 15, 2012
“China’s Stealth Urban Land Revolution,” Duke Law School, Durham, NC, Feb. 29, 2012
Participated in panel on “The Rule of Law and Economic Background” at conference on Patents, Trade,
        and Innovation in China, George Washington University Law School, Washington, DC, Dec. 13,
        2011
Panelist at NYU Law School’s 17th Annual Timothy A. Gelatt Dialogue on the Rule of Law in Asia, China’s
        Quest for Justice: Law and Legal Institutions Since the Empire’s Collapse, Nov. 7, 2011
“Zhongguo de yinxing chengshi tudi geming” (China’s Stealth Urban Land Revolution), presentation to
      Hongfan Institute of Law and Economics, Beijing, June 25, 2011 (in Chinese)
“Recent Developments in China’s Legal System and Their Implications for Rule of Law,” presentation
       sponsored by Economist Intelligence Unit, Shanghai, May 27, 2011
“Derivative Actions in China,” invited lecture at Hong Kong University Faculty of Law, Hong Kong,
       May 12, 2011
Commentator, conference on Criminal Justice in China: Comparative Perspectives, sponsored by Chinese
     University of Hong Kong, Hong Kong, May 7-8, 2011
“Derivative Actions in China,” presentation to faculty at Fordham University Law School, New York,
       March 7, 2011
“Derivative Actions in China,” presentation to faculty at Duke University Law School, Durham, March
       3, 2011
Discussant, Second Sino-American Dialogue on the Rule of Law and Human Rights, sponsored by the National
       Council on US-China Relations and the China Foundation for Human Rights Development,
       Xiamen, Dec. 7-8, 2011
“Transnational Litigation Involving China,” presentation at conference on Law and Business inChina,
       sponsored by the Faculty of Law and the Asian Studies Program of Pontificia Universidad
       Católica de Chile, Santiago, Nov. 25-26, 2010
“Understanding the Chinese Legal System: Searching for the Right Paradigm,” invited lecture at
      University of Buenos Aires Faculty of Law, Buenos Aires, Nov. 22,2010
“Is Chinese Law Different?”, invited lecture at Universidad Torcuato Di Tella Faculty of Law, Buenos
       Aires, Nov. 22, 2010
“Governance and China’s Evolving Relationship with Its Citizens,” panel presentation at Economist
      conference China Summit: China and the New World Disorder, Beijing, Nov. 3, 2010
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“Derivative Actions in the People’s Republic of China,” presentation at conference on The Prospect of
       Structural Reform of the Corporate Legal System, sponsored by Tsinghua University Faculty of Law,
       Beijing, Oct. 30-31, 2010
“The Interface Between the Regulation of China’s Internal Market and the Global Trading System,”
       seminar presentation, Yale Law School, Oct. 5, 2010
“The Interface Between the Regulation of China’s Internal Market and the Global Trading System,”
       seminar presentation, Columbia Law School, New York, Sept. 28, 2010
Commentator at conference on The Global Financial Crisis and China’s Development, sponsored by the
     University of Chicago Center in Beijing and Renmin University School of Economics, Beijing,
     July 30-31, 2010
“Local Experimentation in the Chinese Legislative System,” paper presented at China-US Rule of Law
       Dialogue, sponsored by the China-US Exchange Foundation, Beijing, July 29-30, 2010
“Shareholder Derivative Suits in China,” invited lecture, Hong Kong University Faculty of Law, Hong
       Kong, June 1, 2010
Panelist on “Business Law” panel at George Washington University Law School- Georgetown
        University Law Center conference Six Decades of Asian Law: A Celebration of Professor Jerome Cohen,
        Washington, D.C., February 19, 2010
“Lawyers and the State in China: Recent Developments,” testimony at hearing on Human Rights and Rule
      of Law in China, Congressional-Executive Commission on China, Washington, D.C., October 7,
      2009
“Trends in Comparative Corporate Law Scholarship,” panel presentation at Association of American
      Law Schools Mid-Year Conference, Long Beach, California, June 9, 2009
“Who and What Matters in Chinese Stock Markets: Implications for Regulation,” presentation at
      symposium A New Era Dawns for Asian Capital Markets, Asia Law Society, University of
      Michigan Law School, Ann Arbor, 21 March 2009
“The Concept of the Extra-Legal in Chinese Law,” presentation at Global Law Workshop, George
      Washington University Law School, Washington, D.C., 23 February 2009
“Is Chinese Law Different?”, lecture presented at United States Naval Academy, Annapolis, Maryland,
       13 February 2009
“Does Chinese Law Matter?”, presentation to United States Treasury Department, Washington, D.C.,
      12 February 2009
“The Concept of the Extra-Legal in Chinese Law and Its Significance,” lecture presented at seminar Are
      Politics Really in Command? China and the Rule of Law, Norwegian Centre for Human Rights, China
      Programme, Oslo, 16 January 2009
“Private Enforcement of the Public Interest in China: Potential and Pitfalls,” lecture presented at
        UCLA Center for Chinese Studies, Los Angeles, 24 November 2008
“The Ecology of Corporate Governance in China,” presentation at UCLA School of Law Faculty
      Colloquium, Los Angeles, 14 November 2008
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“Selfishness in the Public Interest? The ‘Private Attorney-General’ in China,” lecture presented at
        School of International Relations and Pacific Studies, University of California at San Diego, 30
        October 2008
“New Developments in Chinese Property Law,” presentation at 2008 US-China Business Law
      Conference at UCLA, Los Angeles, 24 October 2008
“The Ecology of Corporate Governance in China,” presentation at University of Illinois Law School
      Faculty Workshop, Champaign, Ill., 20 October 2008
“Delaware’s Dysfunctional Derivative Suit Doctrine,” lecture presented at Faculty of Law, Renmin
      University, Beijing, 11 June 2008 (in Chinese)
“Three Concepts of the Independent Director,” paper presented at Contemporary Corporate Law
       Scholarship Reading Group (seminar course conducted by Prof. Jeffrey Gordon, Columbia Law
       School), 23 April 2008
“Chinese Corporate Governance in Global Context,” lecture presented at Yale University, sponsored
       by Yale Working Group on Corporate Governance and Millstein Center for Corporate
       Governance and Performance, 22 April 2008
“Corporate Governance Institutions in China,” presentation at New York University School of Law
      Faculty Workshop, 14 April 2008
Commentator at Conference on Law, Commerce and Development, New York University School of Law, New
     York, 12 April 2008
Discussant at panel on New Dimensions in China Watching: Internet Forums and the Study of Contemporary
       China, Association for Asian Studies Annual Meeting, Atlanta, 3 April 2008
“Chinese Corporate Governance: All Sizzle, No Steak?”, roundtable presentation at Council on Foreign
       Relations, New York, 19 November 2007
“The Institutional Environment of Chinese Corporate Governance,” lecture presented at China House
       series on The Legal Infrastructure of New China, New York University, New York, 14 November
       2007
“Forum Non Conveniens Issues in China-Related Litigation,” presentation at Global Justice Forum,
      Columbia Law School, New York, 2 November 2007
“The Ecology of Chinese Corporate Governance,” presentation at Chinese Law Workshop, Yale Law
      School, New Haven, 29 October 2007
“Private Attorney-General Litigation in China,” paper presented at conference on Chinese Justice,
        Fairbank Center for East Asian Research, Harvard University, 12 October 2007
“The Ecology of Chinese Corporate Governance,” lecture delivered at Max Planck Institute, Hamburg,
      Germany, 30 July 2007
Discussant at panel on Comparative Corporate Governance: Law in Context, Law and Society Association
       Annual Meeting, Berlin, 26 July 2007
“The Ecology of Chinese Corporate Governance,” paper presented at panel on Law and Development: The
      China Consensus?, Law and Society Association Annual Meeting, Berlin, 26 July 2007
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“China: Creating a Legal System for a Market Economy,” report delivered at symposium on Development
       and Reform of China’s Legal and Judicial System: Review and Prospect, sponsored by the Asian
       Development Bank, Beijing, 14-15 May 2007
Commentator, conference on China’s Financial System Reforms and Governance, School of Advanced
     International Studies, Johns Hopkins University, Washington DC, 16 April 2007
“Is Chinese Law Different?”, public lecture sponsored by East Asian Studies Program, Princeton
       University, Princeton, New Jersey, 10 April 2007
“The Role of Law in China’s Economic Development,” public lecture sponsored by Department of
      Economics, Middlebury College, Middlebury, Vermont, 5 April 2007
Panelist, “The Academic Perspective and Recent Research,” OECD-China Policy Dialogue on Corporate
        Governance, sponsored by the OECD, Shanghai Stock Exchange, State Assets Supervision and
        Administration Commission, Chinese Securities Regulatory Commission, Development
        Research Center, Government of Japan, Global Corporate Governance Forum, and Millstein
        Center for Corporate Governance and Performance at Yale School of Management, 29-30
        March 2007
Public lecture, “The Ecology of Chinese Corporate Governance,” sponsored by Asian Institute of
        International Financial Law, Faculty of Law, University of Hong Kong, 2 March 2007
“The Rule of Law in China,” roundtable discussion (with Jerome A. Cohen), MITRE Corporation,
      Washington, DC, 2 February 2007
Guest lecturer, National Taiwan University Faculty of Law, “The Institutional Environment of
       Corporate Governance in China” (in Chinese), 22 December 2006
Guest lecturer, New York University Law School, “Chinese Constitutional Law”, 14 November 2006
“The Institutional Environment of Corporate Governance in China”, lecture presented as part of
       Clarke Program Colloquium Series, Cornell Law School, 3 November 2006
“The Role of Non-Legal Institutions in Chinese Corporate Governance”, paper presented at authors’
      workshop on A Decade After Crisis: The Transformation of Corporate Governance in East Asia
      sponsored by the Center of Excellence Program in Soft Law at the University of Tokyo, the
      Center on Financial Law at Seoul National University, and the Center for Japanese Legal Studies
      at Columbia Law School, Tokyo, 1 October 2006
“The Institutional Environment of Chinese Corporate Governance”, paper presented at panel on Legal
       Aspects of the Economic Transformation in China, annual conference of the International Society for
       New Institutional Economics, Boulder, Colorado, 23 September 2006
“Law and the Economy in China: The Past Decade”, paper presented at authors’ workshop on
      Developments in Chinese Law: The Last Ten Years, sponsored by The China Quarterly and All Souls
      College, Oxford University, Oxford, UK, 15 September 2006
“The Institutional Environment of Corporate Governance in China and Its Policy Implications”, paper
       presented at conference on Corporate Governance in East Asia: Culture, Psychology, Economics and Law,
       Berkeley Center for Law, Business and the Economy, Boalt Hall School of Law, 5 May 2006
Guest lecturer, Yale Law School, “Recent Revisions to China’s Securities Law”, 4 April 2006
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Commentator, Roundtable on “China’s Emerging Financial Markets: Opportunities and Obstacles,”
     Transactional Studies Program, Columbia Law School, New York, 19 January 2006
Speaker at Timothy A. Gelatt Memorial Dialog on Law and Development in Asia, New York University
       Law School, New York, 18 January 2006
Speaker and participant in workshop on administrative rule-making under China’s new Securities Law,
       sponsored by the FIRST Initiative, the Finance and Economics Committee of the National
       People’s Congress, and the World Bank, Beijing, 14-15 January 2006
Panelist, “The Globalization of American Law? Comparative Law and the New Legal Transplants”,
        Section on Comparative Law, American Association of Law Schools annual meeting,
        Washington, DC, 5 January 2006
Panelist, “Improving the Fairness and Transparency of Judicial Decisions”, conference on Rule of Law
        Developments in China, sponsored by the Bureau of Democracy, Human Rights, and Labor,
        Department of State, Washington, DC, 7 November 2005
Interviewed on BBC World Service on recent developments in death penalty procedures in China, 26
        October 2005
“Lost in Translation: Legal Transplants in Chinese Corporate Law”, Rowdget Young Visiting Fellow
        Lecture, University of Hong Kong Faculty of Law, Hong Kong, 4 June 2005
“The Independent Director in Chinese Corporate Governance”, invited paper presented at 4th Asian
       Corporate Governance Conference, co-hosted by Asian Institute of Corporate Governance,
       Korea University and Center for Financial Law, Seoul National University, sponsored by World
       Bank Global Corporate Governance Forum, Seoul, 19-20 May 2005
“The Legacy of History in China’s Legal System”, paper presented at conference on The Rule of Law:
      Chinese Law and Business, Centre for Socio-Legal Studies, Oxford University, May 11-13, 2005
“The Emerging Private Sector and China’s Legal System”, paper presented at conference on China’s
      Economic and Sociopolitical Transformation: Measuring China’s Emerging Private Sector and Its Impact,
      Washington, DC, 22 April 2005
“How Do We Know When an Enterprise Exists? Unanswerable Questions and Legal Polycentricity in
     China”, paper presented at conference on New Scholarship in Chinese Law: A Celebration in Honor of
     Stanley Lubman, Center for Chinese Legal Studies, Columbia Law School, New York, 15 April
     2005
“Lost in Translation? Corporate Law in China”, paper presented at conference on Asia in a Globalizing
        World, Center for East Asian and Pacific Studies, University of Illinois at Urbana-Champaign, 9
        April 2005
Guest lecturer in course on “China and Globalization”, Prof. Reuven Avi-Yonah, University of
       Michigan Law School, Ann Arbor, 1 April 2005
“Law, Institutions, and Property Rights”, paper presented at conference on China’s Economy: Retrospect
       and Prospect, Woodrow Wilson International Center for Scholars, Washington, DC, 2 March
       2005
“Insider Trading Law in the United States and China”, lecture presented in Chinese at East China
        University of Politics and Law, Shanghai, 25 November 2004
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“Law, Property Rights, and Institutions” (with Peter Murrell and Susan Whiting), paper presented at
       conference on China’s Economic Transition: Origins, Mechanisms, and Consequences (Part II), University
       of Pittsburgh, 5-7 November 2004
“The Independent Director in Chinese Corporate Governance”, opening paper presented at conference
       on Amendment of the Company Law organized by the Legislative Affairs Office of the State
       Council, the China Securities Regulatory Commission, and the Shanghai Stock Exchange, 10
       October 2004
“Insider Trading Law in the United States and China”, talk presented to Shanghai Institute of Law and
        Economics, Beijing, 28 September 2004
“China’s Proposed Bankruptcy Law”, commentator at conference on Legal and Financial Infrastructure
       Requirements for Residential Mortgage Securitization in China organized by Beijing University School of
       Law, Center for Real Estate Law and Financial Law Institute, Beijing, 17 July 2004
“Does Law Matter in China?”, talk presented at Global Business Center, University of Washington
      School of Business, 15 January 2004
“Why China Should Not Adopt United States Insider Trading Law”, paper presented at conference on
      Corporate Fraud and Governance: American and Chinese Perspectives organized by Shanghai Jiaotong
      University and New York University School of Law, Shanghai, 16 December 2003
“Human Rights and Culture”, paper presented at conference on Sino-U.S. Human Rights Conference
     organized by Georgetown University Law Center, Beijing, 14 December 2003
“The History of Corporate Governance in China”, commentator at conference organized by Shanghai
      Institute of Law and Economics, Beijing, 15 November 2003
“Professional Ethics of Defense Lawyers”, commentator at conference on The Defense Functions of
       Lawyers and Judicial Justice organized by the All-China Lawyers Association, the American Bar
       Association, Renmin University of China, and New York University School of Law, Beijing, 21
       September 2003
“The Independent Director in Chinese Corporate Governance”, lecture presented at Tsinghua
       University Faculty of Law, Beijing, 10 April 2003
“The Independent Director in Chinese Corporate Governance”, paper presented to the School of
       Business and Management, Hong Kong University of Science and Technology, 7 March 2003
“Assessing the Value of Law in China’s Economy” (with Peter Murrell and Susan Whiting), paper
       presented at conference on China’s Economic Transition: Origins, Mechanisms, and Consequences (Part
       I), University of Toronto, 15-17 November 2002
“China’s Entry into the WTO: Prospects for Compliance”, paper presented at conference on China’s
       Accession to the World Trade Organization, Georgetown University Law Center, 10 Oct. 2002
“How Do We Know When an Enterprise Exists? Unanswerable Questions and Legal Polycentricity in
     China”, paper presented at conference on The Reform of Corporate Law Under Global Competition,
     Commercial Law Research Center of the Faculty of Law, Tsinghua University, Beijing, China,
     15 Sept. 2002
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“Zhongguo youdai fazhan duoyuanhua de jiandu jizhi” (China Has Yet to Develop a Multidimensional
      Monitoring Mechanism), 21 Shiji Jingji Baodao (21st Century Economic Report), 19 Aug. 2002, p.
      39, col. 1 (interview)
Testified before the Congressional-Executive Commission on China, Washington, D.C., on issues
        relating to China’s compliance with its WTO commitments, 6 June 2002
“Business Regulation in the Bureaucratic State: Enterprise Law in China”, paper presented at panel on
       The Rule of Law and Enterprise Reform in China, Association for Asian Studies annual meeting, 5
       April 2002
“What WTO Accession Does Not Mean for China”, paper presented at panel on WTO and the
      International Rule of Law, American Society of International Law annual meeting, 15 March 2002
Testified before United States-China Security Review Commission, Washington, DC, on issues relating
        to China’s WTO accession, 18 Jan. 2002
“The Independent Director in Chinese Corporate Governance”, paper presented at conference on
       “Protection of Investors’ Interests: International Experience and Chinese Practice”, Commercial
       Law Research Center of the Faculty of Law, Tsinghua University, Beijing, China, 18-19
       November 2001
“Economic Development and the Rights Hypothesis: The China Problem”, paper presented at
      conference on Law Reform in Developing and Transitional Economies, Ulaanbaatar, Mongolia, 2-3 July
      2001
Interviewed for feature entitled “Detained in China”, broadcast on PBS, The News Hour with Jim Lehrer,
        18 May 2001 <http://www.pbs.org/newshour/bb/asia/jan-june01/detained_05-18.html>
“Empirical Research in Chinese Law,” paper presented to Rule of Law Workshop, Stanford Law
      School, 18 April 2001
“Transparency in China’s Regulation of International Trade,” presentation made to audiences from
       Chinese government, business, and academia in Beijing and Shanghai as part of 5-member
       United States government mission, 13-25 March 2000
“Courts and Markets in Post-Socialist Transition: China,” paper presented at workshop on Courts and
       Markets in Post-Socialist Transition, University of Wisconsin School of Law, 3 March 2000
“Incentives and the Top-Down Model of Regulation in Chinese Land Law,” paper presented (in
       Chinese) at International Conference on the Legal Framework for Rural Land Use Rights in China, China
       Institute for Reform and Development, Haikou, Hainan Province, China, 12-14 January 2000
“Corporate Governance in China,” paper presented to members of Project on Corporate Governance
      in China, Stanford University, Stanford, California, 29 October 1999
“Alternative Approaches to Chinese Law,” lecture delivered at UCLA School of Law, Los Angeles, 28
       October 1999
Panelist on “Rule of Law in China – Recent Developments and Prospects,” Inaugural Session of Global
        Business Briefing Series, Pacific Council on International Relations, Los Angeles, 28 October
        1999
“Misunderstanding Chinese Law: The Lure of the ‘Rule of Law’ Paradigm,” lecture delivered at Faculty
      of Law, City University of Hong Kong, 27 September1999
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Guest lecturer, Chinese administrative law class of Prof. Wang Xixin, Beijing University Faculty of Law,
       Beijing, China, 23 September 1999
“Bankruptcy in Capitalist and Reforming Socialist Economies,” brief course taught to delegation of
      North Korean legal officials and academics at Beijing University, Beijing, China, 20-23
      September 1999
“Misunderstanding Chinese Law: The Lure of the ‘Rule of Law’ Paradigm,” lecture delivered at Faculty
      of Law, Waseda University, Tokyo, Japan, 23 June 1999
“The Enforcement of Civil Judgments in China,” lecture delivered at Faculty of Law, Waseda
      University, Tokyo, Japan, 19 June 1999
“China’s Revised Criminal Law,” paper presented at conference on Contemporary Chinese Legal
       Development, sponsored by Chinese Law Society of America, Harvard Law School, Cambridge,
       Mass., 26-27 March 1999
“Alternative Approaches to Chinese Law,” lecture delivered at Yale Law School, 25 March 1999
Commentator, conference on Administrative Law Reform in China, sponsored by UCLA Center for
     Chinese Studies, International Studies & Overseas Programs, UCLA School of Law and
     Southern California China Colloquium, Los Angeles, 6 March 1999
Participant, U.S.-China Symposium on the Legal Protection of Human Rights, The Aspen Institute, 11-13
        December 1998
“Private Enforcement of Intellectual Property Rights,” paper presented at Sino-U.S. Conference on
        Intellectual Property Rights and Economic Development: 1998 Chongqing, sponsored by the National
        Bureau of Asian Research, Chongqing, China, 16-18 September 1998
Commentator, conference on Law and Development in Asia, co-sponsored by Asian Development Bank
     and Harvard University, Council on Foreign Relations, New York, 21 May 1998
“Introduction to U.S. Capital Markets for Chinese Enterprises,” speech (in Chinese) presented at
       Investment Promotion Forum sponsored by United Nations Industrial Development
       Organization, Beijing, 31 March 1998
“Legal Order as a Prerequisite for Cooperation: The China Problem,” paper presented at Inaugural
       University of California at San Diego Social Sciences Research Conference on Cooperation Under Difficult
       Conditions, Graduate School of International Relations and Pacific Studies, 18 October 1997
“Recent Developments in Criminal and Administrative Punishments in China,” paper presented at
      University of Washington School of Law Conference on Asian Law, Seattle, Washington, 3
      August 1996
“Enforcement of International Awards Involving China and Hong Kong,” paper presented at
       EuroForum conference on Dispute Resolution in China and Hong Kong, London, 31 May 1996
“China and the WTO,” paper presented at American Conference Institute conference on Doing Business
       in China and Hong Kong, New York, 10 May 1996
“Recent Developments in Chinese Foreign Investment Law,” talk presented at conference on Trade and
       Investment in Emerging Markets: China and India, New York University School of Law, 17
       November 1995
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Commentator on China at Timothy A. Gelatt Dialogue on Law and Development in Asia, New York
     University School of Law, 14 September 1995
“Round Pegs and Square Holes: China and the GATT,” paper presented at panel on China in the World
      Economic Order at the annual meeting of the Association for Asian Studies, Washington, DC,
      April 1995
“Civil Rights in China,” talk delivered to Civil Rights Committee of the Seattle-King County Bar
        Association, Seattle, March 1995
“Foreign Business Law and China’s Application to the GATT/WTO,” paper presented at 1990
       Institute Conference on Chinese Foreign Trade and Investment Law, San Francisco, March
       1995
“China and the GATT/WTO,” talk delivered to the World Affairs Club, Juneau, Alaska, March 1995
“The Chinese Court System,” paper presented at Winter Workshop on East Asian Law, Center for Pacific
      Rim Studies, University of California at Los Angeles, January 1995
“Enforcement of Civil Judgments in a Changing Society: A Chinese Example,” paper presented at
       annual meeting of the Law and Society Association, Phoenix, Arizona, 17 June 1994
“The Enforcement of Civil and Economic Judgments in China,” paper presented at symposium on The
      Chinese Legal System, sponsored by the China Quarterly and the School of Oriental and African
      Studies, University of London, London, U.K., 10-12 May 1994
“GATT Membership for China?,” paper presented at symposium on Pacific Rim Trade, University of
     Puget Sound School of Law, Washington, 5 November 1993
“The Creation of a Legal Structure for Market Institutions in China,” paper presented at conference on
      The Evolution of Market Institutions in Transition Economies, Graduate School of International
      Relations and Pacific Studies, University of California, San Diego, 14-15 May 1993
Chair/discussant at panel on “Theoretical Perspectives in China’s Legal Reform,” conference on Chinese
       Law -- A Re-Examination of the Field: Theoretical and Methodological Approaches to the Study of Chinese
       Law, Faculty of Law, University of British Columbia, Vancouver, 22 March 1993
“Research Methodologies in Chinese Law,” paper presented at conference on Chinese Law -- A Re-
       Examination of the Field: Theoretical and Methodological Approaches to the Study of Chinese Law, Faculty
       of Law, University of British Columbia, Vancouver, 22 March 1993
“Enforcement of Civil Judgments in China,” talk delivered at China Studies Seminar, University of British
       Columbia, October 1992
Discussant at conference on The Modernization of Chinese Law on Both Sides of the Taiwan Straits, National
       Taiwan University College of Law, September 1992
“Enforcement of Civil Judgments in the People’s Republic of China: Notes from the Field,” talk
       delivered at Attorney-General’s Chambers, Hong Kong, August 1992
“Dispute Resolution in China,” talk delivered at Chinese University of Hong Kong, November 1991
Interviewed on modern Chinese law for program on East Asian legal systems broadcast by BBC World
        Service (London), September 1991
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Discussant at panel on New Perspectives on Chinese Economic Development, Western Economic Association
       Annual Conference, Seattle, 30 June-3 July 1991
“The Trials of the June 4th Defendants,” talk delivered at East Asian Legal Studies Lunchtime Colloquium,
      Harvard Law School, 22 March 1991
“What’s Law Got to Do with It? Legal Institutions and Economic Reform in China,” talk delivered at
       East Asian Legal Studies Workshop, Harvard Law School, 21 March 1991
Guest lecturer, Chinese law class of Prof. William C. Jones, Washington University School of Law, St.
       Louis, Missouri, 30 January 1991
“Legal Problems of Industrial Economic Reform in China,” talk delivered to Faculty Forum, Washington
       University School of Law, St. Louis, Missouri, 30 January 1991
Speaker and panel chairman, “Chinese Business Law,” at China Trade Update: Doing Business with China in
       the 1990s, conference sponsored by the Washington State China Relations Council, Seattle,
       Washington, 5 November 1990
“The Future of Democracy in China,” panel discussion sponsored by the Council of International
      Organizations, Citizens International Center, Seattle, Washington, 21 April 1990
“Why Laws Fail: Central Legislation and the Structure of the Chinese Polity,” paper delivered at Winter
      Workshop on East Asian Law, Center for Pacific Rim Studies, University of California at Los
      Angeles, 20 January 1990
“The Legal Background to the Behavior of State-Owned Enterprises,” paper delivered at conference on
      Ownership Reforms and Efficiency of State-Owned Enterprises sponsored by the Institute of Economics
      of the Chinese Academy of Social Sciences and the Ford Foundation, Shenzhen, China, 6
      January 1990
“Implications of Recent Events in China for Sino-U.S. Relations,” panel discussion sponsored by U.S.-
       China People’s Friendship Association and the East Asian Resource Centre, University of
       Washington, 11 July 1989
“Law and Economic Reform in China,” London China Seminar, School of Oriental and African Studies,
      University of London, 19 May 1988
“Urban Enterprises and the Role of Law in China’s Economic Reforms,” Conference on The Chinese
      Developmental State: Change and Continuum, Institute of Development Studies, University of Sussex,
      7-9 April 1988
Interviewed for feature entitled “How is China Run?”, broadcast on BBC World Service, The World
        Today, 25 March 1988
“The 13th Congress of the Chinese Communist Party and China’s Legal Reforms,” Asian Studies
       Centre, St. Antony’s College, Oxford University, 8 March 1988
“Chinese Economic and Legal Reforms,” John F. Kennedy School of Government, Harvard University,
       24 March 1987
Co-organizer and discussant, Conference on China: Law and Trade 1986, School of Oriental & African
       Studies, University of London, 30 June 1986
“The Role of Law in Modern China,” Great Britain China Centre, London, 17 April 1986
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“The Foreign Economic Contract Law,” Law-China Society Seminar on China’s Economic Laws,
      London, 17 April 1986
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           APPENDIX 2
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                    EXHIBIT A
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December 20, 2017

Certification
                                  Park IP Translations


This is to certify that the attached translation is, to the best of my knowledge and
belief, a true and accurate translation from Chinese into English of:
国家计委、国家经贸委关于发布《关于制止低价倾销工业品的不正当价格行为的规定》和
加强行业价格自律的通知




Hanna Kang

Project Manager

Project Number: BBLLP_1712_051




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                                        ParkIP.com
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 Notification of the State Planning Commission and the State Economic and Trade Commission regarding
   Issuing Regulations on Preventing Unfair Price Actions through Dumping of Industrial Products and
                                Strengthening Price Self-Discipline of Industries
                                       Date: November 16, 1998 Source:
         Bureau of Commodity Prices (Councils) of all provinces, autonomous regions, municipalities
directly under the Central Government, and municipalities with independent planning status, the State
Economic and Trade Commission, the Ministry of Information Industry, the Bureau of Domestic Trade,
the State Administration of Metallurgical Industry, the State Administration of Building Materials, the
State Administration of Nonferrous Metal Industry, the State Administration of Petrochemical Industry,
the State Administration of Machinery Industry, the State Administration of Coal Industry, the State
Administration of Textile Industry, and the State Administration of Light Industry,
         To prevent unfair price actions through dumping, to protect fair, open and legitimate market
competition, to maintain a normal price order, and to safeguard legitimate rights and interests of business
operators and consumers, the State Planning Commission and the State Economic and Trade Commission
formulated the Regulations on Preventing Unfair Price Actions through Dumping of Industrial Products
(hereinafter the “Regulations”) pursuant to the Price Law of the People’s Republic of China and related
laws and regulations of the state. The Regulations are hereby promulgated, and related issues are notified
as follows:
         1. The Regulations are important measures taken by the state to regulate prices on the market of
industrial products and important rules to prevent dumping of industrial products, which have legal effect.
The promulgation and implementation of the Regulations will have an important impact on maintaining
normal production and operation orders of industrial enterprises, promoting a healthy development of the
entire industry, and forming a good environment of competition. All places must seriously implement the
Regulations, prevent dumping according to the law, standardize the market order, and standardize price
behaviors of enterprises.
         2. Relevant state agencies in charge of industries may study and propose industrial average
production costs pursuant to Article 8 of the Regulations and related product dumping situations, which
will be published regularly to the society upon approval by the State Planning Commission to act as an
alert level for price self-discipline by enterprises, to restrict pricing actions of enterprises, and to prevent
dumping by enterprises. For industrial products with prices decided by the government or prices under the
guidance by the government, prices stipulated by the government must still be strictly implemented.
         3. Competent departments in charge of prices at all levels must strengthen monitoring and
inspection on implementation of the Regulations, seriously accept and process reported cases, and
investigate and punish, strictly according to laws and regulations, dumping actions. Any actions involving
those under Article 5 of the Regulations shall be investigated and punished as dumping actions according
to the law.
         4. Industrial organizations must accept work guidance from competent government departments
in charge of prices, urge and guide enterprises to seriously implement the Regulations, help competent
departments in charge of the industries measure and determine industrial average costs, promptly gather
and summarize industrial cost and price information, and proactively play the role of industrial
organizations in preventing dumping, organizing enterprises to perform price self-discipline, and
coordinating relations between enterprises.
         5. All regions and all related departments must organize manufacturing enterprises and marketing
enterprises to seriously study the Regulations and consciously implement the Regulations. Prices of
products sold by a manufacturing enterprise shall not be lower than industrial average production costs in
principle, and the sales prices of a marketing enterprise shall not be lower than its purchasing costs. All
manufacturing and marketing enterprises must promptly report on actions that violate the Regulations and
constitute dumping actions, proactively cooperate with competent government departments in charge of
prices in price monitoring and inspection, and practically prevent dumping actions.
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         Any situation or issue occurred during implementation of the Regulations will be coordinated by
the State Planning Commission and the State Economic and Trade Commission according their respective
scope of responsibilities.
Attachment: Regulations on Preventing Unfair Price Actions through Dumping of Industrial Products
Attachment:
Regulations on Preventing Unfair Price Actions through Dumping of Industrial Products
Article 1 To prevent unfair price actions through dumping, to protect fair, open and legitimate market
competition, to maintain a normal price order, to protect the national interest, and to safeguard legitimate
rights and interests of business operators and consumers, the Regulations are hereby formulated pursuant
to the Price Law of the People’s Republic of China (hereinafter the “Price Law”) and other related laws of
the state.
Article 2 The Regulations are applicable to industrial products with prices subject to the market.
Article 3 Any business operator engaging in production and sales of industrial products within the
People’s Republic of China shall implement the Regulations.
Article 4 The unfair price actions through dumping of industrial products herein refer to actions of a
business operator to expel competitors or monopolize the market, such as a production enterprise sells
industrial products at prices lower than the enterprise’s production costs or a marketing enterprise sells
industrial products at prices lower than the enterprise’s purchasing costs, which disrupt normal production
and operation orders and harm the national interest or legitimate rights and interests of other business
operators. A production enterprise’s production cost refers to the entire cost in a current month that the
enterprise produces an industrial product, including manufacturing cost and to-be-allocated management
expenses, financial expenses and sales expenses; a marketing enterprise’s purchasing cost includes the
purchasing cost in a current month and related shipment and miscellaneous expenses when the marketing
enterprise carries an industrial product.
Article 5 The following actions are unfair price actions:
(I) Ex-factory prices of industrial products sold by a manufacturing enterprise are lower than its
production costs, and sales prices of a marketing enterprise are lower than its purchasing costs;
(II) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its production costs,
and actual sales prices of a marketing enterprise are made to be lower than its purchasing costs by means
of disguised price decreases, such as using high grade and high level products as low grade and low level
products;
(III) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its production costs,
and actual sales prices of a marketing enterprise are made to be lower than its purchasing costs by means
of discounts, subsidies, and the like. Means of discounts, subsidies, and the like include: (1) direct
discounts to sales prices, (2) cash discount and price discount for prices at an interest higher than bank
loan interests in the same period according to time length and amount of customer prepayments, (3)
different price discounts offered to customers in different sales seasons for non-seasonal products, and (4)
freight subsidies in certain amount for all or a part of shipping and miscellaneous expenses of customers;
(IV) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its production
costs, and actual sales prices of a marketing enterprise are made to be lower than its purchasing costs by
means of unequal exchanges of goods and materials;
(V) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its production costs,
and actual sales prices of a marketing enterprise are made to be lower than its purchasing costs by means
of using goods and materials to pay back debts other than bankruptcy according to the law;
(VI) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its production
costs, and actual sales prices of a marketing enterprise are made to be lower than its purchasing costs by
means of issuing invoices in amounts less than those of shipping goods or not issuing invoices;
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(VII) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its production
costs, and actual sales prices of a marketing enterprise are made to be lower than its purchasing costs by
means of disguised price decreases, such as providing extra quantities, bulk discounts, and the like;
(VIII) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its production
costs, and actual sales prices of a marketing enterprise are made to be lower than its purchasing costs by
other means.
Article 6 The following two situations are not treated dumping actions:
(I) A manufacturing enterprise or a marketing enterprise lowers prices of seasonal industrial products and
overstocked industrial products to below costs pursuant to Article 14, Paragraph 2 of the Price Law;
(II) Due to relatively high costs, a manufacturing enterprise or a marketing enterprise sells industrial
products at prices lower than the enterprise’s costs but not lower than the industrial average costs, and
without harming the national interest or legitimate rights and interests of other business operators.
Article 7 When a manufacturing enterprise or a marketing enterprise lowers prices of seasonal industrial
products and overstocked industrial products for sales pursuant to Article 14, Paragraph 2 of the Price
Law, the prices must be clearly labelled according to the stipulated items.
Article 8 According to dumping situations in an industry, a state competent department in charge of the
industry may send a proposal to the competent department of the State Council in charge of prices that
industrial average costs need to be published, and as entrusted by the competent department of the State
Council in charge of prices, measures, determines, and regularly publishes industrial average costs
thereof.
Article 9 Manufacturing enterprises or marketing enterprises shall use costs plus reasonable profits as a
goal when deciding prices of industrial products and participate in market competition with open, fair and
legitimate prices. Ex-factory prices of a manufacturing enterprise shall not be lower than the industrial
average production costs in principle; and sales prices of industrial products sold by a marketing
enterprise shall not be lower than normal purchasing costs. Manufacturing enterprises or marketing
enterprises shall decide specific prices by following the principle of pricing according quality and
according to standards, specifications and levels of industrial products promulgated by the state, and
prohibit sales by mixing grades or selling as gradeless goods.
Article 10 In the case where a manufacturing enterprise sells industrial products at prices lower than
industrial average production costs or a marketing enterprise sells industrial products at prices lower than
purchasing costs to disrupt the production and operation orders and harm rights and interests of other
business operators, any organization or individual may report the case to a competent government
department in charge of prices above the provincial level, and the competent government department in
charge of prices may conduct investigation into the case to determine whether those are indeed dumping
actions.
Article 11 A reporting party shall truthfully report a case by providing factual information regarding
unfair price actions of a reported party and details of damages. A reported manufacturing enterprise or
marketing enterprise shall cooperate with the competent government department in charge of prices in
investigations by truthfully providing requested books, bills, vouchers and other materials.
Article 12 In the case where a reported manufacturing enterprise or marketing enterprise is found through
the investigation to truly have one of the unfair price actions listed in Article 5 of the Regulations, the
competent government department in charge of prices may order the manufacturing enterprise or the
marketing enterprise to correct the action and impose the following punishments according to the Price
Law and specific situations:       (1) issue a warning; (2) impose a fine; (3) order the manufacturing
enterprise or the marketing enterprise to suspend business for rectification; and (4) file a request with an
administration for industry and commerce for revocation of its business license.
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Article 13 A manufacturing enterprise or a marketing enterprise of industrial products shall establish and
improve internal price management, and cost and expense accounting systems to truthfully and accurately
record and approve production and purchasing costs of the industrial products, and no fraud will be
tolerated.
Article 14 Competent departments at all levels in charge of industries and trade associations of industries
shall urge operators of industrial products in respective industries to implement the Regulations.
Manufacturing enterprises with sales prices lower than industrial average production costs and marketing
enterprises with sales prices lower than purchasing costs may be advised for correction; in the case where
an enterprise refuses to accept advice and is suspected of dumping, the enterprise may be directly reported
to a competent government department in charge of prices.
Article 15 For actions of sales by decreasing prices that severely disrupt the market order and are difficult
to verify individual costs thereof within a short period, the competent department of the State Council in
charge of prices may determine whether those actions are dumping actions by temporarily and directly
using industrial average production costs and a reasonable range of price decrease.
Article 16 The competent department of the State Council in charge of prices will work with related
departments to formulate, according to the Regulations, measures to determine cost of industrial products
that are dumped.
Article 17 Imported industrial products shall be subject to the Anti-Dumping and Anti-Subsidy
Regulations of the People’s Republic of China.
Article 18 The Regulations shall be subjected to interpretation by the State Planning Commission.
Article 19 The Regulations shall go into effect as of November 25, 1998.
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December 20, 2017

Certification
                                  Park IP Translations


This is to certify that the attached translation is, to the best of my knowledge and
belief, a true and accurate translation from Chinese into English of:
关于报送彩电、彩管行业成本资料的通知




Hanna Kang

Project Manager

Project Number: BBLLP_1712_051




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                        Document of the Ministry of Information Industry
                                 Xin Bu Yun [1999] No. 121

        Notification of Reporting Cost Information for Color TV and Color CRT Industry

To all relevant enterprises:

        To prevent actions of unfair price competition through dumping in the color TV and color
CRT industry, to protect fair, open and legitimate market competition, to maintain a normal price
order, and to safeguard legitimate rights and interests of business operators and consumers, this
Ministry plans to estimate and publish average industry production costs of some types of color
TVs and color CRTs through consultation with and upon approval by the State Planning
Commission pursuant to instructions by leaders of the State Council and the Regulations on
Preventing Unfair Price Actions through Dumping of Industrial Products Ji Jia Ge (1998) No.
2332 by the State Planning Commission and the State Economic and Trade Commission. To
successfully complete this task, this Ministry hereby sends you a notification of related
requirements as follows:

         1. Enterprises on the list (see Attached Table 1) shall fill in the attached Tables 2 and 3
with their respective production and cost information of 21” and 25” color TVs or color CRTs in
the 4th quarter of 1998, and report the information by February 10, 1999. Information for each
subsequent quarter shall be reported within 10 days after said each quarter. Each enterprise shall
designate a specific person to be in charge of this task and periodically report relevant
information. This Ministry will rigorously keep confidentiality of the information reported by
enterprises to prevent leakage of business secrets of the enterprises.


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        2. On the basis of production and cost information reported by the enterprises, this
Ministry will estimate and publish average industry production costs of some of color TVs and
color CRTs. For enterprises with sales prices lower than the average industry production costs,
this Ministry will work with the State Planning Commission and other departments to perform
investigations pursuant to the Regulations on Preventing Unfair Price Actions through Dumping
of Industrial Products. Enterprises found through the investigation to truly have actions of unfair
price competition through dumping will be punished.

        3. The Department of Economic System Reform and Economic Operations of this
Ministry is in charge of this task of estimation and publication of average industry production
costs for the color TV and color CRT industry.

       Telephone: 010-68208341, 68208342.
       Fax: 010-68277286
       Contacts: Fusuo Bao, Tingru Liu
       Address: No. 27 Wanshou Road, Beijing
       Zip code: 100846
       This Notification shall go into effect as of the date of issuance.



        Attachments: 1. List of enterprises to report production and cost information of color TVs
or color CRTs
                      2. Table of quarterly production and cost information of color TVs
                      3. Table of quarterly production and cost information of color CRTs



                                                                            Keywords:
                                                                            Cc
                                                                            Information

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                                            February 3, 1999
                                            (Seal of the Ministry of Information Industry of the
                                            People’s Republic of China)




Keywords: color TV, color CRT, cost, notification

Cc: The State Planning Commission and the State Economic and Trade Commission.

The General Office of the Ministry of Information Industry        Printed and distributed on
                                                                  February 3, 1999


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Attachment 1

      List of enterprises to report production and cost information of color TVs or color CRTs

    1. Sichuan Changhong Electronic Group Co., Ltd.
    2. Konka Group Co., Ltd.
    3. TCL Group Co., Ltd.
    4. Shenzhen Chuangwei-RGB Electronics Co., Ltd.
    5. Qingdao Hisense Group Co., Ltd.
    6. Xiamen Overseas Chinese Electronic Co., Ltd.
    7. Panda Electronics Group Co., Ltd.
    8. Shanghai Guangdian (Group) Co., Ltd.
    9. Beijing Peony Electronic Group Co., Ltd.
    10. Guangdong Gaoluhua TV Co., Ltd.
    11. Caihong Group Corporation
    12. Beijing Matsushita Color CRT Co., Ltd.
    13. Shanghai Novel Color Picture Tube Co., Ltd.
    14. Huafei Color Display Systems Co., Ltd.
    15. Shenzhen SEG Hitachi Display Component Co., Ltd.
    16. Guangdong Color Picture Tube Co., Ltd.
    17. Lejin Shuguang Electronic Co., Ltd.
    18. Shenzhen Samsung Electronic Tube Co., Ltd.


Attachment 2 Table of quarterly production and cost information of color TVs


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Attachment 2
                      Table of quarterly production and cost information of color TVs

Filled by (company seal affixed)                                                                                                 Unit: Yuan
            Size   Production    Sales                                 Unit cost                                    Ex-factory price             Inventory at
                    quantity    quantity   Manufacturing   Financial      Sales    Management   Total   Sales tax       Average        Lowest       end of
                     (unit)      (unit)        cost        expenses     expenses    expenses    cost      and              ex-           ex-       quarter
                                                                                                        surtaxes         factory       factory      (unit)
                                                                                                                          price         price
Verified    21”
 number
 for the
previous    25”
 quarter
Predicted   21”
 number
 for the
 current    25”
 quarter



Filled by:                                 Telephone:                                      Filled on:


Instructions: if there are different models for the same size, the model with a lower cost shall be
filled in the table.
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Attachment 3
                     Table of quarterly production and cost information of color CRTs


Filled by (company seal affixed)                                                                                                 Unit: Yuan
            Size   Production    Sales                                 Unit cost                                    Ex-factory price             Inventory at
                    quantity    quantity   Manufacturing   Financial      Sales    Management   Total   Sales tax       Average        Lowest       end of
                     (piece)    (piece)        cost        expenses     expenses    expenses    cost      and              ex-           ex-       quarter
                                                                                                        surtaxes         factory       factory     (piece)
                                                                                                                          price         price
Verified    21”
 number
 for the
previous    25”
 quarter
Predicted   21”
 number
 for the
 current    25”
 quarter



Filled by:                                 Telephone:                                      Filled on:


Instructions: if there are different models for the same size, the model with a lower cost shall be
filled in the table.
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February 14, 2022

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        TRANSLATOR'S DECLARATION:

        I, Samuel Chong, hereby declare:

That I possess advanced knowledge of the Chinese and English languages. The
attached Chinese into English translation has been translated by me and to the
best of my knowledge and belief, it is a true and accurate translation of:
国家计委关于印发《低价倾销工业品的成本认定办法（试行）》的通知（1999年3月1日
起执行）




________________________________________

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Circular of the State Development Planning Commission on Issuing
the Measures for Determining the Cost of Low-price Dumped
Industrial Products (Trial)
Issued on February 23, 1999; Effective on March 1, 1999   Effective


Basic information
Document No: JJG[1999]177
Level of validity
Validity: Currently effective
Date of publication: February 23, 1999
Date of implementation: March 1, 1999
Published by the State Development Planning Commission
Text
Price bureaus (commissions) of provinces, autonomous regions, municipalities directly under the central
government and municipalities with independent planning status, the Ministry of Information Industry,
the State Administration of Internal Trade, the State Administration of Metallurgical Industry, the State
Administration of Construction Materials Industry, the State Administration of Machinery Industry, the
State Administration of Chemical Industry, the State Administration of Nonferrous Metals Industry, the
State Administration of Coal Industry, and the State Administration of Textile Industry:
      In order to prevent low-price dumping of industrial products, we have drafted the Measures for
Determining the Cost of Low-price Dumped Industrial Products (Trial) according to the Provisions on
Stopping Unfair Price Behaviors of Dumping Industrial Products at Low Prices, which were jointly
published by the State Development Planning Commission and the State Economic and Trade
Commission. The Measures have been issued, and you shall implement them and report to the State
Development Planning Commission when you find any problems in the implementation process.
       Measures for Determining the Cost of Low-price Dumped Industrial Products (Trial)
      Article 1 The Measures are drafted in order to stop unfair price behaviors of dumping industrial
products at low prices, and in accordance with the Provisions on Stopping Unfair Price Behaviors of
Dumping Industrial Products at Low Prices, as well as other financial & accounting laws, regulations, and
systems.
      Article 2 The Measures are applicable to industrial products with average costs estimated and
released in accordance with the Provisions on Stopping Unfair Price Behaviors of Dumping Industrial
Products at Low Prices.
      Article 3 When an enterprise sells industrial product at price lower than the average cost released
by industry regulators, and it’s reported by other enterprises and individuals, the government’s price
authorities should look into the case and determine the product’s cost according to the measures.
      Article 4 The cost of industrial products mentioned in the Measures refers to the unit cost incurred
in the production and sales of such industrial products. The cost of a manufacturing enterprise includes
manufacturing cost, expenses (administrative expenses, sales expenses and financial expenses) that should
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be reasonably apportioned, as well as sales tax and surcharges incurred for the sale of the product. The
cost of a distribution enterprise includes the unit purchase price of the industrial product, the unit freight
and miscellaneous expenses that should be apportioned and tax that should be paid.
      Article 5 The State Council and provincial price authorities determine the cost of low-price dumped
industrial products.
      Article 6 Cost of low-price dumped industrial products shall be determined according to the
following principles:
     1. Cost shall be determined according to relevant provisions in the Accounting Law of the People’s
Republic of China, the Accounting Standards for Business Enterprises, the General Rules for Enterprise
Finance, and industry financial accounting systems.
       2. Cost shall be determined in line with the basic and general principles of accounting and according
to the actual cost. When production expenses are accumulated and allocated, direct expenses are directly
included in cost accounting, indirect expenses are apportioned in cost accounting according to the
specified standard or a certain proportion. Once an enterprise's cost calculation and apportionment method
is determined, it shall not be changed arbitrarily. After the cost allocation standard of indirect expenses is
determined, it shall not be changed within one accounting year.
       3. When determining the cost, the depreciation cost difference generated within a range specified
by the state is generally recognized. However, the cost difference caused by the following circumstances
shall not be recognized and shall be added at the time of cost determination:
      (1) Cost difference caused by the enterprise’s depreciation rate that is lower than the minimum
depreciation rate specified by the state;
      (2) Cost difference caused by special preferential policies enjoyed by the enterprise;
      (3) Cost difference caused by expenses that have not been accrued and amortized because the
enterprise does not carry out accounting practices on the accrual basis;
      (4) Cost difference caused by the enterprise adopting inappropriate measures to reduce cost.
      4. When determining the cost, a production enterprise shall take the cost of the previous month as
the accounting basis, and if necessary, cost in the past can also be taken into account; a distribution
enterprise shall take the actual cost of the current batch of products as the accounting basis.
      Article 7 The unit full cost of a production enterprise shall be calculated according to the following
provisions:
      1. Manufacturing cost is based on the accurate, true and reliable data of the corresponding products
and specifications in the enterprise’s cost report.
      2. Period cost allocation. Firstly, calculate the ratio of the current period expenses (deducting sales
expenses of specific products) to the total manufacturing cost (or total manufacturing hours) of all
completed products as the apportionment coefficient. Secondly, the apportionment coefficient is
multiplied by the unit manufacturing cost (or unit manufacturing hours) of the corresponding products
and specifications to determine the period cost to be apportioned for the product. The formula is shown
below:
      (1) A product’s unit period expense to be apportioned = the product’s unit manufacturing cost (or
unit manufacturing hours) × apportionment coefficient
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     (2) Apportionment coefficient = Total period expenses (deducting sales expenses for specific
products) ÷ total manufacturing cost (or total manufacturing hours) of all completed products
       3. Apportionment of sales tax and surcharges. Firstly, check the sales tax, surcharges and sales
revenue in the income statement, figure out the proportion of sales tax and surcharges in the sales revenue
and take it as the apportionment coefficient. Secondly, the apportionment coefficient is multiplied by the
sales price of the corresponding products and specifications, to calculate the unit sales tax and surcharges
to be apportioned. The formula is shown below:
      (1) A product’s sales tax and surcharges to be apportioned = the product’s unit price × apportioned
coefficient
       (2) Apportionment coefficient = Sales tax and surcharges for all products sold in a period ÷ total
sales revenue for all products sold in the period


     Article 8 The cost of a distribution enterprise shall be calculated according to the sum of the
purchase price, the freight cost and miscellaneous expenses and tax payable. The formula is shown below:
     1. A merchandise’s unit cost = unit purchase price + unit freight cost to be apportioned + unit tax
payable
      2. Unit freight cost to be apportioned = unit purchase price × apportionment coefficient
      3. Apportionment coefficient = Total freight expenses in a purchase ÷ total purchase price
      Article 9 Cost of low-price dumped industrial products shall be determined according to the
following procedures:
      1. The competent price department of the government shall file a case against suspected low-cost
dumping reported by relevant units and individuals due to market disorder caused by selling at a price
lower than the average cost of the industry.
      2. After a case is filed, if cost investigation is necessary, the government’s price department can
conduct cost investigation, or commission the industry regulator, industry association or an intermediary
to do the job. Investigators (No less than two persons) shall determine the enterprise’s cost according to
the Accounting Law of the People’s Republic of China, the Accounting Standards for Business Enterprises,
the General Rules for Enterprise Finance, and industry financial accounting systems, as well as authentic
and reliable data provided by the enterprise, and issue a cost determination report.
      3. Based on a review of the cost determination report, the government’s price department shall
determine whether the enterprise has dumped products at unreasonably low prices, and impose fines
according to the law if dumping practices are substantiated.
       Article 10 If the information provided by the investigated enterprise is incomplete, making it
difficult to determine the cost, or to verify the cost in the short term, but the enterprise's price reduction
has obviously had a significant impact on the market order and the national economy and seriously
damaged the interests of other business operators, which must be stopped in time, the price department
under the State Council may temporarily determine whether it is a low-cost dumping by adopting the
average cost of the industry and a reasonable downward floating range. The downward floating range
shall be determined by the price department of the State Council in conjunction with the industry
department according to market conditions and the advanced production level of the industry.
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    Article 11    The Measures will be revised and explained by the State Development Planning
Commission.
     Article 12 The Measures will be implemented from March 1, 1999.
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December 20, 2017

Certification
                                  Park IP Translations


This is to certify that the attached translation is, to the best of my knowledge and
belief, a true and accurate translation from Chinese into English of:
国家计委、信息产业部印发关于制止彩色显像管、彩色电视机不正当价格竞争试行办法的
通知




Hanna Kang

Project Manager

Project Number: BBLLP_1712_051




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Notification that the State Planning Commission and the Ministry of Information Industry print and
distribute Trial Measures to Prevent Unfair Price Competition Regarding Color CRTs and Color TVs


Date of distribution: June 27, 2008                Number of browses: 4            Font: [large medium
                                                                                   small]            Share


        Bureau of Commodity Prices (Councils) and Competent Departments in Charge of the Electronic
Industry of all provinces, autonomous regions, municipalities directly under the Central Government, and
municipalities with independent planning status:
        To prevent actions of unfair price competition through dumping in the color TV and color CRT
industry and to maintain a normal market competition order, the State Planning Commission and the
Ministry of Information Industry formulated the Trial Measures to Prevent Unfair Price Competition
Regarding Color CRTs and Color TVs (hereinafter the “Measures”), which is hereby printed and
distributed to you. You are asked to seriously implement the Measures. Related issues are hereby notified
as follows:
        1. Prices of color TVs have fallen sharply over recently years due to the oversupply of products
and increasingly fierce market competition. In the price cutting competition, some color TV and color
CRT manufacturing enterprises sell the products at prices lower than production costs, which disrupts
normal price order and harm legitimate rights and interests of other business operators and consumers.
The competent departments in charge of price and electronics in all places must work with related
departments in planning, economic and trade, strengthen leadership, and work closely to implement the
Measures.
        2. According to the spirit of instructions of leading comrades of the State Council, the State
Planning Commission and the Ministry of Information Industry have decided to treat color TVs and color
CRTs as key products for Preventing dumping and regulating the market order according to the law in
1999. All places must strengthen monitoring and inspection, and the main content of inspection includes:
whether ex-factory prices of color CRT and color TV manufacturing enterprises are lower than their
production costs, and whether the sales prices of marketing enterprises are lower than their purchasing
costs; whether sales are made at low prices by means of discounts, subsidies, and offering extra
quantities; whether sales are made at low prices by means of using raw materials and parts and
components imported through smuggling, lowering performance indexes, using shoddy products as good
products, reporting false costs, etc.
        3. All color CRT and color TV manufacturing enterprises must strictly comply with all provisions
in the Measures, consciously regulate pricing actions, truthfully and accurately record and verify
    Case 4:07-cv-05944-JST
      Case  3:07-cv-05944-JSTDocument 6150-1
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production costs and purchasing costs, strictly prohibit allocating less expenses and falsely reporting
costs. At the same time, the enterprises must check and correct, on their own, any action of unfair price
competition and actively report actions of unfair price competition to competent departments in charge of
prices.
          4. Please promptly report any problem occurred in the process of implementing the Measures,
monitoring and inspection in all places to the State Planning Commission and the Ministry of Information
Industry.




          Attachment: Attachment of Trial Measures to Prevent Unfair Price Competition Regarding Color
CRTs and Color TVs


          Trial Measures to Prevent Unfair Price Competition Regarding Color CRTs and Color TVs




          Article 1 To prevent actions of unfair price competition in the color TV and color CRT industry,
to protect fair, open and legitimate market competition, to maintain a normal price order, to protect the
national interest, and to safeguard legitimate rights and interests of business operators and consumers, the
Measures are hereby formulated according to the Price Law of the People’s Republic of China
(hereinafter the “Price Law”) and other related laws of the state.
          Article 2 Any business operator engaging in production and sales of color CRTs and color TVs
within the People’s Republic of China shall implement the Measures.
          Article 3 The actions of unfair price competition herein refer to actions of a business operator to
sell products at prices lower than the enterprise’s cost or sell products at low prices by reducing costs
using unfair means, so as to expel competitors or monopolize the market, which disrupt normal
production and operation orders and harm the national interest or legitimate rights and interests of other
business operators.
          Article 4 The following actions of color CRT and color TV operators are actions of unfair price
competition:
    Case 4:07-cv-05944-JST
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         (I) Ex-factory prices of a manufacturing enterprise are lower than its production costs in the same
period, and sales prices of a marketing enterprise are lower than its purchasing costs in the same period;
         (II) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its
production costs, and actual sales prices of a marketing enterprise are made to be lower than its
purchasing costs by means of discounts, subsidies, and offering extra quantities;
         (III) Sales are made at low prices by means of using raw materials and parts and components
imported through smuggling, lowering performance indexes, using shoddy products as good products,
reporting false costs, etc.;
         (IV) A color CRT buyer with relatively great advantages in market shares uses its advantageous
position to force a color CRT manufacturing enterprise to sell products at prices lower than its production
costs;
         (V) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its
production costs in the same period, or actual sales prices of a marketing enterprise are made to be lower
than its purchasing costs in the same period by using other means.
         Article 5 The Ministry of Information Industry regularly publishes industrial average production
costs of main types and sizes of color CRTs and color TVs. The State Planning Commission and the
Ministry of Information Industry determine and publish a reasonable amplitude of price decrease.
         Article 6 Ex-factory prices of a manufacturing enterprise shall not be lower than the industrial
average production costs in principle; and the sales prices of a marketing enterprise shall not be lower
than normal purchasing costs.
         Article 7 In the case where a manufacturing enterprise sells products at prices below published
industrial average production costs, or a marketing enterprise sells products at prices below its purchasing
costs in the same period, leading to market price disorder and harms to interests of other manufacturing
enterprises or marketing enterprises, the harmed manufacturing enterprises or marketing enterprises may
report the issue to the State Planning Commission or a competent department in charge of prices of a
province, autonomous region or municipality directly under the Central Government; and the competent
government department in charge of prices shall perform investigation into the case according to the
situation.
         Article 8 A reporting party shall truthfully report a case by providing factual information
regarding actions of unfair price competition of a reported party and details of damages. A reported
business operator shall cooperate with a competent government department in charge of prices in
investigations by truthfully providing related books, bills, vouchers and other materials.
    Case 4:07-cv-05944-JST
      Case  3:07-cv-05944-JSTDocument 6150-1
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        Article 9 In the case where a reported operator of color CRTs and color TVs is found through the
investigation to truly have actions of unfair price competition listed in Article 4 of the Measures, the
competent government department in charge of prices shall order the operator to correct the action and
impose the following punishments according to the Price Law and specific situations:
        (I) Issue a warning;
        (II) Impose a fine;
        (III) Order the operator to suspend business for rectification;
        (IV) File a request with an administration for industry and commerce for revocation of its
business license.
        Article 10 When performing inspections, a competent department in charge of prices should first
use individual costs of producers or operators as a main determination basis. When it is difficult to
confirm an individual cost, industrial average production costs and a reasonable amplitude of price
decrease are used as main determination bases.
        Article 11 An operator of color CRTs and color TVs shall establish and improve internal price
management, and cost and expense accounting systems to truthfully and accurately record and approve
production and purchasing costs, and no fraud will be tolerated.
        Article 12 Competent departments at all levels in charge of the electronic industry and the color
CRT and color TV trade association shall urge operators of color CRTs and color TVs to implement the
Measures. For manufacturing enterprises and marketing enterprises that violate the Measures, they shall
be advised to correct; in case where the advice is invalid, and a report may be filed with a competent
department in charge of prices for official investigations.
        Article 13 The Measures shall be subjected to interpretation by the State Planning Commission.
        Article 14 The Measures shall go into effect as of April 1, 1999.
Case 4:07-cv-05944-JST
  Case  3:07-cv-05944-JSTDocument 6150-1
                           Document 5229-3Filed 02/15/23
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Case
 Case4:07-cv-05944-JST
       3:07-cv-05944-JSTDocument
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           APPENDIX 6
                  Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 910 of 1309




         January 10, 2022

         Certification
                                            Welocalize Translations

                    TRANSLATOR'S DECLARATION:

                    I, Johnson Wong, hereby declare:

         That I possess advanced knowledge of the Chinese and English languages. The
         attached Chinese into English translation has been translated by me and to the
         best of my knowledge and belief, it is a true and accurate translation of: IRI-CRT-
         00031457


         ________________________________________

         Johnson Wong

         Project Number: BBLLP_2201_P0001




P. JOHNSON, PhD
                                            15 W. 37th Street 4th Floor
Exhibit
 1-11-22                                       New York, NY 10018
EX  8550
 EXHIBIT                                          212.581.8870
 8550
01/11/2022
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                             IRICO Group Corporation
                             C06 Enterprise Management
   Notice on Trial Measures to Curb Unfair Price Competition Regarding Color CRTs and Color TVs and
 Notice on Publishing Industrial Average Production Costs of Some Types of Color CRTs and Color TVs

 From March 1999 to April 1999                   Retention period            Long term
 There are ten pages in this volume              Filing No.




                                                         Whole           Catalog         Docket
                                                         volume No.      No.             No.




CONFIDENTIAL                                                                                  IRI-CRT-00031457
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                                         In-Volume Catalog
 S.N. Document       Original     Document      Confidentiality   Document    Title                      No.
      author         document     receipt No.   level             date                                   of
                     No.                                                                                 Page
 1    Ministry of    Ji Jia Ge    46                              March 15,   Notice of the State        1-7
      Information    (99) 264                                     1999        Planning Commission and
      Industry                                                                the Ministry of
                                                                              Information Industry on
                                                                              Distributing Trial
                                                                              Measures to Curb Unfair
                                                                              Price Competition
                                                                              Regarding Color CRTs and
                                                                              Color TVs
 2    Id.            Xin Yun Bu   51                              April 2,    Notice on Publishing       8-10
                     (99) 287                                     1999        Industrial Average
                                                                              Production Costs of Some
                                                                              Types of Color CRTs and
                                                                              Color TVs




CONFIDENTIAL                                                                               IRI-CRT-00031458
          Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 913 of 1309
Mr. Wu: please review this document. April 15, 1999
              001

                                                                      Official          Receipt No. 46
                                                                      document          April 14, 1999


From the first page of China Electronics Daily, April 13, 1999
 Notice on Publishing Industrial Average Production Costs of Some Types of Color CRTs and Color TVs
 Xin Bu Yun [1999] No. 287
 To curb unfair price competition in the color CRT and color TV industry and maintain normal market order, we have
 estimated the industrial average production costs of two types of color CRTs and color TVs, i.e. 21-inch and 25-inch,
 pursuant to the Trial Measures to Curb Unfair Price Competition Regarding Color CRTs and Color TVs by the State
 Planning Commission and the Ministry of Information Industry, the cost materials submitted by major
 manufacturers of color CRTs and color TVs, and the results of survey on typical enterprises. The estimation is hereby
 published (see the attached table). All color CRT and color TV manufacturers are asked to conscientiously implement
 the estimation. In case where a manufacturer sells its products at the prices lower than the published industrial
 average production costs, causing market disorders and harming the interests of other manufacturers, a harmed
 enterprise may file a report with the State Planning Commission or a competent department in charge of prices of
 a province, autonomous region and municipality directly under the Central Government. If it is found through
 investigation that, such manufacturer indeed engages in unfair price competition, a competent government
 department in charge of prices shall order such manufacturer to correct and impose penalties on it in light of the
 specific circumstance.
 This Notice will be implemented from the date of publication.

 Attached Table: Industrial Average Production Costs of Some Sizes and Types of Color CRTs and Color TVs

  21” Color CRT                RMB440/piece                 21” Color TV                 RMB1,130/set
  25” Color CRT                RMB720 /piece                25” Color TV                 RMB1,700/set



                                                                       Ministry of Information Industry, April 2, 1999



                             IRICO Group Corporation Document Review List
 Group’s proposed opinion: Mr. Wu: please review Department’s proposed opinion:
 this document. April 15, 1999
Leader’s instructions:

 Circulation    Signature      Circulation   Signature      Circulation    Signature      Circulation    Signature
 time                          time                         time                          time




 Required completion          Processing result
 time                         Fax sent April 15, 1999
                                                         Signature from the leader of the handling organization


CONFIDENTIAL                                                                                      IRI-CRT-00031459
           Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 914 of 1309
Mr. Wu: please review this document. April 15, 1999
               001

                                                                      Official          Receipt No. 46
                                                                      document          April 14, 1999
From the first page of China Electronics Daily, April 13, 1999
 Notice on Publishing Industrial Average Production Costs of Some Types of Color CRTs and Color TVs
 Xin Bu Yun [1999] No. 287
 To curb unfair price competition in the color CRT and color TV industry and maintain normal market order, we have
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 pursuant to the Trial Measures to Curb Unfair Price Competition Regarding Color CRTs and Color TVs by the State
 Planning Commission and the Ministry of Information Industry, the cost materials submitted by major
 manufacturers of color CRTs and color TVs, and the results of survey on typical enterprises. The estimation is hereby
 published (see the attached table). All color CRT and color TV manufacturers are asked to conscientiously implement
 the estimation. In case where a manufacturer sells its products at the prices lower than the published industrial
 average production costs, causing market disorders and harming the interests of other manufacturers, a harmed
 enterprise may file a report with the State Planning Commission or a competent department in charge of prices of
 a province, autonomous region and municipality directly under the Central Government. If it is found through
 investigation that, such manufacturer indeed engages in unfair price competition, a competent government
 department in charge of prices shall order such manufacturer to correct and impose penalties on it in light of the
 specific circumstance.
 This Notice will be implemented from the date of publication.

 Attached Table: Industrial Average Production Costs of Some Sizes and Types of Color CRTs and Color TVs

  21” Color CRT                 RMB440/piece                21” Color TV                 RMB1,130/set
  25” Color CRT                 RMB720 /piece               25” Color TV                 RMB1,700/set

                                                                      Ministry of Information Industry, April 2, 1999
Notice on Trial Measures to Curb Unfair Price Competition Regarding Color CRTs and Color TVs


        Bureaus (Commissions) of Commodity Prices and Competent Departments in Charge of the Electronic Industry
of provinces, autonomous regions, municipalities directly under the Central Government, and municipalities
specifically designated in the state plan:
        To curb unfair price competition and maintain normal market competition order, the State Planning
Commission and the Ministry of Information Industry have formulated the Trial Measures to Curb Unfair Price
Competition Regarding Color CRTs and Color TVs (hereinafter referred to as the “Measures”), which are hereby
distributed for your earnest implementation. Related issues are hereby notified as follows:
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Mr. Wu: please review this document. April 15, 1999
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                                                                     Official          Receipt No. 46
                                                                     document          April 14, 1999
 National Development Planning Commission                             Document
 Ministry of Information Industry
                                               Ji Jia Ge [1999] No. 264


  Notice of the State Planning Commission and the Ministry of Information Industry on
  Distributing Trial Measures to Curb Unfair Price Competition Regarding Color CRTs and
                                        Color TVs

        Bureaus (Commissions) of Commodity Prices and Competent Departments in Charge of the Electronic Industry
of provinces, autonomous regions, municipalities directly under the Central Government, and municipalities
specifically designated in the state plan:
        To curb unfair price competition and maintain normal market competition order, the State Planning
Commission and the Ministry of Information Industry have formulated the Trial Measures to Curb Unfair Price
Competition Regarding Color CRTs and Color TVs (hereinafter referred to as the “Measures”), which are hereby
distributed for your earnest implementation. Related issues are hereby notified as follows:
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002
        1. Prices of color TVs have plunged in recent years due to the oversupply of products and increasingly fierce
market competition. In the price cut competition, some color TV and color CRT manufacturers sell their products at
the prices lower than production costs, which disrupts normal price order and harm legitimate rights and interests of
other business operators and consumers. The competent departments in charge of price and electronics in all places
must work closely with related departments in planning, economic and trade to strengthen leadership and ensure the
sound implementation of the Measures.
        2. According to the principles of instructions from the leading comrades of the State Council, the State
Planning Commission and the Ministry of Information Industry have decided to focus on color TVs and color CRTs
during the campaign of preventing dumping and regulating the market order according to the law in 1999. All places
must step up supervision and inspection, with the focus on: whether ex-factory prices of color CRT and color TV
manufacturers are lower than their production costs, and whether the sales prices of distributors are lower than their
purchasing costs; whether sales are made at low prices by means of discount, subsidy and extra quantity; whether
sales are made at low prices by means of using raw materials and parts and components imported through smuggling,
lowering performance indicators, using shoddy products as good products, falsely reporting costs, etc.
        3. All color CRT and color TV manufacturers must strictly comply with all provisions in the Measures,
consciously regulate pricing, truthfully and accurately record and verify production and purchasing costs, and strictly
prohibit less amortization and false reporting of costs. At the same time, the enterprises must correct the unfair price
competition found in self-inspection and actively report the unfair price competition to competent departments in
charge of prices.
-2-
                                                                                                                    003
        4. All places should promptly report any problem arising in the implementation of the Measures, supervision
and inspection to the State Planning Commission and the Ministry of Information Industry.
        Attachment: Trial Measures to Curb Unfair Price Competition Regarding Color CRTs and Color TVs
 (Seal of the National Development Planning                  (Seal of the Ministry of Information Industry of the
 Commission of the People’s Republic of China)               People’s Republic of China)
 National Development Planning Commission                    Ministry of Information Industry
 March 15, 1999


Keywords: color TV, price measures, Notice

Cc: The General Office of the State Council, the State Economic and Trade Commission, the Ministry of Finance, the
General Administration of Customs, and the Planning Commissions (Planning and Economic Commissions) of all
provinces, autonomous regions, municipalities directly under the Central Government and cities specifically designated
in the state plan

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004
        Attachment:
         Trial Measures to Curb Unfair Price Competition Regarding Color CRTs and
                                         Color TVs

        Article 1 To curb unfair price competition in the color TV and color CRT industry, protect fair, open and
legitimate market competition, the national interest and the legitimate rights and interests of business operators and
consumers, and maintain normal price order, the Measures are hereby formulated according to the Price Law of the
People’s Republic of China (hereinafter referred to as the “Price Law”) and other applicable laws of the state.
        Article 2 Any business operator engaging in production and sales of color CRTs and color TVs within the
People’s Republic of China shall implement the Measures.
        Article 3 The unfair price competition herein refers to misconduct of a business operator to sell products at
the prices lower than their cost or sell products at low prices by reducing costs using unfair means, so as to expel
competitors or monopolize the market, which disrupts normal production and operation orders and harms the
national interest or legitimate rights and interests of other business operators.
        Article 4 The following misconducts of color CRT and color TV operators constitute unfair price competition:
-4-
                                                                                                                      005
        (I) Ex-factory prices of a manufacturer are lower than its production costs over the same period, and sales
prices of a distributor are lower than its purchasing costs over the same period;
        (II) Actual ex-factory prices of a manufacturer are made lower than its production costs, and actual
sales prices of a distributor are made lower than its purchasing costs by means of discount, subsidy and
extra quantity;
        (III) Sales are made at low prices by means of using raw materials and parts and components imported
through smuggling, lowering performance indicators, using shoddy products as good products, falsely reporting costs,
etc.;
        (IV) A color CRT buyer takes advantage its big market share to force a color CRT manufacturer to sell products
at the prices lower than its production costs;
        (V) Actual ex-factory prices of a manufacturer are lower than its production costs over the same period, or
actual sales prices of a distributor are lower than its purchasing costs over the same period by other means.
        Article 5 The Ministry of Information Industry regularly publishes industrial average production costs of main
types and sizes of color CRTs and color TVs. The State Planning Commission and the Ministry of Information Industry
determine and publish a reasonable range of price decrease.
        Article 6 Ex-factory prices of a manufacturer shall not be lower than the industrial average production costs
in principle; and the sales prices of a distributor shall not be lower than normal purchasing costs.
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        Article 7 In case where a manufacturer sells its products at the prices lower than published industrial average
production costs, or a distributor sells its products at the prices lower than its purchasing costs over the same period,
leading to market price disorder and harms to the interests of other manufacturers or distributors, the harmed
manufacturers or distributors may report the same to the State Planning Commission or a competent department in
charge of prices of a province, autonomous region or municipality directly under the Central Government; and the
competent government department in charge of prices will launch investigation into the case in light of the
circumstance.
        Article 8 The reporting party shall truthfully report the case by providing factual information regarding unfair
price competition of the reported party and details of damages. A reported business operator shall cooperate with a
competent government department in charge of prices in the investigation by truthfully providing related books, bills,
vouchers and other materials.
        Article 9 If it is found through the investigation that, the reported operator of color CRTs and color TVs is
indeed committing unfair price competition set forth in Article 4 of the Measures, the competent government
department in charge of prices shall order the operator to make correction and impose the following penalties
according to the Price Law and specific circumstances:
        (I) Issue a warning;
        (II) Impose a fine;
        (III) Order the operator to suspend business for rectification; and
        (IV) File a request with an administration for industry and commerce for revocation of its business license.
-6-
                                                                                                                     007
        Article 10 When performing inspection, a competent department in charge of prices should first take
individual costs of manufacturers or operators as a main basis. When it is difficult to confirm an individual cost,
industrial average production costs and a reasonable range of price decrease will be used as the main bases.
        Article 11 An operator of color CRTs and color TVs shall establish and improve internal price management,
cost and expense accounting systems to truthfully and accurately record and verify production and purchasing
costs, with no false statement.
        Article 12 Competent departments at all levels in the electronic industry and the color CRT and color TV trade
association shall urge operators of color CRTs and color TVs to implement the Measures. For manufacturers and
distributors that violate the Measures, they shall be advised to correct; in case where the advice doesn’t work, a report
may be submitted to a competent department in charge of prices for official investigation.
        Article 13 The Measures shall be interpreted by the State Planning Commission.
        Article 14 The Measures shall go into effect as of April 1, 1999.


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                                                                                                           008

                                                                Official          Receipt No. 51
                                                                document          April 21, 1999



                Document of the Ministry of Information Industry
                                         Xin Bu Yun [1999] No. 287

  Notice on Publishing Industrial Average Production Costs of Some Types of
                          Color CRTs and Color TVs


                           IRICO Group Corporation Document Review List
 Group’s proposed opinion:                        Department’s proposed opinion:
Leader’s instructions:

 Circulation   Signature   Circulation   Signature      Circulation   Signature    Circulation     Signature
 time                      time                         time                       time




 Required completion       Processing result
 time                                                Signature from the leader of the handling organization



CONFIDENTIAL                                                                               IRI-CRT-00031465
          Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 920 of 1309
                                                                                                                   008

                                                                      Official          Receipt No. 51
                                                                      document          April 21, 1999



                  Document of the Ministry of Information Industry
                                              Xin Bu Yun [1999] No. 287

   Notice on Publishing Industrial Average Production Costs of Some Types of
                           Color CRTs and Color TVs

Color CRT and Color TV manufacturers:

        To curb unfair price competition in the color CRT and color TV industry and maintain normal market order, we
have estimated the industrial average production costs of two types of color CRTs and color TVs, i.e. 21 inches and 25
inches, pursuant to the Trial Measures to Curb Unfair Price Competition Regarding Color CRTs and Color TVs by the
State Planning Commission and the Ministry of Information Industry, the cost materials submitted by major
manufacturers of color CRTs and color TVs, and the results of investigation into typical enterprises. The estimation is
hereby published (see the attached table). All color CRT and color TV manufacturers are asked to conscientiously
implement the estimation. In case where a manufacturer sells its products at the prices lower than the published
industrial average production costs, causing market disorders and harming the interests of other manufacturers, a
harmed enterprise may file a report with the State Planning Commission or a competent department in charge of
prices of a province,



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autonomous region or municipality directly under the Central Government. If it is found through investigation that,
such manufacturer indeed engages in unfair price competition, a competent government department in charge of
prices shall order such manufacturer to correct and impose penalties on it in light of specific circumstances.
        This Notice shall go into effect as of the date of distribution.


        Attachment: Table


                                                                                                           April 2, 1999
                                        (Seal of the Ministry of Information Industry of the People’s Republic of China)


Keywords: color CRT, color TV, cost, Notice
Cc: The State Planning Commission, the State Economic and Trade Commission, and the State Administration for
Industry and Commerce.
The General Office of the Ministry of Information Industry    Distributed on April 12, 1999


-2-
                                                                                                                    010
Table:
Industrial Average Production costs for Some Sizes and Types of Color CRTs and Color TVs
 21” Color CRT                                             RMB440/piece
 25” Color CRT                                             RMB720/piece
 21” Color TV                                              RMB1,130/set
 25” Color TV                                              RMB 1,700/set




                                                                                                                     -3-


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                                                        Note


 Whole volume No.:
 Catalog No.:
 Docket No.:
 There are a total of 10 pages within this volume (or book)
                                 Defects or other situations of this volume (or book)




 Volume prepared by: Wang Yueqin                            Checked by:
 August 15, 2000                                            Date:
                                                                                               03513 x 824




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December 20, 2017

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                                  Park IP Translations


This is to certify that the attached translation is, to the best of my knowledge and
belief, a true and accurate translation from Chinese into English of:
关于发布彩色显像管、彩色电视机部分品种行业平均生产成本的通知




Hanna Kang

Project Manager

Project Number: BBLLP_1712_051




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                       Document of the Ministry of Information Industry
                                Xin Bu Yun [1999] No. 287

 Notification of Publishing Industrial Average Production Costs for Some Types of Color CRTs
                                         and Color TVs

        To prevent actions of unfair price competition in the color CRT and color TV industry
and maintain a normal market order, this Ministry performed estimation on the industrial average
production costs of two types of color CRTs and color TVs, i.e. 21 inches and 25 inches,
pursuant to the Trial Measures to Prevent Unfair Price Competition Regarding Color CRTs and
Color TVs by the State Planning Commission and the Ministry of Information Industry. The
estimation was made according to cost materials reported by major manufacturers of color CRTs
and color TVs and combined with the results of investigation on typical enterprises. The
estimation is hereby published (see the attached table). All color CRT and color TV
manufacturing enterprises are asked to seriously implement the estimation. In the case where a
manufacturing enterprise sells the products at prices lower than the published industrial average
production costs to cause market disorders and harm the interests of other manufacturing
enterprises, a harmed enterprise may file a report with the State Planning Commission or a
competent department in charge of prices of a province, autonomous region or municipality
directly under the Central Government. In the case where it is confirmed through investigation
that there is indeed an action of unfair price competition, a competent government department in
charge of prices shall order the responsible party to correct and impose penalties according to
specific situations.

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       This Notification shall go into effect as of the date of issuance.

       Attachment: Attached Table




                                              April 2, 1999
                                              (Seal of the Ministry of Information Industry of the
                                               People’s Republic of China)




Keywords: color CRT, color TV, cost, notification

Cc: The State Planning Commission, the State Economic and Trade Commission, and the State
Administration for Industry and Commerce.

The General Office of the Ministry of Information Industry            Printed and distributed on
                                                                      April 12, 1999

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Attached Table:

  Industrial average production costs for Some Sizes and Types of Color CRTs and Color TVs

       21” Color CRT                             440 Yuan/piece
       25” Color CRT                             720 Yuan/piece
       21” Color TV                              1130 Yuan/set
       25” Color TV                              1700 Yuan/set




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关于发布彩色电视机部分品种行业平均生产成本的通知




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                       Document of the Ministry of Information Industry
                                Xin Bu Yun [2000] No. 789

 Notification of Publishing Industrial Average Production Costs for Some Types of Color TVs

To color TV manufacturing enterprises:

        To prevent actions of unfair price competition in the color TV industry and maintain a
normal market order, the industrial average production costs of three types of color TVs, i.e. 21
inches, 25 inches, and 29 inches, are hereby published (see the attached table for details)
pursuant to the Trial Measures to Stop Unfair Price Competition Regarding Color CRTs and
Color TVs by the State Planning Commission and the Ministry of Information Industry. All color
TV manufacturing enterprises are asked to seriously implement the costs. In the case where a
manufacturing enterprise sells the products at prices lower than the published industrial average
production costs to cause market disorders and harm the interests of other manufacturing
enterprises, a harmed enterprise may file a report with the State Planning Commission or a
competent department in charge of prices of a province, autonomous region or municipality
directly under the Central Government. In the case where it is confirmed through investigation
that there is indeed an action of unfair price competition, a competent government department in
charge of prices shall order the responsible party to correct and impose penalties according to
specific situations.

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       This Notification shall go into effect as of the date of issuance.


       Attached Table: Industrial average production costs for Some Sizes of Color TVs




                                              August 25, 2000
                                              (Seal of the Ministry of Information Industry of the
                                              People’s Republic of China)




Keywords: color TV, production cost, notification

Cc: The State Planning Commission, the State Economic and Trade Commission, and the State
Administration for Industry and Commerce.

The General Office of the Ministry of Information Industry            Printed and distributed on
                                                                      August 25, 2000

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   Attached Table: Industrial average production costs for Some Sizes of Color TVs
                21”                                           970 Yuan/set
                25”                                          1420 Yuan/set
                29”                                          2170 Yuan/set
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December 20, 2017

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Project Number: BBLLP_1712_051




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                       Document of the Ministry of Information Industry
                                Xin Bu Yun [2000] No. 843

 Notification of Publishing Industrial Average Production Costs for Some Types of Color CRTs

To color CRT manufacturing enterprises:

        To prevent actions of unfair price competition in the color CRT industry and maintain a
normal market order, the industrial average production costs of three types of color CRTs, i.e. 21
inches, 25 inches, and 29 inches, are hereby published (see the attached table for details)
pursuant to the Trial Measures to Prevent Unfair Price Competition Regarding Color CRTs and
Color TVs by the State Planning Commission and the Ministry of Information Industry. All color
CRT manufacturing enterprises are asked to seriously implement the costs. In the case where a
manufacturing enterprise sells the products at prices lower than the published industrial average
production costs to cause market disorders and harm the interests of other manufacturing
enterprises, a harmed enterprise may file a report with the State Planning Commission or a
competent department in charge of prices of a province, autonomous region or municipality
directly under the Central Government. In the case where it is confirmed through investigation
that there is indeed an action of unfair price competition, a competent government department in
charge of prices shall order the responsible party to correct and impose penalties according to
specific situations.


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       This Notification shall go into effect as of the date of issuance.



       Attachment: Attached Table




                                              September 13, 2000
                                              (Seal of the Ministry of Information Industry of the
                                              People’s Republic of China)




Keywords: color CRT, production cost, notification

Cc: The State Planning Commission, the State Economic and Trade Commission, and the State
Administration for Industry and Commerce.

The General Office of the Ministry of Information Industry            Printed and distributed on
                                                                      September 14, 2000

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  Attached Table: Industrial average production costs for Some Sizes of Color CRTs
         21” (regular flat)                                  410 Yuan/piece
         25” (regular flat)                                  670 Yuan/piece
           29” (ultra flat)                                 1135 Yuan/piece
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                                Highly Confidential




                      UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

                            OAKLAND DIVISION


IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION                       Master File No. 07-CV-5944-JST
                                           MDL No. 1917
This document relates to:
ALL INDIRECT PURCHASER ACTIONS




  JANET S. NETZ, PH.D REBUTTAL TO SUPPLEMENTAL EXPERT REPORT OF
 MARGARET E. GUERIN-CALVERT AND EXPERT REPORT OF DONALD CLARKE
                                  April 27, 2022
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I. Introduction
        A. Qualifications
I, Janet S. Netz, am a founding partner of applEcon, LLC. I have been a tenured Associate
Professor of Economics at Purdue University and a Visiting Associate Professor at the
University of Michigan. I received a B.A. (1986) from the University of California, Berkeley,
cum laude, and an M.A. (1990) and Ph.D. (1992) from the University of Michigan, all in
Economics. My doctoral fields of study were Industrial Organization – the study of firm
interaction and market performance – and International Trade and Finance.
I have taught Industrial Organization at the undergraduate and doctoral level; Antitrust and
Regulation at the undergraduate level; Microeconomic Theory at the undergraduate and master’s
level; and International Economics at the undergraduate and master’s level. My research has
focused on competitive interactions of firms and strategies firms can use to increase profits as
well as the resulting impact on firms and the market. I have published in peer-reviewed scholarly
journals and have presented my research at many conferences and seminars. I provide my
academic employment and publication histories in my curriculum vitae, which is attached as
Exhibit A.
I have testified at trial and by affidavit or declaration in both named plaintiff and class action
matters related to antitrust, consumer protection, and business practices, especially with regard to
the economic impact of conduct, for over fifteen years. I have specific knowledge of the CRT
industry through my previous work in this matter, which includes the following filings:
    1. Declaration of Janet S. Netz, Ph.D. in Support of Motion of Indirect-Purchaser Plaintiffs
       for Class Certification, October 1, 2012 1 (“Netz Class Cert Declaration”)
    2. Rebuttal Declaration of Janet S. Netz, Ph.D. in Support of Motion of Indirect-Purchaser
       Plaintiffs for Class Certification, February 15, 20132 (“Netz Class Cert Rebuttal”)
    3. Expert Report of Janet S. Netz, Ph.D., April 15, 20143 (“Netz Expert Report”)
    4. Rebuttal Expert Report of Janet S. Netz, Ph.D., September 26, 2014 4 (“Netz Expert
       Rebuttal Report”)

1
 Netz, Janet S., 01 October 2012, Declaration of Janet S. Netz, Ph.D., In Support of Motion of Indirect-Purchaser
Plaintiffs For Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division) (Hereinafter “Netz Class Cert Declaration”).
2
 Netz, Janet S., 15 February 2013, Rebuttal Declaration of Janet S. Netz, Ph.D., in Support of Motion of Indirect-
Purchaser Plaintiffs for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States
District Court Northern District of California San Francisco Division) (Hereinafter “Netz Class Cert Rebuttal”).
3
 Netz, Janet S., 15 April 2014, Expert Report of Janet S. Netz, Ph.D, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division) (Hereinafter “Netz
Expert Report”).
I filed errata to my expert report on July 3, 2014. Netz, Janet S., 03 July 2014, Errata to the Expert Report of Janet S.
Netz, Ph.D, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division) (Hereinafter “Netz Expert Report Errata”). When I reference my expert report, it
is inclusive of the updated figures in my errata.
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I provide a complete list of the cases on which I have testified and consulted in my curriculum
vitae, which is attached as Exhibit A.
applEcon bills my work on this case at the rate of US$800 per hour. My and applEcon’s
compensation is independent of my opinions or the outcome of the case.

        B. My assignment
Plaintiffs’ counsel asked me to evaluate the arguments made by Ms. Margaret E. Guerin-Calvert
in her March 16, 2022 Supplemental Expert Report (“Guerin-Calvert Supplemental Report”). 5
Briefly, Irico’s counsel asked Ms. Guerin-Calvert to make four assumptions and to assess their
implications on my analyses and conclusions, including my damages estimates. 6 Ms. Guerin-
Calvert also relies on the opinions expressed in Professor Clarke’s March 16, 2022 Expert
Report (“Clarke Report”).7 Ms. Guerin-Calvert also states that she has “reaffirm[ed] the
conclusions and underlying analyses presented in [her] previous reports in this matter[,]” 8 and
has “reviewed the conclusions and underlying analyses presented in the expert reports that
Professor Willig has previously submitted in his matter, considered and assessed the analyses
detailed in his reports…and adopt[ed] his conclusions and the underlying analyses in full as
reflecting my own expert opinion.”9
I have evaluated the supplemental arguments made by Ms. Guerin-Calvert about my work based
on Irico’s counsel’s four assumptions and find them unpersuasive in addressing my previous
analyses and conclusions. I present my conclusions and reasoning in the remainder of this report.
I list the additional confidential and public documents I have relied upon in Exhibits B and C,
respectively.
I have also reviewed Ms. Guerin-Calvert’s previous reports 10 and Professor Willig’s previous
reports,11 which Ms. Guerin-Calvert has “adopted.” In my Expert Rebuttal Report, I have already



4
 Netz, Janet S., 26 September 2014, Rebuttal Expert Report of Janet S. Netz, Ph.D., In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco Division)
(Hereinafter “Netz Expert Rebuttal Report”).
5
 Guerin-Calvert, Margaret E., 16 March 2022, Supplemental Expert Report of Margaret E. Guerin-Calvert, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division) (Hereinafter “Guerin-Calvert Supplemental Report”).
Ms. Guerin-Calvert filed errata to her Supplemental Report on March 21, 2022. Her errata updated damages
numbers reported in her Supplemental Report. For purposes of this report, when I reference Ms. Guerin-Calvert’s
damages claims, it is with respect to the updated numbers in her errata.
6
    Guerin-Calvert Supplemental Report, ¶8.
7
 Clarke, Donald, 16 March 2022, Expert Report of Donald Clarke, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division) (Hereinafter “Clarke
Expert Report”).
8
    Guerin-Calvert Supplemental Report, ¶13.
9
    Guerin-Calvert Supplemental Report, ¶14, emphasis added.
10
     See:
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explained in detail why Defendants’ experts’ previous analyses and opinions – including those of
Ms. Guerin-Calvert and Professor Willig – are flawed. If needed, I am prepared to explain at trial
why the surrebuttal reports Ms. Guerin-Calvert and Professor Willig submitted after my Expert
Rebuttal Report fail to rebut the reliability of my conclusions, including as they pertain to Irico.

         C. Summary of my conclusions
The arguments in Ms. Guerin-Calvert’s Supplemental Report are built on “assumptions” that
Irico’s counsel asked her to make. They are not based on new evidence. As such, they are
essentially thought experiments designed by Irico’s counsel. The assumptions regarding
“liability” are legal assumptions outside the scope of my expertise. I do not have an opinion as to
the merit of any legal assumptions. Instead, I evaluated Ms. Guerin-Calvert’s arguments by
accepting, as she did, Irico’s counsel’s requested assumptions and considered the conclusions
Ms. Guerin-Calvert drew from these assumptions in light of the case evidence and economic
principles.
In summary, after reviewing Ms. Guerin-Calvert’s arguments, I conclude:
           My approach in estimating damages, consistent with my experience and my
            understanding of the experience of other expert economists in similar or analogous
            settings, was to calculate damages caused by the CRT cartel as a whole, rather than for
            individual conspirators and products. The assumptions that “IPPs cannot demonstrate that
            Irico participated in the alleged cartel with respect to either CDTs or CPTs prior to
            August 1998” and that “Irico did not produce any CPTs with a diameter larger than 29
            inches during the class period” are irrelevant when estimating damages caused by the
            cartel to the class. Nonetheless, time-period and product adjustments to my damages
            estimate are arithmetic and can be accommodated by my methodology.
           The assumption that “price floors set by the Chinese government for at least some
            categories of CPTs during at least some portions of the class period represent a potential
            constraint on but-for pricing” is based on both legal and economic assumptions. I do not

           Guerin-Calvert, Margaret E., 05 August 2014, Expert Report of Margaret E. Guerin-Calvert, In re: Cathode
            Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
            Francisco Division).
           Guerin-Calvert, Margaret E., 23 September 2014, Errata to The Expert Report of Margaret E. Guerin-
            Calvert, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District
            of California San Francisco Division).
           Guerin-Calvert, Margaret E., 06 November 2014, Expert Surrebuttal Report of Margaret E. Guerin-Calvert,
            In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
            California San Francisco Division) (Hereinafter “Guerin-Calvert Surrebuttal Report”).
11
     See:
           Willig, Robert D., 05 August 2014, Expert Report of Robert D. Willig, In re: Cathode Ray Tube (CRT)
            Antitrust Litigation (United States District Court Northern District of California San Francisco Division)
            (Hereinafter “Willig Report”).
           Willig, Robert D., 06 November 2014, Expert Surrebuttal Report of Robert D. Willig, In re: Cathode Ray
            Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San Francisco
            Division) (Hereinafter “Willig Surrebuttal Report”).
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           make conclusions on whether these price floors are legally binding or appropriate. I did
           review the Pricing Documents attached to Professor Clarke’s report to inform the
           economic analysis of the implication of a price floor, assuming that these documents
           create a “price floor”, a conclusion about which I do not offer an opinion. My reading of
           the documents, however, suggests that Professor Clarke and Ms. Guerin-Calvert have
           identified the wrong price floor. Ms. Guerin-Calvert’s conclusions that implied but-for
           prices are below this possibly erroneous price floor do not hold when implied but-for
           prices are properly calculated to account for the shape of the CRT (flat versus round).
           Ms. Guerin-Calvert at best finds a single, questionable, instance (for 21-inch CPTs in
           1999 Q2) where the but-for price implied by my damages model might be below the
           possibly erroneous price floor. This single observation represents less than 0.1% of the
           sales included during the damages period of my model and is one out of 850 CPT size-
           quarter observations.
          The assumption that “horizontal communications related to CPTs in which Irico allegedly
           participated were not directed at North American customers” does not rebut that Irico
           participated in the cartel or demonstrate that my damages estimates are unreliable.
           Applying economic principles to the complete body of evidence demonstrates that the
           cartel had the incentive and ability to raise the prices of CRTs consumed in North
           America and that the cartel did in fact raise the prices of CRTs consumed in North
           America.12
In the rest of this report, I discuss the reasons and reasoning underlying my conclusions.

II. The assumption that Irico did not participate in the cartel prior to August
1998 does not change my opinions on classwide damages
Ms. Guerin-Calvert “was asked to assume that IPPs cannot demonstrate that Irico participated in
the alleged cartel with respect to either CDTs or CPTs prior to August 1998.” 13 She was
furthermore asked to “assume that Irico is not liable for any damages allegedly incurred by the
IPPs prior to August 1998.”14
Irico has not produced evidence indicating that it did not participate in the cartel prior to August
1998. Cartel meeting notes indicate that Irico was participating in the ongoing cartel at least as of
August 1998, and those notes do not suggest that Irico was a new entrant to the ongoing cartel. 15
Moreover, I understand that plaintiffs’ counsel recently found evidence in Irico’s and BMCC’s
productions of Irico’s meetings with other Chinese CRT makers prior to 1998. 16


12
     Netz Expert Rebuttal Report.
13
     Guerin-Calvert Supplemental Report, ¶17.
14
     Guerin-Calvert Supplemental Report, ¶17.
15
 Chunghwa Picture Tubes (Fuzhou), Yeh, Chung-Cheng (Alex), 11 August 1998, Mainland China CDT MAKER
Contact Meeting [Certified Translation], CHU00030661 - CHU00030663, at 0661.01E.
16
  23 February 2022, Indirect Purchaser Plaintiffs’ Objections and Responses to the Irico Defendants' Second Set of
Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District
of California San Francisco Division), Response to Interrogatory No. 2.
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I estimate damages to class members over the entire class period, March 1, 1995 through
November 25, 2007, to be $2.769 billion, including $2.026 billion in CDT damages and $743
million in CPT damages.17 I do not portion out damages to individual conspirators, nor does Ms.
Guerin-Calvert.
As Ms. Guerin-Calvert demonstrated, my damages estimation method can easily accommodate
different cartel periods depending on the Court’s findings. Should Irico be found not legally
liable for any cartel damages prior to August 1998, my adjusted damages estimate to class
members for the period August 1, 1998 through November 25, 2007 would be $1.621 billion,
including $1.136 billion in CDT damages and $485 million in CPT damages. 18

III. The assumption that Irico did not manufacture CPTs with a diameter
larger than 29 inches from March 1, 1995 to November 25, 2007 does not
change my opinions on classwide damages
Irico’s counsel also asked Ms. Guerin-Calvert “to assume that Irico did not produce any CPTs
with a diameter larger than 29 inches during the class period.” 19 Whether Irico produced CPTs
larger than 29 inches during the class period is irrelevant to the calculation of damages when
damages are calculated for the cartel as a whole.
As Ms. Guerin-Calvert demonstrated, my damages estimation method can easily exclude
individual cartelized products depending on the Court’s findings. CPTs larger than 29 inches in
diameter account for $161 million of my damages estimate, so my damages estimate would be
reduced from $2.769 billion to $2.607 billion should the Court find Irico not liable for cartel
damages arising from CPTs larger than 29 inches. 20

IV. Ms. Guerin-Calvert’s analysis of the assumption that Irico was subject
to a price “floor” is flawed and does not change my opinion that my damages
model is economically sound
Ms. Guerin-Calvert was asked to assume that Irico and other Chinese manufacturers were
required to price specific CPT products above a price floor set by the Chinese government.
Ms. Guerin-Calvert’s analysis rests on eight Pricing Documents that Irico’s expert, Professor
Clarke, attaches to his report. Professor Clarke opines that “[t]he regulatory framework
constituted by the Pricing Documents has the status of enforceable law in the Chinese legal
system.” He then lists what he refers to as price “floors.” 21
Ms. Guerin-Calvert purports to show that the but-for prices implied by my damages model are
below the price floor in three instances. Based on her analysis, she concludes that “Dr. Netz’s
17
     Netz Expert Report Errata, Exhibit ER-81.
18
  Guerin-Calvert, Margaret E., 21 March 2022, Errata to the Supplemental Expert Report of Margaret E. Guerin-
Calvert, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division), Table F-2R.
19
     Guerin-Calvert Supplement Report, ¶22.
20
     Guerin-Calvert Supplemental Report, Table G-1.
21
     Clarke Report, ¶24.
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failure to account for these floors in her overcharge model potentially is likely yet another reason
why her overcharge model is unreliable, particularly where the average but-for prices of CPTs
manufactured in China that are implied by her model are below the corresponding price
floors.”22
I have reviewed Ms. Guerin-Calvert’s analyses, Professor Clarke’s opinions, and the translated
Pricing Documents attached to Professor Clarke’s Report. I continue to conclude that my
damages model is an economically reliable estimate of the classwide damages caused by the
cartel.

        A. The existence and level of price floors is ambiguous
In order to evaluate Ms. Guerin-Calvert’s economic analysis of implications of my damages
model in the presence of Chinese government price floors, I reviewed Professor Clarke’s
characterization of the price floors and the documents appended to his report, as well as Ms.
Guerin-Calvert’s characterization of these materials. I reviewed these materials to inform the
proper industrial characteristics under which to implement a proper economic analysis.
In general, it appears that the purpose of the regulations is to prevent “dumping” – pricing of
products below cost – in order to “to protect fair, open and legitimate market competition, to
maintain a normal price order, and to safeguard legitimate rights and interests of business
operators and consumers.”23 The pricing notices,24 and Professor Clarke’s and Ms. Guerin-
Calvert’s discussion of them, mention two production costs: (1) average industry production
costs and (2) a manufacturer’s own production costs.25 These two cost measures are not equal, as
production costs naturally vary among manufacturers. Any individual manufacturer will have
production costs above or below the industry average depending on that firm’s relative
efficiency. A relatively efficient manufacturer could sell its products at prices below industry
average production costs but above its own production costs.
Professor Clarke does not distinguish between these two cost measures in his report. To the
contrary, he seems to conflate them when he summarizes the regulatory framework set out in the
Pricing Documents attached to his report by stating that sanctions are based on a manufacturer’s
prices relative to industry-average costs:
       Producers are required to submit information about costs to the regulator. The regulator
       then issues a document containing minimum prices. The producers may not price below




22
     Guerin-Calvert Supplemental Report, ¶15c, emphasis added.
23
     1998 Notice, Article 1 in Clarke Report, Appendix 2.
24
     1998 Notice, Article 1 in Clarke Report, Appendix 2 and April 1999 Notice in Clarke Report, Appendix 5.
25
     See, e.g.,
           1998 Notice, Articles 4 and 5 in Clarke Report, Appendix 2, as well as April 1999 Notice, Articles 3, 4 and
            10 in Clarke Report, Appendix 5 for references to firm’s own production costs.
           1998 Notice, Articles 8, 9 and 10 in Clarke Report, Appendix 2, as well as April 1999 Notice, Articles 6, 7
            and 10 in Clarke Report, Appendix 5 for references to industrial average production costs.
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       those minima. If they do, they are subject to a variety of sanctions, ranging from
       warnings to fines to the loss of their business license.26
He then interprets the April 1999, August 2000, and September 2000 Cost Notifications, which
report industry average production costs, to implement “the minimum prices for CRTs.” 27
Ms. Guerin-Calvert then relies on Professor Clarke’s interpretation of the Pricing Documents to
assume that the relevant “price floors” come from industry-average production cost tables set by
the Chinese government rather than a manufacturer’s actual costs. 28
Two of Professor Clarke’s Pricing Documents seem to lay out pricing guidelines, what Professor
Clarke refers to as the 1998 Notice and the April 1999 Notice. 29 These Notices refer to industry-
average production costs as constraints in principle, but only enumerate penalties when a
manufacturer prices below its own production costs.
          The Notices state, “[e]x-factory prices of a manufacturing enterprise shall not be lower
           than the industrial average production costs in principle.” 30
          The Notices generally define “actions of unfair price competition” as “[e]x-factory prices
           of a manufacturing enterprise are lower than its [own] production costs.” 31
          The Notices define specific actions of unfair price competition 32 by making comparisons
           of price to a manufacturing enterprise’s own production costs.33



26
     Clarke Report, ¶13.
27
     Clarke Report, ¶24.
28
     Guerin-Calvert Report, footnote 51.
29
     See the description of documents i. and iv. in ¶6a of the Clarke Report.
30
 See 1998 Notice, Article 9 in Clarke Report, Appendix 2 and April 1999 Notice, Article 6 in Clarke Report,
Appendix 5.
31
 See 1998 Notice, Article 4 in Clarke Report, Appendix 2 and April 1999 Notice, Article 3 in Clarke Report,
Appendix 5.
32
  The April 1999 Notice, Article 4 in Clarke Report, Appendix 5 identifies specific unfair price actions for CRT
manufacturers that price below their own costs: “The following actions of color CRT and color TV operators are
actions of unfair price competition: I) Ex-factory prices of a manufacturing enterprise are lower than its production
costs in the same period, and sales prices of a marketing enterprise are lower than its purchasing costs in the same
period; (II) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its production costs,
and actual sales prices of a marketing enterprise are made to be lower than its purchasing costs by means of
discounts, subsidies, and offering extra quantities; (III) Sales are made at low prices by means of using raw materials
and parts and components imported through smuggling, lowering performance indexes, using shoddy products as
good products, reporting false costs, etc.; (IV) A color CRT buyer with relatively great advantages in market shares
uses its advantageous position to force a color CRT manufacturing enterprise to sell products at prices lower than its
production costs; (V) Actual ex-factory prices of a manufacturing enterprise are made to be lower than its
production costs in the same period, or actual sales prices of a marketing enterprise are made to be lower than its
purchasing costs in the same period by using other means.” (Emphases added.)
33
 See 1998 Notice, Article 5 in Clarke Report, Appendix 2 and April 1999 Notice, Article 4 in Clarke Report,
Appendix 5.
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          The Notices state that when a manufacturer sets its price below the industry average
           production costs, a harmed entity may notify the government and the government may
           open an investigation.34
          The portions of the Notices that enumerate potential punishments 35 refer to manufacturers
           that violate the specifically defined actions of unfair price competition based on
           comparisons to a manufacturing enterprise’s own production costs. 36
Indeed, the April 1999 Notice specifies that a firm’s own production costs should be used.
Industry average production costs should only be used “[w]hen it is difficult to confirm an
individual cost.”37
I cannot offer a legal interpretation of the law, but as an economist, my reading of the Notices
suggests that the relevant metric, when available, is a firm’s own production costs, not industry
average production costs.
To the extent that the legally-relevant Chinese price floor is defined by manufacturers’ own
production costs, Ms. Guerin-Calvert’s analysis is incorrect, as it compares implied but-for
prices to industry average production costs.

        B. Ms. Guerin-Calvert’s price comparisons are for BMCC, not Irico
Ms. Guerin-Calvert calculates but-for prices based on price data from the actual, cartelized world
and on my overcharge estimate from my damages model. Basically, she reduced the actual prices
by the amount of the overcharge. Because Irico did not produce data until recently, Ms. Guerin-
Calvert did not use Irico’s actual prices. Instead, all of the data used in her calculation of but-for
prices of CPTs manufactured in China come from CPTs manufactured by defendant Beijing
Matsushita Color CRT Co., Ltd. (BMCC), not CPTs manufactured by Irico. 38
Thus, Ms. Guerin-Calvert does not attempt to compare Irico’s implied but-for prices to the price
floor, despite the fact that the stated goal of her supplemental report is to have an “Irico focus.” 39
If Ms. Guerin-Calvert wanted to test whether Irico’s but-for prices implied by my model would
subject Irico to sanctions under the Pricing Documents, she would need to compare Irico but-for


34
 See 1998 Notice, Article 10 in Clarke Report, Appendix 2 and April 1999 Notice, Article 7 in Clarke Report,
Appendix 5.
35
  The April 1999 Notice, Article 9 in Clarke Report, Appendix 5 enumerates penalties for those CRT manufacturers
that violate Article 4: “In the case where a reported operator of color CRTs and color TVs is found through the
investigation to truly have actions of unfair price competition listed in Article 4 of the Measures, the competent
government department in charge of prices shall order the operator to correct the action and impose the following
punishments according to the Price Law and specific situations: (I) Issue a warning; (II) Impose a fine; (III) Order
the operator to suspend business for rectification; (IV) File a request with an administration for industry and
commerce for revocation of its business license.”
36
 See 1998 Notice, Article 12 in Clarke Report, Appendix 2, and April 1999 Notice, Article 9 in Clarke Report,
Appendix 5.
37
     See April 1999 Notice, Article 10 in Clarke Report, Appendix 5.
38
     MT Picture Display, 22 April 2011, Sum of US AMT(Mil), MTPD-0122906.
39
     Guerin-Calvert Supplemental Report, ¶¶8, 15, and 16.
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prices to Irico’s own contemporaneous production costs during the period in which the price
floors were in effect.40

       C. Ms. Guerin-Calvert’s price calculations are erroneous because they do not
       account for CPT shape
Ms. Guerin-Calvert compares implied but-for price of CPTs manufactured in China and
compares those prices to industry-average CPT production costs for the following three
size/quarter combinations: 21-inch CPTs in 1999 Q2 and 21-inch and 29-inch CPTs in 2000 Q4.
For the two size/quarter combinations for 2000 Q4 analyzed by Ms. Guerin-Calvert, the listed
industry-average CPT production costs are specific to flat CPTs rather than round CPTs. 41 In her
calculation of prices, Ms. Guerin-Calvert ignores this distinction and calculates the implied but-
for price of all CPTs of the specified size to the corresponding industry-average production costs
of flat CPTs. Flat CPTs are more expensive to produce and command a higher price than round
CPTs,42 so a proper comparison should include prices and costs only of flat CPTs.
The data underlying Ms. Guerin-Calvert’s analyses do not contain information on CPT shape in
2000 Q4, and thus I cannot use these data to compare but-for prices to industry average
production costs in this quarter. However, the same data do contain information on CPT shape in
the following quarter, 2001 Q1. I calculate the price of flat CPTs using 2001 Q1 data and I come
to the opposite conclusion as Ms. Guerin-Calvert: but-for prices implied by my model for flat
CPTs are well above the industry average production costs contained in the Pricing Documents.
Table 1: Ms. Guerin-Calvert’s Price Comparisons Corrected for Shape
   Chinese           CPT Size            Chinese      Average But-                               But-For Price
 Government                             Industry-      For Price of                              Below Chinese
Announcement                             Average     Flat CPTs Made                                Industry-
     Date                            Production Cost     in China                                   Average
                                                                                                  Production
                                                                             2001 Q1
                                                                                                     Cost?
     9/13/2000           21-inch regular              $49.52                  $77.83                    No
                               flat
     9/13/2000          29-inch ultra flat           $137.08                 $185.76                    No

Ms. Guerin-Calvert also compares an implied but-for price for 21-inch CPTs to the industry
average cost for 1999 Q2. The industry average cost does not specify whether the cost is for
round, flat, or both CPTs. Some of the price data indicate 21-inch CPTs in that quarter are for
round screens, but often do not indicate round or flat. That the implied non-Irico but-for price in

40
 See 1998 Notice, Article 5 in Clarke Report, Appendix 2 and April 1999 Notice, Article 4 in Clarke Report,
Appendix 5.
41
 Clarke Report, Appendix 9. Specifically, the costs for the 21-inch CPT is for regular flat screens and for 29-inch
CPT is for ultra-flat screens.
42
 United States International Trade Commission, May 2004, Certain Color Television Receivers from China,
USITC Publication 3695, http://www.usitc.gov/publications/701_731/pub3695.pdf, accessed 17 May 2012, at I-7.
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this quarter is below the industry average production cost is therefore ambiguous and may be an
artifact of comparing prices and costs for different products, flat and round CPTs.
In sum, of the three quarter/size combinations for which Ms. Guerin-Calvert compares non-Irico
but-for prices implied by my model to the industry-average CPT production cost published by
the Chinese government, two contradict her own argument and the remaining one is ambiguous
and does not clearly support her conclusion.

       D. Ms. Guerin-Calvert makes sweeping generalizations based on an erroneous
       analysis of 0.2% of the damages model data
Ms. Guerin-Calvert compares three but-for prices to industry average production costs. 43 As I
show above, two of these comparisons are flatly incorrect and do not support her conclusion; the
remaining one is ambiguous and therefore also does not support her conclusion.
Even if all three comparisons did show but-for prices that were below industry average
production costs (which they do not), and even if industry average production costs were the
proper price floor, these three observations represent a miniscule share of the 850 size/quarter
combinations of CPTs manufactured during the damages period or even of the 279 size/quarter
combinations of CPTs manufactured in China during the damages period. In addition, neither
Ms. Guerin-Calvert nor Professor Clarke make any claims regarding the existence of a Chinese
price floor corresponding to the other 276 size/quarter combinations for CPT products
manufactured in China available in the data used by Ms. Guerin-Calvert in this analysis.
Of the total revenue I used for my overcharge regression, the price data used by Ms. Guerin-
Calvert in these three comparisons involve only 0.2% of damages period revenue.
Thus, even if accurate, Ms. Guerin-Calvert’s singular observation is not sufficient to conclude
that my model is not an economically sound basis for the calculation of classwide damages.

        E. Summary
Even if Ms. Guerin-Calvert is using the correct price floor, her comparisons do not use Irico
prices, do not use correct prices, and represent a miniscule amount of the revenue of CPTs
manufactured during the damages period (even if limited to CPTs manufactured in China). It
therefore remains my opinion that my damages model is an economically sound basis for my
calculation of classwide damages.

V. The assumption that horizontal communications relating to CPTs were not
directed at North American customers does not change the evidence that the
cartel raised prices of CPTs purchased in North America
Ms. Guerin-Calvert was “asked to assume that the horizontal communications relating to CPTs
in which Irico allegedly engaged were not directed at North American CPT customers.” 44 She
then concludes that “evidence that the North American CPT market differed materially from the

43
  The Pricing Documents have industry average costs for five size-quarters; two of those costs are for 25-inch
CPTs. There are no 25-inch CPTs manufactured in China for those quarters in the data, so there are no prices to
compare to the industry average costs.
44
     Guerin-Calvert Supplemental Report, ¶34.
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rest of the world” and economic analyses “from previous reports” implies my damages model
“does not reliably reflect the impact on IPPs of this conduct.” 45
The primary basis for Ms. Guerin-Calvert’s claims is Professor Willig’s August 5, 2014 Expert
Report, which Ms. Guerin-Calvert references as the “Willig Report.” In particular, of her seven
cites to Professor Willig to support her claim, six of them are to the Willig Report. 46 I explained
in my September 26, 2014 Rebuttal Expert Report why Professor Willig’s claims do not change
my direct overcharge conclusions. Specifically, I demonstrated that Professor Willig’s flawed
arguments failed to rebut my conclusion that applying economic principles to the cartel’s
conduct, together with econometric analyses of the empirical evidence, shows that the cartel did
increase prices for CPTs purchased in North America. 47 I summarize below the rebuttal laid out
in my Rebuttal Report.

        A. The evidence supports the existence of a global cartel, impacting prices globally,
        including in North America
I presented economic evidence in my Expert Report that the cartel’s price-fixing impacted the
U.S.48 Further, in my Expert Rebuttal Report I explained that Defendants’ experts’ arguments
that the cartel’s conspiracy to raise CPTs prices did not impact the U.S., or that the impact in the
U.S. was different than the impact elsewhere, ignored or inappropriately dismissed the economic
evidence and analyses in my Expert Report, namely: 49
          Defendants held numerous cartel meetings and information exchanges in North America,
           which would be expected to affect CPTs made and sold in North America. For example,
           Samsung explained that it was “meeting with North American businesses in order to find
           a cooperation plan related to areas of common interest, and secure communication
           channels to continuously maintain such relationship” and indicated Samsung’s “North
           American market strategy [includes c]ontinuous maintenance of mutual cooperation
           within market.”50
          Defendants’ experts’ exhibits show nearly one third of all CRT TVs imported into
           America were from Asia and that this share increased steadily over time, with imports
           from Asia accounting for over 60% of CRT TVs shipped to the U.S. in 2002 and over
           80% in 2006.51 This further confirms my conclusions that the cartel impacted sales in the
           United States.



45
     Guerin-Calvert Supplemental Report, ¶34.
46
     The seventh is a cite to Professor Willig’s Surrebuttal Report, ¶32.
47
     Netz Expert Rebuttal Report, pp. 32-47.
48
     Netz Expert Report, Section VIII.A.5, The cartel’s price-fixing impacted the U.S.
49
     Netz Expert Rebuttal Report, pp. 33-34.
50
  Im, Chul Hong, 12 January 1999, North America CPT companies meeting summary, SDCRT-0002526 -SDCRT-
0002528, at 2526E and 2527E.
51
  05 August 2014, Opposition Expert Report of Lawrence Wu, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division), ¶70 and Exhibit 8.
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          Defendants sold a significant number of CRTs to purchasers in the U.S. The available
           Defendant sales data indicate that at least $1.028 billion of CDTs and $13.18 billion of
           CPTs were shipped or billed to customers in the U.S. or Mexico in the years 1995-2007. 52
           Of that total, at least $0.6 billion of CDTs and $8.6 billion of CPTs were shipped or billed
           to U.S. customers in the years 1995-2007. 53 These figures understate the true value of
           shipments to U.S. customers because I do not have complete sales data for some
           Defendants and some Defendants’ data do not include customer location information.
          Defendants’ North American collusion was intertwined with collusive activities in Asia.
           For example, a meeting summary explains that, “Based on December meeting at
           headquarters, there was a subsequent meeting for purposes of finding grounds for
           cooperation within the North American market…”54 Similarly, an LPD internal e-mail
           about a meeting among LPD, Samsung, and Toshiba concludes “Dear AM [Americas]
           and EU colleague, Please let me know if there is anything we have to talk with SDI and
           Toshiba at global level. We will get together comming [sic] July in Japan. And I can keep
           in touch with them from time to time by mail or phone.” 55
          There is significant evidence that many Defendants’ headquarters influenced, and even
           set, the prices at which their North American and other subsidiaries sold CPTs to
           customers. For example, in my Expert Report, I provide evidence that pricing decisions at
           Chunghwa’s subsidiaries were controlled by headquarters in Taiwan (specifically, by
           C.C. Liu) for its sales to North America and other regions; 56 LG’s headquarters provided
           price guidelines for its North American and other regional subsidiaries; 57 pricing at
           MTPD’s North American and other regional subsidiaries was done according to business
           plans created by top management at headquarters; 58 and Philips had “Commercial
           Council Meetings” of regional CPT marketing and sales managers to discuss, among
           other things, pricing policies in North America and other regions. 59
This evidence all supports my conclusion that the cartel intended to and was operated to raise the
prices of CRTs globally, including those consumed in North America, including the United
States.




52
     See “us_sales.txt” from my Expert Rebuttal Report backup for calculations.
53
     See “us_sales.txt” from my Expert Rebuttal Report backup for calculations.
54
  Im, Chul Hong, 12 January 1999, North America CPT companies meeting summary, SDCRT-0002526 - SDCRT-
0002528, at 2527E, emphasis added.
55
 Philips, Lee, Phil PJ, 30 May 2002, E-mail, Subject: Information for SDI and Toshiba, PHLP-CRT-014272 -
PHLP-CRT-014274, at 4273.
56
     Netz Expert Report, footnote 237.
57
     Netz Expert Report, footnote 238.
58
     Netz Expert Report, footnote 240.
59
     Netz Expert Report, footnote 242.
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        B. The evidence shows that the cartel’s target prices increased prices to North
        American purchasers
Defendants used a variety of tools, including agreements to set target prices for specific CRT
types, restrict output, reduce capacity, allocate customers, and exchange sensitive information on
price and market conditions.60 Despite participants’ incentives to cover up collusive activity, I
was able to identify target prices for approximately 29.7% of all CPTs and 13.3% of large
CPTs.61
I showed in my previous reports that the target prices Defendants’ set during cartel meetings
exhibit an economically meaningful and statistically significant impact on the prices paid by
North American direct purchasers. In particular, I demonstrated in my Rebuttal Report that: 62
          Defendants’ target prices63 exhibit an economically meaningful and statistically
           significant impact on the prices paid by North American direct purchasers. 64 These
           results are similar to the results of my regressions assessing the impact of target prices on
           worldwide CPT prices presented in my Expert Report. 65 In fact, the effect of target prices
           on the prices paid by North American purchasers is stronger than the effect on prices
           worldwide, as reflected in the larger coefficient estimate in the regression on North
           American sales.
          I performed an additional empirical analysis that confirms that the cartel’s target prices
           impacted sales to North American purchasers. Specifically, I performed a regression
           analysis that estimates the effect of an index 66 of target prices on the level of actual prices
           paid by North American purchasers for CPTs that I was unable to match to a specific
           target price.67 The index of Defendants’ target prices exhibits an economically
           meaningful and statistically significant impact on the prices paid by North American
           direct purchasers for CRTs that I was unable to match to a specific target price. These
           results are also similar to the results of regressions assessing the impact on worldwide


60
     Netz Expert Report, Section VIII.A.5, The cartel’s price-fixing impacted the U.S.
61
   Netz Expert Report, p. 63 and combine_target_defendant_large_cpt.log in my Expert Rebuttal Report backup
files.
62
     Netz Expert Rebuttal Report, p. 49.
63
   The cartel set “target” prices for specific CRTs types and time periods. I was able to compile these targets. In
some cases, I could match target prices with the prices of the same CRT type. In other cases, I did not identify a
target price for a particular CRT type and time period that appeared in the transaction data. See Netz Expert Rebuttal
Report, p. 49.
64
  Professor Willig claimed the contrary. His regression analysis was subject to errors. Specifically, he ran his
regressions using price changes instead of price levels. Defendants set target and actual prices in dollar levels,
hence, testing whether their target-price conduct affected actual prices should be done using levels. Correcting this
error reverses his findings.
65
     Netz Expert Report, Section VIII.A.4.a and Exhibit 38.
66
  I used a Fisher price index, which is a method of calculating average prices that accounts for changes in the
composition of target prices over time.
67
     Netz Expert Rebuttal Report, Exhibit RR-97.
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            CPT prices that I presented in my Expert Report. 68 The effect of the target price index on
            actual prices paid by North American purchasers is stronger than the effect on prices
            worldwide, as reflected in the larger coefficient estimate in the regression on North
            American sales.
Together, these results indicate that the cartel effectively raised prices to all North American
purchasers, regardless of whether there is a record of Defendants setting target prices for a
particular sale.

         C. The evidence shows that the cartel overcharge applied to North American
         purchasers
Ms. Guerin-Calvert relies on analyses “from previous reports” as a basis for her contention that
“the fact that horizontal communications relating to CPTs in which Irico allegedly engaged were
not directed at North American CPT customers implies that [Dr. Netz’s] model does not reliably
reflect the impact on IPPs on this conduct.”69
In my Rebuttal Report, I responded to Professor Willig’s (and other Defendants’ experts’
similar) arguments that the cartel’s collusive actions did not have an impact on prices in North
America, or that the impact there differed from the impact in other parts of the world. 70 With
regards to the empirical analyses Ms. Guerin-Calvert cites, I previously explained: 71
           Professor Willig attempted an empirical analysis of the impact to purchasers located in
            North America.72 He identified Defendants’ sales to North American purchasers and used
            these data to generate an estimate of the cartel overcharge specific to North American
            purchasers.73 Professor Willig’s estimate of the overcharge indicates that North American
            prices were, on average, 5.14% higher during the cartel period than they would have been
            in the but-for world.74 By itself, Professor Willig’s estimate is evidence that Defendants’
            conduct had an impact on North American purchasers. My estimates of the worldwide
            CPT overcharge are based on significantly more data, which means they are more reliable




68
     Netz Expert Report, Section VIII.A.4.b.3 and Exhibit 45.
69
     Guerin-Calvert Supplemental Report, ¶34.
70
     See, e.g.,
           Rubinfeld Opposition Report, ¶¶67-90.
           Williams Opposition Report, ¶¶28-36, 41, 47-54, 140-143.
           Willig Opposition Report, ¶¶96-98.
           Wu Opposition Report, ¶¶67-84.
71
     Netz Expert Rebuttal Report, p. 63.
72
     Willig Opposition Report, ¶98.
73
     Willig Opposition Report, ¶98.
74
     Willig Opposition Report, ¶98.
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           and precise than Professor Willig’s estimates of the overcharge paid by North American
           purchasers.75
Irico counsel’s assumption “that the horizontal communications relating to CPTs in which Irico
allegedly engaged were not directed at North American CPT customers” 76 does not change my
conclusions, which are based on the case evidence and reliable economic principles and
analyses.

VI. The economic evidence supports my previous economic conclusions,
including for Irico
None of the rebuttal arguments I made regarding North American CPTs are defendant specific.
That is, my rebuttal arguments all apply equally to Irico as to other Defendants. Further, while
Irico’s counsel’s assumptions about whether certain legal conclusions are obtained are outside of
my expertise, my damages results can accommodate any such legal conclusions through simple
arithmetic adjustments.
Consequently, I maintain, as I did in my September 26, 2014 Rebuttal Expert Report, that my
conclusion that 22.0% and 9.0% are reasonable measures of the direct overcharge the cartel
participants imposed on CDTs and CPTs, respectively, for most of the cartel period. 77




75
  My worldwide overcharge estimates incorporate data from all sources while Professor Willig is forced to discard a
substantial amount of data from his NAFTA overcharge estimates because the data have incomplete customer
location information. As a result, my worldwide CPT overcharge estimates are based on 2,574 observations, while
Professor Willig’s NAFTA estimates are based on only 1,314 observations. My estimates are based on roughly
twice as many data points as Professor Willig’s.
76
     Guerin-Calvert Supplemental Report, ¶34.
77
     Netz Expert Report Errata.
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I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief. This declaration was executed on the 27th day of April 2022, at

Oakland, California.



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JANET S. NETZ
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                             Dr. Janet S. Netz
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Education

Ph.D. Economics, University of Michigan, 1992
M.A. Economics, University of Michigan, 1990
B.A. Economics, University of California at Berkeley, 1986, cum laude

Employment

Founder and Partner, applEcon, May 2001 to present
Visiting Associate Professor, University of Michigan, Fall 2001, Fall 2002, Fall 2003
Associate Professor, Purdue University, Fall 2001 to January 2003
Visiting Assistant Professor, University of Michigan, Winter 2001
Assistant Professor, Purdue University, Fall 1994 to Spring 2001
Assistant Professor, University of Delaware, Fall 1992 to Summer 1994

Courses Taught

Industrial Organization (undergraduate and doctoral)
Antitrust and Regulation (undergraduate)
Intermediate Microeconomics (undergraduate and master’s)
Microeconomic Principles (undergraduate)
International Economics (undergraduate and master’s)

Honors and Awards

Outstanding Antitrust Litigation Achievement in Economics, awarded by the American Antitrust
Institute, for work In re TFT-LCD Antitrust Litigation, 2013.

Outstanding Economics Professor of the Year, Economics Club, Purdue University, 1999.




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Publications

“Are All Men’s College Basketball Players Exploited?”, with Erin Lane and Juan Nagel, Journal of
Sports Economics, 15(3), June 2014, 237-262.

“Price Regulation: Theory and Performance”, in Regulation and Economics, Roger J. Van den Bergh
and Alessio M. Pacces, eds., Edward Elgar Publishing, 2011.

“Sports Trivia: A Review of The Economics of Intercollegiate Sports by Randy R. Grant, John Leadley,
and Zenon Zygmont”, Journal of Economic Literature, 47(2), June 2009, 485-489.

“One-Way Standards as an Anti-Competitive Strategy”, with Jeffrey K. MacKie-Mason, in Standards
and Public Policy, Shane Greenstein and Victor Stango, eds., Cambridge Press, 2007.

“International Integration and Growth: A Further Investigation on Developing Countries”, with Claire
Economidou and Vivian Lei, International Advances in Economic Research, 12(4), November 2006,
435-448.

“Maximum or Minimum Differentiation? An Empirical Investigation into the Location of Firms”, with
Beck A. Taylor, Review of Economics and Statistics, 84(1), February 2002, 162-175.

“International Integration and Growth: A Survey and Empirical Investigation”, with Vivian Lei and Jon
D. Haveman, Review of Development Economics, 5(2), June 2001, 289-311.

“Price Regulation: A (Non-Technical) Overview”, in Encyclopedia of Law and Economics, Boudewijn
Bouckaert and Gerrit De Geest, eds, Edward Elgar and University of Ghent, 2000.

“Exercising Market Power in Proprietary Aftermarkets,” with Severin Borenstein and Jeffrey K. MacKie-
Mason, Journal of Economic and Management Strategy, 9(2), Summer 2000, 157-188.

“All in the Family: Family, Income, and Labor Force Attachment”, with Jon D. Haveman, Feminist
Economics, 5(3), November 1999, 85-106.

“Why Do All Flights Leave at 8am?: Competition and Departure-Time Differentiation in Airline
Markets”, with Severin Borenstein, International Journal of Industrial Organization, 17(5), July 1999,
611-640.

“An Empirical Test of the Effect of Basis Risk on Cash Market Positions”, Journal of Futures Markets,
16(3), May 1996, 289-312.

“The Effect of Futures Markets and Corners on Storage and Spot Price Variability”, American Journal
of Agricultural Economics, 77(1), February 1995, 182-193.

“Antitrust Policy in Aftermarkets”, with Severin Borenstein and Jeffrey K. MacKie-Mason, Antitrust Law
Journal, 63(2), Winter 1995, 455-482.

“The Economics of Customer Lock-In and Market Power in Services”, with Severin Borenstein and
Jeffrey K. MacKie-Mason, in The Service Productivity and Quality Challenge, Patrick T. Harker, ed.,
Kluwer Academic, 1994.

Working Papers and Work in Progress

“LCDs and Antitrust: Does Crime Pay?”, with Nick Navitski and Josh Palmer

“Fantasy Football Points as a Measure of Performance”, with Erin Lane and Juan Nagel



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“Non-Profits and Price-Fixing: The Case of the Ivy League”

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”

“Basis and Exchange Rate Risks and their Impact on Storage and Exports”

Research Grants

“Product Customization and Product-Space Positioning”, Dauch Center for the Management of
 Manufacturing Enterprises, Summer 2000.

“Trade Barriers, Trade Blocs, Growth, and Convergence”, Purdue Research Foundation, 1998-1999.
“Effects of Informational Asymmetry on Competition in the Residential Long Distance Calling Market”,
 Purdue Research Foundation, 1997-1998.

“Basis and Exchange Rate Risks and their Impact on Storage and Exports”, Center for International
 Business and Economic Research, Summer 1997.

Global Initiative Faculty Grant (Course Development), “Industrial Organization in an International
Marketplace”, Purdue University, Summer 1997.

“Trade, Not Aid”, Purdue Research Foundation, Summer 1996.

“Trade, Not Aid”, Center for International Business and Economic Research, Summer 1996.

“The Effect of Price-Fixing by Institutions of Higher Education”, Purdue Research Foundation, Summer
 1995.

“Applied Microeconomics/International Workshop”, Purdue University, Spring 1995.

“The Market Structure of Higher Education”, University of Delaware, Summer 1993.

Research Associate, Center for the Study of Futures Markets, Columbia University, 1991.

Rackham Merit Fellowship, University of Michigan, 1987-1989.

Chancellor’s Scholar, University of California at Berkeley, 1983-1986.

Referee

American Economic Review
Contemporary Economic Policy
Economics Bulletin
Feminist Economics
International Journal of the Economics of Business
International Journal of Industrial Organization
Journal of Economic Education
Journal of Economic and Management Strategy
Journal of Family and Economic Issues
Journal of Futures Markets
Journal of Industrial Economics
Journal of Law and Economics
Journal of Law, Economics, and Organization
Management Science
Review of Economics and Statistics
Scandinavian Journal of Economics


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Telecommunications Systems

Conference and Workshop Presentations

Panel participant, “Apple v. Pepper: SCOTUS Clarifies Application of Illinois Brick”, ABA Section of
Antitrust Law, May 2019.

Panel participant, “Is ‘Direct’ Really Correct? Bricks, Tix, Kicks, and Apps after Apple v. Pepper”, ABA
Section of Antitrust Law, Pricing Conduct and Civil Practice and Procedure Committees Program,
October 2018.

Panel participant, “Will Apple’s App Store Lead to the end of Illinois Brick”, CLA Antitrust, UCL &
Privacy Law Section and ABA Antitrust Section’s Global Private Litigation Committee program, San
Francisco, CA, July 2018.

Guest lecturer, Antitrust Law, University of San Francisco Law School, April 2017 and 2018.

Panel participant, “The Challenge of Circumstantial Proof of Cartel Behavior and of Presenting
Economic Issues and Concepts to Judges and Juries”, American Antitrust Institute, 10th Annual Private
Enforcement Conference, Washington, DC, November 2016.

Panel participant, “Winning or Losing: Class Certification Post-Comcast”, American Bar Association,
62nd Antitrust Law Spring Meeting, Washington, DC, March 2014.

Panel participant, “Preparing Early and Often”, State-of-the-Art Strategies for Managing Class Action
Experts, American Bar Association, 16th Annual National Institute on Class Actions, Chicago, IL,
October 2012.

Panel participant, “Hot Topics Involving Experts in Antitrust Litigation”, New York State Bar
Association, Antitrust Law Section, Annual Meeting, New York, NY, January 2011.

Guest lecturer, Alternative Dispute Resolution Practicum, University of Michigan Law School, April
2008.

“The Economics of Indirect Purchaser Cases”, State Bar of Arizona Annual Conference, Phoenix, AZ,
June 2004.

“Manipulating Interface Standards as an Anti-Competitive Strategy”, Standards and Public Policy
Conference, Federal Reserve Bank of Chicago, Chicago, Il, May 2004.

“One-Way Standards as an Anti-Competitive Strategy”, Telecommunications Policy Research
Conference, Alexandria, VA, September 2002.

“Product Proliferation and Product Space Location”, Econometric Society Meetings, New Orleans,
January 2001.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, American
Economics Association Meetings, New Orleans, January 2001.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, Indiana
University-Purdue University Indianapolis, November 2000.

“Maximum or Minimum Differentiation? An Empirical Investigation into the Location of Firms”,
University of British Columbia, March 2000.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, University of Illinois, October 1999.


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“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, Baylor
University, September 1999.

“The End of Collusion? Competition after Justice and the Ivy League and MIT Settle”, Western
Economic Association Meetings, San Diego, July 1999.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, University of Chicago, April 1999.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, Indiana University, December 1998.

“International Integration and Growth: A Survey and Empirical Investigation”, Dynamics, Economic
Growth, and International Trade, III, Taiwan, August 1998.

Discussant (“Fiscal Policy and International Demand Spillovers”), Dynamics, Economic Growth, and
International Trade, III, An International Conference, Taiwan, August 1998.

“International Integration and Growth”, Workshop on Empirical Research in International
Trade and Investment, Copenhagen, June 1998.

Discussant (“Factor Endowments and the Pattern of Affiliate Production by Multinational
Enterprises,” by Karolina Ekholm), Workshop on Empirical Research in International Trade
and Investment, Copenhagen, June 1998.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, Department of Justice Antitrust
Division, April 1998.

“Non-Profits and Price-Fixing: The Case of the Ivy League”, American Economics
Association Meetings, Chicago, January 1998.

Discussant (“Equilibrium under Satisficing,” by Ralph W. Pfouts), International Atlantic Economics
Society, ASSA Meetings, Chicago, January 1998.

Discussant (“Overseas Investments and Firm Exports,” by Keith Head and John Ries),
Fourth Annual Empirical Investigations in International Trade conference, Purdue
University, November 1997.

“Maximum or Minimum Differentiation? An Empirical Investigation into the Location of
Firms”, International Atlantic Economic Association Conference, Philadelphia, October
1997.

Discussant (“Antidumping Enforcement in a Reciprocal Model of Dumping: Theory and
Evidence,” Taiji Furusawa and Thomas J. Prusa) and session chair, Third Annual Empirical
Investigations in International Trade conference, Purdue University, November 1996.

“The Effect of Price-Fixing by Institutions of Higher Education”, Indiana University-Purdue
University Indianapolis, April 1996.

“Exercising Market Power in Proprietary Aftermarkets”, with Severin Borenstein and Jeffrey
K. MacKie-Mason, Indiana University - Purdue University - IUPUI First Tri-School
Conference, March 1996.

“All in the Family: Family, Income, and Labor Force Attachment”, with Jon D. Haveman,
American Economic Association Meetings, San Francisco, January 1996.

“Family Matters: Unemployment, Wage Changes, and Mobility”, with Jon D. Haveman,
Southern Economics Association Meetings, New Orleans, November 1995.


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Discussant and session chair, Second Annual Empirical Investigations in International
Trade conference, Purdue University, November 1995.

“Competition and Anti-Competitive Behavior”, ICLE (The State Bar of Michigan)
Conference on Antitrust and Intellectual Property, July 1995.

“Price-Fixing, Tuition, and Financial Aid”, Midwest Economics Association Meetings,
Cincinnati, April 1995.

“Family Matters: Unemployment, Wage Changes, and Mobility,” Midwest Economics
Association Meetings, Cincinnati, April 1995.

Discussant and session chair, “Customer Discrimination, Entrepreneurial Decisions, and
Investment”, Midwest Economics Association Meetings, April 1995.

“An Empirical Test of the Effect of Basis Risk on Cash Market Positions”, University of
Illinois, Urbana-Champaign, February 1995.

Discussant and session chair, First Annual Empirical Investigations in International Trade
conference, Purdue University, November 1994.

“Antitrust Policy in Aftermarkets”, with Severin Borenstein and Jeffrey K. MacKie-Mason,
FTC/DOJ/ABA Conference on Post-Chicago Economics, Washington, D.C., May 1994.

“The Effect of Price-Fixing by Institutions of Higher Education, University of Delaware,
May 1994.

“The Effect of Futures Markets and Corners on Storage and Spot Price Variability”, Purdue
University, February 1994.

“An Empirical Test of the Effect of Basis Risk on Cash Market Positions”, University of
California at Davis, February 1993.

Discussant, Econometrics Association, Anaheim, 1992 Annual Meetings.

“Testing the Principle of Minimum Differentiation: Airline Departure-Time Crowding”, Econometrics
Association, Washington, D.C., 1990 Annual Meetings.

Consulting and Testifying

Automobile Antitrust Cases I and II, 2021-
Superior Court of California County of San Francisco Unlimited Jurisdiction, Case No. CJC-03-004298
and CJC-03-004303
Testifying expert for plaintiffs
Deposed September 2021

Contant v. Bank of America, 2019-
United States District Court, Southern District of New York, No. 17-cv-3139-LGS
Testifying expert for plaintiffs

Barroqueiro, et al. v. Qualcomm Incorporated, et al., 2019-
Supreme Court of British Columbia, VLC-S-S1410987
Antitrust analysis regarding various cellular phone components




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Confidential client, 2018-
Antitrust analysis regarding pharmaceutical products

In re Malden Transportation, Inc. et al., v. Uber Technologies, Inc., 2018-
United States District Court, District of Massachusetts, No. 1:16-cv-12538-NGM
Testifying expert for plaintiffs

Confidential client, 2017-2018
Antitrust analysis regarding various cellular phone components

In re Automotive Parts Antitrust Litigation
United States District Court, Eastern District of Michigan Southern Division, No. 2:12-cv-02311
Testifying expert for plaintiffs
      In re Occupant Safety Systems, No. 2:12-cv-00603, 2018-
      In re Heater Control Panels, No. 2:12-cv-00403, 2018-
      In re Anti-Vibrational Rubber Parts, No. 2:13-cv-00803-MOB-MKM, 2016-
      In re Bearings, No. 2:12-cv-00500, 2016-
      In re Automotive Wire Harness Systems Antitrust Litigation, No.12-md-00101, 2012-
      In re Shock Absorbers Cases, No. 2:16-cv-0332, 2015-

Alarm Detection Systems, Inc. v. Orland Fire Protection District, et al., 2016-2019
United States District Court, Northern District of Illinois, No. 14-cv-00876
Testifying expert for plaintiff
Deposed May 2017
Testified at trial May 2017

In re LIBOR-Based Financial Instruments Antitrust Litigation, 2016-
United States District Court, Southern District of New York, No. 1:11-md-02262-NRB
Testifying expert for plaintiffs
Deposed March 2017, June 2017

Stacey Pierce-Nunes, on behalf of herself and all others similarly situated, v. Toshiba American
Information Systems, 2015-
United States District Court, Central District of California, No. 3:14-CV-00796 JST
Testifying expert for plaintiffs
Deposed April 2016

John Moseley v. Toshiba America Information Systems, Inc., 2015-
Judicial Arbitration and Mediation Services No. 1200049482
Testifying expert for claimant
Deposed July 2015

In re Cathode Ray Tube (CRT) Antitrust Litigation, 2008-
United States District Court, Northern District of California, San Francisco Division, No. CV-07-5944-
SC
Testifying expert for plaintiffs
Deposed November 2012, March 2013, June 2014, September 2014, October 2014

In re Photochromic Lens Antitrust Litigation, 2010-2012
United States District Court Middle District of Florida, Tampa Division, No. 8:10-md-02173-JDW-EAJ
Testifying expert for plaintiffs
Deposed August 2012

Datel Holdings and Datel Design and Development v. Microsoft, 2010-2011
United States District Court, Northern District of California, San Francisco Division, No. 09-cv-05535
Testifying expert for plaintiffs
Deposed October 2011

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In re Prefilled Propane Tank Marketing and Sales Practices Litigation, 2010-2011
United States District Court, Western District of Missouri, Western Division, No. 4:09-cv-00465
Testifying expert for plaintiffs

In re Florida Cement and Concrete Antitrust Litigation, 2010
United States District Court, Southern District of Florida, Miami Division, No. 1:09-cv-23493-CMA
Consulting expert for plaintiffs

Altair Engineering v. MSC Software, 2009-2010
United States District Court, Eastern District of Michigan, Southern Division, No. 2:07-cv-12807
Testifying expert for plaintiff
Deposed May 2010

In re Optical Disk Drive products Antitrust Litigation, 2009-2010
United States District Court, Northern District of California, San Francisco Division, No. M:2010-cv-
02143
Consulting expert for plaintiffs

In re Flash Memory Antitrust Litigation, 2008-2011
United States District Court, Northern District of California, Oakland Division, No. C-07-0086-SBA
Testifying expert for plaintiffs
Deposed August 2009

Valassis Communications, Inc. v. News America, Inc., 2008-2009
United States District Court, Eastern District of Michigan, Southern Division, No. 2:06-cv-10240
Circuit Court of the State of Michigan, County of Wayne, No. XX-XXXXXXX-CZ
Consulting expert for plaintiff

In re TFT-LCD (Flat Panel) Antitrust Litigation, 2008-2012
United States District Court, Northern District of California, San Francisco Division, No. M:07-cv-01827
Testifying expert for plaintiffs
Deposed July 2009, June 2011, August 2011

Houston Baptist University v. NCAA, 2008-2009
United States District Court in and for the Southern District of Texas, Houston Division
Testifying expert for plaintiff

Seoul Semiconductor Co. v. Nichia Corp., 2008
United States District Court, Northern District of California, No. 3:08-cv-04932-PJH
Testifying expert for plaintiffs

Albert Andy Cohn v. Office Depot, 2008
Superior Court of the State of California, County of Los Angeles, Central District, No. BC 372449
Testifying expert for defendant

In re Graphics Processing Units Antitrust Litigation, 2007-2008
United States District Court Northern District of California, No. M:07-CV-01826-WHA
Testifying expert for plaintiffs
Deposed June 2008

Pro-Sys Consultants Ltd. and Neil Godfrey v. Microsoft, 2007-2018
Supreme Court of British Columbia, No. L043175, Vancouver Registry
Testifying expert for plaintiffs
Deposed December 2008




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In re Dynamic Random Access Memory (DRAM) Antitrust Litigation, 2007
United States District Court, Northern District of California, No. 02-cv-01486
Consulting expert for plaintiffs

Jason White et al. v. NCAA, 2006-2008
United States District Court Central District of California, No. CV 06-0999 RGK (MANx)
Testifying expert for plaintiffs
Deposed October 2007

In re Reformulated Gasoline (RFG) Antitrust and Patent Litigation, 2004-2008
United States District Court Central District of California, No. 05-1671 CAS
Testifying expert for plaintiffs
Deposed December 2006

Carlisle, settlement negotiations with Crompton, EPDM price-fixing cartel, 2005-2007
Consulting expert

Caterpillar and Carlisle, settlement negotiations with DuPont-Dow Elastomers, PCP (or CR) and
EPDM price-fixing cartels, 2004-2005
Consulting expert

City and County of San Francisco et al. v. Microsoft, 2004-2007
United States District Court for the District of Maryland, No. 1332
Testifying expert for plaintiffs

The Service Source v. Office Depot, 2004-2005
United States District Court Eastern District of Michigan Southern Division, No. 02-73361
Project director

Joe Comes et al. v. Microsoft, 2002-2008
Iowa District Court for Polk County, No. CL82311
Testifying expert for plaintiffs
Deposed July 2006, November 2006

Charles Cox et al. v. Microsoft, 2002-2006
Supreme Court of the State of New York County of New York, No. 105193/00
Testifying expert for plaintiffs

Daniel Gordon et al. v. Microsoft, 2002-2004
State of Minnesota District Court County of Hennepin Fourth Judicial District, No. 00-5994
Testifying expert for plaintiffs
Deposed September 2003

Morelock Enterprises, Inc. v. Weyerhaeuser Co., 2004-2008
United States District Court District of Oregon, No. 3:04-cv-00583-PA
Testifying expert for plaintiffs
Deposed October 2004, April 2005, October 2007
Testified in trial April 2008

Compuware v. IBM, 2002-2005
United States District Court for the Eastern District of Michigan, No. 02-70906
Project director

In re New Mexico Indirect Purchaser Microsoft Corp. Antitrust Litigation, 2002-2004
State of New Mexico First Judicial District, No. D-0101-CV-2000-1697
Testifying expert for plaintiffs


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Charles Friedman et al. v. Microsoft, 2002-2004
Superior Court of the State of Arizona in and for the County of Maricopa, No. CV2000-000722 /
CV2000-005872
Testifying expert for plaintiffs
Deposed September 2003

In re Massachusetts Consumer Protection Litigation, 2003-2004
Commonwealth of Massachusetts, Superior Court Department of the Trial Court Middlesex Division,
No. 00-2456
Consulting expert

Olson v. Microsoft, 2002
Montana First Judicial District Court Lewis & Clark County, No. CDV-2000-219
Consulting expert

Covad v. Bell Atlantic (Verizon), 2001-2004
United District Court for the District of Columbia, No. 99-1046
Project director

AMD, 2000-2004
Project director

Leckrone, et al. v. Premark International, Inc., et al., 2001
Testifying expert for plaintiffs

Ren, et al. v. EMI Music Distribution, Inc., 2001
State of Michigan in the Circuit Court of the County of Macomb, No. 00-2383-CZ
Testifying expert for plaintiffs

SBC, 2000
Staff economist

Lingo et al. v. Microsoft, 1999-2004
Superior Court of the State of California City and County of San Francisco, J.C.C.P. No. 4106
Project director

Gravity et al. v. Microsoft, 1999-2003
United States District Court for the District of Columbia, No. 1:99CV00363
Staff economist

City and County of San Francisco, 1999
Staff economist

Intergraph v. Intel, 1998-2001
United States District Court Appeals for the Federal District, No. 98-1308
Staff economist

Comm-Tract v. Northern Telecom, 1991-1997
United States District Court District of Massachusetts, No. 90-13088-WF
Project director

Systemcare, Inc. v. Wang Computer, 1991-1993
United States District Court for the District of Colorado, No. 89-B-1778
Staff economist




                                                                                        Exhibit A
                                                                                    Page 10 of 11
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International Travel Arrangers v. Northwest Airlines, 1988-1989
Staff economist




                                                                      Exhibit A
                                                                  Page 11 of 11
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Exhibit B: Documents Relied Upon in Janet S. Netz, Ph. D.
Rebuttal to Supplemental Expert Report of Margaret E. Guerin-Calvert
Part 1: Bates Numbered Documents

CHU00030663
MTPD-0122906
PHLP-CRT-014274
SDCRT-0002528
All materials cited in the report, appendices, or backup files to the Netz Class Cert Declaration, Netz Class Cert
Rebuttal, Netz Expert Report, or Netz Expert Rebuttal Report or their errata.




                                                                                                  Exhibit B: Part 1
                                                                                                       Page 1 of 1
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Exhibit B: Documents Relied Upon in Janet S. Netz, Ph. D.
Rebuttal to Supplemental Expert Report of Margaret E. Guerin-Calvert
Part 2: Confidential Documents without Bates Numbers
05 August 2014, Opposition Expert Report of Lawrence Wu, In re: Cathode Ray Tube (CRT) Antitrust Litigation
(United States District Court Northern District of California San Francisco Division).

Clarke, Donald, 16 March 2022, Expert Report of Donald Clarke, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division).

Guerin-Calvert, Margaret E., 06 November 2014, Expert Surrebuttal Report of Margaret E. Guerin-Calvert, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).

Guerin-Calvert, Margaret E., 16 March 2022, Supplemental Expert Report of Margaret E. Guerin-Calvert, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).

Guerin-Calvert, Margaret E., 21 March 2022, Errata to the Supplemental Expert Report of Margaret E. Guerin-
Calvert, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of
California San Francisco Division).

Guerin-Calvert, Margaret E., 23 September 2014, Errata to The Expert Report of Margaret E. Guerin-Calvert, In re:
Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San
Francisco Division).

Guerin-Calvert, Margaret E., 05 August 2014, Expert Report of Margaret E. Guerin-Calvert, In re: Cathode Ray
Tube (CRT) Antitrust Litigation (United States District Court Northern District of California San Francisco
Division).

Netz, Janet S., 01 October 2012, Declaration of Janet S. Netz, Ph.D., In Support of Motion of Indirect-Purchaser
Plaintiffs for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court
Northern District of California San Francisco Division).

Netz, Janet S., 03 July 2014, Errata to the Expert Report of Janet S. Netz, Ph.D., In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco Division).

Netz, Janet S., 15 April 2014, Expert Report of Janet S. Netz, PH.D, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division).

Netz, Janet S., 15 February 2013, Rebuttal Declaration of Janet S. Netz, PH.D., in Support of Motion of Indirect-
Purchaser Plaintiffs for Class Certification, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States
District Court Northern District of California San Francisco Division).

Netz, Janet S., 26 September 2014, Rebuttal Expert Report of Janet S. Netz, PH.D., In re: Cathode Ray Tube (CRT)
Antitrust Litigation (United States District Court Northern District of California San Francisco Division).

Willig, Robert D., 05 August 2014, Expert Report of Robert D. Willig, In re: Cathode Ray Tube (CRT) Antitrust
Litigation (United States District Court Northern District of California San Francisco Division).

Willig, Robert D., 06 November 2014, Expert Surrebuttal Report of Robert D. Willig, In re: Cathode Ray Tube
(CRT) Antitrust Litigation (United States District Court Northern District of California San Francisco Division).

All materials cited in the report, appendices, or backup files to the Netz Class Cert Declaration, Netz Class Cert
Rebuttal, Netz Expert Report, or Netz Expert Rebuttal Report or their errata.




                                                                                                  Exhibit B: Part 2
                                                                                                       Page 1 of 1
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Exhibit C: Documents Relied Upon in Janet S. Netz, Ph. D.
Rebuttal to Supplemental Expert Report of Margaret E. Guerin-Calvert

23 February 2022, Indirect Purchaser Plaintiffs' Objections and Responses to the IRICO Defendants' Second Set of
Interrogatories, In re: Cathode Ray Tube (CRT) Antitrust Litigation (United States District Court Northern District
of California San Francisco Division).

United States International Trade Commission, May 2004, Certain Color Television Receivers from China, USITC
Publication 3695, http://www.USITC.gov/publications/701_731/pub3695.pdf, accessed 17 May 2012.

All materials cited in the report, appendices, or backup files to the Netz Class Cert Declaration, Netz Class Cert
Rebuttal, Netz Expert Report, or Netz Expert Rebuttal Report or their errata.




                                                                                                          Exhibit C
                                                                                                         Page 1 of 1
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1                           UNITED STATES DISTRICT COURT
2                          NORTHERN DISTRICT OF CALIFORNIA
3                                 OAKLAND DIVISION
4
5       IN RE: CATHODE RAY TUBE (CRT) ) MASTER FILE NO.
        ANTITRUST LITIGATION           ) CV-07-5944 JST
6       _______________________________)
                                       )
7       THIS DOCUMENT RELATES TO:      )
                                       )
8       ALL INDIRECT PURCHASER ACTIONS )
        ALL DIRECT PURCHASER ACTIONS   )
9                                      )
                  DEFENDANTS.          )
10      _______________________________)
11
12
                      VIDEOTAPED DEPOSITION OF WANG ZHAOJIE
13
                                           VOLUME III
14
                            THURSDAY, SEPTEMBER 22, 2022
15
                                  MACAU S.A.R., CHINA
16
17
18
19
20      FILE NO.      SF 5436468
21
22      REPORTED BY        MARK McCLURE, CRR
23                         CAL CSR 12203
24
25

                                                                 Page 322

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     Case 4:07-cv-05944-JST Document 6150-1 Filed 02/15/23 Page 1005 of 1309


1       VIDEOTAPED DEPOSITION OF WANG ZHAOJIE, VOLUME III, TAKEN
2       AT 8:04 A.M., CHINA STANDARD TIME, THURSDAY, SEPTEMBER
3       22, 2022, MACAU, VIA VERITEXT REMOTE TECHNOLOGY, BEFORE
4       MARK McCLURE, C.S.R. #12203, CERTIFIED SHORTHAND
5       REPORTER IN AND FOR THE STATE OF CALIFORNIA.
6
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1       ALSO PRESENT:
2                    WENKAI ZHANG, IN-HOUSE COUNSEL, IRICO GROUP
3                    AMANDA LIN, MAIN INTERPRETER
4                    RAMON PERAZA, VIDEOGRAPHER
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1       plaintiff's counsels are very loud in making the                17:32:20

2       objections and that kind of interfered with my train of         17:32:24

3       thought when I was formulating my responses.                    17:32:28

4                   I need a five-minute break, please.                 17:32:32

5                   MR. TALADAY:   Okay.     Let's go off the record,   17:32:35

6       and we can resume in five minutes.                              17:32:37

7                   THE VIDEOGRAPHER:      We are off the record at     17:32:48

8       8:32 a.m.                                                       17:32:51

9                   (A short recess was taken.)                         17:33:51

10                  THE VIDEOGRAPHER:      We are back on the record    17:40:07

11      at 8:40 a.m.                                                    17:40:12

12      BY MR. TALADAY:                                                 17:40:13

13           Q.     Mr. Wang, my question is whether you believe        17:40:16

14      that you became aware of these regulations at the time          17:40:18

15      they were issued or near the time they were issued.             17:40:23

16                  MR. RUSHING:   Objection to the form.               17:40:40

17      Mischaracterizes the exhibit.        Lack of foundation.        17:40:44

18                  THE WITNESS:   The answer is yes.                   17:40:55

19      BY MR. TALADAY:                                                 17:40:55

20           Q.     I believe you said that this regulation had an      17:40:58

21      effect in the industry, is that correct?                        17:41:04

22                  MR. RUSHING:   Objection to the form.               17:41:06

23                  THE WITNESS:   Yes.                                 17:41:20

24      BY MR. TALADAY:                                                 17:41:21

25           Q.     Can you tell us what effect it had?                 17:41:22

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1                 MR. RUSHING:    Object to form.      Lack of         17:41:25

2       foundation.                                                    17:41:32

3                 THE WITNESS:    First of all, IRICO was and is a     17:42:09

4       state-owned enterprise, and in the past, it was under          17:42:12

5       the management and supervision of the department of            17:42:16

6       electronics industry.    Later on, it was transferred and      17:42:24

7       put under the management and supervision of the state's        17:42:26

8       department of information industry, so documents and           17:42:31

9       regulations pertaining to the management of the                17:42:38

10      state-owned enterprises would be related to IRICO, since       17:42:42

11      it is a state-owned and state-managed enterprise, and          17:42:45

12      IRICO has to adhere to the regulations and contents set        17:42:51

13      forth in the documents, as well as the spirit described        17:42:57

14      in the documents, because it is under the supervision          17:43:00

15      and oversee of the council, and committees of the              17:43:05

16      relevant industry from the country's departments.              17:43:13

17      BY MR. TALADAY:                                                17:43:13

18           Q.   And when you say --                                  17:43:21

19                MR. RUSHING:    Move to strike as nonresponsive.     17:43:23

20      BY MR. TALADAY:                                                17:43:23

21           Q.   When you say that IRICO had to adhere to the         17:43:32

22      regulations and contents set forth in the documents,           17:43:40

23      what was your understanding of the regulation and              17:43:44

24      content set forth in the documents?                            17:43:48

25                MR. RUSHING:    Objection.    Mischaracterizes the   17:43:50

                                                                       Page 339

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1                                UNITED STATES DISTRICT COURT
2                              NORTHERN DISTRICT OF CALIFORNIA
3                                        OAKLAND DIVISION
4
5             IN RE: CATHODE RAY TUBE (CRT)                 ) MASTER FILE NO.
              ANTITRUST LITIGATION                          ) CV-07-5944 JST
6             _______________________________)
                                                            )
7             THIS DOCUMENT RELATES TO:                     )
                                                            )
8             ALL INDIRECT PURCHASER ACTIONS )
              ALL DIRECT PURCHASER ACTIONS                  )
9                                                           )
                           DEFENDANTS.                      )
10            _______________________________)
11
12
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14
15                         VIDEOTAPED DEPOSITION OF YAN YUNLONG
16                                            VOLUME III
17                               THURSDAY, SEPTEMBER 29, 2022
18                                    MACAU S.A.R., CHINA
19
20
21
22            FILE NO.     SF 5436477
23
24            REPORTED BY      MARK McCLURE, CRR
25                             CAL CSR 12203

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 1      VIDEOTAPED DEPOSITION OF YAN YUNLONG, VOLUME III, TAKEN
 2      AT 8:04 A.M., CHINA STANDARD TIME, THURSDAY, SEPTEMBER
 3      29, 2022, MACAU S.A.R, CHINA, VIA VERITEXT REMOTE
 4      TECHNOLOGY, BEFORE MARK McCLURE, C.S.R. #12203,
 5      CERTIFIED SHORTHAND REPORTER IN AND FOR THE STATE OF
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1       APPEARANCES OF COUNSEL:       CONTINUING
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1       competition by offering products at very low prices or            08:53:47

2       prices that have gone beyond the cost.                            08:53:52

3                  MR. BIRKHAEUSER:    Objection to the extent it         08:53:56

4       calls for a legal opinion.                                        08:53:58

5       BY MR. CARTER:                                                    08:53:58

6             Q.   To your knowledge, would those laws and                08:54:13

7       regulations have applied just to Irico or to all or some          08:54:14

8       other scope of companies?                                         08:54:19

9                  MR. RUSHING:   Object to form.       Objection that    08:54:22

10      it calls for a legal opinion.      Lacks foundation.              08:54:26

11                 THE WITNESS:   We can actually look up these           08:55:35

12      laws and regulations, and they provide very clear scope           08:55:37

13      and definition as to what industry it would be applied            08:55:41

14      to.                                                               08:55:46

15                 And regarding the first law I referenced in my         08:55:48

16      previous answer, I believe and I remember it could be             08:55:52

17      applied to certain industries such as color picture               08:55:57

18      tube, iron and maybe glass.                                       08:56:02

19                 Regarding the second law I referenced, I               08:56:06

20      remember it applies to the industry of color picture              08:56:13

21      tubes and the TV sets that were manufactured by using             08:56:15

22      color picture tubes, meaning the industry of TV sets              08:56:21

23      that use color picture tubes.                                     08:56:26

24      BY MR. CARTER:                                                    08:56:26

25            Q.   Can you please describe your understanding of          08:56:39

                                                                         Page 334

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1       what those regulations required Irico to do regarding            08:56:41

2       its CRT prices?                                                  08:56:45

3                    MR. RUSHING:   Objection to form in many            08:56:48

4       respects.     Vague as to time.    Leading.    Calls for a       08:56:54

5       legal opinion.     Lacks foundation.                             08:57:00

6                    THE WITNESS:   Those are laws and regulations       08:57:58

7       issued by a state department or committee, and it is             08:58:01

8       mandatory.     So, at Irico Group, as a state owned              08:58:06

9       enterprise and the legal representative, legal person,           08:58:12

10      we have the obligation to follow the laws and                    08:58:17

11      regulations.     And in the event of any violation, Irico        08:58:19

12      Group may be faced with fines or even have to bear               08:58:26

13      corresponding legal liability.                                   08:58:33

14      BY MR. CARTER:                                                   08:58:33

15           Q.      Mr. Yan, you mentioned something called the         08:58:45

16      National Planning Committee.                                     08:58:48

17                   Is that also known as the State Planning            08:58:50

18      Commission, or are those two different entities?                 08:58:53

19                   MR. RUSHING:   Objection to form.          Lacks    08:58:55

20      foundation.                                                      08:58:57

21                   THE WITNESS:   In Chinese, the meaning of that      08:59:35

22      committee is a committee or commission for planning, and         08:59:37

23      sometimes we short-form it to refer to it as planning            08:59:43

24      committee.                                                       08:59:49

25                   But as to the names you just asked me about,        08:59:51

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1                  MR. BIRKHAEUSER:       Objection.   Leading.            09:30:19

2                  THE WITNESS:    Yes.                                    09:30:44

3                  MR. CARTER:    I have a few more questions on           09:30:54

4       this document but why don't we take ten minutes so the             09:30:56

5       videographer can change the tape.                                  09:31:00

6                  MR. RUSHING:    Okay.                                   09:31:02

7                  THE VIDEOGRAPHER:       We are now going off the        09:31:03

8       record.   The time is 9:31.                                        09:31:06

9                  (A short recess was taken.)                             09:31:11

10                 THE VIDEOGRAPHER:       We are now back on the          09:49:33

11      record.   The time is 9:50.                                        09:49:42

12      BY MR. CARTER:                                                     09:49:48

13           Q.    Mr. Yan, could you turn back to the page                09:49:48

14      ending in 463, with the trial measures.         This is still      09:49:51

15      on Exhibit 8550.                                                   09:50:00

16           A.    Okay.                                                   09:50:14

17           Q.    Looking at Article 6, at the very bottom of             09:50:15

18      this page, it states:     "Ex-factory prices of a                  09:50:20

19      manufacturer shall not be lower than the industrial                09:50:24

20      average production costs in principle."                            09:50:27

21                 Do you see that?                                        09:50:29

22           A.    I see it.                                               09:50:44

23           Q.    What's your understanding of the meaning of             09:50:44

24      that requirement?                                                  09:50:46

25                 MR. RUSHING:    Objection to form.          It lacks    09:50:48

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1       foundation.   Improper legal opinion.                           09:50:51

2                 THE WITNESS:   My understanding is that the           09:51:25

3       ex-factory prices of our Irico CRT products should not          09:51:28

4       be below the average production cost published by the           09:51:34

5       national government agencies, as referenced earlier;            09:51:41

6       which means that for each of the 20-inch color picture          09:52:07

7       tube that we manufacture, the price cannot go lower than        09:52:10

8       440 RMB, and the price of the 25-inch color picture tube        09:52:18

9       should not go lower than 720 RMB.                               09:52:25

10      BY MR. CARTER:                                                  09:52:25

11           Q.   Mr. Yan, looking back at page 460, with the           09:52:45

12      newspaper clipping --                                           09:52:48

13           A.   Okay.                                                 09:52:54

14           Q.   -- the table at the bottom of that clipping is        09:52:55

15      titled "Industrial Average Production Cost," correct?           09:52:58

16                MR. RUSHING:   Objection to form.                     09:53:10

17                THE WITNESS:   Yes.                                   09:53:11

18      BY MR. CARTER:                                                  09:53:11

19           Q.   To your understanding, if Irico Group's               09:53:17

20      production costs were lower than the industry average,          09:53:21

21      could Irico Group lawfully price its CRTs below these           09:53:27

22      levels?                                                         09:53:32

23                MR. RUSHING:   Objection to form.          Lack of    09:53:33

24      foundation.   Calls for an improper legal opinion.              09:53:36

25                THE WITNESS:   No.                                    09:54:10

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                     UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

                            OAKLAND DIVISION


IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION
                                          Master File No. 07-CV-5944-JST
This document relates to:                 MDL No. 1917
ALL INDIRECT PURCHASER ACTIONS




   SUPPLEMENTAL EXPERT REPORT OF MARGARET E. GUERIN-CALVERT


                                 03/16/2022
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I.      Introduction
     A. Qualifications

        1.     I am Margaret E. Guerin-Calvert, President and Senior Managing Director of FTI
        Consulting, Inc. Center for Healthcare Economics and Policy, a business unit that
        specializes in healthcare economics and applied microeconomics. I am an industrial
        organization economist, which is the branch of economics that involves the study of firms,
        industries, consumer behavior, and pricing. I continue to serve on some matters as Senior
        Consultant with Compass Lexecon, an independent subsidiary of FTI Consulting, Inc., a
        firm which specializes in antitrust and applied microeconomics. I am a founding director
        of its predecessor, Compass (Competition Policy Associates).

        2.     I have worked as an economist in public and private sectors on issues related to
        competition and competition policy involving a variety of industries since 1979. I served
        as Assistant Chief of the Economic Regulatory Section of the Antitrust Division, US
        Department of Justice, where among other matters I had primary responsibility for both
        merger and conduct matters for a variety of industries, including market power and
        regulatory analyses, as Economist at the Federal Reserve Board, and as an Adjunct Lecturer
        at Duke University’s Sanford School of Public Policy (formerly the Institute of Policy
        Sciences). As an economic expert, I have reviewed a large number of competition issues
        and matters including mergers and claims of market power, coordinated effects as well as
        economic assessment of industry and market conditions. I have testified on matters
        involving economic analysis of class certification, merits/liability, and damages, among
        other issues. My credentials and experience encompass more than three decades of work
        in antitrust and regulatory policy, including qualification as an expert economist in the
        U.S., Canada, and New Zealand.

        3.     My professional expertise, including a listing of peer-reviewed publications as well
        as presentations, is set out in detail in my curriculum vitae, which is attached as Appendix
        A. Appendix B contains a list of my testimony in the last four years at trial or deposition.
        Compass Lexecon is being compensated for my work at my customary hourly rate of
        $1,410. This compensation is in no way connected to the outcome of this litigation.


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      B. Overview and Assignment

          4.     Plaintiffs in this matter are indirect purchasers of computer monitors and televisions
          (“finished products”) that contain color display tubes (“CDTs”) and color picture tubes
          (“CPTs”), respectively, which are two types of cathode ray tubes (“CRTs”). Plaintiffs
          allege that the “Defendants conspired to fix, raise, maintain and/or stabilize prices of CRT
          Products sold in the United States. Because of Defendants’ unlawful conduct, Plaintiffs
          and other Class Members paid artificially inflated prices for CRT Products and have
          suffered antitrust injury to their business or property.”1

          5.     The Indirect Purchaser Plaintiffs (“IPPs”) have retained Dr. Janet Netz to offer
          expert economic testimony related to their claims. Dr. Netz concludes that “the cartel was
          successful in raising price above the competitive level.” 2 In an expert report submitted in
          2014, Dr. Netz also concludes that “class members were harmed as a result of the cartel’s
          actions.”3 Dr. Netz attempts to estimate overcharges for CRTs, and concludes that, “the
          but-for CDT prices for 1995-2006 would have been 22.0% lower than the cartel price and
          for 2007 11.4% lower; the but-for CPT prices for 1995-2006 would have been 9.0% lower




1
  Indirect Purchaser Plaintiffs’ Fifth Consolidated Amended Complaint, In re: Cathode Ray Tube
(CRT) Antitrust Litigation, September 19, 2019 (United States District Court Northern District
of California San Francisco) (“IPP Complaint”), at ¶ 1. The named Defendants are: BMCC;
Irico; LG.Philips Displays (an independent joint venture that combined LG's and Philips' CRT
manufacturing businesses); Panasonic Corporation, Panasonic Corporation of North America,
MT Picture Display Co. (an independent entity that combined Panasonic Corporation’s and
Toshiba Corp.’s CRT businesses in 2003); Koninklijke Philips Electronics N.V., Philips
Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips da
Amazonia Industria Electronica Ltda.; Samsung SDI Co., Ltd., Samsung SDI America, Inc.,
Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co.,
Ltd., Tianjin Samsung SDI Co., Ltd, Samsung SDI (Malaysia) Sdn. Bhd.; Samtel, Thai CRT;
Toshiba Corporation, Toshiba America, Inc., Toshiba America Consumer Products, L.L.C.,
Toshiba America Information Systems, Inc., Toshiba America Electronic Components, Inc.;
Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi Asia, Ltd., Hitachi
America, Ltd., Hitachi Electronic Devices (USA), Inc.; and Shenzhen SEG Hitachi Color
Display Devices, Ltd.
2
    Expert Report of Janet S. Netz, Ph.D., April 15, 2014 (“Netz Report”), p. 6.
3
    Netz Report, p. 6.

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          than the cartel price and for 2007 3.1% lower.”4 Dr. Netz also concludes that “at least 100%
          of the overcharge was passed through to class members.”5 Based on these estimates, Dr.
          Netz concludes that the alleged cartel “imposed damages of $2.8 billion on class
          members.”6 Specifically, Dr. Netz estimates that IPPs incurred damages of $2.026 billion
          on purchases of computer monitors containing CDTs and $0.743 billion on purchases of
          TVs containing CPTs.7

          6.        Since Dr. Netz submitted her initial report in the merits phase of this matter, several
          additional expert reports have been submitted. In particular:

               a)      I submitted an expert report on behalf of several Defendants8 in which I
                       assessed whether the economic analyses related to the impact of the alleged
                       cartel among CDT manufacturers and the estimated overcharges on CDT sales
                       provided by Dr. Netz provide a reliable and economically sound basis to
                       estimate damages to the IPP class.9
               b)      Similarly, Professor Robert D. Willig submitted an expert report on behalf of
                       the same Defendants in which he assessed whether the economic analyses
                       related to CPT damages provided by Dr. Netz provide a reliable and sound basis
                       to estimate damages to the IPP class.10



4
    Errata to the Expert Report of Janet S. Netz, Ph.D, July 3, 2014 (“Netz Report Errata”), p. 1.
5
    Netz Report, p. 6.
6
    Netz Report Errata, p. 1.
7
    Netz Report Errata, Exhibit ER-81.
8
  Specifically, I was retained by Winston & Strawn LLP representing Panasonic Corporation of
North America, MT Picture Display Co., Ltd., and Panasonic Corporation (f/k/a Matsushita
Electrical Industrial Co.); Kirkland & Ellis LLP representing Hitachi, Ltd., Hitachi Asia, Ltd.,
Hitachi America, Ltd., Hitachi Electronic Devices (USA), Inc., and Hitachi Displays, Ltd. (n/k/a
Japan Display Inc.); White & Case LLP representing Toshiba America Consumer Products,
L.L.C., Toshiba America Electronic Components, Inc., Toshiba America, Inc., Toshiba America
Information Systems, Inc., and Toshiba Corporation; Sheppard, Mullin, Richter & Hampton LLP
representing Samsung SDI America, Inc., Samsung SDI Co. Ltd., Samsung SDI (Malaysia) Sdn.
Bhd., Samsung SDI Mexico S.A. De C.V., Samsung SDI Brasil Ltda., Shenzen Samsung SDI
Co., Ltd., and Tianjin Samsung SDI Co., Ltd.; and Baker Botts LLP representing Koninklijke
Philips N.V., Philips Electronics North America Corporation, Philips Taiwan Limited, and
Philips do Brasil Ltda.
9
    Expert Report of Margaret E. Guerin-Calvert, August 5, 2014 (“Guerin-Calvert Report”).
10
     Expert Report of Robert D. Willig, August 5, 2014 (“Willig Report”).

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               c)      Dr. Netz subsequently submitted a rebuttal expert report in which she responded
                       to, among other reports, my initial report and Professor Willig’s initial report.11
               d)      I subsequently submitted a surrebuttal expert report in which I responded to the
                       CDT-related analyses and conclusions in Dr. Netz’s rebuttal report.12
               e)      Professor Willig also submitted a surrebuttal expert report that responded to the
                       CPT-related analyses and conclusions in Dr. Netz’s rebuttal report.13
          7.        Counsel from Baker Botts, representing Defendants Irico Group Corp. (“Irico
          Group”) and Irico Display Devices Co., Ltd. (“Irico Display,” collectively, “Irico”), have
          now asked me to consider the analyses and economic conclusions in these reports in the
          context of IPPs’ claims against Irico. 14

          8.        Counsel for Irico have also asked me to consider whether a focus on Irico in the
          alleged cartel has any additional implications for Dr. Netz’s analyses and conclusions
          beyond the conclusions reached in my previous reports and in Professor Willig’s previous
          reports.15 Specifically, counsel has asked me to make the following four assumptions and



11
     Rebuttal Expert Report of Janet S. Netz, Ph.D., September 26, 2014 (“Netz Rebuttal Report”).
12
  Expert Surrebuttal Report of Margaret E. Guerin-Calvert, November 6, 2014 (“Guerin-Calvert
Surrebuttal Report”).
13
  Expert Surrebuttal Report of Robert D. Willig, November 6, 2014 (“Willig Surrebuttal
Report”).
14
  Irico is a Chinese state-owned company that manufactured, directly or indirectly, CPTs and
CDTs in China during the relevant period. Irico Display, an indirect subsidiary of Irico Group
during the relevant period, also manufactured CPTs and CDTs in China during the relevant
period.
15
  I examined Dr. Netz’s analysis of global CPT and CDT production shares, which were based
on contemporaneous information or documentary sources. While not accepting these share
estimates, I note that based on Dr. Netz’s analysis, Irico’s share of global CPT shipments was
4.2% in 2000, the first year for which she has CPT share information, and averaged 5.9% over
the course of 2000-2006. (See Dr. Netz’s backup file “CPT Share.do,” which relies on MTPD-
0416090) Dr. Netz did not identify any sources for pre-2000 CPT shares.
Dr. Netz also did not identify any sources indicating that Irico sold any CPTs to customers in
North America.
As for CDTs, Dr. Netz’s analysis suggests that Irico’s share of global CDT production during the
class period was de minimis. In particular, the sources on which Dr. Netz relies for her global
market share estimates only identify CDT production by Irico in 1996-2000. (See Dr. Netz’s
backup file, “defendant_cdt_share.dta.”) According to the file she relies upon to calculate global
                                                                                       (footnote continued …)


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        assess their implications for Dr. Netz’s analyses and conclusions, including her assessment
        and estimation of damages:

              a)      IPPs cannot establish that Irico participated in the alleged cartel with respect to
                      either CDTs or CPTs prior to August 1998 and therefore it would not be liable
                      for any damages allegedly incurred by the IPPs prior to August 1998.
              b)      Irico did not manufacture any CPTs with a diameter larger than 29 inches from
                      March 1, 1995 to November 25, 2007 (“the class period”).
              c)      For at least some portion of the class period, Irico and other Chinese
                      manufacturers were subject to regulation of their prices for certain categories
                      of CPTs to keep them above a specific “floor” determined by the Chinese
                      government.
              d)      The horizontal communications relating to CPTs in which IRICO allegedly
                      engaged were not directed at North American customers.
        9.         For the purposes of my analysis, I have been asked to assume arguendo that 100%
        of any CRT overcharges were passed through to IPPs, which is the pass-through rate used
        by Dr. Netz to obtain her damages estimates.16

        10.        A list of the materials I relied on in this matter is attached as Appendix C.

        11.        My analysis is ongoing, and I reserve the right to evaluate any new reports or
        analysis produced by the Plaintiffs or their experts as well as to incorporate any new
        information into my analysis and opinions as necessary.



CDT shares for 1996-2000, Irico’s share of global CDT production during this period averaged
0.5%. (SDCRT-0201291; Irico is referred to as “Caihong” in this file.) For the remaining years
of the class period, Dr. Netz does not identify any CDT production attributable to Irico. In
several of these years (2001-2004), Dr. Netz identifies CDT production shares for one or more
other entities or for an “other [manufacturers]” category with a share of around 1% or less. (See
Dr. Netz’s backup file, “defendant_cdt_share.dta.”)
16
   In making this assumption, I am in no way endorsing 100% as the correct pass-through rate of
any overcharges to IPPs. I am aware that Professor Janusz Ordover submitted a report in this
matter in which he criticized Dr. Netz’s pass-through analyses and indicated that “on average
only 45 percent of the CDT overcharges estimated by Ms. Guerin‐Calvert were passed through
to the ultimate consumers and only 54 percent of the CPT overcharges estimated by Prof. Willig
were passed through to the ultimate consumers.” (Expert Report of Janusz A. Ordover, Ph.D.,
August 5, 2014, ¶ 63 (referencing Figure 7).) Professor Ordover’s reference to “CDT
overcharges estimated by Ms. Guerin-Calvert” and to “CPT overcharges estimated by Prof.
Willig” refer to the economically appropriate adjustments made to Dr. Netz’s overcharge
modeling in the Guerin-Calvert and Willig reports; for more detail, see ¶ 20 below.

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II.       Overview of Conclusions
          12.          Based on an application of standard economic principles and methods used to
          evaluate claims of alleged collusive conduct and potential impact on prices and other
          market conditions to the facts of this industry, and specifically to the analyses and
          conclusions set out in Dr. Netz’s report, I have reached the conclusions summarized below.

          13.          I reaffirm the conclusions and underlying analyses presented in my previous reports
          in this matter, including:

                  a)      Both the underlying economic conditions of supply, demand, and competition
                          as well as the allegations of collusive conduct differ substantially for CDTs and
                          CPTs. Accordingly, it makes economic sense to analyze the impact and
                          damages of the alleged cartel separately for CPTs and CDTs. This is consistent
                          with the fact that Dr. Netz analyzes the alleged collusive conduct and estimates
                          overcharges separately for CDTs and CPTs.17
                  b)      Application of the economic literature on cartels to the facts of the CDT
                          industry reveals several factors that make effective coordination of pricing and
                          thereby alleged collusive overcharges difficult and hence less likely to be
                          successful both generally, and in the CDT industry.18
                  c)      Plaintiffs’ and Dr. Netz’s claims of a highly effective conspiracy generating
                          large collusive overcharges ignore or are at odds with basic empirical evidence
                          on CDT prices, capacity, output, and their drivers.19
                  d)      Dr. Netz’s analyses of alleged collusive conduct do not imply a highly effective
                          conspiracy or large overcharges.20
                  e)      Dr. Netz’s own econometric model of CDT overcharges undermines her claim
                          that the alleged cartel had a class-wide impact.21
                  f)      Dr. Netz’s model of CDT overcharges is fundamentally unreliable and does not
                          support a claim of substantial overcharges.22
                  g)      Despite these fundamental flaws, if Dr. Netz’s model were to be used to
                          estimate CDT overcharges, several basic problems with her model should be



17
     Guerin-Calvert Report, ¶ 9.
18
     Id., ¶ 10.
19
     Id., ¶ 11.
20
     Id., ¶ 12.
21
     Id., ¶ 13.
22
     Id., ¶ 14.

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                        corrected. When I make economically appropriate corrections for these major
                        flaws in Dr. Netz’s model, the overall average CDT overcharge percentage for
                        1995-2006 declines from Dr. Netz’s reported figure of 22 percent to an estimate
                        of 1.6 percent.23
                h)      The responses offered by Dr. Netz in her rebuttal report are flawed and do not
                        undermine or alter the conclusions I articulated in my initial report.24
          14.        I have reviewed the conclusions and underlying analyses presented in the expert
          reports that Professor Willig has previously submitted in this matter, considered and
          assessed the analyses detailed in his reports using my independent expertise and judgment,
          and I concur with and adopt his conclusions and the underlying analyses in full as reflecting
          my own expert opinion.25 These conclusions include:

                a)      “Salient characteristics of the CPT industry were not conducive to effective and
                        sustained class-wide elevations of CPT prices resulting from collusion.”26
                b)      “Defendants’ conduct was inconsistent with a sustained and effective CPT
                        cartel.”27
                c)      “Straightforward evidence on CPT prices, margins and capacity do not support
                        Dr. Netz’s claim of a highly successful CPT cartel.”28
                d)      “Dr. Netz’s model of CPT overcharges undermines her claim that the alleged
                        cartel had a class-wide impact because it finds potentially no damages after
                        1997 and potentially no damages for large CPTs.”29




23
  Id., ¶¶ 15-16. As I have previously stated, the corrections address “some of the major
economic and statistical problems with Dr. Netz’s model” and thereby improve the model, but
they do not fully rectify the lack of robustness and reliability of her model. (Guerin-Calvert
Report, ¶¶ 130-131; Deposition of Margaret E. Guerin-Calvert, September 17, 2014, pp. 216-
217.)
24
  Guerin-Calvert Surrebuttal Report, ¶ 16. See Appendix D for a more detailed summary of my
opinions from my surrebuttal report.
25
     Professor Willig is presently unavailable to serve as an expert in this matter.
26
     Willig Report, ¶ 9(b).
27
     Willig Report, ¶ 9(c).
28
     Willig Report, ¶ 9(d).
29
  Willig Report, ¶ 9(e). Dr. Netz assumes that any CPT overcharge was constant from 1995-
2006. As Professor Willig demonstrated, when the estimated CPT overcharge in Dr. Netz’s
model is allowed to vary by year—with no other changes made to her model—it yields no
positive overcharge estimates after 1997. (Willig Report, ¶ 73.)

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                e)      “Dr. Netz’s model of CPT overcharges is fundamentally unreliable and does
                        not validly support a claim of substantial overcharges. In particular, Dr. Netz’s
                        model crucially assumes that the model includes all material economic
                        determinants of CPT prices and also that the underlying relationships between
                        the economic factors and CPT prices did not change materially during the 18-
                        year estimation period. As such, the model assumes that the only reason (after
                        controlling for the included economic factors) that prices were higher during
                        the class period is the alleged collusive conduct by manufacturers. However,
                        standard tests show that relationships between CPT prices and the economic
                        variables included in Dr. Netz’s model were not at all stable during the 18-year
                        period (consistent with dramatically changing market conditions for CPTs).
                        Moreover, the model excludes basic economic determinants (such as product
                        quality) of CPT prices. For both these reasons, Dr. Netz’s model produces
                        completely unreliable estimates of collusive overcharges.”30
                f)      “Despite these fundamental flaws, if Dr. Netz’s model were to be used to
                        estimate CPT overcharges, then her model should be modified to better control
                        for changes in market conditions. Making reasonable modifications to her
                        model to include relevant economic variables and better control for changes in
                        market conditions result in an estimated CPT overcharge of 2.3% during the
                        1995-2006 period and a negative overcharge in 2007. Although these
                        corrections improve Dr. Netz’s model of CPT overcharges, they do not remedy
                        the fundamental flaw described in this report.”31
                g)      “[I]n her rebuttal report, Dr. Netz has failed to provide a valid defense of her
                        fundamentally flawed approach to estimating overcharges. Even if Dr. Netz’s
                        flawed approach is employed to estimate damages, nothing in her rebuttal report
                        undermines my view that simple extensions to her model that better control for
                        market conditions lead to much smaller CPT overcharges than Dr. Netz’s
                        estimates. Consistent with this, Dr. Netz fails to establish that the pricing
                        conduct of the alleged cartel members was typically consistent with the conduct
                        alleged by Plaintiffs. In fact, the record evidence and my analysis indicate that
                        alleged cartel members typically did not adhere to the pricing agreements
                        alleged by Dr. Netz.”32
          15.        In addition to these conclusions, I have reached the following conclusions from a
          focus on Irico and the specific assumptions (which I discuss in greater detail in the next
          section):




30
     Willig Report, ¶ 9(f).
31
     Willig Report, ¶ 9(g).
32
 Willig Surrebuttal Report, p. 41. See Appendix E for a more detailed summary of Professor
Willig’s opinions from his surrebuttal report.

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             a)      Making the assumption that IPPs cannot demonstrate that Irico participated in
                     any alleged activity and is not liable for IPP damages caused by the alleged
                     cartel prior to August 1998, while making no other changes to Dr. Netz’s
                     analyses, reduces her IPP damages estimates for all alleged cartel members
                     from $2.8 billion to $1.6 billion. Furthermore, making the same economically
                     appropriate corrections described and applied in the 2014 reports by Professor
                     Willig and me to Dr. Netz’s overcharge models further reduces the IPP damages
                     estimate to $203 million.
             b)      CPTs with a diameter larger than 29 inches are estimated to account for roughly
                     $162 million in damages using Dr. Netz’s volume of commerce and overcharge
                     estimates, which is approximately 22% of Dr. Netz’s CPT damages estimates.
             c)      Economic modeling of overcharges requires evaluating and estimating the but-
                     for prices that would prevail absent the alleged conduct at issue. In the present
                     context, this implies that Dr. Netz would need to consider factors that could
                     influence the alleged cartel members’ pricing in the but-for world. The price
                     floors set by the Chinese government for at least some categories of CPTs
                     during at least some portions of the class period represent a potential constraint
                     on but-for pricing. Dr. Netz’s failure to account for these floors in her
                     overcharge model potentially is likely yet another reason why her overcharge
                     model is unreliable, particularly where the average but-for prices of CPTs
                     manufactured in China that are implied by her model are below the
                     corresponding price floors.
             d)      Many of the CRT TVs purchased in the U.S. contained CPTs sold in North
                     America, and the North American CPT marketplace differed in material ways
                     from the rest of the world. Thus, there is no basis to assume as Dr. Netz does
                     that an overcharge estimated using global CPT sales data would reliably
                     estimate overcharges for CPTs sold in North America and hence provide a
                     reliable basis for estimating damages incurred by IPP class members in the U.S.
                     This also implies that, if, as I have been asked to assume, horizontal
                     communications relating to CPTs in which IRICO allegedly engaged were not
                     directed at North American CPT customers, Dr. Netz’s model would not
                     reliably reflect the impact of this conduct on IPPs.

III.   Consideration of the Implications of an Irico Focus and Assumptions on
       Dr. Netz’s Analyses and Conclusions
       16.        In this section, I analyze the implications of an Irico focus on Dr. Netz’s analyses
       and conclusions, including with respect to her estimation of damages.

   A. Irico’s Non-Participation in the Alleged Cartel Prior to August 1998

       17.        As indicated above, I was asked to assume that IPPs cannot demonstrate that Irico
       participated in the alleged cartel with respect to either CDTs or CPTs prior to August 1998.


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          Consistent with this assumption, the list of alleged target prices identified by Dr. Netz in
          her reply report does not identify any horizontal communications involving Irico that
          occurred prior to August 1998.33 I was also asked to assume that Irico is not liable for any
          damages allegedly incurred by the IPPs prior to August 1998. This section sets out the
          implications of these assumptions for Dr. Netz’s IPP damages estimates.

          18.    Dr. Netz concludes that “[t]he but-for CDT prices for 1995-2006 would have been
          22.0% lower than the cartel price and for 2007 11.4% lower; the but-for CPT prices for
          1995-2006 would have been 9.0% lower than the cartel price and for 2007 3.1% lower.”34
          Dr. Netz also concludes that “at least 100% of the overcharge was passed through to class
          members.”35 Dr. Netz estimates that the IPPs’ expenditures on CDTs and CPTs during the
          class period were $9.2 billion and $8.3 billion, respectively.36 Based on these estimates,
          Dr. Netz concludes that the total damages incurred by IPPs on purchases of finished
          products containing CDTs and CPTs manufactured by all alleged cartel members was
          $2.026 billion and $743 million, respectively, for a total of $2.769 billion.37

          19.    Dr. Netz’s total damages estimates include the period 1995 through August 1998.
          Removing Dr. Netz’s damages estimates for the period prior to August 1998 from her total
          damages estimates (while making no other changes to her analysis or calculations) reduces
          her damages estimates for IPPs’ purchases of finished products containing CDTs and CPTs




33
   Netz Rebuttal Report backup materials, “Target price-structure.xlsx” (the earliest meeting Dr.
Netz identified that Irico purportedly attended and at which a target price was set took place on
November 6, 1998. Dr. Netz also identified alleged target prices for “Chinese manufacturers”
from an August 21, 1998 meeting that she does not claim Irico attended).
34
     Netz Report Errata, p. 1.
35
     Netz Report, p. 6.
36
     Netz Report, Ex. 80.
37
     Netz Report Errata, Ex. ER-81.

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          manufactured by all alleged cartel members to $1.136 billion and $485 million,
          respectively, for a total of $1.621 billion.38 (See Appendix F, Table 2.)39

          20.    This reduced estimate of overcharges, while adjusting for the 1995-August 1998
          period, however, does not adjust for the economically appropriate changes to Dr. Netz’s
          model made in the Guerin-Calvert and Willig 2014 reports relating to CDTs and CPTs,
          respectively. Making the number of economically appropriate corrections that were
          described in the expert reports submitted by Professor Willig and me in 2014 to Dr. Netz’s
          CPT and CDT overcharge models yields signifcantly lower overcharge estimates for both
          CPTs and CDTs in Dr. Netz’s models. Specifically, after making these improvements to
          Dr. Netz’s models, the models indicate that: (i) but-for CDT prices for 1995-2006 would
          have been 1.6% lower than actual CDT prices,40 (ii) but-for CDT prices for 2007 would
          not have been lower than actual CDT prices,41 (iii) but-for CPT prices for 1995-2006 would
          have been 2.3% lower than actual CPT prices,42 and (iv) but-for CPT prices for 2007 would


38
   Removing Dr. Netz’s damages estimates for only the period prior to January 1998 reduces her
damages estimates for IPPs’ purchases of finished products containing CDTs and CPTs
manufactured by all alleged cartel members to $1.246 billion and $528 million, respectively, for
a total of $1.774 billion.
39
  Table 2 in Appendix F uses Dr. Netz’s volume of commerce for these products and her
estimated overcharges for the relevant period, which are found at Netz Report, Exhibit 80 and
Netz Report Errata, p. 1.
40
  Guerin-Calvert Report, ¶¶ 130-131. The economically appropriate corrections that I made to
Dr. Netz’s CDT overcharge model were: (i) I relaxed the arbitrary assumption of a constant
overcharge over the entire 1995-2006 period by replacing Dr. Netz’s single variable for 1995-
2006 with three separate variables for 1995, 1996 and 1997-2006; (ii) because the evidence
indicates that the estimated effects for 1995 and 1996 likely were caused by underlying
economic conditions unrelated to the alleged conspiracy, I assumed that the overcharge in 1995
and 1996 was the same percentage (1.6 percent) as the overcharge that the modified model
estimates for the years 1997-2006; (iii) I added additional economically reasonable control
variables that substantially improve the performance of the model as discussed above, and (iv) I
corrected Dr. Netz’s arithmetic error in applying the overcharge percentage to the estimated CDT
revenue. (Id., ¶ 130.)
41
     Id., ¶¶ 130-131 and Table 8.
42
   Willig Report, ¶ 101. The economically appropriate corrections that Professor Willig made to
Dr. Netz’s CPT overcharge model were to add the following control variables: (i) on the supply-
side: a global shipping cost index, an index of labor cost in Korea, and the Korean Won-U.S.
                                                                                        (footnote continued …)


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           not have been lower than actual CPT prices.43 Applying these overcharge estimates—while
           adopting arguendo the 100% pass-through rate used by Dr. Netz and her estimate of the
           IPPs’ expenditures on CDTs and CPTs during the class period—yields IPP damages
           estimates for IPPs’ purchases during the full class period of finished products containing
           CDTs and CPTs manufactured by all alleged cartel members of $143 million and $188
           million, respectively, for a total of $331 million. (See Appendix F, Table 3.)

           21.    Removing the damages estimates for the period prior to August 1998 (in the same
           way as described above for the unadjusted estimates) from these revised damages totals
           further lowers the damages estimates for IPPs’ purchases of finished products containing
           CDTs and CPTs manufactured by all alleged cartel members to $80 million and $123
           million, respectively, for a total of $203 million.44 (See Appendix F, Table 4.)

      B. Irico’s Lack of Production of the Largest CPTs

           22.    As noted above, I have been asked to assume that Irico did not produce any CPTs
           with a diameter larger than 29 inches during the class period. I note that CPTs of this size
           are estimated to account for roughly $162 million in estimated damages in Dr. Netz’s
           model, which is approximately 22% of Dr. Netz’s CPT damages estimates.45 (See
           Appendix G, Table 1.)




dollar exchange rate (the only supply-side variable that Dr. Netz includes in her CPT overcharge
model is the cost of specialty glass in Korea), (ii) on the demand-side, sales in U.S. electronics
retail stores. (Id., ¶ 100.)
43
     Id.
44
   Removing the damages estimates for only the period prior to January 1998 reduces the
estimates for IPPs’ purchases of finished products containing CDTs and CPTs manufactured by
all alleged cartel members to $88 million and $134 million, respectively, for a total of $222
million.
45
  This estimate was obtained by multiplying an estimate of Dr. Netz’s estimated volume of
commerce associated with CPTs with a diameter larger than 29 inches by Dr. Netz’s estimated
overcharge. If, instead, the estimate of Dr. Netz’s estimated volume of commerce associated with
CPTs with a diameter larger than 29 inches is multiplied by the overcharge estimate that is
obtained by applying the same economically appropriate corrections described and applied in the
2014 reports by Professor Willig to Dr. Netz’s CPT overcharge model, the resulting damages
                                                                                     (footnote continued …)


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      C. Irico CPTs Subject to Chinese Price Regulation

          23.    As noted above, I have been asked to assume that, for at least some portion of the
          class period, Irico and other Chinese manufacturers were subject to regulation of their
          prices for certain categories of CPTs to keep them above a specific “floor” determined by
          the Chinese government. A November 16, 1998 notification from the State Planning
          Commission and State Economic and Trade Commission of the People’s Republic of China
          announced regulations it described as “important measures taken by the state to regulate
          prices on the market of industrial products.”46 These regulations defined prohibited “unfair
          price actions” to include “[e]x-factory prices of industrial products sold by a manufacturing
          enterprise [that] are lower than its production costs” and specified that such prices “shall
          not be lower than the industrial average production costs in principle.”47

          24.     Specific to CRTs and products containing CRTs, the Ministry of Information
          Industry of the People’s Republic of China (“MII-PRC”) issued a Notification requiring
          certain manufacturers to report “production and cost information of 21” and 25” color TVs
          or color CRTs in the 4th quarter of 1998” for the purpose of “estimat[ing] and publish[ing]
          average industry production costs.”48 The Notification also stated that “enterprises with
          sales prices lower than the average industry production costs” would be investigated and
          punished if found to be engaged in “unfair price competition.”49 The MII-PRC then issued
          a further Notification containing the following statement in April 1999:



estimate for CPTs of this size is $41 million, which is 22% of the CPT damages estimate
obtained using Dr. Netz’s volume of commerce estimate for all CPTs sizes and the revised
overcharge estimate described and applied by Professor Willig.
46
 “Notification of the State Planning Commission and the State Economic and Trade
Commission Regarding Issuing Regulations on Preventing Unfair Price Actions through
Dumping of Industrial Products and Strengthening Price Self-Discipline of Industries,”
November 16, 1998, Certified Translation (“1998 Notice”), ¶ 1. See, also, Expert Report of
Donald Clarke, March 16, 2022 (“Clarke Report”), ¶¶ 12(a), 16.
47
     1998 Notice, Articles 5(I) and 9; See, also, Clarke Report, ¶¶ 16-19.
48
  “Notification of Reporting Cost Information for Color TV and Color CRT Industry,” MII-
PRC, February 3, 1999, Certified Translation (“1999 Reporting Notice”), ¶¶ 1-2. See, also,
Clarke Report ¶ 12(b).
49
     1999 Reporting Notice, ¶ 2.

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                 To prevent actions of unfair price competition in the color CRT and color
                 TV industry and maintain a normal market order, this Ministry performed
                 estimation on the industrial average production costs of two types of color
                 CRTs and color TVs, i.e. 21 inches and 25 inches, pursuant to the Trial
                 Measures to Prevent Unfair Price Competition Regarding Color CRTs and
                 Color TVs by the State Planning Commission and the Ministry of
                 Information Industry. The estimation was made according to cost materials
                 reported by major manufacturers of color CRTs and color TVs and
                 combined with the results of investigation on typical enterprises. The
                 estimation is hereby published (see the attached table). All color CRT and
                 color TV manufacturing enterprises are asked to seriously implement the
                 estimation. In the case where a manufacturing enterprise sells the products
                 at prices lower than the published industrial average production costs to
                 cause market disorders and harm the interests of other manufacturing
                 enterprises, a harmed enterprise may file a report with the State Planning
                 Commission or a competent department in charge of prices of a province,
                 autonomous region or municipality directly under the Central Government.
                 In the case where it is confirmed through investigation that there is indeed
                 an action of unfair price competition, a competent government department
                 in charge of prices shall order the responsible party to correct and impose
                 penalties according to specific situations.50
          25.    The statement includes a table with the following average production costs that
          would serve as potential CPT price “floors”: $53.14 for 21-inch CPTs and $86.96 for 25-
          inch CPTs.51 The table also includes analogous price floors for 21-inch and 25-inch CRT
          TVs.52 The statement calls for the price floors to take effect on April 2, 1999.53




50
 “Notification of Publishing Industrial Average Production Costs for Some Types of Color
CRT and Color TVs,” MII-PRC, April 2, 1999, Certified Translation (“April 1999 Cost
Notification”). See, also, Clarke Report ¶ 12(e).
51
  April 1999 Cost Notification, Attached Table. See, also, Clarke Report, ¶ 24. The document
expresses the average costs in the Chinese renminbi/yuan. I have converted these figures to U.S.
dollars using the exchange rate of 8.28 Chinese Yuan per U.S. Dollar that prevailed from
October 1998 to June 2005. (See, e.g., “Dollar Yuan Exchange Rate – 35 Year Historical Chart,”
Macrotrends, available at https://www.macrotrends.net/2575/us-dollar-yuan-exchange-rate-
historical-chart>.)
52
     April 1999 Cost Notification, p. 3.
53
  Id. (The statement is dated April 2, 1999, and states, “This Notification shall go into effect as
of the date of issuance.”)

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        26.    The following year, the MII-PRC issued a similarly-worded statement setting the
        following price floors, effective September 13, 2000: $49.52 for 21-inch CPTs, $80.92 for
        25-inch CPTs, and $137.08 for 29-inch CPTs.54

        27.    As one treatise on estimating antitrust damages has explained, when evaluating but-
        for prices and estimating overcharges:

               [I]t is necessary to construct a but-for price that the defendant would have
               charged lawfully. To isolate the effect of the violation and avoid awarding
               damages for conduct that would be lawful, it is important to modify the
               defendant's conduct in the but-for world only to the extent necessary to
               comply with the law.55
        28.    Economic modeling of overcharges requires evaluating and estimating the but-for
        prices absent the alleged conduct at issue. 56 In the present context, this implies that Dr.
        Netz would need to consider supply and demand as well as regulatory factors such as these
        that could influence the alleged cartel members’ pricing in the but-for world. The price
        floors set by the Chinese government represent a potential constraint on but-for pricing;
        thus Dr. Netz’s failure to account for these floors in her overcharge model potentially is
        yet another reason her overcharge model is unreliable. Specifically, if the but-for prices
        implied by Dr. Netz’s CPT overcharge model are below the relevant Chinese government
        price floors, and if the government regulations limited or influenced Chinese
        manufacturers’ ability or incentive to charge prices below those floors (or at least their
        ability or incentive to set prices as far below the floors as potentially implied by Dr. Netz’s
        overcharge estimates), it would imply that Dr. Netz has overstated the overcharges



54
  “Notification of Publishing Industrial Average Production Costs for Some Types of Color
CRTs,” MII-PRC, September 13, 2000, Attached Table. See, also, Clarke Report, ¶¶ 12(g), 24.
As with the April 1999 price floors, this document expresses the average costs in the Chinese
renminbi/yuan, and I have converted these figures to U.S. dollars.
55
  American Bar Association Section of Antitrust Law, Proving Antitrust Damages: Legal and
Economic Issues, 2nd ed., ABA Publishing, 2010, pp. 54-55.
56
  See, e.g., Hastings, Justine S., and Michael A. Williams, “What Is a ‘But-For World’?,”
Antitrust, vol. 31, no. 1, Fall 2016, p. 102; Rubinfeld, Daniel L. (2012), “Antitrust Damages,” in
Elhauge, Einer, ed. Research Handbook on the Economics of Antitrust Law, Edward Elgar, p.
380; and Burtis, Michelle M. and Keller Marku, “Proving the Fix: Damages,” Global
Competition Review, November 22, 2021, p. 1.

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   associated with the alleged cartel, at least for some CPTs. That is, by failing to consider
   the implications of the Chinese government price floors, Dr. Netz’s model likely would
   produce unreliable estimates of but-for prices and thus of the resulting overcharges.

   29.    In order to illlustrate the potential implications of the Chinese government’s price
   floors on the but-for prices predicted by Dr. Netz’s model, I examined the transactions data
   relied upon by Dr. Netz in her overcharge model. This examination for illustrative purposes
   included three steps. First, for each of the announced government price floors, I calculated
   the contemporanous (quantity weighted) average transactions price for CPTs of the size
   associated with the announced floor that were manufactured in China in Dr. Netz’s data.
   Second, I calculated the average but-for prices for those transactions that are implied by
   Dr. Netz’s estimated overcharge of 9.0% for 1995-2006. Third, I examined whether Dr.
   Netz’s implied but-for prices were lower than the announced government price floors.
   Table 1 below shows the results of this analysis.

    Table 1 – Dr. Netz’s Estimated But-For Prices for Certain CPTs Manufactured in
           China Were Below the Price Floors Set by the Chinese Government

       Chinese                                             Average Netz
                                       Price Floor                               Netz But-For
     Government                                            But-For Price
                        CPT Size      Set by Chinese                            Price below the
    Announcement                                           of CPTs Made
                                       Government                                Price Floor?
         Date                                                 in China
      4/2/1999            21-inch          $53.14               $47.77                  Yes
      4/2/1999            25-inch          $86.96                n/a                    n/a
      9/13/2000           21-inch          $49.52               $47.03                  Yes
      9/13/2000           25-inch          $80.92                n/a                    n/a
      9/13/2000           29-inch         $137.08              $134.63                  Yes
   Sources: Document 5229-4, Document 5229-7, Netz Report Errata
   Notes: (i) Announced CPT floor prices were converted to USD using the contemporaneous
   exchange rate of 8.28 CNY per USD. (ii) For the price floor announced on 4/2/1999, average
   actual prices were calculated for Q2 1999; and for the price floor announced on 13/9/2000,
   average actual prices were calculated for Q4 2000. (iii) The transactions price data relied
   upon by Dr. Netz do not include any sales of 25-inch CPTs manufactured in China in Q2
   1999 or Q4 2000. (iv) The implied but-for prices were calculated using Dr. Netz's CPT
   overcharge estimate of 9.01%. (v) The Netz but-for prices in the first, third, and fifth rows of
   the table are based on total CPT sales of approximately 575K, 484K, and 264K, respectively.

   30.    The illustrative examples in Table 1 shows that Dr. Netz’s implied but-for price is
   below the corresponding government price floor in each of the three instances for which

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        transactions data are available.57 That is, at Dr. Netz’s implied but-for prices, these suggest
        that Chinese manufacturers would have had to charge CPT prices below the
        contemporaneous price floor. Dr. Netz presents no assessment indicating that Chinese CPT
        manufacturers would have charged prices at these levels below the government price floors
        as implied by her CPT overcharge estimate. If the government regulations limited or
        influenced Chinese manufacturers ability or incentive to do so, Dr. Netz’s failure to account
        for the effect of such price floors would cause her to misstate and overstate CPT
        overcharges.

     D. Irico’s Lack of Horizontal Communications that Were Directed at North American
        CPT Customers

        31.    As set out above, Dr. Netz estimates a single global overcharge for CPTs and
        applies that estimate to CPTs sold in North America when estimating damages allegedly
        sustained by members of the IPP class in the U.S. for CPTs. In effect, she assumes that
        there were no material differences in market conditions or other factors in North America
        and the rest of the world that could have affected the impact of the contested conduct on
        CPT prices.

        32.    However, many of the CRT TVs purchased in the U.S. contained CPTs sold in
        North America, and the North American CPT marketplace differed in material ways from
        the rest of the world.58 These differentiators between North America CPTs and the rest of



57
 The transactions data do not contain any contemporaneous prices for 25-inch CPTs
manufactured in China.
58
  Record evidence and U.S. government data demonstrate that U.S. and Mexico manufacturing
together accounted for a large share of CRT TVs purchased in the U.S. U.S. Census data indicate
that around 40% of CRT TVs purchased in the U.S. were manufactured in the U.S., and record
evidence indicates that CRT TVs manufactured in Mexico account for a large share of the CRT
TVs that were imported to the U.S.
According to U.S. Census data, between 1996-2002, 44% of TVs purchased in the U.S. were
manufactured in the U.S.; from 1996-2006, this share was 39%. (See Appendix H.)
I understand that the share of CRT TVs purchased in the U.S. that were manufactured elsewhere
in North America, particularly in Mexico, was substantial. For example: all of the TVs that
Panasonic North America (“PNA”) sold were manufactured in Mexico (Deposition of Edwin
                                                                                    (footnote continued …)


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          the world include factors identified already in Professor Willig’s expert reports or in other
          testimony; in particular:

              a)      A substantial share of CPTs sold in North America were manufactured in North
                      America.59
              b)      CPTs sold in North America were substantially more likely to have a diameter
                      of 25-inches or larger (“large CPTs”) than CPTs sold in the rest of the world
                      (53% vs. 19%).60 Since large CPTs were displaced earlier and to a greater extent
                      by LCD and plasma technologies, the pricing of large CPTs (and thus of CPTs
                      sold in North America) was more likely to be constrained earlier and to a greater
                      extent by competition from LCD and plasma TVs.61
              c)      Dr. Netz “has not identified any [target prices] that she contends specifically
                      applied to CPTs sold in North America.”62
              d)      Even if the target prices that Dr. Netz identified also applied to CPTs sold in
                      North America, they applied to an even smaller share of CPTs sold in North
                      America (at most 9.9%) than CPTs sold outside of North America (at most
                      17.5%) during the class period.63



Wolff (PNA), July 18, 2012, pp. 49-50); most of the CRT TVs that Samsung Electronics
America (“SEA”) sold were manufactured by Samsung Electronics Corporation (“SEC”) in
Mexico (Deposition of Steve Panosian (SEA), 30(b)(6), July 17, 2012, pp. 21-22); all of the CRT
TVs that LGE sold under the Zenith brand in the U.S. were manufactured in Mexico (Deposition
of Yun Seok Lee (LGE), July 11, 2012, pp. 54, 58); and the CRT TVs sold by Hitachi Home
Electronics America (“HHEA”), a division of Hitachi America Ltd. (“HAL”), were
manufactured by Hi Mex in Mexico (Deposition of William Whalen (HAL), August 23, 2012,
pp. 17-18). More generally, I understand that the area of Mexico near the U.S. border was a
preferred area for producing CRT TVs due to the combination of low labor cost, proximity to the
U.S., and absence of import duties. (Deposition of Roger de Moor (Philips), July 31, 2012, pp.
243-244)
59
  Deposition of Jay Heinecke (TAEC), July 31, 2012, p. 64; Deposition of Jaein Lee (SDI),
30(b)(6), June 6-7, 2012, pp. 133-134, 179-180; Deposition of Michael Son (SDI), February 5,
2013, p. 193.
60
     Willig Report, ¶ 96 (5th sub-bullet).
61
  Willig Report, ¶ 19. This is consistent with the fact the prices of large CPTs declined more
rapidly than the prices for smaller CPTs once the plasma and LCD TVs became more price
competitive with CRT TVs after 2000. (Id.)
62
     Willig Report, ¶ 96 (2nd sub-bullet).
63
  Willig Report, ¶ 96 (3rd sub-bullet). In this context, a CPT sale is treated as having an
applicable target price if: (i) Dr. Netz identified at least one target price for the same
manufacturer, size, finish, shape (if it is possible to identify the shape of the CPT sold), and
                                                                                    (footnote continued …)


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                e)      Changes in the alleged target prices were even poorer predictors of changes in
                        actual prices for CPTs sold in North America than in the rest of the world.
                        Specifically, changes in the alleged target prices explain only 2.6% of the
                        variation in changes in the actual prices of CPTs sold in North America as
                        opposed to 3.9% of the changes in actual prices of CPTs sold outside of North
                        America. Similarly, on average, a 5% change in the alleged applicable target
                        price identified by Dr. Netz is associated with only a 0.67% increase in the
                        actual prices of CPTs sold in North America during the same quarter as
                        compared to an increase of 0.95% in the actual prices of CPTs sold in North
                        America.64
          33.        Given the substantial share of U.S. CRT TVs containing CPTs sold in North
          America and the material economic differences between the North American marketplace
          and the rest of the world discussed in the previous paragraph, there is no basis to assume
          as Dr. Netz does that an overcharge estimated using global CPT sales data would reliably
          estimate overcharges for CPTs sold in North America and hence provide a reliable basis
          for estimating damages incurred by IPP class members in the U.S. Moreover, this has been
          evaluated in expert reports on Dr. Netz’s modeling. Specficially, in evaluating the
          sensitivity of Dr. Netz’s model to these issues, Professor Willig’s analyses showed that
          when Dr. Netz’s CPT overcharge model is applied only to North American CPT
          transactions, it produces overcharge estimates that are lower than Dr. Netz’s estimates by
          more than 40%.65 Moreover, in further assessment of the reliability of Dr. Netz’s global
          overcharge model for estimating overcharge for CPTs sold in North America, Professor
          Willig’s analysis showed that when Dr. Netz’s CPT overcharge model is estimated using
          only North American CPT prices and with North American-specific versions of her global
          market controls included, it lowers her estimated overcharge for 1995-2006 by nearly 80%,
          and this overcharge estimate is both statistically distinguishable from Dr. Netz’s
          overcharge estimate for global CPT sales and statically indistinguishable from zero, “i.e.,




month as the CPT sold, and (ii) the manufacturer attended the relevant meeting at which the
target price was discussed or if there is some indication in the meeting minutes that the
manufacturer agreed to the target price. (Id., Exhibit 6.)
64
     Willig Report, ¶ 96 (4th sub-bullet).
65
     Willig Report, ¶ 98.

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          one cannot reject the possibility that there was no impact of the alleged cartel on North
          American CPT prices.”66

          34.    As noted above, I have been asked to assume that the horizontal communications
          relating to CPTs in which Irico allegedly engaged were not directed at North American
          CPT customers. When viewed in the context of the record evidence that the North
          American CPT market differed materially from the rest of the world and the economic
          analyses summarized above from previous reports, the fact that the horizontal
          communications relating to CPTs in which Irico allegedly engaged were not directed at
          North American CPT customers implies that her model does not reliably reflect the impact
          on IPPs of this conduct.




          Margaret E. Guerin-Calvert

          March 16, 2022




66
     Willig Surrebuttal Report, ¶ 32.

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    2012-present President, Center for Healthcare Economics and Policy and Senior Managing
                 Director, FTI Consulting, Inc.

    2012-2/2019 Senior Consultant, Compass Lexecon
                (continue as Senior Consultant on selected matters)

    2008-2012        Vice Chairman and Senior Managing Director, Compass Lexecon
                     (formerly Competition Policy Associates)

    2003-2008        President, Competition Policy Associates (As of January 2006, also Senior
                     Managing Director, FTI Consulting Inc.)

    1994-2003        Principal, Economists Incorporated

    1990-1994        Assistant Chief, Economic Regulatory Section, Economic Analysis Group,
                     Antitrust Division, U.S. Department of Justice

    1987-1990        Senior Economist, Economists Incorporated

    1986-1987        Director of Analytical Resources Unit,
                     Economic Analysis Group, Antitrust Division

    1985-1986        Economist, Economic Analysis Group,
                     Antitrust Division, U.S. Department of Justice

                                                                                                     1
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1982-1985      Economist, Financial Structure Section, Division of Research and Statistics,
               Board of Governors of the Federal Reserve System

1979-1982      Economist, Economic Policy Office, Antitrust Division, U.S. Department of
               Justice

1976-1977      Research Associate, Energy Economics Group, Arthur D. Little, Inc.

                                 TEACHING EXPERIENCE

1984           Adjunct Lecturer, Sanford School of Public Policy (formerly Institute of Policy
               Sciences), Duke University

1984-1989      Executive Education for Top State Managers, conducted by The Institute of
               Policy Sciences, Duke University

1983           Lecturer, Board of Governors of the Federal Reserve System and American
               Institute of Banking

1979           Teaching Assistant, Princeton University

                                           TESTIMONIES

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the Competition Act and in the Matter of certain practices by the D & B Companies of Canada
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Artemio Del Serrone, Steven Ren, Heather Snay, Jon Ren, Keith Pine, and Bill Reed, on behalf of
themselves and all others similarly situated v. Philip Morris Inc., R.J. Reynolds Tobacco Co.,
Brown & Williamson Tobacco Corp., Lorillard Tobacco Co., Liggett Group, Inc., and Brooke
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USA, Inc., a Delaware corporation, Teva Pharmaceutical Industries, Ltd., an Israeli corporation,
and Novopharm, Ltd., a Canadian Corporation, Counterclaim Plaintiffs, v. Abbott Laboratories,
an Illinois corporation, Fournier Industrie et Sante, a French corporation, and Laboratoires
Fournier, S.A., a French corporation, Counterclaim Defendants; Abbott Laboratories, an Illinois
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for the Central District of Illinois, Peoria Division, Case No: 13-cv-1054.

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District of California, Oakland Division, Case No. 13-md-0242 (YGR), August 5, 2016.

“Economic Assessment of International Comparison Of South African Price Levels (OECD
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Development Working Paper No. 85.

Evanston Northwestern Healthcare Corporation Antitrust Litigation, United States District Court
Northern District of Illinois Eastern Division, No. 07-CV-4446.

BRFHH Shreveport, L.L.C. d/b/a University Health Shreveport and Vantage Health Plan, Inc., v.
Willis-Knighton Medical Center, d/b/a Willis-Knighton Health System, United States District
Court Western District of Louisiana Shreveport Division, No. 5:15-CV-02057.

UFCW & Employers Benefit Trust, on behalf of itself and all others similarly situated v. Sutter
Health; Sutter East Bay Hospitals; Sutter West Bay Hospitals; Edent Medical Center; Sutter
Central Valley Hospitals; Mills-Peninsula Health Services; Sutter Health Sacramento Sierra
Region; Sutter Coast Hospital; Palo Alto Medical Foundation for Healthcare, Research, and
Education; and Sutter Medical Foundation, Superior Court of the State of California for the City
and County of San Francisco, Cas No. CGC-14-538451.

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and Successfully Defend Vertical and Horizontal Transactions,” Presentation at AHLA Annual
Meeting, June 28-30, 2021.

“Mobilizing Faith-based and Trusted Community Leaders in Buffalo, New York to Improve
Blood Pressure Control in Underserved Communities,” Presentation at National Forum Mid-
Year Virtual Convening: Answering the Surgeon General's Call to Action to Control
Hypertension, May 6, 2021.

“Economic Impact of Health,” Presentation at National Forum for Heart Disease & Stroke
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“Health & Economic Impact of COVID-19: Public-Private Partnership Opportunities for Health,
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Inc., October 2020 (co-authored with Rucha Kulkarni and Sherry Wang); and “Cardiovascular
Health – An Economic Imperative,” Presentation at National Forum for Heart Disease & Stroke
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Werden, Koren Wong-Ervin, and Terry Calva), The Antitrust Source, June 2019.

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2018.

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Academies of Sciences, Engineering, and Medicine’s Action Collaborative on Business
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“Employers as Levers of Change for Health and Economic Well-Being,” Presentation at IBM
Watson Health’s Advantage Conference 2018: Remarkable Together, May 14-17, 2018.

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Association, Williamsburg, VA, September 2010, Using Economists and Other Experts.

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Orleans, October 1984

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“How Quickly Can Thrifts Move into Commercial Lending?” New England Economic Review,
November/December 1983, (with C. Dunham).

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Transportation, at the Civil Aeronautics Board, August 1980.


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National Benefits/Costs of Enhanced Oil Recovery Research Final Report, Arthur D. Little, Inc.,
submitted to the Energy Research and Development Administration, August 1976, (with F.
Mansvelt-Beck and T. Rothermal)

                          OTHER PROFESSIONAL ACTIVITIES

Co-Chair, NASEM’s Action Collaborative on Business Engagement in Building Healthy
Communities

Co-Chair, Imagining Antitrust Law Section 2.0, and Chair, Financial Independence Task Force,
Antitrust Law Section, American Bar Association
Associate Member, Section of Antitrust Law, American Bar Association and its Committees,
including Healthcare and Pharmaceuticals

Member, American Economics Association

Member, AcademyHealth

Member, American Health Lawyers Association

Member, Brown University – The Warren Alpert Medical School’s Advisory Council on
Biology and Medicine

Member, NASEM Roundtable on Population Health Improvement

Member, NASEM Business Engagement in Obesity Solutions Innovation Collaborative

                           PAST PROFESSIONAL ACTIVITIES

Chair, Interagency Task Force on Bank Competition (U.S. DOJ, Antitrust Division)

Co-Chair, Economics Task Force, Member, Technology and Financial Resources Task Force,
Chair of the Membership Committee, Transition Task Force Member, Chair of the Exemptions
and Immunities Task Force, Council Member, Chair, Financial Markets and Institutions
Committee, Member Advisory Board on Section Reserves, International Task Force, Member
Long Range Planning Committee, Section of Antitrust Law, American Bar Association




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   Appendix B – Testimony at Deposition or Trial in the Last Four Years of
                       Margaret E. Guerin-Calvert


Evanston Northwestern Healthcare Corporation Antitrust Litigation, United States District Court
Northern District of Illinois Eastern Division, No. 07-CV-4446.


BRFHH Shreveport, L.L.C. d/b/a University Health Shreveport and Vantage Health Plan, Inc., v.
Willis-Knighton Medical Center, d/b/a Willis-Knighton Health System, United States District
Court Western District of Louisiana Shreveport Division, No. 5:15-CV-02057.


UFCW & Employers Benefit Trust, on behalf of itself and all others similarly situated v. Sutter
Health; Sutter East Bay Hospitals; Sutter West Bay Hospitals; Eden Medical Center; Sutter
Central Valley Hospitals; Mills-Peninsula Health Services; Sutter Health Sacramento Sierra
Region; Sutter Coast Hospital; Palo Alto Medical Foundation for Healthcare, Research, and
Education; and Sutter Medical Foundation, Superior Court of the State of California for the City
and County of San Francisco, Cas No. CGC-14-538451.


In re: Opana ER Antitrust Litigation, MDL No. 2580, Lead Case No. 14-cv-10150, United States
District Court Northern District of Illinois Eastern Division.


In re: In the Matter of Illumina, Inc., a corporation and GRAIL, Inc., a corporation, United
States of America Before the Federal Trade Commission Office of Administrative Law Judges,
Docket No. 9401, Deposition, August 3, 2021 and Trial Deposition Testimony, September 30,
2021.




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     Appendix C – Materials Relied Upon by Margaret E. Guerin-Calvert

Legal Filings
Indirect Purchaser Plaintiffs’ Fifth Consolidated Amended Complaint, In re: Cathode Ray Tube
        (CRT) Antitrust Litigation, United States District Court Northern District of California
        San Francisco, September 19, 2019


Expert Materials
Expert Report and backup of Janet S. Netz, Ph.D., April 15, 2014, with Errata, July 3, 2014
Expert Report of Janusz A. Ordover, Ph.D., August 5, 2014
Expert Report of Margaret E. Guerin-Calvert, August 5, 2014
Expert Report and reliance materials of Robert D. Willig, August 5, 2014, with Errata,
       September 10, 2014 and September 23, 2014
Expert Rebuttal Report and backup of Janet Netz, September 26, 2014
Expert Surrebuttal Report of Margaret E. Guerin-Calvert, November 6, 2014
Expert Surrebuttal Report and reliance materials of Robert D. Willig, November 6, 2014
Expert Report of Donald Clarke, March 16, 2022


Expert Depositions and Exhibits
Deposition of Margaret E. Guerin-Calvert, September 17, 2014
Deposition of Robert D. Willig, September 19, 2014


Depositions and Exhibits
Deposition of Edwin Wolff (PNA), July 18, 2012
Deposition of Jaein Lee (SDI), June 6-7, 2012
Deposition of Jay Heinecke (TAEC), July 31, 2012
Deposition of Michael Son (SDI), February 5-6, 2013
Deposition of Roger de Moor (Philips), July 31 - August 1, 2012
Deposition of Steve Panosian (SEA), July 17, 2012

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Deposition of William Whalen (HAL), August 23, 2012
Deposition of Yun Seok Lee (LGE), July 11, 2012


Academic Citations
American Bar Association Section of Antitrust Law, Proving Antitrust Damages: Legal and
      Economic Issues, 2nd ed., ABA Publishing, 2010
Burtis, Michelle M. and Keller Marku, “Proving the Fix: Damages,” Global Competition Review,
        November 22, 2021, p. 1
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       no. 1, Fall 2016, p. 102
Rubinfeld, Daniel L. (2012), “Antitrust Damages,” in Elhauge, Einer, ed. Research Handbook on
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Notifications
“Notification of Publishing Industrial Average Production Costs for Some Types of Color CRT
       and Color TVs,” MII-PRC, April 2, 1999, Certified Translation
“Notification of Publishing Industrial Average Production Costs for Some Types of Color
       CRTs,” MII-PRC, September 13, 2000
“Notification of Reporting Cost Information for Color TV and Color CRT Industry, Ministry of
       Information Industry,” MII-PRC, February 3, 1999, Certified Translation
“Notification of the State Planning Commission and the State Economic and Trade Commission
       Regarding Issuing Regulations on Preventing Unfair Price Actions through Dumping of
       Industrial Products and Strengthening Price Self-Discipline of Industries,” November 6,
       1998, Certified Translation


Websites
“Dollar Yuan Exchange Rate – 35 Year Historical Chart,” Macrotrends, available at
       <https://www.macrotrends.net/2575/us-dollar-yuan-exchange-rate-historical-chart>


Data
iSuppli Corporation, Television Systems Market Tracker Q4 2003



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U.S. Census Bureau, Current Industrial Reports - Consumer Electronics, Series MA36M (1995-
       2000) and MA334M (2001-2006)


Bates-Stamped Documents and Data
MTPD-0416090
SDCRT-0201291


All materials cited in the report, appendices, or backup files to the Guerin-Calvert Expert Reports




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Appendix D – Summary of Opinions from Guerin-Calvert Surrebutal Report

          35.    As noted above, I reaffirm the conclusions and underlying analyses presented in
          my previous reports in this matter, including my surrebuttal report. The following is the
          summary of the conclusions presented in that report.

          36.    In my initial report, I demonstrated that the results of Dr. Netz’s overcharge model
          rely heavily on price increases in 1995 and the resulting high prices in 1995 and 1996 which
          are not plausibly related to the alleged conspiracy. Dr. Netz's overcharge model is
          extremely sensitive to the manner in which the indicator variables (dummy variables) for
          the alleged cartel period are specified. In particular, I demonstrated that Dr. Netz's
          assumption that the alleged conspiracy resulted in an equal percentage overcharge of 22
          percent throughout the entire 12 year period of 1995 through 2006 was inconsistent with:
          a) CDT industry conditions; b) Dr. Netz's own allegations regarding the alleged conspiracy;
          and c) econometric analysis of CDT prices.67

          37.    In her rebuttal report and commentary on my economic analyses, Dr. Netz argues
          that I “overlook the documentary and testimonial evidence related to cartel conduct and
          effectiveness in 1995 and 1996.” In fact, I have fully considered the documentary and
          testimonial evidence of collusion offered by Dr. Netz, as well as my own, additional
          extensive review of the factual and economic evidence for 1995 and 1996 in my assessment
          of her model and overcharge analysis. I have used my analysis for the purpose of making
          and supporting the economically appropriate and reasonable changes to her model, and
          presenting alternative overcharge estimates from that for 1995 and 1996 (along with other
          years). Dr. Netz and I agree that cartel efficacy is an empirical question. Contrary to Dr.
          Netz’s claims, the fundamental question is not whether a given model generates overcharge
          estimates for 1995 and 1996. Dr. Netz’s model and the economically reasonable and
          appropriate changes I made to her model to better account for underlying market conditions
          and facts both result in estimated overcharges during these years. Rather, the fundamental




67
     Guerin-Calvert Surrebuttal Report, ¶ 7.

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           question is what the most appropriate way is to model and estimate the magnitude of
           overcharges, if any, in light of the available factual and empirical evidence. 68

           38.         I believe that the relatively few adjustments I made to Dr. Netz's overcharge model
           are strongly supported by the underlying economic and factual circumstances in 1995 and
           1996 (and indeed in other years) and also by recognized econometric practice. There are at
           least three separate and widely recognized rationales for the use of multiple dummy
           variables to estimate cartel overcharges that apply in this matter, and none are diminished
           by Dr. Netz’s reference to any additional documentary and testimony evidence from 1995
           and 1996: 1) if the effectiveness of the conspiracy varied over time, 2) if there are important
           changes in economic conditions affecting prices that are not otherwise captured in the
           model, and c) if class membership varies over time. The change to include dummy
           variables for 1995 and 1996 and the other changes better to account for industry conditions
           and facts that varied over time continue to be economically necessary to produce more
           economically reasonable approaches to estimate overcharges than those provided by Dr.
           Netz’s model.69

           39.         Dr. Netz argues in her rebuttal report that her overcharge model is “robust to small
           changes in the model.” However, while her estimated overcharges may not change
           substantially with certain handpicked changes in the model that she herself chose to
           highlight, they clearly are not robust to other economically reasonable small changes. In
           fact, as I demonstrated in my initial report, when I relaxed Dr. Netz's arbitrary assumption
           that overcharges were constant during 1995 through 2006 and allowed the estimated effect
           to vary over time, the results were dramatically inconsistent with her “robustness”
           assumption:70

                  a)      The estimated overall overcharge declines substantially.71




68
     Id., ¶ 8.
69
     Id., ¶ 9.
70
     Id., ¶ 10.
71
     Id., ¶ 10 (first sub-bullet).

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                  b)      A large portion of the remaining “overcharge” occurs only in years 1995 and
                          1996.72
                  c)      The overcharge for the great majority of the alleged conspiracy period 1997-
                          2007 is small and not statistically significant. 73
                  d)      The ability of the model to explain overall changes in CDT prices over time
                          improves significantly.74
          40.          The unreliability of Dr. Netz's overcharge model for estimating damages across the
          class and across the class period is further demonstrated in this report by the fact that the
          estimated overcharges for the larger sizes (over 15”) of CDTs completely disappear if we
          simply estimate Dr. Netz’s overcharge model separately for different sizes of CDTs.
          Moreover, this category of larger size CDTs accounts for roughly 65 percent of total CDT
          sales during the alleged cartel period in Dr. Netz’s data.75

          41.          The fact that the overcharge on such a large category of sales disappears with such
          a reasonable change in the model – splitting the data into two size categories and estimating
          Dr. Netz’s own model separately for each -- further undermines her claim that her estimated
          overcharges are robust to reasonable changes. It also casts substantial doubt on the
          proposition that the alleged conspiracy would produce common impact and/or similar
          overcharges for all sizes of CDTs because there was a reliable and commonly understood
          “price structure” between and among sizes, for example.76

          42.          Dr. Netz does not assert that any of the variables I added to her model lack
          economic relevance or are in and of themselves inappropriate. Instead, Dr. Netz argues in
          her rebuttal report that the additional variables that I added to her model “do not explain
          materially more of CRT price changes than the variables I [Dr. Netz] use.” In contrast, I
          show in this report that the variables that I added substantially improve the performance of




72
     Id., ¶ 10 (second sub-bullet).
73
     Id., ¶ 10 (third sub-bullet).
74
     Id., ¶ 10 (fourth sub-bullet).
75
     Id., ¶ 11.
76
     Id., ¶ 12.

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          her model based both on economic logic and on widely recognized econometric criteria, as
          well as substantially reducing overcharges.77

          43.     In my initial report, I used financial information from several defendants to make
          two primary points: 1) Defendants’ profit margins showed no significant increase at the
          beginning of the alleged conspiracy despite Dr. Netz's claim that prices were effectively
          increased substantially and anticompetitively at that point in time; and 2) Dr. Netz's
          estimated overcharges imply that most defendants would have incurred substantially lower
          profitability in the but-for world than they experienced in the actual world, including large
          losses for an extended period of time. In this report I demonstrate that these conclusions
          are not affected by the criticisms made by Dr. Netz in her rebuttal report.78

          44.     I also explain that such losses likely would have led some of the defendants to
          reduce the level of investment below what they had invested in the actual world, and in
          some cases may have caused firms to exit the industry earlier than they did in the actual
          world. Dr. Netz failed to consider any of these potential consequences of her large assumed
          overcharges on manufacturer incentives in her expert report filed on April 15, 2015.
          Similarly, her attempts to dismiss them in her rebuttal report are not convincing.79

          45.     In her rebuttal report, Dr. Netz made a number of other criticisms of my initial
          report. I respond to these arguments in this report. As described in more detail below, none
          of the additional arguments or analyses offered by Dr. Netz have caused me to change my
          opinions.80




77
     Id., ¶ 13.
78
     Id., ¶ 14.
79
     Id., ¶ 15.
80
     Id., ¶ 16.

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         Appendix E – Summary of Opinions from Willig Surrebuttal Report

          46.       As noted above, I have considered and assessed independently and concur with the
          conclusions and underlying analyses presented in the expert reports that Professor Willig
          has previously submitted in this matter, including his surrebuttal report. The following is
          the summary of the conclusions presented in that report.

          47.       “In my initial damages report, I explained that Dr. Netz’s estimates of CPT
          overcharges are fundamentally unreliable because the model that she uses to estimate them
          does not properly control for changes in market conditions (such as changes in product
          quality) and because the model is unstable. As a result of these flaws, the overcharge
          estimated by Dr. Netz cannot distinguish between the price impact of changes in market
          conditions during the relevant period and any alleged impact of the putative cartel. Dr. Netz
          does not dispute this in her rebuttal report.”81

          48.       “In my initial damages report I further explained that if, despite these fundamental
          flaws, Dr. Netz’s model were to be used to estimate CPT overcharges, then her model
          should be modified to better control for changes in market conditions. Making reasonable
          modifications to her model (in the same spirit as her approach) to include relevant
          economic variables and to better control for changes in market conditions results in
          substantially smaller estimates of CPT overcharges than Dr. Netz’s estimates. In her
          rebuttal report, Dr. Netz does not dispute that my inclusion of these additional market
          controls is consistent with economic reasoning, nor does she dispute that their inclusion in
          her model (but making no other changes to it) substantially reduces estimated
          overcharges.”82

          49.       “Dr. Netz contends in her rebuttal report that it is unnecessary to add the market
          variables that I employ because her model without these variables already explains a high
          proportion of the variation in CPT prices and because these variables do not substantially
          improve the ability of her model to explain CPT price variation. However, the purpose of



81
     Willig Surrebuttal Report, ¶ 7(a).
82
     Id., ¶ 7(b).

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           an overcharge model is not to explain CPT prices for its own sake, but rather to reliably
           determine the influence that the alleged cartel’s activities had on CPT prices. My empirical
           findings demonstrate that much of the effect that Dr. Netz’s model attributed to the cartel
           was, in fact, the influence that these omitted variables had on CPT prices. This showing is
           backed by the solid economic rationale for including these variables in Dr. Netz’s CPT
           pricing model and by the fact that the data show they had a jointly statistically significant
           impact on CPT prices.”83

           50.      “When estimating overcharges, Dr. Netz assumes without support that the
           overcharge is uniform during the 12-year period between 1995 and 2006. I demonstrated
           in my initial damages report that removing this assumption and permitting overcharges to
           vary across years shows that there were no statistically significant overcharges after 1996.
           Moreover, it shows the average annual overcharge between 1995 and 2006 was far less
           than the overcharge estimated by Dr. Netz. In her rebuttal report, Dr. Netz provides no
           valid economic argument against the annual overcharge analysis. She just claims that I
           have provided no reasons to expect overcharges to vary across years during the Class
           Period. However, this is plainly incorrect since I have explained at length that market
           conditions changed considerably during the class period and the impact of the alleged cartel
           was consequently unlikely to have been uniform, contrary to Dr. Netz’s assumption.”84

           51.      “In my initial damages report, I demonstrated that Dr. Netz’s model estimates an
           overcharge for large CPTs that is statistically indistinguishable from zero, whereas the
           same model estimates a statistically significant overcharge for smaller CPTs. Dr. Netz does
           not dispute this finding in her rebuttal report. Nonetheless, Dr. Netz contends that because
           the overcharge for large CPTs estimated by her model is positive and because this estimate
           is the “best estimate” produced by her analysis, then even if it is not statistically significant,
           it follows that her analysis proves the alleged cartel impacted prices of large CPTs.
           However, when Dr. Netz’s model is modified modestly to better control for changes in
           relevant market conditions, while still reflecting her modeling approach, the model



83
     Id.
84
     Id., ¶ 7(c).

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           estimates negative overcharges for large CPTs, whereas the same model estimates positive
           and statistically significant overcharges for small CPTs. I conclude that Dr. Netz’s
           approach to estimating overcharges is therefore unable to establish that purchasers of large
           CPTs were impacted by the alleged cartel.” 85

           52.      “In my initial damages report, I showed that when Dr. Netz’s model of CPT
           overcharges is applied to CPTs sold in North America, her model estimates substantially
           smaller percentage overcharges for North American CPT sales than for global CPT sales.
           Dr. Netz contends that my estimates of North American CPT overcharges are not
           statistically distinguishable from her estimates of global CPT overcharges. However, the
           difference between them is economically important because it leads to a substantial
           difference in the estimated percentage overcharge. Furthermore, when minor modifications
           are made to Dr. Netz’s overcharge model in order to control for North American market
           conditions (modifications that are entirely in the spirit of Dr. Netz’s analysis), the model
           estimates overcharges in North America that are even smaller and statistically (and
           economically) distinguishable from Dr. Netz’s estimate of global overcharges.”86

           53.      “I explained in my initial damages report that Chunghwa’s profit margins did not
           increase following the start of the alleged cartel in 1995, and this is inconsistent with
           Plaintiffs’ claim of a highly effective cartel. In her rebuttal report, Dr. Netz contends that
           my measure of Chunghwa’s profit margins improperly included the cost of asset
           depreciation. However, removing such costs both before and after 1995 does not alter my
           conclusion, i.e., there is no evidence that Chunghwa’s profit margins increased after 1995.
           Dr. Netz makes several further arguments related to Chunghwa’s profits, but none have
           any merit.”87

           54.      “The observed heterogeneity of price dynamics among CPTs indicates that there
           were substantially heterogeneous market forces impacting the prices of various CPTs




85
     Id., ¶ 7(d).
86
     Id., ¶ 7(e).
87
     Id., ¶ 7(f).

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          during the Class Period, and the presence of such market heterogeneity is inconsistent with
          the “price structure” claimed by Dr. Netz.”88

          55.       “In my initial damages report, I demonstrated that the alleged cartel members’
          conduct was inconsistent with a sustained and effective CPT cartel, and in particular, that
          the alleged cartel members frequently deviated from the alleged target CPT prices. Dr. Netz
          asserts that one of my analyses of actual and target CPT prices is sensitive to the presence
          of data noise. However, she provides no empirical evidence that data noise presents a
          material issue. In contrast, I demonstrate empirically that her methodology for analyzing
          actual and target CPT prices is biased towards finding that cartel members adhered to the
          alleged target prices and therefore is incapable of distinguishing competitive outcomes
          from effective collusion.”89




88
     Id., ¶ 7(g).
89
     Id., ¶ 7(h).

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Appendix F – Impact on IPP Damages Estimates Assuming Irico Did Not Particpate in the Alleged Cartel
                                      Prior to August 1998

                 Table F-1 – Dr. Netz’s IPP Damages Estimates for March 1, 1995 to November 27, 2007
                                         CDT                                         CPT
      Year         Volume of                                         Volume of
                                 Overcharge       Damages                          Overcharge      Damages
                   Commerce                                          Commerce
      1995          $988,089,193       22.0%       $217,562,196       $653,493,012        9.0%      $58,894,187
      1996        $1,356,003,782       22.0%       $298,571,387       $868,226,645        9.0%      $78,246,441
      1997        $1,199,479,732       22.0%       $264,107,175       $855,082,565        9.0%      $77,061,869
      1998          $979,057,154       22.0%       $215,573,479       $821,166,215        9.0%      $74,005,255
      1999        $1,199,474,354       22.0%       $264,105,990       $797,915,860        9.0%      $71,909,883
      2000        $1,315,079,864       22.0%       $289,560,564       $815,569,045        9.0%      $73,500,826
      2001          $698,437,830       22.0%       $153,785,376       $691,212,798        9.0%      $62,293,575
      2002          $585,233,722       22.0%       $128,859,555       $626,420,387        9.0%      $56,454,344
      2003          $339,742,118       22.0%        $74,806,042       $618,275,442        9.0%      $55,720,304
      2004          $322,914,610       22.0%        $71,100,881       $639,125,159        9.0%      $57,599,326
      2005          $153,611,074       22.0%        $33,822,820       $484,044,628        9.0%      $43,623,137
      2006           $56,079,170       22.0%        $12,347,779       $334,449,470        9.0%      $30,141,301
      2007           $15,622,368       11.4%         $1,780,923       $102,641,804        3.1%       $3,179,262
      Total       $9,208,824,971       22.0%     $2,025,984,167     $8,307,623,030        8.9%     $742,629,709
    Sources: Netz Report, Netz Report Errata




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             Table F-2 – Dr. Netz’s IPP Damages Estimates for August 1, 1998 to November 27, 2007
                                     CDT                                                       CPT
  Year         Volume of                                                 Volume of
                                 Overcharge           Damages                              Overcharge           Damages
               Commerce                                                  Commerce
  1995                    $0             22.0%                  $0                  $0              9.0%                  $0
  1996                    $0             22.0%                  $0                  $0              9.0%                  $0
  1997                    $0             22.0%                  $0                  $0              9.0%                  $0
  1998          $479,307,821             22.0%        $105,536,285       $337,815,463               9.0%         $30,444,652
  1999        $1,199,474,354             22.0%        $264,105,990       $797,915,860               9.0%         $71,909,883
  2000        $1,315,079,864             22.0%        $289,560,564       $815,569,045               9.0%         $73,500,826
  2001          $698,437,830             22.0%        $153,785,376       $691,212,798               9.0%         $62,293,575
  2002          $585,233,722             22.0%        $128,859,555       $626,420,387               9.0%         $56,454,344
  2003          $339,742,118             22.0%         $74,806,042       $618,275,442               9.0%         $55,720,304
  2004          $322,914,610             22.0%         $71,100,881       $639,125,159               9.0%         $57,599,326
  2005          $153,611,074             22.0%         $33,822,820       $484,044,628               9.0%         $43,623,137
  2006           $56,079,170             22.0%         $12,347,779       $334,449,470               9.0%         $30,141,301
  2007           $15,622,368             11.4%          $1,780,923       $102,641,804               3.1%          $3,179,262
  Total       $5,165,502,931             22.0%      $1,135,706,215      $5,447,470,056              8.9%        $484,866,609
Sources: Netz Report backup, Netz Report Errata
Note: The volume of commerce and damages estimates for 1998 reflect the August to December 1998 period only. Specifically,
these estimates represent the sum of Dr. Netz's volume of commerce estimates for Q4 1998 and a pro-rated share (61/92) of her
volume of commerce estimates for Q3 1998.




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Table F-3 – IPP Damages Estimates for March 1, 1995 to November 27, 2007 when Making Economically Appropriate
                                   Corrections to Dr. Netz’s Overcharge Model
                                       CDT                                               CPT
    Year         Volume of                                               Volume of
                               Overcharge              Damages                         Overcharge    Damages
                 Commerce                                                Commerce
    1995          $988,089,193        1.6%              $15,365,327       $653,493,012        2.3%    $15,010,094
    1996        $1,356,003,782        1.6%              $21,086,601       $868,226,645        2.3%    $19,942,315
    1997        $1,199,479,732        1.6%              $18,652,566       $855,082,565        2.3%    $19,640,409
    1998          $979,057,154        1.6%              $15,224,874       $821,166,215        2.3%    $18,861,383
    1999        $1,199,474,354        1.6%              $18,652,482       $797,915,860        2.3%    $18,327,345
    2000        $1,315,079,864        1.6%              $20,450,211       $815,569,045        2.3%    $18,732,822
    2001          $698,437,830        1.6%              $10,861,090       $691,212,798        2.3%    $15,876,481
    2002          $585,233,722        1.6%               $9,100,704       $626,420,387        2.3%    $14,388,262
    2003          $339,742,118        1.6%               $5,283,176       $618,275,442        2.3%    $14,201,181
    2004          $322,914,610        1.6%               $5,021,499       $639,125,159        2.3%    $14,680,079
    2005          $153,611,074        1.6%               $2,388,736       $484,044,628        2.3%    $11,118,031
    2006           $56,079,170        1.6%                 $872,062       $334,449,470        2.3%     $7,681,977
    2007           $15,622,368        0.0%                       $0       $102,641,804        0.0%             $0
    Total       $9,208,824,971        1.6%             $142,959,329     $8,307,623,030        2.3%   $188,460,378
  Sources: Netz Report backup, Guerin-Calvert Report, Willig Report




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Table F-4 – IPP Damages Estimates for August 1, 1998 to November 27, 2007 when Making Economically Appropriate
                                   Corrections to Dr. Netz’s Overcharge Model
                                        CDT                                                       CPT
     Year         Volume of                                                 Volume of
                                    Overcharge           Damages                              Overcharge           Damages
                  Commerce                                                  Commerce
     1995                    $0              1.6%                  $0                  $0              2.3%                  $0
     1996                    $0              1.6%                  $0                  $0              2.3%                  $0
     1997                    $0              1.6%                  $0                  $0              2.3%                  $0
     1998          $479,307,821              1.6%          $7,453,499       $337,815,463               2.3%          $7,759,290
     1999        $1,199,474,354              1.6%         $18,652,482       $797,915,860               2.3%         $18,327,345
     2000        $1,315,079,864              1.6%         $20,450,211       $815,569,045               2.3%         $18,732,822
     2001          $698,437,830              1.6%         $10,861,090       $691,212,798               2.3%         $15,876,481
     2002          $585,233,722              1.6%          $9,100,704       $626,420,387               2.3%         $14,388,262
     2003          $339,742,118              1.6%          $5,283,176       $618,275,442               2.3%         $14,201,181
     2004          $322,914,610              1.6%          $5,021,499       $639,125,159               2.3%         $14,680,079
     2005          $153,611,074              1.6%          $2,388,736       $484,044,628               2.3%         $11,118,031
     2006           $56,079,170              1.6%            $872,062       $334,449,470               2.3%          $7,681,977
     2007           $15,622,368              0.0%                  $0       $102,641,804               0.0%                  $0
     Total       $5,165,502,931              1.6%         $80,083,460      $5,447,470,056              2.3%        $122,765,467
   Sources: Netz Report backup, Guerin-Calvert Report, Willig Report
   Note: The volume of commerce and damages estimates for 1998 reflect the August to December 1998 period only. Specifically,
   these estimates represent the sum of Dr. Netz's volume of commerce estimates for Q4 1998 and a pro-rated share (61/92) of her
   volume of commerce estimates for Q3 1998.




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Appendix G – Estimates of Dr. Netz’s Volume of Commerce and Damages
      Estimates for CPTs with a Diameter Larger than 29 Inches

Table G-1 – Estimates of Dr. Netz’s Volume of Commerce and Damages Estimates for
                   CPTs with a Diameter Larger than 29 Inches
                          Volume of
             Year                       Overcharge           Damages
                          Commerce
             1995          $163,740,665        9.0%           $14,756,659
             1996          $255,053,624        9.0%           $22,985,978
             1997          $248,597,310        9.0%           $22,404,122
             1998          $266,157,523        9.0%           $23,986,686
             1999          $133,285,662        9.0%           $12,011,989
             2000          $153,026,482        9.0%           $13,791,074
             2001          $126,289,276        9.0%           $11,381,460
             2002          $133,098,994        9.0%           $11,995,166
             2003          $118,465,939        9.0%           $10,676,404
             2004          $102,388,972        9.0%            $9,227,513
             2005           $59,718,493        9.0%            $5,381,958
             2006           $30,897,806        9.0%            $2,784,576
             2007            $8,264,274        3.1%              $255,980
             Total       $1,798,985,020        9.0%          $161,639,565
           Sources: Netz Report backup, Netz Report Errata
           Notes: (i) The volume of commerce estimates in the above table
           were derived by summing Dr. Netz's estimate of the volume of
           commerce for each CPT size larger than 29 inches (found in Dr.
           Netz's backup file, "total_damages.dta"). (ii) These volume of
           commerce estimates were then multiplied by Dr. Netz's
           overcharge estimate to obtain an estimate of the value of her
           damages estimates associated with CPTs larger than 29 inches.




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  Table G-2 – Estimates of Dr. Netz’s Volume of Commerce for CPTs with a Diameter
Larger than 29 Inches and the Resulting Damages Estimates when Making Economically
               Appropriate Corrections to Dr. Netz’s Overcharge Model
                           Volume of
               Year                      Overcharge           Damages
                           Commerce
              1995          $163,740,665        2.3%            $3,760,963
              1996          $255,053,624        2.3%            $5,858,332
              1997          $248,597,310        2.3%            $5,710,037
              1998          $266,157,523        2.3%            $6,113,377
              1999          $133,285,662        2.3%            $3,061,441
              2000          $153,026,482        2.3%            $3,514,868
              2001          $126,289,276        2.3%            $2,900,741
              2002          $133,098,994        2.3%            $3,057,153
              2003          $118,465,939        2.3%            $2,721,047
              2004          $102,388,972        2.3%            $2,351,774
              2005           $59,718,493        2.3%            $1,371,675
              2006           $30,897,806        2.3%              $709,692
              2007            $8,264,274        0.0%                    $0
              Total       $1,798,985,020        2.3%           $41,131,101
            Sources: Netz Report backup, Netz Report Errata
            Notes: (i) The volume of commerce estimates in the above table
            were derived by summing Dr. Netz's estimate of the volume of
            commerce for each CPT size larger than 29 inches (found in Dr.
            Netz's backup file, "total_damages.dta"). (ii) These volume of
            commerce estimates were then multiplied by the overcharge
            estimate that is obtained by applying the same economically
            appropriate corrections described and applied by Professor
            Willig in his 2014 reports to Dr. Netz’s CPT overcharge model.




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    Appendix H - Domestically-Produced Share of U.S. TV Purchases

                            Domestic                                 Domestically-
                                             Exports         Imports
         Year              Shipments                               Produced Share of
                                             ($1000s)        ($1000s)
                            ($1000s)                               U.S. TV Purchases
        1995               $5,130,453          N/A      $2,633,365        N/A
        1996               $4,653,300        $325,420   $3,762,002       53.5%
        1997               $4,185,761        $410,482   $3,522,082       51.7%
        1998               $3,764,197        $616,636   $4,872,773       39.2%
        1999               $4,317,057        $183,032   $4,103,913       50.2%
        2000               $3,970,366        $157,830   $4,579,084       45.4%
        2001               $3,038,969        $161,848   $5,305,606       35.2%
        2002               $3,284,882        $105,964   $6,480,435       32.9%
        2003               $3,827,744        $100,421   $6,278,911       37.3%
        2004               $3,763,428        $144,361   $5,463,320       39.8%
        2005               $3,835,563        $120,482 $12,892,874        22.4%
        2006               $3,429,482        $120,482   $4,735,874       41.1%
 Total (1996-2006)        $42,070,749       $2,446,958 $61,996,874       39.0%
 Total (1996-2002)        $27,214,532       $1,961,212 $32,625,895       43.6%
 Sources: Current Industrial Reports - Consumer Electronics, U.S. Census, Series MA36M
 (1995-2000) and MA334M (2001-2006).
 Notes: (i) The domestically-produced share of U.S. TV purchases in a given year equals:
 (domestic shipments - exports) / (domestic shipments + imports - exports). (ii) The numbers in
 the table are for all TVs (not just CRT TVs) as the U.S. Census data do not provide separate
 estimates for CRT TVs. However, from 1996 through 2002, LCD and plasma TVs accounted
 for less than 1% of North American TV purchases (Television Systems Market Tracker Q4
 2003, iSuppli Corporation). (iii) Export data are unavailable for 1995.




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                                                                    Page 1

1                        UNITED STATES DISTRICT COURT
2                      NORTHERN DISTRICT OF CALIFORNIA
3
4        ______________________________
                                                  )
5        IN RE:       CATHODE RAY TUBE            )
         (CRT) ANTITRUST LITIGATION               )
6        ______________________________)No. 3:07-cv-05944-SC
                                                  )MDL No. 1917
7        This Document Relates to:                )
                                                  )
8        ALL ACTIONS                              )
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14                             HIGHLY CONFIDENTIAL
15                  VIDEOTAPED DEPOSITION OF JANET S. NETZ, PH.D.
16                         San Francisco, California
17                          Friday, June 27, 2014
18
19
20
21
22
23      REPORTED BY:
24      LESLIE ROCKWOOD, RPR, CSR 3462
25

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                                                                    Page 2

1                      UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3
4        ______________________________
                                                )
5        IN RE:     CATHODE RAY TUBE            )
         (CRT) ANTITRUST LITIGATION             )
6        ______________________________)No. 3:07-cv-05944-SC
                                                )MDL No. 1917
7        This Document Relates to:              )
                                                )
8        ALL ACTIONS                            )
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9
10
11                  Videotaped deposition of JANET S. NETZ, PH.D.,
12      taken on behalf of the Defendants, at Zelle Hofmann
13      Voelbel & Mason LLP, 44 Montgomery Street, Suite 3400,
14      San Francisco, California, beginning at 9:02 A.M. and
15      ending at 4:40 P.M. on Friday, June 27, 2014, before
16      Leslie Rockwood, RPR, Certified Shorthand Reporter No.
17      3462.
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2
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9              (415) 703-2372
10             Paul.Moore@doj.ca.gov
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13      Also Present:      Sean Grant, Videographer
14                                       --oOo--
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1            A.     No, I did not.

2            Q.     Do you know if any of them calculated

3       overcharges on a year-by-year basis or a shorter basis?

4            A.     I believe some calculated overcharges on a

5       quarterly basis.                                                    09:26:28

6            Q.     Okay.    And do you think that that's an

7       unreasonable approach given the conspiracy in this case

8       that's been alleged?

9                   MS. WHITEHEAD:     Object to form.

10                  THE WITNESS:     I haven't looked at what they did      09:26:38

11      specifically.       I'm aware of the general approach that

12      they took and their using commonly used, accepted

13      economic approaches.       But aside from saying that the

14      approach that they used is generally acceptable --

15      generally accepted, I don't have a further opinion                  09:26:57

16      because I'm not familiar with their -- the details of

17      their studies.

18           Q.     BY MR. KESSLER:     Okay.   So then you agree that

19      you could use generally accepted economic techniques to

20      calculate the overcharges in this case on a shorter                 09:27:11

21      period basis than 2006 to 1995 all averaged together;

22      right?

23                  MR. ALIOTO:    Object as to form.

24                  THE WITNESS:     That is correct.    My testimony is

25      not that my way is the only economically reasonable way

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2                        NORTHERN DISTRICT OF CALIFORNIA
3                             SAN FRANCISCO DIVISION
4        ______________________________
                                                )
5        IN RE:       CATHODE RAY TUBE          )
         (CRT) ANTITRUST LITIGATION             )
6        ______________________________) No. 3:07-cv-05944-SC
                                                ) MDL No. 1917
7        This Document Relates to:              )
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12                   _______________________________________
13                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14                        VIDEO-RECORDED DEPOSITION OF
15                       YU-HAO ZHANG, A/K/A ALLEN CHANG
16                          San Francisco, California
17                                 March 12, 2014
18
19
20      Reported by:
        KENNETH T. BRILL
21      CSR NO. 12797
22
23
24
25

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1                      IN THE UNITED STATES DISTRICT COURT
2                        NORTHERN DISTRICT OF CALIFORNIA
3                             SAN FRANCISCO DIVISION
4        ______________________________
                                             )
5        IN RE:       CATHODE RAY TUBE       )
         (CRT) ANTITRUST LITIGATION          )
6        ______________________________) No. 3:07-cv-05944-SC
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         ______________________________)
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11              ____________________________________________
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13                     Video-recorded Deposition of YU-HAO ZHANG,
14      A/K/A ALLEN CHANG, Volume 1, taken on behalf of Direct
15      Action Plaintiffs, at Zelle Hoffman Voelbel & Mason LLP,
16      44 Montgomery Street, Suite 3400, San Francisco, CA,
17      beginning at 9:39 a.m., and ending at 4:14 p.m., on
18      Wednesday, March 12, 2014, before KENNETH T. BRILL,
19      Certified Shorthand Reporter No. 12797.
20
21
22
23
24
25

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1       A P P E A R A N C E S:
2
3       For Circuit City Liquidating Trust, and generally,
4       Direct Purchaser Plaintiffs
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13      For Direct Purchaser Plaintiffs
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1       A P P E A R A N C E S (continued)
2
3       For The State of California
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5                      OFFICE OF THE ATTORNEY GENERAL
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1       A P P E A R A N C E S (continued)

2

3       For Samsung SDI Defendants

4             SHEPPARD MULLIN RICHTER & HAMPTON LLP

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8             (415) 744-3208

9             tcunningham@sheppardmullin.com

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11

12      For Defendants Hitachi Limited, Hitachi Asia Limited,

13      Hitachi America Limited, Hitachi Electronic Devices USA,

14       and Hitachi Displays Limited.

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16            BY:   MICHAEL GAWLEY, ESQUIRE

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2
3
4       For the Philips Defendants
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14      For Panasonic Defendants and the Witness
15              WEIL, GOTSHAL & MANGES LLP
16              BY:     DAVID L. YOHAI, ESQUIRE
17                      MEAGHAN THOMAS-KENNEDY, ESQUIRE
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1       A P P E A R A N C E S (continued)
2
3       For Toshiba Defendants
4              via telephone:
5              WHITE & CASE LLP
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12
13      ALSO PRESENT:        Mimi S. J. Lain, Court Interpreter
14                           Yang Shao, Check Interpreter
15                           Cassia Leet, Videographer
16
17
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10      CHANG                                                        PAGE
11      Exhibit 2600        Bates stamp CHU 00028521,
12                          Meeting minutes of a 5/6/96
13                          Bilateral Meeting between
14                          Matsushita and Chunghwa
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19                          Minutes of a July 17, 1996,
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7                          dated 3/4/97
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1         San Francisco, California, Wednesday March 12, 2014

2                                 9:39 a.m.

3

4

5                    THE VIDEOGRAPHER:   Good morning.   We are on    09:39:34

6       the record at 9:39 a.m. on March 12th, 2014.       This is    09:39:36

7       the videoed recorded deposition of Yu-Hao Zhang, a/k/a        09:39:40

8       Allen Chang.                                                  09:39:43

9                    My name is Cassia Leet, here with our court      09:39:45

10      reporter, Ken Brill.     We are here from Veritext Legal      09:39:49

11      Solutions at the request of counsel for plaintiff.            09:39:51

12                   This deposition is being held at 44 Montgomery   09:39:57

13      Street, Suite 3400, San Francisco, California 94104.          09:39:58

14                   The caption of this case is, In Re:    Cathode   09:40:08

15      Ray Tubes, CRT Antitrust Litigation, in the United            09:40:12

16      States District Court, Northern District of California,       09:40:15

17      San Francisco Division, Master File No. 075944-SC.            09:40:17

18                   Please note that audio and video recording       09:40:23

19      will take place unless all parties agree to go off the        09:40:27

20      record.     Microphones are sensitive and may pick up         09:40:30

21      whispers, private conversations and cell phone                09:40:32

22      interference.                                                 09:40:36

23                   I am not related to any party in this action,    09:40:36

24      nor am I financially interested in the outcome in any         09:40:38

25      way.   If there are any objections to the proceeding,         09:40:40


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1       please state them at the time of your appearance,               09:40:45

2       beginning with the noticing attorney.                           09:40:47

3                   MR. ROSS:     Jonathan Ross, Susman Godfrey, for    09:40:51

4       Circuit City Liquidating Trust and generally for the            09:40:58

5       Direct Action Plaintiffs.                                       09:41:00

6                   MS. ZAHID:     Judith Zahid, from Zelle Hoffman,    09:41:02

7       for the indirect purchaser plaintiffs.                          09:41:02

8                   MS. FU:     Quianwei Fu, from Zelle Hoffman, for    09:41:06

9       the indirect purchaser plaintiffs.                              09:41:06

10                  MR. MOORE:     Paul Moore for the State of          09:41:10

11      California.                                                     09:41:12

12                  MR. FUJITA:     Christine Fujita at Gibson Dunn &   09:41:13

13      Crutcher on behalf of Chunghwa Picture Tubes.                   09:41:13

14                  MR. CUNNINGHAM:     Tyler Cunningham, Shepherd      09:41:17

15      Mullin Richter & Hampton, Samsung SDI defendants.               09:41:19

16                  MR. GAWLEY:     Michael Gawley with Kirkland &      09:41:23

17      Ellis for Hitachi Limited, Hitachi Asia Limited, Hitachi        09:41:25

18      America Limited, Hitachi Electronic Devices USA, and            09:41:28

19      Hitachi Displays Limited.                                       09:41:34

20                  MR. MALAISE:     Charles Malaise, Baker Botts, on   09:41:38

21      behalf of the Philips Defendants.                               09:41:40

22                  MS. KENNEDY:     Meaghan Thomas-Kennedy, Weil       09:41:40

23      Gotshal & Manges, on behalf of the Panasonic Defendants.        09:41:40

24                  MR. YOHAI:     David Yohai, Weil, Gotshal &         09:41:45

25      Manges, on behalf of the Panasonic defendants and the           09:41:47


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1       witness.                                                           09:41:49

2                   THE VIDEOGRAPHER:     Thank you.     The interpreter   09:41:51

3       and the witness will be sworn in and counsel can begin             09:41:57

4       the examination.                                                   09:41:58

5                           Whereupon, Certified Court                     09:41:58

6                   Interpreter MIMI S. J. LAIN, and Check                 09:41:58

7                   Interpreter YANG SHAO, were duly sworn                 09:41:58

8                   to interpret from English to Mandarin                  09:41:58

9                   and Mandarin to English.                               09:41:58

10                          YU-HAO ZHANG, A/K/A ALLEN CHANG,               09:42:27

11                  after having been first duly sworn, was                09:42:27

12                  examined and testified as follows:                     09:42:27

13                                                                         09:42:27

14                                 EXAMINATION                             09:42:21

15      BY MR. ROSS:                                                       09:42:23

16           Q.     Good morning, Mr. Chang.     Would you please          09:42:25

17      state your name for the record?                                    09:42:27

18           A.     Allen Chang.                                           09:42:30

19           Q.     Okay.     And is that the name you go by when you      09:42:32

20      are conducting bus- -- business in English?                        09:42:34

21           A.     Yes.                                                   09:42:43

22           Q.     Okay.     And when you're conducting business in       09:42:43

23      Chinese, what name do you go by?                                   09:42:45

24           A.     Yu-Hao Zhang.                                          09:42:58

25           Q.     Any other names that you go by when you're             09:43:00


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1       conducting business generally?                               09:43:02

2            A.     No.                                              09:43:06

3            Q.     Have you been deposed before, sir?               09:43:10

4            A.     No.                                              09:43:13

5            Q.     Has your counsel explained to you -- yes or no   09:43:15

6       question.    Has your counsel explained to you what it       09:43:17

7       means to give a deposition in the United States?             09:43:19

8            A.     Yes.                                             09:43:34

9            Q.     Do you realize, sir, that even though we're in   09:43:36

10      a conference room in an office today, you're giving          09:43:38

11      testimony as the same as if you were giving testimony in     09:43:40

12      a court of law?                                              09:43:43

13           A.     I know.                                          09:43:57

14           Q.     And do you understand the oath that you just     09:43:57

15      took to start this deposition?                               09:43:58

16           A.     Yes, I do.                                       09:44:04

17           Q.     Do you understand that you've sworn to tell      09:44:06

18      the truth today?                                             09:44:08

19           A.     Yes.                                             09:44:12

20           Q.     And do you understand that the penalties of      09:44:12

21      perjury apply if you don't tell the truth?                   09:44:15

22           A.     I know.                                          09:44:21

23           Q.     Is there anything at all medically or            09:44:23

24      otherwise that would prevent you from testifying             09:44:25

25      truthfully today?                                            09:44:27


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1            A.     No.                                              09:44:36

2            Q.     And you understand that we are both recording    09:44:36

3       you by video as well as the court reporter who is taking     09:44:40

4       down my questions and your answers?                          09:44:43

5            A.     I know.                                          09:44:58

6            Q.     And while we're off to a great start, if you     09:45:00

7       would please allow me to finish my question, and allow       09:45:02

8       the interpreter to finish the interpretation of that         09:45:04

9       question before you start your answer, even if you know      09:45:06

10      where I'm going, I will try to do the same for you, sir.     09:45:10

11      Is that agreeable?                                           09:45:12

12           A.     Okay.                                            09:45:32

13           Q.     If you don't understand any of my questions,     09:45:32

14      would you please ask me to clarify or repeat the             09:45:34

15      question so that we can be sure when you give an answer      09:45:38

16      that you understood what I was asking?                       09:45:40

17           A.     Okay.                                            09:46:02

18           Q.     From time to time either your counsel or other   09:46:02

19      counsel at the table may object to some of my questions.     09:46:04

20      And when they do, that is fine, but then you should go       09:46:06

21      ahead and answer the question unless your counsel has        09:46:10

22      instructed you not to answer.                                09:46:12

23                  Do you understand that, sir?                     09:46:13

24           A.     I know.                                          09:46:28

25           Q.     If at any time you need to take a break, sir,    09:46:30


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1       I'm more than happy to take that break, just let me                09:46:32

2       know.        Okay, sir?                                            09:46:36

3               A.      All right.                                         09:46:45

4               Q.      The only thing I would ask is that if there is     09:46:47

5       a question pending, if I've asked you a question, would            09:46:49

6       you please answer it, sir, before you ask to take a                09:46:57

7       break.                                                             09:46:58

8               A.      Okay.                                              09:47:10

9               Q.      I asked earlier if you'd ever taken a              09:47:10

10      deposition or had your deposition taken and you said no.           09:47:12

11      Have you ever given testimony of any kind, for example,            09:47:13

12      in a court in China or Japan or here in the United                 09:47:17

13      States?                                                            09:47:21

14              A.      Testify?     No.                                   09:47:40

15              Q.      Have you ever been interviewed by any              09:47:42

16      governmental personnel or agencies?                                09:47:43

17              A.      No.                                                09:47:58

18              Q.      Okay.     Do you speak English, sir?               09:47:58

19              A.      I rarely use it.                                   09:48:04

20              Q.      Mm-hmm.     Do you -- when you do use it, do you   09:48:08

21      use it in a business setting?                                      09:48:12

22              A.      For customers, when I deal with Japanese           09:48:23

23      customers, yes.                                                    09:48:28

24                      When I work with the Taiwanese customers, I        09:48:32

25      will use Chinese.                                                  09:48:34


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1            Q.     Just so I understand, when you work with        09:48:36

2       Japanese customers, you speak English in those meetings?    09:48:40

3            A.     We don't have customers in Japan; however, we   09:48:58

4       do have the headquarter in Japan.                           09:49:04

5            Q.     Okay.   When you -- we'll get to your job and   09:49:06

6       who you work for, but generally speaking, when you're       09:49:10

7       speaking with somebody in -- in your company who speaks     09:49:13

8       Japanese, do you use English generally to conduct those     09:49:17

9       conversations?                                              09:49:21

10           A.     Yes.                                            09:49:40

11           Q.     Do you read English at all?                     09:49:42

12           A.     Yes.                                            09:49:45

13           Q.     And do you write in English at all?             09:49:45

14           A.     Yes, I do write some.                           09:49:57

15           Q.     Other than Chinese or English, do you speak     09:49:58

16      any other languages?                                        09:50:00

17           A.     Little bit of Japanese.                         09:50:08

18           Q.     Okay.   Have you ever taken any classes to      09:50:10

19      learn English?                                              09:50:15

20           A.     From junior high, senior high and college.      09:50:19

21           Q.     Okay.   Are you comfortable using English in    09:50:27

22      your business communications with your colleagues at        09:50:28

23      Matsushita?                                                 09:50:32

24           A.     Little bit of difficulties.                     09:50:42

25           Q.     Do you use English or Japanese more in those    09:50:43


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1       conversations with your business colleagues at                 09:50:45

2       Matsushita?                                                    09:50:47

3               A.   More English.                                     09:51:02

4               Q.   And as we've been talking for five minutes or     09:51:02

5       so, have you understood my questions in English even           09:51:06

6       without the interpretation?                                    09:51:08

7                    MR. YOHAI:     Objection to the form of the       09:51:10

8       question.                                                      09:51:10

9                    THE WITNESS:     I could not understand it very   09:51:25

10      well.                                                          09:51:27

11      BY MR. ROSS:                                                   09:51:27

12              Q.   Did you meet with counsel to prepare for this     09:51:27

13      deposition?                                                    09:51:30

14              A.   With David and Meaghan.                           09:51:38

15              Q.   And how many days did you meet with David and     09:51:40

16      Meaghan?                                                       09:51:45

17              A.   One and a half days.                              09:51:45

18              Q.   And was that this week?                           09:51:47

19              A.   Yes.                                              09:51:51

20              Q.   Had you met with them before the -- this week?    09:51:57

21              A.   No.                                               09:52:04

22              Q.   Had you prepared for this deposition with         09:52:04

23      anyone else before meeting with Meaghan and David this         09:52:04

24      week?                                                          09:52:08

25              A.   My personal attorney.                             09:52:15


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1            Q.      Okay.     Is your personal attorney attending     09:52:19

2       this deposition?                                               09:52:21

3            A.      No.                                               09:52:27

4            Q.      Was this meeting in Taiwan?                       09:52:27

5            A.      No, in the United States.                         09:52:30

6            Q.      When did you --                                   09:52:32

7            A.      Right here.                                       09:52:32

8            Q.      Sure, sorry.                                      09:52:34

9                    When did you meet with your personal attorney?    09:52:34

10           A.      Monday.                                           09:52:40

11           Q.      Okay.     About how long did you meet with him?   09:52:42

12           A.      Also one and a half days.                         09:52:45

13           Q.      Was your personal attorney attending the prep     09:52:49

14      sessions that you had with Panasonic's lawyers?                09:52:57

15           A.      Only half a day.                                  09:53:13

16           Q.      Okay.     Just so I'm clear, did you ever meet    09:53:15

17      with your personal attorney separate from your meetings        09:53:17

18      with the Panasonic lawyers?                                    09:53:19

19           A.      Yes.                                              09:53:30

20           Q.      About how long did you meet with your personal    09:53:30

21      attorney separate from your meetings with Panasonic            09:53:32

22      attorneys?                                                     09:53:36

23           A.      About, not even a half a day, a few hours.        09:53:47

24           Q.      Okay.     And about how many hours in total did   09:53:51

25      you meet with the Panasonic attorneys?                         09:53:57


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1            A.      Well, do you mean how many hours?                    09:54:12

2            Q.      I do.                                                09:54:13

3            A.      About ten plus hours.                                09:54:30

4            Q.      When you met with your personal attorney, was        09:54:32

5       that meeting conducted in English, Chinese, or was an             09:54:34

6       interpreter used?                                                 09:54:38

7            A.      The entire duration I had an Chinese                 09:54:47

8       interpreter present.                                              09:54:51

9            Q.      By "entire duration" are you saying both when        09:54:57

10      you met with your personal attorney and when you met              09:55:00

11      with the Panasonic attorneys who are here defending you           09:55:02

12      today?                                                            09:55:06

13           A.      Excuse me, I didn't understand it.                   09:55:17

14           Q.      Okay.     Let me rephrase.   When you met with the   09:55:19

15      Panasonic attorneys, was an interpreter present during            09:55:23

16      that time?                                                        09:55:27

17           A.      Yes.                                                 09:55:30

18           Q.      While I appreciate that an interpreter was           09:55:32

19      present, were some questions just conducted in English            09:55:36

20      and others interpreted, or was everything interpreted?            09:55:38

21           A.      Everything was interpreted.                          09:56:00

22           Q.      Thank you, sir.     What I'd like to do now is       09:56:02

23      talk a little bit about your education.                           09:56:04

24                   First off, where were you born?                      09:56:10

25           A.      Taipei.                                              09:56:13


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1             Q.     And have you generally lived in Taipei all         09:56:15

2       your life?                                                      09:56:17

3             A.     Yes.                                               09:56:21

4             Q.     Can you just give us a general sense of your       09:56:23

5       background, education wise, through college, please.            09:56:27

6             A.     Education background, you mean you want me to      09:56:42

7       tell you since elementary school?                               09:56:45

8             Q.     Why don't we start with high school and move       09:56:47

9       on.                                                             09:56:51

10            A.     Three years of high school.    I studied physics   09:56:57

11      as a major in college.      I worked two years as a military    09:57:02

12      volunteer.     The first job I had was working for a            09:57:19

13      semiconductor -- semiconductor agent.                           09:57:34

14            Q.     Okay.   Let me stop you there, sir.   Before we    09:57:42

15      get to your jobs, I want to make sure I understand all          09:57:47

16      of your education.                                              09:57:49

17                   Have you had any post-graduate education after     09:58:00

18      college?                                                        09:58:02

19            A.     No.                                                09:58:08

20            Q.     No professional degrees?                           09:58:08

21            A.     No.                                                09:58:15

22            Q.     You said that your major was physics.     Do you   09:58:15

23      have a background in engineering?                               09:58:17

24            A.     Engineering background?    What do you mean?       09:58:30

25      Because when I studied physics, you'll have to have an          09:58:36


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1       engineering background.     That is an engineering            09:58:40

2       background.                                                   09:58:43

3            Q.     Okay.   Do you have any -- did you take           09:58:45

4       business courses?                                             09:58:46

5            A.     No.                                               09:58:57

6            Q.     Take any legal courses?                           09:58:57

7            A.     No.                                               09:59:00

8            Q.     Did you take any courses in economics?            09:59:02

9            A.     No.                                               09:59:08

10           Q.     While you have worked for the various             09:59:10

11      companies that you've worked for, have you done any sort      09:59:12

12      of continuing educational courses of any type?                09:59:13

13           A.     No.                                               09:59:28

14           Q.     What year did you graduate from college?          09:59:28

15           A.     1989.                                             09:59:40

16           Q.     And did you leave the military in 1991?           09:59:45

17           A.     Yes.                                              09:59:51

18           Q.     And you said that your first job was at a         09:59:57

19      semiconductor agent.     What was the name of that company?   10:00:02

20           A.     It was a semiconductor device or supplies --      10:00:21

21      or equipment company.     I don't recall the name because I   10:00:27

22      worked there less than six months.                            10:00:30

23           Q.     Was this -- these six months in 1991, or did      10:00:32

24      it bleed over into 1992?                                      10:00:36

25           A.     I think it was in 1991, I think.                  10:00:47


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1            Q.     That's fine.     And as we go through the        10:00:57

2       questions today, the best I can get is your                  10:00:58

3       recollection.       I understand that some of these events   10:01:00

4       are from a long time ago.       So just give me your best    10:01:02

5       recollection and if you don't recall, we'll move on.         10:01:06

6            A.     Okay.                                            10:01:28

7            Q.     What was your position at the semiconductor      10:01:28

8       company?                                                     10:01:30

9            A.     Service engineer.                                10:01:40

10           Q.     And what exactly did that job entail, what did   10:01:42

11      you do?                                                      10:01:45

12           A.     Few of my job duties included maintenance and    10:01:58

13      repairs of the equipment.       Also, I sold some service    10:02:02

14      parts.                                                       10:02:13

15           Q.     Did you say you sell?                            10:02:15

16           A.     Yes, I had to build some of the business in      10:02:15

17      this regard while servicing.                                 10:02:27

18           Q.     When you say part of your job was maintenance    10:02:28

19      and repair of the equipment, are you talking about the       10:02:30

20      semiconductors that this company sold, or are you            10:02:34

21      talking about the equipment used to manufacture those        10:02:38

22      semiconductors?                                              10:02:40

23           A.     The first part, that was the correct one.        10:03:12

24           Q.     Okay.     Did this company manufacture           10:03:13

25      semiconductors?                                              10:03:15


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1            A.     It's an agent.                                      10:03:21

2            Q.     And what does that mean, "it's an agent"?     I'm   10:03:23

3       not sure I understand.                                          10:03:25

4            A.     It's an agent for a particular equipment            10:03:36

5       manufacturer.       It does not have a factory itself.          10:03:38

6            Q.     Who was the equipment manufacturer for which        10:03:42

7       it was an agent?                                                10:03:43

8            A.     I don't quite recall.     There were quite a few.   10:03:57

9            Q.     Was this a locally owned business in Taipei?        10:04:00

10           A.     Yes.                                                10:04:02

11           Q.     Okay.     Other than what you've told us, did you   10:04:04

12      do anything differently for this company in those six           10:04:06

13      months?                                                         10:04:10

14           A.     No.                                                 10:04:19

15           Q.     And what was your next job after this one?          10:04:19

16           A.     It was about maybe half a year or so later I        10:04:30

17      joined Panasonic.                                               10:04:36

18           Q.     So sometime in 1992?                                10:04:38

19           A.     Yes.                                                10:04:43

20           Q.     And we'll go through each one, but is it fair       10:04:45

21      to say that from 1992 through the present date you have         10:04:47

22      worked for -- continuously for some Panason- --                 10:04:49

23      Panasonic entity?                                               10:04:57

24           A.     Same company, are you talking about the             10:05:17

25      Taiwanese one?                                                  10:05:19


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1            Q.      I'm saying any company that's affiliated with    10:05:19

2       Panasonic.     I'm going to go back and break down exactly    10:05:23

3       which ones, but I just want to know if there are any          10:05:27

4       non-Panasonic companies from 1992 forward in your             10:05:28

5       chronology?                                                   10:05:32

6            A.      No.                                              10:05:49

7            Q.      Okay.   What was the first company that you      10:05:49

8       worked for in 1992, with Panasonic company?                   10:05:57

9            A.      In 1992 it was Panasonic.                        10:06:12

10           Q.      What was the -- if you know, what was the        10:06:13

11      specific Panasonic entity that you worked for?                10:06:15

12           A.      Panasonic Sales, Taiwan.                         10:06:36

13           Q.      All right.   Was the name of that back in 1992   10:06:38

14      Matsushita Sales Taiwan?                                      10:06:45

15           A.      In Chinese, that is correct; however, in         10:06:57

16      English, it was called Panasonic Sales Taiwan.                10:06:58

17           Q.      Okay.   What was the position -- your first      10:07:04

18      position there at Panasonic Sales Taiwan?                     10:07:06

19           A.      Sales engineer.                                  10:07:19

20           Q.      And what were your duties as a sales engineer?   10:07:23

21           A.      Quality, technology, specs, design-in, and       10:07:40

22      also market information, and also push for payments.          10:07:49

23           Q.      What products did you deal with initially?       10:08:08

24           A.      The CRT.                                         10:08:13

25           Q.      Any other products?                              10:08:17


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1            A.     FBT.                                             10:08:19

2            Q.     What is FBT?                                     10:08:21

3            A.     It's a transformer inside of the CRT.            10:08:28

4            Q.     Anything other than CRTs and FBTs?               10:08:32

5                   THE INTERPRETER:     Orange?                     10:08:45

6                   THE WITNESS:     Orange color plasma display.    10:08:47

7       BY MR. ROSS:                                                 10:08:51

8            Q.     Anything else, sir?                              10:08:57

9            A.     No.                                              10:09:00

10           Q.     The office was located in Taipei?                10:09:04

11           A.     Yes.                                             10:09:06

12           Q.     How long did you hold this title of sales        10:09:08

13      engineer?                                                    10:09:10

14           A.     Two years.                                       10:09:17

15           Q.     One of the things that you said you were         10:09:19

16      responsible for was market information.       What do you    10:09:21

17      mean by that?                                                10:09:23

18           A.     I also had to do sales work.                     10:09:34

19           Q.     By "market information" you mean sales work?     10:09:38

20           A.     I also had to do the work of sales as well.      10:09:43

21           Q.     All right.     What -- what do you mean by the   10:09:47

22      work of sales?                                               10:09:49

23           A.     When it comes to the work of sales, because      10:10:12

24      initially most of the work relate -- related to              10:10:15

25      engineering.       So therefore, we also had to do sales     10:10:19


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1       work.                                                             10:10:23

2               Q.     And by "sales" do you mean that you went out       10:10:25

3       to customers and tried to sell them product?                      10:10:27

4               A.     Yes.                                               10:10:34

5               Q.     So you did both engineering work and sales         10:10:36

6       work as a sales engineer between 1992 and 1994?                   10:10:38

7               A.     Correct, even all the way up until present.        10:11:00

8               Q.     Right.   I'm just trying to take it piece by       10:11:02

9       piece.       And in this two-year period, did you also gather     10:11:04

10      market information about the market for CRTs?                     10:11:10

11              A.     Yes, I would obtain those information from the     10:11:25

12      customers.                                                        10:11:28

13              Q.     By "customers" you mean people who are buying      10:11:28

14      Panasonic Sales Taiwan's products?                                10:11:32

15              A.     They would make their purchases from MEC with      10:11:49

16      an LC.       Those business were indirect business.               10:11:57

17              Q.     I'm sorry, I'm not sure I understood the           10:12:02

18      question.       Were these customers of yours, sir, or of a       10:12:04

19      different entity?                                                 10:12:08

20              A.     Our business was an indirect sales business.       10:12:23

21                     MR. YOHAI:    Excuse me, sorry.      The           10:12:28

22      transcription said "NEC", I think he may have said                10:12:30

23      "MEC".                                                            10:12:32

24                     THE INTERPRETER:     M.     M-E-C.                 10:12:36

25                     MR. ROSS:    MEC.   Okay.     That -- that makes   10:12:38


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1       sense.      NEC didn't, the spelling -- all right.               10:12:40

2       BY MR. ROSS:                                                     10:12:43

3            Q.       To be clear, your company, Panasonic Sales         10:12:43

4       Taiwan did not manufacture CRTs?                                 10:12:47

5            A.       Correct, that's correct.                           10:13:02

6            Q.       You sold MEC CRTs?                                 10:13:04

7            A.       Correct.                                           10:13:12

8            Q.       And in this '92 to '94 time period, you were       10:13:13

9       selling to customers that been -- that had been                  10:13:15

10      identified to you by MEC as potential purchasers of              10:13:19

11      their product?                                                   10:13:23

12           A.       There were designated accounts.     There were     10:13:43

13      some fixed accounts.                                             10:13:45

14           Q.       At this time, were all your accounts local         10:13:49

15      Taipei businesses?                                               10:13:57

16           A.       Yes.                                               10:14:04

17           Q.       You said that you held this position for a         10:14:06

18      couple of years.         What was your next position at          10:14:08

19      Panasonic Sales Taiwan?                                          10:14:10

20           A.       Seems like I was the vice director.     We don't   10:14:23

21      call that director in English, we call it vice                   10:14:32

22      coordinator.                                                     10:14:36

23           Q.       Vice coordinator for what?                         10:14:38

24           A.       Same thing.                                        10:14:43

25           Q.       For quality, technology, specs, design-in,         10:14:45


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1       market information, push for payments?                        10:14:49

2            A.      Yes.                                             10:15:02

3            Q.      How long did you hold this position, sir?        10:15:04

4            A.      I forget how long I worked in that job.          10:15:10

5            Q.      Can you give me any estimate, are we talking a   10:15:12

6       decade, a couple of years, can you give me some sense?        10:15:15

7            A.      Seems like it was perhaps a year to a couple     10:15:21

8       years or so.                                                  10:15:38

9            Q.      Did you still in this job obtain market          10:15:42

10      information from customers?                                   10:15:43

11           A.      Yes.                                             10:15:51

12           Q.      Did you also start meeting with competitors of   10:15:57

13      Panasonic to obtain market information from them?             10:16:00

14           A.      Not at that time.                                10:16:13

15           Q.      Okay.   Who did you report to while you were a   10:16:15

16      vice coordinator for sales?                                   10:16:17

17           A.      To the coordinator, or section manager.          10:16:32

18           Q.      Do you recall who the section manager was at     10:16:36

19      that time?                                                    10:16:38

20           A.      Michael Hsu.                                     10:16:43

21           Q.      Is Michael Hsu also known as Chi-Yen Hsu?        10:16:51

22      C-H-I dash Y-E-N in English.                                  10:16:58

23           A.      Chi Hsu Yen.                                     10:17:06

24           Q.      So is that a yes?                                10:17:12

25           A.      I'm not very familiar with the spelling of his   10:17:15


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1       Chinese name.                                                 10:17:17

2             Q.     We'll look at some documents and we'll see.      10:17:21

3                    And what -- and who did the sales director --    10:17:23

4       I'm sorry.     That wasn't what -- his name is.               10:17:27

5                    Section director, was that his title?            10:17:30

6                    MR. ROSS:    Service manager.                    10:17:36

7                    THE WITNESS:    Yes.                             10:17:38

8       BY MR. ROSS:                                                  10:17:38

9             Q.     And who did the section manager report to back   10:17:40

10      at that time, what position?                                  10:17:42

11            A.     The section manager would report to the          10:17:51

12      manager.     At that time the manager's title is called a     10:17:57

13      GM.                                                           10:18:06

14            Q.     And who would the general manager report to?     10:18:15

15            A.     Are you saying who the manager will be           10:18:25

16      reporting to?                                                 10:18:28

17            Q.     The position, not -- not necessarily the         10:18:30

18      individual.     I'm trying to get a sense of the              10:18:32

19      organization.                                                 10:18:34

20            A.     The -- a general -- the manager will be          10:18:49

21      reporting to the head of the department.                      10:18:51

22            Q.     Head of the sales department?                    10:18:58

23            A.     Yes.                                             10:19:06

24            Q.     And who did the head of the sales department     10:19:06

25      report to?                                                    10:19:10


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1            A.     President.                                              10:19:23

2            Q.     Now, in your role as vice coordinator, did you          10:19:25

3       have any reporting duties to anyone at Panasonic back in            10:19:27

4       Japan?                                                              10:19:30

5                   MR. YOHAI:     Objection.     Objection to the form     10:19:42

6       of the question.      Panasonic.                                    10:19:42

7                   MR. ROSS:     Words he used.                            10:19:47

8                   MR. YOHAI:     Yeah, I know, all right.      That's a   10:19:49

9       lot -- a lot of names.                                              10:19:49

10                  THE WITNESS:        No, I didn't.   The section         10:20:04

11      manager would report to MEC directly.                               10:20:04

12      BY MR. ROSS:                                                        10:20:13

13           Q.     Got it.     Okay.     So that gets us through maybe     10:20:13

14      '95-'96, this one to two years as a vice coordinator.               10:20:15

15                  What was your next position, sir?                       10:20:21

16           A.     Coordinator.                                            10:20:32

17           Q.     The next position was coord- -- coordinator.            10:20:36

18      Is that the same as section manager?                                10:20:38

19           A.     No.    A coordinator is a coordinator.       A          10:20:45

20      section manager is a manager.                                       10:20:57

21           Q.     Does the coordinator report to the section              10:21:00

22      manager?                                                            10:21:02

23           A.     Yes.                                                    10:21:08

24           Q.     So when you were a coordinator, you reported            10:21:08

25      to the section manager?                                             10:21:12


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1            A.      Yes.                                                10:21:17

2            Q.      And how long were you a coordinator?                10:21:17

3            A.      Seems like it's close to three years.     I would   10:21:28

4       say three years.                                                 10:21:30

5            Q.      So if my chronology is right, roughly 1996          10:21:32

6       through 1998?                                                    10:21:38

7            A.      More or less.                                       10:21:47

8            Q.      Okay.   As a coordinator, did you still have        10:21:47

9       responsibility for the same things that you did as a             10:21:57

10      vice coordinator?                                                10:22:00

11           A.      Pretty much.                                        10:22:08

12           Q.      Did you still -- in that three-year period,         10:22:08

13      who was the section manager that you reported to, and if         10:22:13

14      it was more than one, please tell me.                            10:22:17

15           A.      The same one.                                       10:22:30

16           Q.      And who was that person?                            10:22:32

17           A.      Michael Hsu.                                        10:22:36

18           Q.      Michael Hsu.    And -- okay.                        10:22:38

19                   Did you still have, as coordinator, the             10:22:42

20      responsibility of obtaining market information from              10:22:51

21      customers?                                                       10:22:57

22           A.      The same thing.                                     10:23:06

23           Q.      Okay.   And at this point, as a coordinator,        10:23:06

24      did you start attending meetings with competitors?               10:23:08

25           A.      Yes.                                                10:23:17


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1            Q.     Okay.   What was your next position at the       10:23:19

2       company?                                                     10:23:32

3            A.     Vice section manager.                            10:23:38

4            Q.     And as vice section manager, did you still       10:23:45

5       report to the section manager?                               10:23:47

6            A.     Correct.                                         10:23:58

7            Q.     And about how long were you vice section         10:23:58

8       manager?                                                     10:24:02

9            A.     A little over three years.                       10:24:08

10           Q.     So roughly 1999 through 2001?                    10:24:10

11           A.     Yes, more or less.                               10:24:19

12           Q.     And during those three years, was Mr. Michael    10:24:23

13      Hsu still the section manager that you reported to?          10:24:27

14           A.     Yes.                                             10:24:34

15           Q.     At this point, do you know who the general       10:24:47

16      manager was that Mr. Hsu reported to?                        10:24:49

17           A.     I think Mr. Hsu was promoted to become the       10:25:02

18      general manager at that time.                                10:25:08

19           Q.     And when he was promoted, who did he succeed,    10:25:10

20      who was general manager before him?                          10:25:13

21           A.     I believe the last name was Ho.                  10:25:27

22                  MR. ROSS:    Madam Translator, how are you       10:25:32

23      spelling that?                                               10:25:34

24                  THE INTERPRETER:     Interpreter spelling H-O.   10:25:36

25                  MR. ROSS:    Thank you, should have guessed      10:25:38


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1       that.                                                        10:25:40

2       BY MR. ROSS:                                                 10:25:42

3               Q.   When you were -- when Mr. Hsu was promoted to   10:25:42

4       general manager, did you as a vice section manager           10:25:47

5       report directly to him, or was there a new section           10:25:51

6       manager that you reported to?                                10:25:58

7               A.   Mr. Hsu also held a job as a section manager.   10:26:13

8               Q.   So he was both section manager and general      10:26:17

9       manager?                                                     10:26:19

10              A.   Yes.    He worked both positions.               10:26:25

11              Q.   Okay.    And in your role as vice section       10:26:27

12      manager, did you have the responsibility for obtaining       10:26:32

13      market information?                                          10:26:34

14              A.   Same thing.                                     10:26:43

15              Q.   Okay.                                           10:26:45

16              A.   As when I was a coordinator.                    10:26:45

17              Q.   And so you continued to meet with competitors   10:26:47

18      while you were the vice section manager?                     10:26:49

19              A.   Yes.                                            10:26:51

20              Q.   Okay.    Your next position, sir, after vice    10:27:00

21      section manager?                                             10:27:06

22              A.   Section manager.                                10:27:08

23              Q.   And about how long did you hold the position    10:27:13

24      of section manager?                                          10:27:15

25              A.   I worked in that position for approximately     10:27:25


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1       seven to eight years, I would say seven years.                 10:27:28

2            Q.     So roughly 2002 through 2009?                      10:27:32

3            A.     From 2001 to 2007 or 2006.                         10:27:45

4            Q.     Okay.                                              10:27:51

5            A.     I think it was 2007.                               10:27:57

6            Q.     Thank you, sir.                                    10:27:58

7                   During this time did you continue to report to     10:28:00

8       the general manager?                                           10:28:04

9            A.     Yes.                                               10:28:10

10           Q.     And during that time was that always Mr. Hsu,      10:28:10

11      or did that change at some point?                              10:28:13

12           A.     I reported to Mr. Hsu.                             10:28:21

13           Q.     Okay.   And did your responsibilities continue     10:28:23

14      to include obtaining market information?                       10:28:28

15           A.     Yes.                                               10:28:36

16           Q.     And did you continue to meet with competitors      10:28:36

17      during this time?                                              10:28:38

18                  MR. YOHAI:     Objection to the form of the        10:28:40

19      question.                                                      10:28:40

20                  THE WITNESS:     At that time there were no more   10:28:47

21      CRT business.                                                  10:28:57

22      BY MR. ROSS:                                                   10:28:58

23           Q.     When did the CRT business stop for you,            10:28:58

24      your --                                                        10:29:02

25           A.     At the end of 2000, MEC announced that they        10:29:25


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1       were not going to do it anymore.       By 2001, after the       10:29:28

2       inventories were sold, the business were no longer              10:29:32

3       there.                                                          10:29:36

4            Q.     When you say MEC announced that it was no           10:29:45

5       longer going to do it anymore, can you be more specific?        10:29:47

6       Were they not going to sell in Taiwan, were they not            10:29:57

7       going to manufacture CRTs at all worldwide, can you --          10:29:58

8       can you tell us exactly what you mean by that?                  10:30:02

9            A.     Do you want to be -- do you want me to be very      10:30:27

10      detailed?                                                       10:30:30

11           Q.     Please.                                             10:30:30

12           A.     By the end of 2000, MEC said that they were         10:30:42

13      going to give up on the CRT business.       In 2001 they sold   10:30:45

14      all the inventories on hand.       All the inventories were     10:31:02

15      CDT inventories.                                                10:31:12

16           Q.     PD.                                                 10:31:23

17           A.     Then they joined with Toshiba and formed NTPD.      10:31:27

18                  THE INTERPRETER:     Interpreter would like to      10:31:40

19      verify the acronyms.                                            10:31:42

20                  Interpreter would like to correct the previous      10:31:57

21      spelling.    It should be "MTPD".                               10:31:58

22                  THE WITNESS:     The sales right in Taiwan          10:32:13

23      belonged to Sumitomo Taiwan.                                    10:32:19

24      BY MR. ROSS:                                                    10:32:23

25           Q.     Okay.     Let me ask a couple questions about       10:32:23


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1       that.        My -- is it your understanding that Matsushita       10:32:25

2       continued to manufacture CRTs up until the point when             10:32:34

3       MTPD was formed?                                                  10:32:38

4                       MR. YOHAI:     Objection in the form of the       10:32:58

5       question.                                                         10:33:00

6                       THE WITNESS:     They no longer manufactured      10:33:06

7       CDTs.        To my understanding the CRT for TV portion for a     10:33:10

8       CPT, they joined together with MTPD.                              10:33:27

9       BY MR. ROSS:                                                      10:33:32

10              Q.      But what I'm getting at is was there a time at    10:33:32

11      which they stopped manufacturing -- well, strike all              10:33:38

12      that.                                                             10:33:43

13                      When you were selling CRTs, was it both CDTs      10:33:43

14      and CPTs up until the time you stopped?                           10:33:47

15              A.      Primarily CDTs, although we did try to promote    10:34:08

16      CPTs; however, it was not successful.           We did not sell   10:34:13

17      it at all.                                                        10:34:17

18              Q.      In Taiwan?                                        10:34:19

19              A.      Correct, in Taiwan.                               10:34:23

20              Q.      And once MTPD was formed there was a different    10:34:25

21      sales agent for that company in Taiwan?                           10:34:30

22              A.      That's correct.     That would be Sumitomo.       10:34:47

23              Q.      Okay.   I'm going to take our first break         10:34:57

24      relatively soon, but just a couple more questions if              10:35:00

25      you're okay to go forward.                                        10:35:02


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1               A.   Yes.                                               10:35:04

2               Q.   And I just want to finish the chronology.          10:35:04

3       It's not all that important, but after 2007, you said           10:35:08

4       that's about the end of when you were section manager.          10:35:12

5                    What was your next position?                       10:35:15

6               A.   I worked as a project GM for about half a          10:35:42

7       year.                                                           10:35:43

8               Q.   And then after that?                               10:35:45

9               A.   GM.                                                10:35:45

10              Q.   GM of Panasonic Sales Taiwan?                      10:35:47

11              A.   Yes.   At that time the name was changed to        10:36:00

12      Panasonic Industry Sales Taiwan.                                10:36:12

13              Q.   And how long did you hold that position?           10:36:13

14              A.   Until this year.                                   10:36:23

15              Q.   Do you mean to the present, or has it changed?     10:36:25

16              A.   It was changed recently.                           10:36:30

17              Q.   And what is your new position at the company?      10:36:32

18              A.   I became the project GM.                           10:36:40

19              Q.   What is a project GM, just generally?              10:36:43

20              A.   I don't have a team.     It's just a single        10:36:58

21      person.                                                         10:37:00

22              Q.   Consulting in the company?                         10:37:02

23                   MR. YOHAI:     Objection to the form of the        10:37:04

24      question.                                                       10:37:04

25                   THE WITNESS:     Same thing, I'm doing sales and   10:37:12


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1       engineering.                                                       10:37:13

2       BY MR. ROSS:                                                       10:37:15

3            Q.     And then real quick, when you were vice                10:37:15

4       section manager, from 1999 to 2001, before you became              10:37:19

5       section manager, did you have a -- any reporting                   10:37:23

6       requirements to headquarters in Japan?                             10:37:27

7            A.     That would depend on the request from the GM,          10:37:43

8       or the section manager.                                            10:37:49

9            Q.     So depending on what your boss, Mr. Hsu, would         10:37:57

10      ask you -- ask of you, you might have certain reporting            10:38:02

11      requirements to MEC in Japan?                                      10:38:04

12           A.     Yes.                                                   10:38:08

13                  MR. ROSS:     Why don't we take that first break.      10:38:19

14                  MR. YOHAI:     Okay.                                   10:38:21

15                  THE VIDEOGRAPHER:      Going off the record.     The   10:38:21

16      time is 10:38.                                                     10:38:22

17                  (Recess taken.)                                        10:50:00

18                  THE VIDEOGRAPHER:      Back on the record.     The     10:50:02

19      time is 10:50, please continue.                                    10:50:02

20                  MR. ROSS:     We're going to --                        10:50:08

21                  THE COURT REPORTER:      Would counsel on the          10:50:13

22      phone please state their appearance for the record.                10:50:13

23                  MR. FRUTIG:     This is Matt Frutig, from White &      10:50:17

24      Case, representing the Toshiba defendants.                         10:50:19

25                  THE COURT REPORTER:      Anyone else?                  10:50:25


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1                       MR. ROSS:    I heard a lot of pings.              10:50:25

2                       MR. YOHAI:    Yeah.   Okay.                       10:50:27

3                       MR. ROSS:    We'll continue.                      10:50:30

4       BY MR. ROSS:                                                      10:50:30

5               Q.      Mr. Chang, we're back from a break.     Are you   10:50:30

6       ready to continue?                                                10:50:34

7               A.      All right.                                        10:50:43

8               Q.      In our previous session, you had talked about     10:50:43

9       the section manager position.           Do you recall that?       10:50:45

10              A.      The -- a position of section manager.             10:50:58

11              Q.      How many sections were there at Panasonic         10:51:02

12      Sales Taiwan?                                                     10:51:02

13              A.      What time period?                                 10:51:12

14              Q.      Let's do the time period from 1992 through        10:51:13

15      2001.        Now, if that changed, let me know and I'll make      10:51:17

16      it a smaller time period.                                         10:51:21

17              A.      It had a lot of changes.                          10:51:32

18              Q.      Okay.   What was the section called that you      10:51:34

19      were in in those years?                                           10:51:36

20              A.      When I was a section manager?                     10:51:45

21              Q.      Maybe you can't answer this because it            10:51:47

22      changed, but in the time that you joined Panasonic Sales          10:51:49

23      Taiwan as a sales engineer up until before you were a             10:51:51

24      section manager, what section were -- were you in, in             10:52:00

25      all those positions?                                              10:52:04


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1            A.     Display section.                                  10:52:28

2            Q.     Display.   So were the sections divided by        10:52:32

3       product?                                                      10:52:36

4            A.     Correct.                                          10:52:43

5            Q.     Okay.   And within that section, was there a --   10:52:43

6       were sales and marketing split up into two different          10:52:51

7       subsections, or how was that handled?                         10:53:00

8            A.     You mean within the section?                      10:53:19

9            Q.     Correct.                                          10:53:21

10           A.     Within the section it's by customer.              10:53:27

11           Q.     So sales and marketing would be handled by the    10:53:32

12      same people?                                                  10:53:36

13           A.     Sales and marketing, yes.                         10:53:49

14           Q.     Okay.   And from the time -- you had four         10:53:51

15      positions up until you became section manager:       Sales    10:53:57

16      engineer, vice coordinator, vice -- sorry, coordinator,       10:53:58

17      and then vice section manager.                                10:54:02

18                  During those four positions did the products      10:54:04

19      in your section change at all, or was it always CRTs,         10:54:10

20      FBTs, orange and plasma display, orange-colored plasma        10:54:15

21      display, sorry?                                               10:54:23

22           A.     Basically, I didn't have much changes.            10:55:10

23           Q.     Were LCDs ever a part of your section?            10:55:13

24           A.     Since either 1999 or from the end of 1980 --      10:55:28

25      1998, I forget.                                               10:55:32


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1            Q.      Okay.   As part of your market information            10:55:34

2       gathering duties, did you ever meet with competitors in            10:55:38

3       the LCD business?                                                  10:55:43

4                    MR. YOHAI:     Objection to the form of the           10:56:02

5       question.                                                          10:56:02

6                    THE WITNESS:     No.                                  10:56:04

7       BY MR. ROSS:                                                       10:56:04

8            Q.      Okay.   I want to focus now for the next series       10:56:04

9       of questions on the time period 1996 through 2006.          Do     10:56:12

10      you have that in your head?                                        10:56:19

11           A.      What do you mean by "in my head?                      10:56:32

12           Q.      My questions are going to be about that time          10:56:36

13      period.     I just want to make sure you're --                     10:56:38

14           A.      All right.                                            10:56:42

15                   MR. YOHAI:     I'm just going to object.    He said   10:56:43

16      that's a very long time frame.          If it becomes necessary    10:56:45

17      to break that down, I would appreciate if the questioner           10:56:47

18      will give him some guidance on which time period within            10:56:51

19      that time period he's asking about.                                10:56:58

20                   MR. ROSS:    Absolutely.     And it may be that the   10:57:00

21      witness is going to have to guide me on that.                      10:57:02

22                   MR. YOHAI:     Yes.                                   10:57:03

23                   MR. ROSS:    But --                                   10:57:04

24      BY MR. ROSS:                                                       10:57:06

25           Q.      I first want to talk about your customers for         10:57:06


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1       CRTs.        Okay.     Who were in this time period your -- by     10:57:10

2       "your" I mean your company's customers for CRTs.                   10:57:13

3                       MR. YOHAI:     Objection, again, same objection    10:57:30

4       in time.                                                           10:57:36

5                       THE WITNESS:     From 1996 through 1999 it         10:57:57

6       changed as far as my part is concerned.                            10:57:58

7       BY MR. ROSS:                                                       10:58:04

8               Q.      To your knowledge, let's start with the period     10:58:04

9       you just talked about, 1996 to 1999, who were the                  10:58:06

10      customers of Panasonic Sales Taiwan for CRTs?                      10:58:10

11              A.      API, Royal, Bridge -- you're referring to          10:58:32

12      companies?                                                         10:58:45

13              Q.      I'm referring to companies who are buying your     10:58:47

14      products, CRT prod- --                                             10:58:49

15              A.      CTS.     C-A-P-E, Cape, and ADI.   Those are the   10:58:58

16      main ones.           I don't quite recall about the rest.          10:59:17

17              Q.      Okay.     Now, these that you can remember for     10:59:23

18      this time period, what -- what type of finished products           10:59:25

19      were they using the CRTs in?                                       10:59:28

20              A.      Monitors.     Computer monitors.                   10:59:45

21              Q.      And do you know where they sold their computer     10:59:57

22      monitors?                                                          11:00:00

23              A.      All sorts of possibilities, I'm not too sure.      11:00:12

24              Q.      Okay.     That's 1996 through 1999.   What about   11:00:13

25      2000 through 2006, did the customer lineup change?                 11:00:21


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1            A.     Seems like in 2000 we had an additional               11:00:45

2       customer, TPV.      And also Sampo.    We didn't have any more    11:00:47

3       customers after 2011.                                             11:01:08

4                   CHECK INTERPRETER:     The check interpreter's        11:01:12

5       correction:     We didn't have any customers after 2000 --        11:01:12

6                   MR. ROSS:    One.                                     11:01:17

7                   CHECK INTERPRETER:     -- and one.                    11:01:17

8                   THE INTERPRETER:     Thank you.                       11:01:19

9       BY MR. ROSS:                                                      11:01:21

10           Q.     So the only two additional customers you had          11:01:21

11      in 2000, 2001, were TPV and Sampo?                                11:01:25

12           A.     There's another one.      It was a small one.    I    11:01:40

13      don't remember the name.                                          11:01:43

14                  I remember the Chinese name, which is Yichun.         11:01:57

15      I do not remember their English name.                             11:02:02

16           Q.     That's fine.    And were these also CRTs that         11:02:04

17      were used in computer monitors?                                   11:02:08

18           A.     Yes.                                                  11:02:15

19           Q.     You said earlier that you tried to sell CPTs          11:02:17

20      that were used in televisions but had been generally              11:02:21

21      unsuccessful.      Did you have any success in selling CPTs?      11:02:23

22           A.     Success, I don't think so.        I don't have much   11:02:49

23      recollection about that.                                          11:02:57

24           Q.     Do you -- do you recall why you found it              11:02:58

25      difficult to sell CPTs?                                           11:03:00


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1                   MR. YOHAI:     Objection to the form of the         11:03:08

2       question.                                                       11:03:08

3                   THE WITNESS:     Because there is Panasonic brand   11:03:23

4       name in Taiwan.     And the market share is quite               11:03:25

5       significant.    The customers thought that we were in           11:03:30

6       competition with them.                                          11:03:34

7       BY MR. ROSS:                                                    11:03:38

8             Q.    In competition with?                                11:03:38

9             A.    To compete with the Taiwanese local brands.         11:03:45

10            Q.    Okay.   Now, I gather that from -- in 2000 and      11:03:51

11      2001 you continue -- continued selling to API, Royal,           11:04:00

12      Bridge, CTS, Cape and ADI and just added TPD and Sampo.         11:04:04

13      Do I have that right?                                           11:04:10

14            A.    Incorrect.                                          11:04:27

15            Q.    Okay.                                               11:04:27

16            A.    Some of the customers no longer purchased from      11:04:32

17      us.                                                             11:04:34

18            Q.    Which ones?                                         11:04:34

19            A.    API, Royal, ADI and Cape.     Some of them just     11:04:43

20      disappeared.    Some of them went bankrupt.                     11:05:00

21            Q.    And as you testified with regard to 1996 to         11:05:08

22      1999, am I correct that you don't know where the                11:05:12

23      customers you were selling to in 2000, 2001, sold their         11:05:15

24      CRT finished products, the monitors?                            11:05:21

25            A.    Correct, because they were all over the world.      11:05:51


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1            Q.      Okay.     Thank you, sir.                           11:05:57

2                    Sir, now I want to ask you about your               11:06:08

3       competitors.        Again, and you can break it down time wise   11:06:10

4       if you need to just like you did with regard to                  11:06:15

5       customers, but in this 1996 to 2006 time period, who did         11:06:19

6       Panasonic Sales Taiwan consider its competitors,                 11:06:27

7       competitor companies, that were making and selling CRTs?         11:06:30

8                    MR. YOHAI:     Objection to the time frame.         11:07:13

9                    THE WITNESS:     My knowledge is only limited to    11:07:25

10      1996 through 2001 because I was not involved after 2001.         11:07:27

11      BY MR. ROSS:                                                     11:07:34

12           Q.      That's fine.     And I should have said 2001, I     11:07:36

13      apologize.     In that time period, who did -- did your          11:07:38

14      company consider its competitors in CRTs?                        11:07:42

15           A.      Hitachi, CPT.                                       11:08:02

16           Q.      Can I stop you there, is -- by CPT, do you          11:08:06

17      mean Chunghwa?                                                   11:08:10

18           A.      Yes.                                                11:08:12

19           Q.      Sorry, go ahead, sir.                               11:08:12

20           A.      Samsung, LG, and also Dai Yi, Orion.                11:08:17

21           Q.      All right.     Anybody else, sir?                   11:08:36

22           A.      Those are the more frequent encountered             11:08:49

23      customers.                                                       11:08:58

24           Q.      Customers or competitors?                           11:08:58

25           A.      Those are the competitors whom I heard from         11:09:08


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1       the customers.                                                 11:09:10

2            Q.     Okay.                                              11:09:12

3            A.     These are the more frequent mentioned names.       11:09:12

4            Q.     Thank you, sir.     Let me just throw out a        11:09:15

5       couple other names and see if you considered them              11:09:17

6       competitors.     What about Philips?                           11:09:19

7                   MR. MALAISE:     Objection, vague as to Philips.   11:09:28

8                   THE WITNESS:     I rarely hear the name of         11:09:38

9       Philips from the customers.       I myself have not heard of   11:09:42

10      this name from the customers personally.                       11:09:43

11      BY MR. ROSS:                                                   11:09:47

12           Q.     So when you say you rarely heard it, others in     11:09:47

13      your company heard of Philips as a competitor?                 11:09:51

14                  MR. YOHAI:     Objection.                          11:09:58

15                  Objection to the form.                             11:10:06

16                  THE WITNESS:     I don't quite understand.         11:10:10

17      BY MR. ROSS:                                                   11:10:13

18           Q.     You said you yourself had not heard the name       11:10:13

19      Philips from customers, but you said that customers            11:10:15

20      rarely said it.     That in my mind meant that you might       11:10:19

21      have heard it from colleagues of yours at your company         11:10:21

22      that Philips was one of your competitors.       That's all     11:10:25

23      I'm asking.                                                    11:10:28

24                  MR. YOHAI:     Objection to the form, no           11:10:58

25      foundation.                                                    11:11:00


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1                    THE WITNESS:     How should I respond to that?      I   11:11:06

2       rarely hear that name from my colleagues.                            11:11:15

3       BY MR. ROSS:                                                         11:11:17

4               Q.   It's the word "rarely" that's causing me a              11:11:19

5       problem.     Does that mean you occasionally heard the               11:11:23

6       name, just not that often, or are you using that word in             11:11:25

7       a different way?                                                     11:11:28

8                    MR. YOHAI:     Objection to the form.   Asked and       11:11:38

9       answered.                                                            11:11:40

10                   THE WITNESS:     What I meant was that the              11:12:06

11      customers would compare us with other competitors.                   11:12:08

12      Those were the names in which I mentioned earlier.         I         11:12:12

13      rarely hear the name of Philips.        I do know that Philips       11:12:19

14      does CRTs, but I rarely hear its name.                               11:12:23

15      BY MR. ROSS:                                                         11:12:30

16              Q.   What about Toshiba?                                     11:12:32

17                   MR. FRUTIG:     Objection, this is Matt Frutig,         11:12:36

18      vague as to Toshiba.                                                 11:12:40

19                   THE WITNESS:     I rarely hear about Toshiba as         11:12:42

20      well.                                                                11:12:43

21      BY MR. ROSS:                                                         11:12:43

22              Q.   Okay.   Let's turn to some questions about              11:13:00

23      pricing.     Who was it in your group, in your section who           11:13:02

24      was responsible for determining the prices at which you              11:13:06

25      would sell CRTs?                                                     11:13:08


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1                   MR. YOHAI:     Objection, no foundation.            11:13:25

2                   THE WITNESS:     Our branch office in Taiwan does   11:13:34

3       not have the authority to make decision on pricing.             11:13:34

4       BY MR. ROSS:                                                    11:13:40

5            Q.     Who had the authority?                              11:13:40

6            A.     The MEC in Japan.                                   11:13:47

7            Q.     So if you would, sir, tell us a little bit          11:13:49

8       about how that worked when you were negotiating with a          11:13:57

9       customer over how much it would cost them to buy your           11:13:58

10      CRTs, how -- how would you do that if you did not have          11:14:02

11      pricing authority?       How did you take your instructions     11:14:08

12      from Japan?     If you could walk us through that process,      11:14:10

13      it would be helpful.                                            11:14:15

14           A.     All right.     First of all, we will collect        11:14:42

15      customers' demands and also market information.        And      11:14:51

16      also the potential volume and -- that the customers were        11:15:04

17      promised.     Specifications, whether or not the product        11:15:13

18      has already come to the testing phase to insure that            11:15:23

19      they -- whether or not they have already brought in,            11:15:32

20      inputted our model numbers.                                     11:15:38

21                  After we integrate all the information, we          11:15:45

22      would submit it to Japan.       Based on the overall            11:15:47

23      situation people would come personally from Japan to            11:16:00

24      Taiwan to visit the customer.       They may visit them once,   11:16:08

25      twice, or multiple times to insure that our information         11:16:17


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1       collected and all the things that we were supposed to do          11:16:28

2       have been done.     And they will determine directly face         11:16:32

3       to face with the customers what the price would be and            11:16:43

4       what the quantities would be.                                     11:16:47

5                    PST's concern is more the better.                    11:17:04

6            Q.      I'm -- PST would be Panasonic Sales Taiwan?          11:17:08

7            A.      That's correct.                                      11:17:13

8            Q.      Thank you, sir.        The market information that   11:17:19

9       you would collect as part of this package that got sent           11:17:23

10      back to Japan, that would include market information              11:17:27

11      that you obtained from the customer, correct, sir?                11:17:30

12           A.      Yes, primarily the market information from the       11:17:49

13      customers.                                                        11:17:57

14           Q.      It would also include market information that        11:17:58

15      you obtained from your competitors in the meetings you            11:18:00

16      had with your competitors, right, sir?                            11:18:04

17                   MR. YOHAI:     Objection to the form of the          11:18:13

18      question.                                                         11:18:13

19                   THE WITNESS:     No.                                 11:18:15

20      BY MR. ROSS:                                                      11:18:15

21           Q.      How would you communicate the information you        11:18:15

22      received from competitors back to Japan for pricing               11:18:17

23      determination?                                                    11:18:21

24                   MR. YOHAI:     Objection, no foundation.             11:18:32

25                   THE WITNESS:     Those are two different things.     11:18:36


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1       BY MR. ROSS:                                                   11:18:38

2            Q.     How are they different things?                     11:18:38

3            A.     First of all, one part is from the customers.      11:18:47

4       They will tell us about the competitor -- competitor's         11:18:51

5       information.                                                   11:19:00

6                   CHECK INTERPRETER:     Check interpreter's         11:19:02

7       clarification.    One part -- first of all, one part is        11:19:02

8       from the customers.      They will tell us about their         11:19:06

9       demands as well as the competitors' information.               11:19:10

10                  THE INTERPRETER:     Okay.   Thank you.            11:19:13

11      BY MR. ROSS:                                                   11:19:13

12           Q.     And the other part, sir, is from your meetings     11:19:15

13      with competitors, right, sir?                                  11:19:17

14                  MR. YOHAI:     Objection, no foundation.           11:19:23

15                  THE WITNESS:     When we talk about pricing with   11:19:34

16      the customers, we would not mix it up with the                 11:19:36

17      competitors' information.                                      11:19:38

18      BY MR. ROSS:                                                   11:19:42

19           Q.     Would you send information that you obtained       11:19:42

20      from competitors to Japan?                                     11:19:43

21           A.     Are you talking about how to set pricing with      11:20:10

22      the customer?                                                  11:20:12

23           Q.     My question is not what it may or may not have     11:20:13

24      been used for.    My question is any information that you      11:20:15

25      obtained from competitors, from meetings that you said         11:20:17


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1       you had with competitors, did you send that information           11:20:21

2       to Japan?                                                         11:20:23

3              A.   Yes.   It was sent to Japan.       Primarily the      11:20:43

4       product production information and also shipment                  11:20:58

5       information.                                                      11:21:02

6                   CHECK INTERPRETER:        Check interpreter's         11:21:04

7       clarification.     Yes, it was sent to Japan.         Primarily   11:21:04

8       the product -- the final -- or the finished product               11:21:08

9       production and shipping information.          The finished        11:21:13

10      product information.                                              11:21:17

11                  MR. ROSS:    Are you accepting his change or          11:21:19

12      not?                                                              11:21:23

13                  THE INTERPRETER:        The interpreter sees not a    11:21:23

14      significant distinction, but that's fine.                         11:21:25

15                  MR. YOHAI:     It could be significant, so...         11:21:28

16                  MR. ROSS:    But it's -- whether it's                 11:21:30

17      significant or not.                                               11:21:30

18                  MR. YOHAI:     Right.     Do you agree?               11:21:32

19                  MR. ROSS:    Do you as the interpreter agree          11:21:34

20      with what the check interpreter is saying or not?                 11:21:36

21                  THE INTERPRETER:        May the interpreter clarify   11:21:38

22      that with the witness?                                            11:21:40

23                  MR. ROSS:    Sure, go ahead.                          11:21:42

24                  THE WITNESS:     Yes.     Yes, interpreter accepts    11:21:45

25      the check interpreter's clarification.                            11:21:47


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1       BY MR. ROSS:                                                    11:21:51

2            Q.      Okay.    Let's see, who did you communicate with   11:21:51

3       internally at MEC Japan regarding the information that          11:22:04

4       was sent to them either from the customers or from the          11:22:10

5       competitors?                                                    11:22:17

6            A.      If you're talking about the customers' demand      11:22:47

7       and pricing information, and that would be the MECs             11:22:49

8       account sales.       If you're talking about the overall        11:22:58

9       information including the competitors' information, that        11:23:13

10      would be the section manager of MEC.                            11:23:17

11           Q.      Which section?                                     11:23:21

12           A.      The one which is responsible for Taiwan.           11:23:28

13           Q.      Do you recall in the time period 1996 through      11:23:32

14      2001 which particular individuals held that position,           11:23:34

15      the section manager at MEC responsible for Taiwan?              11:23:40

16           A.      The person I can remember more clearly would       11:24:08

17      be Mr. Miamoto and there was another person named Sanco         11:24:10

18      Yamaguchi.                                                      11:24:17

19           Q.      Okay.    With regard to the customer information   11:24:28

20      that was sent to the MEC accounts sales, how did that           11:24:30

21      information get communicated?       Was it in written form,     11:24:34

22      verbally, how did that information get from your offices        11:24:36

23      and not Taipei to MEC account sales?                            11:24:40

24           A.      Primarily via oral communication and faxes.        11:25:21

25           Q.      So both oral and written?                          11:25:27


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1            A.     Yes.                                             11:25:30

2            Q.     And what about the competitor and other          11:25:32

3       information that you sent to the section manager of MEC      11:25:36

4       responsible for Taiwan, how is that information              11:25:40

5       communicated?                                                11:25:42

6            A.     There would be communicated via faxes or when    11:26:17

7       they come and visit us, or when we go and visit MEC, we      11:26:21

8       would provide the information to them.                       11:26:27

9            Q.     When it was face to face, whether they were      11:26:30

10      with you in Taipei or you were in with them in Japan,        11:26:32

11      did you prepare written reports, or just give them the       11:26:40

12      information orally?                                          11:26:43

13           A.     Some written reports would be prepared.          11:27:06

14           Q.     In this 1996 through 2001 time period, did you   11:27:15

15      yourself personally ever prepare information in a            11:27:19

16      written report that was either faxed or given by hand to     11:27:23

17      MEC officials?                                               11:27:28

18           A.     Yes.                                             11:27:49

19           Q.     Who else worked with you, either for you or      11:27:51

20      above you at Panasonic Sales Taiwan in this time period,     11:27:58

21      1996 to 2001, would also prepare these reports?              11:28:06

22           A.     All of them.                                     11:28:30

23           Q.     "All of them" meaning you did all of them, or    11:28:32

24      everybody who you worked with did these reports?      I      11:28:36

25      don't understand.                                            11:28:38


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1                   MR. YOHAI:     Objection to the form.   You can      11:28:45

2       answer.                                                          11:28:47

3                   THE WITNESS:     If you're talking about             11:29:13

4       information from the customers, everyone would go and            11:29:13

5       collect them.    And after the information have been             11:29:17

6       collected, we will integrate the information, but                11:29:21

7       usually either I will compile the information, or my             11:29:25

8       boss, and we would all be involved.                              11:29:28

9       BY MR. ROSS:                                                     11:29:34

10           Q.     The last couple of questions we've been              11:29:34

11      talking about the competitor information that went to            11:29:36

12      the section manager responsible for Taiwan at MEC.        So     11:29:40

13      that's what my questions are focused on.                         11:29:43

14                  MR. YOHAI:     Objection to the form.   The record   11:30:08

15      speaks for itself as to what the questions were.                 11:30:10

16      BY MR. ROSS:                                                     11:30:12

17           Q.     My question is, other than yourself, did             11:30:13

18      anybody else who you worked with in Taipei create such           11:30:15

19      reports?                                                         11:30:17

20                  MR. YOHAI:     Objection.                            11:30:28

21                  Objection.     Vague.                                11:30:28

22                  THE WITNESS:     All of the sales have done that     11:30:36

23      including my boss.                                               11:30:38

24      BY MR. ROSS:                                                     11:30:40

25           Q.     Mr. Hsu?                                             11:30:40


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1            A.     Yes.                                              11:30:42

2            Q.     Yeah.                                             11:30:43

3            A.     All of us.                                        11:30:43

4            Q.     Did these reports have a title, a specific        11:30:45

5       title?                                                        11:30:47

6            A.     No, it's different every time.                    11:31:00

7            Q.     Was there a standard format used for these        11:31:02

8       reports?                                                      11:31:04

9            A.     Sometimes yes, sometimes not.     It depends on   11:31:19

10      the time period.       It would change from time to time.     11:31:23

11           Q.     Can -- can you describe for us when a standard    11:31:25

12      format was used, what it looked like?                         11:31:28

13           A.     Standard formats, there were a lot of them,       11:31:51

14      the Taiwanese customer's name shipment volume by              11:32:02

15      quarter, the projected quantity as well as the actual         11:32:17

16      quantity.                                                     11:32:21

17                  MR. ROSS:     You used "customer" in your         11:32:23

18      translation.       Did -- did the witness say "customer",     11:32:27

19      because the question was about competitor information.        11:32:28

20                  MR. YOHAI:     Counsel, I think the witness is    11:32:32

21      confused.                                                     11:32:32

22                  MR. ROSS:     It may be, that's why I'm asking    11:32:34

23      the question.                                                 11:32:36

24                  MR. YOHAI:     I understand.                      11:32:36

25                  MR. ROSS:     I'm trying to focus on his -- the   11:32:36


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1       information collected from competitors.                          11:32:38

2                    Does the witness understand that that's what        11:32:40

3       I'm asking about with regard to these questions?                 11:32:43

4                    THE INTERPRETER:     Is the question addressed to   11:32:45

5       the interpreter?                                                 11:32:47

6                    MR. ROSS:    Yes.   No, I'm now -- okay.   Let me   11:32:47

7       rephrase it differently.                                         11:32:49

8       BY MR. ROSS:                                                     11:32:51

9               Q.   Sir, Mr. Chang, do you understand that I'm          11:32:51

10      asking you questions about your information that you             11:32:57

11      obtained from competitors, not customers at this point,          11:33:00

12      but competitors?                                                 11:33:04

13              A.   Primarily what we send to them are those            11:33:27

14      information we collected regarding customers' shipment           11:33:30

15      information.                                                     11:33:34

16              Q.   I'm not sure we're on the same page.                11:33:38

17                   MR. YOHAI:    I agree.                              11:33:42

18      BY MR. ROSS:                                                     11:33:42

19              Q.   You testified that the customer information         11:33:42

20      that was collected, what they asked for, the market              11:33:43

21      information they may give, all this stuff, was sent to           11:33:49

22      the MEC accounts for sales division.        Do you recall        11:33:51

23      that?                                                            11:34:00

24              A.   Yes.                                                11:34:27

25              Q.   Okay.   You also testified that when it -- with     11:34:28


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1       regard to competitor information and other market                11:34:30

2       information, that you would inform the section manager           11:34:32

3       for Taiwan at MEC about that information.        Do you recall   11:34:36

4       that, sir?                                                       11:34:42

5            A.      As far as the competitors' information, what I      11:35:23

6       collect are primarily the shipment information from              11:35:27

7       Taiwan.     As far as the total status of the competitors,       11:35:32

8       I don't have an overall picture.                                 11:35:38

9                    MR. ROSS:    Objection.   Nonresponsive.            11:35:42

10      BY MR. ROSS:                                                     11:35:43

11           Q.      My question, sir, is:     Regardless of what you    11:35:43

12      collected -- we're going to talk about that -- but right         11:35:47

13      now I just want to find out where the information went.          11:35:51

14                   Is it true that you sent the competitor             11:35:57

15      information that you collected, whatever it was, to the          11:36:00

16      section manager for Taiwan at MEC in Japan?                      11:36:02

17           A.      Yes.                                                11:36:43

18           Q.      Okay.   And is it true that sometimes that          11:36:45

19      information was passed along orally, and sometimes it            11:36:47

20      was passed along in written reports that either were             11:36:51

21      faxed or handed in a face-to-face meeting to the section         11:36:57

22      manager for Taiwan at MEC?                                       11:37:02

23           A.      Yes.                                                11:37:23

24           Q.      And what I was trying to get at was a               11:37:27

25      description of what these reports might look at.        Let me   11:37:30


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1       make a suggestion and you can tell me if I'm wrong.             11:37:32

2                   Were these -- every time you met with a             11:37:34

3       competitor, would you write up a meeting report and that        11:37:36

4       report, whatever you put into it, would be the type of          11:37:40

5       report that you would send to the section manager for           11:37:42

6       Taiwan at MEC?                                                  11:37:47

7                   MR. YOHAI:     Objection to the form.               11:38:30

8                   THE WITNESS:     I believe I would usually          11:38:49

9       communicate that orally, or by fax.       I may not             11:38:51

10      necessarily have a regular format.                              11:39:06

11      BY MR. ROSS:                                                    11:39:10

12           Q.     Let me ask you this, sir, would you                 11:39:10

13      maintain -- if you did it as a report, a written report,        11:39:10

14      would you maintain that report in your offices?                 11:39:15

15           A.     Maintain in my office, you mean right now?          11:39:32

16           Q.     Would you keep a copy?                              11:39:35

17           A.     Yes, I would.     At that time.                     11:39:40

18           Q.     Sure.   Was -- were the reports generally           11:39:43

19      written in English, Chinese, or Japanese?                       11:39:45

20           A.     Majority of the data were numbers.        And the   11:40:02

21      title would be English.                                         11:40:04

22           Q.     To the extent that there was any descriptive        11:40:06

23      text along with the data that you would supply to MEC in        11:40:08

24      Japan, would that text be written in English?                   11:40:15

25           A.     Yes, seldom.                                        11:40:40


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1            Q.      As you sit here today, do you know if in your      11:40:47

2       offices in Taipei those reports still exist, copies of          11:40:49

3       those reports?                                                  11:40:58

4            A.      No, they would not have it.                        11:41:10

5            Q.      Do you know when those reports were discarded?     11:41:12

6            A.      We would deliver those to the warehouse            11:41:25

7       annually.     Since the warehouse space of the company is       11:41:27

8       limited, we would have a fixed schedule to discard them         11:41:43

9       every few years.                                                11:41:47

10           Q.      Can you give us the -- and then we need to         11:41:49

11      change the tape, because we're almost at the end of it.         11:41:57

12                   Do you know specifically, when you say "every      11:41:58

13      few years", was it every three years, every four years,         11:42:00

14      do you know what the schedule was for destruction of            11:42:04

15      documents?                                                      11:42:06

16           A.      I don't recall exactly how many years they         11:42:28

17      would discard them; however, the policy was set up prior        11:42:30

18      to my joining the company.                                      11:42:34

19                   MR. ROSS:    Okay.   We need to change the tape.   11:42:38

20                   THE VIDEOGRAPHER:     This marks the end of        11:42:40

21      Volume I, media one, of the deposition of Yu-Hao Zhang,         11:42:42

22      a/k/a Allen Chang.       The time is 11:43.   We are off the    11:42:45

23      record.                                                         11:42:49

24                   (Recess taken.)                                    11:51:32

25                   THE VIDEOGRAPHER:     We are back on the record    11:51:34


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1       at 11:51 a.m.       This marks the beginning of Volume I,         11:51:34

2       media number two, in the deposition of Yu-Hao Zhang,              11:51:38

3       a/k/a Allen Chang.       Please continue.                         11:51:40

4       BY MR. ROSS:                                                      11:51:43

5            Q.     Sir, are you ready to go?                             11:51:43

6            A.     Yes.                                                  11:51:45

7            Q.     Sir, now I want to talk to you a bit about            11:51:45

8       your meetings with competitors.         Okay, sir?                11:51:49

9            A.     All right.                                            11:51:58

10           Q.     Okay.     In this period from 1996 through 2001,      11:51:58

11      about how many times did you meet with your company's             11:52:04

12      competitors?                                                      11:52:10

13                  MR. YOHAI:     Objection, vague.                      11:52:15

14                  THE WITNESS:     I don't recall.                      11:52:19

15      BY MR. ROSS:                                                      11:52:19

16           Q.     Can you give us any sense of scale, less than         11:52:19

17      five, more than 50, or any -- any reasonable estimation?          11:52:23

18                  MR. YOHAI:     Objection.    Vague.                   11:52:40

19                  THE WITNESS:     I don't recall.                      11:52:42

20      BY MR. ROSS:                                                      11:52:42

21           Q.     Okay.     Do you recall that at least once you        11:52:42

22      met with a large group of competitors, about five of              11:52:43

23      your competitors, do you recall that, sir, at one                 11:52:47

24      meeting?                                                          11:52:51

25           A.     Yes, I do recall that.       That was quite unique.   11:53:13


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1               Q.   Yes, in fact, after attending that -- what we      11:53:17

2       call group or glass meeting, isn't it the case that you         11:53:21

3       never attended another one of those group meetings              11:53:23

4       again?                                                          11:53:27

5                    MR. YOHAI:     Objection to the phrase "glass      11:53:47

6       meeting".                                                       11:53:47

7                    THE WITNESS:     That's correct.                   11:53:57

8       BY MR. ROSS:                                                    11:53:57

9               Q.   Thank you.                                         11:53:57

10              A.   I've not heard about glass meeting at that         11:54:00

11      time.                                                           11:54:02

12              Q.   I think actually in that question you said         11:54:04

13      group meeting.                                                  11:54:06

14                   MR. YOHAI:     You said "group or glass", that's   11:54:08

15      why I objected.                                                 11:54:10

16      BY MR. ROSS:                                                    11:54:10

17              Q.   I think we're on the same page.                    11:54:10

18                   MR. YOHAI:     Yes.                                11:54:12

19      BY MR. ROSS:                                                    11:54:12

20              Q.   Do you understand you never attended a             11:54:13

21      competitor meeting with more than one or two other              11:54:13

22      competitors after that one meeting that you do recall,          11:54:17

23      is that correct?                                                11:54:19

24              A.   Yes.                                               11:54:36

25              Q.   Can I ask you, sir, why not?                       11:54:36


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1            A.     No one notified me, I don't know.                  11:54:45

2            Q.     Did you make a specific decision to not attend     11:54:47

3       further group meetings and rather just meet one on one         11:54:51

4       with your various competitors?                                 11:54:58

5                   MR. YOHAI:     Objection to the form.              11:55:15

6                   THE WITNESS:     How should I respond to that      11:55:21

7       question?                                                      11:55:21

8       BY MR. ROSS:                                                   11:55:23

9            Q.     I can't tell how you to.      Do you not           11:55:23

10      understand the question?                                       11:55:25

11                  MR. YOHAI:     I believe the witness is just       11:55:28

12      thinking.                                                      11:55:30

13                  MR. ROSS:    I'm sorry.    Oh, I -- I'm so sorry   11:55:32

14      if that's -- that's the case.                                  11:55:34

15                  THE WITNESS:     I was notified about that         11:55:43

16      particular meeting because Samsung was the one who             11:55:43

17      directed that meeting.       The meeting was held initially    11:55:47

18      in English at the beginning.                                   11:56:02

19                  At the beginning Samsung was arguing with CPT.     11:56:13

20      I -- I left the meeting early.        I did not continue my    11:56:25

21      participation in that meeting and they continued on with       11:56:30

22      the meeting.    In fact, I was notified to attend this         11:56:32

23      meeting.                                                       11:56:40

24                  I wasn't aware of this particular meeting          11:56:47

25      later on.                                                      11:56:49


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1       BY MR. ROSS:                                                    11:56:49

2            Q.     Isn't it true, sir, that as you continued to        11:56:51

3       go to one-on-one meetings with your competitors, you            11:56:57

4       were aware from those meetings that these group meetings        11:57:02

5       were continuing to happen?                                      11:57:06

6                   MR. YOHAI:     Objection to the form.   No          11:57:23

7       foundation.                                                     11:57:25

8                   THE WITNESS:     I may not necessarily know that.   11:57:30

9       They may not tell me.                                           11:57:32

10      BY MR. ROSS:                                                    11:57:36

11           Q.     But in certainly some of your one-on-one            11:57:36

12      meetings you would be informed of discussions that were         11:57:38

13      had at these group meetings, right, sir?                        11:57:43

14                  MR. YOHAI:     Objection to the form, no            11:57:58

15      foundation.                                                     11:58:00

16                  THE WITNESS:     I was informed; however, I would   11:58:13

17      be told only partial information.       I would not know who    11:58:17

18      participated or who attended those meetings, what were          11:58:21

19      discussed, those kind of things.                                11:58:27

20      BY MR. ROSS:                                                    11:58:28

21           Q.     Specifically, generally speaking, wasn't it         11:58:28

22      Mr. Michael Du of Chunghwa who, when he would meet with         11:58:30

23      you, would inform you of certain things that had                11:58:36

24      occurred at these group meetings?                               11:58:38

25                  MR. YOHAI:     Objection to the form.               11:58:51


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1                    THE WITNESS:     No.   He won't tell me.   He would   11:58:57

2       only inform me of selective information.                           11:59:06

3       BY MR. ROSS:                                                       11:59:08

4               Q.   Let me make sure I understand your testimony.         11:59:10

5       You certainly recall meeting with Michael Du of                    11:59:12

6       Chunghwa, right, sir?                                              11:59:15

7               A.   Yes.                                                  11:59:27

8               Q.   And in your meetings with Michael Du, from            11:59:27

9       time to time, not always, he would inform you of at                11:59:30

10      least some of the conversation that had occurred with              11:59:32

11      your other competitors at these group meetings, is that            11:59:36

12      right, sir?                                                        11:59:38

13                   MR. YOHAI:     Objection to the form.                 12:00:02

14                   THE WITNESS:     He would only tell me part of        12:00:12

15      the result.     He would not tell me the whole thing.              12:00:13

16      BY MR. ROSS:                                                       12:00:19

17              Q.   Okay.   We've been talking about Mr. Du, he           12:00:19

18      worked for Chunghwa, right, sir?                                   12:00:21

19              A.   Yes.                                                  12:00:28

20              Q.   I want to ask you about which competitors you         12:00:28

21      met with.     So my first question should be the easiest           12:00:30

22      one.     I gather you met with Chunghwa from time to time?         12:00:34

23              A.   Yes.                                                  12:00:49

24              Q.   Did you also meet with Samsung from time to           12:00:49

25      time?                                                              12:00:51


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1                   MR. CUNNINGHAM:        Vague and ambiguous.            12:01:00

2                   THE WITNESS:     No.                                   12:01:00

3       BY MR. ROSS:                                                       12:01:00

4            Q.     Your answer is no?                                     12:01:02

5            A.     No.                                                    12:01:04

6            Q.     You never met with Samsung as a competitor of          12:01:04

7       your company?                                                      12:01:12

8                   MR. CUNNINGHAM:        Same objection.                 12:01:12

9                   MR. YOHAI:     Objection, counsel.       Are you       12:01:25

10      excluding the one meeting, or never ever any meeting?              12:01:27

11                  MR. ROSS:     Well, I am excluding the group           12:01:30

12      meeting.                                                           12:01:30

13                  MR. YOHAI:     Okay.                                   12:01:31

14                  MR. ROSS:     I'm now only talking about               12:01:32

15      one-on-one meeting.                                                12:01:34

16                  MR. YOHAI:     You asked.                              12:01:34

17                  MR. ROSS:     Okay.                                    12:01:34

18                  MR. YOHAI:     Because you already testified.          12:01:36

19                  MR. ROSS:     Yeah.     Let me -- counsel makes a      12:01:36

20      good point.       Don't need to translate that.                    12:01:38

21      BY MR. ROSS:                                                       12:01:42

22           Q.     Other than the group meeting that you                  12:01:43

23      attended, where you met -- and we'll talk about that               12:01:43

24      later, which of the companies attended.          I'm now talking   12:01:47

25      about any other meetings.                                          12:01:51


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1                   MR. CUNNINGHAM:      Object to form.             12:02:15

2       BY MR. ROSS:                                                 12:02:17

3            Q.     Is it your testimony that other than that one    12:02:17

4       group meeting, you've never met with Samsung as a            12:02:19

5       competitor before?                                           12:02:23

6                   MR. CUNNINGHAM:      Same objection.             12:02:36

7                   THE WITNESS:   After the group meeting I did     12:02:45

8       not have any meetings with Samsung.                          12:02:47

9       BY MR. ROSS:                                                 12:02:49

10           Q.     Did you meet with Samsung before the group       12:02:49

11      meeting?                                                     12:02:57

12                  MR. CUNNINGHAM:      Object to form.             12:02:58

13                  THE WITNESS:   No meetings were held; however,   12:03:00

14      we did see each other at the customer's site.                12:03:04

15      BY MR. ROSS:                                                 12:03:10

16           Q.     When you saw each other at the customer's        12:03:10

17      site, did you exchange information with Samsung?             12:03:12

18                  MR. CUNNINGHAM:      Same objection.             12:03:19

19                  THE WITNESS:   No.                               12:03:21

20      BY MR. ROSS:                                                 12:03:23

21           Q.     Did you meet with any other of your              12:03:23

22      competitors for information exchanges other than             12:03:27

23      Chunghwa or at this one group meeting?                       12:03:30

24           A.     No.                                              12:03:43

25           Q.     So it's your testimony that other than the       12:03:45


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1       group meeting Chunghwa is the only competitor that you           12:03:47

2       met with?                                                        12:03:57

3            A.     Correct.                                             12:04:06

4            Q.     Are you aware of any other colleagues of             12:04:10

5       yours, from your company, that attended these competitor         12:04:12

6       meetings?                                                        12:04:17

7                   MR. YOHAI:     Objection, vague.                     12:04:30

8                   THE WITNESS:     I don't know.                       12:04:30

9       BY MR. ROSS:                                                     12:04:32

10           Q.     Do you know if anybody who you worked with           12:04:32

11      attended competitor meetings other than the group                12:04:36

12      meeting that you attended, or the Chunghwa meetings that         12:04:38

13      you attended?                                                    12:04:42

14           A.     Would you please reask the question?                 12:05:06

15           Q.     Certainly.     I've been asking questions about      12:05:08

16      you personally attending meetings.        I'm now asking about   12:05:10

17      your awareness of any of your colleagues at your company         12:05:13

18      attending other meetings, meetings that you didn't               12:05:15

19      attend to -- attend, but that you were told by your              12:05:19

20      colleagues, yes, they had attended a meeting with                12:05:21

21      Samsung or a different meeting with Chunghwa, are you            12:05:25

22      aware of anything like that?                                     12:05:28

23                  MR. YOHAI:     Objection -- objection to form.       12:05:30

24                  THE WITNESS:     No.   I am not aware of.            12:06:08

25      BY MR. ROSS:                                                     12:06:12


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1            Q.      How did you first come about to attend              12:06:12

2       competitor meetings with Chunghwa?                               12:06:13

3            A.      They notified us.     I was also notified by my     12:06:32

4       predecessor of the position I had.                               12:06:36

5            Q.      Okay.   Who was your predecessor of the             12:06:42

6       position you had?                                                12:06:42

7            A.      The name is Walid.     The English name is called   12:06:49

8       Walid Huang.     Walid Huang.                                    12:06:58

9            Q.      And when you say your predecessor in your           12:07:08

10      position, which of your positions are you talking about?         12:07:10

11           A.      The coordinator job.                                12:07:17

12           Q.      What did Mr. Huang tell you about these             12:07:19

13      meetings?                                                        12:07:23

14           A.      Nothing, it's just that the boss wanted me to       12:07:40

15      be responsible for marketing.        And I would just be the     12:07:42

16      window of the exchange.                                          12:07:47

17           Q.      So he told you that part of your job was you        12:07:49

18      were expected to meet with competitors?                          12:07:57

19                   MR. YOHAI:     Objection.   No foundation.          12:08:10

20      Mischaracterizes his testimony.                                  12:08:10

21                   THE WITNESS:     I was just told that the job was   12:08:19

22      like that.                                                       12:08:21

23      BY MR. ROSS:                                                     12:08:21

24           Q.      Like what, that you were supposed to meet with      12:08:23

25      competitors as part of your job responsibility?                  12:08:27


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1                    MR. YOHAI:     Objection to the form.               12:08:34

2       Mischaracterizes his testimony.                                  12:08:36

3                    THE WITNESS:     Just to collect the information,   12:08:47

4       competitors, is just a part of it.                               12:08:51

5       BY MR. ROSS:                                                     12:08:57

6               Q.   But part of what your predecessor directed you      12:08:58

7       or informed you was part of the job was meeting with             12:09:00

8       competitors to collect information, is that right?               12:09:02

9                    MR. YOHAI:     Objection.   Mischaracterizes his    12:09:17

10      testimony, you can answer.                                       12:09:19

11                   THE WITNESS:     It's just that to ask me to go     12:09:30

12      and meet with competitors, and that's what I was just            12:09:34

13      told.                                                            12:09:38

14      BY MR. ROSS:                                                     12:09:38

15              Q.   Okay.   And when he said, your predecessor,         12:09:38

16      that the boss expected you to do this, was the boss              12:09:42

17      Mr. Hsu?                                                         12:09:43

18              A.   Correct.                                            12:10:00

19              Q.   Okay.   We're going to go into specific             12:10:00

20      competitor meetings, but I wanted to ask you some                12:10:04

21      general questions about them.        At these meetings with      12:10:06

22      competitors with Chunghwa, from time to time, did you            12:10:17

23      exchange current pricing information with them?                  12:10:21

24              A.   They would ask for it.      My purpose was to       12:10:36

25      obtain the shipment volume of the finished products,             12:10:47


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1       shipment in Taiwan.                                         12:11:00

2                   MR. ROSS:     Objection, nonresponsive.         12:11:02

3       BY MR. ROSS:                                                12:11:04

4            Q.     My question wasn't what your purpose is, sir.   12:11:04

5       My question was:       From time to time did you exchange   12:11:06

6       current pricing information on CRTs with Chunghwa?          12:11:08

7            A.     If CPT asks me, I would tell them.              12:11:38

8            Q.     Okay.   And if CPT gave you their current       12:11:43

9       pricing information in exchange for what they asked from    12:11:47

10      you, would they do that, would they say you give me mine    12:11:51

11      and I'll give you your -- strike all that, and ask a        12:11:58

12      better question.                                            12:12:02

13                  When they would ask you for current price       12:12:04

14      information and you would give that to them, would they     12:12:08

15      also give you their current price information?              12:12:10

16           A.     Not necessarily.                                12:12:27

17           Q.     But sometimes they would?                       12:12:27

18           A.     Correct.                                        12:12:28

19           Q.     And sometimes they would give you current       12:12:30

20      price information from other competitors that they were     12:12:30

21      aware of, right, sir?                                       12:12:34

22           A.     I don't recall having that part of the          12:12:45

23      information.                                                12:12:47

24           Q.     Okay.   And you also exchanged from time to     12:12:47

25      time future pricing information with competitors,           12:12:49


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1       pricing information for CRTs a month or two months down     12:12:57

2       the road?                                                   12:13:02

3                   MR. CUNNINGHAM:     Object to form.             12:13:13

4                   THE WITNESS:     I don't recall.                12:13:15

5       BY MR. ROSS:                                                12:13:19

6            Q.     And would you also exchange current capacity    12:13:21

7       information with competitors, the amount that they could    12:13:23

8       produce if they were at full capacity, would you            12:13:27

9       exchange that information?                                  12:13:28

10                  MR. CUNNINGHAM:     Same objection.             12:13:30

11                  THE WITNESS:     Sometimes.                     12:13:51

12      BY MR. ROSS:                                                12:13:57

13           Q.     And sometimes would you exchange future         12:13:57

14      capacity information with competitors?                      12:13:58

15                  MR. CUNNINGHAM:     Same objection.             12:14:00

16                  MR. YOHAI:     Objection to the form.           12:14:10

17                  THE WITNESS:     I don't quite recall.          12:14:13

18      BY MR. ROSS:                                                12:14:17

19           Q.     And from time to time would you exchange        12:14:19

20      current production information of CRTs with these           12:14:21

21      competitors at these meetings?                              12:14:23

22                  MR. YOHAI:     Objection to the form.           12:14:25

23                  THE WITNESS:     I don't quite recall.          12:14:43

24      BY MR. ROSS:                                                12:14:43

25           Q.     And what about future production information,   12:14:45


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1       would you exchange future production information at             12:14:47

2       these competitor meetings?                                      12:14:51

3                   MR. YOHAI:     Same objection.                      12:15:06

4                   THE WITNESS:     I don't recall -- quite recall.    12:15:10

5       BY MR. ROSS:                                                    12:15:12

6            Q.     And isn't it true, sir, that from time to time      12:15:13

7       at these meetings that you would -- you or your                 12:15:15

8       colleagues who attended on -- on behalf of Matsushita,          12:15:17

9       would agree to follow what other competitors had agreed         12:15:21

10      to at group meetings, didn't that happen?                       12:15:27

11                  MR. YOHAI:     Objection as to Matsushita, and      12:15:28

12      objection as to form.                                           12:15:32

13                  THE WITNESS:     No, because we do not have the     12:16:15

14      authority of pricing or regarding shipment plans.               12:16:17

15      BY MR. ROSS:                                                    12:16:25

16           Q.     Isn't it true, sir, that at some of these           12:16:25

17      one-on-one meetings with your competitor, Chunghwa, that        12:16:27

18      you would discuss what a bottom price would be, a price         12:16:30

19      at which the competitors would not drop lower than in           12:16:34

20      charging to their customers, didn't that -- didn't that         12:16:38

21      happen?                                                         12:16:40

22                  MR. YOHAI:     Objection as to form.                12:17:17

23                  THE WITNESS:     No.   Because we do not have the   12:17:19

24      authority to decide on pricing.                                 12:17:23

25      BY MR. ROSS:                                                    12:17:27


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1            Q.     Whether you had the authority or not, did you       12:17:36

2       ever indicate in these meetings to Chunghwa that your           12:17:38

3       company would follow various prices or not go below a           12:17:42

4       bottom price?                                                   12:17:43

5            A.     No.     We were not authorized.   How can we go     12:18:13

6       and discuss in that regard?                                     12:18:17

7            Q.     Putting aside whether you were authorized or        12:18:19

8       not, isn't it true that Chunghwa would indicate to you          12:18:22

9       agreements that it had reached with other competitors at        12:18:25

10      group meetings regarding pricing?                               12:18:28

11                  MR. YOHAI:     Objection to the form.               12:18:58

12      Mischaracterizes the record.                                    12:18:58

13                  THE WITNESS:     They would tell me, but I cannot   12:19:08

14      make a decision.                                                12:19:10

15      BY MR. ROSS:                                                    12:19:12

16           Q.     Okay.     Have you ever had e-mail communications   12:19:12

17      with an employee of one of your competitors?                    12:19:15

18           A.     I don't recall.                                     12:19:32

19           Q.     Did you ever have phone conversations with          12:19:34

20      employees of one of your CRT competitors?                       12:19:36

21           A.     Yes.                                                12:19:49

22           Q.     Can you tell me about those, please, sir?           12:19:49

23           A.     I don't recall.                                     12:19:58

24           Q.     About how many times do you think you had           12:20:00

25      phone conversations with your competitors?                      12:20:02


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1            A.     I do not recall.                                 12:20:12

2            Q.     Do you recall what the topics of those           12:20:12

3       conversations were?                                          12:20:13

4            A.     I would not remember those.                      12:20:21

5            Q.     Well, just generally speaking, sir, why would    12:20:23

6       you be calling or contacting your competitors on the         12:20:27

7       phone?                                                       12:20:28

8                   MR. YOHAI:     Objection to the form.            12:20:40

9                   THE WITNESS:     Would you please repeat that?   12:20:42

10      BY MR. ROSS:                                                 12:20:43

11           Q.     Generally speaking, sir, can you tell us why     12:20:45

12      you would be having phone conversations with your            12:20:47

13      competitors?                                                 12:20:49

14                  MR. YOHAI:     Same objection.                   12:21:02

15                  THE WITNESS:     I would not have remembered     12:21:06

16      those things.                                                12:21:08

17      BY MR. ROSS:                                                 12:21:10

18           Q.     When you had communications with your            12:21:10

19      competitors, either at the meetings you've discussed, or     12:21:12

20      at the phone calls that you can't recall, what language      12:21:13

21      would you communicate in?                                    12:21:17

22           A.     Chinese.                                         12:21:38

23           Q.     Did you discuss in these competitor meetings     12:21:49

24      your view of pricing trends in the market?                   12:21:57

25           A.     I don't recall.                                  12:22:13


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1                   MR. ROSS:    Why don't we break here for lunch.      12:22:19

2                   MR. YOHAI:    Yeah, I was thinking the same.         12:22:23

3                   THE VIDEOGRAPHER:    Going off the record.     The   12:22:24

4       time is 12:22.                                                   12:22:25

5                                    - - -                               01:27:13

6                          (Whereupon the document was marked,           01:27:13

7                   for identification purposes, as                      01:27:13

8                   Exhibit 2600 and Exhibit 2600-E.)                    01:27:13

9                                    - - -                               01:25:28

10                  THE VIDEOGRAPHER:    Back on the record, the         01:27:13

11      time is 1:27.      Please continue.                              01:27:15

12      BY MR. ROSS:                                                     01:27:17

13             Q.   Mr. Chang, we're back from the lunch recess.         01:27:19

14      Are you ready to continue?                                       01:27:21

15             A.   Yes.                                                 01:27:28

16             Q.   Great.    I've marked and put in front of you as     01:27:30

17      Exhibit 2600 and 2600-E, Bates stamp CHU 00028521, which         01:27:32

18      is meeting minutes of a 5 -- May 6th, 1996, bilateral            01:27:40

19      meeting between Matsushita and Chunghwa.                         01:27:47

20                  Do you have those documents in front of you,         01:27:51

21      sir?                                                             01:27:57

22             A.   Yes.                                                 01:28:23

23             Q.   Do you see in the -- and you can look at the         01:28:25

24      Chinese version, the original version, where it says             01:28:27

25      contact numbers for those who are coming from Taiwan             01:28:32


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1       Matsushita Electric.       Do you see the three names there,   01:28:34

2       sir?                                                           01:28:38

3              A.   Yes.                                               01:28:58

4              Q.   The first name is Chi-Yen Hsu.     Is that the     01:29:00

5       name of Mr. Hsu, your boss, that we discussed earlier          01:29:02

6       during the deposition?                                         01:29:06

7              A.   Yes.                                               01:29:12

8              Q.   The second one is -- the second one, sir, is       01:29:13

9       "Yu-Hau Chang".    Is that yourself?                           01:29:17

10             A.   Yes.                                               01:29:23

11             Q.   And the third person, Yi-Feng Huang.     Can you   01:29:25

12      tell us who that is, sir?                                      01:29:30

13             A.   You mean the third person?                         01:29:34

14             Q.   Yes.                                               01:29:36

15             A.   My colleague.                                      01:29:38

16             Q.   And is this a gentleman or -- or a lady            01:29:38

17      ma'am -- sir?                                                  01:29:42

18             A.   A gentleman.                                       01:29:45

19             Q.   A gentleman, okay.     And -- and what was his     01:29:47

20      position at your company?                                      01:29:49

21             A.   He's from the same department.                     01:29:58

22             Q.   Was he a superior to you or a subordinate at       01:30:00

23      this point in time?                                            01:30:04

24             A.   The same.                                          01:30:10

25             Q.   I'm sorry, "the same" meaning?                     01:30:13


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1            A.     Same job description.                              01:30:21

2            Q.     So at this point in time you were the vice         01:30:21

3       coordinator or coordinator in 1996, correct, sir?              01:30:27

4            A.     Yes.                                               01:30:36

5            Q.     And was he also a coordinator?                     01:30:38

6            A.     I don't quite recall.                              01:30:42

7            Q.     Do you know -- did he report to Mr. Hsu as         01:30:43

8       well as -- as you did?                                         01:30:45

9            A.     Correct.                                           01:30:47

10           Q.     And -- and you did not report to him or he did     01:30:51

11      not report to you, you guys were on the same level?            01:30:58

12           A.     Correct.                                           01:31:02

13           Q.     Okay.   Does this appear to you to be notes of     01:31:08

14      a competitor meeting that you attended with Chunghwa?          01:31:10

15                  MR. YOHAI:     Objection to form, no foundation.   01:31:21

16                  THE WITNESS:     I don't recall.                   01:31:28

17      BY MR. ROSS:                                                   01:31:28

18           Q.     Do you recall attending this meeting?              01:31:28

19           A.     I don't recall.                                    01:31:30

20           Q.     Do you have any reason to doubt that you           01:31:32

21      attended this meeting?                                         01:31:34

22           A.     Any reasons, I don't quite recall about this.      01:31:45

23           Q.     Okay.   I want to direct your attention on the     01:31:47

24      Chinese to where it says, A -- towards the top of that         01:31:49

25      first page.    And I'll read from the English translation,     01:31:57


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1       since I don't know Chinese, but you can tell me if          01:32:08

2       there's a problem with the translation.                     01:32:10

3                   It says, MEC's -- "MEC's current CDT            01:32:12

4       production status (Beijing Matsushita excluded)" do you     01:32:15

5       see that?                                                   01:32:23

6            A.     Yes.                                            01:32:25

7            Q.     And was it typical for when you were at these   01:32:25

8       meetings with your competitor, Chunghwa, for you to give    01:32:28

9       that type of production status information that is          01:32:32

10      listed there?                                               01:32:38

11                  MR. YOHAI:     Objection to the form of the     01:32:57

12      question.                                                   01:32:57

13                  THE WITNESS:     I don't quite recall.          01:32:58

14      BY MR. ROSS:                                                01:33:00

15           Q.     If you don't recall specifically from this      01:33:02

16      meeting, do you recall that it was typical to exchange      01:33:04

17      that type of production status information?                 01:33:06

18                  MR. YOHAI:     Objection to the form.           01:33:10

19                  THE WITNESS:     Not necessarily.               01:33:25

20      BY MR. ROSS:                                                01:33:27

21           Q.     If you turn under -- in the Chinese in the      01:33:28

22      line under the 20/21 inches, where -- on that page.         01:33:30

23      Right at -- where it says "Starting in June, new            01:33:42

24      Malaysia 15-inch production line will be added,             01:33:43

25      therefore, capacity for 15-inch will be" -- and then it     01:33:47


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1       shows what the capacity will be?                                    01:33:49

2               A.      I'm reading it now, yes.                            01:34:17

3               Q.      And -- and is that typical that at some of the      01:34:19

4       meetings where you had information exchanges with your              01:34:23

5       competitor, Chunghwa, that future production capacity               01:34:25

6       would be discussed?                                                 01:34:28

7                       MR. YOHAI:     Objection to form.                   01:34:40

8                       THE WITNESS:     I don't quite recall about this,   01:34:51

9       regarding this.                                                     01:34:51

10      BY MR. ROSS:                                                        01:34:57

11              Q.      Okay.   If you then look at B, B as in boy, on      01:34:57

12      the Chinese, there is a Roman Numeral I and then a Roman            01:35:02

13      Numeral II.        And if you see that the Roman Numeral II         01:35:06

14      says:        Current 15-inch market price (based on                 01:35:10

15      Matsushita's date -- Taiwan Matsushita Electronics'                 01:35:13

16      visit to customers).                                                01:35:19

17                      Do you see that, sir?                               01:35:21

18              A.      I see it.                                           01:35:40

19              Q.      And do you then see following that a table of       01:35:42

20      various market prices that competitors are offering                 01:35:43

21      based on the information that Matsushita got from its               01:35:49

22      visit to its customers?                                             01:35:58

23                      MR. YOHAI:     Objection, no foundation.            01:36:17

24                      THE WITNESS:     I see them.                        01:36:23

25      BY MR. ROSS:                                                        01:36:25


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1               Q.   Okay.     And was it typical at these meetings      01:36:25

2       for you or your boss or your colleague, colleagues who           01:36:28

3       were there, to share the pricing information you had             01:36:32

4       received from your customers with your competitor?               01:36:36

5                    MR. YOHAI:     Objection -- objection to the        01:36:38

6       form.                                                            01:36:40

7                    THE WITNESS:     I don't quite recall about this.   01:37:13

8       BY MR. ROSS:                                                     01:37:13

9               Q.   Okay.     If you could turn to the second page of   01:37:15

10      the Chinese, right at the top, it says -- I'm reading            01:37:17

11      the translation:        For prices for all makers to             01:37:27

12      stabilize, wait for the market to recover in July and            01:37:28

13      August, and then reduce prices according to actual               01:37:30

14      condition in order to stimulate demands.                         01:37:34

15                   Do you see that, sir?                               01:37:36

16              A.   Yes.                                                01:38:13

17              Q.   Now, can you explain for us, sir, what was          01:38:15

18      being discussed that that comment was referring to?              01:38:17

19                   MR. YOHAI:     Objection, no foundation.            01:38:28

20                   THE WITNESS:     I don't recall about the           01:38:38

21      discussion.     Did you want me to explain based on what is      01:38:40

22      written here?                                                    01:38:42

23      BY MR. ROSS:                                                     01:38:43

24              Q.   Please.                                             01:38:43

25                   MR. YOHAI:     Objection.                           01:38:45


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1                   THE WITNESS:     The article describes that we       01:39:00

2       will follow the market demand to expend the demand.              01:39:04

3       BY MR. ROSS:                                                     01:39:10

4            Q.     To expend?                                           01:39:10

5            A.     To follow the market pricing so that we can          01:39:13

6       obtain more orders.                                              01:39:17

7            Q.     And -- and by "we", was that Matsushita or           01:39:19

8       both Matsushita and Chunghwa?                                    01:39:23

9                   MR. YOHAI:     Objection to "Matsushita".    Vague   01:39:32

10      as to "Matsushita".                                              01:39:40

11                  THE WITNESS:     By looking at this document         01:39:51

12      within context of what's said before and after, it is            01:39:58

13      referring to the hope of MEC.       Based on what is written     01:40:04

14      in this document, which was written by MEC, MEC's hope           01:40:27

15      was to follow the market pricing and then make                   01:40:32

16      adjustment of the pricing in order to stimulate the              01:40:40

17      demand.                                                          01:40:45

18                  CHECK INTERPRETER:     Check interpreter's           01:40:47

19      clarification.                                                   01:40:49

20                  Based on what is written in this document, it        01:40:51

21      was MEC's hope to follow the market price and then drop          01:40:57

22      the price to stimulate the demand.                               01:41:02

23                  THE INTERPRETER:     Interpreter will stand by       01:41:06

24      her interpretation because the witness did not say the           01:41:08

25      word "reduce".                                                   01:41:10


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1                   MR. ROSS:    Okay.                                   01:41:12

2                   THE INTERPRETER:     But "adjust".                   01:41:13

3                   MR. YOHAI:    I think they're different --           01:41:13

4       excuse me, I'm sorry, you had interpreted "which was             01:41:13

5       written by MEC".     I think that's part of the issue.       I   01:41:15

6       don't know if the interpreter heard that or not.         I       01:41:19

7       don't believe that's what he said, but I -- it's up to           01:41:21

8       the interpreter.                                                 01:41:23

9       BY MR. ROSS:                                                     01:41:25

10           Q.     Was it typical in this -- when you were at           01:41:25

11      these meetings for you or your colleagues to share               01:41:30

12      Matsushita's future pricing plans in the manner that we          01:41:36

13      see in Exhibit 2600?                                             01:41:40

14           A.     I don't quite recall.                                01:42:12

15           Q.     Mr. Chang, in looking at the document, I do          01:42:13

16      not see any information regarding the plans of Chunghwa          01:42:15

17      to ship finished products or any type of finished                01:42:21

18      product information in here.                                     01:42:25

19                  Do you see anything like that?                       01:42:28

20           A.     It's not here; however, it would be their red        01:43:00

21      go (ph) -- it would be their information on their own.           01:43:12

22      It's not recorded here.                                          01:43:15

23           Q.     Right.   I mean, and -- and you have no              01:43:17

24      recollection for this meeting of obtaining any                   01:43:19

25      information regarding shipments of finished products             01:43:21


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1       from Chunghwa, do you, sir?                                     01:43:25

2            A.     I don't quite recall about this.      Since the     01:43:40

3       information was their own records on their own side, so         01:43:45

4       I do not know what is the purpose for their own record          01:44:02

5       because this is not their own record.                           01:44:06

6            Q.     But there's no indication in this record, in        01:44:08

7       their record, that any such information was provided to         01:44:12

8       Matsushita, correct, sir?                                       01:44:15

9                   MR. YOHAI:     Objection to "Matsushita".           01:44:30

10                  THE WITNESS:     I do not know about that.          01:44:36

11                  MR. YOHAI:     Counsel, if we could agree on MEC,   01:44:38

12      I think it would save me every time from having to say          01:44:40

13      "Matsushita".                                                   01:44:43

14                  MR. ROSS:    What do you -- what do you want to     01:44:45

15      agree on?                                                       01:44:47

16                  MR. YOHAI:     Just say -- if you say MEC, I        01:44:47

17      won't have to --                                                01:44:47

18                  MR. ROSS:    MEC?    M-E-C?                         01:44:49

19                  MR. YOHAI:     M-E-C, yeah.                         01:44:51

20                  MR. ROSS:    Okay.    Well, that's fine.            01:44:51

21      BY MR. ROSS:                                                    01:44:57

22           Q.     Well, sir, as we go through these documents,        01:44:58

23      and I'll represent to you I don't see any discussion in         01:45:00

24      any of these documents that reflect these meetings you          01:45:02

25      had of finished products, volumes, or anything touching         01:45:04


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1       on that, I'm more than happy for you to point out that             01:45:08

2       I'm wrong, if -- if you see it, and I'll continue to ask           01:45:12

3       you if it's in there, but if I am wrong, please correct            01:45:13

4       me.   Okay, sir?                                                   01:45:17

5             A.    All right.                                             01:46:04

6             Q.    Okay.   You can put the document aside.       Before   01:46:04

7       we move to the next one, this is the earliest document             01:46:08

8       I've seen with your name on it.       Is this roughly the          01:46:12

9       time period, May of '96, that you started attending                01:46:13

10      competitor meetings?                                               01:46:17

11            A.    Possibly, but I do not quite recall.                   01:46:43

12            Q.    You said earlier that your predecessor told            01:46:47

13      you about attending competitor meetings, that it was               01:46:51

14      something that your boss would want you to do.         Whether     01:46:58

15      it was this meeting or some other meeting, do you recall           01:47:00

16      how it came about that you first attended a competitor             01:47:04

17      meeting?                                                           01:47:06

18                  MR. YOHAI:     Objection to the extent it may          01:47:08

19      mischaracterize his testimony.       You can answer.               01:47:10

20                  THE WITNESS:     I do not recall the detail            01:47:47

21      situation back then.                                               01:47:49

22      BY MR. ROSS:                                                       01:47:51

23            Q.    Do you recall if the request came from your            01:47:51

24      boss or from somebody from Chunghwa calling you, do --             01:47:57

25      can you give us some sense of how you first became                 01:48:00


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1       involved in these meetings?                                  01:48:04

2            A.     Someone requested me.     However, I do not he   01:48:27

3       recall who that person was.                                  01:48:28

4            Q.     Do you recall -- and when you say someone        01:48:30

5       requested you, do you recall if that was someone at MEC,     01:48:32

6       or someone at your company in Taiwan, or one of your         01:48:38

7       competitors asking you to attend?                            01:48:45

8            A.     I don't recall.                                  01:49:06

9            Q.     Okay.     Get the next one, please.              01:49:08

10                                    - - -                          01:49:15

11                          (Whereupon the document was marked,      01:49:15

12                  for identification purposes, as                  01:49:15

13                  Exhibit 2601 and Exhibit 2601-E.)                01:49:15

14                                    - - -                          01:49:12

15      BY MR. ROSS:                                                 01:49:13

16           Q.     Sir, I'm handing you what's been marked as       01:49:13

17      2601 and 2601-E.                                             01:49:17

18                  MR. ROSS:     Need one for the translator.       01:49:19

19      BY MR. ROSS:                                                 01:49:23

20           Q.     And while that is being passed around the        01:49:23

21      table, I will identify it for the record as                  01:49:27

22      CHU 00028516, minutes of a July 17, 1996, bilateral          01:49:27

23      meeting that your company had with Chunghwa.                 01:49:42

24                  Tell me when you had a chance to look at that    01:50:21

25      and I'll ask you some questions.                             01:50:23


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1                   MR. YOHAI:    Counsel, while he's reading, I'm     01:51:58

2       just going to clip these together so we don't lose track       01:52:00

3       of what goes with what.                                        01:52:04

4                   MR. ROSS:    I like doing them as one exhibit.     01:52:08

5                   MR. YOHAI:    Yeah.                                01:52:08

6                   MR. ROSS:    Others don't.                         01:52:12

7                   MR. YOHAI:    You'll have a pile and then no one   01:52:08

8       will be able to figure out what goes with what.                01:52:12

9       BY MR. ROSS:                                                   01:52:12

10           Q.     And, Mr. Chang, when I ask you to look over a      01:52:12

11      document, feel free to read the whole document, or if          01:52:15

12      you just want to scan it and I will direct you to the          01:52:17

13      parts I'm interested in, we can do that.       It's whatever   01:52:19

14      you feel most comfortable with.                                01:52:23

15           A.     Since the handwriting is quite messy, I have       01:52:45

16      to really put some effort in reading.                          01:52:47

17           Q.     I appreciate the effort and I agree it is          01:52:51

18      awful messy.                                                   01:52:57

19                  Are you ready, or do you still need more time?     01:52:58

20           A.     It's okay.    You can start.                       01:53:06

21           Q.     Okay.   This is a meeting a couple of months       01:53:08

22      after the May meeting.      Do you see under the contacted     01:53:10

23      personnel at the top there it has both yourself and            01:53:13

24      Mr. Hsu attending for MEC?                                     01:53:17

25           A.     I don't think this is MEC.     It's referring to   01:53:47


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1       the Taiwan sales --                                           01:53:49

2            Q.     Okay.                                             01:53:57

3            A.     -- office.                                        01:53:57

4            Q.     With that correction, attending for Taiwan        01:53:58

5       Matsushita Electronics, do you see that it's yourself         01:54:00

6       and Mr. Hsu?                                                  01:54:04

7            A.     Yes.                                              01:54:15

8            Q.     Was it generally the case when you met with       01:54:17

9       Chunghwa at these competitor meetings that Mr. Hsu also       01:54:19

10      attended?                                                     01:54:23

11           A.     I don't recall about this meeting.                01:54:36

12           Q.     My question was more general.   Generally, when   01:54:40

13      you went and met at competitor meetings, is it generally      01:54:42

14      the case that Mr. Hsu of your office, your boss, also         01:54:47

15      attended?                                                     01:54:51

16           A.     I don't quite recall about that.                  01:55:15

17           Q.     Okay.   By the way, is Mr. Hsu still with your    01:55:17

18      company?                                                      01:55:19

19           A.     Yes.                                              01:55:23

20           Q.     Does he work in the Taipei office?                01:55:25

21           A.     Yes.                                              01:55:27

22           Q.     What is his current position?                     01:55:27

23           A.     President.                                        01:55:36

24           Q.     Okay.   I want you to take a look -- or let me    01:55:38

25      direct your attention on the Chinese page, the --             01:55:40


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1       towards the bottom you'll see a B in parentheses and I             01:55:47

2       want to ask you about the -- the couple of lines right             01:55:51

3       above that.                                                        01:55:57

4            A.      Mm-hmm.                                               01:56:06

5            Q.      And right above that, it's talking about the          01:56:08

6       market demand for wide TV being good in Japan, that                01:56:10

7       Matsushita occupies a share of about 80 percent, that's            01:56:13

8       the start of that bullet point, do you see that?           Above   01:56:17

9       the B.                                                             01:56:19

10           A.      Yes.                                                  01:56:40

11           Q.      Okay.     The -- at the end of that paragraph, it     01:56:42

12      says in translation:        So when CDT is experiencing            01:56:43

13      falling" -- falling demand -- "part of the original CDT            01:56:47

14      production capacity can be converted to produce                    01:56:51

15      wide/large size CPT".                                              01:56:58

16                   Do you see that, sir?                                 01:57:04

17           A.      Yes, I see it.                                        01:57:32

18           Q.      And do you recall that to be generally the            01:57:32

19      case from your position at the company, that MEC could             01:57:34

20      switch its production lines between CDT and CPT as                 01:57:38

21      necessary?                                                         01:57:42

22                   MR. YOHAI:     Objection to the form of the           01:58:04

23      question.     No foundation.                                       01:58:06

24                   THE WITNESS:     I would not be able to see that      01:58:13

25      from my position.                                                  01:58:15


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1       BY MR. ROSS:                                                 01:58:15

2              Q.   Well, do you recall giving that information to   01:58:17

3       your competitor, Chunghwa, in this meeting in July of        01:58:19

4       '96?                                                         01:58:23

5              A.   I don't recall.                                  01:58:36

6              Q.   And do you have any reason to doubt that, in     01:58:38

7       fact, that information was given since it was recorded       01:58:42

8       by the other attendees of the meeting?                       01:58:43

9                   MR. YOHAI:     Objection to the form.            01:59:10

10      Mischaracterizes the document.                               01:59:12

11                  THE WITNESS:     I do not know.   Therefore, I   01:59:15

12      cannot speculate.                                            01:59:15

13      BY MR. ROSS:                                                 01:59:17

14             Q.   Okay.   And is there anything in this            01:59:17

15      Exhibit 2601 that indicates that Mat- -- that your           01:59:21

16      company was obtaining CRT finished product shipping          01:59:27

17      information or any other information on CRT finished         01:59:32

18      products?                                                    01:59:36

19             A.   From this document?                              02:00:06

20             Q.   Correct.                                         02:00:06

21             A.   On here it says for the months of July, August   02:00:21

22      and September, and there is some product in inventory,       02:00:25

23      that was referring to the finished product in inventory.     02:00:30

24             Q.   Where does it say fin- -- when you say           02:00:36

25      "finished product", are you talking about CRTs?              02:00:38


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1            A.     It says here the current customer, our             02:00:51

2       customer refers to finished goods customer.                    02:01:04

3            Q.     It says with -- here -- here's what I have,        02:01:12

4       and tell me if it's wrong, it says:        With regard to      02:01:13

5       market recovery, based on the calculations of its              02:01:17

6       current customers' inventory output or order volume in         02:01:19

7       July, August, September, the inventory of                      02:01:23

8       15-inch/17-inch in September should drop to a reasonable       02:01:25

9       level.                                                         02:01:28

10                  Do you see that, sir?                              02:01:28

11           A.     Would you please repeat that?                      02:02:10

12                  MR. ROSS:    Would you read it back.               02:02:12

13                  THE INTERPRETER:     Perhaps the interpreter can   02:02:15

14      reinterpret this part?                                         02:02:15

15                  MR. ROSS:    You're saying -- are you saying the   02:02:21

16      translation is off?                                            02:02:23

17                  THE INTERPRETER:     No.   The interpreter was     02:02:25

18      just offering, instead of reading through the entire           02:02:25

19      paragraph, maybe -- perhaps the interpreter can just           02:02:28

20      reinterpret the paragraph.                                     02:02:30

21                  MR. YOHAI:    Why don't we just have a question    02:02:32

22      and an answer, rather than --                                  02:02:34

23                  MR. ROSS:    Yeah.                                 02:02:34

24                  MR. YOHAI:    -- reinterpreting the paragraph.     02:02:34

25                  MR. ROSS:    Yeah, I think we need to do it that   02:02:36


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1       way.    If you can just read back my question.                   02:02:38

2                                      - - -                             02:04:13

3                         (The court reporter read back as               02:04:13

4                   follows:                                             02:04:13

5                         "QUESTION:      It says with -- here --        02:01:12

6                   here's what I have, and tell me if it's              02:01:13

7                   wrong.     It says:     With regard to market        02:01:13

8                   recovery, based on the calculations of               02:01:17

9                   its current customers' inventory output              02:01:17

10                  or order volume in July, August,                     02:01:21

11                  September, the inventory of                          02:01:23

12                  15-inch/17-inch in September should drop             02:01:25

13                  to a reasonable level.                               02:01:28

14                        "Do you see that, sir?")                       02:01:30

15                                     - - -                             02:03:08

16                  THE WITNESS:     Yes.                                02:04:06

17      BY MR. ROSS:                                                     02:04:06

18             Q.   And that refers to CRTs, that inventory, not         02:04:06

19      CRT finished products, right, sir?                               02:04:12

20                  MR. YOHAI:     Objection, that mischaracterizes      02:04:17

21      the document.                                                    02:04:17

22                  THE WITNESS:     This is referring to the            02:04:28

23      finished goods inventory.         It could be referring to the   02:04:28

24      finished goods.                                                  02:04:34

25      BY MR. ROSS:                                                     02:04:34


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1            Q.     It could be, or it is?                              02:04:34

2            A.     It's not very detailed.                             02:04:40

3                   MR. YOHAI:     Objection.                           02:04:42

4                   THE WITNESS:     It's talking about our customer.   02:04:51

5       The monitor manufacturers' inventory did not specify any        02:04:57

6       others.                                                         02:05:02

7       BY MR. ROSS:                                                    02:05:04

8            Q.     Okay.                                               02:05:04

9                   MR. ROSS:     Next one is 28507.                    02:05:12

10                  For the record, as we're passing these around,      02:05:43

11      the next document is Exhibits 260-T -- 2602 and 2602-E,         02:05:45

12      Bates stamp is CHU 00028507, and these are minutes of a         02:05:57

13      bilateral meeting between Taiwan Matsushita Electronic          02:06:04

14      and Chunghwa, dated March 4th, 1997.                            02:06:12

15                                    - - -                             02:06:15

16                          (Whereupon the document was marked,         02:06:15

17                  for identification purposes, as                     02:06:15

18                  Exhibit 2602 and Exhibit 2602-E.)                   02:06:15

19                                    - - -                             11:15:21

20      BY MR. ROSS:                                                    02:06:15

21           Q.     Sir, please take a look at that and let me          02:06:43

22      know when you're ready.                                         02:06:47

23                  (Sotto voce discussion off the record.)             02:08:15

24                  THE WITNESS:     Okay.                              02:08:40

25      BY MR. ROSS:                                                    02:08:40


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1            Q.     Okay.   Sir, if you could look again towards up   02:08:40

2       the top of the original, where it lists the customers'        02:08:45

3       names of the individuals, from Taiwan Matsushita              02:08:47

4       Electronics, do you see your name there?                      02:08:51

5            A.     Yes.                                              02:09:06

6            Q.     You also see the name, they give him a title      02:09:08

7       of Section Chief, Zhi-Yan Xu?                                 02:09:10

8            A.     Yes.                                              02:09:21

9            Q.     Who is Mr. Xu?                                    02:09:21

10           A.     That is a translation issue.   This is            02:09:32

11      referring to Mr. Hsu.                                         02:09:36

12           Q.     It is referring to Mr. Hsu, okay.                 02:09:36

13           A.     The title is wrong too.                           02:09:42

14           Q.     Okay.   Thank you, sir.                           02:09:43

15                  In your reviewing these minutes, does this        02:09:57

16      cause you to refresh your recollection about attending        02:09:58

17      this March 4th, 1997, meeting with your competitor,           02:10:02

18      Chunghwa?                                                     02:10:08

19           A.     No, I don't recall about this specific            02:10:28

20      meeting.                                                      02:10:32

21           Q.     As you'll see in the next document that we        02:10:34

22      look at, this meeting was eight days before the group         02:10:36

23      meeting that we've touched upon and that you do recall.       02:10:40

24                  Does that help refresh your recollection of       02:10:43

25      attending a bilateral one-on-one meeting with Chunghwa        02:10:47


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1       about a week before you attended that group meeting?           02:10:51

2            A.     No, I do not.                                      02:11:28

3            Q.     Okay.   I want to ask you about the paragraphs     02:11:30

4       in the original document that are labeled 2 and 3 on           02:11:34

5       that first page.     Do you see those?                         02:11:38

6            A.     Yes.                                               02:11:51

7            Q.     Paragraph 2 starts:     Recently SDD has been to   02:11:51

8       Japan and indicated to MEC that because of the poor            02:11:58

9       market situation, and also due to its own loss, SDD --         02:12:02

10      SDD has decreased, and then it's "[Inserted: 'monthly          02:12:06

11      production'] by 20 percent and would also adjust the           02:12:12

12      sales price for 14/15-inch to hold the price."                 02:12:13

13                  Do you see that, sir?                              02:12:17

14           A.     Yes.                                               02:12:49

15           Q.     Okay.   Do you recall either yourself or           02:12:49

16      Mr. Hsu reporting about this information regarding a           02:12:51

17      contact between STD and MEC to Chunghwa at this meeting?       02:13:00

18           A.     I don't recall.                                    02:13:30

19                  THE VIDEOGRAPHER:     Let me ask him to put        02:13:32

20      his -- your mic higher.       Thanks.                          02:13:34

21                  MR. ROSS:    Have you been getting it?             02:13:38

22                  THE VIDEOGRAPHER:     Oh, yes.                     02:13:40

23      BY MR. ROSS:                                                   02:13:42

24           Q.     As a general rule, do you recall times when        02:13:42

25      you and Mr. Hsu at Panasonic Sales of Taiwan would             02:13:43


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1       receive information from MEC in Japan about competitor         02:13:49

2       contacts they -- that they had had with competitors            02:14:00

3       regarding the CRT industry?                                    02:14:04

4                    MR. YOHAI:     Objection to the form of the       02:14:06

5       question.                                                      02:14:06

6                    THE WITNESS:     I don't recall.                  02:14:43

7       BY MR. ROSS:                                                   02:14:43

8            Q.      It may have happened, you just can't remember     02:14:45

9       it as you sit here?                                            02:14:45

10                   MR. YOHAI:     Objection, mischaracterizes his    02:14:47

11      testimony.                                                     02:14:49

12                   THE WITNESS:     I cannot speculate on that.      02:15:00

13      BY MR. ROSS:                                                   02:15:02

14           Q.      Do you have any other explanation for the         02:15:06

15      information that's contained here in this second               02:15:10

16      paragraph that is being conveyed to Chunghwa, other than       02:15:12

17      that it came from MEC to you all in Taiwan and you             02:15:19

18      conveyed it?                                                   02:15:23

19                   MR. YOHAI:     Objection, no foundation.          02:15:45

20                   THE WITNESS:     Would you please rephrase the    02:15:51

21      question?     I don't quite understand.                        02:15:57

22      BY MR. ROSS:                                                   02:15:57

23           Q.      Certainly.     Can you give us any other reason   02:15:58

24      why you or Mr. Hsu were conveying this information about       02:16:00

25      a competitor meeting between Samsung Display Devices and       02:16:06


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1       MEC in Japan other than that your contacts at MEC were         02:16:10

2       telling you this information?                                  02:16:13

3                   MR. YOHAI:     Objection, no foundation,           02:16:47

4       mischaracterizes his testimony.                                02:16:47

5                   THE WITNESS:     From the statement reflected      02:17:04

6       here, it does not necessarily mean that the information        02:17:08

7       came from MEC.                                                 02:17:12

8                   Excuse me, it may not necessarily be us who        02:17:17

9       conveyed the information to them.                              02:17:21

10      BY MR. ROSS:                                                   02:17:23

11           Q.     Who else would it be?                              02:17:25

12                  MR. YOHAI:     Objection, calls for speculation.   02:17:27

13                  THE WITNESS:     CPT could get the information     02:17:34

14      from Samsung as well, but I cannot speculate on that.          02:17:36

15      BY MR. ROSS:                                                   02:17:42

16           Q.     You think that this may indicate that Chunghwa     02:17:42

17      was telling you that Samsung and MEC had had a                 02:17:43

18      competitor meeting?                                            02:17:49

19           A.     I cannot speculate on that.     But looking at     02:18:08

20      this document, it may not necessarily came from us.            02:18:12

21      It's possible.                                                 02:18:19

22           Q.     Okay.    Finishing up with this paragraph 2, it    02:18:21

23      says, "In the meantime for 17 inches, it" -- meaning           02:18:25

24      Samsung -- "would not engage in vicious competition with       02:18:28

25      price cutting.      SDD very much hoped MEC would take more    02:18:32


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1       cooperative actions to stabilize prices."                        02:18:38

2                   Do you see that, sir?                                02:18:40

3                   MR. CUNNINGHAM:      Object to form.                 02:18:43

4                   THE WITNESS:    Yes, I see it.                       02:19:19

5       BY MR. ROSS:                                                     02:19:21

6            Q.     Does that refresh your recollection at all of        02:19:21

7       you or Mr. Hsu informing Chunghwa of what Samsung had            02:19:25

8       been requesting of MEC with regard to taking cooperative         02:19:28

9       actions to stabilize prices?                                     02:19:32

10                  MR. CUNNINGHAM:      Object to form.                 02:19:34

11                  THE WITNESS:    I do not know by looking at          02:20:06

12      this, I don't know.                                              02:20:08

13      BY MR. ROSS:                                                     02:20:10

14           Q.     Okay.   Turn to a third paragraph, the               02:20:10

15      paragraph that says 3.                                           02:20:13

16           A.     May I ask for a break?                               02:20:15

17           Q.     Certainly.                                           02:20:17

18           A.     Ten minutes?                                         02:20:21

19                  THE VIDEOGRAPHER:      Going off the record.         02:20:23

20                  MR. ROSS:    Sure.                                   02:20:24

21                  THE WITNESS:    I'm going to change the DVD.         02:20:25

22      This marks the end of Volume I, media number two in the          02:20:28

23      deposition of Yu-Hao Zhang, a/k/a Allen Chang.        The time   02:20:28

24      is 2:20 p.m.    We're off the record.                            02:20:30

25                  (Recess taken.)                                      02:29:17


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1                    THE VIDEOGRAPHER:     We are back on the record    02:29:17

2       at 2:29 p.m.        This marks the beginning of Volume I,       02:29:19

3       media number three, of Yu-Hao Zhang a/k/a Allen Chang.          02:29:21

4       Please continue.                                                02:29:27

5       BY MR. ROSS:                                                    02:29:27

6               Q.   Mr. Chang, are you ready to continue?              02:29:27

7               A.   Yes.                                               02:29:30

8               Q.   You can return back to Exhibit 2602.     We were   02:29:30

9       going to talk about the paragraph that's numbered 3 on          02:29:34

10      the original as well as the translation.        Do you see      02:29:38

11      that, sir?                                                      02:29:40

12              A.   Yes.                                               02:29:51

13              Q.   Sir, the first sentence reads, "CPT indicated      02:29:57

14      that it had started to reduce working days since the end        02:29:58

15      of last year to decrease the supply and to hold prices."        02:30:02

16                   Do you recognize that CPT in that sentence         02:30:06

17      stands for Chunghwa, the competitor, you were meeting           02:30:10

18      with?                                                           02:30:12

19              A.   I believe so.                                      02:30:30

20              Q.   Does this refresh your recollection, sir, that     02:30:32

21      from time to time at the meetings that you attended with        02:30:34

22      Chunghwa that the concept of reducing supply, decreasing        02:30:40

23      supply in order to hold prices steady was discussed,            02:30:42

24      again, from time to time?                                       02:30:45

25              A.   I don't recall.                                    02:31:21


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1            Q.     As you sit here today with regard to all of       02:31:21

2       your competitor contacts, you don't recall the issue of       02:31:23

3       reducing supply as a way of holding or increasing the         02:31:27

4       prices of CRTs being discussed?                               02:31:30

5            A.     I don't recall.   What I'm more clear about is    02:32:08

6       that we do not have the authority to discuss or               02:32:10

7       determine our pricing.                                        02:32:15

8            Q.     Do you recall ever leaving a competitor's         02:32:17

9       meeting because a topic was brought up and you felt you       02:32:21

10      didn't have the authority to discuss it?                      02:32:23

11           A.     I don't recall.                                   02:32:43

12           Q.     In these minutes that we're looking at here,      02:32:45

13      paragraphs 2 and 3, and -- and feel free to look beyond       02:32:47

14      that if you want, is there any indication that you            02:32:51

15      informed Chunghwa that you didn't have authority to           02:32:57

16      discuss pricing or agree on pricing and -- and hence,         02:32:58

17      did not want to talk about any of the topics that are         02:33:02

18      listed in this meeting minutes?                               02:33:06

19           A.     I don't see it here.   However, these are their   02:34:04

20      internal records; therefore, it does not mean I did not       02:34:06

21      mention it.    However, this is just their records.           02:34:12

22           Q.     Do you recall in any of your meetings             02:34:15

23      specifically mentioning that there was a subject that         02:34:19

24      was being discussed that you could not discuss with your      02:34:21

25      competitors?                                                  02:34:25


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1            A.      I don't recall about that.                       02:34:43

2            Q.      Okay.   Continuing with the second sentence of   02:34:45

3       paragraph 3, it says, "Hopefully the wait-and-see             02:34:47

4       attitude towards the market will be eliminated, and           02:34:49

5       normal demand will recover.      Only in this way can         02:34:51

6       reasonable production and sales activities be resumed."       02:35:00

7                    Did you see that, sir?                           02:35:02

8            A.      Yes.                                             02:35:40

9            Q.      And finally, the last sentence says, "Also       02:35:42

10      asked MEC to please coordinate with Beijing Matsushita        02:35:43

11      so as not to disrupt the market order anymore by cutting      02:35:49

12      prices for sales," period.                                    02:35:57

13                   Do you see that, sir?                            02:35:58

14           A.      Yes.                                             02:36:25

15           Q.      What company was Beijing Matsushita?             02:36:25

16           A.      Beijing MEC.                                     02:36:30

17           Q.      Did it produce CRTs?                             02:36:32

18           A.      Yes, they also produce CDT.                      02:36:38

19           Q.      And do you recall Chunghwa asking you to         02:36:42

20      please coordinate with Beijing Matsushita for them to         02:36:49

21      not disrupt the market order anymore by cutting prices        02:36:57

22      for sales?                                                    02:37:00

23           A.      I do not recall; however, we were not            02:37:17

24      responsible for the sales of Beijing MEC.                     02:37:23

25           Q.      I understand that you were not -- that you       02:37:28


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1       were not their sales agent.       My question is rather more   02:37:30

2       along the lines of did you pass the message along, and I       02:37:36

3       gather your answer is you just don't recall?                   02:37:38

4            A.     I don't think so because we do not have a          02:38:12

5       window.                                                        02:38:13

6            Q.     A window?                                          02:38:15

7            A.     Contact window.                                    02:38:19

8            Q.     With Beijing Matsushita?                           02:38:19

9            A.     Correct.                                           02:38:23

10           Q.     Did you have a contact window with MEC in          02:38:27

11      Japan?                                                         02:38:28

12           A.     I don't recall.                                    02:38:34

13           Q.     You don't recall if you had the ability to         02:38:36

14      contact MEC in Japan?                                          02:38:38

15           A.     No.     I don't recall having contacted MEC        02:38:47

16      regarding the matter mentioned here with Beijing MEC.          02:38:58

17           Q.     Okay.     That I understand, that you don't        02:39:04

18      recall that.      It's -- certainly if you wanted to pass      02:39:06

19      along the message, you could pass it along either              02:39:10

20      directly to Beijing Matsushita or through MEC in Japan;        02:39:13

21      right, sir?                                                    02:39:17

22                  MR. YOHAI:     Objection, calls for speculation.   02:39:34

23                  THE WITNESS:     That's correct, as I explained    02:39:45

24      before, I do not have a contact window with Beijing MEC.       02:39:47

25      Nor can I speculate on whether I have contacted MEC            02:40:10


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1       regarding the topic having to do with Beijing MEC.               02:40:15

2       BY MR. ROSS:                                                     02:40:19

3            Q.     You don't know one way or the other if you did       02:40:21

4       or not?                                                          02:40:23

5            A.     I do not recall.                                     02:40:27

6            Q.     Okay.   You can put that away, sir.                  02:40:27

7                                    - - -                               02:40:30

8                   MR. ROSS:    The next -- as I'm passing them         02:40:34

9       along, the next document is going to be previously               02:40:34

10      marked as Exhibit 1857 and 1857-E.      It's CHU 00028755, a     02:40:38

11      March 12th, 1997, meeting minutes of a group meeting             02:40:47

12      amongst Chunghwa, Samsung, LG, Daewoo, Philips, Hitachi          02:40:57

13      and Matsushita.                                                  02:41:04

14      BY MR. ROSS:                                                     02:41:38

15           Q.     Sir, take a look at the document and when you        02:41:38

16      have finished reviewing it to your satisfaction, let me          02:41:40

17      know so we can continue.                                         02:41:42

18                  Okay.   Mr. Chang, a couple of predicate             02:44:13

19      questions first.     And this is a yes or no question:     Did   02:44:15

20      you review any documents in preparation for this                 02:44:21

21      deposition?                                                      02:44:25

22           A.     Yes.                                                 02:44:25

23           Q.     And did any of those documents refresh your          02:44:47

24      recollection about events regarding the CRT business in          02:44:49

25      the time period we've been discussing?                           02:44:57


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1            A.     No.    I would not specifically try to recall      02:45:12

2       any particular meeting.       So much time has lapsed.         02:45:21

3            Q.     Let me ask it this way, sir:     You               02:45:27

4       remembered -- is -- is this Exhibit 1857 minutes of the        02:45:28

5       group meeting that you recalled and testified about            02:45:36

6       before the lunch break this morning?                           02:45:40

7            A.     Yes.                                               02:45:57

8            Q.     And did you review minutes of that meeting as      02:45:57

9       part of your deposition preparation?                           02:46:00

10                  MR. YOHAI:     I'm going to object to that         02:46:08

11      question.    That does begin to impinge upon work product      02:46:10

12      and attorney-client privilege so I'm going to instruct         02:46:13

13      him not to answer that question.                               02:46:15

14      BY MR. ROSS:                                                   02:46:17

15           Q.     Let me ask this, have you ever seen this           02:46:17

16      document that's been numbered as Exhibit 1857 before?          02:46:19

17                  MR. YOHAI:     I would exclude from your answer    02:46:38

18      any information that we went over in the course of our         02:46:40

19      meetings with your attorneys.                                  02:46:45

20                  THE WITNESS:     I don't understand what that --   02:47:10

21      what does that mean.                                           02:47:12

22                  MR. YOHAI:     Other than in preparation, don't    02:47:13

23      talk about any documents we looked at in preparation.          02:47:15

24      Have you ever seen it, other than potentially in               02:47:17

25      preparation?                                                   02:47:21


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1                   THE WITNESS:     I had discussions with my             02:47:49

2       attorney.                                                          02:47:51

3                   MR. YOHAI:     Yeah, don't -- don't -- can I           02:47:51

4       confer with the witness?                                           02:47:57

5                   MR. ROSS:    Yeah.                                     02:47:58

6                   THE VIDEOGRAPHER:      Going off the record.     The   02:48:00

7       time is 2:48.                                                      02:48:00

8                   (Recess taken.)                                        02:49:42

9                   THE VIDEOGRAPHER:      Back on the record.     The     02:49:43

10      time is 2:50.    Please continue.                                  02:49:43

11                  THE WITNESS:     All right.                            02:49:49

12                  MR. ROSS:    I think there was a pending               02:49:49

13      question.    If you could read it back, please sir.                02:49:51

14                                    - - -                                02:50:12

15                       (The court reporter read back as                  02:50:12

16                  follows:                                               02:50:12

17                       "QUESTION:      Let me ask this, have             02:50:12

18                  you ever seen this document that's been                02:50:12

19                  numbered as Exhibit 1857 before?")                     02:50:12

20                                    - - -                                02:50:06

21                  MR. YOHAI:     Same objection.   Please exclude        02:50:08

22      any information you have in preparation with counsel.              02:50:10

23                  THE WITNESS:     I did not see this document           02:50:28

24      before.                                                            02:50:30

25      BY MR. ROSS:                                                       02:50:32


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1            Q.      Okay.     Sir, you testified earlier today that       02:50:32

2       at the glass meeting Samsung and CPT had a disagreement,           02:50:38

3       Samsung and Chunghwa had a disagreement, do you recall             02:50:43

4       that, sir?                                                         02:50:45

5                    MR. YOHAI:     Objection.     Counsel, I'm just       02:50:45

6       going to object if you say "at the glass meeting".                 02:50:47

7                    MR. ROSS:     At the group meeting, I'm sorry.        02:50:51

8                    MR. YOHAI:     That's okay.     Okay.   Maybe we'll   02:50:51

9       get a clean question.                                              02:50:57

10      BY MR. ROSS:                                                       02:50:58

11           Q.      You testified earlier today that at this group        02:50:58

12      meeting in 1997 that Samsung and Chunghwa had a                    02:51:02

13      disagreement.        Do you recall that, sir?                      02:51:08

14                   MR. CUNNINGHAM:     Object to form.                   02:51:21

15                   THE WITNESS:     Would you please reinterpret the     02:51:30

16      question.                                                          02:51:32

17      BY MR. ROSS:                                                       02:51:32

18           Q.      You testified earlier today that Samsung was          02:51:34

19      arguing with Chunghwa at this group meeting that you               02:51:36

20      attended in March of 1997.           Do you recall that, sir?      02:51:38

21                   MR. CUNNINGHAM:     Same objection.                   02:51:42

22                   THE WITNESS:     Yes.                                 02:52:02

23      BY MR. ROSS:                                                       02:52:02

24           Q.      Okay.     Before this week, before you met with       02:52:04

25      your counsel, did you recall that at that group meeting            02:52:06


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1       Samsung and Chunghwa were arguing?                                     02:52:10

2                       MR. CUNNINGHAM:     Same objection.                    02:52:28

3                       THE WITNESS:     Yes, I do.                            02:52:30

4       BY MR. ROSS:                                                           02:52:32

5               Q.      Okay.   You testified earlier -- well, strike          02:52:32

6       that.        If you look at the first page of the report, am I         02:52:36

7       correct that you are the only person listed as attending               02:52:40

8       for Matsushita?                                                        02:52:43

9               A.      Correct.                                               02:52:58

10              Q.      And is -- does that comport with your memory,          02:53:00

11      do you recall being the only representative from                       02:53:04

12      Matsushita at the meeting?                                             02:53:06

13              A.      I believe so.                                          02:53:19

14              Q.      You testified this morning that somebody from          02:53:19

15      Samsung contacted you about attending this meeting.               Do   02:53:21

16      you recall that, sir?                                                  02:53:25

17                      MR. YOHAI:     Objection to the form.                  02:53:36

18                      THE WITNESS:     That's not what I said.      I said   02:53:43

19      someone notified me.                                                   02:53:45

20      BY MR. ROSS:                                                           02:53:47

21              Q.      Then tell me, first of all, do you recall who          02:53:47

22      at Samsung notified you about the meeting?                             02:53:49

23                      MR. YOHAI:     Objection, counsel.    He --            02:53:51

24                      MR. ROSS:    Did I --                                  02:53:57

25                      MR. YOHAI:     Mischaracterizes -- to the extent       02:53:57


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1       it mischaracterizes his testimony.        He can answer.            02:53:58

2                   MR. CUNNINGHAM:     Vague and ambiguous.                02:54:13

3                   THE WITNESS:     What I said was Samsung was            02:54:19

4       leading this meeting.                                               02:54:21

5       BY MR. ROSS:                                                        02:54:23

6            Q.     Let's take it back a step.      How did you find        02:54:25

7       out about the fact that this meeting was going to                   02:54:27

8       happen?                                                             02:54:28

9            A.     Someone notified me.                                    02:54:32

10           Q.     Who notified you?                                       02:54:34

11           A.     I don't recall.                                         02:54:38

12           Q.     From what company?                                      02:54:40

13           A.     I don't recall.                                         02:54:42

14           Q.     Was it from a Matsushita affiliated company,            02:54:43

15      or from a competitor, what can you tell us about --                 02:54:49

16                  MR. YOHAI:     Objection.                               02:54:57

17      BY MR. ROSS:                                                        02:54:57

18           Q.     -- how you found out about the meeting?                 02:54:57

19                  MR. YOHAI:     Objection.   Asked and answered          02:54:58

20      this morning and just now.                                          02:55:00

21                  THE WITNESS:     I don't want to speculate.      I do   02:55:23

22      not know.                                                           02:55:23

23      BY MR. ROSS:                                                        02:55:25

24           Q.     What is the relevance of the fact that this             02:55:25

25      was a Samsung-led meeting to the fact that you attended             02:55:27


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1       this meeting?                                                    02:55:32

2                   MR. CUNNINGHAM:     Vague and ambiguous.             02:55:32

3                   MR. YOHAI:     Objection, no foundation.             02:55:49

4                   THE WITNESS:     Relevance, I don't know.            02:55:58

5       BY MR. ROSS:                                                     02:56:00

6            Q.     Why did you bring up Samsung having led this         02:56:00

7       meeting this morning?                                            02:56:02

8                   MR. YOHAI:     Objection.                            02:56:10

9                   THE WITNESS:     Because this meeting was held in    02:56:15

10      Samsung's Taiwan office.                                         02:56:19

11      BY MR. ROSS:                                                     02:56:23

12           Q.     And it is your testimony as you sit here that        02:56:23

13      while you remember certain specifics of the meeting, you         02:56:27

14      have no idea how you found yourself there?                       02:56:28

15           A.     I don't recall much details regarding this           02:57:08

16      meeting.    All I remember was that Samsung had a lot of         02:57:10

17      disagreements with CPT at this meeting.                          02:57:23

18           Q.     So you have no recollection of how you ended         02:57:27

19      up at this meeting, is that --                                   02:57:28

20                  MR. YOHAI:     Objection.   Objection.   I believe   02:57:34

21      he's answered this.      Asked and answered three times.         02:57:36

22      You can answer again.                                            02:57:47

23                  THE WITNESS:     I was informed.                     02:57:49

24      BY MR. ROSS:                                                     02:58:02

25           Q.     Did you speak with anybody at your company as        02:58:02


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1       to whether or not once you were informed of the              02:58:04

2       existence of the meeting, whether you should go to it or     02:58:06

3       not?                                                         02:58:10

4              A.   I don't recall.                                  02:58:21

5              Q.   Did you have authority to go meet with           02:58:23

6       competitors on your own, or did you have to get approval     02:58:23

7       from somebody at your company to do so?                      02:58:27

8              A.   Since I was informed, so I don't know if I had   02:59:06

9       this authority or not.                                       02:59:13

10             Q.   Generally, when you went to competitor           02:59:15

11      meetings, did you go of your own accord, or did some --      02:59:17

12      did you get approval to attend them from somebody else       02:59:21

13      at your company?                                             02:59:25

14                  MR. YOHAI:     Objection to the form of the      02:59:25

15      question, to "generally".                                    02:59:27

16                  THE WITNESS:     I don't quite recall about      03:00:00

17      having this particular policy.                               03:00:02

18      BY MR. ROSS:                                                 03:00:06

19             Q.   And as you sit here today you can't even         03:00:06

20      recall if the notification about the meeting came from       03:00:08

21      somebody at your company or one of the -- your               03:00:12

22      competitors, is that right?                                  03:00:13

23                  MR. YOHAI:     Objection, asked and answered.    03:00:30

24                  THE WITNESS:     I truly do not recall.   It's   03:00:38

25      been too long.     I only remember some of the unique        03:00:42


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1       images, for example, they were arguing, and they were          03:00:57

2       arguing in English.                                            03:01:00

3       BY MR. ROSS:                                                   03:01:02

4            Q.     Do you generally recall Mr. Hsu, your boss,        03:01:02

5       ever directing you to go meet with a competitor?               03:01:06

6                   MR. YOHAI:    Counsel, objection to the form of    03:01:21

7       the question.    I don't want to have a speaking               03:01:23

8       objection, but you said do you generally recall, and           03:01:25

9       then you said ever directing you.      So I'm not sure which   03:01:28

10      one of those you're --                                         03:01:30

11                  MR. ROSS:    Yeah, I'm -- I'm trying to --         03:01:32

12                  MR. YOHAI:    -- arguments --                      03:01:32

13                  MR. ROSS:    Find out if he's --                   03:01:34

14                  MR. YOHAI:    Are you asking does he -- if you     03:01:34

15      say if he ever did, or generally did, yeah, it's two           03:01:36

16      different questions.      So maybe you could clean it up.      03:01:38

17                  MR. ROSS:    I will clean it up.                   03:01:40

18      BY MR. ROSS:                                                   03:01:42

19           Q.     Do you recall Mr. Hsu ever directing you to        03:01:42

20      meet with a competitor?                                        03:01:45

21           A.     I don't quite recall.                              03:02:02

22           Q.     Turning to Exhibit 1857, sir, under Roman          03:02:04

23      Numeral III, number one, in -- on the first page of the        03:02:12

24      Chinese, do you see a table with production days for           03:02:13

25      February, March and April for each of the makers listed        03:02:21


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1       in that table, do you see that, sir?                                 03:02:25

2              A.   Yes.                                                     03:02:58

3              Q.   And you would agree, given the date of this              03:03:00

4       meeting of March 12th, 1997, that this table includes                03:03:02

5       information for past production, current production and              03:03:06

6       future production, February, March and April, right,                 03:03:08

7       sir?                                                                 03:03:15

8                   MR. YOHAI:     Objection.    No foundation.              03:03:34

9                   THE WITNESS:     Would you please reask the              03:03:38

10      question.                                                            03:03:40

11                  MR. ROSS:    Can you read it back, sir.                  03:03:42

12                                      - - -                                03:04:27

13                         (The court reporter read back as                  03:04:27

14                  follows:                                                 03:04:27

15                         "QUESTION:     And you would agree                03:04:27

16                  given the date of this meeting of March                  03:04:27

17                  12th, 1997, that this table includes                     03:04:27

18                  information for past production, current                 03:04:27

19                  production and future production,                        03:04:27

20                  February, March and April, right, sir?")                 03:04:27

21                                      - - -                                03:03:57

22                  MR. YOHAI:     Same objection.                           03:04:19

23                  THE WITNESS:     What are you asking?       I still do   03:04:25

24      not understand.                                                      03:04:27

25      BY MR. ROSS:                                                         03:04:27


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1            Q.     The table includes past production, current         03:04:27

2       protection and future production information, does it           03:04:30

3       not, sir?                                                       03:04:32

4            A.     Correct, by looking at the numbers from this        03:04:42

5       table.                                                          03:04:47

6            Q.     And one of the makers included right at the         03:04:47

7       bottom of the table is MEC.       Correct, sir?                 03:04:49

8            A.     Yes.                                                03:05:02

9            Q.     And do you recall that you were the source for      03:05:02

10      the information regarding MEC?                                  03:05:04

11           A.     Yes.     I don't recall, because I only attended    03:05:15

12      for a very short time, then I left.       After Samsung and     03:05:21

13      CPT had their arguments, I left.                                03:05:30

14           Q.     Right.     We're not up to that, sir, at least in   03:05:32

15      the chronology of these minutes.       But if you recall, you   03:05:34

16      recall, and if you don't you don't.                             03:05:40

17                  So let me continue.                                 03:05:42

18                  Do you see the paragraph underneath the table?      03:05:43

19           A.     Yes.                                                03:06:04

20           Q.     And you see where it says MME -- well, right        03:06:06

21      before where it says MMEC in English letters, there is a        03:06:10

22      sentence that reads:       Matsushita is not clear about        03:06:13

23      BMCC's inventory, do you see that?                              03:06:17

24           A.     I see it.                                           03:06:38

25           Q.     And does that refresh your recollection that        03:06:38


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1       you were the one who was not clear about BMCC's                  03:06:40

2       inventory?                                                       03:06:43

3             A.     I don't recall.                                     03:06:58

4             Q.     Turn to paragraph 3, sir.                           03:06:58

5             A.     Third paragraph.                                    03:07:04

6             Q.     The heading is 14-inch Sales Price Review.     Do   03:07:06

7       you see that?                                                    03:07:08

8             A.     (No English translation provided.)                  03:07:08

9             Q.     In reading that paragraph, does that refresh        03:07:19

10      your recollection that this was the argument that you            03:07:20

11      testified to about earlier?                                      03:07:23

12            A.     They did argue; however, they were speaking in      03:07:43

13      English and it was very fast.        I didn't quite understand   03:07:45

14      it.                                                              03:07:49

15            Q.     But is this the argument that you're                03:07:49

16      remembering, is this memorializing that argument,                03:07:51

17      whether you understood it or not?                                03:07:57

18                   MR. YOHAI:     Objection to the form of the         03:08:06

19      question.     You can answer if you know.                        03:08:08

20                   THE WITNESS:     As I recall, this was their        03:08:17

21      argument.                                                        03:08:19

22      BY MR. ROSS:                                                     03:08:21

23            Q.     If you look at that paragraph towards the top       03:08:21

24      it says on -- underneath the English, "Later on, SDD,            03:08:23

25      LG, PH and CPT all indicated the bottom price of $67 for         03:08:28


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1       MPRII's, it would be increased starting 4/1."               03:08:34

2                   Do you see that?                                03:08:40

3            A.     Yes.                                            03:09:10

4            Q.     Do you recall being there for that later        03:09:12

5       agreement regarding bottom price?                           03:09:13

6                   MR. YOHAI:     Objection to the form, you can   03:09:28

7       answer.                                                     03:09:30

8                   THE WITNESS:     I don't recall.                03:09:34

9       BY MR. ROSS:                                                03:09:40

10           Q.     On the -- after this 14-inch price review, if   03:09:40

11      you go to the next page, the top, there is a 15-inch        03:09:43

12      Sales Price Review.                                         03:09:47

13                  Do you recall whether you were there for that   03:09:47

14      discussion?                                                 03:09:49

15           A.     I don't recall but I don't think I was          03:10:13

16      present.                                                    03:10:15

17      BY MR. ROSS:                                                03:10:17

18           Q.     Do you see paragraph 5 which starts that:       03:10:17

19      Each maker credited that a price increase would be          03:10:23

20      inevitable.    It is understood that there would be a       03:10:25

21      top-level meeting in Korea on March 22nd.       Everybody   03:10:30

22      should get together again after the meeting to have more    03:10:34

23      communications.                                             03:10:36

24                  Do you see that, sir?                           03:10:36

25           A.     Yes.                                            03:11:06


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1            Q.     Do you recall whether you were there at the         03:11:06

2       meeting for that discussion?                                    03:11:08

3            A.     I don't recall.                                     03:11:19

4            Q.     I have looked in these minutes, I do not see        03:11:21

5       anywhere where it indicates that you left earlier than          03:11:23

6       the other attendees.       Do you see anything in the Chinese   03:11:25

7       that I've missed?                                               03:11:28

8            A.     No.                                                 03:11:49

9            Q.     Why do you think you left the meeting early?        03:11:51

10           A.     More clear -- clearer recollection about that       03:12:19

11      was because the attendees who were present there, they          03:12:21

12      all had pretty high ranking, high titles.       And Samsung     03:12:25

13      was complaining that my title ranking was too low.              03:12:32

14           Q.     Who at Samsung complained that your title           03:12:38

15      ranking was too low?       You can -- if it helps, there        03:12:42

16      was -- the three Samsung attendees are listed at the top        03:12:47

17      of the first page.                                              03:12:49

18                  MR. CUNNINGHAM:     Vague and ambiguous.            03:12:51

19                  THE WITNESS:     All I remember was that it -- he   03:13:17

20      was Korean.                                                     03:13:21

21      BY MR. ROSS:                                                    03:13:23

22           Q.     Have you taken a look at those three names and      03:13:25

23      then none of them help?                                         03:13:27

24           A.     Could be Ha, could be Lee.     As far as I know,    03:13:38

25      these two are Koreans.                                          03:13:45


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1            Q.     Do you recall if anybody superior to you,             03:13:47

2       either Mr. Hsu or somebody else at your company, had              03:13:49

3       planned to attend this meeting and then just couldn't             03:13:51

4       make it for some reason?                                          03:13:57

5            A.     I do not know about that.                             03:14:13

6            Q.     When -- how -- how did you leave?       Did you       03:14:17

7       just stand up and silently walk out of the room in the            03:14:19

8       middle of a discussion?       Did you say something to the        03:14:23

9       other attendees?    Tell us how you left the meeting.             03:14:27

10           A.     All I remember was that I left after Samsung          03:15:02

11      and CPT had their argument.         There was a intermission or   03:15:04

12      break time, that's when I left.                                   03:15:10

13           Q.     Did you tell any of the other attendees that          03:15:13

14      you were going to leave, or why you were going to leave?          03:15:15

15           A.     I did tell them that I was leaving, but they          03:15:27

16      did not have any reaction to that.                                03:15:30

17           Q.     And is the only reason that you left the fact         03:15:36

18      that a Samsung person questioned whether you were of              03:15:38

19      high enough rank to attend this meeting approximate?              03:15:40

20                  MR. CUNNINGHAM:     Objection.                        03:16:02

21                  THE WITNESS:     Yes.                                 03:16:04

22                  MR. YOHAI:     Before you go on to another            03:16:12

23      document, maybe just give him five minutes?                       03:16:13

24                  MR. ROSS:    Did I get an answer?                     03:16:17

25                  MR. YOHAI:     He said yes -- he said yes.            03:16:19


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1                     MR. ROSS:     Do you need a break?                    03:16:21

2                     THE WITNESS:     Yes, I'd like a break.               03:16:23

3                     THE VIDEOGRAPHER:     Going off the record.     The   03:16:25

4       time is 3:16.                                                       03:16:26

5                     (Recess taken.)                                       03:24:57

6                     THE VIDEOGRAPHER:     Back on the record.     The     03:24:57

7       time is 3:25.         Please continue.                              03:24:58

8                                       - - -                               03:25:00

9                             (Whereupon the document was marked,           03:25:00

10                    for identification purposes, as                       03:25:00

11                    Exhibit 2603 and Exhibit 2603-E.)                     03:25:00

12                                      - - -                               11:15:21

13      BY MR. ROSS:                                                        03:25:00

14           Q.       Mr. Chang, we're back on the record after a           03:25:00

15      break.      Are you ready to continue?                              03:25:03

16           A.       Okay.                                                 03:25:06

17           Q.       Placed in front of you what has been marked as        03:25:08

18      Exhibit 2603 and the translation 2603-E.           It is Bates      03:25:12

19      stamped CHU 00028497, and it's minutes of a meeting with            03:25:15

20      Chunghwa and Matsushita Taiwan Taipei dated 9/12/97.                03:25:21

21                    Do you see that, sir?                                 03:25:30

22           A.       Yes, I see it.                                        03:26:10

23           Q.       And have you had a chance to look it over to          03:26:10

24      your satisfaction?                                                  03:26:12

25           A.       Please allow me a little bit more time to look        03:26:19


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1       at it.                                                       03:26:21

2            Q.     Please do.                                       03:26:21

3            A.     Okay.                                            03:27:13

4            Q.     Sir, did you attend this meeting on              03:27:13

5       September 12th, 1997?                                        03:27:15

6            A.     I don't quite recall.   I don't recall.          03:27:25

7            Q.     Is your name listed there under the Matsushita   03:27:25

8       customer contacts?                                           03:27:30

9            A.     Yes.                                             03:27:40

10           Q.     Is that Mr. Hsu's name next to yours?            03:27:40

11           A.     Yes.                                             03:27:43

12           Q.     I would note that the translation translates     03:27:47

13      it differently than it has been in other -- this is just     03:27:49

14      for the record, sir -- than in other documents, but that     03:27:57

15      the witness was reading the Chinese when I asked that        03:27:58

16      question.                                                    03:28:02

17           A.     Yes.                                             03:28:13

18           Q.     Sir, if you would then focus on the first        03:28:19

19      number that is numbered one in both the Chinese and in       03:28:23

20      the translation that is labeled CRT prices.                  03:28:25

21                  Do you see the second -- third sentence, where   03:28:45

22      it says:    MEC believes that the 15-inch CDT market place   03:28:47

23      has fallen below USD 85, and indicates that because          03:28:51

24      currently there is not much quality difference, it does      03:28:58

25      not plan to keep the price differential that it should       03:29:04


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1       have with Taiwan/Korea.                                            03:29:06

2                   Do you see that, sir?                                  03:29:06

3            A.     I see it.                                              03:29:58

4            Q.     And do you recall discussing the question of           03:30:00

5       price differentials that Japanese makers like MEC were             03:30:04

6       supposed to have with Taiwan and Korea makers?                     03:30:12

7            A.     I don't recall.                                        03:30:36

8            Q.     Do you recall ever discussing those type of            03:30:36

9       price differentials with competitors, or you -- as                 03:30:38

10      opposed to this -- in this particular meeting?                     03:30:42

11           A.     I don't quite recall.                                  03:31:06

12           Q.     Okay.     Sir, you can put that document aside.        03:31:08

13                  I'm going to be handing two exhibits to you            03:31:15

14      next, and if you could keep both in front of you as we             03:31:17

15      discuss.    The first which will be marked as Exhibit 2604         03:31:25

16      is Bates stamped CHU 00028495.        It is minutes of a           03:31:30

17      10/31/97, bilateral meeting with Chunghwa.          And as usual   03:31:36

18      I'm handing you both the 2604 and its translation                  03:31:43

19      2604-E.                                                            03:31:47

20                  MS. ZAHID:     Oh, here, no that's --                  03:31:49

21                                    - - -                                03:32:04

22                          (Whereupon the document was marked,            03:32:04

23                  for identification purposes, as                        03:32:04

24                  Exhibit 2604 and Exhibit 2604-E.)                      03:32:04

25                                    - - -                                03:31:57


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1       BY MR. ROSS:                                                  03:31:58

2            Q.     And then I also am going to hand you              03:31:58

3       Exhibit 12 -- what's been previously marked as Exhibit        03:32:02

4       1237, which is minutes of a glass meeting -- 267 --           03:32:06

5       12 -- 1237 and 1237-E, excuse me, which is minutes of a       03:32:13

6       glass meeting that occurred four days before                  03:32:17

7       Exhibit 2604, the bilateral meeting.      And we'll be        03:32:25

8       concentrating on the bilateral meeting first and then I       03:32:28

9       want to compare it with the glass meeting.                    03:32:32

10                  And if it helps, we're going to focus on the      03:33:42

11      other document first, the bilateral meeting and then the      03:33:43

12      second one, but I wanted you to have them both in front       03:33:57

13      of you so when you're finished reviewing the first one,       03:33:58

14      let us know and we'll talk.                                   03:34:02

15           A.     I finished reading Exhibit 2604.                  03:35:40

16           Q.     Okay.   Let's start there.   If you look at the   03:35:43

17      customer names on 10/13/97, this meeting, is that             03:35:45

18      Mr. Hsu and yourself and a third person listed as             03:35:57

19      attending for your company?                                   03:36:02

20           A.     Yes.                                              03:36:21

21           Q.     There is a third person listed, a Bo-Cang Lee     03:36:23

22      after the words "LCD".     Do you know who Mr. Lee is?        03:36:30

23           A.     Yes, I do.                                        03:36:40

24           Q.     And what was his position at this time at your    03:36:40

25      company?                                                      03:36:45


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1               A.   I believe he had this same level of position    03:36:57

2       like I did.                                                  03:37:00

3               Q.   Okay.   But was he in a different section       03:37:02

4       responsible for LCDs?                                        03:37:04

5               A.   Yes, it's a different section, different        03:37:13

6       department.                                                  03:37:17

7               Q.   Okay.   Do you see under number one in the      03:37:23

8       original, it talks about MEC's overseas factories status     03:37:23

9       in the first section?                                        03:37:27

10              A.   I see it.                                       03:37:34

11              Q.   And the type of information that you are        03:37:34

12      providing to your competitor, Chunghwa, regarding            03:37:36

13      production is similar to the type of information we've       03:37:40

14      already seen in some of the other minutes, right, sir?       03:37:42

15                   MR. YOHAI:     Objection -- objection to the    03:38:04

16      form.                                                        03:38:04

17                   THE WITNESS:     I don't recall.                03:38:10

18      BY MR. ROSS:                                                 03:38:10

19              Q.   All right.     And if you look at number 2,     03:38:10

20      number 2, talks about MEC's 1997 third quarter Taiwan        03:38:12

21      maker delivery status and then in handwriting is sort of     03:38:17

22      a table of customers and size CRTs, do you see that?         03:38:21

23              A.   I see it.                                       03:38:51

24              Q.   Was Acer, the first line, was Acer a customer   03:38:57

25      of your company, sir?                                        03:39:00


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1            A.     Yes, same as what I had mentioned this            03:39:12

2       morning, which was API.                                       03:39:15

3            Q.     So Acer was API?                                  03:39:17

4            A.     Yes.                                              03:39:19

5            Q.     Okay.    And what about the last line, Compal,    03:39:21

6       is that also a customer of yours?                             03:39:25

7            A.     Yes.    It's also our customer.                   03:39:32

8            Q.     Okay.    If you could turn to paragraph 3 which   03:39:36

9       is on the second page of the original in Chinese and in       03:39:38

10      English it says the heading CT -- CDT Price.                  03:39:45

11           A.     I see it.                                         03:40:08

12           Q.     And do you see here in Chunghwa minutes start     03:40:08

13      out that MEC claimed that currently its supply prices         03:40:10

14      are -- and then it gives prices for 14-, 15- and              03:40:13

15      17-inch.    Do you see that, sir?                             03:40:17

16           A.     Yes, I see it.                                    03:40:42

17           Q.     And then it says CPT, Chunghwa, indicated that    03:40:42

18      currently the main 14-inch suppliers, CPT/SDD/PH,             03:40:45

19      already have a common understanding not to keep               03:40:51

20      competing viciously, guard the bottom line of US dollar       03:40:57

21      58, please pass on to BMCC for coordination.                  03:41:00

22                  Do you see that, sir?                             03:41:06

23                  MR. YOHAI:    Objection to the extent that        03:41:10

24      counsel is just reading a lot of portions of the              03:41:10

25      document and just asking the witness if he sees it.           03:41:13


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1                   THE WITNESS:     Yes, I see it.                     03:42:04

2       BY MR. ROSS:                                                    03:42:04

3            Q.     Does that refresh your recollection, sir, that      03:42:04

4       at this meeting, Chunghwa indicated to you that three of        03:42:06

5       your competitors, Chunghwa, Samsung Displays, and               03:42:08

6       Philips had achieved a common understanding not to              03:42:12

7       compete viciously and to guard a bottom line price of           03:42:15

8       $58 US?                                                         03:42:19

9            A.     I don't recall.                                     03:42:47

10           Q.     And do you recall further that they then asked      03:42:47

11      you to pass on to BMCC Beijing MEC for coordination, do         03:42:49

12      you recall that, sir?                                           03:43:00

13           A.     I don't recall.                                     03:43:17

14           Q.     Let me see if I can refresh your recollection.      03:43:17

15      If you can take a look at Exhibit 1237, now that's the          03:43:19

16      second one, the one above right there, which is Meeting         03:43:23

17      Minutes of a Glass Meeting conducted four days before on        03:43:27

18      October 9th, 1997.       I want -- regard -- with Samsung       03:43:32

19      Display, Philips and Chunghwa.                                  03:43:40

20                  I want to direct your attention first to the        03:43:43

21      attendees for Chunghwa, and do you see that Mr. Michael         03:43:49

22      Du is one of the attendees for Chunghwa?                        03:44:00

23                  MR. YOHAI:     Objection to the extent counsel is   03:44:04

24      testifying and to no foundation with this witness.              03:44:04

25                  THE WITNESS:     I do see the name of Michael Du    03:45:10


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1       here.                                                       03:45:12

2       BY MR. ROSS:                                                03:45:12

3               Q.   And do you see looking back at Exhibit 2604    03:45:12

4       that Mr. Du also attended the bilateral meeting with        03:45:15

5       yourself?                                                   03:45:19

6                    MR. YOHAI:     Same objection.                 03:45:30

7                    THE WITNESS:     Yes, I see it.                03:45:36

8       BY MR. ROSS:                                                03:45:36

9               Q.   Now, turning to paragraph 2 of the group       03:45:36

10      meeting minutes, Exhibit 1237, do you see that there is     03:45:42

11      generally a discussion of what pricing should be for        03:45:51

12      14-inch tubes?                                              03:45:58

13                   MR. YOHAI:     Objection to the form.   Same   03:46:12

14      objections as before.                                       03:46:15

15                   THE WITNESS:     Are you referring to this     03:46:19

16      paragraph on page 2, or the paragraph on page 1?            03:46:19

17      BY MR. ROSS:                                                03:46:23

18              Q.   I'm referring to in -- in the group meeting    03:46:25

19      minutes, Exhibit 1237, paragraph 2 on the second page.      03:46:27

20      After -- after B, after Market Condition Price Review.      03:46:45

21      I see the problem, there are two 2s.                        03:46:49

22              A.   Yes.                                           03:46:51

23              Q.   And can you confirm for me that that is a      03:46:57

24      discussion of what the pricing for 14-inch tubes should     03:47:00

25      be?                                                         03:47:02


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1                      MR. YOHAI:     Objection to the form.   Objection   03:47:10

2       to no foundation that the witness was at this meeting,             03:47:13

3       objection.                                                         03:47:17

4                      THE WITNESS:     Would you ask the question         03:47:27

5       again?       I don't understand what did you mean by asking        03:47:27

6       regarding this paragraph.                                          03:47:32

7       BY MR. ROSS:                                                       03:47:32

8               Q.     Can you confirm for me that this paragraph is       03:47:34

9       generally a discussion of what pricing should be for               03:47:36

10      14-inch tubes?                                                     03:47:38

11                     MR. YOHAI:     Objection to the form.   Objection   03:47:49

12      to no foundation with the witness being at the meeting.            03:47:51

13                     THE WITNESS:     I do see that they had a           03:48:51

14      discussion but I do not understand what is the meaning             03:48:51

15      of the whole discussion mentioned here.                            03:49:00

16      BY MR. ROSS:                                                       03:49:02

17              Q.     Let me direct you to a specific sentence.      I    03:49:02

18      believe it's on the third page of the Chinese original             03:49:04

19      and says, "As for major customers such as Acer/Lite-on",           03:49:08

20      those words in English, "please insist on guarding the             03:49:13

21      prices, bottom price is currently at USD 58.00/pc."                03:49:17

22                     Do you see that?                                    03:49:23

23                     MR. YOHAI:     Objection -- objection to the        03:49:51

24      form.                                                              03:49:57

25                     MR. ROSS:    It's about six lines down from the     03:49:57


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1       top of the page.                                                  03:49:58

2                   MR. YOHAI:     Objection.   Objection to the          03:50:00

3       extent you're just asking the witness to read this                03:50:04

4       document.     He wasn't at this meeting.      I don't know what   03:50:06

5       you want him to do with this.                                     03:50:08

6                   MR. ROSS:    I have to get him where I need him       03:50:10

7       to be and then I'm going to ask him the question.                 03:50:12

8                   MR. YOHAI:     No foundation.    If document speaks   03:50:13

9       for itself.                                                       03:50:19

10                  THE WITNESS:     What do you want me to recall?       03:50:19

11      I don't understand.                                               03:50:21

12      BY MR. ROSS:                                                      03:50:23

13           Q.     First I want to just get you to the right             03:50:23

14      sentence.     Are you there, sir?                                 03:50:25

15           A.     The handwriting is very messy, that's why I           03:51:02

16      cannot fully understand it.                                       03:51:06

17           Q.     Can you find around six lines down the                03:51:10

18      sentence that says, "As for major customers such as               03:51:12

19      Acer/Lite-on, please insist on guarding the prices,               03:51:15

20      bottom price is currently at USD 58."                             03:51:17

21                  MR. YOHAI:     Same objection.                        03:51:36

22      BY MR. ROSS:                                                      03:51:36

23           Q.     Okay.   Now, comparing that at the meeting four       03:51:38

24      days before the meeting you attended to paragraph 3               03:51:40

25      which we just looked at, can you confirm for me, and --           03:51:42


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1       well, strike that.                                           03:51:45

2                    Does this refresh your recollection that        03:51:47

3       Chunghwa at the meeting you attended was telling you         03:51:51

4       that these suppliers had just reached an un- -- a common     03:52:00

5       understanding regarding the bottom line price of $58         03:52:04

6       for -- for 14-inch tubes?                                    03:52:06

7                    MR. YOHAI:     Same objection.                  03:52:40

8                    THE WITNESS:     I don't recall because this    03:52:47

9       document does not help me to refresh my merry -- my          03:52:47

10      memory because these two are different things.               03:52:57

11      BY MR. ROSS:                                                 03:52:58

12           Q.      Do you generally recall, sir, that at your      03:52:58

13      one-on-one meetings with Chunghwa from time to time they     03:53:00

14      would tell you about the results of their meetings with      03:53:04

15      other competitors?                                           03:53:08

16           A.      I don't recall.                                 03:53:36

17           Q.      Do you generally recall, like in paragraph 3    03:53:36

18      of Exhibit 2604, that Chunghwa would ask you to follow       03:53:38

19      that common understanding that had been reached in the       03:53:43

20      glass meetings?                                              03:53:47

21                   MR. YOHAI:     Objection to the term "glass     03:53:49

22      meetings".                                                   03:53:51

23                   THE WITNESS:     I don't recall, neither do I   03:54:19

24      know about glass meeting, what does it mean by glass         03:54:23

25      meeting.                                                     03:54:28


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1       BY MR. ROSS:                                                     03:54:28

2               Q.   If I changed the question to a group meeting,       03:54:28

3       do you generally recall that from time to time in your           03:54:32

4       meetings with Chunghwa they would ask you to follow the          03:54:34

5       agreements reached on pricing at group meetings with             03:54:38

6       your other competitors?                                          03:54:42

7                    MR. YOHAI:     Same objection.                      03:54:45

8       BY MR. ROSS:                                                     03:54:45

9               Q.   Do you recall that?                                 03:54:45

10                   MR. YOHAI:     Same objection.                      03:54:47

11                   THE WITNESS:     Yes.                               03:55:25

12                   MR. ROSS:     Okay.     You can put both of those   03:55:27

13      away.                                                            03:55:28

14                   MR. YOHAI:     Thank you.                           03:55:34

15      BY MR. ROSS:                                                     03:55:34

16              Q.   While you're looking at it, sir, for the            03:55:34

17      record, the next exhibit has been previously marked as           03:55:36

18      Exhibit 1128.        It's Bates stamped CHU 00028490 and it is   03:55:40

19      minutes of a November 7th, 1997, meeting between                 03:55:47

20      Taipei Matsushita and Chunghwa.                                  03:55:57

21                   Sir, if you'd take a moment to review as much       03:56:25

22      of that document, the original, as you would like, and           03:56:28

23      then I have some questions for you.                              03:56:30

24              A.   Okay.                                               03:59:51

25              Q.   If you look at the top on the second line of        03:59:51


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1       Exhibit 1128, do you see that you and Mr. Hsu are listed      03:59:58

2       as attending for Taipei Matsushita?                           04:00:06

3               A.   I see it.                                        04:00:23

4               Q.   And do you see on the fourth line that the       04:00:23

5       contents of this report are described as CDT price            04:00:25

6       negotiation?                                                  04:00:30

7               A.   Referring to B.                                  04:00:57

8               Q.   Well, at the fourth line it just says CDT        04:01:00

9       price negotiation; correct?                                   04:01:04

10              A.   Not a negotiation, but a discussion.             04:01:15

11              Q.   Is that your -- is that your translation of      04:01:17

12      the word, you would translate it differently than what I      04:01:21

13      said?                                                         04:01:23

14              A.   Because of the interpreter's interpretation of   04:01:34

15      "negotiation" which is different than what it says here.      04:01:38

16              Q.   Hold on.                                         04:01:42

17              A.   Because you said it's negotiation and it's       04:01:42

18      different than "discussion".                                  04:01:45

19              Q.   Oh.     Let me make sure I understand your       04:01:47

20      testimony.     Reading the Chinese, the fourth line, please   04:01:49

21      tell us how you would -- what that -- how you would           04:01:57

22      translate that line.                                          04:02:00

23              A.   I think if you use the word "discussion", it     04:02:25

24      would be closer to the meaning.                               04:02:27

25              Q.   Okay.                                            04:02:28


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1             A.    It's closer.                                      04:02:28

2             Q.    If you then turn to B, which I think you had      04:02:36

3       started to, it says the same thing; correct?                  04:02:38

4             A.    I believe so.                                     04:02:57

5             Q.    And --                                            04:03:00

6             A.    It's kind of messy in the handwriting.            04:03:00

7             Q.    Okay.    It's that section that I want to focus   04:03:04

8       on.   And if you would, turn to page to the second page       04:03:06

9       of the original, and do you see about two-thirds of the       04:03:08

10      way down, do you see sort of a mini table which has B&D       04:03:15

11      Tube off to the left and 14- and 15-inch at the top and       04:03:21

12      shows some price differentials.                               04:03:25

13                  Do you see where I'm talking about?               04:03:27

14            A.    Yes, I see that.                                  04:03:57

15            Q.    And do you see that right before that             04:03:58

16      mini-table, it says that Chunghwa is explaining the           04:04:00

17      current practice with regard to price differentials of        04:04:02

18      various CDT tubes?                                            04:04:06

19            A.    Yes, I see it.                                    04:04:28

20            Q.    Let me ask you sort of separate from the          04:04:28

21      document for a second, was it the general practice of         04:04:30

22      MEC to instruct you guys with regard to pricing that          04:04:32

23      there should be sort of a constant differential between       04:04:34

24      pricing of different sized tubes?                             04:04:38

25                  MR. CUNNINGHAM:    Object to form.                04:05:13


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1                   THE WITNESS:     I'm not very clear about the       04:05:23

2       question.    Would you please rephrase the question?            04:05:25

3       BY MR. ROSS:                                                    04:05:27

4            Q.     Sure.    Was there a general policy in terms of     04:05:27

5       pricing your CRT products, to maintain a specific               04:05:30

6       differential between the si- -- the price for different         04:05:36

7       sizes of CRTs, for example, that 15-inch CRTs would             04:05:40

8       always be X number of dollars greater than 14-inch CRTs,        04:05:45

9       17-inch CRTs would be X number of dollars greater than          04:05:49

10      the 15-inch; 21-inch CRTs would be some X or Y number of        04:05:51

11      dollars greater than the 15-inch, and so on?                    04:06:00

12           A.     I don't recall having this set of price             04:07:13

13      differentials.      It depends on the market size demanded.     04:07:13

14      There is not a set of price differential such as between        04:07:21

15      14 to 15, and 15 to 17, and so forth.                           04:07:27

16           Q.     Okay.    In this case, in this -- in these          04:07:30

17      minutes, Chunghwa is explaining their current practice          04:07:34

18      that they have with their competitors was to set these          04:07:38

19      price differentials and it says asked MEC to please             04:07:42

20      cooperate and support.                                          04:07:47

21                  Do you recall that happening, that they asked       04:07:49

22      for these differentials between 14- and 15-inch that            04:07:51

23      they set forth here in the memo, they asked MEC to              04:08:00

24      please cooperate and support those differentials?               04:08:04

25                  MR. YOHAI:     Objection to the extent counsel is   04:08:08


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1       testifying.    Objection to the form.     You can answer.      04:08:10

2                   THE WITNESS:     I don't recall.                   04:09:08

3       BY MR. ROSS:                                                   04:09:08

4            Q.     The minutes go on to note that your boss,          04:09:10

5       Mr. Hsu, made some claims regarding 14 and 15 inches,          04:09:12

6       and then says if there was a chance to reduce the loss         04:09:15

7       MEC would gladly FLW, in English letters.                      04:09:21

8                   Do you recall Mr. Hsu making those comments?       04:09:27

9            A.     I don't recall.     I don't recall about that.     04:10:06

10           Q.     Do you generally recall at meetings with your      04:10:06

11      competitor, Chunghwa, that from time to time Matsushita        04:10:10

12      would agree to follow agreements that Chunghwa hold told       04:10:13

13      you had been made with other competitors in the CRT            04:10:19

14      business?                                                      04:10:23

15                  MR. YOHAI:     Objection to the form.              04:10:23

16                  THE WITNESS:     I don't recall having done so     04:11:04

17      because we did not have the authority to pricing.              04:11:06

18      BY MR. ROSS:                                                   04:11:10

19           Q.     Can you explain then, sir, in the documents        04:11:12

20      that we've seen so far the indications that Chunghwa           04:11:15

21      puts down where it indicates that Matsushita has agreed        04:11:19

22      to follow certain pricing, or agreed on bottom prices?         04:11:25

23                  MR. YOHAI:     Objection, counsel's testimony,     04:11:28

24      objection, argumentative.                                      04:11:30

25                  THE WITNESS:     I don't see it on this document   04:12:06


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1       that we have agreed.                                           04:12:08

2       BY MR. ROSS:                                                   04:12:12

3            Q.     Sir, do you see that -- the sentence, "So if       04:12:12

4       there was a chance to reduce the loss, MEC would gladly        04:12:15

5       FLW", follow?                                                  04:12:17

6            A.     What I read, this is a hypothetical tone.          04:12:42

7       This is a hap- -- hypothetical way of describing.         It   04:12:57

8       says "if there is a chance".                                   04:13:02

9            Q.     Do you recall if, in fact, that hypothetical       04:13:08

10      occurred and you -- MEC gladly followed the price              04:13:10

11      differentials that Chunghwa put forth in this document?        04:13:15

12           A.     I don't recall.                                    04:13:40

13                  MR. ROSS:    Sir, I think we're in agreement       04:13:40

14      that we'll stop for the day and come back tomorrow.            04:13:42

15                  THE WITNESS:    All right.                         04:13:45

16                  THE VIDEOGRAPHER:    This concludes today's        04:13:45

17      deposition of Yu-Hao Zhang, a/k/a Allen Chang.      The time   04:13:45

18      is 4:14 p.m.    We're off the record.                          04:13:51

19                        (Whereupon, the deposition was

20            adjourned at 4:14 p.m.)

21                                  --oOo--

22

23

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1
2              I, YU-HAO ZHANG, declare under penalty
3       of perjury under the laws of the State of California
4       that the foregoing is true and correct.
5                    Executed on _________________________,
6       2014, at _____________________, ___________________.
7
8
9
10                   ____________________________
                                YU-HAO ZHANG
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1                          CERTIFICATE OF REPORTER

2

3                   I, KENNETH T. BRILL, a Certified Shorthand

4       Reporter, hereby certify that the witness in the

5       foregoing deposition was by me duly sworn to tell the

6       truth, the whole truth, and nothing but the truth in the

7       within-entitled cause;

8                   That said deposition was taken down in

9       shorthand by me, a disinterested person, at the time and

10      place therein stated, and that the testimony of the said

11      witness was thereafter reduced to typewriting, by

12      computer, under my direction and supervision;

13                  I further certify that I am not of counsel or

14      attorney for either or any of the parties to the said

15      deposition, nor in any way interested in the event of

16      this cause, and that I am not related to any of the

17      parties hereto.

18      Dated: March 25, 2014.

19

20

21

22

23

                              KENNETH T. BRILL

24                            CSR#12797

25

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1                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA
2                      SAN FRANCISCO DIVISION
3       -----------------------------
4       IN RE: CATHODE RAY TUBE (CRT))
        ANTITRUST LITIGATION          )
5       _____________________________)
        This Document Relates to:     ) No. 07-cv-05944SC
6       ...(continuing caption page 2) MDL No. 1917
        _____________________________)
7
8            SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  CITY AND COUNTY OF SAN FRANCISCO
9       _____________________________
        STATE OF CALIFORNIA, et al.,)
10                     Plaintiffs, )No. CGC-11-515784
             v.                     )
11      SAMSUNG SDI, INC., CO., LTD,)
        et al.,                     )
12                     Defendants. )
        ____________________________)
13
14
15
16                       HIGHLY CONFIDENTIAL
17             DEPOSITION OF HITACHI DISPLAYS, LTD.
18                          TORU IWASAWA
19                    San Francisco, California
20                     Wednesday, July 11, 2012
21                             Volume I
22      Reported by:
        ASHLEY SOEVYN
23      CSR No. 12019
24
25

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1                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA
2                      SAN FRANCISCO DIVISION
        _____________________________
3       IN RE: CATHODE RAY TUBE (CRT))
        ANTITRUST LITIGATION          )
4       _____________________________)
        This Document Relates to:     )No. 07-cv-05944SC
5       Direct Purchaser Plaintiff    )MDL No. 1917
        Class Actions;                )
6
        Indirect Purchaser Plaintiff )
7       Class Actions;               )
        State of Florida, Office of )
8       the Attorney General,        )
        Department of Legal Affairs )
9       v. LG Electronics, Inc., et )
        al., No. 2011-CV-6205 SC     )
10      _____________________________)
11              SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                CITY AND COUNTY OF SAN FRANCISCO
13      STATE OF CALIFORNIA, et al., )
14                     Plaintiffs,   )
15                v.                 )No. CGC-11-515784
        SAMSUNG SDI, INC., CO., LTD, )
16      et al.,                      )
17                     Defendants.   )
18      _____________________________)
19           Highly confidential deposition of Hitachi, Ltd.
20      through Toru Iwasawa, Volume I, taken on behalf of
21      Indirect Purchaser Plaintiffs, at One Market Street,
22      Spear Street Tower, 28th Floor, San Francisco,
23      California, commencing at 9:15 a.m. and ending at
24      11:19 a.m., Wednesday, July 11, 2012, before Ashley
25      Soevyn, CSR 12019.

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1                                     EXHIBITS
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                                                                     Page 8

1       Wednesday, July 11, 2012; San Francisco, California           08:11:59

2                               9:13 a.m.                             08:11:59

3                               ---O0O---                             08:11:59

4                             Sadaaki Matsutani,                      08:11:59

5       the interpreter, having been administerd an oath by           08:11:59

6       the Court Reporter, interpreted from English to               08:11:59

7       Japanese and from Japanese to English, as follows:            08:11:59

8                                                                     08:11:59

9                             Toru Iwasawa,                           08:11:59

10      the witness, having been administered an oath by the          08:11:59

11      Court Reporter, testified as follows:                         08:11:59

12                                                                    08:11:59

13                             EXAMINATION                            08:11:59

14      BY MS. ANDERSON:                                              08:12:01

15           Q.     Could you begin by stating your full name         09:13:10

16      for the record?                                               09:13:13

17           A.     Yes, my name is Toru Iwasawa.                     09:13:14

18           Q.     My name is Jennie Anderson.     I represent       09:13:23

19      the indirect purchaser plaintiffs in the case.        I'll    09:13:25

20      be asking you a number of questions today.        First, a    09:13:30

21      matter of housekeeping, the plaintiffs are reserving          09:13:33

22      portions of their allotted time for future topics.            09:13:39

23      To the degree there are exhibits that are native              09:13:42

24      format exhibits, those have been modified per the             09:13:47

25      ESI order to contain confidential designations and            09:13:50

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                                                                        Page 9

1       Bates numbers for printing purposes only.                        09:13:55

2                   Have you had your deposition taken                   09:14:33

3       before?                                                          09:14:34

4            A.     No.                                                  09:14:38

5            Q.     I'm going to go through some of the ground           09:14:39

6       rules for taking a deposition.        Your attorney may          09:14:41

7       have gone through them before, but these are just as             09:14:44

8       a reminder.        First, you do understand that the oath        09:14:46

9       you just took is the same oath you would take to --              09:14:49

10      if you were testifying in a court law?                           09:14:53

11           A.     Yes.                                                 09:15:20

12           Q.     Throughout the course of the day, your               09:15:22

13      attorney may make objections.        Unless she instructs        09:15:25

14      you specifically not to answer, I'm still entitled               09:15:27

15      to a response after those objections are placed on               09:15:30

16      the record.        Do you understand that?                       09:15:32

17           A.     Yes.                                                 09:15:59

18           Q.     Today the court reporter is going to be              09:16:01

19      taking down everything that we say, so it's                      09:16:04

20      important that all of your responses be verbal.           She    09:16:06

21      can't interpret nods or shakes of the head.        Do you        09:16:09

22      understand that?                                                 09:16:14

23           A.     Yes.                                                 09:16:32

24           Q.     And is there any reason why you are unable           09:16:34

25      to give full and accurate testimony today?                       09:16:41

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1            A.     No.                                                   09:16:47

2            Q.     Are you taking any kind of medication or              09:16:48

3       suffer from any medical condition that would prevent              09:16:51

4       you from giving full and complete testimony today?                09:16:54

5            A.     No.                                                   09:17:06

6            Q.     I'll try to be as clear as possible.        If at     09:17:08

7       any time you don't understand my question, please                 09:17:11

8       let me know and I'll try to rephrase it.        If you            09:17:14

9       answer my question, though, I will assume that you                09:17:16

10      understood the question; is that fair?                            09:17:19

11           A.     That's fine.                                          09:17:48

12           Q.     And today I'm entitled to your best                   09:17:49

13      testimony.        So while I'm not asking you to guess, I         09:17:51

14      am entitled to your best estimates to the degree you              09:17:54

15      are able to give such estimates.        Do you understand         09:18:00

16      that?                                                             09:18:05

17           A.     Yes.                                                  09:18:27

18           Q.     And we'll be taking breaks throughout the             09:18:29

19      course of the day.        If you feel that you need a             09:18:30

20      break at any time, just let me know.        I only ask if         09:18:33

21      there is a question pending, that the question be                 09:18:36

22      answered and then we can go off and take a break.                 09:18:39

23      Is that okay?                                                     09:18:42

24           A.     That's fine.                                          09:19:01

25           Q.     Okay.     For the purposes of this deposition,        09:19:02

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1       the time period that we'll be talking about will be           09:19:05

2       1995 to 2005 unless I specify otherwise.       Does that      09:19:10

3       sound okay?                                                   09:19:16

4             A.     Yes.                                             09:19:29

5             Q.     I'm going to spend just a few minutes            09:19:31

6       getting some very general background information              09:19:36

7       from you.      Could you describe your employment             09:19:39

8       history at Hitachi Limited?                                   09:19:41

9             A.     Yes.   I joined stat sales Corporation in        09:19:56

10      1984.      In 1995, stat sales Corporation merged with        09:20:35

11      Hitachi Limited, so I became an employee of statute           09:20:40

12      limited.      Currently, I work for statute consumer          09:20:47

13      electronics, which is 100 percent subsidiary of               09:20:52

14      Hitachi Limited that's spun off in 19-" --                    09:20:55

15      Interpreter correction, "2009."                               09:21:01

16            Q.     And during your time at Hitachi Limited in       09:21:05

17      the 1995 to 2005 time period, what were your                  09:21:11

18      duties?                                                       09:21:17

19            A.     I was with the sales department of               09:21:39

20      televisions for Japanese market, more specifically            09:21:48

21      at the product planning department.                           09:21:57

22            Q.     And what did product planning department         09:21:59

23      do?                                                           09:22:01

24            A.     At the product planning department I was         09:22:31

25      with for the Japanese domestic sales, the major               09:22:34

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                                                                    Page 12

1       responsibilities included making plans for new                09:22:41

2       products, look at the market trends, make                     09:22:46

3       projections for the products, and along with                  09:22:52

4       marketing and engineering design people, prepare              09:22:59

5       proposals for pricing.                                        09:23:05

6            Q.      And did any of your duties involve sales         09:23:08

7       for products in the United States?                            09:23:14

8            A.      No.                                              09:23:23

9            Q.      And as part of your duties at Hitachi            09:23:25

10      Limited, were you familiar with the CRT television            09:23:35

11      manufacturing process?                                        09:23:40

12           A.      Not in detail.                                   09:23:53

13           Q.      And are you familiar with the various            09:23:58

14      components that are used to manufacture CRT                   09:24:03

15      televisions?                                                  09:24:12

16           A.      Not in detail.                                   09:24:19

17           Q.      And is it your understanding that you are        09:24:32

18      here today to testify on behalf of Hitachi                    09:24:34

19      Limited?                                                      09:24:39

20           A.      Yes.                                             09:24:48

21                   MS. ANDERSON:    I'm going to ask the court      09:24:51

22      reporter to mark as Exhibit 226 the "Amended Notice           09:24:52

23      of Deposition Pursuant to Rule 30 (b)(6)."                    09:24:57

24                (Exhibit 226 marked for identification.)            09:25:51

25      BY MS. ANDERSON:                                              09:25:51

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1            Q.     Have you seen this document before?               09:25:51

2            A.     Yes.                                              09:25:56

3            Q.     Okay.   And is it your understanding that         09:25:57

4       you are here to testify about certain topics in this          09:25:58

5       notice?                                                       09:26:01

6            A.     Yes.                                              09:26:10

7            Q.     Okay.   Could you please turn to page 5 of        09:26:11

8       the notice that is entitled Exhibit A?      The next few      09:26:18

9       pages are a list of various topics.      Could you            09:26:35

10      please identify which of these topics you are                 09:26:39

11      designated to testify on behalf of Hitachi Limited            09:26:45

12      regarding?                                                    09:27:12

13           A.     Since I don't understand the English, I           09:27:14

14      cannot tell you as I sit here today which topics              09:27:18

15      they are.                                                     09:27:21

16           Q.     Okay.   Well, we can go through the ones I        09:27:22

17      understand from your counsel that you are being               09:27:24

18      designated on.      I will just confirm that you are          09:27:27

19      prepared to testify about those issues.      Okay?            09:27:30

20           A.     Fine.                                             09:27:45

21           Q.     Okay, the -- Topic No. 1 is your "corporate       09:27:46

22      structure during the relevant period, including the           09:27:51

23      identification of departments within various Hitachi          09:27:51

24      defendants and their functions, policies, and                 09:27:55

25      systems.     The identification of any individuals that       09:27:57

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                                                                    Page 14

1       had managerial responsibility for manufacture,                09:28:00

2       purchase, sales, marketing, pricing, or distribution          09:28:04

3       of CRT or CRT-finished products and any ownership,            09:28:05

4       managerial overlap, if any, among the Hitachi                 09:28:11

5       defendants and their affiliates."                             09:28:14

6                   MR. ROGER:   As a heads up, I now understand      09:28:48

7       that it's Mr. Morishima testifying tomorrow who will          09:28:51

8       be able to testify to the topics 1 through 5                  09:28:55

9       relating to corporate structure and operation.        So      09:29:00

10      you're welcome to ask him, I just want to let you             09:29:03

11      know that that's what --                                      09:29:08

12                  MS. ANDERSON:   Can we go off the record for      09:29:08

13      a second?                                                     09:29:10

14                  THE REPORTER:   Sure.                             09:30:26

15                     (Off-the-record discussion.)                   09:30:26

16                  MR. ROGER:   So I actually want to clarify        09:33:14

17      something that I said about topics 1 through 5.               09:33:17

18      Mr. Morishima will be testifying about the corporate          09:33:21

19      structure of the various Hitachi defendants tomorrow          09:33:25

20      to the extent that's included in No. 1.                       09:33:29

21                  To the extent we're talking about topic No.       09:33:32

22      2, he'll be in a position to talk about televisions           09:33:35

23      in Japan.     Likewise, 3: televisions in Japan, 4:           09:33:41

24      televisions in Japan, and 5: televisions in Japan.            09:33:47

25      I don't want to overstep my bounds in terms of the            09:33:57

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1       sales of televisions in US.      If you want me to state         09:34:01

2       something about what I know, that's fine.       If you           09:34:05

3       just want to ask him, that's fine, too.                          09:34:06

4                   MS. ANDERSON:   Well, we can just -- thank           09:34:09

5       you for the clarification on topics 1 through 5          And     09:34:11

6       then if you -- on page 8 of the notice, it's my                  09:34:15

7       understanding that the witness will be testifying                09:34:26

8       about Nos. 19 through 23.                                        09:34:29

9                   Interpreter, if you could go through those           09:34:36

10      with him and starting with 19.                                   09:34:39

11                  MR. ROGER:   While she's doing that so he's          09:34:52

12      not understanding what I'm saying, again, that's                 09:34:53

13      going to be limited to televisions in Japan.       Again,        09:34:57

14      there is no Hitachi televisions sold in the United               09:35:00

15      States.                                                          09:37:44

16                  THE INTERPRETER:   19 through 20?                    09:37:45

17                  MS. ANDERSON:   Through 23.                          09:37:49

18           Q.     Is it your understanding that you're here            09:38:15

19      to testify about the categories that you just                    09:38:17

20      reviewed?                                                        09:38:19

21           A.     Yes.                                                 09:38:28

22           Q.     And then on the following page, No. 25,              09:38:29

23      "your knowledge, use, and tracking of retail prices              09:38:33

24      or street prices for CRT finished products," is it               09:38:36

25      your understanding that you're here to testify on                09:38:52

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1       behalf of Hitachi Limited with respect to No. 25?             09:38:54

2            A.     Yes.                                              09:39:04

3            Q.     And finally No. 32, "Your sale of CRT             09:39:05

4       products in or into the United States and the                 09:39:11

5       methods by which CRT products are exported to the             09:39:13

6       United States"?                                               09:39:16

7            A.     Yes.                                              09:39:28

8            Q.     Are you prepared to testify and behalf of         09:39:29

9       Hitachi Limited with respect to that category?                09:39:34

10           A.     Yes.                                              09:39:37

11                  MS. ANDERSON:   And then, Counsel, Ken, you       09:39:37

12      had made a proffer with respect to the narrowing of           09:39:44

13      those topics for which he's been presented.       If you      09:39:49

14      could just state that again and whether that applies          09:39:57

15      to all of the topics that we just reviewed?                   09:39:58

16                  MR. ROGER:   Yeah, and again, yes, I guess        09:40:02

17      more precisely than that I was stating the narrowing          09:40:03

18      of the topics -- the topic as they're stated assume           09:40:05

19      a fact, for example, that there was Hitachi Limited           09:40:11

20      sales of CRT products to wit, televisions into the            09:40:16

21      United States during the period that you set out is           09:40:20

22      relevant to this deposition.      And that is not the         09:40:24

23      case.                                                         09:40:26

24                  So he will be testifying about televisions        09:40:27

25      sold by Hitachi, but there were no televisions sold           09:40:29

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1       by Hitachi in the United States during the period.              09:40:34

2                   MS. ANDERSON:   Can we go off the record?           09:40:45

3                   THE REPORTER:   Sure.                               09:52:47

4                             (Recess taken.)                           09:52:47

5       BY MS. ANDERSON:                                                09:52:47

6            Q.     Okay.   Just to make sure that our                  09:52:47

7       terminology is consistent, for the purposes of                  09:52:52

8       today's deposition when I refer to a CRT TV or a TV,            09:52:55

9       I'm referencing a direct view CRT-based television              09:53:01

10      as distinct from a flat panel or projection CRT TV.             09:53:09

11      Do you understand that?                                         09:53:19

12           A.     I'm not quite sure what you mean when you           09:53:46

13      say "direct view."                                              09:53:48

14                  MR. ROGER:   Okay,    one matter of                 09:53:50

15      clarification, I believe Jennie said as                         09:53:51

16      distinguished from flat panel or PRT TV.          Did you       09:53:52

17      say PRT?                                                        09:53:52

18                  MS. ANDERSON:   Projection.                         09:54:01

19                  MR. ROGER:   Right.     I just noted the record     09:54:05

20      has CRT, I just want to make -- (Cross-talking.)                09:54:05

21                  THE REPORTER:   Okay.                               09:54:09

22                  MS. ANDERSON:   Yeah, right, a projection           09:54:09

23      CRT television is what I said.                                  09:54:09

24                  MR. ROGER:   Projection, right?                     09:54:12

25                  MS. ANDERSON:   Yeah.                               09:54:16

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1       BY MS. ANDERSON:                                              09:54:16

2            Q.     Okay.   So what is your understanding of the      09:54:16

3       term "CRT televisions"?                                       09:54:21

4            A.     That's cathode ray tube televisions.              09:54:31

5            Q.     Okay.   So today, when I refer to -- when         09:54:38

6       we're talking about televisions or CRT TVs, I'm               09:54:42

7       talking about televisions that are equipped with              09:54:45

8       CRTs, and in this case, CPT, and I will be excluding          09:54:49

9       any reference to flat panels, such as LCD or PDPs,            09:54:55

10      and I will also be excluding any projection                   09:55:03

11      televisions, even though they may use another type            09:55:07

12      of CRT; is that fair?                                         09:55:11

13           A.     Yes.                                              09:55:48

14           Q.     Okay.   During the time period we're              09:55:50

15      discussing today, did Hitachi Limited manufacture             09:55:55

16      CRT televisions?                                              09:55:59

17           A.     Yes, between 1995 and 2002, Hitachi Limited       09:56:37

18      had business in Japan of selling such televisions,            09:56:47

19      and therefore, such TVs were manufactured for Japan.          09:56:50

20      In the United States, at least from 1995, which I             09:56:56

21      was able to confirm, there was no business of                 09:57:03

22      selling televisions -- CRT televisions in United              09:57:08

23      States -- excuse me, let me correct my statement.             09:57:13

24                  The period when Hitachi was doing TV              09:57:24

25      business in Japan was from 1995 to 2000, not 2002.            09:57:28

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1            Q.     Okay.   And first, with respect to the            09:57:37

2       manufacture of the CRT televisions, were those                09:57:42

3       televisions being manufactured for sale in a                  09:57:47

4       particular geographic location?                               09:57:52

5            A.     Well, since I was in charge of the sales in       09:58:19

6       Japan, those are the TV models that were sold only            09:58:23

7       in Japan.                                                     09:58:28

8            Q.     So was Hitachi Limited during the relevant        09:58:31

9       time period manufacturing televisions for sale                09:58:37

10      outside of Japan?                                             09:58:40

11           A.     When I looked into the records, I did see         09:59:11

12      that from 1995 to -- interpreter correction -- from           09:59:17

13      1995 to March 1996, I saw the records of shipment to          09:59:23

14      Europe and Asia regions, but not to the States.               09:59:33

15           Q.     And does the geographic location of the end       09:59:51

16      consumer of a CRT television matter for the                   09:59:59

17      television manufacturing process?                             10:00:05

18           A.     I would say perhaps it does.                      10:00:28

19           Q.     In what ways?                                     10:00:30

20           A.     That is because in terms of cost, there are       10:00:45

21      more advances to manufacture closest or closer to             10:00:51

22      the final -- to where the final consumers are.                10:00:56

23           Q.     And for the Hitachi televisions that were         10:01:06

24      being -- that you referred to from 1995 to 1996 that          10:01:12

25      were shipped to Europe and Asia, do you know whether          10:01:18

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1       those were intended for sale to Europe and Asia?              10:01:23

2       And by that I mean sale to the end consumer?                  10:01:42

3            A.     Where -- since I was involved with the            10:01:56

4       sales in Japan, I may not know exactly, but that's            10:01:58

5       what I think.                                                 10:02:01

6            Q.     Okay.     Did you talk to anybody else at         10:02:05

7       Hitachi Limited to find out whether who the intended          10:02:10

8       end-users were for the televisions Hitachi Limited            10:02:14

9       sold?                                                         10:02:20

10           A.     No.                                               10:02:36

11           Q.     And do you know from a technical standpoint       10:02:44

12      whether a television manufactured for use in Europe           10:02:48

13      or Asia can be used in the United States?                     10:02:52

14           A.     Although I do not know exactly, generally         10:03:49

15      speaking, the broadcasting systems are different in           10:03:53

16      the United States and in Europe.        In Asia, except       10:03:57

17      Korea, the broadcasting system is also different              10:04:03

18      from that in the United States.        The voltages are       10:04:06

19      different and the pressure for the tuners are also            10:04:11

20      different.        And therefore, I would say it is not        10:04:15

21      possible to use television sets in the continental            10:04:23

22      United States that are manufactured for Europe and            10:04:27

23      Asia except Korea.                                            10:04:31

24           Q.     And so are -- why do you say "except              10:04:37

25      Korea"?     Explain that.                                     10:04:43

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1            A.     That is because the United States, Japan,         10:04:56

2       and Korea share the same broadcasting system                  10:05:01

3       referred to as NTSC.                                          10:05:04

4            Q.     So could a television manufacturer for use        10:05:12

5       in Japan be used in the United States?                        10:05:15

6            A.     Although both countries share the same            10:05:40

7       broadcasting system, the frequency ranges are                 10:05:42

8       different and the voltage is different.                       10:05:47

9       Consequently, although I have never tried, and                10:05:52

10      therefore I cannot say for sure, I would say it's             10:05:55

11      not possible to use such televisions in the                   10:05:59

12      States.                                                       10:06:03

13           Q.     And to the degree of television was               10:06:03

14      manufactured for use in a non-U.S. area, could it be          10:06:06

15      adapted in some way for sale in the United States?            10:06:11

16           A.     I would not know.                                 10:06:29

17           Q.     And who at Hitachi Limited would know the         10:06:39

18      answer to that kind of technical question?                    10:06:41

19           A.     Well, I would say engineers in the                10:07:05

20      engineering and design department would know who has          10:07:09

21      the expertise of that kind.     However, I do not know        10:07:13

22      specifically who those engineers are as I sit here            10:07:20

23      today.                                                        10:07:24

24           Q.     And when you were discussing Hitachi              10:07:44

25      Limited's manufacture of televisions, what                    10:07:49

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1       manufacturing facilities are you referring to?                10:07:53

2            A.     Manufacturing in Japan occurred at Gifu           10:08:21

3       plant, G-i-f-u, as for the details of the production          10:08:28

4       lines, since I don't handle that, I do not know               10:08:35

5       well.                                                         10:08:39

6            Q.     And is it the televisions manufactured at         10:08:45

7       the Gifu plant, were any televisions manufactured             10:08:50

8       there intended for use in the United States?                  10:08:54

9                   MR. ROGER:   I'll just object vague as to         10:09:34

10      time.                                                         10:09:36

11      BY MS. ANDERSON:                                              10:09:38

12           Q.     Just to clarify, I'm talking about the 1995       10:09:38

13      to 2005 time period?                                          10:09:44

14           A.     I checked with people who are involved with       10:09:56

15      shipment for the United States at Hitachi Limited             10:09:58

16      and talked to those people, and those people are in           10:10:02

17      production control.      And I confirmed that the --          10:10:06

18      that televisions that manufactured -- that had been           10:10:13

19      manufactured at the Gifu plant were last shipped in           10:10:17

20      March of 1989, and therefore, Hitachi Limited TV              10:10:25

21      business ended at that time.      That was the last time      10:10:31

22      such shipment occurred.                                       10:10:34

23           Q.     And when you say the last shipment in 1989,       10:10:38

24      do you mean shipment of televisions to the United             10:10:42

25      States?                                                       10:10:45

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1            A.     That's correct.                                    10:10:54

2            Q.     And were there other Hitachi entities              10:10:57

3       manufacturing CRT televisions for sale in the United           10:11:04

4       States?                                                        10:11:09

5            A.     Well, although I don't know the details,           10:11:31

6       there may have been local factories outside Japan.             10:11:35

7            Q.     And who at Hitachi Limited would have              10:11:51

8       information about the location and product lines of            10:11:56

9       the other factories?                                           10:11:58

10           A.     I would not know.                                  10:12:16

11           Q.     Did you make any inquiry with respect to           10:12:20

12      the production -- withdraw that question.                      10:12:23

13                  Did you make any inquiry with respect to           10:12:25

14      the manufacture of televisions at plants outside of            10:12:27

15      Japan for sale in the United States?                           10:12:35

16                  MR. ROGER:     Objection, vague and ambiguous      10:12:37

17      as to manufactured by whom.           He may respond.          10:12:38

18                  THE INTERPRETER:     Could I have the question     10:13:15

19      again?                                                         12:37:58

20                  THE REPORTER:     Sure.                            12:37:58

21                  (Record read as follows:                           10:12:25

22            "Did you make any inquiry with respect to the            10:12:25

23            manufacture of televisions at plants outside of          10:12:27

24            Japan for sale in the United States?")                   10:12:35

25                  THE WITNESS:     I did not.                        10:13:48

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1                   MR. ROGER:     Could we go off the record for      10:13:49

2       a second?                                                      10:13:51

3                               (Recess taken.)                        10:15:48

4       BY MS. ANDERSON:                                               10:15:48

5            Q.     And in preparation for today's deposition,         10:15:48

6       did you make any inquiry regarding production                  10:15:51

7       facilities outside Japan that are owned by Hitachi             10:15:55

8       Limited?                                                       10:16:00

9                   MR. ROGER:     Objection, vague and ambiguous      10:16:14

10      as to "product."                                               10:16:16

11      BY MS. ANDERSON:                                               10:16:22

12           Q.     And I'm referring to the production of CRT         10:16:22

13      televisions?                                                   10:16:24

14                  MR. ROGER:     Objection, assumes facts.   You     10:16:32

15      may respond.                                                   10:16:37

16                  THE WITNESS:     I know the fact that for TVs      10:17:13

17      sold in Japan by Hitachi Limited they were                     10:17:18

18      manufactured at Gifu plant.        As for overseas             10:17:23

19      production facilities, I do not know, and I did not            10:17:30

20      make any inquiries.                                            10:17:35

21      BY MS. ANDERSON:                                               10:17:38

22           Q.     And during the relevant time period we're          10:17:38

23      discussing, do you know whether any Hitachi brand              10:17:44

24      televisions were sold in the United States?                    10:17:47

25           A.     I do not.                                          10:18:03

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1            Q.     Did Hitachi Limited manufacture televisions       10:18:04

2       for -- exclusively to be branded as a Hitachi                 10:18:18

3       product?                                                      10:18:30

4            A.     I don't know what you mean.                       10:18:36

5            Q.     Did Hitachi Limited manufacture CRT               10:18:42

6       televisions to be sold under another brand?                   10:18:47

7            A.     No.                                               10:19:02

8            Q.     So all the televisions that Hitachi Limited       10:19:02

9       sold were manufactured as a Hitachi brand                     10:19:05

10      television; is that accurate?                                 10:19:10

11           A.     That is correct as far as what concerns in        10:19:23

12      Japan.                                                        10:19:27

13           Q.     And do you have any information about             10:19:30

14      Hitachi Limited plants outside of Japan?                      10:19:31

15           A.     No.                                               10:19:43

16           Q.     Did you make any inquiries to prepare for         10:19:45

17      this deposition with respect to facilities outside            10:19:47

18      of Japan?                                                     10:19:51

19           A.     No.                                               10:19:58

20           Q.     Do you -- withdraw that question.                 10:20:03

21                  Do you know the major components that make        10:20:13

22      up a CRT television?                                          10:20:16

23           A.     Although I may be wrong, I believe those          10:20:42

24      major components are CRT tuner, power source, and             10:20:51

25      sound circuit, including speakers.                            10:20:58

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1            Q.     And are any of the components of a CRT             10:21:05

2       television that you described interchangeable                  10:21:09

3       between different sizes of CRT televisions?                    10:21:13

4            A.     I do not know.                                     10:21:34

5            Q.     And do you know whether CRTs of the same           10:21:39

6       size can be substituted for one another?        For            10:21:44

7       example, if Hitachi Limited was making a TV using a            10:21:51

8       Hitachi CPT, could Hitachi Limited have switched to            10:21:56

9       using a Samsung CPT without changing other                     10:22:01

10      specifications of that television?                             10:22:05

11                  MR. ROGER:     Objection, assumes facts.   You     10:22:07

12      may respond.                                                   10:22:10

13                  THE WITNESS:     I don't know.                     10:22:44

14      BY MS. ANDERSON:                                               10:23:52

15           Q.     And you mentioned earlier that you reviewed        10:23:52

16      some of the sales records, how does Hitachi Limited            10:23:58

17      maintain those records?                                        10:24:02

18           A.     I believe you were referring to my review          10:24:38

19      of past records of 1995.        If you're talking about        10:24:41

20      those records, they are at the accounting                      10:24:46

21      department, and those records are referred to as               10:24:51

22      sales records or details of profit and loss and they           10:24:56

23      are printed data.                                              10:25:06

24           Q.     And for records that are after 1995, how           10:25:11

25      are those sales records maintained?                            10:25:15

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1            A.     When I said I reviewed the past records, I        10:25:53

2       did so in order to confirm that there was no U.S.             10:25:56

3       sales of Hitachi CRTs in 1995 through March of 1996.          10:26:02

4       I checked those records in order to confirm that.             10:26:15

5       So other than that, like the years that you refer             10:26:20

6       to, subsequent years, I do not know how those                 10:26:24

7       records are maintained.                                       10:26:27

8            Q.     And what, if anything, did you do to              10:26:29

9       confirm whether there were sales of CRT televisions           10:26:32

10      bound for the United States after 1996?                       10:26:37

11           A.     Well, what I checked was that there were no       10:27:02

12      sales records at the accounting.                              10:27:06

13                  MR. ROGER:   County?                              10:27:23

14                  THE INTERPRETER:   Accounting.                    10:27:28

15      BY MS. ANDERSON:                                              10:27:29

16           Q.     And how did you go about checking that            10:27:29

17      there were no sales records regarding sales of CRT            10:27:33

18      televisors for the United States in the accounting            10:27:37

19      department?                                                   10:27:38

20           A.     I looked through the documents.                   10:27:50

21           Q.     And how were those documents maintained?          10:27:54

22      Are they electronically maintained?                           10:27:57

23           A.     No, they were printed data.                       10:28:04

24           Q.     And do you know what, if any, Hitachi             10:28:13

25      entities sell CRT -- sold CRT televisions in the              10:28:22

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1       United States?                                                10:28:26

2            A.     I don't know.                                     10:28:39

3            Q.     And as -- withdraw that question.                 10:28:52

4                   As a CRT televisions manufacturer, did            10:29:05

5       Hitachi Limited generally buy its CPTs from multiple          10:29:10

6       suppliers?                                                    10:29:19

7                   MR. ROGER:     Objection, assumes facts.          10:29:20

8                   THE WITNESS:     I don't know about the           10:29:41

9       suppliers of such components.                                 10:29:45

10      BY MS. ANDERSON:                                              10:29:52

11           Q.     So you don't know who manufactured the            10:29:52

12      tubes that Hitachi Limited used in its CRT                    10:29:54

13      televisions?                                                  10:29:58

14           A.     It is my understanding that the CRT tubes         10:30:26

15      that were manufactured at Hitachi's Mobara plant              10:30:30

16      were used for the televisions sold in Japan.                  10:30:34

17      M-o-b-a-r-a.                                                  10:30:38

18           Q.     Can we go off the record?                         10:30:58

19                  THE REPORTER:     Sure.                           10:51:30

20                           (Recess taken.)                          10:51:30

21                  MR. ROGER:     Jennie, I just wanted to raise     10:52:18

22      a point of clarification that we can handle now or            10:52:21

23      we can handle on my cross-examination.        When you        10:52:25

24      asked him about somebody else's CRT television, for           10:52:28

25      example, Samsung, I think he understood it as                 10:52:32

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1       referring specifically to Samsung.         But he does have     10:52:35

2       knowledge about somebody else's CRT going into                  10:52:39

3       Hitachi televisions.         At your convenience --             10:52:41

4       (inaudible.)                                                    10:53:07

5                    THE REPORTER:     I couldn't hear you.   I'm       10:53:07

6       sorry, the last sentence?                                       10:53:08

7                    MR. ROGER:    At your convenience.                 10:53:08

8                    MS. ANDERSON:     Okay, well, let's try to         10:53:08

9       clarify that point then.                                        10:53:10

10           Q.      Previously, I had asked whether CRTs of the        10:53:11

11      same size can be substituted for one another, and I             10:53:14

12      gave an example.        Let me rephrase that example.           10:53:20

13                   So if Hitachi was making a television using        10:53:21

14      one manufacturer's CPT, could Hitachi switch to                 10:53:25

15      using a different manufacturer's CPT without                    10:53:33

16      changing other components of the televisions?                   10:53:36

17           A.      I don't think so.                                  10:54:19

18           Q.      Why not?                                           10:54:21

19           A.      A completed television set has a CRT that          10:54:56

20      fits in that television set.         That is the design of      10:55:02

21      that CRT on the television that are matched to each             10:55:08

22      other.      If you bring CRT for another product --             10:55:11

23      another TV and replace just the CRT, I don't                    10:55:16

24      think it is possible.         That's because all those          10:55:21

25      components are manufactured according to the                    10:55:31

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1       specifications.                                                 10:55:34

2            Q.     Okay.   So what does a CRT television               10:55:36

3       manufacturer do if a CPT supplier cannot meet all of            10:55:41

4       its volume requirements?                                        10:55:48

5                   MR. ROGER:     Objection, assumes facts.    You     10:55:51

6       may respond.                                                    10:55:59

7                   THE WITNESS:     As far as Japan, that is           10:56:35

8       domestic sales are concerned.        Hitachi made the           10:56:38

9       sales plans in consideration of what Hitachi was                10:56:41

10      capable to manufacture, and therefore, the sales and            10:56:49

11      manufacturing were balanced.        We did not make sales       10:56:55

12      plans where CRT might be insufficient in number.                10:57:00

13      BY MS. ANDERSON:                                                10:57:11

14           Q.     And would the same hold true for Hitachi            10:57:12

15      worldwide operations?                                           10:57:16

16                  MR. ROGER:     Objection, vague and ambiguous       10:57:27

17      as to the term "Hitachi."                                       10:57:29

18                  THE WITNESS:     My testimony I just gave is        10:57:43

19      for Japan.     I handled domestic sales, so my response         10:57:49

20      was limited to what was happening to Japan.                     10:57:56

21      BY MS. ANDERSON:                                                10:58:02

22           Q.     Do you have any information with respect to         10:58:02

23      subsidiaries of Hitachi Limited who were                        10:58:06

24      manufacturing CRT televisions?                                  10:58:09

25                  MR. ROGER:     Objection, overbroad.   You may      10:58:12

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1       respond.                                                      10:58:14

2                   THE WITNESS:     No, my answer is no.             10:58:29

3       BY MS. ANDERSON:                                              10:58:32

4            Q.     Did you make any inquiry about operations         10:58:32

5       by Hitachi Limited's subsidiaries?                            10:58:38

6                   MR. ROGER:     Objection, overbroad.              10:58:49

7                   THE WITNESS:     I did not make such              10:59:01

8       inquiries.                                                    10:59:03

9       BY MS. ANDERSON:                                              10:59:05

10           Q.     And did you make any inquiries with respect       10:59:05

11      to the manufacture of CRT televisions at factories            10:59:11

12      owned by Hitachi Limited outside Japan?                       10:59:16

13                  MR. ROGER:     Objection, overbroad, assumes      10:59:32

14      facts.                                                        10:59:34

15                  THE WITNESS:     I don't know about overseas      10:59:57

16      production facilities.        My understanding is as far      11:00:03

17      as Hitachi Limited is concerned, there was only Gifu          11:00:06

18      plant in Japan for Hitachi Limited.                           11:00:12

19      BY MS. ANDERSON:                                              11:00:15

20           Q.     Are you aware of other manufacturing              11:00:15

21      facilities that are wholly owned by Hitachi                   11:00:17

22      Limited?                                                      11:00:26

23                  MR. ROGER:     You use a present tense.   Do      11:00:26

24      you mean during the time period?                              11:00:29

25                  MS. ANDERSON:     Yes, during the time            11:00:30

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1       period.                                                        11:00:31

2                   THE WITNESS:     No.                               11:00:42

3       BY MS. ANDERSON:                                               11:00:42

4            Q.     Did you make any inquiry about those               11:00:42

5       facilities to the degree they exist?                           11:00:44

6            A.     No.                                                11:00:56

7            Q.     With respect to the categories regarding           11:01:01

8       pricing, do you have any information with respect to           11:01:06

9       the pricing of CRT televisions to be sold in the               11:01:10

10      United States?                                                 11:01:16

11           A.     No.                                                11:01:33

12           Q.     Did you do anything to acquire any such            11:01:37

13      information?                                                   11:01:40

14                  MR. ROGER:     Objection, overbroad.               11:01:42

15                  THE WITNESS:     It was that there was no U.S.     11:02:14

16      business of the CRT televisions during that period.            11:02:17

17      So I did not ask any questions about pricing of what           11:02:25

18      didn't exist.     That's not a realistic question.             11:02:31

19      BY MS. ANDERSON:                                               11:02:44

20           Q.     And do you have any information with               11:02:44

21      respect to the sale of CRT televisions in the United           11:02:46

22      States by any Hitachi-owned entity or facility?                11:02:52

23           A.     No.                                                11:03:13

24           Q.     Did you do anything to obtain information          11:03:16

25      about such sales?                                              11:03:20

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1            A.     I confirmed that there was no Hitachi               11:03:43

2       Limited business with respect to CRT televisions in             11:03:49

3       1995 and after.                                                 11:03:52

4            Q.     And okay -- for the record, I'll move to            11:03:56

5       strike that as a nonresponsive answer.                          11:03:58

6                   The question was whether you did anything           11:04:01

7       to learn about sales of CRT televisions to the                  11:04:06

8       United States by Hitachi Limited-owned entity?                  11:04:10

9                   MR. ROGER:     Objection, assumes facts.    You     11:04:21

10      may respond.                                                    11:04:24

11                  THE WITNESS:     I did check that Hitachi           11:05:07

12      Limited had no business in the United States on CRT             11:05:12

13      televisions.     As for other affiliated companies or           11:05:15

14      facilities overseas, I did not look into the                    11:05:19

15      matter.                                                         11:05:22

16      BY MS. ANDERSON:                                                11:05:26

17           Q.     Who would have information about the sale           11:05:26

18      of CRT televisions in the U.S. by Hitachi-owned                 11:05:30

19      entities at Hitachi Limited?                                    11:05:36

20           A.     I don't know.                                       11:05:54

21           Q.     Who would you ask to find out who at                11:05:57

22      Hitachi Limited had that information?                           11:06:07

23           A.     Since I had been involved with the sales in         11:06:25

24      Japan, I did not do anything about the overseas                 11:06:30

25      operations.     And so I do not even know who I can ask         11:06:35

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1       as to who were involved in that operation.                    11:06:43

2            Q.     And do you know -- well, withdraw that            11:06:51

3       question.                                                     11:06:54

4                   Did Hitachi Limited exercise any pricing          11:06:56

5       authority with respect to CRT televisions over any            11:07:00

6       of its subsidiaries?                                          11:07:05

7            A.     I don't know.                                     11:07:22

8            Q.     Did you do anything to find out that              11:07:25

9       information in preparation for this deposition?               11:07:30

10           A.     No.                                               11:07:41

11           Q.     Who at Hitachi Limited would know the             11:07:42

12      answer to that question?                                      11:07:45

13           A.     I don't know.                                     11:07:55

14           Q.     Who would you ask at Hitachi to find out          11:07:56

15      who would have information about that question?               11:08:01

16           A.     I can't think of anyone.                          11:08:13

17           Q.     And who at Hitachi Limited did Hitachi            11:08:16

18      Limited's subsidiaries report to with respect to the          11:08:20

19      manufacture and sale of CRT televisions?       And by         11:08:23

20      that, I mean CRT televisions intended for sale in             11:08:40

21      the United States?                                            11:08:43

22           A.     I don't know the substance of such                11:08:54

23      reporting.                                                    11:08:57

24           Q.     Did you make any inquiry about those              11:08:58

25      reporting of those activities in preparation for              11:09:01

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1       your deposition today?                                        11:09:05

2            A.     No.                                               11:09:12

3            Q.     Who would have information about reporting        11:09:14

4       of those activities?                                          11:09:17

5            A.     I had no knowledge as to the overseas             11:09:40

6       sales, so I do not know who would have that                   11:09:47

7       information.      On the other hand, if you were asking       11:09:50

8       me about sales in Japan, I have knowledge about               11:09:53

9       that.                                                         11:09:57

10           Q.     And what did you do to prepare for this           11:10:18

11      deposition with respect to Hitachi Limited's                  11:10:20

12      knowledge, use, and tracking of retail prices for             11:10:24

13      CRT televisions?                                              11:10:29

14           A.     Well, I refreshed my recollection as to how       11:10:58

15      Japanese retail pricing was followed.                         11:11:01

16           Q.     Did you do anything to learn about whether        11:11:07

17      Hitachi Limited tracked the retail or street prices           11:11:11

18      of CRT televisions in the United States?                      11:11:16

19           A.     No.                                               11:11:35

20           Q.     And who at Hitachi Limited would have that        11:11:43

21      information about whether Hitachi Limited is tracked          11:11:46

22      during the relevant time period retail or street              11:11:49

23      prices for CRT televisions in the United States?              11:11:52

24           A.     I don't know.                                     11:12:14

25           Q.     And did you make any inquiry about who            11:12:22

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1       would have that information in preparation for this             11:12:24

2       deposition?                                                     11:12:28

3            A.      No.                                                11:12:34

4            Q.      Do you know whether Hitachi Limited                11:12:36

5       contracted with any other entities to build TVs to              11:12:39

6       be sold in the United States?                                   11:12:44

7            A.      No.                                                11:12:59

8            Q.      Did you make any inquiries with respect to         11:13:02

9       whether such contracts exist?                                   11:13:05

10           A.      No.                                                11:13:14

11           Q.      And did Hitachi Limited contract with any          11:13:16

12      entity to build TVs intended for sale in the U.S.               11:13:20

13      with Hitachi manufactured CPTs?                                 11:13:28

14                   MR. ROGER:     Object to the term "Hitachi" as     11:13:47

15      vague.      You may respond.                                    11:13:50

16                   THE WITNESS:     Since I was handling the          11:14:34

17      products of televisions sold in Japan, I don't know             11:14:36

18      the details of how the components are manufactured,             11:14:41

19      except I am aware that the CRTs for the Hitachi                 11:14:46

20      televisions were manufactured in the Mobara plant in            11:14:56

21      Chiba prefecture.         And the Mobara plant was              11:15:01

22      manufacturing CRTs for the sales of Japan as well as            11:15:03

23      for overseas.      Having said that, I don't know any           11:15:08

24      more details beyond that.                                       11:15:13

25      BY MS. ANDERSON:                                                11:15:16

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1            Q.     Do you know with respect to the -- withdraw        11:15:16

2       that.                                                          11:15:19

3                   With respect to CRTs manufactured for              11:15:22

4       overseas, were those CRTs being manufactured for use           11:15:27

5       by another Hitachi entity?                                     11:15:35

6            A.     I don't know the details of the CRT                11:16:04

7       business because that was not my expertise.                    11:16:07

8                   MS. ANDERSON:    I have no further questions       11:16:27

9       for the witness today.       However, for the record,          11:16:28

10      plaintiffs reserve their right to seek additional              11:16:35

11      witnesses knowledgeable about these topics.       It is        11:16:38

12      not our view that preparing a witness to talk about            11:16:41

13      exclusively sales in Japan, when those are not                 11:16:46

14      relevant to this litigation, is appropriate.        And so     11:16:50

15      we, therefore, reserve our rights as stated.                   11:16:54

16                  MR. ROGER:    This witness was not prepared        11:17:01

17      to talk about sales exclusively in Japan.       Again, we      11:17:02

18      stated several times, and the witness has so                   11:17:08

19      testified that Hitachi Limited, which is the entity            11:17:10

20      you requested a representative for, did not sell               11:17:15

21      televisions into the United States during the class            11:17:18

22      period.     And by way of example, you've had a day of         11:17:21

23      deposition testimony from the 30 (b)(6) witness of             11:17:25

24      Head U.S. who told you about the U.S. CRT and                  11:17:29

25      television market.       Head U.S. was the entity that         11:17:33

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1       was responsible for those matters during the class            11:17:38

2       period, not Hitachi Limited.                                  11:17:40

3                   MS. ANDERSON:   Actually, Head U.S. was only      11:17:44

4       proffered with respect to tubes.      In any event, we        11:17:47

5       can agree to disagree on this.                                11:17:50

6                   MR. ROGER:   Of course we can.                    11:17:52

7                   MS. ANDERSON:   And we certainly do.              11:17:53

8                   MR. ROGER:   You've had testimony, and the        11:17:55

9       record will reflect you've had testimony about sales          11:17:56

10      of televisions in the United States from the Head             11:17:57

11      U.S. representative.                                          11:17:58

12                  MR. MOORE:   State of California reserves         11:18:02

13      the right to depose corporate representatives on              11:18:04

14      other topics that have not been noticed by --                 11:18:09

15      (inaudible.)                                                  11:18:15

16                  THE REPORTER:   I'm sorry, I can't hear you.      11:18:15

17                  MR. MOORE:   The State of California              11:18:15

18      reserves the right to depose corporate                        11:18:17

19      representatives on other topics that have not been            11:18:19

20      noticed in this current round of Federal Rules of             11:18:21

21      Civil Procedure 30 (b)(6) depositions pursuant to             11:18:25

22      the protocol entered into the MDL -- the federal              11:18:31

23      MDL --                                                        11:18:35

24                  THE REPORTER:   MDL you said?                     11:18:36

25                  MR. MOORE:   MDL.                                 11:18:36

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1                   MR. ROGER:     And for the record, we do not       11:18:36

2       accept that there is any right that can be reserved            11:18:38

3       to do such a thing.        We note that this 30 (b)(6)         11:18:41

4       deposition was noticed on behalf of the direct --              11:18:44

5       the indirect purchaser plaintiffs, Attorney Generals           11:18:52

6       of both the State of Florida and the State of                  11:18:56

7       California.                                                    11:18:58

8                   MR. MOORE:     The State of California further     11:18:58

9       reserves the right to notice the deposition of those           11:19:01

10      individuals whom have been designated to give                  11:19:03

11      testimony in the corporate capacity in this 30                 11:19:07

12      (b)(6) round of depositions, in their individual               11:19:10

13      capacity at a later date in accordance with                    11:19:13

14      protocol.                                                      11:19:16

15                  (Time Noted:     11:19 a.m.)                       11:19:20

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1              I declare under penalty of perjury under the
2       laws of the State of California that the foregoing
3       is true and correct.
4
5              Executed on _____________________, 2012,
6       at_____________,________________.
7
8
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12                           _______________________________
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1       STATE OF CALIFORNIA            ) ss:
2       COUNTY OF MARIN                )
3
4              I, ASHLEY SOEVYN, CSR No. 12019, do hereby
5       certify:
6              That the foregoing deposition testimony was
7       taken before me at the time and place therein set
8       forth and at which time the witness was administered
9       the oath;
10             That the testimony of the witness and all
11      objections made by counsel at the time of the
12      examination were recorded stenographically by me,
13      and were thereafter transcribed under my direction
14      and supervision, and that the foregoing pages
15      contain a full, true and accurate record of all
16      proceedings and testimony to the best of my skill
17      and ability.
18             I further certify that I am neither counsel for
19      any party to said action, nor am I related to any
20      party to said action, nor am I in any way interested
21      in the outcome thereof.
22             IN THE WITNESS WHEREOF, I have transcribed my
        name this 23rd day of July, 2012.
23
24
25                   ASHLEY SOEVYN, CSR 12019

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                                                                                                                                                                                          (Mpcs)
                        '90      '91          '92     '93     '94      '95     '96      '97      '98      '99     2000     2001     2002     2003     2004     2005     2006     2007     CAGR
                                                                                                                                                                                          ('00-'05)
  Korea        14"        4.8          6.2      7.4     8.3     9.2      7.0     6.9      3.0      0.9      0.4
               15"        0.1          0.2      0.3     1.0     1.9      4.9     6.0      7.6      6.6      5.8      3.1      1.2
               17"                     0.1      0.2     0.3     0.4      1.9     2.6      4.2      4.6      8.6      9.4      7.7      6.5      5.2      4.1      3.2      2.2      1.0    -19.4%
               19"                                                                                 0.3      1.0      2.5      2.6      3.0      3.0      3.0      2.9      2.6      2.4       3.0%
              20"/21"                                   0.1     0.1      0.1     0.1      0.1      0.1      0.1      0.2      0.4      0.4      0.5      0.5      0.5      0.5      0.5     20.1%
               Total      4.9          6.5      7.9     9.7    11.6     13.9    15.6     14.9     12.5     15.9     15.2     11.9      9.9      8.7      7.6      6.6      5.3      3.9    -15.4%
   Japan       14"        2.2          1.8      1.3     1.2     0.5
               15"        0.5          0.8      1.2     1.0     0.8      0.5     0.6      0.4      0.4      0.4      0.6
               17"        0.2          0.6      1.2     1.0     1.0      1.0     2.4      2.6      2.9      1.4      1.2      0.7      0.6      0.4      0.2      0.1                      -39.2%
               19"                                                                        0.3      0.5      0.7      0.6      0.6      0.6      0.6      0.4      0.4      0.3      0.3      -7.8%
              20"/21"     0.7          0.9      0.7     1.0     1.1      1.7     2.0      2.6      2.0      2.0      1.7      1.7      1.5      1.4      1.4      1.3      1.1      1.1      -5.2%
               Total      3.6          4.1      4.4     4.2     3.4      3.2     5.0      5.9      5.8      4.5      4.1      3.0      2.7      2.4      2.0      1.8      1.4      1.4    -15.2%
  Taiwan       14"        7.4          9.5     10.4    10.4     8.4      5.8     5.8      5.1      1.1      0.1      0.1
               15"        0.1          0.6      1.0     2.0     3.6      5.4     6.2      6.2      5.2      3.2      0.7      0.2
               17"                     0.1      0.2     0.6     0.9      3.6     4.0      5.4      8.3      7.0      1.8      1.5      0.8      0.3      0.2      0.1                      -43.9%
               19"                                                                        0.4      1.5      2.3      0.7      0.8      1.3      1.6      1.6      1.4      1.2      1.0     14.9%
              20"/21"                                           0.1      0.3     0.3      0.3      0.3      0.3      0.3      0.4      0.4      0.4      0.4      0.4      0.3      0.3       5.9%
               Total      7.5      10.2        11.6    13.0    13.0     15.1    16.3     17.4     16.4     12.9      3.6      2.9      2.5      2.3      2.2      1.9      1.5      1.3    -12.0%
  China        14"                     0.8      1.7     2.8     3.4      4.5     4.4      7.0      8.6      4.9      5.1      2.8      1.6      0.8
               15"                                                       1.0     2.2      3.8      7.8     15.1     17.9     18.2     19.8     19.1     18.3     17.4     17.0     16.5      -0.6%
               17"                                                               0.1      0.6      1.8     10.3     20.1     25.3     28.9     32.3     34.6     38.4     39.5     41.1     13.8%
               19"                                                                                          0.7      2.1      3.1      4.1      5.0      5.9      6.5      6.5      6.7     25.4%
              20"/21"                                                                                                0.2      0.2      0.2      0.2      0.3      0.4      0.5      0.5     14.9%
               Total                   0.8      1.7     2.8     3.4      5.5     6.7     11.4     18.2     31.0     45.4     49.6     54.6     57.4     59.1     62.7     63.5     64.8       6.7%
 S.E.Asia      14"        0.8          1.2      1.5     3.2     6.7      9.6     8.3      5.2      4.3      2.7      2.6      1.1      0.5
               15"                     0.1      0.2     0.7     1.4      3.8     4.8      7.4      9.3     10.6      9.9      9.5      9.3      8.7      8.3      8.2      7.5      4.8      -3.7%
               17"                                                       1.0     1.3      3.3      3.6      7.8     10.4     13.2     15.2     16.5     18.3     19.0     18.4     17.3     12.8%
               19"                                                                                          0.2      1.0      1.5      2.1      2.7      3.2      3.2      3.4      3.6     26.2%
              20"/21"                                                                                                0.1      0.1      0.3      0.3      0.4      0.4      0.5      0.5     32.0%
               Total      0.8          1.3      1.7     3.9     8.1     14.4    14.4     15.9     17.2     21.3     24.0     25.4     27.4     28.2     30.2     30.8     29.8     26.2       5.1%
  Europe       14"        1.2          1.7      1.8     2.2     1.8      1.3     1.2      0.9      0.7      0.2
               15"        0.1          0.3      0.5     0.6     0.6      0.6     1.2      1.4      2.2      2.8      2.1      1.6      1.1      0.7      0.5                              -100.0%
               17"                              0.1     0.2     0.4      0.6     0.9      2.2      2.4      3.8      4.2      4.7      5.2      5.4      5.6      5.8      5.4      4.3       6.7%
               19"                                                                                 0.1      0.2      0.6      0.8      1.0      1.2      1.3      1.5      1.5      1.6     20.1%
              20"/21"                                                    0.2     0.2      0.2      0.2      0.2      0.1      0.1      0.2      0.3      0.3      0.4      0.4      0.4     32.0%
               Total      1.3          2.0      2.4     3.0     2.8      2.7     3.5      4.7      5.6      7.2      7.0      7.2      7.5      7.6      7.7      7.7      7.3      6.3       1.9%



                        '90      '91          '92     '93     '94      '95     '96      '97      '98      '99     '2000    '2001    '2002    '2003    '2004    '2005    '2006    '2007    CAGR
                                                                                                                                                                                          ('00-'05)
   Nafta       14"        0.7          1.0      1.0     1.1     1.2      1.0     1.0      1.0      1.1      0.5      0.2
               15"                     0.2      0.3     0.5     0.6      0.9     1.3      1.5      4.2      4.4      2.6      2.1      2.0      1.5      1.1      0.4                      -31.2%
               17"                                      0.1     0.2      1.2     2.4      2.9      3.1      5.4      6.5      7.5      7.7      8.4      8.5      8.9      8.0      7.1       6.5%
               19"                                                                                 0.1      0.5      1.8      2.2      2.3      2.4      2.9      3.1      3.0      2.8     11.5%
              20"/21"                                                                                                0.1      0.1      0.2      0.4      0.5      0.5      0.6      0.6     38.0%
               Total      0.7          1.2      1.3     1.7     2.0      3.1     4.7      5.4      8.5     10.8     11.2     11.9     12.2     12.7     13.0     12.9     11.6     10.5       2.9%
  Others       14"                                              0.1      0.2     0.5      0.6      0.5      0.5      1.4      1.2      0.4      0.2
               15"                                                       0.1     0.1      0.1      0.4      0.7      2.0      3.1      3.8      4.0      4.2      4.0      3.5      3.2     14.9%
               17"                                                                                 0.1      0.4      0.4      0.8      1.8      2.3      2.7      3.3      3.8      4.2     52.5%
               19"                                                                                                                              0.3      0.4      0.6      0.8      0.9
              20"/21"
               Total                                            0.1      0.3     0.6      0.7      1.0      1.6      3.8      5.1      6.0      6.8      7.3      7.9      8.1      8.3     15.8%
   Total       14"       17.1      22.2        25.1    29.2    31.3     29.4    28.1     22.8     17.2      9.3      9.4      5.1      2.5      1.0
               15"        0.8          2.2      3.5     5.8     8.9     17.2    22.4     28.4     36.1     43.0     38.9     35.9     36.0     34.0     32.4     30.0     28.0     24.5      -5.1%
               17"        0.2          0.8      1.7     2.2     2.9      9.3    13.7     21.2     26.8     44.7     54.0     61.4     66.7     70.8     74.2     78.8     77.3     75.0       7.9%
               19"                                                                        0.7      2.5      5.6      9.3     11.6     14.4     16.8     18.7     19.6     19.3     19.3     16.1%
              20"/21"     0.7          0.9      0.7     1.1     1.3      2.3     2.6      3.2      2.6      2.6      2.7      3.0      3.2      3.5      3.8      3.9      3.9      3.9       7.6%
               Total     18.8      26.1        31.0    38.3    44.4     58.2    66.8     76.3     85.2    105.2    114.3    117.0    122.8    126.1    129.1    132.3    128.5    122.7       3.0%
Growth Rate    14"              29.8%        13.1%    16.3%   7.2%     -6.1%   -4.4%   -18.9%   -24.6%   -45.9%    1.1%    -45.7%   -51.0%   -60.0%
               15"              175.0%       59.1%    65.7%   53.4%   93.3%    30.2%   26.8%    27.1%    19.1%     -9.5%    -7.7%    0.3%     -5.6%    -4.7%    -7.4%    -6.7%   -12.5%
               17"              300.0%       112.5%   29.4%   31.8%   220.7%   47.3%   54.7%    26.4%    66.8%    20.8%    13.7%     8.6%     6.1%     4.8%     6.2%     -1.9%    -3.0%
               19"                                                                              257.1%   124.0%   66.1%    24.7%    24.1%    16.7%    11.3%     4.8%     -1.5%    0.0%
              20"/21"           28.6%        -22.2%   57.1%   18.2%   76.9%    13.0%   23.1%    -18.8%    0.0%     3.8%    11.1%     6.7%     9.4%     8.6%     2.6%     0.0%     0.0%
               Total            38.8%        18.8%    23.5%   15.9%   31.1%    14.8%   14.2%    11.7%    23.5%     8.7%     2.4%     5.0%     2.7%     2.4%     2.5%     -2.9%    -4.5%
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